Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 1 of 201




                 EXHIBIT A
                                                                                                                         Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 2 of 201


                                                                                                                    Withheld or
Row   Original Privilege Log Number   Privilege Log Number      Start Bates               End Bates                 Redacted      File Extension   Custodian         Privilege Type    Author                   Last Author              All Participants                                                                                           Thread Participants   To                                               From                                       CC                                                 BCC   Parent Date       Hard Copy Date   Purpose and Subject of Communication

                                                                                                                                                                                                                                         Susan Bennof (sbennof@cntus.jnj.com); Kristine Brass (kbrass1@its.jnj.com); Robin Courtney                                                                                                                                                                                                                               Email chain reflecting legal advice from the Law
                                                                                                                                                                                                                                         (rcourtn2@its.jnj.com); Julie Long (jlong7@its.jnj.com); Julie Long (jlong7@its.jnj.com); Brenda Riggs                                                                                                                                                                                                                   Department ^ regarding implications of third party payor
2                                                               JANSSENBIO‐070‐00000014   JANSSENBIO‐070‐00000016   Redacted      eMail            Long, Julie       Attorney‐Client                                                     (brendar@pagiconsultants.com)                                                                                                    Robin Courtney (rcourtn2@its.jnj.com)            Julie Long (jlong7@its.jnj.com)            Kristine Brass (kbrass1@its.jnj.com)                           8/15/2014                    policies.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Letter reflecting legal advice regarding issues relating to
                                                                                                                                                                                       Catherine Sicari ^                                                                                                                                                                                                                                                                                                                                                         interactions or communications between ABSs and
3     JANSSENBIO‐PL‐0000103           JANSSENBIO‐PL_2‐0000001                                                       Withheld      pdf              Long, Julie       Attorney‐Client   (csicari@its.jnj.com)                                                                                                                                                                                                                                                                                                                        12/22/2015                    physician offices.



                                                                                                                                                                                                                                         Julie Long (jlong7@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com);
                                                                                                                                                                                                                                         Paul Wickmann (pwickma1@its.jnj.com); Julie Long (jlong7@its.jnj.com); John Bruni (jbruni@its.jnj.com);                                                                                                                                                                                                                  Email chain reflecting legal advice from the Law
                                                                                                                                                                                                                                         Katherine Chapman (kchapman@its.jnj.com); Peter DiPalma (pdipalma@its.jnj.com); Andrea Normandia                                                                                                                                                                                                                         Department ^ regarding interactions or communications
4     JANSSENBIO‐PL‐0000104                                     JANSSENBIO‐021‐00004569   JANSSENBIO‐021‐00004575   Redacted      eMail            Long, Julie       Attorney‐Client                                                     (anormand@its.jnj.com); Jason O'Grady (jogrady@its.jnj.com)                                                                      Andrea Normandia (anormand@its.jnj.com)          Julie Long (jlong7@its.jnj.com)                                                                            7/7/2011                    between ABSs and physician offices.



                                                                                                                                                                                                                                         Julie Long (jlong7@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com);
                                                                                                                                                                                                                                         Paul Wickmann (pwickma1@its.jnj.com); Julie Long (jlong7@its.jnj.com); John Bruni (jbruni@its.jnj.com);                                                                                                                                                                                                                  Email chain reflecting legal advice from the Law
                                                                                                                                                                                                                                         Katherine Chapman (kchapman@its.jnj.com); Peter DiPalma (pdipalma@its.jnj.com); Andrea Normandia                                                                                                                                                                                                                         Department ^ regarding interactions or communications
5                                                               JANSSENBIO‐021‐00004576   JANSSENBIO‐021‐00004584   Redacted      eMail            Long, Julie       Attorney‐Client                                                     (anormand@its.jnj.com); Jason O'Grady (jogrady@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com)                               Julie Trimakas (jtrimaka@its.jnj.com)            Julie Long (jlong7@its.jnj.com)                                                                            7/7/2011                    between ABSs and physician offices.


                                                                                                                                                                                                                                         Julie Long (jlong7@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com);
                                                                                                                                                                                                                                         Paul Wickmann (pwickma1@its.jnj.com); Julie Long (jlong7@its.jnj.com); John Bruni (jbruni@its.jnj.com);                                                                                                                                                                                                                  Email chain reflecting legal advice from the Law
                                                                                                                                                                                                                                         Katherine Chapman (kchapman@its.jnj.com); Peter DiPalma (pdipalma@its.jnj.com); Andrea Normandia                                                                                                                                                                                                                         Department ^ regarding interactions or communications
6                                                               JANSSENBIO‐021‐00004585   JANSSENBIO‐021‐00004593   Redacted      eMail            Long, Julie       Attorney‐Client                                                     (anormand@its.jnj.com); Jason O'Grady (jogrady@its.jnj.com)                                                                      Andrea Normandia (anormand@its.jnj.com)          Julie Long (jlong7@its.jnj.com)                                                                            7/7/2011                    between ABSs and physician offices.



                                                                                                                                                                                                                                         Julie Long (jlong7@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com);
                                                                                                                                                                                                                                         Paul Wickmann (pwickma1@its.jnj.com); Julie Long (jlong7@its.jnj.com); John Bruni (jbruni@its.jnj.com);                                                                                                                                                                                                                  Email chain reflecting legal advice from the Law
                                                                                                                                                                                                                                         Katherine Chapman (kchapman@its.jnj.com); Peter DiPalma (pdipalma@its.jnj.com); Andrea Normandia                                                                                                                                                                                                                         Department ^ regarding interactions or communications
7                                                               JANSSENBIO‐021‐00004594   JANSSENBIO‐021‐00004603   Redacted      eMail            Long, Julie       Attorney‐Client                                                     (anormand@its.jnj.com); Jason O'Grady (jogrady@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com)                               Julie Trimakas (jtrimaka@its.jnj.com)            Julie Long (jlong7@its.jnj.com)                                                                            7/6/2011                    between ABSs and physician offices.




                                                                                                                                                                                                                                         Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                                         (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                                         Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                                                                                                                         (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                                                                                                                         (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                                                                                                                         Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                                                                                                                         (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);                                                                                                                                                                                                                     Email with attachment(s) requesting legal advice from
                                                                                                                                                                                                                                         Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall                                                                                                                                                                                                                            Elizabeth Carew ^ regarding issues relating to Remicade
8                                     JANSSENBIO‐PL_2‐0000002                                                       Withheld      eMail            Zambelli, Louis   Attorney‐Client                                                     (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                             Elizabeth Carew ^ (ecarew32@its.jnj.com)         Louis Zambelli (lzambell@cntus.jnj.com)                                                                  10/25/2010                    contracting issues.




                                                                                                                                                                                                                                         Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                                         (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                                         Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                                                                                                                         (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                                                                                                                         (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                                                                                                                         Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                                                                                                                         (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);
                                                                                                                                                                                                                                         Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall
9                                     JANSSENBIO‐PL_2‐0000003                                                       Withheld      eMail            Zambelli, Louis   Attorney‐Client                                                     (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                             Louis Zambelli (lzambell@cntus.jnj.com)          Michelle Kielbasa (mkielba1@its.jnj.com)                                                                 10/25/2010




                                                                                                                                                                                                                                         Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                                         (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                                         Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                                                                                                                         (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                                                                                                                         (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                                                                                                                         Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                                                                                                                         (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);
                                                                                                                                                                                                                                         Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall
10                                    JANSSENBIO‐PL_2‐0000004                                                       Withheld      eMail            Zambelli, Louis   Attorney‐Client                                                     (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                             Louis Zambelli (lzambell@cntus.jnj.com)          Michelle Kielbasa (mkielba1@its.jnj.com)                                                                 10/25/2010




                                                                                                                                                                                                                                         Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                                         (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                                         Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                                                                                                                         (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                                                                                                                         (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                                                                                                                         Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                                                                                                                         (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);
                                                                                                                                                                                                                                         Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall
11                                    JANSSENBIO‐PL_2‐0000005                                                       Withheld      eMail            Zambelli, Louis   Attorney‐Client                                                     (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                             Louis Zambelli (lzambell@cntus.jnj.com)          Michelle Kielbasa (mkielba1@its.jnj.com)                                                                 10/25/2010




                                                                                                                                                                                                                                         Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                                         (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                                         Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                                                                                                                         (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                                                                                                                         (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                                                                                                                         Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                                                                                                                         (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);
                                                                                                                                                                                                                                         Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall
12                                    JANSSENBIO‐PL_2‐0000006                                                       Withheld      eMail            Zambelli, Louis   Attorney‐Client                                                     (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                             Glenn Watson (gwatson5@its.jnj.com)              Michelle Kielbasa (mkielba1@its.jnj.com)   Louis Zambelli (lzambell@cntus.jnj.com)                       10/25/2010




                                                                                                                                                                                                                                         Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                                         (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                                         Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                                                                                                                         (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                                                                                                                         (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                                                                                                                         Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                                                                                                                         (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);
                                                                                                                                                                                                                                         Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall
13                                    JANSSENBIO‐PL_2‐0000007                                                       Withheld      eMail            Zambelli, Louis   Attorney‐Client                                                     (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                             Louis Zambelli (lzambell@cntus.jnj.com)          Michelle Kielbasa (mkielba1@its.jnj.com)                                                                 10/25/2010




                                                                                                                                                                                                                                         Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                                         (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);                         Charles Miller (cmille35@its.jnj.com); Eric
                                                                                                                                                                                                                                         Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli                                         Jackson (ejackso1@its.jnj.com); Jeanine Sheppela
                                                                                                                                                                                                                                         (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^                                           (jsheppel@its.jnj.com); Joseph OHare
                                                                                                                                                                                                                                         (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique                             (johare@its.jnj.com); Louis Zambelli                                                        David Rosenblatt (drosenb1@its.jnj.com); Matthew
                                                                                                                                                                                                                                         Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt                                               (lzambell@cntus.jnj.com); Mark Remlinger                                                    Saggese (msaggese@its.jnj.com); Peggy Debus
                                                                                                                                                                                                                                         (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);                             (mremling@its.jnj.com); Melinda Golden                                                      (pdebus@its.jnj.com); Scott Wasserfall
                                                                                                                                                                                                                                         Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall                                    (mgolden1@its.jnj.com); Todd Fragale                                                        (swasserf@its.jnj.com); Teresa Toole
14                                    JANSSENBIO‐PL_2‐0000008                                                       Withheld      eMail            Zambelli, Louis   Attorney‐Client                                                     (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                             (tfragale@its.jnj.com)                           Michelle Kielbasa (mkielba1@its.jnj.com)   (ttoole1@its.jnj.com)                                         10/25/2010




                                                                                                                                                                                                                                                                                                                                                                          Catherine Seib (cseib1@its.jnj.com); Christine
                                                                                                                                                                                                                                         Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson                                         Cappello (ccappell@its.jnj.com); David
                                                                                                                                                                                                                                         (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);                         Rosenblatt (drosenb1@its.jnj.com); Matthew
                                                                                                                                                                                                                                         Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli                                         Saggese (msaggese@its.jnj.com); Michelle
                                                                                                                                                                                                                                         (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^                                           Kielbasa (mkielba1@its.jnj.com); Monique Lewis
                                                                                                                                                                                                                                         (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique                             (mlewis6@its.jnj.com); Peggy Debus
                                                                                                                                                                                                                                         Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt                                               (pdebus@its.jnj.com); Scott Wasserfall
                                                                                                                                                                                                                                         (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);                             (swasserf@its.jnj.com); Tedra Grant
                                                                                                                                                                                                                                         Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall                                    (tgrant1@its.jnj.com); Teresa Toole
15                                    JANSSENBIO‐PL_2‐0000009                                                       Withheld      eMail            Zambelli, Louis   Attorney‐Client                                                     (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                             (ttoole1@its.jnj.com)                            Alicia Maleno (amaleno@its.jnj.com)        Louis Zambelli (lzambell@cntus.jnj.com)                       10/25/2010




                                                                                                                                                                                                                                                                                                                                                                          Alicia Maleno (amaleno@its.jnj.com); Catherine
                                                                                                                                                                                                                                         Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson                                         Seib (cseib1@its.jnj.com); Christine Cappello
                                                                                                                                                                                                                                         (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);                         (ccappell@its.jnj.com); David Rosenblatt
                                                                                                                                                                                                                                         Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli                                         (drosenb1@its.jnj.com); Matthew Saggese
                                                                                                                                                                                                                                         (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^                                           (msaggese@its.jnj.com); Monique Lewis
                                                                                                                                                                                                                                         (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique                             (mlewis6@its.jnj.com); Peggy Debus
                                                                                                                                                                                                                                         Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt                                               (pdebus@its.jnj.com); Scott Wasserfall
                                                                                                                                                                                                                                         (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);                             (swasserf@its.jnj.com); Tedra Grant
                                                                                                                                                                                                                                         Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall                                    (tgrant1@its.jnj.com); Teresa Toole
16                                    JANSSENBIO‐PL_2‐0000010                                                       Withheld      eMail            Zambelli, Louis   Attorney‐Client                                                     (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                             (ttoole1@its.jnj.com)                            Michelle Kielbasa (mkielba1@its.jnj.com)   Louis Zambelli (lzambell@cntus.jnj.com)                       10/25/2010




                                                                                                                                                                                                                                         Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                                         (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                                         Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                                                                                                                         (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                                                                                                                         (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                                                                                                                         Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                                                                                                                         (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);
                                                                                                                                                                                       Andrew Brackbill         Michelle Kielbasa        Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall
17                                    JANSSENBIO‐PL_2‐0000011                                                       Withheld      xlsx             Zambelli, Louis   Attorney‐Client   (abrackbi@its.jnj.com)   (mkielba1@its.jnj.com)   (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                                                                                                                                                                                       10/25/2010




                                                                                                                                                                                                                                                                                                                      1
                                    Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 3 of 201


                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                        (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                        (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                        Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                        (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);
                                                                                                                                        Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall
18   JANSSENBIO‐PL_2‐0000012   Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)       Louis Zambelli (lzambell@cntus.jnj.com)          Michelle Kielbasa (mkielba1@its.jnj.com)                                                      10/25/2010




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                        (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                        (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                        Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                        (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);
                                                                                                                                        Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall
19   JANSSENBIO‐PL_2‐0000013   Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)       Louis Zambelli (lzambell@cntus.jnj.com)          Michelle Kielbasa (mkielba1@its.jnj.com)                                                      10/25/2010




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                        (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                        (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                        Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                        (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);
                                                                                      Randall Scoggins         Michelle Kielbasa        Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall
20   JANSSENBIO‐PL_2‐0000014   Withheld   docx    Zambelli, Louis   Attorney‐Client   (RScoggin@its.jnj.com)   (mkielba1@its.jnj.com)   (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                                                                                                                                                      10/25/2010




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                        (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                        (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                        Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                        (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);
                                                                                      Randall Scoggins         Michelle Kielbasa        Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall
21   JANSSENBIO‐PL_2‐0000015   Withheld   docx    Zambelli, Louis   Attorney‐Client   (RScoggin@its.jnj.com)   (mkielba1@its.jnj.com)   (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                                                                                                                                                      10/25/2010




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Louis Zambelli
                                                                                                                                        (lzambell@cntus.jnj.com); Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^
                                                                                                                                        (ecarew32@its.jnj.com); Peggy Debus (pdebus@its.jnj.com); Tedra Grant (tgrant1@its.jnj.com); Monique
                                                                                                                                        Lewis (mlewis6@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt
                                                                                                                                        (drosenb1@its.jnj.com); Matthew Saggese (msaggese@its.jnj.com); Catherine Seib (cseib1@its.jnj.com);
                                                                                      Randall Scoggins         Michelle Kielbasa        Jeanine Sheppela (jsheppel@its.jnj.com); Teresa Toole (ttoole1@its.jnj.com); Scott Wasserfall
22   JANSSENBIO‐PL_2‐0000016   Withheld   docx    Zambelli, Louis   Attorney‐Client   (RScoggin@its.jnj.com)   (mkielba1@its.jnj.com)   (swasserf@its.jnj.com); Glenn Watson (gwatson5@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com)                                                                                                                                                      10/25/2010




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                        (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                        Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus
                                                                                                                                        (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);
                                                                                                                                        Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall                                                                                                                                                                      Email with attachment(s) requesting legal advice from
                                                                                                                                        (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);                                                                                                                                                                 Elizabeth Carew ^ regarding issues relating to Remicade
23   JANSSENBIO‐PL_2‐0000017   Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     Bernard Janeczko (bjaneczk@its.jnj.com)                                                                    Elizabeth Carew ^ (ecarew32@its.jnj.com)         Louis Zambelli (lzambell@cntus.jnj.com)                                                       10/25/2010   contracting issues.




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                        (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                        Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus
                                                                                                                                        (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);
                                                                                                                                        Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall
                                                                                                                                        (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);                                                                                                 Louis Zambelli (lzambell@cntus.jnj.com); Matthew
24   JANSSENBIO‐PL_2‐0000018   Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     Bernard Janeczko (bjaneczk@its.jnj.com)                                                                    Michelle Kielbasa (mkielba1@its.jnj.com)         Alicia Maleno (amaleno@its.jnj.com)        Saggese (msaggese@its.jnj.com)                     10/25/2010




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                        (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                        Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus
                                                                                                                                        (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);
                                                                                                                                        Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall
                                                                                                                                        (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);
25   JANSSENBIO‐PL_2‐0000019   Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     Bernard Janeczko (bjaneczk@its.jnj.com)                                                                    Louis Zambelli (lzambell@cntus.jnj.com)          Michelle Kielbasa (mkielba1@its.jnj.com)                                                      10/25/2010




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                        (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                        Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus           Bernard Janeczko (bjaneczk@its.jnj.com); Louis
                                                                                                                                        (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);        Zambelli (lzambell@cntus.jnj.com); Matthew
                                                                                                                                        Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall          Saggese (msaggese@its.jnj.com); Patrick Conley
                                                                                                                                        (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);     (pconley@its.jnj.com); Peter DiPalma
26   JANSSENBIO‐PL_2‐0000020   Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     Bernard Janeczko (bjaneczk@its.jnj.com)                                                                    (pdipalma@its.jnj.com)                           Michelle Kielbasa (mkielba1@its.jnj.com)                                                      10/25/2010




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                        (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                        Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus
                                                                                                                                        (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);
                                                                                                                                        Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall
                                                                                                                                        (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);
27   JANSSENBIO‐PL_2‐0000021   Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     Bernard Janeczko (bjaneczk@its.jnj.com)                                                                    Alicia Maleno (amaleno@its.jnj.com)              Michelle Kielbasa (mkielba1@its.jnj.com)   Louis Zambelli (lzambell@cntus.jnj.com)            10/25/2010




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                        (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                        Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus
                                                                                                                                        (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);
                                                                                                                                        Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall
                                                                                      Don Hirs                 Michelle Kielbasa        (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);
28   JANSSENBIO‐PL_2‐0000022   Withheld   xlsx    Zambelli, Louis   Attorney‐Client   (DHirs2@its.jnj.com)     (mkielba1@its.jnj.com)   Bernard Janeczko (bjaneczk@its.jnj.com)                                                                                                                                                                                                                   10/25/2010




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                        (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                        Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus
                                                                                                                                        (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);
                                                                                                                                        Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall
                                                                                                                                        (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);
29   JANSSENBIO‐PL_2‐0000023   Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     Bernard Janeczko (bjaneczk@its.jnj.com)                                                                    Louis Zambelli (lzambell@cntus.jnj.com)          Michelle Kielbasa (mkielba1@its.jnj.com)                                                      10/25/2010




                                                                                                                                        Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                        (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                        Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                        (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                        Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus
                                                                                                                                        (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);
                                                                                                                                        Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall
                                                                                      Don Hirs                 Michelle Kielbasa        (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);
30   JANSSENBIO‐PL_2‐0000024   Withheld   xlsx    Zambelli, Louis   Attorney‐Client   (DHirs2@its.jnj.com)     (mkielba1@its.jnj.com)   Bernard Janeczko (bjaneczk@its.jnj.com)                                                                                                                                                                                                                   10/25/2010




                                                                                                                                                                                                                    2
                                                                                                                Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 4 of 201


                                                                                                                                                                                                                    Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                    (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);   Charles Miller (cmille35@its.jnj.com); Eric
                                                                                                                                                                                                                    Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan                     Jackson (ejackso1@its.jnj.com); Jeanine Sheppela
                                                                                                                                                                                                                    (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);      (jsheppel@its.jnj.com); Joseph OHare
                                                                                                                                                                                                                    Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus           (johare@its.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);        (lzambell@cntus.jnj.com); Mark Remlinger
                                                                                                                                                                                                                    Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall          (mremling@its.jnj.com); Melinda Golden
                                                                                                                                                                                                                    (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);     (mgolden1@its.jnj.com); Todd Fragale
31                           JANSSENBIO‐PL_2‐0000025                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     Bernard Janeczko (bjaneczk@its.jnj.com)                                                                    (tfragale@its.jnj.com)                           Michelle Kielbasa (mkielba1@its.jnj.com)                                                             10/25/2010




                                                                                                                                                                                                                    Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                    (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                    Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                    (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                                                                                                    Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus
                                                                                                                                                                                                                    (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);
                                                                                                                                                                                                                    Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall
                                                                                                                                                                                                                    (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);
32                           JANSSENBIO‐PL_2‐0000026                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     Bernard Janeczko (bjaneczk@its.jnj.com)                                                                    Karen Trahan (ktrahan@its.jnj.com)                 Michelle Kielbasa (mkielba1@its.jnj.com)   Louis Zambelli (lzambell@cntus.jnj.com)                 10/25/2010




                                                                                                                                                                                                                    Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                    (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                    Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                    (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                                                                                                    Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus
                                                                                                                                                                                                                    (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);
                                                                                                                                                                                                                    Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall
                                                                                                                                                                  Don Hirs                 Michelle Kielbasa        (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);
33                           JANSSENBIO‐PL_2‐0000027                                                       Withheld   xlsx    Zambelli, Louis   Attorney‐Client   (DHirs2@its.jnj.com)     (mkielba1@its.jnj.com)   Bernard Janeczko (bjaneczk@its.jnj.com)                                                                                                                                                                                                                          10/25/2010




                                                                                                                                                                                                                    Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                    (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                    Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                    (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                                                                                                    Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus           Christine Cappello (ccappell@its.jnj.com); David
                                                                                                                                                                                                                    (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);        Rosenblatt (drosenb1@its.jnj.com); Matthew
                                                                                                                                                                                                                    Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall          Saggese (msaggese@its.jnj.com); Peggy Debus
                                                                                                                                                                                                                    (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);     (pdebus@its.jnj.com); Scott Wasserfall
34                           JANSSENBIO‐PL_2‐0000028                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     Bernard Janeczko (bjaneczk@its.jnj.com)                                                                    (swasserf@its.jnj.com)                             Michelle Kielbasa (mkielba1@its.jnj.com)   Louis Zambelli (lzambell@cntus.jnj.com)                 10/25/2010




                                                                                                                                                                                                                    Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                    (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                    Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                    (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                                                                                                    Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus
                                                                                                                                                                                                                    (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);
                                                                                                                                                                                                                    Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall
                                                                                                                                                                  Don Hirs                 Michelle Kielbasa        (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);
35                           JANSSENBIO‐PL_2‐0000029                                                       Withheld   xlsx    Zambelli, Louis   Attorney‐Client   (DHirs2@its.jnj.com)     (mkielba1@its.jnj.com)   Bernard Janeczko (bjaneczk@its.jnj.com)                                                                                                                                                                                                                          10/25/2010




                                                                                                                                                                                                                    Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                    (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);
                                                                                                                                                                                                                    Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                    (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);
                                                                                                                                                                                                                    Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus
                                                                                                                                                                                                                    (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);
                                                                                                                                                                                                                    Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall
                                                                                                                                                                                                                    (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);
36                           JANSSENBIO‐PL_2‐0000030                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     Bernard Janeczko (bjaneczk@its.jnj.com)                                                                    Louis Zambelli (lzambell@cntus.jnj.com)            Michelle Kielbasa (mkielba1@its.jnj.com)                                                           10/25/2010




                                                                                                                                                                                                                    Todd Fragale (tfragale@its.jnj.com); Melinda Golden (mgolden1@its.jnj.com); Eric Jackson
                                                                                                                                                                                                                    (ejackso1@its.jnj.com); Michelle Kielbasa (mkielba1@its.jnj.com); Charles Miller (cmille35@its.jnj.com);   Charles Miller (cmille35@its.jnj.com); Eric
                                                                                                                                                                                                                    Joseph OHare (johare@its.jnj.com); Mark Remlinger (mremling@its.jnj.com); Karen Trahan                     Jackson (ejackso1@its.jnj.com); Jeanine Sheppela
                                                                                                                                                                                                                    (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Peter DiPalma (pdipalma@its.jnj.com);      (jsheppel@its.jnj.com); Joseph OHare
                                                                                                                                                                                                                    Christine Cappello (ccappell@its.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Peggy Debus           (johare@its.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (pdebus@its.jnj.com); Alicia Maleno (amaleno@its.jnj.com); David Rosenblatt (drosenb1@its.jnj.com);        (lzambell@cntus.jnj.com); Mark Remlinger
                                                                                                                                                                                                                    Matthew Saggese (msaggese@its.jnj.com); Jeanine Sheppela (jsheppel@its.jnj.com); Scott Wasserfall          (mremling@its.jnj.com); Melinda Golden
                                                                                                                                                                                                                    (swasserf@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Patrick Conley (pconley@its.jnj.com);     (mgolden1@its.jnj.com); Todd Fragale
37                           JANSSENBIO‐PL_2‐0000031                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     Bernard Janeczko (bjaneczk@its.jnj.com)                                                                    (tfragale@its.jnj.com)                           Michelle Kielbasa (mkielba1@its.jnj.com)     Karen Trahan (ktrahan@its.jnj.com)                      10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli                                                                                                                                                                             Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli                                                                                                                                                                                            regarding issues relating to lawfulness of practice
38                           JANSSENBIO‐PL_2‐0000032                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (lzambell@cntus.jnj.com)                                                                                   Elizabeth Carew ^ (ecarew32@its.jnj.com)           Louis Zambelli (lzambell@cntus.jnj.com)                                                            10/25/2010   management or IOI support services.

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
39                           JANSSENBIO‐PL_2‐0000033                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (lzambell@cntus.jnj.com)                                                                                   Louis Zambelli (lzambell@cntus.jnj.com)            Michelle Kielbasa (mkielba1@its.jnj.com)                                                           10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                  Todd Yoder               Todd Yoder               (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
40                           JANSSENBIO‐PL_2‐0000034                                                       Withheld   xls     Zambelli, Louis   Attorney‐Client   (tyoder2@its.jnj.com)    (tyoder2@its.jnj.com)    (lzambell@cntus.jnj.com)                                                                                                                                                                                                                                         10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
41                           JANSSENBIO‐PL_2‐0000035                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (lzambell@cntus.jnj.com)                                                                                   Louis Zambelli (lzambell@cntus.jnj.com)            Michelle Kielbasa (mkielba1@its.jnj.com)                                                           10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
42                           JANSSENBIO‐PL_2‐0000036                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (lzambell@cntus.jnj.com)                                                                                   Louis Zambelli (lzambell@cntus.jnj.com)            Michelle Kielbasa (mkielba1@its.jnj.com)                                                           10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
43                           JANSSENBIO‐PL_2‐0000037                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (lzambell@cntus.jnj.com)                                                                                   Michelle Kielbasa (mkielba1@its.jnj.com)           Louis Zambelli (lzambell@cntus.jnj.com)    Louis Zambelli (lzambell@cntus.jnj.com)                 10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
44                           JANSSENBIO‐PL_2‐0000038                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (lzambell@cntus.jnj.com)                                                                                   Louis Zambelli (lzambell@cntus.jnj.com)            Michelle Kielbasa (mkielba1@its.jnj.com)                                                           10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                                           Michelle Kielbasa        (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
45                           JANSSENBIO‐PL_2‐0000039                                                       Withheld   xlsx    Zambelli, Louis   Attorney‐Client                            (mkielba1@its.jnj.com)   (lzambell@cntus.jnj.com)                                                                                                                                                                                                                                         10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
46                           JANSSENBIO‐PL_2‐0000040                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (lzambell@cntus.jnj.com)                                                                                   Louis Zambelli (lzambell@cntus.jnj.com)            Michelle Kielbasa (mkielba1@its.jnj.com)                                                           10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
47                           JANSSENBIO‐PL_2‐0000041                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (lzambell@cntus.jnj.com)                                                                                   Louis Zambelli (lzambell@cntus.jnj.com)            Michelle Kielbasa (mkielba1@its.jnj.com)                                                           10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
48                           JANSSENBIO‐PL_2‐0000042                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (lzambell@cntus.jnj.com)                                                                                   Louis Zambelli (lzambell@cntus.jnj.com)            Michelle Kielbasa (mkielba1@its.jnj.com)                                                           10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
49                           JANSSENBIO‐PL_2‐0000043                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (lzambell@cntus.jnj.com)                                                                                   Louis Zambelli (lzambell@cntus.jnj.com)            Michelle Kielbasa (mkielba1@its.jnj.com)                                                           10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
50                           JANSSENBIO‐PL_2‐0000044                                                       Withheld   eMail   Zambelli, Louis   Attorney‐Client                                                     (lzambell@cntus.jnj.com)                                                                                   Louis Zambelli (lzambell@cntus.jnj.com)            Michelle Kielbasa (mkielba1@its.jnj.com)                                                           10/25/2010

                                                                                                                                                                                                                    Michelle Kielbasa (mkielba1@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Louis Zambelli
                                                                                                                                                                  Peta Graham              Michelle Kielbasa        (lzambell@cntus.jnj.com); Elizabeth Carew ^ (ecarew32@its.jnj.com); Louis Zambelli
51                           JANSSENBIO‐PL_2‐0000045                                                       Withheld   xlsx    Zambelli, Louis   Attorney‐Client   (PGraham1@its.jnj.com)   (mkielba1@its.jnj.com)   (lzambell@cntus.jnj.com)                                                                                                                                                                                                                                         10/25/2010
                                                                                                                                                                                                                                                                                                                                                                                                                             Chris Roberson (crobers1@its.jnj.com); Eugene Queener
                                                                                                                                                                                                                    Karen Trahan (ktrahan@its.jnj.com); Paul Wickmann (pwickma1@its.jnj.com); Louis Zambelli                                                                                                                 (equeener@its.jnj.com); Louis Zambelli
                                                                                                                                                                                                                    (lzambell@cntus.jnj.com); Matthew Koch (mkoch2@its.jnj.com); Eugene Queener (equeener@its.jnj.com);                                                                                                      (lzambell@cntus.jnj.com); Paul Wickmann                              Email chain reflecting legal advice from the Law
52                                                     JANSSENBIO‐021‐00008687   JANSSENBIO‐021‐00008687   Redacted   eMail   Zambelli, Louis   Attorney‐Client                                                     Chris Roberson (crobers1@its.jnj.com)                                                                      Karen Trahan (ktrahan@its.jnj.com)                 Matthew Koch (mkoch2@its.jnj.com)          (pwickma1@its.jnj.com)                                   1/14/2015   Department ^ regarding contracting.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
53   JANSSENBIO‐PL‐0000107   JANSSENBIO‐PL_2‐0000046                                                                                                                                                                                                                                                                                                                                                                                                                                              2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
54   JANSSENBIO‐PL‐0000108   JANSSENBIO‐PL_2‐0000047                                                                                                                                                                                                                                                                                                                                                                                                                                              2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Communication reflecting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Department ^ and Kathleen Hamill ^ regarding customer
55   JANSSENBIO‐PL‐0000109   JANSSENBIO‐PL_2‐0000048                                                       Withheld   htm     Long, Julie       Attorney‐Client                                                                                                                                                                                                                                                                                                                       3/14/2007   communications.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
56                           JANSSENBIO‐PL_2‐0000049                                                                                                                                                                                                                                                                                                                                                                                                                                              2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
57                           JANSSENBIO‐PL_2‐0000050                                                                                                                                                                                                                                                                                                                                                                                                                                              2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
58                           JANSSENBIO‐PL_2‐0000051                                                                                                                                                                                                                                                                                                                                                                                                                                              2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 2,
59                           JANSSENBIO‐PL_2‐0000052                                                                                                                                                                                                                                                                                                                                                                                                                                              2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 2,
60                           JANSSENBIO‐PL_2‐0000053                                                                                                                                                                                                                                                                                                                                                                                                                                              2024




                                                                                                                                                                                                                                                                                                3
                                                                                                                Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 5 of 201


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Brian Kerns (bkerns@thomasjpaul.com); Donna Gilbert
                                                                                                                                                                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Anthony DiPierno                                                                                                                                                           (donna.gilbert@xcenda.com); Hitu Malhotra
                                                                                                                                                                                                                                   (anthony.dipierno@xcenda.com); Donna Gilbert (donna.gilbert@xcenda.com); Hitu Malhotra                                                                                                                                                                  (hmalhotr@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                   (hmalhotr@its.jnj.com); Hitu Malhotra (hmalhotr@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);                                                                                                                                                     (ktrahan@its.jnj.com); Melissa Mulchahey
                                                                                                                                                                                                                                   Michael Wolfe (mwolfe2@its.jnj.com); Brian Kerns (bkerns@thomasjpaul.com); Melissa Mulchahey                                                                                                                                                            (melissa.mulchahey@xcenda.com); Peggy Mellody                           Email communication reflecting legal advice from Akin
                                                                                                                                                                                                                                   (melissa.mulchahey@xcenda.com); Jim Paul (jkpaul@thomasjpaul.com); Michael Wolfe                                                                                                                                                                        (pmellody@its.jnj.com); William Pettit                                  Gump ^ regarding preparation of customer‐facing
61                                                     JANSSENBIO‐021‐00005555   JANSSENBIO‐021‐00005559   Redacted   eMail   Trahan, Karen                 Attorney‐Client                                                        (mwolfe2@its.jnj.com); Jim Paul (jkpaul@thomasjpaul.com)                                                                                                  Michael Wolfe (mwolfe2@its.jnj.com)                Jim Paul (jkpaul@thomasjpaul.com)          (wpettitj@cntus.jnj.com)                                    6/14/2011   practice management or IOI support material.



                                                                                                                                                                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Anthony DiPierno
                                                                                                                                                                                                                                   (anthony.dipierno@xcenda.com); Donna Gilbert (donna.gilbert@xcenda.com); Hitu Malhotra
                                                                                                                                                                                                                                   (hmalhotr@its.jnj.com); Hitu Malhotra (hmalhotr@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                                                                                                   Michael Wolfe (mwolfe2@its.jnj.com); Brian Kerns (bkerns@thomasjpaul.com); Melissa Mulchahey                                                                                                                                                                                                                                    Email communication reflecting legal advice from Akin
                                                                                                                                                                                                                                   (melissa.mulchahey@xcenda.com); Jim Paul (jkpaul@thomasjpaul.com); Michael Wolfe                                                                                                                                                                                                                                                Gump ^ regarding preparation of customer‐facing
62                                                     JANSSENBIO‐021‐00005562   JANSSENBIO‐021‐00005562   Redacted   eMail   Trahan, Karen                 Attorney‐Client                                                        (mwolfe2@its.jnj.com); Jim Paul (jkpaul@thomasjpaul.com)                                                                                                  Jim Paul (jkpaul@thomasjpaul.com)                  Michael Wolfe (mwolfe2@its.jnj.com)                                                                    6/14/2011   practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Presentation reflecting legal advice from Outside
                                                                                                                                                                                                       Jamie Anderson ^                                                                                                                                                                                                                                                                                                                                            Counsel regarding preparation/review of customer‐
63                           JANSSENBIO‐PL_2‐0000054                                                       Withheld   PPTX    Trahan, Karen                 Attorney‐Client   Dana Guilmin             (jlanderson@akingump.com)                                                                                                                                                                                                                                                                                                                       6/14/2011   facing practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                             Anna Estrellas (aestrellas@its.jnj.com); Chad
                                                                                                                                                                                                                                                                                                                                                                                             Bower (cbower2@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                                                                                                                                                                             (ktrahan@its.jnj.com); Matt Zuiderhof                                                                                                                                 Email communication reflecting a request for
                                                                                                                                                                                                                                   Karen Trahan (ktrahan@its.jnj.com); Chad Bower (cbower2@its.jnj.com); Thomas Cornely                                                                      (mzuiderh@its.jnj.com); Michelle Walls                                                                                                                                information from the Law Department ^ for the purpose
                                                                                                                                                                                                                                   (tcornel@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Samantha Hand (shand@its.jnj.com); Erin                                                   (mwalls@its.jnj.com); Michelle Zarish                                                                                                                                 of providing legal advice regarding preparation/review of
                                                                                                                                                                                                                                   Parsons (eparson5@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls                                                                       (mzarish2@its.jnj.com); Thomas Cornely                                                        Erin Parsons (eparson5@its.jnj.com); Samantha Hand                      internal training or internal guidance concerning practice
64   JANSSENBIO‐PL‐0000114   JANSSENBIO‐PL_2‐0000055                                                       Withheld   eMail   Trahan, Karen                 Attorney‐Client                                                        (mwalls@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                                       (tcornel@its.jnj.com)                              Michelle Walls (mwalls@its.jnj.com)        (shand@its.jnj.com)                                         9/29/2014   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email with attachment(s) reflecting legal advice from the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Law Department ^ regarding communications with
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   customers concerning patient financial support
65                                                     JANSSENBIO‐021‐00005599   JANSSENBIO‐021‐00005602   Redacted   eMail   Trahan, Karen                 Attorney‐Client                                                        Karen Trahan (ktrahan@its.jnj.com); Stacey Slater (sslater1@its.jnj.com)                                                                                  Stacey Slater (sslater1@its.jnj.com)          Karen Trahan (ktrahan@its.jnj.com)                                                                          12/5/2014   programs.
                                                                                                                                                                                                                                                                                                                                                                                             Angela Wood (awood6@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                                                                                             Guiton ^ (cguiton@its.jnj.com); David Fabbri
                                                                                                                                                                                                                                                                                                                                                                                             (dfabbri@its.jnj.com); Eric Monzon
                                                                                                                                                                                                                                                                                                                                                                                             (emonzon1@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                                                                                                                                                                             (ktrahan@its.jnj.com); Kathryn Roberts
                                                                                                                                                                                                                                   Karen Trahan (ktrahan@its.jnj.com); Melissa Ayers (mayers2@its.jnj.com); Eric Monzon                                                                      (krober10@its.jnj.com); Melissa Ayers                                                                                                                                 Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                   (emonzon1@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com);                                                         (mayers2@its.jnj.com); Paul Duncan                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                                                   David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                                                           (pduncan9@its.jnj.com); Thomas Cornely                                                                                                                                internal guidance concerning practice management or IOI
66   JANSSENBIO‐PL‐0000115   JANSSENBIO‐PL_2‐0000056                                                       Withheld   eMail   Trahan, Karen                 Attorney‐Client                                                        (krober10@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                (tcornel@its.jnj.com)                         Angela Wood (awood6@its.jnj.com)                                                                             6/4/2013   support.



                                                                                                                                                                                                                                   Karen Trahan (ktrahan@its.jnj.com); Melissa Ayers (mayers2@its.jnj.com); Eric Monzon
                                                                                                                                                                                                                                   (emonzon1@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com);
                                                                                                                                                                              James Knepp              John Monzon                 David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts
67   JANSSENBIO‐PL‐0000116   JANSSENBIO‐PL_2‐0000057                                                       Withheld   pptx    Trahan, Karen                 Attorney‐Client   (jknepp5@its.jnj.com)    (emonzon1@ITS.JNJ.COM)      (krober10@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                           6/4/2013

                                                                                                                                                                                                                                   Karen Trahan (ktrahan@its.jnj.com); Linda Davis (ldavis9@its.jnj.com); Paul Duncan
                                                                                                                                                                                                                                   (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Chris Roberson (crobers1@its.jnj.com);
                                                                                                                                                                                                                                   Marti Heckman (mheckman@its.jnj.com); Immunology Communications (ra‐cntus‐                                                                                                                                                                                                                                                      Email chain providing legal advice regarding issues
                                                                                                                                                                                                                                   immunolog@its.jnj.com); Sharon Patton (spatton@its.jnj.com); Thomas Spellman ^                                                                            Chris Roberson (crobers1@its.jnj.com); Sharon                                                                                                                         relating to interactions or communications between
68   JANSSENBIO‐PL‐0000117   JANSSENBIO‐PL_2‐0000058                                                       Withheld   eMail   Trahan, Karen                 Attorney‐Client                                                        (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                 Patton (spatton@its.jnj.com)                       Karen Trahan (ktrahan@its.jnj.com)                                                                    10/16/2014   ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                Bob Russell (brussell@its.jnj.com); Janet
                                                                                                                                                                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan                    Burns (jburns@its.jnj.com); Karen Trahan                                                                                                   Bob Russell (brussell@its.jnj.com); Janet Burns                         Email chain reflecting request for legal advice from
                                                                                                                                                                                                                                   (ktrahan@its.jnj.com); Paul Waguespack (pwaguesp@cntus.jnj.com); Paul Wickmann                               (ktrahan@its.jnj.com); Logan Morse                                                                                                         (jburns@its.jnj.com); Paul Waguespack                                   Thomas Spellman ^, Kathleen Hamill ^, and John
                                                                                                                                                                                                                                   (pwickma1@its.jnj.com); Janet Burns (jburns@its.jnj.com); Logan Morse (lmorse@its.jnj.com); Bob              (lmorse@its.jnj.com); William Pettit         Logan Morse (lmorse@its.jnj.com); William Pettit                                              (pwaguesp@cntus.jnj.com); Paul Wickmann                                 Vaughan ^ regarding issues relating to interactions or
69   JANSSENBIO‐PL‐0000138   JANSSENBIO‐PL_2‐0000059                                                       Withheld   eMail   Wickmann, Paul                Attorney‐Client                                                        Russell (brussell@its.jnj.com)                                                                               (wpettitj@cntus.jnj.com)                     (wpettitj@cntus.jnj.com)                         Karen Trahan (ktrahan@its.jnj.com)           (pwickma1@its.jnj.com)                                      1/19/2011   communications between ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 2,
70                                                     JANSSENBIO‐021‐00005818                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2024



                                                                                                                                                                                                                                   Dana Griffith (dgriffi4@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                   (ktrahan@its.jnj.com); Paul Wickmann (pwickma1@its.jnj.com); Robert Bazemore
                                                                                                                                                                                                                                   (rbazemor@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com);
                                                                                                                                                                                                                                   Kathleen Hamill ^ (khamill@cntus.jnj.com); Marti Heckman (mheckman@its.jnj.com); Michelle Walls                                                                                                                                                                                                                                 Email chain providing legal advice regarding issues
                                                                                                                                                                                                                                   (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Paul Wickmann (pwickma1@its.jnj.com);                                                          Dana Griffith (dgriffi4@its.jnj.com); Karen Trahan                                                                                                                    relating to lawfulness of practice management or IOI
71   JANSSENBIO‐PL‐0000141   JANSSENBIO‐PL_2‐0000060                                                       Withheld   eMail   Wickmann, Paul                Attorney‐Client                                                        Lynda Long (llogan@its.jnj.com); Mary Westbrook (mwestbr1@its.jnj.com)                                                                                    (ktrahan@its.jnj.com)                              Paul Wickmann (pwickma1@its.jnj.com)                                                                  11/27/2011   support services.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain providing legal advice regarding
                                                                                                                                                                                                                                   Karen Trahan (ktrahan@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Hitu Malhotra                                                                                                                                                                                                                                     preparation/review of customer‐facing practice
72                                                     JANSSENBIO‐021‐00005959   JANSSENBIO‐021‐00005962   Redacted   eMail   Trahan, Karen                 Attorney‐Client                                                        (hmalhotr@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com)                                                              Elizabeth Lawless (elawless@its.jnj.com)           Karen Trahan (ktrahan@its.jnj.com)                                                                     6/10/2011   management or IOI support material.

                                                                                                                                                                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Elizabeth Lawless                                                                                                                                                                                                                                  Email chain providing legal advice regarding
                                                                                                                                                                                                                                   (elawless@its.jnj.com); Hitu Malhotra (hmalhotr@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Faiz                                                    Karen Trahan (ktrahan@its.jnj.com); William                                                                                                                          preparation/review of customer‐facing practice
73                                                     JANSSENBIO‐021‐00005963   JANSSENBIO‐021‐00005967   Redacted   eMail   Trahan, Karen                 Attorney‐Client                                                        Sadeq (fsadeq@its.jnj.com)                                                                                                                                 Pettit (wpettitj@cntus.jnj.com)                   Elizabeth Lawless (elawless@its.jnj.com)                                                                7/5/2011   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                Anna Estrellas (aestrellas@its.jnj.com); Chad Anna Estrellas (aestrellas@its.jnj.com); Karen
                                                                                                                                                                                                                                                                                                                                                Bower (cbower2@its.jnj.com); Erin Parsons Trahan (ktrahan@its.jnj.com); Matt Zuiderhof
                                                                                                                                                                                                                                   Karen Trahan (ktrahan@its.jnj.com); Chad Bower (cbower2@its.jnj.com); Thomas Cornely                         (eparson5@its.jnj.com); Karen Trahan          (mzuiderh@its.jnj.com); Michelle Walls                                                                                                                               Email chain with attachment(s) providing information to
                                                                                                                              Cornely, Thomas; Parsons,                                                                            (tcornel@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Samantha Hand (shand@its.jnj.com); Erin      (ktrahan@its.jnj.com); Matt Zuiderhof         (mwalls@its.jnj.com); Michelle Zarish                                                                                                                                the Law Department ^ for the purpose of receiving legal
                                                                                                                              Erin; Trahan, Karen; Walls,                                                                          Parsons (eparson5@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls                          (mzuiderh@its.jnj.com); Michelle Walls        (mzarish2@its.jnj.com); Thomas Cornely                                                       Erin Parsons (eparson5@its.jnj.com); Samantha Hand                      advice regarding issues relating to lawfulness of practice
74   JANSSENBIO‐PL‐0000122   JANSSENBIO‐PL_2‐0000061                                                       Withheld   eMail   Michelle                      Attorney‐Client                                                        (mwalls@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)          (mwalls@its.jnj.com); Michelle Zarish         (tcornel@its.jnj.com)                             Chad Bower (cbower2@its.jnj.com)           (shand@its.jnj.com)                                         9/29/2014   management or IOI support services.



                                                                                                                                                                                                                                   Karen Trahan (ktrahan@its.jnj.com); Chad Bower (cbower2@its.jnj.com); Thomas Cornely                                                                                                                                                                                                                                            Presentation reflecting request for legal advice from
                                                                                                                              Cornely, Thomas; Parsons,                                                                            (tcornel@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Samantha Hand (shand@its.jnj.com); Erin                                                                                                                                                                                                                         Legal Department regarding preparation/review of
                                                                                                                              Erin; Trahan, Karen; Walls,                     Doug Kennedy             Chad Bower                  Parsons (eparson5@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls                                                                                                                                                                                                                                             internal training or internal guidance concerning practice
75   JANSSENBIO‐PL‐0000123   JANSSENBIO‐PL_2‐0000062                                                       Withheld   pptx    Michelle                      Attorney‐Client   (dkenned6@its.jnj.com)   (cbower2@its.jnj.com)       (mwalls@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                                                                                                                                                                                                 9/29/2014   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                             Amit Patel (apatel18@its.jnj.com); Angela Wood
                                                                                                                                                                                                                                                                                                                                                                                             (awood6@its.jnj.com); Donald Howard
                                                                                                                                                                                                                                                                                                                                                                                             (dhoward3@its.jnj.com); John Vaughan ^
                                                                                                                                                                                                                                                                                                                                                                                             (jvaughan@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Hitu Malhotra                                                                (ktrahan@its.jnj.com); Michelle Walls
                                                                                                                                                                                                                                   (hmalhotr@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Donald Howard (dhoward3@its.jnj.com);                                                        (mwalls@its.jnj.com); Roger Kung                                                                                                                                      Email chain requesting legal advice regarding
                                                                                                                                                                                                                                   Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Thomas Occhipinti                                                                  (rkung@its.jnj.com); Thomas Occhipinti                                                                                                                                preparation/review of internal training or internal
                                                                                                                              Trahan, Karen; Walls,                                                                                (tocchipi@its.jnj.com); Roger Kung (rkung@its.jnj.com); Amit Patel (apatel18@its.jnj.com); John Vaughan                                                   (tocchipi@its.jnj.com); William Pettit                                                                                                                                guidance concerning practice management or IOI
76   JANSSENBIO‐PL‐0000124   JANSSENBIO‐PL_2‐0000063                                                       Withheld   eMail   Michelle                      Attorney‐Client                                                        ^ (jvaughan@its.jnj.com)                                                                                                                                  (wpettitj@cntus.jnj.com)                           Michael Wolfe (mwolfe2@its.jnj.com)        Hitu Malhotra (hmalhotr@its.jnj.com)                        3/18/2011   support.
                                                                                                                                                                                                                                                                                                                                                                                             Amit Patel (apatel18@its.jnj.com); Angela Wood
                                                                                                                                                                                                                                                                                                                                                                                             (awood6@its.jnj.com); Donald Howard
                                                                                                                                                                                                                                                                                                                                                                                             (dhoward3@its.jnj.com); John Vaughan ^
                                                                                                                                                                                                                                                                                                                                                                                             (jvaughan@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Hitu Malhotra                                                                (ktrahan@its.jnj.com); Michael Wolfe
                                                                                                                                                                                                                                   (hmalhotr@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Donald Howard (dhoward3@its.jnj.com);                                                        (mwolfe2@its.jnj.com); Michelle Walls
                                                                                                                                                                                                                                   Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Thomas Occhipinti                                                                  (mwalls@its.jnj.com); Thomas Occhipinti                                                                                                                               Email chain with attachment(s) requesting legal advice
                                                                                                                              Trahan, Karen; Walls,                                                                                (tocchipi@its.jnj.com); Roger Kung (rkung@its.jnj.com); Amit Patel (apatel18@its.jnj.com); John Vaughan                                                   (tocchipi@its.jnj.com); William Pettit                                                                                                                                regarding issues relating to lawfulness of practice
77   JANSSENBIO‐PL‐0000125   JANSSENBIO‐PL_2‐0000064                                                       Withheld   eMail   Michelle                      Attorney‐Client                                                        ^ (jvaughan@its.jnj.com)                                                                                                                                  (wpettitj@cntus.jnj.com)                           Roger Kung (rkung@its.jnj.com)             Hitu Malhotra (hmalhotr@its.jnj.com)                        3/18/2011   management or IOI support services.

                                                                                                                                                                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Hitu Malhotra
                                                                                                                                                                                                                                   (hmalhotr@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Donald Howard (dhoward3@its.jnj.com);
                                                                                                                                                                                                                                   Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Thomas Occhipinti
                                                                                                                              Trahan, Karen; Walls,                           Michelle Walls           Roger Kung                  (tocchipi@its.jnj.com); Roger Kung (rkung@its.jnj.com); Amit Patel (apatel18@its.jnj.com); John Vaughan
78   JANSSENBIO‐PL‐0000126   JANSSENBIO‐PL_2‐0000065                                                       Withheld   ppt     Michelle                      Attorney‐Client   (mwalls@its.jnj.com)     (rkung@its.jnj.com)         ^ (jvaughan@its.jnj.com)                                                                                                                                                                                                                                                                                            3/18/2011
                                                                                                                                                                                                                                                                                                                                                Jennifer Dickerson (jdicker1@its.jnj.com);                                                                                                                                                                         Email chain providing information to counsel for the
                                                                                                                              Greenidge, Edmund;                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Lynda Gant                      Karen Trahan (ktrahan@its.jnj.com); William                                                                                                Karen Trahan (ktrahan@its.jnj.com); Lynda Gant                          purpose of receiving legal advice from outside counsel
79   JANSSENBIO‐PL‐0000127   JANSSENBIO‐PL_2‐0000066                                                       Withheld   eMail   Trahan, Karen                 Attorney‐Client                                                        (lgant@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com)                                                 Pettit (wpettitj@cntus.jnj.com)             Edmund Greenidge (egreenid@its.jnj.com)             William Pettit (wpettitj@cntus.jnj.com)    (lgant@its.jnj.com)                                          8/6/2010   regarding issues related to corporate tax.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain collecting information at direction of
                                                                                                                                                                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michelle Walls                                                               Bob Russell (brussell@its.jnj.com); Karen Trahan                                                                                                                      counsel for the purpose of providing legal advice
                                                                                                                                                                                                                                   (mwalls@its.jnj.com); Logan Morse (lmorse@its.jnj.com); Bob Russell (brussell@its.jnj.com); John                                                          (ktrahan@its.jnj.com); William Pettit                                                                                                                                 regarding issues relating to interactions or
80   JANSSENBIO‐PL‐0000128   JANSSENBIO‐PL_2‐0000067                                                       Withheld   eMail   Trahan, Karen                 Attorney‐Client                                                        Vaughan ^ (jvaughan@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                        (wpettitj@cntus.jnj.com)                           Logan Morse (lmorse@its.jnj.com)                                                                        1/6/2011   communications between ABSs and physician offices.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain reflecting legal advice of the Law Department
                                                                                                                                                                                                                                   Dana Griffith (dgriffi4@its.jnj.com); Paul Wickmann (pwickma1@its.jnj.com); Paul Wickmann                                                                                                                                                                                                                                       ^ regarding interactions or communications between
81                                                     JANSSENBIO‐021‐00008122   JANSSENBIO‐021‐00008123   Redacted   eMail   Wickmann, Paul                Attorney‐Client                                                        (pwickma1@its.jnj.com)                                                                                                                                    Dana Griffith (dgriffi4@its.jnj.com)               Paul Wickmann (pwickma1@its.jnj.com)                                                                    7/8/2011   ABSs and physician offices.



                                                                                                                                                                                                                                   Dana Griffith (dgriffi4@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Karen Trahan
                                                                                                                                                                                                                                   (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Jeanne Varin (jvarin@its.jnj.com); Paul
                                                                                                                                                                                                                                   Waguespack (pwaguesp@cntus.jnj.com); Paul Wickmann (pwickma1@its.jnj.com); Robert Bazemore
                                                                                                                                                                                                                                   (rbazemor@its.jnj.com); Louis Ferrari (lferrar2@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);
                                                                                                                                                                                                                                   Thomas Spellman ^ (tspellma@its.jnj.com); Logan Morse (lmorse@its.jnj.com); Bob Russell                                                                                                                                                                                                                                         Email chain providing legal advice regarding issues
                                                                                                                                                                                                                                   (brussell@its.jnj.com); Paul Wickmann (pwickma1@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com);                                                                                                                                                                                                                            relating to interactions or communications between
82   JANSSENBIO‐PL‐0000142   JANSSENBIO‐PL_2‐0000068                                                       Withheld   eMail   Wickmann, Paul                Attorney‐Client                                                        Scott White (swhite17@its.jnj.com)                                                                                                                        Paul Wickmann (pwickma1@its.jnj.com)               Dana Griffith (dgriffi4@its.jnj.com)                                                                   1/22/2011   ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                   Michael Baraldi (mbaraldi@its.jnj.com); Brian Ellis ^ (bellis6@its.jnj.com); Ken Pugh (kpugh@its.jnj.com);                                                Brian Ellis ^ (bellis6@its.jnj.com); Ken Pugh                                                 Karen Trahan (ktrahan@its.jnj.com); Susan Turner                        regarding issues relating to lawfulness of practice
83   JANSSENBIO‐PL‐0000129   JANSSENBIO‐PL_2‐0000069                                                       Withheld   eMail   Trahan, Karen                 Attorney‐Client                                                        Karen Trahan (ktrahan@its.jnj.com); Susan Turner (sturne13@its.jnj.com)                                                                                   (kpugh@its.jnj.com)                                Michael Baraldi (mbaraldi@its.jnj.com)     (sturne13@its.jnj.com)                                       3/2/2009   management or IOI support services.

                                                                                                                                                                              Susan Turner             Susan Turner                Michael Baraldi (mbaraldi@its.jnj.com); Brian Ellis ^ (bellis6@its.jnj.com); Ken Pugh (kpugh@its.jnj.com);
84   JANSSENBIO‐PL‐0000130   JANSSENBIO‐PL_2‐0000070                                                       Withheld   xlsx    Trahan, Karen                 Attorney‐Client   (sturne13@its.jnj.com)   (sturne13@its.jnj.com)      Karen Trahan (ktrahan@its.jnj.com); Susan Turner (sturne13@its.jnj.com)                                                                                                                                                                                                                                              3/2/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email with attachment(s) reflecting legal advice from the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Law Department ^ regarding Remicade access
85                                                     JANSSENBIO‐021‐00006733   JANSSENBIO‐021‐00006736   Redacted   eMail   Trahan, Karen                 Attorney‐Client                                                        Karen Trahan (ktrahan@its.jnj.com); Stacey Slater (sslater1@its.jnj.com)                                                                                  Stacey Slater (sslater1@its.jnj.com)               Karen Trahan (ktrahan@its.jnj.com)                                                                     12/5/2014   programming materials.




                                                                                                                                                                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                   (ktrahan@its.jnj.com); Jimmy Anderson (janders7@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com);                                                                                                                                                  Andrew Brackbill (abrackbi@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                   Rhonda Burden (rburden@its.jnj.com); Francisco Comas (fcomas@its.jnj.com); Lynda Gant                                                                                                                                                                   (ktrahan@its.jnj.com); Raymond Pellicciotti
                                                                                                                                                                                                                                   (lgant@its.jnj.com); David Gelfuso (dgelfuso@its.jnj.com); Gerry Gribbon (ggribbon@cntus.jnj.com);                                                                                                                                                      (rpellicc@its.jnj.com); Troy Schurr
                                                                                                                                                                                                                                   John R. Hogan (jhogan3@its.jnj.com); Logan Morse (lmorse@its.jnj.com); Keith Varni                                                                        Logan Morse (lmorse@its.jnj.com); Lynda Gant                                                  (tschurr1@its.jnj.com); William Pettit                                  Email chain with attachment(s) reflecting legal advice
86                                                     JANSSENBIO‐021‐00006748   JANSSENBIO‐021‐00006749   Redacted   eMail   Trahan, Karen                 Attorney‐Client                                                        (kvarni@its.jnj.com); Raymond Pellicciotti (rpellicc@its.jnj.com); Troy Schurr (tschurr1@its.jnj.com)                                                     (lgant@its.jnj.com)                                Karen Trahan (ktrahan@its.jnj.com)         (wpettitj@cntus.jnj.com)                                    7/30/2010   from the Law Department ^ regarding contracting.

                                                                                                                              Trahan, Karen; Weimer,                                                                               William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Lynda Gant                                                                   Karen Trahan (ktrahan@its.jnj.com); William                                                   Elizabeth Michel (emichel@its.jnj.com); Lynda Gant                      Email chain reflecting legal advice from the Law
87                                                     JANSSENBIO‐021‐00006755   JANSSENBIO‐021‐00006758   Redacted   eMail   Edward                        Attorney‐Client                                                        (lgant@its.jnj.com); Elizabeth Michel (emichel@its.jnj.com); Ed Weimer (eweimer@cntus.jnj.com)                                                            Pettit (wpettitj@cntus.jnj.com)                    Ed Weimer (eweimer@cntus.jnj.com)          (lgant@its.jnj.com)                                         3/17/2010   Department ^ regarding ABS training requirements.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Karen Trahan (ktrahan@its.jnj.com); Lynda Gant
                                                                                                                                                                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Lynda Gant                                                                                                                                                                 (lgant@its.jnj.com); Michelle Lynch                                     Email chain reflecting legal advice from the Law
88                                                     JANSSENBIO‐021‐00006759   JANSSENBIO‐021‐00006759   Redacted   eMail   Trahan, Karen                 Attorney‐Client                                                        (lgant@its.jnj.com); Michelle Lynch (mlynch10@its.jnj.com); Troy Schurr (tschurr1@its.jnj.com)                                                            William Pettit (wpettitj@cntus.jnj.com)            Troy Schurr (tschurr1@its.jnj.com)         (mlynch10@its.jnj.com)                                       3/9/2010   Department ^ regarding ABS training requirements.




                                                                                                                                                                                                                                   William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                   (ktrahan@its.jnj.com); Jimmy Anderson (janders7@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com);
                                                                                                                                                                                                                                   Rhonda Burden (rburden@its.jnj.com); Francisco Comas (fcomas@its.jnj.com); Lynda Gant
                                                                                                                                                                                                                                   (lgant@its.jnj.com); David Gelfuso (dgelfuso@its.jnj.com); Gerry Gribbon (ggribbon@cntus.jnj.com);                                                        Karen Trahan (ktrahan@its.jnj.com); Logan Morse                                               Raymond Pellicciotti (rpellicc@its.jnj.com); Troy Schurr
                                                                                                                                                                                                                                   John R. Hogan (jhogan3@its.jnj.com); Logan Morse (lmorse@its.jnj.com); Keith Varni                                                                        (lmorse@its.jnj.com); Lynda Gant                                                              (tschurr1@its.jnj.com); William Pettit                                  Email chain with attachment(s) reflecting legal advice
89                                                     JANSSENBIO‐021‐00006788   JANSSENBIO‐021‐00006790   Redacted   eMail   Trahan, Karen                 Attorney‐Client                                                        (kvarni@its.jnj.com); Raymond Pellicciotti (rpellicc@its.jnj.com); Troy Schurr (tschurr1@its.jnj.com)                                                     (lgant@its.jnj.com)                             Andrew Brackbill (abrackbi@its.jnj.com)       (wpettitj@cntus.jnj.com)                                    7/30/2010   from the Law Department ^ regarding contracting.

                                                                                                                                                                                                                                                                                                                                                Freddy Jimenez ^ (fjimene3@corus.jnj.com);                                                                                                                                                                         Email with attachment(s) requesting legal advice from
                                                                                                                                                                                                                                                                                                                                                Ken Gillmer (kgillme1@its.jnj.com); Teresa                                                                                                                                                                         Freddy Jimenez ^ regarding issues relating to lawfulness
90   JANSSENBIO‐PL‐0000157   JANSSENBIO‐PL_2‐0000071   JANSSENBIO‐071‐00000736   JANSSENBIO‐071‐00000736   Redacted   eMail   Trahan, Karen                 Attorney‐Client                                                        Ken Gillmer (kgillme1@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                       Giuliana (tgiulian@cntus.jnj.com)          Karen Trahan (ktrahan@its.jnj.com)                   Ken Gillmer (kgillme1@its.jnj.com)                                                                     5/29/2007   of practice management or IOI support services.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
91   JANSSENBIO‐PL‐0000158   JANSSENBIO‐PL_2‐0000072                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
92   JANSSENBIO‐PL‐0000159   JANSSENBIO‐PL_2‐0000073                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024




                                                                                                                                                                                                                                                                                                               4
                                                                                                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 6 of 201

                                                                                                                                                                                                                                                                                                                                               Bob Russell (brussell@its.jnj.com); Janet
                                                                                                                                                                                                                                 William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan                     Burns (jburns@its.jnj.com); Karen Trahan                                                                                                    Bob Russell (brussell@its.jnj.com); Janet Burns                          Email chain reflecting request for legal advice from
                                                                                                                                                                                                                                 (ktrahan@its.jnj.com); Paul Waguespack (pwaguesp@cntus.jnj.com); Paul Wickmann                                (ktrahan@its.jnj.com); Logan Morse                                                                                                          (jburns@its.jnj.com); Paul Waguespack                                    Thomas Spellman ^, Kathleen Hamill ^, and John
                                                                                                                                                                                                                                 (pwickma1@its.jnj.com); Janet Burns (jburns@its.jnj.com); Logan Morse (lmorse@its.jnj.com); Bob               (lmorse@its.jnj.com); William Pettit         Logan Morse (lmorse@its.jnj.com); William Pettit                                               (pwaguesp@cntus.jnj.com); Paul Wickmann                                  Vaughan ^ regarding issues relating to interactions or
93    JANSSENBIO‐PL‐0000151   JANSSENBIO‐PL_2‐0000074                                                       Withheld   eMail   Trahan, Karen               Attorney‐Client                                                       Russell (brussell@its.jnj.com)                                                                                (wpettitj@cntus.jnj.com)                     (wpettitj@cntus.jnj.com)                           Karen Trahan (ktrahan@its.jnj.com)          (pwickma1@its.jnj.com)                                       1/19/2011   communications between ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                               Andrew Brackbill (abrackbi@its.jnj.com);     Bob Russell (brussell@its.jnj.com); John
                                                                                                                                                                                                                                                                                                                                               Bob Russell (brussell@its.jnj.com); John     Peterkins (jpeterk1@its.jnj.com); Joseph Valeriani                                                                                                                      Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                               Peterkins (jpeterk1@its.jnj.com); Joseph     (jvaleri1@its.jnj.com); Karen Trahan                                                                                                                                    legal advice from the Law Department ^ regarding
                                                                                                                                                                                                                                 Andrew Brackbill (abrackbi@its.jnj.com); Swati Javeri (sjaveri@its.jnj.com); John Peterkins                   Valeriani (jvaleri1@its.jnj.com); Karen      (ktrahan@its.jnj.com); Swati Javeri                                                                                                                                     preparation/review of internal training or internal
                                                                                                                               Trahan, Karen; Valeriani,                                                                         (jpeterk1@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Bob Russell (brussell@its.jnj.com); Karen    Trahan (ktrahan@its.jnj.com); Linda Ketterer (sjaveri@its.jnj.com); William Pettit                                                                                                                                   guidance concerning practice management or IOI
94                            JANSSENBIO‐PL_2‐0000075   JANSSENBIO‐021‐00006330   JANSSENBIO‐021‐00006330   Withheld   eMail   Joseph                      Attorney‐Client                                                       Trahan (ktrahan@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                                         (lketter2@its.jnj.com); Swati Javeri         (wpettitj@cntus.jnj.com)                           Andrew Brackbill (abrackbi@its.jnj.com)                                                                 11/22/2010   support.

                                                                                                                                                                                                                                 Andrew Brackbill (abrackbi@its.jnj.com); Swati Javeri (sjaveri@its.jnj.com); John Peterkins
                                                                                                                               Trahan, Karen; Valeriani,                     Andrew Brackbill          Andrew Brackbill          (jpeterk1@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Bob Russell (brussell@its.jnj.com); Karen
95                            JANSSENBIO‐PL_2‐0000076   JANSSENBIO‐021‐00006331   JANSSENBIO‐021‐00006334   Withheld   doc     Joseph                      Attorney‐Client   (abrackbi@its.jnj.com)    (abrackbi@its.jnj.com)    Trahan (ktrahan@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                                                                                                                                                                                                                                                 11/22/2010

                                                                                                                                                                                                                                 Andrew Brackbill (abrackbi@its.jnj.com); Swati Javeri (sjaveri@its.jnj.com); John Peterkins
                                                                                                                               Trahan, Karen; Valeriani,                     Andrew Brackbill          Andrew Brackbill          (jpeterk1@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Bob Russell (brussell@its.jnj.com); Karen
96                            JANSSENBIO‐PL_2‐0000077   JANSSENBIO‐021‐00006335   JANSSENBIO‐021‐00006335   Withheld   ppt     Joseph                      Attorney‐Client   (abrackbi@its.jnj.com)    (abrackbi@its.jnj.com)    Trahan (ktrahan@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                                                                                                                                                                                                                                                 11/22/2010

                                                                                                                                                                                                                                 Andrew Brackbill (abrackbi@its.jnj.com); Swati Javeri (sjaveri@its.jnj.com); John Peterkins
                                                                                                                               Trahan, Karen; Valeriani,                     Andrew Brackbill          Andrew Brackbill          (jpeterk1@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Bob Russell (brussell@its.jnj.com); Karen
97                            JANSSENBIO‐PL_2‐0000078   JANSSENBIO‐021‐00006336   JANSSENBIO‐021‐00006336   Withheld   xls     Joseph                      Attorney‐Client   (abrackbi@its.jnj.com)    (abrackbi@its.jnj.com)    Trahan (ktrahan@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                                                                                                                                                                                                                                                 11/22/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Memorandum providing information to counsel for the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    purpose of receiving legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                                             Andrew Brackbill          Andrew Brackbill          Karen Trahan (ktrahan@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Danny Burrell                                                                                                                                                                                                                                         guidance concerning practice management or IOI
98                            JANSSENBIO‐PL_2‐0000079   JANSSENBIO‐021‐00006338   JANSSENBIO‐021‐00006338   Withheld   doc     Trahan, Karen               Attorney‐Client   (abrackbi@its.jnj.com)    (abrackbi@its.jnj.com)    (dburrell@its.jnj.com); Swati Javeri (sjaveri@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                                                                                                                                                                                                                   11/30/2010   support.
                                                                                                                                                                                                                                                                                                                                         Amit Patel (apatel18@its.jnj.com); Angela
                                                                                                                                                                                                                                                                                                                                         Wood (awood6@its.jnj.com); Donald
                                                                                                                                                                                                                                                                                                                                         Howard (dhoward3@its.jnj.com); Hitu                                                                                                                                                                                        Email chain providing information to John Vaughan ^
                                                                                                                                                                                                                                                                                                                                         Malhotra (hmalhotr@its.jnj.com); John                                                                                                                                                                                      and the Law Department ^ for the purpose of receiving
                                                                                                                                                                                                                                                                                                                                         Vaughan ^ (jvaughan@its.jnj.com); Karen                                                                                                                                                                                    legal advice regarding preparation/review of internal
                                                                                                                                                                                                                                                                                                                                         Trahan (ktrahan@its.jnj.com); Michael                                                                                                                                                                                      training or internal guidance concerning practice
99    JANSSENBIO‐PL‐0000152   JANSSENBIO‐PL_2‐0000080   JANSSENBIO‐071‐00000682   JANSSENBIO‐071‐00000684   Redacted   eMail   Trahan, Karen               Attorney‐Client                                                       Karen Trahan (ktrahan@its.jnj.com); Roger Kung (rkung@its.jnj.com)                                      Wolfe (mwolfe2@its.jnj.com); Michelle              Roger Kung (rkung@its.jnj.com)                    Karen Trahan (ktrahan@its.jnj.com)                                                                        3/23/2011   management or IOI support.
                                                                                                                                                                                                                                                                                                                                         Brian Kerns (bkerns@thomasjpaul.com);
                                                                                                                                                                                                                                                                                                                                         Donna Gilbert
                                                                                                                                                                                                                                                                                                                                         (donna.gilbert@xcenda.com); Elizabeth
                                                                                                                                                                                                                                                                                                                                         Lawless (elawless@its.jnj.com); Faiz Sadeq                                                                                                                                                                                 Email chain providing information to John Vaughan ^
                                                                                                                                                                                                                                                                                                                                         (fsadeq@its.jnj.com); Giuliana Teresa                                                                                                                                                                                      and the Legal Department for the purpose of receiving
                                                                                                                                                                                                                                 William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Elizabeth Lawless          (tgiulian@its.jnj.com); Hitu Malhotra                                                                                                                                                                                      legal advice regarding preparation/review of internal
                                                                                                                                                                                                                                 (elawless@its.jnj.com); Hitu Malhotra (hmalhotr@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Faiz (hmalhotr@its.jnj.com); John Vaughan ^                                                                                                                                                                                     training or internal guidance concerning practice
100   JANSSENBIO‐PL‐0000153   JANSSENBIO‐PL_2‐0000081   JANSSENBIO‐071‐00000685   JANSSENBIO‐071‐00000689   Redacted   eMail   Trahan, Karen               Attorney‐Client                                                       Sadeq (fsadeq@its.jnj.com)                                                                              (jvaughan@its.jnj.com); Karen Trahan               Elizabeth Lawless (elawless@its.jnj.com)          William Pettit (wpettitj@cntus.jnj.com)      Karen Trahan (ktrahan@its.jnj.com)                           6/30/2011   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                            Edmund Greenidge (egreenid@its.jnj.com); John                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                                                                                                 Karen Trahan (ktrahan@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Edmund Greenidge                                                              Vaughan ^ (jvaughan@its.jnj.com); Karen Trahan                                                                                                                          internal guidance concerning practice management or IOI
101   JANSSENBIO‐PL‐0000131   JANSSENBIO‐PL_2‐0000082                                                       Withheld   eMail   Trahan, Karen               Attorney‐Client                                                       (egreenid@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com)                                                                                              (ktrahan@its.jnj.com)                          Andrew Brackbill (abrackbi@its.jnj.com)                                                                       8/5/2010   support.

                                                                                                                                                                             Andrew Brackbill          Andrew Brackbill          Karen Trahan (ktrahan@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Edmund Greenidge
102   JANSSENBIO‐PL‐0000132   JANSSENBIO‐PL_2‐0000083                                                       Withheld   ppt     Trahan, Karen               Attorney‐Client   (abrackbi@its.jnj.com)    (abrackbi@its.jnj.com)    (egreenid@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com)                                                                                                                                                                                                                                                           8/5/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
103                                                     JANSSENBIO‐021‐00007403                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2024
                                                                                                                                                                                                                                                                                                                                                                                            Amit Patel (apatel18@its.jnj.com); Angela Wood
                                                                                                                                                                                                                                                                                                                                                                                            (awood6@its.jnj.com); Donald Howard
                                                                                                                                                                                                                                                                                                                                                                                            (dhoward3@its.jnj.com); John Vaughan ^
                                                                                                                                                                                                                                                                                                                                                                                            (jvaughan@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                 William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Hitu Malhotra                                                                 (ktrahan@its.jnj.com); Michael Wolfe                                                                                                                                    Email with attachment(s) providing information to
                                                                                                                                                                                                                                 (hmalhotr@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Donald Howard (dhoward3@its.jnj.com);                                                         (mwolfe2@its.jnj.com); Michelle Walls                                                                                                                                   counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                 Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Thomas Occhipinti                                                                   (mwalls@its.jnj.com); Thomas Occhipinti                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                                                 (tocchipi@its.jnj.com); Roger Kung (rkung@its.jnj.com); Amit Patel (apatel18@its.jnj.com); John Vaughan                                                    (tocchipi@its.jnj.com); William Pettit                                                                                                                                  internal guidance concerning practice management or IOI
104   JANSSENBIO‐PL‐0000160   JANSSENBIO‐PL_2‐0000084                                                       Withheld   eMail   Trahan, Karen               Attorney‐Client                                                       ^ (jvaughan@its.jnj.com)                                                                                                                                   (wpettitj@cntus.jnj.com)                          Roger Kung (rkung@its.jnj.com)               Hitu Malhotra (hmalhotr@its.jnj.com)                         3/18/2011   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) reflecting legal advice from the
                                                                                                                                                                                                                                 Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Julia Hiatt (jhiatt@its.jnj.com);                                                                                                                                                                                                                          Law Department ^ regarding preparation of practice
105                                                     JANSSENBIO‐021‐00006825   JANSSENBIO‐021‐00006827   Redacted   eMail   Trahan, Karen               Attorney‐Client                                                       John Unger (junger@its.jnj.com)                                                                                                                            John Unger (junger@its.jnj.com)                   Karen Trahan (ktrahan@its.jnj.com)                                                                        9/27/2011   management or IOI support.



                                                                                                                                                                                                                                 John Arena (jarena1@its.jnj.com); Lynda Gant (lgant@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com);                                                                                                                                                                                                                              Spreadsheet reflecting legal advice from Legal
                                                                                                                                                                             Larry Box                 Dottie Bayless            Edmund Greenidge (egreenid@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Karen Trahan                                                                                                                                                                                                                                     Department regarding issues relating to interactions or
106                                                     JANSSENBIO‐012‐00010314   JANSSENBIO‐012‐00010314   Redacted   xlsx    Trahan, Karen               Attorney‐Client   (lbox@cntus.jnj.com)      (dbayless@its.jnj.com)    (ktrahan@its.jnj.com); Dottie Bayless (dbayless@its.jnj.com); Peta Graham (pgraham1@its.jnj.com)                                                                                                                                                                                                                      10/12/2009   communications between ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                                                            Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                                            David Fabbri (dfabbri@its.jnj.com); Eric Monzon
                                                                                                                                                                                                                                                                                                                                                                                            (emonzon1@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                                                                                                                                                                            (ktrahan@its.jnj.com); Kathryn Roberts
                                                                                                                                                                                                                                 Karen Trahan (ktrahan@its.jnj.com); Melissa Ayers (mayers2@its.jnj.com); Eric Monzon                                                                       (krober10@its.jnj.com); Melissa Ayers                                                                                                                                   Email with attachment(s) requesting legal advice
                                                                                                                               Guiton, Christopher;                                                                              (emonzon1@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com);                                                          (mayers2@its.jnj.com); Paul Duncan                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                               Roberts, Kathryn; Trahan,                                                                         David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                                                            (pduncan9@its.jnj.com); Thomas Cornely                                                                                                                                  internal guidance concerning practice management or IOI
107   JANSSENBIO‐PL‐0000134   JANSSENBIO‐PL_2‐0000085                                                       Withheld   eMail   Karen                       Attorney‐Client                                                       (krober10@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                   (tcornel@its.jnj.com)                             Angela Wood (awood6@its.jnj.com)                                                                           6/4/2013   support.

                                                                                                                                                                                                                                 Karen Trahan (ktrahan@its.jnj.com); Melissa Ayers (mayers2@its.jnj.com); Eric Monzon
                                                                                                                               Guiton, Christopher;                                                                              (emonzon1@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com);
                                                                                                                               Roberts, Kathryn; Trahan,                     James Knepp               John Monzon               David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts
108   JANSSENBIO‐PL‐0000135   JANSSENBIO‐PL_2‐0000086                                                       Withheld   pptx    Karen                       Attorney‐Client   (jknepp5@its.jnj.com)     (emonzon1@ITS.JNJ.COM)    (krober10@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                                6/4/2013

                                                                                                                                                                                                                                 Michael Cassano (mcassano@cntus.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Karen Trahan                                                                                                                                                          Karen Trahan (ktrahan@its.jnj.com); Michael Cassano                      Email with attachment(s) reflecting legal advice from the
109                                                     JANSSENBIO‐021‐00007466   JANSSENBIO‐021‐00007468   Redacted   eMail   Trahan, Karen               Attorney‐Client                                                       (ktrahan@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                               Linda Robertson (lrober12@cntus.jnj.com)          Daniel Seiter (dseiter@cntus.jnj.com)        (mcassano@cntus.jnj.com)                                      8/6/2007   Law Department ^ regarding contract pricing.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Presentation reflecting request for legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Legal Department regarding preparation/review of
                                                                                                                                                                             Daniel Seiter             Daniel Seiter             Michael Cassano (mcassano@cntus.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Karen Trahan                                                                                                                                                                                                                                   internal training or internal guidance concerning practice
110                           JANSSENBIO‐PL_2‐0000087   JANSSENBIO‐021‐00007469   JANSSENBIO‐021‐00007469   Withheld   ppt     Trahan, Karen               Attorney‐Client   (dseiter@cntus.jnj.com)   (dseiter@cntus.jnj.com)   (ktrahan@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                            8/6/2007   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Presentation requesting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                                             Katherine Chapman         Kim Young                                                                                                                                                                                                                                                                                                                                                    guidance concerning practice management or IOI
111                                                     JANSSENBIO‐021‐00006609   JANSSENBIO‐021‐00006651   Redacted   pptx    Trahan, Karen               Attorney‐Client   (kchapman@its.jnj.com)    (kim.young@mc3.com)       Karen Trahan (ktrahan@its.jnj.com); Paul Waguespack (pwaguesp@cntus.jnj.com)                                                                                                                                                                                                                                           12/7/2009   support.


                                                                                                                                                                                                                                 John Arena (jarena1@its.jnj.com); Lynda Gant (lgant@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com);                                                                                                                                                                                                                              Spreadsheet reflecting legal advice from Legal
                                                                                                                                                                             Larry Box                 Dottie Bayless            Edmund Greenidge (egreenid@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Karen Trahan                                                                                                                                                                                                                                     Department regarding issues relating to interactions or
112                                                     JANSSENBIO‐012‐00011533   JANSSENBIO‐012‐00011533   Redacted   xlsx    Trahan, Karen               Attorney‐Client   (lbox@cntus.jnj.com)      (dbayless@its.jnj.com)    (ktrahan@its.jnj.com); Dottie Bayless (dbayless@its.jnj.com); Peta Graham (pgraham1@its.jnj.com)                                                                                                                                                                                                                      10/12/2009   communications between ABSs and physician offices.
                                                                                                                                                                                                                                 Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko                                                                          Alan Cornell (acornell@its.jnj.com); Amit Patel
                                                                                                                                                                                                                                 (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);                                                         (apatel18@its.jnj.com); Andrea Barnow
                                                                                                                                                                                                                                 Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley                                                                   (abarnow@its.jnj.com); Angela Wood
                                                                                                                                                                                                                                 (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);                                                      (awood6@its.jnj.com); Anthony Brennan
                                                                                                                                                                                                                                 Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^                                                                (abrenna3@its.jnj.com); Anthony Marchetta
                                                                                                                                                                                                                                 (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);                                                          (amarchet@its.jnj.com); Brian Burns ^
                                                                                                                                                                                                                                 Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook                                                                       (bburns7@its.jnj.com); Brian Kelly
                                                                                                                                                                                                                                 (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John                                                      (bkelly2@its.jnj.com); Brian Visconti
                                                                                                                                                                                                                                 Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);                                                    (bviscont@its.jnj.com); Bruce Colligen
                                                                                                                                                                                                                                 Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly                                                                 (bcollig@its.jnj.com); Carol Woodard
                                                                                                                                                                                                                                 (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric                                                       (cwoodard@its.jnj.com); Catherine Piech
                                                                                                                                                                                                                                 Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup                                                                     (cpiech@its.jnj.com); Charles Schneider
                                                                                                                                                                                                                                 (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);                                                      (cschne10@its.jnj.com); Chris Matteson
                                                                                                                                                                                                                                 Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);                                                (cmattes1@its.jnj.com); Christina Farup
                                                                                                                                                                                                                                 Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney                                                                        (cfarup2@its.jnj.com); Christine Maroulis
                                                                                                                                                                                                                                 (jhaney2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);                                                           (cmarouli@its.jnj.com); Christopher McNeal
                                                                                                                                                                                                                                 Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^                                                            (cmcneal1@its.jnj.com); Danny Burrell                                                          Daryl Todd ^ (dtodd1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                                 (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa                                                      (dburrell@its.jnj.com); Darryl Stiles                                                          (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                 Huston (lhuston@its.jnj.com); Angela Wood (awood6@its.jnj.com); Freddy Jimenez ^                                                                           (dstiles@its.jnj.com); David Banko                                                             (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                 (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Amit                                                    (dbanko@its.jnj.com); Delia Cook                                                               (htorell@its.jnj.com); John Crisan (jcrisan@its.jnj.com);
                                                                                                                                                                                                                                 Patel (apatel18@its.jnj.com); John Unger (junger@its.jnj.com); Scott White (swhite17@its.jnj.com); Paul                                                    (dcook1@its.jnj.com); Diane Deloria                                                            Kris Curry (kcurry@janus.jnj.com); Larry Montes
                                                                                                                                                                                                                                 Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                                                      (ddeloria@its.jnj.com); Eric Edgell                                                            (lmontes4@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                                                 Jamie March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark                                                                    (eedgell@its.jnj.com); Erin Parsons                                                            (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                                                 (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);                                                    (eparson5@its.jnj.com); Gerry McShane                                                          (msievers@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                                                 Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth                                                                  (gmcshane@dpyus.jnj.com); Gina Giordano                                                        (mmccull@corus.jnj.com); Patricia Villani ^
                                                                                                                                                                                                                                 McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal                                                           (ggiordan@its.jnj.com); Henry Alder                                                            (pvillan1@its.jnj.com); Paul Lawrance                                    Email with attachment(s) providing information to
                                                                                                                                                                                                                                 (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Rob Miller (rmille16@its.jnj.com);                                                         (halder@its.jnj.com); Jacob Drapkin                                                            (plawran1@its.jnj.com); Renee Scott                                      counsel for the purpose of receiving legal advice
                                                                                                                               Bazemore, Robert; Todd,                                                                           Larry Montes (lmontes4@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly Norton                                                                     (jdrapkin@eesus.jnj.com); Jamie March                                                          (rscott27@its.jnj.com); Vanessa Lum                                      regarding issues relating to interactions or
113   JANSSENBIO‐PL‐000031    JANSSENBIO‐PL_2‐0000088                                                       Withheld   eMail   Daryl                       Attorney‐Client                                                       (norton.kim@synthes.com); John Peterkins (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com);                                                     (jmarch1@its.jnj.com); Jason Lerner               Christopher Zalesky (czalesky@its.jnj.com)   (vlum1@its.jnj.com)                                          8/31/2012   communications between ABSs and physician offices.
                                                                                                                                                                                                                                 Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                                                                                                 (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                                                                                                 Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                                                                                                 (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                                                                                                 Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                                 (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                                                                                                 Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                                                                                                 (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                                                                                                 Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                                                                                                 Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                                                 (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                                                                                                 Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                                                                                                 (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                                                 Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                                                                                                                 Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                                                                                                                 (jhaney2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);
                                                                                                                                                                                                                                 Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                                                                                                 (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa
                                                                                                                                                                                                                                 Huston (lhuston@its.jnj.com); Angela Wood (awood6@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                 (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Amit
                                                                                                                                                                                                                                 Patel (apatel18@its.jnj.com); John Unger (junger@its.jnj.com); Scott White (swhite17@its.jnj.com); Paul
                                                                                                                                                                                                                                 Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);
                                                                                                                                                                                                                                 Jamie March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark
                                                                                                                                                                                                                                 (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                                                                                                 Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                                                                                                 McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                                                                                                 (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Rob Miller (rmille16@its.jnj.com);
                                                                                                                               Bazemore, Robert; Todd,                       Daryl Todd ^              Daryl Todd ^              Larry Montes (lmontes4@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly Norton
114   JANSSENBIO‐PL‐000032    JANSSENBIO‐PL_2‐0000089                                                       Withheld   docx    Daryl                       Attorney‐Client   (dtodd1@its.jnj.com)      (dtodd1@its.jnj.com)      (norton.kim@synthes.com); John Peterkins (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com);                                                                                                                                                                                                                 8/31/2012




                                                                                                                                                                                                                                                                                                               5
                                                                                                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 7 of 201

                                                                                                                                                                                                                                   Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                                                                                                   (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                                                                                                   Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                                                                                                   (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                                                                                                   Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                                   (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                                                                                                   Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                                                                                                   (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                                                                                                   Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                                                                                                   Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                                                   (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                                                                                                   Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                                                                                                   (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                                                   Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                                                                                                                   Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                                                                                                                   (jhaney2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);
                                                                                                                                                                                                                                   Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                                                                                                   (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa
                                                                                                                                                                                                                                   Huston (lhuston@its.jnj.com); Angela Wood (awood6@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                   (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Amit
                                                                                                                                                                                                                                   Patel (apatel18@its.jnj.com); John Unger (junger@its.jnj.com); Scott White (swhite17@its.jnj.com); Paul
                                                                                                                                                                                                                                   Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);
                                                                                                                                                                                                                                   Jamie March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark
                                                                                                                                                                                                                                   (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                                                                                                   Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                                                                                                   McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                                                                                                   (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Rob Miller (rmille16@its.jnj.com);
                                                                                                                               Bazemore, Robert; Todd,                        Daryl Todd ^               Daryl Todd ^              Larry Montes (lmontes4@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly Norton
115   JANSSENBIO‐PL‐000033    JANSSENBIO‐PL_2‐0000090                                                       Withheld   docx    Daryl                        Attorney‐Client   (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)      (norton.kim@synthes.com); John Peterkins (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com);                                                                                                                                                             8/31/2012
                                                                                                                                                                                                                                   Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                                                                                                   (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                                                                                                   Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                                                                                                   (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                                                                                                   Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                                   (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                                                                                                   Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                                                                                                   (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                                                                                                   Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                                                                                                   Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                                                   (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                                                                                                   Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                                                                                                   (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                                                   Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                                                                                                                   Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                                                                                                                   (jhaney2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);
                                                                                                                                                                                                                                   Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                                                                                                   (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa
                                                                                                                                                                                                                                   Huston (lhuston@its.jnj.com); Angela Wood (awood6@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                   (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Amit
                                                                                                                                                                                                                                   Patel (apatel18@its.jnj.com); John Unger (junger@its.jnj.com); Scott White (swhite17@its.jnj.com); Paul
                                                                                                                                                                                                                                   Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);
                                                                                                                                                                                                                                   Jamie March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark
                                                                                                                                                                                                                                   (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                                                                                                   Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                                                                                                   McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                                                                                                   (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Rob Miller (rmille16@its.jnj.com);
                                                                                                                               Bazemore, Robert; Todd,                        Daryl Todd ^               Daryl Todd ^              Larry Montes (lmontes4@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly Norton
116   JANSSENBIO‐PL‐000034    JANSSENBIO‐PL_2‐0000091                                                       Withheld   docx    Daryl                        Attorney‐Client   (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)      (norton.kim@synthes.com); John Peterkins (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com);                                                                                                                                                             8/31/2012
                                                                                                                                                                                                                                   Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                                                                                                   (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                                                                                                   Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                                                                                                   (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                                                                                                   Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                                   (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                                                                                                   Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                                                                                                   (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                                                                                                   Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                                                                                                   Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                                                   (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                                                                                                   Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                                                                                                   (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                                                   Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                                                                                                                   Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                                                                                                                   (jhaney2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);
                                                                                                                                                                                                                                   Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                                                                                                   (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa
                                                                                                                                                                                                                                   Huston (lhuston@its.jnj.com); Angela Wood (awood6@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                   (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Amit
                                                                                                                                                                                                                                   Patel (apatel18@its.jnj.com); John Unger (junger@its.jnj.com); Scott White (swhite17@its.jnj.com); Paul
                                                                                                                                                                                                                                   Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);
                                                                                                                                                                                                                                   Jamie March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark
                                                                                                                                                                                                                                   (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                                                                                                   Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                                                                                                   McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                                                                                                   (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Rob Miller (rmille16@its.jnj.com);
                                                                                                                               Bazemore, Robert; Todd,                        Daryl Todd ^               Daryl Todd ^              Larry Montes (lmontes4@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly Norton
117   JANSSENBIO‐PL‐000035    JANSSENBIO‐PL_2‐0000092                                                       Withheld   docx    Daryl                        Attorney‐Client   (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)      (norton.kim@synthes.com); John Peterkins (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com);                                                                                                                                                             8/31/2012
                                                                                                                                                                                                                                                                                                                                                 Catherine Owen (cowen3@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio                       Cynthia Guzzo (cguzzo1@its.jnj.com); Ellen Sipos
                                                                                                                                                                                                                                   (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);       (esipos@its.jnj.com); Frank Folio
                                                                                                                               Guiton, Christopher;                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Erin Parsons                       (ffolio@its.jnj.com); Marti Heckman                                                          Erin Parsons (eparson5@its.jnj.com); Gail Obrycki
                                                                                                                               Heckman, Marti; Parsons,                                                                            (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Thomas Spellman ^                             (mheckman@its.jnj.com); Michael Yang                                                         (gobrycki@its.jnj.com); Kathryn Roberts                             Email chain with attachment(s) requesting legal advice
                                                                                                                               Erin; Roberts, Kathryn;                                                                             (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com);               (myang4@its.jnj.com); Thomas Spellman ^                                                      (krober10@its.jnj.com); Timothy Grimes                              regarding issues relating to interactions or
118                           JANSSENBIO‐PL_2‐0000093                                                       Withheld   eMail   Yang, Michael                Attorney‐Client                                                        Catherine Owen (cowen3@its.jnj.com); Ellen Sipos (esipos@its.jnj.com)                                         (tspellma@its.jnj.com)                           Thomas Cornely (tcornel@its.jnj.com)        (tgrimes@its.jnj.com)                                    8/7/2014   communications between ABSs and physician offices.


                                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                   (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                               Guiton, Christopher;                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Erin Parsons
                                                                                                                               Heckman, Marti; Parsons,                                                                            (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Thomas Spellman ^
                                                                                                                               Erin; Roberts, Kathryn;                        Angela Wood                Thomas Cornely            (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com);
119                           JANSSENBIO‐PL_2‐0000094                                                       Withheld   pptx    Yang, Michael                Attorney‐Client   (awood6@its.jnj.com)       (tcornel@its.jnj.com)     Catherine Owen (cowen3@its.jnj.com); Ellen Sipos (esipos@its.jnj.com)                                                                                                                                                                                               8/7/2014



                                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                   (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                               Guiton, Christopher;                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Erin Parsons
                                                                                                                               Heckman, Marti; Parsons,                                                                            (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Thomas Spellman ^
                                                                                                                               Erin; Roberts, Kathryn;                        Thomas Cornely             Thomas Cornely            (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com);
120                           JANSSENBIO‐PL_2‐0000095                                                       Withheld   xlsx    Yang, Michael                Attorney‐Client   (tcornel@its.jnj.com)      (tcornel@its.jnj.com)     Catherine Owen (cowen3@its.jnj.com); Ellen Sipos (esipos@its.jnj.com)                                                                                                                                                                                               8/7/2014

                                                                                                                                                                                                                                   Joseph Braunreuther ^ (jbraunre@its.jnj.com); Peter Greenleaf (kgreenb2@its.jnj.com); Scott Habig                                                                                                          Mike Rechtiene (mrechti@its.jnj.com); Peter Greenleaf               Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                   (shabig@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Mike Rechtiene (mrechti@its.jnj.com);          Freddy Jimenez ^ (fjimene3@its.jnj.com); Joseph                                              (kgreenb2@its.jnj.com); Scott Habig                                 regarding issues relating to lawfulness of practice
121   JANSSENBIO‐PL‐0000101   JANSSENBIO‐PL_2‐0000096                                                       Withheld   eMail   Habig, Scott                 Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                    Braunreuther ^ (jbraunre@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)   (shabig@its.jnj.com)                                    7/14/2003   management or IOI support services.

                                                                                                                                                                                                                                   Joseph Braunreuther ^ (jbraunre@its.jnj.com); Peter Greenleaf (kgreenb2@its.jnj.com); Scott Habig
                                                                                                                                                                              Rick Anderson              Christopher Zalesky       (shabig@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Mike Rechtiene (mrechti@its.jnj.com);
122   JANSSENBIO‐PL‐0000102   JANSSENBIO‐PL_2‐0000097                                                       Withheld   doc     Habig, Scott                 Attorney‐Client   (andersonr@centocor.com)   (czalesky@its.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                         7/14/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email reflecting legal advice from the Law Department ^
123                                                     JANSSENBIO‐064‐00003257   JANSSENBIO‐064‐00003259   Redacted   rtf     Trahan, Karen                Attorney‐Client                                                                                                                                                                                                                                                                                                                           8/10/2007   regarding contract pricing.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Department regarding preparation/review of internal
                                                                                                                                                                              Daniel Seiter              Daniel Seiter                                                                                                                                                                                                                                                                                            training or internal guidance concerning practice
124                           JANSSENBIO‐PL_2‐0000098   JANSSENBIO‐064‐00003260   JANSSENBIO‐064‐00003260   Withheld   ppt     Trahan, Karen                Attorney‐Client   (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                                      8/10/2007   management or IOI support.


                                                                                                                                                                                                                                                                                                                                                 Anthony Vassa (tvassa@cntus.jnj.com); Bob
                                                                                                                                                                                                                                   Janice Babia (jbabia@cntus.jnj.com); Larry Box (lbox@cntus.jnj.com); Michael Cassano                          Nelson (bnelson3@cntus.jnj.com); David                                                       Daniel Seiter (dseiter@cntus.jnj.com); Ed Weimer
                                                                                                                                                                                                                                   (mcassano@cntus.jnj.com); Joseph Donahue (jdonahu9@cntus.jnj.com); Susan Edwards                              Mareske (dmareske@cntus.jnj.com); Eugene                                                     (eweimer@cntus.jnj.com); Ian Karp
                                                                                                                                                                                                                                   (sedwar12@cntus.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); David Mareske                                   Queener (equeener@its.jnj.com); Larry Box                                                    (ikarp1@cntus.jnj.com); Joseph Donahue
                                                                                                                                                                                                                                   (dmareske@cntus.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Anthony Vassa                             (lbox@cntus.jnj.com); Louis Zambelli                                                         (jdonahu9@cntus.jnj.com); Ken Gillmer
                                                                                                                                                                                                                                   (tvassa@cntus.jnj.com); Paul Waguespack (pwaguesp@cntus.jnj.com); Louis Zambelli                              (lzambell@cntus.jnj.com); Matthew Koch                                                       (kgillme1@its.jnj.com); Linda Robertson
                                                                                                                                                                                                                                   (lzambell@cntus.jnj.com); Ian Karp (ikarp1@cntus.jnj.com); Matthew Koch (mkoch2@its.jnj.com); Randy           (mkoch2@its.jnj.com); Paul Waguespack                                                        (lrober12@cntus.jnj.com); Michael Cassano
                                                                                                                                                                                                                                   McGonigal (rmcgonig@cntus.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Daniel Seiter                       (pwaguesp@cntus.jnj.com); Peggy Mellody                                                      (mcassano@cntus.jnj.com); Randy McGonigal                           Email chain with attachment(s) detailing requests for
                                                                                                                                                                                                                                   (dseiter@cntus.jnj.com); Bob Nelson (bnelson3@cntus.jnj.com); Sherri Prettyman                                (pmellody@its.jnj.com); Susan Edwards                                                        (rmcgonig@cntus.jnj.com); Sherri Prettyman                          legal advice regarding issues relating to IOI support
125                                                     JANSSENBIO‐021‐00007500   JANSSENBIO‐021‐00007502   Redacted   eMail   Turner, Susan                Attorney‐Client                                                        (sprettym@cntus.jnj.com); Eugene Queener (equeener@its.jnj.com); Ed Weimer (eweimer@cntus.jnj.com)            (sedwar12@cntus.jnj.com)                           Janice Babia (jbabia@cntus.jnj.com)       (sprettym@cntus.jnj.com)                                1/30/2007   services made to the Law Department ^.
                                                                                                                                                                                                                                                                                                                                                 Anthony Vassa (tvassa@cntus.jnj.com); Bob
                                                                                                                                                                                                                                                                                                                                                 Nelson (bnelson3@cntus.jnj.com); David
                                                                                                                                                                                                                                   Janice Babia (jbabia@cntus.jnj.com); Larry Box (lbox@cntus.jnj.com); Michael Cassano                          Mareske (dmareske@cntus.jnj.com); Eugene
                                                                                                                                                                                                                                   (mcassano@cntus.jnj.com); Joseph Donahue (jdonahu9@cntus.jnj.com); Susan Edwards                              Queener (equeener@its.jnj.com); Larry Box
                                                                                                                                                                                                                                   (sedwar12@cntus.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); David Mareske                                   (lbox@cntus.jnj.com); Louis Zambelli                                                         Ed Weimer (eweimer@cntus.jnj.com); Ian Karp
                                                                                                                                                                                                                                   (dmareske@cntus.jnj.com); Anthony Vassa (tvassa@cntus.jnj.com); Paul Waguespack                               (lzambell@cntus.jnj.com); Matthew Koch                                                       (ikarp1@cntus.jnj.com); Joseph Donahue
                                                                                                                                                                                                                                   (pwaguesp@cntus.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Ian Karp (ikarp1@cntus.jnj.com);           (mkoch2@its.jnj.com); Paul Waguespack                                                        (jdonahu9@cntus.jnj.com); Ken Gillmer
                                                                                                                                                                                                                                   Matthew Koch (mkoch2@its.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); Peggy Mellody                    (pwaguesp@cntus.jnj.com); Peggy Mellody                                                      (kgillme1@its.jnj.com); Michael Cassano                             Email chain with attachment(s) detailing requests for
                                                                                                                                                                                                                                   (pmellody@its.jnj.com); Bob Nelson (bnelson3@cntus.jnj.com); Eugene Queener (equeener@its.jnj.com);           (pmellody@its.jnj.com); Susan Edwards                                                        (mcassano@cntus.jnj.com); Randy McGonigal                           legal advice regarding issues relating to IOI support
126                                                     JANSSENBIO‐021‐00007504   JANSSENBIO‐021‐00007506   Redacted   eMail   Turner, Susan                Attorney‐Client                                                        Ed Weimer (eweimer@cntus.jnj.com)                                                                             (sedwar12@cntus.jnj.com)                           Janice Babia (jbabia@cntus.jnj.com)       (rmcgonig@cntus.jnj.com)                                1/30/2007   services made to the Law Department ^.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
127   JANSSENBIO‐PL‐0000136   JANSSENBIO‐PL_2‐0000099                                                                                                                                                                                                                                                                                                                                                                                                                                                             2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
128   JANSSENBIO‐PL‐0000137   JANSSENBIO‐PL_2‐0000100                                                                                                                                                                                                                                                                                                                                                                                                                                                             2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
129                                                     JANSSENBIO‐021‐00005408                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                                                                                                                                                                                                                                                                 Anna Estrellas (aestrellas@its.jnj.com); Anthony
                                                                                                                                                                                                                                                                                                                                                 DiCarlantonio (adicarla@its.jnj.com); Brandon
                                                                                                                                                                                                                                                                                                                                                 Fox (bfox3@its.jnj.com); Darryl Stiles
                                                                                                                                                                                                                                                                                                                                                 (dstiles@its.jnj.com); Daryl Todd ^
                                                                                                                                                                                                                                                                                                                                                 (dtodd1@its.jnj.com); John Franz
                                                                                                                                                                                                                                                                                                                                                 (jfranz@its.jnj.com); Julie Trimakas
                                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Anthony DiCarlantonio (adicarla@its.jnj.com); Joseph DiGiacomo          (jtrimaka@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                   (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Brandon Fox (bfox3@its.jnj.com); John        (ktrahan@its.jnj.com); Matt Zuiderhof
                                                                                                                                                                                                                                   Franz (jfranz@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com);    (mzuiderh@its.jnj.com); Michelle Walls                                                                                                                           Email with attachment(s) requesting legal advice
                                                                                                                               Cornely, Thomas; Franz,                                                                             Daryl Todd ^ (dtodd1@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Julie Trimakas                         (mwalls@its.jnj.com); Michelle Zarish                                                                                                                            regarding preparation/review of internal training or
                                                                                                                               John; Todd, Daryl; Trahan,                                                                          (jtrimaka@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Michelle       (mzarish2@its.jnj.com); Thomas Cornely                                                       Catherine Kaucher (ckauche1@its.jnj.com); Joseph                    internal guidance concerning practice management or IOI
130                           JANSSENBIO‐PL_2‐0000101   JANSSENBIO‐011‐00000279   JANSSENBIO‐011‐00000279   Withheld   eMail   Karen; Walls, Michelle       Attorney‐Client                                                        Zarish (mzarish2@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                          (tcornel@its.jnj.com)                              Angela Wood (awood6@its.jnj.com)          DiGiacomo (jdigiaco@its.jnj.com)                        3/28/2014   support.




                                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Anthony DiCarlantonio (adicarla@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                                                   (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Brandon Fox (bfox3@its.jnj.com); John
                                                                                                                                                                                                                                   Franz (jfranz@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com);
                                                                                                                               Cornely, Thomas; Franz,                                                                             Daryl Todd ^ (dtodd1@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Julie Trimakas
                                                                                                                               John; Todd, Daryl; Trahan,                     Doug Kennedy               Angela Wood               (jtrimaka@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Michelle
131                           JANSSENBIO‐PL_2‐0000102   JANSSENBIO‐011‐00000280   JANSSENBIO‐011‐00000280   Withheld   pptx    Karen; Walls, Michelle       Attorney‐Client   (dkenned6@its.jnj.com)     (awood6@its.jnj.com)      Zarish (mzarish2@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                                                                                                                                                                               3/28/2014




                                                                                                                                                                                                                                                                                                               6
                                                                                                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 8 of 201


                                                                                                                                                                                                         Robert Stine                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice from the Law
132                                                     JANSSENBIO‐021‐00007174   JANSSENBIO‐021‐00007200   Redacted   ppt     Trahan, Karen                 Attorney‐Client   Drew Lawless              (rstine3@its.jnj.com)                                                                                                                                                                                                                                                                                                                          1/28/2009   Department ^ regarding ABS incentive compensation.

                                                                                                                                                                                                         Scott Pyott                                                                                                                                                                                                                                                                                                                                                Presentation reflecting legal advice from the Law
133                                                     JANSSENBIO‐021‐00007202   JANSSENBIO‐021‐00007228   Redacted   pptx    Trahan, Karen                 Attorney‐Client   Drew Lawless              (jpyott@cntus.jnj.com)                                                                                                                                                                                                                                                                                                                         1/26/2009   Department ^ regarding ABS incentive compensation.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Chart providing information to the Law Department ^ for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    the purpose of receiving legal advice regarding
                                                                                                                               Biddle, Darah; Trahan,                                                                                                                                                                                                                                                                                                                                                                                                               preparation/review of internal practice management or
134   JANSSENBIO‐PL‐0000154   JANSSENBIO‐PL_2‐0000103                                                       Withheld   pdf     Karen                         Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                           11/23/2010   IOI support material.

                                                                                                                                                                                                                                         William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Lawrence Conley                                                                                                                                                                                                                               Email communication reflecting legal advice from the Law
                                                                                                                               Conley, Lawrence; Trahan,                                                                                 (lconley1@its.jnj.cm); James Knepp (jknepp5@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); James                                                     Karen Trahan (ktrahan@its.jnj.com); William                                                  Eric Monzon (emonzon1@its.jnj.com); Lawrence Conley                   Department ^ regarding preparation/review of customer‐
135   JANSSENBIO‐PL‐0000113   JANSSENBIO‐PL_2‐0000104                                                       Withheld   eMail   Karen                         Attorney‐Client                                                             Knepp (jknepp5@its.jnj.com)                                                                                                                             Pettit (wpettitj@cntus.jnj.com)                   James Knepp (jknepp5@its.jnj.com)          (lconley1@its.jnj.cm)                                      1/8/2013   facing practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain reflecting legal advice from John Vaughan ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    and the Law Department ^ regarding issues relating to
                                                                                                                                                                                                                                         Karen Trahan (ktrahan@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood                          Angela Wood (awood6@its.jnj.com); Karen                                                                                                                                                                         interactions or communications between ABSs and
136   JANSSENBIO‐PL‐0000112   JANSSENBIO‐PL_2‐0000105                                                       Withheld   eMail   Trahan, Karen                 Attorney‐Client                                                             (awood6@its.jnj.com)                                                                                       Trahan (ktrahan@its.jnj.com)            Karen Trahan (ktrahan@its.jnj.com)                     Angela Wood (awood6@its.jnj.com)                                                                     5/30/2013   physician offices.

                                                                                                                                                                                                                                         Larry Box (lbox@cntus.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Karen Trahan
                                                                                                                                                                                                                                         (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com);
                                                                                                                                                                                                                                         Andrea Normandia (anormand@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); Andrea                                                                                                                                                                                                                                  Email communication reflecting request for legal advice
                                                                                                                                                                                                                                         Normandia (anormand@its.jnj.com); Kim Wortman (kwortman@its.jnj.com); Kim Wortman                                                                                                                                                                                                                                          from the Law Department ^ regarding patient access
137                                                     JANSSENBIO‐021‐00005446   JANSSENBIO‐021‐00005447   Redacted   eMail   Trahan, Karen                 Attorney‐Client                                                             (kwortman@its.jnj.com)                                                                                                                                  Karen Trahan (ktrahan@its.jnj.com)                William Pettit (wpettitj@cntus.jnj.com)                                                              6/27/2011   support program.

                                                                                                                                                                                                         Susan Edwards                                                                                                                                                                                                                                                                                                                                              Presentation reflecting legal advice from the Law
138                                                     JANSSENBIO‐021‐00007555   JANSSENBIO‐021‐00007581   Redacted   pptx    Turner, Susan                 Attorney‐Client   Drew Lawless              (sedwar12@cntus.jnj.com)                                                                                                                                                                                                                                                                                                                       1/28/2009   Department ^ regarding ABS incentive compensation.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Presentation reflecting request for legal advice from Law
                                                                                                                                                                                                         Marti Heckman                                                                                                                                                                                                                                                                                                                                              Department ^ regarding strategic imperatives for Janssen
139                                                     JANSSENBIO‐021‐00001609   JANSSENBIO‐021‐00001645   Redacted   pptx    Heckman, Marti                Attorney‐Client   Msh143                    (mheckman@its.jnj.com)                                                                                                                                                                                                                                                                                                                         7/28/2015   products.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Memorandum providing information to counsel for the
                                                                                                                                                                                                                                         Greg Fenner (gfenner@cntus.jnj.com); Scott Habig (shabig@its.jnj.com); Melissa Katz                                                                                                                                                                                                                                        purpose of receiving legal advice regarding issues relating
                                                                                                                                                                               Michael Parks             Melissa Katz                    (mkatz3@cntus.jnj.com); Teri Lawver (tlawver@cntus.jnj.com); Michael Parks (mparks4@cntus.jnj.com);                                                                                                                                                                                                                        to interactions or communications between ABSs and
140                           JANSSENBIO‐PL_2‐0000106   JANSSENBIO‐021‐00001478   JANSSENBIO‐021‐00001478   Withheld   doc     Fenner, Gregory               Attorney‐Client   (mparks4@cntus.jnj.com)   (mkatz2@cntus.jnj.com)          Thomas Schaible (tschaibl@its.jnj.com); Bill Wladika (bwladika@cntus.jnj.com)                                                                                                                                                                                                                                 10/19/2006   physician offices.




                                                                                                                                                                                                                                         Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Danny Burrell
                                                                                                                                                                                                                                         (dburrell@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); Robyn Fatooh (rfatooh@its.jnj.com);
                                                                                                                                                                                                                                         Kathleen Hamill ^ (khamill@cntus.jnj.com); Robyn Iqbal (riqbal3@its.jnj.com); Tracy Krasuski
                                                                                                                                                                                                                                         (tkrasusk@its.jnj.com); Andrea Normandia (anormand@its.jnj.com); Brian Smith (bsmith32@its.jnj.com);                                                    Kathleen Hamill ^ (khamill@cntus.jnj.com); Nicole                                                                                                                  Email chain providing legal advice regarding issues
                                                                                                                                                                                                                                         Darryl Stiles (dstiles@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Scott White                                                               Black (nblack1@its.jnj.com); Scott White                                                                                                                           relating to lawfulness of practice management or IOI
141   JANSSENBIO‐PL‐000024    JANSSENBIO‐PL_2‐0000107                                                       Withheld   eMail   Bazemore, Robert              Attorney‐Client                                                             (swhite17@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Kim Wortman (kwortman@its.jnj.com)                                                         (swhite17@its.jnj.com)                            Robert Bazemore (rbazemor@its.jnj.com)                                                               6/25/2012   support services.



                                                                                                                                                                                                                                         Robert Bazemore (rbazemor@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com); Nicole Black
                                                                                                                                                                                                                                         (nblack1@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com);
                                                                                                                                                                                                                                         Robyn Fatooh (rfatooh@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Robyn Iqbal
                                                                                                                                                                                                                                         (riqbal3@its.jnj.com); Tracy Krasuski (tkrasusk@its.jnj.com); Andrea Normandia (anormand@its.jnj.com);
                                                                                                                                                                                                                                         Brian Smith (bsmith32@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Joseph Valeriani                                                                                                                                                                                                                                  Email chain providing legal advice regarding issues
                                                                                                                                                                                                                                         (jvaleri1@its.jnj.com); Scott White (swhite17@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Kim                                                                                                                                                                                                                       relating to lawfulness of practice management or IOI
142   JANSSENBIO‐PL‐000025    JANSSENBIO‐PL_2‐0000108                                                       Withheld   eMail   Bazemore, Robert              Attorney‐Client                                                             Wortman (kwortman@its.jnj.com)                                                                                                                          Scott White (swhite17@its.jnj.com)                Robert Bazemore (rbazemor@its.jnj.com)                                                               6/21/2012   support services.

                                                                                                                                                                                                                                         Cheryl Cohen (ccohen3@cntus.jnj.com); Greg Fenner (gfenner@cntus.jnj.com); Lynda Gant                                                                                                                                                                                                                                      Memorandum providing information to counsel for the
                                                                                                                                                                                                                                         (lgant@its.jnj.com); Scott Habig (shabig@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Richard                                                                                                                                                                                                                        purpose of receiving legal advice regarding issues relating
                                                                                                                               Cohen, Cheryl; Fenner,                          Daniel Seiter             John Hoffman                    (Ricky) Lewis (rlewis2@cntus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Paul Short                                                                                                                                                                                                                                  to interactions or communications between ABSs and
143                           JANSSENBIO‐PL_2‐0000109   JANSSENBIO‐021‐00001385   JANSSENBIO‐021‐00001385   Withheld   doc     Gregory                       Attorney‐Client   (dseiter@cntus.jnj.com)   (jhoffma2@its.jnj.com)          (pshort1@cntus.jnj.com)                                                                                                                                                                                                                                                                                        4/16/2007   physician offices.




                                                                                                                                                                                                                                         Leslie Amendola (lamendol@its.jnj.com); John Arena (jarena1@its.jnj.com); Robert Bazemore
                                                                                                                                                                                                                                         (rbazemor@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Jeanne Connelly (jconnell@its.jnj.com);
                                                                                                                                                                                                                                         John Dempsey (jdempse1@its.jnj.com); Louis Ferrari (lferrar2@its.jnj.com); Clay Gillam
                                                                                                                                                                                                                                         (cgillam1@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); Marisa Graziano (mgrazia@its.jnj.com);
                                                                                                                                                                                                                                         Thomas Groeling (tgroelin@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Swati Javeri
                                                                                                                                                                                                                                         (sjaveri@its.jnj.com); Karen Lade (klade@its.jnj.com); Edward Maseda (emaseda@its.jnj.com); Michael                                                     John Dempsey (jdempse1@its.jnj.com); ken
                                                                                                                                                                                                                                         McCulley ^ (mmccull@corus.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Andrea Normandia                                                                Haney (jhaney2@its.jnj.com); Louis Ferrari                                                   Andrea Normandia (anormand@its.jnj.com); Darryl Stiles                Email chain providing information to counsel for the
                                                                                                                                                                                                                                         (anormand@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com);                                                  (lferrar2@its.jnj.com); Robert Bazemore                                                      (dstiles@its.jnj.com); John Vaughan ^                                 purpose of receiving legal advice regarding issues relating
                                                                                                                                                                                                                                         Julie Trimakas (jtrimaka@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); John Vaughan ^                                                          (rbazemor@its.jnj.com); Scott White                                                          (jvaughan@its.jnj.com); Michael McCulley ^                            to lawfulness of practice management or IOI support
144   JANSSENBIO‐PL‐000028    JANSSENBIO‐PL_2‐0000110                                                       Withheld   eMail   Bazemore, Robert              Attorney‐Client                                                             (jvaughan@its.jnj.com); Scott White (swhite17@its.jnj.com); Kim Wortman (kwortman@its.jnj.com)                                                          (swhite17@its.jnj.com)                            Kim Wortman (kwortman@its.jnj.com)         (mmccull@corus.jnj.com)                                  11/11/2010   services.
                                                                                                                                                                                                                                                                                                                                                    Logan Morse (lmorse@its.jnj.com); Louis
                                                                                                                                                                                                                                                                                                                                                    Ferrari (lferrar2@its.jnj.com); Lynda Gant   Logan Morse (lmorse@its.jnj.com); Louis Ferrari                                                                                                                    Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                         John Arena (jarena1@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com); Louis Ferrari                    (lgant@its.jnj.com); Robert Bazemore         (lferrar2@its.jnj.com); Robert Bazemore                                                                                                                            from the Law Department ^ regarding preparation/review
                                                                                                                                                                                                                                         (lferrar2@its.jnj.com); Lynda Gant (lgant@its.jnj.com); Logan Morse (lmorse@its.jnj.com); John Unger       (rbazemor@its.jnj.com); Scott White          (rbazemor@its.jnj.com); Scott White                                                          John Arena (jarena1@its.jnj.com); John Unger                          of internal training or internal guidance concerning
145   JANSSENBIO‐PL‐000026    JANSSENBIO‐PL_2‐0000111                                                       Withheld   eMail   Bazemore, Robert              Attorney‐Client                                                             (junger@its.jnj.com); Scott White (swhite17@its.jnj.com)                                                   (swhite17@its.jnj.com)                       (swhite17@its.jnj.com)                            Lynda Gant (lgant@its.jnj.com)             (junger@its.jnj.com)                                      9/21/2010   practice management or IOI support.

                                                                                                                                                                                                                                        John Arena (jarena1@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com); Louis Ferrari
                                                                                                                                                                               Eugene Queener                                           (lferrar2@its.jnj.com); Lynda Gant (lgant@its.jnj.com); Logan Morse (lmorse@its.jnj.com); John Unger
146   JANSSENBIO‐PL‐000027    JANSSENBIO‐PL_2‐0000112                                                       Withheld   docx    Bazemore, Robert              Attorney‐Client   (equeener@its.jnj.com)    Lynda Gant (lgant@its.jnj.com) (junger@its.jnj.com); Scott White (swhite17@its.jnj.com)                                                                                                                                                                                                                                                        9/21/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 2,
147   JANSSENBIO‐PL‐000029    JANSSENBIO‐PL_2‐0000113                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 2,
148   JANSSENBIO‐PL‐000030    JANSSENBIO‐PL_2‐0000114                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain providing information to counsel for the
                                                                                                                                                                                                                                         Robert Bazemore (rbazemor@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com); John Dempsey                                                            Joseph Wolk (jwolk2@its.jnj.com); Robert                                                                                                                           purpose of receiving legal advice regarding issues relating
                                                                                                                                                                                                                                         (jdempse1@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Thomas Spellman ^                                                                          Bazemore (rbazemor@its.jnj.com); Thomas                                                      John Hoffman (jhoffma2@its.jnj.com); Kim Taylor                       to lawfulness of practice management or IOI support
149   JANSSENBIO‐PL‐000076    JANSSENBIO‐PL_2‐0000115                                                       Withheld   eMail   Bazemore, Robert              Attorney‐Client                                                             (tspellma@its.jnj.com); Kim Taylor (ktaylor2@its.jnj.com); Joseph Wolk (jwolk2@its.jnj.com)                                                             Spellman ^ (tspellma@its.jnj.com)                 John Dempsey (jdempse1@its.jnj.com)        (ktaylor2@its.jnj.com)                                    7/22/2009   services.
                                                                                                                                                                                                                                                                                                                                                                                                 John Dempsey (jdempse1@its.jnj.com); Joseph                                                                                                                        Email chain providing legal advice regarding issues
                                                                                                                                                                                                                                         Robert Bazemore (rbazemor@its.jnj.com); John Dempsey (jdempse1@its.jnj.com); Thomas Spellman ^                                                          Wolk (jwolk2@its.jnj.com); Robert Bazemore                                                                                                                         relating to lawfulness of practice management or IOI
150   JANSSENBIO‐PL‐000077    JANSSENBIO‐PL_2‐0000116                                                       Withheld   eMail   Bazemore, Robert              Attorney‐Client                                                             (tspellma@its.jnj.com); Kim Taylor (ktaylor2@its.jnj.com); Joseph Wolk (jwolk2@its.jnj.com)                                                             (rbazemor@its.jnj.com)                            Thomas Spellman ^ (tspellma@its.jnj.com)   Kim Taylor (ktaylor2@its.jnj.com)                         7/21/2009   support services.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Presentation reflecting request for legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Legal Department regarding preparation/review of
                                                                                                                                                                                                         Michael Genus                   Michael Genus (mgenus@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Serge Messerlian                                                                                                                                                                                                                                 internal training or internal guidance concerning practice
151                                                     JANSSENBIO‐021‐00001706   JANSSENBIO‐021‐00001807   Redacted   pptx    Heckman, Marti                Attorney‐Client   Hopkima                   (mgenus@its.jnj.com)            (smesserl@its.jnj.com); Tara Muzsi (tmuzsi@its.jnj.com); Catherine Owen (cowen3@its.jnj.com)                                                                                                                                                                                                                    2/3/2016   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
152   JANSSENBIO‐PL‐000049    JANSSENBIO‐PL_2‐0000117                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
153   JANSSENBIO‐PL‐000050    JANSSENBIO‐PL_2‐0000118                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Dave Rybak (drybak2@its.jnj.com); Edmund Greenidge
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (egreenid@its.jnj.com); John Dempsey
                                                                                                                                                                                                                                         Robert Bazemore (rbazemor@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); John Dempsey                                                                                                                                                       (jdempse1@its.jnj.com); Katherine Chapman
                                                                                                                                                                                                                                         (jdempse1@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);                                                                                                                                              (kchapman@its.jnj.com); Michelle Lynch                                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                         Scott Habig (shabig@its.jnj.com); Michelle Lynch (mlynch10@its.jnj.com); Dave Rybak                                                                     Chris Firriolo (cfirriol@its.jnj.com); John Vaughan                                          (mlynch10@its.jnj.com); Robert Bazemore                               regarding preparation/review of internal training or
                                                                                                                               Bazemore, Robert;                                                                                         (drybak2@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); John Vaughan ^                                                                         ^ (jvaughan@its.jnj.com); Thomas Spellman ^                                                  (rbazemor@its.jnj.com); Scott Habig                                   internal guidance concerning practice management or IOI
154   JANSSENBIO‐PL‐000012    JANSSENBIO‐PL_2‐0000119                                                       Withheld   eMail   Greenidge, Edmund             Attorney‐Client                                                             (jvaughan@its.jnj.com); Kim Wortman (kwortman@its.jnj.com)                                                                                              (tspellma@its.jnj.com)                              Kim Wortman (kwortman@its.jnj.com)       (shabig@its.jnj.com)                                     11/20/2009   support.



                                                                                                                                                                                                                                         Robert Bazemore (rbazemor@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); John Dempsey
                                                                                                                                                                                                                                         (jdempse1@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                                                                                                                         Scott Habig (shabig@its.jnj.com); Michelle Lynch (mlynch10@its.jnj.com); Dave Rybak
                                                                                                                               Bazemore, Robert;                               Katherine Chapman         Katherine Chapman               (drybak2@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); John Vaughan ^
155   JANSSENBIO‐PL‐000013    JANSSENBIO‐PL_2‐0000120                                                       Withheld   pptx    Greenidge, Edmund             Attorney‐Client   (kchapman@its.jnj.com)    (kchapman@its.jnj.com)          (jvaughan@its.jnj.com); Kim Wortman (kwortman@its.jnj.com)                                                                                                                                                                                                                                                    11/20/2009


                                                                                                                                                                                                                                         Robert Bazemore (rbazemor@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); John Dempsey
                                                                                                                                                                                                                                         (jdempse1@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                                                                                         Courtney Robertson              Scott Habig (shabig@its.jnj.com); Michelle Lynch (mlynch10@its.jnj.com); Dave Rybak
                                                                                                                               Bazemore, Robert;                                                         (courtney.robertson@health‐     (drybak2@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); John Vaughan ^
156   JANSSENBIO‐PL‐000014    JANSSENBIO‐PL_2‐0000121                                                       Withheld   doc     Greenidge, Edmund             Attorney‐Client   Kris Kordacki             union.com)                      (jvaughan@its.jnj.com); Kim Wortman (kwortman@its.jnj.com)                                                                                                                                                                                                                                                    11/20/2009



                                                                                                                                                                                                                                         Robert Bazemore (rbazemor@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); John Dempsey
                                                                                                                                                                                                                                         (jdempse1@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                                                                                         Courtney Robertson              Scott Habig (shabig@its.jnj.com); Michelle Lynch (mlynch10@its.jnj.com); Dave Rybak
                                                                                                                               Bazemore, Robert;                                                         (courtney.robertson@health‐     (drybak2@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); John Vaughan ^
157   JANSSENBIO‐PL‐000015    JANSSENBIO‐PL_2‐0000122                                                       Withheld   doc     Greenidge, Edmund             Attorney‐Client   Kris Kordacki             union.com)                      (jvaughan@its.jnj.com); Kim Wortman (kwortman@its.jnj.com)                                                                                                                                                                                                                                                    11/20/2009



                                                                                                                                                                                                                                         Carine Brouillon (cbrouil2@its.jnj.com); Jim Gabriele (jgabrie@its.jnj.com); Chris Halyk
                                                                                                                                                                                                                                         (chalyk@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Calvin Schmidt (cschmid3@its.jnj.com);
                                                                                                                                                                                                                                         Thomas Spellman ^ (tspellma@its.jnj.com); Jennifer Taubert (jtaubert@its.jnj.com); Scott White                                                          John Wilson (jwilson6@its.jnj.com); Marti                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                               Heckman, Marti; Wood,                                                                                     (swhite17@its.jnj.com); William Whyte (wwhyte@its.jnj.com); Jon Williamson (jwilli9@its.jnj.com); John                                                  Heckman (mheckman@its.jnj.com); William                                                      Angela Wood (awood6@its.jnj.com); Thomas Spellman ^                   regarding issues relating to lawfulness of practice
158   JANSSENBIO‐PL‐000053    JANSSENBIO‐PL_2‐0000123                                                       Withheld   eMail   Angela                        Attorney‐Client                                                             Wilson (jwilson6@its.jnj.com); Angela Wood (awood6@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                      Whyte (wwhyte@its.jnj.com)                        Michael Yang (myang4@its.jnj.com)          (tspellma@its.jnj.com)                                    11/6/2013   management or IOI support services.


                                                                                                                                                                                                                                         Carine Brouillon (cbrouil2@its.jnj.com); Jim Gabriele (jgabrie@its.jnj.com); Chris Halyk
                                                                                                                                                                                                                                         (chalyk@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Calvin Schmidt (cschmid3@its.jnj.com);
                                                                                                                                                                                                                                         Thomas Spellman ^ (tspellma@its.jnj.com); Jennifer Taubert (jtaubert@its.jnj.com); Scott White
                                                                                                                               Heckman, Marti; Wood,                           Stephen Eliseo                                            (swhite17@its.jnj.com); William Whyte (wwhyte@its.jnj.com); Jon Williamson (jwilli9@its.jnj.com); John
159   JANSSENBIO‐PL‐000054    JANSSENBIO‐PL_2‐0000124                                                       Withheld   pdf     Angela                        Attorney‐Client   (seliseo@its.jnj.com)                                     Wilson (jwilson6@its.jnj.com); Angela Wood (awood6@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                             11/6/2013



                                                                                                                                                                                                                                         Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                                                         (khamill@cntus.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Eric                                                                                                                                                                                                                       Email chain reflecting legal advice regarding
                                                                                                                                                                                                                                         Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Brian Smith                                                                                                                                                                                                                                         preparation/review of customer‐facing practice
160   JANSSENBIO‐PL‐000055    JANSSENBIO‐PL_2‐0000125                                                       Withheld   eMail   Heckman, Marti                Attorney‐Client                                                             (bsmith32@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                       Marti Heckman (mheckman@its.jnj.com)              ken Haney (jhaney2@its.jnj.com)                                                                       1/9/2013   management or IOI support material.



                                                                                                                                                                                                                                         Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                         (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                         Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                            Catherine Owen (cowen3@its.jnj.com); Erin Parsons                     Email chain collecting information at direction of
                                                                                                                               Cornely, Thomas; Heckman,                                                                                 (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);                                                                                                                                                   (eparson5@its.jnj.com); Michael Yang                                  counsel for the purpose of providing legal advice
                                                                                                                               Marti; Parsons, Erin;                                                                                     Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Michael Yang                                                                Kathryn Roberts (krober10@its.jnj.com); Marti                                                (myang4@its.jnj.com); Timothy Grimes                                  regarding issues relating to interactions or
161   JANSSENBIO‐PL‐000056    JANSSENBIO‐PL_2‐0000126                                                       Withheld   eMail   Roberts, Kathryn          Attorney‐Client                                                                 (myang4@its.jnj.com)                                                                                                                                    Heckman (mheckman@its.jnj.com)                   Thomas Cornely (tcornel@its.jnj.com)        (tgrimes@its.jnj.com)                                     12/1/2014   communications between ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                 Catherine Owen (cowen3@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                                                 Cynthia Guzzo (cguzzo1@its.jnj.com); Ellen Sipos
                                                                                                                                                                                                                                         Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio                                                                 (esipos@its.jnj.com); Frank Folio
                                                                                                                               Cornely, Thomas; Guiton,                                                                                  (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                 (ffolio@its.jnj.com); Marti Heckman
                                                                                                                               Christopher; Heckman,                                                                                     Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                               (mheckman@its.jnj.com); Michael Yang                                                                                                                               Email with attachment(s) requesting legal advice
                                                                                                                               Marti; Parsons, Erin; Yang,                                                                               (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                     (myang4@its.jnj.com); Thomas Spellman ^                                                      Erin Parsons (eparson5@its.jnj.com); Timothy Grimes                   regarding issues relating to interactions or
162   JANSSENBIO‐PL‐000057    JANSSENBIO‐PL_2‐0000127                                                       Withheld   eMail   Michael                       Attorney‐Client                                                             Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                    (tspellma@its.jnj.com)                           Thomas Cornely (tcornel@its.jnj.com)        (tgrimes@its.jnj.com)                                    11/21/2014   communications between ABSs and physician offices.



                                                                                                                                                                                                                                         Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                               Cornely, Thomas; Guiton,                                                                                  (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                               Christopher; Heckman,                                                                                     Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen
                                                                                                                               Marti; Parsons, Erin; Yang,                     Angela Wood               Thomas Cornely                  (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas
163   JANSSENBIO‐PL‐000058    JANSSENBIO‐PL_2‐0000128                                                       Withheld   pptx    Michael                       Attorney‐Client   (awood6@its.jnj.com)      (tcornel@its.jnj.com)           Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                                                          11/21/2014




                                                                                                                                                                                                                                                                                                                    7
                                                                                                                Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 9 of 201


                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                              Cornely, Thomas; Guiton,                                                                          Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen
                                                                                                                              Christopher; Heckman,                                                                             (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);                                                                                                                                                       Christopher Guiton ^ (cguiton@its.jnj.com); Erin                Email chain with attachment(s) reflecting legal advice
                                                                                                                              Marti; Owen, Catherine;                                                                           Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Michael Yang                                                                     Catherine Owen (cowen3@its.jnj.com); Marti                                                  Parsons (eparson5@its.jnj.com); Kathryn Roberts                 regarding issues relating to interactions or
164   JANSSENBIO‐PL‐000059   JANSSENBIO‐PL_2‐0000129                                                       Withheld   eMail   Parsons, Erin               Attorney‐Client                                                       (myang4@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                      Heckman (mheckman@its.jnj.com)                  Thomas Cornely (tcornel@its.jnj.com)        (krober10@its.jnj.com)                               1/9/2015   communications between ABSs and physician offices.



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                              Cornely, Thomas; Guiton,                                                                          Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen
                                                                                                                              Christopher; Heckman,                                                                             (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);
                                                                                                                              Marti; Owen, Catherine;                       Angela Wood              Thomas Cornely             Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Michael Yang
165   JANSSENBIO‐PL‐000060   JANSSENBIO‐PL_2‐0000130                                                       Withheld   pptx    Parsons, Erin               Attorney‐Client   (awood6@its.jnj.com)     (tcornel@its.jnj.com)      (myang4@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                                                                       1/9/2015

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand                                                                                                                                                                                                                                Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Shauna Peterson ^                                                                                                                                                                                                                                             regarding issues relating to lawfulness of practice
166   JANSSENBIO‐PL‐000061   JANSSENBIO‐PL_2‐0000131                                                       Withheld   eMail   Heckman, Marti              Attorney‐Client                                                       (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                               Marti Heckman (mheckman@its.jnj.com)            Thomas Cornely (tcornel@its.jnj.com)                                                            1/12/2015   management or IOI support services.

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand
                                                                                                                                                                            Camille Dorsey           Daryl Todd ^               (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Shauna Peterson ^
167   JANSSENBIO‐PL‐000062   JANSSENBIO‐PL_2‐0000132                                                       Withheld   pptx    Heckman, Marti              Attorney‐Client   (cdorsey@its.jnj.com)    (dtodd1@its.jnj.com)       (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                                                                               1/12/2015

                                                                                                                                                                                                                                Scott Canterberry (scanterb@its.jnj.com); Stacey Davis (sdavis31@its.jnj.com); Marti Heckman
                                                                                                                                                                                                                                (mheckman@its.jnj.com); Michael Iacobellis (miacobel@its.jnj.com); Manish Mathur                                                                                                                                                                                                                                         Presentation reflecting request for legal advice from
                                                                                                                                                                                                                                (mmathur8@its.jnj.com); Catherine Owen (cowen3@its.jnj.com); Shelly Shadle (sshadle@its.jnj.com);                                                                                                                                                                                                                        Legal Department regarding preparation/review of
                                                                                                                                                                                                     Catherine Owen             Curtis Smith (csmith182@its.jnj.com); CR‐US‐PA‐Horsham‐Bldg800‐3402 South Hampton (ch2‐                                                                                                                                                                                                                                  internal training or internal guidance concerning practice
168                                                    JANSSENBIO‐021‐00001921   JANSSENBIO‐021‐00001957   Redacted   pptx    Heckman, Marti              Attorney‐Client   Msh143                   (cowen3@its.jnj.com)       3402@cntus.jnj.com)                                                                                                                                                                                                                                                                                          7/29/2015   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Presentation reflecting request for legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Legal Department regarding preparation/review of
                                                                                                                                                                                                     Catherine Owen             Stacey Davis (sdavis31@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                                                                                                internal training or internal guidance concerning practice
169                                                    JANSSENBIO‐021‐00001966   JANSSENBIO‐021‐00002002   Redacted   pptx    Heckman, Marti              Attorney‐Client   Msh143                   (cowen3@its.jnj.com)       (cowen3@its.jnj.com); Shelly Shadle (sshadle@its.jnj.com)                                                                                                                                                                                                                                                    7/29/2015   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
170   JANSSENBIO‐PL‐000040   JANSSENBIO‐PL_2‐0000133                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
171   JANSSENBIO‐PL‐000041   JANSSENBIO‐PL_2‐0000134                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
172   JANSSENBIO‐PL‐000042   JANSSENBIO‐PL_2‐0000135                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
173   JANSSENBIO‐PL‐000043   JANSSENBIO‐PL_2‐0000136                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
174                                                    JANSSENBIO‐021‐00001603                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2024
                                                                                                                                                                                                                                                                                                                                                                                             Ann Powell (apowell4@its.jnj.com); Arlene
                                                                                                                                                                                                                                Brad Adams (badams6@cntus.jnj.com); David Aspesi (daspesi@cntus.jnj.com); Janice Babia                                                                       Stephens (astephe4@cntus.jnj.com); Beth Ann
                                                                                                                                                                                                                                (jbabia@cntus.jnj.com); Laura Baltes (lbaltes@cntus.jnj.com); Melia Becker (mbecker@its.jnj.com); Craig                                                      Britt (BBritt@cntus.jnj.com); Binyah Kesselly
                                                                                                                                                                                                                                Buchholz (cbuchh01@cntus.jnj.com); Kanitha Burns (kburns1@cntus.jnj.com); David Byram                                                                        (bkessel2@cntus.jnj.com); Bob Prachar
                                                                                                                                                                                                                                (dbyram2@cntus.jnj.com); Bruce Carroll (bcarrol1@its.jnj.com); Lesly Charanza                                                                                (bprachar@its.jnj.com); Bob Russell
                                                                                                                                                                                                                                (lcharanz@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Howard Crawford                                                                              (brussell@its.jnj.com); Brad Adams
                                                                                                                                                                                                                                (hcrawfor@cntus.jnj.com); Greg Fenner (gfenner@cntus.jnj.com); Ellena Friedman                                                                               (badams6@cntus.jnj.com); Bruce Henderson
                                                                                                                                                                                                                                (efriedma@cntus.jnj.com); Laura Glassco (lglassco@cntus.jnj.com); Gerry Gribbon                                                                              (bhenders@cntus.jnj.com); Cheryl Cohen
                                                                                                                                                                                                                                (ggribbon@cntus.jnj.com); Jamie Harrell (jharrel@cntus.jnj.com); Bruce Henderson                                                                             (ccohen3@cntus.jnj.com); Cheryl Kramer
                                                                                                                                                                                                                                (bhenders@cntus.jnj.com); Rizza Hermosisima (rhermosi@cntus.jnj.com); Steve Jacobs                                                                           (ckramer4@cntus.jnj.com); Christopher Bedell
                                                                                                                                                                                                                                (sjacobs@prdus.jnj.com); Kelley Jewett (kjewett@cntus.jnj.com); Marv Kelly (mkelly14@cntus.jnj.com);                                                         (Cbedell1@cntus.jnj.com); Christopher
                                                                                                                                                                                                                                Binyah Kesselly (bkessel2@cntus.jnj.com); David Kessler ^ (dkessle3@cntus.jnj.com); David Langley                                                            Molineaux (cmoline1@cntus.jnj.com); Cornelius
                                                                                                                                                                                                                                (dlangle2@cntus.jnj.com); Richard (Ricky) Lewis (rlewis2@cntus.jnj.com); Randy McGonigal                                                                     Merlini (CMerlini@CNTUS.JNJ.COM); Craig
                                                                                                                                                                                                                                (rmcgonig@cntus.jnj.com); Eric Mensh (emensh@cntus.jnj.com); Gwendolyn Miley                                                                                 Buchholz (cbuchh01@cntus.jnj.com); David
                                                                                                                                                                                                                                (gmiley@cntus.jnj.com); Christopher Molineaux (cmoline1@cntus.jnj.com); Randi Norfleet                                                                       Aspesi (daspesi@cntus.jnj.com); David Byram
                                                                                                                                                                                                                                (rnorflee@cntus.jnj.com); Michael Parks (mparks4@cntus.jnj.com); William Pettit                                                                              (dbyram2@cntus.jnj.com); David Kessler ^
                                                                                                                                                                                                                                (wpettitj@cntus.jnj.com); Ann Powell (apowell4@its.jnj.com); Derek Redcross (dredcros@cntus.jnj.com);                                                        (dkessle3@cntus.jnj.com); David Langley
                                                                                                                                                                                                                                Steven Rodacker (srodacke@cntus.jnj.com); Ramiro Roman (rroman3@cntus.jnj.com); Bob Russell                                                                  (dlangle2@cntus.jnj.com); Derek Redcross
                                                                                                                                                                                                                                (brussell@its.jnj.com); Ronald Schmid (rschmid4@cntus.jnj.com); Sandra Shpilberg                                                                             (dredcros@cntus.jnj.com); Ellena Friedman
                                                                                                                                                                                                                                (sshpilbe@cntus.jnj.com); Arlene Stephens (astephe4@cntus.jnj.com); Neeta Tandon                                                                             (efriedma@cntus.jnj.com); Eric Mensh
                                                                                                                                                                                                                                (ntandon@cntus.jnj.com); Michael Varlotta (mvarlot2@cntus.jnj.com); Monte Washington                                                                         (emensh@cntus.jnj.com); Gerry Gribbon
                                                                                                                                                                                                                                (mwashin2@cntus.jnj.com); Susan Weidle (sweidle1@cntus.jnj.com); Jim Witt (jwitt2@its.jnj.com); Mark                                                         (ggribbon@cntus.jnj.com); Greg Fenner
                                                                                                                                                                                                                                Woodford (mwoodfo2@cntus.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Christopher Bedell                                                              (gfenner@cntus.jnj.com); Gwendolyn Miley
                                                                                                                                                                                                                                (Cbedell1@cntus.jnj.com); Beth Ann Britt (BBritt@cntus.jnj.com); Peter Greenleaf (kgreenb2@its.jnj.com);                                                     (gmiley@cntus.jnj.com); Howard Crawford
                                                                                                                                                                                                                                Scott Habig (shabig@its.jnj.com); Mary Heino (mheino@cntus.jnj.com); John Hoffman                                                                            (hcrawfor@cntus.jnj.com); Jamie Harrell
                                                                                                                                                                                                                                (jhoffma2@its.jnj.com); Cheryl Kramer (ckramer4@cntus.jnj.com); Ron Krawczyk                                                                                 (jharrel@cntus.jnj.com); Janice Babia
                                                                                                                                                                                                                                (RKrawczy@CNTUS.JNJ.COM); Cornelius Merlini (CMerlini@CNTUS.JNJ.COM); Mark Miller                                                                            (jbabia@cntus.jnj.com); Jim Witt                                                                                                                            Email chain reflecting request for legal advice to outside
                                                                                                                              Cohen, Cheryl; Fenner,                                                                            (MMille11@cntus.jnj.com); Suzanne Mueller (smueller@cntus.jnj.com); Bob Prachar                                                                              (jwitt2@its.jnj.com); John Hoffman                                                                                                                          counsel regarding issues relating to product
175                                                    JANSSENBIO‐015‐00000235   JANSSENBIO‐015‐00000237   Redacted   eMail   Gregory                     Attorney‐Client                                                       (bprachar@its.jnj.com); Yvonne Runfola (Yrunfola@its.jnj.com); Karen Smith (ksmith2@cntus.jnj.com)                                                           (jhoffma2@its.jnj.com); Kanitha Burns           Bruce Carroll (bcarrol1@its.jnj.com)                                                             1/5/2004   reimbursement.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum providing information to counsel for the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         purpose of receiving legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                              Cohen, Cheryl; Fenner,                        Bruce Carroll            Cheryl Kramer              Cheryl Cohen (ccohen3@cntus.jnj.com); Greg Fenner (gfenner@cntus.jnj.com); William Pettit                                                                                                                                                                                                                                guidance concerning practice management or IOI
176                          JANSSENBIO‐PL_2‐0000137   JANSSENBIO‐021‐00001291   JANSSENBIO‐021‐00001291   Withheld   doc     Gregory                     Attorney‐Client   (bcarrol1@its.jnj.com)   (ckramer4@cntus.jnj.com)   (wpettitj@cntus.jnj.com)                                                                                                                                                                                                                                                                                     3/19/2004   support.

                                                                                                                                                                                                                                Nicole Black (nblack1@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Marti Heckman
                                                                                                                                                                                                                                (mheckman@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Lynda Long (llogan@its.jnj.com);                                                                                                                                                                                                                           Email chain reflecting legal advice regarding issues
                                                                                                                                                                                                                                Karen Trahan (ktrahan@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls                                                                                                                                                                                                                                  relating to lawfulness of practice management or IOI
177   JANSSENBIO‐PL‐000070   JANSSENBIO‐PL_2‐0000138                                                       Withheld   eMail   Heckman, Marti              Attorney‐Client                                                       (mwalls@its.jnj.com); Mary Westbrook (mwestbr1@its.jnj.com)                                                                                                  Michelle Walls (mwalls@its.jnj.com)             Marti Heckman (mheckman@its.jnj.com)        Karen Trahan (ktrahan@its.jnj.com)                 11/11/2011   support services.
                                                                                                                                                                                                                                Nicole Black (nblack1@its.jnj.com); Tiziana Fox (tfox@its.jnj.com); Marti Heckman                                                                            Brian Smith (bsmith32@its.jnj.com); Marti
                                                                                                                                                                                                                                (mheckman@its.jnj.com); Rebecca Ortlieb (rortlieb@its.jnj.com); Brian Smith (bsmith32@its.jnj.com);                                                          Heckman (mheckman@its.jnj.com); Rebecca                                                     Nicole Black (nblack1@its.jnj.com); Tiziana Fox                 Email chain reflecting legal advice from the Law
178                                                    JANSSENBIO‐021‐00002047   JANSSENBIO‐021‐00002049   Redacted   eMail   Heckman, Marti              Attorney‐Client                                                       Darryl Stiles (dstiles@its.jnj.com)                                                                                                                          Ortlieb (rortlieb@its.jnj.com)                  Darryl Stiles (dstiles@its.jnj.com)         (tfox@its.jnj.com)                                  8/26/2013   Department ^ regarding vial replacement program.


                                                                                                                                                                                                                                Nicole Black (nblack1@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                                                (dfabbri@its.jnj.com); Tiziana Fox (tfox@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); Marti Heckman
                                                                                                                                                                                                                                (mheckman@its.jnj.com); Rebecca Ortlieb (rortlieb@its.jnj.com); Brian Smith (bsmith32@its.jnj.com);                                                          Ken Gillmer (kgillme1@its.jnj.com); Marti                                                   David Fabbri (dfabbri@its.jnj.com); Paul Duncan                 Email chain reflecting legal advice from the Law
179                                                    JANSSENBIO‐021‐00002052   JANSSENBIO‐021‐00002055   Redacted   eMail   Heckman, Marti              Attorney‐Client                                                       Darryl Stiles (dstiles@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                                  Heckman (mheckman@its.jnj.com)                  Karen Trahan (ktrahan@its.jnj.com)          (pduncan9@its.jnj.com)                              8/28/2013   Department ^ regarding vial replacement program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
180   JANSSENBIO‐PL‐000071   JANSSENBIO‐PL_2‐0000139                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2024
                                                                                                                                                                                                                                                                                                                                              Aliza Tomlinson (atomlins@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                              Amit Patel (apatel18@its.jnj.com); Bradley
                                                                                                                                                                                                                                                                                                                                              Katz (bkatz0@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                                              Chrzan cchrzan1@its.jnj.com; Christopher
                                                                                                                                                                                                                                                                                                                                              Herbine (cherbin1@its.jnj.com); Connie
                                                                                                                                                                                                                                                                                                                                              Espiritu‐De Lorimier (cespirit@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                              Donna Fromhold (dfromhol@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                              Frederick Tewell (ftewell@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Jeffrey
                                                                                                                                                                                                                                                                                                                                              Newton (jnewton2@its.jnj.com); Jennifer
                                                                                                                                                                                                                                                                                                                                              De Camara ^ (jdecamar@corus.jnj.com);
                                                                                                                                                                                                                                Paul Duncan (pduncan9@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Bradley Katz                        Jeremy Mann (jmann4@its.jnj.com); John         Marti Heckman (mheckman@its.jnj.com); Paul
181   JANSSENBIO‐PL‐000072   JANSSENBIO‐PL_2‐0000140                                                       Withheld   eMail   Heckman, Marti              Attorney‐Client                                                       (bkatz0@its.jnj.com); Hilary Profrock (hprofroc@its.jnj.com)                                                  Hoffman (jhoffma2@its.jnj.com); Ken            Duncan (pduncan9@its.jnj.com)                   Bradley Katz (bkatz0@its.jnj.com)                                                                7/9/2014

                                                                                                                                                                            Sheila Shaffer           Michelle Marlowe           Paul Duncan (pduncan9@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Bradley Katz
182   JANSSENBIO‐PL‐000073   JANSSENBIO‐PL_2‐0000141                                                       Withheld   docx    Heckman, Marti              Attorney‐Client   (scouch@its.jnj.com)     (mmarlow@its.jnj.com)      (bkatz0@its.jnj.com); Hilary Profrock (hprofroc@its.jnj.com)                                                                                                                                                                                                                                                  7/9/2014
                                                                                                                                                                                                                                                                                                                                              Aliza Tomlinson (atomlins@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                              Amit Patel (apatel18@its.jnj.com); Bradley
                                                                                                                                                                                                                                                                                                                                              Katz (bkatz0@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                                              Chrzan cchrzan1@its.jnj.com; Christopher
                                                                                                                                                                                                                                                                                                                                              Herbine (cherbin1@its.jnj.com); Connie
                                                                                                                                                                                                                                                                                                                                              Espiritu‐De Lorimier (cespirit@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                              Donna Fromhold (dfromhol@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                              Frederick Tewell (ftewell@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Jeffrey
                                                                                                                                                                                                                                                                                                                                              Newton (jnewton2@its.jnj.com); Jennifer
                                                                                                                                                                                                                                                                                                                                              De Camara ^ (jdecamar@corus.jnj.com);
                                                                                                                                                                                                                                Paul Duncan (pduncan9@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Bradley Katz                        Jeremy Mann (jmann4@its.jnj.com); John         Marti Heckman (mheckman@its.jnj.com); Paul
183   JANSSENBIO‐PL‐000074   JANSSENBIO‐PL_2‐0000142                                                       Withheld   eMail   Heckman, Marti              Attorney‐Client                                                       (bkatz0@its.jnj.com); Hilary Profrock (hprofroc@its.jnj.com)                                                  Hoffman (jhoffma2@its.jnj.com); Ken            Duncan (pduncan9@its.jnj.com)                   Bradley Katz (bkatz0@its.jnj.com)                                                                7/9/2014

                                                                                                                                                                            Jeremy Mann                                         Paul Duncan (pduncan9@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Bradley Katz
184   JANSSENBIO‐PL‐000075   JANSSENBIO‐PL_2‐0000143                                                       Withheld   pdf     Heckman, Marti              Attorney‐Client   (jmann4@its.jnj.com)                                (bkatz0@its.jnj.com); Hilary Profrock (hprofroc@its.jnj.com)                                                                                                                                                                                                                                                  7/9/2014

                                                                                                                                                                                                                                Robert Bazemore (rbazemor@its.jnj.com); Louis Ferrari (lferrar2@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                                                (khamill@cntus.jnj.com); Logan Morse (lmorse@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com);                                                                                                                                                                                                                     Email chain providing legal advice regarding issues
                                                                                                                                                                                                                                Sharmaine Steckbeck (ssteckb@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Scott White                                                                                                                                                                                                                            relating to interactions or communications between
185   JANSSENBIO‐PL‐000016   JANSSENBIO‐PL_2‐0000144                                                       Withheld   eMail   Bazemore, Robert            Attorney‐Client                                                       (swhite17@its.jnj.com)                                                                                                                                                                                       Sharmaine Steckbeck (ssteckb@its.jnj.com)                                                        2/3/2011   ABSs and physician offices.




                                                                                                                                                                                                                                Michael Churchill (mchurchi@its.jnj.com); Chris DeFonce (cdefonce@its.jnj.com); Peter DiPalma
                                                                                                                                                                                                                                (pdipalma@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); David Gelfuso (dgelfuso@its.jnj.com); Steven
                                                                                                                                                                                                                                Glaab (sglaab2@its.jnj.com); Richard Green (rgreen1@its.jnj.com); Marti Heckman
                                                                                                                                                                                                                                (mheckman@its.jnj.com); Swati Javeri (sjaveri@its.jnj.com); Heith Jeffcoat (hjeffcoa@its.jnj.com); Edward
                                                                                                                                                                                                                                Kalaha (ekalaha@its.jnj.com); Ken McDermott (kmcderm1@its.jnj.com); Logan Morse
                                                                                                                                                                                                                                (lmorse@its.jnj.com); Abby Perschon (aperscho@its.jnj.com); Brian Smith (bsmith32@its.jnj.com);
                                                                                                                                                                                                                                Matthew Stuckley (mstuckle@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Paul Waguespack                                                                                                                                                                                                                        Meeting Minutes reflecting legal advice regarding issues
                                                                                                                              Heckman, Marti; Javeri,                       Monica Carbone           Michael Churchill          (pwaguesp@cntus.jnj.com); Scott White (swhite17@its.jnj.com); Sandeep Karnik                                                                                                                                                                                                                                             relating to lawfulness of practice management or IOI
186                                                    JANSSENBIO‐021‐00002160   JANSSENBIO‐021‐00002163   Redacted   docx    Swati                       Attorney‐Client   (mcarbon7@its.jnj.com)   (mchurchi@its.jnj.com)     (sandeep.karnik@cognizant.com)                                                                                                                                                                                                                                                                              10/28/2011   support services.
                                                                                                                                                                                                                                                                                                                                                                                             Daryl Todd ^ (dtodd1@its.jnj.com); Deidre
                                                                                                                                                                                                                                                                                                                                                                                             Meehan ^ (dmeehan5@its.jnj.com); Don Bohn
                                                                                                                                                                                                                                                                                                                                                                                             (dbohn@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                                                                                                                                                             (htorell@its.jnj.com); John Hoffman
                                                                                                                                                                                                                                                                                                                                                                                             (jhoffma2@its.jnj.com); Kim Wortman
                                                                                                                                                                                                                                Robert Bazemore (rbazemor@its.jnj.com); Don Bohn (dbohn@its.jnj.com); Robert Donnelly                                                                        (kwortman@its.jnj.com); Liz Fowler
                                                                                                                              Bazemore, Robert;                                                                                 (rdonnel4@its.jnj.com); Liz Fowler (lfowler3@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); John                                                    (lfowler3@its.jnj.com); Robert Bazemore
                                                                                                                              Hoffman, John; Meehan,                                                                            Hoffman (jhoffma2@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Daryl Todd ^                                                                         (rbazemor@its.jnj.com); Robert Donnelly                                                                                                                     Email chain with attachment(s) providing legal advice
                                                                                                                              Deidre; Todd, Daryl; White,                                                                       (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Scott White (swhite17@its.jnj.com); Kim                                                         (rdonnel4@its.jnj.com); Scott White                                                                                                                         regarding issues relating to interactions or
187   JANSSENBIO‐PL‐000017   JANSSENBIO‐PL_2‐0000145                                                       Withheld   eMail   Scott                       Attorney‐Client                                                       Wortman (kwortman@its.jnj.com)                                                                                                                               (swhite17@its.jnj.com)                          Stephanie Gilson ^ (sgilson@its.jnj.com)                                                       10/30/2013   communications between ABSs and physician offices.

                                                                                                                                                                                                                                Robert Bazemore (rbazemor@its.jnj.com); Don Bohn (dbohn@its.jnj.com); Robert Donnelly
                                                                                                                              Bazemore, Robert;                                                                                 (rdonnel4@its.jnj.com); Liz Fowler (lfowler3@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); John
                                                                                                                              Hoffman, John; Meehan,                                                                            Hoffman (jhoffma2@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Daryl Todd ^
                                                                                                                              Deidre; Todd, Daryl; White,                                                                       (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Scott White (swhite17@its.jnj.com); Kim
188   JANSSENBIO‐PL‐000018   JANSSENBIO‐PL_2‐0000146                                                       Withheld   pdf     Scott                       Attorney‐Client                                                       Wortman (kwortman@its.jnj.com)                                                                                                                                                                                                                                                                              10/30/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Presentation reflecting legal advice from Legal
                                                                                                                                                                            Richard Appiah           Catherine Owen             Richard Appiah (rappiah@its.jnj.com); Serge Messerlian (smesserl@its.jnj.com); Scott Shelhamer                                                                                                                                                                                                                           Department regarding issues relating to legal strategy
189                                                    JANSSENBIO‐021‐00005268   JANSSENBIO‐021‐00005268   Redacted   pptx    Shelhamer, Scott            Attorney‐Client   (RAppiah@its.jnj.com)    (cowen3@its.jnj.com)       (sshelha1@its.jnj.com)                                                                                                                                                                                                                                                                                        2/1/2016   and analysis.

                                                                                                                                                                                                                                Doris Chern (dchern2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                                                            Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                (cguiton@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com);                                                                                                                                                                                                                        regarding preparation/review of customer‐facing practice
190                          JANSSENBIO‐PL_2‐0000147                                                       Withheld   eMail   Wolfe, Michael              Attorney‐Client                                                       Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                          Christopher Guiton ^ (cguiton@its.jnj.com)      Michael Wolfe (mwolfe2@its.jnj.com)                                                            11/20/2014   management or IOI support material.

                                                                                                                                                                                                                                Doris Chern (dchern2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                            Anna Maria Acquaviva     Michael Wolfe              (cguiton@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com);
191                          JANSSENBIO‐PL_2‐0000148                                                       Withheld   pptx    Wolfe, Michael              Attorney‐Client   (aacqua23@its.jnj.com)   (mwolfe2@its.jnj.com)      Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                                                                                         11/20/2014

                                                                                                                                                                                                                                Doris Chern (dchern2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                            Rika Ville               Michael Wolfe              (cguiton@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com);
192                          JANSSENBIO‐PL_2‐0000149                                                       Withheld   docx    Wolfe, Michael              Attorney‐Client   (rdeville@its.jnj.com)   (mwolfe2@its.jnj.com)      Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                                                                                         11/20/2014




                                                                                                                                                                                                                                                                                                            8
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 10 of 201

                                                                                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey                        Alan Cornell (acornell@its.jnj.com); Amit Patel
                                                                                                                                                                                                                 (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);                 (apatel18@its.jnj.com); Andrea Barnow
                                                                                                                                                                                                                 Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger                   (abarnow@its.jnj.com); Angela Wood
                                                                                                                                                                                                                 (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);             (awood6@its.jnj.com); Anthony Brennan
                                                                                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com); Brian Burns ^                   (abrenna3@its.jnj.com); Anthony Marchetta
                                                                                                                                                                                                                 (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com);         (amarchet@its.jnj.com); Becky Hayes
                                                                                                                                                                                                                 Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker                       (rhayes5@its.jnj.com); Brian Burns ^
                                                                                                                                                                                                                 (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell     (bburns7@its.jnj.com); Brian Kelly
                                                                                                                                                                                                                 (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris         (bkelly2@its.jnj.com); Brian Visconti
                                                                                                                                                                                                                 Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane Deloria                            (bviscont@its.jnj.com); Bruce Colligen
                                                                                                                                                                                                                 (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly (rdonnel4@its.jnj.com);          (bcollig@its.jnj.com); Carol Woodard
                                                                                                                                                                                                                 Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell                           (cwoodard@its.jnj.com); Catherine Piech
                                                                                                                                                                                                                 (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);        (cpiech@its.jnj.com); Charles Schneider
                                                                                                                                                                                                                 Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gerry McShane                  (cschne10@its.jnj.com); Chris Matteson
                                                                                                                                                                                                                 (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele           (cmattes1@its.jnj.com); Christina Farup
                                                                                                                                                                                                                 Griffiths (kgriffi2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta                          (cfarup2@its.jnj.com); Christine Maroulis
                                                                                                                                                                                                                 (mgupta2@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Rebecca            (cmarouli@its.jnj.com); Christopher McNeal
                                                                                                                                                                                                                 Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn                         (cmcneal1@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                                 (mhepburn@its.jnj.com); Robert Hoehn ^ (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);             (czalesky@its.jnj.com); Danny Burrell
                                                                                                                                                                                                                 William Hrubes (whrubes@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^                     (dburrell@its.jnj.com); Darryl Stiles
                                                                                                                                                                                                                 (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy   (dstiles@its.jnj.com); Daryl Todd ^
                                                                                                                                                                                                                 ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com);           (dtodd1@its.jnj.com); David Banko
                                                                                                                                                                                                                 Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com); Anthony Marchetta                         (dbanko@its.jnj.com); Delia Cook
                                                                                                                                                                                                                 (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com);           (dcook1@its.jnj.com); Diane Deloria
                                                                                                                                                                                                                 Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth                     (ddeloria@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                 McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal              (dclarke3@its.jnj.com); Eric Edgell                                                                                                                  Email with attachment(s) reflecting request for legal
                                                                                                                                                                                                                 (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Rob Miller (rmille16@its.jnj.com);            (eedgell@its.jnj.com); Erin Parsons                                                                                                                  advice regarding preparation/review of draft internal
                                                                                                       Parsons, Erin; Todd, Daryl;                                                                               Larry Montes (lmontes4@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly Norton                        (eparson5@its.jnj.com); Freddy Jimenez ^                                                                                                             training or internal guidance concerning practice
193   JANSSENBIO‐PL_2‐0000150                                                       Withheld   eMail   Wolfe, Michael                Attorney‐Client                                                             (norton.kim@synthes.com); Erin Parsons (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com);             (fjimene3@its.jnj.com); Gerry McShane             Christopher Zalesky (czalesky@its.jnj.com)                                             9/19/2012   management or IOI support.
                                                                                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                                                                                                 (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                                                                                                 Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                                                                                                 (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com); Brian Burns ^
                                                                                                                                                                                                                 (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com);
                                                                                                                                                                                                                 Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker
                                                                                                                                                                                                                 (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell
                                                                                                                                                                                                                 (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris
                                                                                                                                                                                                                 Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane Deloria
                                                                                                                                                                                                                 (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly (rdonnel4@its.jnj.com);
                                                                                                                                                                                                                 Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell
                                                                                                                                                                                                                 (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                                 Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gerry McShane
                                                                                                                                                                                                                 (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele
                                                                                                                                                                                                                 Griffiths (kgriffi2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta
                                                                                                                                                                                                                 (mgupta2@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Rebecca
                                                                                                                                                                                                                 Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn
                                                                                                                                                                                                                 (mhepburn@its.jnj.com); Robert Hoehn ^ (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);
                                                                                                                                                                                                                 William Hrubes (whrubes@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                 (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy
                                                                                                                                                                                                                 ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com);
                                                                                                                                                                                                                 Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com); Anthony Marchetta
                                                                                                                                                                                                                 (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com);
                                                                                                                                                                                                                 Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                                                                                 McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                                                                                 (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Rob Miller (rmille16@its.jnj.com);
                                                                                                       Parsons, Erin; Todd, Daryl;                     Daryl Todd ^             Daryl Todd ^                     Larry Montes (lmontes4@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly Norton
194   JANSSENBIO‐PL_2‐0000151                                                       Withheld   docx    Wolfe, Michael                Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             (norton.kim@synthes.com); Erin Parsons (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com);                                                                                                                                                      9/19/2012
                                                                                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                                                                                                 (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                                                                                                 Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                                                                                                 (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com); Brian Burns ^
                                                                                                                                                                                                                 (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com);
                                                                                                                                                                                                                 Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker
                                                                                                                                                                                                                 (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell
                                                                                                                                                                                                                 (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris
                                                                                                                                                                                                                 Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane Deloria
                                                                                                                                                                                                                 (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly (rdonnel4@its.jnj.com);
                                                                                                                                                                                                                 Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell
                                                                                                                                                                                                                 (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                                 Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gerry McShane
                                                                                                                                                                                                                 (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele
                                                                                                                                                                                                                 Griffiths (kgriffi2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta
                                                                                                                                                                                                                 (mgupta2@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Rebecca
                                                                                                                                                                                                                 Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn
                                                                                                                                                                                                                 (mhepburn@its.jnj.com); Robert Hoehn ^ (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);
                                                                                                                                                                                                                 William Hrubes (whrubes@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                 (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy
                                                                                                                                                                                                                 ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com);
                                                                                                                                                                                                                 Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com); Anthony Marchetta
                                                                                                                                                                                                                 (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com);
                                                                                                                                                                                                                 Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                                                                                 McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                                                                                 (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Rob Miller (rmille16@its.jnj.com);
                                                                                                       Parsons, Erin; Todd, Daryl;                     Daryl Todd ^             Daryl Todd ^                     Larry Montes (lmontes4@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly Norton
195   JANSSENBIO‐PL_2‐0000152                                                       Withheld   docx    Wolfe, Michael                Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             (norton.kim@synthes.com); Erin Parsons (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com);                                                                                                                                                      9/19/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) reflecting counsel's
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    request for information for the purpose of providing
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    legal advice from Legal Department regarding
                                                                                                                                                                                                                 Gregory Bass (gbass2@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Catherine Sicari ^                                                                                                                                                                        preparation/review of customer‐facing practice
196   JANSSENBIO‐PL_2‐0000153                                                       Withheld   eMail   Wolfe, Michael                Attorney‐Client                                                             (csicari@its.jnj.com); Fizza Suri (fsuri@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                    Michael Wolfe (mwolfe2@its.jnj.com)               Fizza Suri (fsuri@its.jnj.com)                                                         4/25/2013   management or IOI support material.

                                                                                                                                                       Anna Maria Acquaviva                                      Gregory Bass (gbass2@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Catherine Sicari ^
197   JANSSENBIO‐PL_2‐0000154                                                       Withheld   pptx    Wolfe, Michael                Attorney‐Client   (aacqua23@its.jnj.com)   Fizza Suri (fsuri@its.jnj.com)   (csicari@its.jnj.com); Fizza Suri (fsuri@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                             4/25/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Memorandum reflecting legal advice from Legal
                                                                                                                                                       Catherine Kaucher                                         John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Fizza Suri (fsuri@its.jnj.com);                                                                                                                                                                Department regarding preparation/review of customer‐
198                             JANSSENBIO‐064‐00003638   JANSSENBIO‐064‐00003638   Redacted   docx    Wolfe, Michael                Attorney‐Client   (ckauche1@its.jnj.com)   Fizza Suri (fsuri@its.jnj.com)   Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                                    4/15/2013   facing practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    legal advice regarding preparation/review of internal
                                                                                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo                                                                                                                                                                    training or internal guidance concerning practice
199   JANSSENBIO‐PL_2‐0000155                                                       Withheld   eMail   Wolfe, Michael                Attorney‐Client                                                             (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                   Michael Wolfe (mwolfe2@its.jnj.com)               Thao Marzullo (tmarzull@its.jnj.com)                                                  12/15/2014   management or IOI support.

                                                                                                                                                       Anna Maria Acquaviva     Thao Marzullo                    Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
200   JANSSENBIO‐PL_2‐0000156                                                       Withheld   pptx    Wolfe, Michael                Attorney‐Client   (aacqua23@its.jnj.com)   (tmarzull@its.jnj.com)           (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                           12/15/2014

                                                                                                                                                                                Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
201   JANSSENBIO‐PL_2‐0000157                                                       Withheld   xlsx    Wolfe, Michael                Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                           12/15/2014

                                                                                                                                                                                Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
202   JANSSENBIO‐PL_2‐0000158                                                       Withheld   xlsx    Wolfe, Michael                Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                           12/15/2014

                                                                                                                                                                                Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
203   JANSSENBIO‐PL_2‐0000159                                                       Withheld   xlsx    Wolfe, Michael                Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                           12/15/2014

                                                                                                                                                                                Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
204   JANSSENBIO‐PL_2‐0000160                                                       Withheld   xlsx    Wolfe, Michael                Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                           12/15/2014

                                                                                                                                                                                Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
205   JANSSENBIO‐PL_2‐0000161                                                       Withheld   xlsx    Wolfe, Michael                Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                           12/15/2014

                                                                                                                                                                                Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
206   JANSSENBIO‐PL_2‐0000162                                                       Withheld   xlsx    Wolfe, Michael                Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                           12/15/2014

                                                                                                                                                       Rika Ville               Lesline Brother                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
207   JANSSENBIO‐PL_2‐0000163                                                       Withheld   docx    Wolfe, Michael                Attorney‐Client   (rdeville@its.jnj.com)   (lbrother@its.jnj.com)           (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                           12/15/2014

                                                                                                                                                       Rika Ville               Thao Marzullo                    Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
208   JANSSENBIO‐PL_2‐0000164                                                       Withheld   docx    Wolfe, Michael                Attorney‐Client   (rdeville@its.jnj.com)   (tmarzull@its.jnj.com)           (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                           12/15/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe                                                                                                                                                                     guidance concerning practice management or IOI
209   JANSSENBIO‐PL_2‐0000165                                                       Withheld   eMail   Wolfe, Michael                Attorney‐Client                                                             (mwolfe2@its.jnj.com)                                                                                         Michael Wolfe (mwolfe2@its.jnj.com)               Christopher Guiton ^ (cguiton@its.jnj.com)                                            12/17/2014   support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe                                                                                                                                                                     regarding preparation/review of customer‐facing practice
210   JANSSENBIO‐PL_2‐0000166                                                       Withheld   eMail   Wolfe, Michael                Attorney‐Client                                                             (mwolfe2@its.jnj.com)                                                                                         Christopher Guiton ^ (cguiton@its.jnj.com)        Michael Wolfe (mwolfe2@its.jnj.com)                                                    7/31/2014   management or IOI support material.
                                                                                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe
211   JANSSENBIO‐PL_2‐0000167                                                       Withheld   pdf     Wolfe, Michael                Attorney‐Client   Xillix                                                    (mwolfe2@its.jnj.com)                                                                                                                                                                                                                                  7/31/2014

                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy                                                                                                                                                                           Email chain requesting legal advice regarding
                                                                                                                                                                                                                 (bduddy@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                                                                                                                                                                                  preparation/review of internal training or internal
                                                                                                       Cornely, Thomas; Wolfe,                                                                                   (krober10@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com);                                                                                                                                                                  guidance concerning practice management or IOI
212                             JANSSENBIO‐064‐00003643   JANSSENBIO‐064‐00003644   Redacted   eMail   Michael                       Attorney‐Client                                                             David Wright (dwright@its.jnj.com)                                                                            Michael Wolfe (mwolfe2@its.jnj.com)               Thomas Cornely (tcornel@its.jnj.com)                                                   8/12/2014   support.

                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy                                                                                                                                                                           Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                                 (bduddy@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                                                                                                                                                                                  preparation/review of internal training or internal
                                                                                                                                                                                                                 (krober10@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com);                                                                                                                                                                  guidance concerning practice management or IOI
213                             JANSSENBIO‐064‐00003647   JANSSENBIO‐064‐00003649   Redacted   eMail   Wolfe, Michael                Attorney‐Client                                                             David Wright (dwright@its.jnj.com)                                                                            Thomas Cornely (tcornel@its.jnj.com)              Michael Wolfe (mwolfe2@its.jnj.com)                                                    8/15/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Michael Wolfe                                                                                                                                                                  regarding issues relating to lawfulness of practice
214   JANSSENBIO‐PL_2‐0000168                                                       Withheld   eMail   Wolfe, Michael                Attorney‐Client                                                             (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                    Christopher Guiton ^ (cguiton@its.jnj.com)        Michael Wolfe (mwolfe2@its.jnj.com)          Kathryn Roberts (krober10@its.jnj.com)   11/12/2013   management or IOI support services.

                                                                                                                                                                                Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Michael Wolfe
215   JANSSENBIO‐PL_2‐0000169                                                       Withheld   pptx    Wolfe, Michael                Attorney‐Client                            (Jessica.Higgins@xcenda.com)     (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                            11/12/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Michael Wolfe                                                                                                                                                                    regarding review of contract with a third party for
216   JANSSENBIO‐PL_2‐0000170                                                       Withheld   eMail   Wolfe, Michael                Attorney‐Client                                                             (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                    Christopher Guiton ^ (cguiton@its.jnj.com)        Michael Wolfe (mwolfe2@its.jnj.com)                                                   12/16/2014   practice management or IOI support services.

                                                                                                                                                       Rika Ville               Michael Wolfe                    Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Michael Wolfe
217   JANSSENBIO‐PL_2‐0000171                                                       Withheld   docx    Wolfe, Michael                Attorney‐Client   (rdeville@its.jnj.com)   (mwolfe2@its.jnj.com)            (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                            12/16/2014

                                                                                                                                                       Anna Maria Acquaviva     Michael Wolfe                    Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Michael Wolfe
218   JANSSENBIO‐PL_2‐0000172                                                       Withheld   pptx    Wolfe, Michael                Attorney‐Client   (aacqua23@its.jnj.com)   (mwolfe2@its.jnj.com)            (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                            12/16/2014

                                                                                                                                                       Rika Ville               Michael Wolfe                    Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Michael Wolfe
219   JANSSENBIO‐PL_2‐0000173                                                       Withheld   docx    Wolfe, Michael                Attorney‐Client   (rdeville@its.jnj.com)   (mwolfe2@its.jnj.com)            (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                            12/16/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                 Elizabeth Beal (ebeal@its.jnj.com); Doris Chern (dchern2@its.jnj.com); Thomas Cornely                                                                                                                                                                              from Legal Department regarding review of contract with
                                                                                                                                                                                                                 (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com);                                                                                                                                                           a third party for practice management or IOI support
220                             JANSSENBIO‐064‐00003665   JANSSENBIO‐064‐00003666   Redacted   eMail   Wolfe, Michael                Attorney‐Client                                                             Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                      Elizabeth Beal (ebeal@its.jnj.com)                Michael Wolfe (mwolfe2@its.jnj.com)                                                   12/16/2014   services.




                                                                                                                                                                                                                                                                                             9
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 11 of 201


                                                                                                                                                                                                                                    Elizabeth Beal (ebeal@its.jnj.com); Doris Chern (dchern2@its.jnj.com); Thomas Cornely                                                                                                                                                         Amy Rodriguez (arodri32@its.jnj.com); Doris Chern                 Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                    (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com);                                            Christopher Guiton ^ (cguiton@its.jnj.com);                                               (dchern2@its.jnj.com); Elizabeth Beal                             regarding review of contract with a third party for
221                           JANSSENBIO‐PL_2‐0000174                                                       Withheld   eMail   Wolfe, Michael            Attorney‐Client                                                            Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                            Thomas Cornely (tcornel@its.jnj.com)             Michael Wolfe (mwolfe2@its.jnj.com)      (ebeal@its.jnj.com)                                  12/16/2014   practice management or IOI support services.

                                                                                                                                                                                                                                    Elizabeth Beal (ebeal@its.jnj.com); Doris Chern (dchern2@its.jnj.com); Thomas Cornely
                                                                                                                                                                           Rika Ville                    Michael Wolfe              (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com);
222                           JANSSENBIO‐PL_2‐0000175                                                       Withheld   docx    Wolfe, Michael            Attorney‐Client   (rdeville@its.jnj.com)        (mwolfe2@its.jnj.com)      Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                                           12/16/2014

                                                                                                                                                                                                                                    Elizabeth Beal (ebeal@its.jnj.com); Doris Chern (dchern2@its.jnj.com); Thomas Cornely
                                                                                                                                                                           Anna Maria Acquaviva          Michael Wolfe              (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com);
223                           JANSSENBIO‐PL_2‐0000176                                                       Withheld   pptx    Wolfe, Michael            Attorney‐Client   (aacqua23@its.jnj.com)        (mwolfe2@its.jnj.com)      Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                                           12/16/2014

                                                                                                                                                                                                                                    Elizabeth Beal (ebeal@its.jnj.com); Doris Chern (dchern2@its.jnj.com); Thomas Cornely
                                                                                                                                                                           Rika Ville                    Michael Wolfe              (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com);
224                           JANSSENBIO‐PL_2‐0000177                                                       Withheld   docx    Wolfe, Michael            Attorney‐Client   (rdeville@its.jnj.com)        (mwolfe2@its.jnj.com)      Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                                           12/16/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    legal advice from Legal Department regarding review of
                                                                                                                                                                                                                                    Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo                                                                                                                                                                                                                 contract with a third party for practice management or
225                           JANSSENBIO‐PL_2‐0000178                                                       Withheld   eMail   Wolfe, Michael            Attorney‐Client                                                            (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                    Thao Marzullo (tmarzull@its.jnj.com)             Michael Wolfe (mwolfe2@its.jnj.com)                                                           12/16/2014   IOI support services.

                                                                                                                                                                           Anna Maria Acquaviva          Michael Wolfe              Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
226                           JANSSENBIO‐PL_2‐0000179                                                       Withheld   pptx    Wolfe, Michael            Attorney‐Client   (aacqua23@its.jnj.com)        (mwolfe2@its.jnj.com)      (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                   12/16/2014

                                                                                                                                                                           Rika Ville                    Michael Wolfe              Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
227                           JANSSENBIO‐PL_2‐0000180                                                       Withheld   docx    Wolfe, Michael            Attorney‐Client   (rdeville@its.jnj.com)        (mwolfe2@its.jnj.com)      (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                   12/16/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                    Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe                                                                                                                                                                                                                  regarding review of contract with a third party for
228                           JANSSENBIO‐PL_2‐0000181                                                       Withheld   eMail   Wolfe, Michael            Attorney‐Client                                                            (mwolfe2@its.jnj.com)                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com)       Michael Wolfe (mwolfe2@its.jnj.com)                                                           12/16/2014   practice management or IOI support services.
                                                                                                                                                                           Anna Maria Acquaviva          Michael Wolfe              Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe
229                           JANSSENBIO‐PL_2‐0000182                                                       Withheld   pptx    Wolfe, Michael            Attorney‐Client   (aacqua23@its.jnj.com)        (mwolfe2@its.jnj.com)      (mwolfe2@its.jnj.com)                                                                                                                                                                                                                                                                              12/16/2014
                                                                                                                                                                           Rika Ville                    Michael Wolfe              Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe
230                           JANSSENBIO‐PL_2‐0000183                                                       Withheld   docx    Wolfe, Michael            Attorney‐Client   (rdeville@its.jnj.com)        (mwolfe2@its.jnj.com)      (mwolfe2@its.jnj.com)                                                                                                                                                                                                                                                                              12/16/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                               Michael Wolfe (mwolfe2@its.jnj.com);                                                                                                                                                                 from Christopher Guiton ^ regarding preparation/review
                                                                                                                                                                                                                                    Todd Bixby (tbixby@its.jnj.com); Jessica Higgins (Jessica.Higgins@xcenda.com); Michael Wolfe               Pamela Meddleton (pam@xillix.co); Todd                                                                                                                                                               of customer‐facing practice management or IOI support
231                           JANSSENBIO‐PL_2‐0000184   JANSSENBIO‐071‐00000744   JANSSENBIO‐071‐00000744   Redacted   eMail   Wolfe, Michael            Attorney‐Client                                                            (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Pamela Meddleton (pam@xillix.co)               Bixby (tbixby@its.jnj.com)               Jessica Higgins (Jessica.Higgins@xcenda.com)     Michael Wolfe (mwolfe2@its.jnj.com)                                                             3/1/2014   material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
232                           JANSSENBIO‐PL_2‐0000185                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                    Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe                                                                                                                                                                                                                  regarding preparation/review of customer‐facing practice
233                           JANSSENBIO‐PL_2‐0000186                                                       Withheld   eMail   Wolfe, Michael            Attorney‐Client                                                            (mwolfe2@its.jnj.com)                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com)       Michael Wolfe (mwolfe2@its.jnj.com)                                                            1/16/2014   management or IOI support material.
                                                                                                                                                                           Anna Maria Acquaviva          Michael Wolfe              Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe
234                           JANSSENBIO‐PL_2‐0000187                                                       Withheld   pptx    Wolfe, Michael            Attorney‐Client   (aacqua23@its.jnj.com)        (mwolfe2@its.jnj.com)      (mwolfe2@its.jnj.com)                                                                                                                                                                                                                                                                               1/16/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    from Legal Department regarding issues relating to
                                                                                                                                                                                                                                    John Franz (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                                               lawfulness of practice management or IOI support
235                           JANSSENBIO‐PL_2‐0000188                                                       Withheld   eMail   Wolfe, Michael            Attorney‐Client                                                            (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                     John Franz (jfranz@its.jnj.com)                  Michael Wolfe (mwolfe2@its.jnj.com)                                                            1/17/2014   services.

                                                                                                                                                                           Anna Maria Acquaviva          Michael Wolfe              John Franz (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
236                           JANSSENBIO‐PL_2‐0000189                                                       Withheld   pptx    Wolfe, Michael            Attorney‐Client   (aacqua23@its.jnj.com)        (mwolfe2@its.jnj.com)      (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                     1/17/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Presentation reflecting legal advice from Kathleen Hamill
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ^ regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    internal guidance concerning practice management or IOI
237                           JANSSENBIO‐PL_2‐0000190   JANSSENBIO‐017‐00053657   JANSSENBIO‐017‐00053658   Withheld   pdf     Janssen Biotech, Inc.     Attorney‐Client                                                                                                                                                                                                                                                                                                                                                               12/11/2012   support.
                                                                                                                                                                           Ryan Dollinger
                                                                                                                                                                           (rdollinger@proferogroup.co                                                                                                                                                                                                                                                                                                                                              Form reflecting legal advice from the Law Department ^
238                                                     JANSSENBIO‐017‐00013464   JANSSENBIO‐017‐00013469   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client   m)                                                                                                                                                                                                                                                                                                                                                           5/20/2011   regarding Xcenda provider education brochure.
                                                                                                                                                                           Ryan Dollinger                                                                                                                                                                                                                                                                                                                                                           Form reflecting legal advice from the Law Department ^
                                                                                                                                                                           (rdollinger@proferogroup.co                                                                                                                                                                                                                                                                                                                                              regarding preparation of customer‐facing Xcenda
239                                                     JANSSENBIO‐017‐00013470   JANSSENBIO‐017‐00013475   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client   m)                                                                                                                                                                                                                                                                                                                                                           5/20/2011   provider education brochure.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    From reflecting legal advice from the Law Department ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation of customer‐facing Xcenda
240                                                     JANSSENBIO‐020‐00001013   JANSSENBIO‐020‐00001014   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                8/26/2021   provider education brochure.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft presentation with legal advice from Law
241   JANSSENBIO‐PL‐0000161   JANSSENBIO‐PL_2‐0000191                                                       Withheld   pdf     Janssen Biotech, Inc.     Attorney‐Client   Dana Guilmin                                                                                                                                                                                                                                                                                                                                                 4/29/2011   Department ^ concerning promotional materials.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft presentation with legal advice from Kathleen Hamill
242                           JANSSENBIO‐PL_2‐0000192   JANSSENBIO‐017‐00044205   JANSSENBIO‐017‐00044283   Withheld   pdf     Janssen Biotech, Inc.     Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                5/21/2012   ^ concerning promotional materials.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft presentation with legal advice from Kathleen Hamill
243                           JANSSENBIO‐PL_2‐0000193   JANSSENBIO‐017‐00044599   JANSSENBIO‐017‐00044677   Withheld   pdf     Janssen Biotech, Inc.     Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                5/22/2012   ^ concerning promotional materials.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Form reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation of customer‐facing practice
244                                                     JANSSENBIO‐017‐00044885   JANSSENBIO‐017‐00044962   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client   Avigo                                                                                                                                                                                                                                                                                                                                                       10/11/2012   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Form reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation of customer‐facing practice
245                                                     JANSSENBIO‐017‐00045041   JANSSENBIO‐017‐00045118   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client   Avigo                                                                                                                                                                                                                                                                                                                                                       10/13/2012   management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft presentation with legal advice from Kathleen Hamill
246                           JANSSENBIO‐PL_2‐0000194   JANSSENBIO‐017‐00045202   JANSSENBIO‐017‐00045264   Withheld   pdf     Janssen Biotech, Inc.     Attorney‐Client   Dana Guilmin                                                                                                                                                                                                                                                                                                                                                  9/5/2012   ^ concerning promotional materials.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Form reflecting legal advice from Daryl Todd ^ regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation of customer‐facing practice management or
247                                                     JANSSENBIO‐017‐00031885   JANSSENBIO‐017‐00032119   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client   Skip                                                                                                                                                                                                                                                                                                                                                         4/28/2011   IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    From reflecting legal advice from Daryl Todd ^ regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation of customer‐facing practice management or
248                                                     JANSSENBIO‐017‐00032120   JANSSENBIO‐017‐00032354   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client   Skip                                                                                                                                                                                                                                                                                                                                                         4/28/2011   IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Form reflecting legal advice from Daryl Todd ^ regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation of customer‐facing practice management or
249                                                     JANSSENBIO‐017‐00032822   JANSSENBIO‐017‐00032823   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                8/27/2021   IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    From reflecting legal advice from the Law Department ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation of customer‐facing promotional
250                                                     JANSSENBIO‐017‐00047071   JANSSENBIO‐017‐00047075   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                 8/3/2012   material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Form reflecting legal advice from the Law Department ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation of customer‐facing promotional
251                                                     JANSSENBIO‐017‐00047076   JANSSENBIO‐017‐00047080   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                 8/3/2012   material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Form reflecting legal advice from the Law Department ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation of customer‐facing promotional
252                                                     JANSSENBIO‐017‐00047081   JANSSENBIO‐017‐00047082   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                8/27/2021   material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Presentation reflecting request for legal advice from the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Law Department ^ regarding preparation/review of
                                                                                                                                                                           Kayoko Kotoji                 Kayoko Kotoji                                                                                                                                                                                                                                                                                                                              internal training or internal guidance concerning practice
253   JANSSENBIO‐PL‐00006     JANSSENBIO‐PL_2‐0000195                                                       Withheld   ppt     Immunology                Attorney‐Client   (kkotoji3@cntus.jnj.com)      (kkotoji3@cntus.jnj.com)                                                                                                                                                                                                                                                                                                       8/31/2007   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Spreadsheet providing information to counsel for the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    purpose of receiving legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                                           Kayoko Kotoji                 Kayoko Kotoji                                                                                                                                                                                                                                                                                                                              guidance concerning practice management or IOI
254   JANSSENBIO‐PL‐00007     JANSSENBIO‐PL_2‐0000196                                                       Withheld           Immunology                Attorney‐Client   (kkotoji3@cntus.jnj.com)      (kkotoji3@cntus.jnj.com)                                                                                                                                                                                                                                                                                                       8/31/2007   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
255   JANSSENBIO‐PL‐00008     JANSSENBIO‐PL_2‐0000197                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
256   JANSSENBIO‐PL‐00009     JANSSENBIO‐PL_2‐0000198                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
257   JANSSENBIO‐PL‐000010    JANSSENBIO‐PL_2‐0000199                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
258   JANSSENBIO‐PL‐000011    JANSSENBIO‐PL_2‐0000200                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Form reflecting legal advice from Jennifer De Camara ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation of customer‐facing promotional
259                                                     JANSSENBIO‐020‐00002477   JANSSENBIO‐020‐00002490   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                7/30/2012   material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Form reflecting legal advice from Jennifer De Camara ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation of customer‐facing promotional
260                                                     JANSSENBIO‐020‐00002503   JANSSENBIO‐020‐00002516   Redacted   pdf     Janssen Biotech, Inc.     Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                7/30/2012   material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Chris Matteson (cmattes1@its.jnj.com); Kris Curry                 preparation/review of internal training or internal
                                                                                                                                                                                                                                    Kris Curry (kcurry@janus.jnj.com); Mary Graham (mgraham1@its.jnj.com); Freddy Jimenez ^                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Patricia                                         (kcurry@janus.jnj.com); Mary Graham                               guidance concerning practice management or IOI
261                           JANSSENBIO‐PL_2‐0000201   JANSSENBIO‐047‐00007418   JANSSENBIO‐047‐00007418   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                            (fjimene3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com)                                              Lukens ^ (plukens@its.jnj.com)                    Chris Matteson (cmattes1@its.jnj.com)   (mgraham1@its.jnj.com)                                6/22/2010   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                         Joshua Oyster ^                                                                                            internal guidance concerning practice management or IOI
262   JANSSENBIO‐PL‐0000249   JANSSENBIO‐PL_2‐0000202                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Joshua Oyster ^ (joshua.oyster@ropesgray.com)                                                              Freddy Jimenez ^ (fjimene3@its.jnj.com)          (joshua.oyster@ropesgray.com)                                                                 10/16/2014   support.

263   JANSSENBIO‐PL‐0000250   JANSSENBIO‐PL_2‐0000203                                                       Withheld   pdf     Suarez, Freddy Jimenez    Attorney‐Client                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Joshua Oyster ^ (joshua.oyster@ropesgray.com)                                                                                                                                                                                                             10/16/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    internal guidance concerning practice management or IOI
264   JANSSENBIO‐PL‐0000251   JANSSENBIO‐PL_2‐0000204                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                     Freddy Jimenez ^ (fjimene3@its.jnj.com)          Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                         9/29/2014   support.
                                                                                                                                                                           Sue Seferian ^                Deidre Meehan ^
265   JANSSENBIO‐PL‐0000252   JANSSENBIO‐PL_2‐0000205                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (sseferia@its.jnj.com)        (dmeehan5@its.jnj.com)     Freddy Jimenez ^ (fjimene3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                                                     9/29/2014

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                               Meehan, Deidre; Suarez,                                                                                                                                                                                                                                                                                                                                                                                              internal guidance concerning practice management or IOI
266   JANSSENBIO‐PL‐0000253   JANSSENBIO‐PL_2‐0000206                                                       Withheld   eMail   Freddy Jimenez            Attorney‐Client                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                     Freddy Jimenez ^ (fjimene3@its.jnj.com)          Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                        10/23/2014   support.
                                                                                                                               Meehan, Deidre; Suarez,                     Sue Seferian ^                Deidre Meehan ^
267   JANSSENBIO‐PL‐0000254   JANSSENBIO‐PL_2‐0000207                                                       Withheld   doc     Freddy Jimenez            Attorney‐Client   (sseferia@its.jnj.com)        (dmeehan5@its.jnj.com)     Freddy Jimenez ^ (fjimene3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                                                    10/23/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                                                    Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Sue Seferian ^                                                                                                                                                                                                                     internal guidance concerning practice management or IOI
268   JANSSENBIO‐PL‐0000255   JANSSENBIO‐PL_2‐0000208                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                            (sseferia@its.jnj.com)                                                                                                                              Freddy Jimenez ^ (fjimene3@its.jnj.com)          Sue Seferian ^ (sseferia@its.jnj.com)    Joy Johnson (jjohns14@its.jnj.com)                    3/21/2005   support.
                                                                                                                                                                           Joseph Metro ^                Freddy Jimenez ^           Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Sue Seferian ^
269   JANSSENBIO‐PL‐0000256   JANSSENBIO‐PL_2‐0000209                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)        (fjimene3@its.jnj.com)     (sseferia@its.jnj.com)                                                                                                                                                                                                                                                                              3/21/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Curt Selquist (cselqui@corus.jnj.com); Dennis
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Longstreet (dlongstr@corus.jnj.com); Karen Licitra
                                                                                                                                                                                                                                    Dominic Caruso (dcaruso1@corus.jnj.com); Roy Davis (rdavis11@its.jnj.com); Michael Dormer                                                                                                                                                     (klicitra@its.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                                    (mdormer@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Glen Kashuba                                                                                                                                                                (kschroe@corus.jnj.com); Mark Sievers ^
                                                                                                                                                                                                                                    (gkashuba@dpyus.jnj.com); Guy Lebeau (glebeau@jnfr.jnj.com); Karen Licitra (klicitra@its.jnj.com);                                                  Dominic Caruso (dcaruso1@corus.jnj.com); Eric                                             (msievers@its.jnj.com); Michael Dormer                            Email with attachment(s) reflecting counsel's request for
                                                                                                                                                                                                                                    Dennis Longstreet (dlongstr@corus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Eric Milledge                                               Milledge (emilledg@lfsus.jnj.com); Glen Kashuba                                           (mdormer@corus.jnj.com); Michael McCulley ^                       information for the purpose of providing legal advice
                                                                                                                                                                                                                                    (emilledg@lfsus.jnj.com); Robert O'Holla (roholla@corus.jnj.com); Kathy Schroeher ^                                                                 (gkashuba@dpyus.jnj.com); Guy Lebeau                                                      (mmccull@corus.jnj.com); Nicholas Valeriani                       regarding preparation/review of internal training or
                                                                                                                                                                                                                                    (kschroe@corus.jnj.com); Curt Selquist (cselqui@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);                                              (glebeau@jnfr.jnj.com); Roy Davis                                                         (nvaleria@its.jnj.com); Robert O'Holla                            internal guidance concerning practice management or IOI
270   JANSSENBIO‐PL‐0000257   JANSSENBIO‐PL_2‐0000210                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                            Nicholas Valeriani (nvaleria@its.jnj.com)                                                                                                           (rdavis11@its.jnj.com)                          Freddy Jimenez ^ (fjimene3@its.jnj.com)   (roholla@corus.jnj.com)                                4/6/2005   support.



                                                                                                                                                                                                                                    Dominic Caruso (dcaruso1@corus.jnj.com); Roy Davis (rdavis11@its.jnj.com); Michael Dormer
                                                                                                                                                                                                                                    (mdormer@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Glen Kashuba
                                                                                                                                                                                                                                    (gkashuba@dpyus.jnj.com); Guy Lebeau (glebeau@jnfr.jnj.com); Karen Licitra (klicitra@its.jnj.com);
                                                                                                                                                                                                                                    Dennis Longstreet (dlongstr@corus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Eric Milledge
                                                                                                                                                                                                                                    (emilledg@lfsus.jnj.com); Robert O'Holla (roholla@corus.jnj.com); Kathy Schroeher ^
                                                                                                                                                                           Joseph Metro ^                Freddy Jimenez ^           (kschroe@corus.jnj.com); Curt Selquist (cselqui@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
271   JANSSENBIO‐PL‐0000258   JANSSENBIO‐PL_2‐0000211                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)        (fjimene3@its.jnj.com)     Nicholas Valeriani (nvaleria@its.jnj.com)                                                                                                                                                                                                                                                            4/6/2005




                                                                                                                                                                                                                                                                                                            10
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 12 of 201

                                                                                                                                                                                                                                                                                                                                           Clayton Paterson ^ (cpaters@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                                                                           Brinckman ^ (dbrinckm@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                                                                           Broekhoven ^ (dvbroekh@janbe.jnj.com);
                                                                                                                                                                                                                                                                                                                                           Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                                                                           Jimenez ^ (fjimene3@its.jnj.com); Joseph
                                                                                                                                                                                                                                                                                                                                           Braunreuther ^ (jbraunre@its.jnj.com); Joyce ter
                                                                                                                                                                                                                                                                                                                                           Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy
                                                                                                                                                                                                                                                                                                                                           Schroeher ^ (kschroe@corus.jnj.com); Kristi
                                                                                                                                                                                                                                                                                                                                           Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                                             Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Taysen Van Itallie     (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                                             (tvanita@corus.jnj.com); Ward Bennett ^ (abennett@ropesgray.com); Clayton Paterson ^                          (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                                             (cpaters@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^                             (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                                                                             (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^                           (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                                             (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^                        (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                                             (kschroe@corus.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);      (mmccull@corus.jnj.com); Michelle Fried ^
                                                                                                                                                                                                                             Maria Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^                (mfried1@corus.jnj.com); Patrick O'Brien ^                                                                                                                                                   Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                             (mtandy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Michael Chester ^                           (pobrien5@corus.jnj.com); Stephanie Gilson ^                                                                                                                                                 preparation/review of internal training or internal
                                                                                                                                                                                                                             (mcheste1@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Patrick O'Brien ^                           (sgilson@its.jnj.com); Sue Seferian ^                                                         Taysen Van Itallie (tvanita@corus.jnj.com); Ward Bennett                                       guidance concerning practice management or IOI
272   JANSSENBIO‐PL‐0000259   JANSSENBIO‐PL_2‐0000212                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                     (pobrien5@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)     (sseferia@its.jnj.com)                             Freddy Jimenez ^ (fjimene3@its.jnj.com)    ^ (abennett@ropesgray.com)                                                         3/17/2005   support.




                                                                                                                                                                                                                             Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Taysen Van Itallie
                                                                                                                                                                                                                             (tvanita@corus.jnj.com); Ward Bennett ^ (abennett@ropesgray.com); Clayton Paterson ^
                                                                                                                                                                                                                             (cpaters@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^
                                                                                                                                                                                                                             (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                             (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                             (kschroe@corus.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                                                                                             Maria Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                                                                             (mtandy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Michael Chester ^
                                                                                                                                                                           Joseph Metro ^           Freddy Jimenez ^         (mcheste1@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Patrick O'Brien ^
273   JANSSENBIO‐PL‐0000260   JANSSENBIO‐PL_2‐0000213                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)   (fjimene3@its.jnj.com)   (pobrien5@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)                                                                                                                                                                                      3/17/2005

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        internal guidance concerning practice management or IOI
274   JANSSENBIO‐PL‐0000261   JANSSENBIO‐PL_2‐0000214                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                     Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com)                              Freddy Jimenez ^ (fjimene3@its.jnj.com)            Dorothy Clarke ^ (dclarke3@its.jnj.com)                                                                                       3/16/2005   support.
                                                                                                                                                                           Joseph Metro ^           Dorothy Clarke ^
275   JANSSENBIO‐PL‐0000262   JANSSENBIO‐PL_2‐0000215                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)   (dclarke3@its.jnj.com)   Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                                                                                                                                                                               3/16/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Christopher
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Guiton ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (cguiton@its.jnj.co
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    m); Clayton
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Paterson ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    (cpaters@its.jnj.co
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    m); Debra Hueting
                                                                                                                                                                                                                             Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Dorothy Clarke ^                                                                                                                                                                  ^
                                                                                                                                                                                                                             (dclarke3@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Jennifer                                                                                                                                                                (dhuetin1@prdgb.j
                                                                                                                                                                                                                             De Camara ^ (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^                                                                                                                                                                        nj.com); Deidre
                                                                                                                                                                                                                             (eformina@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Debra Hueting ^                                                                                                                                                                                    Meehan ^
                                                                                                                                                                                                                             (dhuetin1@prdgb.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^                                                                                                                                                                                    (dmeehan5@its.jnj
                                                                                                                                                                                                                             (fjimene3@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Frank Konings (fkonings@its.jnj.com);                                                                                                                                                                  .com); Desiree Ralls‐
                                                                                                                                                                                                                             Philomena McArthur (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kathy                                                                                                                                                                               Morrison ^
                                                                                                                                                                                                                             Schroeher ^ (kschroe@corus.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Sue Seferian ^                                                                                                                                                                          (drallsmo@its.jnj.c
                                                                                                                                                                                                                             (sseferia@its.jnj.com); Jade Shields (jshield1@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa                                                                                                                                                               om); Dirk
                                                                                                                                                                                                                             Son ^ (rson@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Michael Ullmann ^                                                                                                                                                                                     Brinckman ^
                                                                                                                                                                                                                             (mullman@corus.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                                                                                                                                                                                     (dbrinckm@its.jnj.
                                                                                                                                                                                                                             (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^                                                                                                                      Frank Konings (fkonings@its.jnj.com); Georgia Keresty      com); Dirk
                                                                                                                                                                                                                             (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^                                                                                                                    (gkeresty@its.jnj.com); John Crisan                        Broekhoven ^
                                                                                                                                                                                                                             (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^                                                                                                                        (jcrisan@its.jnj.com); Joseph Braunreuther ^               (dvbroekh@janbe.j
                                                                                                                                                                                                                             (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^                                                                                                                         (jbraunre@its.jnj.com); Kathy Schroeher ^                  nj.com); Dorothy
                                                                                                                                                                                                                             (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kenneth Olsen ^                                                                                                                        (kschroe@corus.jnj.com); Marc Farley                       Clarke ^
                                                                                                                                                                                                                             (kolsen@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria   Christopher Zalesky (czalesky@its.jnj.com);                                                   (mfarley3@its.jnj.com); Mark Sievers ^                     (dclarke3@its.jnj.c
                                                                                                                                                                                                                             Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^                      Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy                                               (msievers@its.jnj.com); Michael Ullmann ^                  om); Elizabeth                      Email chain with attachment(s) reflecting counsel's
                                                                                                                                                                                                                             (mtandy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Michael Chester ^                           Jimenez ^ (fjimene3@its.jnj.com); Jade Shields                                                (mullman@corus.jnj.com); Nancy Corkum                      Forminard ^                         request for information for the purpose of providing
                                                                                                                                                                                                                             (mcheste1@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Patrick O'Brien ^                           (jshield1@its.jnj.com); Philomena McArthur                                                    (ncorkum@its.jnj.com); Patricia Villani ^                  (eformina@its.jnj.c                 legal advice regarding preparation/review of internal
                                                                                                                                                                                                                             (pobrien5@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);    (pmcarth1@its.jnj.com); Sue Seferian ^                                                        (pvillan1@its.jnj.com); Rick Cassino                       om); Elizabeth                      training or internal guidance concerning practice
276   JANSSENBIO‐PL‐0000263   JANSSENBIO‐PL_2‐0000216                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                     Yuung Yap ^ (yyap1@its.jnj.com)                                                                               (sseferia@its.jnj.com)                             Freddy Jimenez ^ (fjimene3@its.jnj.com)    (rcassino@janus.jnj.com)                                   Scott ^                 4/23/2008   management or IOI support.




                                                                                                                                                                                                                             Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                             (dclarke3@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Jennifer
                                                                                                                                                                                                                             De Camara ^ (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                                             (eformina@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Debra Hueting ^
                                                                                                                                                                                                                             (dhuetin1@prdgb.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                             (fjimene3@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Frank Konings (fkonings@its.jnj.com);
                                                                                                                                                                                                                             Philomena McArthur (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kathy
                                                                                                                                                                                                                             Schroeher ^ (kschroe@corus.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                                             (sseferia@its.jnj.com); Jade Shields (jshield1@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa
                                                                                                                                                                                                                             Son ^ (rson@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Michael Ullmann ^
                                                                                                                                                                                                                             (mullman@corus.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                                                                                                             (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                                             (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                             (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                             (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                                             (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                                             (kolsen@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria
                                                                                                                                                                                                                             Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                                                                             (mtandy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Michael Chester ^
                                                                                                                                                                                                                             (mcheste1@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Patrick O'Brien ^
                                                                                                                                                                           Sue Seferian ^           Freddy Jimenez ^         (pobrien5@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
277   JANSSENBIO‐PL‐0000264   JANSSENBIO‐PL_2‐0000217                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (sseferia@its.jnj.com)   (fjimene3@its.jnj.com)   Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                                                                                                                4/23/2008

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) reflecting counsel's request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        information for the purpose of providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                                             Michael Dormer (mdormer@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Nicholas Valeriani           Michael Dormer (mdormer@corus.jnj.com);                                                                                                                                                      internal guidance concerning practice management or IOI
278   JANSSENBIO‐PL‐0000265   JANSSENBIO‐PL_2‐0000218                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                     (nvaleria@its.jnj.com)                                                                                        Nicholas Valeriani (nvaleria@its.jnj.com)          Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                                                       7/29/2005   support.
                                                                                                                                                                           Joseph Metro ^           Freddy Jimenez ^         Michael Dormer (mdormer@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Nicholas Valeriani
279   JANSSENBIO‐PL‐0000266   JANSSENBIO‐PL_2‐0000219                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)   (fjimene3@its.jnj.com)   (nvaleria@its.jnj.com)                                                                                                                                                                                                                                                                         7/29/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^                                                                                                                                                                                                          preparation/review of internal training or internal
                                                                                                                                                                                                                             (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Kathy Schroeher ^                         Kathy Schroeher ^ (kschroe@corus.jnj.com);                                                                                                                                                   guidance concerning practice management or IOI
280   JANSSENBIO‐PL‐0000267   JANSSENBIO‐PL_2‐0000220                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                     (kschroe@corus.jnj.com)                                                                                       Michael McCulley ^ (mmccull@corus.jnj.com)         Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                                                        8/5/2005   support.

                                                                                                                                                                                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                           Joseph Metro ^           Freddy Jimenez ^         (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Kathy Schroeher ^
281   JANSSENBIO‐PL‐0000268   JANSSENBIO‐PL_2‐0000221                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)   (fjimene3@its.jnj.com)   (kschroe@corus.jnj.com)                                                                                                                                                                                                                                                                         8/5/2005

                                                                                                                                                                                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                                             (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Kathy Schroeher ^
282   JANSSENBIO‐PL‐0000269   JANSSENBIO‐PL_2‐0000222                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                     (kschroe@corus.jnj.com)                                                                                       Freddy Jimenez ^ (fjimene3@its.jnj.com)            Maria Kennedy ^ (mkenned3@its.jnj.com)                                                                                         8/5/2005

                                                                                                                                                                                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                           Maria Kennedy ^          Maria Kennedy ^          (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Kathy Schroeher ^
283   JANSSENBIO‐PL‐0000270   JANSSENBIO‐PL_2‐0000223                                                       Withheld   DOC     Suarez, Freddy Jimenez    Attorney‐Client   (mkenned3@its.jnj.com)   (mkenned3@its.jnj.com)   (kschroe@corus.jnj.com)                                                                                                                                                                                                                                                                         8/5/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        internal guidance concerning practice management or IOI
284   JANSSENBIO‐PL‐0000271   JANSSENBIO‐PL_2‐0000224                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                     Freddy Jimenez ^ (fjimene3@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com)                                 Freddy Jimenez ^ (fjimene3@its.jnj.com)            Marlene Tandy ^ (mtandy@its.jnj.com)                                                                                           3/3/2005   support.
                                                                                                                                                                           Joseph Metro ^           Marlene Tandy ^
285   JANSSENBIO‐PL‐0000272   JANSSENBIO‐PL_2‐0000225                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)   (mtandy@its.jnj.com)     Freddy Jimenez ^ (fjimene3@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com)                                                                                                                                                                                                                   3/3/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra                                                                                                        Kathy Schroeher ^ (kschroe@corus.jnj.com); Louise                                              preparation/review of internal training or internal
                                                                                                                                                                                                                             (lmehrot@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Taysen Van Itallie                                                                                                                      Mehrotra (lmehrot@corus.jnj.com); Taysen Van Itallie                                           guidance concerning practice management or IOI
286   JANSSENBIO‐PL‐0000273   JANSSENBIO‐PL_2‐0000226                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                     (tvanita@corus.jnj.com)                                                                                       Michael McCulley ^ (mmccull@corus.jnj.com)         Freddy Jimenez ^ (fjimene3@its.jnj.com)    (tvanita@corus.jnj.com)                                                            7/29/2005   support.

                                                                                                                                                                                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra
                                                                                                                                                                           Joseph Metro ^           Freddy Jimenez ^         (lmehrot@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Taysen Van Itallie
287   JANSSENBIO‐PL‐0000274   JANSSENBIO‐PL_2‐0000227                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)   (fjimene3@its.jnj.com)   (tvanita@corus.jnj.com)                                                                                                                                                                                                                                                                        7/29/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        internal guidance concerning practice management or IOI
288   JANSSENBIO‐PL‐0000275   JANSSENBIO‐PL_2‐0000228                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                     Freddy Jimenez ^ (fjimene3@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com)                             Freddy Jimenez ^ (fjimene3@its.jnj.com)            Terry Kerekgyarto (tkerekgy@its.jnj.com)                                                                                      3/14/2005   support.
                                                                                                                                                                           Joseph Metro ^           Terry Kerekgyarto
289   JANSSENBIO‐PL‐0000276   JANSSENBIO‐PL_2‐0000229                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)   (tkerekgy@its.jnj.com)   Freddy Jimenez ^ (fjimene3@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com)                                                                                                                                                                                                              3/14/2005
                                                                                                                                                                                                                                                                                                                                           Curt Selquist (cselqui@corus.jnj.com); Dennis
                                                                                                                                                                                                                                                                                                                                           Longstreet (dlongstr@corus.jnj.com); Joseph
                                                                                                                                                                                                                             Joseph Braunreuther ^ (jbraunre@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com); Freddy Jimenez ^           Braunreuther ^ (jbraunre@its.jnj.com); Karen
                                                                                                                                                                                                                             (fjimene3@its.jnj.com); Karen Licitra (klicitra@its.jnj.com); Dennis Longstreet (dlongstr@corus.jnj.com);     Licitra (klicitra@its.jnj.com); Louise Mehrotra
                                                                                                                                                                                                                             Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Robert O'Holla           (lmehrot@corus.jnj.com); Mark Sievers ^                                                                                                                                                      Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                             (roholla@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Curt Selquist                             (msievers@its.jnj.com); Michael McCulley ^                                                    Brenda Davis (bdavis@corus.jnj.com); Christopher                                               preparation/review of internal training or internal
                                                                                                                               Suarez, Freddy Jimenez;                                                                       (cselqui@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Christopher Zalesky                           (mmccull@corus.jnj.com); Robert O'Holla                                                       Zalesky (czalesky@its.jnj.com); Kathy Schroeher ^                                              guidance concerning practice management or IOI
290   JANSSENBIO‐PL‐0000277   JANSSENBIO‐PL_2‐0000230                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                        (roholla@corus.jnj.com)                            Freddy Jimenez ^ (fjimene3@its.jnj.com)    (kschroe@corus.jnj.com)                                                             5/6/2005   support.



                                                                                                                                                                                                                             Joseph Braunreuther ^ (jbraunre@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                             (fjimene3@its.jnj.com); Karen Licitra (klicitra@its.jnj.com); Dennis Longstreet (dlongstr@corus.jnj.com);
                                                                                                                                                                                                                             Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Robert O'Holla
                                                                                                                                                                                                                             (roholla@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Curt Selquist
                                                                                                                               Suarez, Freddy Jimenez;                     Joseph Metro ^           Freddy Jimenez ^         (cselqui@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Christopher Zalesky
291   JANSSENBIO‐PL‐0000278   JANSSENBIO‐PL_2‐0000231                                                       Withheld   doc     Zalesky, Christopher      Attorney‐Client   (jmetro@reedsmith.com)   (fjimene3@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                          5/6/2005

                                                                                                                                                                                                                                                                                                                                                                                                                                         Brenda Davis (bdavis@corus.jnj.com); Christopher                                               Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                             Brenda Davis (bdavis@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael McCulley ^                                                                                                            Zalesky (czalesky@its.jnj.com); Kathy Schroeher ^                                              regarding preparation/review of internal training or
                                                                                                                               Suarez, Freddy Jimenez;                                                                       (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Kathy Schroeher ^                           Michael McCulley ^ (mmccull@corus.jnj.com);                                                   (kschroe@corus.jnj.com); Louise Mehrotra                                                       internal guidance concerning practice management or IOI
292                           JANSSENBIO‐PL_2‐0000232   JANSSENBIO‐047‐00007497   JANSSENBIO‐047‐00007497   Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                     (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)    Sue Seferian ^ (sseferia@its.jnj.com)              Freddy Jimenez ^ (fjimene3@its.jnj.com)    (lmehrot@corus.jnj.com)                                                            8/18/2005   support.




                                                                                                                                                                                                                                                                                                       11
                                                         Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 13 of 201

                                                                                                                                                                                                                                                                                       Clayton Paterson ^ (cpaters@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                       Brinckman ^ (dbrinckm@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                       Broekhoven ^ (dvbroekh@janbe.jnj.com);
                                                                                                                                                                                                                                                                                       Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                       Jimenez ^ (fjimene3@its.jnj.com); Joyce ter
                                                                                                                                                                                                                                                                                       Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy
                                                                                                                                                                                                                                                                                       Schroeher ^ (kschroe@corus.jnj.com); Kristi
                                                                                                                                                                                                                                                                                       Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                                                                                                       (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                                                                                                       (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                           Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Taysen Van Itallie   (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                           (tvanita@corus.jnj.com); Ward Bennett ^ (abennett@ropesgray.com); Clayton Paterson ^                        (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                                                           (cpaters@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^                           (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                                                           (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^                         (mmccull@corus.jnj.com); Michelle Fried ^
                                                                                                                                                                           (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^                      (mfried1@corus.jnj.com); Patrick O'Brien ^
                                                                                                                                                                           (kschroe@corus.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);    (pobrien5@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                           Maria Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^              (sgilson@its.jnj.com); Sue Seferian ^                                                                                                                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                                           (mtandy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Michael Chester ^                         (sseferia@its.jnj.com); Taysen Van Itallie                                                                                                                       preparation/review of internal training or internal
                                                                                                                                                                           (mcheste1@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Patrick O'Brien ^                         (tvanita@corus.jnj.com); Ward Bennett ^                                                                                                                          guidance concerning practice management or IOI
293   JANSSENBIO‐PL‐0000279   JANSSENBIO‐PL_2‐0000233   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                       (pobrien5@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)   (abennett@ropesgray.com)                           Freddy Jimenez ^ (fjimene3@its.jnj.com)      Joseph Braunreuther ^ (jbraunre@its.jnj.com)         1/20/2005   support.




                                                                                                                                                                           Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Taysen Van Itallie
                                                                                                                                                                           (tvanita@corus.jnj.com); Ward Bennett ^ (abennett@ropesgray.com); Clayton Paterson ^
                                                                                                                                                                           (cpaters@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^
                                                                                                                                                                           (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                           (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^
                                                                                                                                                                           (kschroe@corus.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                                           Maria Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                           (mtandy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Michael Chester ^
                                                                                                                       Joseph Metro ^           Freddy Jimenez ^           (mcheste1@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Patrick O'Brien ^
294   JANSSENBIO‐PL‐0000280   JANSSENBIO‐PL_2‐0000234   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)   (fjimene3@its.jnj.com)     (pobrien5@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)                                                                                                                                                        1/20/2005
                                                                                                                                                                                                                                                                                       Bonnie Goldmann (bgoldman@prdus.jnj.com);
                                                                                                                                                                                                                                                                                       Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                                                                                                                                                       Freddy Jimenez ^ (fjimene3@its.jnj.com); Jeff
                                                                                                                                                                                                                                                                                       Stewart (jstewart@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                                                                                                       (ljenkins@its.jnj.com); Louise Mehrotra
                                                                                                                                                                                                                                                                                       (lmehrot@corus.jnj.com); Michael Chester ^
                                                                                                                                                                           Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Naoko Fujii                (mcheste1@its.jnj.com); Naoko Fujii
                                                                                                                                                                           (fujii@sciosinc.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);      (fujii@sciosinc.com); Patrick O'Brien ^                                                                                                                          Email with attachment(s) requesting legal advice
                                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra         (pobrien5@corus.jnj.com); Rick Cassino                                                                                                                           regarding preparation/review of internal training or
                                                                           Suarez, Freddy Jimenez;                                                                         (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);   (rcassino@janus.jnj.com); Thomas McCaffery                                                                                                                       internal guidance concerning practice management or IOI
295   JANSSENBIO‐PL‐0000281   JANSSENBIO‐PL_2‐0000235   Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                       Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                      (tmccaff3@cntus.jnj.com)                           Christopher Zalesky (czalesky@its.jnj.com)                                                        6/26/2005   support.




                                                                                                                                                                           Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Naoko Fujii
                                                                                                                                                                           (fujii@sciosinc.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky      Christopher Zalesky        (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
296   JANSSENBIO‐PL‐0000282   JANSSENBIO‐PL_2‐0000236   Withheld   ppt     Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           6/26/2005




                                                                                                                                                                           Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Naoko Fujii
                                                                                                                                                                           (fujii@sciosinc.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky      Christopher Zalesky        (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
297   JANSSENBIO‐PL‐0000283   JANSSENBIO‐PL_2‐0000237   Withheld           Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           6/26/2005




                                                                                                                                                                           Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Naoko Fujii
                                                                                                                                                                           (fujii@sciosinc.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky      Christopher Zalesky        (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
298   JANSSENBIO‐PL‐0000284   JANSSENBIO‐PL_2‐0000238   Withheld           Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           6/26/2005




                                                                                                                                                                           Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Naoko Fujii
                                                                                                                                                                           (fujii@sciosinc.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky      Christopher Zalesky        (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
299   JANSSENBIO‐PL‐0000285   JANSSENBIO‐PL_2‐0000239   Withheld           Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           6/26/2005




                                                                                                                                                                           Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Naoko Fujii
                                                                                                                                                                           (fujii@sciosinc.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky      Christopher Zalesky        (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
300   JANSSENBIO‐PL‐0000286   JANSSENBIO‐PL_2‐0000240   Withheld           Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           6/26/2005




                                                                                                                                                                           Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Naoko Fujii
                                                                                                                                                                           (fujii@sciosinc.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky      Christopher Zalesky        (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
301   JANSSENBIO‐PL‐0000287   JANSSENBIO‐PL_2‐0000241   Withheld           Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           6/26/2005



                                                                                                                                                                                                                                                                                                                                                                                       Bonnie Goldmann (bgoldman@prdus.jnj.com);
                                                                                                                                                                           Russell Deyo ^ (rdeyo@corus.jnj.com); Seth Fischer (sfischer@corus.jnj.com); Seth Fischer                                                                                                                   Christopher Zalesky (czalesky@its.jnj.com); John                 Email chain with attachment(s) providing information to
                                                                                                                                                                           (sfischer@corus.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Freddy Jimenez ^                                                                                                                        Johnson (jhjohns@obius.jnj.com); Kathy Schroeher ^               counsel for the purpose of receiving legal advice
                                                                                                                                                                           (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Johnson (jhjohns@obius.jnj.com);                                                                                                      (kschroe@corus.jnj.com); Michael McCulley ^                      regarding preparation/review of internal training or
                                                                           Suarez, Freddy Jimenez;                                                                         Michael McCulley ^ (mmccull@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Joseph                                                                                                               (mmccull@corus.jnj.com); Russell Deyo ^                          internal guidance concerning practice management or IOI
302   JANSSENBIO‐PL‐0000288   JANSSENBIO‐PL_2‐0000242   Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                       Scodari (jscodar1@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                Freddy Jimenez ^ (fjimene3@its.jnj.com)            Seth Fischer (sfischer@corus.jnj.com)        (rdeyo@corus.jnj.com)                                 4/8/2005   support.




                                                                                                                                                                           Russell Deyo ^ (rdeyo@corus.jnj.com); Seth Fischer (sfischer@corus.jnj.com); Seth Fischer
                                                                                                                                                                           (sfischer@corus.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                           (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Johnson (jhjohns@obius.jnj.com);
                                                                           Suarez, Freddy Jimenez;                     Joseph Metro ^           Freddy Jimenez ^           Michael McCulley ^ (mmccull@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Joseph
303   JANSSENBIO‐PL‐0000289   JANSSENBIO‐PL_2‐0000243   Withheld   doc     Zalesky, Christopher      Attorney‐Client   (jmetro@reedsmith.com)   (fjimene3@its.jnj.com)     Scodari (jscodar1@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                      4/8/2005




                                                                                                                                                                           Russell Deyo ^ (rdeyo@corus.jnj.com); Seth Fischer (sfischer@corus.jnj.com); Seth Fischer
                                                                                                                                                                           (sfischer@corus.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                           (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Johnson (jhjohns@obius.jnj.com);
                                                                           Suarez, Freddy Jimenez;                     Joseph Metro ^           Seth Fischer               Michael McCulley ^ (mmccull@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Joseph
304   JANSSENBIO‐PL‐0000290   JANSSENBIO‐PL_2‐0000244   Withheld   doc     Zalesky, Christopher      Attorney‐Client   (jmetro@reedsmith.com)   (sfischer@corus.jnj.com)   Scodari (jscodar1@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                      4/8/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                           Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Mark Sievers ^              Freddy Jimenez ^ (fjimene3@its.jnj.com); Mark                                                                                                                    internal guidance concerning practice management or IOI
305   JANSSENBIO‐PL‐0000291   JANSSENBIO‐PL_2‐0000245   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                       (msievers@its.jnj.com)                                                                                      Sievers ^ (msievers@its.jnj.com)                   Lisa Jenkins ^ (ljenkins@its.jnj.com)        Lisa Jenkins ^ (ljenkins@its.jnj.com)                12/9/2008   support.
                                                                                                                       Sue Seferian ^           Lisa Jenkins ^             Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Mark Sievers ^
306   JANSSENBIO‐PL‐0000292   JANSSENBIO‐PL_2‐0000246   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (sseferia@its.jnj.com)   (ljenkins@its.jnj.com)     (msievers@its.jnj.com)                                                                                                                                                                                                                                           12/9/2008

                                                                                                                                                                                                                                                                                                                                                                                       Bonnie Goldmann (bgoldman@prdus.jnj.com);
                                                                                                                                                                           Russell Deyo ^ (rdeyo@corus.jnj.com); Seth Fischer (sfischer@corus.jnj.com); Bonnie Goldmann                                                                                                                Christopher Zalesky (czalesky@its.jnj.com); John
                                                                                                                                                                           (bgoldman@prdus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^                                                                                                                         Johnson (jhjohns@obius.jnj.com); Kathy Schroeher ^               Email chain with attachment(s) providing information to
                                                                                                                                                                           (fjimene3@its.jnj.com); John Johnson (jhjohns@obius.jnj.com); Michael McCulley ^                                                                                                                            (kschroe@corus.jnj.com); Michael McCulley ^                      counsel for the purpose of receiving legal advice
                                                                                                                                                                           (mmccull@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Joseph Scodari                                                                                                                          (mmccull@corus.jnj.com); Russell Deyo ^                          regarding preparation/review of internal training or
                                                                           Suarez, Freddy Jimenez;                                                                         (jscodar1@corus.jnj.com); Joseph Scodari (jscodar1@corus.jnj.com); Christopher Zalesky                                                                                                                      (rdeyo@corus.jnj.com); Seth Fischer                              internal guidance concerning practice management or IOI
307   JANSSENBIO‐PL‐0000293   JANSSENBIO‐PL_2‐0000247   Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                       (czalesky@its.jnj.com)                                                                                      Freddy Jimenez ^ (fjimene3@its.jnj.com)            Joseph Scodari (jscodar1@corus.jnj.com)      (sfischer@corus.jnj.com)                              4/5/2005   support.



                                                                                                                                                                           Russell Deyo ^ (rdeyo@corus.jnj.com); Seth Fischer (sfischer@corus.jnj.com); Bonnie Goldmann
                                                                                                                                                                           (bgoldman@prdus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                           (fjimene3@its.jnj.com); John Johnson (jhjohns@obius.jnj.com); Michael McCulley ^
                                                                                                                                                                           (mmccull@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Joseph Scodari
                                                                           Suarez, Freddy Jimenez;                     Joseph Metro ^           Joseph Scodari             (jscodar1@corus.jnj.com); Joseph Scodari (jscodar1@corus.jnj.com); Christopher Zalesky
308   JANSSENBIO‐PL‐0000294   JANSSENBIO‐PL_2‐0000248   Withheld   doc     Zalesky, Christopher      Attorney‐Client   (jmetro@reedsmith.com)   (jscodar1@corus.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                            4/5/2005

                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^                Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria                                                                                                                   internal guidance concerning practice management or IOI
309   JANSSENBIO‐PL‐0000295   JANSSENBIO‐PL_2‐0000249   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                       (mkenned3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)                                               Kennedy ^ (mkenned3@its.jnj.com)                   Joy Johnson (jjohns14@its.jnj.com)           Sue Seferian ^ (sseferia@its.jnj.com)                2/14/2005   support.
                                                                                                                                                                                                                                                                                                                                                                                       Bonnie Goldmann (bgoldman@prdus.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                                       Christopher Zalesky (czalesky@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                                                                                                                       Jimenez ^ (fjimene3@its.jnj.com); Jeff Stewart
                                                                                                                                                                                                                                                                                                                                                                                       (jstewart@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                                                                                                                                                                                                       (ljenkins@its.jnj.com); Louise Mehrotra
                                                                                                                                                                           Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Bonnie Goldmann                                                                                                            (lmehrot@corus.jnj.com); Michael Chester ^
                                                                                                                                                                           (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^                                                                                                                           (mcheste1@its.jnj.com); Patrick O'Brien ^                        Email with attachment(s) providing legal advice regarding
                                                                                                                                                                           (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra                                                                                                                          (pobrien5@corus.jnj.com); Rick Cassino                           preparation/review of internal training or internal
                                                                           Suarez, Freddy Jimenez;                                                                         (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);                                                                                                   (rcassino@janus.jnj.com); Thomas McCaffery                       guidance concerning practice management or IOI
310   JANSSENBIO‐PL‐0000297   JANSSENBIO‐PL_2‐0000251   Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                       Christopher Zalesky (czalesky@its.jnj.com); Naoko Fujii (fujii@sciosinc.com)                                Christopher Zalesky (czalesky@its.jnj.com)         Naoko Fujii (fujii@sciosinc.com)             (tmccaff3@cntus.jnj.com)                             6/27/2005   support.


                                                                                                                                                                           Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                           (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                           (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky      Christopher Zalesky        (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
311   JANSSENBIO‐PL‐0000298   JANSSENBIO‐PL_2‐0000252   Withheld   ppt     Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com); Naoko Fujii (fujii@sciosinc.com)                                                                                                                                                                                     6/27/2005



                                                                                                                                                                           Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                           (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                           (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky      Christopher Zalesky        (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
312   JANSSENBIO‐PL‐0000299   JANSSENBIO‐PL_2‐0000253   Withheld           Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com); Naoko Fujii (fujii@sciosinc.com)                                                                                                                                                                                     6/27/2005




                                                                                                                                                                                                                                                    12
                                                         Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 14 of 201


                                                                                                                                                                            Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                            (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                            (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky        Christopher Zalesky       (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
313   JANSSENBIO‐PL‐0000300   JANSSENBIO‐PL_2‐0000254   Withheld           Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com); Naoko Fujii (fujii@sciosinc.com)                                                                                                                                                                                     6/27/2005



                                                                                                                                                                            Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                            (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                            (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky        Christopher Zalesky       (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
314   JANSSENBIO‐PL‐0000301   JANSSENBIO‐PL_2‐0000255   Withheld           Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com); Naoko Fujii (fujii@sciosinc.com)                                                                                                                                                                                     6/27/2005



                                                                                                                                                                            Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                            (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                            (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky        Christopher Zalesky       (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
315   JANSSENBIO‐PL‐0000302   JANSSENBIO‐PL_2‐0000256   Withheld           Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com); Naoko Fujii (fujii@sciosinc.com)                                                                                                                                                                                     6/27/2005



                                                                                                                                                                            Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                            (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                            (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky        Christopher Zalesky       (lmehrot@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
316   JANSSENBIO‐PL‐0000303   JANSSENBIO‐PL_2‐0000257   Withheld           Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com); Naoko Fujii (fujii@sciosinc.com)                                                                                                                                                                                     6/27/2005



                                                                                                                                                                            Russell Deyo ^ (rdeyo@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Karen Licitra                                                                                                            Kathy Schroeher ^ (kschroe@corus.jnj.com); Mark                      Email chain with attachment(s) providing legal advice
                                                                                                                                                                            (klicitra@its.jnj.com); Dennis Longstreet (dlongstr@corus.jnj.com); Michael McCulley ^                      Curt Selquist (cselqui@corus.jnj.com); Dennis                                               Sievers ^ (msievers@its.jnj.com); Michael McCulley ^                 regarding preparation/review of internal training or
                                                                                                                                                                            (mmccull@corus.jnj.com); Robert O'Holla (roholla@corus.jnj.com); Kathy Schroeher ^                          Longstreet (dlongstr@corus.jnj.com); Karen                                                  (mmccull@corus.jnj.com); Robert O'Holla                              internal guidance concerning practice management or IOI
317   JANSSENBIO‐PL‐0000304   JANSSENBIO‐PL_2‐0000258   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                        (kschroe@corus.jnj.com); Curt Selquist (cselqui@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com)       Licitra (klicitra@its.jnj.com)                   Freddy Jimenez ^ (fjimene3@its.jnj.com)    (roholla@corus.jnj.com)                                   4/6/2005   support.



                                                                                                                                                                            Russell Deyo ^ (rdeyo@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Karen Licitra
                                                                                                                                                                            (klicitra@its.jnj.com); Dennis Longstreet (dlongstr@corus.jnj.com); Michael McCulley ^
                                                                                                                       Joseph Metro ^             Freddy Jimenez ^          (mmccull@corus.jnj.com); Robert O'Holla (roholla@corus.jnj.com); Kathy Schroeher ^
318   JANSSENBIO‐PL‐0000305   JANSSENBIO‐PL_2‐0000259   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)     (fjimene3@its.jnj.com)    (kschroe@corus.jnj.com); Curt Selquist (cselqui@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com)                                                                                                                                                             4/6/2005
                                                                                                                                                                                                                                                                                        Clayton Paterson ^ (cpaters@its.jnj.com); Desiree
                                                                                                                                                                                                                                                                                        Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                        Brinckman ^ (dbrinckm@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                        Broekhoven ^ (dvbroekh@janbe.jnj.com);
                                                                                                                                                                                                                                                                                        Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                        Jimenez ^ (fjimene3@its.jnj.com); Joanna Soffa ^
                                                                                                                                                                                                                                                                                        (soffa@sciosinc.com); Joseph Braunreuther ^
                                                                                                                                                                                                                                                                                        (jbraunre@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                                                                                                        (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                                                                                        (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                                                                                                                                                                        (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                            Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Taysen Van Itallie   (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                            (tvanita@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^                     (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                            (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^                    (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                            (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^                        (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                                                            (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joanna Soffa ^ (soffa@sciosinc.com);       (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                                                            Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kristi Travers ^    (mmccull@corus.jnj.com); Michelle Fried ^
                                                                                                                                                                            (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);      (mfried1@corus.jnj.com); Patrick O'Brien ^                                                                                                                       Email with attachment(s) reflecting counsel's request for
                                                                                                                                                                            Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^             (pobrien5@corus.jnj.com); Stephanie Gilson ^                                                                                                                     information for the purpose of providing legal advice
                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^                         (sgilson@its.jnj.com); Sue Seferian ^                                                                                                                            regarding preparation/review of internal training or
                                                                           Suarez, Freddy Jimenez;                                                                          (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^                     (sseferia@its.jnj.com); Yuung Yap ^                                                         Christopher Zalesky (czalesky@its.jnj.com); Taysen Van               internal guidance concerning practice management or IOI
319   JANSSENBIO‐PL‐0000306   JANSSENBIO‐PL_2‐0000260   Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                        (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)               (yyap1@its.jnj.com)                               Freddy Jimenez ^ (fjimene3@its.jnj.com)   Itallie (tvanita@corus.jnj.com)                           9/6/2005   support.




                                                                                                                                                                            Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Taysen Van Itallie
                                                                                                                                                                            (tvanita@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                            (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                            (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^
                                                                                                                                                                            (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joanna Soffa ^ (soffa@sciosinc.com);
                                                                                                                                                                            Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                                                            (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                                            Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^
                                                                           Suarez, Freddy Jimenez;                                                Freddy Jimenez ^          (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^
320   JANSSENBIO‐PL‐0000307   JANSSENBIO‐PL_2‐0000261   Withheld   ppt     Zalesky, Christopher      Attorney‐Client   David Mackie               (fjimene3@its.jnj.com)    (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                     9/6/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                         regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                         internal guidance concerning practice management or IOI
321   JANSSENBIO‐PL‐0000308   JANSSENBIO‐PL_2‐0000262   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com)                              Freddy Jimenez ^ (fjimene3@its.jnj.com)          Mark Sievers ^ (msievers@its.jnj.com)                                                               3/17/2005   support.
                                                                                                                       Joseph Metro ^             Mark Sievers ^
322   JANSSENBIO‐PL‐0000309   JANSSENBIO‐PL_2‐0000263   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)     (msievers@its.jnj.com)    Freddy Jimenez ^ (fjimene3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com)                                                                                                                                                                                   3/17/2005
                                                                                                                                                                            Kathy Buto (kbuto@its.jnj.com); Brian Fischer (bfirth@crdus.jnj.com); Brian Fischer                                                                                                                     Brian Vaughn (bvaughn@its.jnj.com); Kathy Buto
                                                                                                                                                                            (bfirth@crdus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^                                                                                                                       (kbuto@its.jnj.com); Kathy Schroeher ^                               Email chain with attachment(s) providing legal advice
                                                                                                                                                                            (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Robert O'Holla                                                                                                                      (kschroe@corus.jnj.com); Michael McCulley ^                          regarding preparation/review of internal training or
                                                                                                                                                                            (roholla@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Brian Vaughn                            Brian Fischer (bfirth@crdus.jnj.com); Freddy                                                (mmccull@corus.jnj.com); Robert O'Holla                              internal guidance concerning practice management or IOI
323   JANSSENBIO‐PL‐0000310   JANSSENBIO‐PL_2‐0000264   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                        (bvaughn@its.jnj.com)                                                                                       Jimenez ^ (fjimene3@its.jnj.com)                 Freddy Jimenez ^ (fjimene3@its.jnj.com)    (roholla@corus.jnj.com)                                   8/9/2005   support.
                                                                                                                                                                            Kathy Buto (kbuto@its.jnj.com); Brian Fischer (bfirth@crdus.jnj.com); Brian Fischer
                                                                                                                                                                            (bfirth@crdus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                            (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Robert O'Holla
                                                                                                                       Joseph Metro ^             Freddy Jimenez ^          (roholla@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Brian Vaughn
324   JANSSENBIO‐PL‐0000311   JANSSENBIO‐PL_2‐0000265   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)     (fjimene3@its.jnj.com)    (bvaughn@its.jnj.com)                                                                                                                                                                                                                                             8/9/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                         regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                         internal guidance concerning practice management or IOI
325   JANSSENBIO‐PL‐0000312   JANSSENBIO‐PL_2‐0000266   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com)                            Freddy Jimenez ^ (fjimene3@its.jnj.com)          Louise Mehrotra (lmehrot@corus.jnj.com)                                                             7/27/2005   support.
                                                                                                                       Darlene Mitchell           Louise Mehrotra
326   JANSSENBIO‐PL‐0000313   JANSSENBIO‐PL_2‐0000267   Withheld   ppt     Suarez, Freddy Jimenez    Attorney‐Client   (dmitche6@crdus.jnj.com)   (lmehrot@corus.jnj.com)   Freddy Jimenez ^ (fjimene3@its.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com)                                                                                                                                                                                 7/27/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                                                                            Bonnie Goldmann (bgoldman@prdus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Johnson             Bonnie Goldmann (bgoldman@prdus.jnj.com);                                                                                                                        guidance concerning practice management or IOI
327   JANSSENBIO‐PL‐0000314   JANSSENBIO‐PL_2‐0000268   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                        (jhjohns@obius.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com)                                          John Johnson (jhjohns@obius.jnj.com)             Freddy Jimenez ^ (fjimene3@its.jnj.com)    Kathy Schroeher ^ (kschroe@corus.jnj.com)                 5/6/2005   support.

                                                                                                                       Joseph Metro ^             Freddy Jimenez ^          Bonnie Goldmann (bgoldman@prdus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Johnson
328   JANSSENBIO‐PL‐0000315   JANSSENBIO‐PL_2‐0000269   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)     (fjimene3@its.jnj.com)    (jhjohns@obius.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com)                                                                                                                                                                                                5/6/2005
                                                                                                                                                                                                                                                                                        Christopher Guiton (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                        Clayton Paterson ^ (cpaters@its.jnj.com); Debra
                                                                                                                                                                                                                                                                                        Hueting ^ (dhuetin1@prdgb.jnj.com); Deidre
                                                                                                                                                                                                                                                                                        Meehan ^ (dmeehan5@its.jnj.com); Desiree Ralls‐
                                                                                                                                                                                                                                                                                        Morrison ^ (drallsmo@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                        Brinckman ^ (dbrinckm@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                        Broekhoven ^ (dvbroekh@janbe.jnj.com);
                                                                                                                                                                                                                                                                                        Dorothy Clarke ^ (dclarke3@its.jnj.com);
                                                                                                                                                                                                                                                                                        Elizabeth Scott ^ (egiulian@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                        Jimenez ^ (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                                                        (htorell@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                                                                                                        (jdecamar@corus.jnj.com); John Vaughan ^
                                                                                                                                                                                                                                                                                        (jvaughan@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                                                                                                        (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^
                                                                                                                                                                            Jennifer De Camara ^ (jdecamar@corus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Debra            (kschroe@corus.jnj.com); Kenneth Olsen ^
                                                                                                                                                                            Hueting ^ (dhuetin1@prdgb.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Deidre Meehan ^                (kolsen@its.jnj.com); Kristi Travers ^
                                                                                                                                                                            (dmeehan5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Helen      (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                            Torelli ^ (htorell@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                  (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                            (pvillan1@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^                  (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                            (drallsmo@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^                          (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                            (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^                         (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                                                            (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^                      (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                                                            (kschroe@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com);     (mmccull@corus.jnj.com); Michelle Fried ^
                                                                                                                                                                            Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^               (mfried1@corus.jnj.com); Patricia Villani ^
                                                                                                                                                                            (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^                            (pvillan1@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^                         (pobrien5@corus.jnj.com); Rosa Son ^                                                                                                                             Email with attachment(s) providing legal advice regarding
                                                                                                                                                                            (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Sidley News (Sidley News               (rson@its.jnj.com); Stephanie Gilson ^                                                                                                                           preparation/review of internal training or internal
                                                                                                                                                                            sidleynews@sidley.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);    (sgilson@its.jnj.com); Sue Seferian ^                                                                                                                            guidance concerning practice management or IOI
329   JANSSENBIO‐PL‐0000316   JANSSENBIO‐PL_2‐0000270   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                        Undisclosed Recipients ; Yuung Yap ^ (yyap1@its.jnj.com)                                                    (sseferia@its.jnj.com); Yuung Yap ^               Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                            2/22/2008   support.




                                                                                                                                                                            Jennifer De Camara ^ (jdecamar@corus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Debra
                                                                                                                                                                            Hueting ^ (dhuetin1@prdgb.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                            (dmeehan5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Helen
                                                                                                                                                                            Torelli ^ (htorell@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                                                            (pvillan1@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                                            (drallsmo@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^
                                                                                                                                                                            (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                            (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^
                                                                                                                                                                            (kschroe@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com);
                                                                                                                                                                            Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                            (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^
                                                                                                                                                                            (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Sidley News (Sidley News
                                                                                                                       Sue Seferian ^             Freddy Jimenez ^          sidleynews@sidley.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
330   JANSSENBIO‐PL‐0000317   JANSSENBIO‐PL_2‐0000271   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (sseferia@its.jnj.com)     (fjimene3@its.jnj.com)    Undisclosed Recipients ; Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                                                         2/22/2008




                                                                                                                                                                                                                                                     13
                                                         Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 15 of 201



                                                                                                                                                                          Jennifer De Camara ^ (jdecamar@corus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Debra
                                                                                                                                                                          Hueting ^ (dhuetin1@prdgb.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                          (dmeehan5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Helen
                                                                                                                                                                          Torelli ^ (htorell@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                                                          (pvillan1@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                                          (drallsmo@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^
                                                                                                                                                                          (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                          (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^
                                                                                                                                                                          (kschroe@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com);
                                                                                                                                                                          Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                          (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                                          (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^
                                                                                                                                                                          (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Sidley News (Sidley News
                                                                                                                      Freddy Jimenez ^         Freddy Jimenez ^           sidleynews@sidley.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
331   JANSSENBIO‐PL‐0000318   JANSSENBIO‐PL_2‐0000272   Withheld   ppt     Suarez, Freddy Jimenez   Attorney‐Client   (fjimene3@its.jnj.com)   (fjimene3@its.jnj.com)     Undisclosed Recipients ; Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                                                               2/22/2008
                                                                                                                                                                                                                                                                                        Christopher Guiton (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                        Clayton Paterson ^ (cpaters@its.jnj.com); Debra
                                                                                                                                                                                                                                                                                        Hueting ^ (dhuetin1@prdgb.jnj.com); Deidre
                                                                                                                                                                                                                                                                                        Meehan ^ (dmeehan5@its.jnj.com); Desiree Ralls‐
                                                                                                                                                                          Joseph Braunreuther ^ (jbraunre@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester        Morrison ^ (drallsmo@its.jnj.com); Dirk
                                                                                                                                                                          ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Jennifer De Camara ^                       Brinckman ^ (dbrinckm@its.jnj.com); Dirk
                                                                                                                                                                          (jdecamar@corus.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Stephanie Gilson ^                        Broekhoven ^ (dvbroekh@janbe.jnj.com);
                                                                                                                                                                          (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Debra Hueting ^                            Dorothy Clarke ^ (dclarke3@its.jnj.com);
                                                                                                                                                                          (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);     Elizabeth Scott ^ (egiulian@its.jnj.com); Freddy
                                                                                                                                                                          Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^           Jimenez ^ (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                          (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Patrick O'Brien ^                            (htorell@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                          (pobrien5@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^                            (jdecamar@corus.jnj.com); John Vaughan ^
                                                                                                                                                                          (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^                     (jvaughan@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                          (kschroe@corus.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);     (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^
                                                                                                                                                                          Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^                         (kschroe@corus.jnj.com); Kenneth Olsen ^
                                                                                                                                                                          (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);     (kolsen@its.jnj.com); Kristi Travers ^
                                                                                                                                                                          Kristi Travers ^ (ktravers@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); John Vaughan ^           (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                          (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Clayton   (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                          Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^           (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                          (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^                          (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                          (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^                           (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                                                          (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kenneth Olsen ^                          (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                                                          (kolsen@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria   (mmccull@corus.jnj.com); Michelle Fried ^
                                                                                                                                                                          Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^                      (mfried1@corus.jnj.com); Patricia Villani ^
                                                                                                                                                                          (mtandy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Michael Chester ^                           (pvillan1@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                                          (mcheste1@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Patrick O'Brien ^                           (pobrien5@corus.jnj.com); Rosa Son ^                                                                                                                                 Email chain with attachment(s) providing legal advice
                                                                                                                                                                          (pobrien5@corus.jnj.com); Sidley News (Sidley News sidleynews@sidley.com); Stephanie Gilson ^                 (rson@its.jnj.com); Stephanie Gilson ^                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                          (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Undisclosed Recipients ; Yuung Yap ^            (sgilson@its.jnj.com); Sue Seferian ^                                                                                                                                internal guidance concerning practice management or IOI
332   JANSSENBIO‐PL‐0000319   JANSSENBIO‐PL_2‐0000273   Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                       (yyap1@its.jnj.com)                                                                                           (sseferia@its.jnj.com); Yuung Yap ^               Freddy Jimenez ^ (fjimene3@its.jnj.com)     Joseph Braunreuther ^ (jbraunre@its.jnj.com)                3/7/2008   support.




                                                                                                                                                                          Joseph Braunreuther ^ (jbraunre@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester
                                                                                                                                                                          ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                          (jdecamar@corus.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                          (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Debra Hueting ^
                                                                                                                                                                          (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                          Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^
                                                                                                                                                                          (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                                          (pobrien5@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                          (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^
                                                                                                                                                                          (kschroe@corus.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
                                                                                                                                                                          Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                          (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);
                                                                                                                                                                          Kristi Travers ^ (ktravers@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); John Vaughan ^
                                                                                                                                                                          (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Clayton
                                                                                                                                                                          Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                          (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^
                                                                                                                                                                          (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                          (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kenneth Olsen ^
                                                                                                                                                                          (kolsen@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria
                                                                                                                                                                          Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                          (mtandy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Michael Chester ^
                                                                                                                                                                          (mcheste1@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Patrick O'Brien ^
                                                                                                                                                                          (pobrien5@corus.jnj.com); Sidley News (Sidley News sidleynews@sidley.com); Stephanie Gilson ^
                                                                                                                      Sue Seferian ^           Freddy Jimenez ^           (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Undisclosed Recipients ; Yuung Yap ^
333   JANSSENBIO‐PL‐0000320   JANSSENBIO‐PL_2‐0000274   Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (sseferia@its.jnj.com)   (fjimene3@its.jnj.com)     (yyap1@its.jnj.com)                                                                                                                                                                                                                                                     3/7/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain with attachment(s) providing legal advice
                                                                                                                                                                          Michael Dormer (mdormer@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^             Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                          (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Kathy Schroeher ^                         Dormer (mdormer@corus.jnj.com); Nicholas                                                      Kathy Schroeher ^ (kschroe@corus.jnj.com); Michael                     internal guidance concerning practice management or IOI
334   JANSSENBIO‐PL‐0000321   JANSSENBIO‐PL_2‐0000275   Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                       (kschroe@corus.jnj.com); Nicholas Valeriani (nvaleria@its.jnj.com)                                            Valeriani (nvaleria@its.jnj.com)                 Freddy Jimenez ^ (fjimene3@its.jnj.com)      McCulley ^ (mmccull@corus.jnj.com)                          8/9/2005   support.

                                                                                                                                                                          Michael Dormer (mdormer@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                      Joseph Metro ^           Freddy Jimenez ^           (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Kathy Schroeher ^
335   JANSSENBIO‐PL‐0000322   JANSSENBIO‐PL_2‐0000276   Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (jmetro@reedsmith.com)   (fjimene3@its.jnj.com)     (kschroe@corus.jnj.com); Nicholas Valeriani (nvaleria@its.jnj.com)                                                                                                                                                                                                      8/9/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                      Freddy Jimenez ^ (fjimene3@its.jnj.com); Lisa Jenkins ^                preparation/review of internal training or internal
                                                                                                                                                                          Thomas Hiriak (thiriak3@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^                                                                                                               (ljenkins@its.jnj.com); Thomas Hiriak                                  guidance concerning practice management or IOI
336   JANSSENBIO‐PL‐0000323   JANSSENBIO‐PL_2‐0000277   Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                       (fjimene3@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com)                                                 John Vaughan ^ (jvaughan@its.jnj.com)              Lisa Jenkins ^ (ljenkins@its.jnj.com)      (thiriak3@its.jnj.com)                                     11/6/2008   support.

                                                                                                                      Sue Seferian ^           Lisa Jenkins ^             Thomas Hiriak (thiriak3@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
337   JANSSENBIO‐PL‐0000324   JANSSENBIO‐PL_2‐0000278   Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (sseferia@its.jnj.com)   (ljenkins@its.jnj.com)     (fjimene3@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com)                                                                                                                                                                                                          11/6/2008

                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                             counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                             internal guidance concerning practice management or IOI
338   JANSSENBIO‐PL‐0000325   JANSSENBIO‐PL_2‐0000279   Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                       Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com)                               Freddy Jimenez ^ (fjimene3@its.jnj.com)            Maria Kennedy ^ (mkenned3@its.jnj.com)                                                                5/16/2005   support.
                                                                                                                      Joseph Metro ^           Maria Kennedy ^
339   JANSSENBIO‐PL‐0000326   JANSSENBIO‐PL_2‐0000280   Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (jmetro@reedsmith.com)   (mkenned3@its.jnj.com)     Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com)                                                                                                                                                                                        5/16/2005
                                                                                                                                                                          Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Tyrone Akins                            Adriana Soblick (asoblick@its.jnj.com); Alan
                                                                                                                                                                          (takins1@its.jnj.com); Richard Alberti (ralberti@its.jnj.com); Penny Albright (palbrigh@its.jnj.com);         Cariski (acariski@its.jnj.com); Alex Weigel
                                                                                                                                                                          Cynthia Allen (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman                   (aweigel3@its.jnj.com); Alexis Montalvo
                                                                                                                                                                          (laltman1@its.jnj.com); Dave Ames (dames@its.jnj.com); Jane Armstrong (jarmst11@its.jnj.com); Axel            (amontal2@its.jnj.com); Amena Lewis
                                                                                                                                                                          Arnaud (aarnaud@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Jose Barro (jbarro@its.jnj.com);        (alewis3@its.jnj.com); Amit Patel
                                                                                                                                                                          Sergio Bartczak (sbartcza@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath         (apatel18@its.jnj.com); Amy Mecka
                                                                                                                                                                          (cbeath@its.jnj.com); Linda Bell‐Powell (lbell1@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com);          (amecka1@its.jnj.com); Andrea Casper
                                                                                                                                                                          Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com); Lynn Bergmeyer                    (acasper1@its.jnj.com); Andrea Flanigan
                                                                                                                                                                          (lbergmey@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com); Karen Beyers (kbeyers@its.jnj.com); Don       (aflaniga@its.jnj.com); Angela Crowley
                                                                                                                                                                          Bohn (dbohn@its.jnj.com); Deirdre Bookman (dbookma2@its.jnj.com); Meryle Borochaner                           (acrowle2@its.jnj.com); Anne Reilly ^
                                                                                                                                                                          (mborocha@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Daniel Braendle (dbraendl@its.jnj.com);          (areilly@its.jnj.com); Anneliese Fink Braun
                                                                                                                                                                          Hilda Braxton (hbraxto@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^                 (afinkbra@gpsch.jnj.com); Anthony Brennan
                                                                                                                                                                          (dbrinckm@its.jnj.com); Tracy Buckley (tbuckle3@its.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);         (abrenna3@its.jnj.com); Anthony Carter
                                                                                                                                                                          Mariellen Burke (mburke4@obius.jnj.com); James Burrus (jburrus@its.jnj.com); Janice Bush                      (acarter2@its.jnj.com); Avis Goode
                                                                                                                                                                          (jbush1@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Gail    (agoode@its.jnj.com); Axel Arnaud
                                                                                                                                                                          Calantoni (gcalanto@its.jnj.com); Susan Calderone (scalder7@its.jnj.com); Peter Callegari                     (aarnaud@its.jnj.com); Barbara Allibone
                                                                                                                                                                          (pcallega@its.jnj.com); Alan Cariski (acariski@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea    (ballibon@its.jnj.com); Barbara Buerkle
                                                                                                                                                                          Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^                       (bbuerkl2@its.jnj.com); Barbara Schwartz
                                                                                                                                                                          (mcheste1@its.jnj.com); Vanessa Chomiak (vchomiak@its.jnj.com); Patricia Christian                            (bschwart@ethus.jnj.com); Barry Leece
                                                                                                                                                                          (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Kristen Cincotti                          (bleece1@its.jnj.com); Bhupesh Desai
                                                                                                                                                                          (kcincott@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);       (bdesai2@its.jnj.com); Bill Christianson
                                                                                                                                                                          Wendy Clarke (wclarke@cntus.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Jhanita Colvin                      (bchrist2@dpyus.jnj.com); Bill Glaser
                                                                                                                                                                          (jcolvin1@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Lea    (bglaser@its.jnj.com); Bill McKenzie
                                                                                                                                                                          Conway (lconway@its.jnj.com); Michael Coon (mcoon@its.jnj.com); Mary Copithorne                               (bmckenzi@its.jnj.com); Bonnie Rodriguez
                                                                                                                                                                          (mcopitho@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com);            (brodrig5@its.jnj.com); Brandy Duso
                                                                                                                                                                          Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby                     (bduso@its.jnj.com); Brenda Aker                                                                                                                                     Email with attachment(s) providing legal advice regarding
                                                                                                                                                                          (ccrosby@its.jnj.com); Angela Crowley (acrowle2@its.jnj.com); Catherine Cummings                              (baker@its.jnj.com); Brenda Sarokhan                                                                                                                                 preparation/review of internal training or internal
                                                                           Guiton, Christopher;                                                                           (ccummin5@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Tony Cutshall (tcutshal@its.jnj.com);              (bsarokha@its.jnj.com); Brian Kelly                                                                                                                                  guidance concerning practice management or IOI
340   JANSSENBIO‐PL‐0000327   JANSSENBIO‐PL_2‐0000281   Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                       Jennifer Daddazio (jdaddazi@its.jnj.com); Diane D'Ambrosio ^ (ddambro1@its.jnj.com); Phil Dang                (bkelly2@its.jnj.com); Brian Reid                  Shane Freedman ^ (sfreedman@its.jnj.com)                                                             12/18/2008   support.
                                                                                                                                                                          Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Tyrone Akins
                                                                                                                                                                          (takins1@its.jnj.com); Richard Alberti (ralberti@its.jnj.com); Penny Albright (palbrigh@its.jnj.com);
                                                                                                                                                                          Cynthia Allen (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman
                                                                                                                                                                          (laltman1@its.jnj.com); Dave Ames (dames@its.jnj.com); Jane Armstrong (jarmst11@its.jnj.com); Axel
                                                                                                                                                                          Arnaud (aarnaud@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Jose Barro (jbarro@its.jnj.com);
                                                                                                                                                                          Sergio Bartczak (sbartcza@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                          (cbeath@its.jnj.com); Linda Bell‐Powell (lbell1@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                                          Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com); Lynn Bergmeyer
                                                                                                                                                                          (lbergmey@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com); Karen Beyers (kbeyers@its.jnj.com); Don
                                                                                                                                                                          Bohn (dbohn@its.jnj.com); Deirdre Bookman (dbookma2@its.jnj.com); Meryle Borochaner
                                                                                                                                                                          (mborocha@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Daniel Braendle (dbraendl@its.jnj.com);
                                                                                                                                                                          Hilda Braxton (hbraxto@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                          (dbrinckm@its.jnj.com); Tracy Buckley (tbuckle3@its.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                          Mariellen Burke (mburke4@obius.jnj.com); James Burrus (jburrus@its.jnj.com); Janice Bush
                                                                                                                                                                          (jbush1@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Gail
                                                                                                                                                                          Calantoni (gcalanto@its.jnj.com); Susan Calderone (scalder7@its.jnj.com); Peter Callegari
                                                                                                                                                                          (pcallega@its.jnj.com); Alan Cariski (acariski@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea
                                                                                                                                                                          Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^
                                                                                                                                                                          (mcheste1@its.jnj.com); Vanessa Chomiak (vchomiak@its.jnj.com); Patricia Christian
                                                                                                                                                                          (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Kristen Cincotti
                                                                                                                                                                          (kcincott@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                                                          Wendy Clarke (wclarke@cntus.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Jhanita Colvin
                                                                                                                                                                          (jcolvin1@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Lea
                                                                                                                                                                          Conway (lconway@its.jnj.com); Michael Coon (mcoon@its.jnj.com); Mary Copithorne
                                                                                                                                                                          (mcopitho@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com);
                                                                                                                                                                          Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                          (ccrosby@its.jnj.com); Angela Crowley (acrowle2@its.jnj.com); Catherine Cummings
                                                                           Guiton, Christopher;                       Sue Seferian ^           Shane Freedman ^           (ccummin5@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Tony Cutshall (tcutshal@its.jnj.com);
341   JANSSENBIO‐PL‐0000328   JANSSENBIO‐PL_2‐0000282   Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (sseferia@its.jnj.com)   (sfreedman@its.jnj.com)    Jennifer Daddazio (jdaddazi@its.jnj.com); Diane D'Ambrosio ^ (ddambro1@its.jnj.com); Phil Dang                                                                                                                                                                        12/18/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Jennifer                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                                          Jennifer De Camara ^ (jdecamar@corus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^        De Camara ^ (jdecamar@corus.jnj.com); Lisa                                                                                                                           guidance concerning practice management or IOI
342   JANSSENBIO‐PL‐0000329   JANSSENBIO‐PL_2‐0000283   Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                       (fjimene3@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com)                                                 Jenkins ^ (ljenkins@its.jnj.com)                  Helen Torelli ^ (htorell@its.jnj.com)                                                                  6/23/2012   support.

                                                                                                                      Sue Seferian ^           Jennifer De Camara ^       Jennifer De Camara ^ (jdecamar@corus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
343   JANSSENBIO‐PL‐0000330   JANSSENBIO‐PL_2‐0000284   Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (sseferia@its.jnj.com)   (jdecamar@corus.jnj.com)   (fjimene3@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com)                                                                                                                                                                                                          6/23/2012




                                                                                                                                                                                                                                                    14
                                                         Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 16 of 201

                                                                                                                                                                               Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Tyrone Akins
                                                                                                                                                                               (takins1@its.jnj.com); Richard Alberti (ralberti@its.jnj.com); Penny Albright (palbrigh@its.jnj.com);
                                                                                                                                                                               Cynthia Allen (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman
                                                                                                                                                                               (laltman1@its.jnj.com); Dave Ames (dames@its.jnj.com); Jane Armstrong (jarmst11@its.jnj.com); Axel
                                                                                                                                                                               Arnaud (aarnaud@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Jose Barro (jbarro@its.jnj.com);
                                                                                                                                                                               Sergio Bartczak (sbartcza@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                               (cbeath@its.jnj.com); Linda Bell‐Powell (lbell1@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com); Lynn Bergmeyer
                                                                                                                                                                               (lbergmey@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com); Karen Beyers (kbeyers@its.jnj.com); Don
                                                                                                                                                                               Bohn (dbohn@its.jnj.com); Deirdre Bookman (dbookma2@its.jnj.com); Meryle Borochaner
                                                                                                                                                                               (mborocha@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Daniel Braendle (dbraendl@its.jnj.com);
                                                                                                                                                                               Hilda Braxton (hbraxto@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                               (dbrinckm@its.jnj.com); Tracy Buckley (tbuckle3@its.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                               Mariellen Burke (mburke4@obius.jnj.com); James Burrus (jburrus@its.jnj.com); Janice Bush
                                                                                                                                                                               (jbush1@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Gail
                                                                                                                                                                               Calantoni (gcalanto@its.jnj.com); Susan Calderone (scalder7@its.jnj.com); Peter Callegari
                                                                                                                                                                               (pcallega@its.jnj.com); Alan Cariski (acariski@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea
                                                                                                                                                                               Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^
                                                                                                                                                                               (mcheste1@its.jnj.com); Vanessa Chomiak (vchomiak@its.jnj.com); Patricia Christian
                                                                                                                                                                               (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Kristen Cincotti
                                                                                                                                                                               (kcincott@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                                                               Wendy Clarke (wclarke@cntus.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Jhanita Colvin
                                                                                                                                                                               (jcolvin1@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Lea
                                                                                                                                                                               Conway (lconway@its.jnj.com); Michael Coon (mcoon@its.jnj.com); Mary Copithorne
                                                                                                                                                                               (mcopitho@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com);
                                                                                                                                                                               Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                               (ccrosby@its.jnj.com); Angela Crowley (acrowle2@its.jnj.com); Catherine Cummings
                                                                           Guiton, Christopher;                        Shane Freedman ^            Shane Freedman ^            (ccummin5@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Tony Cutshall (tcutshal@its.jnj.com);
344   JANSSENBIO‐PL‐0000331   JANSSENBIO‐PL_2‐0000285   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (sfreedman@its.jnj.com)     (sfreedman@its.jnj.com)     Jennifer Daddazio (jdaddazi@its.jnj.com); Diane D'Ambrosio ^ (ddambro1@its.jnj.com); Phil Dang                                                                                                                                                                       12/18/2008




                                                                                                                                                                               Joseph Braunreuther ^ (jbraunre@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                               (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                                               Taysen Van Itallie (tvanita@corus.jnj.com); Ward Bennett ^ (abennett@ropesgray.com); Clayton Paterson
                                                                                                                                                                               ^ (cpaters@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^
                                                                                                                                                                               (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                               (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^
                                                                                                                                                                               (kschroe@corus.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);                                                                                                                                                                          Email chain with attachment(s) reflecting counsel's
                                                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^                                                                                                                                                                                    request for information for the purpose of providing
                                                                                                                                                                               (mtandy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Michael Chester ^                                                                                                                                                                                               legal advice regarding preparation/review of internal
                                                                                                                                                                               (mcheste1@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Patrick O'Brien ^                                                                                                                                                                                               training or internal guidance concerning practice
345   JANSSENBIO‐PL‐0000332   JANSSENBIO‐PL_2‐0000286   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                           (pobrien5@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)    Freddy Jimenez ^ (fjimene3@its.jnj.com)          Dorothy Clarke ^ (dclarke3@its.jnj.com)       Mark Sievers ^ (msievers@its.jnj.com)                     3/24/2005   management or IOI support.




                                                                                                                                                                               Joseph Braunreuther ^ (jbraunre@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                               (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                                               Taysen Van Itallie (tvanita@corus.jnj.com); Ward Bennett ^ (abennett@ropesgray.com); Clayton Paterson
                                                                                                                                                                               ^ (cpaters@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^
                                                                                                                                                                               (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                               (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^
                                                                                                                                                                               (kschroe@corus.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                               (mtandy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Michael Chester ^
                                                                                                                       Joseph Metro ^              Dorothy Clarke ^            (mcheste1@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Patrick O'Brien ^
346   JANSSENBIO‐PL‐0000333   JANSSENBIO‐PL_2‐0000287   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)      (dclarke3@its.jnj.com)      (pobrien5@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)                                                                                                                                                             3/24/2005
                                                                                                                                                                                                                                                                                                                                                                                           Brenda Davis (bdavis@corus.jnj.com); Joseph
                                                                                                                                                                                                                                                                                                                                                                                           Braunreuther ^ (jbraunre@its.jnj.com); Kathy Schroeher
                                                                                                                                                                               Joseph Braunreuther ^ (jbraunre@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com); Freddy Jimenez ^                                                                                                         ^ (kschroe@corus.jnj.com); Louise Mehrotra                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                                               (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra                                                                                                                         (lmehrot@corus.jnj.com); Michael McCulley ^                           preparation/review of internal training or internal
                                                                           Suarez, Freddy Jimenez;                                                                             (lmehrot@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Taysen Van Itallie                                                                                                                      (mmccull@corus.jnj.com); Taysen Van Itallie                           guidance concerning practice management or IOI
347   JANSSENBIO‐PL‐0000334   JANSSENBIO‐PL_2‐0000288   Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           (tvanita@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                          Christopher Zalesky (czalesky@its.jnj.com)       Freddy Jimenez ^ (fjimene3@its.jnj.com)       (tvanita@corus.jnj.com)                                   3/29/2005   support.



                                                                                                                                                                               Joseph Braunreuther ^ (jbraunre@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                               (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra
                                                                           Suarez, Freddy Jimenez;                     Joseph Metro ^              Freddy Jimenez ^            (lmehrot@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Taysen Van Itallie
348   JANSSENBIO‐PL‐0000335   JANSSENBIO‐PL_2‐0000289   Withheld   doc     Zalesky, Christopher      Attorney‐Client   (jmetro@reedsmith.com)      (fjimene3@its.jnj.com)      (tvanita@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                   3/29/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 preparation/review of internal training or internal
                                                                                                                                                                               Michael Dormer (mdormer@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Louise Mehrotra                                                                                                            Kathy Schroeher ^ (kschroe@corus.jnj.com); Louise                     guidance concerning practice management or IOI
349   JANSSENBIO‐PL‐0000336   JANSSENBIO‐PL_2‐0000290   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                           (lmehrot@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com)                                           Michael Dormer (mdormer@corus.jnj.com)           Freddy Jimenez ^ (fjimene3@its.jnj.com)       Mehrotra (lmehrot@corus.jnj.com)                          7/18/2005   support.

                                                                                                                       Joseph Metro ^              Freddy Jimenez ^            Michael Dormer (mdormer@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Louise Mehrotra
350   JANSSENBIO‐PL‐0000337   JANSSENBIO‐PL_2‐0000291   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)      (fjimene3@its.jnj.com)      (lmehrot@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com)                                                                                                                                                                                                    7/18/2005

                                                                                                                                                                               Joseph Braunreuther ^ (jbraunre@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^                                                                                                     Dorothy Clarke ^ (dclarke3@its.jnj.com); Joseph                       Email with attachment(s) providing legal advice regarding
                                                                                                                                                                               (fjimene3@its.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Robert O'Holla                              Louise Mehrotra (lmehrot@corus.jnj.com);                                                       Braunreuther ^ (jbraunre@its.jnj.com); Mark Sievers ^                 preparation/review of customer‐facing practice
351   JANSSENBIO‐PL‐0000338   JANSSENBIO‐PL_2‐0000292   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                           (roholla@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com)                                               Robert O'Holla (roholla@corus.jnj.com)           Freddy Jimenez ^ (fjimene3@its.jnj.com)       (msievers@its.jnj.com)                                    5/20/2005   management or IOI support material.

                                                                                                                                                                               Joseph Braunreuther ^ (jbraunre@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                       Joseph Metro ^              Freddy Jimenez ^            (fjimene3@its.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Robert O'Holla
352   JANSSENBIO‐PL‐0000339   JANSSENBIO‐PL_2‐0000293   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)      (fjimene3@its.jnj.com)      (roholla@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com)                                                                                                                                                                                                        5/20/2005
                                                                                                                                                                                                                                                                                                                                                                                           Bonnie Goldmann (bgoldman@prdus.jnj.com); Brenda
                                                                                                                                                                               Brenda Davis (bdavis@corus.jnj.com); Seth Fischer (sfischer@corus.jnj.com); Bonnie Goldmann                                                                                                                 Davis (bdavis@corus.jnj.com); John Johnson                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                                               (bgoldman@prdus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Johnson                                                                                                                             (jhjohns@obius.jnj.com); Kathy Schroeher ^                            preparation/review of internal training or internal
                                                                                                                                                                               (jhjohns@obius.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Kathy Schroeher ^                          Joseph Scodari (jscodar1@corus.jnj.com); Seth                                                  (kschroe@corus.jnj.com); Louise Mehrotra                              guidance concerning practice management or IOI
353   JANSSENBIO‐PL‐0000340   JANSSENBIO‐PL_2‐0000294   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                           (kschroe@corus.jnj.com); Joseph Scodari (jscodar1@corus.jnj.com)                                             Fischer (sfischer@corus.jnj.com)                 Freddy Jimenez ^ (fjimene3@its.jnj.com)       (lmehrot@corus.jnj.com)                                   5/17/2005   support.

                                                                                                                                                                               Brenda Davis (bdavis@corus.jnj.com); Seth Fischer (sfischer@corus.jnj.com); Bonnie Goldmann
                                                                                                                                                                               (bgoldman@prdus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Johnson
                                                                                                                       Joseph Metro ^              Freddy Jimenez ^            (jhjohns@obius.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Kathy Schroeher ^
354   JANSSENBIO‐PL‐0000341   JANSSENBIO‐PL_2‐0000295   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)      (fjimene3@its.jnj.com)      (kschroe@corus.jnj.com); Joseph Scodari (jscodar1@corus.jnj.com)                                                                                                                                                                                                      5/17/2005
                                                                                                                                                                                                                                                                                            Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                                                                                                                                                            Clayton Paterson ^ (cpaters@its.jnj.com); Desiree
                                                                                                                                                                                                                                                                                            Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                            Brinckman ^ (dbrinckm@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                            Broekhoven ^ (dvbroekh@janbe.jnj.com);
                                                                                                                                                                                                                                                                                            Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Joyce ter
                                                                                                                                                                                                                                                                                            Heerdt ^ (jtheerdt@jppbe.jnj.com); Kristi Travers
                                                                                                                                                                                                                                                                                            ^ (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                                                                                                            (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                               Janet Main ^ (jmain@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Christopher Zalesky             (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                               (czalesky@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^                   (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                               (drallsmo@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^                           (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                                                               (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^                          (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                                                               (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kristi Travers ^                        (mmccull@corus.jnj.com); Michelle Fried ^
                                                                                                                                                                               (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);       (mfried1@corus.jnj.com); Patrick O'Brien ^                                                                                                                           Email with attachment(s) providing information to
                                                                                                                                                                               Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^              (pobrien5@corus.jnj.com); Stephanie Gilson ^                                                                                                                         counsel for the purpose of receiving legal advice
                                                                                                                                                                               (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^                          (sgilson@its.jnj.com); Sue Seferian ^                                                                                                                                regarding preparation/review of internal training or
                                                                           Suarez, Freddy Jimenez;                                                                             (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^                      (sseferia@its.jnj.com); Yuung Yap ^                                                                                                                                  internal guidance concerning practice management or IOI
355   JANSSENBIO‐PL‐0000342   JANSSENBIO‐PL_2‐0000296   Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                (yyap1@its.jnj.com)                               Janet Main ^ (jmain@its.jnj.com)             Kathy Schroeher ^ (kschroe@corus.jnj.com)                 6/30/2005   support.




                                                                                                                                                                               Janet Main ^ (jmain@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Christopher Zalesky
                                                                                                                                                                               (czalesky@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                                               (drallsmo@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^
                                                                                                                                                                               (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                               (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kristi Travers ^
                                                                                                                                                                               (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                                               Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                                               (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky         Janet Main ^                (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^
356   JANSSENBIO‐PL‐0000343   JANSSENBIO‐PL_2‐0000297   Withheld   doc     Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)      (jmain@its.jnj.com)         (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                         6/30/2005




                                                                                                                                                                               Janet Main ^ (jmain@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Christopher Zalesky
                                                                                                                                                                               (czalesky@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                                               (drallsmo@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Broekhoven ^
                                                                                                                                                                               (dvbroekh@janbe.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                               (fjimene3@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Kristi Travers ^
                                                                                                                                                                               (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                                               Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                                               (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^
                                                                           Suarez, Freddy Jimenez;                     Christopher Zalesky         Janet Main ^                (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^
357   JANSSENBIO‐PL‐0000344   JANSSENBIO‐PL_2‐0000298   Withheld   doc     Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)      (jmain@its.jnj.com)         (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                         6/30/2005
                                                                                                                                                                               Kathy Buto (kbuto@its.jnj.com); Brian Fischer (bfirth@crdus.jnj.com); Brian Fischer                                                                                                                         Brian Vaughn (bvaughn@its.jnj.com); Kathy Buto
                                                                                                                                                                               (bfirth@crdus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^                                                                                                                           (kbuto@its.jnj.com); Kathy Schroeher ^                                Email chain with attachment(s) providing legal advice
                                                                                                                                                                               (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Robert O'Holla                                                                                                                          (kschroe@corus.jnj.com); Michael McCulley ^                           regarding preparation/review of internal training or
                                                                                                                                                                               (roholla@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Brian Vaughn                                                                                                                            (mmccull@corus.jnj.com); Robert O'Holla                               internal guidance concerning practice management or IOI
358   JANSSENBIO‐PL‐0000345   JANSSENBIO‐PL_2‐0000299   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                           (bvaughn@its.jnj.com)                                                                                        Brian Fischer (bfirth@crdus.jnj.com)             Freddy Jimenez ^ (fjimene3@its.jnj.com)       (roholla@corus.jnj.com)                                    8/8/2005   support.
                                                                                                                                                                               Kathy Buto (kbuto@its.jnj.com); Brian Fischer (bfirth@crdus.jnj.com); Brian Fischer
                                                                                                                                                                               (bfirth@crdus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                               (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Robert O'Holla
                                                                                                                       Joseph Metro ^              Freddy Jimenez ^            (roholla@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Brian Vaughn
359   JANSSENBIO‐PL‐0000346   JANSSENBIO‐PL_2‐0000300   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (jmetro@reedsmith.com)      (fjimene3@its.jnj.com)      (bvaughn@its.jnj.com)                                                                                                                                                                                                                                                  8/8/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                               Jon Donnelly (jdonnel1@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Ramineh Zoka                                                                                                                                                                                        internal guidance concerning practice management or IOI
360   JANSSENBIO‐PL‐0000347   JANSSENBIO‐PL_2‐0000301   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                           (rzoka@its.jnj.com)                                                                                          Freddy Jimenez ^ (fjimene3@its.jnj.com)          Ramineh Zoka (rzoka@its.jnj.com)              Jon Donnelly (jdonnel1@its.jnj.com)                        7/8/2014   support.
                                                                                                                       Sue Seferian ^              Ramineh Zoka                Jon Donnelly (jdonnel1@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Ramineh Zoka
361   JANSSENBIO‐PL‐0000348   JANSSENBIO‐PL_2‐0000302   Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (sseferia@its.jnj.com)      (rzoka@its.jnj.com)         (rzoka@its.jnj.com)                                                                                                                                                                                                                                                    7/8/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) providing legal advice regarding
                                                                                                                                                                               Kristin Austin (kaustin3@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Freddy Jimenez ^                                                                                                                                                                            preparation/review of customer‐facing practice
362   JANSSENBIO‐PL‐0000349   JANSSENBIO‐PL_2‐0000303   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                           (fjimene3@its.jnj.com)                                                                                       Kristin Austin (kaustin3@cntus.jnj.com)          Tamara Scoville ^ (tscoville@reedsmith.com) Freddy Jimenez ^ (fjimene3@its.jnj.com)                     12/5/2003   management or IOI support material.

                                                                                                                       Tamara Scoville ^           Tamara Scoville ^           Kristin Austin (kaustin3@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Freddy Jimenez ^
363   JANSSENBIO‐PL‐0000350   JANSSENBIO‐PL_2‐0000304   Withheld   DOC     Suarez, Freddy Jimenez    Attorney‐Client   (tscoville@reedsmith.com)   (tscoville@reedsmith.com)   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                12/5/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 internal guidance concerning practice management or IOI
364   JANSSENBIO‐PL‐0000351   JANSSENBIO‐PL_2‐0000305   Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                         Freddy Jimenez ^ (fjimene3@its.jnj.com)          Tamara Scoville ^ (tscoville@reedsmith.com)                                                             5/16/2005   support.

365   JANSSENBIO‐PL‐0000352   JANSSENBIO‐PL_2‐0000306   Withheld   PPT     Suarez, Freddy Jimenez    Attorney‐Client                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                  5/16/2005




                                                                                                                                                                                                                                                       15
                                                         Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 17 of 201

                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       internal guidance concerning practice management or IOI
366   JANSSENBIO‐PL‐0000353   JANSSENBIO‐PL_2‐0000307   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                           Freddy Jimenez ^ (fjimene3@its.jnj.com)           Tamara Scoville ^ (tscoville@reedsmith.com)                                                              3/1/2006   support.

367   JANSSENBIO‐PL‐0000354   JANSSENBIO‐PL_2‐0000308   Withheld   doc     Suarez, Freddy Jimenez      Attorney‐Client                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                      3/1/2006

368   JANSSENBIO‐PL‐0000355   JANSSENBIO‐PL_2‐0000309   Withheld   DOC     Suarez, Freddy Jimenez      Attorney‐Client                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                      3/1/2006
                                                                                                                                                                                                                                                                                                 Daryl Todd ^ (dtodd1@its.jnj.com); Jennifer De
                                                                                                                                                                                                                                                                                                 Camara ^ (jdecamar@corus.jnj.com); Kathleen                                                                                                                           Email with attachment(s) providing information to
                                                                                                                                                                                  Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com);                  Hamill ^ (khamill@cntus.jnj.com); Kenneth Olsen                                                                                                                       counsel for the purpose of receiving legal advice
                                                                                                                                                                                  Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^          ^ (kolsen@its.jnj.com); Michael McCulley ^                                                                                                                            regarding preparation/review of internal training or
                                                                                                                                                                                  (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Kenneth Olsen ^                            (mmccull@corus.jnj.com); Stephanie Gilson ^     Jennifer De Camara ^                                                                                                  internal guidance concerning practice management or IOI
369   JANSSENBIO‐PL‐0000356   JANSSENBIO‐PL_2‐0000310   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                            (kolsen@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                        (sgilson@its.jnj.com)                           (jdecamar@corus.jnj.com)                        Freddy Jimenez ^ (fjimene3@its.jnj.com)                    1/8/2013   support.

                                                                                                                                                                                  Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com);
                                                                                                                                                                                  Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                         Anna Maria Acquaviva         Kristen Henderson ^         (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Kenneth Olsen ^
370   JANSSENBIO‐PL‐0000357   JANSSENBIO‐PL_2‐0000311   Withheld   pptx    Suarez, Freddy Jimenez      Attorney‐Client   (aacqua23@its.jnj.com)       (khenderson@akingump.com)   (kolsen@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                   1/8/2013
                                                                                                                                                                                                                                                                                                 Daryl Todd ^ (dtodd1@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                                 Jimenez ^ (fjimene3@its.jnj.com); Jennifer De
                                                                                                                                                                                                                                                                                                 Camara ^ (jdecamar@corus.jnj.com); Kathleen
                                                                                                                                                                                  Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com);                  Hamill ^ (khamill@cntus.jnj.com); Michael                                                                                                                             Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                  Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^          McCulley ^ (mmccull@corus.jnj.com); Stephanie     Jennifer De Camara ^                                                                                                preparation/review of customer‐facing practice
371                           JANSSENBIO‐PL_2‐0000312   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                            (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)          Gilson ^ (sgilson@its.jnj.com)                    (jdecamar@corus.jnj.com)                                                                               11/12/2012   management or IOI support material.



                                                                                                                         Tony DiPierno                                            Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com);
                                                                                                                         (adipierno@amerisourceberg                               Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
372                           JANSSENBIO‐PL_2‐0000313   Withheld   pdf     Suarez, Freddy Jimenez      Attorney‐Client   en.com)                                                  (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                   11/12/2012



                                                                                                                                                                                  Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com);
                                                                                                                                                                                  Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
373                           JANSSENBIO‐PL_2‐0000314   Withheld   pdf     Suarez, Freddy Jimenez      Attorney‐Client                                                            (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                   11/12/2012



                                                                                                                                                                                  Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com);
                                                                                                                                                                                  Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
374                           JANSSENBIO‐PL_2‐0000315   Withheld   pdf     Suarez, Freddy Jimenez      Attorney‐Client                                                            (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                   11/12/2012



                                                                                                                                                                                  Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com);
                                                                                                                                                                                  Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
375                           JANSSENBIO‐PL_2‐0000316   Withheld   pdf     Suarez, Freddy Jimenez      Attorney‐Client                                                            (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                   11/12/2012


                                                                                                                                                                                  Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com);
                                                                                                                                                                                  Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
376                           JANSSENBIO‐PL_2‐0000317   Withheld   pdf     Suarez, Freddy Jimenez      Attorney‐Client                                                            (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                   11/12/2012
                                                                                                                                                                                                                                                                                                 Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                                                 Todd ^ (dtodd1@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                                                 (dmeehan5@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                                                 (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                                                                 (htorell@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                  Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^            (kolsen@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                  (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^                                (mkenned3@its.jnj.com); Mark Sievers ^                                                                                                                                Email with attachment(s) providing information to
                                                                                                                                                                                  (dmeehan5@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^                                (msievers@its.jnj.com); Patricia Villani ^                                                                                                                            counsel for the purpose of receiving legal advice
                                                                                                                                                                                  (kolsen@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);         (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                                                  Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^                (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                            internal guidance concerning practice management or IOI
377   JANSSENBIO‐PL‐0000358   JANSSENBIO‐PL_2‐0000318   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                            (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)   (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)        Dirk Brinckman ^ (dbrinckm@its.jnj.com)                   8/11/2014   support.
                                                                                                                                                                                                                                                                                                 Daryl Todd ^ (dtodd1@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                                 Jimenez ^ (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                                                                 (htorell@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                  Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^            (jtheerdt@jppbe.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                  (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^                                (kolsen@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                  (dmeehan5@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^                                (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                  (kolsen@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);         (msievers@its.jnj.com); Patricia Villani ^                                                      Christopher Zalesky (czalesky@its.jnj.com); Dirk
                                                                                                                                                                                  Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^                (pvillan1@its.jnj.com); Stephanie Gilson ^                                                      Brinckman ^ (dbrinckm@its.jnj.com); Shauna Peterson ^
378   JANSSENBIO‐PL‐0000359   JANSSENBIO‐PL_2‐0000319   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                            (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)   (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)        (speter11@its.jnj.com)                                    8/11/2014




                                                                                                                                                                                  Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                  (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                  (dmeehan5@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                  (kolsen@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                         Sue Seferian ^               Deidre Meehan ^             Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^
379   JANSSENBIO‐PL‐0000360   JANSSENBIO‐PL_2‐0000320   Withheld   doc     Suarez, Freddy Jimenez      Attorney‐Client   (sseferia@its.jnj.com)       (dmeehan5@its.jnj.com)      (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                             8/11/2014




                                                                                                                                                                                  Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                  (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                  (dmeehan5@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                  (kolsen@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                                                  Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^                Deidre Meehan ^ (dmeehan5@its.jnj.com); Helen
380   JANSSENBIO‐PL‐0000361   JANSSENBIO‐PL_2‐0000321   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                            (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)   Torelli ^ (htorell@its.jnj.com)               Freddy Jimenez ^ (fjimene3@its.jnj.com)           Stephanie Gilson ^ (sgilson@its.jnj.com)                  8/11/2014




                                                                                                                                                                                  Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                  (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                  (dmeehan5@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                  (kolsen@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                         Sue Seferian ^               Freddy Jimenez ^            Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^
381   JANSSENBIO‐PL‐0000362   JANSSENBIO‐PL_2‐0000322   Withheld   doc     Suarez, Freddy Jimenez      Attorney‐Client   (sseferia@its.jnj.com)       (fjimene3@its.jnj.com)      (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                             8/11/2014




                                                                                                                                                                                  Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                  (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                  (dmeehan5@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                  (kolsen@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                         Sue Seferian ^               Deidre Meehan ^             Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^
382   JANSSENBIO‐PL‐0000363   JANSSENBIO‐PL_2‐0000323   Withheld   doc     Suarez, Freddy Jimenez      Attorney‐Client   (sseferia@its.jnj.com)       (dmeehan5@its.jnj.com)      (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                             8/11/2014
                                                                                                                                                                                                                                                                                                 Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Helen
                                                                                                                                                                                                                                                                                                 Torelli ^ (htorell@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                  Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^            (jtheerdt@jppbe.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                  (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^                                (kolsen@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                  (dmeehan5@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^                                (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                  (kolsen@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);         (msievers@its.jnj.com); Patricia Villani ^                                                      Christopher Zalesky (czalesky@its.jnj.com); Dirk
                                                                                                                                                                                  Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^                (pvillan1@its.jnj.com); Stephanie Gilson ^                                                      Brinckman ^ (dbrinckm@its.jnj.com); Shauna Peterson ^
383   JANSSENBIO‐PL‐0000364   JANSSENBIO‐PL_2‐0000324   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                            (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)   (sgilson@its.jnj.com)                               Daryl Todd ^ (dtodd1@its.jnj.com)           (speter11@its.jnj.com)                                    8/11/2014




                                                                                                                                                                                  Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                  (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                  (dmeehan5@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                  (kolsen@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                         Daryl Todd ^                 Daryl Todd ^                Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^
384   JANSSENBIO‐PL‐0000365   JANSSENBIO‐PL_2‐0000325   Withheld   doc     Suarez, Freddy Jimenez      Attorney‐Client   (dtodd1@its.jnj.com)         (dtodd1@its.jnj.com)        (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                             8/11/2014




                                                                                                                                                                                  Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                  (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                  (dmeehan5@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                  (kolsen@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                         Daryl Todd ^                 Daryl Todd ^                Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^
385   JANSSENBIO‐PL‐0000366   JANSSENBIO‐PL_2‐0000326   Withheld   doc     Suarez, Freddy Jimenez      Attorney‐Client   (dtodd1@its.jnj.com)         (dtodd1@its.jnj.com)        (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                             8/11/2014




                                                                                                                                                                                  Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                  (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                  (dmeehan5@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                  (kolsen@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                         Rika Ville                   Daryl Todd ^                Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^
386   JANSSENBIO‐PL‐0000367   JANSSENBIO‐PL_2‐0000327   Withheld   pptx    Suarez, Freddy Jimenez      Attorney‐Client   (rdeville@its.jnj.com)       (dtodd1@its.jnj.com)        (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                             8/11/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email with attachment(s) providing information to
                                                                           Schoeck, Michael; Suarez,                                                                                                                                                                                                                                                                                                                                                                   counsel for the purpose of receiving legal advice
                                                                           Freddy Jimenez; Zalesky,                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck               Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                           regarding issues relating to lawfulness of practice
387   JANSSENBIO‐PL‐0000368   JANSSENBIO‐PL_2‐0000328   Withheld   eMail   Christopher                 Attorney‐Client                                                            (mschoeck@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                             Freddy Jimenez ^ (fjimene3@its.jnj.com)           Michael Schoeck (mschoeck@its.jnj.com)        Michael Schoeck (mschoeck@its.jnj.com)                     3/8/2004   management or IOI support services.
                                                                           Schoeck, Michael; Suarez,
                                                                           Freddy Jimenez; Zalesky,                      Carol Smith                  Michael Schoeck             Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
388   JANSSENBIO‐PL‐0000369   JANSSENBIO‐PL_2‐0000329   Withheld   doc     Christopher                 Attorney‐Client   (csmith35@cntus.jnj.com)     (mschoeck@its.jnj.com)      (mschoeck@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                        3/8/2004
                                                                                                                                                                                                                                                                                                                                                                                                 Carol Smith (csmith35@cntus.jnj.com); Freddy Jimenez ^
                                                                           Cohen, Cheryl; Schoeck,                                                                                Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray                                                                                                                     (fjimene3@its.jnj.com); John Murray                                   Email with attachment(s) providing legal advice regarding
                                                                           Michael; Suarez, Freddy                                                                                (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck                                                                                                                                (jmurray6@cntus.jnj.com); Maripat Rhood                               preparation/review of internal training or internal
                                                                           Jimenez; Zalesky,                                                                                      (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky                              Cheryl Cohen (ccohen3@cntus.jnj.com); Tamara                                                    (mrhood@cntus.jnj.com); Michael Schoeck                               guidance concerning practice management or IOI
389   JANSSENBIO‐PL‐0000370   JANSSENBIO‐PL_2‐0000330   Withheld   eMail   Christopher                 Attorney‐Client                                                            (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                            Scoville ^ (tscoville@reedsmith.com)              Christopher Zalesky (czalesky@its.jnj.com)    (mschoeck@its.jnj.com)                                    7/25/2003   support.

                                                                           Cohen, Cheryl; Schoeck,                                                                                Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                           Michael; Suarez, Freddy                                                                                (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                           Jimenez; Zalesky,                             Christopher Zalesky          Christopher Zalesky         (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
390   JANSSENBIO‐PL‐0000371   JANSSENBIO‐PL_2‐0000331   Withheld   doc     Christopher                 Attorney‐Client   (czalesky@its.jnj.com)       (czalesky@its.jnj.com)      (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                      7/25/2003

                                                                           Cohen, Cheryl; Schoeck,                                                                                Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                           Michael; Suarez, Freddy                                                                                (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                           Jimenez; Zalesky,                                                          Christopher Zalesky         (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
391   JANSSENBIO‐PL‐0000372   JANSSENBIO‐PL_2‐0000332   Withheld   ppt     Christopher                 Attorney‐Client   Centocor, Inc.               (czalesky@its.jnj.com)      (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                      7/25/2003

                                                                           Cohen, Cheryl; Schoeck,                                                                                Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                           Michael; Suarez, Freddy                                                                                (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                           Jimenez; Zalesky,                                                                                      (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
392   JANSSENBIO‐PL‐0000373   JANSSENBIO‐PL_2‐0000333   Withheld           Christopher                 Attorney‐Client                                                            (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                      7/25/2003

                                                                           Cohen, Cheryl; Schoeck,                                                                                Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                           Michael; Suarez, Freddy                                                                                (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                           Jimenez; Zalesky,                             Christopher Zalesky          Christopher Zalesky         (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
393   JANSSENBIO‐PL‐0000374   JANSSENBIO‐PL_2‐0000334   Withheld           Christopher                 Attorney‐Client   (czalesky@its.jnj.com)       (czalesky@its.jnj.com)      (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                      7/25/2003




                                                                                                                                                                                                                                                              16
                                                         Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 18 of 201


                                                                           Cohen, Cheryl; Schoeck,                                                                               Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                           Michael; Suarez, Freddy                                                                               (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                           Jimenez; Zalesky,                             Christopher Zalesky         Christopher Zalesky         (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
394   JANSSENBIO‐PL‐0000375   JANSSENBIO‐PL_2‐0000335   Withheld           Christopher                 Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)      (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                    7/25/2003

                                                                           Cohen, Cheryl; Schoeck,                                                                               Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                           Michael; Suarez, Freddy                                                                               (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                           Jimenez; Zalesky,                             Bruce Kuhlik ^              Freddy Jimenez ^            (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
395   JANSSENBIO‐PL‐0000376   JANSSENBIO‐PL_2‐0000336   Withheld   doc     Christopher                 Attorney‐Client   (bkuhlik@cov.com)           (fjimene3@its.jnj.com)      (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                    7/25/2003

                                                                           Cohen, Cheryl; Schoeck,                                                                               Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                           Michael; Suarez, Freddy                                                                               (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                           Jimenez; Zalesky,                             Bruce Kuhlik ^              Freddy Jimenez ^            (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
396   JANSSENBIO‐PL‐0000377   JANSSENBIO‐PL_2‐0000337   Withheld   doc     Christopher                 Attorney‐Client   (bkuhlik@cov.com)           (fjimene3@its.jnj.com)      (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                    7/25/2003

                                                                           Cohen, Cheryl; Schoeck,                                                                               Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                           Michael; Suarez, Freddy                                                                               (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                           Jimenez; Zalesky,                                                         Christopher Zalesky         (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
397   JANSSENBIO‐PL‐0000378   JANSSENBIO‐PL_2‐0000338   Withheld   doc     Christopher                 Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)      (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                    7/25/2003



                                                                                                                                                                                                                                                                                                                                                                                            Andrew Schau ^ (aschau1@ncsusrax4.jnj.com); Eric
                                                                                                                                                                                 Joseph Braunreuther ^ (jbraunre@its.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); William Cavanaugh                                                                                                      Harris ^ (eharris@corus.jnj.com); Eugene Tillman ^
                                                                                                                                                                                 ^ (wcavana2@ncsusrax4.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Eric Harris ^                                                                                                                   (etillman@reedsmith.com); Kathy Schroeher ^
                                                                                                                                                                                 (eharris@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^                                                                                                                         (kschroe@corus.jnj.com); Mark Pollack
                                                                                                                                                                                 (fjimene3@its.jnj.com); Andrew Schau ^ (aschau1@ncsusrax4.jnj.com); Kathy Schroeher ^                                                                                                                      (mpollack@jenner.com); Sue Seferian ^
                                                                                                                                                                                 (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                     (sseferia@its.jnj.com); Taysen Van Itallie                              Email chain with attachment(s) providing legal advice
                                                                                                                                                                                 Taysen Van Itallie (tvanita@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Eugene Tillman ^     Joseph Braunreuther ^ (jbraunre@its.jnj.com);                                                 (tvanita@corus.jnj.com); Vernon Byrd ^                                  regarding preparation/review of internal training or
                                                                           Hamill, Kathleen; Suarez,                                                                             (etillman@reedsmith.com); Joseph Metro ^ (jmetro@reedsmith.com); Mark Pollack                                Joseph Metro ^ (jmetro@reedsmith.com);                                                        (vbyrd1@corus.jnj.com); William Cavanaugh ^                             internal guidance concerning practice management or IOI
398   JANSSENBIO‐PL‐0000379   JANSSENBIO‐PL_2‐0000339   Withheld   eMail   Freddy Jimenez              Attorney‐Client                                                           (mpollack@jenner.com)                                                                                        Kathleen Hamill ^ (khamill@cntus.jnj.com)        Freddy Jimenez ^ (fjimene3@its.jnj.com)      (wcavana2@ncsusrax4.jnj.com)                                4/24/2002   support.




                                                                                                                                                                                 Joseph Braunreuther ^ (jbraunre@its.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); William Cavanaugh
                                                                                                                                                                                 ^ (wcavana2@ncsusrax4.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Eric Harris ^
                                                                                                                                                                                 (eharris@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Andrew Schau ^ (aschau1@ncsusrax4.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                 (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
                                                                                                                                                                                 Taysen Van Itallie (tvanita@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Eugene Tillman ^
                                                                           Hamill, Kathleen; Suarez,                                                                             (etillman@reedsmith.com); Joseph Metro ^ (jmetro@reedsmith.com); Mark Pollack
399   JANSSENBIO‐PL‐0000380   JANSSENBIO‐PL_2‐0000340   Withheld   doc     Freddy Jimenez              Attorney‐Client   Johnson & Johnson           Johnson & Johnson           (mpollack@jenner.com)                                                                                                                                                                                                                                                  4/24/2002

                                                                                                                                                                                 Phil Crowley ^ (pcrowle@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Freddy Jimenez ^                                                                                                                                                                                   Email with attachment(s) requesting legal advice
                                                                                                                                                                                 (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon (dlyon@cntus.jnj.com);                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                 Joanne Nemeth ^ (jnemet1@corus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher                                                                                                                                                                                  internal guidance concerning practice management or IOI
400   JANSSENBIO‐PL‐0000381   JANSSENBIO‐PL_2‐0000341   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                           Zalesky (czalesky@its.jnj.com)                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com)          Phil Crowley ^ (pcrowle@corus.jnj.com)       Joanne Nemeth ^ (jnemet1@corus.jnj.com)                     11/5/2003   support.

                                                                                                                                                                                 Phil Crowley ^ (pcrowle@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon (dlyon@cntus.jnj.com);
                                                                                                                                                                                 Joanne Nemeth ^ (jnemet1@corus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher
401   JANSSENBIO‐PL‐0000382   JANSSENBIO‐PL_2‐0000342   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                           Zalesky (czalesky@its.jnj.com)                                                                               Phil Crowley ^ (pcrowle@corus.jnj.com)           Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                                  11/5/2003

                                                                                                                                                                                 Phil Crowley ^ (pcrowle@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon (dlyon@cntus.jnj.com);
                                                                                                                                                     Christopher Zalesky         Joanne Nemeth ^ (jnemet1@corus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher
402   JANSSENBIO‐PL‐0000383   JANSSENBIO‐PL_2‐0000343   Withheld   ppt     Suarez, Freddy Jimenez      Attorney‐Client   David Mackie                (czalesky@its.jnj.com)      Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                         11/5/2003

                                                                                                                                                                                 Phil Crowley ^ (pcrowle@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon (dlyon@cntus.jnj.com);
                                                                                                                                                                                 Joanne Nemeth ^ (jnemet1@corus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher
403   JANSSENBIO‐PL‐0000384   JANSSENBIO‐PL_2‐0000344   Withheld           Suarez, Freddy Jimenez      Attorney‐Client                                                           Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                         11/5/2003

                                                                                                                                                                                 Phil Crowley ^ (pcrowle@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon (dlyon@cntus.jnj.com);
                                                                                                                         Christopher Zalesky         Christopher Zalesky         Joanne Nemeth ^ (jnemet1@corus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher
404   JANSSENBIO‐PL‐0000385   JANSSENBIO‐PL_2‐0000345   Withheld   ppt     Suarez, Freddy Jimenez      Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)      Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                         11/5/2003

                                                                                                                                                                                 Phil Crowley ^ (pcrowle@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon (dlyon@cntus.jnj.com);
                                                                                                                                                                                 Joanne Nemeth ^ (jnemet1@corus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher
405   JANSSENBIO‐PL‐0000386   JANSSENBIO‐PL_2‐0000346   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                           Zalesky (czalesky@its.jnj.com)                                                                               Phil Crowley ^ (pcrowle@corus.jnj.com)           Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                                  11/5/2003

                                                                                                                                                                                 Phil Crowley ^ (pcrowle@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon (dlyon@cntus.jnj.com);
                                                                                                                                                                                 Joanne Nemeth ^ (jnemet1@corus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher
406   JANSSENBIO‐PL‐0000387   JANSSENBIO‐PL_2‐0000347   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                           Zalesky (czalesky@its.jnj.com)                                                                               David Lyon (dlyon@cntus.jnj.com)                 Tamara Scoville ^ (tscoville@reedsmith.com) Christopher Zalesky (czalesky@its.jnj.com)                   11/5/2003

                                                                                                                                                                                 Phil Crowley ^ (pcrowle@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon (dlyon@cntus.jnj.com);
                                                                                                                         Tamara Scoville ^           Tamara Scoville ^           Joanne Nemeth ^ (jnemet1@corus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher
407   JANSSENBIO‐PL‐0000388   JANSSENBIO‐PL_2‐0000348   Withheld   DOC     Suarez, Freddy Jimenez      Attorney‐Client   (tscoville@reedsmith.com)   (tscoville@reedsmith.com)   Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                         11/5/2003

                                                                                                                                                                                 Phil Crowley ^ (pcrowle@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon (dlyon@cntus.jnj.com);
                                                                                                                                                                                 Joanne Nemeth ^ (jnemet1@corus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher
408   JANSSENBIO‐PL‐0000389   JANSSENBIO‐PL_2‐0000349   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                           Zalesky (czalesky@its.jnj.com)                                                                               Phil Crowley ^ (pcrowle@corus.jnj.com)           Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                                  11/5/2003

                                                                                                                                                                                 Phil Crowley ^ (pcrowle@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon (dlyon@cntus.jnj.com);
                                                                                                                         Christopher Zalesky         John Murray                 Joanne Nemeth ^ (jnemet1@corus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher
409   JANSSENBIO‐PL‐0000390   JANSSENBIO‐PL_2‐0000350   Withheld   ppt     Suarez, Freddy Jimenez      Attorney‐Client   (czalesky@its.jnj.com)      (jmurray6@cntus.jnj.com)    Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                         11/5/2003

                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) reflecting counsel's request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    information for the purpose of providing legal advice
                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Derek Redcross (dredcros@cntus.jnj.com); Christopher Zalesky                                                                                                                                                                              regarding preparation/review of customer‐facing practice
410   JANSSENBIO‐PL‐0000391   JANSSENBIO‐PL_2‐0000351   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                           (czalesky@its.jnj.com)                                                                                       Derek Redcross (dredcros@cntus.jnj.com)          Christopher Zalesky (czalesky@its.jnj.com)                                                                9/2/2003   management or IOI support material.
                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Derek Redcross (dredcros@cntus.jnj.com); Christopher Zalesky
411   JANSSENBIO‐PL‐0000392   JANSSENBIO‐PL_2‐0000352   Withheld   ppt     Suarez, Freddy Jimenez      Attorney‐Client   Greg McLain                 Greg McLain                 (czalesky@its.jnj.com)                                                                                                                                                                                                                                                  9/2/2003
                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Derek Redcross (dredcros@cntus.jnj.com); Christopher Zalesky
412   JANSSENBIO‐PL‐0000393   JANSSENBIO‐PL_2‐0000353   Withheld   pdf     Suarez, Freddy Jimenez      Attorney‐Client                                                           (czalesky@its.jnj.com)                                                                                                                                                                                                                                                  9/2/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher                                                                                                                                                                                  regarding preparation/review of internal training or
                                                                           Suarez, Freddy Jimenez;                                                                               Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^                Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara                                                                                                                       internal guidance concerning practice management or IOI
413   JANSSENBIO‐PL‐0000394   JANSSENBIO‐PL_2‐0000354   Withheld   eMail   Zalesky, Christopher        Attorney‐Client                                                           (tscoville@reedsmith.com)                                                                                    Scoville ^ (tscoville@reedsmith.com)            Christopher Zalesky (czalesky@its.jnj.com)                                                                9/22/2003   support.

                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher
                                                                           Suarez, Freddy Jimenez;                       Tamara Scoville ^           Tamara Scoville ^           Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^
414   JANSSENBIO‐PL‐0000395   JANSSENBIO‐PL_2‐0000355   Withheld   DOC     Zalesky, Christopher        Attorney‐Client   (tscoville@reedsmith.com)   (tscoville@reedsmith.com)   (tscoville@reedsmith.com)                                                                                                                                                                                                                                              9/22/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain providing legal advice regarding
                                                                                                                                                                                                                                                                                              Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                           preparation/review of internal training or internal
                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^             Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue                                                                                                                          guidance concerning practice management or IOI
415   JANSSENBIO‐PL‐0000396   JANSSENBIO‐PL_2‐0000356   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                           (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                           Seferian ^ (sseferia@its.jnj.com)                Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                                 12/31/2003   support.

                                                                                                                                                                                                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Kathleen Hamill                Email with attachment(s) requesting legal advice
                                                                           Hamill, Kathleen; Suarez,                                                                             Christopher Zalesky (czalesky@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joseph Braunreuther                                                                                                   ^ (khamill@cntus.jnj.com); Sue Seferian ^                               regarding preparation/review of customer‐facing practice
416   JANSSENBIO‐PL‐0000397   JANSSENBIO‐PL_2‐0000357   Withheld   eMail   Freddy Jimenez              Attorney‐Client                                                           ^ (jbraunre@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)   Joseph Braunreuther ^ (jbraunre@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)   (sseferia@its.jnj.com)                                       5/3/2002   management or IOI support material.


                                                                           Hamill, Kathleen; Suarez,                                                 Christopher Zalesky         Christopher Zalesky (czalesky@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joseph Braunreuther
417   JANSSENBIO‐PL‐0000398   JANSSENBIO‐PL_2‐0000358   Withheld   doc     Freddy Jimenez              Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)      ^ (jbraunre@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)                                                                                                                                                              5/3/2002
                                                                                                                                                                                                                                                                                              Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                                              Todd ^ (dtodd1@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                                              (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Stephanie Gilson ^       (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                                                 (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^                              (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                 (mkenned3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^                              (msievers@its.jnj.com); Patricia Villani ^
                                                                                                                                                                                 (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^                             (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                             Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                 (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);      (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                            preparation/review of customer‐facing practice
418   JANSSENBIO‐PL‐0000399   JANSSENBIO‐PL_2‐0000359   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                           Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                        (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)      Jessica Empestan ^ (jempesta@its.jnj.com)                   6/26/2015   management or IOI support material.
                                                                                                                                                                                                                                                                                              Deidre Meehan ^ (dmeehan5@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                              Brinckman ^ (dbrinckm@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                              Jimenez ^ (fjimene3@its.jnj.com); Joyce ter
                                                                                                                                                                                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Stephanie Gilson ^       Heerdt ^ (jtheerdt@jppbe.jnj.com); Maria
                                                                                                                                                                                 (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^                              Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers
                                                                                                                                                                                 (mkenned3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^                              ^ (msievers@its.jnj.com); Patricia Villani ^
                                                                                                                                                                                 (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^                             (pvillan1@its.jnj.com); Shauna Peterson ^
                                                                                                                                                                                 (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);      (speter11@its.jnj.com); Stephanie Gilson ^
419   JANSSENBIO‐PL‐0000400   JANSSENBIO‐PL_2‐0000360   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                           Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                        (sgilson@its.jnj.com)                             Daryl Todd ^ (dtodd1@its.jnj.com)                                                                       6/26/2015




                                                                                                                                                                                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                 (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                 (mkenned3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                 (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                                         Daryl Todd ^                Daryl Todd ^                (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
420   JANSSENBIO‐PL‐0000401   JANSSENBIO‐PL_2‐0000361   Withheld   doc     Suarez, Freddy Jimenez      Attorney‐Client   (dtodd1@its.jnj.com)        (dtodd1@its.jnj.com)        Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                  6/26/2015
                                                                                                                                                                                                                                                                                              Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                                              Todd ^ (dtodd1@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                                              (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^          (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto                            (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                 (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^                              (msievers@its.jnj.com); Patricia Villani ^                                                                                                                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                 (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^                             (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                             preparation/review of internal training or internal
                                                                                                                                                                                 (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);      (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                            guidance concerning practice management or IOI
421   JANSSENBIO‐PL‐0000402   JANSSENBIO‐PL_2‐0000362   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                           Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                        (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                  3/23/2015   support.
                                                                                                                                                                                                                                                                                              Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                                              Todd ^ (dtodd1@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                                              (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^          (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                                                 (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto                            (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                 (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^                              (msievers@its.jnj.com); Patricia Villani ^
                                                                                                                                                                                 (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^                             (pvillan1@its.jnj.com); Shauna Peterson ^
                                                                                                                                                                                 (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);      (speter11@its.jnj.com); Stephanie Gilson ^
422   JANSSENBIO‐PL‐0000403   JANSSENBIO‐PL_2‐0000363   Withheld   eMail   Suarez, Freddy Jimenez      Attorney‐Client                                                           Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                        (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)      Terry Kerekgyarto (tkerekgy@its.jnj.com)                    3/23/2015




                                                                                                                                                                                                                                                          17
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 19 of 201


                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                                                                                           Deidre Meehan ^           Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
423   JANSSENBIO‐PL‐0000404   JANSSENBIO‐PL_2‐0000364                                                       Withheld   ppt     Suarez, Freddy Jimenez    Attorney‐Client   (dmeehan5@its.jnj.com)    (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           3/23/2015




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                                                                                           Terry Kerekgyarto         Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
424   JANSSENBIO‐PL‐0000405   JANSSENBIO‐PL_2‐0000365                                                       Withheld   docx    Suarez, Freddy Jimenez    Attorney‐Client   (tkerekgy@its.jnj.com)    (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           3/23/2015




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                                                                                           Daryl Todd ^              Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
425   JANSSENBIO‐PL‐0000406   JANSSENBIO‐PL_2‐0000366                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (dtodd1@its.jnj.com)      (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           3/23/2015




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                                                                                           Daryl Todd ^              Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
426   JANSSENBIO‐PL‐0000407   JANSSENBIO‐PL_2‐0000367                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (dtodd1@its.jnj.com)      (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           3/23/2015




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                                                                                           Sue Seferian ^            Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
427   JANSSENBIO‐PL‐0000408   JANSSENBIO‐PL_2‐0000368                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (sseferia@its.jnj.com)    (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           3/23/2015




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                                                                                           Stephanie Gilson ^        Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
428   JANSSENBIO‐PL‐0000409   JANSSENBIO‐PL_2‐0000369                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (sgilson@its.jnj.com)     (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           3/23/2015




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                                              (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
429   JANSSENBIO‐PL‐0000410   JANSSENBIO‐PL_2‐0000370                                                       Withheld   pdf     Suarez, Freddy Jimenez    Attorney‐Client                                                      Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           3/23/2015
                                                                                                                                                                                                                                                                                                                                            Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                                                                                            Todd ^ (dtodd1@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                                                                                            (dmeehan5@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                                                                                            (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                                                                                            (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^           (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto                             (mkenned3@its.jnj.com); Mark Sievers ^                                                                                                                        Email with attachment(s) providing information to
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^                               (msievers@its.jnj.com); Patricia Villani ^                                                                                                                    counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);         (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                                              Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^              (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                    internal guidance concerning practice management or IOI
430   JANSSENBIO‐PL‐0000411   JANSSENBIO‐PL_2‐0000371                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                      (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)   (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)      Ami Patel ^ (apate124@its.jnj.com)                  9/25/2015   support.




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                                                                                              Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
431   JANSSENBIO‐PL‐0000412   JANSSENBIO‐PL_2‐0000372                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                      (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)   Terry Kerekgyarto (tkerekgy@its.jnj.com)         Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                           9/25/2015




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                                           Kristen Brill             Deidre Meehan ^          Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
432   JANSSENBIO‐PL‐0000413   JANSSENBIO‐PL_2‐0000373                                                       Withheld   docx    Suarez, Freddy Jimenez    Attorney‐Client   (kbrill@its.jnj.com)      (dmeehan5@its.jnj.com)   (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                     9/25/2015




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                                                                     Deidre Meehan ^          Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
433   JANSSENBIO‐PL‐0000414   JANSSENBIO‐PL_2‐0000374                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   Johnson & Johnson         (dmeehan5@its.jnj.com)   (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                     9/25/2015




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                                           Daryl Todd ^              Deidre Meehan ^          Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
434   JANSSENBIO‐PL‐0000415   JANSSENBIO‐PL_2‐0000375                                                       Withheld   docx    Suarez, Freddy Jimenez    Attorney‐Client   (dtodd1@its.jnj.com)      (dmeehan5@its.jnj.com)   (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                     9/25/2015




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                                           Stephanie Gilson ^        Deidre Meehan ^          Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
435   JANSSENBIO‐PL‐0000416   JANSSENBIO‐PL_2‐0000376                                                       Withheld   pptx    Suarez, Freddy Jimenez    Attorney‐Client   (sgilson@its.jnj.com)     (dmeehan5@its.jnj.com)   (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                     9/25/2015




                                                                                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                              (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                                           Jill Steinberg            Ami Patel ^              Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
436   JANSSENBIO‐PL‐0000417   JANSSENBIO‐PL_2‐0000377                                                       Withheld   pptx    Suarez, Freddy Jimenez    Attorney‐Client   (jsteinb1@its.jnj.com)    (apate124@its.jnj.com)   (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                     9/25/2015

                                                                                                                                                                                                                              Joseph Braunreuther ^ (jbraunre@its.jnj.com); Frank Closurdo (fclosurd@cntus.jnj.com); Freddy Jimenez                                                                                                                                                                       Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                              ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Joseph                                                                                                               regarding preparation/review of customer‐facing practice
437   JANSSENBIO‐PL‐0000418   JANSSENBIO‐PL_2‐0000378                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                      (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                            Braunreuther ^ (jbraunre@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)    Frank Closurdo (fclosurd@cntus.jnj.com)             7/22/2003   management or IOI support material.

                                                                                                                                                                                                                              Joseph Braunreuther ^ (jbraunre@its.jnj.com); Frank Closurdo (fclosurd@cntus.jnj.com); Freddy Jimenez
                                                                                                                                                                           Heidi Carmain             Christopher Zalesky      ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky
438   JANSSENBIO‐PL‐0000419   JANSSENBIO‐PL_2‐0000379                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (hcarmain@its.jnj.com)    (czalesky@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                              7/22/2003

                                                                                                                                                                                                                                                                                                                                            Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                   Email chain with attachment(s) providing legal advice
                                                                                                                               Suarez, Freddy Jimenez;                                                                        Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^         Joseph Braunreuther ^ (jbraunre@its.jnj.com);                                                                                                                 regarding preparation/review of customer‐facing practice
439   JANSSENBIO‐PL‐0000420   JANSSENBIO‐PL_2‐0000380                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                      (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                            Sue Seferian ^ (sseferia@its.jnj.com)            Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                          4/29/2002   management or IOI support material.

                                                                                                                               Suarez, Freddy Jimenez;                                               Freddy Jimenez ^         Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^
440   JANSSENBIO‐PL‐0000421   JANSSENBIO‐PL_2‐0000381                                                       Withheld   doc     Zalesky, Christopher      Attorney‐Client   Johnson & Johnson         (fjimene3@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                              4/29/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                                              Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray                John Murray (jmurray6@cntus.jnj.com); Teresa                                                                                                                  internal guidance concerning practice management or IOI
441   JANSSENBIO‐PL‐0000422   JANSSENBIO‐PL_2‐0000382                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                      (jmurray6@cntus.jnj.com); Diane Paolucci (dpaolucc@cntus.jnj.com)                                             Giuliana (tgiulian@cntus.jnj.com)                Freddy Jimenez ^ (fjimene3@its.jnj.com)      Diane Paolucci (dpaolucc@cntus.jnj.com)             1/23/2004   support.

                                                                                                                                                                           Kanitha Burns             Freddy Jimenez ^         Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
442   JANSSENBIO‐PL‐0000423   JANSSENBIO‐PL_2‐0000383                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (kburns1@cntus.jnj.com)   (fjimene3@its.jnj.com)   (jmurray6@cntus.jnj.com); Diane Paolucci (dpaolucc@cntus.jnj.com)                                                                                                                                                                                               1/23/2004
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                                              Joseph Braunreuther ^ (jbraunre@its.jnj.com); Frank Closurdo (fclosurd@cntus.jnj.com); Freddy Jimenez         Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                   internal guidance concerning practice management or IOI
443   JANSSENBIO‐PL‐0000424   JANSSENBIO‐PL_2‐0000384                                                       Withheld   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                      ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                          Joseph Braunreuther ^ (jbraunre@its.jnj.com)     Freddy Jimenez ^ (fjimene3@its.jnj.com)      Frank Closurdo (fclosurd@cntus.jnj.com)             7/21/2003   support.

                                                                                                                                                                           Heidi Carmain             Freddy Jimenez ^         Joseph Braunreuther ^ (jbraunre@its.jnj.com); Frank Closurdo (fclosurd@cntus.jnj.com); Freddy Jimenez
444   JANSSENBIO‐PL‐0000425   JANSSENBIO‐PL_2‐0000385                                                       Withheld   doc     Suarez, Freddy Jimenez    Attorney‐Client   (hcarmain@its.jnj.com)    (fjimene3@its.jnj.com)   ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                            7/21/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) providing legal advice regarding
                                                                                                                               Suarez, Freddy Jimenez;                                                                        Joseph Braunreuther ^ (jbraunre@its.jnj.com); Frank Closurdo (fclosurd@cntus.jnj.com); Freddy Jimenez                                                                                                       Freddy Jimenez ^ (fjimene3@its.jnj.com); Joseph                 preparation/review of customer‐facing practice
445   JANSSENBIO‐PL‐0000426   JANSSENBIO‐PL_2‐0000386                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                      ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                          Frank Closurdo (fclosurd@cntus.jnj.com)          Christopher Zalesky (czalesky@its.jnj.com)   Braunreuther ^ (jbraunre@its.jnj.com)               7/24/2003   management or IOI support material.

                                                                                                                               Suarez, Freddy Jimenez;                     Heidi Carmain             Christopher Zalesky      Joseph Braunreuther ^ (jbraunre@its.jnj.com); Frank Closurdo (fclosurd@cntus.jnj.com); Freddy Jimenez
446   JANSSENBIO‐PL‐0000427   JANSSENBIO‐PL_2‐0000387                                                       Withheld   doc     Zalesky, Christopher      Attorney‐Client   (hcarmain@its.jnj.com)    (czalesky@its.jnj.com)   ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                            7/24/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                              Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Bruce A. Levy ^ (blevy@gibbonslaw.com); Bruce Levy (blevy@gibbonslaw.com);                                                                                                          Bruce Levy (blevy@gibbonslaw.com); Walter Timpone               internal guidance concerning practice management or IOI
447                                                     JANSSENBIO‐047‐00007560   JANSSENBIO‐047‐00007561   Redacted   eMail   Suarez, Freddy Jimenez    Attorney‐Client                                                      Walter Timpone (wtimpone@mdmlaw.com)                                                                          Joseph Braunreuther ^ (jbraunre@its.jnj.com)     Freddy Jimenez ^ (fjimene3@its.jnj.com)      (wtimpone@mdmlaw.com)                                3/5/2004   support.

                                                                                                                                                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Joseph                                                                                                               Email chain with attachment(s) providing legal advice
                                                                                                                               Suarez, Freddy Jimenez;                                                                        Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^         Braunreuther ^ (jbraunre@its.jnj.com); Sue                                                                                                                    regarding preparation/review of customer‐facing practice
448   JANSSENBIO‐PL‐0000428   JANSSENBIO‐PL_2‐0000388                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                      (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                            Seferian ^ (sseferia@its.jnj.com)               Christopher Zalesky (czalesky@its.jnj.com)                                                        4/30/2002   management or IOI support material.

                                                                                                                               Suarez, Freddy Jimenez;                                               Christopher Zalesky      Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^
449   JANSSENBIO‐PL‐0000429   JANSSENBIO‐PL_2‐0000389                                                       Withheld   doc     Zalesky, Christopher      Attorney‐Client   Johnson & Johnson         (czalesky@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                              4/30/2002




                                                                                                                                                                                                                                                                                                        18
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 20 of 201


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Richard (Ricky) Lewis (rlewis2@cntus.jnj.com); Brian O'Donnell                                                                                                                                                                                       internal guidance concerning practice management or IOI
450   JANSSENBIO‐PL‐0000430   JANSSENBIO‐PL_2‐0000390                                                       Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                          (bodonnel@cntus.jnj.com)                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com)           Brian O'Donnell (bodonnel@cntus.jnj.com)      Richard (Ricky) Lewis (rlewis2@cntus.jnj.com)               8/9/2006                support.
                                                                                                                                                                          John Morford                Michael Cassano            Freddy Jimenez ^ (fjimene3@its.jnj.com); Richard (Ricky) Lewis (rlewis2@cntus.jnj.com); Brian O'Donnell
451   JANSSENBIO‐PL‐0000431   JANSSENBIO‐PL_2‐0000391                                                       Withheld   ppt     Suarez, Freddy Jimenez   Attorney‐Client   (john@buckmedia.com)        (mcassano@cntus.jnj.com)   (bodonnel@cntus.jnj.com)                                                                                                                                                                                                                                              8/9/2006
                                                                                                                                                                          Jason O'Grady               Jason O'Grady              Freddy Jimenez ^ (fjimene3@its.jnj.com); Richard (Ricky) Lewis (rlewis2@cntus.jnj.com); Brian O'Donnell
452   JANSSENBIO‐PL‐0000432   JANSSENBIO‐PL_2‐0000392                                                       Withheld           Suarez, Freddy Jimenez   Attorney‐Client   (jogrady@its.jnj.com)       (jogrady@its.jnj.com)      (bodonnel@cntus.jnj.com)                                                                                                                                                                                                                                              8/9/2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                                                                                 William Craco ^ (wcraco@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Kimberly Dunne ^                                                                                                                                                                                             internal guidance concerning practice management or IOI
453   JANSSENBIO‐PL‐0000433   JANSSENBIO‐PL_2‐0000393                                                       Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                          (kdunne@sidley.com)                                                                                       Kimberly Dunne ^ (kdunne@sidley.com)              Freddy Jimenez ^ (fjimene3@its.jnj.com)       William Craco ^ (wcraco@corus.jnj.com)                     1/12/2007                support.
                                                                                                                                                                          Joseph Metro ^              Freddy Jimenez ^           William Craco ^ (wcraco@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Kimberly Dunne ^
454   JANSSENBIO‐PL‐0000434   JANSSENBIO‐PL_2‐0000394                                                       Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (jmetro@reedsmith.com)      (fjimene3@its.jnj.com)     (kdunne@sidley.com)                                                                                                                                                                                                                                                  1/12/2007
                                                                                                                                                                          Sue Seferian ^              Freddy Jimenez ^           William Craco ^ (wcraco@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Kimberly Dunne ^
455   JANSSENBIO‐PL‐0000435   JANSSENBIO‐PL_2‐0000395                                                       Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (sseferia@its.jnj.com)      (fjimene3@its.jnj.com)     (kdunne@sidley.com)                                                                                                                                                                                                                                                  1/12/2007
                                                                                                                                                                          Freddy Jimenez ^            Freddy Jimenez ^           William Craco ^ (wcraco@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Kimberly Dunne ^
456   JANSSENBIO‐PL‐0000436   JANSSENBIO‐PL_2‐0000396                                                       Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (fjimene3@its.jnj.com)      (fjimene3@its.jnj.com)     (kdunne@sidley.com)                                                                                                                                                                                                                                                  1/12/2007
                                                                                                                                                                          Sue Seferian ^              Freddy Jimenez ^           William Craco ^ (wcraco@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Kimberly Dunne ^
457   JANSSENBIO‐PL‐0000437   JANSSENBIO‐PL_2‐0000397                                                       Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (sseferia@its.jnj.com)      (fjimene3@its.jnj.com)     (kdunne@sidley.com)                                                                                                                                                                                                                                                  1/12/2007
                                                                                                                                                                          Sue Seferian ^              Freddy Jimenez ^           William Craco ^ (wcraco@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Kimberly Dunne ^
458   JANSSENBIO‐PL‐0000438   JANSSENBIO‐PL_2‐0000398                                                       Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (sseferia@its.jnj.com)      (fjimene3@its.jnj.com)     (kdunne@sidley.com)                                                                                                                                                                                                                                                  1/12/2007
                                                                                                                                                                          Sue Seferian ^              Freddy Jimenez ^           William Craco ^ (wcraco@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Kimberly Dunne ^
459   JANSSENBIO‐PL‐0000439   JANSSENBIO‐PL_2‐0000399                                                       Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (sseferia@its.jnj.com)      (fjimene3@its.jnj.com)     (kdunne@sidley.com)                                                                                                                                                                                                                                                  1/12/2007
                                                                                                                                                                                                                                                                                                                                           Janice Babia (jbabia@cntus.jnj.com); Freddy                                                                                                                                       Email chain providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                           Jimenez ^ (fjimene3@its.jnj.com); Teresa Giuliana                                                                                                                                 preparation/review of customer‐facing practice
460   JANSSENBIO‐PL‐0000221   JANSSENBIO‐PL_2‐0000400                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client   Rickles, Laurence                                                                                                                                                (tgiulian@cntus.jnj.com)                          Laurence Rickles (lrickle@corus.jnj.com)      Joseph Donahue (jdonahu9@cntus.jnj.com)                                11/20/2006 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain requesting legal advice regarding
                                                                                                                                                                          Teresa Giuliana                                                                                                                                                                                                                                                  Janice Babia (jbabia@cntus.jnj.com); Joseph Donahue                               preparation/review of customer‐facing practice
461   JANSSENBIO‐PL‐0000222   JANSSENBIO‐PL_2‐0000401                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client   (tgiulian@cntus.jnj.com)                                                                                                                                         Freddy Jimenez ^ (fjimene3@its.jnj.com)           Teresa Giuliana (tgiulian@cntus.jnj.com)      (jdonahu9@cntus.jnj.com)                                               11/15/2006 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Memorandum providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of customer‐facing practice
462                           JANSSENBIO‐PL_2‐0000402   JANSSENBIO‐032‐00000140   JANSSENBIO‐032‐00000140   Withheld           Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                                                      management or IOI support material.
                                                                                                                                                                                                                                                                                                                                           Tracey Beck‐Campbell (tbeck3@cntus.jnj.com);
                                                                                                                                                                                                                                                                                                                                           Anna Balthaser (abalthas@its.jnj.com); Teresa                                                   John Hoffman (jhoffma2@its.jnj.com); Karen Trahan                                 Email with attachment(s) requesting legal advice
                                                                                                                                                                          Michael Ziskind                                                                                                                                                  Giuliana (tgiulian@cntus.jnj.com); Jean Murray                                                  (ktrahan@its.jnj.com); Eric Toppy (etoppy@its.jnj.com);                           regarding preparation/review of customer‐facing practice
463                           JANSSENBIO‐PL_2‐0000403   JANSSENBIO‐032‐00000337   JANSSENBIO‐032‐00000337   Withheld           Janssen Biotech, Inc.    Attorney‐Client   (mziskind@cntus.jnj.com)                                                                                                                                         (jmurray3@cntus.jnj.com)                          Michael Ziskind (mziskind@cntus.jnj.com)      Thomas Felton ^ (tfelton@akingump.com)                                 12/14/2005 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Report requesting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of customer‐facing practice
464                           JANSSENBIO‐PL_2‐0000404   JANSSENBIO‐032‐00000338   JANSSENBIO‐032‐00000338   Withheld           Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                                           12/14/2005 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Report requesting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of customer‐facing practice
465                           JANSSENBIO‐PL_2‐0000405   JANSSENBIO‐032‐00000339   JANSSENBIO‐032‐00000339   Withheld           Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                                           12/14/2005 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain requesting legal advice regarding
                                                                                                                                                                          Joseph Donahue                                                                                                                                                                                                                                                                                                                                     preparation/review of customer‐facing practice
466                           JANSSENBIO‐PL_2‐0000406   JANSSENBIO‐032‐00000371   JANSSENBIO‐032‐00000371   Withheld           Janssen Biotech, Inc.    Attorney‐Client   (jdonahu9@cntus.jnj.com)                                                                                                                                         Teresa Giuliana (tgiulian@cntus.jnj.com)          Joseph Donahue (jdonahu9@cntus.jnj.com)                                                                              11/22/2006 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain providing information to counsel for the
                                                                                                                                                                                                                                                                                                                                           Laurence Rickles (lrickle@corus.jnj.com); Freddy                                                                                                                                  purpose of receiving legal advice regarding
                                                                                                                                                                          Janice Babia                                                                                                                                                     Jimenez ^ (fjimene3@its.jnj.com); Teresa Giuliana                                                                                                                                 preparation/review of customer‐facing practice
467   JANSSENBIO‐PL‐0000223   JANSSENBIO‐PL_2‐0000407                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client   (jbabia@cntus.jnj.com)                                                                                                                                           (tgiulian@cntus.jnj.com)                          Janice Babia (jbabia@cntus.jnj.com)           Joseph Donahue (jdonahu9@cntus.jnj.com)                                11/17/2006 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Report reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of customer‐facing practice
468                                                     JANSSENBIO‐032‐00000374   JANSSENBIO‐032‐00000377   Redacted           Janssen Biotech, Inc.    Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                           7/11/2007 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain providing information to counsel for the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             purpose of receiving legal advice regarding
                                                                                                                                                                          Teresa Giuliana                                                                                                                                                                                                                                                                                                                                    preparation/review of customer‐facing practice
469                           JANSSENBIO‐PL_2‐0000408   JANSSENBIO‐032‐00000378   JANSSENBIO‐032‐00000378   Withheld           Janssen Biotech, Inc.    Attorney‐Client   (tgiulian@cntus.jnj.com)                                                                                                                                         Tom Nyairo (tnyairo@cntus.jnj.com)                Teresa Giuliana (tgiulian@cntus.jnj.com)                                                                             11/16/2006 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); John                                                                                                                                    Email chain providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                           Murray (jmurray6@cntus.jnj.com); Cynthia                                                                                                                                          preparation/review of internal training or internal
                                                                                                                                                                          Tamara Scoville ^                                                                                                                                                Chamberlain (cchamber@cntus.jnj.com); Eric                                                                                                                                        guidance concerning practice management or IOI
470   JANSSENBIO‐PL‐0000224   JANSSENBIO‐PL_2‐0000409                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client   (tscoville@reedsmith.com)                                                                                                                                        Toppy (etoppy@its.jnj.com)                        Tamara Scoville ^ (tscoville@reedsmith.com)                                                                           2/22/2006 support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Report reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of customer‐facing practice
471                                                     JANSSENBIO‐032‐00000991   JANSSENBIO‐032‐00000994   Redacted           Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                                            2/11/2008 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Presentation reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of customer‐facing practice
472                                                     JANSSENBIO‐032‐00001069   JANSSENBIO‐032‐00001088   Redacted           Janssen Biotech, Inc.    Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                                     management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Presentation reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of customer‐facing practice
473                                                     JANSSENBIO‐032‐00001110   JANSSENBIO‐032‐00001130   Redacted           Janssen Biotech, Inc.    Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                                     management or IOI support material.
                                                                                                                                                                                                                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); Keith                                                                                                                                   Email chain providing legal advice regarding
                                                                                                                                                                          Freddy Jimenez ^                                                                                                                                                 Gilmer (kgilmer@cntus.jnj.com); Edmund                                                                                                                                            preparation/review of customer‐facing practice
474   JANSSENBIO‐PL‐0000225   JANSSENBIO‐PL_2‐0000410                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client   (fjimene3@its.jnj.com)                                                                                                                                           Greenidge (egreenid@its.jnj.com)                  Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                                              12/18/2007 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Presentation reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of customer‐facing practice
475   JANSSENBIO‐PL‐0000226   JANSSENBIO‐PL_2‐0000411                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                                     management or IOI support material.

                                                                                                                                                                                                                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); Keith                                                                                                                                   Email chain with attachment(s) providing legal advice
                                                                                                                                                                          Freddy Jimenez ^                                                                                                                                                 Gilmer (kgilmer@cntus.jnj.com); Edmund                                                                                                                                            regarding preparation/review of customer‐facing practice
476   JANSSENBIO‐PL‐0000227   JANSSENBIO‐PL_2‐0000412                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client   (fjimene3@its.jnj.com)                                                                                                                                           Greenidge (egreenid@its.jnj.com)                  Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                                              12/18/2007 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Presentation reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of customer‐facing practice
477   JANSSENBIO‐PL‐0000228   JANSSENBIO‐PL_2‐0000413                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                                             2/7/2008 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Presentation reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of customer‐facing practice
478   JANSSENBIO‐PL‐0000229   JANSSENBIO‐PL_2‐0000414                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                           1/31/2008 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Presentation reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of customer‐facing practice
479   JANSSENBIO‐PL‐0000230   JANSSENBIO‐PL_2‐0000415                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                                     management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Department regarding preparation/review of customer‐
480                                                     JANSSENBIO‐030‐00007626   JANSSENBIO‐030‐00007666   Redacted           Janssen Biotech, Inc.    Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                                     facing practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                           Dina Papadopoulos (CNTUS); Michael Daley (CNTUS);                                 Email communication providing legal advice regarding
                                                                                                                                                                          Sandra Shpilberg                                                                                                                                                                                                                                                 John Murray (jmurray6@cntus.jnj.com); Julie Thomas                                preparation/review of customer‐facing practice
481   JANSSENBIO‐PL‐0000231   JANSSENBIO‐PL_2‐0000416                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client   (sshpilbe@cntus.jnj.com)                                                                                                                                         Freddy Jimenez ^ (fjimene3@its.jnj.com)           Sandra Shpilberg (sshpilbe@cntus.jnj.com)     (CNTUS)                                                                  4/1/2003 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain reflecting legal advice from Freddy Jimenez ^
                                                                                                                                                                          Teresa Giuliana                                                                                                                                                  Janice Babia (jbabia@cntus.jnj.com); Andrew                                                                                                                                       regarding preparation of practice management or IOI
482   JANSSENBIO‐PL‐0000232   JANSSENBIO‐PL_2‐0000417   JANSSENBIO‐071‐00000376   JANSSENBIO‐071‐00000377   Redacted           Janssen Biotech, Inc.    Attorney‐Client   (tgiulian@cntus.jnj.com)                                                                                                                                         Parece; Justin Works                              Teresa Giuliana (tgiulian@cntus.jnj.com)                                                                              3/17/2004 support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
483   JANSSENBIO‐PL‐0000233   JANSSENBIO‐PL_2‐0000418                                                                                                                                                                                                                                                                                                                                                                                                                                                                        2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
484   JANSSENBIO‐PL‐0000234   JANSSENBIO‐PL_2‐0000419                                                                                                                                                                                                                                                                                                                                                                                                                                                                        2024

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice from Michael
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Cochran ^ regarding preparation of customer‐facing
485                                                     JANSSENBIO‐032‐00001645   JANSSENBIO‐032‐00001661   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   ConceptShare Inc.                                                                                                                                                                                                                                                                                                            1/7/2022                practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice from Christopher
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Guiton ^ regarding preparation of customer‐facing
486                                                     JANSSENBIO‐032‐00001854   JANSSENBIO‐032‐00001991   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   ConceptShare Inc.                                                                                                                                                                                                                                                                                                          12/30/2021                promotional material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Form reflecting legal advice from Christopher Guiton ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation of customer‐facing promotional
487                                                     JANSSENBIO‐032‐00001992   JANSSENBIO‐032‐00001998   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                               10/6/2015                material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Email communication reflecting legal advice from the Law
                                                                                                                                                                          Stacey Slater                                                                                                                                                                                                                                                                                                                                        Department ^ regarding patient financial assistance
488                                                     JANSSENBIO‐032‐00002008   JANSSENBIO‐032‐00002009   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   (sslater1@its.jnj.com)                                                                                                                                                                                                                                                                                                      1/20/2016                material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Department ^ regarding preparation of promotional
489                                                     JANSSENBIO‐032‐00002010   JANSSENBIO‐032‐00002051   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                               5/22/2015                material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation requesting legal advice from Christopher
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Guiton ^ regarding preparation of customer‐facing
490                                                     JANSSENBIO‐032‐00002052   JANSSENBIO‐032‐00002200   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   ConceptShare Inc.                                                                                                                                                                                                                                                                                                          12/30/2021                promotional material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Email chain requesting legal advice from Timothy English
                                                                                                                                                                          Blasine Penkowski                                                                                                                                                                                                                                                                                                                                    ^ regarding preparation of materials regarding review of
491                                                     JANSSENBIO‐032‐00001202   JANSSENBIO‐032‐00001203   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   (bpenkows@its.jnj.com)                                                                                                                                                                                                                                                                                                      3/25/2015                Remicade claims.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation requesting legal advice from Christopher
492                                                     JANSSENBIO‐032‐00001216   JANSSENBIO‐032‐00001252   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   ConceptShare Inc.                                                                                                                                                                                                                                                                                                          12/30/2021                Guiton ^ regarding preparation of promotional material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice from Christopher
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Guiton ^ regarding preparation of material regarding
493                                                     JANSSENBIO‐032‐00001289   JANSSENBIO‐032‐00001299   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   ConceptShare Inc.                                                                                                                                                                                                                                                                                                            1/7/2022                contracting.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation requesting legal advice from Christopher
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Guiton ^ and the Law Department regarding preparation
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               of customer‐facing practice management or IOI support
494                                                     JANSSENBIO‐032‐00001687   JANSSENBIO‐032‐00001724   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   ConceptShare Inc.                                                                                                                                                                                                                                                                                                            1/7/2022                material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Department ^ regarding preparation of promotional
495                                                     JANSSENBIO‐032‐00001745   JANSSENBIO‐032‐00001786   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                               5/22/2015                material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Email chain requesting and reflecting legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Michael Cochran ^ regarding preparation of customer‐
496                                                     JANSSENBIO‐032‐00001805   JANSSENBIO‐032‐00001806   Redacted   eMail   Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                    Pat Treidel (ptreidel@its.jnj.com)                Thao Marzullo (tmarzull@its.jnj.com)          Nicholas Letier (nletier@its.jnj.com)                      8/28/2015                facing practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Email chain requesting and reflecting legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Michael Cochran ^ regarding preparation of customer‐
497                                                     JANSSENBIO‐032‐00001807   JANSSENBIO‐032‐00001808   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                                1/7/2022                facing practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice from Michael
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Cochran ^ regarding preparation of customer‐facing
498                                                     JANSSENBIO‐032‐00001809   JANSSENBIO‐032‐00001834   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   ConceptShare Inc.                                                                                                                                                                                                                                                                                                            1/7/2022                practice management or IOI support material.

                                                                                                                                                                          Praveed Mullassery                                                                                                                                                                                                                                                                                                                                   Spreadsheet reflecting legal advice from Christopher
499                                                     JANSSENBIO‐032‐00001463   JANSSENBIO‐032‐00001463   Redacted   xlsx    Janssen Biotech, Inc.    Attorney‐Client   (pmullass@ITS.JNJ.com)      Windows User                                                                                                                                                                                                                                                                                   10/10/2017                Guiton ^ regarding preparation of promotional material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice from Christopher
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Guiton ^ regarding preparation of customer‐facing
500                                                     JANSSENBIO‐032‐00001475   JANSSENBIO‐032‐00001489   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   ConceptShare Inc.                                                                                                                                                                                                                                                                                                            1/7/2022                practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Form reflecting legal advice from Michael Cochran ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation of customer‐facing practice
501                                                     JANSSENBIO‐032‐00001373   JANSSENBIO‐032‐00001382   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                               12/2/2015                management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Department ^ regarding preparation of promotional
502                                                     JANSSENBIO‐032‐00001574   JANSSENBIO‐032‐00001615   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                               5/22/2015                material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Presentation reflecting legal advice from Christopher
503                                                     JANSSENBIO‐032‐00001616   JANSSENBIO‐032‐00001630   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   ConceptShare Inc.                                                                                                                                                                                                                                                                                                          12/30/2021              Guiton ^ regarding preparation of promotional material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Presentation reflecting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Department ^ regarding preparation of promotional
504                                                     JANSSENBIO‐032‐00002225   JANSSENBIO‐032‐00002266   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client                                                                                                                                                                                                                                                                                                                               5/22/2015              material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) providing legal advice regarding
                                                                                                                                                                          Joseph Metro ^                                                                                                                                                                                                                                                                                                                                     preparation/review of customer‐facing practice
505   JANSSENBIO‐PL‐0000235   JANSSENBIO‐PL_2‐0000420                                                       Withheld           Janssen Biotech, Inc.    Attorney‐Client   (jmetro@reedsmith.com)                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com)           Joseph Metro ^ (jmetro@reedsmith.com)                                                                                 8/16/2001 management or IOI support material.




                                                                                                                                                                                                                                                                                                         19
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 21 of 201


                                                                                                                                                                              Lauren Sklenar                                                                                                                                                                                                                                                                                                                        Memorandum providing legal advice from Walter
506   JANSSENBIO‐PL‐0000236   JANSSENBIO‐PL_2‐0000421                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client        (lsklenar@gibbonslaw.com)                                                                                                                                                                                                                                                                                                   7/19/2004 Timpone ^ regarding Remicade pricing.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Jimenez ^ regarding preparation of customer‐facing
507                           JANSSENBIO‐PL_2‐0000422   JANSSENBIO‐032‐00000704   JANSSENBIO‐032‐00000704   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                                          practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document requesting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department ^ regarding preparation of customer‐facing
508   JANSSENBIO‐PL‐0000237   JANSSENBIO‐PL_2‐0000423                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client                                                                                                                                                                                                                                                                                                                                                practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Jimenez ^ regarding preparation of customer‐facing
509                           JANSSENBIO‐PL_2‐0000424   JANSSENBIO‐071‐00000304   JANSSENBIO‐071‐00000334   Redacted           Janssen Biotech, Inc.   Attorney‐Client                                                                                                                                                                                                                                                                                                                                                practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Jimenez ^ regarding preparation of customer‐facing
510                           JANSSENBIO‐PL_2‐0000425   JANSSENBIO‐071‐00000372   JANSSENBIO‐071‐00000374   Redacted           Janssen Biotech, Inc.   Attorney‐Client                                                                                                                                                                                                                                                                                                                                                practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft document reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Jimenez ^ regarding preparation of customer‐facing
511                           JANSSENBIO‐PL_2‐0000426   JANSSENBIO‐032‐00000767   JANSSENBIO‐032‐00000767   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                              2/14/2006 practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft document reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Jimenez ^ regarding preparation of customer‐facing
512   JANSSENBIO‐PL‐0000238   JANSSENBIO‐PL_2‐0000427                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                              2/14/2006 practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft document reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Jimenez ^ regarding preparation of customer‐facing
513                           JANSSENBIO‐PL_2‐0000428   JANSSENBIO‐032‐00000819   JANSSENBIO‐032‐00000819   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                              2/14/2006 practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft document reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Jimenez ^ regarding preparation of customer‐facing
514                           JANSSENBIO‐PL_2‐0000429   JANSSENBIO‐032‐00000830   JANSSENBIO‐032‐00000830   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                              2/14/2006 practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft document reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Jimenez ^ regarding preparation of customer‐facing
515                           JANSSENBIO‐PL_2‐0000430   JANSSENBIO‐032‐00000867   JANSSENBIO‐032‐00000867   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                              2/14/2006 practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Jimenez ^ regarding preparation of customer‐facing
516                           JANSSENBIO‐PL_2‐0000431   JANSSENBIO‐032‐00000948   JANSSENBIO‐032‐00000948   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                                          practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Jimenez ^ regarding preparation of customer‐facing
517                           JANSSENBIO‐PL_2‐0000432   JANSSENBIO‐032‐00000954   JANSSENBIO‐032‐00000954   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                                          practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document requesting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department ^ regarding preparation of customer‐facing
518   JANSSENBIO‐PL‐0000239   JANSSENBIO‐PL_2‐0000433                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                                          practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document requesting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department ^ regarding preparation of customer‐facing
519   JANSSENBIO‐PL‐0000240   JANSSENBIO‐PL_2‐0000434                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                                          practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document requesting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department ^ regarding preparation of customer‐facing
520   JANSSENBIO‐PL‐0000241   JANSSENBIO‐PL_2‐0000435                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                                          practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document requesting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department ^ regarding preparation of customer‐facing
521   JANSSENBIO‐PL‐0000242   JANSSENBIO‐PL_2‐0000436                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                                          practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Jimenez ^ regarding preparation of customer‐facing
522   JANSSENBIO‐PL‐0000243   JANSSENBIO‐PL_2‐0000437                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                                          practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft document requesting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Department ^ regarding preparation of customer‐facing
523                           JANSSENBIO‐PL_2‐0000438   JANSSENBIO‐032‐00000961   JANSSENBIO‐032‐00000961   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                              5/23/2005 practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document requesting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department ^ regarding preparation of customer‐facing
524                           JANSSENBIO‐PL_2‐0000439   JANSSENBIO‐032‐00000964   JANSSENBIO‐032‐00000964   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                                          practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Draft document requesting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department ^ regarding preparation of customer‐facing
525                           JANSSENBIO‐PL_2‐0000440   JANSSENBIO‐032‐00000965   JANSSENBIO‐032‐00000965   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                                          practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft document requesting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Department ^ regarding preparation of customer‐facing
526                           JANSSENBIO‐PL_2‐0000441   JANSSENBIO‐032‐00000970   JANSSENBIO‐032‐00000970   Withheld           Janssen Biotech, Inc.   Attorney‐Client                                                                                                                                                                                                                                                                                                                                     2/9/2006 practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
527   JANSSENBIO‐PL‐0000244   JANSSENBIO‐PL_2‐0000442                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Presentation reflecting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Department ^ regarding issues relating to interactions or
528                           JANSSENBIO‐PL_2‐0000443   JANSSENBIO‐031‐00011132   JANSSENBIO‐031‐00011140   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                              4/13/2007 communications between ABSs and physician offices.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft document requesting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Department ^ regarding preparation of customer‐facing
529                           JANSSENBIO‐PL_2‐0000444   JANSSENBIO‐031‐00011141   JANSSENBIO‐031‐00011149   Withheld           Janssen Biotech, Inc.   Attorney‐Client        Centocor, Inc.                                                                                                                                                                                                                                                                                                              4/13/2007 practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Memorandum reflecting legal advice from Joseph Metro
                                                                                                                                                                              Craig Fraser                                                                                                                                                                                                                                                                                                                          ^ regarding communication to customers about
530   JANSSENBIO‐PL‐0000245   JANSSENBIO‐PL_2‐0000445                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client        (cfraser@cntus.jnj.com)                                                                                                                                                                                                                                                                                                     8/16/2001 Remicade pricing.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft letter reflecting legal advice from Joseph Metro ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding communication to customers about Remicade
531   JANSSENBIO‐PL‐0000246   JANSSENBIO‐PL_2‐0000446                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client                                                                                                                                                                                                                                                                                                                                    8/16/2001 pricing.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft letter reflecting legal advice from Joseph Metro ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding communication to customers about Remicade
532   JANSSENBIO‐PL‐0000247   JANSSENBIO‐PL_2‐0000447                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client                                                                                                                                                                                                                                                                                                                                    8/16/2001 pricing.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Draft letter reflecting legal advice from Joseph Metro ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding communication to customers about Remicade
533   JANSSENBIO‐PL‐0000248   JANSSENBIO‐PL_2‐0000448                                                       Withheld           Janssen Biotech, Inc.   Attorney‐Client                                                                                                                                                                                                                                                                                                                                    8/16/2001 pricing.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Presentation reflecting legal advice from the Law
534                           JANSSENBIO‐PL_2‐0000449   JANSSENBIO‐035‐00004078   JANSSENBIO‐035‐00004135   Withheld                                   Attorney‐Client                                                                                                                                                                                                                                                                                                                                    7/22/2003 Department ^ regarding patient privacy laws.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Letter requesting legal advice of Joseph Metro ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation of internal guidance concerning
535                                                     JANSSENBIO‐037‐00001003   JANSSENBIO‐037‐00001005   Redacted   pdf     Janssen Biotech, Inc.   Attorney‐Client                                                                                                                                                                                                                                                                                                                      10/31/2021              health care compliance.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Letter reflecting legal advice from Legal Department
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding issues relating to lawfulness of practice
                                                                                                                                                       Attorney‐Client;Work                                                                                                                                                                                                                                                                                                                                         management or IOI support services in connection with
536                                                     JANSSENBIO‐037‐00001365   JANSSENBIO‐037‐00001368   Redacted           Janssen Biotech, Inc.   Product                                                                                                                                                                                                                                                                                                                                           11/28/2005 litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Letter reflecting legal advice from Legal Department
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding issues relating to lawfulness of practice
                                                                                                                                                       Attorney‐Client;Work                                                                                                                                                                                                                                                                                                                                         management or IOI support services in connection with
537                                                     JANSSENBIO‐037‐00001373   JANSSENBIO‐037‐00001375   Redacted           Janssen Biotech, Inc.   Product                                                                                                                                                                                                                                                                                                                                            2/11/2005 litigation.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
538                                                     JANSSENBIO‐047‐00007255                                                                                                                                                                                                                                                                                                                                                                                                                                     2024
                                                                                                                                                                                                                                                                                                                                               Barbara Marzano (bmarzan1@cntus.jnj.com);
                                                                                                                                                                                                                                                                                                                                               Dana Griffith (dgriffi4@its.jnj.com); Gerard
                                                                                                                                                                                                                                                                                                                                               Kanczewski (gkanczew@cntus.jnj.com); Julie
                                                                                                                                                                                                                                                                                                                                               Long (jlong7@its.jnj.com); Linda Furey
                                                                                                                                                                                                                                     Susan Bennof (sbennof@cntus.jnj.com); Mark Cossu (mcossu@its.jnj.com); Linda Furey                        (lfurey@cntus.jnj.com); Linda Montgomery                                                                                                                               Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                     (lfurey@cntus.jnj.com); Dana Griffith (dgriffi4@its.jnj.com); Gerard Kanczewski                           (lmontgom@cntus.jnj.com); Mark Cossu                                                                                                                                   from Freddy Jimenez ^ regarding preparation of
                                                                                                                                                                                                                                     (gkanczew@cntus.jnj.com); Julie Long (jlong7@its.jnj.com); Barbara Marzano (bmarzan1@cntus.jnj.com);      (mcossu@its.jnj.com); Susan Bennof                Linda Montgomery                                                                                                     customer‐facing practice management or IOI support
539                                                     JANSSENBIO‐047‐00007258   JANSSENBIO‐047‐00007259   Redacted   eMail   Long, Julie             Attorney‐Client                                                               Linda Montgomery (lmontgom@cntus.jnj.com); Linda Montgomery (lmontgom@cntus.jnj.com)                      (sbennof@cntus.jnj.com)                           (lmontgom@cntus.jnj.com)                                                                    1/13/2004                material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Spreadsheet reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department regarding issues relating to interactions or
540                                                     JANSSENBIO‐047‐00007274   JANSSENBIO‐047‐00007274   Redacted   csv     Long, Julie             Attorney‐Client                                                               Robert Kell (rkell@cntus.jnj.com); Julie Long (jlong7@its.jnj.com); John Maliff (jmaliff@cntus.jnj.com)                                                                                                                                                  2/3/2006                communications between ABSs and physician offices.



                                                                                                                                                                                                                                     Michael Bardzil (mbardzil@its.jnj.com); Beth Ann Britt (BBritt@cntus.jnj.com); Kerry Charles
                                                                                                                                                                                                                                     (rcharle2@cntus.jnj.com); Jean Fioti (jfioti@cntus.jnj.com); Edward Hancock (ehancock@cntus.jnj.com);
                                                                                                                                                                                                                                     Louanne Hidalgo (lhidalgo1@cntus.jnj.com); Robert Kell (rkell@cntus.jnj.com); Julie Long                                                                                                                                                                                         Spreadsheet reflecting legal advice from Legal
                                                                                                                                                                              Susan Edwards               Susan Edwards              (jlong7@its.jnj.com); John Maliff (jmaliff@cntus.jnj.com); Michael H. Palmer (mpalmer1@cntus.jnj.com);                                                                                                                                                                           Department regarding issues relating to interactions or
541                                                     JANSSENBIO‐047‐00007278   JANSSENBIO‐047‐00007278   Redacted   xls     Long, Julie             Attorney‐Client        (sedwar12@cntus.jnj.com)    (sedwar12@cntus.jnj.com)   Cheryl Pulcini (cpulcini@cntus.jnj.com); Keith Walt (kwalt2@its.jnj.com)                                                                                                                                                                                 5/2/2006                communications between ABSs and physician offices.



                                                                                                                                                                                                                                     Susan Bennof (sbennof@cntus.jnj.com); Lisa Fermil (lfermil@its.jnj.com); Linda Furey
                                                                                                                                                                                                                                     (lfurey@cntus.jnj.com); Dana Griffith (dgriffi4@its.jnj.com); Gerard Kanczewski
                                                                                                                                                                                                                                     (gkanczew@cntus.jnj.com); Julie Long (jlong7@its.jnj.com); Linda Montgomery                                                                                                                                                                                                      Spreadsheet reflecting legal advice from Legal
                                                                                                                                                                                                                                     (lmontgom@cntus.jnj.com); Linda Montgomery (lmontgom@cntus.jnj.com); Sherri Prettyman                                                                                                                                                                                            Department regarding preparation/review of internal
                                                                                                                                                                              Linda Montgomery            Linda Montgomery           (sprettym@cntus.jnj.com); Mary Puro (mpuro@cntus.jnj.com); Caron Salkin (csalkin@cntus.jnj.com);                                                                                                                                                                                 training or internal guidance concerning practice
542                                                     JANSSENBIO‐047‐00007309   JANSSENBIO‐047‐00007309   Redacted   xls     Long, Julie             Attorney‐Client        (lmontgom@cntus.jnj.com)    (lmontgom@cntus.jnj.com)   Karen Trahan (ktrahan@its.jnj.com); Karen Williams (kwilli18@cntus.jnj.com)                                                                                                                                                                             10/4/2005                management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Spreadsheet reflecting legal advice from the Law
543                                                     JANSSENBIO‐047‐00007416   JANSSENBIO‐047‐00007416   Redacted   csv     Long, Julie             Attorney‐Client                                                                                                                                                                                                                                                                                                                        2/8/2006                Department ^ regarding contracts with customers.

                                                                                                                                                                              Susan Edwards               Susan Edwards                                                                                                                                                                                                                                                                                               Spreadsheet reflecting legal advice from the Law
544                                                     JANSSENBIO‐047‐00007417   JANSSENBIO‐047‐00007417   Redacted   xls     Long, Julie             Attorney‐Client        (sedwar12@cntus.jnj.com)    (sedwar12@cntus.jnj.com)                                                                                                                                                                                                                                                            5/2/2006                Department ^ regarding contracts with customers.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Email with attachment(s) providing legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Legal Department regarding issues relating to
                                                                                                                                                                                                                                     Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Paul Williams ^                                                                                                                                                                                          interactions or communications between ABSs and
545   JANSSENBIO‐PL‐0000441   JANSSENBIO‐PL_2‐0000450                                                       Withheld   eMail   Trahan, Karen           Attorney‐Client                                                               (pwilli13@cntus.jnj.com)                                                                                  Karen Trahan (ktrahan@its.jnj.com)                Paul Williams ^ (pwilli13@cntus.jnj.com)                                                    8/18/2005                physician offices.
                                                                                                                                                                              Donna Connelly              Kathleen Hamill ^          Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Paul Williams ^
546   JANSSENBIO‐PL‐0000442   JANSSENBIO‐PL_2‐0000451                                                       Withheld   doc     Trahan, Karen           Attorney‐Client        (dconnel2@its.jnj.com)      (khamill@cntus.jnj.com)    (pwilli13@cntus.jnj.com)                                                                                                                                                                                                                                8/18/2005



                                                                                                                                                                                                                                     Anna Balthaser (abalthas@its.jnj.com); Anna Balthaser (abalthas@its.jnj.com); Tracey Beck‐Campbell
                                                                                                                                                                                                                                     (tbeck3@cntus.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Teresa Giuliana
                                                                                                                                                                                                                                     (tgiulian@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);       Anna Balthaser (abalthas@its.jnj.com); Jean                                                  Eric Toppy (etoppy@its.jnj.com); John Hoffman
                                                                                                                                                                                                                                     Jean Murray (jmurray3@cntus.jnj.com); Eric Toppy (etoppy@its.jnj.com); Eric Toppy                         Murray (jmurray3@cntus.jnj.com); Teresa                                                      (jhoffma2@its.jnj.com); Karen Trahan                                      Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                     (etoppy@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michael     Giuliana (tgiulian@cntus.jnj.com); Tracey Beck‐                                              (ktrahan@its.jnj.com); Thomas Felton ^                                    regarding issues relating to lawfulness of practice
547   JANSSENBIO‐PL‐0000445   JANSSENBIO‐PL_2‐0000452                                                       Withheld   eMail   Trahan, Karen           Attorney‐Client                                                               Ziskind (mziskind@cntus.jnj.com); Thomas Felton ^ (tfelton@akingump.com)                                  Campbell (tbeck3@cntus.jnj.com)                   Michael Ziskind (mziskind@cntus.jnj.com)   (tfelton@akingump.com)                          12/14/2005                management or IOI support services.




                                                                                                                                                                                                                                                                                                               20
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 22 of 201


                                                                                                                                                                                                                                   Anna Balthaser (abalthas@its.jnj.com); Anna Balthaser (abalthas@its.jnj.com); Tracey Beck‐Campbell
                                                                                                                                                                                                                                   (tbeck3@cntus.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Teresa Giuliana
                                                                                                                                                                                                                                   (tgiulian@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);
                                                                                                                                                                                                                                   Jean Murray (jmurray3@cntus.jnj.com); Eric Toppy (etoppy@its.jnj.com); Eric Toppy
                                                                                                                                                                             Karen Adams                Diane Paolucci             (etoppy@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michael
548   JANSSENBIO‐PL‐0000446   JANSSENBIO‐PL_2‐0000453                                                       Withheld   doc     Trahan, Karen               Attorney‐Client   (kadams2@its.jnj.com)      (dpaolucc@cntus.jnj.com)   Ziskind (mziskind@cntus.jnj.com); Thomas Felton ^ (tfelton@akingump.com)                                                                                                                                                                                       12/14/2005



                                                                                                                                                                                                                                   Anna Balthaser (abalthas@its.jnj.com); Anna Balthaser (abalthas@its.jnj.com); Tracey Beck‐Campbell
                                                                                                                                                                                                                                   (tbeck3@cntus.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Teresa Giuliana
                                                                                                                                                                                                                                   (tgiulian@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);
                                                                                                                                                                                                                                   Jean Murray (jmurray3@cntus.jnj.com); Eric Toppy (etoppy@its.jnj.com); Eric Toppy
                                                                                                                                                                             Michael Ziskind            Michael Ziskind            (etoppy@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michael
549   JANSSENBIO‐PL‐0000447   JANSSENBIO‐PL_2‐0000454                                                       Withheld   ppt     Trahan, Karen               Attorney‐Client   (mziskind@cntus.jnj.com)   (mziskind@cntus.jnj.com)   Ziskind (mziskind@cntus.jnj.com); Thomas Felton ^ (tfelton@akingump.com)                                                                                                                                                                                       12/14/2005

                                                                                                                                                                                                                                   Anna Balthaser (abalthas@its.jnj.com); Tracey Beck‐Campbell (tbeck3@cntus.jnj.com); Thomas Felton ^          Anna Balthaser (abalthas@its.jnj.com); Jean
                                                                                                                                                                                                                                   (tfelton@akingump.com); Teresa Giuliana (tgiulian@cntus.jnj.com); John Hoffman                               Murray (jmurray3@cntus.jnj.com); Michael                                                     Eric Toppy (etoppy@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                   (jhoffma2@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);       Ziskind (mziskind@cntus.jnj.com); Teresa                                                     (fjimene3@its.jnj.com); John Hoffman                              Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                   Eric Toppy (etoppy@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michael Ziskind                         Giuliana (tgiulian@cntus.jnj.com); Tracey Beck‐                                              (jhoffma2@its.jnj.com); Karen Trahan                              regarding issues relating to lawfulness of practice
550   JANSSENBIO‐PL‐0000448   JANSSENBIO‐PL_2‐0000455                                                       Withheld   eMail   Trahan, Karen               Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                     Campbell (tbeck3@cntus.jnj.com)                   Thomas Felton ^ (tfelton@akingump.com)     (ktrahan@its.jnj.com)                                12/14/2005   management or IOI support services.

                                                                                                                                                                                                                                   Anna Balthaser (abalthas@its.jnj.com); Tracey Beck‐Campbell (tbeck3@cntus.jnj.com); Thomas Felton ^
                                                                                                                                                                                                                                   (tfelton@akingump.com); Teresa Giuliana (tgiulian@cntus.jnj.com); John Hoffman
                                                                                                                                                                                                                                   (jhoffma2@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);
                                                                                                                                                                             Michael Ziskind            Thomas Felton ^            Eric Toppy (etoppy@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michael Ziskind
551   JANSSENBIO‐PL‐0000449   JANSSENBIO‐PL_2‐0000456                                                       Withheld   ppt     Trahan, Karen               Attorney‐Client   (mziskind@cntus.jnj.com)   (tfelton@akingump.com)     (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                       12/14/2005

                                                                                                                                                                                                                                   Denelia Dunlap (ddunlap@cntus.jnj.com); Denelia Dunlap (ddunlap@cntus.jnj.com); John Hart                    Denelia Dunlap (ddunlap@cntus.jnj.com); John
                                                                                                                                                                                                                                   (jhart4@its.jnj.com); John Hart (jhart4@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Peggy            Hart (jhart4@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                   Mellody (pmellody@its.jnj.com); Blaine Squires (bsquires@cntus.jnj.com); Karen Trahan                        (ktrahan@its.jnj.com); Louis Zambelli                                                                                                                          Email chain reflecting legal advice from the Law
                                                                                                                                                                                                                                   (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com);          (lzambell@cntus.jnj.com); Peggy Mellody                                                                                                                        Department ^ regarding issues relating to lawfulness of
552                                                     JANSSENBIO‐047‐00007808   JANSSENBIO‐047‐00007809   Redacted   eMail   Trahan, Karen               Attorney‐Client                                                         Louis Zambelli (lzambell@cntus.jnj.com)                                                                      (pmellody@its.jnj.com)                            Blaine Squires (bsquires@cntus.jnj.com)                                                         10/15/2002   providing advice regarding ASCs.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice regarding issues
                                                                                                                                                                             Arlene Stephens            Kristin Austin             Kristin Austin (kaustin3@cntus.jnj.com); Kristin Austin (kaustin3@cntus.jnj.com); Karen Trahan                                                                                                                                                                              relating to lawfulness of practice management or IOI
553                                                     JANSSENBIO‐047‐00007964   JANSSENBIO‐047‐00008005   Redacted   ppt     Trahan, Karen               Attorney‐Client   (astephe4@cntus.jnj.com)   (kaustin3@cntus.jnj.com)   (ktrahan@its.jnj.com)                                                                                                                                                                                                                                          11/11/2003   support services.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice regarding issues
                                                                                                                                                                             Arlene Stephens            Kristin Austin             Kristin Austin (kaustin3@cntus.jnj.com); Kristin Austin (kaustin3@cntus.jnj.com); Karen Trahan                                                                                                                                                                              relating to lawfulness of practice management or IOI
554                                                     JANSSENBIO‐047‐00008010   JANSSENBIO‐047‐00008051   Redacted   ppt     Trahan, Karen               Attorney‐Client   (astephe4@cntus.jnj.com)   (kaustin3@cntus.jnj.com)   (ktrahan@its.jnj.com)                                                                                                                                                                                                                                          11/11/2003   support services.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Presentation reflecting legal advice regarding issues
                                                                                                                                                                             Arlene Stephens            Kristin Austin             Kristin Austin (kaustin3@cntus.jnj.com); Kristin Austin (kaustin3@cntus.jnj.com); Karen Trahan                                                                                                                                                                              relating to lawfulness of practice management or IOI
555                                                     JANSSENBIO‐047‐00008056   JANSSENBIO‐047‐00008097   Redacted   ppt     Trahan, Karen               Attorney‐Client   (astephe4@cntus.jnj.com)   (kaustin3@cntus.jnj.com)   (ktrahan@its.jnj.com)                                                                                                                                                                                                                                          11/11/2003   support services.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Memorandum providing legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Department regarding preparation/review of internal
                                                                                                                                                                             Donna Connelly             Kathleen Hamill ^                                                                                                                                                                                                                                                                                      training or internal guidance concerning practice
556   JANSSENBIO‐PL‐0000450   JANSSENBIO‐PL_2‐0000457                                                       Withheld   doc     Trahan, Karen               Attorney‐Client   (dconnel2@its.jnj.com)     (khamill@cntus.jnj.com)                                                                                                                                                                                                                                                                    8/18/2005   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Memorandum reflecting legal advice from the Law
                                                                                                                                                                                                        Karen Trahan                                                                                                                                                                                                                                                                                           Department ^ regarding preparation of internal guidance
557                                                     JANSSENBIO‐047‐00008117   JANSSENBIO‐047‐00008119   Redacted   doc     Trahan, Karen               Attorney‐Client   Centocor, Inc.             (ktrahan@its.jnj.com)                                                                                                                                                                                                                                                                      4/12/2004   concerning practice management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
558   JANSSENBIO‐PL‐0000451   JANSSENBIO‐PL_2‐0000458                                                                                                                                                                                                                                                                                                                                                                                                                                                          2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
559   JANSSENBIO‐PL‐0000452   JANSSENBIO‐PL_2‐0000459                                                                                                                                                                                                                                                                                                                                                                                                                                                          2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
560   JANSSENBIO‐PL‐0000453   JANSSENBIO‐PL_2‐0000460                                                                                                                                                                                                                                                                                                                                                                                                                                                          2024

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Legal Department regarding preparation/review of
                                                                                                                                                                                                                                   Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Paul Williams ^                                                                                                                                                                                     internal training or internal guidance concerning practice
561                           JANSSENBIO‐PL_2‐0000461   JANSSENBIO‐041‐00007273   JANSSENBIO‐041‐00007273   Withheld   eMail   Trahan, Karen               Attorney‐Client                                                         (pwilli13@cntus.jnj.com)                                                                                     Karen Trahan (ktrahan@its.jnj.com)                Paul Williams ^ (pwilli13@cntus.jnj.com)                                                         8/18/2005   management or IOI support.
                                                                                                                                                                             Donna Connelly             Kathleen Hamill ^          Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Paul Williams ^
562                           JANSSENBIO‐PL_2‐0000462   JANSSENBIO‐041‐00007274   JANSSENBIO‐041‐00007274   Withheld   doc     Trahan, Karen               Attorney‐Client   (dconnel2@its.jnj.com)     (khamill@cntus.jnj.com)    (pwilli13@cntus.jnj.com)                                                                                                                                                                                                                                        8/18/2005

                                                                                                                                                                                                                                   Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Randy McGonigal
                                                                                                                                                                                                                                   (rmcgonig@cntus.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Peggy Mellody
                                                                                                                                                                                                                                   (pmellody@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); William Pettit (wpettitj@cntus.jnj.com);    Cheryl Cohen (ccohen3@cntus.jnj.com); Karen                                                                                                                    Email chain with attachment(s) requesting legal advice
                                                                                                                               Cohen, Cheryl; Trahan,                                                                              Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michael Ziskind                      Trahan (ktrahan@its.jnj.com); William Pettit                                                                                                                   from Akin Gump ^ regarding preparation of practice
563                                                     JANSSENBIO‐071‐00000731   JANSSENBIO‐071‐00000733   Redacted   eMail   Karen                       Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                     (wpettitj@cntus.jnj.com)                          Karen Trahan (ktrahan@its.jnj.com)         Peggy Mellody (pmellody@its.jnj.com)                   3/4/2005   management or IOI support material.




                                                                                                                                                                                                                                   Steve Bail (sbail@cntus.jnj.com); Michael Bassick (mbassick@cntus.jnj.com); Catherine Beath
                                                                                                                                                                                                                                   (cbeath@its.jnj.com); Craig Fraser (cfraser@cntus.jnj.com); Rizza Hermosisima (rhermosi@cntus.jnj.com);
                                                                                                                                                                                                                                   Kelley Jewett (kjewett@cntus.jnj.com); Matthew Koch (mkoch2@its.jnj.com); Cheryl Kramer
                                                                                                                                                                                                                                   (ckramer4@cntus.jnj.com); Fred McMahon (fmcmaho1@cntus.jnj.com; Kymber Murphy
                                                                                                                                                                                                                                   (kmurphy7@cntus.jnj.com); Bob Nelson (bnelson3@cntus.jnj.com); Sandra Shpilberg                                                                                                                                                                                             Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                        Karen Trahan               (sshpilbe@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com);                                                                                                                                                                      Department regarding preparation/review of customer‐
564                                                     JANSSENBIO‐047‐00008505   JANSSENBIO‐047‐00008507   Redacted   doc     Trahan, Karen               Attorney‐Client   Centocor, Inc.             (ktrahan@its.jnj.com)      Stephen Kirton (stephen.kirton@nethod‐euro.com)                                                                                                                                                                                                                 9/19/2002   facing practice management or IOI support material.




                                                                                                                                                                                                                                   Steve Bail (sbail@cntus.jnj.com); Michael Bassick (mbassick@cntus.jnj.com); Catherine Beath
                                                                                                                                                                                                                                   (cbeath@its.jnj.com); Craig Fraser (cfraser@cntus.jnj.com); Rizza Hermosisima (rhermosi@cntus.jnj.com);
                                                                                                                                                                                                                                   Kelley Jewett (kjewett@cntus.jnj.com); Matthew Koch (mkoch2@its.jnj.com); Cheryl Kramer
                                                                                                                                                                                                                                   (ckramer4@cntus.jnj.com); Fred McMahon (fmcmaho1@cntus.jnj.com; Fred McMahon
                                                                                                                                                                                                                                   (fmcmaho1@cntus.jnj.com; Frederic Cole Mcmahon (fmcmaho1@cntus.jnj.com); Kymber Murphy
                                                                                                                                                                                                                                   (kmurphy7@cntus.jnj.com); Bob Nelson (bnelson3@cntus.jnj.com); Sandra Shpilberg                                                                                                                                                                                             Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                                                   (sshpilbe@cntus.jnj.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); Karen Trahan                                                                                                                                                                                           Department regarding preparation/review of internal
                                                                                                                                                                                                        Karen Trahan               (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com);                                                                                                                                                                         training or internal guidance concerning practice
565                                                     JANSSENBIO‐047‐00008509   JANSSENBIO‐047‐00008511   Redacted   doc     Trahan, Karen               Attorney‐Client   Centocor, Inc.             (ktrahan@its.jnj.com)      Stephen Kirton (stephen.kirton@nethod‐euro.com)                                                                                                                                                                                                                 9/19/2002   management or IOI support.

                                                                                                                                                                                                                                   Janice Babia (jbabia@cntus.jnj.com); Michael Cassano (mcassano@cntus.jnj.com); Cheryl Cohen                  Ken Gillmer (kgillme1@its.jnj.com); Michael
                                                                                                                                                                                                                                   (ccohen3@cntus.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); Randy McGonigal                                 Cassano (mcassano@cntus.jnj.com); Randy                                                      Cheryl Cohen (ccohen3@cntus.jnj.com); Karen Trahan                Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                   (rmcgonig@cntus.jnj.com); Tom Nyairo (tnyairo@cntus.jnj.com); William Pettit (wpettitj@cntus.jnj.com);       McGonigal (rmcgonig@cntus.jnj.com); Tom                                                      (ktrahan@its.jnj.com); William Pettit                             Freddy Jimenez ^ regarding preparation of customer‐
566                                                     JANSSENBIO‐047‐00008563   JANSSENBIO‐047‐00008563   Redacted   eMail   Trahan, Karen               Attorney‐Client                                                         Karen Trahan (ktrahan@its.jnj.com)                                                                           Nyairo (tnyairo@cntus.jnj.com)                    Janice Babia (jbabia@cntus.jnj.com)        (wpettitj@cntus.jnj.com)                              4/11/2006   facing practice management or IOI support material.



                                                                                                                                                                                                                                   Anna Balthaser (abalthas@its.jnj.com); Anna Balthaser (abalthas@its.jnj.com); Tracey Beck‐Campbell
                                                                                                                                                                                                                                   (tbeck3@cntus.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Teresa Giuliana
                                                                                                                                                                                                                                   (tgiulian@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);          Anna Balthaser (abalthas@its.jnj.com); Jean                                                  Eric Toppy (etoppy@its.jnj.com); John Hoffman
                                                                                                                                                                                                                                   Jean Murray (jmurray3@cntus.jnj.com); Eric Toppy (etoppy@its.jnj.com); Eric Toppy                            Murray (jmurray3@cntus.jnj.com); Teresa                                                      (jhoffma2@its.jnj.com); Karen Trahan                              Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                   (etoppy@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michael        Giuliana (tgiulian@cntus.jnj.com); Tracey Beck‐                                              (ktrahan@its.jnj.com); Thomas Felton ^                            regarding issues relating to lawfulness of practice
567   JANSSENBIO‐PL‐0000458   JANSSENBIO‐PL_2‐0000463                                                       Withheld   eMail   Trahan, Karen               Attorney‐Client                                                         Ziskind (mziskind@cntus.jnj.com); Thomas Felton ^ (tfelton@akingump.com)                                     Campbell (tbeck3@cntus.jnj.com)                   Michael Ziskind (mziskind@cntus.jnj.com)   (tfelton@akingump.com)                               12/14/2005   management or IOI support services.



                                                                                                                                                                                                                                   Anna Balthaser (abalthas@its.jnj.com); Anna Balthaser (abalthas@its.jnj.com); Tracey Beck‐Campbell
                                                                                                                                                                                                                                   (tbeck3@cntus.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Teresa Giuliana
                                                                                                                                                                                                                                   (tgiulian@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);
                                                                                                                                                                                                                                   Jean Murray (jmurray3@cntus.jnj.com); Eric Toppy (etoppy@its.jnj.com); Eric Toppy
                                                                                                                                                                             Karen Adams                Diane Paolucci             (etoppy@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michael
568   JANSSENBIO‐PL‐0000459   JANSSENBIO‐PL_2‐0000464                                                       Withheld   doc     Trahan, Karen               Attorney‐Client   (kadams2@its.jnj.com)      (dpaolucc@cntus.jnj.com)   Ziskind (mziskind@cntus.jnj.com); Thomas Felton ^ (tfelton@akingump.com)                                                                                                                                                                                       12/14/2005



                                                                                                                                                                                                                                   Anna Balthaser (abalthas@its.jnj.com); Anna Balthaser (abalthas@its.jnj.com); Tracey Beck‐Campbell
                                                                                                                                                                                                                                   (tbeck3@cntus.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Teresa Giuliana
                                                                                                                                                                                                                                   (tgiulian@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);
                                                                                                                                                                                                                                   Jean Murray (jmurray3@cntus.jnj.com); Eric Toppy (etoppy@its.jnj.com); Eric Toppy
                                                                                                                                                                             Michael Ziskind            Michael Ziskind            (etoppy@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michael
569   JANSSENBIO‐PL‐0000460   JANSSENBIO‐PL_2‐0000465                                                       Withheld   ppt     Trahan, Karen               Attorney‐Client   (mziskind@cntus.jnj.com)   (mziskind@cntus.jnj.com)   Ziskind (mziskind@cntus.jnj.com); Thomas Felton ^ (tfelton@akingump.com)                                                                                                                                                                                       12/14/2005

                                                                                                                                                                                                                                   Denelia Dunlap (ddunlap@cntus.jnj.com); Denelia Dunlap (ddunlap@cntus.jnj.com); John Hart                    Denelia Dunlap (ddunlap@cntus.jnj.com); John
                                                                                                                                                                                                                                   (jhart4@its.jnj.com); John Hart (jhart4@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Peggy            Hart (jhart4@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                   Mellody (pmellody@its.jnj.com); Blaine Squires (bsquires@cntus.jnj.com); Karen Trahan                        (ktrahan@its.jnj.com); Louis Zambelli                                                                                                                          Email chain reflecting legal advice from the Law
                                                                                                                                                                                                                                   (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com);          (lzambell@cntus.jnj.com); Peggy Mellody                                                                                                                        Department ^ regarding issues relating to lawfulness of
570                                                     JANSSENBIO‐047‐00008668   JANSSENBIO‐047‐00008669   Redacted   eMail   Trahan, Karen               Attorney‐Client                                                         Louis Zambelli (lzambell@cntus.jnj.com)                                                                      (pmellody@its.jnj.com)                            Blaine Squires (bsquires@cntus.jnj.com)                                                         10/15/2002   providing advice regarding ASCs.

                                                                                                                                                                                                                                   Janice Babia (jbabia@cntus.jnj.com); Michael Cassano (mcassano@cntus.jnj.com); Cheryl Cohen                  Janice Babia (jbabia@cntus.jnj.com); Michael                                                                                                                   Email chain reflecting legal advice from Freddy Jimenez ^
                                                                                                                                                                                                                                   (ccohen3@cntus.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); William Pettit                            Cassano (mcassano@cntus.jnj.com); Randy                                                      Karen Trahan (ktrahan@its.jnj.com); William Pettit                regarding preparation of practice management or IOI
571                                                     JANSSENBIO‐047‐00008670   JANSSENBIO‐047‐00008670   Redacted   eMail   Trahan, Karen               Attorney‐Client                                                         (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                                 McGonigal (rmcgonig@cntus.jnj.com)                Cheryl Cohen (ccohen3@cntus.jnj.com)       (wpettitj@cntus.jnj.com)                               4/5/2006   support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
572                                                     JANSSENBIO‐047‐00008671                                                                                                                                                                                                                                                                                                                                                                                                                                2024


                                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                                   (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                           Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                                   Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                       house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                   (mheckman@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                               Cornely, Thomas; Knepp Jr.,                   Thomas Cornely             Thomas Cornely             Smith (bsmith32@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com);                                                                                                                                                                   guidance concerning practice management or IOI
573                                                     JANSSENBIO‐047‐00000215   JANSSENBIO‐047‐00000215   Redacted   xlsx    James; Wright, David        Attorney‐Client   (tcornel@its.jnj.com)      (tcornel@its.jnj.com)      Angela Wood (awood6@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                                            10/8/2014   support.




                                                                                                                                                                                                                                   Heather Berardi (hberardi@its.jnj.com); Carrie Bond (cbond2@its.jnj.com); Mary Bradley
                                                                                                                                                                                                                                   (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer
                                                                                                                                                                                                                                   (tbrintz2@its.jnj.com); James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Sujata
                                                                                                                                                                                                                                   Dayal (sdayal@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Nancy Dougherty
                                                                                                                                                                                                                                   (ndoughe@its.jnj.com); Michael Driscoll (mdrisco1@its.jnj.com); Nicole Duncan (nduncan7@its.jnj.com);
                                                                                                                                                                                                                                   Anna Estrellas (aestrellas@its.jnj.com); Sheila Faella (sfaella@its.jnj.com); Gina Giordano
                                                                                                                                                                                                                                   (ggiordan@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary
                                                                                                                                                                                                                                   Graham (mgraham1@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                                                   (tgrimes@its.jnj.com); Aimee Hawkins (ahawkin1@its.jnj.com); Jia Huey Huey (jhuey@its.jnj.com);
                                                                                                                                                                                                                                   Catherine Kaucher (ckauche1@its.jnj.com); Mohammed Khashab (mkhashab@its.jnj.com); James Knepp
                                                                                                                                                                                                                                   (jknepp5@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Irma Marino (imarino1@its.jnj.com); Emmy
                                                                                                                                                                                                                                   Martens (emarten1@its.jnj.com); Upasana Marwah (umarwah2@its.jnj.com); Chris Matteson
                                                                                                                                                                                                                                   (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Roxanne McGregor‐Beck
                                                                                                                                                                                                                                   (rmcgrego@its.jnj.com); Alexander Nierstrasz (anierstr@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);
                                                                                                                                                                                                                                   Sheetal Patel (spate120@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Kathryn Roberts
                                                                                                                               Cornely, Thomas; Giordano,                                                                          (krober10@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Hira
                                                                                                                               Gina; Knepp Jr., James;                                                                             Shah (hshah21@its.jnj.com); Dorothy Sokolowski (dsokolo@its.jnj.com); Paul Subacius                                                                                                                                                                                         Presentation reflecting legal advice and requests for legal
                                                                                                                               Parsons, Erin; Walls,                         Angela Wood                Heather Berardi            (psubaciu@its.jnj.com); Kelly Talley (ktalley6@tibus.jnj.com); Michelle Turk (mturk@its.jnj.com); Michelle                                                                                                                                                                  advice from the Law Department ^ and outside counsel
574                                                     JANSSENBIO‐047‐00001327   JANSSENBIO‐047‐00001421   Redacted   pptx    Michelle                   Attorney‐Client    (awood6@its.jnj.com)       (hberardi@its.jnj.com)     Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Lee Wolf (lwolf@its.jnj.com)                                                                                                                                                                       10/8/2015   regarding issues relating to promotional activities.




                                                                                                                                                                                                                                                                                                             21
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 23 of 201


                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                                       (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                                                                                Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                                       Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                                                                            house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                       (mheckman@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian                                                                                                                                                                                                                              preparation/review of internal training or internal
                                                                                                                               Cornely, Thomas; Knepp Jr.,                   Thomas Cornely           Thomas Cornely                   Smith (bsmith32@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com);                                                                                                                                                                                                                        guidance concerning practice management or IOI
575                                                     JANSSENBIO‐047‐00001445   JANSSENBIO‐047‐00001445   Redacted   xlsx    James; Wright, David        Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)            Angela Wood (awood6@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                                                  7/7/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                Catherine Sicari ^ (csicari@its.jnj.com); James
                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Matthew Hales                                                          Knepp (jknepp5@its.jnj.com); Matthew Hales                                                                                                                              Email chain with attachment(s) providing legal advice
                                                                                                                               Cornely, Thomas; Knepp Jr.,                                                                             (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James Knepp (jknepp5@its.jnj.com);                                                             (mhales2@its.jnj.com); Thomas Cornely                                                                                                                                   regarding preparation/review of customer‐facing practice
576   JANSSENBIO‐PL‐0000461   JANSSENBIO‐PL_2‐0000466                                                       Withheld   eMail   James                       Attorney‐Client                                                             Catherine Sicari ^ (csicari@its.jnj.com)                                                                                                                 (tcornel@its.jnj.com)                               Christopher Guiton ^ (cguiton@its.jnj.com)                                                             10/22/2014   management or IOI support material.

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Matthew Hales
                                                                                                                               Cornely, Thomas; Knepp Jr.,                   Anna Maria Acquaviva     James Knepp                      (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
577   JANSSENBIO‐PL‐0000462   JANSSENBIO‐PL_2‐0000467                                                       Withheld   pptx    James                       Attorney‐Client   (aacqua23@its.jnj.com)   (jknepp5@its.jnj.com)            Catherine Sicari ^ (csicari@its.jnj.com)                                                                                                                                                                                                                                                                            10/22/2014

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri                                                                                                                                                                      David Fabbri (dfabbri@its.jnj.com); Elizabeth Lawless                Email with attachment(s) requesting legal advice
                                                                                                                               Cornely, Thomas; Fabbri,                                                                                (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);                                                    Christopher Guiton ^ (cguiton@its.jnj.com);                                                        (elawless@its.jnj.com); James Knepp                                  regarding preparation/review of internal training or
                                                                                                                               David; Guiton, Christopher;                                                                             Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts                                                          Kathryn Roberts (krober10@its.jnj.com); Thomas                                                     (jknepp5@its.jnj.com); Paul Duncan                                   internal guidance concerning practice management or IOI
578                           JANSSENBIO‐PL_2‐0000468                                                       Withheld   eMail   Knepp Jr., James            Attorney‐Client                                                             (krober10@its.jnj.com)                                                                                                                                   Cornely (tcornel@its.jnj.com)                  Thao Marzullo (tmarzull@its.jnj.com)                (pduncan9@its.jnj.com)                                   8/20/2015   support.

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                               Cornely, Thomas; Fabbri,                                                                                (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                               David; Guiton, Christopher;                   Thao Marzullo            Thao Marzullo                    Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
579                           JANSSENBIO‐PL_2‐0000469                                                       Withheld   docx    Knepp Jr., James            Attorney‐Client   (tmarzull@its.jnj.com)   (tmarzull@its.jnj.com)           (krober10@its.jnj.com)                                                                                                                                                                                                                                                                                               8/20/2015

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                               Cornely, Thomas; Fabbri,                                                                                (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                               David; Guiton, Christopher;                   James Knepp              Thao Marzullo                    Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
580                           JANSSENBIO‐PL_2‐0000470                                                       Withheld   docx    Knepp Jr., James            Attorney‐Client   (jknepp5@its.jnj.com)    (tmarzull@its.jnj.com)           (krober10@its.jnj.com)                                                                                                                                                                                                                                                                                               8/20/2015

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                               Cornely, Thomas; Fabbri,                                                                                (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                               David; Guiton, Christopher;                                                                             Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
581                           JANSSENBIO‐PL_2‐0000471                                                       Withheld   pdf     Knepp Jr., James            Attorney‐Client   Megan Juskowiak                                           (krober10@its.jnj.com)                                                                                                                                                                                                                                                                                               8/20/2015

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                               Cornely, Thomas; Fabbri,                                                                                (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                               David; Guiton, Christopher;                                                                             Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
582                           JANSSENBIO‐PL_2‐0000472                                                       Withheld   pdf     Knepp Jr., James            Attorney‐Client   Bill Van Cleaf                                            (krober10@its.jnj.com)                                                                                                                                                                                                                                                                                               8/20/2015

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                               Cornely, Thomas; Fabbri,                                                                                (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                               David; Guiton, Christopher;                                                                             Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
583                           JANSSENBIO‐PL_2‐0000473                                                       Withheld   pdf     Knepp Jr., James            Attorney‐Client                                                             (krober10@its.jnj.com)                                                                                                                                                                                                                                                                                               8/20/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Memorandum reflecting legal advice from Legal
                                                                                                                                                                             Catherine Kaucher        Karen Kung                                                                                                                                                                                                                                                                                                                                                        Department regarding issues relating to lawfulness of
584                                                     JANSSENBIO‐047‐00003290   JANSSENBIO‐047‐00003290   Redacted   docx    Knepp Jr., James            Attorney‐Client   (ckauche1@its.jnj.com)   (kkung@its.jnj.com)                                                                                                                                                                                                                                                                                                                                   8/20/2013   practice management or IOI support services.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Memorandum reflecting legal advice from Legal
                                                                                                                                                                             Catherine Kaucher        Karen Kung                                                                                                                                                                                                                                                                                                                                                        Department regarding issues relating to lawfulness of
585                                                     JANSSENBIO‐047‐00003292   JANSSENBIO‐047‐00003292   Redacted   docx    Knepp Jr., James            Attorney‐Client   (ckauche1@its.jnj.com)   (kkung@its.jnj.com)                                                                                                                                                                                                                                                                                                                                   8/20/2013   practice management or IOI support services.




                                                                                                                                                                                                                                       Heather Berardi (hberardi@its.jnj.com); Carrie Bond (cbond2@its.jnj.com); Mary Bradley
                                                                                                                                                                                                                                       (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer
                                                                                                                                                                                                                                       (tbrintz2@its.jnj.com); James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Sujata
                                                                                                                                                                                                                                       Dayal (sdayal@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Nancy Dougherty
                                                                                                                                                                                                                                       (ndoughe@its.jnj.com); Michael Driscoll (mdrisco1@its.jnj.com); Nicole Duncan (nduncan7@its.jnj.com);
                                                                                                                                                                                                                                       Anna Estrellas (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gina Giordano
                                                                                                                                                                                                                                       (ggiordan@its.jnj.com); Samantha Giraud (sgiraud3@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com);
                                                                                                                                                                                                                                       Avis Goode (agoode@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Karen Green
                                                                                                                                                                                                                                       (kgreen4@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Aimee Hawkins (ahawkin1@its.jnj.com); Jia
                                                                                                                                                                                                                                       Huey Huey (jhuey@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); Mohammed Khashab
                                                                                                                                                                                                                                       (mkhashab@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Alice Lex (alex@its.jnj.com); Vera Makar
                                                                                                                                                                                                                                       (vmakar1@its.jnj.com); Irma Marino (imarino1@its.jnj.com); Emmy Martens (emarten1@its.jnj.com);
                                                                                                                                                                                                                                       Upasana Marwah (umarwah2@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
                                                                                                                                                                                                                                       (pmcarth1@its.jnj.com); Roxanne McGregor‐Beck (rmcgrego@its.jnj.com); Alexander Nierstrasz
                                                                                                                                                                                                                                       (anierstr@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Sheetal Patel (spate120@its.jnj.com); Polina
                                                                                                                                                                                                                                       Pomerants (ppomera@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Kathryn Roberts
                                                                                                                                                                                                                                       (krober10@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Michele Scott (mscott12@its.jnj.com);
                                                                                                                                                                                                                                       Sue Seferian ^ (sseferia@its.jnj.com); Hira Shah (hshah21@its.jnj.com); Dorothy Sokolowski
                                                                                                                                                                                                                                       (dsokolo@its.jnj.com); Paul Subacius (psubaciu@its.jnj.com); Kelly Talley (ktalley6@tibus.jnj.com); Craig
                                                                                                                                                                                                                                       Thomason (cthoma51@its.jnj.com); Michelle Turk (mturk@its.jnj.com); Michelle Walls                                                                                                                                                                                                                                               Presentation reflecting legal advice and requests for legal
                                                                                                                                                                             Angela Wood              Tammy Brintzinghoffer            (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Lee Wolf (lwolf@its.jnj.com); Denise Zamorsky                                                                                                                                                                                                                             advice from the Law Department ^ and outside counsel
586                                                     JANSSENBIO‐047‐00004085   JANSSENBIO‐047‐00004180   Redacted   pptx    Knepp Jr., James            Attorney‐Client   (awood6@its.jnj.com)     (tbrintz2@its.jnj.com)           (dzamorsky@its.jnj.com)                                                                                                                                                                                                                                                                                              10/2/2015   regarding issues relating to promotional activities.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) reflecting legal advice from
587   JANSSENBIO‐PL‐0000463   JANSSENBIO‐PL_2‐0000474                                                       Withheld   eMail   Knepp Jr., James            Attorney‐Client                                                             James Knepp (jknepp5@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com)                                                                                  James Knepp (jknepp5@its.jnj.com)                   Ellen Perucki (eperucki@its.jnj.com)                                                                    1/16/2013   Kathleen Hamill ^ regarding IOI support presentation.
                                                                                                                                                                             Doug Kennedy
588   JANSSENBIO‐PL‐0000464   JANSSENBIO‐PL_2‐0000475                                                       Withheld   pdf     Knepp Jr., James            Attorney‐Client   (dkenned6@its.jnj.com)                                    James Knepp (jknepp5@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com)                                                                                                                                                                                                                                              1/16/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                                                       John Franz (jfranz@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); James Knepp                                                                                                                                                                     Fizza Suri (fsuri@its.jnj.com); John Franz                           internal guidance concerning practice management or IOI
589   JANSSENBIO‐PL‐0000465   JANSSENBIO‐PL_2‐0000476                                                       Withheld   eMail   Knepp Jr., James            Attorney‐Client                                                             (jknepp5@its.jnj.com); Fizza Suri (fsuri@its.jnj.com)                                                                                                    Kathleen Hamill ^ (khamill@cntus.jnj.com)           James Knepp (jknepp5@its.jnj.com)              (jfranz@its.jnj.com)                                      1/3/2013   support.
                                                                                                                                                                             Anna Maria Acquaviva     James Knepp                      John Franz (jfranz@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); James Knepp
590   JANSSENBIO‐PL‐0000466   JANSSENBIO‐PL_2‐0000477                                                       Withheld   pptx    Knepp Jr., James            Attorney‐Client   (aacqua23@its.jnj.com)   (jknepp5@its.jnj.com)            (jknepp5@its.jnj.com); Fizza Suri (fsuri@its.jnj.com)                                                                                                                                                                                                                                                                 1/3/2013
                                                                                                                                                                                                                                                                                                                                              Catherine Sicari ^ (csicari@its.jnj.com); Fizza
                                                                                                                                                                                                                                       John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Suri (fsuri@its.jnj.com); James Knepp           Fizza Suri (fsuri@its.jnj.com); John Franz                                                                                                                                Email with attachment(s) reflecting legal advice from
591   JANSSENBIO‐PL‐0000467   JANSSENBIO‐PL_2‐0000478                                                       Withheld   eMail   Knepp Jr., James            Attorney‐Client                                                             Fizza Suri (fsuri@its.jnj.com)                                                                         (jknepp5@its.jnj.com); John Franz               (jfranz@its.jnj.com)                                  James Knepp (jknepp5@its.jnj.com)                                                                       1/17/2013   Catherine Sicari ^ regarding IOI support presentation.
                                                                                                                                                                             Anna Maria Acquaviva     James Knepp                      John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
592   JANSSENBIO‐PL‐0000468   JANSSENBIO‐PL_2‐0000479                                                       Withheld   pptx    Knepp Jr., James            Attorney‐Client   (aacqua23@its.jnj.com)   (jknepp5@its.jnj.com)            Fizza Suri (fsuri@its.jnj.com)                                                                                                                                                                                                                                                                                       1/17/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
593   JANSSENBIO‐PL‐0000469   JANSSENBIO‐PL_2‐0000480                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
594   JANSSENBIO‐PL‐0000470   JANSSENBIO‐PL_2‐0000481                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                                                                                                                                                                                                                                                                   Catherine Sicari ^ (csicari@its.jnj.com); Fizza
                                                                                                                                                                                                                                                                                                                                                   Suri (fsuri@its.jnj.com); John Franz                                                                                                                                                                                 Email with attachment(s) reflecting legal advice from
595   JANSSENBIO‐PL‐0000471   JANSSENBIO‐PL_2‐0000482                                                       Withheld   eMail   Knepp Jr., James            Attorney‐Client                                                             James Knepp (jknepp5@its.jnj.com); Fizza Suri (fsuri@its.jnj.com)                                           (jfranz@its.jnj.com)                            James Knepp (jknepp5@its.jnj.com)                Fizza Suri (fsuri@its.jnj.com)                                                                          1/17/2013   Catherine Sicari ^ regarding IOI support presentation.
                                                                                                                                                                             Anna Maria Acquaviva
596   JANSSENBIO‐PL‐0000472   JANSSENBIO‐PL_2‐0000483                                                       Withheld   pptx    Knepp Jr., James            Attorney‐Client   (aacqua23@its.jnj.com)   Fizza Suri (fsuri@its.jnj.com)   James Knepp (jknepp5@its.jnj.com); Fizza Suri (fsuri@its.jnj.com)                                                                                                                                                                                                                                                    1/17/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
597   JANSSENBIO‐PL‐0000473   JANSSENBIO‐PL_2‐0000484                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
598   JANSSENBIO‐PL‐0000474   JANSSENBIO‐PL_2‐0000485                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
599   JANSSENBIO‐PL‐0000475   JANSSENBIO‐PL_2‐0000486                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
600   JANSSENBIO‐PL‐0000476   JANSSENBIO‐PL_2‐0000487                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Adrienne Minecci (aminecc1@its.jnj.com); Eric Monzon
                                                                                                                                                                                                                                       Anthony DiCarlantonio (adicarla@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Adrienne Minecci                                                                                                                                                         (emonzon1@its.jnj.com); James Knepp
                                                                                                                               Knepp Jr., James; Smith,                                                                                (aminecc1@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Raymond Pellicciotti                                                                         Brian Smith (bsmith32@its.jnj.com); Joseph                                                       (jknepp5@its.jnj.com); Raymond Pellicciotti                            Email with attachment(s) reflecting legal advice from the
601                                                     JANSSENBIO‐047‐00006124   JANSSENBIO‐047‐00006124   Redacted   eMail   Brian                       Attorney‐Client                                                             (rpellicc@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                                                      Valeriani (jvaleri1@its.jnj.com)                    Anthony DiCarlantonio (adicarla@its.jnj.com) (rpellicc@its.jnj.com)                                     3/11/2014   Law Department ^ regarding contracting.

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Anthony DiCarlantonio (adicarla@its.jnj.com); John Franz                                                                                                                                                                                                                                   Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                       (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);                                                                                                                                                                                                                             regarding preparation/review of customer‐facing practice
602                                                     JANSSENBIO‐047‐00006146   JANSSENBIO‐047‐00006147   Redacted   eMail   Knepp Jr., James            Attorney‐Client                                                             Elizabeth Lawless (elawless@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                               James Knepp (jknepp5@its.jnj.com)                   Anthony DiCarlantonio (adicarla@its.jnj.com)                                                            3/17/2014   management or IOI support material.

                                                                                                                               Knepp Jr., James; Smith,                                                                                Paul Duncan (pduncan9@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Adrienne Minecci                                                                  Brian Smith (bsmith32@its.jnj.com); Paul                                                                                                                                Email with attachment(s) reflecting request for legal
603                                                     JANSSENBIO‐047‐00006209   JANSSENBIO‐047‐00006209   Redacted   eMail   Brian                       Attorney‐Client                                                             (aminecc1@its.jnj.com); Brian Smith (bsmith32@its.jnj.com)                                                                                               Duncan (pduncan9@its.jnj.com)                       Adrienne Minecci (aminecc1@its.jnj.com)        James Knepp (jknepp5@its.jnj.com)                         3/6/2014   advice from Christopher Guiton ^ regarding contracting.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) reflecting legal advice from the
604                                                     JANSSENBIO‐047‐00006249   JANSSENBIO‐047‐00006252   Redacted   eMail   Knepp Jr., James            Attorney‐Client                                                             Anthony DiCarlantonio (adicarla@its.jnj.com); James Knepp (jknepp5@its.jnj.com)                                                                          James Knepp (jknepp5@its.jnj.com)                   Anthony DiCarlantonio (adicarla@its.jnj.com)                                                             3/7/2014   Law Department ^ regarding contracting.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Mara Grove (mgrove99@its.jnj.com); Christopher Guiton ^                                                            Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                                                                                                       (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);                                                     Kathryn Roberts (krober10@its.jnj.com); Thomas                                                     Kendra Heusinkveld (kheusink@its.jnj.com); Mara Grove                internal guidance concerning practice management or IOI
605   JANSSENBIO‐PL‐0000477   JANSSENBIO‐PL_2‐0000488                                                       Withheld   eMail   Knepp Jr., James            Attorney‐Client                                                             James Knepp (jknepp5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                Cornely (tcornel@its.jnj.com)                  James Knepp (jknepp5@its.jnj.com)                   (mgrove99@its.jnj.com)                                    6/5/2015   support.

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Mara Grove (mgrove99@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                             James Knepp              James Knepp                      (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
606   JANSSENBIO‐PL‐0000478   JANSSENBIO‐PL_2‐0000489                                                       Withheld   docx    Knepp Jr., James            Attorney‐Client   (jknepp5@its.jnj.com)    (jknepp5@its.jnj.com)            James Knepp (jknepp5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                             6/5/2015

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Mara Grove (mgrove99@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                                                       (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
607   JANSSENBIO‐PL‐0000479   JANSSENBIO‐PL_2‐0000490                                                       Withheld   pdf     Knepp Jr., James            Attorney‐Client                                                             James Knepp (jknepp5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                             6/5/2015

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Mara Grove (mgrove99@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                             James Knepp              James Knepp                      (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
608   JANSSENBIO‐PL‐0000480   JANSSENBIO‐PL_2‐0000491                                                       Withheld   docx    Knepp Jr., James            Attorney‐Client   (jknepp5@its.jnj.com)    (jknepp5@its.jnj.com)            James Knepp (jknepp5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                             6/5/2015

                                                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Mara Grove (mgrove99@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                             Anna Maria Acquaviva     James Knepp                      (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
609   JANSSENBIO‐PL‐0000481   JANSSENBIO‐PL_2‐0000492                                                       Withheld   pptx    Knepp Jr., James            Attorney‐Client   (aacqua23@its.jnj.com)   (jknepp5@its.jnj.com)            James Knepp (jknepp5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                             6/5/2015
                                                                                                                                                                                                                                                                                                                                                                                                Adrienne Minecci (aminecc1@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                                                Anthony DiCarlantonio (adicarla@its.jnj.com);                                                                                                                           Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                       Anthony DiCarlantonio (adicarla@its.jnj.com); Anthony DiCarlantonio (adicarla@its.jnj.com); Christopher                                                  Brian Smith (bsmith32@its.jnj.com); Christopher                                                                                                                         regarding preparation/review of internal training or
                                                                                                                                                                                                                                       Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Adrienne Minecci                                                                      Guiton ^ (cguiton@its.jnj.com); James Knepp                                                                                                                             internal guidance concerning practice management or IOI
610   JANSSENBIO‐PL‐0000482   JANSSENBIO‐PL_2‐0000493                                                       Withheld   eMail   Knepp Jr., James            Attorney‐Client                                                             (aminecc1@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Brian Smith (bsmith32@its.jnj.com)                                                           (jknepp5@its.jnj.com)                               Anthony DiCarlantonio (adicarla@its.jnj.com)                                                             3/7/2014   support.

                                                                                                                                                                                                                                       Anthony DiCarlantonio (adicarla@its.jnj.com); Anthony DiCarlantonio (adicarla@its.jnj.com); Christopher
                                                                                                                                                                             Anna Maria Acquaviva     Anthony DiCarlantonio            Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Adrienne Minecci
611   JANSSENBIO‐PL‐0000483   JANSSENBIO‐PL_2‐0000494                                                       Withheld   pptx    Knepp Jr., James            Attorney‐Client   (aacqua23@its.jnj.com)   (adicarla@its.jnj.com)           (aminecc1@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Brian Smith (bsmith32@its.jnj.com)                                                                                                                                                                                                                        3/7/2014

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Memorandum reflecting legal advice from Legal
                                                                                                                               Conley, Lawrence; Knepp                       Catherine Kaucher        Karen Kung                       Lawrence Conley (lconley1@its.jnj.cm); James Knepp (jknepp5@its.jnj.com); Karen Kung                                                                                                                                                                                                                                             Department regarding issues relating to lawfulness of
612                                                     JANSSENBIO‐047‐00007151   JANSSENBIO‐047‐00007151   Redacted   docx    Jr., James                  Attorney‐Client   (ckauche1@its.jnj.com)   (kkung@its.jnj.com)              (kkung@its.jnj.com); Alexis Montalvo (amontal2@its.jnj.com)                                                                                                                                                                                                                                                          8/13/2013   practice management or IOI support services.
                                                                                                                                                                                                                                                                                                                                                   Ashley Hallett (ahallet1@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                   Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                                          Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                   Ellen Perucki (eperucki@its.jnj.com); Gina                                                                                                                                                                           legal advice to Kathleen Hamill ^ and Christopher Guiton
                                                                                                                               Franz, John; Knepp Jr.,                                                                                                                                                                                             Giordano (ggiordan@its.jnj.com); John         Ellen Perucki (eperucki@its.jnj.com); John Franz                                                                                                                       ^ regarding preparation/review of customer‐facing
613   JANSSENBIO‐PL‐0000484   JANSSENBIO‐PL_2‐0000495                                                       Withheld   eMail   James                       Attorney‐Client                                                             John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com)    Franz (jfranz@its.jnj.com); Kathleen Hamill ^ (jfranz@its.jnj.com)                               Ellen Perucki (eperucki@its.jnj.com)           James Knepp (jknepp5@its.jnj.com)                        3/21/2013   practice management or IOI support material.
                                                                                                                               Franz, John; Knepp Jr.,                       Doug Kennedy
614   JANSSENBIO‐PL‐0000485   JANSSENBIO‐PL_2‐0000496                                                       Withheld   pdf     James                       Attorney‐Client   (dkenned6@its.jnj.com)                                    John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com)                                                                                                                                                                                                             3/21/2013
                                                                                                                               Franz, John; Knepp Jr.,                       Doug Kennedy
615   JANSSENBIO‐PL‐0000486   JANSSENBIO‐PL_2‐0000497                                                       Withheld   pdf     James                       Attorney‐Client   (dkenned6@its.jnj.com)                                    John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com)                                                                                                                                                                                                             3/21/2013




                                                                                                                                                                                                                                                                                                                 22
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 24 of 201


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet requesting and reflecting legal advice from
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   the Law Department and Outside Counsel regarding Risk
616                                                     JANSSENBIO‐047‐00000005   JANSSENBIO‐047‐00000005   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                1/12/2015   Assessment and Mitigation Program.

                                                                                                                                                                                                                               Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand                                                                                                                                                                               Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                               (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);                                                                                                                                                                         regarding preparation/review of internal training or
                                                                                                                               Cornely, Thomas; Parsons,                                                                       Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls                                                                                                          Erin Parsons (eparson5@its.jnj.com); Michelle Walls                internal guidance concerning practice management or IOI
617   JANSSENBIO‐PL‐0000487   JANSSENBIO‐PL_2‐0000498                                                       Withheld   eMail   Erin; Walls, Michelle       Attorney‐Client                                                     (mwalls@its.jnj.com)                                                                                        Samantha Hand (shand@its.jnj.com)               Thomas Cornely (tcornel@its.jnj.com)     (mwalls@its.jnj.com)                                   1/12/2015   support.

                                                                                                                                                                                                                               Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand
                                                                                                                                                                                                                               (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);
                                                                                                                               Cornely, Thomas; Parsons,                     Camille Dorsey           Thomas Cornely           Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls
618   JANSSENBIO‐PL‐0000488   JANSSENBIO‐PL_2‐0000499                                                       Withheld   pptx    Erin; Walls, Michelle       Attorney‐Client   (cdorsey@its.jnj.com)    (tcornel@its.jnj.com)    (mwalls@its.jnj.com)                                                                                                                                                                                                                                        1/12/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                               Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                                                                               (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Shauna Peterson ^                                Shauna Peterson ^ (speter11@its.jnj.com);                                                                                                                   internal guidance concerning practice management or IOI
619                           JANSSENBIO‐PL_2‐0000500                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                     (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)              Thomas Cornely (tcornel@its.jnj.com)            Daryl Todd ^ (dtodd1@its.jnj.com)                                                               1/12/2015   support.

                                                                                                                                                                                                                               Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand
                                                                                                                                                                             Camille Dorsey           Daryl Todd ^             (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Shauna Peterson ^
620                           JANSSENBIO‐PL_2‐0000501                                                       Withheld   pptx    Cornely, Thomas             Attorney‐Client   (cdorsey@its.jnj.com)    (dtodd1@its.jnj.com)     (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                              1/12/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet requesting and reflecting legal advice from
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   the Law Department ^ and Outside Counsel regarding
621                                                     JANSSENBIO‐047‐00000012   JANSSENBIO‐047‐00000012   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                6/16/2014   Risk Assessment and Mitigation Program.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet requesting and reflecting legal advice from
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   the Law Department ^ and Outside Counsel regarding
622                                                     JANSSENBIO‐047‐00000013   JANSSENBIO‐047‐00000013   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                 8/6/2014   Risk Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       preparation/review of internal training or internal
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   guidance concerning practice management or IOI
623                                                     JANSSENBIO‐047‐00000014   JANSSENBIO‐047‐00000014   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                               10/29/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
624                                                     JANSSENBIO‐047‐00000160   JANSSENBIO‐047‐00000160   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                 2/4/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
625                                                     JANSSENBIO‐047‐00000161   JANSSENBIO‐047‐00000161   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                1/23/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Catherine Kaucher        Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
626                                                     JANSSENBIO‐047‐00000162   JANSSENBIO‐047‐00000162   Redacted   xls     Cornely, Thomas             Attorney‐Client   (ckauche1@its.jnj.com)   (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                11/6/2013   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
627                                                     JANSSENBIO‐047‐00000163   JANSSENBIO‐047‐00000163   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                 3/4/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
628                                                     JANSSENBIO‐047‐00000164   JANSSENBIO‐047‐00000164   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                7/16/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
629                                                     JANSSENBIO‐047‐00000165   JANSSENBIO‐047‐00000165   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                12/2/2013   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
630                                                     JANSSENBIO‐047‐00000166   JANSSENBIO‐047‐00000166   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                               12/11/2013   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
631                                                     JANSSENBIO‐047‐00000167   JANSSENBIO‐047‐00000167   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                4/22/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
632                                                     JANSSENBIO‐047‐00000169   JANSSENBIO‐047‐00000169   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                               10/29/2013   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
633                                                     JANSSENBIO‐047‐00000170   JANSSENBIO‐047‐00000170   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                12/3/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from the Law
                                                                                                                                                                             Angela Wood              Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ regarding Risk Assessment and Mitigation
634                                                     JANSSENBIO‐047‐00000176   JANSSENBIO‐047‐00000176   Redacted   pptx    Cornely, Thomas             Attorney‐Client   (awood6@its.jnj.com)     (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                7/21/2015   Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
635                                                     JANSSENBIO‐047‐00000183   JANSSENBIO‐047‐00000183   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                4/10/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
636                                                     JANSSENBIO‐047‐00000184   JANSSENBIO‐047‐00000184   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                4/10/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
637                                                     JANSSENBIO‐047‐00000185   JANSSENBIO‐047‐00000185   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                4/10/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
638                                                     JANSSENBIO‐047‐00000186   JANSSENBIO‐047‐00000186   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                 7/7/2014   Assessment and Mitigation Program.


                                                                                                                                                                                                                               Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                               (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                       Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                               Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                   house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                               (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                   preparation/review of internal training or internal
                                                                                                                                                                             Thomas Cornely           Ashley Hallett           Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                                  guidance concerning practice management or IOI
639                                                     JANSSENBIO‐047‐00000190   JANSSENBIO‐047‐00000190   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (ahallet1@its.jnj.com)   David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                           7/8/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
640                                                     JANSSENBIO‐047‐00000191   JANSSENBIO‐047‐00000191   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                 7/7/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
641                                                     JANSSENBIO‐047‐00000192   JANSSENBIO‐047‐00000192   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                 7/7/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
642                                                     JANSSENBIO‐047‐00000193   JANSSENBIO‐047‐00000193   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                 7/7/2014   Assessment and Mitigation Program.


                                                                                                                                                                                                                               Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                               (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                       Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                               Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                   house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                               (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                   preparation/review of internal training or internal
                                                                                                                                                                             Thomas Cornely           Thomas Cornely           Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                                  guidance concerning practice management or IOI
643                                                     JANSSENBIO‐047‐00000197   JANSSENBIO‐047‐00000197   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)    David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                          7/11/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
644                                                     JANSSENBIO‐047‐00000198   JANSSENBIO‐047‐00000198   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                10/8/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
645                                                     JANSSENBIO‐047‐00000199   JANSSENBIO‐047‐00000199   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                10/8/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
646                                                     JANSSENBIO‐047‐00000200   JANSSENBIO‐047‐00000200   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                10/8/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting request for legal advice from In
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       preparation/review of internal training or internal
                                                                                                                               Cornely, Thomas; Smith,                       Thomas Cornely           Paul Duncan              Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Brian Smith                                                                                                                                                                                   guidance concerning practice management or IOI
647                                                     JANSSENBIO‐047‐00000202   JANSSENBIO‐047‐00000202   Redacted   xlsx    Brian                       Attorney‐Client   (tcornel@its.jnj.com)    (pduncan9@its.jnj.com)   (bsmith32@its.jnj.com)                                                                                                                                                                                                                                      10/9/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
648                                                     JANSSENBIO‐047‐00000203   JANSSENBIO‐047‐00000203   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                10/8/2014   Assessment and Mitigation Program.


                                                                                                                                                                                                                               Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                               (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                       Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                               Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                   house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                               (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Stacey Slater (sslater1@its.jnj.com); Brian                                                                                                                                                                  preparation/review of internal training or internal
                                                                                                                                                                             Thomas Cornely           Thomas Cornely           Smith (bsmith32@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com);                                                                                                                                                               guidance concerning practice management or IOI
649                                                     JANSSENBIO‐047‐00000207   JANSSENBIO‐047‐00000207   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)    Angela Wood (awood6@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                                        10/8/2014   support.



                                                                                                                                                                                                                               Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                               (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                       Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                               Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                   house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                               (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                   preparation/review of internal training or internal
                                                                                                                                                                             Thomas Cornely           Thomas Cornely           Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                                  guidance concerning practice management or IOI
650                                                     JANSSENBIO‐047‐00000211   JANSSENBIO‐047‐00000211   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)    David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                          10/8/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting request for legal advice from In
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       preparation/review of internal training or internal
                                                                                                                                                                             Thomas Cornely           Thomas Cornely           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Daphne Hayes                                                                                                                                                                                guidance concerning practice management or IOI
651                                                     JANSSENBIO‐047‐00000217   JANSSENBIO‐047‐00000217   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)    (dhayes2@its.jnj.com)                                                                                                                                                                                                                                       10/8/2014   support.



                                                                                                                                                                                                                               Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                               (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                       Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                               Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                   house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                               (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                   preparation/review of internal training or internal
                                                                                                                                                                             Thomas Cornely           Thomas Cornely           Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                                  guidance concerning practice management or IOI
652                                                     JANSSENBIO‐047‐00000221   JANSSENBIO‐047‐00000221   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)    David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                          10/8/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
653                                                     JANSSENBIO‐047‐00000222   JANSSENBIO‐047‐00000222   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                10/8/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
654                                                     JANSSENBIO‐047‐00000223   JANSSENBIO‐047‐00000223   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                10/8/2014   Assessment and Mitigation Program.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from the Law
                                                                                                                                                                             Tammy Brintzinghoffer    Thomas Cornely                                                                                                                                                                                                                                                                                   Department ^ and Outside Counsel regarding Risk
655                                                     JANSSENBIO‐047‐00000224   JANSSENBIO‐047‐00000224   Redacted   xlsx    Cornely, Thomas             Attorney‐Client   (tbrintz2@its.jnj.com)   (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                9/10/2014   Assessment and Mitigation Program.

                                                                                                                                                                                                                                                                                                                                           Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                 Email chain with attachment(s) providing information to
                                                                                                                                                                                                                               Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Tracy Krasuski            Mary Lozier (mlozier@its.jnj.com); Thomas                                                                                                                   counsel for the purpose of receiving legal advice
                                                                                                                               Cornely, Thomas; Guiton,                                                                        (tkrasusk@its.jnj.com); Mary Lozier (mlozier@its.jnj.com); Anthony Recalde (arecald1@its.jnj.com);          Cornely (tcornel@its.jnj.com); Tracy Krasuski                                            Anthony Recalde (arecald1@its.jnj.com); Melissa                    regarding preparation/review of customer‐facing practice
656   JANSSENBIO‐PL‐0000489   JANSSENBIO‐PL_2‐0000502                                                       Withheld   eMail   Christopher                 Attorney‐Client                                                     Kathryn Roberts (krober10@its.jnj.com); Melissa Rosenberg (mrosenb9@its.jnj.com)                            (tkrasusk@its.jnj.com)                          Kathryn Roberts (krober10@its.jnj.com)   Rosenberg (mrosenb9@its.jnj.com)                       1/30/2015   management or IOI support material.

                                                                                                                                                                                                                               Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Tracy Krasuski
                                                                                                                               Cornely, Thomas; Guiton,                                               Kathryn Roberts          (tkrasusk@its.jnj.com); Mary Lozier (mlozier@its.jnj.com); Anthony Recalde (arecald1@its.jnj.com);
657   JANSSENBIO‐PL‐0000490   JANSSENBIO‐PL_2‐0000503                                                       Withheld   pptx    Christopher                 Attorney‐Client   Lynn                     (krober10@its.jnj.com)   Kathryn Roberts (krober10@its.jnj.com); Melissa Rosenberg (mrosenb9@its.jnj.com)                                                                                                                                                                            1/30/2015

                                                                                                                                                                             Nicholas Kottak                                   Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Tracy Krasuski
                                                                                                                               Cornely, Thomas; Guiton,                      (nkottak@ethnographic‐                            (tkrasusk@its.jnj.com); Mary Lozier (mlozier@its.jnj.com); Anthony Recalde (arecald1@its.jnj.com);
658   JANSSENBIO‐PL‐0000491   JANSSENBIO‐PL_2‐0000504                                                       Withheld   xlsx    Christopher                 Attorney‐Client   solutions.com)           Jared                    Kathryn Roberts (krober10@its.jnj.com); Melissa Rosenberg (mrosenb9@its.jnj.com)                                                                                                                                                                            1/30/2015




                                                                                                                                                                                                                                                                                                          23
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 25 of 201


                                                                                                                                                                                                                                James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Catherine Kaucher                                                                                                                                                                                                                                                  Presentation requesting legal advice from In‐house
                                                                                                                                                                                                                                (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);                                                                                                                                                                                                                                            Counsel and Outside Counsel regarding issues relating
                                                                                                                               Cornely, Thomas; Roberts,                     Angela Andueza Munduate   Angela Wood              Michelle Turk (mturk@its.jnj.com); Amy Van Sant (avansant@its.jnj.com); Michelle Walls                                                                                                                                                                                                                                                       to lawfulness of practice management or IOI support
659                                                     JANSSENBIO‐047‐00000237   JANSSENBIO‐047‐00000238   Redacted   pptx    Kathryn; Walls, Michelle    Attorney‐Client   (aandueza@its.jnj.com)    (awood6@its.jnj.com)     (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                          7/12/2013   services.



                                                                                                                                                                                                                                James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Catherine Kaucher                                                                                                                                                                                                                                                  Presentation requesting legal advice from In‐house
                                                                                                                                                                                                                                (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);                                                                                                                                                                                                                                            Counsel and Outside Counsel regarding issues relating
                                                                                                                               Cornely, Thomas; Roberts,                     Angela Andueza Munduate   Angela Wood              Michelle Turk (mturk@its.jnj.com); Amy Van Sant (avansant@its.jnj.com); Michelle Walls                                                                                                                                                                                                                                                       to lawfulness of practice management or IOI support
660                                                     JANSSENBIO‐047‐00000242   JANSSENBIO‐047‐00000243   Redacted   pptx    Kathryn; Walls, Michelle    Attorney‐Client   (aandueza@its.jnj.com)    (awood6@its.jnj.com)     (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                          7/12/2013   services.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Presentation requesting legal advice from In‐house
                                                                                                                                                                                                                                James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Catherine Kaucher                                                                                                                                                                                                                                                  Counsel and Outside Counsel regarding issues relating
                                                                                                                               Cornely, Thomas; Roberts,                     Angela Andueza Munduate   Angela Wood              (ckauche1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Michelle Walls (mwalls@its.jnj.com);                                                                                                                                                                                                                                         to lawfulness of practice management or IOI support
661                                                     JANSSENBIO‐047‐00000245   JANSSENBIO‐047‐00000246   Redacted   pptx    Kathryn; Walls, Michelle    Attorney‐Client   (aandueza@its.jnj.com)    (awood6@its.jnj.com)     Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                                 7/11/2013   services.

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Teresa Giuliana                                                                                                                                                                                                                                                  Email chain requesting legal advice regarding
                                                                                                                                                                                                                                (tgiulian@cntus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Jeremy Mann                                                                                                                                                                                                                                                            preparation/review of customer‐facing practice
662   JANSSENBIO‐PL‐0000492   JANSSENBIO‐PL_2‐0000505                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      (jmann4@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                  Jeremy Mann (jmann4@its.jnj.com)                Thomas Cornely (tcornel@its.jnj.com)                                                                                            1/6/2016   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain reflecting legal advice from Christopher
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Upasana Marwah                Thomas Cornely (tcornel@its.jnj.com);                                                                                                                                                                                              Guiton ^ regarding issues relating to interactions with
663   JANSSENBIO‐PL‐0000493   JANSSENBIO‐PL_2‐0000506                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      (umarwah2@its.jnj.com)                                                                                    Upasana Marwah (umarwah2@its.jnj.com)   Upasana Marwah (umarwah2@its.jnj.com)           Thomas Cornely (tcornel@its.jnj.com)                                                                                            1/8/2016   customers.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Kendra Heusinkveld                                                    Shauna Peterson ^ (speter11@its.jnj.com);                                                                                                                                                  internal guidance concerning practice management or IOI
664                           JANSSENBIO‐PL_2‐0000507   JANSSENBIO‐064‐00000292   JANSSENBIO‐064‐00000292   Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      (kheusink@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                               Thomas Cornely (tcornel@its.jnj.com)            Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                              4/17/2015   support.

                                                                                                                                                                             Camille Dorsey            Daryl Todd ^             Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Kendra Heusinkveld
665                           JANSSENBIO‐PL_2‐0000508                                                       Withheld   pptx    Cornely, Thomas             Attorney‐Client   (cdorsey@its.jnj.com)     (dtodd1@its.jnj.com)     (kheusink@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                              4/17/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Thomas Cornely                     Email chain reflecting legal advice from Christopher
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Upasana Marwah                                                                                                                                                                                                                (tcornel@its.jnj.co                Guiton ^ regarding issues relating to interactions with
666   JANSSENBIO‐PL‐0000494   JANSSENBIO‐PL_2‐0000509                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      (umarwah2@its.jnj.com)                                                                                                                            Upasana Marwah (umarwah2@its.jnj.com)           Thomas Cornely (tcornel@its.jnj.com)                                                                    m)                    10/29/2015   customers.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); David
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Fabbri (dfabbri@its.jnj.com); Elizabeth Lawless
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan                                                                                                                                                        (elawless@its.jnj.com); James Knepp                                                           Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                        (jknepp5@its.jnj.com); Kathryn Roberts                     Thomas Cornely                     legal advice regarding preparation/review of internal
                                                                                                                                                                                                                                James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo                                                                                                                                                     (krober10@its.jnj.com); Paul Duncan                        (tcornel@its.jnj.co                training or internal guidance concerning practice
667                           JANSSENBIO‐PL_2‐0000510                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                    Thao Marzullo (tmarzull@its.jnj.com)            Thomas Cornely (tcornel@its.jnj.com)         (pduncan9@its.jnj.com)                                     m)                     8/20/2015   management or IOI support.


                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                                                                                                                                (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                             Thao Marzullo             Thomas Cornely           James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo
668                           JANSSENBIO‐PL_2‐0000511                                                       Withheld   docx    Cornely, Thomas             Attorney‐Client   (tmarzull@its.jnj.com)    (tcornel@its.jnj.com)    (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                                   8/20/2015



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                                                                                                                                (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                             James Knepp               Thao Marzullo            James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo
669                           JANSSENBIO‐PL_2‐0000512                                                       Withheld   docx    Cornely, Thomas             Attorney‐Client   (jknepp5@its.jnj.com)     (tmarzull@its.jnj.com)   (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                                   8/20/2015



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                                                                                                                                (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo
670                           JANSSENBIO‐PL_2‐0000513                                                       Withheld   pdf     Cornely, Thomas             Attorney‐Client   Megan Juskowiak                                    (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                                   8/20/2015



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                                                                                                                                (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo
671                           JANSSENBIO‐PL_2‐0000514                                                       Withheld   pdf     Cornely, Thomas             Attorney‐Client   Bill Van Cleaf                                     (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                                   8/20/2015



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                                                                                                                                (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo
672                           JANSSENBIO‐PL_2‐0000515                                                       Withheld   pdf     Cornely, Thomas             Attorney‐Client                                                      (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                                   8/20/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             internal guidance concerning practice management or IOI
673   JANSSENBIO‐PL‐0000495   JANSSENBIO‐PL_2‐0000516                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com)                                                                  Christopher Guiton ^ (cguiton@its.jnj.com)      Thomas Cornely (tcornel@its.jnj.com)                                                                                            1/7/2015   support.
                                                                                                                                                                             Angela Wood               Thomas Cornely
674   JANSSENBIO‐PL‐0000496   JANSSENBIO‐PL_2‐0000517                                                       Withheld   pptx    Cornely, Thomas             Attorney‐Client   (awood6@its.jnj.com)      (tcornel@its.jnj.com)    Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com)                                                                                                                                                                                                                                                  1/7/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             internal guidance concerning practice management or IOI
675   JANSSENBIO‐PL‐0000497   JANSSENBIO‐PL_2‐0000518                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com)                                                                  Christopher Guiton ^ (cguiton@its.jnj.com)      Thomas Cornely (tcornel@its.jnj.com)                                                                                            1/7/2015   support.
                                                                                                                                                                             Angela Wood               Thomas Cornely
676   JANSSENBIO‐PL‐0000498   JANSSENBIO‐PL_2‐0000519                                                       Withheld   pptx    Cornely, Thomas             Attorney‐Client   (awood6@its.jnj.com)      (tcornel@its.jnj.com)    Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com)                                                                                                                                                                                                                                                  1/7/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand                                                                                                                                                      Marti Heckman (mheckman@its.jnj.com); Michelle Walls Thomas Cornely                           regarding preparation/review of internal training or
                                                                                                                                                                                                                                (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Shauna Peterson ^                                                                      Daryl Todd ^ (dtodd1@its.jnj.com); Shauna                                                    (mwalls@its.jnj.com); Samantha Hand                  (tcornel@its.jnj.co                      internal guidance concerning practice management or IOI
677   JANSSENBIO‐PL‐0000499   JANSSENBIO‐PL_2‐0000520                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                    Peterson ^ (speter11@its.jnj.com)               Thomas Cornely (tcornel@its.jnj.com)         (shand@its.jnj.com)                                  m)                            1/6/2015   support.

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand
                                                                                                                                                                             Camille Dorsey            Thomas Cornely           (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Shauna Peterson ^
678   JANSSENBIO‐PL‐0000500   JANSSENBIO‐PL_2‐0000521                                                       Withheld   pptx    Cornely, Thomas             Attorney‐Client   (cdorsey@its.jnj.com)     (tcornel@its.jnj.com)    (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                                                                                                    1/6/2015



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                                                                                                                    Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);                                                                                                                                             Christopher Guiton ^ (cguiton@its.jnj.com); Erin           Thomas Cornely                     regarding preparation/review of internal training or
                                                                                                                                                                                                                                Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Michael Yang                                                          Catherine Owen (cowen3@its.jnj.com); Marti                                                   Parsons (eparson5@its.jnj.com); Kathryn Roberts            (tcornel@its.jnj.co                internal guidance concerning practice management or IOI
679   JANSSENBIO‐PL‐0000501   JANSSENBIO‐PL_2‐0000522                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      (myang4@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                           Heckman (mheckman@its.jnj.com)                  Thomas Cornely (tcornel@its.jnj.com)         (krober10@its.jnj.com)                                     m)                      1/9/2015   support.



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen
                                                                                                                                                                                                                                (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);
                                                                                                                                                                             Angela Wood               Thomas Cornely           Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Michael Yang
680   JANSSENBIO‐PL‐0000502   JANSSENBIO‐PL_2‐0000523                                                       Withheld   pptx    Cornely, Thomas             Attorney‐Client   (awood6@its.jnj.com)      (tcornel@its.jnj.com)    (myang4@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                                                                                           1/9/2015



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                                                                                                      Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                                                                                                (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                                                                                                                                                                                                          guidance concerning practice management or IOI
681                                                     JANSSENBIO‐047‐00000614   JANSSENBIO‐047‐00000614   Redacted   eMail   Cornely, Thomas             Attorney‐Client                                                      Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                              Michael Yang (myang4@its.jnj.com)               Thomas Cornely (tcornel@its.jnj.com)         Erin Parsons (eparson5@its.jnj.com)                                               1/12/2015   support.



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                                                                                                      Email chain requesting legal advice regarding
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                                                                                                (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                                                                                                                                                                                                          guidance concerning practice management or IOI
682                           JANSSENBIO‐PL_2‐0000524   JANSSENBIO‐047‐00000618   JANSSENBIO‐047‐00000618   Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                              Thomas Cornely (tcornel@its.jnj.com)            Cynthia Guzzo (cguzzo1@its.jnj.com)                                                                                            1/12/2015   support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Catherine Owen (cowen3@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Guiton ^ (cguiton@its.jnj.com); Cynthia Guzzo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               (cguzzo1@its.jnj.com); Ellen Sipos (esipos@its.jnj.com);
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio                                                                                                                                                        Erin Parsons (eparson5@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                        (ffolio@its.jnj.com); Marti Heckman                                                           Email chain providing legal advice regarding
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                      (mheckman@its.jnj.com); Michael Yang                                                          preparation/review of internal training or internal
                                                                                                                                                                                                                                (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                                                                                                            (myang4@its.jnj.com); Timothy Grimes                                                          guidance concerning practice management or IOI
683                           JANSSENBIO‐PL_2‐0000525   JANSSENBIO‐047‐00000619   JANSSENBIO‐047‐00000619   Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                              Thomas Cornely (tcornel@its.jnj.com)            Thomas Spellman ^ (tspellma@its.jnj.com)     (tgrimes@its.jnj.com)                                                             1/12/2015   support.



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                                                                                                      Email communication providing legal advice regarding
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                                                                                                (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                                                                                                                                                                                                          guidance concerning practice management or IOI
684                           JANSSENBIO‐PL_2‐0000526   JANSSENBIO‐047‐00000620   JANSSENBIO‐047‐00000620   Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                              Thomas Cornely (tcornel@its.jnj.com)            Christopher Guiton ^ (cguiton@its.jnj.com)                                                                                     1/12/2015   support.



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                                                                                                      Email chain requesting legal advice regarding
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                                                                                                (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                                                                                                                                                                                                          guidance concerning practice management or IOI
685                           JANSSENBIO‐PL_2‐0000527   JANSSENBIO‐047‐00000621   JANSSENBIO‐047‐00000621   Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                              Thomas Cornely (tcornel@its.jnj.com)            Michael Yang (myang4@its.jnj.com)                                                                                              1/12/2015   support.

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand                                                                                                                                                                                                                                                    Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);                                                                                                                                                                                                           Thomas Cornely                     regarding preparation/review of internal training or
                                                                                                                                                                                                                                Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls                                                                                                                                                    Erin Parsons (eparson5@its.jnj.com); Michelle Walls        (tcornel@its.jnj.co                internal guidance concerning practice management or IOI
686   JANSSENBIO‐PL‐0000503   JANSSENBIO‐PL_2‐0000528                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      (mwalls@its.jnj.com)                                                                                                                              Samantha Hand (shand@its.jnj.com)               Thomas Cornely (tcornel@its.jnj.com)         (mwalls@its.jnj.com)                                       m)                     1/12/2015   support.

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand
                                                                                                                                                                                                                                (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);
                                                                                                                                                                             Camille Dorsey            Thomas Cornely           Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls
687   JANSSENBIO‐PL‐0000504   JANSSENBIO‐PL_2‐0000529                                                       Withheld   pptx    Cornely, Thomas             Attorney‐Client   (cdorsey@its.jnj.com)     (tcornel@its.jnj.com)    (mwalls@its.jnj.com)                                                                                                                                                                                                                                                                                                             1/12/2015
                                                                                                                                                                                                                                                                                                                                                                                  Catherine Owen (cowen3@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                                  Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                                  Cynthia Guzzo (cguzzo1@its.jnj.com); Ellen Sipos
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio                                                           (esipos@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                           (ffolio@its.jnj.com); Marti Heckman                                                                                                                                                        Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                         (mheckman@its.jnj.com); Michael Yang                                                                                                                    Thomas Cornely                     regarding preparation/review of internal training or
                                                                                                                                                                                                                                (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                               (myang4@its.jnj.com); Thomas Spellman ^                                                      Erin Parsons (eparson5@its.jnj.com); Timothy Grimes        (tcornel@its.jnj.co                internal guidance concerning practice management or IOI
688   JANSSENBIO‐PL‐0000505   JANSSENBIO‐PL_2‐0000530                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                              (tspellma@its.jnj.com)                           Thomas Cornely (tcornel@its.jnj.com)        (tgrimes@its.jnj.com)                                      m)                    11/21/2014   support.



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen
                                                                                                                                                                             Angela Wood               Thomas Cornely           (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas
689   JANSSENBIO‐PL‐0000506   JANSSENBIO‐PL_2‐0000531                                                       Withheld   pptx    Cornely, Thomas             Attorney‐Client   (awood6@its.jnj.com)      (tcornel@its.jnj.com)    Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                                                                            11/21/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Department regarding preparation/review of internal
                                                                                                                                                                             Angela Wood               Thomas Cornely           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); James Knepp                                                                                                                                                                                                                                                      training or internal guidance concerning practice
690                                                     JANSSENBIO‐047‐00000562   JANSSENBIO‐047‐00000562   Redacted   pptx    Cornely, Thomas             Attorney‐Client   (awood6@its.jnj.com)      (tcornel@its.jnj.com)    (jknepp5@its.jnj.com); Upasana Marwah (umarwah2@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                                 7/21/2015   management or IOI support.




                                                                                                                                                                                                                                                                                                         24
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 26 of 201


                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                     (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                                                  Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                     Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                                              house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                     (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                                              preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely          Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                                                             guidance concerning practice management or IOI
691                                                     JANSSENBIO‐047‐00000579   JANSSENBIO‐047‐00000579   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)   David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                                                     10/8/2014   support.



                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                     (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                                                  Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                     Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                                              house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                     (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Stacey Slater (sslater1@its.jnj.com); Brian                                                                                                                                                                                             preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely          Smith (bsmith32@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com);                                                                                                                                                                                          guidance concerning practice management or IOI
692                                                     JANSSENBIO‐047‐00000583   JANSSENBIO‐047‐00000583   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)   Angela Wood (awood6@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                   10/8/2014   support.



                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                     (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                                                  Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                     Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                                              house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                     (mheckman@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely          Smith (bsmith32@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com);                                                                                                                                                                                          guidance concerning practice management or IOI
693                                                     JANSSENBIO‐047‐00000587   JANSSENBIO‐047‐00000587   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)   Angela Wood (awood6@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                   10/8/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Spreadsheet reflecting request for legal advice from In
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely          Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Daphne Hayes                                                                                                                                                                                                           guidance concerning practice management or IOI
694                                                     JANSSENBIO‐047‐00000589   JANSSENBIO‐047‐00000589   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)   (dhayes2@its.jnj.com)                                                                                                                                                                                                                                                                  10/8/2014   support.



                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio                      Catherine Owen (cowen3@its.jnj.com);
                                                                                                                                                                                                                     (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);      Christopher Guiton ^ (cguiton@its.jnj.com); Ellen                                        Cynthia Guzzo (cguzzo1@its.jnj.com); Erin Parsons                                            Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                     Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                    Sipos (esipos@its.jnj.com); Marti Heckman                                                (eparson5@its.jnj.com); Frank Folio (ffolio@its.jnj.com); Thomas Cornely                     regarding preparation/review of internal training or
                                                                                                                                                                                                                     (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas          (mheckman@its.jnj.com); Michael Yang                                                     Thomas Spellman ^ (tspellma@its.jnj.com); Timothy         (tcornel@its.jnj.co                internal guidance concerning practice management or IOI
695   JANSSENBIO‐PL‐0000507   JANSSENBIO‐PL_2‐0000532                                                       Withheld   eMail   Cornely, Thomas   Attorney‐Client                                                     Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                         (myang4@its.jnj.com)                              Thomas Cornely (tcornel@its.jnj.com)   Grimes (tgrimes@its.jnj.com)                              m)                    12/11/2014   support.


                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                     (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                     Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen
                                                                                                                                                                   Angela Wood               Thomas Cornely          (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas
696   JANSSENBIO‐PL‐0000508   JANSSENBIO‐PL_2‐0000533                                                       Withheld   PPTX    Cornely, Thomas   Attorney‐Client   (awood6@its.jnj.com)      (tcornel@its.jnj.com)   Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                                  12/11/2014



                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                     (aestrellas@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                                     (cguiton@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher                                                                                                                                                                                                                  Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                     (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Kathryn                                                                                                                                                                                             from Legal Department regarding issues relating to
                                                                                                                                                                                                                     Roberts (krober10@its.jnj.com); Amy Van Sant (avansant@its.jnj.com); Michelle Walls                                                                                                                                                                                                                interactions or communications between ABSs and
697                           JANSSENBIO‐PL_2‐0000534   JANSSENBIO‐047‐00000622   JANSSENBIO‐047‐00000622   Withheld   eMail   Cornely, Thomas   Attorney‐Client                                                     (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela Wood (awood6@its.jnj.com)                      Mary Graham (mgraham1@its.jnj.com)               Thomas Cornely (tcornel@its.jnj.com)                                                                                      2/2/2015   physician offices.



                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                     (aestrellas@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                                     (cguiton@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                     (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Kathryn
                                                                                                                                                                   Angela Wood               Angela Wood             Roberts (krober10@its.jnj.com); Amy Van Sant (avansant@its.jnj.com); Michelle Walls
698                           JANSSENBIO‐PL_2‐0000535   JANSSENBIO‐047‐00000623   JANSSENBIO‐047‐00000623   Withheld   xlsx    Cornely, Thomas   Attorney‐Client   (awood6@its.jnj.com)      (awood6@its.jnj.com)    (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                 2/2/2015



                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                     (aestrellas@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);
                                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                     (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Erin                                                                                                   Christopher Guiton ^ (cguiton@its.jnj.com); Erin
                                                                                                                                                                                                                     Parsons (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Amy Van Sant                                                                                                                  Parsons (eparson5@its.jnj.com); Mary Graham               Thomas Cornely                     Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                     (avansant@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela                                                                                                  (mgraham1@its.jnj.com); Timothy Grimes                    (tcornel@its.jnj.co                regarding issues relating to interactions or
699                           JANSSENBIO‐PL_2‐0000536   JANSSENBIO‐047‐00000624   JANSSENBIO‐047‐00000624   Withheld   eMail   Cornely, Thomas   Attorney‐Client                                                     Wood (awood6@its.jnj.com)                                                                                    Freddy Jimenez ^ (fjimene3@its.jnj.com)          Thomas Cornely (tcornel@its.jnj.com)    (tgrimes@its.jnj.com)                                     m)                      2/2/2015   communications between ABSs and physician offices.


                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                     (aestrellas@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);
                                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                     (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Erin                                                                                                                                                                                                Spreadsheet provided to In‐house Counsel counsel for
                                                                                                                                                                                                                     Parsons (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Amy Van Sant                                                                                                                                                                                                               purpose of obtaining legal advice regarding
                                                                                                                                                                   Angela Wood               Angela Wood             (avansant@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela                                                                                                                                                                                               preparation/review of customer‐facing practice
700                           JANSSENBIO‐PL_2‐0000537   JANSSENBIO‐047‐00000625   JANSSENBIO‐047‐00000625   Withheld   xlsx    Cornely, Thomas   Attorney‐Client   (awood6@its.jnj.com)      (awood6@its.jnj.com)    Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                               2/2/2015   management or IOI support material.




                                                                                                                                                                                                                     Barbara Armknecht (barmknec@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                                     (tcornel@its.jnj.com); Frank Folio (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher
                                                                                                                                                                                                                     Guiton ^ (cguiton@its.jnj.com); Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman                                                                                                                                                                                                                 Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                     (mheckman@its.jnj.com); Hattie McKelvey (hmckelve@its.jnj.com; Catherine Owen (cowen3@its.jnj.com);                                                                                                                                                                                                legal advice regarding preparation/review of internal
                                                                                                                                                                                                                     Erin Parsons (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Ellen Sipos                                                                                                                                                                                                           training or internal guidance concerning practice
701                                                     JANSSENBIO‐047‐00000626   JANSSENBIO‐047‐00000627   Redacted   eMail   Cornely, Thomas   Attorney‐Client                                                     (esipos@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)            Barbara Armknecht (barmknec@its.jnj.com)         Thomas Cornely (tcornel@its.jnj.com)                                                                                      2/6/2015   management or IOI support.


                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Mary Graham
                                                                                                                                                                                                                     (mgraham1@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Cynthia Guzzo                                                                                                                                                                                                                  Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                     (cguzzo1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Chris                                                                                                                                                             Thomas Cornely                     legal advice regarding preparation/review of internal
                                                                                                                                                                                                                     Matteson (cmattes1@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Sharmaine Steckbeck               Chris Matteson (cmattes1@its.jnj.com); Mary                                                                                                        (tcornel@its.jnj.co                training or internal guidance concerning practice
702                                                     JANSSENBIO‐047‐00000630   JANSSENBIO‐047‐00000630   Redacted   eMail   Cornely, Thomas   Attorney‐Client                                                     (ssteckb@its.jnj.com); Angela Wood (awood6@its.jnj.com); Michael Yang (myang4@its.jnj.com)                   Graham (mgraham1@its.jnj.com)                    Thomas Cornely (tcornel@its.jnj.com)                                                              m)                      2/9/2015   management or IOI support.



                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                     (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);
                                                                                                                                                                                                                     Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                                              Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                     (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                                              house Counsel and Outside Counsel regarding issues
                                                                                                                                                                   Thomas Cornely            Thomas Cornely          Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                                                             relating to interactions or communications between
703                                                     JANSSENBIO‐047‐00000593   JANSSENBIO‐047‐00000593   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)   David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                                                     10/8/2014   ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                                   internal guidance concerning practice management or IOI
704   JANSSENBIO‐PL‐0000509   JANSSENBIO‐PL_2‐0000538                                                       Withheld   eMail   Cornely, Thomas   Attorney‐Client                                                     (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com)                                                     Christopher Guiton ^ (cguiton@its.jnj.com)       Thomas Cornely (tcornel@its.jnj.com)                                                                                    10/13/2014   support.

                                                                                                                                                                   Anna Maria Acquaviva      Thomas Cornely          Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
705   JANSSENBIO‐PL‐0000510   JANSSENBIO‐PL_2‐0000539                                                       Withheld   pptx    Cornely, Thomas   Attorney‐Client   (aacqua23@its.jnj.com)    (tcornel@its.jnj.com)   (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com)                                                                                                                                                                                                                              10/13/2014

                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^                                                                                                                                                                Thomas Cornely                     Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                     (cguiton@its.jnj.com); Matthew Hales (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James                                                                                                  Christopher Guiton ^ (cguiton@its.jnj.com); Matthew       (tcornel@its.jnj.co                regarding preparation/review of customer‐facing practice
706   JANSSENBIO‐PL‐0000511   JANSSENBIO‐PL_2‐0000540                                                       Withheld   eMail   Cornely, Thomas   Attorney‐Client                                                     Knepp (jknepp5@its.jnj.com)                                                                                  James Knepp (jknepp5@its.jnj.com)                Thomas Cornely (tcornel@its.jnj.com)    Hales (mhales2@its.jnj.com)                               m)                    10/21/2014   management or IOI support material.

                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                   Anna Maria Acquaviva      James Knepp             (cguiton@its.jnj.com); Matthew Hales (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James
707   JANSSENBIO‐PL‐0000512   JANSSENBIO‐PL_2‐0000541                                                       Withheld   pptx    Cornely, Thomas   Attorney‐Client   (aacqua23@its.jnj.com)    (jknepp5@its.jnj.com)   Knepp (jknepp5@its.jnj.com)                                                                                                                                                                                                                                                           10/21/2014

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Presentation reflecting legal advice from Legal
                                                                                                                                                                   Angela Wood               Thomas Cornely          Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); James Knepp                                                                                                                                                                                                            Department regarding preparation/review of customer‐
708                                                     JANSSENBIO‐047‐00000557   JANSSENBIO‐047‐00000557   Redacted   pptx    Cornely, Thomas   Attorney‐Client   (awood6@its.jnj.com)      (tcornel@its.jnj.com)   (jknepp5@its.jnj.com)                                                                                                                                                                                                                                                                   7/8/2015   facing practice management or IOI support material.



                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                     (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                                                  Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                     Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                                              Counsel and Outside Counsel regarding
                                                                                                                                                                                                                     (mheckman@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely          Smith (bsmith32@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com);                                                                                                                                                                                          guidance concerning practice management or IOI
709                                                     JANSSENBIO‐047‐00000709   JANSSENBIO‐047‐00000709   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)   Angela Wood (awood6@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                    7/7/2014   support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Spreadsheet reflecting legal advice from Outside Counsel
                                                                                                                                                                   Thomas Cornely            Thomas Cornely                                                                                                                                                                                                                                                                                                             regarding issues relating to interactions or
710                                                     JANSSENBIO‐047‐00000713   JANSSENBIO‐047‐00000713   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                                           7/7/2014   communications between ABSs and physician offices.



                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                     (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                                                  Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                     Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                                              Counsel and Outside Counsel regarding
                                                                                                                                                                                                                     (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                                              preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely          Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                                                             guidance concerning practice management or IOI
711                                                     JANSSENBIO‐047‐00000717   JANSSENBIO‐047‐00000717   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)   David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                                                      7/7/2014   support.



                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                     (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                                                  Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                     Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                                              Counsel and Outside Counsel regarding
                                                                                                                                                                                                                     (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                                              preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely          Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                                                             guidance concerning practice management or IOI
712                                                     JANSSENBIO‐047‐00000721   JANSSENBIO‐047‐00000721   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)   David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                                                      7/7/2014   support.




                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Diane Deloria
                                                                                                                                                                                                                     (ddeloria@its.jnj.com); Nicole Duncan (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);
                                                                                                                                                                                                                     Gina Giordano (ggiordan@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                                     (tgrimes@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); John Newman (jnewma14@its.jnj.com);                                                                                                                                                                                               Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                     Erin Parsons (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Amy Rodriguez                                                                                                                                                                                                              Counsel and Outside Counsel regarding issues relating
                                                                                                                                                                   Thomas Cornely            Thomas Cornely          (arodri32@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Michelle Walls (mwalls@its.jnj.com);                                                                                                                                                                                                 to interactions or communications between ABSs and
713                                                     JANSSENBIO‐047‐00000823   JANSSENBIO‐047‐00000823   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)   Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                      2/4/2014   physician offices.

                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy
                                                                                                                                                                                                                     (bduddy@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                                                                                                                                                                               Thomas Cornely                     Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                     (krober10@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com);                                                                                                                                                               (tcornel@its.jnj.co                regarding preparation/review of customer‐facing practice
714                                                     JANSSENBIO‐047‐00000734   JANSSENBIO‐047‐00000735   Redacted   eMail   Cornely, Thomas   Attorney‐Client                                                     David Wright (dwright@its.jnj.com)                                                                           Michael Wolfe (mwolfe2@its.jnj.com)              Thomas Cornely (tcornel@its.jnj.com)                                                              m)                     8/12/2014   management or IOI support material.



                                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Nicole Duncan
                                                                                                                                                                                                                     (nduncan7@its.jnj.com); Adam Ehrenworth (aehrenwo@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                     (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com);
                                                                                                                                                                                                                     Catherine Kaucher (ckauche1@its.jnj.com); John Newman (jnewma14@its.jnj.com); Erin Parsons                                                                                                                                                                                                         Presentation reflecting request for legal advice from
                                                                                                                                                                                                                     (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com);                                                                                                                                                                                                   Legal Department regarding preparation/review of
                                                                                                                                                                   Angela Andueza Munduate   Timothy Grimes          Michele Scott (mscott12@its.jnj.com); Paul Subacius (psubaciu@its.jnj.com); Michelle Walls                                                                                                                                                                                                         customer‐facing practice management or IOI support
715                                                     JANSSENBIO‐047‐00000745   JANSSENBIO‐047‐00000759   Redacted   pptx    Cornely, Thomas   Attorney‐Client   (aandueza@its.jnj.com)    (tgrimes@its.jnj.com)   (mwalls@its.jnj.com)                                                                                                                                                                                                                                                                   8/13/2014   material.




                                                                                                                                                                                                                                                                                                25
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 27 of 201



                                                                                                                                                                                                                      Mary Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer
                                                                                                                                                                                                                      (tbrintz2@its.jnj.com); James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com);
                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Nicole Duncan
                                                                                                                                                                                                                      (nduncan7@its.jnj.com); Kader Garnier (kgarnier@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                                      Aida Gonzalez (agonzal2@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                                      (tgrimes@its.jnj.com); Aimee Hawkins (ahawkin1@its.jnj.com); Jia Huey Huey (jhuey@its.jnj.com);
                                                                                                                                                                                                                      Catherine Kaucher (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Emmy Martens
                                                                                                                                                                                                                      (emarten1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
                                                                                                                                                                                                                      (pmcarth1@its.jnj.com); Roxanne McGregor‐Beck (rmcgrego@its.jnj.com); Jeffrey Mohan
                                                                                                                                                                                                                      (jmohan1@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Martha
                                                                                                                                                                                                                      Propsner (mpropsne@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Michele Scott                                                                                                                                                                               Presentation reflecting request for legal advice from the
                                                                                                                                                                   Angela Andueza Munduate   Timothy Grimes           (mscott12@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Dorothy Sokolowski (dsokolo@its.jnj.com);                                                                                                                                                             Law Department ^ and Outside Counsel regarding
716                                                     JANSSENBIO‐047‐00000761   JANSSENBIO‐047‐00000775   Redacted   pptx    Cornely, Thomas   Attorney‐Client   (aandueza@its.jnj.com)    (tgrimes@its.jnj.com)    Amy Van Sant (avansant@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com)                                                                                                                                                8/18/2014   promotional strategies.




                                                                                                                                                                                                                      Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                                      (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Nicole Duncan (nduncan7@its.jnj.com); Anna
                                                                                                                                                                                                                      Estrellas (aestrellas@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                                      Aida Gonzalez (agonzal2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Catherine Kaucher                                                                                                                                                                        Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                      (ckauche1@its.jnj.com); John Newman (jnewma14@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);                                                                                                                                                                     Counsel and Outside Counsel regarding issues relating
                                                                                                                                                                   Tammy Brintzinghoffer     Thomas Cornely           Amit Patel (apatel18@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Michele Scott                                                                                                                                                                               to interactions or communications between ABSs and
717                                                     JANSSENBIO‐047‐00000780   JANSSENBIO‐047‐00000780   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tbrintz2@its.jnj.com)    (tcornel@its.jnj.com)    (mscott12@its.jnj.com); Paul Subacius (psubaciu@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                        8/20/2014   physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Counsel and Outside Counsel regarding issues relating
                                                                                                                                                                   Thomas Cornely            Thomas Cornely                                                                                                                                                                                                                                                                                to interactions or communications between ABSs and
718                                                     JANSSENBIO‐047‐00000817   JANSSENBIO‐047‐00000817   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com)                                                                                                                                                                        1/6/2014   physician offices.




                                                                                                                                                                                                                      Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                                      (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Nicole Duncan (nduncan7@its.jnj.com); Anna
                                                                                                                                                                                                                      Estrellas (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Aida Gonzalez
                                                                                                                                                                                                                      (agonzal2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Catherine Kaucher                                                                                                                                                                                      Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                      (ckauche1@its.jnj.com); John Newman (jnewma14@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);                                                                                                                                                                     Counsel and Outside Counsel regarding issues relating
                                                                                                                                                                   Thomas Cornely            Thomas Cornely           Amit Patel (apatel18@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Michele Scott                                                                                                                                                                               to interactions or communications between ABSs and
719                                                     JANSSENBIO‐047‐00000819   JANSSENBIO‐047‐00000819   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    (mscott12@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                             1/6/2014   physician offices.




                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Nicole Duncan
                                                                                                                                                                                                                      (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina
                                                                                                                                                                                                                      Giordano (ggiordan@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com); Timothy Grimes                                                                                                                                                                                Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                      (tgrimes@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); John Newman (jnewma14@its.jnj.com);                                                                                                                                                                 Counsel and Outside Counsel regarding
                                                                                                                                                                                                                      Erin Parsons (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Amy Rodriguez                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely           (arodri32@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Paul Subacius (psubaciu@its.jnj.com);                                                                                                                                                                  guidance concerning practice management or IOI
720                                                     JANSSENBIO‐047‐00000726   JANSSENBIO‐047‐00000726   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                    7/16/2014   support.




                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                      (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                      Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Gail Obrycki                                                                                                                                                                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                      (gobrycki@its.jnj.com); Catherine Owen (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);                                                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                                      Kathryn Roberts (krober10@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^                                                                                                                                                                          internal guidance concerning practice management or IOI
721   JANSSENBIO‐PL‐0000513   JANSSENBIO‐PL_2‐0000542                                                       Withheld   eMail   Cornely, Thomas   Attorney‐Client                                                      (tspellma@its.jnj.com); Sharmaine Steckbeck (ssteckb@its.jnj.com); Michael Yang (myang4@its.jnj.com)         Sharmaine Steckbeck (ssteckb@its.jnj.com)       Thomas Cornely (tcornel@its.jnj.com)                                                         8/7/2014   support.




                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                      (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                      Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Gail Obrycki                                                                                                                                                                              Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                      (gobrycki@its.jnj.com); Catherine Owen (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);                                                                                                                                                                    Department regarding preparation/review of internal
                                                                                                                                                                   Angela Wood               Thomas Cornely           Kathryn Roberts (krober10@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^                                                                                                                                                                          training or internal guidance concerning practice
722   JANSSENBIO‐PL‐0000514   JANSSENBIO‐PL_2‐0000543                                                       Withheld   pptx    Cornely, Thomas   Attorney‐Client   (awood6@its.jnj.com)      (tcornel@its.jnj.com)    (tspellma@its.jnj.com); Sharmaine Steckbeck (ssteckb@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                      8/7/2014   management or IOI support.




                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                      (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                      Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Gail Obrycki
                                                                                                                                                                                                                      (gobrycki@its.jnj.com); Catherine Owen (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);
                                                                                                                                                                   Thomas Cornely            Thomas Cornely           Kathryn Roberts (krober10@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^
723   JANSSENBIO‐PL‐0000515   JANSSENBIO‐PL_2‐0000544                                                       Withheld   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    (tspellma@its.jnj.com); Sharmaine Steckbeck (ssteckb@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                      8/7/2014
                                                                                                                                                                                                                                                                                                                                   Catherine Owen (cowen3@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                   Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio                      Cynthia Guzzo (cguzzo1@its.jnj.com); Ellen Sipos
                                                                                                                                                                                                                      (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);      (esipos@its.jnj.com); Frank Folio
                                                                                                                                                                                                                      Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Gail Obrycki                      (ffolio@its.jnj.com); Marti Heckman                                                     Erin Parsons (eparson5@its.jnj.com); Gail Obrycki               Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                      (gobrycki@its.jnj.com); Catherine Owen (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);            (mheckman@its.jnj.com); Michael Yang                                                    (gobrycki@its.jnj.com); Kathryn Roberts                         regarding preparation/review of internal training or
                                                                                                                                                                                                                      Kathryn Roberts (krober10@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^                  (myang4@its.jnj.com); Thomas Spellman ^                                                 (krober10@its.jnj.com); Timothy Grimes                          internal guidance concerning practice management or IOI
724   JANSSENBIO‐PL‐0000516   JANSSENBIO‐PL_2‐0000545                                                       Withheld   eMail   Cornely, Thomas   Attorney‐Client                                                      (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                    (tspellma@its.jnj.com)                           Thomas Cornely (tcornel@its.jnj.com)   (tgrimes@its.jnj.com)                                8/7/2014   support.



                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                      (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                      Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Gail Obrycki
                                                                                                                                                                                                                      (gobrycki@its.jnj.com); Catherine Owen (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);
                                                                                                                                                                   Angela Wood               Thomas Cornely           Kathryn Roberts (krober10@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^
725   JANSSENBIO‐PL‐0000517   JANSSENBIO‐PL_2‐0000546                                                       Withheld   pptx    Cornely, Thomas   Attorney‐Client   (awood6@its.jnj.com)      (tcornel@its.jnj.com)    (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                 8/7/2014



                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                      (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                      Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Gail Obrycki
                                                                                                                                                                                                                      (gobrycki@its.jnj.com); Catherine Owen (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);
                                                                                                                                                                   Thomas Cornely            Thomas Cornely           Kathryn Roberts (krober10@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^
726   JANSSENBIO‐PL‐0000518   JANSSENBIO‐PL_2‐0000547                                                       Withheld   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                 8/7/2014



                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                      (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                    Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                      Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                Counsel and Outside Counsel regarding
                                                                                                                                                                                                                      (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely           Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                               guidance concerning practice management or IOI
727                                                     JANSSENBIO‐047‐00000855   JANSSENBIO‐047‐00000855   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                       4/10/2014   support.



                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                      (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                    Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                      Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                Counsel and Outside Counsel regarding
                                                                                                                                                                                                                      (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely           Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                               guidance concerning practice management or IOI
728                                                     JANSSENBIO‐047‐00000858   JANSSENBIO‐047‐00000858   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                       4/10/2014   support.



                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                      (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                    Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                      Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                      (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely           Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                               guidance concerning practice management or IOI
729                                                     JANSSENBIO‐047‐00000861   JANSSENBIO‐047‐00000861   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                       4/10/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely           Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Catherine Kaucher                                                                                                                                                                     guidance concerning practice management or IOI
730                                                     JANSSENBIO‐047‐00000864   JANSSENBIO‐047‐00000864   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    (ckauche1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                            4/17/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Brad Huguely               Brad Huguely (bhuguely@its.jnj.com); Brett                                                                                                              internal guidance concerning practice management or IOI
731   JANSSENBIO‐PL‐0000519   JANSSENBIO‐PL_2‐0000548                                                       Withheld   eMail   Cornely, Thomas   Attorney‐Client                                                      (bhuguely@its.jnj.com); Brett Sarnoff (bsarnoff@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com)           Sarnoff (bsarnoff@its.jnj.com)                  Thomas Cornely (tcornel@its.jnj.com)                                                        9/18/2014   support.

                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Brad Huguely
732   JANSSENBIO‐PL‐0000520   JANSSENBIO‐PL_2‐0000549                                                       Withheld   pdf     Cornely, Thomas   Attorney‐Client   Cindy                                              (bhuguely@its.jnj.com); Brett Sarnoff (bsarnoff@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com)                                                                                                                                                       9/18/2014

                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Brad Huguely
733   JANSSENBIO‐PL‐0000521   JANSSENBIO‐PL_2‐0000550                                                       Withheld   htm     Cornely, Thomas   Attorney‐Client                                                      (bhuguely@its.jnj.com); Brett Sarnoff (bsarnoff@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com)                                                                                                                                                       9/18/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Thomas Cornely                                                                                                                                                                     internal guidance concerning practice management or IOI
734   JANSSENBIO‐PL‐0000522   JANSSENBIO‐PL_2‐0000551                                                       Withheld   eMail   Cornely, Thomas   Attorney‐Client                                                      (tcornel@its.jnj.com)                                                                                        Christopher Guiton ^ (cguiton@its.jnj.com)      Thomas Cornely (tcornel@its.jnj.com)                                                        9/18/2014   support.
                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Thomas Cornely
735   JANSSENBIO‐PL‐0000523   JANSSENBIO‐PL_2‐0000552                                                       Withheld   pdf     Cornely, Thomas   Attorney‐Client   Cindy                                              (tcornel@its.jnj.com)                                                                                                                                                                                                                                    9/18/2014
                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Thomas Cornely
736   JANSSENBIO‐PL‐0000524   JANSSENBIO‐PL_2‐0000553                                                       Withheld   txt     Cornely, Thomas   Attorney‐Client                                                      (tcornel@its.jnj.com)                                                                                                                                                                                                                                    9/18/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely           Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Michelle Walls                                                                                                                                                                        guidance concerning practice management or IOI
737                                                     JANSSENBIO‐047‐00000866   JANSSENBIO‐047‐00000866   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    (mwalls@its.jnj.com)                                                                                                                                                                                                                                     4/21/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           preparation/review of internal training or internal
                                                                                                                                                                   Thomas Cornely            Thomas Cornely                                                                                                                                                                                                                                                                                guidance concerning practice management or IOI
738                                                     JANSSENBIO‐047‐00000868   JANSSENBIO‐047‐00000868   Redacted   xlsx    Cornely, Thomas   Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com)                                                                                                                                                                       4/22/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo                                                                                                                                                                         legal advice from Legal Department regarding
                                                                                                                                                                                                                      (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);                                                                                                                                                                     preparation/review of internal training or internal
                                                                                                                                                                                                                      Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood                                                                                                                                                                                   guidance concerning practice management or IOI
739                           JANSSENBIO‐PL_2‐0000554   JANSSENBIO‐047‐00000869   JANSSENBIO‐047‐00000869   Withheld   eMail   Cornely, Thomas   Attorney‐Client                                                      (awood6@its.jnj.com)                                                                                         Michelle Walls (mwalls@its.jnj.com)             Thomas Cornely (tcornel@its.jnj.com)                                                         5/5/2014   support.



                                                                                                                                                                                                                      Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Thomas Cornely
                                                                                                                                                                   Doug Kennedy              Joseph DiGiacomo         (tcornel@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle
740                           JANSSENBIO‐PL_2‐0000555   JANSSENBIO‐047‐00000870   JANSSENBIO‐047‐00000870   Withheld   pptx    Cornely, Thomas   Attorney‐Client   (dkenned6@its.jnj.com)    (jdigiaco@its.jnj.com)   Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                            5/5/2014




                                                                                                                                                                                                                                                                                               26
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 28 of 201

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                              Thomas Cornely           Thomas Cornely           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas                                                                                                                                                                                      guidance concerning practice management or IOI
741                                                     JANSSENBIO‐047‐00000877   JANSSENBIO‐047‐00000877   Redacted   xlsx    Cornely, Thomas             Attorney‐Client    (tcornel@its.jnj.com)    (tcornel@its.jnj.com)    (aestrellas@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                    12/11/2013   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                              Thomas Cornely           Thomas Cornely           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Angela Wood                                                                                                                                                                                         guidance concerning practice management or IOI
742                                                     JANSSENBIO‐047‐00000879   JANSSENBIO‐047‐00000879   Redacted   xlsx    Cornely, Thomas             Attorney‐Client    (tcornel@its.jnj.com)    (tcornel@its.jnj.com)    (awood6@its.jnj.com)                                                                                                                                                                                                                                               12/11/2013   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                               Cornely, Thomas;                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Kendra Heusinkveld                Shauna Peterson ^ (speter11@its.jnj.com);                                                                                                                         internal guidance concerning practice management or IOI
743                           JANSSENBIO‐PL_2‐0000556   JANSSENBIO‐064‐00000440   JANSSENBIO‐064‐00000440   Withheld   eMail   Heusinkveld, Kendra         Attorney‐Client                                                      (kheusink@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)           Thomas Cornely (tcornel@its.jnj.com)              Daryl Todd ^ (dtodd1@its.jnj.com)                                                                   4/17/2015   support.

                                                                                                                               Cornely, Thomas;                               Camille Dorsey           Daryl Todd ^             Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Kendra Heusinkveld
744                           JANSSENBIO‐PL_2‐0000557                                                       Withheld   pptx    Heusinkveld, Kendra         Attorney‐Client    (cdorsey@its.jnj.com)    (dtodd1@its.jnj.com)     (kheusink@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                 4/17/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo                                                                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                                                (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela                                                                                                                                                                         internal guidance concerning practice management or IOI
745                                                     JANSSENBIO‐047‐00000915   JANSSENBIO‐047‐00000915   Redacted   eMail   Cornely, Thomas             Attorney‐Client                                                      Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                   Thomas Cornely (tcornel@its.jnj.com)              Angela Wood (awood6@its.jnj.com)                                                                     5/6/2014   support.



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                                (aestrellas@its.jnj.com); Erica Barry (ebarry@its.jnj.com); Louis Mamon (lmamon@its.jnj.com); Demond
                                                                                                                               Cornely, Thomas; Walls,                        Doug Kennedy             Angela Wood              Mathis (dmathis1@its.jnj.com); George Prudent (gprudent@its.jnj.com); Jodi Reitz (jreitz@its.jnj.com);
746                           JANSSENBIO‐PL_2‐0000558   JANSSENBIO‐047‐00000923   JANSSENBIO‐047‐00000923   Withheld   pptx    Michelle                    Attorney‐Client    (dkenned6@its.jnj.com)   (awood6@its.jnj.com)     Steve Theis (stheis@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                             11/4/2013



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo                                                                                                                                                                                    Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                (jdigiaco@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Anna                                                                                                                                                                       from Legal Department regarding preparation/review of
                                                                                                                                                                                                                                Estrellas (aestrellas@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com);                                                                                                                                                                     customer‐facing practice management or IOI support
747                                                     JANSSENBIO‐047‐00000924   JANSSENBIO‐047‐00000927   Redacted   eMail   Cornely, Thomas             Attorney‐Client                                                      Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                            Thomas Cornely (tcornel@its.jnj.com)              Joseph DiGiacomo (jdigiaco@its.jnj.com)                                                             6/30/2014   material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                legal advice from Legal Department regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Angela Wood                         Eric Monzon (emonzon1@its.jnj.com); Thomas                                                                                                                        guidance concerning practice management or IOI
748                                                     JANSSENBIO‐047‐00000885   JANSSENBIO‐047‐00000886   Redacted   eMail   Cornely, Thomas             Attorney‐Client                                                      (awood6@its.jnj.com)                                                                                          Cornely (tcornel@its.jnj.com)                     Angela Wood (awood6@its.jnj.com)                                                                    9/17/2013   support.



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Joseph DiGiacomo                                                                                                                                                                                    Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);                                                                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                                                                                                                Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Perry Knight ^         Diane Deloria (ddeloria@its.jnj.com); Thomas                                                                                                                      internal guidance concerning practice management or IOI
749   JANSSENBIO‐PL‐0000526   JANSSENBIO‐PL_2‐0000559                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      (pknight@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                    Cornely (tcornel@its.jnj.com)                     Angela Wood (awood6@its.jnj.com)                                                                   10/24/2013   support.



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                                                (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                                              Doug Kennedy             Joseph DiGiacomo         Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Perry Knight ^
750   JANSSENBIO‐PL‐0000527   JANSSENBIO‐PL_2‐0000560                                                       Withheld   pptx    Cornely, Thomas             Attorney‐Client    (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)   (pknight@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                         10/24/2013
                                                                                                                                                                                                                                                                                                                                              Anna Estrellas (aestrellas@its.jnj.com); Chad
                                                                                                                                                                                                                                                                                                                                              Bower (cbower2@its.jnj.com); Darryl Stiles
                                                                                                                                                                                                                                                                                                                                              (dstiles@its.jnj.com); Daryl Todd ^
                                                                                                                                                                                                                                                                                                                                              (dtodd1@its.jnj.com); Katherine Chapman
                                                                                                                                                                                                                                                                                                                                              (kchapman@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                                              (khamill@cntus.jnj.com); Matt Zuiderhof
                                                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); Thomas Cornely                    (mzuiderh@its.jnj.com); Michelle Walls                                                                                                                            Email with attachment(s) providing information to
                                                                                                                                                                                                                                (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);      (mwalls@its.jnj.com); Shauna Peterson ^                                                                                                                           counsel for the purpose of receiving legal advice
                                                                                                                               Cornely, Thomas; Parsons,                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^        (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                        regarding preparation/review of internal training or
                                                                                                                               Erin; Todd, Daryl; Walls,                                                                        (speter11@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle      (sgilson@its.jnj.com); Thomas Cornely                                                                                                                             internal guidance concerning practice management or IOI
751   JANSSENBIO‐PL‐0000528   JANSSENBIO‐PL_2‐0000561                                                       Withheld   eMail   Michelle                    Attorney‐Client                                                      Walls (mwalls@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                             (tcornel@its.jnj.com)                             Joseph DiGiacomo (jdigiaco@its.jnj.com)    Joseph DiGiacomo (jdigiaco@its.jnj.com)                  8/18/2014   support.



                                                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                                                (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);
                                                                                                                               Cornely, Thomas; Parsons,                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^
                                                                                                                               Erin; Todd, Daryl; Walls,                      Doug Kennedy             Joseph DiGiacomo         (speter11@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle
752   JANSSENBIO‐PL‐0000529   JANSSENBIO‐PL_2‐0000562                                                       Withheld   pptx    Michelle                    Attorney‐Client    (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)   Walls (mwalls@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                                                                                                                                                                                   8/18/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Department regarding preparation/review of internal
                                                                                                                               Cornely, Thomas; Parsons,                      Doug Kennedy             Chad Bower               Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas                                                                                                                                                                                   training or internal guidance concerning practice
753                                                     JANSSENBIO‐047‐00000943   JANSSENBIO‐047‐00001013   Redacted   pptx    Erin; Walls, Michelle       Attorney‐Client    (dkenned6@its.jnj.com)   (cbower2@its.jnj.com)    (aestrellas@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                                  8/20/2014   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                           Anna Estrellas (aestrellas@its.jnj.com); Erin Parsons
                                                                                                                                                                                                                                                                                                                                                                                                                                           (eparson5@its.jnj.com); Gina Giordano
                                                                                                                               Cornely, Thomas; Giordano,                                                                       Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas                                                                                                              (ggiordan@its.jnj.com); Michelle Walls
                                                                                                                               Gina; Meehan, Deidre;                                                                            (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Samantha Hand (shand@its.jnj.com);                                                                                                         (mwalls@its.jnj.com); Samantha Hand                                  Email with attachment(s) requesting legal advice
                                                                                                                               Parsons, Erin; Walls,                                                                            Deidre Meehan ^ (dmeehan5@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Michelle Walls                                                                                                                (shand@its.jnj.com); Thomas Cornely                                  regarding issues relating to interactions or
754   JANSSENBIO‐PL‐0000530   JANSSENBIO‐PL_2‐0000563                                                       Withheld   eMail   Michelle                   Attorney‐Client                                                       (mwalls@its.jnj.com)                                                                                          Deidre Meehan ^ (dmeehan5@its.jnj.com)            Joseph DiGiacomo (jdigiaco@its.jnj.com)    (tcornel@its.jnj.com)                                     9/5/2014   communications between ABSs and physician offices.

                                                                                                                               Cornely, Thomas; Giordano,                                                                       Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas
                                                                                                                               Gina; Meehan, Deidre;                                                                            (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Samantha Hand (shand@its.jnj.com);
                                                                                                                               Parsons, Erin; Walls,                          Doug Kennedy             Joseph DiGiacomo         Deidre Meehan ^ (dmeehan5@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Michelle Walls
755   JANSSENBIO‐PL‐0000531   JANSSENBIO‐PL_2‐0000564                                                       Withheld   pptx    Michelle                   Attorney‐Client     (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)   (mwalls@its.jnj.com)                                                                                                                                                                                                                                                 9/5/2014
                                                                                                                                                                                                                                                                                                                                              Anna Estrellas (aestrellas@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                              Daryl Todd ^ (dtodd1@its.jnj.com); Deidre
                                                                                                                                                                                                                                                                                                                                              Meehan ^ (dmeehan5@its.jnj.com); Erin Parsons
                                                                                                                                                                                                                                                                                                                                              (eparson5@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                                                                                              (fjimene3@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                                                                                                                                                              (jdigiaco@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo                      (khamill@cntus.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                                                (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);    (kolsen@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                                                Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Samantha Hand          (msievers@its.jnj.com); Samantha Hand
                                                                                                                               Cornely, Thomas; Guiton,                                                                         (shand@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com);         (shand@its.jnj.com); Shauna Peterson ^                                                                                                                            Email chain requesting legal advice regarding
                                                                                                                               Christopher; Meehan,                                                                             Kenneth Olsen ^ (kolsen@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Shauna Peterson ^                  (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                        preparation/review of internal training or internal
                                                                                                                               Deidre; Parsons, Erin; Todd,                                                                     (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);             (sgilson@its.jnj.com); Thomas Cornely                                                        Chad Bower (cbower2@its.jnj.com); Matt Zuiderhof                     guidance concerning practice management or IOI
756   JANSSENBIO‐PL‐0000532   JANSSENBIO‐PL_2‐0000565                                                       Withheld   eMail   Daryl                        Attorney‐Client                                                     Michelle Walls (mwalls@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                    (tcornel@its.jnj.com)                         Michelle Walls (mwalls@its.jnj.com)            (mzuiderh@its.jnj.com)                                    9/8/2014   support.



                                                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                                                (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);
                                                                                                                                                                                                                                Kathleen Hamill ^ (khamill@cntus.jnj.com); Samantha Hand (shand@its.jnj.com); Erin Parsons                                                                                                                                                                                      Email chain providing legal advice regarding
                                                                                                                               Cornely, Thomas; Hamill,                                                                         (eparson5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);                                                                                                       Erin Parsons (eparson5@its.jnj.com); Samantha Hand                   preparation/review of internal training or internal
                                                                                                                               Kathleen; Parsons, Erin;                                                                         Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls                        Daryl Todd ^ (dtodd1@its.jnj.com); Kathleen                                                  (shand@its.jnj.com); Thomas Cornely                                  guidance concerning practice management or IOI
757   JANSSENBIO‐PL‐0000533   JANSSENBIO‐PL_2‐0000566                                                       Withheld   eMail   Todd, Daryl                 Attorney‐Client                                                      (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                     Hamill ^ (khamill@cntus.jnj.com)                  Michelle Walls (mwalls@its.jnj.com)        (tcornel@its.jnj.com)                                     9/9/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand                                                                                                                  Marti Heckman (mheckman@its.jnj.com); Michelle Walls                 regarding preparation/review of internal training or
                                                                                                                               Cornely, Thomas; Todd,                                                                           (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Shauna Peterson ^                                  Daryl Todd ^ (dtodd1@its.jnj.com); Shauna                                                    (mwalls@its.jnj.com); Samantha Hand                                  internal guidance concerning practice management or IOI
758   JANSSENBIO‐PL‐0000534   JANSSENBIO‐PL_2‐0000567                                                       Withheld   eMail   Daryl; Walls, Michelle      Attorney‐Client                                                      (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                Peterson ^ (speter11@its.jnj.com)                 Thomas Cornely (tcornel@its.jnj.com)       (shand@its.jnj.com)                                       1/6/2015   support.

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Samantha Hand
                                                                                                                               Cornely, Thomas; Todd,                         Camille Dorsey           Thomas Cornely           (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Shauna Peterson ^
759   JANSSENBIO‐PL‐0000535   JANSSENBIO‐PL_2‐0000568                                                       Withheld   pptx    Daryl; Walls, Michelle      Attorney‐Client    (cdorsey@its.jnj.com)    (tcornel@its.jnj.com)    (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                                       1/6/2015

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri                        Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                       Email chain with attachment(s) providing legal advice
                                                                                                                               Cornely, Thomas; Guiton,                                                                         (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Brian Pesner (bpesner@its.jnj.com);        David Fabbri (dfabbri@its.jnj.com); Paul Duncan                                              Brian Pesner (bpesner@its.jnj.com); Thomas Cornely                   regarding preparation/review of customer‐facing practice
760   JANSSENBIO‐PL‐0000536   JANSSENBIO‐PL_2‐0000569                                                       Withheld   eMail   Christopher                 Attorney‐Client                                                      Thomas Spellman ^ (tspellma@its.jnj.com)                                                                      (pduncan9@its.jnj.com)                            Thomas Spellman ^ (tspellma@its.jnj.com)   (tcornel@its.jnj.com)                                    9/15/2014   management or IOI support material.

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                               Cornely, Thomas; Guiton,                       Robert (Bob) Alder       David Fabbri             (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Brian Pesner (bpesner@its.jnj.com);
761   JANSSENBIO‐PL‐0000537   JANSSENBIO‐PL_2‐0000570                                                       Withheld   pptx    Christopher                 Attorney‐Client    (bob@xillix.co)          (dfabbri@its.jnj.com)    Thomas Spellman ^ (tspellma@its.jnj.com)                                                                                                                                                                                                                            9/15/2014


                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Peter DiPalma (pdipalma@its.jnj.com); Paul Duncan
                                                                                                                               Cornely, Thomas; Guiton,                                                                         (pduncan9@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp                               Benjamin Kuiken (bkuiken@its.jnj.com);                                                       James Knepp (jknepp5@its.jnj.com); Paul Duncan                       Email chain requesting legal advice regarding
                                                                                                                               Christopher; Marzullo,                                                                           (jknepp5@its.jnj.com); Benjamin Kuiken (bkuiken@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);           Christopher Guiton ^ (cguiton@its.jnj.com); Thao                                             (pduncan9@its.jnj.com); Thomas Cornely                               preparation/review of customer‐facing practice
762   JANSSENBIO‐PL‐0000538   JANSSENBIO‐PL_2‐0000571                                                       Withheld   eMail   Thao                        Attorney‐Client                                                      Kathryn Roberts (krober10@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                               Marzullo (tmarzull@its.jnj.com)                  Kathryn Roberts (krober10@its.jnj.com)      (tcornel@its.jnj.com)                                   12/15/2014   management or IOI support material.

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Peter DiPalma (pdipalma@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                Email chain providing information to counsel for the
                                                                                                                                                                                                                                (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Benjamin Kuiken (bkuiken@its.jnj.com); Thao                                                                                                      Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn                  purpose of receiving legal advice regarding
                                                                                                                               Cornely, Thomas; Guiton,                                                                         Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Pat Treidel                          Benjamin Kuiken (bkuiken@its.jnj.com); James                                                 Roberts (krober10@its.jnj.com); Thomas Cornely                       preparation/review of customer‐facing practice
763   JANSSENBIO‐PL‐0000539   JANSSENBIO‐PL_2‐0000572                                                       Withheld   eMail   Christopher                 Attorney‐Client                                                      (ptreidel@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                                               Knepp (jknepp5@its.jnj.com)                       Pat Treidel (ptreidel@its.jnj.com)         (tcornel@its.jnj.com)                                   12/18/2014   management or IOI support material.

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                                (aestrellas@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher                          Anna Estrellas (aestrellas@its.jnj.com); Catherine                                                                                                                Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                (ckauche1@its.jnj.com); Daniel Meechan (dmeechan@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com);           Kaucher (ckauche1@its.jnj.com); Michelle Walls                                                                                                                    regarding preparation/review of internal training or
                                                                                                                               Cornely, Thomas; Walls,                                                                          Catherine Sicari ^ (csicari@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls                   (mwalls@its.jnj.com); Thomas Cornely                                                                                                                              internal guidance concerning practice management or IOI
764   JANSSENBIO‐PL‐0000540   JANSSENBIO‐PL_2‐0000573                                                       Withheld   eMail   Michelle                    Attorney‐Client                                                      (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                        (tcornel@its.jnj.com)                              Angela Wood (awood6@its.jnj.com)          Diane Deloria (ddeloria@its.jnj.com)                     11/4/2013   support.

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                                (aestrellas@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                                (ckauche1@its.jnj.com); Daniel Meechan (dmeechan@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com);
                                                                                                                               Cornely, Thomas; Walls,                        Daniel Meechan           Daniel Meechan           Catherine Sicari ^ (csicari@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls
765   JANSSENBIO‐PL‐0000541   JANSSENBIO‐PL_2‐0000574                                                       Withheld   docx    Michelle                    Attorney‐Client    (dmeechan@its.jnj.com)   (dmeechan@its.jnj.com)   (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                              11/4/2013

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                                (aestrellas@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                                (ckauche1@its.jnj.com); Daniel Meechan (dmeechan@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com);
                                                                                                                               Cornely, Thomas; Walls,                        Monica Carbone           Daniel Meechan           Catherine Sicari ^ (csicari@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls
766   JANSSENBIO‐PL‐0000542   JANSSENBIO‐PL_2‐0000575                                                       Withheld   docx    Michelle                    Attorney‐Client    (mcarbon7@its.jnj.com)   (dmeechan@its.jnj.com)   (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                              11/4/2013

                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                                (aestrellas@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                                (ckauche1@its.jnj.com); Daniel Meechan (dmeechan@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com);
                                                                                                                               Cornely, Thomas; Walls,                        Daniel Meechan           Daniel Meechan           Catherine Sicari ^ (csicari@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls
767   JANSSENBIO‐PL‐0000543   JANSSENBIO‐PL_2‐0000576                                                       Withheld   xlsx    Michelle                    Attorney‐Client    (dmeechan@its.jnj.com)   (dmeechan@its.jnj.com)   (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                              11/4/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anthony DiCarlantonio                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                                                                                (adicarla@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Colin Pharr (cpharr@its.jnj.com); Angela                                                                                                                                                                            internal guidance concerning practice management or IOI
768                                                     JANSSENBIO‐047‐00001175   JANSSENBIO‐047‐00001176   Redacted   eMail   Cornely, Thomas             Attorney‐Client                                                      Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                   Thomas Cornely (tcornel@its.jnj.com)              Angela Wood (awood6@its.jnj.com)                                                                    7/15/2013   support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Presentation reflecting request for legal advice from
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anthony DiCarlantonio                                                                                                                                                                               Legal Department regarding preparation/review of
                                                                                                                                                                              Anna Maria Acquaviva     Angela Wood              (adicarla@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Colin Pharr (cpharr@its.jnj.com); Angela                                                                                                                                                                            internal training or internal guidance concerning practice
769                                                     JANSSENBIO‐047‐00001177   JANSSENBIO‐047‐00001192   Redacted   pptx    Cornely, Thomas             Attorney‐Client    (aacqua23@its.jnj.com)   (awood6@its.jnj.com)     Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                         7/15/2013   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Memorandum reflecting request for legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Legal Department regarding preparation/review of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                internal training or internal guidance concerning practice
770                                                     JANSSENBIO‐047‐00001227   JANSSENBIO‐047‐00001227   Redacted           Cornely, Thomas             Attorney‐Client                                                                                                                                                                                                                                                                                                                          7/11/2015   management or IOI support.




                                                                                                                                                                                                                                                                                                          27
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 29 of 201


                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Cynthia Guzzo                                                                                                                                                                       Spreadsheet reflecting legal advice from Legal
                                                                                                                               Cornely, Thomas; Guiton,                                                                          (cguzzo1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Erin                                                                                                                                                                    Department regarding preparation/review of internal
                                                                                                                               Christopher; Haney, John;                       Angela Wood              Angela Wood              Parsons (eparson5@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Sharmaine Steckbeck                                                                                                                                                                         training or internal guidance concerning practice
771                                                     JANSSENBIO‐047‐00001426   JANSSENBIO‐047‐00001426   Redacted   xlsx    Yang, Michael                 Attorney‐Client   (awood6@its.jnj.com)     (awood6@its.jnj.com)     (ssteckb@its.jnj.com); Angela Wood (awood6@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                                12/3/2013   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       preparation/review of internal training or internal
                                                                                                                               Cornely, Thomas; Wood,                          Thomas Cornely           Thomas Cornely           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Angela Wood                                                                                                                                                                               guidance concerning practice management or IOI
772                                                     JANSSENBIO‐047‐00001435   JANSSENBIO‐047‐00001435   Redacted   xlsx    Angela                        Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)    (awood6@its.jnj.com)                                                                                                                                                                                                                                     12/11/2013   support.



                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                                 (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                     Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                                 Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                 Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                 (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                 preparation/review of internal training or internal
                                                                                                                                                                               Thomas Cornely           Thomas Cornely           Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                                guidance concerning practice management or IOI
773                                                     JANSSENBIO‐047‐00001438   JANSSENBIO‐047‐00001438   Redacted   xlsx    Cornely, Thomas               Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)    David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                        4/10/2014   support.



                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                                 (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                     Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                                 Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                 house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                 (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                 preparation/review of internal training or internal
                                                                                                                               Cornely, Thomas; Wright,                        Thomas Cornely           Thomas Cornely           Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                                guidance concerning practice management or IOI
774                                                     JANSSENBIO‐047‐00001441   JANSSENBIO‐047‐00001441   Redacted   xlsx    David                         Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)    David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                        4/10/2014   support.



                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Carlos Dortrait
                                                                                                                                                                                                                                 (cdortrai@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); Kyle Ferguson (kfergus8@its.jnj.com);                                                                                                                                                                     Spreadsheet reflecting request for legal advice from In‐
                                                                                                                                                                                                                                 Ashley Hallett (ahallet1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman                                                                                                                                                                                 house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                 (mheckman@its.jnj.com); Vimal Patel (vpatel3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Darryl                                                                                                                                                                 preparation/review of internal training or internal
                                                                                                                                                                               Thomas Cornely           Thomas Cornely           Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Angela Wood (awood6@its.jnj.com);                                                                                                                                                                guidance concerning practice management or IOI
775                                                     JANSSENBIO‐047‐00001449   JANSSENBIO‐047‐00001449   Redacted   xlsx    Cornely, Thomas               Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)    David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                         7/7/2014   support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from Outside Counsel
                                                                                                                                                                               Thomas Cornely           Thomas Cornely                                                                                                                                                                                                                                                                                 regarding issues relating to interactions or
776                                                     JANSSENBIO‐047‐00001453   JANSSENBIO‐047‐00001453   Redacted   xlsx    Cornely, Thomas               Attorney‐Client   (tcornel@its.jnj.com)    (tcornel@its.jnj.com)                                                                                                                                                                                                                                                               7/7/2014   communications between ABSs and physician offices.



                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                                 (aestrellas@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);
                                                                                                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                                 (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Erin                                                                                                  Christopher Guiton ^ (cguiton@its.jnj.com); Erin
                                                                                                                                                                                                                                 Parsons (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Amy Van Sant                                                                                                                 Parsons (eparson5@its.jnj.com); Mary Graham                      Email with attachment(s) requesting legal advice
                                                                                                                               Cornely, Thomas; Guiton,                                                                          (avansant@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela                                                                                                 (mgraham1@its.jnj.com); Timothy Grimes                           regarding issues relating to interactions or
777                           JANSSENBIO‐PL_2‐0000577   JANSSENBIO‐047‐00001507   JANSSENBIO‐047‐00001507   Withheld   eMail   Christopher; Parsons, Erin    Attorney‐Client                                                     Wood (awood6@its.jnj.com)                                                                                   Freddy Jimenez ^ (fjimene3@its.jnj.com)           Thomas Cornely (tcornel@its.jnj.com)   (tgrimes@its.jnj.com)                                 2/2/2015   communications between ABSs and physician offices.



                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                                                 (aestrellas@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);
                                                                                                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                                 (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Erin
                                                                                                                                                                                                                                 Parsons (eparson5@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Amy Van Sant
                                                                                                                               Cornely, Thomas; Guiton,                        Angela Wood              Angela Wood              (avansant@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela
778                           JANSSENBIO‐PL_2‐0000578   JANSSENBIO‐047‐00001508   JANSSENBIO‐047‐00001508   Withheld   xlsx    Christopher; Parsons, Erin    Attorney‐Client   (awood6@its.jnj.com)     (awood6@its.jnj.com)     Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                  2/2/2015



                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Mary Graham
                                                                                                                                                                                                                                 (mgraham1@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                 (fjimene3@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com);
                                                                                                                                                                                                                                 Gail Obrycki (gobrycki@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Amy Van Sant                                                                                                                                                                             Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                 (avansant@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela                                                                                                                                                                  regarding issues relating to interactions or
779                           JANSSENBIO‐PL_2‐0000579   JANSSENBIO‐047‐00001509   JANSSENBIO‐047‐00001509   Withheld   eMail   Cornely, Thomas               Attorney‐Client                                                     Wood (awood6@its.jnj.com)                                                                                   Freddy Jimenez ^ (fjimene3@its.jnj.com)           Mary Graham (mgraham1@its.jnj.com)     Thomas Cornely (tcornel@its.jnj.com)                  2/2/2015   communications between ABSs and physician offices.



                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Mary Graham
                                                                                                                                                                                                                                 (mgraham1@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                 (fjimene3@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com);
                                                                                                                                                                                                                                 Gail Obrycki (gobrycki@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Amy Van Sant
                                                                                                                                                                               Angela Wood              Angela Wood              (avansant@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela
780                           JANSSENBIO‐PL_2‐0000580   JANSSENBIO‐047‐00001510   JANSSENBIO‐047‐00001510   Withheld   xlsx    Cornely, Thomas               Attorney‐Client   (awood6@its.jnj.com)     (awood6@its.jnj.com)     Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                  2/2/2015



                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Mary Graham
                                                                                                                                                                                                                                 (mgraham1@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Cynthia Guzzo                                                                                                                                                                                     Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                 (cguzzo1@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Chris                                                                                                                                                                   legal advice regarding preparation/review of internal
                                                                                                                                                                                                                                 Matteson (cmattes1@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Sharmaine Steckbeck              Chris Matteson (cmattes1@its.jnj.com); Mary                                                                                                               training or internal guidance concerning practice
781                                                     JANSSENBIO‐047‐00001511   JANSSENBIO‐047‐00001511   Redacted   eMail   Cornely, Thomas               Attorney‐Client                                                     (ssteckb@its.jnj.com); Angela Wood (awood6@its.jnj.com); Michael Yang (myang4@its.jnj.com)                  Graham (mgraham1@its.jnj.com)                     Thomas Cornely (tcornel@its.jnj.com)                                                         2/9/2015   management or IOI support.
                                                                                                                                                                                                                                                                                                                                             Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                             Daryl Todd ^ (dtodd1@its.jnj.com); Erin Parsons
                                                                                                                                                                                                                                                                                                                                             (eparson5@its.jnj.com); Howard Reid                                                                                                                       Email with attachment(s) providing information to
                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham                          (hreid1@its.jnj.com); Jennifer Killian                                                                                                                    counsel for the purpose of receiving legal advice
                                                                                                                               Cornely, Thomas; Guiton,                                                                          (mgraham1@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Jennifer Killian                        (jkillian@its.jnj.com); Mary Graham                                                                                                                       regarding preparation/review of internal training or
                                                                                                                               Christopher; Parsons, Erin;                                                                       (jkillian@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Howard Reid (hreid1@its.jnj.com); Daryl Todd   (mgraham1@its.jnj.com); Thomas Cornely                                                                                                                    internal guidance concerning practice management or IOI
782   JANSSENBIO‐PL‐0000544   JANSSENBIO‐PL_2‐0000581                                                       Withheld   eMail   Todd, Daryl                   Attorney‐Client                                                     ^ (dtodd1@its.jnj.com)                                                                                      (tcornel@its.jnj.com)                             Avis Goode (agoode@its.jnj.com)                                                             1/28/2016   support.

                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham
                                                                                                                               Cornely, Thomas; Guiton,                                                                          (mgraham1@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Jennifer Killian
                                                                                                                               Christopher; Parsons, Erin;                     Angela Wood              Avis Goode               (jkillian@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Howard Reid (hreid1@its.jnj.com); Daryl Todd
783   JANSSENBIO‐PL‐0000545   JANSSENBIO‐PL_2‐0000582                                                       Withheld   pptx    Todd, Daryl                   Attorney‐Client   (awood6@its.jnj.com)     (agoode@its.jnj.com)     ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                                    1/28/2016
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy (bduddy@its.jnj.com); Kristin Goettner                   Brigid Duddy (bduddy@its.jnj.com); Kathryn                                                                                                                legal advice regarding preparation/review of internal
                                                                                                                               Cornely, Thomas; Roberts,                                                                         (kgoettne@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                         Roberts (krober10@its.jnj.com); Thomas Cornely                                                                                                            training or internal guidance concerning practice
784   JANSSENBIO‐PL‐0000546                             JANSSENBIO‐048‐00000081   JANSSENBIO‐048‐00000083   Redacted   eMail   Kathryn                       Attorney‐Client                                                     (krober10@its.jnj.com); Amy Van Sant (avansant@its.jnj.com)                                                 (tcornel@its.jnj.com)                          Kristin Goettner (kgoettne@its.jnj.com)                                                         9/1/2014   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy (bduddy@its.jnj.com); Kristin Goettner                   Kathryn Roberts (krober10@its.jnj.com); Kristin                                                                                                           legal advice regarding preparation/review of internal
                                                                                                                               Cornely, Thomas; Roberts,                                                                         (kgoettne@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                         Goettner (kgoettne@its.jnj.com); Thomas Cornely                                                                                                           training or internal guidance concerning practice
785   JANSSENBIO‐PL‐0000547                             JANSSENBIO‐048‐00000085   JANSSENBIO‐048‐00000086   Redacted   eMail   Kathryn                       Attorney‐Client                                                     (krober10@its.jnj.com); Amy Van Sant (avansant@its.jnj.com)                                                 (tcornel@its.jnj.com)                           Brigid Duddy (bduddy@its.jnj.com)                                                             8/25/2014   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email with attachment(s) reflecting request for legal
                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy (bduddy@its.jnj.com); Kristin Goettner                   Kathryn Roberts (krober10@its.jnj.com); Kristin                                                                                                           advice regarding preparation/review of internal training
                                                                                                                               Cornely, Thomas; Roberts,                                                                         (kgoettne@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                         Goettner (kgoettne@its.jnj.com); Thomas Cornely                                                                                                           or internal guidance concerning practice management or
786   JANSSENBIO‐PL‐0000548                             JANSSENBIO‐048‐00000088   JANSSENBIO‐048‐00000090   Redacted   eMail   Kathryn                       Attorney‐Client                                                     (krober10@its.jnj.com); Amy Van Sant (avansant@its.jnj.com)                                                 (tcornel@its.jnj.com)                           Brigid Duddy (bduddy@its.jnj.com)                                                             8/20/2014   IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy (bduddy@its.jnj.com); Kristin Goettner                   Brigid Duddy (bduddy@its.jnj.com); Kristin                                                                                                                legal advice regarding preparation/review of internal
                                                                                                                                                                                                                                 (kgoettne@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                         Goettner (kgoettne@its.jnj.com); Thomas Cornely                                                                                                           training or internal guidance concerning practice
787   JANSSENBIO‐PL‐0000549                             JANSSENBIO‐048‐00000092   JANSSENBIO‐048‐00000094   Redacted   eMail   Cornely, Thomas               Attorney‐Client                                                     (krober10@its.jnj.com); Amy Van Sant (avansant@its.jnj.com)                                                 (tcornel@its.jnj.com)                           Kathryn Roberts (krober10@its.jnj.com)                                                        8/27/2014   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy (bduddy@its.jnj.com); Kristin Goettner                   Brigid Duddy (bduddy@its.jnj.com); Kristin                                                                                                                legal advice regarding preparation/review of internal
                                                                                                                                                                                                                                 (kgoettne@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                         Goettner (kgoettne@its.jnj.com); Thomas Cornely                                                                                                           training or internal guidance concerning practice
788   JANSSENBIO‐PL‐0000550                             JANSSENBIO‐048‐00000096   JANSSENBIO‐048‐00000098   Redacted   eMail   Cornely, Thomas               Attorney‐Client                                                     (krober10@its.jnj.com); Amy Van Sant (avansant@its.jnj.com)                                                 (tcornel@its.jnj.com)                           Kathryn Roberts (krober10@its.jnj.com)                                                        8/27/2014   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy (bduddy@its.jnj.com); Kristin Goettner                   Brigid Duddy (bduddy@its.jnj.com); Kristin                                                                                                                legal advice regarding preparation/review of internal
                                                                                                                                                                                                                                 (kgoettne@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                         Goettner (kgoettne@its.jnj.com); Thomas Cornely                                                                                                           training or internal guidance concerning practice
789   JANSSENBIO‐PL‐0000551                             JANSSENBIO‐048‐00000100   JANSSENBIO‐048‐00000103   Redacted   eMail   Cornely, Thomas               Attorney‐Client                                                     (krober10@its.jnj.com); Amy Van Sant (avansant@its.jnj.com); Erin Wells (ewells@its.jnj.com)                (tcornel@its.jnj.com)                           Kathryn Roberts (krober10@its.jnj.com)   Erin Wells (ewells@its.jnj.com)                       9/2/2014   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy (bduddy@its.jnj.com); Kristin Goettner                   Brigid Duddy (bduddy@its.jnj.com); Kristin                                                                                                                legal advice regarding preparation/review of internal
                                                                                                                                                                                                                                 (kgoettne@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                         Goettner (kgoettne@its.jnj.com); Thomas Cornely                                                                                                           training or internal guidance concerning practice
790   JANSSENBIO‐PL‐0000552                             JANSSENBIO‐048‐00000105   JANSSENBIO‐048‐00000108   Redacted   eMail   Cornely, Thomas               Attorney‐Client                                                     (krober10@its.jnj.com); Amy Van Sant (avansant@its.jnj.com)                                                 (tcornel@its.jnj.com)                           Kathryn Roberts (krober10@its.jnj.com)                                                         9/2/2014   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from Legal
                                                                                                                               Cornely, Thomas; Parsons,                       Joseph DiGiacomo         Amit Patel               Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Erin Parsons                                                                                                                                                                           Department regarding issues relating to interactions or
791                                                     JANSSENBIO‐047‐00001521   JANSSENBIO‐047‐00001546   Redacted   pptx    Erin; Walls, Michelle         Attorney‐Client   (jdigiaco@its.jnj.com)   (apatel18@its.jnj.com)   (eparson5@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                                                              11/13/2014   communications between ABSs and physician offices.

                                                                                                                               Cornely, Thomas; Guiton,                                                                                                                                                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); James
                                                                                                                               Christopher; Heusinkveld,                                                                         Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^                                                                                                     Knepp (jknepp5@its.jnj.com); Kathryn Roberts                     Email chain with attachment(s) requesting legal advice
                                                                                                                               Kendra; Marzullo, Thao;                                                                           (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);                                                                                                 (krober10@its.jnj.com); Kendra Heusinkveld                       regarding preparation/review of customer‐facing practice
792   JANSSENBIO‐PL‐0000553   JANSSENBIO‐PL_2‐0000583                                                       Withheld   eMail   Roberts, Kathryn              Attorney‐Client                                                     Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                Thao Marzullo (tmarzull@its.jnj.com)              Thomas Cornely (tcornel@its.jnj.com)   (kheusink@its.jnj.com)                               2/18/2015   management or IOI support material.

                                                                                                                               Cornely, Thomas; Guiton,
                                                                                                                               Christopher; Heusinkveld,                                                                         Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                               Kendra; Marzullo, Thao;                         Anna Maria Acquaviva     Thomas Cornely           (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
793   JANSSENBIO‐PL‐0000554   JANSSENBIO‐PL_2‐0000584                                                       Withheld   pptx    Roberts, Kathryn              Attorney‐Client   (aacqua23@its.jnj.com)   (tcornel@its.jnj.com)    Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                              2/18/2015

                                                                                                                               Cornely, Thomas; Guiton,
                                                                                                                               Christopher; Heusinkveld,                                                                         Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                               Kendra; Marzullo, Thao;                         Dave Franklin            Thao Marzullo            (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
794   JANSSENBIO‐PL‐0000555   JANSSENBIO‐PL_2‐0000585                                                       Withheld   docx    Roberts, Kathryn              Attorney‐Client   (dfrankl1@its.jnj.com)   (tmarzull@its.jnj.com)   Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                              2/18/2015

                                                                                                                               Cornely, Thomas; Guiton,
                                                                                                                               Christopher; Heusinkveld,                                                                         Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                               Kendra; Marzullo, Thao;                         Dave Franklin            Thomas Cornely           (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
795   JANSSENBIO‐PL‐0000556   JANSSENBIO‐PL_2‐0000586                                                       Withheld   docx    Roberts, Kathryn              Attorney‐Client   (dfrankl1@its.jnj.com)   (tcornel@its.jnj.com)    Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                              2/18/2015

                                                                                                                               Cornely, Thomas; Guiton,
                                                                                                                               Christopher; Heusinkveld,                                                                         Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                               Kendra; Marzullo, Thao;                         Thao Marzullo            Thomas Cornely           (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
796   JANSSENBIO‐PL‐0000557   JANSSENBIO‐PL_2‐0000587                                                       Withheld   pptx    Roberts, Kathryn              Attorney‐Client   (tmarzull@its.jnj.com)   (tcornel@its.jnj.com)    Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                              2/18/2015

                                                                                                                               Cornely, Thomas; Guiton,
                                                                                                                               Christopher; Heusinkveld,                                                                         Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                               Kendra; Marzullo, Thao;                         Thao Marzullo            Thomas Cornely           (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
797   JANSSENBIO‐PL‐0000558   JANSSENBIO‐PL_2‐0000588                                                       Withheld   docx    Roberts, Kathryn              Attorney‐Client   (tmarzull@its.jnj.com)   (tcornel@its.jnj.com)    Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                              2/18/2015

                                                                                                                               Cornely, Thomas; Guiton,
                                                                                                                               Christopher; Heusinkveld,                                                                         Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                               Kendra; Marzullo, Thao;                         Anna Maria Acquaviva     Thomas Cornely           (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
798   JANSSENBIO‐PL‐0000559   JANSSENBIO‐PL_2‐0000589                                                       Withheld   pptx    Roberts, Kathryn              Attorney‐Client   (aacqua23@its.jnj.com)   (tcornel@its.jnj.com)    Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                              2/18/2015

                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy                                                                                                                                                                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                 (bduddy@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                                                                                                                                                                                     from Legal Department regarding preparation/review of
                                                                                                                                                                                                                                 (krober10@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com);                                                                                                                                                                     internal training or internal guidance concerning practice
799                                                     JANSSENBIO‐064‐00000449   JANSSENBIO‐064‐00000451   Redacted   eMail   Cornely, Thomas               Attorney‐Client                                                     David Wright (dwright@its.jnj.com)                                                                          Thomas Cornely (tcornel@its.jnj.com)              Michael Wolfe (mwolfe2@its.jnj.com)                                                         8/15/2014   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Spreadsheet reflecting legal advice from Legal
                                                                                                                                                                               Lawrence Lapolla         Lawrence Lapolla                                                                                                                                                                                                                                                                               Department regarding preparation/review of customer‐
800                                                     JANSSENBIO‐047‐00001678   JANSSENBIO‐047‐00001678   Redacted   xlsx    Cornely, Thomas               Attorney‐Client   (llapolla@its.jnj.com)   (llapolla@its.jnj.com)   Thomas Cornely (tcornel@its.jnj.com); Lawrence Lapolla (llapolla@its.jnj.com)                                                                                                                                                                              8/6/2015   facing practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting request for legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Legal Department regarding preparation/review of
                                                                                                                                                                               Anna Maria Acquaviva     Michael Wolfe            Thomas Cornely (tcornel@its.jnj.com); Doris Chern (dchern2@its.jnj.com); Amy Rodriguez                                                                                                                                                                                customer‐facing practice management or IOI support
801                           JANSSENBIO‐PL_2‐0000590   JANSSENBIO‐047‐00001923   JANSSENBIO‐047‐00001923   Withheld   pptx    Cornely, Thomas               Attorney‐Client   (aacqua23@its.jnj.com)   (mwolfe2@its.jnj.com)    (arodri32@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                         12/16/2014   material.




                                                                                                                                                                                                                                                                                                          28
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 30 of 201

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         regarding preparation/review of internal training or
                                                                                                                               Cornely, Thomas; Guiton,                                                                          Thomas Cornely (tcornel@its.jnj.com); Anthony DiCarlantonio (adicarla@its.jnj.com); Christopher Guiton       Christopher Guiton ^ (cguiton@its.jnj.com);                                           Anthony DiCarlantonio (adicarla@its.jnj.com); Matthew                internal guidance concerning practice management or IOI
802   JANSSENBIO‐PL‐0000560   JANSSENBIO‐PL_2‐0000591                                                       Withheld   eMail   Christopher                 Attorney‐Client                                                       ^ (cguiton@its.jnj.com); Matthew Hales (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com)              Thomas Cornely (tcornel@its.jnj.com)           James Knepp (jknepp5@its.jnj.com)      Hales (mhales2@its.jnj.com)                             10/14/2014   support.

                                                                                                                               Cornely, Thomas; Guiton,                       Anna Maria Acquaviva      James Knepp              Thomas Cornely (tcornel@its.jnj.com); Anthony DiCarlantonio (adicarla@its.jnj.com); Christopher Guiton
803   JANSSENBIO‐PL‐0000561   JANSSENBIO‐PL_2‐0000592                                                       Withheld   pptx    Christopher                 Attorney‐Client    (aacqua23@its.jnj.com)    (jknepp5@its.jnj.com)    ^ (cguiton@its.jnj.com); Matthew Hales (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com)                                                                                                                                                            10/14/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                               Cornely, Thomas; Guiton,                                                                          (cguiton@its.jnj.com); Matthew Hales (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); James                    internal guidance concerning practice management or IOI
804   JANSSENBIO‐PL‐0000562   JANSSENBIO‐PL_2‐0000593                                                       Withheld   eMail   Christopher                 Attorney‐Client                                                       Knepp (jknepp5@its.jnj.com)                                                                                  Matthew Hales (mhales2@its.jnj.com)            Thomas Cornely (tcornel@its.jnj.com)   Knepp (jknepp5@its.jnj.com)                             10/21/2014   support.

                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                               Cornely, Thomas; Guiton,                       Thomas Cornely            Thomas Cornely           (cguiton@its.jnj.com); Matthew Hales (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James
805   JANSSENBIO‐PL‐0000563   JANSSENBIO‐PL_2‐0000594                                                       Withheld   docx    Christopher                 Attorney‐Client    (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    Knepp (jknepp5@its.jnj.com)                                                                                                                                                                                                                                10/21/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                regarding preparation/review of internal training or
                                                                                                                               Cornely, Thomas; Guiton,                                                                          Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Matthew Hales              James Knepp (jknepp5@its.jnj.com); Thomas                                                                                                                  internal guidance concerning practice management or IOI
806   JANSSENBIO‐PL‐0000564   JANSSENBIO‐PL_2‐0000595                                                       Withheld   eMail   Christopher                 Attorney‐Client                                                       (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James Knepp (jknepp5@its.jnj.com)                  Cornely (tcornel@its.jnj.com)                  Matthew Hales (mhales2@its.jnj.com)                                                            10/17/2014   support.

                                                                                                                               Cornely, Thomas; Guiton,                       Matthew Hales             Matthew Hales            Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Matthew Hales
807   JANSSENBIO‐PL‐0000565   JANSSENBIO‐PL_2‐0000596                                                       Withheld   docx    Christopher                 Attorney‐Client    (mhales2@its.jnj.com)     (mhales2@its.jnj.com)    (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James Knepp (jknepp5@its.jnj.com)                                                                                                                                                                10/17/2014
                                                                                                                                                                                                                                                                                                                                              Catherine Sicari ^ (csicari@its.jnj.com);                                                                                                                  Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^             Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                regarding preparation/review of internal training or
                                                                                                                               Cornely, Thomas; Guiton,                                                                          (cguiton@its.jnj.com); Matthew Hales (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James         Matthew Hales (mhales2@its.jnj.com); Thomas                                                                                                                internal guidance concerning practice management or IOI
808   JANSSENBIO‐PL‐0000566   JANSSENBIO‐PL_2‐0000597                                                       Withheld   eMail   Christopher                 Attorney‐Client                                                       Knepp (jknepp5@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com)                                        Cornely (tcornel@its.jnj.com)                  James Knepp (jknepp5@its.jnj.com)                                                              10/22/2014   support.

                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                               Cornely, Thomas; Guiton,                       Anna Maria Acquaviva      James Knepp              (cguiton@its.jnj.com); Matthew Hales (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James
809   JANSSENBIO‐PL‐0000567   JANSSENBIO‐PL_2‐0000598                                                       Withheld   pptx    Christopher                 Attorney‐Client    (aacqua23@its.jnj.com)    (jknepp5@its.jnj.com)    Knepp (jknepp5@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com)                                                                                                                                                                                      10/22/2014

                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                               Cornely, Thomas; Guiton,                       James Knepp               James Knepp              (cguiton@its.jnj.com); Matthew Hales (mhales2@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James
810   JANSSENBIO‐PL‐0000568   JANSSENBIO‐PL_2‐0000599                                                       Withheld   docx    Christopher                 Attorney‐Client    (jknepp5@its.jnj.com)     (jknepp5@its.jnj.com)    Knepp (jknepp5@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com)                                                                                                                                                                                      10/22/2014




                                                                                                                                                                                                                                 Stacy Aiken (saiken@its.jnj.com); Heather Berardi (hberardi@its.jnj.com); Mary Bradley
                                                                                                                                                                                                                                 (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer
                                                                                                                                                                                                                                 (tbrintz2@its.jnj.com); James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Sujata
                                                                                                                                                                                                                                 Dayal (sdayal@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                                                 (jdigiaco@its.jnj.com); Nancy Dougherty (ndoughe@its.jnj.com); Michael Driscoll (mdrisco1@its.jnj.com);
                                                                                                                                                                                                                                 Nicole Duncan (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Sheila Faella
                                                                                                                                                                                                                                 (sfaella@its.jnj.com); AJ Ford (aford@its.jnj.com); Kader Garnier (kgarnier@its.jnj.com); Gina Giordano
                                                                                                                                                                                                                                 (ggiordan@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary
                                                                                                                                                                                                                                 Graham (mgraham1@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                                                 (tgrimes@its.jnj.com); Samantha Hand (shand@its.jnj.com); Aimee Hawkins (ahawkin1@its.jnj.com); Jia
                                                                                                                                                                                                                                 Huey Huey (jhuey@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); Deborah Lake
                                                                                                                                                                                                                                 (dlake@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Irma Marino (imarino1@its.jnj.com); Nancy Mark
                                                                                                                                                                                                                                 (nmark3@its.jnj.com); Emmy Martens (emarten1@its.jnj.com); Upasana Marwah
                                                                                                                                                                                                                                 (umarwah2@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
                                                                                                                                                                                                                                 (pmcarth1@its.jnj.com); Roxanne McGregor‐Beck (rmcgrego@its.jnj.com); Jeffrey Mohan
                                                                                                                                                                                                                                 (jmohan1@its.jnj.com); John Newman (jnewma14@its.jnj.com); Alexander Nierstrasz
                                                                                                                                                                                                                                 (anierstr@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Sheetal
                                                                                                                                                                                                                                 Patel (spate120@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Kathryn Roberts
                                                                                                                                                                                                                                 (krober10@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Michele Scott (mscott12@its.jnj.com);
                                                                                                                                                                                                                                 Sue Seferian ^ (sseferia@its.jnj.com); Hira Shah (hshah21@its.jnj.com); Dorothy Sokolowski
                                                                                                                               Cornely, Thomas; Giordano,                                                                        (dsokolo@its.jnj.com); Paul Subacius (psubaciu@its.jnj.com); Michelle Turk (mturk@its.jnj.com); Amy                                                                                                                                                                     Presentation reflecting legal advice and requests for legal
                                                                                                                               Gina; Parsons, Erin; Walls,                    Angela Wood               Tammy Brintzinghoffer    Van Sant (avansant@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com);                                                                                                                                                                  advice from the Law Department ^ and Outside Counsel
811                                                     JANSSENBIO‐047‐00001688   JANSSENBIO‐047‐00001729   Redacted   pptx    Michelle                    Attorney‐Client    (awood6@its.jnj.com)      (tbrintz2@its.jnj.com)   Sherri Wright (swright1@janus.jnj.com)                                                                                                                                                                                                                       5/6/2015   regarding issues relating to promotional activities.



                                                                                                                                                                                                                                 Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Nicole Duncan                                                                                                                                                                       Presentation reflecting legal advice from In‐house
                                                                                                                                                                                                                                 (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com);                                                                                                                                                                  Counsel and Outside Counsel regarding
                                                                                                                               Cornely, Thomas; Knepp Jr.,                                                                       Timothy Grimes (tgrimes@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); James Knepp                                                                                                                                                                             preparation/review of internal training or internal
                                                                                                                               James; Parsons, Erin; Walls,                   Angela Wood               Chris Matteson           (jknepp5@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Paul                                                                                                                                                                  guidance concerning practice management or IOI
812                                                     JANSSENBIO‐047‐00001731   JANSSENBIO‐047‐00001767   Redacted   pptx    Michelle                     Attorney‐Client   (awood6@its.jnj.com)      (cmattes1@its.jnj.com)   Subacius (psubaciu@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                                                        12/7/2015   support.




                                                                                                                                                                                                                                 Heather Berardi (hberardi@its.jnj.com); Carrie Bond (cbond2@its.jnj.com); Mary Bradley
                                                                                                                                                                                                                                 (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer
                                                                                                                                                                                                                                 (tbrintz2@its.jnj.com); James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Sujata
                                                                                                                                                                                                                                 Dayal (sdayal@its.jnj.com); Nancy Dougherty (ndoughe@its.jnj.com); Michael Driscoll
                                                                                                                                                                                                                                 (mdrisco1@its.jnj.com); Nicole Duncan (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);
                                                                                                                                                                                                                                 Aida Gonzalez (agonzal2@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham
                                                                                                                                                                                                                                 (mgraham1@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);
                                                                                                                                                                                                                                 Aimee Hawkins (ahawkin1@its.jnj.com); Jia Huey Huey (jhuey@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                                 (ckauche1@its.jnj.com); Mohammed Khashab (mkhashab@its.jnj.com); James Knepp
                                                                                                                                                                                                                                 (jknepp5@its.jnj.com); Alice Lex (alex@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Irma Marino
                                                                                                                                                                                                                                 (imarino1@its.jnj.com); Emmy Martens (emarten1@its.jnj.com); Upasana Marwah
                                                                                                                                                                                                                                 (umarwah2@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
                                                                                                                                                                                                                                 (pmcarth1@its.jnj.com); Vickie McCormick (vmccorm2@its.jnj.com); Roxanne McGregor‐Beck
                                                                                                                                                                                                                                 (rmcgrego@its.jnj.com); Alexander Nierstrasz (anierstr@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);
                                                                                                                                                                                                                                 Sheetal Patel (spate120@its.jnj.com); John Riehl (jriehl1@its.jnj.com); Kathryn Roberts
                                                                                                                                                                                                                                 (krober10@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Sandra Schoenewald
                                                                                                                                                                                                                                 (sschoen@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Hira
                                                                                                                               Cornely, Thomas; Knepp Jr.,                                                                       Shah (hshah21@its.jnj.com); Dorothy Sokolowski (dsokolo@its.jnj.com); Paul Subacius                                                                                                                                                                                     Presentation reflecting legal advice and requests for legal
                                                                                                                               James; Parsons, Erin; Walls,                   Angela Wood               Tammy Brintzinghoffer    (psubaciu@its.jnj.com); Kelly Talley (ktalley6@tibus.jnj.com); Michelle Turk (mturk@its.jnj.com); Michelle                                                                                                                                                              advice from the Law Department ^ and Outside Counsel
813                                                     JANSSENBIO‐047‐00001769   JANSSENBIO‐047‐00001833   Redacted   pptx    Michelle                     Attorney‐Client   (awood6@its.jnj.com)      (tbrintz2@its.jnj.com)   Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Lee Wolf (lwolf@its.jnj.com)                                                                                                                                                                    2/8/2016   regarding issues relating to promotional activities.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Presentation reflecting legal advice from In‐house
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                                                                              Angela Wood               Tammy Brintzinghoffer                                                                                                                                                                                                                                                                            guidance concerning practice management or IOI
814                                                     JANSSENBIO‐047‐00001835   JANSSENBIO‐047‐00001872   Redacted   pptx    Cornely, Thomas             Attorney‐Client    (awood6@its.jnj.com)      (tbrintz2@its.jnj.com)   Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com)                                                                                                                                                                         11/30/2015   support.


                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Nicole Duncan
                                                                                                                                                                                                                                 (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina
                                                                                                                                                                                                                                 Giordano (ggiordan@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com); Timothy Grimes
                                                                                                                               Cornely, Thomas; Franz,                                                                           (tgrimes@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); John Newman (jnewma14@its.jnj.com);                                                                                                                                                                    Spreadsheet reflecting legal advice from In‐house
                                                                                                                               John; Giordano, Gina;                                                                             Erin Parsons (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Amy Rodriguez                                                                                                                                                                                   Counsel and Outside Counsel regarding issues relating
                                                                                                                               Parsons, Erin; Walls,                          Catherine Kaucher         Catherine Kaucher        (arodri32@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Michelle Walls (mwalls@its.jnj.com);                                                                                                                                                                      to interactions or communications between ABSs and
815                                                     JANSSENBIO‐047‐00001876   JANSSENBIO‐047‐00001876   Redacted   xlsx    Michelle; Wood, Angela      Attorney‐Client    (ckauche1@its.jnj.com)    (ckauche1@its.jnj.com)   Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                            11/7/2013   physician offices.



                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Nicole Duncan
                                                                                                                                                                                                                                 (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina
                                                                                                                                                                                                                                 Giordano (ggiordan@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com); Timothy Grimes
                                                                                                                               Cornely, Thomas; Franz,                                                                           (tgrimes@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); John Newman (jnewma14@its.jnj.com);                                                                                                                                                                    Spreadsheet reflecting legal advice from In‐house
                                                                                                                               John; Giordano, Gina;                                                                             Erin Parsons (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Amy Rodriguez                                                                                                                                                                                   Counsel and Outside Counsel regarding issues relating
                                                                                                                               Parsons, Erin; Walls,                          Catherine Kaucher         Catherine Kaucher        (arodri32@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Michelle Walls (mwalls@its.jnj.com);                                                                                                                                                                      to interactions or communications between ABSs and
816                                                     JANSSENBIO‐047‐00001878   JANSSENBIO‐047‐00001878   Redacted   xls     Michelle; Wood, Angela      Attorney‐Client    (ckauche1@its.jnj.com)    (ckauche1@its.jnj.com)   Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                            11/6/2013   physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Counsel and Outside Counsel regarding issues relating
                                                                                                                               Cornely, Thomas; Walls,                        Angela Wood               Angela Wood              Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Catherine Kaucher                                                                                                                                                                        to interactions or communications between ABSs and
817                                                     JANSSENBIO‐047‐00001880   JANSSENBIO‐047‐00001880   Redacted   xlsx    Michelle                    Attorney‐Client    (awood6@its.jnj.com)      (awood6@its.jnj.com)     (ckauche1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                              10/31/2013   physician offices.




                                                                                                                                                                                                                                 Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                                                 (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Nicole Duncan (nduncan7@its.jnj.com); Anna
                                                                                                                                                                                                                                 Estrellas (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Aida Gonzalez
                                                                                                                                                                                                                                 (agonzal2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Catherine Kaucher                                                                                                                                                                                         Spreadsheet reflecting legal advice from In‐house
                                                                                                                               Cornely, Thomas; Giordano,                                                                        (ckauche1@its.jnj.com); John Newman (jnewma14@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);                                                                                                                                                                        Counsel and Outside Counsel regarding issues relating
                                                                                                                               Gina; Parsons, Erin; Walls,                    Thomas Cornely            Thomas Cornely           Amit Patel (apatel18@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Michele Scott                                                                                                                                                                                  to interactions or communications between ABSs and
818                                                     JANSSENBIO‐047‐00001885   JANSSENBIO‐047‐00001885   Redacted   xlsx    Michelle; Wood, Angela      Attorney‐Client    (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    (mscott12@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                1/6/2014   physician offices.




                                                                                                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Diane Deloria
                                                                                                                                                                                                                                 (ddeloria@its.jnj.com); Nicole Duncan (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);
                                                                                                                                                                                                                                 Gina Giordano (ggiordan@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                                                 (tgrimes@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); John Newman (jnewma14@its.jnj.com);                                                                                                                                                                    Spreadsheet reflecting legal advice from In‐house
                                                                                                                               Cornely, Thomas; Parsons,                                                                         Erin Parsons (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Amy Rodriguez                                                                                                                                                                                   Counsel and Outside Counsel regarding issues relating
                                                                                                                               Erin; Walls, Michelle; Wood,                   Thomas Cornely            Thomas Cornely           (arodri32@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Michelle Walls (mwalls@its.jnj.com);                                                                                                                                                                      to interactions or communications between ABSs and
819                                                     JANSSENBIO‐047‐00001887   JANSSENBIO‐047‐00001887   Redacted   xlsx    Angela                       Attorney‐Client   (tcornel@its.jnj.com)     (tcornel@its.jnj.com)    Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                           2/4/2014   physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Department regarding preparation/review of internal
                                                                                                                               Cornely, Thomas; Parsons,                      Angela Andueza Munduate   Timothy Grimes           Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Timothy Grimes                                                                                                                                                                      training or internal guidance concerning practice
820                                                     JANSSENBIO‐047‐00001889   JANSSENBIO‐047‐00001903   Redacted   pptx    Erin                        Attorney‐Client    (aandueza@its.jnj.com)    (tgrimes@its.jnj.com)    (tgrimes@its.jnj.com); Erin Parsons (eparson5@its.jnj.com)                                                                                                                                                                                                   8/7/2014   management or IOI support.


                                                                                                                                                                                                                                 Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Nicole Duncan
                                                                                                                                                                                                                                 (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);                                                                                                                                                                  Spreadsheet reflecting legal advice from In‐house
                                                                                                                               Cornely, Thomas; Giordano,                                                                        Aida Gonzalez (agonzal2@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); Erin Parsons                                                                                                                                                                            Counsel and Outside Counsel regarding issues relating
                                                                                                                               Gina; Parsons, Erin; Walls,                    Tammy Brintzinghoffer     Tammy Brintzinghoffer    (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Paul                                                                                                                                                                   to interactions or communications between ABSs and
821                                                     JANSSENBIO‐047‐00001905   JANSSENBIO‐047‐00001905   Redacted   xlsx    Michelle                    Attorney‐Client    (tbrintz2@its.jnj.com)    (tbrintz2@its.jnj.com)   Subacius (psubaciu@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                                                         9/9/2014   physician offices.



                                                                                                                                                                                                                                 Heather Berardi (hberardi@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Anthony Brennan
                                                                                                                                                                                                                                 (abrenna3@its.jnj.com); Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                                                 (tcornel@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);              Heather Berardi (hberardi@its.jnj.com); Paul                                                                                                               Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Sue Seferian ^            Subacius (psubaciu@its.jnj.com); Thomas        Tammy Brintzinghoffer                                                                                       regarding issues relating to interactions or
822                                                     JANSSENBIO‐047‐00001906   JANSSENBIO‐047‐00001906   Redacted   eMail   Cornely, Thomas             Attorney‐Client                                                       (sseferia@its.jnj.com); Paul Subacius (psubaciu@its.jnj.com)                                                 Cornely (tcornel@its.jnj.com)                  (tbrintz2@its.jnj.com)                                                                         10/24/2014   communications between ABSs and physician offices.



                                                                                                                                                                                                                                 Heather Berardi (hberardi@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Anthony Brennan
                                                                                                                                                                                                                                 (abrenna3@its.jnj.com); Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Thomas Cornely                                                                                                                                                                                    Spreadsheet reflecting legal advice from In‐house
                                                                                                                                                                                                                                 (tcornel@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);                                                                                                                                                                         Counsel and Outside Counsel regarding issues relating
                                                                                                                                                                              Tammy Brintzinghoffer     Tammy Brintzinghoffer    Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Sue Seferian ^                                                                                                                                                                       to interactions or communications between ABSs and
823                                                     JANSSENBIO‐047‐00001907   JANSSENBIO‐047‐00001907   Redacted   xlsx    Cornely, Thomas             Attorney‐Client    (tbrintz2@its.jnj.com)    (tbrintz2@its.jnj.com)   (sseferia@its.jnj.com); Paul Subacius (psubaciu@its.jnj.com)                                                                                                                                                                                               10/24/2014   physician offices.




                                                                                                                                                                                                                                                                                                          29
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 31 of 201

                                                                                                                                                                                                                                                                                                                                                                                                                                                    Christopher Guiton ^ (cguiton@its.jnj.com); David
                                                                                                                                                                                                                                                                                                                                                                                                                                                    Fabbri (dfabbri@its.jnj.com); Elizabeth Lawless
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan                                                                                                                             (elawless@its.jnj.com); James Knepp                                    Email chain with attachment(s) requesting legal advice
                                                                                                                               Cornely, Thomas; Guiton,                                                                         (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                             (jknepp5@its.jnj.com); Kathryn Roberts                                 regarding preparation/review of internal training or
                                                                                                                               Christopher; Marzullo,                                                                           James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo                                                                                                                          (krober10@its.jnj.com); Paul Duncan                                    internal guidance concerning practice management or IOI
824   JANSSENBIO‐PL‐0000569   JANSSENBIO‐PL_2‐0000600                                                       Withheld   eMail   Thao; Roberts, Kathryn      Attorney‐Client                                                      (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                 Thao Marzullo (tmarzull@its.jnj.com)                Thomas Cornely (tcornel@its.jnj.com)             (pduncan9@its.jnj.com)                                     8/20/2015   support.


                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                               Cornely, Thomas; Guiton,                                                                         (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                               Christopher; Marzullo,                         Thao Marzullo            Thomas Cornely           James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo
825   JANSSENBIO‐PL‐0000570   JANSSENBIO‐PL_2‐0000601                                                       Withheld   docx    Thao; Roberts, Kathryn      Attorney‐Client    (tmarzull@its.jnj.com)   (tcornel@its.jnj.com)    (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                 8/20/2015



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                               Cornely, Thomas; Guiton,                                                                         (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                               Christopher; Marzullo,                         James Knepp              Thao Marzullo            James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo
826   JANSSENBIO‐PL‐0000571   JANSSENBIO‐PL_2‐0000602                                                       Withheld   docx    Thao; Roberts, Kathryn      Attorney‐Client    (jknepp5@its.jnj.com)    (tmarzull@its.jnj.com)   (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                 8/20/2015



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                               Cornely, Thomas; Guiton,                                                                         (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                               Christopher; Marzullo,                                                                           James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo
827   JANSSENBIO‐PL‐0000572   JANSSENBIO‐PL_2‐0000603                                                       Withheld   pdf     Thao; Roberts, Kathryn      Attorney‐Client    Megan Juskowiak                                   (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                 8/20/2015



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                               Cornely, Thomas; Guiton,                                                                         (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                               Christopher; Marzullo,                                                                           James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo
828   JANSSENBIO‐PL‐0000573   JANSSENBIO‐PL_2‐0000604                                                       Withheld   pdf     Thao; Roberts, Kathryn      Attorney‐Client    Bill Van Cleaf                                    (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                 8/20/2015



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                               Cornely, Thomas; Guiton,                                                                         (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                               Christopher; Marzullo,                                                                           James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo
829   JANSSENBIO‐PL‐0000574   JANSSENBIO‐PL_2‐0000605                                                       Withheld   pdf     Thao; Roberts, Kathryn      Attorney‐Client                                                      (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                 8/20/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Presentation reflecting legal advice from Legal
                                                                                                                                                                              Angela Wood              Thomas Cornely           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); James Knepp                                                                                                                                                                                                    Department regarding preparation/review of customer‐
830                                                     JANSSENBIO‐047‐00002177   JANSSENBIO‐047‐00002177   Redacted   pptx    Cornely, Thomas             Attorney‐Client    (awood6@its.jnj.com)     (tcornel@its.jnj.com)    (jknepp5@its.jnj.com)                                                                                                                                                                                                                                                           7/8/2015   facing practice management or IOI support material.




                                                                                                                                                                                                                                Heather Berardi (hberardi@its.jnj.com); Carrie Bond (cbond2@its.jnj.com); Mary Bradley
                                                                                                                                                                                                                                (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer
                                                                                                                                                                                                                                (tbrintz2@its.jnj.com); James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Sujata
                                                                                                                                                                                                                                Dayal (sdayal@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                                                (jdigiaco@its.jnj.com); Nancy Dougherty (ndoughe@its.jnj.com); Michael Driscoll (mdrisco1@its.jnj.com);
                                                                                                                                                                                                                                Nicole Duncan (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Sheila Faella
                                                                                                                                                                                                                                (sfaella@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com); Avis
                                                                                                                                                                                                                                Goode (agoode@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Karen Green (kgreen4@its.jnj.com);
                                                                                                                                                                                                                                Timothy Grimes (tgrimes@its.jnj.com); Aimee Hawkins (ahawkin1@its.jnj.com); Jia Huey Huey
                                                                                                                                                                                                                                (jhuey@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); Mohammed Khashab
                                                                                                                                                                                                                                (mkhashab@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Irma Marino (imarino1@its.jnj.com); Nancy
                                                                                                                                                                                                                                Mark (nmark3@its.jnj.com); Emmy Martens (emarten1@its.jnj.com); Upasana Marwah
                                                                                                                                                                                                                                (umarwah2@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
                                                                                                                                                                                                                                (pmcarth1@its.jnj.com); Roxanne McGregor‐Beck (rmcgrego@its.jnj.com); Alexander Nierstrasz
                                                                                                                                                                                                                                (anierstr@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Sheetal Patel (spate120@its.jnj.com); Martha
                                                                                                                                                                                                                                Propsner (mpropsne@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Amy Rodriguez
                                                                                                                                                                                                                                (arodri32@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Hira
                                                                                                                                                                                                                                Shah (hshah21@its.jnj.com); Dorothy Sokolowski (dsokolo@its.jnj.com); Paul Subacius
                                                                                                                               Cornely, Thomas; Giordano,                                                                       (psubaciu@its.jnj.com); Amtul Sufi (asufi@its.jnj.com); Kelly Talley (ktalley6@tibus.jnj.com); Michelle Turk                                                                                                                                                                               Presentation reflecting legal advice and requests for legal
                                                                                                                               Gina; Parsons, Erin; Walls,                    Angela Wood              Tammy Brintzinghoffer    (mturk@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Lee Wolf                                                                                                                                                                                        advice from the Law Department ^ and Outside Counsel
831                                                     JANSSENBIO‐047‐00002186   JANSSENBIO‐047‐00002239   Redacted   pptx    Michelle                    Attorney‐Client    (awood6@its.jnj.com)     (tbrintz2@its.jnj.com)   (lwolf@its.jnj.com); Sherri Wright (swright1@janus.jnj.com)                                                                                                                                                                                                                    8/19/2015   regarding issues relating to promotional activities.



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                                                    Email chain reflecting request for legal advice from Legal
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                                                                  Department regarding preparation/review of internal
                                                                                                                                                                                                                                (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                                                                                                                                                        training or internal guidance concerning practice
832                           JANSSENBIO‐PL_2‐0000606   JANSSENBIO‐064‐00000462   JANSSENBIO‐064‐00000462   Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                           Thomas Cornely (tcornel@its.jnj.com)                Cynthia Guzzo (cguzzo1@its.jnj.com)                                                                         1/12/2015   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                    Catherine Owen (cowen3@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                                                                                                                                                    Guiton ^ (cguiton@its.jnj.com); Cynthia Guzzo
                                                                                                                                                                                                                                                                                                                                                                                                                                                    (cguzzo1@its.jnj.com); Ellen Sipos (esipos@its.jnj.com);
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio                                                                                                                             Erin Parsons (eparson5@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                             (ffolio@its.jnj.com); Marti Heckman                                    Email chain providing legal advice regarding
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                           (mheckman@its.jnj.com); Michael Yang                                   preparation/review of internal training or internal
                                                                                                                                                                                                                                (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                                                                                 (myang4@its.jnj.com); Timothy Grimes                                   guidance concerning practice management or IOI
833                           JANSSENBIO‐PL_2‐0000607   JANSSENBIO‐064‐00000463   JANSSENBIO‐064‐00000463   Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                           Thomas Cornely (tcornel@its.jnj.com)                Thomas Spellman ^ (tspellma@its.jnj.com)         (tgrimes@its.jnj.com)                                      1/12/2015   support.



                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                                                (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                                                    Email chain reflecting request for legal advice from Legal
                                                                                                                                                                                                                                Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                                                                  Department regarding preparation/review of internal
                                                                                                                                                                                                                                (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                                                                                                                                                        training or internal guidance concerning practice
834                           JANSSENBIO‐PL_2‐0000608   JANSSENBIO‐064‐00000465   JANSSENBIO‐064‐00000465   Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                           Thomas Cornely (tcornel@its.jnj.com)                Michael Yang (myang4@its.jnj.com)                                                                           1/12/2015   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           preparation/review of internal training or internal
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts              Kathryn Roberts (krober10@its.jnj.com); Thomas                                                                                                                              guidance concerning practice management or IOI
835   JANSSENBIO‐PL‐0000578   JANSSENBIO‐PL_2‐0000609                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      (krober10@its.jnj.com)                                                                                         Cornely (tcornel@its.jnj.com)                  Christopher Guiton ^ (cguiton@its.jnj.com)                                                                        1/7/2015   support.
                                                                                                                                                                              Angela Wood              Thomas Cornely           Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts
836   JANSSENBIO‐PL‐0000579   JANSSENBIO‐PL_2‐0000610                                                       Withheld   pptx    Cornely, Thomas             Attorney‐Client    (awood6@its.jnj.com)     (tcornel@its.jnj.com)    (krober10@its.jnj.com)                                                                                                                                                                                                                                                          1/7/2015
                                                                                                                                                                                                                                                                                                                                               Amy Van Sant (avansant@its.jnj.com); Catherine
                                                                                                                                                                                                                                                                                                                                               Kaucher (ckauche1@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                                               Guiton ^ (cguiton@its.jnj.com); Erin Wells
                                                                                                                                                                                                                                                                                                                                               (ewells@its.jnj.com); James Burrus
                                                                                                                                                                                                                                                                                                                                               (jburrus@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                                               (khamill@cntus.jnj.com); Kathryn Roberts
                                                                                                                                                                                                                                James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^                 (krober10@its.jnj.com); Michelle Turk
                                                                                                                               Cornely, Thomas; Guiton,                                                                         (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Catherine Kaucher                            (mturk@its.jnj.com); Michelle Walls
                                                                                                                               Christopher; Hamill,                                                                             (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);              (mwalls@its.jnj.com); Thomas Cornely                                                                                                                                        Email with attachment(s) requesting legal advice
                                                                                                                               Kathleen; Roberts, Kathryn;                                                                      Michelle Turk (mturk@its.jnj.com); Amy Van Sant (avansant@its.jnj.com); Michelle Walls                         (tcornel@its.jnj.com); Vera Makar                                                                                                                                           regarding issues relating to interactions or
837                           JANSSENBIO‐PL_2‐0000611   JANSSENBIO‐047‐00002244   JANSSENBIO‐047‐00002244   Withheld   eMail   Walls, Michelle             Attorney‐Client                                                      (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela Wood (awood6@its.jnj.com)                        (vmakar1@its.jnj.com)                               Angela Wood (awood6@its.jnj.com)                                                                            5/24/2013   communications between ABSs and physician offices.



                                                                                                                                                                                                                                James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                               Cornely, Thomas; Guiton,                                                                         (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Catherine Kaucher
                                                                                                                               Christopher; Hamill,                                                                             (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);
                                                                                                                               Kathleen; Roberts, Kathryn;                    Angela Wood              Angela Wood              Michelle Turk (mturk@its.jnj.com); Amy Van Sant (avansant@its.jnj.com); Michelle Walls
838                           JANSSENBIO‐PL_2‐0000612   JANSSENBIO‐047‐00002245   JANSSENBIO‐047‐00002245   Withheld   xlsx    Walls, Michelle             Attorney‐Client    (awood6@its.jnj.com)     (awood6@its.jnj.com)     (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                        5/24/2013
                                                                                                                                                                                                                                                                                                                                               Aida Gonzalez (agonzal2@its.jnj.com); Amit Patel
                                                                                                                                                                                                                                                                                                                                               (apatel18@its.jnj.com); Angela Wood
                                                                                                                                                                                                                                                                                                                                               (awood6@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                                                                                                                                               (ckauche1@its.jnj.com); Diane Deloria
                                                                                                                                                                                                                                                                                                                                               (ddeloria@its.jnj.com); Erin Parsons
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); John Franz                         (eparson5@its.jnj.com); Gina Giordano
                                                                                                                                                                                                                                (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com);              (ggiordan@its.jnj.com); Michele Scott                                                                                                                                       Email communication reflecting legal advice from Legal
                                                                                                                               Cornely, Thomas; Parsons,                                                                        Timothy Grimes (tgrimes@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); Erin Parsons                   (mscott12@its.jnj.com); Michelle Walls                                                                                                                                      Department regarding preparation/review of internal
                                                                                                                               Erin; Walls, Michelle; Wood,                                                                     (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Michele Scott (mscott12@its.jnj.com);               (mwalls@its.jnj.com); Thomas Cornely                                                                                                                                        training or internal guidance concerning practice
839                                                     JANSSENBIO‐047‐00002246   JANSSENBIO‐047‐00002247   Redacted   eMail   Angela                       Attorney‐Client                                                     Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                          (tcornel@its.jnj.com)                                John Franz (jfranz@its.jnj.com)                 Timothy Grimes (tgrimes@its.jnj.com)                       5/30/2013   management or IOI support.
                                                                                                                                                                                                                                                                                                                                               Aida Gonzalez (agonzal2@its.jnj.com); Anna
                                                                                                                                                                                                                                                                                                                                               Estrellas (aestrellas@its.jnj.com); Bryan Law
                                                                                                                                                                                                                                                                                                                                               (blaw13@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                                                                                                                                               (ckauche1@its.jnj.com); Christy Stickle ^
                                                                                                                                                                                                                                                                                                                                               (cstickle@its.jnj.com); Craig Gwozdziewicz
                                                                                                                                                                                                                                                                                                                                               (cgwozdzi@its.jnj.com); DL‐NA Pharm SCG (dl‐
                                                                                                                                                                                                                                                                                                                                               cntus‐napharmscg@its.jnj.com); Erin Parsons
                                                                                                                                                                                                                                                                                                                                               (eparson5@its.jnj.com); Gina Giordano
                                                                                                                                                                                                                                                                                                                                               (ggiordan@its.jnj.com); J&J Legal Education and
                                                                                                                                                                                                                                                                                                                                               Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com); James
                                                                                                                                                                                                                                                                                                                                               Knepp (jknepp5@its.jnj.com); John Newman
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Nicole Duncan (nduncan7@its.jnj.com); Anna Estrellas                     (jnewma14@its.jnj.com); Michele Scott
                                                                                                                                                                                                                                (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com);          (mscott12@its.jnj.com); Michelle Walls
                                                                                                                                                                                                                                Timothy Grimes (tgrimes@its.jnj.com); Craig Gwozdziewicz (cgwozdzi@its.jnj.com); Catherine Kaucher             (mwalls@its.jnj.com); Nicole Duncan
                                                                                                                                                                                                                                (ckauche1@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Bryan Law (blaw13@its.jnj.com); Upasana             (nduncan7@its.jnj.com); Paul Subacius
                                                                                                                                                                                                                                Marwah (umarwah2@its.jnj.com); John Newman (jnewma14@its.jnj.com); Erin Parsons                                (psubaciu@its.jnj.com); Polina Pomerants
                                                                                                                                                                                                                                (eparson5@its.jnj.com); Polina Pomerants (ppomera@its.jnj.com); Shannon Richards                               (ppomera@its.jnj.com); Shannon Richards
                                                                                                                                                                                                                                (srichar7@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Christy Stickle ^ (cstickle@its.jnj.com); Paul   (srichar7@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                                                Subacius (psubaciu@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); DL‐NA Pharm SCG (dl‐cntus‐               (tcornel@its.jnj.com); Timothy Grimes                                                                                                                                       Email communication providing legal advice from Legal
                                                                                                                                                                                                                                napharmscg@its.jnj.com); J&J Legal Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com); J&J Legal      (tgrimes@its.jnj.com); Upasana Marwah                J&J Legal Education and Training ^ (ra‐jjcus‐                                                                          Department regarding issues relating to lawfulness of
840   JANSSENBIO‐PL‐0000580                             JANSSENBIO‐048‐00000155   JANSSENBIO‐048‐00000156   Redacted   eMail   Cornely, Thomas             Attorney‐Client                                                      Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com)                                                    (umarwah2@its.jnj.com)                               jnjlegalent@its.jnj.com)                                                                                   12/3/2015   practice management or IOI support services.
                                                                                                                                                                                                                                                                                                                                               Aida Gonzalez (agonzal2@its.jnj.com); Anna
                                                                                                                                                                                                                                                                                                                                               Estrellas (aestrellas@its.jnj.com); Bryan Law
                                                                                                                                                                                                                                                                                                                                               (blaw13@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                                                                                                                                               (ckauche1@its.jnj.com); Christy Stickle ^
                                                                                                                                                                                                                                                                                                                                               (cstickle@its.jnj.com); Craig Gwozdziewicz
                                                                                                                                                                                                                                                                                                                                               (cgwozdzi@its.jnj.com); Diane Deloria
                                                                                                                                                                                                                                                                                                                                               (ddeloria@its.jnj.com); DL‐NA Pharm SCG (dl‐
                                                                                                                                                                                                                                                                                                                                               cntus‐napharmscg@its.jnj.com); Erin Parsons
                                                                                                                                                                                                                                                                                                                                               (eparson5@its.jnj.com); Gina Giordano
                                                                                                                                                                                                                                                                                                                                               (ggiordan@its.jnj.com); J&J Legal Education and
                                                                                                                                                                                                                                                                                                                                               Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com); James
                                                                                                                                                                                                                                                                                                                                               Knepp (jknepp5@its.jnj.com); John Newman
                                                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Nicole Duncan                      (jnewma14@its.jnj.com); Michele Scott
                                                                                                                                                                                                                                (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);         (mscott12@its.jnj.com); Michelle Walls
                                                                                                                                                                                                                                Aida Gonzalez (agonzal2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Craig Gwozdziewicz                 (mwalls@its.jnj.com); Nicole Duncan
                                                                                                                                                                                                                                (cgwozdzi@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); James Knepp (jknepp5@its.jnj.com);           (nduncan7@its.jnj.com); Paul Subacius
                                                                                                                                                                                                                                Bryan Law (blaw13@its.jnj.com); Upasana Marwah (umarwah2@its.jnj.com); John Newman                             (psubaciu@its.jnj.com); Polina Pomerants
                                                                                                                                                                                                                                (jnewma14@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Polina Pomerants (ppomera@its.jnj.com);           (ppomera@its.jnj.com); Shannon Richards
                                                                                                                                                                                                                                Shannon Richards (srichar7@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Christy Stickle ^               (srichar7@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                                                (cstickle@its.jnj.com); Paul Subacius (psubaciu@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); DL‐NA       (tcornel@its.jnj.com); Timothy Grimes                                                                                                                                       Email communication providing legal advice from Legal
                                                                                                                                                                                                                                Pharm SCG (dl‐cntus‐napharmscg@its.jnj.com); J&J Legal Education and Training ^ (ra‐jjcus‐                     (tgrimes@its.jnj.com); Upasana Marwah                J&J Legal Education and Training ^ (ra‐jjcus‐                                                                          Department regarding issues relating to lawfulness of
841   JANSSENBIO‐PL‐0000581                             JANSSENBIO‐048‐00000157   JANSSENBIO‐048‐00000158   Redacted   eMail   Cornely, Thomas             Attorney‐Client                                                      jnjlegalent@its.jnj.com); J&J Legal Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com)                (umarwah2@its.jnj.com)                               jnjlegalent@its.jnj.com)                                                                                   12/4/2015   practice management or IOI support services.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           internal guidance concerning practice management or IOI
842   JANSSENBIO‐PL‐0000582   JANSSENBIO‐PL_2‐0000613                                                       Withheld   eMail   Cornely, Thomas             Attorney‐Client                                                      Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com)                               Christopher Guiton ^ (cguiton@its.jnj.com)          Thomas Cornely (tcornel@its.jnj.com)                                                                         1/7/2015   support.
                                                                                                                                                                              Angela Wood              Thomas Cornely
843   JANSSENBIO‐PL‐0000583   JANSSENBIO‐PL_2‐0000614                                                       Withheld   pptx    Cornely, Thomas             Attorney‐Client    (awood6@its.jnj.com)     (tcornel@its.jnj.com)    Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com)                                                                                                                                                                                                1/7/2015




                                                                                                                                                                                                                                                                                                           30
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 32 of 201

                                                                                                                                                                                                                                                                                                                                                                                                Angela Wood (awood6@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                                                                                                Guiton ^ (cguiton@its.jnj.com); David Fabbri
                                                                                                                                                                                                                                                                                                                                                                                                (dfabbri@its.jnj.com); Eric Monzon
                                                                                                                                                                                                                                                                                                                                                                                                (emonzon1@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                                                                                                                                                                                (ktrahan@its.jnj.com); Kathryn Roberts
                                                                                                                                                                                                                                           Melissa Ayers (mayers2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan                                                               (krober10@its.jnj.com); Melissa Ayers                                                                                                                                                    Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                           (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                              (mayers2@its.jnj.com); Paul Duncan                                                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                                                                                                           Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Karen Trahan                                                             (pduncan9@its.jnj.com); Thomas Cornely                                                                                                                                                   internal guidance concerning practice management or IOI
844   JANSSENBIO‐PL‐0000584   JANSSENBIO‐PL_2‐0000615                                                       Withheld   eMail   Cornely, Thomas              Attorney‐Client                                                                (ktrahan@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                            (tcornel@its.jnj.com)                         Angela Wood (awood6@its.jnj.com)                                                                                                6/4/2013   support.



                                                                                                                                                                                                                                           Melissa Ayers (mayers2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                                                                                                                                           (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                              James Knepp                 John Monzon                      Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Karen Trahan
845   JANSSENBIO‐PL‐0000585   JANSSENBIO‐PL_2‐0000616                                                       Withheld   pptx    Cornely, Thomas              Attorney‐Client   (jknepp5@its.jnj.com)       (emonzon1@ITS.JNJ.COM)           (ktrahan@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                          6/4/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum reflecting counsel's request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         information for the purpose of providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         from Legal Department regarding issues relating to
                                                                                                                                                                              Gardner Gendron             Paul Williams ^                                                                                                                                                                                                                                                                                                                                                                lawfulness of practice management or IOI support
846   JANSSENBIO‐PL‐0000586   JANSSENBIO‐PL_2‐0000617                                                       Withheld   doc     Trahan, Karen                Attorney‐Client   (ggendron2@cntus.jnj.com)   (pwilli13@cntus.jnj.com)                                                                                                                                                                                                                                                                                                                                           8/16/2005   services.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email requesting legal advice from Legal Department
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Thomas Cornely                     regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      (tcornel@its.jnj.co                internal guidance concerning practice management or IOI
847                                                     JANSSENBIO‐060‐00001137   JANSSENBIO‐060‐00001139   Redacted   eMail   Cornely, Thomas              Attorney‐Client                                                                                                                                                                                                                     Chris Matteson (cmattes1@its.jnj.com)              Thomas Cornely (tcornel@its.jnj.com)       Timothy Grimes (tgrimes@its.jnj.com)                    m)                     8/13/2014   support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum from Sue Seferian ^ providing legal
                                                                                                                                                                              Dale Diefenderfer           Dale Diefenderfer                                                                                                                                                                                                                                                                                                                                                              adviceregarding issues relating to interactions or
848   JANSSENBIO‐PL‐0000587   JANSSENBIO‐PL_2‐0000618                                                       Withheld   doc     Ziskind, Michael             Attorney‐Client   (ddiefend@its.jnj.com)      (ddiefend@its.jnj.com)                                                                                                                                                                                                                                                                                                                                            11/13/2000   communications between ABSs and physician offices.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum providing legal advice from Outside
                                                                                                                                                                              Thomas Felton ^             Michael Ziskind                                                                                                                                                                                                                                                                                                                                                                Counsel regarding preparation/review of customer‐
849                           JANSSENBIO‐PL_2‐0000619   JANSSENBIO‐043‐00001611   JANSSENBIO‐043‐00001614   Withheld   DOC     Ziskind, Michael             Attorney‐Client   (tfelton@akingump.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                                                            3/1/2005   facing practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum providing legal advice from Outside
                                                                                                                                                                              Thomas Felton ^             Michael Ziskind                                                                                                                                                                                                                                                                                                                                                                Counsel regarding preparation/review of customer‐
850                           JANSSENBIO‐PL_2‐0000620   JANSSENBIO‐053‐00009662   JANSSENBIO‐053‐00009663   Withheld   DOC     Ziskind, Michael             Attorney‐Client   (tfelton@akingump.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                                                           5/13/2005   facing practice management or IOI support material.
                                                                                                                                                                                                          Michael Ziskind                                                                                                                                                                                                                                                                                                                                                                Presentation providing legal advice from Freddy Jimenez
851   JANSSENBIO‐PL‐0000588   JANSSENBIO‐PL_2‐0000621                                                       Withheld   ppt     Ziskind, Michael             Attorney‐Client   Centocor, Inc.              (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                                                            3/5/2002   ^ regarding Patient Privacy .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Embedded file in presentation reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         internal guidance concerning practice management or IOI
852   JANSSENBIO‐PL‐0000589   JANSSENBIO‐PL_2‐0000622                                                       Withheld           Ziskind, Michael             Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                                                   3/5/2002   support.
                                                                                                                                                                              Ty Howton                   Michael Ziskind                                                                                                                                                                                                                                                                                                                                                                Report providing legal advice from Sidley Austin ^
853   JANSSENBIO‐PL‐0000590   JANSSENBIO‐PL_2‐0000623                                                       Withheld   DOC     Ziskind, Michael             Attorney‐Client   (ty_howton@vrtx.com)        (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                                                           7/19/2002   regarding federal healthcare laws and regulations.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email with attachment(s) providing information to
                                                                                                                                                                                                                                           Eileen Austra ^ (eaustra1@its.jnj.com); Brandon Fox (bfox3@its.jnj.com); Kathleen Hamill ^                                                                                                                                                         Lydia Laakman (llaakman@its.jnj.com); Michael Ziskind                                      counsel for the purpose of receiving legal advice
                                                                                                                               Hamill, Kathleen; Ziskind,                                                                                  (khamill@cntus.jnj.com); Lydia Laakman (llaakman@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);                                                 Eileen Austra ^ (eaustra1@its.jnj.com); Kathleen                                              (mziskind@cntus.jnj.com); Peggy Mellody                                                    regarding preparation/review of customer‐facing practice
854   JANSSENBIO‐PL‐0000595   JANSSENBIO‐PL_2‐0000624                                                       Withheld   eMail   Michael                      Attorney‐Client                                                                Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                             Hamill ^ (khamill@cntus.jnj.com)                   Brandon Fox (bfox3@its.jnj.com)            (pmellody@its.jnj.com)                                                          6/8/2015   management or IOI support material.

                                                                                                                                                                                                                                           Eileen Austra ^ (eaustra1@its.jnj.com); Brandon Fox (bfox3@its.jnj.com); Kathleen Hamill ^
                                                                                                                               Hamill, Kathleen; Ziskind,                                                                                  (khamill@cntus.jnj.com); Lydia Laakman (llaakman@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
855   JANSSENBIO‐PL‐0000596   JANSSENBIO‐PL_2‐0000625                                                       Withheld   pdf     Michael                      Attorney‐Client                                                                Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                           6/8/2015

                                                                                                                                                                                                                                           Eileen Austra ^ (eaustra1@its.jnj.com); Brandon Fox (bfox3@its.jnj.com); Kathleen Hamill ^
                                                                                                                               Hamill, Kathleen; Ziskind,                                                                                  (khamill@cntus.jnj.com); Lydia Laakman (llaakman@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
856   JANSSENBIO‐PL‐0000597   JANSSENBIO‐PL_2‐0000626                                                       Withheld   pdf     Michael                      Attorney‐Client                                                                Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                           6/8/2015



                                                                                                                                                                                                                                           Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                         Christine Pierce (cpierce@consultresourcegroup.com);                                       Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                           (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce                                                                 Michael Ziskind (mziskind@cntus.jnj.com); Peggy                                               Jorge Lopez ^ (jlopez@akingump.com); Ziskind Family                                        preparation/review of customer facing regulatory
857                           JANSSENBIO‐PL_2‐0000627                                                       Withheld   eMail   Ziskind, Michael             Attorney‐Client                                                                (cpierce@consultresourcegroup.com); Ziskind Family (mikeingrid@verizon.net)                                                                          Mellody (pmellody@its.jnj.com)                  John Siracusa ^ (jsiracusa@akingump.com)      (mikeingrid@verizon.net)                                                       1/14/2014   update.



                                                                                                                                                                                                                                           Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                              Ami Patel ^                 John Siracusa ^                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
858                           JANSSENBIO‐PL_2‐0000628                                                       Withheld   PPTX    Ziskind, Michael             Attorney‐Client   (APatel65@its.jnj.com)      (jsiracusa@akingump.com)         (cpierce@consultresourcegroup.com); Ziskind Family (mikeingrid@verizon.net)                                                                                                                                                                                                                                                       1/14/2014



                                                                                                                                                                              Kristen Henderson ^                                          Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                              (khenderson@akingump.com John Siracusa ^                     (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
859                           JANSSENBIO‐PL_2‐0000629                                                       Withheld   xlsx    Ziskind, Michael             Attorney‐Client   )                        (jsiracusa@akingump.com)            (cpierce@consultresourcegroup.com); Ziskind Family (mikeingrid@verizon.net)                                                                                                                                                                                                                                                       1/14/2014



                                                                                                                                                                              Mara McDermott ^                                             Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                              (mmcdermott@akingump.co Kelly Cleary ^                       (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
860                           JANSSENBIO‐PL_2‐0000630                                                       Withheld   xlsx    Ziskind, Michael             Attorney‐Client   m)                      (kcleary@akingump.com)               (cpierce@consultresourcegroup.com); Ziskind Family (mikeingrid@verizon.net)                                                                                                                                                                                                                                                       1/14/2014



                                                                                                                                                                                                                                           Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                              Kelly Cleary ^              John Siracusa ^                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
861                           JANSSENBIO‐PL_2‐0000631                                                       Withheld   xlsx    Ziskind, Michael             Attorney‐Client   (kcleary@akingump.com)      (jsiracusa@akingump.com)         (cpierce@consultresourcegroup.com); Ziskind Family (mikeingrid@verizon.net)                                                                                                                                                                                                                                                       1/14/2014

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                           Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                                                                                                    from In‐house Counsel and Outside Counsel regarding
                                                                                                                                                                                                                                           (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce                                                                                                                                                                                                                                                          preparation/review of customer‐facing practice
862                           JANSSENBIO‐PL_2‐0000632                                                       Withheld   eMail   Ziskind, Michael             Attorney‐Client                                                                (cpierce@consultresourcegroup.com)                                                                                                                   Michael Ziskind (mziskind@cntus.jnj.com)           Peggy Mellody (pmellody@its.jnj.com)                                                                                       3/3/2014   management or IOI support material.

                                                                                                                                                                                                                                           Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                                                           (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
863                           JANSSENBIO‐PL_2‐0000633                                                       Withheld   DOCX    Ziskind, Michael             Attorney‐Client                                                                (cpierce@consultresourcegroup.com)                                                                                                                                                                                                                                                                                                 3/3/2014

                                                                                                                                                                                                                                           Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                                                           (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
864                           JANSSENBIO‐PL_2‐0000634                                                       Withheld   DOCX    Ziskind, Michael             Attorney‐Client                                                                (cpierce@consultresourcegroup.com)                                                                                                                                                                                                                                                                                                 3/3/2014

                                                                                                                                                                              Kristen Henderson ^                                          Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                              (khenderson@akingump.com John Siracusa ^                     (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
865                           JANSSENBIO‐PL_2‐0000635                                                       Withheld   DOCX    Ziskind, Michael             Attorney‐Client   )                        (jsiracusa@akingump.com)            (cpierce@consultresourcegroup.com)                                                                                                                                                                                                                                                                                                 3/3/2014
                                                                                                                                                                                                                                                                                                                                                     Christine Pierce
                                                                                                                                                                                                                                                                                                                                                     (cpierce@consultresourcegroup.com); John                                                                                                                                                                                            Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                     Siracusa ^ (jsiracusa@akingump.com); Jorge                                                                                                                                                                                          from Akin Gump ^ regarding preparation/review of
866                           JANSSENBIO‐PL_2‐0000636                                                       Withheld   eMail   Ziskind, Michael             Attorney‐Client                                                                                                                                                                          Lopez ^ (jlopez@akingump.com); Michael     Michael Ziskind (mziskind@cntus.jnj.com)           Peggy Mellody (pmellody@its.jnj.com)                                                                                      2/20/2014   customer facing regulatory update.
867                           JANSSENBIO‐PL_2‐0000637                                                       Withheld   DOCX    Ziskind, Michael             Attorney‐Client                                                                                                                                                                                                                                                                                                                                                                                                  2/20/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                           Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                                                                                                                                                                                                                                               regarding preparation/review of customer facing
868                           JANSSENBIO‐PL_2‐0000638                                                       Withheld   eMail   Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                             Michael Ziskind (mziskind@cntus.jnj.com)           John Siracusa ^ (jsiracusa@akingump.com)   Peggy Mellody (pmellody@its.jnj.com)                                           7/10/2015   regulatory update.
                                                                                                                                                                              Michael Ziskind             John Siracusa ^                  Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
869                           JANSSENBIO‐PL_2‐0000639                                                       Withheld   DOCX    Ziskind, Michael             Attorney‐Client   (mziskind@cntus.jnj.com)    (jsiracusa@akingump.com)         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                          7/10/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum reflecting legal advice from Legal
                                                                                                                                                                              Catherine Kaucher                                            John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Fizza Suri (fsuri@its.jnj.com);                                                                                                                                                                                                                                           Department regarding preparation/review of customer‐
870                                                     JANSSENBIO‐047‐00008759   JANSSENBIO‐047‐00008759   Redacted   docx    Ziskind, Michael             Attorney‐Client   (ckauche1@its.jnj.com)      Fizza Suri (fsuri@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                         10/18/2013   facing practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                Christine Pierce
                                                                                                                                                                                                                                                                                                                                                                                                (cpierce@consultresourcegroup.com); John
                                                                                                                                                                                                                                                                                                                                                                                                Siracusa ^ (jsiracusa@akingump.com); Jorge                                                                                                                                               Email with attachment(s) collecting information at
                                                                                                                                                                                                                                                                                                                                                                                                Lopez ^ (jlopez@akingump.com); Peggy Mellody                                                                                                                                             direction of counsel for the purpose of providing legal
                                                                                                                                                                                                                                                                                                                                                                                                (pmellody@its.jnj.com); Shawn Brinson                                                                                                                                                    advice regarding preparation/review of customer‐facing
871                           JANSSENBIO‐PL_2‐0000640                                                       Withheld   eMail   Ziskind, Michael             Attorney‐Client                                                                                                                                                                                                                     (sbrinson@its.jnj.com)                                                                                                                                                      12/18/2013   practice management or IOI support material.
                                                                                                                                                                              Michael Ziskind             Michael Ziskind
872                           JANSSENBIO‐PL_2‐0000641                                                       Withheld   docx    Ziskind, Michael             Attorney‐Client   (mziskind@cntus.jnj.com)    (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                                                          12/18/2013

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody                                                                                                                                                                                                                                                    Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                                                                    Michael Ziskind (mziskind@cntus.jnj.com); Peggy                                               Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^                                      preparation/review of customer‐facing practice
873                           JANSSENBIO‐PL_2‐0000642   JANSSENBIO‐053‐00010175   JANSSENBIO‐053‐00010175   Withheld   eMail   Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                             Mellody (pmellody@its.jnj.com)                  John Siracusa ^ (jsiracusa@akingump.com)      (jlopez@akingump.com)                                                           7/2/2015   management or IOI support material.

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
874                           JANSSENBIO‐PL_2‐0000643   JANSSENBIO‐053‐00010176   JANSSENBIO‐053‐00010176   Withheld   pdf     Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
875                           JANSSENBIO‐PL_2‐0000644   JANSSENBIO‐053‐00010177   JANSSENBIO‐053‐00010177   Withheld   pdf     Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
876                           JANSSENBIO‐PL_2‐0000645   JANSSENBIO‐053‐00010178   JANSSENBIO‐053‐00010185   Withheld   pdf     Ziskind, Michael             Attorney‐Client   CMS/CM/PCG/DPIPD                                             (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
877                           JANSSENBIO‐PL_2‐0000646   JANSSENBIO‐053‐00010186   JANSSENBIO‐053‐00010187   Withheld   pdf     Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
878                           JANSSENBIO‐PL_2‐0000647   JANSSENBIO‐053‐00010188   JANSSENBIO‐053‐00010188   Withheld   pdf     Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
879                           JANSSENBIO‐PL_2‐0000648   JANSSENBIO‐053‐00010189   JANSSENBIO‐053‐00010190   Withheld   pdf     Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
880                           JANSSENBIO‐PL_2‐0000649   JANSSENBIO‐053‐00010191   JANSSENBIO‐053‐00010191   Withheld   pdf     Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
881                           JANSSENBIO‐PL_2‐0000650   JANSSENBIO‐053‐00010192   JANSSENBIO‐053‐00010192   Withheld   pdf     Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
882                           JANSSENBIO‐PL_2‐0000651   JANSSENBIO‐053‐00010193   JANSSENBIO‐053‐00010193   Withheld   pdf     Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
883                           JANSSENBIO‐PL_2‐0000652   JANSSENBIO‐053‐00010194   JANSSENBIO‐053‐00010195   Withheld   pdf     Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
884                           JANSSENBIO‐PL_2‐0000653   JANSSENBIO‐053‐00010196   JANSSENBIO‐053‐00010196   Withheld   pdf     Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015

                                                                                                                                                                                                                                           Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                                           (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
885                           JANSSENBIO‐PL_2‐0000654   JANSSENBIO‐053‐00010197   JANSSENBIO‐053‐00010197   Withheld   pdf     Ziskind, Michael             Attorney‐Client                                                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                                           7/2/2015




                                                                                                                                                                                                                                                                                                                     31
                                                                                                             Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 33 of 201


                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
886                           JANSSENBIO‐PL_2‐0000655   JANSSENBIO‐053‐00010198   JANSSENBIO‐053‐00010198   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
887                           JANSSENBIO‐PL_2‐0000656   JANSSENBIO‐053‐00010199   JANSSENBIO‐053‐00010199   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
888                           JANSSENBIO‐PL_2‐0000657   JANSSENBIO‐053‐00010200   JANSSENBIO‐053‐00010200   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
889                           JANSSENBIO‐PL_2‐0000658   JANSSENBIO‐053‐00010201   JANSSENBIO‐053‐00010201   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
890                           JANSSENBIO‐PL_2‐0000659   JANSSENBIO‐053‐00010202   JANSSENBIO‐053‐00010202   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
891                           JANSSENBIO‐PL_2‐0000660   JANSSENBIO‐053‐00010203   JANSSENBIO‐053‐00010209   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
892                           JANSSENBIO‐PL_2‐0000661   JANSSENBIO‐053‐00010210   JANSSENBIO‐053‐00010211   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
893                           JANSSENBIO‐PL_2‐0000662   JANSSENBIO‐053‐00010212   JANSSENBIO‐053‐00010212   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
894                           JANSSENBIO‐PL_2‐0000663   JANSSENBIO‐053‐00010213   JANSSENBIO‐053‐00010213   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
895                           JANSSENBIO‐PL_2‐0000664   JANSSENBIO‐053‐00010214   JANSSENBIO‐053‐00010214   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
896                           JANSSENBIO‐PL_2‐0000665   JANSSENBIO‐053‐00010215   JANSSENBIO‐053‐00010229   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
897                           JANSSENBIO‐PL_2‐0000666   JANSSENBIO‐053‐00010230   JANSSENBIO‐053‐00010231   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
898                           JANSSENBIO‐PL_2‐0000667   JANSSENBIO‐053‐00010232   JANSSENBIO‐053‐00010232   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
899                           JANSSENBIO‐PL_2‐0000668   JANSSENBIO‐053‐00010233   JANSSENBIO‐053‐00010234   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
900                           JANSSENBIO‐PL_2‐0000669   JANSSENBIO‐053‐00010235   JANSSENBIO‐053‐00010236   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
901                           JANSSENBIO‐PL_2‐0000670   JANSSENBIO‐053‐00010237   JANSSENBIO‐053‐00010237   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
902                           JANSSENBIO‐PL_2‐0000671   JANSSENBIO‐053‐00010238   JANSSENBIO‐053‐00010238   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
903                           JANSSENBIO‐PL_2‐0000672   JANSSENBIO‐053‐00010239   JANSSENBIO‐053‐00010239   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
904                           JANSSENBIO‐PL_2‐0000673   JANSSENBIO‐053‐00010240   JANSSENBIO‐053‐00010240   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
905                           JANSSENBIO‐PL_2‐0000674   JANSSENBIO‐053‐00010241   JANSSENBIO‐053‐00010241   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
906                           JANSSENBIO‐PL_2‐0000675   JANSSENBIO‐053‐00010242   JANSSENBIO‐053‐00010243   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
907                           JANSSENBIO‐PL_2‐0000676   JANSSENBIO‐053‐00010244   JANSSENBIO‐053‐00010246   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                          (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
908                           JANSSENBIO‐PL_2‐0000677   JANSSENBIO‐053‐00010247   JANSSENBIO‐053‐00010247   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015

                                                                                                                                                                                                                          Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                    Marlee Gallant ^           John Siracusa ^            (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
909                           JANSSENBIO‐PL_2‐0000678   JANSSENBIO‐053‐00010248   JANSSENBIO‐053‐00010255   Withheld   DOCX    Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)    (jsiracusa@akingump.com)   (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    7/2/2015



                                                                                                                                                                                                                          Shawn Brinson (sbrinson@its.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); Chris
                                                                                                                                                                                                                          DeFonce (cdefonce@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Jorge Lopez ^
                                                                                                                                                                                                                          (jlopez@akingump.com); Luis Matos (lmatos3@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);                                                                                                                                                                         Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                          Stephen Ranjan (sranjan8@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                                                                                                                                                                       legal advice from Outside Counsel regarding
                                                                                                                                                                                                                          (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Mike Ingrid                              Michael Ziskind (mziskind@cntus.jnj.com); Mike                                                                                                            preparation/review of customer‐facing practice
910                           JANSSENBIO‐PL_2‐0000679                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (mikeingrid@verizon.net)                                                                                     Ingrid (mikeingrid@verizon.net)                   Peggy Mellody (pmellody@its.jnj.com)                                                       12/19/2013   management or IOI support material.


                                                                                                                                                                                                                          Shawn Brinson (sbrinson@its.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); Chris
                                                                                                                                                                                                                          DeFonce (cdefonce@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Jorge Lopez ^
                                                                                                                                                                                                                          (jlopez@akingump.com); Luis Matos (lmatos3@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                                                                                          Stephen Ranjan (sranjan8@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                                                                    Roberson Chris                                        (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Mike Ingrid
911                           JANSSENBIO‐PL_2‐0000680                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client   (crobers1@its.jnj.com)                                (mikeingrid@verizon.net)                                                                                                                                                                                                                                  12/19/2013



                                                                                                                                                                                                                          Shawn Brinson (sbrinson@its.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); Chris
                                                                                                                                                                                                                          DeFonce (cdefonce@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Jorge Lopez ^
                                                                                                                                                                                                                          (jlopez@akingump.com); Luis Matos (lmatos3@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                                                                                          Stephen Ranjan (sranjan8@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                                                                    Roberson Chris                                        (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Mike Ingrid
912                           JANSSENBIO‐PL_2‐0000681                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client   (crobers1@its.jnj.com)                                (mikeingrid@verizon.net)                                                                                                                                                                                                                                  12/19/2013



                                                                                                                                                                                                                          Shawn Brinson (sbrinson@its.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); Chris
                                                                                                                                                                                                                          DeFonce (cdefonce@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Jorge Lopez ^
                                                                                                                                                                                                                          (jlopez@akingump.com); Luis Matos (lmatos3@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                                                                                          Stephen Ranjan (sranjan8@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                                                                    Michael Ziskind            Michael Ziskind            (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Mike Ingrid
913                           JANSSENBIO‐PL_2‐0000682                                                       Withheld   docx    Ziskind, Michael   Attorney‐Client   (mziskind@cntus.jnj.com)   (mziskind@cntus.jnj.com)   (mikeingrid@verizon.net)                                                                                                                                                                                                                                  12/19/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                          Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                                                                                                                                                                         regarding preparation/review of customer‐facing practice
914                                                     JANSSENBIO‐053‐00009666   JANSSENBIO‐053‐00009667   Redacted   eMail   Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                     Michael Ziskind (mziskind@cntus.jnj.com)          John Siracusa ^ (jsiracusa@akingump.com)                                                    8/22/2013   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                       Christy Stickle ^ (cstickle@its.jnj.com); DL‐NA
                                                                                                                                                                                                                                                                                                                                       Pharm SCG (dl‐cntus‐napharmscg@its.jnj.com);                                                                                                              Email communication providing information to counsel
                                                                                                                                                                                                                          Gina Giordano (ggiordan@its.jnj.com); Christy Stickle ^ (cstickle@its.jnj.com); DL‐NA Pharm SCG (dl‐cntus‐   Gina Giordano (ggiordan@its.jnj.com); J&J Legal                                                                                                           for the purpose of receiving legal advice from Legal
                                                                                                                                                                                                                          napharmscg@its.jnj.com); J&J Legal Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com); J&J Legal    Education and Training ^ (ra‐jjcus‐               J&J Legal Education and Training ^ (ra‐jjcus‐                                                           Department regarding issues relating to interactions or
915   JANSSENBIO‐PL‐0000598                             JANSSENBIO‐048‐00002225   JANSSENBIO‐048‐00002225   Redacted   eMail   Ziskind, Michael   Attorney‐Client                                                         Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com)                                                  jnjlegalent@its.jnj.com)                          jnjlegalent@its.jnj.com)                                                                    12/3/2015   communications between ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                       Christy Stickle ^ (cstickle@its.jnj.com); DL‐NA
                                                                                                                                                                                                                                                                                                                                       Pharm SCG (dl‐cntus‐napharmscg@its.jnj.com);                                                                                                              Email communication providing information to counsel
                                                                                                                                                                                                                          Gina Giordano (ggiordan@its.jnj.com); Christy Stickle ^ (cstickle@its.jnj.com); DL‐NA Pharm SCG (dl‐cntus‐   Gina Giordano (ggiordan@its.jnj.com); J&J Legal                                                                                                           for the purpose of receiving legal advice from Legal
                                                                                                                                                                                                                          napharmscg@its.jnj.com); J&J Legal Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com); J&J Legal    Education and Training ^ (ra‐jjcus‐               J&J Legal Education and Training ^ (ra‐jjcus‐                                                           Department regarding issues relating to interactions or
916   JANSSENBIO‐PL‐0000599                             JANSSENBIO‐048‐00002226   JANSSENBIO‐048‐00002226   Redacted   eMail   Ziskind, Michael   Attorney‐Client                                                         Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com)                                                  jnjlegalent@its.jnj.com)                          jnjlegalent@its.jnj.com)                                                                    12/4/2015   communications between ABSs and physician offices.



                                                                                                                                                                                                                          Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                                                                                                                          (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                                          (cguiton@its.jnj.com); Adrienne Minecci (aminecc1@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com);                                                                                                                                                                  Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                          Kathryn Roberts (krober10@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Amy Van Sant                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                                                                          (avansant@its.jnj.com); Erin Wells (ewells@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com);           Brian Smith (bsmith32@its.jnj.com); Michael                                                                                                               internal guidance concerning practice management or IOI
917   JANSSENBIO‐PL‐0000600   JANSSENBIO‐PL_2‐0000683                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         Michael Ziskind (mziskind@cntus.jnj.com)                                                                     Ziskind (mziskind@cntus.jnj.com)                  Adrienne Minecci (aminecc1@its.jnj.com)         Paul Duncan (pduncan9@its.jnj.com)          12/6/2013   support.


                                                                                                                                                                                                                          Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                                                                                                                          (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                                          (cguiton@its.jnj.com); Adrienne Minecci (aminecc1@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com);
                                                                                                                                                                                                                          Kathryn Roberts (krober10@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Amy Van Sant
                                                                                                                                                                    Adrienne Minecci           Adrienne Minecci           (avansant@its.jnj.com); Erin Wells (ewells@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com);
918   JANSSENBIO‐PL‐0000601   JANSSENBIO‐PL_2‐0000684                                                       Withheld   ppt     Ziskind, Michael   Attorney‐Client   (aminecc1@its.jnj.com)     (aminecc1@its.jnj.com)     Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                   12/6/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain providing legal advice regarding
                                                                                                                                                                                                                          Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                             preparation/review of customer‐facing practice
919                                                     JANSSENBIO‐064‐00010554   JANSSENBIO‐064‐00010558   Redacted   eMail   Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                           Peggy Mellody (pmellody@its.jnj.com)              John Siracusa ^ (jsiracusa@akingump.com)        Michael Ziskind (mziskind@cntus.jnj.com)    4/28/2015   management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                          Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                             regarding preparation/review of customer‐facing practice
920                           JANSSENBIO‐PL_2‐0000685                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                           Peggy Mellody (pmellody@its.jnj.com)              John Siracusa ^ (jsiracusa@akingump.com)        Michael Ziskind (mziskind@cntus.jnj.com)    4/28/2015   management or IOI support material.

                                                                                                                                                                                               John Siracusa ^            Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
921                           JANSSENBIO‐PL_2‐0000686                                                       Withheld   PPTX    Ziskind, Michael   Attorney‐Client   The Resource Group         (jsiracusa@akingump.com)   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                         4/28/2015

                                                                                                                                                                    Kelly Cleary ^             John Siracusa ^            Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
922                           JANSSENBIO‐PL_2‐0000687                                                       Withheld   xlsx    Ziskind, Michael   Attorney‐Client   (kcleary@akingump.com)     (jsiracusa@akingump.com)   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                         4/28/2015

                                                                                                                                                                    Kelly Cleary ^             John Siracusa ^            Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
923                           JANSSENBIO‐PL_2‐0000688                                                       Withheld   xlsx    Ziskind, Michael   Attorney‐Client   (kcleary@akingump.com)     (jsiracusa@akingump.com)   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                         4/28/2015




                                                                                                                                                                                                                                                                                                   32
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 34 of 201


                                                                                                                                            Kelly Cleary ^                Kelly Cleary ^              Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
924   JANSSENBIO‐PL_2‐0000689                                                       Withheld   xlsx    Ziskind, Michael   Attorney‐Client   (kcleary@akingump.com)        (kcleary@akingump.com)      (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
925   JANSSENBIO‐PL_2‐0000690                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015
                                                                                                                                            CMS
                                                                                                                                            (cmslists@subscriptions.cms                               Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
926   JANSSENBIO‐PL_2‐0000691                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client   .hhs.gov)                                                 (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
927   JANSSENBIO‐PL_2‐0000692                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
928   JANSSENBIO‐PL_2‐0000693                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
929   JANSSENBIO‐PL_2‐0000694                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
930   JANSSENBIO‐PL_2‐0000695                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
931   JANSSENBIO‐PL_2‐0000696                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
932   JANSSENBIO‐PL_2‐0000697                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
933   JANSSENBIO‐PL_2‐0000698                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
934   JANSSENBIO‐PL_2‐0000699                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
935   JANSSENBIO‐PL_2‐0000700                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
936   JANSSENBIO‐PL_2‐0000701                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
937   JANSSENBIO‐PL_2‐0000702                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015

                                                                                                                                                                                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
938   JANSSENBIO‐PL_2‐0000703                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                              4/28/2015



                                                                                                                                                                                                      Lance Lucas (lance.lucas@precisionformedicine.com); Lance Lucas (llucas@hobartforte.com); Carrie
                                                                                                                                                                                                      Lyons (clyons1@its.jnj.com); John Melendi (jmelend3@its.jnj.com); Julia Merry (jmerry@its.jnj.com);                                                                                     John Melendi (jmelend3@its.jnj.com); Julia Merry                    Email communication providing legal advice from
                                                                                                                                                                                                      Meghan Nolan (mnolan4@its.jnj.com); Petya Mihaylova (pmihaylova@hobartforte.com); John Siracusa ^     Lance Lucas                                                                       (jmerry@its.jnj.com); Michael Ziskind                               Outside Counsel regarding preparation/review of
939                             JANSSENBIO‐064‐00010697   JANSSENBIO‐064‐00010698   Redacted   eMail   Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                    (lance.lucas@precisionformedicine.com)       Carrie Lyons (clyons1@its.jnj.com)   (mziskind@cntus.jnj.com)                                4/30/2015   customer facing regulatory update.

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^                                                                                               Christine Pierce (cpierce@consultresourcegroup.com);                Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                      (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind                      Michael Ziskind (mziskind@cntus.jnj.com); Peggy Kristen Henderson ^               Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott                 preparation/review of customer facing regulatory
940   JANSSENBIO‐PL_2‐0000704   JANSSENBIO‐053‐00010256   JANSSENBIO‐053‐00010256   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                             (mziskind@cntus.jnj.com)                                                                              Mellody (pmellody@its.jnj.com)                  (khenderson@akingump.com)         ^ (mmcdermott@akingump.com)                            11/15/2012   update.
                                                                                                                                            Kristen Henderson ^
                                                                                                                                            (khenderson@akingump.com Kristen Henderson ^
941   JANSSENBIO‐PL_2‐0000705   JANSSENBIO‐053‐00010257   JANSSENBIO‐053‐00010265   Withheld   DOCX    Ziskind, Michael   Attorney‐Client   )                        (khenderson@akingump.com)                                                                                                                                                                                                                                                       11/15/2012
942   JANSSENBIO‐PL_2‐0000706   JANSSENBIO‐053‐00010266   JANSSENBIO‐053‐00010277   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                                                                                                                                                                                                                                                                            11/15/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce                                                                                                                                                                                             Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody         Michael Ziskind (mziskind@cntus.jnj.com); Peggy Kristen Henderson ^               Christine Pierce (cpierce@consultresourcegroup.com);                preparation/review of customer‐facing practice
943   JANSSENBIO‐PL_2‐0000707   JANSSENBIO‐053‐00010569   JANSSENBIO‐053‐00010569   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                             (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                      Mellody (pmellody@its.jnj.com)                  (khenderson@akingump.com)         Mara McDermott ^ (mmcdermott@akingump.com)             11/29/2012   management or IOI support material.

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
944   JANSSENBIO‐PL_2‐0000708   JANSSENBIO‐053‐00010570   JANSSENBIO‐053‐00010571   Withheld   rtf     Ziskind, Michael   Attorney‐Client   G360user                                                  (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
945   JANSSENBIO‐PL_2‐0000709   JANSSENBIO‐053‐00010572   JANSSENBIO‐053‐00010573   Withheld   rtf     Ziskind, Michael   Attorney‐Client   G360user                                                  (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Johnson Johnson               Mara McDermott ^          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
946   JANSSENBIO‐PL_2‐0000710   JANSSENBIO‐053‐00010574   JANSSENBIO‐053‐00010574   Withheld   PPTX    Ziskind, Michael   Attorney‐Client   (nletier@its.jnj.com)         (mmcdermott@akingump.com) (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                 11/29/2012

                                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Anna Maria Acquaviva     Mara McDermott ^          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
947   JANSSENBIO‐PL_2‐0000711   JANSSENBIO‐053‐00010575   JANSSENBIO‐053‐00010575   Withheld   PPTX    Ziskind, Michael   Attorney‐Client   (aacqua23@its.jnj.com)   (mmcdermott@akingump.com) (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                      11/29/2012
                                                                                                                                            Kristen Henderson ^
                                                                                                                                            (khenderson@akingump.com Kristen Henderson ^
948   JANSSENBIO‐PL_2‐0000712                                                       Withheld   xlsx    Ziskind, Michael   Attorney‐Client   )                        (khenderson@akingump.com)                                                                                                                                                                                                                                                       11/29/2012
                                                                                                                                            Kristen Henderson ^
                                                                                                                                            (khenderson@akingump.com Kristen Henderson ^
949   JANSSENBIO‐PL_2‐0000713                                                       Withheld   xlsx    Ziskind, Michael   Attorney‐Client   )                        (khenderson@akingump.com)                                                                                                                                                                                                                                                       11/29/2012

                                                                                                                                                                          Kristen Henderson ^
950   JANSSENBIO‐PL_2‐0000714                                                       Withheld   xlsx    Ziskind, Michael   Attorney‐Client   dkroth                        (khenderson@akingump.com)                                                                                                                                                                                                                                                  11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
951   JANSSENBIO‐PL_2‐0000715   JANSSENBIO‐053‐00010576   JANSSENBIO‐053‐00010576   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
952   JANSSENBIO‐PL_2‐0000716   JANSSENBIO‐053‐00010577   JANSSENBIO‐053‐00010580   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
953   JANSSENBIO‐PL_2‐0000717   JANSSENBIO‐053‐00010581   JANSSENBIO‐053‐00010582   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
954   JANSSENBIO‐PL_2‐0000718   JANSSENBIO‐053‐00010583   JANSSENBIO‐053‐00010585   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
955   JANSSENBIO‐PL_2‐0000719   JANSSENBIO‐053‐00010586   JANSSENBIO‐053‐00010587   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
956   JANSSENBIO‐PL_2‐0000720   JANSSENBIO‐053‐00010588   JANSSENBIO‐053‐00010590   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
957   JANSSENBIO‐PL_2‐0000721   JANSSENBIO‐053‐00010591   JANSSENBIO‐053‐00010592   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
958   JANSSENBIO‐PL_2‐0000722   JANSSENBIO‐053‐00010593   JANSSENBIO‐053‐00010594   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
959   JANSSENBIO‐PL_2‐0000723   JANSSENBIO‐053‐00010595   JANSSENBIO‐053‐00010596   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
960   JANSSENBIO‐PL_2‐0000724   JANSSENBIO‐053‐00010597   JANSSENBIO‐053‐00010598   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
961   JANSSENBIO‐PL_2‐0000725   JANSSENBIO‐053‐00010599   JANSSENBIO‐053‐00010602   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
962   JANSSENBIO‐PL_2‐0000726   JANSSENBIO‐053‐00010603   JANSSENBIO‐053‐00010606   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
963   JANSSENBIO‐PL_2‐0000727   JANSSENBIO‐053‐00010607   JANSSENBIO‐053‐00010608   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
964   JANSSENBIO‐PL_2‐0000728   JANSSENBIO‐053‐00010609   JANSSENBIO‐053‐00010610   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
965   JANSSENBIO‐PL_2‐0000729   JANSSENBIO‐053‐00010611   JANSSENBIO‐053‐00010613   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
966   JANSSENBIO‐PL_2‐0000730   JANSSENBIO‐053‐00010614   JANSSENBIO‐053‐00010615   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
967   JANSSENBIO‐PL_2‐0000731   JANSSENBIO‐053‐00010616   JANSSENBIO‐053‐00010617   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
968   JANSSENBIO‐PL_2‐0000732   JANSSENBIO‐053‐00010618   JANSSENBIO‐053‐00010618   Withheld   csv     Ziskind, Michael   Attorney‐Client                                                             (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
969   JANSSENBIO‐PL_2‐0000733   JANSSENBIO‐053‐00010619   JANSSENBIO‐053‐00010619   Withheld   csv     Ziskind, Michael   Attorney‐Client                                                             (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Edmund Greenidge                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
970   JANSSENBIO‐PL_2‐0000734   JANSSENBIO‐053‐00010620   JANSSENBIO‐053‐00010621   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                                    (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012

                                                                                                                                                                                                      Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                      (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
971   JANSSENBIO‐PL_2‐0000735   JANSSENBIO‐053‐00010622   JANSSENBIO‐053‐00010625   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                               11/29/2012




                                                                                                                                                                                                                                                                           33
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 35 of 201


                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
972    JANSSENBIO‐PL_2‐0000736   JANSSENBIO‐053‐00010626   JANSSENBIO‐053‐00010627   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
973    JANSSENBIO‐PL_2‐0000737   JANSSENBIO‐053‐00010628   JANSSENBIO‐053‐00010629   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
974    JANSSENBIO‐PL_2‐0000738   JANSSENBIO‐053‐00010630   JANSSENBIO‐053‐00010634   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
975    JANSSENBIO‐PL_2‐0000739   JANSSENBIO‐053‐00010635   JANSSENBIO‐053‐00010636   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
976    JANSSENBIO‐PL_2‐0000740   JANSSENBIO‐053‐00010637   JANSSENBIO‐053‐00010648   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
977    JANSSENBIO‐PL_2‐0000741   JANSSENBIO‐053‐00010649   JANSSENBIO‐053‐00010649   Withheld   xlsx   Ziskind, Michael   Attorney‐Client   Charles Campbell         skramer   (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
978    JANSSENBIO‐PL_2‐0000742   JANSSENBIO‐053‐00010650   JANSSENBIO‐053‐00010651   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
979    JANSSENBIO‐PL_2‐0000743   JANSSENBIO‐053‐00010652   JANSSENBIO‐053‐00010653   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
980    JANSSENBIO‐PL_2‐0000744   JANSSENBIO‐053‐00010654   JANSSENBIO‐053‐00010655   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
981    JANSSENBIO‐PL_2‐0000745   JANSSENBIO‐053‐00010656   JANSSENBIO‐053‐00010657   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
982    JANSSENBIO‐PL_2‐0000746   JANSSENBIO‐053‐00010658   JANSSENBIO‐053‐00010658   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
983    JANSSENBIO‐PL_2‐0000747   JANSSENBIO‐053‐00010659   JANSSENBIO‐053‐00010659   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
984    JANSSENBIO‐PL_2‐0000748   JANSSENBIO‐053‐00010660   JANSSENBIO‐053‐00010662   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
985    JANSSENBIO‐PL_2‐0000749   JANSSENBIO‐053‐00010663   JANSSENBIO‐053‐00010663   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
986    JANSSENBIO‐PL_2‐0000750   JANSSENBIO‐053‐00010664   JANSSENBIO‐053‐00010664   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
987    JANSSENBIO‐PL_2‐0000751   JANSSENBIO‐053‐00010665   JANSSENBIO‐053‐00010665   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
988    JANSSENBIO‐PL_2‐0000752   JANSSENBIO‐053‐00010666   JANSSENBIO‐053‐00010668   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
989    JANSSENBIO‐PL_2‐0000753   JANSSENBIO‐053‐00010669   JANSSENBIO‐053‐00010670   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
990    JANSSENBIO‐PL_2‐0000754   JANSSENBIO‐053‐00010671   JANSSENBIO‐053‐00010671   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
991    JANSSENBIO‐PL_2‐0000755   JANSSENBIO‐053‐00010672   JANSSENBIO‐053‐00010673   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
992    JANSSENBIO‐PL_2‐0000756   JANSSENBIO‐053‐00010674   JANSSENBIO‐053‐00010675   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
993    JANSSENBIO‐PL_2‐0000757   JANSSENBIO‐053‐00010676   JANSSENBIO‐053‐00010677   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
994    JANSSENBIO‐PL_2‐0000758   JANSSENBIO‐053‐00010678   JANSSENBIO‐053‐00010679   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
995    JANSSENBIO‐PL_2‐0000759   JANSSENBIO‐053‐00010680   JANSSENBIO‐053‐00010681   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
996    JANSSENBIO‐PL_2‐0000760   JANSSENBIO‐053‐00010682   JANSSENBIO‐053‐00010683   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
997    JANSSENBIO‐PL_2‐0000761   JANSSENBIO‐053‐00010684   JANSSENBIO‐053‐00010688   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
998    JANSSENBIO‐PL_2‐0000762   JANSSENBIO‐053‐00010689   JANSSENBIO‐053‐00010690   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
999    JANSSENBIO‐PL_2‐0000763   JANSSENBIO‐053‐00010691   JANSSENBIO‐053‐00010695   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1000   JANSSENBIO‐PL_2‐0000764   JANSSENBIO‐053‐00010696   JANSSENBIO‐053‐00010699   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1001   JANSSENBIO‐PL_2‐0000765   JANSSENBIO‐053‐00010700   JANSSENBIO‐053‐00010700   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1002   JANSSENBIO‐PL_2‐0000766   JANSSENBIO‐053‐00010701   JANSSENBIO‐053‐00010702   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1003   JANSSENBIO‐PL_2‐0000767   JANSSENBIO‐053‐00010703   JANSSENBIO‐053‐00010704   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1004   JANSSENBIO‐PL_2‐0000768   JANSSENBIO‐053‐00010705   JANSSENBIO‐053‐00010707   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1005   JANSSENBIO‐PL_2‐0000769   JANSSENBIO‐053‐00010708   JANSSENBIO‐053‐00010708   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1006   JANSSENBIO‐PL_2‐0000770   JANSSENBIO‐053‐00010709   JANSSENBIO‐053‐00010713   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1007   JANSSENBIO‐PL_2‐0000771   JANSSENBIO‐053‐00010714   JANSSENBIO‐053‐00010716   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1008   JANSSENBIO‐PL_2‐0000772   JANSSENBIO‐053‐00010717   JANSSENBIO‐053‐00010725   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1009   JANSSENBIO‐PL_2‐0000773   JANSSENBIO‐053‐00010726   JANSSENBIO‐053‐00010729   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                            Roberson Chris                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1010   JANSSENBIO‐PL_2‐0000774   JANSSENBIO‐053‐00010730   JANSSENBIO‐053‐00010730   Withheld   pdf    Ziskind, Michael   Attorney‐Client   (crobers1@its.jnj.com)             (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1011   JANSSENBIO‐PL_2‐0000775   JANSSENBIO‐053‐00010731   JANSSENBIO‐053‐00010731   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1012   JANSSENBIO‐PL_2‐0000776   JANSSENBIO‐053‐00010732   JANSSENBIO‐053‐00010739   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1013   JANSSENBIO‐PL_2‐0000777   JANSSENBIO‐053‐00010740   JANSSENBIO‐053‐00010743   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012

                                                                                                                                                                               Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                               (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1014   JANSSENBIO‐PL_2‐0000778   JANSSENBIO‐053‐00010744   JANSSENBIO‐053‐00010748   Withheld   pdf    Ziskind, Michael   Attorney‐Client                                      (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                11/29/2012




                                                                                                                                                                                                                                               34
                                                                                                              Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 36 of 201


                                                                                                                                                                                                                                                                                                                          George Bilyk (gbilyk@its.jnj.com); Kenneth Olsen
                                                                                                                                                                                                                          George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^   ^ (kolsen@its.jnj.com); Michael Ziskind
                                                                                                                                                                                                                          (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^                (mziskind@cntus.jnj.com); Peggy Mellody                                                                                                          Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                          (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^                (pmellody@its.jnj.com); Terry Davidson           Kristen Henderson ^         Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott                 issues relating to interactions or communications
1015   JANSSENBIO‐PL‐0000602   JANSSENBIO‐PL_2‐0000779                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                        (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                  (tdavids4@its.jnj.com)                           (khenderson@akingump.com)   ^ (mmcdermott@akingump.com)                            12/31/2012   between ABSs and physician offices.


                                                                                                                                                                                                                          George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                          (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                     Anna Maria Acquaviva     Kristen Henderson ^         (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^
1016   JANSSENBIO‐PL‐0000603   JANSSENBIO‐PL_2‐0000780                                                       Withheld   pptx    Ziskind, Michael   Attorney‐Client   (aacqua23@its.jnj.com)   (khenderson@akingump.com)   (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                      12/31/2012
                                                                                                                                                                                                                                                                                                                          Kristen Henderson ^                                                                                                                              Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Mara McDermott ^ (mmcdermott@akingump.com);      (khenderson@akingump.com); Peggy Mellody      Mara McDermott ^                                                                                   preparation/review of customer facing regulatory
1017                           JANSSENBIO‐PL_2‐0000781   JANSSENBIO‐053‐00010749   JANSSENBIO‐053‐00010749   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                        Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                  (pmellody@its.jnj.com)                        (mmcdermott@akingump.com)      Michael Ziskind (mziskind@cntus.jnj.com)                1/29/2013   update.

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Mara McDermott ^ (mmcdermott@akingump.com);
1018                           JANSSENBIO‐PL_2‐0000782   JANSSENBIO‐053‐00010750   JANSSENBIO‐053‐00010761   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                        Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                       1/29/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Mara McDermott ^ (mmcdermott@akingump.com);      Michael Ziskind (mziskind@cntus.jnj.com); Peggy Mara McDermott ^                                                                                 preparation/review of customer‐facing practice
1019                           JANSSENBIO‐PL_2‐0000783                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                        Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                  Mellody (pmellody@its.jnj.com)                  (mmcdermott@akingump.com)    Kristen Henderson ^ (khenderson@akingump.com)           1/30/2013   management or IOI support material.

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Mara McDermott ^ (mmcdermott@akingump.com);
1020                           JANSSENBIO‐PL_2‐0000784                                                       Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                        Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                       1/30/2013

                                                                                                                                                                                                                                                                                                                          Kristen Henderson ^                                                                                                                              Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Mara McDermott ^ (mmcdermott@akingump.com);      (khenderson@akingump.com); Peggy Mellody      Mara McDermott ^                                                                                   regarding preparation/review of customer‐facing practice
1021                           JANSSENBIO‐PL_2‐0000785   JANSSENBIO‐053‐00010763   JANSSENBIO‐053‐00010763   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                        Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                  (pmellody@its.jnj.com)                        (mmcdermott@akingump.com)      Michael Ziskind (mziskind@cntus.jnj.com)                1/24/2013   management or IOI support material.

                                                                                                                                                                     Johnson Johnson          Mara McDermott ^          Kristen Henderson ^ (khenderson@akingump.com); Mara McDermott ^ (mmcdermott@akingump.com);
1022                           JANSSENBIO‐PL_2‐0000786   JANSSENBIO‐053‐00010764   JANSSENBIO‐053‐00010764   Withheld   PPTX    Ziskind, Michael   Attorney‐Client   (nletier@its.jnj.com)    (mmcdermott@akingump.com) Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                         1/24/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Mara McDermott ^ (mmcdermott@akingump.com);
1023                           JANSSENBIO‐PL_2‐0000787   JANSSENBIO‐053‐00010765   JANSSENBIO‐053‐00010776   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                        Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                       1/24/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Mara McDermott ^ (mmcdermott@akingump.com);      Michael Ziskind (mziskind@cntus.jnj.com); Peggy Mara McDermott ^                                                                                 preparation/review of customer facing regulatory
1024                           JANSSENBIO‐PL_2‐0000788   JANSSENBIO‐053‐00010777   JANSSENBIO‐053‐00010777   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                        Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                  Mellody (pmellody@its.jnj.com)                  (mmcdermott@akingump.com)    Kristen Henderson ^ (khenderson@akingump.com)           1/30/2013   update.

                                                                                                                                                                     Johnson Johnson          Mara McDermott ^          Kristen Henderson ^ (khenderson@akingump.com); Mara McDermott ^ (mmcdermott@akingump.com);
1025                           JANSSENBIO‐PL_2‐0000789   JANSSENBIO‐053‐00010778   JANSSENBIO‐053‐00010778   Withheld   PPTX    Ziskind, Michael   Attorney‐Client   (nletier@its.jnj.com)    (mmcdermott@akingump.com) Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                         1/30/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce                                                                                                                                                                                  Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody   Michael Ziskind (mziskind@cntus.jnj.com); Peggy Mara McDermott ^             Christine Pierce (cpierce@consultresourcegroup.com);                preparation/review of customer‐facing practice
1026                           JANSSENBIO‐PL_2‐0000790   JANSSENBIO‐053‐00010779   JANSSENBIO‐053‐00010779   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                Mellody (pmellody@its.jnj.com)                  (mmcdermott@akingump.com)    Kristen Henderson ^ (khenderson@akingump.com)           1/25/2013   management or IOI support material.

                                                                                                                                                                                                                        Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Johnson Johnson          Mara McDermott ^          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1027                           JANSSENBIO‐PL_2‐0000791   JANSSENBIO‐053‐00010780   JANSSENBIO‐053‐00010780   Withheld   PPTX    Ziskind, Michael   Attorney‐Client   (nletier@its.jnj.com)    (mmcdermott@akingump.com) (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                       1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1028                           JANSSENBIO‐PL_2‐0000792   JANSSENBIO‐053‐00010781   JANSSENBIO‐053‐00010792   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1029                           JANSSENBIO‐PL_2‐0000793   JANSSENBIO‐053‐00010793   JANSSENBIO‐053‐00010794   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1030                           JANSSENBIO‐PL_2‐0000794   JANSSENBIO‐053‐00010795   JANSSENBIO‐053‐00010795   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1031                           JANSSENBIO‐PL_2‐0000795   JANSSENBIO‐053‐00010796   JANSSENBIO‐053‐00010799   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1032                           JANSSENBIO‐PL_2‐0000796   JANSSENBIO‐053‐00010800   JANSSENBIO‐053‐00010801   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1033                           JANSSENBIO‐PL_2‐0000797   JANSSENBIO‐053‐00010802   JANSSENBIO‐053‐00010804   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1034                           JANSSENBIO‐PL_2‐0000798   JANSSENBIO‐053‐00010805   JANSSENBIO‐053‐00010806   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1035                           JANSSENBIO‐PL_2‐0000799   JANSSENBIO‐053‐00010807   JANSSENBIO‐053‐00010809   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1036                           JANSSENBIO‐PL_2‐0000800   JANSSENBIO‐053‐00010810   JANSSENBIO‐053‐00010811   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1037                           JANSSENBIO‐PL_2‐0000801   JANSSENBIO‐053‐00010812   JANSSENBIO‐053‐00010813   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1038                           JANSSENBIO‐PL_2‐0000802   JANSSENBIO‐053‐00010814   JANSSENBIO‐053‐00010815   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1039                           JANSSENBIO‐PL_2‐0000803   JANSSENBIO‐053‐00010816   JANSSENBIO‐053‐00010817   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1040                           JANSSENBIO‐PL_2‐0000804   JANSSENBIO‐053‐00010818   JANSSENBIO‐053‐00010821   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1041                           JANSSENBIO‐PL_2‐0000805   JANSSENBIO‐053‐00010822   JANSSENBIO‐053‐00010825   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1042                           JANSSENBIO‐PL_2‐0000806   JANSSENBIO‐053‐00010826   JANSSENBIO‐053‐00010827   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1043                           JANSSENBIO‐PL_2‐0000807   JANSSENBIO‐053‐00010828   JANSSENBIO‐053‐00010829   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1044                           JANSSENBIO‐PL_2‐0000808   JANSSENBIO‐053‐00010830   JANSSENBIO‐053‐00010830   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1045                           JANSSENBIO‐PL_2‐0000809   JANSSENBIO‐053‐00010831   JANSSENBIO‐053‐00010833   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1046                           JANSSENBIO‐PL_2‐0000810   JANSSENBIO‐053‐00010834   JANSSENBIO‐053‐00010834   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1047                           JANSSENBIO‐PL_2‐0000811   JANSSENBIO‐053‐00010835   JANSSENBIO‐053‐00010836   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1048                           JANSSENBIO‐PL_2‐0000812   JANSSENBIO‐053‐00010837   JANSSENBIO‐053‐00010837   Withheld   csv     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1049                           JANSSENBIO‐PL_2‐0000813   JANSSENBIO‐053‐00010838   JANSSENBIO‐053‐00010838   Withheld   csv     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                     Edmund Greenidge                                     (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1050                           JANSSENBIO‐PL_2‐0000814   JANSSENBIO‐053‐00010839   JANSSENBIO‐053‐00010840   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (egreenid@its.jnj.com)                               (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1051                           JANSSENBIO‐PL_2‐0000815   JANSSENBIO‐053‐00010841   JANSSENBIO‐053‐00010844   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1052                           JANSSENBIO‐PL_2‐0000816   JANSSENBIO‐053‐00010845   JANSSENBIO‐053‐00010846   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1053                           JANSSENBIO‐PL_2‐0000817   JANSSENBIO‐053‐00010847   JANSSENBIO‐053‐00010848   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1054                           JANSSENBIO‐PL_2‐0000818   JANSSENBIO‐053‐00010849   JANSSENBIO‐053‐00010853   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1055                           JANSSENBIO‐PL_2‐0000819   JANSSENBIO‐053‐00010854   JANSSENBIO‐053‐00010854   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1056                           JANSSENBIO‐PL_2‐0000820   JANSSENBIO‐053‐00010855   JANSSENBIO‐053‐00010866   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1057                           JANSSENBIO‐PL_2‐0000821   JANSSENBIO‐053‐00010867   JANSSENBIO‐053‐00010867   Withheld   xlsx    Ziskind, Michael   Attorney‐Client   Charles Campbell         skramer                     (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013

                                                                                                                                                                                                                          Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                                          (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1058                           JANSSENBIO‐PL_2‐0000822   JANSSENBIO‐053‐00010868   JANSSENBIO‐053‐00010869   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                        (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                     1/25/2013




                                                                                                                                                                                                                                                                                                  35
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 37 of 201


                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1059   JANSSENBIO‐PL_2‐0000823   JANSSENBIO‐053‐00010870   JANSSENBIO‐053‐00010871   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1060   JANSSENBIO‐PL_2‐0000824   JANSSENBIO‐053‐00010872   JANSSENBIO‐053‐00010873   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1061   JANSSENBIO‐PL_2‐0000825   JANSSENBIO‐053‐00010874   JANSSENBIO‐053‐00010875   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1062   JANSSENBIO‐PL_2‐0000826   JANSSENBIO‐053‐00010876   JANSSENBIO‐053‐00010876   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1063   JANSSENBIO‐PL_2‐0000827   JANSSENBIO‐053‐00010877   JANSSENBIO‐053‐00010877   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1064   JANSSENBIO‐PL_2‐0000828   JANSSENBIO‐053‐00010878   JANSSENBIO‐053‐00010880   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1065   JANSSENBIO‐PL_2‐0000829   JANSSENBIO‐053‐00010881   JANSSENBIO‐053‐00010881   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1066   JANSSENBIO‐PL_2‐0000830   JANSSENBIO‐053‐00010882   JANSSENBIO‐053‐00010882   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1067   JANSSENBIO‐PL_2‐0000831   JANSSENBIO‐053‐00010883   JANSSENBIO‐053‐00010883   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1068   JANSSENBIO‐PL_2‐0000832   JANSSENBIO‐053‐00010884   JANSSENBIO‐053‐00010886   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1069   JANSSENBIO‐PL_2‐0000833   JANSSENBIO‐053‐00010887   JANSSENBIO‐053‐00010888   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1070   JANSSENBIO‐PL_2‐0000834   JANSSENBIO‐053‐00010889   JANSSENBIO‐053‐00010889   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1071   JANSSENBIO‐PL_2‐0000835   JANSSENBIO‐053‐00010890   JANSSENBIO‐053‐00010891   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1072   JANSSENBIO‐PL_2‐0000836   JANSSENBIO‐053‐00010892   JANSSENBIO‐053‐00010893   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1073   JANSSENBIO‐PL_2‐0000837   JANSSENBIO‐053‐00010894   JANSSENBIO‐053‐00010895   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1074   JANSSENBIO‐PL_2‐0000838   JANSSENBIO‐053‐00010896   JANSSENBIO‐053‐00010897   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1075   JANSSENBIO‐PL_2‐0000839   JANSSENBIO‐053‐00010898   JANSSENBIO‐053‐00010899   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1076   JANSSENBIO‐PL_2‐0000840   JANSSENBIO‐053‐00010900   JANSSENBIO‐053‐00010901   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1077   JANSSENBIO‐PL_2‐0000841   JANSSENBIO‐053‐00010902   JANSSENBIO‐053‐00010906   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1078   JANSSENBIO‐PL_2‐0000842   JANSSENBIO‐053‐00010907   JANSSENBIO‐053‐00010908   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1079   JANSSENBIO‐PL_2‐0000843   JANSSENBIO‐053‐00010909   JANSSENBIO‐053‐00010913   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1080   JANSSENBIO‐PL_2‐0000844   JANSSENBIO‐053‐00010914   JANSSENBIO‐053‐00010917   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1081   JANSSENBIO‐PL_2‐0000845   JANSSENBIO‐053‐00010918   JANSSENBIO‐053‐00010918   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1082   JANSSENBIO‐PL_2‐0000846   JANSSENBIO‐053‐00010919   JANSSENBIO‐053‐00010920   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1083   JANSSENBIO‐PL_2‐0000847   JANSSENBIO‐053‐00010921   JANSSENBIO‐053‐00010926   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                           Roberson Chris           (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1084   JANSSENBIO‐PL_2‐0000848   JANSSENBIO‐053‐00010927   JANSSENBIO‐053‐00010927   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (crobers1@its.jnj.com)   (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1085   JANSSENBIO‐PL_2‐0000849   JANSSENBIO‐053‐00010928   JANSSENBIO‐053‐00010929   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1086   JANSSENBIO‐PL_2‐0000850   JANSSENBIO‐053‐00010930   JANSSENBIO‐053‐00010931   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1087   JANSSENBIO‐PL_2‐0000851   JANSSENBIO‐053‐00010932   JANSSENBIO‐053‐00010933   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1088   JANSSENBIO‐PL_2‐0000852   JANSSENBIO‐053‐00010934   JANSSENBIO‐053‐00010935   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1089   JANSSENBIO‐PL_2‐0000853   JANSSENBIO‐053‐00010936   JANSSENBIO‐053‐00010936   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1090   JANSSENBIO‐PL_2‐0000854   JANSSENBIO‐053‐00010937   JANSSENBIO‐053‐00010937   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1091   JANSSENBIO‐PL_2‐0000855   JANSSENBIO‐053‐00010938   JANSSENBIO‐053‐00010939   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1092   JANSSENBIO‐PL_2‐0000856   JANSSENBIO‐053‐00010940   JANSSENBIO‐053‐00010941   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1093   JANSSENBIO‐PL_2‐0000857   JANSSENBIO‐053‐00010942   JANSSENBIO‐053‐00010942   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1094   JANSSENBIO‐PL_2‐0000858   JANSSENBIO‐053‐00010943   JANSSENBIO‐053‐00010943   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1095   JANSSENBIO‐PL_2‐0000859   JANSSENBIO‐053‐00010944   JANSSENBIO‐053‐00010948   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1096   JANSSENBIO‐PL_2‐0000860   JANSSENBIO‐053‐00010949   JANSSENBIO‐053‐00010953   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1097   JANSSENBIO‐PL_2‐0000861   JANSSENBIO‐053‐00010954   JANSSENBIO‐053‐00010954   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1098   JANSSENBIO‐PL_2‐0000862   JANSSENBIO‐053‐00010955   JANSSENBIO‐053‐00010958   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1099   JANSSENBIO‐PL_2‐0000863   JANSSENBIO‐053‐00010959   JANSSENBIO‐053‐00010960   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1100   JANSSENBIO‐PL_2‐0000864   JANSSENBIO‐053‐00010961   JANSSENBIO‐053‐00010962   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013

                                                                                                                                                                    Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                    (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1101   JANSSENBIO‐PL_2‐0000865   JANSSENBIO‐053‐00010963   JANSSENBIO‐053‐00010968   Withheld   pdf   Ziskind, Michael   Attorney‐Client                            (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                1/25/2013




                                                                                                                                                                                                                                    36
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 38 of 201


                                                                                                                                                                                                   Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                   (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1102   JANSSENBIO‐PL_2‐0000866   JANSSENBIO‐053‐00010969   JANSSENBIO‐053‐00010971   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                1/25/2013

                                                                                                                                                                                                   Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                   (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1103   JANSSENBIO‐PL_2‐0000867   JANSSENBIO‐053‐00010972   JANSSENBIO‐053‐00010979   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                1/25/2013

                                                                                                                                                                                                   Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                   (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1104   JANSSENBIO‐PL_2‐0000868   JANSSENBIO‐053‐00010980   JANSSENBIO‐053‐00010980   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                1/25/2013

                                                                                                                                                                                                   Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                   (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1105   JANSSENBIO‐PL_2‐0000869   JANSSENBIO‐053‐00010981   JANSSENBIO‐053‐00010982   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                1/25/2013

                                                                                                                                                                                                   Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                   (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1106   JANSSENBIO‐PL_2‐0000870   JANSSENBIO‐053‐00010983   JANSSENBIO‐053‐00010983   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                1/25/2013

                                                                                                                                                                                                   Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                   (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1107   JANSSENBIO‐PL_2‐0000871   JANSSENBIO‐053‐00010984   JANSSENBIO‐053‐00010984   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                1/25/2013

                                                                                                                                                                                                   Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                   (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1108   JANSSENBIO‐PL_2‐0000872   JANSSENBIO‐053‐00010985   JANSSENBIO‐053‐00010985   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                1/25/2013

                                                                                                                                                                                                   Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                   (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1109   JANSSENBIO‐PL_2‐0000873   JANSSENBIO‐053‐00010986   JANSSENBIO‐053‐00010986   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                1/25/2013

                                                                                                                                                                                                   Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                   (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1110   JANSSENBIO‐PL_2‐0000874   JANSSENBIO‐053‐00010987   JANSSENBIO‐053‐00010991   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                1/25/2013

                                                                                                                                                                                                   Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                   (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1111   JANSSENBIO‐PL_2‐0000875   JANSSENBIO‐053‐00010992   JANSSENBIO‐053‐00010992   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                1/25/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Email with attachment(s) requesting legal advice
                                                                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^       John Siracusa ^ (jsiracusa@akingump.com); Jorge                                                                                                                        regarding preparation/review of customer facing
1112   JANSSENBIO‐PL_2‐0000876                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com)                                                                             Lopez ^ (jlopez@akingump.com)                   Michael Ziskind (mziskind@cntus.jnj.com)                                                                    6/2/2015   regulatory update.
                                                                                                                                                                       Michael Ziskind             Jorge Lopez ^ (jlopez@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^
1113   JANSSENBIO‐PL_2‐0000877                                                       Withheld   pptx    Ziskind, Michael   Attorney‐Client   The Resource Group        (mziskind@cntus.jnj.com)    (jsiracusa@akingump.com)                                                                                                                                                                                                                                         6/2/2015
                                                                                                                                             Kelly Cleary ^            John Siracusa ^             Jorge Lopez ^ (jlopez@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^
1114   JANSSENBIO‐PL_2‐0000878                                                       Withheld   xlsx    Ziskind, Michael   Attorney‐Client   (kcleary@akingump.com)    (jsiracusa@akingump.com)    (jsiracusa@akingump.com)                                                                                                                                                                                                                                         6/2/2015
                                                                                                                                             Kelly Cleary ^            John Siracusa ^             Jorge Lopez ^ (jlopez@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^
1115   JANSSENBIO‐PL_2‐0000879                                                       Withheld   xlsx    Ziskind, Michael   Attorney‐Client   (kcleary@akingump.com)    (jsiracusa@akingump.com)    (jsiracusa@akingump.com)                                                                                                                                                                                                                                         6/2/2015
                                                                                                                                             Kelly Cleary ^            Kelly Cleary ^              Jorge Lopez ^ (jlopez@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^
1116   JANSSENBIO‐PL_2‐0000880                                                       Withheld   xlsx    Ziskind, Michael   Attorney‐Client   (kcleary@akingump.com)    (kcleary@akingump.com)      (jsiracusa@akingump.com)                                                                                                                                                                                                                                         6/2/2015

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^      George Bilyk (gbilyk@its.jnj.com); Michael Ziskind                                                                                                                     Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                         (mziskind@cntus.jnj.com); Peggy Mellody            Kristen Henderson ^                        John Siracusa ^ (jsiracusa@akingump.com); Jorge Lopez                    preparation/review of customer‐facing practice
1117   JANSSENBIO‐PL_2‐0000881                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                   (pmellody@its.jnj.com)                             (khenderson@akingump.com)                  ^ (jlopez@akingump.com)                                      3/19/2013   management or IOI support material.

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                             Ami Patel ^               Kristen Henderson ^         (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1118   JANSSENBIO‐PL_2‐0000882                                                       Withheld   PPTX    Ziskind, Michael   Attorney‐Client   (APatel65@its.jnj.com)    (khenderson@akingump.com)   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/19/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1119   JANSSENBIO‐PL_2‐0000883                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/19/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1120   JANSSENBIO‐PL_2‐0000884                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/19/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1121   JANSSENBIO‐PL_2‐0000885                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/19/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1122   JANSSENBIO‐PL_2‐0000886                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/19/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1123   JANSSENBIO‐PL_2‐0000887                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/19/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1124   JANSSENBIO‐PL_2‐0000888                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/19/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1125   JANSSENBIO‐PL_2‐0000889                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/19/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1126   JANSSENBIO‐PL_2‐0000890                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/19/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1127   JANSSENBIO‐PL_2‐0000891                                                       Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/19/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^      George Bilyk (gbilyk@its.jnj.com); Michael Ziskind                                                                                                                     preparation/review of internal training or internal
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                         (mziskind@cntus.jnj.com); Peggy Mellody            Kristen Henderson ^                        John Siracusa ^ (jsiracusa@akingump.com); Jorge Lopez                    guidance concerning practice management or IOI
1128   JANSSENBIO‐PL_2‐0000892                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                   (pmellody@its.jnj.com)                             (khenderson@akingump.com)                  ^ (jlopez@akingump.com)                                      3/18/2013   support.

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                             Ami Patel ^               Kristen Henderson ^         (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1129   JANSSENBIO‐PL_2‐0000893                                                       Withheld   pptx    Ziskind, Michael   Attorney‐Client   (APatel65@its.jnj.com)    (khenderson@akingump.com)   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/18/2013
                                                                                                                                                                                                                                                                                                        George Bilyk (gbilyk@its.jnj.com); Kristen
                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^      Henderson ^ (khenderson@akingump.com);                                                                                                                                 Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                         Michael Ziskind (mziskind@cntus.jnj.com); Peggy Kristen Henderson ^                                                                                                    regarding preparation/review of customer facing
1130   JANSSENBIO‐PL_2‐0000894                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                   Mellody (pmellody@its.jnj.com)                  (khenderson@akingump.com)                                                                                  3/19/2013   regulatory update.

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                             Ami Patel ^               Kristen Henderson ^         (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1131   JANSSENBIO‐PL_2‐0000895                                                       Withheld   PPTX    Ziskind, Michael   Attorney‐Client   (APatel65@its.jnj.com)    (khenderson@akingump.com)   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                              3/19/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Peggy Mellody      George Bilyk (gbilyk@its.jnj.com); Michael Ziskind                                                                                                                     Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                   (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                    (mziskind@cntus.jnj.com); Peggy Mellody            Kristen Henderson ^                                                                                                 preparation/review of customer facing regulatory
1132   JANSSENBIO‐PL_2‐0000896                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                             (pmellody@its.jnj.com)                             (khenderson@akingump.com)                  John Siracusa ^ (jsiracusa@akingump.com)                      4/1/2013   update.

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Peggy Mellody
                                                                                                                                             Johnson Johnson           Kristen Henderson ^         (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
1133   JANSSENBIO‐PL_2‐0000897                                                       Withheld   PPTX    Ziskind, Michael   Attorney‐Client   (nletier@its.jnj.com)     (khenderson@akingump.com)   (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/1/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Peggy Mellody
                                                                                                                                                                       Michael Ziskind             (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
1134   JANSSENBIO‐PL_2‐0000898                                                       Withheld   xls     Ziskind, Michael   Attorney‐Client                             (mziskind@cntus.jnj.com)    (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/1/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Peggy Mellody
                                                                                                                                                                                                   (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
1135   JANSSENBIO‐PL_2‐0000899                                                       Withheld   xls     Ziskind, Michael   Attorney‐Client                             ann.cloke                   (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/1/2013

                                                                                                                                                                                                   Blair Cantfil (bcantfil@akingump.com); Christine Pierce (cpierce@consultresourcegroup.com); Jorge
                                                                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                 Michael Ziskind (mziskind@cntus.jnj.com); Peggy                                               Blair Cantfil ^ (bcantfil@akingump.com); Christine Pierce                Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                   (jsiracusa@akingump.com); Ziskind Family (mikeingrid@verizon.net); Michael Ziskind                   Mellody (pmellody@its.jnj.com); Ziskind Family                                                (cpierce@consultresourcegroup.com); Jorge Lopez ^                        preparation/review of customer facing regulatory
1136   JANSSENBIO‐PL_2‐0000900   JANSSENBIO‐053‐00010054   JANSSENBIO‐053‐00010054   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                             (mikeingrid@verizon.net)                        John Siracusa ^ (jsiracusa@akingump.com)      (jlopez@akingump.com)                                        7/29/2013   update.

                                                                                                                                                                                                   Blair Cantfil (bcantfil@akingump.com); Christine Pierce (cpierce@consultresourcegroup.com); Jorge
                                                                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                   (jsiracusa@akingump.com); Ziskind Family (mikeingrid@verizon.net); Michael Ziskind
1137   JANSSENBIO‐PL_2‐0000901   JANSSENBIO‐053‐00010055   JANSSENBIO‐053‐00010065   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                        7/29/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Email chain providing legal advice regarding
                                                                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^           Michael Ziskind (mziskind@cntus.jnj.com); Peggy                                                                                                                        preparation/review of customer‐facing practice
1138                             JANSSENBIO‐064‐00010671   JANSSENBIO‐064‐00010673   Redacted   eMail   Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                   Mellody (pmellody@its.jnj.com)                  John Siracusa ^ (jsiracusa@akingump.com)                                                                   4/17/2015   management or IOI support material.

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^        George Bilyk (gbilyk@its.jnj.com); Michael Ziskind                                                                                                                     Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                   (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody                        (mziskind@cntus.jnj.com); Peggy Mellody                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                   (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                    (pmellody@its.jnj.com); Terry Davidson                                                        Jorge Lopez ^ (jlopez@akingump.com); Kristen                             internal guidance concerning practice management or IOI
1139   JANSSENBIO‐PL_2‐0000902                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                             (tdavids4@its.jnj.com)                             John Siracusa ^ (jsiracusa@akingump.com)   Henderson ^ (khenderson@akingump.com)                        2/14/2013   support.

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                   (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                       John Siracusa ^             (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
1140   JANSSENBIO‐PL_2‐0000903                                                       Withheld   PPT     Ziskind, Michael   Attorney‐Client   Scofoni                   (jsiracusa@akingump.com)    (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                        2/14/2013

                                                                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                                        Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                  Christine Pierce                                                                                                                                                       from Outside Counsel regarding preparation/review of
1141   JANSSENBIO‐PL_2‐0000904                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                             (cpierce@consultresourcegroup.com)               Michael Ziskind (mziskind@cntus.jnj.com)                                                                  4/13/2015   customer facing regulatory update.

                                                                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                             Marlee Gallant ^          John Siracusa ^             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1142   JANSSENBIO‐PL_2‐0000905                                                       Withheld   DOCX    Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)   (jsiracusa@akingump.com)    (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                        4/13/2015

                                                                                                                                                                                                   Blair Cantfil (bcantfil@akingump.com); Robert Donnelly (rdonnel4@its.jnj.com); Jorge Lopez ^                                                                                                                                                                                Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                                                from Outside Counsel regarding preparation/review of
                                                                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                                                                                                                                                                                         customer‐facing practice management or IOI support
1143   JANSSENBIO‐PL_2‐0000906                                                       Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                             Robert Donnelly (rdonnel4@its.jnj.com)           Michael Ziskind (mziskind@cntus.jnj.com)     Peggy Mellody (pmellody@its.jnj.com)                        12/11/2014   material.

                                                                                                                                                                                                   Blair Cantfil (bcantfil@akingump.com); Robert Donnelly (rdonnel4@its.jnj.com); Jorge Lopez ^
                                                                                                                                                                                                   (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1144   JANSSENBIO‐PL_2‐0000907                                                       Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                       12/11/2014




                                                                                                                                                                                                                                                                           37
                                                                                                              Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 39 of 201


                                                                                                                                                                                                                                    Blair Cantfil (bcantfil@akingump.com); Robert Donnelly (rdonnel4@its.jnj.com); Jorge Lopez ^
                                                                                                                                                                                                                                    (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                        John Siracusa ^             (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1145                           JANSSENBIO‐PL_2‐0000908                                                       Withheld   PPTX    Ziskind, Michael           Attorney‐Client   The Resource Group         (jsiracusa@akingump.com)    (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    12/11/2014

                                                                                                                                                                                                                                    Blair Cantfil (bcantfil@akingump.com); Robert Donnelly (rdonnel4@its.jnj.com); Jorge Lopez ^
                                                                                                                                                                                                                                    (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                                                    (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1146                           JANSSENBIO‐PL_2‐0000909                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client   The Resource Group                                     (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    12/11/2014

                                                                                                                                                                                                                                    Christine Pierce (cpierce@consultresourcegroup.com); John Hoffman (jhoffma2@its.jnj.com); Jorge                                                                                                                                                                          Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                    Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Steve Phillips                                                                                                                                                                                      from Outside Counsel regarding preparation/review of
                                                                                                                                                                                                                                    (sphilli7@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                          Christine Pierce                                                                                                                                              internal training or internal guidance concerning practice
1147                           JANSSENBIO‐PL_2‐0000910                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                         (cpierce@consultresourcegroup.com)              Michael Ziskind (mziskind@cntus.jnj.com)                                                          7/10/2015   management or IOI support.

                                                                                                                                                                                                                                    Christine Pierce (cpierce@consultresourcegroup.com); John Hoffman (jhoffma2@its.jnj.com); Jorge
                                                                                                                                                                                                                                    Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Steve Phillips
                                                                                                                                                                             Michael Ziskind            John Siracusa ^             (sphilli7@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1148                           JANSSENBIO‐PL_2‐0000911                                                       Withheld   DOCX    Ziskind, Michael           Attorney‐Client   (mziskind@cntus.jnj.com)   (jsiracusa@akingump.com)    (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           7/10/2015



                                                                                                                                                                                                                                    John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody                                                                                                                                                                                  Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                    (pmellody@its.jnj.com); Steve Phillips (sphilli7@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com);                                                                                                                                                                 legal advice regarding preparation/review of customer
1149                           JANSSENBIO‐PL_2‐0000912                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                          Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                         Peggy Mellody (pmellody@its.jnj.com)            Michael Ziskind (mziskind@cntus.jnj.com)   John Siracusa ^ (jsiracusa@akingump.com)               7/10/2015   facing regulatory update.



                                                                                                                                                                                                                                    John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                             Michael Ziskind            John Siracusa ^             (pmellody@its.jnj.com); Steve Phillips (sphilli7@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com);
1150                           JANSSENBIO‐PL_2‐0000913                                                       Withheld   DOCX    Ziskind, Michael           Attorney‐Client   (mziskind@cntus.jnj.com)   (jsiracusa@akingump.com)    Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                           7/10/2015

                                                                                                                                                                                                                                                                                                                                               George Bilyk (gbilyk@its.jnj.com); Kristen
                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^              Henderson ^ (khenderson@akingump.com);
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^                           Michael Ziskind (mziskind@cntus.jnj.com); Peggy                                                                                                               Email chain providing legal advice regarding issues
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^                           Mellody (pmellody@its.jnj.com); Terry Davidson                                             Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott                relating to interactions or communications between
1151   JANSSENBIO‐PL‐0000604   JANSSENBIO‐PL_2‐0000914                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                          (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                             (tdavids4@its.jnj.com)                          Kenneth Olsen ^ (kolsen@its.jnj.com)       ^ (mmcdermott@akingump.com)                             1/8/2013   ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email communication requesting legal advice regarding
                                                                                                                                Giordano, Gina; Ziskind,                                                                            Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^                Gina Giordano (ggiordan@its.jnj.com); Kenneth                                                                                                                 issues relating to lawfulness of practice management or
1152                           JANSSENBIO‐PL_2‐0000915                                                       Withheld   eMail   Michael                    Attorney‐Client                                                          (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                             Olsen ^ (kolsen@its.jnj.com)                    Peggy Mellody (pmellody@its.jnj.com)       Michael Ziskind (mziskind@cntus.jnj.com)               1/10/2013   IOI support services.

                                                                                                                                Giordano, Gina; Ziskind,                     Johnson Johnson            Kristen Henderson ^         Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^
1153                           JANSSENBIO‐PL_2‐0000916                                                       Withheld   PPTX    Michael                    Attorney‐Client   (nletier@its.jnj.com)      (khenderson@akingump.com)   (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                               1/10/2013

                                                                                                                                Giordano, Gina; Ziskind,                                                                            Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^
1154                           JANSSENBIO‐PL_2‐0000917                                                       Withheld   rtf     Michael                    Attorney‐Client   G360user                                               (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                               1/10/2013

                                                                                                                                                                                                                                                                                                                                               George Bilyk (gbilyk@its.jnj.com); Kenneth Olsen
                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^              ^ (kolsen@its.jnj.com); Michael Ziskind
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^                           (mziskind@cntus.jnj.com); Peggy Mellody                                                                                                                       Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^                           (pmellody@its.jnj.com); Terry Davidson           Kristen Henderson ^                       Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott                regarding issues relating to interactions or
1155   JANSSENBIO‐PL‐0000605   JANSSENBIO‐PL_2‐0000918                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                          (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                             (tdavids4@its.jnj.com)                           (khenderson@akingump.com)                 ^ (mmcdermott@akingump.com)                            1/23/2013   communications between ABSs and physician offices.



                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                             Anna Maria Acquaviva       Kristen Henderson ^         (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^
1156   JANSSENBIO‐PL‐0000606   JANSSENBIO‐PL_2‐0000919                                                       Withheld   PPTX    Ziskind, Michael           Attorney‐Client   (aacqua23@its.jnj.com)     (khenderson@akingump.com)   (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                               1/23/2013

                                                                                                                                                                                                                                                                                                                                               George Bilyk (gbilyk@its.jnj.com); Kristen
                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^              Henderson ^ (khenderson@akingump.com);
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^                           Michael Ziskind (mziskind@cntus.jnj.com); Peggy                                                                                                               Email chain providing legal advice regarding issues
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^                           Mellody (pmellody@its.jnj.com); Terry Davidson                                             Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott                relating to interactions or communications between
1157   JANSSENBIO‐PL‐0000607   JANSSENBIO‐PL_2‐0000920                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                          (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                             (tdavids4@its.jnj.com)                          Kenneth Olsen ^ (kolsen@its.jnj.com)       ^ (mmcdermott@akingump.com)                            1/24/2013   ABSs and physician offices.

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^              George Bilyk (gbilyk@its.jnj.com); Michael Ziskind
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^                           (mziskind@cntus.jnj.com); Peggy Mellody                                                                                                                       Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind                           (pmellody@its.jnj.com); Terry Davidson             Kristen Henderson ^                     Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott                regarding preparation/review of customer‐facing practice
1158                           JANSSENBIO‐PL_2‐0000921                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                   (tdavids4@its.jnj.com)                             (khenderson@akingump.com)               ^ (mmcdermott@akingump.com)                            1/30/2013   management or IOI support material.

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind
1159                           JANSSENBIO‐PL_2‐0000922                                                       Withheld   DOCX    Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     1/30/2013

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind
1160                           JANSSENBIO‐PL_2‐0000923                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     1/30/2013

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind
1161                           JANSSENBIO‐PL_2‐0000924                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     1/30/2013

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind
1162                           JANSSENBIO‐PL_2‐0000925                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     1/30/2013

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind
1163                           JANSSENBIO‐PL_2‐0000926                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     1/30/2013

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind
1164                           JANSSENBIO‐PL_2‐0000927                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     1/30/2013

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind
1165                           JANSSENBIO‐PL_2‐0000928                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     1/30/2013

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind
1166                           JANSSENBIO‐PL_2‐0000929                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     1/30/2013

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind
1167                           JANSSENBIO‐PL_2‐0000930                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     1/30/2013

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind
1168                           JANSSENBIO‐PL_2‐0000931                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     1/30/2013

                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Mara McDermott ^
                                                                                                                                                                                                                                    (mmcdermott@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind
1169                           JANSSENBIO‐PL_2‐0000932                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     1/30/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) requesting legal advice
                                                                                                                                Giordano, Gina; Ziskind,                                                                            Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^                Gina Giordano (ggiordan@its.jnj.com); Kenneth                                                                                                                 regarding preparation/review of customer‐facing practice
1170                           JANSSENBIO‐PL_2‐0000933                                                       Withheld   eMail   Michael                    Attorney‐Client                                                          (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                             Olsen ^ (kolsen@its.jnj.com)                    Peggy Mellody (pmellody@its.jnj.com)       Michael Ziskind (mziskind@cntus.jnj.com)               1/31/2013   management or IOI support material.

                                                                                                                                Giordano, Gina; Ziskind,                                                                            Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^
1171                           JANSSENBIO‐PL_2‐0000934                                                       Withheld   rtf     Michael                    Attorney‐Client   G360user                                               (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                               1/31/2013

                                                                                                                                Giordano, Gina; Ziskind,                                                                            Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^
1172                           JANSSENBIO‐PL_2‐0000935                                                       Withheld   DOCX    Michael                    Attorney‐Client                                                          (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                               1/31/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) requesting legal advice
                                                                                                                                Giordano, Gina; Ziskind,                                                                            Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^                Gina Giordano (ggiordan@its.jnj.com); Kenneth                                                                                                                 regarding preparation/review of customer‐facing practice
1173                           JANSSENBIO‐PL_2‐0000936                                                       Withheld   eMail   Michael                    Attorney‐Client                                                          (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                             Olsen ^ (kolsen@its.jnj.com)                    Peggy Mellody (pmellody@its.jnj.com)       Michael Ziskind (mziskind@cntus.jnj.com)               1/31/2013   management or IOI support material.

                                                                                                                                Giordano, Gina; Ziskind,                                                                            Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^
1174                           JANSSENBIO‐PL_2‐0000937                                                       Withheld   rtf     Michael                    Attorney‐Client   G360user                                               (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                               1/31/2013

                                                                                                                                Giordano, Gina; Ziskind,                     Johnson Johnson            Peggy Mellody               Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^
1175                           JANSSENBIO‐PL_2‐0000938                                                       Withheld   PPTX    Michael                    Attorney‐Client   (nletier@its.jnj.com)      (pmellody@its.jnj.com)      (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                               1/31/2013

                                                                                                                                                                                                                                    Christine Pierce (cpierce@consultresourcegroup.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                                                                                                                    (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                                                                                                                                                                                      Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                    (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); Mike Ziskind                                                                Christine Pierce                                                                                              from Outside Counsel regarding preparation/review of
1176                           JANSSENBIO‐PL_2‐0000939                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                          (mike.ziskind1@verizon.net)                                                                                Michael Ziskind (mziskind@cntus.jnj.com)        (cpierce@consultresourcegroup.com)         Mike Ziskind (mike.ziskind1@verizon.net)               4/18/2013   customer facing regulatory update.

                                                                                                                                                                                                                                    Christine Pierce (cpierce@consultresourcegroup.com); Kristen Henderson ^
                                                                                                                                                                                                                                    (khenderson@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                                                                                                                    (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                                                                             Michael Ziskind                                        (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); Mike Ziskind
1177                           JANSSENBIO‐PL_2‐0000940                                                       Withheld   docx    Ziskind, Michael           Attorney‐Client   (mziskind@cntus.jnj.com)   Chris                       (mike.ziskind1@verizon.net)                                                                                                                                                                                                                                  4/18/2013




                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                                                    (rdonnel4@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                                                                                                                                    Peggy Mellody (pmellody@its.jnj.com); Steve Phillips (sphilli7@its.jnj.com); Mark Reese
                                                                                                                                                                                                                                    (mreese@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                                                                                                                                                                                          Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                    (mziskind@cntus.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce                                                                                                                                                                                     regarding issues relating to lawfulness of practice
1178                           JANSSENBIO‐PL_2‐0000941                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                          (cpierce@consultresourcegroup.com); John Siracusa ^ (jsiracusa@akingump.com)                               Michael Ziskind (mziskind@cntus.jnj.com)        John Siracusa ^ (jsiracusa@akingump.com)   Jorge Lopez ^ (jlopez@akingump.com)                    1/28/2015   management or IOI support services.




                                                                                                                                                                                                                                    George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                                                    (rdonnel4@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                                                                                                                                    Peggy Mellody (pmellody@its.jnj.com); Steve Phillips (sphilli7@its.jnj.com); Mark Reese
                                                                                                                                                                                                                                    (mreese@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                                                                             Michael Ziskind            John Siracusa ^             (mziskind@cntus.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
1179                           JANSSENBIO‐PL_2‐0000942                                                       Withheld   DOCX    Ziskind, Michael           Attorney‐Client   (mziskind@cntus.jnj.com)   (jsiracusa@akingump.com)    (cpierce@consultresourcegroup.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                 1/28/2015
                                                                                                                                                                                                                                    Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                               Email chain providing legal advice regarding
                                                                                                                                                                                                                                    (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                                                                                                                                                                                      preparation/review of customer facing regulatory
1180                                                     JANSSENBIO‐064‐00010700   JANSSENBIO‐064‐00010703   Redacted   eMail   Ziskind, Michael           Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                   John Siracusa ^ (jsiracusa@akingump.com)        Michael Ziskind (mziskind@cntus.jnj.com)                                                          4/28/2015   update.




                                                                                                                                                                                                                                                                                                             38
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 40 of 201


                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge                                                                                                          Email chain with attachment(s) providing legal advice
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                  Michael Ziskind (mziskind@cntus.jnj.com); Peggy                                                        internal guidance concerning practice management or IOI
1181   JANSSENBIO‐PL_2‐0000943   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                             (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                   Mellody (pmellody@its.jnj.com)                  John Siracusa ^ (jsiracusa@akingump.com)   4/24/2015   support.



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^               John Siracusa ^            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1182   JANSSENBIO‐PL_2‐0000944   Withheld   DOCX    Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)        (jsiracusa@akingump.com)   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1183   JANSSENBIO‐PL_2‐0000945   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1184   JANSSENBIO‐PL_2‐0000946   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1185   JANSSENBIO‐PL_2‐0000947   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Department of Health and                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1186   JANSSENBIO‐PL_2‐0000948   Withheld   pdf     Ziskind, Michael   Attorney‐Client   Human Services                                            (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1187   JANSSENBIO‐PL_2‐0000949   Withheld   html    Ziskind, Michael   Attorney‐Client                                                             (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1188   JANSSENBIO‐PL_2‐0000950   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1189   JANSSENBIO‐PL_2‐0000951   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1190   JANSSENBIO‐PL_2‐0000952   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1191   JANSSENBIO‐PL_2‐0000953   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1192   JANSSENBIO‐PL_2‐0000954   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015


                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1193   JANSSENBIO‐PL_2‐0000955   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1194   JANSSENBIO‐PL_2‐0000956   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                             (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1195   JANSSENBIO‐PL_2‐0000957   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015


                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1196   JANSSENBIO‐PL_2‐0000958   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1197   JANSSENBIO‐PL_2‐0000959   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1198   JANSSENBIO‐PL_2‐0000960   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015


                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1199   JANSSENBIO‐PL_2‐0000961   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1200   JANSSENBIO‐PL_2‐0000962   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015



                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1201   JANSSENBIO‐PL_2‐0000963   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015


                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                   Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Marlee Gallant ^                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1202   JANSSENBIO‐PL_2‐0000964   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (mgallant@akingump.com)                                   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                              4/24/2015

                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                                                                                                                         Email chain with attachment(s) requesting legal advice
                                                                                                                                                   (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^       John Siracusa ^ (jsiracusa@akingump.com);                                                              regarding preparation/review of customer‐facing practice
1203   JANSSENBIO‐PL_2‐0000965   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com)                                                                             Peggy Mellody (pmellody@its.jnj.com)           Michael Ziskind (mziskind@cntus.jnj.com)    7/25/2014   management or IOI support material.

                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                                                   (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1204   JANSSENBIO‐PL_2‐0000966   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                             (jsiracusa@akingump.com)                                                                                                                                                                        7/25/2014

                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1205   JANSSENBIO‐PL_2‐0000967   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                        7/25/2014

                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1206   JANSSENBIO‐PL_2‐0000968   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                        7/25/2014

                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1207   JANSSENBIO‐PL_2‐0000969   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                        7/25/2014

                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1208   JANSSENBIO‐PL_2‐0000970   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                        7/25/2014

                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1209   JANSSENBIO‐PL_2‐0000971   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                        7/25/2014

                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                                                   (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1210   JANSSENBIO‐PL_2‐0000972   Withheld   pdf     Ziskind, Michael   Attorney‐Client   Center for Program Integrity                              (jsiracusa@akingump.com)                                                                                                                                                                        7/25/2014




                                                                                                                                                                                                                         39
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 41 of 201


                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1211   JANSSENBIO‐PL_2‐0000973   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1212   JANSSENBIO‐PL_2‐0000974   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1213   JANSSENBIO‐PL_2‐0000975   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1214   JANSSENBIO‐PL_2‐0000976   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                  (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1215   JANSSENBIO‐PL_2‐0000977   Withheld   pdf   Ziskind, Michael   Attorney‐Client                              (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                  (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1216   JANSSENBIO‐PL_2‐0000978   Withheld   pdf   Ziskind, Michael   Attorney‐Client                              (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1217   JANSSENBIO‐PL_2‐0000979   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1218   JANSSENBIO‐PL_2‐0000980   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1219   JANSSENBIO‐PL_2‐0000981   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1220   JANSSENBIO‐PL_2‐0000982   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1221   JANSSENBIO‐PL_2‐0000983   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1222   JANSSENBIO‐PL_2‐0000984   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1223   JANSSENBIO‐PL_2‐0000985   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1224   JANSSENBIO‐PL_2‐0000986   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1225   JANSSENBIO‐PL_2‐0000987   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1226   JANSSENBIO‐PL_2‐0000988   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1227   JANSSENBIO‐PL_2‐0000989   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1228   JANSSENBIO‐PL_2‐0000990   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                  (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1229   JANSSENBIO‐PL_2‐0000991   Withheld   pdf   Ziskind, Michael   Attorney‐Client                              (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1230   JANSSENBIO‐PL_2‐0000992   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1231   JANSSENBIO‐PL_2‐0000993   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1232   JANSSENBIO‐PL_2‐0000994   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1233   JANSSENBIO‐PL_2‐0000995   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1234   JANSSENBIO‐PL_2‐0000996   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                  (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1235   JANSSENBIO‐PL_2‐0000997   Withheld   pdf   Ziskind, Michael   Attorney‐Client   Charles Campbell           (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1236   JANSSENBIO‐PL_2‐0000998   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1237   JANSSENBIO‐PL_2‐0000999   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1238   JANSSENBIO‐PL_2‐0001000   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                  (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1239   JANSSENBIO‐PL_2‐0001001   Withheld   pdf   Ziskind, Michael   Attorney‐Client   Skramer                    (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1240   JANSSENBIO‐PL_2‐0001002   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1241   JANSSENBIO‐PL_2‐0001003   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1242   JANSSENBIO‐PL_2‐0001004   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                  (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1243   JANSSENBIO‐PL_2‐0001005   Withheld   pdf   Ziskind, Michael   Attorney‐Client                              (jsiracusa@akingump.com)                                                                         7/25/2014

                                                                                                                  Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                  (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1244   JANSSENBIO‐PL_2‐0001006   Withheld   pdf   Ziskind, Michael   Attorney‐Client                              (jsiracusa@akingump.com)                                                                         7/25/2014




                                                                                                                                                                                        40
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 42 of 201


                                                                                                                        Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1245   JANSSENBIO‐PL_2‐0001007   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014

                                                                                                                        Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1246   JANSSENBIO‐PL_2‐0001008   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014

                                                                                                                        Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1247   JANSSENBIO‐PL_2‐0001009   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014

                                                                                                                        Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                        (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1248   JANSSENBIO‐PL_2‐0001010   Withheld   rtf     Ziskind, Michael   Attorney‐Client   G360user                       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^                                                                                                       Email chain with attachment(s) reflecting request for
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                                                                                                               legal advice from Legal Department regarding
                                                                                                                        (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^                                                                                                    preparation/review of customer‐facing practice
1249   JANSSENBIO‐PL_2‐0001011   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                  (jsiracusa@akingump.com)                                                                            Peggy Mellody (pmellody@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)   7/25/2014   management or IOI support material.



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                        (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1250   JANSSENBIO‐PL_2‐0001012   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                  (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1251   JANSSENBIO‐PL_2‐0001013   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1252   JANSSENBIO‐PL_2‐0001014   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1253   JANSSENBIO‐PL_2‐0001015   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1254   JANSSENBIO‐PL_2‐0001016   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1255   JANSSENBIO‐PL_2‐0001017   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                        (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1256   JANSSENBIO‐PL_2‐0001018   Withheld   pdf     Ziskind, Michael   Attorney‐Client   Center for Program Integrity   (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1257   JANSSENBIO‐PL_2‐0001019   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1258   JANSSENBIO‐PL_2‐0001020   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1259   JANSSENBIO‐PL_2‐0001021   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1260   JANSSENBIO‐PL_2‐0001022   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                        (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1261   JANSSENBIO‐PL_2‐0001023   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                  (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                        (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1262   JANSSENBIO‐PL_2‐0001024   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                  (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1263   JANSSENBIO‐PL_2‐0001025   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1264   JANSSENBIO‐PL_2‐0001026   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1265   JANSSENBIO‐PL_2‐0001027   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1266   JANSSENBIO‐PL_2‐0001028   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014



                                                                                                                        John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                        (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                        Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                        (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1267   JANSSENBIO‐PL_2‐0001029   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)       (jsiracusa@akingump.com)                                                                                                                                                              7/25/2014




                                                                                                                                                                                               41
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 43 of 201


                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1268   JANSSENBIO‐PL_2‐0001030   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1269   JANSSENBIO‐PL_2‐0001031   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1270   JANSSENBIO‐PL_2‐0001032   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1271   JANSSENBIO‐PL_2‐0001033   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1272   JANSSENBIO‐PL_2‐0001034   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1273   JANSSENBIO‐PL_2‐0001035   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1274   JANSSENBIO‐PL_2‐0001036   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                  (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1275   JANSSENBIO‐PL_2‐0001037   Withheld   pdf   Ziskind, Michael   Attorney‐Client                              (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1276   JANSSENBIO‐PL_2‐0001038   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1277   JANSSENBIO‐PL_2‐0001039   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1278   JANSSENBIO‐PL_2‐0001040   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1279   JANSSENBIO‐PL_2‐0001041   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1280   JANSSENBIO‐PL_2‐0001042   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                  (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1281   JANSSENBIO‐PL_2‐0001043   Withheld   pdf   Ziskind, Michael   Attorney‐Client   Charles Campbell           (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1282   JANSSENBIO‐PL_2‐0001044   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1283   JANSSENBIO‐PL_2‐0001045   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1284   JANSSENBIO‐PL_2‐0001046   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                  (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1285   JANSSENBIO‐PL_2‐0001047   Withheld   pdf   Ziskind, Michael   Attorney‐Client   Skramer                    (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1286   JANSSENBIO‐PL_2‐0001048   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1287   JANSSENBIO‐PL_2‐0001049   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014



                                                                                                                  John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                  (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                  Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                  (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                       John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1288   JANSSENBIO‐PL_2‐0001050   Withheld   pdf   Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                            7/25/2014




                                                                                                                                                                                         42
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 44 of 201


                                                                                                                                               John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                                               (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                                               Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                                               (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1289   JANSSENBIO‐PL_2‐0001051   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com)                                                                                                                                                                                                                                     7/25/2014



                                                                                                                                               John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                                               (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                                               Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                                               (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1290   JANSSENBIO‐PL_2‐0001052   Withheld   pdf     Ziskind, Michael   Attorney‐Client                                                         (jsiracusa@akingump.com)                                                                                                                                                                                                                                     7/25/2014



                                                                                                                                               John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                                               (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                                               Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                                       (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1291   JANSSENBIO‐PL_2‐0001053   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)                              (jsiracusa@akingump.com)                                                                                                                                                                                                                                     7/25/2014



                                                                                                                                               John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                                               (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                                               Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                                       (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1292   JANSSENBIO‐PL_2‐0001054   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)                              (jsiracusa@akingump.com)                                                                                                                                                                                                                                     7/25/2014



                                                                                                                                               John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                                               (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                                               Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                         John Siracusa ^                                       (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1293   JANSSENBIO‐PL_2‐0001055   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (jsiracusa@akingump.com)                              (jsiracusa@akingump.com)                                                                                                                                                                                                                                     7/25/2014



                                                                                                                                               John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Frank Girello ^
                                                                                                                                               (fgirello@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                                               Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
                                                                                                                                               (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
1294   JANSSENBIO‐PL_2‐0001056   Withheld   rtf     Ziskind, Michael   Attorney‐Client   G360user                                              (jsiracusa@akingump.com)                                                                                                                                                                                                                                     7/25/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^                                                                                                                                                                                             Email chain with attachment(s) requesting legal advice
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                       Doug Kennedy (dkenned6@its.jnj.com); John                                                                                                                      regarding preparation/review of customer‐facing practice
1295   JANSSENBIO‐PL_2‐0001057   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                        Siracusa ^ (jsiracusa@akingump.com)            Michael Ziskind (mziskind@cntus.jnj.com)                                                            1/13/2014   management or IOI support material.

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1296   JANSSENBIO‐PL_2‐0001058   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1297   JANSSENBIO‐PL_2‐0001059   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1298   JANSSENBIO‐PL_2‐0001060   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1299   JANSSENBIO‐PL_2‐0001061   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1300   JANSSENBIO‐PL_2‐0001062   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                         Blair Cantfil ^            John Siracusa ^            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1301   JANSSENBIO‐PL_2‐0001063   Withheld   DOCX    Ziskind, Michael   Attorney‐Client   (bcantfil@akingump.com)    (jsiracusa@akingump.com)   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1302   JANSSENBIO‐PL_2‐0001064   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                              Graver, Daniel             (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1303   JANSSENBIO‐PL_2‐0001065   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1304   JANSSENBIO‐PL_2‐0001066   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1305   JANSSENBIO‐PL_2‐0001067   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1306   JANSSENBIO‐PL_2‐0001068   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Blair Cantfil (bcantfil@akingump.com); Terry Davidson (tdavids4@its.jnj.com); Doug Kennedy
                                                                                                                                               (dkenned6@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1307   JANSSENBIO‐PL_2‐0001069   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           1/13/2014

                                                                                                                                               Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                               Email chain with attachment(s) providing legal advice
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce                      Michael Ziskind (mziskind@cntus.jnj.com); Peggy                                            Christine Pierce (cpierce@consultresourcegroup.com);                regarding preparation/review of customer‐facing practice
1308   JANSSENBIO‐PL_2‐0001070   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (cpierce@consultresourcegroup.com)                                                                        Mellody (pmellody@its.jnj.com)                  John Siracusa ^ (jsiracusa@akingump.com)   Jorge Lopez ^ (jlopez@akingump.com)                    12/20/2013   management or IOI support material.

                                                                                                                                               Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
1309   JANSSENBIO‐PL_2‐0001071   Withheld   DOCX    Ziskind, Michael   Attorney‐Client                                                         (cpierce@consultresourcegroup.com)                                                                                                                                                                                                                          12/20/2013


                                                                                                                                               Christine Pierce (cpierce@consultresourcegroup.com); Greg Suss (gsuss@tjcomm.com); Jorge Lopez ^
                                                                                                                                               (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                                             Email chain with attachment(s) reflecting legal advice
                                                                                                                                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                                                                                                                                                                                      from Outside Counsel regarding preparation/review of
1310   JANSSENBIO‐PL_2‐0001072   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                        Michael Ziskind (mziskind@cntus.jnj.com)       Peggy Mellody (pmellody@its.jnj.com)                                                                11/4/2014   customer facing regulatory update.



                                                                                                                                               Christine Pierce (cpierce@consultresourcegroup.com); Greg Suss (gsuss@tjcomm.com); Jorge Lopez ^
                                                                                                                                               (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                         Michael Ziskind            John Siracusa ^            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1311   JANSSENBIO‐PL_2‐0001073   Withheld   DOCX    Ziskind, Michael   Attorney‐Client   (mziskind@cntus.jnj.com)   (jsiracusa@akingump.com)   (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                                                                                                                           11/4/2014
                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) providing legal advice regarding
                                                                                                                                               Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                                                                                                                                                                          preparation/review of customer facing regulatory
1312   JANSSENBIO‐PL_2‐0001074   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                  Peggy Mellody (pmellody@its.jnj.com)           John Siracusa ^ (jsiracusa@akingump.com)    Michael Ziskind (mziskind@cntus.jnj.com)               11/17/2015   update.
                                                                                         Doug Kennedy                                          Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
1313   JANSSENBIO‐PL_2‐0001075   Withheld   pdf     Ziskind, Michael   Attorney‐Client   (dkenned6@its.jnj.com)                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    11/17/2015
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) reflecting request for
                                                                                                                                               John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Elizabeth Lawless                                                                                                                                                                                 legal advice from Legal Department regarding
                                                                                                                                               (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);                                                                                                                                                                      preparation/review of customer facing regulatory
1314   JANSSENBIO‐PL_2‐0001076   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                        Elizabeth Lawless (elawless@its.jnj.com)       Michael Ziskind (mziskind@cntus.jnj.com)    Peggy Mellody (pmellody@its.jnj.com)                     8/2/2013   update.

                                                                                                                                               John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Elizabeth Lawless
                                                                                         Michael Ziskind            Michael Ziskind            (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
1315   JANSSENBIO‐PL_2‐0001077   Withheld   docx    Ziskind, Michael   Attorney‐Client   (mziskind@cntus.jnj.com)   (mziskind@cntus.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                            8/2/2013

                                                                                                                                               John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Elizabeth Lawless
                                                                                                                                               (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
1316   JANSSENBIO‐PL_2‐0001078   Withheld   docx    Ziskind, Michael   Attorney‐Client                                                         Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                            8/2/2013

                                                                                                                                               John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Elizabeth Lawless
                                                                                                                                               (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
1317   JANSSENBIO‐PL_2‐0001079   Withheld   docx    Ziskind, Michael   Attorney‐Client                                                         Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                            8/2/2013

                                                                                         Kristen Henderson ^                                   John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Elizabeth Lawless
                                                                                         (khenderson@akingump.com Michael Ziskind              (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
1318   JANSSENBIO‐PL_2‐0001080   Withheld   docx    Ziskind, Michael   Attorney‐Client   )                        (mziskind@cntus.jnj.com)     Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                            8/2/2013

                                                                                                                                               Regina Fisher (rfisher6@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano                                                                                                                                                                                     Email chain with attachment(s) reflecting request for
                                                                                                                                               (ggiordan@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);                                                                                                                                                                  legal advice from Legal Department regarding
                                                                                                                                               Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                                                                                                                                                                          preparation/review of customer facing regulatory
1319   JANSSENBIO‐PL_2‐0001081   Withheld   eMail   Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                  Regina Fisher (rfisher6@its.jnj.com)           Michael Ziskind (mziskind@cntus.jnj.com)                                                             8/2/2013   update.

                                                                                                                                               Regina Fisher (rfisher6@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano
                                                                                                                                               (ggiordan@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                         Michael Ziskind            Michael Ziskind            Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1320   JANSSENBIO‐PL_2‐0001082   Withheld   docx    Ziskind, Michael   Attorney‐Client   (mziskind@cntus.jnj.com)   (mziskind@cntus.jnj.com)   (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                      8/2/2013

                                                                                                                                               Regina Fisher (rfisher6@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano
                                                                                                                                               (ggiordan@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                               Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1321   JANSSENBIO‐PL_2‐0001083   Withheld   docx    Ziskind, Michael   Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                      8/2/2013




                                                                                                                                                                                                                       43
                                                                                                              Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 45 of 201


                                                                                                                                                                                                                                   Regina Fisher (rfisher6@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano
                                                                                                                                                                                                                                   (ggiordan@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                                                                                                   Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1322                           JANSSENBIO‐PL_2‐0001084                                                       Withheld   docx    Ziskind, Michael           Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                          8/2/2013

                                                                                                                                                                                                                                   Regina Fisher (rfisher6@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano
                                                                                                                                                                             Kristen Henderson ^                                   (ggiordan@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                                             (khenderson@akingump.com Michael Ziskind              Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
1323                           JANSSENBIO‐PL_2‐0001085                                                       Withheld   docx    Ziskind, Michael           Attorney‐Client   )                        (mziskind@cntus.jnj.com)     (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                          8/2/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                   Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind                                                                                                                                                                                  regarding preparation/review of customer facing
1324                           JANSSENBIO‐PL_2‐0001086                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                     Kenneth Olsen ^ (kolsen@its.jnj.com)              Michael Ziskind (mziskind@cntus.jnj.com)        Peggy Mellody (pmellody@its.jnj.com)               8/5/2013   regulatory update.
                                                                                                                                                                             Michael Ziskind            Michael Ziskind            Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind
1325                           JANSSENBIO‐PL_2‐0001087                                                       Withheld   docx    Ziskind, Michael           Attorney‐Client   (mziskind@cntus.jnj.com)   (mziskind@cntus.jnj.com)   (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                          8/5/2013
                                                                                                                                                                                                                                   Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind
1326                           JANSSENBIO‐PL_2‐0001088                                                       Withheld   docx    Ziskind, Michael           Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                          8/5/2013
                                                                                                                                                                                                                                   Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind
1327                           JANSSENBIO‐PL_2‐0001089                                                       Withheld   docx    Ziskind, Michael           Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                          8/5/2013
                                                                                                                                                                             Kristen Henderson ^
                                                                                                                                                                             (khenderson@akingump.com Michael Ziskind              Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind
1328                           JANSSENBIO‐PL_2‐0001090                                                       Withheld   docx    Ziskind, Michael           Attorney‐Client   )                        (mziskind@cntus.jnj.com)     (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                          8/5/2013

                                                                                                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                                   Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                                                                                                                                                                                          regarding preparation/review of customer‐facing practice
1329                                                     JANSSENBIO‐053‐00011223   JANSSENBIO‐053‐00011225   Redacted   eMail   Ziskind, Michael           Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                     Peggy Mellody (pmellody@its.jnj.com)              Michael Ziskind (mziskind@cntus.jnj.com)                                                          8/22/2013   management or IOI support material.

                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); John Siracusa ^                                                                                                                                                                              Email chain reflecting request for legal advice from
                                                                                                                                                                                                                                   (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Martha Propsner                                                                                                                                                                                              Outside Counsel regarding preparation/review of
                                                                                                                                Giordano, Gina; Ziskind,                                                                           (mpropsne@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                            Gina Giordano (ggiordan@its.jnj.com); Martha                                                                                                                    customer‐facing practice management or IOI support
1330                                                     JANSSENBIO‐058‐00004884   JANSSENBIO‐058‐00004886   Redacted   eMail   Michael                    Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                     Propsner (mpropsne@its.jnj.com)                   Peggy Mellody (pmellody@its.jnj.com)            Michael Ziskind (mziskind@cntus.jnj.com)          11/1/2015   material.
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody                Gina Giordano (ggiordan@its.jnj.com); Martha                                                                                                                    Email with attachment(s) requesting legal advice
                                                                                                                                Giordano, Gina; Ziskind,                                                                           (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind                              Propsner (mpropsne@its.jnj.com); Timothy                                                                                                                        regarding preparation/review of customer facing
1331                           JANSSENBIO‐PL_2‐0001091                                                       Withheld   eMail   Michael                    Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                     English ^ (tenglis1@its.jnj.com)                  Peggy Mellody (pmellody@its.jnj.com)            Michael Ziskind (mziskind@cntus.jnj.com)          11/2/2015   regulatory update.
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Roberson Chris                                        (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1332                           JANSSENBIO‐PL_2‐0001092                                                       Withheld   pdf     Michael                    Attorney‐Client   (crobers1@its.jnj.com)                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         11/2/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Roberson Chris                                        (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1333                           JANSSENBIO‐PL_2‐0001093                                                       Withheld   pdf     Michael                    Attorney‐Client   (crobers1@its.jnj.com)                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         11/2/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                                                                           (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1334                           JANSSENBIO‐PL_2‐0001094                                                       Withheld   pdf     Michael                    Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         11/2/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Roberson Chris                                        (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1335                           JANSSENBIO‐PL_2‐0001095                                                       Withheld   pdf     Michael                    Attorney‐Client   (crobers1@its.jnj.com)                                (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         11/2/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                                                                           (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1336                           JANSSENBIO‐PL_2‐0001096                                                       Withheld   rtf     Michael                    Attorney‐Client   G360user                                              (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         11/2/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Peggy Mellody (pmellody@its.jnj.com); John                                                                                                                                                                              regarding preparation/review of customer facing
1337                           JANSSENBIO‐PL_2‐0001097   JANSSENBIO‐060‐00010734   JANSSENBIO‐060‐00010735   Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                         Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                John Siracusa ^ (jsiracusa@akingump.com)          Peggy Mellody (pmellody@its.jnj.com)            Michael Ziskind (mziskind@cntus.jnj.com)          11/2/2015   regulatory update.

                                                                                                                                                                             Roberson Chris                                        Christine Pierce (cpierce@consultresourcegroup.com); Peggy Mellody (pmellody@its.jnj.com); John
1338                           JANSSENBIO‐PL_2‐0001098   JANSSENBIO‐060‐00010736   JANSSENBIO‐060‐00010736   Withheld   pdf     Ziskind, Michael           Attorney‐Client   (crobers1@its.jnj.com)                                Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                    11/2/2015

                                                                                                                                                                             Roberson Chris                                        Christine Pierce (cpierce@consultresourcegroup.com); Peggy Mellody (pmellody@its.jnj.com); John
1339                           JANSSENBIO‐PL_2‐0001099   JANSSENBIO‐060‐00010737   JANSSENBIO‐060‐00010743   Withheld   pdf     Ziskind, Michael           Attorney‐Client   (crobers1@its.jnj.com)                                Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                    11/2/2015

                                                                                                                                                                                                                                   Christine Pierce (cpierce@consultresourcegroup.com); Peggy Mellody (pmellody@its.jnj.com); John
1340                           JANSSENBIO‐PL_2‐0001100   JANSSENBIO‐060‐00010744   JANSSENBIO‐060‐00010746   Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                         Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                    11/2/2015

                                                                                                                                                                             Roberson Chris                                        Christine Pierce (cpierce@consultresourcegroup.com); Peggy Mellody (pmellody@its.jnj.com); John
1341                           JANSSENBIO‐PL_2‐0001101   JANSSENBIO‐060‐00010747   JANSSENBIO‐060‐00010747   Withheld   pdf     Ziskind, Michael           Attorney‐Client   (crobers1@its.jnj.com)                                Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                    11/2/2015
                                                                                                                                                                                                                                                                                                                                                Aliza Tomlinson (atomlins@its.jnj.com); Ann
                                                                                                                                                                                                                                                                                                                                                Powell (apowell4@its.jnj.com); Arnold Doyle
                                                                                                                                                                                                                                                                                                                                                (adoyle9@its.jnj.com); Bert Wickey
                                                                                                                                                                                                                                                                                                                                                (bwickey@its.jnj.com); Caren Sykes
                                                                                                                                                                                                                                                                                                                                                (csykes@its.jnj.com); Christopher Herbine
                                                                                                                                                                                                                                                                                                                                                (cherbin1@its.jnj.com); Danielle Ziernicki
                                                                                                                                                                                                                                                                                                                                                (dziernic@its.jnj.com); David Hannah
                                                                                                                                                                                                                                                                                                                                                (dhannah5@its.jnj.com); Deborah Bandy
                                                                                                                                                                                                                                                                                                                                                (dbandy2@its.jnj.com); Ellen Ivey
                                                                                                                                                                                                                                                                                                                                                (eivey@its.jnj.com); George Bilyk
                                                                                                                                                                                                                                                                                                                                                (gbilyk@its.jnj.com); Ira Klein
                                                                                                                                                                                                                                                                                                                                                (iklein2@its.jnj.com); Jennifer Cunningham
                                                                                                                                                                                                                                   Deborah Bandy (dbandy2@its.jnj.com); Melia Becker (mbecker@its.jnj.com); Ward Bennett ^                      (jcunnin2@its.jnj.com); Joan Houska
                                                                                                                                                                                                                                   (abennett@ropesgray.com); George Bilyk (gbilyk@its.jnj.com); Justin Caudle (jcaudle@its.jnj.com); Patrick    (jhouska@its.jnj.com); John Hoffman
                                                                                                                                                                                                                                   Conley (pconley@its.jnj.com); Jennifer Cunningham (jcunnin2@its.jnj.com); Kelly Davies                       (jhoffma2@its.jnj.com); Justin Caudle
                                                                                                                                                                                                                                   (kdavies2@its.jnj.com); Rizza De la Guerra (rdelague@its.jnj.com); Tishna Dhaliwal (tdhaliwa@its.jnj.com);   (jcaudle@its.jnj.com); Keith Varni
                                                                                                                                                                                                                                   Arnold Doyle (adoyle9@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Leslie Fox                     (kvarni@its.jnj.com); Kelly Davies
                                                                                                                                                                                                                                   (lfox11@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Shannon Groppenbacher                            (kdavies2@its.jnj.com); Kevin Kleemeier
                                                                                                                                                                                                                                   (sgroppen@its.jnj.com); David Hannah (dhannah5@its.jnj.com); Paulette Heath (pheath2@its.jnj.com);           (kkleemei@its.jnj.com); Leslie Fox
                                                                                                                                                                                                                                   Christopher Herbine (cherbin1@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Joan Houska                 (lfox11@its.jnj.com); Lynn Starr
                                                                                                                                                                                                                                   (jhouska@its.jnj.com); Ellen Ivey (eivey@its.jnj.com); Kevin Kleemeier (kkleemei@its.jnj.com); Ira Klein     (hstarr@its.jnj.com); Matthew Martello
                                                                                                                                                                                                                                   (iklein2@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Daphne Longbothum                           (mmartel2@its.jnj.com); Matthew Stella
                                                                                                                                                                                                                                   (dlongbot@its.jnj.com); Matthew Martello (mmartel2@its.jnj.com); Peggy Mellody                               (mstella@its.jnj.com); Melia Becker
                                                                                                                                                                                                                                   (pmellody@its.jnj.com); Reed Murdoch (rmurdoch@its.jnj.com); Ann Powell (apowell4@its.jnj.com);              (mbecker@its.jnj.com); Michael Ziskind
                                                                                                                                                                                                                                   Martha Propsner (mpropsne@its.jnj.com); Lynn Starr (hstarr@its.jnj.com); Matthew Stella                      (mziskind@cntus.jnj.com); Patrick Conley
                                                                                                                                                                                                                                   (mstella@its.jnj.com); Caren Sykes (csykes@its.jnj.com); Aliza Tomlinson (atomlins@its.jnj.com); Keith       (pconley@its.jnj.com); Paulette Heath
                                                                                                                                                                                                                                   Varni (kvarni@its.jnj.com); Wanda Vazquez (wvazque2@its.jnj.com); Bert Wickey (bwickey@its.jnj.com);         (pheath2@its.jnj.com); Reed Murdoch                                                                                                                             Email chain with attachment(s) reflecting request for
                                                                                                                                Hoffman, John; Ziskind,                                                                            Scott Willet (swillet@its.jnj.com); Danielle Ziernicki (dziernic@its.jnj.com); Michael Ziskind               (rmurdoch@its.jnj.com); Rizza De la Guerra                                                                                                                      legal advice regarding preparation/review of customer‐
1342                                                     JANSSENBIO‐064‐00010689   JANSSENBIO‐064‐00010694   Redacted   eMail   Michael                    Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                     (rdelague@its.jnj.com); Scott Willet              Peggy Mellody (pmellody@its.jnj.com)                                                              11/4/2015   facing practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email communication providing information to counsel
                                                                                                                                                                                                                                                                                                                                                Christy Stickle ^ (cstickle@its.jnj.com); DL‐NA                                                                                                                 for the purpose of receiving legal advice from Legal
                                                                                                                                                                                                                                   Gina Giordano (ggiordan@its.jnj.com); Christy Stickle ^ (cstickle@its.jnj.com); DL‐NA Pharm SCG (dl‐cntus‐   Pharm SCG (dl‐cntus‐napharmscg@its.jnj.com);      J&J Legal Education and Training ^ (ra‐jjcus‐                                                                 Department regarding issues relating to interactions or
1343   JANSSENBIO‐PL‐0000608                             JANSSENBIO‐048‐00002223   JANSSENBIO‐048‐00002223   Redacted   eMail   Ziskind, Michael           Attorney‐Client                                                         napharmscg@its.jnj.com); J&J Legal Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com)               Gina Giordano (ggiordan@its.jnj.com)              jnjlegalent@its.jnj.com)                                                                          12/4/2015   communications between ABSs and physician offices.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email communication providing information to counsel
                                                                                                                                                                                                                                                                                                                                                Christy Stickle ^ (cstickle@its.jnj.com); DL‐NA                                                                                                                 for the purpose of receiving legal advice from Legal
                                                                                                                                                                                                                                   Gina Giordano (ggiordan@its.jnj.com); Christy Stickle ^ (cstickle@its.jnj.com); DL‐NA Pharm SCG (dl‐cntus‐   Pharm SCG (dl‐cntus‐napharmscg@its.jnj.com);      J&J Legal Education and Training ^ (ra‐jjcus‐                                                                 Department regarding issues relating to interactions or
1344   JANSSENBIO‐PL‐0000609                             JANSSENBIO‐048‐00002224   JANSSENBIO‐048‐00002224   Redacted   eMail   Ziskind, Michael           Attorney‐Client                                                         napharmscg@its.jnj.com); J&J Legal Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com)               Gina Giordano (ggiordan@its.jnj.com)              jnjlegalent@its.jnj.com)                                                                          12/3/2015   communications between ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain providing legal advice regarding
                                                                                                                                                                                                                                   Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                                   preparation/review of customer facing regulatory
1345                                                     JANSSENBIO‐064‐00010704   JANSSENBIO‐064‐00010707   Redacted   eMail   Ziskind, Michael           Attorney‐Client                                                         (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                           John Siracusa ^ (jsiracusa@akingump.com)          Peggy Mellody (pmellody@its.jnj.com)            Michael Ziskind (mziskind@cntus.jnj.com)          4/28/2015   update.
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody                                                                                                                                                                                Email with attachment(s) requesting legal advice
                                                                                                                                Giordano, Gina; Ziskind,                                                                           (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind                              Gina Giordano (ggiordan@its.jnj.com); Timothy                                                     Martha Propsner (mpropsne@its.jnj.com); Michael               regarding preparation/review of customer‐facing practice
1346   JANSSENBIO‐PL‐0000610   JANSSENBIO‐PL_2‐0001102                                                       Withheld   eMail   Michael                    Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                     English ^ (tenglis1@its.jnj.com)                  Peggy Mellody (pmellody@its.jnj.com)            Ziskind (mziskind@cntus.jnj.com)                  4/27/2015   management or IOI support material.
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^           John Siracusa ^            (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1347   JANSSENBIO‐PL‐0000611   JANSSENBIO‐PL_2‐0001103                                                       Withheld   DOCX    Michael                    Attorney‐Client   (mgallant@akingump.com)    (jsiracusa@akingump.com)   (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                                                                           (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1348   JANSSENBIO‐PL‐0000612   JANSSENBIO‐PL_2‐0001104                                                       Withheld   pdf     Michael                    Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                                                                           (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1349   JANSSENBIO‐PL‐0000613   JANSSENBIO‐PL_2‐0001105                                                       Withheld   pdf     Michael                    Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1350   JANSSENBIO‐PL‐0000614   JANSSENBIO‐PL_2‐0001106                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Department of Health and                              (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1351   JANSSENBIO‐PL‐0000615   JANSSENBIO‐PL_2‐0001107                                                       Withheld   pdf     Michael                    Attorney‐Client   Human Services                                        (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                                                                           (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1352   JANSSENBIO‐PL‐0000616   JANSSENBIO‐PL_2‐0001108                                                       Withheld   html    Michael                    Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1353   JANSSENBIO‐PL‐0000617   JANSSENBIO‐PL_2‐0001109                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1354   JANSSENBIO‐PL‐0000618   JANSSENBIO‐PL_2‐0001110                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1355   JANSSENBIO‐PL‐0000619   JANSSENBIO‐PL_2‐0001111                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1356   JANSSENBIO‐PL‐0000620   JANSSENBIO‐PL_2‐0001112                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1357   JANSSENBIO‐PL‐0000621   JANSSENBIO‐PL_2‐0001113                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1358   JANSSENBIO‐PL‐0000622   JANSSENBIO‐PL_2‐0001114                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                                                                           (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1359   JANSSENBIO‐PL‐0000623   JANSSENBIO‐PL_2‐0001115                                                       Withheld   pdf     Michael                    Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1360   JANSSENBIO‐PL‐0000624   JANSSENBIO‐PL_2‐0001116                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1361   JANSSENBIO‐PL‐0000625   JANSSENBIO‐PL_2‐0001117                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1362   JANSSENBIO‐PL‐0000626   JANSSENBIO‐PL_2‐0001118                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1363   JANSSENBIO‐PL‐0000627   JANSSENBIO‐PL_2‐0001119                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1364   JANSSENBIO‐PL‐0000628   JANSSENBIO‐PL_2‐0001120                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1365   JANSSENBIO‐PL‐0000629   JANSSENBIO‐PL_2‐0001121                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1366   JANSSENBIO‐PL‐0000630   JANSSENBIO‐PL_2‐0001122                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                     Marlee Gallant ^                                      (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1367   JANSSENBIO‐PL‐0000631   JANSSENBIO‐PL_2‐0001123                                                       Withheld   pdf     Michael                    Attorney‐Client   (mgallant@akingump.com)                               (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015
                                                                                                                                                                                                                                   Timothy English ^ (tenglis1@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
                                                                                                                                Giordano, Gina; Ziskind,                                                                           (pmellody@its.jnj.com); Martha Propsner (mpropsne@its.jnj.com); Michael Ziskind
1368   JANSSENBIO‐PL‐0000632   JANSSENBIO‐PL_2‐0001124                                                       Withheld   rtf     Michael                    Attorney‐Client   G360user                                              (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                         4/27/2015




                                                                                                                                                                                                                                                                                                            44
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 46 of 201


                                                                                                                                                                                                              Christine Pierce (cpierce@consultresourcegroup.com); Marlee Gallant (mgallant@akingump.com); Jorge
                                                                                                                                                                                                              Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                                                                        Email chain reflecting legal advice regarding
                                                                                                                                                                                                              (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                                                                  John Siracusa ^ (jsiracusa@akingump.com);                                                                                                              preparation/review of customer facing regulatory
1369   JANSSENBIO‐PL_2‐0001125                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                            (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                                                                                   Michael Ziskind (mziskind@cntus.jnj.com)            Peggy Mellody (pmellody@its.jnj.com)                                                   4/13/2015   update.

                                                                                                                                                                                                              Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody                                                                                                                                                                                                                  Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                              (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                                                                                                                                                                                                                           from Outside Counsel regarding preparation/review of
1370   JANSSENBIO‐PL_2‐0001126                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                            (mziskind@cntus.jnj.com)                                                                                                                             Michael Ziskind (mziskind@cntus.jnj.com)            Peggy Mellody (pmellody@its.jnj.com)                                                   4/12/2015   customer facing regulatory update.

                                                                                                                                                                                                              Marlee Gallant (mgallant@akingump.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                     Marlee Gallant ^              John Siracusa ^            (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
1371   JANSSENBIO‐PL_2‐0001127                                                       Withheld   DOCX    Ziskind, Michael           Attorney‐Client   (mgallant@akingump.com)       (jsiracusa@akingump.com)   (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                        4/12/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                                                             regarding preparation/review of customer facing
1372   JANSSENBIO‐PL_2‐0001128                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                   Peggy Mellody (pmellody@its.jnj.com)                John Siracusa ^ (jsiracusa@akingump.com)   Michael Ziskind (mziskind@cntus.jnj.com)   10/19/2015   regulatory update.

                                                                                                                                                     Doug Kennedy                  John Siracusa ^            John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1373   JANSSENBIO‐PL_2‐0001129                                                       Withheld   DOCX    Ziskind, Michael           Attorney‐Client   (dkenned6@its.jnj.com)        (jsiracusa@akingump.com)   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/19/2015

                                                                                                                                                                                                                                                                                                                         John Siracusa ^ (jsiracusa@akingump.com);                                                                                                                                                        Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                         Michael Ziskind (mziskind@cntus.jnj.com);                                                                                                                                                        from Akin Gump ^ regarding preparation/review of
1374   JANSSENBIO‐PL_2‐0001130                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                            Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                             Peggy Mellody (pmellody@its.jnj.com)      Michael Ziskind (mziskind@cntus.jnj.com)            Peggy Mellody (pmellody@its.jnj.com)                                                    8/3/2015   customer facing regulatory update.
                                                                                                                                                     Ami Patel ^                   Rizza Hermosisima
1375   JANSSENBIO‐PL_2‐0001131                                                       Withheld   pptx    Ziskind, Michael           Attorney‐Client   (APatel65@its.jnj.com)        (rhermosi@cntus.jnj.com)   Peggy Mellody (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                   8/3/2015

                                                                                                        Giordano, Gina; Hoffman,                                                                              Gina Giordano (ggiordan@its.jnj.com); Omar Jabbar (ojabbar@its.jnj.com); DL‐NA Pharm SCG (dl‐cntus‐                                                  DL‐NA Pharm SCG (dl‐cntus‐                                                                                                                             Email communication reflecting legal advice from the Law
1376                             JANSSENBIO‐047‐00009080   JANSSENBIO‐047‐00009080   Redacted   eMail   John; Ziskind, Michael     Attorney‐Client                                                            napharmscg@its.jnj.com)                                                                                                                              napharmscg@its.jnj.com)                             Omar Jabbar (ojabbar@its.jnj.com)          Gina Giordano (ggiordan@its.jnj.com)        10/8/2015   Department ^ regarding training on the AKS.
                                                                                                                                                                                                                                                                                                                                                                   Danielle Ziernicki (dziernic@its.jnj.com); Norris
                                                                                                                                                                                                              Silas Martin (smarti51@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Sophie Shen                                                               Turner (nturner1@its.jnj.com); Silas Martin                                                                                                            Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                              (sshen111@its.jnj.com); Norris Turner (nturner1@its.jnj.com); Danielle Ziernicki (dziernic@its.jnj.com);                                             (smarti51@its.jnj.com); Sophie Shen                                                                                                                    from Akin Gump ^ regarding preparation/review of
1377   JANSSENBIO‐PL_2‐0001132                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                            Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                             (sshen111@its.jnj.com)                              Peggy Mellody (pmellody@its.jnj.com)       Michael Ziskind (mziskind@cntus.jnj.com)    7/10/2015   customer facing regulatory update.

                                                                                                                                                                                                              Silas Martin (smarti51@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Sophie Shen
                                                                                                                                                     Michael Ziskind               John Siracusa ^            (sshen111@its.jnj.com); Norris Turner (nturner1@its.jnj.com); Danielle Ziernicki (dziernic@its.jnj.com);
1378   JANSSENBIO‐PL_2‐0001133                                                       Withheld   DOCX    Ziskind, Michael           Attorney‐Client   (mziskind@cntus.jnj.com)      (jsiracusa@akingump.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                        7/10/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                                                             regarding preparation/review of customer facing
1379   JANSSENBIO‐PL_2‐0001134                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                   John Siracusa ^ (jsiracusa@akingump.com)            Peggy Mellody (pmellody@its.jnj.com)       Michael Ziskind (mziskind@cntus.jnj.com)   10/22/2015   regulatory update.

                                                                                                                                                     Doug Kennedy                  John Siracusa ^            John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1380   JANSSENBIO‐PL_2‐0001135                                                       Withheld   DOCX    Ziskind, Michael           Attorney‐Client   (dkenned6@its.jnj.com)        (jsiracusa@akingump.com)   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1381   JANSSENBIO‐PL_2‐0001136                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1382   JANSSENBIO‐PL_2‐0001137                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1383   JANSSENBIO‐PL_2‐0001138                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1384   JANSSENBIO‐PL_2‐0001139                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1385   JANSSENBIO‐PL_2‐0001140                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1386   JANSSENBIO‐PL_2‐0001141                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1387   JANSSENBIO‐PL_2‐0001142                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1388   JANSSENBIO‐PL_2‐0001143                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1389   JANSSENBIO‐PL_2‐0001144                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1390   JANSSENBIO‐PL_2‐0001145                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1391   JANSSENBIO‐PL_2‐0001146                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1392   JANSSENBIO‐PL_2‐0001147                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1393   JANSSENBIO‐PL_2‐0001148                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1394   JANSSENBIO‐PL_2‐0001149                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1395   JANSSENBIO‐PL_2‐0001150                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1396   JANSSENBIO‐PL_2‐0001151                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1397   JANSSENBIO‐PL_2‐0001152                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1398   JANSSENBIO‐PL_2‐0001153                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015

                                                                                                                                                                                                              John Siracusa ^ (jsiracusa@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1399   JANSSENBIO‐PL_2‐0001154                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                             10/22/2015



                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Tishna Dhaliwal
                                                                                                                                                                                                              (tdhaliwa@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Kristen Henderson ^
                                                                                                                                                                                                              (khenderson@akingump.com); Christopher Herbine (cherbin1@its.jnj.com); Joan Houska
                                                                                                                                                                                                              (jhouska@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                                                                                                              Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                                                                                                                                                                                                             Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                              (mziskind@cntus.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^                                                                                                                                                                                                                         from Outside Counsel regarding preparation/review of
1400   JANSSENBIO‐PL_2‐0001155                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                            (jsiracusa@akingump.com)                                                                                                                             Michael Ziskind (mziskind@cntus.jnj.com)            Peggy Mellody (pmellody@its.jnj.com)                                                    4/1/2013   customer facing regulatory update.



                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Terry Davidson (tdavids4@its.jnj.com); Tishna Dhaliwal
                                                                                                                                                                                                              (tdhaliwa@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Kristen Henderson ^
                                                                                                                                                                                                              (khenderson@akingump.com); Christopher Herbine (cherbin1@its.jnj.com); Joan Houska
                                                                                                                                                                                                              (jhouska@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Jorge Lopez ^ (jlopez@akingump.com);
                                                                                                                                                                                                              Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                                                                                                              (mziskind@cntus.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^
1401   JANSSENBIO‐PL_2‐0001156                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client   Jeremy Silanskis                                         (jsiracusa@akingump.com)                                                                                                                                                                                                                                                                         4/1/2013



                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                              (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                                                                                                                                                                                                                                Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                              (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce                                                                 Michael Ziskind (mziskind@cntus.jnj.com); Mike                                                                                                         from Outside Counsel regarding preparation/review of
1402   JANSSENBIO‐PL_2‐0001157                                                       Withheld   eMail   Ziskind, Michael           Attorney‐Client                                                            (cpierce@consultresourcegroup.com); Mike Ingrid (mikeingrid@verizon.net)                                                                             Ingrid (mikeingrid@verizon.net)                     Peggy Mellody (pmellody@its.jnj.com)                                                   3/11/2013   customer facing regulatory update.



                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                              (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                              (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
1403   JANSSENBIO‐PL_2‐0001158                                                       Withheld   rtf     Ziskind, Michael           Attorney‐Client   G360user                                                 (cpierce@consultresourcegroup.com); Mike Ingrid (mikeingrid@verizon.net)                                                                                                                                                                                                                        3/11/2013


                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                              (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                              (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
1404   JANSSENBIO‐PL_2‐0001159                                                       Withheld   DOCX    Ziskind, Michael           Attorney‐Client                                                            (cpierce@consultresourcegroup.com); Mike Ingrid (mikeingrid@verizon.net)                                                                                                                                                                                                                        3/11/2013



                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                              (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                              (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
1405   JANSSENBIO‐PL_2‐0001160                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (cpierce@consultresourcegroup.com); Mike Ingrid (mikeingrid@verizon.net)                                                                                                                                                                                                                        3/11/2013


                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                     CMS                                                      (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                     (cmslists@subscriptions.cms                              (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
1406   JANSSENBIO‐PL_2‐0001161                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client   .hhs.gov)                                                (cpierce@consultresourcegroup.com); Mike Ingrid (mikeingrid@verizon.net)                                                                                                                                                                                                                        3/11/2013


                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                              (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                              (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
1407   JANSSENBIO‐PL_2‐0001162                                                       Withheld           Ziskind, Michael           Attorney‐Client                                                            (cpierce@consultresourcegroup.com); Mike Ingrid (mikeingrid@verizon.net)                                                                                                                                                                                                                        3/11/2013



                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                              (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                              (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
1408   JANSSENBIO‐PL_2‐0001163                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (cpierce@consultresourcegroup.com); Mike Ingrid (mikeingrid@verizon.net)                                                                                                                                                                                                                        3/11/2013



                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                              (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                              (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
1409   JANSSENBIO‐PL_2‐0001164                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (cpierce@consultresourcegroup.com); Mike Ingrid (mikeingrid@verizon.net)                                                                                                                                                                                                                        3/11/2013


                                                                                                                                                                                                              George Bilyk (gbilyk@its.jnj.com); Kristen Henderson ^ (khenderson@akingump.com); Jorge Lopez ^
                                                                                                                                                                                                              (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                              (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com); Christine Pierce
1410   JANSSENBIO‐PL_2‐0001165                                                       Withheld   pdf     Ziskind, Michael           Attorney‐Client                                                            (cpierce@consultresourcegroup.com); Mike Ingrid (mikeingrid@verizon.net)                                                                                                                                                                                                                        3/11/2013




                                                                                                                                                                                                                                                                                        45
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 47 of 201


                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson                                                                                                                                                                                Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);                                                                                                                                                                      regarding preparation/review of customer‐facing practice
1411   JANSSENBIO‐PL_2‐0001166                                                       Withheld   eMail   Ziskind, Michael          Attorney‐Client                                                          John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                         John Siracusa ^ (jsiracusa@akingump.com)          Peggy Mellody (pmellody@its.jnj.com)        Michael Ziskind (mziskind@cntus.jnj.com)           3/13/2014   management or IOI support material.



                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1412   JANSSENBIO‐PL_2‐0001167                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014



                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1413   JANSSENBIO‐PL_2‐0001168                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014



                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1414   JANSSENBIO‐PL_2‐0001169                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014


                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1415   JANSSENBIO‐PL_2‐0001170                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014



                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1416   JANSSENBIO‐PL_2‐0001171                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014



                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                    Blair Cantfil ^             John Siracusa ^            (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1417   JANSSENBIO‐PL_2‐0001172                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client   (bcantfil@akingump.com)     (jsiracusa@akingump.com)   John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014



                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1418   JANSSENBIO‐PL_2‐0001173                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                               Graver, Daniel             John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014



                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1419   JANSSENBIO‐PL_2‐0001174                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014


                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1420   JANSSENBIO‐PL_2‐0001175                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014



                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1421   JANSSENBIO‐PL_2‐0001176                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014


                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1422   JANSSENBIO‐PL_2‐0001177                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014



                                                                                                                                                                                                           George Bilyk (gbilyk@its.jnj.com); Blair Cantfil (bcantfil@akingump.com); Terry Davidson
                                                                                                                                                                                                           (tdavids4@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
1423   JANSSENBIO‐PL_2‐0001178                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                          3/13/2014



                                                                                                                                                                                                           Doug Kennedy (dkenned6@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Michael Wolfe                   Doug Kennedy (dkenned6@its.jnj.com); Michael
                                                                                                                                                                                                           (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com);      Wolfe (mwolfe2@its.jnj.com); Michael Ziskind                                                                                                                 Email chain reflecting legal advice from the Law
1424                             JANSSENBIO‐047‐00009550   JANSSENBIO‐047‐00009552   Redacted   eMail   Ziskind, Michael          Attorney‐Client                                                          Michael Ziskind (mziskind@cntus.jnj.com); Field Communications (ra‐ompus‐fieldcommun@its.jnj.com           (mziskind@cntus.jnj.com)                          Peggy Mellody (pmellody@its.jnj.com)                                                           4/25/2013   Department ^ regarding communication with customers.

                                                                                                                                                                                                           Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce                                                                                                                                                                                                         Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                           (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody                                                                                                                                                                           from Outside Counsel regarding preparation/review of
1425   JANSSENBIO‐PL_2‐0001179   JANSSENBIO‐053‐00011961   JANSSENBIO‐053‐00011961   Withheld   eMail   Ziskind, Michael          Attorney‐Client                                                          (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                           Michael Ziskind (mziskind@cntus.jnj.com)          Peggy Mellody (pmellody@its.jnj.com)                                                           7/11/2013   customer facing regulatory update.

                                                                                                                                                                                                           Kristen Henderson ^ (khenderson@akingump.com); Christine Pierce
                                                                                                                                                                                                           (cpierce@consultresourcegroup.com); Mara McDermott ^ (mmcdermott@akingump.com); Peggy Mellody
1426   JANSSENBIO‐PL_2‐0001180   JANSSENBIO‐053‐00011962   JANSSENBIO‐053‐00011973   Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          (pmellody@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                            7/11/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                           Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                                                                                                                                                                         regarding preparation/review of customer facing
1427   JANSSENBIO‐PL_2‐0001181                                                       Withheld   eMail   Ziskind, Michael          Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                   Peggy Mellody (pmellody@its.jnj.com)              John Siracusa ^ (jsiracusa@akingump.com)    Michael Ziskind (mziskind@cntus.jnj.com)           8/17/2015   regulatory update.
                                                                                                                                                                                                           Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
1428   JANSSENBIO‐PL_2‐0001182                                                       Withheld   pdf     Ziskind, Michael          Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                    8/17/2015

                                                                                                                                                                                                           Brian Burns ^ (bburns7@its.jnj.com); Robert Donnelly (rdonnel4@its.jnj.com); Jorge Lopez ^
                                                                                                                                                                                                           (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Mark Reese (mreese@its.jnj.com);                                                                                                            Mark Reese (mreese@its.jnj.com); Michael Ziskind               Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                           Sophie Shen (sshen111@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind              Brian Burns ^ (bburns7@its.jnj.com); Sophie                                                   (mziskind@cntus.jnj.com); Robert Donnelly                      from Outside Counsel regarding preparation/review of
1429   JANSSENBIO‐PL_2‐0001183                                                       Withheld   eMail   Ziskind, Michael          Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                   Shen (sshen111@its.jnj.com)                       Peggy Mellody (pmellody@its.jnj.com)        (rdonnel4@its.jnj.com)                              4/1/2014   customer facing regulatory update.

                                                                                                                                                                                                           Brian Burns ^ (bburns7@its.jnj.com); Robert Donnelly (rdonnel4@its.jnj.com); Jorge Lopez ^
                                                                                                                                                                                                           (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Mark Reese (mreese@its.jnj.com);
                                                                                                                                                                                                           Sophie Shen (sshen111@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
1430   JANSSENBIO‐PL_2‐0001184                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                     4/1/2014

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                           Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^                 Michael Ziskind (mziskind@cntus.jnj.com); Peggy                                                                                                              regarding preparation/review of customer‐facing practice
1431   JANSSENBIO‐PL_2‐0001185                                                       Withheld   eMail   Ziskind, Michael          Attorney‐Client                                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                         Mellody (pmellody@its.jnj.com)                  John Siracusa ^ (jsiracusa@akingump.com)      Jorge Lopez ^ (jlopez@akingump.com)                 4/1/2014   management or IOI support material.

                                                                                                                                                                                                           Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1432   JANSSENBIO‐PL_2‐0001186                                                       Withheld   DOCX    Ziskind, Michael          Attorney‐Client                                                          (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                           4/1/2014

                                                                                                                                                    John Siracusa ^                                        Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1433   JANSSENBIO‐PL_2‐0001187                                                       Withheld   pdf     Ziskind, Michael          Attorney‐Client   (jsiracusa@akingump.com)                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                           4/1/2014

                                                                                                                                                    John Siracusa ^                                        Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1434   JANSSENBIO‐PL_2‐0001188                                                       Withheld   pdf     Ziskind, Michael          Attorney‐Client   (jsiracusa@akingump.com)                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                           4/1/2014

                                                                                                                                                    John Siracusa ^                                        Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1435   JANSSENBIO‐PL_2‐0001189                                                       Withheld   pdf     Ziskind, Michael          Attorney‐Client   (jsiracusa@akingump.com)                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                           4/1/2014

                                                                                                                                                    John Siracusa ^                                        Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1436   JANSSENBIO‐PL_2‐0001190                                                       Withheld   pdf     Ziskind, Michael          Attorney‐Client   (jsiracusa@akingump.com)                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                           4/1/2014

                                                                                                                                                    Jennifer Phillips                                      Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1437   JANSSENBIO‐PL_2‐0001191                                                       Withheld   pdf     Ziskind, Michael          Attorney‐Client   (CPiech@its.jnj.com)                                   (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                           4/1/2014

                                                                                                                                                    John Siracusa ^                                        Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); John Siracusa ^
1438   JANSSENBIO‐PL_2‐0001192                                                       Withheld   pdf     Ziskind, Michael          Attorney‐Client   (jsiracusa@akingump.com)                               (jsiracusa@akingump.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                           4/1/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email communication requesting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   preparation/review of internal training or internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   guidance concerning practice management or IOI
1439                             JANSSENBIO‐064‐00010708   JANSSENBIO‐064‐00010708   Redacted   eMail   Ziskind, Michael          Attorney‐Client                                                          Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com)                         John Siracusa ^ (jsiracusa@akingump.com)           Michael Ziskind (mziskind@cntus.jnj.com)                                                      2/16/2016   support.
                                                                                                                                                                                                                                                                                                                      Brian Smith (bsmith32@its.jnj.com); Catherine                                                                                                                Email communication providing legal advice regarding
                                                                                                        Owen, Catherine; White,                                                                            Austin Clayton ^ (aclayto3@its.jnj.com); William Craco ^ (wcraco@corus.jnj.com); Catherine Owen            Owen (cowen3@its.jnj.com); Scott White                                                                                                                       issues relating to lawfulness of practice management or
1440   JANSSENBIO‐PL_2‐0001193                                                       Withheld   eMail   Scott                     Attorney‐Client                                                          (cowen3@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Scott White (swhite17@its.jnj.com)               (swhite17@its.jnj.com)                             William Craco ^ (wcraco@corus.jnj.com)     Austin Clayton ^ (aclayto3@its.jnj.com)             8/9/2019   IOI support services.
                                                                                                                                                                                                                                                                                                                      Catherine Sicari ^ (csicari@its.jnj.com); Jennifer                                                                                                           Email with attachment(s) requesting legal advice
                                                                                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Michael Ziskind   De Camara ^ (jdecamar@corus.jnj.com); Timothy                                                                                                                regarding preparation/review of customer‐facing practice
1441   JANSSENBIO‐PL_2‐0001194   JANSSENBIO‐051‐00008667   JANSSENBIO‐051‐00008668   Withheld   eMail   Ziskind, Michael          Attorney‐Client                                                          (mziskind@cntus.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com)                                         English ^ (tenglis1@its.jnj.com)                   Michael Ziskind (mziskind@cntus.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)           6/13/2019   management or IOI support material.

                                                                                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Michael Ziskind
1442   JANSSENBIO‐PL_2‐0001195   JANSSENBIO‐051‐00008669   JANSSENBIO‐051‐00008775   Withheld   pdf     Ziskind, Michael          Attorney‐Client                                                          (mziskind@cntus.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com)                                                                                                                                                                                          6/13/2019
                                                                                                                                                                                                                                                                                                                      Catherine Sicari ^ (csicari@its.jnj.com); Jennifer                                                                                                           Email with attachment(s) requesting legal advice
                                                                                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Michael Ziskind   De Camara ^ (jdecamar@corus.jnj.com); Timothy                                                                                                                regarding preparation/review of customer‐facing practice
1443   JANSSENBIO‐PL_2‐0001196   JANSSENBIO‐051‐00008888   JANSSENBIO‐051‐00008888   Withheld   eMail   Ziskind, Michael          Attorney‐Client                                                          (mziskind@cntus.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com)                                         English ^ (tenglis1@its.jnj.com)                   Michael Ziskind (mziskind@cntus.jnj.com)                                                      6/13/2019   management or IOI support material.

                                                                                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Michael Ziskind
1444   JANSSENBIO‐PL_2‐0001197   JANSSENBIO‐051‐00008889   JANSSENBIO‐051‐00008995   Withheld   pdf     Ziskind, Michael          Attorney‐Client                                                          (mziskind@cntus.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com)                                                                                                                                                                                          6/13/2019
                                                                                                                                                                                                                                                                                                                      Catherine Sicari ^ (csicari@its.jnj.com); Jennifer                                                                                                           Email with attachment(s) requesting legal advice
                                                                                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Michael Ziskind   De Camara ^ (jdecamar@corus.jnj.com); Timothy                                                                                                                regarding preparation/review of customer‐facing practice
1445   JANSSENBIO‐PL_2‐0001198   JANSSENBIO‐051‐00009104   JANSSENBIO‐051‐00009105   Withheld   eMail   Ziskind, Michael          Attorney‐Client                                                          (mziskind@cntus.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com)                                         English ^ (tenglis1@its.jnj.com)                   Michael Ziskind (mziskind@cntus.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)           6/13/2019   management or IOI support material.

                                                                                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Michael Ziskind
1446   JANSSENBIO‐PL_2‐0001199   JANSSENBIO‐051‐00009106   JANSSENBIO‐051‐00009212   Withheld   pdf     Ziskind, Michael          Attorney‐Client                                                          (mziskind@cntus.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com)                                                                                                                                                                                          6/13/2019

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                           Janice Babia (jbabia@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge                                                                                                                                                                            from Legal Department regarding preparation/review of
                                                                                                                                                                                                           (egreenid@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^                                                                                                                                                                                       internal training or internal guidance concerning practice
1447                             JANSSENBIO‐064‐00000867   JANSSENBIO‐064‐00000867   Redacted   eMail   Greenidge, Edmund         Attorney‐Client                                                          (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Kara Zubey (kzubey@cntus.jnj.com)          Janice Babia (jbabia@cntus.jnj.com)               Edmund Greenidge (egreenid@its.jnj.com)                                                        1/12/2006   management or IOI support.

                                                                                                                                                                                                           Wendy Clarke (wclarke@cntus.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Edmund Greenidge                                                                                                                                                                         Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                           (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                                                      Department regarding preparation/review of internal
                                                                                                                                                    Tamara Scoville ^           Christopher Zalesky        (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                                                training or internal guidance concerning practice
1448   JANSSENBIO‐PL_2‐0001200   JANSSENBIO‐064‐00000871   JANSSENBIO‐064‐00000871   Withheld   DOC     Greenidge, Edmund         Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                  4/30/2009   management or IOI support.

                                                                                                                                                                                                           Wendy Clarke (wclarke@cntus.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Edmund Greenidge                                                                                                                                                                         Memorandum reflecting request for legal advice from
                                                                                                                                                                                                           (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                                                      Legal Department regarding preparation/review of
                                                                                                                                                    Tamara Scoville ^           Christopher Zalesky        (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                                                internal training or internal guidance concerning practice
1449   JANSSENBIO‐PL_2‐0001201   JANSSENBIO‐064‐00000873   JANSSENBIO‐064‐00000873   Withheld   DOC     Greenidge, Edmund         Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                  4/30/2009   management or IOI support.

                                                                                                                                                                                                           Wendy Clarke (wclarke@cntus.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Edmund Greenidge                                                                                                                                                                         Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                           (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                                                      Department regarding preparation/review of internal
                                                                                                                                                    Christopher Zalesky         Christopher Zalesky        (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                                                training or internal guidance concerning practice
1450   JANSSENBIO‐PL_2‐0001202   JANSSENBIO‐064‐00000880   JANSSENBIO‐064‐00000880   Withheld   doc     Greenidge, Edmund         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                  4/30/2009   management or IOI support.

                                                                                                                                                                                                           Wendy Clarke (wclarke@cntus.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Edmund Greenidge                                                                                                                                                                         Memorandum providing legal advice from Outside
                                                                                                                                                                                                           (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                                                      Counsel regarding preparation/review of internal training
                                                                                                                                                    Tamara Scoville ^           Christopher Zalesky        (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                                                or internal guidance concerning practice management or
1451   JANSSENBIO‐PL_2‐0001203   JANSSENBIO‐064‐00000883   JANSSENBIO‐064‐00000883   Withheld   DOC     Greenidge, Edmund         Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                  4/30/2009   IOI support.

                                                                                                                                                                                                           Wendy Clarke (wclarke@cntus.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Edmund Greenidge                                                                                                                                                                         Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                           (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                                                      Department regarding preparation/review of internal
                                                                                                                                                    Tamara Scoville ^           Christopher Zalesky        (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                                                training or internal guidance concerning practice
1452   JANSSENBIO‐PL_2‐0001204   JANSSENBIO‐064‐00000884   JANSSENBIO‐064‐00000884   Withheld   doc     Greenidge, Edmund         Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                  4/30/2009   management or IOI support.




                                                                                                                                                                                                                                                                                    46
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 48 of 201


                                                                                                                                                                                                      Samuel Apanah (sapanah@its.jnj.com); John Arena (jarena1@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                      (jdigiaco@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Edmund Greenidge                                                                                                                                                                                            Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                      (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson                                                                                                                                                                                             Department regarding preparation/review of internal
                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      (lrober12@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Sue Seferian ^                                                                                                                                                                                        training or internal guidance concerning practice
1453   JANSSENBIO‐PL_2‐0001205   JANSSENBIO‐064‐00000900   JANSSENBIO‐064‐00000900   Withheld   DOC     Greenidge, Edmund      Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                        9/10/2009   management or IOI support.



                                                                                                                                                                                                      Samuel Apanah (sapanah@its.jnj.com); John Arena (jarena1@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                      (jdigiaco@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Edmund Greenidge                                                                                                                                                                                            Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                      (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson                                                                                                                                                                                             Department regarding preparation/review of internal
                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      (lrober12@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Sue Seferian ^                                                                                                                                                                                        training or internal guidance concerning practice
1454   JANSSENBIO‐PL_2‐0001206   JANSSENBIO‐064‐00000902   JANSSENBIO‐064‐00000902   Withheld   DOC     Greenidge, Edmund      Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                        9/10/2009   management or IOI support.



                                                                                                                                                                                                      Samuel Apanah (sapanah@its.jnj.com); John Arena (jarena1@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                      (jdigiaco@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Edmund Greenidge                                                                                                                                                                                            Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                      (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson                                                                                                                                                                                             Department regarding preparation/review of internal
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky      (lrober12@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Sue Seferian ^                                                                                                                                                                                        training or internal guidance concerning practice
1455   JANSSENBIO‐PL_2‐0001207   JANSSENBIO‐064‐00000909   JANSSENBIO‐064‐00000909   Withheld   doc     Greenidge, Edmund      Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                        9/10/2009   management or IOI support.



                                                                                                                                                                                                      Samuel Apanah (sapanah@its.jnj.com); John Arena (jarena1@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                      (jdigiaco@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Edmund Greenidge                                                                                                                                                                                            Memorandum reflecting legal advice from Outside
                                                                                                                                                                                                      (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson                                                                                                                                                                                             Counsel regarding preparation/review of internal training
                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      (lrober12@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Sue Seferian ^                                                                                                                                                                                        or internal guidance concerning practice management or
1456   JANSSENBIO‐PL_2‐0001208   JANSSENBIO‐064‐00000912   JANSSENBIO‐064‐00000912   Withheld   DOC     Greenidge, Edmund      Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                        9/10/2009   IOI support.



                                                                                                                                                                                                      Samuel Apanah (sapanah@its.jnj.com); John Arena (jarena1@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                      (jdigiaco@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Edmund Greenidge                                                                                                                                                                                            Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                      (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson                                                                                                                                                                                             Department regarding preparation/review of internal
                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      (lrober12@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Sue Seferian ^                                                                                                                                                                                        training or internal guidance concerning practice
1457   JANSSENBIO‐PL_2‐0001209   JANSSENBIO‐064‐00000913   JANSSENBIO‐064‐00000913   Withheld   doc     Greenidge, Edmund      Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                        9/10/2009   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Spreadsheet reflecting legal advice from Legal
                                                                                                                                                 Larry Box                   Dottie Bayless                                                                                                                                                                                                                                                                                        Department regarding issues relating to interactions or
1458                             JANSSENBIO‐064‐00000915   JANSSENBIO‐064‐00000915   Redacted   xlsx    Greenidge, Edmund      Attorney‐Client   (lbox@cntus.jnj.com)        (dbayless@its.jnj.com)   Edmund Greenidge (egreenid@its.jnj.com); Ilan Grunwald (igrunwal@its.jnj.com)                                                                                                                                                                                   10/13/2009   communications between ABSs and physician offices.


                                                                                                                                                                                                      John Arena (jarena1@its.jnj.com); Lynda Gant (lgant@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com);
                                                                                                                                                                                                      Edmund Greenidge (egreenid@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Ilan Grunwald                                                                                                                                                                              Spreadsheet reflecting legal advice from Legal
                                                                                                                                                 Larry Box                   Dottie Bayless           (igrunwal@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com);                                                                                                                                                                         Department regarding issues relating to interactions or
1459                             JANSSENBIO‐060‐00001452   JANSSENBIO‐060‐00001452   Redacted   xlsx    Greenidge, Edmund      Attorney‐Client   (lbox@cntus.jnj.com)        (dbayless@its.jnj.com)   Dottie Bayless (dbayless@its.jnj.com); Peta Graham (pgraham1@its.jnj.com)                                                                                                                                                                                       11/11/2009   communications between ABSs and physician offices.




                                                                                                                                                                                                      Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                                                                      (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                      (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                      (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                      (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                      (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                                                                                      Edmund Greenidge (egreenid@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                      (khamill@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Debra Hueting ^
                                                                                                                                                                                                      (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                      Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                                                                      (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                      (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                      (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                                                                      Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                      (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                                                                      Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                                                                      (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David                                                                                                                                                                Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                      Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                                                                                                                                                                                from Legal Department regarding preparation/review of
                                                                                                                                                                                                      (pvillan1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher                                                                                                                                                                    internal training or internal guidance concerning practice
1460   JANSSENBIO‐PL_2‐0001210                                                       Withheld   eMail   Greenidge, Edmund      Attorney‐Client                                                        Zalesky (czalesky@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                        Michelle Walls (mwalls@its.jnj.com)             Edmund Greenidge (egreenid@its.jnj.com)                                                          3/16/2010   management or IOI support.




                                                                                                                                                                                                      Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                                                                      (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                      (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                      (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                      (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                      (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                                                                                      Edmund Greenidge (egreenid@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                      (khamill@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Debra Hueting ^
                                                                                                                                                                                                      (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                      Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                                                                      (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                      (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                      (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                                                                      Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                      (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                                                                      Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                                                                      (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                                                                      Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                                 Stephanie Gilson ^          Stephanie Gilson ^       (pvillan1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher
1461   JANSSENBIO‐PL_2‐0001211                                                       Withheld   docx    Greenidge, Edmund      Attorney‐Client   (sgilson@its.jnj.com)       (sgilson@its.jnj.com)    Zalesky (czalesky@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                         3/16/2010




                                                                                                                                                                                                      Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                                                                      (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                      (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                      (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                      (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                      (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                                                                                      Edmund Greenidge (egreenid@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                      (khamill@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Debra Hueting ^
                                                                                                                                                                                                      (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                      Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                                                                      (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                      (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                      (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                                                                      Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                      (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                                                                      Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                                                                      (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                                                                      Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                                 Stephanie Gilson ^          Stephanie Gilson ^       (pvillan1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher
1462   JANSSENBIO‐PL_2‐0001212                                                       Withheld   docx    Greenidge, Edmund      Attorney‐Client   (sgilson@its.jnj.com)       (sgilson@its.jnj.com)    Zalesky (czalesky@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                         3/16/2010

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email with draft policy attachment(s) reflecting legal
1463   JANSSENBIO‐PL_2‐0001213                                                       Withheld   eMail   Greenidge, Edmund      Attorney‐Client                                                        Katherine Chapman (kchapman@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com)                               Katherine Chapman (kchapman@its.jnj.com)        Edmund Greenidge (egreenid@its.jnj.com)                                                          3/31/2010   advice from various member of the Law Department ^.
                                                                                                                                                 Stephanie Gilson ^          Edmund Greenidge
1464   JANSSENBIO‐PL_2‐0001214                                                       Withheld   docx    Greenidge, Edmund      Attorney‐Client   (sgilson@its.jnj.com)       (egreenid@its.jnj.com)   Katherine Chapman (kchapman@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com)                                                                                                                                                                                3/31/2010


                                                                                                                                                                                                      John Arena (jarena1@its.jnj.com); Leigh Anne Frank (lfrank@its.jnj.com); Ken Gillmer
                                                                                                                                                                                                      (kgillme1@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Christopher Horvath
                                                                                                                                                                                                      (chorvat2@its.jnj.com); Kristen Magee (kmagee@its.jnj.com); Nathaniel Massari (nmassari@its.jnj.com);                                                                                                     Bob Ladd (bladd@thomasjpaul.com); Brian Kerns
                                                                                                                                                                                                      Joseph Valeriani (jvaleri1@its.jnj.com); Keena York (kyork@its.jnj.com); Bob Ladd                                                                                                                         (bkerns@thomasjpaul.com); John Iannelli
                                                                                                                                                                                                      (bladd@thomasjpaul.com); Brian Kerns (bkerns@thomasjpaul.com); Danielle Imperial                                                                                                                          (jiannelli@contemporarygraphics.com); Ken Gillmer
                                                                                                                                                                                                      (fimpelli@crdus.jnj.com); Jim Paul (jkpaul@thomasjpaul.com); John Iannelli                                      Edmund Greenidge (egreenid@its.jnj.com); John                                             (kgillme1@its.jnj.com); Kristin Wille                              Email chain reflecting legal advice from John Vaughan ^
                                                                                                                                                                                                      (jiannelli@contemporarygraphics.com); Kristin Wille (Kwille@thomasjpaul.com); Skip Baker                        Arena (jarena1@its.jnj.com); Keena York                                                   (Kwille@thomasjpaul.com); Skip Baker                               regarding preparation of customer‐facing practice
1465                             JANSSENBIO‐064‐00000990   JANSSENBIO‐064‐00000993   Redacted   eMail   Greenidge, Edmund      Attorney‐Client                                                        (sbaker@thomasjpaul.com)                                                                                        (kyork@its.jnj.com)                             Jim Paul (jkpaul@thomasjpaul.com)         (sbaker@thomasjpaul.com)                               1/26/2010   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                      Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                                          Department regarding preparation/review of internal
                                                                                                        Greenidge, Edmund;                                                                            (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky                                                                                                                                                                                        training or internal guidance concerning practice
1466   JANSSENBIO‐PL_2‐0001215   JANSSENBIO‐064‐00000937   JANSSENBIO‐064‐00000937   Withheld   DOC     Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                                                                                                                                                                           4/28/2009   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                      Andrew Brackbill (abrackbi@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); Edmund Greenidge                                                                                                                                                                                from Legal Department regarding preparation/review of
                                                                                                                                                                                                      (egreenid@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com);                                                                                                                                                                         internal training or internal guidance concerning practice
1467   JANSSENBIO‐PL_2‐0001216                                                       Withheld   eMail   Greenidge, Edmund      Attorney‐Client                                                        John Vaughan ^ (jvaughan@its.jnj.com)                                                                           Edmund Greenidge (egreenid@its.jnj.com)         Andrew Brackbill (abrackbi@its.jnj.com)                                                         10/16/2009   management or IOI support.

                                                                                                                                                                                                      Andrew Brackbill (abrackbi@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); Edmund Greenidge
                                                                                                                                                 Christi Copeland            Andrew Brackbill         (egreenid@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com);
1468   JANSSENBIO‐PL_2‐0001217                                                       Withheld   xls     Greenidge, Edmund      Attorney‐Client   (ccopelan@its.jnj.com)      (abrackbi@its.jnj.com)   John Vaughan ^ (jvaughan@its.jnj.com)                                                                                                                                                                                                                           10/16/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Deidre Meehan ^ and Ken Olsen ^ regarding internal
1469   JANSSENBIO‐PL_2‐0001218                                                       Withheld   eMail   Greenidge, Edmund      Attorney‐Client                                                        Wendy Clarke (wclarke@cntus.jnj.com); Edmund Greenidge (egreenid@its.jnj.com)                                   Edmund Greenidge (egreenid@its.jnj.com)         Wendy Clarke (wclarke@cntus.jnj.com)                                                              9/3/2009   training.
                                                                                                                                                 Christopher Zalesky         Judith Fernandez
1470   JANSSENBIO‐PL_2‐0001219                                                       Withheld   ppt     Greenidge, Edmund      Attorney‐Client   (czalesky@its.jnj.com)      (jfernan9@its.jnj.com)   Wendy Clarke (wclarke@cntus.jnj.com); Edmund Greenidge (egreenid@its.jnj.com)                                                                                                                                                                                     9/3/2009
                                                                                                                                                 Rick Malik                  Judith Fernandez
1471   JANSSENBIO‐PL_2‐0001220                                                       Withheld           Greenidge, Edmund      Attorney‐Client   (rmalik@its.jnj.com)        (jfernan9@its.jnj.com)   Wendy Clarke (wclarke@cntus.jnj.com); Edmund Greenidge (egreenid@its.jnj.com)                                                                                                                                                                                     9/3/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   regarding preparation/review of internal training or
                                                                                                                                                                                                      John Arena (jarena1@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); John Vaughan ^                                                                                                                 Edmund Greenidge (egreenid@its.jnj.com); John Arena                internal guidance concerning practice management or IOI
1472   JANSSENBIO‐PL_2‐0001221                                                       Withheld   eMail   Greenidge, Edmund      Attorney‐Client                                                        (jvaughan@its.jnj.com)                                                                                          John Vaughan ^ (jvaughan@its.jnj.com)           John Arena (jarena1@its.jnj.com)          (jarena1@its.jnj.com)                                  7/22/2010   support.
                                                                                                                                                 Steve Dimeglio              John Arena               John Arena (jarena1@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); John Vaughan ^
1473   JANSSENBIO‐PL_2‐0001222                                                       Withheld   pptx    Greenidge, Edmund      Attorney‐Client   (sdimegli@its.jnj.com)      (jarena1@its.jnj.com)    (jvaughan@its.jnj.com)                                                                                                                                                                                                                                           7/22/2010




                                                                                                                                                                                                                                                                                 47
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 49 of 201


                                                                                                                                                                                                           John Arena (jarena1@its.jnj.com); Lynda Gant (lgant@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com);                                                                                                                                                                          Spreadsheet reflecting legal advice from Legal
                                                                                                                                                     Larry Box                  Dottie Bayless             Edmund Greenidge (egreenid@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Karen Trahan                                                                                                                                                                                 Department regarding issues relating to interactions or
1474                             JANSSENBIO‐060‐00001554   JANSSENBIO‐060‐00001554   Redacted   xlsx    Greenidge, Edmund          Attorney‐Client   (lbox@cntus.jnj.com)       (dbayless@its.jnj.com)     (ktrahan@its.jnj.com); Dottie Bayless (dbayless@its.jnj.com); Peta Graham (pgraham1@its.jnj.com)                                                                                                                                                                  10/12/2009   communications between ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                           John Arena (jarena1@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^                                                                                                                                                                                    internal guidance concerning practice management or IOI
1475   JANSSENBIO‐PL_2‐0001223                                                       Withheld   eMail   Greenidge, Edmund          Attorney‐Client                                                         (fjimene3@its.jnj.com)                                                                                       Freddy Jimenez ^ (fjimene3@its.jnj.com)         John Arena (jarena1@its.jnj.com)           Edmund Greenidge (egreenid@its.jnj.com)                   12/12/2008   support.
                                                                                                                                                                                John Arena                 John Arena (jarena1@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^
1476   JANSSENBIO‐PL_2‐0001224                                                       Withheld   ppt     Greenidge, Edmund          Attorney‐Client   Brian Paul                 (jarena1@its.jnj.com)      (fjimene3@its.jnj.com)                                                                                                                                                                                                                                            12/12/2008
                                                                                                                                                     David Hendricks            John Arena                 John Arena (jarena1@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^
1477   JANSSENBIO‐PL_2‐0001225                                                       Withheld           Greenidge, Edmund          Attorney‐Client   (dhendric@its.jnj.com)     (jarena1@its.jnj.com)      (fjimene3@its.jnj.com)                                                                                                                                                                                                                                            12/12/2008
                                                                                                                                                     Brad Brakes                William Pettit             John Arena (jarena1@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^
1478   JANSSENBIO‐PL_2‐0001226                                                       Withheld           Greenidge, Edmund          Attorney‐Client   (brakes@its.jnj.com)       (wpettitj@cntus.jnj.com)   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                            12/12/2008
                                                                                                                                                                                                                                                                                                                        Edmund Greenidge (egreenid@its.jnj.com); Keith                                                                                                                    Email chain providing legal advice regarding
                                                                                                                                                                                                           Keith Gilmer (kgilmer@cntus.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Edmund Greenidge             Gilmer (kgilmer@cntus.jnj.com); Teresa Giuliana                                                                                                                   preparation/review of customer‐facing practice
1479   JANSSENBIO‐PL_2‐0001227                                                       Withheld   eMail   Greenidge, Edmund          Attorney‐Client                                                         (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com)                                              (tgiulian@cntus.jnj.com)                        Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                              12/18/2007   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                           Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson            Edmund Greenidge (egreenid@its.jnj.com);                                                                                                                          internal guidance concerning practice management or IOI
1480   JANSSENBIO‐PL_2‐0001228                                                       Withheld   eMail   Greenidge, Edmund          Attorney‐Client                                                         (lrober12@cntus.jnj.com)                                                                                     Freddy Jimenez ^ (fjimene3@its.jnj.com)         Linda Robertson (lrober12@cntus.jnj.com)                                                               4/8/2008   support.

                                                                                                                                                     Bill Allen                 Linda Robertson            Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson
1481   JANSSENBIO‐PL_2‐0001229                                                       Withheld   ppt     Greenidge, Edmund          Attorney‐Client   (ballen@thomasjpaul.com)   (lrober12@cntus.jnj.com)   (lrober12@cntus.jnj.com)                                                                                                                                                                                                                                            4/8/2008
                                                                                                                                                     Yvonne Pacchia             Linda Robertson            Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson
1482   JANSSENBIO‐PL_2‐0001230                                                       Withheld   doc     Greenidge, Edmund          Attorney‐Client   (ypacchia@cntus.jnj.com)   (lrober12@cntus.jnj.com)   (lrober12@cntus.jnj.com)                                                                                                                                                                                                                                            4/8/2008
                                                                                                                                                                                Linda Robertson            Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson
1483   JANSSENBIO‐PL_2‐0001231                                                       Withheld   ppt     Greenidge, Edmund          Attorney‐Client   Corey Davis                (lrober12@cntus.jnj.com)   (lrober12@cntus.jnj.com)                                                                                                                                                                                                                                            4/8/2008
                                                                                                                                                     Linda Robertson            Linda Robertson            Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson
1484   JANSSENBIO‐PL_2‐0001232                                                       Withheld   ppt     Greenidge, Edmund          Attorney‐Client   (lrober12@cntus.jnj.com)   (lrober12@cntus.jnj.com)   (lrober12@cntus.jnj.com)                                                                                                                                                                                                                                            4/8/2008
                                                                                                                                                     William Hayek              Linda Robertson            Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson
1485   JANSSENBIO‐PL_2‐0001233                                                       Withheld   doc     Greenidge, Edmund          Attorney‐Client   (whayek@its.jnj.com0       (lrober12@cntus.jnj.com)   (lrober12@cntus.jnj.com)                                                                                                                                                                                                                                            4/8/2008
                                                                                                                                                     William Hayek              Linda Robertson            Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson
1486   JANSSENBIO‐PL_2‐0001234                                                       Withheld   doc     Greenidge, Edmund          Attorney‐Client   (whayek@its.jnj.com0       (lrober12@cntus.jnj.com)   (lrober12@cntus.jnj.com)                                                                                                                                                                                                                                            4/8/2008

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                           Michael Cassano (mcassano@cntus.jnj.com); Tracey Connor (tconnor@cntus.jnj.com); Edmund                                                                                                                 Edmund Greenidge (egreenid@its.jnj.com); Michael                       regarding preparation/review of internal training or
                                                                                                                                                                                                           Greenidge (egreenid@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^                                                                                                           Cassano (mcassano@cntus.jnj.com); Tracey Connor                        internal guidance concerning practice management or IOI
1487   JANSSENBIO‐PL_2‐0001235                                                       Withheld   eMail   Greenidge, Edmund          Attorney‐Client                                                         (fjimene3@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)      Freddy Jimenez ^ (fjimene3@its.jnj.com)         Daniel Seiter (dseiter@cntus.jnj.com)      (tconnor@cntus.jnj.com)                                    8/22/2007   support.



                                                                                                                                                                                                           Michael Cassano (mcassano@cntus.jnj.com); Tracey Connor (tconnor@cntus.jnj.com); Edmund
                                                                                                                                                     Daniel Seiter              Daniel Seiter              Greenidge (egreenid@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
1488   JANSSENBIO‐PL_2‐0001236                                                       Withheld   ppt     Greenidge, Edmund          Attorney‐Client   (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)    (fjimene3@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                            8/22/2007

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                           Michael Cassano (mcassano@cntus.jnj.com); Tracey Connor (tconnor@cntus.jnj.com); Edmund                                                                                                                 Daniel Seiter (dseiter@cntus.jnj.com); Edmund                          regarding preparation/review of internal training or
                                                                                                                                                                                                           Greenidge (egreenid@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^                                                                                                           Greenidge (egreenid@its.jnj.com); Michael Cassano                      internal guidance concerning practice management or IOI
1489   JANSSENBIO‐PL_2‐0001237                                                       Withheld   eMail   Greenidge, Edmund          Attorney‐Client                                                         (fjimene3@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)      Freddy Jimenez ^ (fjimene3@its.jnj.com)         Tracey Connor (tconnor@cntus.jnj.com)      (mcassano@cntus.jnj.com)                                   8/21/2007   support.



                                                                                                                                                                                                           Michael Cassano (mcassano@cntus.jnj.com); Tracey Connor (tconnor@cntus.jnj.com); Edmund
                                                                                                                                                     Daniel Seiter              Tracey Connor              Greenidge (egreenid@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
1490   JANSSENBIO‐PL_2‐0001238                                                       Withheld   ppt     Greenidge, Edmund          Attorney‐Client   (dseiter@cntus.jnj.com)    (tconnor@cntus.jnj.com)    (fjimene3@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                            8/21/2007



                                                                                                                                                                                                           Michael Cassano (mcassano@cntus.jnj.com); Tracey Connor (tconnor@cntus.jnj.com); Edmund
                                                                                                                                                     John Hoffman               John Hoffman               Greenidge (egreenid@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
1491   JANSSENBIO‐PL_2‐0001239                                                       Withheld           Greenidge, Edmund          Attorney‐Client   (jhoffma2@its.jnj.com)     (jhoffma2@its.jnj.com)     (fjimene3@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                            8/21/2007

                                                                                                                                                                                                           Michael Cassano (mcassano@cntus.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Linda Robertson                                                                                                                                                                             Email chain reflecting legal advice from the Law
1492                             JANSSENBIO‐064‐00001072   JANSSENBIO‐064‐00001074   Redacted   eMail   Greenidge, Edmund          Attorney‐Client                                                         (lrober12@cntus.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com)          Edmund Greenidge (egreenid@its.jnj.com)         Linda Robertson (lrober12@cntus.jnj.com)                                                               8/7/2007   Department ^ regarding contracting.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Department regarding preparation/review of internal
                                                                                                                                                     Daniel Seiter              Daniel Seiter              Michael Cassano (mcassano@cntus.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Linda Robertson                                                                                                                                                                             training or internal guidance concerning practice
1493   JANSSENBIO‐PL_2‐0001240   JANSSENBIO‐064‐00001075   JANSSENBIO‐064‐00001075   Withheld   ppt     Greenidge, Edmund          Attorney‐Client   (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)    (lrober12@cntus.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                                                                                                                                                 8/7/2007   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          legal advice regarding preparation/review of internal
                                                                                                                                                                                                           Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson                                                                                                                                                                              training or internal guidance concerning practice
1494   JANSSENBIO‐PL_2‐0001241                                                       Withheld   eMail   Greenidge, Edmund          Attorney‐Client                                                         (lrober12@cntus.jnj.com)                                                                                     Edmund Greenidge (egreenid@its.jnj.com)         Linda Robertson (lrober12@cntus.jnj.com)   Freddy Jimenez ^ (fjimene3@its.jnj.com)                    8/15/2007   management or IOI support.
                                                                                                                                                     Daniel Seiter              Daniel Seiter              Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson
1495   JANSSENBIO‐PL_2‐0001242                                                       Withheld   ppt     Greenidge, Edmund          Attorney‐Client   (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)    (lrober12@cntus.jnj.com)                                                                                                                                                                                                                                           8/15/2007
                                                                                                                                                     John Hoffman               John Hoffman               Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Robertson
1496   JANSSENBIO‐PL_2‐0001243                                                       Withheld           Greenidge, Edmund          Attorney‐Client   (jhoffma2@its.jnj.com)     (jhoffma2@its.jnj.com)     (lrober12@cntus.jnj.com)                                                                                                                                                                                                                                           8/15/2007
                                                                                                                                                                                                           Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Tyrone Akins                           Adriana Soblick (asoblick@its.jnj.com); Alan
                                                                                                                                                                                                           (takins1@its.jnj.com); Richard Alberti (ralberti@its.jnj.com); Penny Albright (palbrigh@its.jnj.com);        Cariski (acariski@its.jnj.com); Alex Weigel
                                                                                                                                                                                                           Cynthia Allen (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman                  (aweigel3@its.jnj.com); Alexis Montalvo
                                                                                                                                                                                                           (laltman1@its.jnj.com); Dave Ames (dames@its.jnj.com); Jane Armstrong (jarmst11@its.jnj.com); Axel           (amontal2@its.jnj.com); Amena Lewis
                                                                                                                                                                                                           Arnaud (aarnaud@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Jose Barro (jbarro@its.jnj.com);       (alewis3@its.jnj.com); Amit Patel
                                                                                                                                                                                                           Sergio Bartczak (sbartcza@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath        (apatel18@its.jnj.com); Amy Mecka
                                                                                                                                                                                                           (cbeath@its.jnj.com); Linda Bell‐Powell (lbell1@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com);         (amecka1@its.jnj.com); Andrea Casper
                                                                                                                                                                                                           Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com); Lynn Bergmeyer                   (acasper1@its.jnj.com); Andrea Flanigan
                                                                                                                                                                                                           (lbergmey@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com); Karen Beyers (kbeyers@its.jnj.com); Don      (aflaniga@its.jnj.com); Angela Crowley
                                                                                                                                                                                                           Bohn (dbohn@its.jnj.com); Deirdre Bookman (dbookma2@its.jnj.com); Meryle Borochaner                          (acrowle2@its.jnj.com); Anne Reilly ^
                                                                                                                                                                                                           (mborocha@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Daniel Braendle (dbraendl@its.jnj.com);         (areilly@its.jnj.com); Anneliese Fink Braun
                                                                                                                                                                                                           Hilda Braxton (hbraxto@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^                (afinkbra@gpsch.jnj.com); Anthony Brennan
                                                                                                                                                                                                           (dbrinckm@its.jnj.com); Tracy Buckley (tbuckle3@its.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);        (abrenna3@its.jnj.com); Anthony Carter
                                                                                                                                                                                                           Mariellen Burke (mburke4@obius.jnj.com); James Burrus (jburrus@its.jnj.com); Janice Bush                     (acarter2@its.jnj.com); Avis Goode
                                                                                                                                                                                                           (jbush1@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Gail   (agoode@its.jnj.com); Axel Arnaud
                                                                                                                                                                                                           Calantoni (gcalanto@its.jnj.com); Susan Calderone (scalder7@its.jnj.com); Peter Callegari                    (aarnaud@its.jnj.com); Barbara Allibone
                                                                                                                                                                                                           (pcallega@its.jnj.com); Alan Cariski (acariski@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea   (ballibon@its.jnj.com); Barbara Buerkle
                                                                                                                                                                                                           Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^                      (bbuerkl2@its.jnj.com); Barbara Schwartz
                                                                                                                                                                                                           (mcheste1@its.jnj.com); Vanessa Chomiak (vchomiak@its.jnj.com); Patricia Christian                           (bschwart@ethus.jnj.com); Barry Leece
                                                                                                                                                                                                           (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Kristen Cincotti                         (bleece1@its.jnj.com); Bhupesh Desai
                                                                                                                                                                                                           (kcincott@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);      (bdesai2@its.jnj.com); Bill Christianson
                                                                                                                                                                                                           Wendy Clarke (wclarke@cntus.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Jhanita Colvin                     (bchrist2@dpyus.jnj.com); Bill Glaser
                                                                                                                                                                                                           (jcolvin1@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Lea   (bglaser@its.jnj.com); Bill McKenzie
                                                                                                                                                                                                           Conway (lconway@its.jnj.com); Michael Coon (mcoon@its.jnj.com); Mary Copithorne                              (bmckenzi@its.jnj.com); Bonnie Rodriguez
                                                                                                                                                                                                           (mcopitho@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com);           (brodrig5@its.jnj.com); Brandy Duso
                                                                                                                                                                                                           Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby                    (bduso@its.jnj.com); Brenda Aker                                                                                                                                  Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                           (ccrosby@its.jnj.com); Angela Crowley (acrowle2@its.jnj.com); Catherine Cummings                             (baker@its.jnj.com); Brenda Sarokhan                                                                                                                              preparation/review of draft internal training or internal
                                                                                                        Greenidge, Edmund;                                                                                 (ccummin5@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Tony Cutshall (tcutshal@its.jnj.com);             (bsarokha@its.jnj.com); Brian Kelly                                                                                                                               guidance concerning practice management or IOI
1497   JANSSENBIO‐PL_2‐0001244                                                       Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                         Jennifer Daddazio (jdaddazi@its.jnj.com); Diane D'Ambrosio ^ (ddambro1@its.jnj.com); Phil Dang               (bkelly2@its.jnj.com); Brian Reid               Shane Freedman ^ (sfreedman@its.jnj.com)                                                             12/18/2008   support.
                                                                                                                                                                                                           Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Tyrone Akins
                                                                                                                                                                                                           (takins1@its.jnj.com); Richard Alberti (ralberti@its.jnj.com); Penny Albright (palbrigh@its.jnj.com);
                                                                                                                                                                                                           Cynthia Allen (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman
                                                                                                                                                                                                           (laltman1@its.jnj.com); Dave Ames (dames@its.jnj.com); Jane Armstrong (jarmst11@its.jnj.com); Axel
                                                                                                                                                                                                           Arnaud (aarnaud@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Jose Barro (jbarro@its.jnj.com);
                                                                                                                                                                                                           Sergio Bartczak (sbartcza@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                                           (cbeath@its.jnj.com); Linda Bell‐Powell (lbell1@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                                                                           Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com); Lynn Bergmeyer
                                                                                                                                                                                                           (lbergmey@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com); Karen Beyers (kbeyers@its.jnj.com); Don
                                                                                                                                                                                                           Bohn (dbohn@its.jnj.com); Deirdre Bookman (dbookma2@its.jnj.com); Meryle Borochaner
                                                                                                                                                                                                           (mborocha@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Daniel Braendle (dbraendl@its.jnj.com);
                                                                                                                                                                                                           Hilda Braxton (hbraxto@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                           (dbrinckm@its.jnj.com); Tracy Buckley (tbuckle3@its.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                                                           Mariellen Burke (mburke4@obius.jnj.com); James Burrus (jburrus@its.jnj.com); Janice Bush
                                                                                                                                                                                                           (jbush1@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Gail
                                                                                                                                                                                                           Calantoni (gcalanto@its.jnj.com); Susan Calderone (scalder7@its.jnj.com); Peter Callegari
                                                                                                                                                                                                           (pcallega@its.jnj.com); Alan Cariski (acariski@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea
                                                                                                                                                                                                           Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^
                                                                                                                                                                                                           (mcheste1@its.jnj.com); Vanessa Chomiak (vchomiak@its.jnj.com); Patricia Christian
                                                                                                                                                                                                           (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Kristen Cincotti
                                                                                                                                                                                                           (kcincott@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                                                                                           Wendy Clarke (wclarke@cntus.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Jhanita Colvin
                                                                                                                                                                                                           (jcolvin1@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Lea
                                                                                                                                                                                                           Conway (lconway@its.jnj.com); Michael Coon (mcoon@its.jnj.com); Mary Copithorne
                                                                                                                                                                                                           (mcopitho@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com);
                                                                                                                                                                                                           Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                                           (ccrosby@its.jnj.com); Angela Crowley (acrowle2@its.jnj.com); Catherine Cummings
                                                                                                        Greenidge, Edmund;                           Sue Seferian ^             Shane Freedman ^           (ccummin5@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Tony Cutshall (tcutshal@its.jnj.com);
1498   JANSSENBIO‐PL_2‐0001245                                                       Withheld   doc     Zalesky, Christopher       Attorney‐Client   (sseferia@its.jnj.com)     (sfreedman@its.jnj.com)    Jennifer Daddazio (jdaddazi@its.jnj.com); Diane D'Ambrosio ^ (ddambro1@its.jnj.com); Phil Dang                                                                                                                                                                    12/18/2008
                                                                                                                                                                                                           Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Tyrone Akins
                                                                                                                                                                                                           (takins1@its.jnj.com); Richard Alberti (ralberti@its.jnj.com); Penny Albright (palbrigh@its.jnj.com);
                                                                                                                                                                                                           Cynthia Allen (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman
                                                                                                                                                                                                           (laltman1@its.jnj.com); Dave Ames (dames@its.jnj.com); Jane Armstrong (jarmst11@its.jnj.com); Axel
                                                                                                                                                                                                           Arnaud (aarnaud@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Jose Barro (jbarro@its.jnj.com);
                                                                                                                                                                                                           Sergio Bartczak (sbartcza@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                                           (cbeath@its.jnj.com); Linda Bell‐Powell (lbell1@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                                                                           Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com); Lynn Bergmeyer
                                                                                                                                                                                                           (lbergmey@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com); Karen Beyers (kbeyers@its.jnj.com); Don
                                                                                                                                                                                                           Bohn (dbohn@its.jnj.com); Deirdre Bookman (dbookma2@its.jnj.com); Meryle Borochaner
                                                                                                                                                                                                           (mborocha@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Daniel Braendle (dbraendl@its.jnj.com);
                                                                                                                                                                                                           Hilda Braxton (hbraxto@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                           (dbrinckm@its.jnj.com); Tracy Buckley (tbuckle3@its.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                                                           Mariellen Burke (mburke4@obius.jnj.com); James Burrus (jburrus@its.jnj.com); Janice Bush
                                                                                                                                                                                                           (jbush1@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Gail
                                                                                                                                                                                                           Calantoni (gcalanto@its.jnj.com); Susan Calderone (scalder7@its.jnj.com); Peter Callegari
                                                                                                                                                                                                           (pcallega@its.jnj.com); Alan Cariski (acariski@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea
                                                                                                                                                                                                           Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^
                                                                                                                                                                                                           (mcheste1@its.jnj.com); Vanessa Chomiak (vchomiak@its.jnj.com); Patricia Christian
                                                                                                                                                                                                           (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Kristen Cincotti
                                                                                                                                                                                                           (kcincott@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                                                                                           Wendy Clarke (wclarke@cntus.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Jhanita Colvin
                                                                                                                                                                                                           (jcolvin1@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Lea
                                                                                                                                                                                                           Conway (lconway@its.jnj.com); Michael Coon (mcoon@its.jnj.com); Mary Copithorne
                                                                                                                                                                                                           (mcopitho@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com);
                                                                                                                                                                                                           Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                                           (ccrosby@its.jnj.com); Angela Crowley (acrowle2@its.jnj.com); Catherine Cummings
                                                                                                        Greenidge, Edmund;                           Shane Freedman ^           Shane Freedman ^           (ccummin5@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Tony Cutshall (tcutshal@its.jnj.com);
1499   JANSSENBIO‐PL_2‐0001246                                                       Withheld   doc     Zalesky, Christopher       Attorney‐Client   (sfreedman@its.jnj.com)    (sfreedman@its.jnj.com)    Jennifer Daddazio (jdaddazi@its.jnj.com); Diane D'Ambrosio ^ (ddambro1@its.jnj.com); Phil Dang                                                                                                                                                                    12/18/2008

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain reflecting counsel's request for information
                                                                                                                                                                                                           Eileen Austra ^ (eaustra1@its.jnj.com); Heidi Carmain (hcarmain@its.jnj.com); Gina Giordano                                                                                                             Heidi Carmain (hcarmain@its.jnj.com); Kathleen Hamill ^                for the purpose of providing legal advice regarding
                                                                                                                                                                                                           (ggiordan@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Roger Kung (rkung@its.jnj.com); Ellen                                                                                                (khamill@cntus.jnj.com); Roger Kung                                    issues relating to lawfulness of practice management or
1500   JANSSENBIO‐PL_2‐0001247                                                       Withheld   eMail   Kung, Roger                Attorney‐Client                                                         Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com)             Faiz Sadeq (fsadeq@its.jnj.com)                 Eileen Austra ^ (eaustra1@its.jnj.com)     (rkung@its.jnj.com)                                        8/30/2012   IOI support services.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain reflecting legal advice from the Law
                                                                                                                                                                                                           Roger Kung (rkung@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com);                                                                                                    Eric Monzon (emonzon1@its.jnj.com); Faiz Sadeq                         Department ^ regarding preparation of customer‐facing
1501                             JANSSENBIO‐064‐00001506   JANSSENBIO‐064‐00001508   Redacted   eMail   Kung, Roger; Sadeq, Faiz   Attorney‐Client                                                         Michael Wolfe (mwolfe2@its.jnj.com)                                                                          Roger Kung (rkung@its.jnj.com)                  Michael Wolfe (mwolfe2@its.jnj.com)        (fsadeq@its.jnj.com)                                       3/22/2012   practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain reflecting legal advice from the Law
                                                                                                                                                                                                           Roger Kung (rkung@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com);         Michael Wolfe (mwolfe2@its.jnj.com); Roger                                                                                                                        Department ^ regarding preparation of customer‐facing
1502                             JANSSENBIO‐064‐00001509   JANSSENBIO‐064‐00001512   Redacted   eMail   Kung, Roger                Attorney‐Client                                                         Michael Wolfe (mwolfe2@its.jnj.com)                                                                          Kung (rkung@its.jnj.com)                        Faiz Sadeq (fsadeq@its.jnj.com)            Eric Monzon (emonzon1@its.jnj.com)                         6/19/2012   practice management or IOI support material.




                                                                                                                                                                                                                                                                                   48
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 50 of 201


                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Report reflecting legal advice from Legal Department
                                                                                                                                           Catherine Kaucher                                         John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo                                                                                                                                                                                    regarding issues relating to lawfulness of practice
1503                             JANSSENBIO‐064‐00001618   JANSSENBIO‐064‐00001618   Redacted   docx    Marzullo, Thao   Attorney‐Client   (ckauche1@its.jnj.com)   Fizza Suri (fsuri@its.jnj.com)   (tmarzull@its.jnj.com); Fizza Suri (fsuri@its.jnj.com)                                                                                                                                                                                                  11/15/2013   management or IOI support services.

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri                                                                                                          David Fabbri (dfabbri@its.jnj.com); Elizabeth Lawless
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);   Christopher Guiton ^ (cguiton@its.jnj.com);                                             (elawless@its.jnj.com); James Knepp                                  Email with attachment(s) requesting legal advice
                                                                                                                                                                                                     Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts         Kathryn Roberts (krober10@its.jnj.com); Thomas                                          (jknepp5@its.jnj.com); Paul Duncan                                   regarding preparation/review of customer‐facing practice
1504   JANSSENBIO‐PL_2‐0001248                                                       Withheld   eMail   Marzullo, Thao   Attorney‐Client                                                             (krober10@its.jnj.com)                                                                                  Cornely (tcornel@its.jnj.com)                  Thao Marzullo (tmarzull@its.jnj.com)     (pduncan9@its.jnj.com)                                   8/20/2015   management or IOI support material.

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                           Thao Marzullo            Thao Marzullo                    Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
1505   JANSSENBIO‐PL_2‐0001249                                                       Withheld   docx    Marzullo, Thao   Attorney‐Client   (tmarzull@its.jnj.com)   (tmarzull@its.jnj.com)           (krober10@its.jnj.com)                                                                                                                                                                                                                                   8/20/2015

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                           James Knepp              Thao Marzullo                    Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
1506   JANSSENBIO‐PL_2‐0001250                                                       Withheld   docx    Marzullo, Thao   Attorney‐Client   (jknepp5@its.jnj.com)    (tmarzull@its.jnj.com)           (krober10@its.jnj.com)                                                                                                                                                                                                                                   8/20/2015

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                                                                     Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
1507   JANSSENBIO‐PL_2‐0001251                                                       Withheld   pdf     Marzullo, Thao   Attorney‐Client   Megan Juskowiak                                           (krober10@its.jnj.com)                                                                                                                                                                                                                                   8/20/2015

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                                                                     Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
1508   JANSSENBIO‐PL_2‐0001252                                                       Withheld   pdf     Marzullo, Thao   Attorney‐Client   Bill Van Cleaf                                            (krober10@its.jnj.com)                                                                                                                                                                                                                                   8/20/2015

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                                                                     Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
1509   JANSSENBIO‐PL_2‐0001253                                                       Withheld   pdf     Marzullo, Thao   Attorney‐Client                                                             (krober10@its.jnj.com)                                                                                                                                                                                                                                   8/20/2015

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Todd DeSilvia (tdesilvi@its.jnj.com); Paul Duncan
                                                                                                                                                                                                     (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Edward Gawle (egawle@its.jnj.com);                                                                                                                                                                       Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless                                                                                                                                                                     legal advice regarding preparation/review of internal
                                                                                                                                                                                                     (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);     Edward Gawle (egawle@its.jnj.com); Todd DeSilvia                                                                                                             training or internal guidance concerning practice
1510   JANSSENBIO‐PL_2‐0001254                                                       Withheld   eMail   Marzullo, Thao   Attorney‐Client                                                             Kathryn Roberts (krober10@its.jnj.com)                                                                  (tdesilvi@its.jnj.com)                           Thao Marzullo (tmarzull@its.jnj.com)                                                            8/20/2015   management or IOI support.

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Todd DeSilvia (tdesilvi@its.jnj.com); Paul Duncan
                                                                                                                                                                                                     (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Edward Gawle (egawle@its.jnj.com);
                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless
                                                                                                                                           Thao Marzullo            Thao Marzullo                    (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);
1511   JANSSENBIO‐PL_2‐0001255                                                       Withheld   docx    Marzullo, Thao   Attorney‐Client   (tmarzull@its.jnj.com)   (tmarzull@its.jnj.com)           Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                   8/20/2015

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Todd DeSilvia (tdesilvi@its.jnj.com); Paul Duncan
                                                                                                                                                                                                     (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Edward Gawle (egawle@its.jnj.com);
                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless
                                                                                                                                           James Knepp              Thao Marzullo                    (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);
1512   JANSSENBIO‐PL_2‐0001256                                                       Withheld   docx    Marzullo, Thao   Attorney‐Client   (jknepp5@its.jnj.com)    (tmarzull@its.jnj.com)           Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                   8/20/2015

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Todd DeSilvia (tdesilvi@its.jnj.com); Paul Duncan
                                                                                                                                                                                                     (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Edward Gawle (egawle@its.jnj.com);
                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless
                                                                                                                                                                                                     (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);
1513   JANSSENBIO‐PL_2‐0001257                                                       Withheld   pdf     Marzullo, Thao   Attorney‐Client   Megan Juskowiak                                           Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                   8/20/2015

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Todd DeSilvia (tdesilvi@its.jnj.com); Paul Duncan
                                                                                                                                                                                                     (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Edward Gawle (egawle@its.jnj.com);
                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless
                                                                                                                                                                                                     (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);
1514   JANSSENBIO‐PL_2‐0001258                                                       Withheld   pdf     Marzullo, Thao   Attorney‐Client   Bill Van Cleaf                                            Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                   8/20/2015

                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Todd DeSilvia (tdesilvi@its.jnj.com); Paul Duncan
                                                                                                                                                                                                     (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Edward Gawle (egawle@its.jnj.com);
                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Elizabeth Lawless
                                                                                                                                                                                                     (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);
1515   JANSSENBIO‐PL_2‐0001259                                                       Withheld   pdf     Marzullo, Thao   Attorney‐Client                                                             Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                   8/20/2015



                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri                                                                                                                                                                               Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                     Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo           Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                  internal guidance concerning practice management or IOI
1516   JANSSENBIO‐PL_2‐0001260                                                       Withheld   eMail   Marzullo, Thao   Attorney‐Client                                                             (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                          Kathryn Roberts (krober10@its.jnj.com)           Thao Marzullo (tmarzull@its.jnj.com)   Elizabeth Lawless (elawless@its.jnj.com)                 8/24/2015   support.



                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                           Thao Marzullo            Thao Marzullo                    Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1517   JANSSENBIO‐PL_2‐0001261                                                       Withheld   docx    Marzullo, Thao   Attorney‐Client   (tmarzull@its.jnj.com)   (tmarzull@its.jnj.com)           (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                           8/24/2015


                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                           James Knepp              Thao Marzullo                    Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1518   JANSSENBIO‐PL_2‐0001262                                                       Withheld   docx    Marzullo, Thao   Attorney‐Client   (jknepp5@its.jnj.com)    (tmarzull@its.jnj.com)           (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                           8/24/2015



                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                                                                     Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1519   JANSSENBIO‐PL_2‐0001263                                                       Withheld   pdf     Marzullo, Thao   Attorney‐Client   Megan Juskowiak                                           (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                           8/24/2015



                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                                                                     Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1520   JANSSENBIO‐PL_2‐0001264                                                       Withheld   pdf     Marzullo, Thao   Attorney‐Client   Bill Van Cleaf                                            (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                           8/24/2015


                                                                                                                                                                                                     Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                     (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                                                                     Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1521   JANSSENBIO‐PL_2‐0001265                                                       Withheld   pdf     Marzullo, Thao   Attorney‐Client                                                             (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                           8/24/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          legal advice from Legal Department regarding
                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo                                                                                                                                                                      preparation/review of customer‐facing practice
1522   JANSSENBIO‐PL_2‐0001266                                                       Withheld   eMail   Marzullo, Thao   Attorney‐Client                                                             (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                             Michael Wolfe (mwolfe2@its.jnj.com)              Thao Marzullo (tmarzull@its.jnj.com)                                                           12/15/2014   management or IOI support material.

                                                                                                                                           Anna Maria Acquaviva     Thao Marzullo                    Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1523   JANSSENBIO‐PL_2‐0001267                                                       Withheld   pptx    Marzullo, Thao   Attorney‐Client   (aacqua23@its.jnj.com)   (tmarzull@its.jnj.com)           (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                             12/15/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1524   JANSSENBIO‐PL_2‐0001268                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                             12/15/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1525   JANSSENBIO‐PL_2‐0001269                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                             12/15/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1526   JANSSENBIO‐PL_2‐0001270                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                             12/15/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1527   JANSSENBIO‐PL_2‐0001271                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                             12/15/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1528   JANSSENBIO‐PL_2‐0001272                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                             12/15/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1529   JANSSENBIO‐PL_2‐0001273                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                             12/15/2014

                                                                                                                                           Rika Ville               Lesline Brother                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1530   JANSSENBIO‐PL_2‐0001274                                                       Withheld   docx    Marzullo, Thao   Attorney‐Client   (rdeville@its.jnj.com)   (lbrother@its.jnj.com)           (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                             12/15/2014

                                                                                                                                           Rika Ville               Thao Marzullo                    Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1531   JANSSENBIO‐PL_2‐0001275                                                       Withheld   docx    Marzullo, Thao   Attorney‐Client   (rdeville@its.jnj.com)   (tmarzull@its.jnj.com)           (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                             12/15/2014

                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo                                                                                                                                                                      regarding preparation/review of customer‐facing practice
1532   JANSSENBIO‐PL_2‐0001276                                                       Withheld   eMail   Marzullo, Thao   Attorney‐Client                                                             (tmarzull@its.jnj.com)                                                                                  Christopher Guiton ^ (cguiton@its.jnj.com)       Thao Marzullo (tmarzull@its.jnj.com)                                                           12/16/2014   management or IOI support material.
                                                                                                                                           Rika Ville               Thao Marzullo                    Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1533   JANSSENBIO‐PL_2‐0001277                                                       Withheld   docx    Marzullo, Thao   Attorney‐Client   (rdeville@its.jnj.com)   (tmarzull@its.jnj.com)           (tmarzull@its.jnj.com)                                                                                                                                                                                                                                  12/16/2014
                                                                                                                                           Anna Maria Acquaviva     Thao Marzullo                    Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1534   JANSSENBIO‐PL_2‐0001278                                                       Withheld   pptx    Marzullo, Thao   Attorney‐Client   (aacqua23@its.jnj.com)   (tmarzull@its.jnj.com)           (tmarzull@its.jnj.com)                                                                                                                                                                                                                                  12/16/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1535   JANSSENBIO‐PL_2‐0001279                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com)                                                                                                                                                                                                                                  12/16/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1536   JANSSENBIO‐PL_2‐0001280                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com)                                                                                                                                                                                                                                  12/16/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1537   JANSSENBIO‐PL_2‐0001281                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com)                                                                                                                                                                                                                                  12/16/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1538   JANSSENBIO‐PL_2‐0001282                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com)                                                                                                                                                                                                                                  12/16/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1539   JANSSENBIO‐PL_2‐0001283                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com)                                                                                                                                                                                                                                  12/16/2014

                                                                                                                                                                    Jessica Higgins                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1540   JANSSENBIO‐PL_2‐0001284                                                       Withheld   xlsx    Marzullo, Thao   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)     (tmarzull@its.jnj.com)                                                                                                                                                                                                                                  12/16/2014
                                                                                                                                           Rika Ville               Lesline Brother                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1541   JANSSENBIO‐PL_2‐0001285                                                       Withheld   docx    Marzullo, Thao   Attorney‐Client   (rdeville@its.jnj.com)   (lbrother@its.jnj.com)           (tmarzull@its.jnj.com)                                                                                                                                                                                                                                  12/16/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo                                                                                                                                                                internal guidance concerning practice management or IOI
1542   JANSSENBIO‐PL_2‐0001286                                                       Withheld   eMail   Marzullo, Thao   Attorney‐Client                                                             (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com)                                            Christopher Guiton ^ (cguiton@its.jnj.com)       Thao Marzullo (tmarzull@its.jnj.com)                                                           12/17/2014   support.

                                                                                                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo
1543   JANSSENBIO‐PL_2‐0001287                                                       Withheld   png     Marzullo, Thao   Attorney‐Client                                                             (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com)                                                                                                                                                                                            12/17/2014




                                                                                                                                                                                                                                                                             49
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 51 of 201


                                                                                                                                                                                                       Elizabeth Beal (ebeal@its.jnj.com); Doris Chern (dchern2@its.jnj.com); Thomas Cornely                                                                                                                                                                                                                                  Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                       (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);                                                                                                                                                                                                               from Legal Department regarding preparation/review of
                                                                                                                                                                                                       Amy Rodriguez (arodri32@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe                                                                                                                                                                                                                               customer‐facing practice management or IOI support
1544                             JANSSENBIO‐064‐00001624   JANSSENBIO‐064‐00001625   Redacted   eMail   Marzullo, Thao           Attorney‐Client                                                       (mwolfe2@its.jnj.com)                                                                                                                                 Elizabeth Beal (ebeal@its.jnj.com)               Thao Marzullo (tmarzull@its.jnj.com)                                                               12/16/2014   material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) requesting legal advice
                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld                                                  Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                                                                       (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);                                                      Kathryn Roberts (krober10@its.jnj.com); Thomas                                              James Knepp (jknepp5@its.jnj.com); Kendra Heusinkveld                internal guidance concerning practice management or IOI
1545   JANSSENBIO‐PL_2‐0001288                                                       Withheld   eMail   Marzullo, Thao           Attorney‐Client                                                       Kathryn Roberts (krober10@its.jnj.com)                                                                                                                Cornely (tcornel@its.jnj.com)                  Thao Marzullo (tmarzull@its.jnj.com)         (kheusink@its.jnj.com)                                   2/13/2015   support.

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Anna Maria Acquaviva       Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);
1546   JANSSENBIO‐PL_2‐0001289                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (aacqua23@its.jnj.com)     (tmarzull@its.jnj.com)   Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                                     2/13/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Dave Franklin              Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);
1547   JANSSENBIO‐PL_2‐0001290                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (dfrankl1@its.jnj.com)     (tmarzull@its.jnj.com)   Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                                     2/13/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Dave Franklin              Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);
1548   JANSSENBIO‐PL_2‐0001291                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (dfrankl1@its.jnj.com)     (tmarzull@its.jnj.com)   Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                                     2/13/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Thao Marzullo              Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);
1549   JANSSENBIO‐PL_2‐0001292                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (tmarzull@its.jnj.com)     (tmarzull@its.jnj.com)   Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                                     2/13/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Thao Marzullo              Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);
1550   JANSSENBIO‐PL_2‐0001293                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (tmarzull@its.jnj.com)     (tmarzull@its.jnj.com)   Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                                     2/13/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Anna Maria Acquaviva       Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com);
1551   JANSSENBIO‐PL_2‐0001294                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (aacqua23@its.jnj.com)     (tmarzull@its.jnj.com)   Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                                     2/13/2015
                                                                                                                                                                                                                                                                                                                  Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                                                  James Knepp (jknepp5@its.jnj.com);                                                                                                                                                                          Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                       Matthew Koch (mkoch2@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Christina Pesapane                Kathryn Roberts (krober10@its.jnj.com);     Karen Trahan (ktrahan@its.jnj.com); Matthew                                                                                                                     legal advice from Christopher Guiton^ regarding internal
1552   JANSSENBIO‐PL_2‐0001295                                                       Withheld   eMail   Marzullo, Thao           Attorney‐Client                                                       (cpesapan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                                 Kendra Heusinkveld (kheusink@its.jnj.com); Koch (mkoch2@its.jnj.com)                        Thao Marzullo (tmarzull@its.jnj.com)       Christina Pesapane (cpesapan@its.jnj.com)                2/17/2015   training documents.

                                                                                                                                                   Anna Maria Acquaviva       Thao Marzullo            Matthew Koch (mkoch2@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Christina Pesapane
1553   JANSSENBIO‐PL_2‐0001296                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (aacqua23@its.jnj.com)     (tmarzull@its.jnj.com)   (cpesapan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                                                                                                                                                                                                                                 2/17/2015

                                                                                                                                                   Dave Franklin              Thao Marzullo            Matthew Koch (mkoch2@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Christina Pesapane
1554   JANSSENBIO‐PL_2‐0001297                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (dfrankl1@its.jnj.com)     (tmarzull@its.jnj.com)   (cpesapan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                                                                                                                                                                                                                                 2/17/2015

                                                                                                                                                   Dave Franklin              Thao Marzullo            Matthew Koch (mkoch2@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Christina Pesapane
1555   JANSSENBIO‐PL_2‐0001298                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (dfrankl1@its.jnj.com)     (tmarzull@its.jnj.com)   (cpesapan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                                                                                                                                                                                                                                 2/17/2015

                                                                                                                                                   Thao Marzullo              Thao Marzullo            Matthew Koch (mkoch2@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Christina Pesapane
1556   JANSSENBIO‐PL_2‐0001299                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (tmarzull@its.jnj.com)     (tmarzull@its.jnj.com)   (cpesapan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                                                                                                                                                                                                                                 2/17/2015

                                                                                                                                                   Thao Marzullo              Thao Marzullo            Matthew Koch (mkoch2@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Christina Pesapane
1557   JANSSENBIO‐PL_2‐0001300                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (tmarzull@its.jnj.com)     (tmarzull@its.jnj.com)   (cpesapan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                                                                                                                                                                                                                                 2/17/2015

                                                                                                                                                   Anna Maria Acquaviva       Thao Marzullo            Matthew Koch (mkoch2@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Christina Pesapane
1558   JANSSENBIO‐PL_2‐0001301                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (aacqua23@its.jnj.com)     (tmarzull@its.jnj.com)   (cpesapan@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                                                                                                                                                                                                                                 2/17/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);                                                                                                                                                                                                                   Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                       Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts                                                                                                                                                                                                                            regarding issues relating to interactions or
1559   JANSSENBIO‐PL_2‐0001302                                                       Withheld   eMail   Marzullo, Thao           Attorney‐Client                                                       (krober10@its.jnj.com)                                                                                                                                Christopher Guiton ^ (cguiton@its.jnj.com)       Thao Marzullo (tmarzull@its.jnj.com)                                                                2/18/2015   communications between ABSs and physician offices.

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                   Anna Maria Acquaviva       Thomas Cornely           Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
1560   JANSSENBIO‐PL_2‐0001303                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (aacqua23@its.jnj.com)     (tcornel@its.jnj.com)    (krober10@its.jnj.com)                                                                                                                                                                                                                                                                                     2/18/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                   Dave Franklin              Thao Marzullo            Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
1561   JANSSENBIO‐PL_2‐0001304                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (dfrankl1@its.jnj.com)     (tmarzull@its.jnj.com)   (krober10@its.jnj.com)                                                                                                                                                                                                                                                                                     2/18/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                   Dave Franklin              Thomas Cornely           Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
1562   JANSSENBIO‐PL_2‐0001305                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (dfrankl1@its.jnj.com)     (tcornel@its.jnj.com)    (krober10@its.jnj.com)                                                                                                                                                                                                                                                                                     2/18/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                   Thao Marzullo              Thomas Cornely           Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
1563   JANSSENBIO‐PL_2‐0001306                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (tmarzull@its.jnj.com)     (tcornel@its.jnj.com)    (krober10@its.jnj.com)                                                                                                                                                                                                                                                                                     2/18/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                   Thao Marzullo              Thomas Cornely           Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
1564   JANSSENBIO‐PL_2‐0001307                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (tmarzull@its.jnj.com)     (tcornel@its.jnj.com)    (krober10@its.jnj.com)                                                                                                                                                                                                                                                                                     2/18/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                   Anna Maria Acquaviva       Thomas Cornely           Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
1565   JANSSENBIO‐PL_2‐0001308                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (aacqua23@its.jnj.com)     (tcornel@its.jnj.com)    (krober10@its.jnj.com)                                                                                                                                                                                                                                                                                     2/18/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld                                                                                                                                                                                                                   regarding preparation/review of internal training or
                                                                                                                                                                                                       (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao                                                                                                                                                                                                                  internal guidance concerning practice management or IOI
1566   JANSSENBIO‐PL_2‐0001309                                                       Withheld   eMail   Marzullo, Thao           Attorney‐Client                                                       Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                               Christopher Guiton ^ (cguiton@its.jnj.com)       Thao Marzullo (tmarzull@its.jnj.com)                                                                2/23/2015   support.

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Anna Maria Acquaviva       Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
1567   JANSSENBIO‐PL_2‐0001310                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (aacqua23@its.jnj.com)     (tmarzull@its.jnj.com)   Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                    2/23/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Dave Franklin              Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
1568   JANSSENBIO‐PL_2‐0001311                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (dfrankl1@its.jnj.com)     (tmarzull@its.jnj.com)   Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                    2/23/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Dave Franklin              Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
1569   JANSSENBIO‐PL_2‐0001312                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (dfrankl1@its.jnj.com)     (tmarzull@its.jnj.com)   Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                    2/23/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Thao Marzullo              Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
1570   JANSSENBIO‐PL_2‐0001313                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (tmarzull@its.jnj.com)     (tmarzull@its.jnj.com)   Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                    2/23/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Thao Marzullo              Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
1571   JANSSENBIO‐PL_2‐0001314                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (tmarzull@its.jnj.com)     (tmarzull@its.jnj.com)   Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                    2/23/2015

                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                   Anna Maria Acquaviva       Thao Marzullo            (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
1572   JANSSENBIO‐PL_2‐0001315                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (aacqua23@its.jnj.com)     (tmarzull@its.jnj.com)   Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                    2/23/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              counsel for the purpose of receiving legal advice
                                                                                                                                                                                                       Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo                                                                                                                                                                                                                        regarding preparation/review of customer‐facing practice
1573   JANSSENBIO‐PL_2‐0001316                                                       Withheld   eMail   Marzullo, Thao           Attorney‐Client                                                       (tmarzull@its.jnj.com)                                                                                                                                Christopher Guiton ^ (cguiton@its.jnj.com)       Thao Marzullo (tmarzull@its.jnj.com)                                                               11/25/2013   management or IOI support material.
                                                                                                                                                   Anna Maria Acquaviva       Thao Marzullo            Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1574   JANSSENBIO‐PL_2‐0001317                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (aacqua23@its.jnj.com)     (tmarzull@its.jnj.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                                                                                    11/25/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 2,
1575   JANSSENBIO‐PL_2‐0001318                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 2,
1576   JANSSENBIO‐PL_2‐0001319                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 2,
1577   JANSSENBIO‐PL_2‐0001320                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 2,
1578   JANSSENBIO‐PL_2‐0001321                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 2,
1579   JANSSENBIO‐PL_2‐0001322                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 2,
1580   JANSSENBIO‐PL_2‐0001323                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Presentation reflecting request for legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Legal Department regarding preparation/review of
                                                                                                                                                   Anna Maria Acquaviva       Michael Wolfe            Thao Marzullo (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe                                                                                                                                                                                                                               customer‐facing practice management or IOI support
1581   JANSSENBIO‐PL_2‐0001324   JANSSENBIO‐063‐00001337   JANSSENBIO‐063‐00001337   Withheld   pptx    Marzullo, Thao           Attorney‐Client   (aacqua23@its.jnj.com)     (mwolfe2@its.jnj.com)    (mwolfe2@its.jnj.com)                                                                                                                                                                                                                                                                                     12/16/2014   material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              legal advice from Legal Department regarding
                                                                                                                                                                                                       Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo                                                                                                                                                                                                                        preparation/review of customer‐facing practice
1582   JANSSENBIO‐PL_2‐0001325                                                       Withheld   eMail   Marzullo, Thao           Attorney‐Client                                                       (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                      Thao Marzullo (tmarzull@its.jnj.com)             Michael Wolfe (mwolfe2@its.jnj.com)                                                                12/16/2014   management or IOI support material.

                                                                                                                                                   Anna Maria Acquaviva       Michael Wolfe            Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1583   JANSSENBIO‐PL_2‐0001326                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (aacqua23@its.jnj.com)     (mwolfe2@its.jnj.com)    (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                          12/16/2014

                                                                                                                                                   Rika Ville                 Michael Wolfe            Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
1584   JANSSENBIO‐PL_2‐0001327                                                       Withheld   docx    Marzullo, Thao           Attorney‐Client   (rdeville@its.jnj.com)     (mwolfe2@its.jnj.com)    (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                          12/16/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) reflecting request for legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              advice from Christopher Guiton ^ regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              preparation/review of internal training or internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              guidance concerning practice management or IOI
1585   JANSSENBIO‐PL_2‐0001328                                                       Withheld   eMail   Marzullo, Thao           Attorney‐Client                                                       James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com)                                                                               Thao Marzullo (tmarzull@its.jnj.com)             James Knepp (jknepp5@its.jnj.com)                                                                   8/12/2015   support.
                                                                                                                                                   James Knepp                James Knepp
1586   JANSSENBIO‐PL_2‐0001329                                                       Withheld   pptx    Marzullo, Thao           Attorney‐Client   (jknepp5@its.jnj.com)      (jknepp5@its.jnj.com)    James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com)                                                                                                                                                                                                                                    8/12/2015
                                                                                                                                                                                                       Edward Gawle (egawle@its.jnj.com); Michael Genus (mgenus@its.jnj.com); James Knepp                                                                                                                                                                                                                                     Presentation reflecting legal advice from Outside
                                                                                                                                                   Thao Marzullo              Edward Gawle             (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); John                                                                                                                                                                                                                Counsel regarding issues relating to lawfulness of
1587                             JANSSENBIO‐064‐00001673   JANSSENBIO‐064‐00001684   Redacted   pptx    Marzullo, Thao           Attorney‐Client   (tmarzull@its.jnj.com)     (egawle@its.jnj.com)     Peterkins (jpeterk1@its.jnj.com)                                                                                                                                                                                                                                                                           5/28/2015   practice management or IOI support services.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) requesting legal advice
                                                                                                                                                                                                       Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                       Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck                                                          Schoeck (mschoeck@its.jnj.com); Thomas                                                                                                                           internal guidance concerning practice management or IOI
1588   JANSSENBIO‐PL_2‐0001330                                                       Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                       (mschoeck@its.jnj.com)                                                                                                                                Occhipinti (tocchipi@its.jnj.com)                Thomas Occhipinti (tocchipi@its.jnj.com)   Michael Cassano (mcassano@cntus.jnj.com)                 8/10/2007   support.
                                                                                                                                                                                                       Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                                              Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
1589   JANSSENBIO‐PL_2‐0001331                                                       Withheld   ppt     Suarez, Freddy Jimenez   Attorney‐Client   Corey Davis                (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                                                     8/10/2007
                                                                                                                                                                                                       Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                   Sherri Prettyman           Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
1590   JANSSENBIO‐PL_2‐0001332                                                       Withheld           Suarez, Freddy Jimenez   Attorney‐Client   (sprettym@cntus.jnj.com)   (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                                                     8/10/2007
                                                                                                                                                                                                       Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                   Sherri Prettyman           Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
1591   JANSSENBIO‐PL_2‐0001333                                                       Withheld           Suarez, Freddy Jimenez   Attorney‐Client   (sprettym@cntus.jnj.com)   (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                                                     8/10/2007




                                                                                                                                                                                                                                                                                50
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 52 of 201

                                                                                                                                                     Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                               Darryl Stiles              Thomas Occhipinti          Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
1592   JANSSENBIO‐PL_2‐0001334   Withheld           Suarez, Freddy Jimenez   Attorney‐Client   (dstiles@its.jnj.com)      (tocchipi@its.jnj.com)     (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                  8/10/2007
                                                                                                                                                     Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                               Carrie Cooper              Thomas Occhipinti          Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
1593   JANSSENBIO‐PL_2‐0001335   Withheld           Suarez, Freddy Jimenez   Attorney‐Client   (ccoope13@its.jnj.com)     (tocchipi@its.jnj.com)     (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                  8/10/2007
                                                                                                                                                     Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                          Thomas Occhipinti          Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
1594   JANSSENBIO‐PL_2‐0001336   Withheld           Suarez, Freddy Jimenez   Attorney‐Client                              (tocchipi@its.jnj.com)     (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                  8/10/2007
                                                                                                                                                                                                                                                                     Freddy Jimenez ^ (fjimene3@its.jnj.com);                                                                                                                            Email communication requesting legal advice regarding
                                                                                                                                                     Kathleen Cooney (kcooney@its.jnj.com); Kathleen Cooney (kcooney@its.jnj.com); Freddy Jimenez ^                  Kathleen Cooney (kcooney@its.jnj.com); Ken                                                                                                                          preparation/review of internal training or internal
                                                                                                                                                     (fjimene3@its.jnj.com); Ken McDermott (kmcderm1@its.jnj.com); Robert Stine (rstine3@its.jnj.com);               McDermott (kmcderm1@its.jnj.com); Robert                                                                                                                            guidance concerning practice management or IOI
1595   JANSSENBIO‐PL_2‐0001337   Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                         Jerry Burgener (jburgene@its.jnj.com)                                                                           Stine (rstine3@its.jnj.com)                       Kathleen Cooney (kcooney@its.jnj.com)        Jerry Burgener (jburgene@its.jnj.com)                     9/4/2008   support.
                                                                                                                                                     Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                               Kanitha Burns              Thomas Occhipinti          Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
1596   JANSSENBIO‐PL_2‐0001338   Withheld           Suarez, Freddy Jimenez   Attorney‐Client   (kburns1@cntus.jnj.com)    (tocchipi@its.jnj.com)     (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                  8/10/2007
                                                                                                                                                     Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                               Sherri Prettyman           Thomas Occhipinti          Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
1597   JANSSENBIO‐PL_2‐0001339   Withheld           Suarez, Freddy Jimenez   Attorney‐Client   (sprettym@cntus.jnj.com)   (tocchipi@its.jnj.com)     (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                  8/10/2007
                                                                                                                                                     Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                               Sherri Prettyman           Thomas Occhipinti          Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
1598   JANSSENBIO‐PL_2‐0001340   Withheld           Suarez, Freddy Jimenez   Attorney‐Client   (sprettym@cntus.jnj.com)   (tocchipi@its.jnj.com)     (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                  8/10/2007




                                                                                                                                                                                                                                                                     Christopher Zalesky (czalesky@its.jnj.com); Dirk
                                                                                                                                                     Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Ann Buchan                    Brinckman ^ (dbrinckm@its.jnj.com); Elizabeth
                                                                                                                                                     (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com);                    Forminard ^ (eformina@its.jnj.com); Freddy
                                                                                                                                                     Nancy Corkum (ncorkum@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kris Curry                               Jimenez ^ (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                     (kcurry@janus.jnj.com); Elizabeth Forminard ^ (eformina@its.jnj.com); Elizabeth Forminard ^                     (htorell@its.jnj.com); Kris Curry
                                                                                                                                                     (eformina@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^                               (kcurry@janus.jnj.com); Larry Montes
                                                                                                                                                     (fjimene3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);             (lmontes4@its.jnj.com); Mark Sievers ^
                                                                                                                                                     Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Michael McCulley ^                            (msievers@its.jnj.com); Michael McCulley ^
                                                                                                                                                     (mmccull@corus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Larry Montes                               (mmccull@corus.jnj.com); Nancy Corkum
                                                                                                                                                     (lmontes4@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);             (ncorkum@its.jnj.com); Patricia Villani ^
                                                                                                                                                     Mark Sievers ^ (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Helen Torelli ^                   (pvillan1@its.jnj.com); Paul Lawrance                                                                                                                               Email with attachment(s) providing legal advice regarding
                                                                                                                                                     (htorell@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Willy Vanbuggenhout ^                      (plawran1@its.jnj.com); Vanessa Lum                                                                                                                                 preparation/review of internal training or internal
                                                                                                                                                     (wvanbugg@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);   (vlum1@its.jnj.com); Willy Vanbuggenhout ^                                                                                                                          guidance concerning practice management or IOI
1599   JANSSENBIO‐PL_2‐0001341   Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                         Christopher Zalesky (czalesky@its.jnj.com)                                                                      (wvanbugg@its.jnj.com)                            Ann Buchan (abuchan@its.jnj.com)                                                                      11/3/2011   support.




                                                                                                                                                     Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Ann Buchan
                                                                                                                                                     (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com);
                                                                                                                                                     Nancy Corkum (ncorkum@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kris Curry
                                                                                                                                                     (kcurry@janus.jnj.com); Elizabeth Forminard ^ (eformina@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                     (eformina@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                     (fjimene3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                                     Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Michael McCulley ^
                                                                                                                                                     (mmccull@corus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Larry Montes
                                                                                                                                                     (lmontes4@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                     Mark Sievers ^ (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Helen Torelli ^
                                                                                                                                                     (htorell@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Willy Vanbuggenhout ^
                                                                                               Ann Buchan                 Ann Buchan                 (wvanbugg@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1600   JANSSENBIO‐PL_2‐0001342   Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (abuchan@its.jnj.com)      (abuchan@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                              11/3/2011




                                                                                                                                                     Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Ann Buchan
                                                                                                                                                     (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com);
                                                                                                                                                     Nancy Corkum (ncorkum@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kris Curry
                                                                                                                                                     (kcurry@janus.jnj.com); Elizabeth Forminard ^ (eformina@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                     (eformina@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                     (fjimene3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                                     Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Michael McCulley ^
                                                                                                                                                     (mmccull@corus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Larry Montes
                                                                                                                                                     (lmontes4@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                     Mark Sievers ^ (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Helen Torelli ^
                                                                                                                                                     (htorell@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Willy Vanbuggenhout ^
                                                                                               Jennifer De Camara ^       Jennifer De Camara ^       (wvanbugg@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1601   JANSSENBIO‐PL_2‐0001343   Withheld   docx    Suarez, Freddy Jimenez   Attorney‐Client   (jdecamar@corus.jnj.com)   (jdecamar@corus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                              11/3/2011




                                                                                                                                                     Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Ann Buchan
                                                                                                                                                     (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com);
                                                                                                                                                     Nancy Corkum (ncorkum@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kris Curry
                                                                                                                                                     (kcurry@janus.jnj.com); Elizabeth Forminard ^ (eformina@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                     (eformina@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                     (fjimene3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                                     Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Michael McCulley ^
                                                                                                                                                     (mmccull@corus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Larry Montes
                                                                                                                                                     (lmontes4@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                     Mark Sievers ^ (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Helen Torelli ^
                                                                                                                                                     (htorell@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Willy Vanbuggenhout ^
                                                                                               Stephanie Gilson ^         Stephanie Gilson ^         (wvanbugg@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1602   JANSSENBIO‐PL_2‐0001344   Withheld   docx    Suarez, Freddy Jimenez   Attorney‐Client   (sgilson@its.jnj.com)      (sgilson@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                              11/3/2011




                                                                                                                                                     Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Ann Buchan                    Dirk Brinckman ^ (dbrinckm@its.jnj.com);
                                                                                                                                                     (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com);                    Elizabeth Forminard ^ (eformina@its.jnj.com);
                                                                                                                                                     Nancy Corkum (ncorkum@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kris Curry                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Helen
                                                                                                                                                     (kcurry@janus.jnj.com); Elizabeth Forminard ^ (eformina@its.jnj.com); Elizabeth Forminard ^                     Torelli ^ (htorell@its.jnj.com); Kris Curry
                                                                                                                                                     (eformina@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^                               (kcurry@janus.jnj.com); Larry Montes
                                                                                                                                                     (fjimene3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);             (lmontes4@its.jnj.com); Mark Sievers ^
                                                                                                                                                     Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Michael McCulley ^                            (msievers@its.jnj.com); Michael McCulley ^
                                                                                                                                                     (mmccull@corus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Larry Montes                               (mmccull@corus.jnj.com); Nancy Corkum
                                                                                                                                                     (lmontes4@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);             (ncorkum@its.jnj.com); Patricia Villani ^
                                                                                                                                                     Mark Sievers ^ (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Helen Torelli ^                   (pvillan1@its.jnj.com); Paul Lawrance
                                                                                                                                                     (htorell@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Willy Vanbuggenhout ^                      (plawran1@its.jnj.com); Vanessa Lum
                                                                                                                                                     (wvanbugg@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);   (vlum1@its.jnj.com); Willy Vanbuggenhout ^
1603   JANSSENBIO‐PL_2‐0001345   Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                         Christopher Zalesky (czalesky@its.jnj.com)                                                                      (wvanbugg@its.jnj.com)                            Christopher Zalesky (czalesky@its.jnj.com)   Ann Buchan (abuchan@its.jnj.com)                         11/3/2011




                                                                                                                                                     Dirk Brinckman ^ (dbrinckm@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Ann Buchan
                                                                                                                                                     (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com);
                                                                                                                                                     Nancy Corkum (ncorkum@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kris Curry
                                                                                                                                                     (kcurry@janus.jnj.com); Elizabeth Forminard ^ (eformina@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                     (eformina@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                     (fjimene3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                                     Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Michael McCulley ^
                                                                                                                                                     (mmccull@corus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Larry Montes
                                                                                                                                                     (lmontes4@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                     Mark Sievers ^ (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Helen Torelli ^
                                                                                                                                                     (htorell@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Willy Vanbuggenhout ^
                                                                                               Rika Ville                 Christopher Zalesky        (wvanbugg@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1604   JANSSENBIO‐PL_2‐0001346   Withheld   pptx    Suarez, Freddy Jimenez   Attorney‐Client   (rdeville@its.jnj.com)     (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                              11/3/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                               Jessica Gottlieb ^         Jessica Gottlieb ^                                                                                                                                                                                                                                                                                             guidance concerning practice management or IOI
1605   JANSSENBIO‐PL_2‐0001347   Withheld   doc     Suarez, Freddy Jimenez   Attorney‐Client   (jgottlie@its.jnj.com)     (jgottlie@its.jnj.com)                                                                                                                                                                                                                                                                             10/4/2010   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                         Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                                                                                                                                                                                                                                                                                                                                         guidance concerning practice management or IOI
1606   JANSSENBIO‐PL_2‐0001348   Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                         Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)                                  Freddy Jimenez ^ (fjimene3@its.jnj.com)           Sue Seferian ^ (sseferia@its.jnj.com)                                                                 4/28/2000   support.

1607   JANSSENBIO‐PL_2‐0001349   Withheld   ppt     Suarez, Freddy Jimenez   Attorney‐Client   Econdurs                   Johnson & Johnson          Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)                                                                                                                                                                                          4/28/2000
                                                                                               Ellen Williams
1608   JANSSENBIO‐PL_2‐0001350   Withheld           Suarez, Freddy Jimenez   Attorney‐Client   (ewillia4@ocdus.jnj.com)   J&J Employee               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)                                                                                                                                                                                          4/28/2000
                                                                                               Ellen Williams
1609   JANSSENBIO‐PL_2‐0001351   Withheld           Suarez, Freddy Jimenez   Attorney‐Client   (ewillia4@ocdus.jnj.com)   J&J Employee               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)                                                                                                                                                                                          4/28/2000
                                                                                                                                                                                                                                                                     Bernard Plantz (bplantz@its.jnj.com); Cathy
                                                                                                                                                                                                                                                                     Smith ^ (csmith21@dpyus.jnj.com); Clayton
                                                                                                                                                                                                                                                                     Paterson ^ (cpaters@its.jnj.com); Donna Malin ^
                                                                                                                                                                                                                                                                     (dmalin@its.jnj.com); Emilie Liberatore
                                                                                                                                                                                                                                                                     (elibera2@corus.jnj.com); Eric Jung ^
                                                                                                                                                                                                                                                                     (ejung@its.jnj.com); Frank Reck
                                                                                                                                                                                                                                                                     (freck@hcsus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                     (fjimene3@its.jnj.com); Harman Grossman
                                                                                                                                                                                                                                                                     (hgrossm@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                                     (htorell@its.jnj.com); James Bergin ^
                                                                                                                                                                                                                                                                     (jbergin@corus.jnj.com); John Beidler ^
                                                                                                                                                                                                                                                                     (jbeidle@corus.jnj.com); John Crisan
                                                                                                                                                                                                                                                                     (jcrisan@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                                                                                                                                                     (joshaug@corus.jnj.com); Joseph Shirtz
                                                                                                                                                                                                                                                                     (jshirtz@corus.jnj.com); Kathryn Meisel ^
                                                                                                                                                     John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Kenneth Berlin ^                (kmeisel@its.jnj.com); Kenneth Berlin ^
                                                                                                                                                     (kberlin@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);        (kberlin@corus.jnj.com); Kenneth Olsen ^
                                                                                                                                                     John Crisan (jcrisan@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Harman Grossman                      (kolsen@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                     (hgrossm@its.jnj.com); Helen Hohnhorst ^ (hhohnho@corus.jnj.com); Lisa Jenkins ^                                (ljenkins@its.jnj.com); Lisbeth Warren ^
                                                                                                                                                     (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Emilie        (lwarren@corus.jnj.com); Mark Piazza ^
                                                                                                                                                     Liberatore (elibera2@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Michael McCulley ^                     (mpiazza@dpyus.jnj.com); Mark Sievers ^
                                                                                                                                                     (mmccull@corus.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);          (msievers@its.jnj.com); Michael Chester ^
                                                                                                                                                     John O'Shaughnessy ^ (joshaug@corus.jnj.com); Ralph Palo ^ (rpalo@corus.jnj.com); Clayton Paterson ^            (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                                     (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);           (mmccull@corus.jnj.com); Paul Coletti
                                                                                                                                                     Frank Reck (freck@hcsus.jnj.com); Steven Rosenberg ^ (srosenb@its.jnj.com); Sue Seferian ^                      (pcolett@corus.jnj.com); Phil Crowley ^
                                                                                                                                                     (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Joseph Shirtz (jshirtz@corus.jnj.com); Mark      (pcrowle@corus.jnj.com); Ralph Palo ^                                                          Beth Sroufe (bsroufe@eesus.jnj.com); Emilie Liberatore               Email with attachment(s) requesting legal advice
                                                                                                                                                     Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Beth Sroufe                           (rpalo@corus.jnj.com); Robert Zocca                                                            (elibera2@corus.jnj.com); Helen Hohnhorst ^                          regarding preparation/review of draft internal training or
                                                                                                                                                     (bsroufe@eesus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com);     (rzocca@its.jnj.com); Steven Rosenberg ^                                                       (hhohnho@corus.jnj.com); Phil Crowley ^                              internal guidance concerning practice management or IOI
1610   JANSSENBIO‐PL_2‐0001352   Withheld   eMail   Suarez, Freddy Jimenez   Attorney‐Client                                                         Lisbeth Warren ^ (lwarren@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                     (srosenb@its.jnj.com); Sue Seferian ^             Sue Seferian ^ (sseferia@its.jnj.com)        (pcrowle@corus.jnj.com)                                  11/2/1999   support.




                                                                                                                                                                                                                                 51
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 53 of 201



                                                                                                                                          John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Kenneth Berlin ^
                                                                                                                                          (kberlin@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);
                                                                                                                                          John Crisan (jcrisan@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Harman Grossman
                                                                                                                                          (hgrossm@its.jnj.com); Helen Hohnhorst ^ (hhohnho@corus.jnj.com); Lisa Jenkins ^
                                                                                                                                          (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Emilie
                                                                                                                                          Liberatore (elibera2@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Michael McCulley ^
                                                                                                                                          (mmccull@corus.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
                                                                                                                                          John O'Shaughnessy ^ (joshaug@corus.jnj.com); Ralph Palo ^ (rpalo@corus.jnj.com); Clayton Paterson ^
                                                                                                                                          (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);
                                                                                                                                          Frank Reck (freck@hcsus.jnj.com); Steven Rosenberg ^ (srosenb@its.jnj.com); Sue Seferian ^
                                                                                                                                          (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Joseph Shirtz (jshirtz@corus.jnj.com); Mark
                                                                                                                                          Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Beth Sroufe
                                                                                                                                          (bsroufe@eesus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com);
1611   JANSSENBIO‐PL_2‐0001353   Withheld   doc   Suarez, Freddy Jimenez   Attorney‐Client   Johnson & Johnson        Johnson & Johnson   Lisbeth Warren ^ (lwarren@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                   11/2/1999




                                                                                                                                          John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Kenneth Berlin ^
                                                                                                                                          (kberlin@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);
                                                                                                                                          John Crisan (jcrisan@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Harman Grossman
                                                                                                                                          (hgrossm@its.jnj.com); Helen Hohnhorst ^ (hhohnho@corus.jnj.com); Lisa Jenkins ^
                                                                                                                                          (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Emilie
                                                                                                                                          Liberatore (elibera2@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Michael McCulley ^
                                                                                                                                          (mmccull@corus.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
                                                                                                                                          John O'Shaughnessy ^ (joshaug@corus.jnj.com); Ralph Palo ^ (rpalo@corus.jnj.com); Clayton Paterson ^
                                                                                                                                          (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);
                                                                                                                                          Frank Reck (freck@hcsus.jnj.com); Steven Rosenberg ^ (srosenb@its.jnj.com); Sue Seferian ^
                                                                                                                                          (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Joseph Shirtz (jshirtz@corus.jnj.com); Mark
                                                                                                                                          Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Beth Sroufe
                                                                                             Sue Seferian ^                               (bsroufe@eesus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com);
1612   JANSSENBIO‐PL_2‐0001354   Withheld   doc   Suarez, Freddy Jimenez   Attorney‐Client   (sseferia@its.jnj.com)   Johnson & Johnson   Lisbeth Warren ^ (lwarren@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                   11/2/1999




                                                                                                                                          John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Kenneth Berlin ^
                                                                                                                                          (kberlin@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);
                                                                                                                                          John Crisan (jcrisan@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Harman Grossman
                                                                                                                                          (hgrossm@its.jnj.com); Helen Hohnhorst ^ (hhohnho@corus.jnj.com); Lisa Jenkins ^
                                                                                                                                          (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Emilie
                                                                                                                                          Liberatore (elibera2@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Michael McCulley ^
                                                                                                                                          (mmccull@corus.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
                                                                                                                                          John O'Shaughnessy ^ (joshaug@corus.jnj.com); Ralph Palo ^ (rpalo@corus.jnj.com); Clayton Paterson ^
                                                                                                                                          (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);
                                                                                                                                          Frank Reck (freck@hcsus.jnj.com); Steven Rosenberg ^ (srosenb@its.jnj.com); Sue Seferian ^
                                                                                                                                          (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Joseph Shirtz (jshirtz@corus.jnj.com); Mark
                                                                                                                                          Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Beth Sroufe
                                                                                                                                          (bsroufe@eesus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com);
1613   JANSSENBIO‐PL_2‐0001355   Withheld   DOC   Suarez, Freddy Jimenez   Attorney‐Client   Johnson & Johnson        Johnson & Johnson   Lisbeth Warren ^ (lwarren@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                   11/2/1999




                                                                                                                                          John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Kenneth Berlin ^
                                                                                                                                          (kberlin@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);
                                                                                                                                          John Crisan (jcrisan@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Harman Grossman
                                                                                                                                          (hgrossm@its.jnj.com); Helen Hohnhorst ^ (hhohnho@corus.jnj.com); Lisa Jenkins ^
                                                                                                                                          (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Emilie
                                                                                                                                          Liberatore (elibera2@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Michael McCulley ^
                                                                                                                                          (mmccull@corus.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
                                                                                                                                          John O'Shaughnessy ^ (joshaug@corus.jnj.com); Ralph Palo ^ (rpalo@corus.jnj.com); Clayton Paterson ^
                                                                                                                                          (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);
                                                                                                                                          Frank Reck (freck@hcsus.jnj.com); Steven Rosenberg ^ (srosenb@its.jnj.com); Sue Seferian ^
                                                                                                                                          (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Joseph Shirtz (jshirtz@corus.jnj.com); Mark
                                                                                                                                          Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Beth Sroufe
                                                                                                                                          (bsroufe@eesus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com);
1614   JANSSENBIO‐PL_2‐0001356   Withheld   doc   Suarez, Freddy Jimenez   Attorney‐Client   Johnson & Johnson        Johnson & Johnson   Lisbeth Warren ^ (lwarren@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                   11/2/1999




                                                                                                                                          John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Kenneth Berlin ^
                                                                                                                                          (kberlin@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);
                                                                                                                                          John Crisan (jcrisan@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Harman Grossman
                                                                                                                                          (hgrossm@its.jnj.com); Helen Hohnhorst ^ (hhohnho@corus.jnj.com); Lisa Jenkins ^
                                                                                                                                          (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Emilie
                                                                                                                                          Liberatore (elibera2@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Michael McCulley ^
                                                                                                                                          (mmccull@corus.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
                                                                                                                                          John O'Shaughnessy ^ (joshaug@corus.jnj.com); Ralph Palo ^ (rpalo@corus.jnj.com); Clayton Paterson ^
                                                                                                                                          (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);
                                                                                                                                          Frank Reck (freck@hcsus.jnj.com); Steven Rosenberg ^ (srosenb@its.jnj.com); Sue Seferian ^
                                                                                                                                          (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Joseph Shirtz (jshirtz@corus.jnj.com); Mark
                                                                                                                                          Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Beth Sroufe
                                                                                                                                          (bsroufe@eesus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com);
1615   JANSSENBIO‐PL_2‐0001357   Withheld   doc   Suarez, Freddy Jimenez   Attorney‐Client   Johnson & Johnson        Johnson & Johnson   Lisbeth Warren ^ (lwarren@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                   11/2/1999




                                                                                                                                          John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Kenneth Berlin ^
                                                                                                                                          (kberlin@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);
                                                                                                                                          John Crisan (jcrisan@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Harman Grossman
                                                                                                                                          (hgrossm@its.jnj.com); Helen Hohnhorst ^ (hhohnho@corus.jnj.com); Lisa Jenkins ^
                                                                                                                                          (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Emilie
                                                                                                                                          Liberatore (elibera2@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Michael McCulley ^
                                                                                                                                          (mmccull@corus.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
                                                                                                                                          John O'Shaughnessy ^ (joshaug@corus.jnj.com); Ralph Palo ^ (rpalo@corus.jnj.com); Clayton Paterson ^
                                                                                                                                          (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);
                                                                                                                                          Frank Reck (freck@hcsus.jnj.com); Steven Rosenberg ^ (srosenb@its.jnj.com); Sue Seferian ^
                                                                                                                                          (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Joseph Shirtz (jshirtz@corus.jnj.com); Mark
                                                                                                                                          Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Beth Sroufe
                                                                                                                                          (bsroufe@eesus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com);
1616   JANSSENBIO‐PL_2‐0001358   Withheld   doc   Suarez, Freddy Jimenez   Attorney‐Client   Johnson & Johnson        Johnson & Johnson   Lisbeth Warren ^ (lwarren@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                   11/2/1999




                                                                                                                                          John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Kenneth Berlin ^
                                                                                                                                          (kberlin@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);
                                                                                                                                          John Crisan (jcrisan@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Harman Grossman
                                                                                                                                          (hgrossm@its.jnj.com); Helen Hohnhorst ^ (hhohnho@corus.jnj.com); Lisa Jenkins ^
                                                                                                                                          (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Emilie
                                                                                                                                          Liberatore (elibera2@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Michael McCulley ^
                                                                                                                                          (mmccull@corus.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
                                                                                                                                          John O'Shaughnessy ^ (joshaug@corus.jnj.com); Ralph Palo ^ (rpalo@corus.jnj.com); Clayton Paterson ^
                                                                                                                                          (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);
                                                                                                                                          Frank Reck (freck@hcsus.jnj.com); Steven Rosenberg ^ (srosenb@its.jnj.com); Sue Seferian ^
                                                                                                                                          (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Joseph Shirtz (jshirtz@corus.jnj.com); Mark
                                                                                                                                          Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Beth Sroufe
                                                                                                                                          (bsroufe@eesus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com);
1617   JANSSENBIO‐PL_2‐0001359   Withheld   doc   Suarez, Freddy Jimenez   Attorney‐Client   Johnson & Johnson        Johnson & Johnson   Lisbeth Warren ^ (lwarren@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                   11/2/1999




                                                                                                                                          John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Kenneth Berlin ^
                                                                                                                                          (kberlin@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);
                                                                                                                                          John Crisan (jcrisan@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Harman Grossman
                                                                                                                                          (hgrossm@its.jnj.com); Helen Hohnhorst ^ (hhohnho@corus.jnj.com); Lisa Jenkins ^
                                                                                                                                          (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Emilie
                                                                                                                                          Liberatore (elibera2@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Michael McCulley ^
                                                                                                                                          (mmccull@corus.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
                                                                                                                                          John O'Shaughnessy ^ (joshaug@corus.jnj.com); Ralph Palo ^ (rpalo@corus.jnj.com); Clayton Paterson ^
                                                                                                                                          (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);
                                                                                                                                          Frank Reck (freck@hcsus.jnj.com); Steven Rosenberg ^ (srosenb@its.jnj.com); Sue Seferian ^
                                                                                                                                          (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Joseph Shirtz (jshirtz@corus.jnj.com); Mark
                                                                                                                                          Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Beth Sroufe
                                                                                             Sue Seferian ^                               (bsroufe@eesus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com);
1618   JANSSENBIO‐PL_2‐0001360   Withheld   doc   Suarez, Freddy Jimenez   Attorney‐Client   (sseferia@its.jnj.com)   Johnson & Johnson   Lisbeth Warren ^ (lwarren@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                   11/2/1999




                                                                                                                                                                                                                    52
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 54 of 201



                                                                                                                                                                John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Kenneth Berlin ^
                                                                                                                                                                (kberlin@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);
                                                                                                                                                                John Crisan (jcrisan@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Harman Grossman
                                                                                                                                                                (hgrossm@its.jnj.com); Helen Hohnhorst ^ (hhohnho@corus.jnj.com); Lisa Jenkins ^
                                                                                                                                                                (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Emilie
                                                                                                                                                                Liberatore (elibera2@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Michael McCulley ^
                                                                                                                                                                (mmccull@corus.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
                                                                                                                                                                John O'Shaughnessy ^ (joshaug@corus.jnj.com); Ralph Palo ^ (rpalo@corus.jnj.com); Clayton Paterson ^
                                                                                                                                                                (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);
                                                                                                                                                                Frank Reck (freck@hcsus.jnj.com); Steven Rosenberg ^ (srosenb@its.jnj.com); Sue Seferian ^
                                                                                                                                                                (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Joseph Shirtz (jshirtz@corus.jnj.com); Mark
                                                                                                                                                                Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Beth Sroufe
                                                                                                    Sue Seferian ^                                              (bsroufe@eesus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com);
1619   JANSSENBIO‐PL_2‐0001361   Withheld   doc     Suarez, Freddy Jimenez       Attorney‐Client    (sseferia@its.jnj.com)     Johnson & Johnson                Lisbeth Warren ^ (lwarren@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                                                                                                                                                                       11/2/1999
                                                                                                                                                                                                                                                                                                                                                                                                                                              Presentation providing legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                              Department regarding preparation/review of internal
                                                                                                                               Freddy Jimenez ^                                                                                                                                                                                                                                                                                               training or internal guidance concerning practice
1620   JANSSENBIO‐PL_2‐0001362   Withheld   ppt     Suarez, Freddy Jimenez       Attorney‐Client    Econdurs                   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                              5/1/2000   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                              Presentation providing legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                              Department regarding preparation/review of internal
                                                                                                                               Freddy Jimenez ^                                                                                                                                                                                                                                                                                               training or internal guidance concerning practice
1621   JANSSENBIO‐PL_2‐0001363   Withheld   ppt     Suarez, Freddy Jimenez       Attorney‐Client    Econdurs                   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                              5/1/2000   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                              Presentation providing legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                              Department regarding preparation/review of internal
                                                                                                                               Freddy Jimenez ^                                                                                                                                                                                                                                                                                               training or internal guidance concerning practice
1622   JANSSENBIO‐PL_2‐0001364   Withheld   ppt     Suarez, Freddy Jimenez       Attorney‐Client    Econdurs                   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                              5/1/2000   management or IOI support.
                                                                                                    Ellen Williams
1623   JANSSENBIO‐PL_2‐0001365   Withheld           Suarez, Freddy Jimenez       Attorney‐Client    (ewillia4@ocdus.jnj.com)   J&J Employee                                                                                                                                                                                                                                                                                        5/1/2000
                                                                                                    Ellen Williams
1624   JANSSENBIO‐PL_2‐0001366   Withheld           Suarez, Freddy Jimenez       Attorney‐Client    (ewillia4@ocdus.jnj.com)   J&J Employee                                                                                                                                                                                                                                                                                        5/1/2000
                                                                                                    Ellen Williams             Freddy Jimenez ^
1625   JANSSENBIO‐PL_2‐0001367   Withheld           Suarez, Freddy Jimenez       Attorney‐Client    (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                              5/1/2000
                                                                                                    Ellen Williams             Freddy Jimenez ^
1626   JANSSENBIO‐PL_2‐0001368   Withheld           Suarez, Freddy Jimenez       Attorney‐Client    (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                              5/1/2000
                                                                                                    Ellen Williams             Freddy Jimenez ^
1627   JANSSENBIO‐PL_2‐0001369   Withheld           Suarez, Freddy Jimenez       Attorney‐Client    (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                              5/1/2000
                                                                                                    Ellen Williams             Freddy Jimenez ^
1628   JANSSENBIO‐PL_2‐0001370   Withheld           Suarez, Freddy Jimenez       Attorney‐Client    (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                              5/1/2000
                                                                                                    Ellen Williams             Freddy Jimenez ^
1629   JANSSENBIO‐PL_2‐0001371   Withheld           Suarez, Freddy Jimenez       Attorney‐Client    (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                              5/1/2000
                                                                                                    Ellen Williams             Freddy Jimenez ^
1630   JANSSENBIO‐PL_2‐0001372   Withheld           Suarez, Freddy Jimenez       Attorney‐Client    (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                              5/1/2000
                                                                                                    Ellen Williams             Freddy Jimenez ^
1631   JANSSENBIO‐PL_2‐0001373   Withheld           Suarez, Freddy Jimenez       Attorney‐Client    (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                              5/1/2000

                                                                                                                                                                                                                                                                                                                                                                                                                                              Memorandum providing legal advice from Legal
                                                                                                                               Freddy Jimenez ^                                                                                                                                                                                                                                                                                               Department regarding issues relating to interactions or
1632   JANSSENBIO‐PL_2‐0001374   Withheld   DOC     Suarez, Freddy Jimenez       Attorney‐Client                               (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                              1/6/2003   communications between ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                              counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                                                Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                      internal guidance concerning practice management or IOI
1633   JANSSENBIO‐PL_2‐0001375   Withheld   eMail   Suarez, Freddy Jimenez       Attorney‐Client                                                                (czalesky@its.jnj.com)                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com)          Christopher Zalesky (czalesky@its.jnj.com)                                                         4/12/2002   support.
                                                                                                                               Christopher Zalesky              Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
1634   JANSSENBIO‐PL_2‐0001376   Withheld   ppt     Suarez, Freddy Jimenez       Attorney‐Client    Centocor, Inc.             (czalesky@its.jnj.com)           (czalesky@its.jnj.com)                                                                                                                                                                                                                                            4/12/2002
                                                                                                                                                                Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
1635   JANSSENBIO‐PL_2‐0001377   Withheld           Suarez, Freddy Jimenez       Attorney‐Client                                                                (czalesky@its.jnj.com)                                                                                                                                                                                                                                            4/12/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                                Cheryl Cohen (ccohen3@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Kelley Jewett                                                                                                                                                                                      regarding preparation/review of internal training or
                                                    Suarez, Freddy Jimenez;                                                                                     (kjewett@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky                                                                                                                                                                                         internal guidance concerning practice management or IOI
1636   JANSSENBIO‐PL_2‐0001378   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                                (czalesky@its.jnj.com)                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com)          Christopher Zalesky (czalesky@its.jnj.com)                                                        11/19/2002   support.

                                                                                                                                                                Cheryl Cohen (ccohen3@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Kelley Jewett
                                                    Suarez, Freddy Jimenez;                                                    Christopher Zalesky              (kjewett@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky
1637   JANSSENBIO‐PL_2‐0001379   Withheld   doc     Zalesky, Christopher         Attorney‐Client    Johnson & Johnson          (czalesky@its.jnj.com)           (czalesky@its.jnj.com)                                                                                                                                                                                                                                           11/19/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                              Presentation reflecting legal advice regarding
                                                    Todd, Daryl; Walls,                                                                                                                                                                                                                                                                                                                                                                       preparation/review of internal training or internal
                                                    Michelle; Zalesky,                              Daryl Todd ^               Daryl Todd ^                                                                                                                                                                                                                                                                                                   guidance concerning practice management or IOI
1638   JANSSENBIO‐PL_2‐0001380   Withheld   docx    Christopher                  Attorney‐Client    (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)                                                                                                                                                                                                                                                                               4/21/2015   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                              Memorandum reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                              preparation/review of internal training or internal
                                                    Todd, Daryl; Zalesky,                           Daryl Todd ^               Daryl Todd ^                                                                                                                                                                                                                                                                                                   guidance concerning practice management or IOI
1639   JANSSENBIO‐PL_2‐0001381   Withheld   docx    Christopher                  Attorney‐Client    (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)                                                                                                                                                                                                                                                                               8/31/2012   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                              Memorandum providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                              preparation/review of draft internal training or internal
                                                    Todd, Daryl; Zalesky,                           Daryl Todd ^               Daryl Todd ^                                                                                                                                                                                                                                                                                                   guidance concerning practice management or IOI
1640   JANSSENBIO‐PL_2‐0001382   Withheld   docx    Christopher                  Attorney‐Client    (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)                                                                                                                                                                                                                                                                               7/30/2012   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                              Memorandum reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                              preparation/review of draft internal training or internal
                                                    Todd, Daryl; Zalesky,                           Daryl Todd ^               Daryl Todd ^                                                                                                                                                                                                                                                                                                   guidance concerning practice management or IOI
1641   JANSSENBIO‐PL_2‐0001383   Withheld   docx    Christopher                  Attorney‐Client    (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)                                                                                                                                                                                                                                                                               1/25/2012   support.

                                                                                                                                                                                                                                                                              Bonnie Rodriguez (brodrig5@its.jnj.com); Deidre
                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^                  Meehan ^ (dmeehan5@its.jnj.com); Lori Queisser                                                                                                                  Email with attachment(s) providing legal advice regarding
                                                                                                                                                                (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^                              (lqueisse@its.jnj.com); Lorraine Moccio                                                       Celia Connaire (cconnai3@its.jnj.com); Christopher                preparation/review of internal training or internal
                                                    Giordano, Gina; Meehan,                                                                                     (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);        (lmoccio@its.jnj.com); Shauna Peterson ^                                                      Zalesky (czalesky@its.jnj.com); Gina Giordano                     guidance concerning practice management or IOI
1642   JANSSENBIO‐PL_2‐0001384   Withheld   eMail   Deidre; Zalesky, Christopher Attorney‐Client                                                                Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                 (speter11@its.jnj.com)                          Daryl Todd ^ (dtodd1@its.jnj.com)             (ggiordan@its.jnj.com)                                2/16/2015   support.


                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                    Giordano, Gina; Meehan,                         Daryl Todd ^               Daryl Todd ^                     (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
1643   JANSSENBIO‐PL_2‐0001385   Withheld   doc     Deidre; Zalesky, Christopher Attorney‐Client    (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)             Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                     2/16/2015



                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                    Giordano, Gina; Meehan,                                                                                     (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
1644   JANSSENBIO‐PL_2‐0001386   Withheld   doc     Deidre; Zalesky, Christopher Attorney‐Client                                                                Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                     2/16/2015



                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                    Giordano, Gina; Meehan,                         Daryl Todd ^               Daryl Todd ^                     (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
1645   JANSSENBIO‐PL_2‐0001387   Withheld   docx    Deidre; Zalesky, Christopher Attorney‐Client    (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)             Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                     2/16/2015

                                                                                                                                                                                                                                                                              Bonnie Rodriguez (brodrig5@its.jnj.com); Deidre                                                                                                                 Email with attachment(s) reflecting counsel's request for
                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^                  Meehan ^ (dmeehan5@its.jnj.com); Lori Queisser                                                                                                                  information for the purpose of providing legal advice
                                                                                                                                                                (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^                              (lqueisse@its.jnj.com); Lorraine Moccio                                                       Celia Connaire (cconnai3@its.jnj.com); Christopher                regarding preparation/review of internal training or
                                                    Giordano, Gina; Meehan,                                                                                     (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);        (lmoccio@its.jnj.com); Shauna Peterson ^                                                      Zalesky (czalesky@its.jnj.com); Gina Giordano                     internal guidance concerning practice management or IOI
1646   JANSSENBIO‐PL_2‐0001388   Withheld   eMail   Deidre; Zalesky, Christopher Attorney‐Client                                                                Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                 (speter11@its.jnj.com)                          Daryl Todd ^ (dtodd1@its.jnj.com)             (ggiordan@its.jnj.com)                                2/27/2015   support.



                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                    Giordano, Gina; Meehan,                         Jill Steinberg             Daryl Todd ^                     (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
1647   JANSSENBIO‐PL_2‐0001389   Withheld   pptx    Deidre; Zalesky, Christopher Attorney‐Client    (jsteinb1@its.jnj.com)     (dtodd1@its.jnj.com)             Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                     2/27/2015

                                                                                                                                                                                                                                                                              Bonnie Rodriguez (brodrig5@its.jnj.com); Celia
                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^                  Connaire (cconnai3@its.jnj.com); Deidre Meehan                                                                                                                  Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Bonnie Rodriguez                               ^ (dmeehan5@its.jnj.com); Gina Giordano                                                                                                                         preparation/review of internal training or internal
                                                    Giordano, Gina; Meehan,                                                                                     (brodrig5@its.jnj.com); Renee Scott (rscott27@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);                (ggiordan@its.jnj.com); Lorraine Moccio                                                       Daryl Todd ^ (dtodd1@its.jnj.com); Renee Scott                    guidance concerning practice management or IOI
1648   JANSSENBIO‐PL_2‐0001390   Withheld   eMail   Deidre; Todd, Daryl          Attorney‐Client                                                                Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                        (lmoccio@its.jnj.com)                          Christopher Zalesky (czalesky@its.jnj.com)     (rscott27@its.jnj.com)                                 9/4/2015   support.


                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Bonnie Rodriguez
                                                    Giordano, Gina; Meehan,                         Jill Steinberg             Christopher Zalesky              (brodrig5@its.jnj.com); Renee Scott (rscott27@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
1649   JANSSENBIO‐PL_2‐0001391   Withheld   pptx    Deidre; Todd, Daryl          Attorney‐Client    (jsteinb1@its.jnj.com)     (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                             9/4/2015



                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Bonnie Rodriguez
                                                    Giordano, Gina; Meehan,                                                                                     (brodrig5@its.jnj.com); Renee Scott (rscott27@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
1650   JANSSENBIO‐PL_2‐0001392   Withheld   emz     Deidre; Todd, Daryl          Attorney‐Client                                                                Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                             9/4/2015

                                                                                                                                                                                                                                                                              Bonnie Rodriguez (brodrig5@its.jnj.com); Celia
                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^                  Connaire (cconnai3@its.jnj.com); Daryl Todd ^
                                                                                                                                                                (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^                              (dtodd1@its.jnj.com); Deidre Meehan ^                                                                                                                           Email chain with attachment(s) requesting legal advice
                                                    Giordano, Gina; Meehan,                                                                                     (speter11@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com); Michele Rubincam                             (dmeehan5@its.jnj.com); Lorraine Moccio                                                                                                                         regarding preparation/review of internal training or
                                                    Deidre; Todd, Daryl; Zalesky,                                                                               (mrubinc@its.jnj.com); Renee Scott (rscott27@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);                 (lmoccio@its.jnj.com); Shauna Peterson ^                                                      Christopher Zalesky (czalesky@its.jnj.com); Gina                  internal guidance concerning practice management or IOI
1651   JANSSENBIO‐PL_2‐0001393   Withheld   eMail   Christopher                   Attorney‐Client                                                               Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                        (speter11@its.jnj.com)                           Michele Rubincam (mrubinc@its.jnj.com)       Giordano (ggiordan@its.jnj.com)                       9/15/2015   support.


                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                    Giordano, Gina; Meehan,                                                                                     (speter11@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com); Michele Rubincam
                                                    Deidre; Todd, Daryl; Zalesky,                   Michele Rubincam           Michele Rubincam                 (mrubinc@its.jnj.com); Renee Scott (rscott27@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
1652   JANSSENBIO‐PL_2‐0001394   Withheld   docx    Christopher                   Attorney‐Client   (mrubinc@its.jnj.com)      (mrubinc@its.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                            9/15/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                              regarding preparation/review of internal training or
                                                    Meehan, Deidre; Zalesky,                                                                                      Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky                                                                                                                                                                             internal guidance concerning practice management or IOI
1653   JANSSENBIO‐PL_2‐0001395   Withheld   eMail   Christopher                  Attorney‐Client                                                                  (czalesky@its.jnj.com)                                                                                      Deidre Meehan ^ (dmeehan5@its.jnj.com)           Kristen Brill (kbrill@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)            9/17/2015   support.
                                                    Meehan, Deidre; Zalesky,                                                                                      Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
1654   JANSSENBIO‐PL_2‐0001396   Withheld   doc     Christopher                  Attorney‐Client    Johnson & Johnson          Kristen Brill (kbrill@its.jnj.com) (czalesky@its.jnj.com)                                                                                                                                                                                                                                          9/17/2015
                                                    Meehan, Deidre; Zalesky,                        Kristen Brill                                                 Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
1655   JANSSENBIO‐PL_2‐0001397   Withheld   docx    Christopher                  Attorney‐Client    (kbrill@its.jnj.com)       Kristen Brill (kbrill@its.jnj.com) (czalesky@its.jnj.com)                                                                                                                                                                                                                                          9/17/2015




                                                                                                                                                                                                                                          53
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 55 of 201

                                                                                                                                                                                                                                                                             Cecilia Soriano (csorian1@its.jnj.com); Celia
                                                                                                                                                                                                                                                                             Connaire (cconnai3@its.jnj.com); Chris Tompson
                                                                                                                                                                                                                                                                             (ctompso1@its.jnj.com); David Geary ^
                                                                                                                                                                                                                                                                             (dgeary@its.jnj.com); Diane Francis
                                                                                                                                                                                                                                                                             (dfranci8@its.jnj.com); Dina Given
                                                                                                                                                                                                                                                                             (dgiven@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                             (dbrinckm@its.jnj.com); Jaimi Gaffe
                                                                                                                                                                                                                                                                             (jgaffe@its.jnj.com); Jennifer Haby
                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Thomas Conniff ^               (jhaby@its.jnj.com); Jennifer Soccorsi
                                                                                                                                                              (tconniff@its.jnj.com); Maria Dimoka (mdimoka@its.jnj.com); Diane Francis (dfranci8@its.jnj.com); John         (jsoccors@its.jnj.com); John Franz
                                                                                                                                                              Franz (jfranz@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Dina Given   (jfranz@its.jnj.com); John Russo
                                                                                                                                                              (dgiven@its.jnj.com); Jennifer Haby (jhaby@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Robert       (jrusso10@its.jnj.com); Maria Dimoka                                                                                                                          Email chain with attachment(s) providing information to
                                                                                                                                                              Hoehn ^ (rhoehn@its.jnj.com); Reynaldo Librojo (rlibrojo@its.jnj.com); Deidre Meehan ^                         (mdimoka@its.jnj.com); Reynaldo Librojo                                                     Brian Witte (bwitte4@its.jnj.com); Daryl Todd ^                   counsel for the purpose of receiving legal advice
                                                                                                                                                              (dmeehan5@its.jnj.com); Chin Park (cpark5@its.jnj.com); John Russo (jrusso10@its.jnj.com); Jennifer            (rlibrojo@its.jnj.com); Robert Hoehn ^                                                      (dtodd1@its.jnj.com); Deidre Meehan ^                             regarding preparation/review of internal training or
                                                    Franz, John; Meehan,                                                                                      Soccorsi (jsoccors@its.jnj.com); Cecilia Soriano (csorian1@its.jnj.com); Daryl Todd ^                          (rhoehn@its.jnj.com); Thomas Conniff ^                                                      (dmeehan5@its.jnj.com); Natalie Heidrich                          internal guidance concerning practice management or IOI
1656   JANSSENBIO‐PL_2‐0001398   Withheld   eMail   Deidre; Todd, Daryl           Attorney‐Client                                                             (dtodd1@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Brian Witte (bwitte4@its.jnj.com)                  (tconniff@its.jnj.com)                         Chin Park (cpark5@its.jnj.com)               (nsmith01@its.jnj.com)                                4/11/2014   support.




                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Thomas Conniff ^
                                                                                                                                                              (tconniff@its.jnj.com); Maria Dimoka (mdimoka@its.jnj.com); Diane Francis (dfranci8@its.jnj.com); John
                                                                                                                                                              Franz (jfranz@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Dina Given
                                                                                                                                                              (dgiven@its.jnj.com); Jennifer Haby (jhaby@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Robert
                                                                                                                                                              Hoehn ^ (rhoehn@its.jnj.com); Reynaldo Librojo (rlibrojo@its.jnj.com); Deidre Meehan ^
                                                                                                                                                              (dmeehan5@its.jnj.com); Chin Park (cpark5@its.jnj.com); John Russo (jrusso10@its.jnj.com); Jennifer
                                                    Franz, John; Meehan,                            Sue Seferian ^           Celia Connaire                   Soccorsi (jsoccors@its.jnj.com); Cecilia Soriano (csorian1@its.jnj.com); Daryl Todd ^
1657   JANSSENBIO‐PL_2‐0001399   Withheld   doc     Deidre; Todd, Daryl           Attorney‐Client   (sseferia@its.jnj.com)   (cconnai3@its.jnj.com)           (dtodd1@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Brian Witte (bwitte4@its.jnj.com)                                                                                                                                                                    4/11/2014




                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Thomas Conniff ^
                                                                                                                                                            (tconniff@its.jnj.com); Maria Dimoka (mdimoka@its.jnj.com); Diane Francis (dfranci8@its.jnj.com); John
                                                                                                                                                            Franz (jfranz@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Dina Given
                                                                                                                                                            (dgiven@its.jnj.com); Jennifer Haby (jhaby@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Robert
                                                                                                                                                            Hoehn ^ (rhoehn@its.jnj.com); Reynaldo Librojo (rlibrojo@its.jnj.com); Deidre Meehan ^
                                                                                                                                                            (dmeehan5@its.jnj.com); Chin Park (cpark5@its.jnj.com); John Russo (jrusso10@its.jnj.com); Jennifer
                                                    Franz, John; Meehan,                            Tom Wilson                                              Soccorsi (jsoccors@its.jnj.com); Cecilia Soriano (csorian1@its.jnj.com); Daryl Todd ^
1658   JANSSENBIO‐PL_2‐0001400   Withheld   ppt     Deidre; Todd, Daryl           Attorney‐Client   (twilson@kzgrp.com)      Chin Park (cpark5@its.jnj.com) (dtodd1@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Brian Witte (bwitte4@its.jnj.com)                                                                                                                                                                      4/11/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                           REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
1659   JANSSENBIO‐PL_2‐0001401                                                                                                                                                                                                                                                                                                                                                                                                             2024
                                                                                                                                                                                                                                                                                                                                                                                                                                           REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
1660   JANSSENBIO‐PL_2‐0001402                                                                                                                                                                                                                                                                                                                                                                                                             2024

                                                                                                                                                                                                                                                                                                                                                                                                                                           Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                           counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                           regarding preparation/review of internal training or
                                                    Meehan, Deidre; Todd,                                                                                     Dirk Brinckman ^ (dbrinckm@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Daryl Todd ^                  Daryl Todd ^ (dtodd1@its.jnj.com); Deidre                                                                                                                     internal guidance concerning practice management or IOI
1661   JANSSENBIO‐PL_2‐0001403   Withheld   eMail   Daryl; Zalesky, Christopher   Attorney‐Client                                                             (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                               Meehan ^ (dmeehan5@its.jnj.com)                   Dirk Brinckman ^ (dbrinckm@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)           10/22/2013   support.

                                                    Meehan, Deidre; Todd,                           Daryl Todd ^             Judith Fernandez                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Daryl Todd ^
1662   JANSSENBIO‐PL_2‐0001404   Withheld   docx    Daryl; Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (jfernan9@its.jnj.com)           (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                10/22/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                           Email with attachment(s) providing legal advice regarding
                                                    Meehan, Deidre; Zalesky,                                                                                  Deidre Meehan ^ (dmeehan5@its.jnj.com); Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher              Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                   issues relating to interactions or communications
1663   JANSSENBIO‐PL_2‐0001405   Withheld   eMail   Christopher                   Attorney‐Client                                                             Zalesky (czalesky@its.jnj.com)                                                                                 Tristan Potter‐Strait (tpotter5@its.jnj.com)      Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                          7/16/2015   between ABSs and physician offices.
                                                    Meehan, Deidre; Zalesky,                        Christopher Zalesky      Deidre Meehan ^                  Deidre Meehan ^ (dmeehan5@its.jnj.com); Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher
1664   JANSSENBIO‐PL_2‐0001406   Withheld   doc     Christopher                   Attorney‐Client   (czalesky@its.jnj.com)   (dmeehan5@its.jnj.com)           Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                   7/16/2015
                                                                                                                                                                                                                                                                             Ami Patel ^ (apate124@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                             Zalesky (czalesky@its.jnj.com); Daryl Todd ^
                                                                                                                                                                                                                                                                             (dtodd1@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                             (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                             (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^            (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto                              (mkenned3@its.jnj.com); Mark Sievers ^                                                                                                                        Email with attachment(s) providing information to
                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com);            (msievers@its.jnj.com); Patricia Villani ^                                                                                                                    counsel for the purpose of receiving legal advice
                                                                                                                                                              Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^            (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                     regarding preparation/review of internal training or
                                                    Meehan, Deidre; Todd,                                                                                     (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);        (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                    internal guidance concerning practice management or IOI
1665   JANSSENBIO‐PL_2‐0001407   Withheld   eMail   Daryl; Zalesky, Christopher   Attorney‐Client                                                             Christopher Zalesky (czalesky@its.jnj.com)                                                                     (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)    Terry Kerekgyarto (tkerekgy@its.jnj.com)              9/21/2015   support.



                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com);
                                                                                                                                                              Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Meehan, Deidre; Todd,                           Kristen Brill            Deidre Meehan ^                  (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1666   JANSSENBIO‐PL_2‐0001408   Withheld   docx    Daryl; Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)     (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       9/21/2015



                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com);
                                                                                                                                                              Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Meehan, Deidre; Todd,                                                    Deidre Meehan ^                  (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1667   JANSSENBIO‐PL_2‐0001409   Withheld   doc     Daryl; Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       9/21/2015



                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com);
                                                                                                                                                              Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Meehan, Deidre; Todd,                           Daryl Todd ^             Deidre Meehan ^                  (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1668   JANSSENBIO‐PL_2‐0001410   Withheld   docx    Daryl; Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       9/21/2015



                                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                              (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                              (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com);
                                                                                                                                                              Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Meehan, Deidre; Todd,                           Stephanie Gilson ^       Deidre Meehan ^                  (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1669   JANSSENBIO‐PL_2‐0001411   Withheld   pptx    Daryl; Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)    (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       9/21/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                           Email with attachment(s) requesting legal advice
                                                    Meehan, Deidre; Zalesky,                                                                                    Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky              Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                   regarding preparation/review of customer‐facing practice
1670   JANSSENBIO‐PL_2‐0001412   Withheld   eMail   Christopher                   Attorney‐Client                                                               (czalesky@its.jnj.com)                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com)            Kristen Brill (kbrill@its.jnj.com)                                                              9/29/2015   management or IOI support material.
                                                    Meehan, Deidre; Zalesky,                        Kristen Brill                                               Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
1671   JANSSENBIO‐PL_2‐0001413   Withheld   docx    Christopher                   Attorney‐Client   (kbrill@its.jnj.com)     Kristen Brill (kbrill@its.jnj.com) (czalesky@its.jnj.com)                                                                                                                                                                                                                                         9/29/2015
                                                    Meehan, Deidre; Zalesky,                        Kristen Brill                                               Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
1672   JANSSENBIO‐PL_2‐0001414   Withheld   docx    Christopher                   Attorney‐Client   (kbrill@its.jnj.com)     Kristen Brill (kbrill@its.jnj.com) (czalesky@its.jnj.com)                                                                                                                                                                                                                                         9/29/2015
                                                                                                                                                                                                                                                                             Bonnie Rodriguez (brodrig5@its.jnj.com); Celia
                                                                                                                                                                                                                                                                             Connaire (cconnai3@its.jnj.com); Deidre Meehan
                                                                                                                                                                                                                                                                             ^ (dmeehan5@its.jnj.com); Gina Giordano
                                                                                                                                                              Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^                   (ggiordan@its.jnj.com); Lori Queisser                                                                                                                         Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                              (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^                               (lqueisse@its.jnj.com); Lorraine Moccio                                                                                                                       preparation/review of internal training or internal
                                                    Giordano, Gina; Meehan,                                                                                   (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);         (lmoccio@its.jnj.com); Shauna Peterson ^                                                                                                                      guidance concerning practice management or IOI
1673   JANSSENBIO‐PL_2‐0001415   Withheld   eMail   Deidre                        Attorney‐Client                                                             Daryl Todd ^ (dtodd1@its.jnj.com)                                                                              (speter11@its.jnj.com)                         Daryl Todd ^ (dtodd1@its.jnj.com)                                                                  3/13/2015   support.

                                                                                                                                                              Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                              (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                    Giordano, Gina; Meehan,                         Daryl Todd ^             Daryl Todd ^                     (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
1674   JANSSENBIO‐PL_2‐0001416   Withheld   doc     Deidre                        Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                                3/13/2015

                                                                                                                                                              Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                              (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                    Giordano, Gina; Meehan,                         Daryl Todd ^             Daryl Todd ^                     (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
1675   JANSSENBIO‐PL_2‐0001417   Withheld   doc     Deidre                        Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                                3/13/2015

                                                                                                                                                              Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                              (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                    Giordano, Gina; Meehan,                         Daryl Todd ^             Daryl Todd ^                     (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
1676   JANSSENBIO‐PL_2‐0001418   Withheld   docx    Deidre                        Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                                3/13/2015
                                                                                                                                                                                                                                                                             Bill McKenzie (bmckenzi@its.jnj.com); Bonnie
                                                                                                                                                                                                                                                                             Rodriguez (brodrig5@its.jnj.com); Chris
                                                                                                                                                                                                                                                                             Matteson (cmattes1@its.jnj.com); Dina Given
                                                                                                                                                                                                                                                                             (dgiven@its.jnj.com); Edward Benson
                                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill                       (ebenson5@its.jnj.com); Ibis Stancic
                                                                                                                                                              (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier       (istancic@its.jnj.com); Karen Green                                                                                                                           Email chain with attachment(s) providing information to
                                                                                                                                                              (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);           (kgreen4@its.jnj.com); Lorraine Moccio                                                      Christopher Zalesky (czalesky@its.jnj.com); Deidre                counsel for the purpose of receiving legal advice
                                                                                                                                                              Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Bonnie Rodriguez                (lmoccio@its.jnj.com); Mary Bradley                                                         Meehan ^ (dmeehan5@its.jnj.com); Kristen Brill                    regarding preparation/review of internal training or
                                                    Meehan, Deidre; Zalesky,                                                                                  (brodrig5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com);           (mbradle5@its.jnj.com); Stacey Lallier                                                      (kbrill@its.jnj.com); Michele Rubincam                            internal guidance concerning practice management or IOI
1677   JANSSENBIO‐PL_2‐0001419   Withheld   eMail   Christopher                   Attorney‐Client                                                             Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                         (slallier@its.jnj.com)                            Michele Rubincam (mrubinc@its.jnj.com)    (mrubinc@its.jnj.com)                                10/20/2015   support.




                                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                              (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                              (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                              Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Bonnie Rodriguez
                                                    Meehan, Deidre; Zalesky,                                                 Christopher Zalesky              (brodrig5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com);
1678   JANSSENBIO‐PL_2‐0001420   Withheld   doc     Christopher                   Attorney‐Client   Johnson & Johnson        (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                          10/20/2015




                                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                              (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                              (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                              Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Bonnie Rodriguez
                                                    Meehan, Deidre; Zalesky,                        Rika Ville               Christopher Zalesky              (brodrig5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com);
1679   JANSSENBIO‐PL_2‐0001421   Withheld   pptx    Christopher                   Attorney‐Client   (rdeville@its.jnj.com)   (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                          10/20/2015




                                                                                                                                                                Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                                (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                                (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                                Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Bonnie Rodriguez
                                                    Meehan, Deidre; Zalesky,                                                                                    (brodrig5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com);
1680   JANSSENBIO‐PL_2‐0001422   Withheld   doc     Christopher                   Attorney‐Client   Johnson & Johnson        Kristen Brill (kbrill@its.jnj.com) Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                        10/20/2015




                                                                                                                                                                                                                                         54
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 56 of 201


                                                                                                                                                            Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                            (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                            (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                            Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Bonnie Rodriguez
                                                    Meehan, Deidre; Zalesky,                      Kristen Brill            Michele Rubincam                 (brodrig5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com);
1681   JANSSENBIO‐PL_2‐0001423   Withheld   docx    Christopher                 Attorney‐Client   (kbrill@its.jnj.com)     (mrubinc@its.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                             10/20/2015




                                                                                                                                                            Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                            (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                            (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);                                                                                                                                                                            Email chain with attachment(s) reflecting legal advice
                                                                                                                                                            Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Bonnie Rodriguez                                                                                                       Bonnie Rodriguez (brodrig5@its.jnj.com); Christopher                      regarding preparation/review of internal training or
                                                    Meehan, Deidre; Zalesky,                                                                                (brodrig5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com);                                                                                                  Zalesky (czalesky@its.jnj.com); Deidre Meehan ^                           internal guidance concerning practice management or IOI
1682   JANSSENBIO‐PL_2‐0001424   Withheld   eMail   Christopher                 Attorney‐Client                                                             Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                     Michele Rubincam (mrubinc@its.jnj.com)           Lorraine Moccio (lmoccio@its.jnj.com)     (dmeehan5@its.jnj.com); Kristen Brill (kbrill@its.jnj.com)    11/6/2015   support.




                                                                                                                                                            Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                            (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                            (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                            Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Bonnie Rodriguez
                                                    Meehan, Deidre; Zalesky,                      Kristen Brill            Lorraine Moccio                  (brodrig5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com);
1683   JANSSENBIO‐PL_2‐0001425   Withheld   docx    Christopher                 Attorney‐Client   (kbrill@its.jnj.com)     (lmoccio@its.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                              11/6/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                            Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                            regarding preparation/review of internal training or
                                                    Meehan, Deidre; Zalesky,                                                                                  Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky          Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                          internal guidance concerning practice management or IOI
1684   JANSSENBIO‐PL_2‐0001426   Withheld   eMail   Christopher                 Attorney‐Client                                                               (czalesky@its.jnj.com)                                                                                   Deidre Meehan ^ (dmeehan5@its.jnj.com)           Kristen Brill (kbrill@its.jnj.com)                                                                     11/11/2015   support.
                                                    Meehan, Deidre; Zalesky,                      Christopher Zalesky                                         Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
1685   JANSSENBIO‐PL_2‐0001427   Withheld   doc     Christopher                 Attorney‐Client   (czalesky@its.jnj.com)   Kristen Brill (kbrill@its.jnj.com) (czalesky@its.jnj.com)                                                                                                                                                                                                                                           11/11/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                            preparation/review of internal training or internal
                                                    Meehan, Deidre; Zalesky,                                                                                Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky            Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                          guidance concerning practice management or IOI
1686   JANSSENBIO‐PL_2‐0001428   Withheld   eMail   Christopher                 Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                     Kristen Brill (kbrill@its.jnj.com)               Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                 11/19/2015   support.
                                                    Meehan, Deidre; Zalesky,                      Kristen Brill            Deidre Meehan ^                  Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
1687   JANSSENBIO‐PL_2‐0001429   Withheld   docx    Christopher                 Attorney‐Client   (kbrill@its.jnj.com)     (dmeehan5@its.jnj.com)           (czalesky@its.jnj.com)                                                                                                                                                                                                                                             11/19/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                            Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                            counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                            regarding preparation/review of internal training or
                                                    Meehan, Deidre; Zalesky,                                                                                Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky        Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                          internal guidance concerning practice management or IOI
1688   JANSSENBIO‐PL_2‐0001430   Withheld   eMail   Christopher                 Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                     Deidre Meehan ^ (dmeehan5@its.jnj.com)           Michele Rubincam (mrubinc@its.jnj.com)    Michele Rubincam (mrubinc@its.jnj.com)                       11/25/2015   support.
                                                    Meehan, Deidre; Zalesky,                      Kristen Brill            Michele Rubincam                 Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky
1689   JANSSENBIO‐PL_2‐0001431   Withheld   docx    Christopher                 Attorney‐Client   (kbrill@its.jnj.com)     (mrubinc@its.jnj.com)            (czalesky@its.jnj.com)                                                                                                                                                                                                                                             11/25/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                            Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                            preparation/review of internal training or internal
                                                    Meehan, Deidre; Zalesky,                                                                                Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky                                                                                                                                                                                 guidance concerning practice management or IOI
1690   JANSSENBIO‐PL_2‐0001432   Withheld   eMail   Christopher                 Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                     Kristen Brill (kbrill@its.jnj.com)               Deidre Meehan ^ (dmeehan5@its.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com)                    12/8/2015   support.
                                                    Meehan, Deidre; Zalesky,                      Daryl Todd ^             Shauna Peterson ^                Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
1691   JANSSENBIO‐PL_2‐0001433   Withheld   docx    Christopher                 Attorney‐Client   (dtodd1@its.jnj.com)     (speter11@its.jnj.com)           (czalesky@its.jnj.com)                                                                                                                                                                                                                                              12/8/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                            Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                            regarding preparation/review of internal training or
                                                    Meehan, Deidre; Zalesky,                                                                                  Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky          Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                          internal guidance concerning practice management or IOI
1692   JANSSENBIO‐PL_2‐0001434   Withheld   eMail   Christopher                 Attorney‐Client                                                               (czalesky@its.jnj.com)                                                                                   Deidre Meehan ^ (dmeehan5@its.jnj.com)           Kristen Brill (kbrill@its.jnj.com)                                                                     12/15/2015   support.
                                                    Meehan, Deidre; Zalesky,                      Daryl Todd ^                                                Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
1693   JANSSENBIO‐PL_2‐0001435   Withheld   docx    Christopher                 Attorney‐Client   (dtodd1@its.jnj.com)     Kristen Brill (kbrill@its.jnj.com) (czalesky@its.jnj.com)                                                                                                                                                                                                                                           12/15/2015
                                                    Meehan, Deidre; Zalesky,                      Kristen Brill                                               Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
1694   JANSSENBIO‐PL_2‐0001436   Withheld   docx    Christopher                 Attorney‐Client   (kbrill@its.jnj.com)     Kristen Brill (kbrill@its.jnj.com) (czalesky@its.jnj.com)                                                                                                                                                                                                                                           12/15/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                            Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                            regarding preparation/review of internal training or
                                                    Meehan, Deidre; Zalesky,                                                                                  Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky          Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                          internal guidance concerning practice management or IOI
1695   JANSSENBIO‐PL_2‐0001437   Withheld   eMail   Christopher                 Attorney‐Client                                                               (czalesky@its.jnj.com)                                                                                   Deidre Meehan ^ (dmeehan5@its.jnj.com)           Kristen Brill (kbrill@its.jnj.com)                                                                     12/16/2015   support.
                                                    Meehan, Deidre; Zalesky,                      Kristen Brill                                               Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
1696   JANSSENBIO‐PL_2‐0001438   Withheld   docx    Christopher                 Attorney‐Client   (kbrill@its.jnj.com)     Kristen Brill (kbrill@its.jnj.com) (czalesky@its.jnj.com)                                                                                                                                                                                                                                           12/16/2015
                                                    Meehan, Deidre; Zalesky,                      Kristen Brill                                               Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
1697   JANSSENBIO‐PL_2‐0001439   Withheld   docx    Christopher                 Attorney‐Client   (kbrill@its.jnj.com)     Kristen Brill (kbrill@its.jnj.com) (czalesky@its.jnj.com)                                                                                                                                                                                                                                           12/16/2015
                                                                                                                                                                                                                                                                                                                                                                  Blasine Penkowski (bpenkows@its.jnj.com); Dania
                                                                                                                                                            John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Karin Moore                                                                                                                    Woodring (dwoodri1@its.jnj.com); Frank Sanders                            Email with attachment(s) requesting legal advice
                                                                                                                                                            (kmoore6@its.jnj.com); Blasine Penkowski (bpenkows@its.jnj.com); Frank Sanders                             Daryl Todd ^ (dtodd1@its.jnj.com); Gina                                                    (fsander2@its.jnj.com); Joseph Valeriani                                  regarding preparation/review of internal training or
                                                                                                                                                            (fsander2@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Raj    Giordano (ggiordan@its.jnj.com); Raj Vaswani ^                                             (jvaleri1@its.jnj.com); Karin Moore                                       internal guidance concerning practice management or IOI
1698   JANSSENBIO‐PL_2‐0001440   Withheld   eMail   Giordano, Gina; Todd, Daryl Attorney‐Client                                                             Vaswani ^ (rvaswani@its.jnj.com; Dania Woodring (dwoodri1@its.jnj.com)                                     (rvaswani@its.jnj.com                            John Franz (jfranz@its.jnj.com)           (kmoore6@its.jnj.com)                                         10/8/2015   support.

                                                                                                                                                            John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Karin Moore
                                                                                                                                                            (kmoore6@its.jnj.com); Blasine Penkowski (bpenkows@its.jnj.com); Frank Sanders
                                                                                                  Daryl Todd ^             Chris Tompson                    (fsander2@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Raj
1699   JANSSENBIO‐PL_2‐0001441   Withheld   docx    Giordano, Gina; Todd, Daryl Attorney‐Client   (dtodd1@its.jnj.com)     (ctompso1@its.jnj.com)           Vaswani ^ (rvaswani@its.jnj.com; Dania Woodring (dwoodri1@its.jnj.com)                                                                                                                                                                                              10/8/2015
                                                                                                                                                                                                                                                                       Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                       Todd ^ (dtodd1@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                       (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                       (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Stephanie Gilson ^     (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                            (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^                            (mkenned3@its.jnj.com); Mark Sievers ^                                                                                                                               Email with attachment(s) providing information to
                                                                                                                                                            (mkenned3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^                          (msievers@its.jnj.com); Patricia Villani ^                                                                                                                           counsel for the purpose of receiving legal advice
                                                                                                                                                            (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^                          (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                            regarding preparation/review of internal training or
                                                    Todd, Daryl; Zalesky,                                                                                   (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);    (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                           internal guidance concerning practice management or IOI
1700   JANSSENBIO‐PL_2‐0001442   Withheld   eMail   Christopher                 Attorney‐Client                                                             Christopher Zalesky (czalesky@its.jnj.com)                                                                 (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)   Jessica Empestan ^ (jempesta@its.jnj.com)                     6/26/2015   support.
                                                                                                                                                                                                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                       Brinckman ^ (dbrinckm@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                       Jimenez ^ (fjimene3@its.jnj.com); Joyce ter
                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Stephanie Gilson ^     Heerdt ^ (jtheerdt@jppbe.jnj.com); Maria
                                                                                                                                                            (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^                            Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers
                                                                                                                                                            (mkenned3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^                          ^ (msievers@its.jnj.com); Patricia Villani ^
                                                                                                                                                            (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^                          (pvillan1@its.jnj.com); Shauna Peterson ^
                                                    Todd, Daryl; Zalesky,                                                                                   (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);    (speter11@its.jnj.com); Stephanie Gilson ^
1701   JANSSENBIO‐PL_2‐0001443   Withheld   eMail   Christopher                 Attorney‐Client                                                             Christopher Zalesky (czalesky@its.jnj.com)                                                                 (sgilson@its.jnj.com)                             Daryl Todd ^ (dtodd1@its.jnj.com)                                                                      6/26/2015



                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                            (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                            (mkenned3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                            (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                         Daryl Todd ^             Daryl Todd ^                     (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1702   JANSSENBIO‐PL_2‐0001444   Withheld   doc     Christopher                 Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                          6/26/2015
                                                                                                                                                                                                                                                                       Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                       Todd ^ (dtodd1@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                       (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                       (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^        (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                            (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto                          (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                            (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^                          (msievers@its.jnj.com); Patricia Villani ^                                                                                                                           Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                            (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^                          (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                            preparation/review of internal training or internal
                                                    Todd, Daryl; Zalesky,                                                                                   (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);    (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                           guidance concerning practice management or IOI
1703   JANSSENBIO‐PL_2‐0001445   Withheld   eMail   Christopher                 Attorney‐Client                                                             Christopher Zalesky (czalesky@its.jnj.com)                                                                 (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                 3/23/2015   support.
                                                                                                                                                                                                                                                                       Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                       Todd ^ (dtodd1@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                       (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                       (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^        (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                            (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto                          (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                            (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^                          (msievers@its.jnj.com); Patricia Villani ^
                                                                                                                                                            (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^                          (pvillan1@its.jnj.com); Shauna Peterson ^
                                                    Todd, Daryl; Zalesky,                                                                                   (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);    (speter11@its.jnj.com); Stephanie Gilson ^
1704   JANSSENBIO‐PL_2‐0001446   Withheld   eMail   Christopher                 Attorney‐Client                                                             Christopher Zalesky (czalesky@its.jnj.com)                                                                 (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)   Terry Kerekgyarto (tkerekgy@its.jnj.com)                      3/23/2015



                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                            (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                            (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                            (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                         Deidre Meehan ^          Deidre Meehan ^                  (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1705   JANSSENBIO‐PL_2‐0001447   Withheld   ppt     Christopher                 Attorney‐Client   (dmeehan5@its.jnj.com)   (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                          3/23/2015



                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                            (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                            (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                            (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                         Terry Kerekgyarto        Deidre Meehan ^                  (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1706   JANSSENBIO‐PL_2‐0001448   Withheld   docx    Christopher                 Attorney‐Client   (tkerekgy@its.jnj.com)   (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                          3/23/2015



                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                            (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                            (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                            (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                         Daryl Todd ^             Deidre Meehan ^                  (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1707   JANSSENBIO‐PL_2‐0001449   Withheld   doc     Christopher                 Attorney‐Client   (dtodd1@its.jnj.com)     (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                          3/23/2015



                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                            (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                            (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                            (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                         Daryl Todd ^             Deidre Meehan ^                  (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1708   JANSSENBIO‐PL_2‐0001450   Withheld   doc     Christopher                 Attorney‐Client   (dtodd1@its.jnj.com)     (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                          3/23/2015



                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                            (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                            (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                            (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                         Sue Seferian ^           Deidre Meehan ^                  (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1709   JANSSENBIO‐PL_2‐0001451   Withheld   doc     Christopher                 Attorney‐Client   (sseferia@its.jnj.com)   (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                          3/23/2015



                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                            (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                            (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                            (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                         Stephanie Gilson ^       Deidre Meehan ^                  (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1710   JANSSENBIO‐PL_2‐0001452   Withheld   doc     Christopher                 Attorney‐Client   (sgilson@its.jnj.com)    (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                          3/23/2015




                                                                                                                                                                                                                                      55
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 57 of 201


                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                                                                       (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1711   JANSSENBIO‐PL_2‐0001453   Withheld   pdf     Christopher             Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                        3/23/2015
                                                                                                                                                                                                                                                               Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                               Todd ^ (dtodd1@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                               (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                               (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^            (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto                              (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^                              (msievers@its.jnj.com); Patricia Villani ^                                                                                                                     Email chain with attachment(s) reflecting legal advice
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^                              (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                      regarding preparation/review of internal training or
                                                    Todd, Daryl; Zalesky,                                                                       (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);        (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                     internal guidance concerning practice management or IOI
1712   JANSSENBIO‐PL_2‐0001454   Withheld   eMail   Christopher             Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                     (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)   Terry Kerekgyarto (tkerekgy@its.jnj.com)                3/30/2015   support.



                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Terry Kerekgyarto        Deidre Meehan ^          (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1713   JANSSENBIO‐PL_2‐0001455   Withheld   docx    Christopher             Attorney‐Client   (tkerekgy@its.jnj.com)   (dmeehan5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                        3/30/2015
                                                                                                                                                                                                                                                               Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                               Todd ^ (dtodd1@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                               (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                               (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^            (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto                              (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^                              (msievers@its.jnj.com); Patricia Villani ^                                                                                                                     Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^                              (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                      preparation/review of internal training or internal
                                                    Todd, Daryl; Zalesky,                                                                       (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);        (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                     guidance concerning practice management or IOI
1714   JANSSENBIO‐PL_2‐0001456   Withheld   eMail   Christopher             Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                     (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)   Terry Kerekgyarto (tkerekgy@its.jnj.com)                3/17/2015   support.



                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Deidre Meehan ^          Deidre Meehan ^          (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1715   JANSSENBIO‐PL_2‐0001457   Withheld   ppt     Christopher             Attorney‐Client   (dmeehan5@its.jnj.com)   (dmeehan5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                        3/17/2015



                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Terry Kerekgyarto        Deidre Meehan ^          (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1716   JANSSENBIO‐PL_2‐0001458   Withheld   docx    Christopher             Attorney‐Client   (tkerekgy@its.jnj.com)   (dmeehan5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                        3/17/2015



                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Daryl Todd ^             Deidre Meehan ^          (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1717   JANSSENBIO‐PL_2‐0001459   Withheld   doc     Christopher             Attorney‐Client   (dtodd1@its.jnj.com)     (dmeehan5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                        3/17/2015



                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Daryl Todd ^             Deidre Meehan ^          (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1718   JANSSENBIO‐PL_2‐0001460   Withheld   doc     Christopher             Attorney‐Client   (dtodd1@its.jnj.com)     (dmeehan5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                        3/17/2015



                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Sue Seferian ^           Deidre Meehan ^          (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1719   JANSSENBIO‐PL_2‐0001461   Withheld   doc     Christopher             Attorney‐Client   (sseferia@its.jnj.com)   (dmeehan5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                        3/17/2015



                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Stephanie Gilson ^       Deidre Meehan ^          (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1720   JANSSENBIO‐PL_2‐0001462   Withheld   doc     Christopher             Attorney‐Client   (sgilson@its.jnj.com)    (dmeehan5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                        3/17/2015



                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                                                                       (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1721   JANSSENBIO‐PL_2‐0001463   Withheld   pdf     Christopher             Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                        3/17/2015
                                                                                                                                                                                                                                                               Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                               Todd ^ (dtodd1@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                               (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                               (htorell@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^            (kolsen@its.jnj.com); Maria Kennedy ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^                                (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^                                (msievers@its.jnj.com); Patricia Villani ^                                                                                                                     Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^                              (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                      preparation/review of internal training or internal
                                                    Todd, Daryl; Zalesky,                                                                       (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia   (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                     guidance concerning practice management or IOI
1722   JANSSENBIO‐PL_2‐0001464   Withheld   eMail   Christopher             Attorney‐Client                                                     Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                   (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)   Dirk Brinckman ^ (dbrinckm@its.jnj.com)                 8/11/2014   support.
                                                                                                                                                                                                                                                               Daryl Todd ^ (dtodd1@its.jnj.com); Freddy
                                                                                                                                                                                                                                                               Jimenez ^ (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                               (htorell@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^            (jtheerdt@jppbe.jnj.com); Kenneth Olsen ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^                                (kolsen@its.jnj.com); Maria Kennedy ^
                                                                                                                                                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^                                (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^                              (msievers@its.jnj.com); Patricia Villani ^                                                 Christopher Zalesky (czalesky@its.jnj.com); Dirk
                                                    Todd, Daryl; Zalesky,                                                                       (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia   (pvillan1@its.jnj.com); Stephanie Gilson ^                                                 Brinckman ^ (dbrinckm@its.jnj.com); Shauna Peterson ^
1723   JANSSENBIO‐PL_2‐0001465   Withheld   eMail   Christopher             Attorney‐Client                                                     Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                   (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)   (speter11@its.jnj.com)                                  8/11/2014


                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Sue Seferian ^           Deidre Meehan ^          (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia
1724   JANSSENBIO‐PL_2‐0001466   Withheld   doc     Christopher             Attorney‐Client   (sseferia@its.jnj.com)   (dmeehan5@its.jnj.com)   Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                      8/11/2014



                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                                                                       (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia   Deidre Meehan ^ (dmeehan5@its.jnj.com); Helen
1725   JANSSENBIO‐PL_2‐0001467   Withheld   eMail   Christopher             Attorney‐Client                                                     Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                   Torelli ^ (htorell@its.jnj.com)               Freddy Jimenez ^ (fjimene3@its.jnj.com)      Stephanie Gilson ^ (sgilson@its.jnj.com)                8/11/2014


                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Sue Seferian ^           Freddy Jimenez ^         (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia
1726   JANSSENBIO‐PL_2‐0001468   Withheld   doc     Christopher             Attorney‐Client   (sseferia@its.jnj.com)   (fjimene3@its.jnj.com)   Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                      8/11/2014



                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Sue Seferian ^           Deidre Meehan ^          (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia
1727   JANSSENBIO‐PL_2‐0001469   Withheld   doc     Christopher             Attorney‐Client   (sseferia@its.jnj.com)   (dmeehan5@its.jnj.com)   Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                      8/11/2014
                                                                                                                                                                                                                                                               Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Helen
                                                                                                                                                                                                                                                               Torelli ^ (htorell@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^            (jtheerdt@jppbe.jnj.com); Kenneth Olsen ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^                                (kolsen@its.jnj.com); Maria Kennedy ^
                                                                                                                                                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^                                (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^                              (msievers@its.jnj.com); Patricia Villani ^                                                 Christopher Zalesky (czalesky@its.jnj.com); Dirk
                                                    Todd, Daryl; Zalesky,                                                                       (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia   (pvillan1@its.jnj.com); Stephanie Gilson ^                                                 Brinckman ^ (dbrinckm@its.jnj.com); Shauna Peterson ^
1728   JANSSENBIO‐PL_2‐0001470   Withheld   eMail   Christopher             Attorney‐Client                                                     Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                   (sgilson@its.jnj.com)                               Daryl Todd ^ (dtodd1@its.jnj.com)      (speter11@its.jnj.com)                                  8/11/2014


                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Daryl Todd ^             Daryl Todd ^             (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia
1729   JANSSENBIO‐PL_2‐0001471   Withheld   doc     Christopher             Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)     Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                      8/11/2014



                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
                                                                                                                                                (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                    Todd, Daryl; Zalesky,                     Daryl Todd ^             Daryl Todd ^             (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia
1730   JANSSENBIO‐PL_2‐0001472   Withheld   doc     Christopher             Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)     Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                      8/11/2014




                                                                                                                                                                                                                          56
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 58 of 201


                                                                                                                                                                                                          Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                          (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                          (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
                                                                                                                                                                                                          (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^
                                                                                                        Todd, Daryl; Zalesky,                        Rika Ville                  Daryl Todd ^             (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia
1731   JANSSENBIO‐PL_2‐0001473                                                       Withheld   pptx    Christopher                Attorney‐Client   (rdeville@its.jnj.com)      (dtodd1@its.jnj.com)     Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                               8/11/2014
                                                                                                                                                                                                                                                                                                                         Angela Wood (awood6@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                         Guiton ^ (cguiton@its.jnj.com); Daryl Todd ^
                                                                                                        Franz, John; Guiton,                                                                              Joseph DiGiacomo (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Stephanie Gilson ^                   (dtodd1@its.jnj.com); Kathleen Hamill ^                                                                                                                                 Email chain with attachment(s) requesting legal advice
                                                                                                        Christopher; Hamill,                                                                              (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^                           (khamill@cntus.jnj.com); Perry Knight ^                                                                                                                                 regarding preparation/review of internal training or
                                                                                                        Kathleen; Todd, Daryl;                                                                            (khamill@cntus.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela       (pknight@its.jnj.com); Stephanie Gilson ^                                                       John Franz (jfranz@its.jnj.com); Joseph DiGiacomo                       internal guidance concerning practice management or IOI
1732   JANSSENBIO‐PL_2‐0001474                                                       Withheld   eMail   Wood, Angela               Attorney‐Client                                                        Wood (awood6@its.jnj.com)                                                                                      (sgilson@its.jnj.com)                         Joseph DiGiacomo (jdigiaco@its.jnj.com)           (jdigiaco@its.jnj.com)                                     10/21/2013   support.

                                                                                                        Franz, John; Guiton,                                                                              Joseph DiGiacomo (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Stephanie Gilson ^
                                                                                                        Christopher; Hamill,                                                                              (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                        Kathleen; Todd, Daryl;                       Doug Kennedy                Angela Wood              (khamill@cntus.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela
1733   JANSSENBIO‐PL_2‐0001475                                                       Withheld   pptx    Wood, Angela               Attorney‐Client   (dkenned6@its.jnj.com)      (awood6@its.jnj.com)     Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                 10/21/2013
                                                                                                        Franz, John; Guiton,                                                                                                                                                                                             Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                             Email with attachment(s) requesting legal advice
                                                                                                        Christopher; Hamill,                                                                              Joseph DiGiacomo (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Christopher Guiton ^                 Daryl Todd ^ (dtodd1@its.jnj.com); Kathleen                                                     Angela Wood (awood6@its.jnj.com); John Franz                            regarding preparation/review of internal training or
                                                                                                        Kathleen; Todd, Daryl;                                                                            (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Perry Knight ^ (pknight@its.jnj.com);        Hamill ^ (khamill@cntus.jnj.com); Perry Knight ^                                                (jfranz@its.jnj.com); Joseph DiGiacomo                                  internal guidance concerning practice management or IOI
1734   JANSSENBIO‐PL_2‐0001476                                                       Withheld   eMail   Wood, Angela               Attorney‐Client                                                        Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                            (pknight@its.jnj.com)                              Joseph DiGiacomo (jdigiaco@its.jnj.com)      (jdigiaco@its.jnj.com)                                      9/13/2013   support.
                                                                                                        Franz, John; Guiton,
                                                                                                        Christopher; Hamill,                                                                              Joseph DiGiacomo (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Christopher Guiton ^
                                                                                                        Kathleen; Todd, Daryl;                       Doug Kennedy                Joseph DiGiacomo         (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Perry Knight ^ (pknight@its.jnj.com);
1735   JANSSENBIO‐PL_2‐0001477                                                       Withheld   pptx    Wood, Angela               Attorney‐Client   (dkenned6@its.jnj.com)      (jdigiaco@its.jnj.com)   Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                        9/13/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain reflecting legal advice regarding
                                                                                                                                                                                                          Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); John Franz             Daryl Todd ^ (dtodd1@its.jnj.com); Jennifer De                                                                                                                          preparation/review of internal training or internal
                                                                                                                                                                                                          (jfranz@its.jnj.com); John Franz (jfranz@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Daryl Todd    Camara ^ (jdecamar@corus.jnj.com); John Franz                                                                                                                           guidance concerning practice management or IOI
1736                             JANSSENBIO‐064‐00003180   JANSSENBIO‐064‐00003181   Redacted   eMail   Franz, John; Todd, Daryl   Attorney‐Client                                                        ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                       (jfranz@its.jnj.com)                           Joseph DiGiacomo (jdigiaco@its.jnj.com)          Joseph DiGiacomo (jdigiaco@its.jnj.com)                     1/30/2013   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                        Todd, Daryl; Zalesky,                                                                             Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Daryl Todd ^                   Daryl Todd ^ (dtodd1@its.jnj.com); Michael                                                                                                                              internal guidance concerning practice management or IOI
1737   JANSSENBIO‐PL_2‐0001478                                                       Withheld   eMail   Christopher                Attorney‐Client                                                        (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                               McCulley ^ (mmccull@corus.jnj.com)                 Joy Johnson (jjohns14@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                  3/20/2012   support.

                                                                                                        Todd, Daryl; Zalesky,                        Daryl Todd ^                Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Daryl Todd ^
1738   JANSSENBIO‐PL_2‐0001479                                                       Withheld   doc     Christopher                Attorney‐Client   (dtodd1@its.jnj.com)        (jjohns14@its.jnj.com)   (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                           3/20/2012


                                                                                                                                                                                                          Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                          (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);                                                                                                            Christopher Zalesky (czalesky@its.jnj.com); Daryl Todd ^                Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                          Michael McCulley ^ (mmccull@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^                                                                                                                (dtodd1@its.jnj.com); Helen Torelli ^                                   regarding preparation/review of internal training or
                                                                                                        Todd, Daryl; Zalesky,                                                                             (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);                                                           Michael McCulley ^                           (htorell@its.jnj.com); Stephanie Gilson ^                               internal guidance concerning practice management or IOI
1739   JANSSENBIO‐PL_2‐0001480                                                       Withheld   eMail   Christopher                Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                     Joy Johnson (jjohns14@its.jnj.com)                 (mmccull@corus.jnj.com)                      (sgilson@its.jnj.com)                                        2/8/2012   support.


                                                                                                                                                                                                          Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                          (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                                                                          Michael McCulley ^ (mmccull@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^
                                                                                                        Todd, Daryl; Zalesky,                        Daryl Todd ^                Daryl Todd ^             (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1740   JANSSENBIO‐PL_2‐0001481                                                       Withheld   docx    Christopher                Attorney‐Client   (dtodd1@its.jnj.com)        (dtodd1@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                  2/8/2012

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) providing information to
                                                                                                                                                                                                          Dirk Brinckman ^ (dbrinckm@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson                                                                                                                                                                                          counsel for the purpose of receiving legal advice
                                                                                                                                                                                                          (jjohns14@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                          (mmccull@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);                                                            Michael McCulley ^                                                                                                   internal guidance concerning practice management or IOI
1741   JANSSENBIO‐PL_2‐0001482                                                       Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                        Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                          Joy Johnson (jjohns14@its.jnj.com)                 (mmccull@corus.jnj.com)                      Christopher Zalesky (czalesky@its.jnj.com)                  2/24/2012   support.



                                                                                                                                                                                                          Dirk Brinckman ^ (dbrinckm@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson
                                                                                                                                                                                                          (jjohns14@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^
                                                                                                                                                     Sue Seferian ^              Joy Johnson              (mmccull@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);
1742   JANSSENBIO‐PL_2‐0001483                                                       Withheld   doc     Zalesky, Christopher       Attorney‐Client   (sseferia@its.jnj.com)      (jjohns14@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                      2/24/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                         Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                             counsel for the purpose of receiving legal advice
                                                                                                                                                                                                          Ann Buchan (abuchan@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox                    Jennifer De Camara ^ (jdecamar@corus.jnj.com);                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                          (wfox@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);          Marlene Tandy ^ (mtandy@its.jnj.com); Walter                                                                                                                            internal guidance concerning practice management or IOI
1743   JANSSENBIO‐PL_2‐0001484                                                       Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                        JNJ Conferencing (jnjconferencing@intercall.com); Meeting (meeting@noreply.com)                                Fox (wfox@its.jnj.com)                         Ann Buchan (abuchan@its.jnj.com)                                                                             2/29/2012   support.



                                                                                                                                                                                                          Ann Buchan (abuchan@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox
                                                                                                                                                     Jennifer De Camara ^        Ann Buchan               (wfox@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1744   JANSSENBIO‐PL_2‐0001485                                                       Withheld   docx    Zalesky, Christopher       Attorney‐Client   (jdecamar@corus.jnj.com)    (abuchan@its.jnj.com)    JNJ Conferencing (jnjconferencing@intercall.com); Meeting (meeting@noreply.com)                                                                                                                                                                                            2/29/2012



                                                                                                                                                     Jennifer De Camara ^                                 Ann Buchan (abuchan@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox
                                                                                                                                                     (jennifer_decamara@merck.c Ann Buchan                (wfox@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1745   JANSSENBIO‐PL_2‐0001486                                                       Withheld   pptx    Zalesky, Christopher       Attorney‐Client   om)                        (abuchan@its.jnj.com)     JNJ Conferencing (jnjconferencing@intercall.com); Meeting (meeting@noreply.com)                                                                                                                                                                                            2/29/2012


                                                                                                                                                                                                          Ann Buchan (abuchan@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox
                                                                                                                                                                                                          (wfox@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                             JNJ Conferencing
1746   JANSSENBIO‐PL_2‐0001487                                                       Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                        JNJ Conferencing (jnjconferencing@intercall.com); Meeting (meeting@noreply.com)                                Ann Buchan (abuchan@its.jnj.com)                   (jnjconferencing@intercall.com)                                                                          2/29/2012


                                                                                                                                                                                                          Ann Buchan (abuchan@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox
                                                                                                                                                                                                          (wfox@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1747   JANSSENBIO‐PL_2‐0001488                                                       Withheld           Zalesky, Christopher       Attorney‐Client                                                        JNJ Conferencing (jnjconferencing@intercall.com); Meeting (meeting@noreply.com)                                                                                                                                                                                            2/29/2012



                                                                                                                                                                                                          Ann Buchan (abuchan@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox
                                                                                                                                                     Meeting                                              (wfox@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1748   JANSSENBIO‐PL_2‐0001489                                                       Withheld   ICS     Zalesky, Christopher       Attorney‐Client   (meeting@noreply.com)                                JNJ Conferencing (jnjconferencing@intercall.com); Meeting (meeting@noreply.com)                                                                                                                                                                                            2/29/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
1749   JANSSENBIO‐PL_2‐0001490                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
1750   JANSSENBIO‐PL_2‐0001491                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email communication reflecting request for legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 from Daryl Todd ^ and Michael McCulley ^ regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 preparation of internal training concerning practice
1751                             JANSSENBIO‐064‐00004725   JANSSENBIO‐064‐00004725   Redacted   eMail   Zalesky, Christopher       Attorney‐Client                                                        Judith Fernandez (jfernan9@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                            Judith Fernandez (jfernan9@its.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)                                                                1/5/2012   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Department regarding preparation/review of internal
                                                                                                                                                     Tamara Scoville ^           Christopher Zalesky                                                                                                                                                                                                                                                                                             training or internal guidance concerning practice
1752   JANSSENBIO‐PL_2‐0001492   JANSSENBIO‐064‐00004727   JANSSENBIO‐064‐00004727   Withheld   doc     Zalesky, Christopher       Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Judith Fernandez (jfernan9@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                         1/5/2012   management or IOI support.

                                                                                                                                                                                                          Heidi Carmain (hcarmain@its.jnj.com); Eric Champion (echampio@its.jnj.com); Doris Chern                        Angela Wood (awood6@its.jnj.com); Doris Chern                                                   Christopher Guiton ^ (cguiton@its.jnj.com); Eric                        Email chain with attachment(s) requesting legal advice
                                                                                                        Guiton, Christopher;                                                                              (dchern2@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Fizza Suri (fsuri@its.jnj.com); Michael     (dchern2@its.jnj.com); Fizza Suri                                                               Champion (echampio@its.jnj.com); Heidi Carmain                          regarding preparation/review of customer‐facing practice
1753   JANSSENBIO‐PL_2‐0001493                                                       Withheld   eMail   Wood, Angela               Attorney‐Client                                                        Wolfe (mwolfe2@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                  (fsuri@its.jnj.com)                           Michael Wolfe (mwolfe2@its.jnj.com)               (hcarmain@its.jnj.com)                                      4/23/2013   management or IOI support material.

                                                                                                                                                                                                          Heidi Carmain (hcarmain@its.jnj.com); Eric Champion (echampio@its.jnj.com); Doris Chern
                                                                                                        Guiton, Christopher;                         Anna Maria Acquaviva        Michael Wolfe            (dchern2@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Fizza Suri (fsuri@its.jnj.com); Michael
1754   JANSSENBIO‐PL_2‐0001494                                                       Withheld   pptx    Wood, Angela               Attorney‐Client   (aacqua23@its.jnj.com)      (mwolfe2@its.jnj.com)    Wolfe (mwolfe2@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                              4/23/2013

                                                                                                                                                     Amy Grabowski                                        Heidi Carmain (hcarmain@its.jnj.com); Eric Champion (echampio@its.jnj.com); Doris Chern
                                                                                                        Guiton, Christopher;                         (amy.grabowski@xcenda.com Michael Wolfe              (dchern2@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Fizza Suri (fsuri@its.jnj.com); Michael
1755   JANSSENBIO‐PL_2‐0001495                                                       Withheld   docx    Wood, Angela               Attorney‐Client   )                         (mwolfe2@its.jnj.com)      Wolfe (mwolfe2@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                              4/23/2013

                                                                                                                                                                                                          Heidi Carmain (hcarmain@its.jnj.com); Eric Champion (echampio@its.jnj.com); Doris Chern                        Angela Wood (awood6@its.jnj.com); Doris Chern                                                   Christopher Guiton ^ (cguiton@its.jnj.com); Eric                        Email chain with attachment(s) requesting legal advice
                                                                                                        Guiton, Christopher;                                                                              (dchern2@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Fizza Suri (fsuri@its.jnj.com); Michael     (dchern2@its.jnj.com); Fizza Suri                                                               Champion (echampio@its.jnj.com); Heidi Carmain                          regarding preparation/review of customer‐facing practice
1756   JANSSENBIO‐PL_2‐0001496                                                       Withheld   eMail   Wood, Angela               Attorney‐Client                                                        Wolfe (mwolfe2@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                  (fsuri@its.jnj.com)                           Michael Wolfe (mwolfe2@its.jnj.com)               (hcarmain@its.jnj.com)                                      4/23/2013   management or IOI support material.

                                                                                                                                                                                                          Heidi Carmain (hcarmain@its.jnj.com); Eric Champion (echampio@its.jnj.com); Doris Chern
                                                                                                        Guiton, Christopher;                         Anna Maria Acquaviva        Michael Wolfe            (dchern2@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Fizza Suri (fsuri@its.jnj.com); Michael
1757   JANSSENBIO‐PL_2‐0001497                                                       Withheld   pptx    Wood, Angela               Attorney‐Client   (aacqua23@its.jnj.com)      (mwolfe2@its.jnj.com)    Wolfe (mwolfe2@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                              4/23/2013

                                                                                                                                                     Amy Grabowski                                        Heidi Carmain (hcarmain@its.jnj.com); Eric Champion (echampio@its.jnj.com); Doris Chern
                                                                                                        Guiton, Christopher;                         (amy.grabowski@xcenda.com Michael Wolfe              (dchern2@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Fizza Suri (fsuri@its.jnj.com); Michael
1758   JANSSENBIO‐PL_2‐0001498                                                       Withheld   docx    Wood, Angela               Attorney‐Client   )                         (mwolfe2@its.jnj.com)      Wolfe (mwolfe2@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                              4/23/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                        Franz, John; Guiton,                                                                              John Franz (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Angela Wood                                                                                                                                                                                               internal guidance concerning practice management or IOI
1759   JANSSENBIO‐PL_2‐0001499                                                       Withheld   eMail   Christopher                Attorney‐Client                                                        (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                         Christopher Guiton ^ (cguiton@its.jnj.com)         Angela Wood (awood6@its.jnj.com)             John Franz (jfranz@its.jnj.com)                             5/29/2013   support.
                                                                                                        Franz, John; Guiton,                         Doug Kennedy                Angela Wood              John Franz (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Angela Wood
1760   JANSSENBIO‐PL_2‐0001500                                                       Withheld   pptx    Christopher                Attorney‐Client   (dkenned6@its.jnj.com)      (awood6@its.jnj.com)     (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                     5/29/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
1761   JANSSENBIO‐PL_2‐0001501                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
1762   JANSSENBIO‐PL_2‐0001502                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
1763   JANSSENBIO‐PL_2‐0001503                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                        Guiton, Christopher;                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Angela Wood
1764   JANSSENBIO‐PL_2‐0001504                                                       Withheld   pdf     Wood, Angela               Attorney‐Client                                                        (awood6@its.jnj.com)                                                                                                                                                                                                                                                       7/25/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                         Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                             counsel for the purpose of receiving legal advice
                                                                                                                                                                                                          Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^           Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                             regarding preparation/review of internal training or
                                                                                                        Guiton, Christopher;                                                                              (mmccull@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com);           Michael McCulley ^ (mmccull@corus.jnj.com);                                                                                                                             internal guidance concerning practice management or IOI
1765   JANSSENBIO‐PL_2‐0001505                                                       Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                     Sue Seferian ^ (sseferia@its.jnj.com)              Bruce Colligen (bcollig@its.jnj.com)         Dimple Sodha (dsodha@corus.jnj.com)                         6/12/2008   support.

                                                                                                                                                                                                          Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
                                                                                                        Guiton, Christopher;                                                                              (mmccull@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com);
1766   JANSSENBIO‐PL_2‐0001506                                                       Withheld   DOC     Zalesky, Christopher       Attorney‐Client                               Install                  Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 6/12/2008

                                                                                                                                                                                                          Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
                                                                                                        Guiton, Christopher;                                                                              (mmccull@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com);
1767   JANSSENBIO‐PL_2‐0001507                                                       Withheld   pdf     Zalesky, Christopher       Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 6/12/2008

                                                                                                                                                                                                          Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
                                                                                                        Guiton, Christopher;                         Martha Hull                 Martha Hull              (mmccull@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com);
1768   JANSSENBIO‐PL_2‐0001508                                                       Withheld   doc     Zalesky, Christopher       Attorney‐Client   (mhull@ompus.jnj.com)       (mhull@ompus.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 6/12/2008

                                                                                                                                                                                                          Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
                                                                                                        Guiton, Christopher;                         Bernadette Beck             Martha Hull              (mmccull@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com);
1769   JANSSENBIO‐PL_2‐0001509                                                       Withheld   doc     Zalesky, Christopher       Attorney‐Client   (bbeck@its.jnj.com)         (mhull@ompus.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 6/12/2008




                                                                                                                                                                                                                                                                                    57
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 59 of 201

                                                                                                                                                                                                                                                                Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                                                                                                                                Denise Ragland (draglan1@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                Jimenez ^ (fjimene3@its.jnj.com); George
                                                                                                                                                                                                                                                                Latyszonek (glatysz1@its.jnj.com); Jade Shields
                                                                                                                                                                                                                                                                (jshield1@its.jnj.com); Kris Curry
                                                                                                                                                                                                                                                                (kcurry@janus.jnj.com); Marc Farley
                                                                                                                                                                                                                                                                (mfarley3@its.jnj.com); Michael McCulley ^
                                                                                                                                               Terry Brennan (tbrenna@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Kris Curry                           (mmccull@corus.jnj.com); Monika Rector
                                                                                                                                               (kcurry@janus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);          (mrector@its.jnj.com); Paul Lawrance
                                                                                                                                               Rebecca Hayes (rhayes5@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); George Latyszonek                  (plawran1@its.jnj.com); Rebecca Hayes
                                                                                                                                               (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Michael McCulley ^                                 (rhayes5@its.jnj.com); Rick Cassino                                                                                                                                Email with attachment(s) reflecting legal advice regarding
                                                                                                                                               (mmccull@corus.jnj.com); Denise Ragland (draglan1@its.jnj.com); Monika Rector (mrector@its.jnj.com);             (rcassino@janus.jnj.com); Stephanie Scott                                                                                                                          preparation/review of internal training or internal
                                                    Guiton, Christopher;                                                                       Stephanie Scott (sscott10@its.jnj.com); Jade Shields (jshield1@its.jnj.com); Christopher Zalesky                 (sscott10@its.jnj.com); Terry Brennan                                                                                                                              guidance concerning practice management or IOI
1770   JANSSENBIO‐PL_2‐0001510   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com); WWOHCC&P (wwohccp@corus.jnj.com)                                                         (tbrenna@its.jnj.com)                              WWOHCC&P (wwohccp@corus.jnj.com)                                                                    11/5/2008   support.




                                                                                                                                               Terry Brennan (tbrenna@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Kris Curry
                                                                                                                                               (kcurry@janus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                               Rebecca Hayes (rhayes5@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); George Latyszonek
                                                                                                                                               (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Denise Ragland (draglan1@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                    Guiton, Christopher;                     Christopher Guiton ^     Susan Steele             Stephanie Scott (sscott10@its.jnj.com); Jade Shields (jshield1@its.jnj.com); Christopher Zalesky
1771   JANSSENBIO‐PL_2‐0001511   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (cguiton@its.jnj.com)    (ssteele@its.jnj.com)    (czalesky@its.jnj.com); WWOHCC&P (wwohccp@corus.jnj.com)                                                                                                                                                                                                                11/5/2008




                                                                                                                                               Terry Brennan (tbrenna@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Kris Curry
                                                                                                                                               (kcurry@janus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                               Rebecca Hayes (rhayes5@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); George Latyszonek
                                                                                                                                               (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Denise Ragland (draglan1@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                    Guiton, Christopher;                                                                       Stephanie Scott (sscott10@its.jnj.com); Jade Shields (jshield1@its.jnj.com); Christopher Zalesky
1772   JANSSENBIO‐PL_2‐0001512   Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com); WWOHCC&P (wwohccp@corus.jnj.com)                                                                                                                                                                                                                11/5/2008
                                                                                                                                                                                                                                                                Bernard Plantz (bplantz@its.jnj.com); Brian
                                                                                                                                                                                                                                                                Tomko ^ (btomko@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                Guiton ^ (cguiton@its.jnj.com); Clayton Paterson
                                                                                                                                                                                                                                                                ^ (cpaters@its.jnj.com); Clifford Birge ^
                                                                                                                                                                                                                                                                (cbirge@its.jnj.com); David McIntyre ^
                                                                                                                                               Nimish Amin ^ (namin1@its.jnj.com); Stacey Antar ^ (SAntar@its.jnj.com); Nicholas Antoun ^                       (dmcinty3@its.jnj.com); Deidre Meehan ^
                                                                                                                                               (nantoun@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com);              (dmeehan5@its.jnj.com); Desiree Ralls‐Morrison
                                                                                                                                               Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Joan Cohen ^                  ^ (drallsmo@its.jnj.com); Donna Malin ^
                                                                                                                                               (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Jennifer De Camara ^                        (dmalin@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (jdecamar@corus.jnj.com); Kenneth Dow ^ (kdow2@its.jnj.com); Rob Fletcher ^ (rfletcher@its.jnj.com);             (dclarke3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                               Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Michelle Fried           (eformina@its.jnj.com); Elizabeth Scott ^
                                                                                                                                               ^ (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^                        (egiulian@its.jnj.com); Eric Roth ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); George Januzzi ^                               (eroth@crdus.jnj.com); Eric Schwartz
                                                                                                                                               (gjanuzzi@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);          (eschwar5@its.jnj.com); Frank Stefanelli ^
                                                                                                                                               Michael Kaufman ^ (mkaufma2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); John Kim ^                     (fstefane@its.jnj.com); Freddy Jimenez ^
                                                                                                                                               (jkim8@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Greg           (fjimene3@its.jnj.com); George Januzzi ^
                                                                                                                                               Maloblocki ^ (gmaloblo@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); David McIntyre ^                (gjanuzzi@its.jnj.com); Greg Maloblocki ^
                                                                                                                                               (dmcinty3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Randall Nixon ^ (rnixon@its.jnj.com);            (gmaloblo@its.jnj.com); Helen Torelli ^
                                                                                                                                               Patrick O'Brien ^ (pobrien5@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^             (htorell@its.jnj.com); Isabella Wezdecki ^
                                                                                                                                               (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);            (iwezdeck@its.jnj.com); Jayne Zall ^
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Eric Roth ^ (eroth@crdus.jnj.com); Kimberly Schmidt             (jzall1@its.jnj.com); Jennifer De Camara ^
                                                                                                                                               (kschmid3@its.jnj.com); Eric Schwartz (eschwar5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);          (jdecamar@corus.jnj.com); Joan Cohen ^
                                                                                                                                               Theodore Shatynski ^ (tshatyns@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Terri Soaries ^              (jcohen7@its.jnj.com); John Kim ^
                                                                                                                                               (tsoaries@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Frank Stefanelli ^ (fstefane@its.jnj.com); Marlene        (jkim8@its.jnj.com); John Vaughan ^
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Brian Tomko ^ (btomko@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);         (jvaughan@its.jnj.com); Kathleen Hamill ^
                                                                                                                                               Kristi Travers ^ (ktravers@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com; John Vaughan ^                     (khamill@cntus.jnj.com); Kenneth Dow ^                                                                                                                             Email with attachment(s) reflecting legal advice regarding
                                                                                                                                               (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Todd Volyn ^ (tvolyn@its.jnj.com); Isabella   (kdow2@its.jnj.com); Kenneth Olsen ^                                                                                                                               preparation/review of draft internal training or internal
                                                    Guiton, Christopher;                                                                       Wezdecki ^ (iwezdeck@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky                      (kolsen@its.jnj.com); Kimberly Schmidt                                                                                                                             guidance concerning practice management or IOI
1773   JANSSENBIO‐PL_2‐0001513   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com); Jayne Zall ^ (jzall1@its.jnj.com); WWOHCC&P (wwohccp@corus.jnj.com)                      (kschmid3@its.jnj.com); Kristi Travers ^         WWOHCC&P (wwohccp@corus.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)                11/5/2008   support.




                                                                                                                                               Nimish Amin ^ (namin1@its.jnj.com); Stacey Antar ^ (SAntar@its.jnj.com); Nicholas Antoun ^
                                                                                                                                               (nantoun@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com);
                                                                                                                                               Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Kenneth Dow ^ (kdow2@its.jnj.com); Rob Fletcher ^ (rfletcher@its.jnj.com);
                                                                                                                                               Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Michelle Fried
                                                                                                                                               ^ (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); George Januzzi ^
                                                                                                                                               (gjanuzzi@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Michael Kaufman ^ (mkaufma2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); John Kim ^
                                                                                                                                               (jkim8@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Greg
                                                                                                                                               Maloblocki ^ (gmaloblo@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); David McIntyre ^
                                                                                                                                               (dmcinty3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Randall Nixon ^ (rnixon@its.jnj.com);
                                                                                                                                               Patrick O'Brien ^ (pobrien5@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Eric Roth ^ (eroth@crdus.jnj.com); Kimberly Schmidt
                                                                                                                                               (kschmid3@its.jnj.com); Eric Schwartz (eschwar5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                               Theodore Shatynski ^ (tshatyns@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Terri Soaries ^
                                                                                                                                               (tsoaries@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Frank Stefanelli ^ (fstefane@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Brian Tomko ^ (btomko@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);
                                                                                                                                               Kristi Travers ^ (ktravers@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com; John Vaughan ^
                                                                                                                                               (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Todd Volyn ^ (tvolyn@its.jnj.com); Isabella
                                                    Guiton, Christopher;                     Christopher Guiton ^     Susan Steele             Wezdecki ^ (iwezdeck@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
1774   JANSSENBIO‐PL_2‐0001514   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (cguiton@its.jnj.com)    (ssteele@its.jnj.com)    (czalesky@its.jnj.com); Jayne Zall ^ (jzall1@its.jnj.com); WWOHCC&P (wwohccp@corus.jnj.com)                                                                                                                                                                             11/5/2008




                                                                                                                                               Nimish Amin ^ (namin1@its.jnj.com); Stacey Antar ^ (SAntar@its.jnj.com); Nicholas Antoun ^
                                                                                                                                               (nantoun@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com);
                                                                                                                                               Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Kenneth Dow ^ (kdow2@its.jnj.com); Rob Fletcher ^ (rfletcher@its.jnj.com);
                                                                                                                                               Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Michelle Fried
                                                                                                                                               ^ (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); George Januzzi ^
                                                                                                                                               (gjanuzzi@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Michael Kaufman ^ (mkaufma2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); John Kim ^
                                                                                                                                               (jkim8@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Greg
                                                                                                                                               Maloblocki ^ (gmaloblo@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); David McIntyre ^
                                                                                                                                               (dmcinty3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Randall Nixon ^ (rnixon@its.jnj.com);
                                                                                                                                               Patrick O'Brien ^ (pobrien5@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Eric Roth ^ (eroth@crdus.jnj.com); Kimberly Schmidt
                                                                                                                                               (kschmid3@its.jnj.com); Eric Schwartz (eschwar5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                               Theodore Shatynski ^ (tshatyns@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Terri Soaries ^
                                                                                                                                               (tsoaries@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Frank Stefanelli ^ (fstefane@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Brian Tomko ^ (btomko@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);
                                                                                                                                               Kristi Travers ^ (ktravers@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com; John Vaughan ^
                                                                                                                                               (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Todd Volyn ^ (tvolyn@its.jnj.com); Isabella
                                                    Guiton, Christopher;                                                                       Wezdecki ^ (iwezdeck@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
1775   JANSSENBIO‐PL_2‐0001515   Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com); Jayne Zall ^ (jzall1@its.jnj.com); WWOHCC&P (wwohccp@corus.jnj.com)                                                                                                                                                                             11/5/2008
                                                                                                                                                                                                                                                                                                                                                             Christopher Guiton ^ (cguiton@its.jnj.com); Christopher
                                                                                                                                               Shane Freedman ^ (sfreedman@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Lisa Jenkins ^                                                                                                          Zalesky (czalesky@its.jnj.com); Rosa Son ^                            Email chain with attachment(s) providing legal advice
                                                                                                                                               (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com);       Freddy Jimenez ^ (fjimene3@its.jnj.com); Lisa                                                (rson@its.jnj.com); Shane Freedman ^                                  regarding preparation/review of internal training or
                                                    Guiton, Christopher;                                                                       Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Christopher Zalesky                        Jenkins ^ (ljenkins@its.jnj.com); Mark Sievers ^                                             (sfreedman@its.jnj.com); Terry Kerekgyarto                            internal guidance concerning practice management or IOI
1776   JANSSENBIO‐PL_2‐0001516   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                           (msievers@its.jnj.com)                             Mark Sievers ^ (msievers@its.jnj.com)     (tkerekgy@its.jnj.com)                                    12/9/2008   support.

                                                                                                                                               Shane Freedman ^ (sfreedman@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Lisa Jenkins ^
                                                                                                                                               (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com);
                                                    Guiton, Christopher;                     Sue Seferian ^           Mark Sievers ^           Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Christopher Zalesky
1777   JANSSENBIO‐PL_2‐0001517   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (msievers@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                  12/9/2008
                                                                                                                                                                                                                                                                                                                                                             Frank Konings (fkonings@its.jnj.com); Georgia Keresty
                                                                                                                                                                                                                                                                                                                                                             (gkeresty@its.jnj.com); John Crisan
                                                                                                                                                                                                                                                                                                                                                             (jcrisan@its.jnj.com); Joseph Braunreuther ^
                                                                                                                                               Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Dorothy Clarke ^                                                                                                         (jbraunre@its.jnj.com); Kathy Schroeher ^
                                                                                                                                               (dclarke3@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Marc                                                                                                           (kschroe@corus.jnj.com); Marc Farley
                                                                                                                                               Farley (mfarley3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Georgia Keresty                          Christopher Zalesky (czalesky@its.jnj.com);                                                  (mfarley3@its.jnj.com); Mark Sievers ^
                                                                                                                                               (gkeresty@its.jnj.com); Frank Konings (fkonings@its.jnj.com); Philomena McArthur                                 Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy                                              (msievers@its.jnj.com); Michael Ullmann ^
                                                                                                                                               (pmcarth1@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Sue Seferian ^                                Jimenez ^ (fjimene3@its.jnj.com); Jade Shields                                               (mullman@corus.jnj.com); Nancy Corkum                                 Email chain with attachment(s) providing legal advice
                                                                                                                                               (sseferia@its.jnj.com); Jade Shields (jshield1@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Michael      (jshield1@its.jnj.com); Philomena McArthur                                                   (ncorkum@its.jnj.com); Patricia Villani ^                             regarding preparation/review of internal training or
                                                    Guiton, Christopher;                                                                       Ullmann ^ (mullman@corus.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky                (pmcarth1@its.jnj.com); Sue Seferian ^                                                       (pvillan1@its.jnj.com); Rick Cassino                                  internal guidance concerning practice management or IOI
1778   JANSSENBIO‐PL_2‐0001518   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                           (sseferia@its.jnj.com)                             Freddy Jimenez ^ (fjimene3@its.jnj.com)   (rcassino@janus.jnj.com)                                  4/23/2008   support.



                                                                                                                                               Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Marc
                                                                                                                                               Farley (mfarley3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Georgia Keresty
                                                                                                                                               (gkeresty@its.jnj.com); Frank Konings (fkonings@its.jnj.com); Philomena McArthur
                                                                                                                                               (pmcarth1@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); Jade Shields (jshield1@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Michael
                                                    Guiton, Christopher;                     Sue Seferian ^           Freddy Jimenez ^         Ullmann ^ (mullman@corus.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
1779   JANSSENBIO‐PL_2‐0001519   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (fjimene3@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                  4/23/2008




                                                                                                                                                                                                                          58
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 60 of 201

                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^                                                                                                                                                                                      Email with attachment(s) providing information to
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer                                                                                                                                                                                  counsel for the purpose of receiving legal advice
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                               (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe                                                                                                                                                                                      internal guidance concerning practice management or IOI
1780   JANSSENBIO‐PL_2‐0001520   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                             Christopher Guiton ^ (cguiton@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)   Sue Seferian ^ (sseferia@its.jnj.com)       5/30/2008   support.
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                               (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
1781   JANSSENBIO‐PL_2‐0001521   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                             Christopher Zalesky (czalesky@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                               5/30/2008
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                             Sue Seferian ^           Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
1782   JANSSENBIO‐PL_2‐0001522   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                         5/30/2008
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                             Edward Benson            Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
1783   JANSSENBIO‐PL_2‐0001523   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                         5/30/2008
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                      Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
1784   JANSSENBIO‐PL_2‐0001524   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                         5/30/2008
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels                           Anne McGarraugh (amcgarra@obius.jnj.com);
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes                                   Barry Ferguson (bfergus@mccus.jnj.com); Carol
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell                        Scholz (cscholz1@obius.jnj.com); Chris
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^                        Tompson (ctompso1@its.jnj.com); Christopher
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^                         Zalesky (czalesky@its.jnj.com); Clayton Paterson
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn       ^ (cpaters@its.jnj.com); David Mallegol
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^                (dmalleg@janus.jnj.com); Edward Benson
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);           (ebenson5@its.jnj.com); Elizabeth Snyder ^
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^             (esnyder2@its.jnj.com); Jeff Stewart
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^                              (jstewart@its.jnj.com); Maripat Rhood
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer                          (mrhood@cntus.jnj.com); Michael Chester ^
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden                                (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                               (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe                              (mmccull@corus.jnj.com); Sue Seferian ^
1785   JANSSENBIO‐PL_2‐0001525   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                             (sseferia@its.jnj.com)                             Edward Benson (ebenson5@its.jnj.com)         Kathy Schroeher ^ (kschroe@corus.jnj.com)   5/30/2008




                                                                                                                                                                                                                        59
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 61 of 201

                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                             Edward Benson            Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
1786   JANSSENBIO‐PL_2‐0001526   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh                             Anne McGarraugh (amcgarra@obius.jnj.com);
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels                           Barry Ferguson (bfergus@mccus.jnj.com); Carol
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes                                   Scholz (cscholz1@obius.jnj.com); Chris
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell                        Tompson (ctompso1@its.jnj.com); Christopher
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^                        Zalesky (czalesky@its.jnj.com); Clayton Paterson
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^                         ^ (cpaters@its.jnj.com); David Mallegol
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn       (dmalleg@janus.jnj.com); Donna Barnickel
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^                (dbarnick@its.jnj.com); Edward Benson
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);           (ebenson5@its.jnj.com); Elizabeth Snyder ^
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^             (esnyder2@its.jnj.com); Jeff Stewart
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^                              (jstewart@its.jnj.com); Maripat Rhood
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer                          (mrhood@cntus.jnj.com); Michael Chester ^
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden                                (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                               (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe                              (mmccull@corus.jnj.com); Sue Seferian ^                                                   Joy Johnson (jjohns14@its.jnj.com); Kathy Schroeher ^
1787   JANSSENBIO‐PL_2‐0001527   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                             (sseferia@its.jnj.com)                             Edward Benson (ebenson5@its.jnj.com)   (kschroe@corus.jnj.com)                                 5/30/2008
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                             Sue Seferian ^           Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
1788   JANSSENBIO‐PL_2‐0001528   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                      Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
1789   JANSSENBIO‐PL_2‐0001529   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel              Adrienne Quinn (aquinn3@cntus.jnj.com); Angel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);       Shanholtzer (ashanhol@eesus.jnj.com); Anne
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen              McGarraugh (amcgarra@obius.jnj.com); Barry
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^                           Ferguson (bfergus@mccus.jnj.com); Barry Leece
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont                          (bleece1@its.jnj.com); Beth Johnson
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett                              (bjohnso4@corus.jnj.com); Bill Glaser
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);   (bglaser@its.jnj.com); Bob Snowden
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);   (bsnowde@psmus.jnj.com); Bridget Ikner
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner        (bikner@lfsus.jnj.com); Carmen Sampson
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);     (csampson@its.jnj.com); Carol Scholz
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^                  (cscholz1@obius.jnj.com); Chris Tompson
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);              (ctompso1@its.jnj.com); Christine Cahill
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood                     (ccahill@obius.jnj.com); Christopher Zalesky
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^                          (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh                             (cpaters@its.jnj.com); Craig Powers
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels                           (cpower2@ethus.jnj.com); David Mallegol
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes                                   (dmalleg@janus.jnj.com); Donna Barnickel
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell                        (dbarnick@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^                        (dclarke3@its.jnj.com); Elizabeth Chen
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^                         (echen@ethus.jnj.com); Elizabeth Snyder ^
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn       (esnyder2@its.jnj.com); Francis Reck ^
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^                (freck@its.jnj.com); Freddy Jimenez ^
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);           (fjimene3@its.jnj.com); Gary Goolie
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^             (ggoolie@eesus.jnj.com); Gerry McShane
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^                              (gmcshane@dpyus.jnj.com); Greg DuPont
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer                          (gdupont@dpyus.jnj.com); Jeff Stewart
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden                                (jstewart@its.jnj.com); Jeffrey Werch
                                                                                                                                               (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe                              (jwerch@visus.jnj.com); Jim O'Donnell
1790   JANSSENBIO‐PL_2‐0001530   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                             (jodonnel@indus.jnj.com); Joanne Whiteman          Edward Benson (ebenson5@its.jnj.com)                                                           5/30/2008
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                               (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                               (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                               (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                               Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                               Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                               (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                               (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                               (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                               (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                               Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                               (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                             Edward Benson            Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
1791   JANSSENBIO‐PL_2‐0001531   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008




                                                                                                                                                                                                                        60
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 62 of 201

                                                                                                                                                 Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                                 (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                                 Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                                 (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                 (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                                 (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                                 (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                 Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                                 (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                                 (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                                 Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                 (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                                 (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                 (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                                 (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                 (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                                 (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                                 (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                                 Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                                 (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                                 Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                 (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                 (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer                                                                                                                                                                         Christopher Zalesky (czalesky@its.jnj.com); Freddy
                                                                                                                                                 (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden                                                                               Bill Wladika (bwladika@cntus.jnj.com); Bob                                                      Jimenez ^ (fjimene3@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                 (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe                                                                             Prachar (bprachar@its.jnj.com); Rohan Palekar                                                   (khamill@cntus.jnj.com); Tony Vernon
1792   JANSSENBIO‐PL_2‐0001532   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                            (rpalekar@cntus.jnj.com)                           Julie McHugh (jmchugh2@tibus.jnj.com)        (tvernon@cntus.jnj.com)                                  5/30/2008
                                                                                                                                                 Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                                 (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                                 Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                                 (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                 (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                                 (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                                 (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                 Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                                 (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                                 (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                                 Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                 (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                                 (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                 (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                                 (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                 (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                                 (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                                 (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                                 Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                                 (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                                 Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                 (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                 (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                                 (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                                 (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
1793   JANSSENBIO‐PL_2‐0001533   Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                       (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                                                                                     5/30/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 preparation/review of internal training or internal
                                                                                                                                                 Randy Godard ^ (rgodard@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                           guidance concerning practice management or IOI
1794   JANSSENBIO‐PL_2‐0001534   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com)                                                                                                                                     Randy Godard ^ (rgodard@its.jnj.com)               Christopher Zalesky (czalesky@its.jnj.com)                                                            4/18/2011   support.
                                                                                                                                                 Randy Godard ^ (rgodard@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
1795   JANSSENBIO‐PL_2‐0001535   Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                              4/18/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 preparation/review of internal training or internal
                                                                                                                                                 Helen Torelli ^ (htorell@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                        guidance concerning practice management or IOI
1796   JANSSENBIO‐PL_2‐0001536   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com)                                                                                                                                     Helen Torelli ^ (htorell@its.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)   Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com)             4/28/2011   support.
                                                                                                                                                 Helen Torelli ^ (htorell@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Christopher Zalesky
1797   JANSSENBIO‐PL_2‐0001537   Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                              4/28/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 internal guidance concerning practice management or IOI
1798   JANSSENBIO‐PL_2‐0001538   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       Winston Khoo ^ (wkhoo1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                            Winston Khoo ^ (wkhoo1@its.jnj.com)                Christopher Zalesky (czalesky@its.jnj.com)                                                             4/8/2011   support.

1799   JANSSENBIO‐PL_2‐0001539   Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                       Winston Khoo ^ (wkhoo1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                      4/8/2011
                                                                                                                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Helen
                                                                                                                                                                                                                                                                                                            Torelli ^ (htorell@its.jnj.com); Maria Kennedy ^                                                                                                                     Email with attachment(s) providing information to
                                                                                                                                                 Margaret Commisso (mcommiss@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^                                                         (mkenned3@its.jnj.com); Mark Sievers ^                                                                                                                               counsel for the purpose of receiving legal advice
                                                                                                                                                 (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Mark Sievers ^                                                                         (msievers@its.jnj.com); Michael McCulley ^                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                 (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);                                                  (mmccull@corus.jnj.com); Patricia Villani ^                                                                                                                          internal guidance concerning practice management or IOI
1800   JANSSENBIO‐PL_2‐0001540   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                     (pvillan1@its.jnj.com)                             Christopher Zalesky (czalesky@its.jnj.com)                                                             4/5/2011   support.



                                                                                                                                                 Margaret Commisso (mcommiss@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                 (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Mark Sievers ^
                                                                                             Jennifer De Camara ^       Stephanie Gilson ^       (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
1801   JANSSENBIO‐PL_2‐0001541   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (jdecamar@corus.jnj.com)   (sgilson@its.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                               4/5/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 internal guidance concerning practice management or IOI
1802   JANSSENBIO‐PL_2‐0001542   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       Dirk Brinckman ^ (dbrinckm@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                        Dirk Brinckman ^ (dbrinckm@its.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)                                                            6/20/2011   support.
                                                                                             Christopher Zalesky        Christopher Zalesky
1803   JANSSENBIO‐PL_2‐0001543   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)   Dirk Brinckman ^ (dbrinckm@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 6/20/2011

1804   JANSSENBIO‐PL_2‐0001544   Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                       Dirk Brinckman ^ (dbrinckm@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 6/20/2011

                                                                                                                                                                                                                                                                                                            Gary Fair (gfair1@corus.jnj.com); Kris Curry                                                                                                                         Email chain with attachment(s) providing information to
                                                                                                                                                 Scott Borup (sborup@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Nancy Corkum                                                                     (kcurry@janus.jnj.com); Lesley Fishman                                                                                                                               counsel for the purpose of receiving legal advice
                                                                                                                                                 (ncorkum@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Gary Fair (gfair1@corus.jnj.com); Lesley                                                         (lfishma@its.jnj.com); Nancy Corkum                                                                                                                                  regarding preparation/review of internal training or
                                                                                                                                                 Fishman (lfishma@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Willy Vanbuggenhout ^                                                                     (ncorkum@its.jnj.com); Willy Vanbuggenhout ^                                                    Anthony Brennan (abrenna3@its.jnj.com); Ellen Sipos                  internal guidance concerning practice management or IOI
1805   JANSSENBIO‐PL_2‐0001545   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (wvanbugg@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                         (wvanbugg@its.jnj.com)                             Christopher Zalesky (czalesky@its.jnj.com)   (esipos@its.jnj.com); Scott Borup (sborup@its.jnj.com)   5/24/2011   support.

                                                                                                                                                 Scott Borup (sborup@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Nancy Corkum
                                                                                                                                                 (ncorkum@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Gary Fair (gfair1@corus.jnj.com); Lesley
                                                                                             Rika Ville                                          Fishman (lfishma@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Willy Vanbuggenhout ^
1806   JANSSENBIO‐PL_2‐0001546   Withheld   pdf     Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)                              (wvanbugg@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                  5/24/2011

                                                                                                                                                 Scott Borup (sborup@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Nancy Corkum
                                                                                                                                                 (ncorkum@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Gary Fair (gfair1@corus.jnj.com); Lesley
                                                                                             Rika Ville                                          Fishman (lfishma@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Willy Vanbuggenhout ^
1807   JANSSENBIO‐PL_2‐0001547   Withheld   pdf     Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)                              (wvanbugg@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                  5/24/2011

                                                                                                                                                 Scott Borup (sborup@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Nancy Corkum
                                                                                                                                                 (ncorkum@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Gary Fair (gfair1@corus.jnj.com); Lesley
                                                                                                                                                 Fishman (lfishma@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Willy Vanbuggenhout ^
1808   JANSSENBIO‐PL_2‐0001548   Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                       (wvanbugg@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                  5/24/2011

                                                                                                                                                 Scott Borup (sborup@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Nancy Corkum
                                                                                                                                                 (ncorkum@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Gary Fair (gfair1@corus.jnj.com); Lesley
                                                                                                                                                 Fishman (lfishma@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Willy Vanbuggenhout ^
1809   JANSSENBIO‐PL_2‐0001549   Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                       (wvanbugg@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                  5/24/2011
                                                                                                                                                                                                                                                                                                            Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                                            David Fabbri (dfabbri@its.jnj.com); Eric Monzon
                                                                                                                                                 Melissa Ayers (mayers2@its.jnj.com); Erin Bittenbender (ebittenb@its.jnj.com); Thomas Cornely                                                              (emonzon1@its.jnj.com); Karen Trahan
                                                                                                                                                 (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com);                                                             (ktrahan@its.jnj.com); Kathryn Roberts
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts                                                            (krober10@its.jnj.com); Melissa Ayers                                                                                                                                Email with attachment(s) providing information to
                                                                                                                                                 (krober10@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com);                                                        (mayers2@its.jnj.com); Paul Duncan                                                                                                                                   counsel for the purpose of receiving legal advice
                                                                                                                                                 Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com); CR‐CNTUS H800‐2402 (ch2‐                                                               (pduncan9@its.jnj.com); Thomas Cornely                                                                                                                               regarding issues relating to interactions or
1810   JANSSENBIO‐PL_2‐0001550   Withheld   eMail   Fabbri, David          Attorney‐Client                                                       2402@cntus.jnj.com)                                                                                                                                        (tcornel@its.jnj.com)                              Angela Wood (awood6@its.jnj.com)                                                                       6/4/2013   communications between ABSs and physician offices.


                                                                                                                                                 Melissa Ayers (mayers2@its.jnj.com); Erin Bittenbender (ebittenb@its.jnj.com); Thomas Cornely
                                                                                                                                                 (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com);
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts
                                                                                                                                                 (krober10@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com);
                                                                                             James Knepp                John Monzon              Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com); CR‐CNTUS H800‐2402 (ch2‐
1811   JANSSENBIO‐PL_2‐0001551   Withheld   pptx    Fabbri, David          Attorney‐Client   (jknepp5@its.jnj.com)      (emonzon1@ITS.JNJ.COM)   2402@cntus.jnj.com)                                                                                                                                                                                                                                                                                                  6/4/2013

                                                                                                                                                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                 (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Mark Sievers ^                                                                                                                                                                                                                                              Email chain with attachment(s) providing legal advice
                                                                                                                                                 (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia                                                                                                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                 Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                          Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                          internal guidance concerning practice management or IOI
1812   JANSSENBIO‐PL_2‐0001552   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com)                                                                                                                                     Michael McCulley ^ (mmccull@corus.jnj.com)         Daryl Todd ^ (dtodd1@its.jnj.com)                                                                     5/16/2012   support.

                                                                                                                                                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                 (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Mark Sievers ^
                                                                                                                                                 (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia
                                                                                             Daryl Todd ^               Daryl Todd ^             Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
1813   JANSSENBIO‐PL_2‐0001553   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                              5/16/2012
                                                                                                                                                                                                                                                              Abdul Luheshi (aluheshi@its.jnj.com);
                                                                                                                                                                                                                                                              Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                                                                                                                              Clivetty Martinez (cmarti78@its.jnj.com);
                                                                                                                                                                                                                                                              Dorothy Clarke ^ (dclarke3@its.jnj.com);
                                                                                                                                                                                                                                                              John Crisan (jcrisan@its.jnj.com); Kris Curry                                                                                                                                                                      Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                              (kcurry@janus.jnj.com); Larry Montes                                                                                                                                                                               John Crisan ^ for the purpose of providing legal advice
1814   JANSSENBIO‐PL_2‐0001554   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                (lmontes4@its.jnj.com); Marc Farley           John Crisan (jcrisan@its.jnj.com)                  Christopher Zalesky (czalesky@its.jnj.com)                                                            5/16/2012   regarding internal strategy.
1815   JANSSENBIO‐PL_2‐0001555   Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                       John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                       5/16/2012
                                                                                             Office of Counsel to the
1816   JANSSENBIO‐PL_2‐0001556   Withheld   pdf     Zalesky, Christopher   Attorney‐Client   Inspector General                                   John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                       5/16/2012
                                                                                             Christopher Zalesky        Christopher Zalesky
1817   JANSSENBIO‐PL_2‐0001557   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)   John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                       5/16/2012
                                                                                             Christopher Zalesky        Christopher Zalesky
1818   JANSSENBIO‐PL_2‐0001558   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)   John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                       5/16/2012

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) providing information about
                                                                                                                                                 Kris Curry (kcurry@janus.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Christopher Zalesky                                                              Chris Matteson (cmattes1@its.jnj.com); Kris                                                                                                                          legal advice provided by Daryl Todd ^ and others in the
1819   JANSSENBIO‐PL_2‐0001559   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com)                                                                                                                                     Curry (kcurry@janus.jnj.com)                       Christopher Zalesky (czalesky@its.jnj.com)                                                             5/1/2012   Law Department ^ regarding guidance documents.
                                                                                             Daryl Todd ^               Daryl Todd ^             Kris Curry (kcurry@janus.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Christopher Zalesky
1820   JANSSENBIO‐PL_2‐0001560   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                               5/1/2012

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with draft guidance document attachment(s)
1821   JANSSENBIO‐PL_2‐0001561   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       Brian Kelly (bkelly2@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                              Christopher Zalesky (czalesky@its.jnj.com)         Brian Kelly (bkelly2@its.jnj.com)                                                                     4/28/2005   reflecting legal advice provided by the Law Department ^.




                                                                                                                                                                                                                           61
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 63 of 201

                                                                                                                                                 Christopher Zalesky        Brian Kelly
1822   JANSSENBIO‐PL_2‐0001562                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (bkelly2@its.jnj.com)    Brian Kelly (bkelly2@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                          4/28/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Department regarding preparation/review of internal
                                                                                                                                                 Joseph Metro ^             Freddy Jimenez ^                                                                                                                                                                                                                                                                                            training or internal guidance concerning practice
1823   JANSSENBIO‐PL_2‐0001563   JANSSENBIO‐064‐00004739   JANSSENBIO‐064‐00004739   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (jmetro@reedsmith.com)     (fjimene3@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                          6/8/2005   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with draft guidance document attachment(s)
1824   JANSSENBIO‐PL_2‐0001564                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       Scott Sweeney (ssweeney@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                          Scott Sweeney (ssweeney@corus.jnj.com)             Christopher Zalesky (czalesky@its.jnj.com)                                                               6/7/2005   reflecting legal advice provided by the Law Department ^.
                                                                                                                                                 Joseph Metro ^             Freddy Jimenez ^
1825   JANSSENBIO‐PL_2‐0001565                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (jmetro@reedsmith.com)     (fjimene3@its.jnj.com)   Scott Sweeney (ssweeney@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                      6/7/2005




                                                                                                                                                                                                     Marc Farley (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                     (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Bill Glaser (bglaser@its.jnj.com);
                                                                                                                                                                                                     Brian Kelly (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); David Kurlander
                                                                                                                                                                                                     (dkurland@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Michael
                                                                                                                                                                                                     McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Larry Montes                                                                                                                                                                                           Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                     (lmontes4@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);                                                                                                                                                                             from Legal Department regarding preparation/review of
                                                                                                                                                                                                     Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Kristi Travers ^                Barry Leece (bleece1@its.jnj.com); Michael                                                                                                                             internal training or internal guidance concerning practice
1826   JANSSENBIO‐PL_2‐0001566                                                       Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                       (ktravers@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                          Schoeck (mschoeck@its.jnj.com)                     Brian Kelly (bkelly2@its.jnj.com)                                                                        2/4/2009   management or IOI support.




                                                                                                                                                                                                     Marc Farley (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                     (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Bill Glaser (bglaser@its.jnj.com);
                                                                                                                                                                                                     Brian Kelly (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); David Kurlander
                                                                                                                                                                                                     (dkurland@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Michael
                                                                                                                                                                                                     McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Larry Montes
                                                                                                                                                                                                     (lmontes4@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                                            Deidre Meehan ^          Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Kristi Travers ^
1827   JANSSENBIO‐PL_2‐0001567                                                       Withheld   ppt     Schoeck, Michael       Attorney‐Client                              (dmeehan5@its.jnj.com)   (ktravers@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                      2/4/2009
                                                                                                                                                                                                                                                                                                                                                                                                                 Bonnie Goldmann (bgoldman@prdus.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                                                                 Christopher Zalesky (czalesky@its.jnj.com); Jeff Stewart
                                                                                                                                                                                                                                                                                                                                                                                                                 (jstewart@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                     Michael Chester ^ (mcheste1@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^                                                                                                          (ljenkins@its.jnj.com); Louise Mehrotra                                Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                     (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Louise Mehrotra                                                                                                                            (lmehrot@corus.jnj.com); Michael Chester ^                             regarding preparation/review of internal training or
                                                                                                                                                                                                     (lmehrot@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                   (mcheste1@its.jnj.com); Patrick O'Brien ^                              internal guidance concerning practice management or IOI
1828   JANSSENBIO‐PL_2‐0001568                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       Naoko Fujii (fujii@sciosinc.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com)                                Freddy Jimenez ^ (fjimene3@its.jnj.com)            Naoko Fujii (fujii@sciosinc.com)             (pobrien5@corus.jnj.com)                                   5/27/2005   support.



                                                                                                                                                                                                     Michael Chester ^ (mcheste1@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                     (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Louise Mehrotra
                                                                                                                                                 Joseph Metro ^             Freddy Jimenez ^         (lmehrot@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1829   JANSSENBIO‐PL_2‐0001569                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (jmetro@reedsmith.com)     (fjimene3@its.jnj.com)   Naoko Fujii (fujii@sciosinc.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com)                                                                                                                                                                                           5/27/2005
                                                                                                                                                                                                                                                                                                                 Brian Howell (bhowell@corus.jnj.com);
                                                                                                                                                                                                                                                                                                                 Christopher Zalesky (czalesky@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                                                 Gille (dgille@gcobe.jnj.com); Donna Shiroma ^
                                                                                                                                                                                                                                                                                                                 (dshirom@scius.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                                                                 (fjimene3@its.jnj.com); Jane Wood
                                                                                                                                                                                                                                                                                                                 (jwood30@prdus.jnj.com); Janice Bush
                                                                                                                                                                                                                                                                                                                 (jbush1@its.jnj.com); Karen Dougherty
                                                                                                                                                                                                                                                                                                                 (kdoughe2@cntus.jnj.com); Karen Rivera
                                                                                                                                                                                                                                                                                                                 (krivera2@prdus.jnj.com); Kellie Hitchye
                                                                                                                                                                                                     Pim Bogaers (pbogaers@tibbe.jnj.com); Janice Bush (jbush1@its.jnj.com); Karen Dougherty                     (khitchye@its.jnj.com); Lee Schwartz
                                                                                                                                                                                                     (kdoughe2@cntus.jnj.com); Dirk Gille (dgille@gcobe.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Brian   (LSchwar1@PRDUS.JNJ.COM); Luc Truyen
                                                                                                                                                                                                     Howell (bhowell@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Ronald Manzi                       (ltruyen1@prdus.jnj.com); Michael Schoeck
                                                                                                                                                                                                     (rmanzi@prdus.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Thomas McCafferty                        (mschoeck@its.jnj.com); Philomena McArthur
                                                                                                                                                                                                     (tmccaffe@cntus.jnj.com); Sue Rinne (srinne@alzus.jnj.com); Karen Rivera (krivera2@prdus.jnj.com);          (pmcarth1@its.jnj.com); Pim Bogaers                                                                                                                                    Email with attachment(s) providing information to
                                                                                                                                                                                                     Karen Rivera (krivera2@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz                 (pbogaers@tibbe.jnj.com); Ronald Manzi                                                                                                                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                     (LSchwar1@PRDUS.JNJ.COM); Donna Shiroma ^ (dshirom@scius.jnj.com); Luc Truyen                               (rmanzi@prdus.jnj.com); Sue Rinne                                                                                                                                      regarding preparation/review of draft internal training or
                                                                                                                                                                                                     (ltruyen1@prdus.jnj.com); Jane Wood (jwood30@prdus.jnj.com); Christopher Zalesky                            (srinne@alzus.jnj.com); Thomas McCafferty                                                                                                                              internal guidance concerning practice management or IOI
1830   JANSSENBIO‐PL_2‐0001570                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com)                                                                                      (tmccaffe@cntus.jnj.com)                           Karen Rivera (krivera2@prdus.jnj.com)                                                                   7/27/2006   support.



                                                                                                                                                                                                     Pim Bogaers (pbogaers@tibbe.jnj.com); Janice Bush (jbush1@its.jnj.com); Karen Dougherty
                                                                                                                                                                                                     (kdoughe2@cntus.jnj.com); Dirk Gille (dgille@gcobe.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Brian
                                                                                                                                                                                                     Howell (bhowell@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Ronald Manzi
                                                                                                                                                                                                     (rmanzi@prdus.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Thomas McCafferty
                                                                                                                                                                                                     (tmccaffe@cntus.jnj.com); Sue Rinne (srinne@alzus.jnj.com); Karen Rivera (krivera2@prdus.jnj.com);
                                                                                                                                                                                                     Karen Rivera (krivera2@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                                 Lee Schwartz                                        (LSchwar1@PRDUS.JNJ.COM); Donna Shiroma ^ (dshirom@scius.jnj.com); Luc Truyen
                                                                                                                                                 (LSchwar1@PRDUS.JNJ.COM Lee Schwartz                (ltruyen1@prdus.jnj.com); Jane Wood (jwood30@prdus.jnj.com); Christopher Zalesky
1831   JANSSENBIO‐PL_2‐0001571                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   )                       (LSchwar1@PRDUS.JNJ.COM)    (czalesky@its.jnj.com)                                                                                                                                                                                                                                                 7/27/2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Department regarding preparation/review of internal
                                                                                                                                                 Heidi Carmain              Christopher Zalesky      Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky                                                                                                                                                                                training or internal guidance concerning practice
1832   JANSSENBIO‐PL_2‐0001572   JANSSENBIO‐064‐00002650   JANSSENBIO‐064‐00002650   Withheld   doc     Schoeck, Michael       Attorney‐Client   (hcarmain@its.jnj.com)     (czalesky@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     8/28/2009   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing information to
                                                                                                                                                                                                     Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Kris Curry             Chris Wray ^ (cwray@kslaw.com); Christopher                                                                                                                            counsel for the purpose of receiving legal advice
                                                                                                                                                                                                     (kcurry@janus.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);     Zalesky (czalesky@its.jnj.com); Joseph                                                          Jennifer Bragg ^ (jbragg@kslaw.com); Rick Cassino                      regarding preparation/review of internal training or
                                                                                                                                                                                                     Christopher Zalesky (czalesky@its.jnj.com); Chris Wray ^ (cwray@kslaw.com); Jennifer Bragg ^                Braunreuther ^ (jbraunre@its.jnj.com); Kris Curry                                               (rcassino@janus.jnj.com); Robert Hur ^                                 internal guidance concerning practice management or IOI
1833   JANSSENBIO‐PL_2‐0001573                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (jbragg@kslaw.com); Robert Hur ^ (rhur@kslaw.com)                                                           (kcurry@janus.jnj.com)                            Christopher Zalesky (czalesky@its.jnj.com)    (rhur@kslaw.com); Susan Steele (ssteele@its.jnj.com)       7/12/2007   support.



                                                                                                                                                                                                     Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Kris Curry
                                                                                                                                                                                                     (kcurry@janus.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                 Christopher Zalesky        Christopher Zalesky      Christopher Zalesky (czalesky@its.jnj.com); Chris Wray ^ (cwray@kslaw.com); Jennifer Bragg ^
1834   JANSSENBIO‐PL_2‐0001574                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)   (jbragg@kslaw.com); Robert Hur ^ (rhur@kslaw.com)                                                                                                                                                                                                                      7/12/2007


                                                                                                                                                                                                     Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Kris Curry
                                                                                                                                                                                                     (kcurry@janus.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                 Christopher Zalesky        Christopher Zalesky      Christopher Zalesky (czalesky@its.jnj.com); Chris Wray ^ (cwray@kslaw.com); Jennifer Bragg ^
1835   JANSSENBIO‐PL_2‐0001575                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)   (jbragg@kslaw.com); Robert Hur ^ (rhur@kslaw.com)                                                                                                                                                                                                                      7/12/2007
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
1836                             JANSSENBIO‐064‐00000169                                                                                                                                                                                                                                                                                                                                                                                                                                2024

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                 Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                            regarding preparation/review of internal training or
                                                                                                                                                                                                     Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^              Michael McCulley ^ (mmccull@corus.jnj.com);                                                                                                                            internal guidance concerning practice management or IOI
1837   JANSSENBIO‐PL_2‐0001576                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                          Sue Seferian ^ (sseferia@its.jnj.com)              Joy Johnson (jjohns14@its.jnj.com)                                                                      7/16/2007   support.

                                                                                                                                                                            Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1838   JANSSENBIO‐PL_2‐0001577                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Janssen End Users          (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                 Helen Hohnhorst ^          Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1839   JANSSENBIO‐PL_2‐0001578                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (hhohnho@corus.jnj.com)    (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                 Joy Johnson                Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1840   JANSSENBIO‐PL_2‐0001579                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (jjohns14@its.jnj.com)     (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                                            Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1841   JANSSENBIO‐PL_2‐0001580                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                 Freddy Jimenez ^           Freddy Jimenez ^         Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1842   JANSSENBIO‐PL_2‐0001581                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                 Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                            regarding preparation/review of internal training or
                                                                                                                                                                                                     Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^              Michael McCulley ^ (mmccull@corus.jnj.com);                                                                                                                            internal guidance concerning practice management or IOI
1843   JANSSENBIO‐PL_2‐0001582                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                          Sue Seferian ^ (sseferia@its.jnj.com)              Joy Johnson (jjohns14@its.jnj.com)                                                                      7/16/2007   support.

                                                                                                                                                                            Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1844   JANSSENBIO‐PL_2‐0001583                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                 Freddy Jimenez ^           Freddy Jimenez ^         Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1845   JANSSENBIO‐PL_2‐0001584                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                 Patrick O'Brien ^          Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1846   JANSSENBIO‐PL_2‐0001585                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (pobrien5@corus.jnj.com)   (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                                            Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1847   JANSSENBIO‐PL_2‐0001586                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.             (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                 Tony Dunnigan              Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1848   JANSSENBIO‐PL_2‐0001587                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (meble@prdus.jnj.com)      (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                                            Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1849   JANSSENBIO‐PL_2‐0001588                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Janssen End Users          (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                 Kisha Sims                 Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1850   JANSSENBIO‐PL_2‐0001589                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (ksims1@corus.jnj.com)     (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                 Joy Johnson                Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1851   JANSSENBIO‐PL_2‐0001590                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (jjohns14@its.jnj.com)     (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                 Joy Johnson                Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1852   JANSSENBIO‐PL_2‐0001591                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (jjohns14@its.jnj.com)     (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                 Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                            regarding preparation/review of internal training or
                                                                                                                                                                                                     Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^              Michael McCulley ^ (mmccull@corus.jnj.com);                                                                                                                            internal guidance concerning practice management or IOI
1853   JANSSENBIO‐PL_2‐0001592                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                          Sue Seferian ^ (sseferia@its.jnj.com)              Joy Johnson (jjohns14@its.jnj.com)                                                                      7/16/2007   support.

                                                                                                                                                                            Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1854   JANSSENBIO‐PL_2‐0001593                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                 Freddy Jimenez ^           Freddy Jimenez ^         Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1855   JANSSENBIO‐PL_2‐0001594                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                                            Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1856   JANSSENBIO‐PL_2‐0001595                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.             (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                                                                     Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1857   JANSSENBIO‐PL_2‐0001596                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   J&J Employee             (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007

                                                                                                                                                 Ellen Williams                                      Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1858   JANSSENBIO‐PL_2‐0001597                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (ewillia4@ocdus.jnj.com)   J&J Employee             (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     7/16/2007




                                                                                                                                                                                                                                                                               62
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 64 of 201


                                                                                             Ellen Williams                                      Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1859   JANSSENBIO‐PL_2‐0001598   Withheld           Zalesky, Christopher   Attorney‐Client   (ewillia4@ocdus.jnj.com)   J&J Employee             (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1860   JANSSENBIO‐PL_2‐0001599   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   J&J Employee             (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1861   JANSSENBIO‐PL_2‐0001600   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   J&J Employee             (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
1862   JANSSENBIO‐PL_2‐0001601   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   J&J Employee             (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               7/16/2007

                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting legal advice
                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^                                                                                                                                                               from Legal Department regarding preparation/review of
                                                                                                                                                 (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                      internal training or internal guidance concerning practice
1863   JANSSENBIO‐PL_2‐0001602   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       Christopher Zalesky (czalesky@its.jnj.com)                                                                Susan Steele (ssteele@its.jnj.com)               Christopher Zalesky (czalesky@its.jnj.com)                                            7/16/2007   management or IOI support.

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                        Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1864   JANSSENBIO‐PL_2‐0001603   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Janssen End Users          (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Helen Hohnhorst ^          Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1865   JANSSENBIO‐PL_2‐0001604   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (hhohnho@corus.jnj.com)    (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Joy Johnson                Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1866   JANSSENBIO‐PL_2‐0001605   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (jjohns14@its.jnj.com)     (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                        Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1867   JANSSENBIO‐PL_2‐0001606   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Freddy Jimenez ^           Freddy Jimenez ^         (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1868   JANSSENBIO‐PL_2‐0001607   Withheld           Zalesky, Christopher   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting legal advice
                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^                                                                                                                                                               from Legal Department regarding preparation/review of
                                                                                                                                                 (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                      internal training or internal guidance concerning practice
1869   JANSSENBIO‐PL_2‐0001608   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       Christopher Zalesky (czalesky@its.jnj.com)                                                                Susan Steele (ssteele@its.jnj.com)               Christopher Zalesky (czalesky@its.jnj.com)                                            7/16/2007   management or IOI support.

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                        Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1870   JANSSENBIO‐PL_2‐0001609   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Freddy Jimenez ^           Freddy Jimenez ^         (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1871   JANSSENBIO‐PL_2‐0001610   Withheld           Zalesky, Christopher   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Patrick O'Brien ^          Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1872   JANSSENBIO‐PL_2‐0001611   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (pobrien5@corus.jnj.com)   (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                        Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1873   JANSSENBIO‐PL_2‐0001612   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.             (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Tony Dunnigan              Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1874   JANSSENBIO‐PL_2‐0001613   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (meble@prdus.jnj.com)      (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                        Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1875   JANSSENBIO‐PL_2‐0001614   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Janssen End Users          (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Kisha Sims                 Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1876   JANSSENBIO‐PL_2‐0001615   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (ksims1@corus.jnj.com)     (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Joy Johnson                Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1877   JANSSENBIO‐PL_2‐0001616   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (jjohns14@its.jnj.com)     (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Joy Johnson                Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1878   JANSSENBIO‐PL_2‐0001617   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (jjohns14@its.jnj.com)     (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting legal advice
                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^                                                                                                                                                               from Legal Department regarding preparation/review of
                                                                                                                                                 (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                      internal training or internal guidance concerning practice
1879   JANSSENBIO‐PL_2‐0001618   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       Christopher Zalesky (czalesky@its.jnj.com)                                                                Susan Steele (ssteele@its.jnj.com)               Christopher Zalesky (czalesky@its.jnj.com)                                            7/16/2007   management or IOI support.

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                        Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1880   JANSSENBIO‐PL_2‐0001619   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Freddy Jimenez ^           Freddy Jimenez ^         (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1881   JANSSENBIO‐PL_2‐0001620   Withheld           Zalesky, Christopher   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                        Joy Johnson              (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1882   JANSSENBIO‐PL_2‐0001621   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.             (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                                                 (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1883   JANSSENBIO‐PL_2‐0001622   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   J&J Employee             Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Ellen Williams                                      (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1884   JANSSENBIO‐PL_2‐0001623   Withheld           Zalesky, Christopher   Attorney‐Client   (ewillia4@ocdus.jnj.com)   J&J Employee             Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                             Ellen Williams                                      (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1885   JANSSENBIO‐PL_2‐0001624   Withheld           Zalesky, Christopher   Attorney‐Client   (ewillia4@ocdus.jnj.com)   J&J Employee             Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                                                 (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1886   JANSSENBIO‐PL_2‐0001625   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   J&J Employee             Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                                                 (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1887   JANSSENBIO‐PL_2‐0001626   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   J&J Employee             Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007

                                                                                                                                                 Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                                                 (sseferia@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1888   JANSSENBIO‐PL_2‐0001627   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                   J&J Employee             Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/16/2007
                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting request for
                                                                                                                                                 Dave Bourdeau (dbourdea@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^                                                                                                                                                              legal advice from Legal Department regarding
                                                                                                                                                 (eformina@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Susan                                                                                                                                                       preparation/review of internal training or internal
                                                                                                                                                 Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                guidance concerning practice management or IOI
1889   JANSSENBIO‐PL_2‐0001628   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com)                                                                                    Susan Steele (ssteele@its.jnj.com)               Christopher Zalesky (czalesky@its.jnj.com)   David Kurlander (dkurland@its.jnj.com)   8/19/2008   support.

                                                                                                                                                 Dave Bourdeau (dbourdea@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Susan
                                                                                             Ibis Lopez                 David Kurlander          Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
1890   JANSSENBIO‐PL_2‐0001629   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (ilopez@its.jnj.com)       (dkurland@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                           8/19/2008

                                                                                                                                                 Dave Bourdeau (dbourdea@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Susan
                                                                                             Sue Seferian ^             Phyllis Woodford         Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
1891   JANSSENBIO‐PL_2‐0001630   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)     (pwoodfor@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                           8/19/2008

                                                                                                                                                 Dave Bourdeau (dbourdea@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Susan
                                                                                                                                                 Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
1892   JANSSENBIO‐PL_2‐0001631   Withheld   pdf     Zalesky, Christopher   Attorney‐Client   Dharrison                                           (czalesky@its.jnj.com)                                                                                                                                                                                                                           8/19/2008

                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) providing information to
                                                                                                                                                 Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes                                                                                                                                                                    counsel for the purpose of receiving legal advice
                                                                                                                                                 (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);           Christopher Zalesky (czalesky@its.jnj.com); Larry                                                                                                  regarding preparation/review of internal training or
                                                                                                                                                 Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky                  Montes (lmontes4@its.jnj.com); Stephanie                                                                                                           internal guidance concerning practice management or IOI
1893   JANSSENBIO‐PL_2‐0001632   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                        Gilson ^ (sgilson@its.jnj.com)                    Maria Perez (mperez6@its.jnj.com)                                                    7/20/2010   support.

                                                                                                                                                 Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                 (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                 Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1894   JANSSENBIO‐PL_2‐0001633   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                        Maria Perez (mperez6@its.jnj.com)                Monika Rector (mrector@its.jnj.com)                                                   7/20/2010

                                                                                                                                                 Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                 (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                        Monika Rector            Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1895   JANSSENBIO‐PL_2‐0001634   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Cynda Koehler              (mrector@its.jnj.com)    (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               7/20/2010

                                                                                                                                                 Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes                                                                                                                                                                    Email chain with attachment(s) providing information to
                                                                                                                                                 (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);                                                                                                                                                              counsel for the purpose of receiving legal advice
                                                                                                                                                 Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky                  Christopher Zalesky (czalesky@its.jnj.com);                                                                                                        regarding issues relating to lawfulness of practice
1896   JANSSENBIO‐PL_2‐0001635   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                        Stephanie Gilson ^ (sgilson@its.jnj.com)         Maria Perez (mperez6@its.jnj.com)            Larry Montes (lmontes4@its.jnj.com)      7/20/2010   management or IOI support services.

                                                                                                                                                 Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                 (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                 Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1897   JANSSENBIO‐PL_2‐0001636   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                        Maria Perez (mperez6@its.jnj.com)                Monika Rector (mrector@its.jnj.com)                                                   7/20/2010

                                                                                                                                                 Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                 (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                        Monika Rector            Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1898   JANSSENBIO‐PL_2‐0001637   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Cynda Koehler              (mrector@its.jnj.com)    (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               7/20/2010




                                                                                                                                                                                                                           63
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 65 of 201


                                                                                                                                                                                                       Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                       (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                                                       Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1899   JANSSENBIO‐PL_2‐0001638                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                              Maria Perez (mperez6@its.jnj.com)                Monika Rector (mrector@its.jnj.com)                                                                     7/20/2010

                                                                                                                                                                                                       Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                       (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                            Monika Rector              Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1900   JANSSENBIO‐PL_2‐0001639                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Cynda Koehler              (mrector@its.jnj.com)      (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/20/2010

                                                                                                                                                                                                       Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                       (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                                                       Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1901   JANSSENBIO‐PL_2‐0001640                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                              Maria Perez (mperez6@its.jnj.com)                Monika Rector (mrector@its.jnj.com)                                                                     7/20/2010

                                                                                                                                                                                                       Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                       (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                            Monika Rector              Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1902   JANSSENBIO‐PL_2‐0001641                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Cynda Koehler              (mrector@its.jnj.com)      (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       7/20/2010

                                                                                                                                                                                                       Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes                                                                                                                                                                                            Email chain with attachment(s) providing information to
                                                                                                                                                                                                       (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Simone Ross ^ (sross@cov.com); Chris                                                                                                                                                                                      counsel for the purpose of receiving legal advice
                                                                                                                                                                                                       Tompson (ctompso1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                 Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                          regarding issues relating to lawfulness of practice
1903   JANSSENBIO‐PL_2‐0001642                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com)                                                                                          Stephanie Gilson ^ (sgilson@its.jnj.com)         Maria Perez (mperez6@its.jnj.com)            Larry Montes (lmontes4@its.jnj.com)                        7/20/2010   management or IOI support services.

                                                                                                                                                                                                       Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                       (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Simone Ross ^ (sross@cov.com); Chris
                                                                                                                                                 Jannyna Rios               Avis Goode                 Tompson (ctompso1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
1904   JANSSENBIO‐PL_2‐0001643                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (jrios5@its.jnj.com)       (agoode@its.jnj.com)       (czalesky@its.jnj.com)                                                                                                                                                                                                                                                   7/20/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^                                                                                                                    Chris Matteson (cmattes1@its.jnj.com); Christopher                     Email chain with attachment(s) providing information to
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris                                                                                                          Zalesky (czalesky@its.jnj.com); Gary Fair                              counsel for the purpose of receiving legal advice
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky                                                                                                                           (gfair1@corus.jnj.com); Jeffrey Antoon                                 regarding preparation/review of internal training or
                                                                                                                                                                                                       (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements                                 Simone Ross ^ (sross@cov.com); Stephanie                                                      (jantoon@its.jnj.com); Vanessa Lum                                     internal guidance concerning practice management or IOI
1905   JANSSENBIO‐PL_2‐0001644                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (hqannoun2@corus.jnj.com)                                                                                       Gilson ^ (sgilson@its.jnj.com)                   Stacey Lallier (slallier@its.jnj.com)        (vlum1@its.jnj.com)                                        7/19/2010   support.

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                 Stacey Lallier             Stacey Lallier             (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1906   JANSSENBIO‐PL_2‐0001645                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (slallier@its.jnj.com)     (slallier@its.jnj.com)     (hqannoun2@corus.jnj.com)                                                                                                                                                                                                                                                7/19/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                                                                       (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1907   JANSSENBIO‐PL_2‐0001646                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                         (hqannoun2@corus.jnj.com)                                                                                                                                                                                                                                                7/19/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                                                                       (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1908   JANSSENBIO‐PL_2‐0001647                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                         (hqannoun2@corus.jnj.com)                                                                                                                                                                                                                                                7/19/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                                                                       (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1909   JANSSENBIO‐PL_2‐0001648                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                         (hqannoun2@corus.jnj.com)                                                                                                                                                                                                                                                7/19/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                                                                       (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1910   JANSSENBIO‐PL_2‐0001649                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                         (hqannoun2@corus.jnj.com)                                                                                                                                                                                                                                                7/19/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                                                                       (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1911   JANSSENBIO‐PL_2‐0001650                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                         (hqannoun2@corus.jnj.com)                                                                                                                                                                                                                                                7/19/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                 Freddy Jimenez ^           Stacey Lallier             (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1912   JANSSENBIO‐PL_2‐0001651                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (fjimene3@its.jnj.com)     (slallier@its.jnj.com)     (hqannoun2@corus.jnj.com)                                                                                                                                                                                                                                                7/19/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                 Cassandra Kelly            Stacey Lallier             (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1913   JANSSENBIO‐PL_2‐0001652                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (ckelly14@its.jnj.com)     (slallier@its.jnj.com)     (hqannoun2@corus.jnj.com)                                                                                                                                                                                                                                                7/19/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                                                                       (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1914   JANSSENBIO‐PL_2‐0001653                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (hqannoun2@corus.jnj.com)                                                                                       DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com)                                                                                                                    7/19/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                 Stacey Lallier             Stacey Lallier             (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1915   JANSSENBIO‐PL_2‐0001654                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (slallier@its.jnj.com)     (slallier@its.jnj.com)     (hqannoun2@corus.jnj.com)                                                                                                                                                                                                                                                7/19/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                 Jonathan Durso                                        (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1916   JANSSENBIO‐PL_2‐0001655                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client   (JDurso@CORUS.JNJ.com)                                (hqannoun2@corus.jnj.com)                                                                                                                                                                                                                                                7/19/2010

                                                                                                                                                                                                       Jeffrey Antoon (jantoon@its.jnj.com); Gary Fair (gfair1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Chris
                                                                                                                                                                                                       Matteson (cmattes1@its.jnj.com); Simone Ross ^ (sross@cov.com); Christopher Zalesky
                                                                                                                                                                            Stacey Lallier             (czalesky@its.jnj.com); DL‐JJCUSNB (dl‐jjcusnb@corus.jnj.com); HQ Announcements
1917   JANSSENBIO‐PL_2‐0001656                                                       Withheld   xls     Zalesky, Christopher   Attorney‐Client   Treichlm                   (slallier@its.jnj.com)     (hqannoun2@corus.jnj.com)                                                                                                                                                                                                                                                7/19/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Email chain reflecting legal advice from John Vaughan ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            and the Law Department ^ regarding preparation of
                                                                                                                                                                                                       Roger Kung (rkung@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com);            Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe                                                                                                                       customer‐facing practice management or IOI support
1918                             JANSSENBIO‐064‐00002531   JANSSENBIO‐064‐00002534   Redacted   eMail   Sadeq, Faiz            Attorney‐Client                                                         Faiz Sadeq (fsadeq@its.jnj.com); Michelle Turk (mturk@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)         (mwolfe2@its.jnj.com)                            Michelle Turk (mturk@its.jnj.com)                                                                       3/28/2012   material.
                                                                                                                                                                                                                                                                                                                                                                                                                     Christopher Zalesky (czalesky@its.jnj.com); Mark Sievers
                                                                                                                                                                                                                                                                                                                                                                                                                     ^ (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                                                       Jennifer De Camara ^ (jdecamar@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael                                                                                                               (mtandy@its.jnj.com); Michael McCulley ^                               Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                       McCulley ^ (mmccull@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Sue Seferian ^                                                                                                                (mmccull@corus.jnj.com); Patrick O'Brien ^                             regarding preparation/review of internal training or
                                                                                                                                                                                                       (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com);                                                             Jennifer De Camara ^                         (pobrien5@corus.jnj.com); Sue Seferian ^                               internal guidance concerning practice management or IOI
1919   JANSSENBIO‐PL_2‐0001657                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         Christopher Zalesky (czalesky@its.jnj.com)                                                                      Freddy Jimenez ^ (fjimene3@its.jnj.com)          (jdecamar@corus.jnj.com)                     (sseferia@its.jnj.com)                                     9/22/2008   support.

                                                                                                                                                                                                       Jennifer De Camara ^ (jdecamar@corus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael
                                                                                                                                                                                                       McCulley ^ (mmccull@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Sue Seferian ^
                                                                                                                                                 Jennifer De Camara ^       Jennifer De Camara ^       (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com);
1920   JANSSENBIO‐PL_2‐0001658                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (jdecamar@corus.jnj.com)   (jdecamar@corus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                               9/22/2008




                                                                                                                                                                                                       Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                                                                       (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                       (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                       (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                       (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                       (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                                                                       (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                       Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                                                                       (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                       (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                       (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                                                                       Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                       (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                                                                       Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson                                                                                                                                                                                             Email with attachment(s) providing information to
                                                                                                                                                                                                       (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David                                                                                                                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                                                                                       Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                                                                                                                                                                                        regarding preparation/review of draft internal training or
                                                                                                                                                                                                       (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                                                 internal guidance concerning practice management or IOI
1921   JANSSENBIO‐PL_2‐0001659                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         Christopher Zalesky (czalesky@its.jnj.com)                                                                      Michael McCulley ^ (mmccull@corus.jnj.com)       Christopher Zalesky (czalesky@its.jnj.com)   Deidre Meehan ^ (dmeehan5@its.jnj.com)                     9/14/2010   support.




                                                                                                                                                                                                                                                                                  64
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 66 of 201

                                                                                                                                                                                                                                                                                                                                         Christopher Guiton (cguiton@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                                         Zalesky (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                                                                                                                                                         (cpaters@its.jnj.com); David Van Passel ^
                                                                                                                                                                                                                                                                                                                                         (dvpasse@its.jnj.com); Debra Hueting ^
                                                                                                                                                                                                                                                                                                                                         (dhuetin1@prdgb.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                                                                                         (dmeehan5@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                                                                                                                                                                                                         (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                                                                                         (dbrinckm@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                                                                                                                                                         (eformina@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                                                                                                                                                         (egiulian@its.jnj.com); Freddy Jimenez ^
                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino                                                                                             (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                               (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^                                                                                                          (htorell@its.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^                                                                                                            (jdecamar@corus.jnj.com); Jessica Gottlieb ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^                                                                                                       (jgottlie@its.jnj.com); Joan Cohen ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^                                                                                                      (jcohen7@its.jnj.com); John Vaughan ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^                                                                                                    (jvaughan@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^                                                                                                         (jtheerdt@jppbe.jnj.com); Kathleen Hamill ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);                                                                                 (khamill@cntus.jnj.com); Kenneth Olsen ^
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance                                                                                           (kolsen@its.jnj.com); Kristi Travers ^
                                                                                                                                               (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^                                                                                                       (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim                               Anthony Brennan (abrenna3@its.jnj.com); Chris                             (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);          Tompson (ctompso1@its.jnj.com); George                                    (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^         Latyszonek (glatysz1@its.jnj.com); Kris Curry                             (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                               (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene           (kcurry@janus.jnj.com); Marc Farley                                       (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson                        (mfarley3@its.jnj.com); Monika Rector                                     (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David   (mrector@its.jnj.com); Paul Lawrance                                      (mmccull@corus.jnj.com); Patricia Lukens ^
                                                                                                                                               Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                   (plawran1@its.jnj.com); Rick Cassino                                      (plukens@its.jnj.com); Patricia Villani ^
                                                                                                                                               (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);            (rcassino@janus.jnj.com); Susan Nettesheim      Michael McCulley ^        (pvillan1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com);
1922   JANSSENBIO‐PL_2‐0001660   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                      (snette2@its.jnj.com)                           (mmccull@corus.jnj.com)   Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie      9/14/2010




                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                               (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                               (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                               (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                               Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                      Patricia Villani ^       (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1923   JANSSENBIO‐PL_2‐0001661   Withheld   docx    Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (pvillan1@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                         9/14/2010




                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                               (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                               (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                               (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                               Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                               (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1924   JANSSENBIO‐PL_2‐0001662   Withheld   doc     Zalesky, Christopher   Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                         9/14/2010




                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                               (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                               (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                               (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                               Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                               (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1925   JANSSENBIO‐PL_2‐0001663   Withheld   doc     Zalesky, Christopher   Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                         9/14/2010




                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                               (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                               (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                               (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                               Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                             Sue Seferian ^           Thomas Conniff ^         (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1926   JANSSENBIO‐PL_2‐0001664   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tconniff@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                         9/14/2010




                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                               (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                               (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                               (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                               Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                             Sue Seferian ^           Thomas Conniff ^         (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1927   JANSSENBIO‐PL_2‐0001665   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tconniff@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                         9/14/2010




                                                                                                                                                                                                                          65
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 67 of 201



                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                                (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1928   JANSSENBIO‐PL_2‐0001666   Withheld   docx   Zalesky, Christopher   Attorney‐Client                                                       Christopher Zalesky (czalesky@its.jnj.com)                                                                      9/14/2010




                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                                (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1929   JANSSENBIO‐PL_2‐0001667   Withheld   docx   Zalesky, Christopher   Attorney‐Client                                                       Christopher Zalesky (czalesky@its.jnj.com)                                                                      9/14/2010




                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                            Stephanie Gilson ^       Stephanie Gilson ^         (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1930   JANSSENBIO‐PL_2‐0001668   Withheld   docx   Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)    (sgilson@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com)                                                                      9/14/2010




                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                            Stephanie Gilson ^       Stephanie Gilson ^         (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1931   JANSSENBIO‐PL_2‐0001669   Withheld   docx   Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)    (sgilson@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com)                                                                      9/14/2010




                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                            Freddy Jimenez ^         Jennifer De Camara ^       (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1932   JANSSENBIO‐PL_2‐0001670   Withheld   docx   Zalesky, Christopher   Attorney‐Client   (fjimene3@its.jnj.com)   (jdecamar@corus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                      9/14/2010




                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                            Sue Seferian ^           Terry Kerekgyarto          (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1933   JANSSENBIO‐PL_2‐0001671   Withheld   doc    Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tkerekgy@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                                      9/14/2010




                                                                                                                                                                                                                           66
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 68 of 201



                                                                                                                                                                                                      Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                                                                      (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                      (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                      (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                      (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                      (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                      (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                                                                      (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                      Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                                                                      (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                      (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                      (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                                                                      Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                      (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                                                                      Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                                                                      (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                                                                      Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky      (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
1934   JANSSENBIO‐PL_2‐0001672                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                           9/14/2010

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                                                                      William Craco ^ (wcraco@corus.jnj.com); Stacey Lallier (slallier@its.jnj.com); Laura Rottenborn ^                                                                                                                                                           Stacey Lallier (slallier@its.jnj.com); William Craco ^               internal guidance concerning practice management or IOI
1935   JANSSENBIO‐PL_2‐0001673                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (lrottenborn@sidley.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                        Laura Rottenborn ^ (lrottenborn@sidley.com)        Christopher Zalesky (czalesky@its.jnj.com)   (wcraco@corus.jnj.com)                                   8/24/2010   support.

                                                                                                                                                 Sue Seferian ^              Christopher Zalesky      William Craco ^ (wcraco@corus.jnj.com); Stacey Lallier (slallier@its.jnj.com); Laura Rottenborn ^
1936   JANSSENBIO‐PL_2‐0001674                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)      (czalesky@its.jnj.com)   (lrottenborn@sidley.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                 8/24/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain reflecting legal advice from John Vaughan ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       and the Law Department ^ regarding preparation of
                                                                                                                                                                                                      Roger Kung (rkung@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com);                                                                                                                                                                                                                             customer‐facing practice management or IOI support
1937                             JANSSENBIO‐064‐00002535   JANSSENBIO‐064‐00002538   Redacted   eMail   Sadeq, Faiz            Attorney‐Client                                                        Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                        Michael Wolfe (mwolfe2@its.jnj.com)                Faiz Sadeq (fsadeq@its.jnj.com)              Eric Monzon (emonzon1@its.jnj.com)                       3/22/2012   material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain reflecting legal advice from the Law
                                                                                                                                                                                                      Roger Kung (rkung@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com);                                                                                                                                                                                                                             Department ^ regarding preparation of customer‐facing
1938                             JANSSENBIO‐064‐00002541   JANSSENBIO‐064‐00002544   Redacted   eMail   Sadeq, Faiz            Attorney‐Client                                                        Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                        Michael Wolfe (mwolfe2@its.jnj.com)                Faiz Sadeq (fsadeq@its.jnj.com)                                                                       6/19/2012   practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain reflecting legal advice from the Law
                                                                                                                                                                                                      Roger Kung (rkung@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com);                                                                                                                                                                                                                             Department ^ regarding preparation of customer‐facing
1939                             JANSSENBIO‐064‐00002545   JANSSENBIO‐064‐00002548   Redacted   eMail   Sadeq, Faiz            Attorney‐Client                                                        Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                        Roger Kung (rkung@its.jnj.com)                     Faiz Sadeq (fsadeq@its.jnj.com)                                                                       6/19/2012   practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain reflecting legal advice from the Law
                                                                                                                                                                                                      Roger Kung (rkung@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com);                                                                                                                                                                                                                             Department ^ regarding preparation of customer‐facing
1940                             JANSSENBIO‐064‐00002549   JANSSENBIO‐064‐00002552   Redacted   eMail   Sadeq, Faiz            Attorney‐Client                                                        Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                        Roger Kung (rkung@its.jnj.com)                     Faiz Sadeq (fsadeq@its.jnj.com)                                                                       6/19/2012   practice management or IOI support material.

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes                                                                                                                                                                                                                                        Email chain with attachment(s) providing information to
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);                                                                                                                                                                                                                                  counsel for the purpose of receiving legal advice
                                                                                                                                                                                                      Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                                         regarding issues relating to lawfulness of practice
1941   JANSSENBIO‐PL_2‐0001675                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                          Simone Ross ^ (sross@cov.com)                      Christopher Zalesky (czalesky@its.jnj.com)                                                            7/20/2010   management or IOI support services.

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                                                      Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1942   JANSSENBIO‐PL_2‐0001676                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                          Maria Perez (mperez6@its.jnj.com)                  Monika Rector (mrector@its.jnj.com)                                                                   7/20/2010

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                             Monika Rector            Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1943   JANSSENBIO‐PL_2‐0001677                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Cynda Koehler               (mrector@its.jnj.com)    (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                   7/20/2010

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes                                                                                                                                                                                                                                        Email chain with attachment(s) providing information to
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);                                                                                                                                                                                                                                  counsel for the purpose of receiving legal advice
                                                                                                                                                                                                      Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                                         regarding issues relating to lawfulness of practice
1944   JANSSENBIO‐PL_2‐0001678                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                          Simone Ross ^ (sross@cov.com)                      Christopher Zalesky (czalesky@its.jnj.com)                                                            7/20/2010   management or IOI support services.

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                                                      Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1945   JANSSENBIO‐PL_2‐0001679                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                          Maria Perez (mperez6@its.jnj.com)                  Monika Rector (mrector@its.jnj.com)                                                                   7/20/2010

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                             Monika Rector            Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1946   JANSSENBIO‐PL_2‐0001680                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Cynda Koehler               (mrector@its.jnj.com)    (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                   7/20/2010

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                                                      Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1947   JANSSENBIO‐PL_2‐0001681                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                          Maria Perez (mperez6@its.jnj.com)                  Monika Rector (mrector@its.jnj.com)                                                                   7/20/2010

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                             Monika Rector            Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1948   JANSSENBIO‐PL_2‐0001682                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Cynda Koehler               (mrector@its.jnj.com)    (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                   7/20/2010

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                                                      Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1949   JANSSENBIO‐PL_2‐0001683                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                          Maria Perez (mperez6@its.jnj.com)                  Monika Rector (mrector@its.jnj.com)                                                                   7/20/2010

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Monika Rector (mrector@its.jnj.com);
                                                                                                                                                                             Monika Rector            Simone Ross ^ (sross@cov.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
1950   JANSSENBIO‐PL_2‐0001684                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Cynda Koehler               (mrector@its.jnj.com)    (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                   7/20/2010

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes                                                                                                                                                                                                                                        Email chain with attachment(s) providing information to
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Simone Ross ^ (sross@cov.com); Chris                                                                                                                                                                                                                                  counsel for the purpose of receiving legal advice
                                                                                                                                                                                                      Tompson (ctompso1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                                  regarding issues relating to lawfulness of practice
1951   JANSSENBIO‐PL_2‐0001685                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                                                                      Simone Ross ^ (sross@cov.com)                      Christopher Zalesky (czalesky@its.jnj.com)                                                            7/20/2010   management or IOI support services.

                                                                                                                                                                                                      Kris Curry (kcurry@janus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Larry Montes
                                                                                                                                                                                                      (lmontes4@its.jnj.com); Maria Perez (mperez6@its.jnj.com); Simone Ross ^ (sross@cov.com); Chris
                                                                                                                                                 Jannyna Rios                Avis Goode               Tompson (ctompso1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
1952   JANSSENBIO‐PL_2‐0001686                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (jrios5@its.jnj.com)        (agoode@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                               7/20/2010

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       counsel for the purpose of receiving legal advice
                                                                                                                                                                                                      Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Faiz Sadeq                                                                                                                                                                                                                                  regarding preparation/review of customer‐facing practice
1953   JANSSENBIO‐PL_2‐0001687                                                       Withheld   eMail   Sadeq, Faiz            Attorney‐Client                                                        (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Pat Treidel (ptreidel@its.jnj.com)                                                                   Kathleen Hamill ^ (khamill@cntus.jnj.com)          Faiz Sadeq (fsadeq@its.jnj.com)              Teresa Giuliana (tgiulian@cntus.jnj.com)                 4/25/2012   management or IOI support material.
                                                                                                                                                 M WALSH
                                                                                                                                                 (bridget.m.walsh@pfizer.com                          Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Faiz Sadeq
1954   JANSSENBIO‐PL_2‐0001688                                                       Withheld   pdf     Sadeq, Faiz            Attorney‐Client   )                                                    (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Pat Treidel (ptreidel@its.jnj.com)                                                                                                                                                                                                                            4/25/2012
                                                                                                                                                 Melissa Mulchahey
                                                                                                                                                 (melissa.mulchahey@xcenda.                           Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Faiz Sadeq
1955   JANSSENBIO‐PL_2‐0001689                                                       Withheld   xlsx    Sadeq, Faiz            Attorney‐Client   com)                        Danielle Temp            (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Pat Treidel (ptreidel@its.jnj.com)                                                                                                                                                                                                                            4/25/2012

                                                                                                                                                                                                      Rolli Greer (rgreer@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Roger Kung
                                                                                                                                                                                                      (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq                                                                                                                                                                                                                           Email chain requesting legal advice regarding
                                                                                                                                                                                                      (fsadeq@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Brian                                                     Faiz Sadeq (fsadeq@its.jnj.com); Kathleen Hamill                                                Ellen Perucki (eperucki@its.jnj.com); Roger Kung                     preparation/review of customer‐facing practice
1956   JANSSENBIO‐PL_2‐0001690                                                       Withheld   eMail   Sadeq, Faiz            Attorney‐Client                                                        Visconti (bviscont@its.jnj.com)                                                                                                                             ^ (khamill@cntus.jnj.com)                        Faiz Sadeq (fsadeq@its.jnj.com)                (rkung@its.jnj.com)                                      6/12/2012   management or IOI support material.




                                                                                                                                                                                                      Bob Ladd (bladd@thomasjpaul.com); Rolli Greer (rgreer@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                      (khamill@cntus.jnj.com); Roger Kung (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq                                                                                                                                                   Bob Ladd (bladd@thomasjpaul.com); Danielle Imperial
                                                                                                                                                                                                      (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Julie Trimakas                                                                                                                                                  (fimpelli@crdus.jnj.com); Danielle King
                                                                                                                                                                                                      (jtrimaka@its.jnj.com); Brian Visconti (bviscont@its.jnj.com); Bob Ladd (bladd@thomasjpaul.com);                                                                                                                                                            (dking@thomasjpaul.com); Jim Paul                                    Email chain reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                      Danielle Imperial (fimpelli@crdus.jnj.com); Danielle King (dking@thomasjpaul.com); James Paul                                                               Ellen Perucki (eperucki@its.jnj.com); James Paul                                                (jkpaul@thomasjpaul.com); Mike Fiore                                 regarding preparation of customer‐facing practice
1957   JANSSENBIO‐PL_2‐0001691                                                       Withheld   eMail   Sadeq, Faiz            Attorney‐Client                                                        (jkp@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com); Mike Fiore (mfiore@thomasjpaul.com)                                                               (jkp@thomasjpaul.com)                              Faiz Sadeq (fsadeq@its.jnj.com)              (mfiore@thomasjpaul.com)                                 7/25/2012   management or IOI support material.

                                                                                                                                                                                                      Eileen Austra ^ (eaustra1@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                      (khamill@cntus.jnj.com); Roger Kung (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq                                                                                                                                                                                                                        Email chain reflecting legal advice from Legal Department
                                                                                                                                                                                                      (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Julie Trimakas                                                                                                                                                                                                                       regarding preparation/review of customer‐facing practice
1958   JANSSENBIO‐PL_2‐0001692                                                       Withheld   eMail   Sadeq, Faiz            Attorney‐Client                                                        (jtrimaka@its.jnj.com); Brian Visconti (bviscont@its.jnj.com)                                                                                               Eileen Austra ^ (eaustra1@its.jnj.com)             Faiz Sadeq (fsadeq@its.jnj.com)                                                                       7/13/2012   management or IOI support material.

                                                                                                                                                                                                      Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Ellen Perucki                                                                                                                                                                                                                               Email chain providing information to Kathleen Hamill ^
                                                                                                                                                                                                      (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Michelle Turk                                                                                                                                                                                                                          for the purpose of receiving legal advice regarding issues
                                                                                                                                                                                                      (mturk@its.jnj.com); Danielle Imperial (fimpelli@crdus.jnj.com); Danielle King (dking@thomasjpaul.com);                                                     Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                                           relating to interactions or communications between
1959   JANSSENBIO‐PL_2‐0001693                                                       Withheld   eMail   Sadeq, Faiz            Attorney‐Client                                                        Jim Paul (jkpaul@thomasjpaul.com)                                                                                                                           Michelle Turk (mturk@its.jnj.com)                  Faiz Sadeq (fsadeq@its.jnj.com)                                                                        9/5/2012   ABSs and physician offices.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                      Kathleen Hamill ^ (khamill@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq                                                                                                                                                                                                                                      regarding preparation/review of customer‐facing practice
1960   JANSSENBIO‐PL_2‐0001694                                                       Withheld   eMail   Sadeq, Faiz            Attorney‐Client                                                        (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Jim Paul (jkpaul@thomasjpaul.com)                                                                    Jim Paul (jkpaul@thomasjpaul.com)                  Faiz Sadeq (fsadeq@its.jnj.com)                                                                       5/21/2012   management or IOI support material.



                                                                                                                                                                                                      Darah Biddle (dbiddle9@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Michael Driscoll
                                                                                                                                                                                                      (mdrisco1@its.jnj.com); Roger Kung (rkung@its.jnj.com); Melissa Magee (mmagee3@its.jnj.com); Eric
                                                                                                                                                                                                      Monzon (emonzon1@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com);                                                                                                                                                                                                                                 Email chain reflecting legal advice from the Law
                                                                                                                                                                                                      Michael Wolfe (mwolfe2@its.jnj.com); Cora Vizcarra (cvpres@mcvassociates.com); John Navarro                                                                                                                                                                                                                                      Department ^ regarding issues relating to interactions or
1961                             JANSSENBIO‐064‐00002539   JANSSENBIO‐064‐00002540   Redacted   eMail   Sadeq, Faiz            Attorney‐Client                                                        (trngdept@mcvassociates.com)                                                                                                                                Michael Wolfe (mwolfe2@its.jnj.com)                Faiz Sadeq (fsadeq@its.jnj.com)                                                                       5/18/2012   communications with physician offices.

                                                                                                                                                                                                      Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Ellen Perucki
                                                                                                                                                                                                      (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Michelle Turk                                                                                                                                                                                                                          Email chain reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                      (mturk@its.jnj.com); Danielle Imperial (fimpelli@crdus.jnj.com); Danielle King (dking@thomasjpaul.com);                                                                                                                                                                                                                          regarding issues relating to interactions or
1962   JANSSENBIO‐PL_2‐0001695                                                       Withheld   eMail   Sadeq, Faiz            Attorney‐Client                                                        Jim Paul (jkpaul@thomasjpaul.com)                                                                                                                                                                              Faiz Sadeq (fsadeq@its.jnj.com)              Ellen Perucki (eperucki@its.jnj.com)                     10/3/2012   communications between ABSs and physician offices.

                                                                                                                                                                                                                                                                                                                      Danielle King (dking@thomasjpaul.com);                                                                                                                                                                           Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                      Faiz Sadeq (fsadeq@its.jnj.com); Danielle King (dking@thomasjpaul.com); Jim Paul                                Faiz Sadeq (fsadeq@its.jnj.com); Jim Paul                                                                                                                                                                        legal advice from Kathleen Hamill ^ regarding customer‐
1963   JANSSENBIO‐PL_2‐0001696                                                       Withheld   eMail   Sadeq, Faiz            Attorney‐Client                                                        (jkpaul@thomasjpaul.com)                                                                                        (jkpaul@thomasjpaul.com)                    Faiz Sadeq (fsadeq@its.jnj.com)                    Danielle King (dking@thomasjpaul.com)        Jim Paul (jkpaul@thomasjpaul.com)                        8/17/2012   facing practice management or IOI support material.
                                                                                                                                                                                                      Faiz Sadeq (fsadeq@its.jnj.com); Danielle King (dking@thomasjpaul.com); Jim Paul
1964   JANSSENBIO‐PL_2‐0001697                                                       Withheld   pdf     Sadeq, Faiz            Attorney‐Client   Avigo                                                (jkpaul@thomasjpaul.com)                                                                                                                                                                                                                                                                                             8/17/2012

                                                                                                                                                                                                      Gina Giordano (ggiordan@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Roger Kung                                                                 Ellen Perucki (eperucki@its.jnj.com); Gina                                                                                                                           Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                      (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq                                                      Giordano (ggiordan@its.jnj.com); Kathleen Hamill                                                                                                                     regarding preparation/review of customer‐facing practice
1965   JANSSENBIO‐PL_2‐0001698                                                       Withheld   eMail   Sadeq, Faiz            Attorney‐Client                                                        (fsadeq@its.jnj.com)                                                                                                                                        ^ (khamill@cntus.jnj.com)                        Faiz Sadeq (fsadeq@its.jnj.com)                Roger Kung (rkung@its.jnj.com)                           8/30/2012   management or IOI support material.




                                                                                                                                                                                                                                                                                 67
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 69 of 201


                                                                                                                                                                                                               Gina Giordano (ggiordan@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Roger Kung
                                                                                                                                                     Auger Christine               Faiz Sadeq                  (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq
1966   JANSSENBIO‐PL_2‐0001699                                                       Withheld   pptx    Sadeq, Faiz                Attorney‐Client   (cauger3@its.jnj.com)         (fsadeq@its.jnj.com)        (fsadeq@its.jnj.com)                                                                                                                                                                                                                                                                                                   8/30/2012

                                                                                                                                                                                                               Gina Giordano (ggiordan@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Roger Kung
                                                                                                                                                                                                               (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq
1967   JANSSENBIO‐PL_2‐0001700                                                       Withheld   xls     Sadeq, Faiz                Attorney‐Client   Skip                          Skip                        (fsadeq@its.jnj.com)                                                                                                                                                                                                                                                                                                   8/30/2012

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                             Danielle King (dking@thomasjpaul.com);                                                                                                                                                                               from Kathleen Hamill ^ regarding customer‐facing
1968   JANSSENBIO‐PL_2‐0001701                                                       Withheld   eMail   Sadeq, Faiz                Attorney‐Client                                                             Faiz Sadeq (fsadeq@its.jnj.com); Danielle King (dking@thomasjpaul.com)                                        Faiz Sadeq (fsadeq@its.jnj.com)              Faiz Sadeq (fsadeq@its.jnj.com)                    Danielle King (dking@thomasjpaul.com)                                                                    9/17/2012   practice management or IOI support material.
1969   JANSSENBIO‐PL_2‐0001702                                                       Withheld   PDF     Sadeq, Faiz                Attorney‐Client   Avigo                                                     Faiz Sadeq (fsadeq@its.jnj.com); Danielle King (dking@thomasjpaul.com)                                                                                                                                                                                                                                                 9/17/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                               Faiz Sadeq (fsadeq@its.jnj.com); Danielle Imperial (fimpelli@crdus.jnj.com); Danielle King                                                                                                                                                                 Danielle Imperial (fimpelli@crdus.jnj.com); Jim Paul                    regarding preparation of customer‐facing practice
1970                             JANSSENBIO‐064‐00002554   JANSSENBIO‐064‐00002555   Redacted   eMail   Sadeq, Faiz                Attorney‐Client                                                             (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com)                                                                                                 Faiz Sadeq (fsadeq@its.jnj.com)                    Danielle King (dking@thomasjpaul.com)        (jkpaul@thomasjpaul.com)                                     9/7/2012   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Document reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                               Faiz Sadeq (fsadeq@its.jnj.com); Danielle Imperial (fimpelli@crdus.jnj.com); Danielle King                                                                                                                                                                                                                                         regarding preparation of customer‐facing practice
1971   JANSSENBIO‐PL_2‐0001703   JANSSENBIO‐064‐00002610   JANSSENBIO‐064‐00002610   Withheld   pdf     Sadeq, Faiz                Attorney‐Client   Dana Guilmin                                              (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com)                                                                                                                                                                                                                                                              9/7/2012   management or IOI support material.

                                                                                                                                                                                                               Rolli Greer (rgreer@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Roger Kung
                                                                                                                                                                                                               (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq
                                                                                                                                                                                                               (fsadeq@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Brian                                                                                                                                                    Bob Ladd (bladd@thomasjpaul.com); Danielle Imperial                     Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                               Visconti (bviscont@its.jnj.com); Bob Ladd (bladd@thomasjpaul.com); Danielle Imperial                                                                                                                                                                       (fimpelli@crdus.jnj.com); Danielle King                                 information from Kathleen Hamill ^ for the purpose of
                                                                                                                                                                                                               (fimpelli@crdus.jnj.com); Danielle King (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com);                                                        Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq                                                (dking@thomasjpaul.com); Mike Fiore                                     providing legal advice regarding preparation of customer‐
1972   JANSSENBIO‐PL_2‐0001704   JANSSENBIO‐071‐00000408   JANSSENBIO‐071‐00000411   Redacted   eMail   Sadeq, Faiz                Attorney‐Client                                                             Mike Fiore (mfiore@thomasjpaul.com)                                                                                                                        (fsadeq@its.jnj.com)                               Jim Paul (jkpaul@thomasjpaul.com)            (mfiore@thomasjpaul.com)                                    7/24/2012   facing practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
1973   JANSSENBIO‐PL_2‐0001705                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                               Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Ellen Perucki                                                                                                                                                                                                                                legal advice from Kathleen Hamill ^ regarding preparation
                                                                                                                                                                                                               (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Danielle King                                                                                                                                                                                                                            of customer‐facing practice management or IOI support
1974   JANSSENBIO‐PL_2‐0001706   JANSSENBIO‐071‐00000495   JANSSENBIO‐071‐00000497   Redacted   eMail   Sadeq, Faiz                Attorney‐Client                                                             (dking@thomasjpaul.com)                                                                                                                                    Faiz Sadeq (fsadeq@its.jnj.com)                    Danielle King (dking@thomasjpaul.com)                                                                    9/14/2012   material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
1975   JANSSENBIO‐PL_2‐0001707                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) reflecting counsel's
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  request for information for the purpose of providing
                                                                                                                                                                                                               Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Roger Kung                                                                                                                                                                                                                                    legal advice from Legal Department regarding
                                                                                                                                                                                                               (rkung@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Christine Pierce                                                                                                       Christine Pierce                                                                                                     preparation/review of customer‐facing practice
1976   JANSSENBIO‐PL_2‐0001708                                                       Withheld   eMail   Sadeq, Faiz                Attorney‐Client                                                             (cpierce@consultresourcegroup.com)                                                                                                                         Faiz Sadeq (fsadeq@its.jnj.com)                    (cpierce@consultresourcegroup.com)                                                                       4/24/2012   management or IOI support material.

                                                                                                                                                                                                               Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Roger Kung
                                                                                                                                                     Chris Roberson                Chris Roberson              (rkung@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Christine Pierce
1977   JANSSENBIO‐PL_2‐0001709                                                       Withheld   docx    Sadeq, Faiz                Attorney‐Client   (crobers1@its.jnj.com)        (crobers1@its.jnj.com)      (cpierce@consultresourcegroup.com)                                                                                                                                                                                                                                                                                     4/24/2012

                                                                                                                                                                                                               Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Roger Kung
                                                                                                                                                     Doug Kennedy                                              (rkung@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Christine Pierce
1978   JANSSENBIO‐PL_2‐0001710                                                       Withheld   pdf     Sadeq, Faiz                Attorney‐Client   (dkenned6@its.jnj.com)                                    (cpierce@consultresourcegroup.com)                                                                                                                                                                                                                                                                                     4/24/2012

                                                                                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                               (khamill@cntus.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Roger Kung (rkung@its.jnj.com); Faiz                                                                                                                                                        Faiz Sadeq (fsadeq@its.jnj.com); Kathleen Hamill ^                      Email chain with attachment(s) requesting legal advice
                                                                                                        Hamill, Kathleen; Sadeq,                                                                               Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Christine Pierce                                                                                                                                 Christine Pierce                             (khamill@cntus.jnj.com); Perry Knight ^                                 regarding preparation/review of customer‐facing practice
1979   JANSSENBIO‐PL_2‐0001711                                                       Withheld   eMail   Faiz                       Attorney‐Client                                                             (cpierce@consultresourcegroup.com)                                                                                                                         Stephanie Gilson ^ (sgilson@its.jnj.com)           (cpierce@consultresourcegroup.com)           (pknight@its.jnj.com)                                        5/7/2012   management or IOI support material.

                                                                                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                               (khamill@cntus.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Roger Kung (rkung@its.jnj.com); Faiz
                                                                                                        Hamill, Kathleen; Sadeq,                     Doug Kennedy                                              Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Christine Pierce
1980   JANSSENBIO‐PL_2‐0001712                                                       Withheld   pdf     Faiz                       Attorney‐Client   (dkenned6@its.jnj.com)                                    (cpierce@consultresourcegroup.com)                                                                                                                                                                                                                                                                                      5/7/2012

                                                                                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                               (khamill@cntus.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Roger Kung (rkung@its.jnj.com); Faiz
                                                                                                        Hamill, Kathleen; Sadeq,                     HHS Office of Inspector                                   Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Christine Pierce
1981   JANSSENBIO‐PL_2‐0001713                                                       Withheld   pdf     Faiz                       Attorney‐Client   General                                                   (cpierce@consultresourcegroup.com)                                                                                                                                                                                                                                                                                      5/7/2012
                                                                                                                                                                                                                                                                                                                             Jamie Anderson ^                                                                                                                             Brian Kerns (bkerns@thomasjpaul.com); Danielle                          Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                               Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Brian Kerns                             (jlanderson@akingump.com); Jim Paul                                                                                                          Imperial (fimpelli@crdus.jnj.com); Danielle King                        from Akin Gump ^ regarding preparation/review of
                                                                                                                                                                                                               (bkerns@thomasjpaul.com); Danielle Imperial (fimpelli@crdus.jnj.com); Danielle King                           (jkpaul@thomasjpaul.com); Michael Wolfe      Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe                                                  (dking@thomasjpaul.com); John Paul                                      customer‐facing practice management or IOI support
1982   JANSSENBIO‐PL_2‐0001714   JANSSENBIO‐071‐00000581   JANSSENBIO‐071‐00000581   Redacted   eMail   Sadeq, Faiz                Attorney‐Client                                                             (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com); John Paul (jtpaul@thomasjpaul.com)                (mwolfe2@its.jnj.com); Peggy Mellody         (mwolfe2@its.jnj.com)                              Jim Paul (jkpaul@thomasjpaul.com)            (jtpaul@thomasjpaul.com)                                    4/21/2011   material.

                                                                                                                                                                                                               Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Brian Kerns
                                                                                                                                                                                   Jamie Anderson ^            (bkerns@thomasjpaul.com); Danielle Imperial (fimpelli@crdus.jnj.com); Danielle King
1983   JANSSENBIO‐PL_2‐0001715                                                       Withheld   pptx    Sadeq, Faiz                Attorney‐Client   Dana Guilmin                  (jlanderson@akingump.com)   (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com); John Paul (jtpaul@thomasjpaul.com)                                                                                                                                                                                                                         4/21/2011

                                                                                                                                                                                                               Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Brian Kerns
                                                                                                                                                     Skip Baker                    Skip Baker                  (bkerns@thomasjpaul.com); Danielle Imperial (fimpelli@crdus.jnj.com); Danielle King
1984   JANSSENBIO‐PL_2‐0001716                                                       Withheld   xlsx    Sadeq, Faiz                Attorney‐Client   (sbaker@thomasjpaul.com)      (sbaker@thomasjpaul.com)    (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com); John Paul (jtpaul@thomasjpaul.com)                                                                                                                                                                                                                         4/21/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
1985   JANSSENBIO‐PL_2‐0001717                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                               Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Faiz Sadeq                                                                                                                                                                                                                                    legal advice from Kathleen Hamill ^ regarding preparation
                                                                                                                                                                                                               (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Danielle Imperial (fimpelli@crdus.jnj.com); Danielle                                                                                                                                                Danielle Imperial (fimpelli@crdus.jnj.com); Danielle King               of customer‐facing practice management or IOI support
1986   JANSSENBIO‐PL_2‐0001718                                                       Withheld   eMail   Sadeq, Faiz                Attorney‐Client                                                             King (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com)                                                                                            Faiz Sadeq (fsadeq@its.jnj.com)                    Jim Paul (jkpaul@thomasjpaul.com)            (dking@thomasjpaul.com)                                     4/11/2012   material.

                                                                                                                                                     M WALSH                                                   Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Faiz Sadeq
                                                                                                                                                     (bridget.m.walsh@pfizer.com                               (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Danielle Imperial (fimpelli@crdus.jnj.com); Danielle
1987   JANSSENBIO‐PL_2‐0001719                                                       Withheld   pdf     Sadeq, Faiz                Attorney‐Client   )                                                         King (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com)                                                                                                                                                                                                                                                        4/11/2012

                                                                                                                                                                                                               Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Faiz Sadeq
                                                                                                                                                     Jeanne Varin                                              (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Danielle Imperial (fimpelli@crdus.jnj.com); Danielle
1988   JANSSENBIO‐PL_2‐0001720                                                       Withheld   doc     Sadeq, Faiz                Attorney‐Client   (jvarin@its.jnj.com)          EXEC002                     King (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com)                                                                                                                                                                                                                                                        4/11/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                               Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Faiz Sadeq                                                            Faiz Sadeq (fsadeq@its.jnj.com); Teresa Giuliana                                                                                                                        preparation/review of customer‐facing practice
1989   JANSSENBIO‐PL_2‐0001721                                                       Withheld   eMail   Sadeq, Faiz                Attorney‐Client                                                             (fsadeq@its.jnj.com)                                                                                                                                       (tgiulian@cntus.jnj.com)                           Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                                5/15/2012   management or IOI support material.
                                                                                                                                                     M WALSH
                                                                                                                                                     (bridget.m.walsh@pfizer.com                               Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Faiz Sadeq
1990   JANSSENBIO‐PL_2‐0001722                                                       Withheld   pdf     Sadeq, Faiz                Attorney‐Client   )                                                         (fsadeq@its.jnj.com)                                                                                                                                                                                                                                                                                                   5/15/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Kathleen Hamill ^ regarding preparation/review of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  customer‐facing practice management or IOI support
1991   JANSSENBIO‐PL_2‐0001723                                                       Withheld   eMail   Sadeq, Faiz                Attorney‐Client                                                             Roger Kung (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com)                                                      Roger Kung (rkung@its.jnj.com)                     Ellen Perucki (eperucki@its.jnj.com)         Faiz Sadeq (fsadeq@its.jnj.com)                             5/22/2012   material.
                                                                                                                                                     M WALSH
                                                                                                                                                     (bridget.m.walsh@pfizer.com
1992   JANSSENBIO‐PL_2‐0001724                                                       Withheld   pdf     Sadeq, Faiz                Attorney‐Client   )                                                         Roger Kung (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com)                                                                                                                                                                                                                  5/22/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                                                                                                             Ellen Perucki (eperucki@its.jnj.com); Faiz                                                                                                                                                                           Kathleen Hamill ^ regarding preparation/review of
                                                                                                                                                                                                                                                                                                                             Sadeq (fsadeq@its.jnj.com); Roger Kung                                                                                                                                                                               customer‐facing practice management or IOI support
1993   JANSSENBIO‐PL_2‐0001725                                                       Withheld   eMail   Sadeq, Faiz                Attorney‐Client                                                             Roger Kung (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com)         (rkung@its.jnj.com)                          Ellen Perucki (eperucki@its.jnj.com)               Roger Kung (rkung@its.jnj.com)               Faiz Sadeq (fsadeq@its.jnj.com)                             5/22/2012   material.
                                                                                                                                                     M WALSH
                                                                                                                                                     (bridget.m.walsh@pfizer.com
1994   JANSSENBIO‐PL_2‐0001726                                                       Withheld   pdf     Sadeq, Faiz                Attorney‐Client   )                                                         Roger Kung (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com)                                                                                                                                                                                                                  5/22/2012
                                                                                                                                                                                                               Jose Barro (jbarro@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com);
                                                                                                                                                                                                               Susan Quirk (squirk@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                              Brian Kelly (bkelly2@its.jnj.com); Michele Rubincam                     Email chain reflecting legal advice from Michael McCulley
1995                             JANSSENBIO‐064‐00004807   JANSSENBIO‐064‐00004810   Redacted   eMail   Zalesky, Christopher       Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Christopher Zalesky (czalesky@its.jnj.com)         Becky Hayes (rhayes5@its.jnj.com)            (mrubinc@its.jnj.com); Susan Quirk (squirk@its.jnj.com)     7/27/2012   ^ regarding interactions with physician offices.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                           legal advice regarding issues relating to lawfulness of
1996   JANSSENBIO‐PL_2‐0001727                                                       Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Christopher Zalesky (czalesky@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                                               8/17/2012   practice management or IOI support services.
                                                                                                                                                     Christopher Zalesky           Christopher Zalesky         Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
1997   JANSSENBIO‐PL_2‐0001728                                                       Withheld   doc     Zalesky, Christopher       Attorney‐Client   (czalesky@its.jnj.com)        (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                 8/17/2012
                                                                                                                                                     Christopher Zalesky           Christopher Zalesky         Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
1998   JANSSENBIO‐PL_2‐0001729                                                       Withheld   doc     Zalesky, Christopher       Attorney‐Client   (czalesky@its.jnj.com)        (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                 8/17/2012

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^                                                        Maria Kennedy ^ (mkenned3@its.jnj.com); Mark                                                    Christopher Zalesky (czalesky@its.jnj.com); Helen Torelli               regarding preparation/review of internal training or
                                                                                                                                                                                                               (mmccull@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);                                                     Sievers ^ (msievers@its.jnj.com); Patricia Villani ^                                            ^ (htorell@its.jnj.com); Michael McCulley ^                             internal guidance concerning practice management or IOI
1999   JANSSENBIO‐PL_2‐0001730                                                       Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                             Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                      (pvillan1@its.jnj.com)                               Freddy Jimenez ^ (fjimene3@its.jnj.com)    (mmccull@corus.jnj.com)                                      9/6/2012   support.


                                                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^
                                                                                                                                                     Sue Seferian ^                Freddy Jimenez ^            (mmccull@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);
2000   JANSSENBIO‐PL_2‐0001731                                                       Withheld   doc     Zalesky, Christopher       Attorney‐Client   (sseferia@its.jnj.com)        (fjimene3@its.jnj.com)      Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                   9/6/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  preparation/review of internal training or internal
                                                                                                                                                                                                               Renee Scott (rscott27@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                                         guidance concerning practice management or IOI
2001   JANSSENBIO‐PL_2‐0001732                                                       Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Christopher Zalesky (czalesky@its.jnj.com)         Daryl Todd ^ (dtodd1@its.jnj.com)            Renee Scott (rscott27@its.jnj.com)                          9/18/2012   support.
                                                                                                                                                     Rika Ville                    Daryl Todd ^                Renee Scott (rscott27@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky
2002   JANSSENBIO‐PL_2‐0001733                                                       Withheld   pptx    Zalesky, Christopher       Attorney‐Client   (rdeville@its.jnj.com)        (dtodd1@its.jnj.com)        (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                 9/18/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  regarding preparation/review of internal training or
                                                                                                                                                                                                               Kenneth Olsen ^ (kolsen@corus.jnj.com); Renee Scott (rscott27@its.jnj.com); Christopher Zalesky                                                            Kenneth Olsen ^ (kolsen@corus.jnj.com); Renee                                                                                                                           internal guidance concerning practice management or IOI
2003   JANSSENBIO‐PL_2‐0001734                                                       Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Scott (rscott27@its.jnj.com)                       Christopher Zalesky (czalesky@its.jnj.com)                                                               9/19/2012   support.
                                                                                                                                                     Daryl Todd ^                  Daryl Todd ^                Kenneth Olsen ^ (kolsen@corus.jnj.com); Renee Scott (rscott27@its.jnj.com); Christopher Zalesky
2004   JANSSENBIO‐PL_2‐0001735                                                       Withheld   docx    Zalesky, Christopher       Attorney‐Client   (dtodd1@its.jnj.com)          (dtodd1@its.jnj.com)        (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                 9/19/2012
                                                                                                                                                     Daryl Todd ^                  Daryl Todd ^                Kenneth Olsen ^ (kolsen@corus.jnj.com); Renee Scott (rscott27@its.jnj.com); Christopher Zalesky
2005   JANSSENBIO‐PL_2‐0001736                                                       Withheld   docx    Zalesky, Christopher       Attorney‐Client   (dtodd1@its.jnj.com)          (dtodd1@its.jnj.com)        (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                 9/19/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery                                                                                                                                                                                                                                 legal advice regarding preparation/review of internal
                                                                                                                                                                                                               (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky                                                                   Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas System Administrator                                                                                                    training or internal guidance concerning practice
2006   JANSSENBIO‐PL_2‐0001737                                                       Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                             (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                      McCaffery (tmccaff3@cntus.jnj.com)              (postmaster@its.jnj.com)                                                                                    7/15/2005   management or IOI support.

                                                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                                                                               (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky                                                                   Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
2007   JANSSENBIO‐PL_2‐0001738                                                       Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                             (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                      McCaffery (tmccaff3@cntus.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)                                                                  7/15/2005

                                                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                     Christopher Zalesky           Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2008   JANSSENBIO‐PL_2‐0001739                                                       Withheld   ppt     Zalesky, Christopher       Attorney‐Client   (czalesky@its.jnj.com)        (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                                                                                  7/15/2005

                                                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                                                   Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2009   JANSSENBIO‐PL_2‐0001740                                                       Withheld   doc     Zalesky, Christopher       Attorney‐Client   Johnson & Johnson             (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                                                                                  7/15/2005

                                                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                     Christopher Zalesky           Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2010   JANSSENBIO‐PL_2‐0001741                                                       Withheld   ppt     Zalesky, Christopher       Attorney‐Client   (czalesky@its.jnj.com)        (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                                                                                  7/15/2005

                                                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                     Christopher Zalesky           Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2011   JANSSENBIO‐PL_2‐0001742                                                       Withheld   ppt     Zalesky, Christopher       Attorney‐Client   (czalesky@its.jnj.com)        (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                                                                                  7/15/2005

                                                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                     Christopher Zalesky           Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2012   JANSSENBIO‐PL_2‐0001743                                                       Withheld   ppt     Zalesky, Christopher       Attorney‐Client   (czalesky@its.jnj.com)        (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                                                                                  7/15/2005




                                                                                                                                                                                                                                                                                        68
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 70 of 201


                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2013   JANSSENBIO‐PL_2‐0001744   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Maripat Rhood                  Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2014   JANSSENBIO‐PL_2‐0001745   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (mrhood@cntus.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2015   JANSSENBIO‐PL_2‐0001746   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Tamara Scoville ^              Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2016   JANSSENBIO‐PL_2‐0001747   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)      (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2017   JANSSENBIO‐PL_2‐0001748   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2018   JANSSENBIO‐PL_2‐0001749   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Tamara Scoville ^              Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2019   JANSSENBIO‐PL_2‐0001750   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)      (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2020   JANSSENBIO‐PL_2‐0001751   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Tamara Scoville ^              Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2021   JANSSENBIO‐PL_2‐0001752   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)      (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery                                                                                                                                                               Email with attachment(s) reflecting request for legal
                                                                                                                                                        (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas System Administrator                                                                                    advice regarding preparation/review of customer facing
2022   JANSSENBIO‐PL_2‐0001753   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                              (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                    McCaffery (tmccaff3@cntus.jnj.com)              (postmaster@its.jnj.com)                                                                    7/15/2005   regulatory update.
                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) requesting legal advice
                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                        (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas                                                                                                         internal guidance concerning practice management or IOI
2023   JANSSENBIO‐PL_2‐0001754   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                              (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                    McCaffery (tmccaff3@cntus.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)                                                  7/15/2005   support.

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2024   JANSSENBIO‐PL_2‐0001755   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2025   JANSSENBIO‐PL_2‐0001756   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson              (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2026   JANSSENBIO‐PL_2‐0001757   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2027   JANSSENBIO‐PL_2‐0001758   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2028   JANSSENBIO‐PL_2‐0001759   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2029   JANSSENBIO‐PL_2‐0001760   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Maripat Rhood                  Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2030   JANSSENBIO‐PL_2‐0001761   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (mrhood@cntus.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2031   JANSSENBIO‐PL_2‐0001762   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Tamara Scoville ^              Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2032   JANSSENBIO‐PL_2‐0001763   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)      (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2033   JANSSENBIO‐PL_2‐0001764   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2034   JANSSENBIO‐PL_2‐0001765   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Tamara Scoville ^              Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2035   JANSSENBIO‐PL_2‐0001766   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)      (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Christopher Zalesky            Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2036   JANSSENBIO‐PL_2‐0001767   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                             Tamara Scoville ^              Christopher Zalesky         (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky
2037   JANSSENBIO‐PL_2‐0001768   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)      (czalesky@its.jnj.com)      (czalesky@its.jnj.com); System Administrator (postmaster@its.jnj.com)                                                                                                                                                                                7/15/2005

                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                         counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                         regarding preparation/review of internal training or
                                                                                                                                                        Renee Scott (rscott27@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky            Marlene Tandy ^ (mtandy@its.jnj.com); Renee                                                                                                             internal guidance concerning practice management or IOI
2038   JANSSENBIO‐PL_2‐0001769   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                              (czalesky@its.jnj.com)                                                                                   Scott (rscott27@its.jnj.com)                      Christopher Zalesky (czalesky@its.jnj.com)                                                9/24/2012   support.
                                                                                             Rika Ville                     Christopher Zalesky         Renee Scott (rscott27@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky
2039   JANSSENBIO‐PL_2‐0001770   Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)         (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                               9/24/2012

                                                                                                                                                                                                                                                                 Christopher Zalesky (czalesky@its.jnj.com);                                                                                                             Email chain with attachment(s) providing information to
                                                                                                                                                        Sandhya Drinkwater (sdrinkwa@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Kellie Hitchye      Debbie Kerr‐Leathem (dkerr@prdus.jnj.com);                                                                                                              counsel for the purpose of receiving legal advice
                                                                                                                                                        (khitchye@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Debbie Kerr‐Leathem                     Freddy Jimenez ^ (fjimene3@its.jnj.com); Kellie                                                                                                         regarding preparation/review of internal training or
                                                                                                                                                        (dkerr@prdus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Christopher Zalesky                        Hitchye (khitchye@its.jnj.com); Sandhya                                                                                                                 internal guidance concerning practice management or IOI
2040   JANSSENBIO‐PL_2‐0001771   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                              (czalesky@its.jnj.com)                                                                                   Drinkwater (sdrinkwa@its.jnj.com)                 Lee Schwartz (LSchwar1@prdus.jnj.com)        Bonnie Goldmann (bgoldman@prdus.jnj.com)      7/8/2005   support.

                                                                                                                                                        Sandhya Drinkwater (sdrinkwa@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Kellie Hitchye
                                                                                                                                                        (khitchye@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Debbie Kerr‐Leathem
                                                                                                                                                        (dkerr@prdus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Christopher Zalesky
2041   JANSSENBIO‐PL_2‐0001772   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Bill Pilat (wpilat@its.jnj.com) J&J User                   (czalesky@its.jnj.com)                                                                                                                                                                                                                                7/8/2005

                                                                                                                                                        Sandhya Drinkwater (sdrinkwa@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Kellie Hitchye
                                                                                                                                                        (khitchye@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Debbie Kerr‐Leathem
                                                                                                                                                        (dkerr@prdus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Christopher Zalesky
2042   JANSSENBIO‐PL_2‐0001773   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Bill Pilat (wpilat@its.jnj.com) J&J User                   (czalesky@its.jnj.com)                                                                                                                                                                                                                                7/8/2005

                                                                                                                                                        Sandhya Drinkwater (sdrinkwa@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Kellie Hitchye
                                                                                                                                                        (khitchye@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Debbie Kerr‐Leathem
                                                                                                                                                        (dkerr@prdus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Christopher Zalesky
2043   JANSSENBIO‐PL_2‐0001774   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Bill Pilat (wpilat@its.jnj.com) J&J User                   (czalesky@its.jnj.com)                                                                                                                                                                                                                                7/8/2005

                                                                                                                                                        Sandhya Drinkwater (sdrinkwa@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Kellie Hitchye
                                                                                                                                                        (khitchye@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Debbie Kerr‐Leathem
                                                                                                                             Lee Schwartz               (dkerr@prdus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Christopher Zalesky
2044   JANSSENBIO‐PL_2‐0001775   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Bill Pilat (wpilat@its.jnj.com) (LSchwar1@PRDUS.JNJ.COM)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                7/8/2005
                                                                                                                                                                                                                                                                 Clayton Paterson ^ (cpaters@its.jnj.com); Desiree
                                                                                                                                                                                                                                                                 Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                 Brinckman ^ (dbrinckm@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                 Broekhoven ^ (dvbroekh@janbe.jnj.com);
                                                                                                                                                                                                                                                                 Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                 Jimenez ^ (fjimene3@its.jnj.com); Joyce ter
                                                                                                                                                                                                                                                                 Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy
                                                                                                                                                                                                                                                                 Schroeher ^ (kschroe@corus.jnj.com); Kristi
                                                                                                                                                                                                                                                                 Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Janet Main ^ (jmain@its.jnj.com); Kathy Schroeher ^             (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                        (kschroe@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^                  (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                        (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^                 (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                        (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^                     (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                                        (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^                      (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                                        (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kristi Travers ^                    (mmccull@corus.jnj.com); Michelle Fried ^
                                                                                                                                                        (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);   (mfried1@corus.jnj.com); Patrick O'Brien ^
                                                                                                                                                        Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^          (pobrien5@corus.jnj.com); Stephanie Gilson ^                                                                                                            Email chain with attachment(s) providing legal advice
                                                                                                                                                        (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^                      (sgilson@its.jnj.com); Sue Seferian ^                                                                                                                   regarding preparation/review of draft internal training or
                                                                                                                                                        (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^                  (sseferia@its.jnj.com); Yuung Yap ^                                                                                                                     internal guidance concerning practice management or IOI
2045   JANSSENBIO‐PL_2‐0001776   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                              (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)            (yyap1@its.jnj.com)                               Freddy Jimenez ^ (fjimene3@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com)    7/6/2005   support.




                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Janet Main ^ (jmain@its.jnj.com); Kathy Schroeher ^
                                                                                                                                                        (kschroe@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                        (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                        (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                        (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                                        (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                        (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^
                                                                                             Christopher Zalesky            Janet Main ^                (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^
2046   JANSSENBIO‐PL_2‐0001777   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)         (jmain@its.jnj.com)         (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                         7/6/2005




                                                                                                                                                                                                                                69
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 71 of 201


                                                                                                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Janet Main ^ (jmain@its.jnj.com); Kathy Schroeher ^
                                                                                                                                             (kschroe@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                             (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                             (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^
                                                                                                                                             (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                             (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                             (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                             Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                             (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^
                                                                                             Christopher Zalesky      Janet Main ^           (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^
2047   JANSSENBIO‐PL_2‐0001778   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (jmain@its.jnj.com)    (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                               7/6/2005
                                                                                                                                             Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey                      Alan Cornell (acornell@its.jnj.com); Amit Patel
                                                                                                                                             (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);               (apatel18@its.jnj.com); Andrea Barnow
                                                                                                                                             Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger                 (abarnow@its.jnj.com); Angela Wood
                                                                                                                                             (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary      (awood6@its.jnj.com); Anthony Brennan
                                                                                                                                             Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley                       (abrenna3@its.jnj.com); Anthony Marchetta
                                                                                                                                             (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);          (amarchet@its.jnj.com); Becky Hayes
                                                                                                                                             Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke             (rhayes5@its.jnj.com); Brian Burns ^
                                                                                                                                             (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce      (bburns7@its.jnj.com); Brian Kelly
                                                                                                                                             Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);       (bkelly2@its.jnj.com); Brian Visconti
                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry                         (bviscont@its.jnj.com); Bruce Colligen
                                                                                                                                             (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane     (bcollig@its.jnj.com); Carol Woodard
                                                                                                                                             Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly                        (cwoodard@its.jnj.com); Catherine Piech
                                                                                                                                             (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob           (cpiech@its.jnj.com); Charles Schneider
                                                                                                                                             Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart                       (cschne10@its.jnj.com); Chris Matteson
                                                                                                                                             (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);    (cmattes1@its.jnj.com); Christina Farup
                                                                                                                                             Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano                  (cfarup2@its.jnj.com); Christine Maroulis
                                                                                                                                             (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);          (cmarouli@its.jnj.com); Christopher McNeal
                                                                                                                                             Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes                     (cmcneal1@its.jnj.com); Danny Burrell
                                                                                                                                             (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken        (dburrell@its.jnj.com); Darryl Stiles
                                                                                                                                             Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);          (dstiles@its.jnj.com); Daryl Todd ^
                                                                                                                                             Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich              (dtodd1@its.jnj.com); David Banko
                                                                                                                                             (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^                              (dbanko@its.jnj.com); Delia Cook
                                                                                                                                             (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);            (dcook1@its.jnj.com); Diane Deloria
                                                                                                                                             Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^                  (ddeloria@its.jnj.com); Dorothy Clarke ^
                                                                                                                                             (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly   (dclarke3@its.jnj.com); Eric Edgell                                                                        Email chain with attachment(s) providing information to
                                                                                                                                             (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria     (eedgell@its.jnj.com); Erin Parsons                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                             Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance                       (eparson5@its.jnj.com); Freddy Jimenez ^                                                                   regarding preparation/review of draft internal training or
                                                                                                                                             (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa    (fjimene3@its.jnj.com); Gerry McShane                                                                      internal guidance concerning practice management or IOI
2048   JANSSENBIO‐PL_2‐0001779   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                   Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                  (gmcshane@dpyus.jnj.com); Gina Giordano           Christopher Zalesky (czalesky@its.jnj.com)   9/19/2012   support.
                                                                                                                                             Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                             (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                             Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                             (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary
                                                                                                                                             Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley
                                                                                                                                             (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);
                                                                                                                                             Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                             (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce
                                                                                                                                             Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);
                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry
                                                                                                                                             (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane
                                                                                                                                             Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                             (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob
                                                                                                                                             Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                             (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                             Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano
                                                                                                                                             (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);
                                                                                                                                             Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes
                                                                                                                                             (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken
                                                                                                                                             Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);
                                                                                                                                             Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich
                                                                                                                                             (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                             (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);
                                                                                                                                             Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                             (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly
                                                                                                                                             (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria
                                                                                                                                             Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance
                                                                                             Daryl Todd ^             Daryl Todd ^           (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa
2049   JANSSENBIO‐PL_2‐0001780   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                                                                                                                 9/19/2012
                                                                                                                                             Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                             (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                             Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                             (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary
                                                                                                                                             Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley
                                                                                                                                             (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);
                                                                                                                                             Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                             (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce
                                                                                                                                             Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);
                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry
                                                                                                                                             (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane
                                                                                                                                             Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                             (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob
                                                                                                                                             Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                             (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                             Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano
                                                                                                                                             (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);
                                                                                                                                             Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes
                                                                                                                                             (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken
                                                                                                                                             Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);
                                                                                                                                             Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich
                                                                                                                                             (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                             (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);
                                                                                                                                             Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                             (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly
                                                                                                                                             (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria
                                                                                                                                             Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance
                                                                                             Daryl Todd ^             Daryl Todd ^           (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa
2050   JANSSENBIO‐PL_2‐0001781   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                                                                                                                 9/19/2012
                                                                                                                                             Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey                      Alan Cornell (acornell@its.jnj.com); Amit Patel
                                                                                                                                             (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);               (apatel18@its.jnj.com); Andrea Barnow
                                                                                                                                             Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger                 (abarnow@its.jnj.com); Angela Wood
                                                                                                                                             (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary      (awood6@its.jnj.com); Anthony Brennan
                                                                                                                                             Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley                       (abrenna3@its.jnj.com); Anthony Marchetta
                                                                                                                                             (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);          (amarchet@its.jnj.com); Becky Hayes
                                                                                                                                             Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke             (rhayes5@its.jnj.com); Brian Burns ^
                                                                                                                                             (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce      (bburns7@its.jnj.com); Brian Kelly
                                                                                                                                             Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);       (bkelly2@its.jnj.com); Brian Visconti
                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry                         (bviscont@its.jnj.com); Bruce Colligen
                                                                                                                                             (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane     (bcollig@its.jnj.com); Carol Woodard
                                                                                                                                             Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly                        (cwoodard@its.jnj.com); Catherine Piech
                                                                                                                                             (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob           (cpiech@its.jnj.com); Charles Schneider
                                                                                                                                             Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart                       (cschne10@its.jnj.com); Chris Matteson
                                                                                                                                             (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);    (cmattes1@its.jnj.com); Christina Farup
                                                                                                                                             Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano                  (cfarup2@its.jnj.com); Christine Maroulis
                                                                                                                                             (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);          (cmarouli@its.jnj.com); Christopher McNeal
                                                                                                                                             Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes                     (cmcneal1@its.jnj.com); Danny Burrell
                                                                                                                                             (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken        (dburrell@its.jnj.com); Darryl Stiles
                                                                                                                                             Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);          (dstiles@its.jnj.com); Daryl Todd ^
                                                                                                                                             Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich              (dtodd1@its.jnj.com); David Banko
                                                                                                                                             (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^                              (dbanko@its.jnj.com); Delia Cook
                                                                                                                                             (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);            (dcook1@its.jnj.com); Diane Deloria
                                                                                                                                             Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^                  (ddeloria@its.jnj.com); Dorothy Clarke ^
                                                                                                                                             (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly   (dclarke3@its.jnj.com); Eric Edgell
                                                                                                                                             (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria     (eedgell@its.jnj.com); Erin Parsons                                                                        Email chain with attachment(s) reflecting legal advice
                                                                                                                                             Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance                       (eparson5@its.jnj.com); Freddy Jimenez ^                                                                   regarding preparation/review of draft internal training or
                                                                                                                                             (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa    (fjimene3@its.jnj.com); Gerry McShane                                                                      internal guidance concerning practice management or IOI
2051   JANSSENBIO‐PL_2‐0001782   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                   Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                  (gmcshane@dpyus.jnj.com); Gina Giordano           Christopher Zalesky (czalesky@its.jnj.com)   9/19/2012   support.
                                                                                                                                             Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                             (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                             Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                             (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary
                                                                                                                                             Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley
                                                                                                                                             (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);
                                                                                                                                             Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                             (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce
                                                                                                                                             Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);
                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry
                                                                                                                                             (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane
                                                                                                                                             Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                             (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob
                                                                                                                                             Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                             (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                             Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano
                                                                                                                                             (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);
                                                                                                                                             Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes
                                                                                                                                             (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken
                                                                                                                                             Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);
                                                                                                                                             Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich
                                                                                                                                             (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                             (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);
                                                                                                                                             Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                             (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly
                                                                                                                                             (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria
                                                                                                                                             Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance
                                                                                             Daryl Todd ^             Daryl Todd ^           (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa
2052   JANSSENBIO‐PL_2‐0001783   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                                                                                                                 9/19/2012




                                                                                                                                                                                                                     70
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 72 of 201

                                                                                                                                             Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                             (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                             Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                             (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary
                                                                                                                                             Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley
                                                                                                                                             (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);
                                                                                                                                             Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                             (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce
                                                                                                                                             Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);
                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry
                                                                                                                                             (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane
                                                                                                                                             Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                             (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob
                                                                                                                                             Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                             (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                             Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano
                                                                                                                                             (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);
                                                                                                                                             Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes
                                                                                                                                             (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken
                                                                                                                                             Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);
                                                                                                                                             Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich
                                                                                                                                             (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                             (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);
                                                                                                                                             Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                             (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly
                                                                                                                                             (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria
                                                                                                                                             Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance
                                                                                             Daryl Todd ^             Daryl Todd ^           (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa
2053   JANSSENBIO‐PL_2‐0001784   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                                                                                                                                                                               9/19/2012

                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) reflecting and requesting
                                                                                                                                                                                                                                                                                                                                                                                                                                  legal advice from multiple members of the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                  Department ^ regarding preparation/review of draft
2054   JANSSENBIO‐PL_2‐0001785   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                   Jan Festa (jfesta@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                    Jan Festa (jfesta@its.jnj.com)                    Christopher Zalesky (czalesky@its.jnj.com)                                                               9/19/2012   internal guidance concerning promotional activities.
                                                                                             Daryl Todd ^             Daryl Todd ^
2055   JANSSENBIO‐PL_2‐0001786   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   Jan Festa (jfesta@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                               9/19/2012
                                                                                             Daryl Todd ^             Daryl Todd ^
2056   JANSSENBIO‐PL_2‐0001787   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   Jan Festa (jfesta@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                               9/19/2012

                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) reflecting and requesting
                                                                                                                                                                                                                                                                                                                                                                                                                                  legal advice from multiple members of the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                  Department ^ regarding preparation/review of draft
2057   JANSSENBIO‐PL_2‐0001788   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                   Renee Scott (rscott27@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                Renee Scott (rscott27@its.jnj.com)                Christopher Zalesky (czalesky@its.jnj.com)                                                               9/19/2012   internal guidance concerning promotional activities.
                                                                                             Daryl Todd ^             Daryl Todd ^
2058   JANSSENBIO‐PL_2‐0001789   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   Renee Scott (rscott27@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                           9/19/2012
                                                                                             Daryl Todd ^             Daryl Todd ^
2059   JANSSENBIO‐PL_2‐0001790   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   Renee Scott (rscott27@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                           9/19/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                  regarding preparation/review of draft internal training or
                                                                                                                                             Renee Scott (rscott27@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky                                                                                                                                                                                           internal guidance concerning practice management or IOI
2060   JANSSENBIO‐PL_2‐0001791   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                            Renee Scott (rscott27@its.jnj.com)                Christopher Zalesky (czalesky@its.jnj.com)                                                               8/31/2012   support.

                                                                                             Daryl Todd ^             Daryl Todd ^           Renee Scott (rscott27@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky
2061   JANSSENBIO‐PL_2‐0001792   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       8/31/2012

                                                                                             Rika Ville               Daryl Todd ^           Renee Scott (rscott27@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky
2062   JANSSENBIO‐PL_2‐0001793   Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (dtodd1@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       8/31/2012

                                                                                             Daryl Todd ^             Daryl Todd ^           Renee Scott (rscott27@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky
2063   JANSSENBIO‐PL_2‐0001794   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                       8/31/2012
                                                                                                                                             Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko                             Alan Cornell (acornell@its.jnj.com); Amit Patel
                                                                                                                                             (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);            (apatel18@its.jnj.com); Andrea Barnow
                                                                                                                                             Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley                      (abarnow@its.jnj.com); Angela Wood
                                                                                                                                             (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);         (awood6@its.jnj.com); Anthony Brennan
                                                                                                                                             Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke                   (abrenna3@its.jnj.com); Anthony Marchetta
                                                                                                                                             (sclarke9@aspus.jnj.com); Michael Coker (mcoker@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan           (amarchet@its.jnj.com); Becky Hayes
                                                                                                                                             Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com);      (rhayes5@its.jnj.com); Brian Burns ^
                                                                                                                                             Kimberly Davis (kdavis15@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty                     (bburns7@its.jnj.com); Brian Kelly
                                                                                                                                             (jdohert7@its.jnj.com); Robert Donnelly (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob         (bkelly2@its.jnj.com); Brian Visconti
                                                                                                                                             Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart                         (bviscont@its.jnj.com); Bruce Colligen
                                                                                                                                             (lengelh2@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);          (bcollig@its.jnj.com); Carol Woodard
                                                                                                                                             Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);   (cwoodard@its.jnj.com); Catherine Piech
                                                                                                                                             Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney                           (cpiech@its.jnj.com); Charles Schneider
                                                                                                                                             (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com);            (cschne10@its.jnj.com); Chris Matteson
                                                                                                                                             Michael Hepburn (mhepburn@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa Huston                     (cmattes1@its.jnj.com); Christina Farup
                                                                                                                                             (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Jason      (cfarup2@its.jnj.com); Christine Maroulis
                                                                                                                                             Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com);             (cmarouli@its.jnj.com); Christopher McNeal                                                     Daryl Todd ^ (dtodd1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                             Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis                 (cmcneal1@its.jnj.com); Cohen                                                                  (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                             (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Kenneth McCormick                              (jcohen6@its.jnj.com); Danny Burrell                                                           (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                             (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal                        (dburrell@its.jnj.com); Darryl Stiles                                                          (htorell@its.jnj.com); John Crisan (jcrisan@its.jnj.com);
                                                                                                                                             (cmcneal1@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly         (dstiles@its.jnj.com); David Banko                                                             Kris Curry (kcurry@janus.jnj.com); Larry Montes
                                                                                                                                             Norton (norton.kim@synthes.com); Amit Patel (apatel18@its.jnj.com); John Peterkins                            (dbanko@its.jnj.com); Delia Cook                                                               (lmontes4@its.jnj.com); Maria Kennedy ^
                                                                                                                                             (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com); Stephanie Potts (spotts@its.jnj.com); Mark      (dcook1@its.jnj.com); Diane Deloria                                                            (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                             Reese (mreese@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Marcia Rupnow                             (ddeloria@its.jnj.com); Eric Edgell                                                            (msievers@its.jnj.com); Michael McCulley ^
                                                                                                                                             (mrupnow1@its.jnj.com); Ryan Saadi (rsaadi@its.jnj.com); Charles Schneider (cschne10@its.jnj.com);            (eedgell@its.jnj.com); Erin Parsons                                                            (mmccull@corus.jnj.com); Patricia Villani ^
                                                                                                                                             Michele Scott (mscott12@its.jnj.com); Renee Scott (rscott27@its.jnj.com); Sue Seferian ^                      (eparson5@its.jnj.com); Gerry McShane                                                          (pvillan1@its.jnj.com); Paul Lawrance                                   Email with attachment(s) requesting legal advice
                                                                                                                                             (sseferia@its.jnj.com); Sophie Shen (sshen111@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Daryl Todd   (gmcshane@dpyus.jnj.com); Gina Giordano                                                        (plawran1@its.jnj.com); Renee Scott                                     regarding preparation/review of draft internal training or
                                                                                                                                             ^ (dtodd1@its.jnj.com); John Unger (junger@its.jnj.com); Brian Visconti (bviscont@its.jnj.com); Scott         (ggiordan@its.jnj.com); Henry Alder                                                            (rscott27@its.jnj.com); Vanessa Lum                                     internal guidance concerning practice management or IOI
2064   JANSSENBIO‐PL_2‐0001795   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                   White (swhite17@its.jnj.com); John Wilson (jwilson6@its.jnj.com); Michael Wolfe                               (halder@its.jnj.com); Jacob Drapkin               Christopher Zalesky (czalesky@its.jnj.com)   (vlum1@its.jnj.com)                                         8/31/2012   support.
                                                                                                                                             Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                             (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                             Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                             (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                             Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                             (sclarke9@aspus.jnj.com); Michael Coker (mcoker@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan
                                                                                                                                             Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com);
                                                                                                                                             Kimberly Davis (kdavis15@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty
                                                                                                                                             (jdohert7@its.jnj.com); Robert Donnelly (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob
                                                                                                                                             Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                             (lengelh2@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                             Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                             Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                             (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com);
                                                                                                                                             Michael Hepburn (mhepburn@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa Huston
                                                                                                                                             (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Jason
                                                                                                                                             Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com);
                                                                                                                                             Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis
                                                                                                                                             (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Kenneth McCormick
                                                                                                                                             (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                             (cmcneal1@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly
                                                                                                                                             Norton (norton.kim@synthes.com); Amit Patel (apatel18@its.jnj.com); John Peterkins
                                                                                                                                             (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com); Stephanie Potts (spotts@its.jnj.com); Mark
                                                                                                                                             Reese (mreese@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Marcia Rupnow
                                                                                                                                             (mrupnow1@its.jnj.com); Ryan Saadi (rsaadi@its.jnj.com); Charles Schneider (cschne10@its.jnj.com);
                                                                                                                                             Michele Scott (mscott12@its.jnj.com); Renee Scott (rscott27@its.jnj.com); Sue Seferian ^
                                                                                                                                             (sseferia@its.jnj.com); Sophie Shen (sshen111@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Daryl Todd
                                                                                             Daryl Todd ^             Daryl Todd ^           ^ (dtodd1@its.jnj.com); John Unger (junger@its.jnj.com); Brian Visconti (bviscont@its.jnj.com); Scott
2065   JANSSENBIO‐PL_2‐0001796   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   White (swhite17@its.jnj.com); John Wilson (jwilson6@its.jnj.com); Michael Wolfe                                                                                                                                                                                          8/31/2012
                                                                                                                                             Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                             (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                             Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                             (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                             Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                             (sclarke9@aspus.jnj.com); Michael Coker (mcoker@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan
                                                                                                                                             Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com);
                                                                                                                                             Kimberly Davis (kdavis15@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty
                                                                                                                                             (jdohert7@its.jnj.com); Robert Donnelly (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob
                                                                                                                                             Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                             (lengelh2@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                             Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                             Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                             (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com);
                                                                                                                                             Michael Hepburn (mhepburn@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa Huston
                                                                                                                                             (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Jason
                                                                                                                                             Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com);
                                                                                                                                             Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis
                                                                                                                                             (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Kenneth McCormick
                                                                                                                                             (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                             (cmcneal1@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly
                                                                                                                                             Norton (norton.kim@synthes.com); Amit Patel (apatel18@its.jnj.com); John Peterkins
                                                                                                                                             (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com); Stephanie Potts (spotts@its.jnj.com); Mark
                                                                                                                                             Reese (mreese@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Marcia Rupnow
                                                                                                                                             (mrupnow1@its.jnj.com); Ryan Saadi (rsaadi@its.jnj.com); Charles Schneider (cschne10@its.jnj.com);
                                                                                                                                             Michele Scott (mscott12@its.jnj.com); Renee Scott (rscott27@its.jnj.com); Sue Seferian ^
                                                                                                                                             (sseferia@its.jnj.com); Sophie Shen (sshen111@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Daryl Todd
                                                                                             Daryl Todd ^             Daryl Todd ^           ^ (dtodd1@its.jnj.com); John Unger (junger@its.jnj.com); Brian Visconti (bviscont@its.jnj.com); Scott
2066   JANSSENBIO‐PL_2‐0001797   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   White (swhite17@its.jnj.com); John Wilson (jwilson6@its.jnj.com); Michael Wolfe                                                                                                                                                                                          8/31/2012
                                                                                                                                             Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                             (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                             Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                             (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                             Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                             (sclarke9@aspus.jnj.com); Michael Coker (mcoker@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan
                                                                                                                                             Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com);
                                                                                                                                             Kimberly Davis (kdavis15@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty
                                                                                                                                             (jdohert7@its.jnj.com); Robert Donnelly (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob
                                                                                                                                             Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                             (lengelh2@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                             Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                             Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                             (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com);
                                                                                                                                             Michael Hepburn (mhepburn@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa Huston
                                                                                                                                             (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Jason
                                                                                                                                             Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com);
                                                                                                                                             Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis
                                                                                                                                             (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Kenneth McCormick
                                                                                                                                             (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                             (cmcneal1@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly
                                                                                                                                             Norton (norton.kim@synthes.com); Amit Patel (apatel18@its.jnj.com); John Peterkins
                                                                                                                                             (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com); Stephanie Potts (spotts@its.jnj.com); Mark
                                                                                                                                             Reese (mreese@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Marcia Rupnow
                                                                                                                                             (mrupnow1@its.jnj.com); Ryan Saadi (rsaadi@its.jnj.com); Charles Schneider (cschne10@its.jnj.com);
                                                                                                                                             Michele Scott (mscott12@its.jnj.com); Renee Scott (rscott27@its.jnj.com); Sue Seferian ^
                                                                                                                                             (sseferia@its.jnj.com); Sophie Shen (sshen111@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Daryl Todd
                                                                                             Daryl Todd ^             Daryl Todd ^           ^ (dtodd1@its.jnj.com); John Unger (junger@its.jnj.com); Brian Visconti (bviscont@its.jnj.com); Scott
2067   JANSSENBIO‐PL_2‐0001798   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)   White (swhite17@its.jnj.com); John Wilson (jwilson6@its.jnj.com); Michael Wolfe                                                                                                                                                                                          8/31/2012




                                                                                                                                                                                                                          71
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 73 of 201

                                                                                                                                                  Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                  (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                  Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                  (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                  Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                                  (sclarke9@aspus.jnj.com); Michael Coker (mcoker@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan
                                                                                                                                                  Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com);
                                                                                                                                                  Kimberly Davis (kdavis15@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty
                                                                                                                                                  (jdohert7@its.jnj.com); Robert Donnelly (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob
                                                                                                                                                  Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                                  (lengelh2@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                  Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                                  Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                                  (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com);
                                                                                                                                                  Michael Hepburn (mhepburn@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa Huston
                                                                                                                                                  (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Jason
                                                                                                                                                  Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com);
                                                                                                                                                  Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis
                                                                                                                                                  (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Kenneth McCormick
                                                                                                                                                  (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                  (cmcneal1@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Matt Moore (mmoore6@its.jnj.com); Kimberly
                                                                                                                                                  Norton (norton.kim@synthes.com); Amit Patel (apatel18@its.jnj.com); John Peterkins
                                                                                                                                                  (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com); Stephanie Potts (spotts@its.jnj.com); Mark
                                                                                                                                                  Reese (mreese@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Marcia Rupnow
                                                                                                                                                  (mrupnow1@its.jnj.com); Ryan Saadi (rsaadi@its.jnj.com); Charles Schneider (cschne10@its.jnj.com);
                                                                                                                                                  Michele Scott (mscott12@its.jnj.com); Renee Scott (rscott27@its.jnj.com); Sue Seferian ^
                                                                                                                                                  (sseferia@its.jnj.com); Sophie Shen (sshen111@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Daryl Todd
                                                                                             Daryl Todd ^                Daryl Todd ^             ^ (dtodd1@its.jnj.com); John Unger (junger@its.jnj.com); Brian Visconti (bviscont@its.jnj.com); Scott
2068   JANSSENBIO‐PL_2‐0001799   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)        (dtodd1@its.jnj.com)     White (swhite17@its.jnj.com); John Wilson (jwilson6@its.jnj.com); Michael Wolfe                                                                                                                            8/31/2012

                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                         counsel for the purpose of receiving legal advice
                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                  McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky           Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas                                                          internal guidance concerning practice management or IOI
2069   JANSSENBIO‐PL_2‐0001800   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                        McCaffery (tmccaff3@cntus.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)   7/15/2005   support.

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2070   JANSSENBIO‐PL_2‐0001801   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                                                         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2071   JANSSENBIO‐PL_2‐0001802   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2072   JANSSENBIO‐PL_2‐0001803   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2073   JANSSENBIO‐PL_2‐0001804   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2074   JANSSENBIO‐PL_2‐0001805   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2075   JANSSENBIO‐PL_2‐0001806   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                         counsel for the purpose of receiving legal advice
                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                  McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky           Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas                                                          internal guidance concerning practice management or IOI
2076   JANSSENBIO‐PL_2‐0001807   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                        McCaffery (tmccaff3@cntus.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)   7/15/2005   support.

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2077   JANSSENBIO‐PL_2‐0001808   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                                                         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2078   JANSSENBIO‐PL_2‐0001809   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2079   JANSSENBIO‐PL_2‐0001810   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2080   JANSSENBIO‐PL_2‐0001811   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2081   JANSSENBIO‐PL_2‐0001812   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2082   JANSSENBIO‐PL_2‐0001813   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Maripat Rhood               Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2083   JANSSENBIO‐PL_2‐0001814   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (mrhood@cntus.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2084   JANSSENBIO‐PL_2‐0001815   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Tamara Scoville ^           Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2085   JANSSENBIO‐PL_2‐0001816   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2086   JANSSENBIO‐PL_2‐0001817   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2087   JANSSENBIO‐PL_2‐0001818   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Tamara Scoville ^           Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2088   JANSSENBIO‐PL_2‐0001819   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2089   JANSSENBIO‐PL_2‐0001820   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Tamara Scoville ^           Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2090   JANSSENBIO‐PL_2‐0001821   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) providing information to
                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas                                                                                                                             counsel for the purpose of receiving legal advice
                                                                                                                                                  McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky           Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas                                                          regarding preparation/review of customer‐facing practice
2091   JANSSENBIO‐PL_2‐0001822   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                        McCaffery (tmccaff3@cntus.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)   7/15/2005   management or IOI support material.

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2092   JANSSENBIO‐PL_2‐0001823   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                                                         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2093   JANSSENBIO‐PL_2‐0001824   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2094   JANSSENBIO‐PL_2‐0001825   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2095   JANSSENBIO‐PL_2‐0001826   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2096   JANSSENBIO‐PL_2‐0001827   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2097   JANSSENBIO‐PL_2‐0001828   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Maripat Rhood               Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2098   JANSSENBIO‐PL_2‐0001829   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (mrhood@cntus.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2099   JANSSENBIO‐PL_2‐0001830   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Tamara Scoville ^           Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2100   JANSSENBIO‐PL_2‐0001831   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2101   JANSSENBIO‐PL_2‐0001832   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2102   JANSSENBIO‐PL_2‐0001833   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005

                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                             Tamara Scoville ^           Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2103   JANSSENBIO‐PL_2‐0001834   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005




                                                                                                                                                                                                                            72
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 74 of 201


                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2104   JANSSENBIO‐PL_2‐0001835                                                       Withheld   doc     Zalesky, Christopher        Attorney‐Client    (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                      7/15/2005

                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Thomas
                                                                                                                                                       Tamara Scoville ^           Christopher Zalesky      McCaffery (tmccaff3@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2105   JANSSENBIO‐PL_2‐0001836                                                       Withheld   DOC     Zalesky, Christopher        Attorney‐Client    (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                      7/15/2005
                                                                                                                                                                                                                                                                                                                                                                Clayton Paterson ^ (cpaters@its.jnj.com); Desiree
                                                                                                                                                                                                                                                                                                                                                                Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                                                                                                Brinckman ^ (dbrinckm@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                                                                                                Broekhoven ^ (dvbroekh@janbe.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                Dorothy Clarke ^ (dclarke3@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                                                                                                Jimenez ^ (fjimene3@its.jnj.com); Joyce ter
                                                                                                                                                                                                                                                                                                                                                                Heerdt ^ (jtheerdt@jppbe.jnj.com); Kathy
                                                                                                                                                                                                                                                                                                                                                                Schroeher ^ (kschroe@corus.jnj.com); Kristi
                                                                                                                                                                                                                                                                                                                                                                Travers ^ (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky                                               (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^                                                              (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                            (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^                                                            (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                                                            (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^                                                                (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^                                                                 (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kristi Travers ^                                                               (mmccull@corus.jnj.com); Michelle Fried ^
                                                                                                                                                                                                            (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);                                              (mfried1@corus.jnj.com); Patrick O'Brien ^
                                                                                                                                                                                                            Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^                                                     (pobrien5@corus.jnj.com); Stephanie Gilson ^                                                                                                                        Email chain with attachment(s) reflecting counsel's
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^                                                                 (sgilson@its.jnj.com); Sue Seferian ^                                                                                                                               request for information for the purpose of providing
                                                                                                                                                                                                            (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^                                                             (sseferia@its.jnj.com); Yuung Yap ^                                                                                                                                 legal advice regarding preparation/review of customer‐
2106   JANSSENBIO‐PL_2‐0001837                                                       Withheld   eMail   Zalesky, Christopher        Attorney‐Client                                                         (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                       (yyap1@its.jnj.com)                               Freddy Jimenez ^ (fjimene3@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                8/19/2005   facing practice management or IOI support material.




                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                            (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                            (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                            (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                                                                                            (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                                                                            Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^
2107   JANSSENBIO‐PL_2‐0001838                                                       Withheld   doc     Zalesky, Christopher        Attorney‐Client    (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                                                               8/19/2005




                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                            (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                            (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                            (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                                                                                            (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                                                                            Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^
2108   JANSSENBIO‐PL_2‐0001839                                                       Withheld   doc     Zalesky, Christopher        Attorney‐Client    (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                                                               8/19/2005




                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                            (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                            (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                            (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                                                                                            (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                                                                            Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^
2109   JANSSENBIO‐PL_2‐0001840                                                       Withheld   ppt     Zalesky, Christopher        Attorney‐Client    (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                                                               8/19/2005




                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                            (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                            (dbrinckm@its.jnj.com); Dirk Broekhoven ^ (dvbroekh@janbe.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                            (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                                                                                            (ktravers@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                                                                            Mark Sievers ^ (msievers@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Michelle Fried ^
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      (mfried1@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Stephanie Gilson ^
2110   JANSSENBIO‐PL_2‐0001841                                                       Withheld           Zalesky, Christopher        Attorney‐Client    (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (sgilson@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                                                               8/19/2005



                                                                                                                                                                                                            Kathleen Hamill ^ (khamill@cntus.jnj.com); Natasha Irani (Natasha.Irani@sudlerdigital.com); Tracy                                                                                                                                                                                                                       Email chain requesting legal advice regarding
                                                                                                                                                                                                            Krasuski (tkrasusk@its.jnj.com); Susan Mellinger (susan.mellinger@sudler.com); Ellen Perucki                                                        Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                    Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq                      preparation/review of customer‐facing practice
2111   JANSSENBIO‐PL_2‐0001842                                                       Withheld   eMail   Sadeq, Faiz; Walls, Michelle Attorney‐Client                                                        (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                        Michelle Walls (mwalls@its.jnj.com)              Tracy Krasuski (tkrasusk@its.jnj.com)        (fsadeq@its.jnj.com)                                      11/1/2012   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
2112   JANSSENBIO‐PL_2‐0001843                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
2113   JANSSENBIO‐PL_2‐0001844                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
2114   JANSSENBIO‐PL_2‐0001845                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
2115   JANSSENBIO‐PL_2‐0001846                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
2116   JANSSENBIO‐PL_2‐0001847                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      2024

                                                                                                                                                                                                            Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Natasha Irani
                                                                                                                                                                                                            (Natasha.Irani@sudlerdigital.com); Tracy Krasuski (tkrasusk@its.jnj.com); Susan Mellinger                                                           Ellen Perucki (eperucki@its.jnj.com); Kathleen                                                Faiz Sadeq (fsadeq@its.jnj.com); Natasha Irani                        Email chain reflecting legal advice of Kathleen Hamill ^
                                                                                                                                                                                                            (susan.mellinger@sudler.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com);                                                Hamill ^ (khamill@cntus.jnj.com); Michelle Walls                                              (Natasha.Irani@sudlerdigital.com); Susan Mellinger                    regarding preparation/review of customer‐facing practice
2117   JANSSENBIO‐PL_2‐0001848   JANSSENBIO‐071‐00000658   JANSSENBIO‐071‐00000659   Redacted   eMail   Sadeq, Faiz; Walls, Michelle Attorney‐Client                                                        Michelle Walls (mwalls@its.jnj.com)                                                                                                                 (mwalls@its.jnj.com)                             Tracy Krasuski (tkrasusk@its.jnj.com)        (susan.mellinger@sudler.com)                             11/27/2012   management or IOI support material.
                                                                                                                                                                                                            Tracy Krasuski (tkrasusk@its.jnj.com); Susan Mellinger (susan.mellinger@sudler.com); Faiz Sadeq                                                                                                                                                                                                                         Email chain reflecting legal advice from Kathleen Hamill ^
2118   JANSSENBIO‐PL_2‐0001849                                                       Withheld   eMail   Sadeq, Faiz                 Attorney‐Client                                                         (fsadeq@its.jnj.com)                                                                                                                                Susan Mellinger (susan.mellinger@sudler.com)     Tracy Krasuski (tkrasusk@its.jnj.com)        Faiz Sadeq (fsadeq@its.jnj.com)                           12/3/2012   regarding promotional materials.
                                                                                                                                                                                                            Tracy Krasuski (tkrasusk@its.jnj.com); Susan Mellinger (susan.mellinger@sudler.com); Faiz Sadeq           Faiz Sadeq (fsadeq@its.jnj.com); Susan                                                     Susan Mellinger                                                                                                    Email chain reflecting legal advice from Kathleen Hamill ^
2119   JANSSENBIO‐PL_2‐0001850                                                       Withheld   eMail   Sadeq, Faiz                 Attorney‐Client                                                         (fsadeq@its.jnj.com)                                                                                      Mellinger (susan.mellinger@sudler.com);   Tracy Krasuski (tkrasusk@its.jnj.com)            (susan.mellinger@sudler.com)                 Faiz Sadeq (fsadeq@its.jnj.com)                           12/3/2012   regarding promotional materials.
                                                                                                                                                                                                            Tracy Krasuski (tkrasusk@its.jnj.com); Susan Mellinger (susan.mellinger@sudler.com); Faiz Sadeq
2120   JANSSENBIO‐PL_2‐0001851                                                       Withheld   pdf     Sadeq, Faiz                 Attorney‐Client                                                         (fsadeq@its.jnj.com)                                                                                                                                                                                                                                                                                        12/3/2012

                                                                                                                                                                                                            Mark Dean (mark.dean@sudlerdigital.com); Natasha Irani (Natasha.Irani@sudlerdigital.com); Tracy           Faiz Sadeq (fsadeq@its.jnj.com); Susan    Mark Dean (mark.dean@sudlerdigital.com);
                                                                                                                                                                                                            Krasuski (tkrasusk@its.jnj.com); Susan Mellinger (susan.mellinger@sudler.com); Faiz Sadeq                 Mellinger (susan.mellinger@sudler.com);   Natasha Irani (Natasha.Irani@sudlerdigital.com);                                                                                                                    Email chain reflecting legal advice from Kathleen Hamill ^
2121   JANSSENBIO‐PL_2‐0001852                                                       Withheld   eMail   Sadeq, Faiz                 Attorney‐Client                                                         (fsadeq@its.jnj.com)                                                                                      Tracy Krasuski (tkrasusk@its.jnj.com)     Susan Mellinger (susan.mellinger@sudler.com)     Tracy Krasuski (tkrasusk@its.jnj.com)        Faiz Sadeq (fsadeq@its.jnj.com)                           12/4/2012   regarding promotional materials.
                                                                                                                                                                                                                                                                                                                                                                                                                                                              Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq
                                                                                                                                                                                                            Mark Dean (mark.dean@sudlerdigital.com); Sarah Fraser (sarah.fraser@sudler.com); Kathleen Hamill ^                                                                                                                                                (fsadeq@its.jnj.com); Mark Dean
                                                                                                                                                                                                            (khamill@cntus.jnj.com); Natasha Irani (Natasha.Irani@sudlerdigital.com); Tracy Krasuski                                                                                                                                                          (mark.dean@sudlerdigital.com); Natasha Irani
                                                                                                                                                                                                            (tkrasusk@its.jnj.com); Susan Mellinger (susan.mellinger@sudler.com); Ellen Perucki                                                                 Kathleen Hamill ^ (khamill@cntus.jnj.com); Susan                                              (Natasha.Irani@sudlerdigital.com); Sarah Fraser                       Email chain requesting legal advice from Kathleen Hamill
2122   JANSSENBIO‐PL_2‐0001853                                                       Withheld   eMail   Sadeq, Faiz                 Attorney‐Client                                                         (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com)                                                                                             Mellinger (susan.mellinger@sudler.com)           Tracy Krasuski (tkrasusk@its.jnj.com)        (sarah.fraser@sudler.com)                                 12/7/2012   ^ regarding promotional materials.
                                                                                                                                                                                                                                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                Denise Ragland (draglan1@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                                                                                                Jimenez ^ (fjimene3@its.jnj.com); George
                                                                                                                                                                                                                                                                                                                                                                Latyszonek (glatysz1@its.jnj.com); Jade Shields
                                                                                                                                                                                                                                                                                                                                                                (jshield1@its.jnj.com); Kris Curry
                                                                                                                                                                                                                                                                                                                                                                (kcurry@janus.jnj.com); Marc Farley
                                                                                                                                                                                                                                                                                                                                                                (mfarley3@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            Anthony Brennan (abrenna3@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Kris Curry                                                           (mmccull@corus.jnj.com); Monika Rector
                                                                                                                                                                                                            (kcurry@janus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                             (mrector@its.jnj.com); Paul Lawrance
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); George Latyszonek                                                     (plawran1@its.jnj.com); Rebecca Hayes                                                                                                                               Email with attachment(s) providing information to
                                                                                                                                                                                                            (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Michael McCulley ^                                                                    (rhayes5@its.jnj.com); Rick Cassino                                                                                                                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Susan Quirk (squirk@its.jnj.com); Denise Ragland (draglan1@its.jnj.com);                                                   (rcassino@janus.jnj.com); Stephanie Scott                                                                                                                           regarding preparation/review of draft internal training or
                                                                                                                                                                                                            Monika Rector (mrector@its.jnj.com); Stephanie Scott (sscott10@its.jnj.com); Jade Shields                                                           (sscott10@its.jnj.com); Susan Quirk                                                           Christopher Guiton ^ (cguiton@its.jnj.com); Kathy West                internal guidance concerning practice management or IOI
2123   JANSSENBIO‐PL_2‐0001854                                                       Withheld   eMail   Zalesky, Christopher        Attorney‐Client                                                         (jshield1@its.jnj.com); Kathy West ^ (kwest3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                               (squirk@its.jnj.com)                             Christopher Guiton ^ (cguiton@its.jnj.com)   ^ (kwest3@its.jnj.com)                                   10/14/2008   support.




                                                                                                                                                                                                            Anthony Brennan (abrenna3@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Kris Curry
                                                                                                                                                                                                            (kcurry@janus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); George Latyszonek
                                                                                                                                                                                                            (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Susan Quirk (squirk@its.jnj.com); Denise Ragland (draglan1@its.jnj.com);
                                                                                                                                                       Christopher Guiton ^        Christopher Guiton ^     Monika Rector (mrector@its.jnj.com); Stephanie Scott (sscott10@its.jnj.com); Jade Shields
2124   JANSSENBIO‐PL_2‐0001855                                                       Withheld   doc     Zalesky, Christopher        Attorney‐Client    (cguiton@its.jnj.com)       (cguiton@its.jnj.com)    (jshield1@its.jnj.com); Kathy West ^ (kwest3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                      10/14/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Memorandum reflecting request for legal advice from
2125   JANSSENBIO‐PL_2‐0001856   JANSSENBIO‐064‐00004962   JANSSENBIO‐064‐00004962   Withheld   doc     Zalesky, Christopher        Attorney‐Client    Janssen End Users           Janssen End Users        Christopher Zalesky (czalesky@its.jnj.com); (dpicsk@aol.com)                                                                                                                                                                                                                                               10/30/2008   Legal Department regarding preparation/review of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    internal guidance concerning practice management or IOI
2126   JANSSENBIO‐PL_2‐0001857                                                       Withheld   eMail   Zalesky, Christopher        Attorney‐Client                                                         Jennifer De Camara ^ (jdecamar@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com)                                                             10/6/2008   support.
                                                                                                                                                       Christopher Zalesky
2127   JANSSENBIO‐PL_2‐0001858                                                       Withheld   ppt     Zalesky, Christopher        Attorney‐Client    (czalesky@its.jnj.com)      lvanhou9                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                   10/6/2008
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky
2128   JANSSENBIO‐PL_2‐0001859                                                       Withheld           Zalesky, Christopher        Attorney‐Client    (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Jennifer De Camara ^ (jdecamar@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                   10/6/2008
                                                                                                                                                                                   Susan Steele
2129   JANSSENBIO‐PL_2‐0001860                                                       Withheld   ppt     Zalesky, Christopher        Attorney‐Client    Johnson & Johnson           (ssteele@its.jnj.com)    Jennifer De Camara ^ (jdecamar@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                   10/6/2008

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            Stacey Lallier (slallier@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Susan Steele                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                            (ssteele@its.jnj.com); Roeland Van (rvaelst@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com);                                             Kathy Schroeher ^ (kschroe@corus.jnj.com);                                                                                                                          internal guidance concerning practice management or IOI
2130   JANSSENBIO‐PL_2‐0001861                                                       Withheld   eMail   Zalesky, Christopher        Attorney‐Client                                                         Christopher Zalesky (czalesky@its.jnj.com)                                                                                                          Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)   Roeland Van (rvaelst@its.jnj.com)                         11/5/2008   support.

                                                                                                                                                                                                            Stacey Lallier (slallier@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Susan Steele
                                                                                                                                                                                                            (ssteele@its.jnj.com); Roeland Van (rvaelst@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com);
2131   JANSSENBIO‐PL_2‐0001862                                                       Withheld   pdf     Zalesky, Christopher        Attorney‐Client                                                         Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                  11/5/2008




                                                                                                                                                                                                                                                                                    73
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 75 of 201

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Department regarding preparation/review of internal
                                                                                                                                                 Tyrone Akins             Christopher Zalesky                                                                                                                                                                                                                                                                                    training or internal guidance concerning practice
2132   JANSSENBIO‐PL_2‐0001863   JANSSENBIO‐064‐00005080   JANSSENBIO‐064‐00005080   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (takins1@its.jnj.com)    (czalesky@its.jnj.com)     Clivetty Martinez (cmarti78@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           11/21/2008   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                     Michael McCulley ^ (mmccull@corus.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Patricia          Michael McCulley ^ (mmccull@corus.jnj.com);                                                                                                                     internal guidance concerning practice management or IOI
2133   JANSSENBIO‐PL_2‐0001864                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                Patricia Villani ^ (pvillan1@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                                       12/11/2008   support.

                                                                                                                                                 Sue Seferian ^           Christopher Zalesky        Michael McCulley ^ (mmccull@corus.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Patricia
2134   JANSSENBIO‐PL_2‐0001865                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (czalesky@its.jnj.com)     Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   12/11/2008

                                                                                                                                                 Sue Seferian ^           Christopher Zalesky        Michael McCulley ^ (mmccull@corus.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Patricia
2135   JANSSENBIO‐PL_2‐0001866                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (czalesky@its.jnj.com)     Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   12/11/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                     Michael McCulley ^ (mmccull@corus.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Patricia          Michael McCulley ^ (mmccull@corus.jnj.com);                                                                                                                     internal guidance concerning practice management or IOI
2136   JANSSENBIO‐PL_2‐0001867                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                Patricia Villani ^ (pvillan1@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)   Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com)         12/5/2008   support.

                                                                                                                                                 Sue Seferian ^           Christopher Zalesky        Michael McCulley ^ (mmccull@corus.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Patricia
2137   JANSSENBIO‐PL_2‐0001868                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (czalesky@its.jnj.com)     Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                    12/5/2008

                                                                                                                                                 Sue Seferian ^           Christopher Zalesky        Michael McCulley ^ (mmccull@corus.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Patricia
2138   JANSSENBIO‐PL_2‐0001869                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (czalesky@its.jnj.com)     Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                    12/5/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 preparation/review of internal training or internal
                                                                                                                                                                                                     Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^       Christopher Zalesky (czalesky@its.jnj.com); Joy   Jennifer De Camara ^                                                                                          guidance concerning practice management or IOI
2139   JANSSENBIO‐PL_2‐0001870                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                         Johnson (jjohns14@its.jnj.com)                    (jdecamar@corus.jnj.com)                     Michael McCulley ^ (mmccull@corus.jnj.com)          10/16/2009   support.

                                                                                                                                                 Marlene Tandy ^          Jennifer De Camara ^       Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^
2140   JANSSENBIO‐PL_2‐0001871                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (mtandy@its.jnj.com)     (jdecamar@corus.jnj.com)   (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                            10/16/2009
                                                                                                                                                                                                                                                                                                                 Austin Clayton ^ (aclayto3@its.jnj.com);
                                                                                                                                                                                                                                                                                                                 Christopher Andrew ^ (candrew@its.jnj.com);
                                                                                                                                                                                                                                                                                                                 Clayton Paterson ^ (cpaters@its.jnj.com); Deidre
                                                                                                                                                                                                                                                                                                                 Meehan ^ (dmeehan5@its.jnj.com); Desiree Ralls‐
                                                                                                                                                                                                                                                                                                                 Morrison ^ (drallsmo@its.jnj.com); Elizabeth
                                                                                                                                                                                                     Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^           Scott ^ (egiulian@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                     (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings                          (jcohen7@its.jnj.com); Kimberly Schmidt
                                                                                                                                                                                                     (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim                            (kschmid3@its.jnj.com); Michelle Daigneault ^
                                                                                                                                                                                                     (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);         (mdaigne2@its.jnj.com); Monika Rector
                                                                                                                                                                                                     Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam      (mrector@its.jnj.com); Patricia Villani ^                                                      Christopher Zalesky (czalesky@its.jnj.com); Frank                Email chain with attachment(s) providing information to
                                                                                                                                                                                                     (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);   (pvillan1@its.jnj.com); Raj Vaswani ^                                                          Konings (fkonings@its.jnj.com); Maria Perez                      counsel for the purpose of receiving legal advice
                                                                                                                                                                                                     Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;    (rvaswani@its.jnj.com; Rosa Son ^                                                              (mperez6@its.jnj.com); Michele Rubincam                          regarding preparation/review of internal training or
                                                                                                                                                                                                     Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky         (rson@its.jnj.com); Stuart Wilks ^                                                             (mrubinc@its.jnj.com); Susan Nettesheim                          internal guidance concerning practice management or IOI
2141   JANSSENBIO‐PL_2‐0001872                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (czalesky@its.jnj.com)                                                                                      (swilks@its.jnj.com)                             Monika Rector (mrector@its.jnj.com)           (snette2@its.jnj.com)                               12/16/2009   support.




                                                                                                                                                                                                     Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                     (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                                                                                     (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                     (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                                                                                     Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                     (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                                                                                     Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                                                                          Monika Rector              Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2142   JANSSENBIO‐PL_2‐0001873                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                         12/16/2009




                                                                                                                                                                                                     Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                     (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                                                                                     (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                     (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                                                                                     Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                     (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                                                                                     Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                                                                          Monika Rector              Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2143   JANSSENBIO‐PL_2‐0001874                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                         12/16/2009




                                                                                                                                                                                                     Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                     (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                                                                                     (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                     (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                                                                                     Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                     (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                                                                                     Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                                                                          Monika Rector              Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2144   JANSSENBIO‐PL_2‐0001875                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                         12/16/2009




                                                                                                                                                                                                     Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                     (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                                                                                     (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                     (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                                                                                     Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                     (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                                                                                     Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                                                                          Monika Rector              Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2145   JANSSENBIO‐PL_2‐0001876                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                         12/16/2009




                                                                                                                                                                                                     Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                     (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                                                                                     (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                     (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                                                                                     Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                     (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                                                                                     Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                                                                          Monika Rector              Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2146   JANSSENBIO‐PL_2‐0001877                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                         12/16/2009




                                                                                                                                                                                                     Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                     (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                                                                                     (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                     (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                                                                                     Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                     (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                                                                                     Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                                                                          Monika Rector              Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2147   JANSSENBIO‐PL_2‐0001878                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                         12/16/2009




                                                                                                                                                                                                     Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                     (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                                                                                     (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                     (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                                                                                     Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                     (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                                                                                     Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                                                                          Monika Rector              Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2148   JANSSENBIO‐PL_2‐0001879                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                         12/16/2009




                                                                                                                                                                                                     Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                     (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                                                                                     (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                     (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                                                                                     Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                     (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                                                                                     Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                                                                          Monika Rector              Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2149   JANSSENBIO‐PL_2‐0001880                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                         12/16/2009




                                                                                                                                                                                                     Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                     (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                                                                                     (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                     (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                                                                                     Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                     (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                                                                                     Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                                                                          Monika Rector              Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2150   JANSSENBIO‐PL_2‐0001881                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                         12/16/2009




                                                                                                                                                                                                     Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                     (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                                                                                     (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                     (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                                                                                     Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                     (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                                                                                     Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                                                                          Monika Rector              Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2151   JANSSENBIO‐PL_2‐0001882                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                         12/16/2009




                                                                                                                                                                                                                                                                              74
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 76 of 201


                                                                                                                                               Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                               (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                               (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                               Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                      Monika Rector            Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2152   JANSSENBIO‐PL_2‐0001883   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)    (czalesky@its.jnj.com)                                                                                                                                                                                12/16/2009




                                                                                                                                               Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                               (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                               (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                               Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                      Monika Rector            Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2153   JANSSENBIO‐PL_2‐0001884   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)    (czalesky@its.jnj.com)                                                                                                                                                                                12/16/2009




                                                                                                                                               Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                               (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                               (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                               Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                      Monika Rector            Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2154   JANSSENBIO‐PL_2‐0001885   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)    (czalesky@its.jnj.com)                                                                                                                                                                                12/16/2009




                                                                                                                                               Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                               (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                               (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                               Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                      Monika Rector            Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2155   JANSSENBIO‐PL_2‐0001886   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)    (czalesky@its.jnj.com)                                                                                                                                                                                12/16/2009




                                                                                                                                               Christopher Andrew ^ (candrew@its.jnj.com); Austin Clayton ^ (aclayto3@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Michelle Daigneault ^ (mdaigne2@its.jnj.com); Frank Konings
                                                                                                                                               (fkonings@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maria Perez (mperez6@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Michele Rubincam
                                                                                                                                               (mrubinc@its.jnj.com); Kimberly Schmidt (kschmid3@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com);
                                                                                                                                               Jade Shields (jshield1@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com;
                                                                                                                      Monika Rector            Patricia Villani ^ (pvillan1@its.jnj.com); Stuart Wilks ^ (swilks@its.jnj.com); Christopher Zalesky
2156   JANSSENBIO‐PL_2‐0001887   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Cynda                    (mrector@its.jnj.com)    (czalesky@its.jnj.com)                                                                                                                                                                                12/16/2009




                                                                                                                                               Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                               (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                               (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^                                                                                                                            Email chain with attachment(s) providing information to
                                                                                                                                               (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^                                                                                                                              counsel for the purpose of receiving legal advice
                                                                                                                                               (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);                                                                                                           regarding preparation/review of internal training or
                                                                                                                                               Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                   internal guidance concerning practice management or IOI
2157   JANSSENBIO‐PL_2‐0001888   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                      Michael McCulley ^ (mmccull@corus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)    12/1/2009   support.




                                                                                                                                               Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                               (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                               (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                               (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                               (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
                                                                                                                      Patricia Villani ^       Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2158   JANSSENBIO‐PL_2‐0001889   Withheld   docx    Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (pvillan1@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                 12/1/2009




                                                                                                                                               Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                               (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                               (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                               (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                               (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
                                                                                             Sue Seferian ^           Christopher Guiton ^     Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2159   JANSSENBIO‐PL_2‐0001890   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (cguiton@its.jnj.com)    (czalesky@its.jnj.com)                                                                                                                                                                                 12/1/2009




                                                                                                                                               Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                               (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                               (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                               (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                               (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
                                                                                             Sue Seferian ^           Terry Kerekgyarto        Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2160   JANSSENBIO‐PL_2‐0001891   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tkerekgy@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                 12/1/2009




                                                                                                                                               Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                               (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                               (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                               (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                               (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
                                                                                                                                               Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2161   JANSSENBIO‐PL_2‐0001892   Withheld   doc     Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                 12/1/2009




                                                                                                                                                                                                                       75
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 77 of 201



                                                                                                                                                   Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                   (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                   (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                   (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                   (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                   (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                   Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                   (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                   (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                   (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                   Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                   (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                   (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
                                                                                                                                                   Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2162   JANSSENBIO‐PL_2‐0001893   Withheld   doc     Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                12/1/2009




                                                                                                                                                   Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                   (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                   (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                   (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                   (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                   (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                   Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                   (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                   (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                   (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                   Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                   (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                   (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
                                                                                             Sue Seferian ^             Thomas Conniff ^           Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2163   JANSSENBIO‐PL_2‐0001894   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)     (tconniff@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                12/1/2009




                                                                                                                                                   Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                   (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                   (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                   (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                   (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                   (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                   Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                   (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                   (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                   (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                   Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                   (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                   (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
                                                                                             Sue Seferian ^             Thomas Conniff ^           Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2164   JANSSENBIO‐PL_2‐0001895   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)     (tconniff@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                12/1/2009




                                                                                                                                                   Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                   (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                   (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                   (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                   (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                   (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                   Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                   (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                   (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                   (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                   Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                   (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                   (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
                                                                                                                                                   Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2165   JANSSENBIO‐PL_2‐0001896   Withheld   docx    Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                12/1/2009




                                                                                                                                                   Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                   (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                   (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                   (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                   (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                   (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                   Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                   (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                   (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                   (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                   Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                   (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                   (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
                                                                                                                                                   Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2166   JANSSENBIO‐PL_2‐0001897   Withheld   docx    Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                12/1/2009




                                                                                                                                                   Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                   (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                   (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                   (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                   (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                   (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                   Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                   (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                   (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                   (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                   Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                   (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                   (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
                                                                                             Stephanie Gilson ^         Stephanie Gilson ^         Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2167   JANSSENBIO‐PL_2‐0001898   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)      (sgilson@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                12/1/2009




                                                                                                                                                   Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                   (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                   (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                   (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                   (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                   (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                   Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                   (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                   (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                   (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                   Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                   (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                   (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
                                                                                             Stephanie Gilson ^         Stephanie Gilson ^         Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2168   JANSSENBIO‐PL_2‐0001899   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)      (sgilson@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                12/1/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                     from various members of the Law Department ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                   Ann Buchan (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Vanessa Lum                             Ann Buchan (abuchan@its.jnj.com);                                                                                                                                                     internal guidance concerning practice management or IOI
2169   JANSSENBIO‐PL_2‐0001900   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (vlum1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                             Christopher Zalesky (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)   Ann Buchan (abuchan@its.jnj.com)                                                10/5/2011   support.

                                                                                             Ann Buchan                 Ann Buchan                 Ann Buchan (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Vanessa Lum
2170   JANSSENBIO‐PL_2‐0001901   Withheld   xlsx    Zalesky, Christopher   Attorney‐Client   (abuchan@its.jnj.com)      (abuchan@its.jnj.com)      (vlum1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       10/5/2011
                                                                                                                                                                                                                                                               Abdul Luheshi (aluheshi@its.jnj.com); Ann
                                                                                                                                                                                                                                                               Buchan (abuchan@its.jnj.com); Christopher
                                                                                                                                                                                                                                                               Zalesky (czalesky@its.jnj.com); Clivetty
                                                                                                                                                                                                                                                               Martinez (cmarti78@its.jnj.com); Dirk
                                                                                                                                                                                                                                                               Brinckman ^ (dbrinckm@its.jnj.com);
                                                                                                                                                                                                                                                               Elizabeth Forminard ^
                                                                                                                                                                                                                                                               (eformina@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                               (fjimene3@corus.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                               (htorell@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                                                                               (jdecamar@corus.jnj.com); Kris Curry
                                                                                                                                                                                                                                                               (kcurry@janus.jnj.com); Larry Montes
                                                                                                                                                   Ann Buchan (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Vanessa Lum                             (lmontes4@its.jnj.com); Marc Farley
2171   JANSSENBIO‐PL_2‐0001902   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (vlum1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                             (mfarley3@its.jnj.com); Mark Sievers ^      Vanessa Lum (vlum1@its.jnj.com)               Ann Buchan (abuchan@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)   10/5/2011

                                                                                             Jennifer De Camara ^       Jennifer De Camara ^       Ann Buchan (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Vanessa Lum
2172   JANSSENBIO‐PL_2‐0001903   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (jdecamar@corus.jnj.com)   (jdecamar@corus.jnj.com)   (vlum1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       10/5/2011

                                                                                             Stephanie Gilson ^         Stephanie Gilson ^         Ann Buchan (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Vanessa Lum
2173   JANSSENBIO‐PL_2‐0001904   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)      (sgilson@its.jnj.com)      (vlum1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       10/5/2011




                                                                                                                                                                                                                           76
                                                            Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 78 of 201

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                internal guidance concerning practice management or IOI
2174   JANSSENBIO‐PL_2‐0001905                             Withheld   eMail   Dorsey, Camille        Attorney‐Client                                                           Camille Dorsey (cdorsey@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com)         Camille Dorsey (cdorsey@its.jnj.com)                                                                      5/9/2012   support.

2175   JANSSENBIO‐PL_2‐0001906                             Withheld   pdf     Dorsey, Camille        Attorney‐Client                                                           Camille Dorsey (cdorsey@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                                                                                                                                                                                                       5/9/2012

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) requesting legal advice
                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh (pmcveigh@cntus.jnj.com); Michael Schoeck                                                                                                                                                                                                                               regarding preparation/review of customer‐facing practice
2176   JANSSENBIO‐PL_2‐0001907                             Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                           (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com)           Michael Schoeck (mschoeck@its.jnj.com)                                                                  12/20/2004   management or IOI support material.

                                                                                                                       Deborah Kindt                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh (pmcveigh@cntus.jnj.com); Michael Schoeck
2177   JANSSENBIO‐PL_2‐0001908                             Withheld   pdf     Schoeck, Michael       Attorney‐Client   (dkindt@its.jnj.com)                                    (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                      12/20/2004

                                                                                                                       Deborah Kindt                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh (pmcveigh@cntus.jnj.com); Michael Schoeck
2178   JANSSENBIO‐PL_2‐0001909                             Withheld   pdf     Schoeck, Michael       Attorney‐Client   (dkindt@its.jnj.com)                                    (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                      12/20/2004

                                                                                                                       Deborah Kindt                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh (pmcveigh@cntus.jnj.com); Michael Schoeck
2179   JANSSENBIO‐PL_2‐0001910                             Withheld   pdf     Schoeck, Michael       Attorney‐Client   (dkindt@its.jnj.com)                                    (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                      12/20/2004

                                                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh                                                                                                                                                                                                                                Email chain reflecting legal advice from Legal Department
                                                                                                                                                                               (pmcveigh@cntus.jnj.com); Patrick Mcveigh (pmcveigh@cntus.jnj.com); Michael Schoeck                                                                                                                                                                                                                                              regarding preparation/review of customer‐facing practice
2180   JANSSENBIO‐PL_2‐0001911                             Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                           (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                            Patrick Mcveigh (pmcveigh@cntus.jnj.com)          Michael Schoeck (mschoeck@its.jnj.com)                                                                  12/20/2004   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
2181                             JANSSENBIO‐064‐00005197                                                                                                                                                                                                                                                                                                                                                                                                                                                        2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                        Christopher Zalesky (czalesky@its.jnj.com); Marlene                     regarding preparation/review of internal training or
                                                                                                                                                                               Ann Buchan (abuchan@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox                                                                                                                 Jennifer De Camara ^                         Tandy ^ (mtandy@its.jnj.com); Walter Fox                                internal guidance concerning practice management or IOI
2182   JANSSENBIO‐PL_2‐0001912                             Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                           (wfox@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                      Ann Buchan (abuchan@its.jnj.com)                  (jdecamar@corus.jnj.com)                     (wfox@its.jnj.com)                                         10/31/2011   support.
                                                                                                                       Jennifer De Camara ^
                                                                                                                       (jennifer_decamara@merck.c Jennifer De Camara ^         Ann Buchan (abuchan@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox
2183   JANSSENBIO‐PL_2‐0001913                             Withheld   pptx    Zalesky, Christopher   Attorney‐Client   om)                        (jdecamar@corus.jnj.com)     (wfox@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                10/31/2011

                                                                                                                       Ann Buchan                  Ann Buchan                  Ann Buchan (abuchan@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox
2184   JANSSENBIO‐PL_2‐0001914                             Withheld   docx    Zalesky, Christopher   Attorney‐Client   (abuchan@its.jnj.com)       (abuchan@its.jnj.com)       (wfox@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                10/31/2011
                                                                                                                                                                                                                                                                                                                                         Barbara Wolf (bwolf1@its.jnj.com); Chris
                                                                                                                                                                                                                                                                                                                                         Matteson (cmattes1@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                                         Zalesky (czalesky@its.jnj.com); Dina Given
                                                                                                                                                                                                                                                                                                                                         (dgiven@its.jnj.com); Edward Benson
                                                                                                                                                                                                                                                                                                                                         (ebenson5@its.jnj.com); Gina Dunsmuir
                                                                                                                                                                                                                                                                                                                                         (gdunsmui@its.jnj.com); Jeffrey Huth
                                                                                                                                                                                                                                                                                                                                         (jhuth@janimm.com); Johanna Hayes
                                                                                                                                                                                                                                                                                                                                         (jhayes16@its.jnj.com); Jose Barro
                                                                                                                                                                               Jose Barro (jbarro@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Susan Calderone                                                                    (jbarro@its.jnj.com); Liza Ovington
                                                                                                                                                                               (scalder7@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Kris Curry (kcurry@janus.jnj.com);                                                         (lovingt@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                               Jennifer De Camara ^ (jdecamar@corus.jnj.com); Gina Dunsmuir (gdunsmui@its.jnj.com); Elizabeth                                                            (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                                               Forminard ^ (eformina@its.jnj.com); Walter Fox (wfox@its.jnj.com); Dina Given (dgiven@its.jnj.com);                                                       (mmccull@corus.jnj.com); Paul Lawrance
                                                                                                                                                                               Johanna Hayes (jhayes16@its.jnj.com); Jeffrey Huth (jhuth@janimm.com); Paul Lawrance                                                                      (plawran1@its.jnj.com); Susan Calderone
                                                                                                                                                                               (plawran1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Vickie McCormick                                                                           (scalder7@its.jnj.com); Susan Clarke                                                           Elizabeth Forminard ^ (eformina@its.jnj.com); Kris Curry                Email chain with attachment(s) providing legal advice
                                                                                                                                                                               (vmccorm2@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Larry Montes                                                                          (sclarke9@aspus.jnj.com); Vickie McCormick                                                     (kcurry@janus.jnj.com); Larry Montes                                    regarding preparation/review of draft internal training or
                                                                                                                                                                               (lmontes4@its.jnj.com); Liza Ovington (lovingt@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com);                                                        (vmccorm2@its.jnj.com); Walter Fox                Jennifer De Camara ^                         (lmontes4@its.jnj.com); Marlene Tandy ^                                 internal guidance concerning practice management or IOI
2185   JANSSENBIO‐PL_2‐0001915                             Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                           Barbara Wolf (bwolf1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                             (wfox@its.jnj.com)                                (jdecamar@corus.jnj.com)                     (mtandy@its.jnj.com); Walter Fox (wfox@its.jnj.com)         11/4/2011   support.




                                                                                                                                                                               Jose Barro (jbarro@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Susan Calderone
                                                                                                                                                                               (scalder7@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Kris Curry (kcurry@janus.jnj.com);
                                                                                                                                                                               Jennifer De Camara ^ (jdecamar@corus.jnj.com); Gina Dunsmuir (gdunsmui@its.jnj.com); Elizabeth
                                                                                                                                                                               Forminard ^ (eformina@its.jnj.com); Walter Fox (wfox@its.jnj.com); Dina Given (dgiven@its.jnj.com);
                                                                                                                                                                               Johanna Hayes (jhayes16@its.jnj.com); Jeffrey Huth (jhuth@janimm.com); Paul Lawrance
                                                                                                                                                                               (plawran1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Vickie McCormick
                                                                                                                       Jennifer De Camara ^                                    (vmccorm2@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Larry Montes
                                                                                                                       (jennifer_decamara@merck.c Jennifer De Camara ^         (lmontes4@its.jnj.com); Liza Ovington (lovingt@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com);
2186   JANSSENBIO‐PL_2‐0001916                             Withheld   pptx    Zalesky, Christopher   Attorney‐Client   om)                        (jdecamar@corus.jnj.com)     Barbara Wolf (bwolf1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                        11/4/2011
                                                                                                                                                                                                                                                                                                                                         Bonnie Rodriguez (brodrig5@its.jnj.com); Cathy
                                                                                                                                                                                                                                                                                                                                         Wichert (cwicjert@its.jnj.com); David Kurlander
                                                                                                                                                                                                                                                                                                                                         (dkurland@its.jnj.com); Elaine Kling
                                                                                                                                                                                                                                                                                                                                         (ekling@its.jnj.com); Judith Fernandez
                                                                                                                                                                               Karl Dahlquist ^ (kdahlqui@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Elizabeth Forminard ^                                                   (jfernan9@its.jnj.com); Karl Dahlquist ^                                                                                                                               Email chain with attachment(s) providing legal advice
                                                                                                                                                                               (eformina@its.jnj.com); Elaine Kling (ekling@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Vickie                                                 (kdahlqui@its.jnj.com); Michael Schoeck                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                               McCormick (vmccorm2@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com); Michael Schoeck                                                                (mschoeck@its.jnj.com); Vickie McCormick                                                                                                                               internal guidance concerning practice management or IOI
2187   JANSSENBIO‐PL_2‐0001917                             Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                           (mschoeck@its.jnj.com); Cathy Wichert (cwicjert@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                  (vmccorm2@its.jnj.com)                            Elizabeth Forminard ^ (eformina@its.jnj.com) Christopher Zalesky (czalesky@its.jnj.com)                  11/4/2011   support.



                                                                                                                                                                               Karl Dahlquist ^ (kdahlqui@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Elizabeth Forminard ^
                                                                                                                       Jennifer De Camara ^                                    (eformina@its.jnj.com); Elaine Kling (ekling@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Vickie
                                                                                                                       (jennifer_decamara@merck.c Jennifer De Camara ^         McCormick (vmccorm2@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com); Michael Schoeck
2188   JANSSENBIO‐PL_2‐0001918                             Withheld   pptx    Zalesky, Christopher   Attorney‐Client   om)                        (jdecamar@corus.jnj.com)     (mschoeck@its.jnj.com); Cathy Wichert (cwicjert@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                             11/4/2011



                                                                                                                                                                               Karl Dahlquist ^ (kdahlqui@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                               (eformina@its.jnj.com); Elaine Kling (ekling@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Vickie
                                                                                                                       Stephanie Gilson ^          Stephanie Gilson ^          McCormick (vmccorm2@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com); Michael Schoeck
2189   JANSSENBIO‐PL_2‐0001919                             Withheld   PPTX    Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)       (sgilson@its.jnj.com)       (mschoeck@its.jnj.com); Cathy Wichert (cwicjert@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                             11/4/2011
                                                                                                                                                                                                                                                                                           Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck             Jessica Cortes ^ (jgcortes@pbwt.com);                                                                                                                                                                                Email chain with attachment(s) reflecting counsel's
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky                         Maripat Rhood (mrhood@cntus.jnj.com);                                                                                                                                                                                request for information for the purpose of providing
                                                                                                                                                                               (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind                         Michael Schoeck (mschoeck@its.jnj.com);                                                                                                                                                                              legal advice from Patterson Belknap ^ regarding
2190   JANSSENBIO‐PL_2‐0001920                             Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                           (mziskind@cntus.jnj.com)                                                                                    Michael Ziskind (mziskind@cntus.jnj.com)      Maripat Rhood (mrhood@cntus.jnj.com)              Michael Schoeck (mschoeck@its.jnj.com)                                                                   4/12/2005   marketing activities and strategies.

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                   Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2191   JANSSENBIO‐PL_2‐0001921                             Withheld   ppt     Schoeck, Michael       Attorney‐Client   Centocor, Inc.              (czalesky@its.jnj.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                                               (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2192   JANSSENBIO‐PL_2‐0001922                             Withheld           Schoeck, Michael       Attorney‐Client                                                           (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                   Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2193   JANSSENBIO‐PL_2‐0001923                             Withheld   doc     Schoeck, Michael       Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                   Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2194   JANSSENBIO‐PL_2‐0001924                             Withheld   ppt     Schoeck, Michael       Attorney‐Client   Centocor, Inc.              (czalesky@its.jnj.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                                               (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2195   JANSSENBIO‐PL_2‐0001925                             Withheld           Schoeck, Michael       Attorney‐Client                                                           (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                   Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2196   JANSSENBIO‐PL_2‐0001926                             Withheld   doc     Schoeck, Michael       Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                   Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2197   JANSSENBIO‐PL_2‐0001927                             Withheld   ppt     Schoeck, Michael       Attorney‐Client   Centocor, Inc.              (czalesky@its.jnj.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                                               (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2198   JANSSENBIO‐PL_2‐0001928                             Withheld           Schoeck, Michael       Attorney‐Client                                                           (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                   Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2199   JANSSENBIO‐PL_2‐0001929                             Withheld   doc     Schoeck, Michael       Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                       Tamara Scoville ^           Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2200   JANSSENBIO‐PL_2‐0001930                             Withheld   DOC     Schoeck, Michael       Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                       Tamara Scoville ^           Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2201   JANSSENBIO‐PL_2‐0001931                             Withheld   doc     Schoeck, Michael       Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                   Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2202   JANSSENBIO‐PL_2‐0001932                             Withheld   doc     Schoeck, Michael       Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                   Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2203   JANSSENBIO‐PL_2‐0001933                             Withheld   doc     Schoeck, Michael       Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                   Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2204   JANSSENBIO‐PL_2‐0001934                             Withheld   doc     Schoeck, Michael       Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)      (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                       Rick Anderson                                           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2205   JANSSENBIO‐PL_2‐0001935                             Withheld   doc     Schoeck, Michael       Attorney‐Client   (andersonr@centocor.com)    schmidr                     (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005

                                                                                                                                                                               Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                       Tamara Scoville ^           Tamara Scoville ^           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2206   JANSSENBIO‐PL_2‐0001936                             Withheld   DOC     Schoeck, Michael       Attorney‐Client   (tscoville@reedsmith.com)   (tscoville@reedsmith.com)   (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                             4/12/2005




                                                                                                                                                                                                                                                       77
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 79 of 201


                                                                                                                                                                                                        Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                                                        (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                                             Christopher Zalesky        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2207   JANSSENBIO‐PL_2‐0001937                                                       Withheld   ppt     Schoeck, Michael       Attorney‐Client   Centocor, Inc.              (czalesky@its.jnj.com)     (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                         4/12/2005

                                                                                                                                                                                                        Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                                                        (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                                             Joy Johnson                (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2208   JANSSENBIO‐PL_2‐0001938                                                       Withheld   ppt     Schoeck, Michael       Attorney‐Client   Centocor, Inc.              (jjohns14@its.jnj.com)     (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                         4/12/2005

                                                                                                                                                                                                        Jessica Golden Cortes (jcortes@pbwt.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                                                        (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2209   JANSSENBIO‐PL_2‐0001939                                                       Withheld   ppt     Schoeck, Michael       Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)     (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                                                         4/12/2005
                                                                                                                                                                                                                                                                                                                                                                Bill Wladika (bwladika@cntus.jnj.com); Carol
                                                                                                                                                                                                                                                                                                                                                                Peccarelli (cpeccar@cntus.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                                                                Molineaux (cmoline1@cntus.jnj.com); Elizabeth
                                                                                                                                                                                                        Elizabeth Anderson (lander23@its.jnj.com); Rick Bierly (rbierly@cntus.jnj.com); Scott Habig                                                             Anderson (lander23@its.jnj.com); Freddy
                                                                                                                                                                                                        (shabig@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery                                                                         Jimenez ^ (fjimene3@its.jnj.com); Julie McHugh
                                                                                                                                                                                                        (tmccaff3@cntus.jnj.com); Julie McHugh (jmchugh2@tibus.jnj.com); Christopher Molineaux                                                                  (jmchugh2@tibus.jnj.com); Rick Bierly                                                                                                                                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                        (cmoline1@cntus.jnj.com); Carol Peccarelli (cpeccar@cntus.jnj.com); Maripat Rhood                                                                       (rbierly@cntus.jnj.com); Scott Habig                                                             Maripat Rhood (mrhood@cntus.jnj.com); Michelle Walls                regarding preparation/review of internal training or
                                                                                                                                                                                                        (mrhood@cntus.jnj.com); Thomas Schaible (tschaibl@its.jnj.com); Michael Schoeck                                                                         (shabig@its.jnj.com); Thomas Schaible                                                            (mwalls@its.jnj.com); Thomas McCaffery                              internal guidance concerning practice management or IOI
2210   JANSSENBIO‐PL_2‐0001940                                                       Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                          (mschoeck@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Bill Wladika (bwladika@cntus.jnj.com)                                                      (tschaibl@its.jnj.com)                             Michael Schoeck (mschoeck@its.jnj.com)        (tmccaff3@cntus.jnj.com)                                4/26/2005   support.



                                                                                                                                                                                                        Elizabeth Anderson (lander23@its.jnj.com); Rick Bierly (rbierly@cntus.jnj.com); Scott Habig
                                                                                                                                                                                                        (shabig@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                                                                        (tmccaff3@cntus.jnj.com); Julie McHugh (jmchugh2@tibus.jnj.com); Christopher Molineaux
                                                                                                                                                                                                        (cmoline1@cntus.jnj.com); Carol Peccarelli (cpeccar@cntus.jnj.com); Maripat Rhood
                                                                                                                                                 Tamara Scoville ^           Michael Schoeck            (mrhood@cntus.jnj.com); Thomas Schaible (tschaibl@its.jnj.com); Michael Schoeck
2211   JANSSENBIO‐PL_2‐0001941                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   (tscoville@reedsmith.com)   (mschoeck@its.jnj.com)     (mschoeck@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Bill Wladika (bwladika@cntus.jnj.com)                                                                                                                                                                                                               4/26/2005
                                                                                                                                                                                                                                                                                                                      Arlene Stephens (astephe4@cntus.jnj.com);
                                                                                                                                                                                                                                                                                                                      Freddy Jimenez ^ (fjimene3@corus.jnj.com);                                                                                                                                                                     Email chain reflecting legal advice from Legal Department
                                                                                                                                                                                                        Patrick Mcveigh (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Kristin Scott               Michael Schoeck (mschoeck@its.jnj.com);                                                                                                                                                                        regarding preparation/review of customer‐facing practice
2212   JANSSENBIO‐PL_2‐0001942   JANSSENBIO‐064‐00002767   JANSSENBIO‐064‐00002767   Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                          (kscott6@cntus.jnj.com)                                                                                       Patrick Mcveigh (pmcveigh@cntus.jnj.com) Patrick Mcveigh (pmcveigh@cntus.jnj.com)            Michael Schoeck (mschoeck@its.jnj.com)                                                                6/14/2005   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                 Barbara Wolf (bwolf1@its.jnj.com); Chris
                                                                                                                                                                                                                                                                                                                                                                 Matteson (cmattes1@its.jnj.com); Dina Given
                                                                                                                                                                                                        Jose Barro (jbarro@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Ann Buchan                                                                        (dgiven@its.jnj.com); Edward Benson
                                                                                                                                                                                                        (abuchan@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Jennifer De Camara ^                                                                       (ebenson5@its.jnj.com); Gina Dunsmuir
                                                                                                                                                                                                        (jdecamar@corus.jnj.com); Gina Dunsmuir (gdunsmui@its.jnj.com); Walter Fox (wfox@its.jnj.com); Dina                                                      (gdunsmui@its.jnj.com); Johanna Hayes                                                           Ann Buchan (abuchan@its.jnj.com); Jennifer De Camara                Email with attachment(s) providing information to
                                                                                                                                                                                                        Given (dgiven@its.jnj.com); Johanna Hayes (jhayes16@its.jnj.com); Chris Matteson                                                                         (jhayes16@its.jnj.com); Jose Barro                                                              ^ (jdecamar@corus.jnj.com); Marlene Tandy ^                         counsel for the purpose of receiving legal advice
                                                                                                                                                                                                        (cmattes1@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Liza Ovington                                                                        (jbarro@its.jnj.com); Liza Ovington                                                             (mtandy@its.jnj.com); Michael McCulley ^                            regarding preparation/review of internal training or
                                                                                                                                                                                                        (lovingt@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Barbara Wolf (bwolf1@its.jnj.com);                                                          (lovingt@its.jnj.com); Susan Clarke                                                             (mmccull@corus.jnj.com); Walter Fox                                 internal guidance concerning practice management or IOI
2213   JANSSENBIO‐PL_2‐0001943                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                          Christopher Zalesky (czalesky@its.jnj.com)                                                                                                               (sclarke9@aspus.jnj.com)                          Christopher Zalesky (czalesky@its.jnj.com)    (wfox@its.jnj.com)                                      10/6/2011   support.



                                                                                                                                                                                                        Jose Barro (jbarro@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Ann Buchan
                                                                                                                                                                                                        (abuchan@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                        (jdecamar@corus.jnj.com); Gina Dunsmuir (gdunsmui@its.jnj.com); Walter Fox (wfox@its.jnj.com); Dina
                                                                                                                                                                                                        Given (dgiven@its.jnj.com); Johanna Hayes (jhayes16@its.jnj.com); Chris Matteson
                                                                                                                                                                                                        (cmattes1@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Liza Ovington
                                                                                                                                                 Jennifer De Camara ^        Jennifer De Camara ^       (lovingt@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Barbara Wolf (bwolf1@its.jnj.com);
2214   JANSSENBIO‐PL_2‐0001944                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (jdecamar@corus.jnj.com)    (jdecamar@corus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                       10/6/2011

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     counsel for the purpose of receiving legal advice
                                                                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox (wfox@its.jnj.com); Michael McCulley ^                                                                                                                                                         Marlene Tandy ^ (mtandy@its.jnj.com); Michael                       regarding preparation/review of internal training or
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky                                                                                                                                                                       McCulley ^ (mmccull@corus.jnj.com); Walter Fox                      internal guidance concerning practice management or IOI
2215   JANSSENBIO‐PL_2‐0001945                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                      Michael McCulley ^ (mmccull@corus.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)    (wfox@its.jnj.com)                                     11/17/2011   support.

                                                                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox (wfox@its.jnj.com); Michael McCulley ^
                                                                                                                                                 Jennifer De Camara ^        Jennifer De Camara ^       (mmccull@corus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Christopher Zalesky
2216   JANSSENBIO‐PL_2‐0001946                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (jdecamar@corus.jnj.com)    (jdecamar@corus.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                              11/17/2011
                                                                                                                                                                                                                                                                                                                                                                Dirk Brinckman ^ (dbrinckm@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                                                                                                                Jimenez ^ (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                                                                                                                                (htorell@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        Dirk Brinckman ^ (dbrinckm@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^                                                       (mkenned3@its.jnj.com); Mark Sievers ^                                                                                                                               Email with attachment(s) requesting legal advice
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Mark Sievers ^                                                                      (msievers@its.jnj.com); Michael McCulley ^                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                                                                        (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);                                               (mmccull@corus.jnj.com); Patricia Villani ^                                                                                                                          internal guidance concerning practice management or IOI
2217   JANSSENBIO‐PL_2‐0001947                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                          Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                  (pvillan1@its.jnj.com)                            Christopher Zalesky (czalesky@its.jnj.com)                                                             12/5/2011   support.


                                                                                                                                                                                                        Dirk Brinckman ^ (dbrinckm@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Mark Sievers ^
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky        (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
2218   JANSSENBIO‐PL_2‐0001948                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                           12/5/2011



                                                                                                                                                                                                        Dirk Brinckman ^ (dbrinckm@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Mark Sievers ^
                                                                                                                                                 Daryl Todd ^                Christopher Zalesky        (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
2219   JANSSENBIO‐PL_2‐0001949                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)        (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                           12/5/2011



                                                                                                                                                                                                        Dirk Brinckman ^ (dbrinckm@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Mark Sievers ^
                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky        (msievers@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
2220   JANSSENBIO‐PL_2‐0001950                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                           12/5/2011




                                                                                                                                                                                                        Dirk Brinckman ^ (dbrinckm@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                                                                                        (kcurry@janus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jessica Empestan ^
                                                                                                                                                                                                        (jempesta@its.jnj.com); Elizabeth Forminard ^ (eformina@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                        (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                        (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                        (khamill@cntus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                        Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^
                                                                                                                                                                                                        (pknight@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com);
                                                                                                                                                                                                        Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Larry Montes
                                                                                                                                                                                                        (lmontes4@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                                                                        Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                        (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Thomas Stukane ^ (tstukane@its.jnj.com); Marlene
                                                                                                                                                                                                        Tandy ^ (mtandy@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);                                                 Elizabeth Forminard ^ (eformina@its.jnj.com);                                                                                                                        Email chain reflecting legal advice regarding
                                                                                                                                                                                                        Kristi Travers ^ (ktravers@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                                                      Kris Curry (kcurry@janus.jnj.com); Larry Montes                                                                                                                      preparation/review of internal training or internal
                                                                                                                                                                                                        (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                 (lmontes4@its.jnj.com); Paul Lawrance                                                                                                                                guidance concerning practice management or IOI
2221                             JANSSENBIO‐064‐00005256   JANSSENBIO‐064‐00005259   Redacted   eMail   Zalesky, Christopher   Attorney‐Client                                                          (czalesky@its.jnj.com)                                                                                                                                  (plawran1@its.jnj.com)                              Christopher Zalesky (czalesky@its.jnj.com)                                                          12/15/2011   support.
                                                                                                                                                                                                                                                                                                                                                                Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^                                                      Freddy Jimenez ^ (fjimene3@its.jnj.com); Helen
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^                                                                           Torelli ^ (htorell@its.jnj.com); Joyce ter Heerdt ^                                                                                                                  Email with attachment(s) providing information to
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^                                                                         (jtheerdt@jppbe.jnj.com); Maria Kennedy ^                                                                                                                            counsel for the purpose of receiving legal advice
                                                                                                                                                                                                        (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);                                             (mkenned3@its.jnj.com); Mark Sievers ^                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                                                        Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^                                                            (msievers@its.jnj.com); Patricia Villani ^          Michael McCulley ^                                                                                               internal guidance concerning practice management or IOI
2222   JANSSENBIO‐PL_2‐0001951                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                          (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                      (pvillan1@its.jnj.com)                              (mmccull@corus.jnj.com)                                                                             11/14/2012   support.



                                                                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                        (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                 Sue Seferian ^              Christopher Zalesky        Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2223   JANSSENBIO‐PL_2‐0001952                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)      (czalesky@its.jnj.com)     (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                              11/14/2012



                                                                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                        (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                 Rika Ville                  Christopher Zalesky        Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2224   JANSSENBIO‐PL_2‐0001953                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)      (czalesky@its.jnj.com)     (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                              11/14/2012



                                                                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                        (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                 Daryl Todd ^                Daryl Todd ^               Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2225   JANSSENBIO‐PL_2‐0001954                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)        (dtodd1@its.jnj.com)       (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                              11/14/2012



                                                                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                        (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                 Daryl Todd ^                Daryl Todd ^               Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2226   JANSSENBIO‐PL_2‐0001955                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)        (dtodd1@its.jnj.com)       (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                              11/14/2012



                                                                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                        (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                 Rika Ville                  Christopher Zalesky        Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2227   JANSSENBIO‐PL_2‐0001956                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)      (czalesky@its.jnj.com)     (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                              11/14/2012



                                                                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                        (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                 Rika Ville                  Christopher Zalesky        Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2228   JANSSENBIO‐PL_2‐0001957                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)      (czalesky@its.jnj.com)     (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                              11/14/2012




                                                                                                                                                                                                                                                                                    78
                                                                                      Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 80 of 201


                                                                                                                                                                                                            Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                            (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                            (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                       Thomas Spellman ^           Thomas Spellman ^        Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2229   JANSSENBIO‐PL_2‐0001958                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tspellma@its.jnj.com)      (tspellma@its.jnj.com)   (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                              11/14/2012



                                                                                                                                                                                                            Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                            (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                            (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2230   JANSSENBIO‐PL_2‐0001959                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                              11/14/2012



                                                                                                                                                                                                            Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                            (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                            (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                       Government Contracting      Lorraine Moccio          Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2231   JANSSENBIO‐PL_2‐0001960                                                       Withheld   docx    Zalesky, Christopher         Attorney‐Client   Group                       (lmoccio@its.jnj.com)    (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                              11/14/2012



                                                                                                                                                                                                            Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                            (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                            (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                       Bryan Brewer                Bryan Brewer             Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2232   JANSSENBIO‐PL_2‐0001961                                                       Withheld   docx    Zalesky, Christopher         Attorney‐Client   (BBrewer@crowell.com)       (BBrewer@crowell.com)    (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                              11/14/2012



                                                                                                                                                                                                            Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                            (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                            (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                       Gary Eichenbaum             Thomas Spellman ^        Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2233   JANSSENBIO‐PL_2‐0001962                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (GEICHENB@its.jnj.com)      (tspellma@its.jnj.com)   (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                              11/14/2012



                                                                                                                                                                                                            Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                            (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^                                 Daryl Todd ^ (dtodd1@its.jnj.com); Maria
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^                               Kennedy ^ (mkenned3@its.jnj.com); Mary Kozar
                                                                                                                                                                                                            (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);   ^ (mkozar@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                            Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^                  (sgilson@its.jnj.com); Sue Seferian ^           Michael McCulley ^
2234   JANSSENBIO‐PL_2‐0001963                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                            (sseferia@its.jnj.com)                          (mmccull@corus.jnj.com)                                                                           11/14/2012



                                                                                                                                                                                                            Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                            (mkenned3@its.jnj.com); Mary Kozar ^ (mkozar@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                            (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com);
                                                                                                                                                       Tamara Scoville ^           Christopher Zalesky      Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Patricia Villani ^
2235   JANSSENBIO‐PL_2‐0001964                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                              11/14/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         legal advice from Deidre Meehan and Mark Sievers
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                                             regarding preparation/review of internal training or
2236   JANSSENBIO‐PL_2‐0001965                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                        Christopher Zalesky (czalesky@its.jnj.com)      Rebecca Hayes (rhayes5@its.jnj.com)       Michele Rubincam (mrubinc@its.jnj.com)                  11/16/2012   internal guidance.
                                                                                                                                                       Niels Van Der Schraaf       Rebecca Hayes            Rebecca Hayes (rhayes5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky
2237   JANSSENBIO‐PL_2‐0001966                                                       Withheld   docx    Zalesky, Christopher         Attorney‐Client   (nschraaf@its.jnj.com)      (rhayes5@its.jnj.com)    (czalesky@its.jnj.com)                                                                                                                                                                                                                                          11/16/2012
                                                                                                                                                       Niels Van Der Schraaf       Rebecca Hayes            Rebecca Hayes (rhayes5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky
2238   JANSSENBIO‐PL_2‐0001967                                                       Withheld   docx    Zalesky, Christopher         Attorney‐Client   (nschraaf@its.jnj.com)      (rhayes5@its.jnj.com)    (czalesky@its.jnj.com)                                                                                                                                                                                                                                          11/16/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Department regarding preparation/review of internal
                                                                                                        Schoeck, Michael; Zalesky,                                                 Christopher Zalesky                                                                                                                                                                                                                                                                                   training or internal guidance concerning practice
2239   JANSSENBIO‐PL_2‐0001968   JANSSENBIO‐064‐00002845   JANSSENBIO‐064‐00002845   Withheld   ppt     Christopher                  Attorney‐Client   Centocor, Inc.              (czalesky@its.jnj.com)   Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                              12/13/2002   management or IOI support.
                                                                                                        Schoeck, Michael; Zalesky,
2240   JANSSENBIO‐PL_2‐0001969                                                       Withheld           Christopher                  Attorney‐Client                                                        Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                              12/13/2002
                                                                                                        Schoeck, Michael; Zalesky,                     Christopher Zalesky         Christopher Zalesky
2241   JANSSENBIO‐PL_2‐0001970                                                       Withheld           Christopher                  Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                              12/13/2002
                                                                                                        Schoeck, Michael; Zalesky,                     Christopher Zalesky         Christopher Zalesky
2242   JANSSENBIO‐PL_2‐0001971                                                       Withheld           Christopher                  Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                              12/13/2002




                                                                                                                                                                                                            Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^
                                                                                                                                                                                                            (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Naoko Fujii (fujii@sciosinc.com);
                                                                                                                                                                                                            Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Thomas McCafferty (tmccaffe@cntus.jnj.com); Thomas McCaffery
                                                                                                                                                                                                            (tmccaff3@cntus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); John Murray
                                                                                                                                                                                                            (jmurray6@cntus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Robert O'Holla                                                                                                                                                                                         Email chain with attachment(s) reflecting counsel's
                                                                                                                                                                                                            (roholla@corus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Mark Sievers ^                                                                                                                                                                                              request for information for the purpose of providing
                                                                                                                                                                                                            (msievers@its.jnj.com); Kisha Sims (ksims1@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);               John Murray (jmurray6@cntus.jnj.com); Michael   Thomas McCaffery                                                                                               legal advice regarding issues relating to lawfulness of
2243   JANSSENBIO‐PL_2‐0001972                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                    Schoeck (mschoeck@its.jnj.com)                  (tmccaff3@cntus.jnj.com)                                                                           5/23/2005   practice management or IOI support services.




                                                                                                                                                                                                            Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^
                                                                                                                                                                                                            (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Naoko Fujii (fujii@sciosinc.com);
                                                                                                                                                                                                            Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Thomas McCafferty (tmccaffe@cntus.jnj.com); Thomas McCaffery
                                                                                                                                                                                                            (tmccaff3@cntus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); John Murray
                                                                                                                                                                                                            (jmurray6@cntus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Robert O'Holla
                                                                                                                                                                                                            (roholla@corus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Mark Sievers ^                                                                                                                         Dorothy Clarke ^ (dclarke3@its.jnj.com); Joseph
                                                                                                                                                                                                            (msievers@its.jnj.com); Kisha Sims (ksims1@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);               Louise Mehrotra (lmehrot@corus.jnj.com);                                                  Braunreuther ^ (jbraunre@its.jnj.com); Mark Sievers ^
2244   JANSSENBIO‐PL_2‐0001973                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                    Robert O'Holla (roholla@corus.jnj.com)          Freddy Jimenez ^ (fjimene3@its.jnj.com)   (msievers@its.jnj.com)                                   5/23/2005




                                                                                                                                                                                                            Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Michael Chester ^
                                                                                                                                                                                                            (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Naoko Fujii (fujii@sciosinc.com);
                                                                                                                                                                                                            Bonnie Goldmann (bgoldman@prdus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Thomas McCafferty (tmccaffe@cntus.jnj.com); Thomas McCaffery
                                                                                                                                                                                                            (tmccaff3@cntus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); John Murray
                                                                                                                                                                                                            (jmurray6@cntus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Robert O'Holla
                                                                                                                                                                                                            (roholla@corus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Mark Sievers ^
                                                                                                                                                       Joseph Metro ^              Freddy Jimenez ^         (msievers@its.jnj.com); Kisha Sims (ksims1@corus.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
2245   JANSSENBIO‐PL_2‐0001974                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (jmetro@reedsmith.com)      (fjimene3@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       5/23/2005
                                                                                                                                                                                                            Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                                                                                            (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                                                                                            Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                                                                                            (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary
                                                                                                                                                                                                            Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley
                                                                                                                                                                                                            (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);
                                                                                                                                                                                                            Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                                                                                            (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce
                                                                                                                                                                                                            Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);
                                                                                                                                                                                                            Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry
                                                                                                                                                                                                            (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane
                                                                                                                                                                                                            Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                            (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob
                                                                                                                                                                                                            Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                                                                                            (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                            Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano
                                                                                                                                                                                                            (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);
                                                                                                                                                                                                            Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                            (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken
                                                                                                                                                                                                            Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich
                                                                                                                                                                                                            (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                                                                            (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);
                                                                                                                                                                                                            Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly
                                                                                                                                                                                                            (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria                                                                                                                                                                      Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                            Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance                                                                                                                                                                                        from Legal Department regarding preparation/review of
                                                                                                                                                                                                            (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa                                                                                                                                                                     internal training or internal guidance concerning practice
2246   JANSSENBIO‐PL_2‐0001975                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                    Christopher Zalesky (czalesky@its.jnj.com)      Luella Engelhart (lengelh2@its.jnj.com)                                                           12/14/2012   management or IOI support.
                                                                                                                                                                                                            Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                                                                                            (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                                                                                            Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                                                                                            (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary
                                                                                                                                                                                                            Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley
                                                                                                                                                                                                            (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);
                                                                                                                                                                                                            Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                                                                                            (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce
                                                                                                                                                                                                            Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);
                                                                                                                                                                                                            Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry
                                                                                                                                                                                                            (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane
                                                                                                                                                                                                            Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                            (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob
                                                                                                                                                                                                            Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                                                                                            (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                            Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano
                                                                                                                                                                                                            (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);
                                                                                                                                                                                                            Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                            (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken
                                                                                                                                                                                                            Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich
                                                                                                                                                                                                            (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                                                                            (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);
                                                                                                                                                                                                            Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly
                                                                                                                                                                                                            (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria
                                                                                                                                                                                                            Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance
                                                                                                                                                       Daryl Todd ^                Daryl Todd ^             (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa
2247   JANSSENBIO‐PL_2‐0001976                                                       Withheld   docx    Zalesky, Christopher         Attorney‐Client   (dtodd1@its.jnj.com)        (dtodd1@its.jnj.com)     Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                                                                                                                                                                      12/14/2012




                                                                                                                                                                                                                                                                                     79
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 81 of 201



                                                                                                                                                        Clifford Birge ^ (cbirge@its.jnj.com); Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino
                                                                                                                                                        (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Barbara Donnelly (bdonnel@corus.jnj.com); Michelle Fried ^
                                                                                                                                                        (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian Kelly
                                                                                                                                                        (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^
                                                                                                                                                        (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Michael Mercurio
                                                                                                                                                        (mmercur@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Clayton Paterson ^
                                                                                                                                                        (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                        Larry Russo (lrusso5@corus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Kathy Schroeher ^
                                                                                                                                                        (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                        Carol Smith (csmith35@cntus.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Thomas Spellman ^                                                                                                                        Email chain with attachment(s) reflecting request for
                                                                                                                                                        (tspellma@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com);         Carol Smith (csmith35@cntus.jnj.com); Maripat                                                              legal advice from Legal Department regarding
                                                                                                                                                        Kristi Travers ^ (ktravers@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com); Michelle Walls         Rhood (mrhood@cntus.jnj.com); Michael                                                                      preparation/review of internal training or internal
                                                    Schoeck, Michael; Zalesky,                                                                          (mwalls@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                       Schoeck (mschoeck@its.jnj.com); Michelle Walls                                                             guidance concerning practice management or IOI
2248   JANSSENBIO‐PL_2‐0001977   Withheld   eMail   Christopher                  Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                      (mwalls@its.jnj.com)                             Christopher Zalesky (czalesky@its.jnj.com)   11/22/2004   support.




                                                                                                                                                        Clifford Birge ^ (cbirge@its.jnj.com); Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino
                                                                                                                                                        (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Barbara Donnelly (bdonnel@corus.jnj.com); Michelle Fried ^
                                                                                                                                                        (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian Kelly
                                                                                                                                                        (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^
                                                                                                                                                        (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Michael Mercurio
                                                                                                                                                        (mmercur@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Clayton Paterson ^
                                                                                                                                                        (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                        Larry Russo (lrusso5@corus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Kathy Schroeher ^
                                                                                                                                                        (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                        Carol Smith (csmith35@cntus.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Thomas Spellman ^
                                                                                                                                                        (tspellma@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com);
                                                                                                                                                        Kristi Travers ^ (ktravers@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com); Michelle Walls
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (mwalls@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2249   JANSSENBIO‐PL_2‐0001978   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                    11/22/2004




                                                                                                                                                        Clifford Birge ^ (cbirge@its.jnj.com); Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino
                                                                                                                                                        (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Barbara Donnelly (bdonnel@corus.jnj.com); Michelle Fried ^
                                                                                                                                                        (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian Kelly
                                                                                                                                                        (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^
                                                                                                                                                        (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Michael Mercurio
                                                                                                                                                        (mmercur@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Clayton Paterson ^
                                                                                                                                                        (cpaters@its.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                        Larry Russo (lrusso5@corus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Kathy Schroeher ^
                                                                                                                                                        (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                        Carol Smith (csmith35@cntus.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Thomas Spellman ^
                                                                                                                                                        (tspellma@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com);
                                                                                                                                                        Kristi Travers ^ (ktravers@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com); Michelle Walls
                                                    Schoeck, Michael; Zalesky,                     Lawrence Southard           Joy Johnson              (mwalls@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2250   JANSSENBIO‐PL_2‐0001979   Withheld   doc     Christopher                  Attorney‐Client   (lsouthar@ppgus.jnj.com)    (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                    11/22/2004
                                                                                                                                                        Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                        (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                        Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                        (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                        Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                        Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                        (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                        Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                        Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                        (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                        Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                        (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                        Gina Giordano (ggiordan@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Rolli Greer
                                                                                                                                                        (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Manish
                                                                                                                                                        Gupta (mgupta2@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);
                                                                                                                                                        Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                        (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa
                                                                                                                                                        Huston (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com);
                                                                                                                                                        Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Paul Lawrance
                                                                                                                                                        (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie
                                                                                                                                                        March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark
                                                                                                                                                        (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                        Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                        McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                        (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Deidre Meehan ^                                                                                                                                        Email chain with attachment(s) reflecting legal advice
                                                                                                                                                        (dmeehan5@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Matt                                                                                                                   regarding preparation/review of draft internal training or
                                                                                                                                                        Moore (mmoore6@its.jnj.com); Kimberly Norton (norton.kim@synthes.com); Erin Parsons                                                                                                                                    internal guidance concerning practice management or IOI
2251   JANSSENBIO‐PL_2‐0001980   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com);           Deidre Meehan ^ (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)    10/8/2012   support.
                                                                                                                                                        Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                        (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                        Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                        (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                        Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                        Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                        (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                        Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                        Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                        (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                        Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                        (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                        Gina Giordano (ggiordan@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Rolli Greer
                                                                                                                                                        (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Manish
                                                                                                                                                        Gupta (mgupta2@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);
                                                                                                                                                        Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                        (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa
                                                                                                                                                        Huston (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com);
                                                                                                                                                        Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Paul Lawrance
                                                                                                                                                        (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie
                                                                                                                                                        March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark
                                                                                                                                                        (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                        Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                        McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                        (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Deidre Meehan ^
                                                                                                                                                        (dmeehan5@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Matt
                                                                                                   Daryl Todd ^                Daryl Todd ^             Moore (mmoore6@its.jnj.com); Kimberly Norton (norton.kim@synthes.com); Erin Parsons
2252   JANSSENBIO‐PL_2‐0001981   Withheld   docx    Zalesky, Christopher         Attorney‐Client   (dtodd1@its.jnj.com)        (dtodd1@its.jnj.com)     (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com);                                                                                                          10/8/2012
                                                                                                                                                        Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                        (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                        Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                        (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                        Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                        Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                        (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                        Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                        Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                        (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                        Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                        (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                        Gina Giordano (ggiordan@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Rolli Greer
                                                                                                                                                        (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Manish
                                                                                                                                                        Gupta (mgupta2@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);
                                                                                                                                                        Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                        (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa
                                                                                                                                                        Huston (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com);
                                                                                                                                                        Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Paul Lawrance
                                                                                                                                                        (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie
                                                                                                                                                        March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark
                                                                                                                                                        (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                        Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                        McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                        (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Deidre Meehan ^
                                                                                                                                                        (dmeehan5@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Matt
                                                                                                   Daryl Todd ^                Daryl Todd ^             Moore (mmoore6@its.jnj.com); Kimberly Norton (norton.kim@synthes.com); Erin Parsons
2253   JANSSENBIO‐PL_2‐0001982   Withheld   docx    Zalesky, Christopher         Attorney‐Client   (dtodd1@its.jnj.com)        (dtodd1@its.jnj.com)     (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com);                                                                                                          10/8/2012




                                                                                                                                                                                                                                 80
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 82 of 201

                                                                                                                                                     Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                     (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                     Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                     (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                     Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                     (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                     Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                     (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                     Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                     Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                     (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                     Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                     (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                     Gina Giordano (ggiordan@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Rolli Greer
                                                                                                                                                     (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Manish
                                                                                                                                                     Gupta (mgupta2@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);
                                                                                                                                                     Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                     (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa
                                                                                                                                                     Huston (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com);
                                                                                                                                                     Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Paul Lawrance
                                                                                                                                                     (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie
                                                                                                                                                     March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark
                                                                                                                                                     (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                     Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                     McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                     (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Deidre Meehan ^
                                                                                                                                                     (dmeehan5@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Matt
                                                                                                   Daryl Todd ^             Daryl Todd ^             Moore (mmoore6@its.jnj.com); Kimberly Norton (norton.kim@synthes.com); Erin Parsons
2254   JANSSENBIO‐PL_2‐0001983   Withheld   docx    Zalesky, Christopher         Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)     (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com);                                                                                                                                        10/8/2012
                                                                                                                                                     Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                     (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                     Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                     (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                     Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                     (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                     Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                     (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                     Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                     Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                     (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                     Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                     (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                     Gina Giordano (ggiordan@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Rolli Greer
                                                                                                                                                     (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Manish
                                                                                                                                                     Gupta (mgupta2@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);
                                                                                                                                                     Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                     (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa
                                                                                                                                                     Huston (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com);
                                                                                                                                                     Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Paul Lawrance
                                                                                                                                                     (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie
                                                                                                                                                     March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark
                                                                                                                                                     (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                     Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                     McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                     (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Deidre Meehan ^
                                                                                                                                                     (dmeehan5@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Matt
                                                                                                   Daryl Todd ^             Daryl Todd ^             Moore (mmoore6@its.jnj.com); Kimberly Norton (norton.kim@synthes.com); Erin Parsons
2255   JANSSENBIO‐PL_2‐0001984   Withheld   docx    Zalesky, Christopher         Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)     (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com);                                                                                                                                        10/8/2012
                                                                                                                                                     Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                     (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                     Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                     (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                     Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                     (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                     Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                     (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                     Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                     Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                     (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                     Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                     (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                     Gina Giordano (ggiordan@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Rolli Greer
                                                                                                                                                     (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Manish
                                                                                                                                                     Gupta (mgupta2@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);
                                                                                                                                                     Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                     (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa
                                                                                                                                                     Huston (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com);
                                                                                                                                                     Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Paul Lawrance
                                                                                                                                                     (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie
                                                                                                                                                     March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark
                                                                                                                                                     (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                     Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                     McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                     (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Deidre Meehan ^
                                                                                                                                                     (dmeehan5@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Matt
                                                                                                   Rika Ville               Christopher Zalesky      Moore (mmoore6@its.jnj.com); Kimberly Norton (norton.kim@synthes.com); Erin Parsons
2256   JANSSENBIO‐PL_2‐0001985   Withheld   pptx    Zalesky, Christopher         Attorney‐Client   (rdeville@its.jnj.com)   (czalesky@its.jnj.com)   (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com);                                                                                                                                        10/8/2012
                                                                                                                                                     Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                     (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                     Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                     (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                     Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                     (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                     Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                     (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                     Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                     Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                     (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                     Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                     (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                     Gina Giordano (ggiordan@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Rolli Greer
                                                                                                                                                     (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Manish
                                                                                                                                                     Gupta (mgupta2@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com);
                                                                                                                                                     Natalie Heidrich (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                     (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa
                                                                                                                                                     Huston (lhuston@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com);
                                                                                                                                                     Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Paul Lawrance
                                                                                                                                                     (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Jamie
                                                                                                                                                     March (jmarch1@its.jnj.com); Anthony Marchetta (amarchet@its.jnj.com); Nancy Mark
                                                                                                                                                     (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                     Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                     McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                     (cmcneal1@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Deidre Meehan ^
                                                                                                                                                     (dmeehan5@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Matt
                                                                                                   Rika Ville               Christopher Zalesky      Moore (mmoore6@its.jnj.com); Kimberly Norton (norton.kim@synthes.com); Erin Parsons
2257   JANSSENBIO‐PL_2‐0001986   Withheld   PPTX    Zalesky, Christopher         Attorney‐Client   (rdeville@its.jnj.com)   (czalesky@its.jnj.com)   (eparson5@its.jnj.com); Amit Patel (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com);                                                                                                                                        10/8/2012
                                                                                                                                                     Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                     (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                     (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                     (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                     (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                     (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                     Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                     (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                     Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                     DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                     (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                     Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                     Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                     (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                     Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                     (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                     Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                     (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                     Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                     McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                     (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                     (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                     (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                     (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                     (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                     (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);                                                                                                                                                  Email chain with attachment(s) reflecting legal advice
                                                                                                                                                     Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms                                                                                                                                                     from Legal Department regarding preparation/review of
                                                    Schoeck, Michael; Zalesky,                                                                       (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck                              Maripat Rhood (mrhood@cntus.jnj.com);                                                                                                    internal training or internal guidance concerning practice
2258   JANSSENBIO‐PL_2‐0001987   Withheld   eMail   Christopher                  Attorney‐Client                                                     (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            Michael Schoeck (mschoeck@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)   Carol Smith (csmith35@cntus.jnj.com)   2/24/2003   management or IOI support.
                                                                                                                                                     Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                     (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                     (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                     (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                     (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                     (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                     Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                     (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                     Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                     DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                     (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                     Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                     Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                     (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                     Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                     (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                     Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                     (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                     Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                     McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                     (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                     (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                     (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                     (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                     (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                     (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                     Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                    Schoeck, Michael; Zalesky,                                              Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2259   JANSSENBIO‐PL_2‐0001988   Withheld   doc     Christopher                  Attorney‐Client   Johnson & Johnson        (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                                                                                                                                                         2/24/2003




                                                                                                                                                                                                                             81
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 83 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2260   JANSSENBIO‐PL_2‐0001989   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2261   JANSSENBIO‐PL_2‐0001990   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2262   JANSSENBIO‐PL_2‐0001991   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2263   JANSSENBIO‐PL_2‐0001992   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2264   JANSSENBIO‐PL_2‐0001993   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2265   JANSSENBIO‐PL_2‐0001994   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003




                                                                                                                                                                                                                               82
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 84 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2266   JANSSENBIO‐PL_2‐0001995   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2267   JANSSENBIO‐PL_2‐0001996   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2268   JANSSENBIO‐PL_2‐0001997   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2269   JANSSENBIO‐PL_2‐0001998   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2270   JANSSENBIO‐PL_2‐0001999   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2271   JANSSENBIO‐PL_2‐0002000   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003




                                                                                                                                                                                                                               83
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 85 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2272   JANSSENBIO‐PL_2‐0002001   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2273   JANSSENBIO‐PL_2‐0002002   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2274   JANSSENBIO‐PL_2‐0002003   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2275   JANSSENBIO‐PL_2‐0002004   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2276   JANSSENBIO‐PL_2‐0002005   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2277   JANSSENBIO‐PL_2‐0002006   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003




                                                                                                                                                                                                                               84
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 86 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2278   JANSSENBIO‐PL_2‐0002007   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2279   JANSSENBIO‐PL_2‐0002008   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2280   JANSSENBIO‐PL_2‐0002009   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2281   JANSSENBIO‐PL_2‐0002010   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2282   JANSSENBIO‐PL_2‐0002011   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2283   JANSSENBIO‐PL_2‐0002012   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003




                                                                                                                                                                                                                               85
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 87 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2284   JANSSENBIO‐PL_2‐0002013   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2285   JANSSENBIO‐PL_2‐0002014   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2286   JANSSENBIO‐PL_2‐0002015   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2287   JANSSENBIO‐PL_2‐0002016   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2288   JANSSENBIO‐PL_2‐0002017   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2289   JANSSENBIO‐PL_2‐0002018   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003




                                                                                                                                                                                                                               86
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 88 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2290   JANSSENBIO‐PL_2‐0002019   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2291   JANSSENBIO‐PL_2‐0002020   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2292   JANSSENBIO‐PL_2‐0002021   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2293   JANSSENBIO‐PL_2‐0002022   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2294   JANSSENBIO‐PL_2‐0002023   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2295   JANSSENBIO‐PL_2‐0002024   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003




                                                                                                                                                                                                                               87
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 89 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2296   JANSSENBIO‐PL_2‐0002025   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Joseph Metro ^              Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2297   JANSSENBIO‐PL_2‐0002026   Withheld   DOC   Christopher                  Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Joseph Metro ^              Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2298   JANSSENBIO‐PL_2‐0002027   Withheld   doc   Christopher                  Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2299   JANSSENBIO‐PL_2‐0002028   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2300   JANSSENBIO‐PL_2‐0002029   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                      (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                      DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                      (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                      Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                      Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                      Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                      (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                      (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                      (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                      (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                      (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                      (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                  Schoeck, Michael; Zalesky,                     Joseph Metro ^              Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2301   JANSSENBIO‐PL_2‐0002030   Withheld   doc   Christopher                  Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                            2/24/2003




                                                                                                                                                                                                                               88
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 90 of 201

                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                        DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                        (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                        Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                        Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                        Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                        (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                        Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                        McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                        (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                        (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                        (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                        (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                        (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                        (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                        Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                    Schoeck, Michael; Zalesky,                     Joseph Metro ^              Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2302   JANSSENBIO‐PL_2‐0002031   Withheld   doc     Christopher                  Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                                                                                                                                                                          2/24/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                        DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                        (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                        Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                        Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                        Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                        (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                        Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                        McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                        (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                        (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                        (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                        (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                        (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                        (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                        Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                    Schoeck, Michael; Zalesky,                                                 Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2303   JANSSENBIO‐PL_2‐0002032   Withheld   doc     Christopher                  Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                                                                                                                                                                          2/24/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                        DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                        (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                        Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                        Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                        Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                        (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                        Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                        McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                        (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                        (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                        (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                        (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                        (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                        (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                        Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2304   JANSSENBIO‐PL_2‐0002033   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                                                                                                                                                                          2/24/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                        DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                        (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                        Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                        Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                        Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                        (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                        Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                        McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                        (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                        (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                        (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                        (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                        (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                        (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                        Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2305   JANSSENBIO‐PL_2‐0002034   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                                                                                                                                                                          2/24/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                        DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                        (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                        Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                        Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                        Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                        (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                        Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                        McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                        (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                        (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                        (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                        (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                        (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                        (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                        Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                    Schoeck, Michael; Zalesky,                                                 Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2306   JANSSENBIO‐PL_2‐0002035   Withheld   doc     Christopher                  Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                                                                                                                                                                          2/24/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                        DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                        (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                        Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com);
                                                                                                                                                        Susan Keenan (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^
                                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com); Barry
                                                                                                                                                        Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Colleen Maier
                                                                                                                                                        (cmaier2@mccus.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com);
                                                                                                                                                        Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                        McGarraugh (amcgarra@obius.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                        (cmcmicha@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                        (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                        (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                        (patrick.obrien@alza.com); Jim O'Donnell (jodonnel@indus.jnj.com); Clayton Paterson ^
                                                                                                                                                        (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Lynn Puchalski ^
                                                                                                                                                        (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com);
                                                                                                                                                        Maripat Rhood (mrhood@cntus.jnj.com); Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms
                                                    Schoeck, Michael; Zalesky,                                                 Joy Johnson              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
2307   JANSSENBIO‐PL_2‐0002036   Withheld   doc     Christopher                  Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                                                                                                                                                                          2/24/2003
                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                         Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood               preparation/review of internal training or internal
                                                    Schoeck, Michael; Zalesky,                                                                          Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck                                                                                                   (mrhood@cntus.jnj.com); Michael Schoeck                              guidance concerning practice management or IOI
2308   JANSSENBIO‐PL_2‐0002037   Withheld   eMail   Christopher                  Attorney‐Client                                                        (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)   Sue Seferian ^ (sseferia@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)   (mschoeck@its.jnj.com)                                    3/3/2003   support.




                                                                                                                                                                                                                                 89
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 91 of 201


                                                    Schoeck, Michael; Zalesky,                     Christopher Zalesky         Christopher Zalesky      Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
2309   JANSSENBIO‐PL_2‐0002038   Withheld   doc     Christopher                  Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                          3/3/2003

                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Christopher Zalesky      Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
2310   JANSSENBIO‐PL_2‐0002039   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                          3/3/2003

                                                                                                                                                        Rhonda Burden (rburden@its.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Kathleen Hamill ^                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood              Email with attachment(s) requesting legal advice
                                                                                                                                                        (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood                             Kathleen Hamill ^ (khamill@cntus.jnj.com); Mary                                               (mrhood@cntus.jnj.com); Michael Schoeck                             regarding preparation/review of internal training or
                                                    Schoeck, Michael; Zalesky,                                                                          (mrhood@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);      Chambers (mchambe4@cntus.jnj.com); Rhonda                                                     (mschoeck@its.jnj.com); Sue Seferian ^                              internal guidance concerning practice management or IOI
2311   JANSSENBIO‐PL_2‐0002040   Withheld   eMail   Christopher                  Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                  Burden (rburden@its.jnj.com)                    Christopher Zalesky (czalesky@its.jnj.com)    (sseferia@its.jnj.com)                                   3/3/2003   support.

                                                                                                                                                        Rhonda Burden (rburden@its.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood
                                                    Schoeck, Michael; Zalesky,                     Joseph Metro ^              Christopher Zalesky      (mrhood@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
2312   JANSSENBIO‐PL_2‐0002041   Withheld   doc     Christopher                  Attorney‐Client   (jmetro@reedsmith.com)      (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                         3/3/2003

                                                                                                                                                        Rhonda Burden (rburden@its.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Christopher Zalesky      (mrhood@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
2313   JANSSENBIO‐PL_2‐0002042   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                         3/3/2003

                                                                                                                                                        Rhonda Burden (rburden@its.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood
                                                    Schoeck, Michael; Zalesky,                     Joseph Metro ^              Christopher Zalesky      (mrhood@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
2314   JANSSENBIO‐PL_2‐0002043   Withheld   doc     Christopher                  Attorney‐Client   (jmetro@reedsmith.com)      (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                         3/3/2003

                                                                                                                                                        Rhonda Burden (rburden@its.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood
                                                    Schoeck, Michael; Zalesky,                                                                          (mrhood@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                    (mrhood@cntus.jnj.com); Michael Schoeck
2315   JANSSENBIO‐PL_2‐0002044   Withheld   eMail   Christopher                  Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                  Sue Seferian ^ (sseferia@its.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)   (mschoeck@its.jnj.com)                                   3/3/2003

                                                                                                                                                        Rhonda Burden (rburden@its.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood
                                                    Schoeck, Michael; Zalesky,                     Christopher Zalesky         Christopher Zalesky      (mrhood@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
2316   JANSSENBIO‐PL_2‐0002045   Withheld   doc     Christopher                  Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                         3/3/2003

                                                                                                                                                        Rhonda Burden (rburden@its.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maripat Rhood
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Christopher Zalesky      (mrhood@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
2317   JANSSENBIO‐PL_2‐0002046   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                         3/3/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky               Anthony Brennan (abrenna3@its.jnj.com);
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood                                Anthony Carter (acarter2@its.jnj.com); Bill Glaser
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak                              (bglaser@its.jnj.com); Bob Snowden
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto                           (bsnowde@psmus.jnj.com); Colleen Maier
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);          (cmaier2@mccus.jnj.com); Darlene Mitchell
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan            (dmitche6@crdus.jnj.com); David McIntyre ^
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill                             (dmcinty3@its.jnj.com); David Swearingen
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick   (dsweari@hcsus.jnj.com); Debbie Weitzman
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^                   (dweitzma@medpr.jnj.com); Diane Marsh
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^                           (dmarsh2@psmus.jnj.com); Donna Barnickel
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus                                 (dbarnick@its.jnj.com); Edward Benson
                                                                                                                                                        (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin                          (ebenson5@its.jnj.com); Elizabeth Chen
                                                                                                                                                        (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^                     (echen@ethus.jnj.com); Elizabeth Snyder ^
                                                                                                                                                        (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^                      (esnyder2@its.jnj.com); Frank Reck
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^                              (freck@hcsus.jnj.com); Freddy Arnauts
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);           (farnaut1@psmbe.jnj.com); Gerry McShane
                                                                                                                                                        Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^        (gmcshane@dpyus.jnj.com); Greg DuPont
                                                                                                                                                        (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman          (gdupont@dpyus.jnj.com); Ibis Lopez
                                                                                                                                                        Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt                     (ilopez@its.jnj.com); Jeff Stewart
                                                                                                                                                        (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa    (jstewart@its.jnj.com); Jeffrey Werch
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson                     (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael      (jwhitem2@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan                        (joshaug@corus.jnj.com); John Senkowski
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);         (jsenkows@corus.jnj.com); Karen Gabbett
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike    (kgabbett@obius.jnj.com); Kay Giroux                                                                                                                              Email chain with attachment(s) providing information to
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece                           (kgiroux@its.jnj.com); Kellie Hitchye                                                                                                                             counsel for the purpose of receiving legal advice
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen      (khitchye@its.jnj.com); Kenneth Leahy                                                                                                                             regarding preparation/review of draft internal training or
                                                                                                                                                        Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol                           (kleahy@corus.jnj.com); Larry Montes                                                                                                                              internal guidance concerning practice management or IOI
2318   JANSSENBIO‐PL_2‐0002047   Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            (lmontes2@ethus.jnj.com); Laura Cakolli            Larry Montes (lmontes2@ethus.jnj.com)      Michael McCulley ^ (mmccull@corus.jnj.com)               5/8/2003   support.
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                                        (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                                        (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                                        (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                                        Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                                        (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                                        Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                                        (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                   Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2319   JANSSENBIO‐PL_2‐0002048   Withheld   doc     Schoeck, Michael             Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);                                                                                                                                                                   5/8/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                                        (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                                        (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                                        (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                                        Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                                        (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                                        Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                                        (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                   Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2320   JANSSENBIO‐PL_2‐0002049   Withheld   doc     Schoeck, Michael             Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);                                                                                                                                                                   5/8/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                                        (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                                        (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                                        (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                                        Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                                        (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                                        Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                                        (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                   Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2321   JANSSENBIO‐PL_2‐0002050   Withheld   doc     Schoeck, Michael             Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);                                                                                                                                                                   5/8/2003




                                                                                                                                                                                                                                 90
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 92 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2322   JANSSENBIO‐PL_2‐0002051   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2323   JANSSENBIO‐PL_2‐0002052   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2324   JANSSENBIO‐PL_2‐0002053   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2325   JANSSENBIO‐PL_2‐0002054   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2326   JANSSENBIO‐PL_2‐0002055   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2327   JANSSENBIO‐PL_2‐0002056   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003




                                                                                                                                                                                                                    91
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 93 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2328   JANSSENBIO‐PL_2‐0002057   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2329   JANSSENBIO‐PL_2‐0002058   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2330   JANSSENBIO‐PL_2‐0002059   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2331   JANSSENBIO‐PL_2‐0002060   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2332   JANSSENBIO‐PL_2‐0002061   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2333   JANSSENBIO‐PL_2‐0002062   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003




                                                                                                                                                                                                                    92
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 94 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2334   JANSSENBIO‐PL_2‐0002063   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2335   JANSSENBIO‐PL_2‐0002064   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2336   JANSSENBIO‐PL_2‐0002065   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2337   JANSSENBIO‐PL_2‐0002066   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2338   JANSSENBIO‐PL_2‐0002067   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2339   JANSSENBIO‐PL_2‐0002068   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003




                                                                                                                                                                                                                    93
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 95 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2340   JANSSENBIO‐PL_2‐0002069   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2341   JANSSENBIO‐PL_2‐0002070   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2342   JANSSENBIO‐PL_2‐0002071   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2343   JANSSENBIO‐PL_2‐0002072   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2344   JANSSENBIO‐PL_2‐0002073   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2345   JANSSENBIO‐PL_2‐0002074   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003




                                                                                                                                                                                                                    94
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 96 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2346   JANSSENBIO‐PL_2‐0002075   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2347   JANSSENBIO‐PL_2‐0002076   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2348   JANSSENBIO‐PL_2‐0002077   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2349   JANSSENBIO‐PL_2‐0002078   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2350   JANSSENBIO‐PL_2‐0002079   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2351   JANSSENBIO‐PL_2‐0002080   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003




                                                                                                                                                                                                                    95
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 97 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Joseph Metro ^              Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2352   JANSSENBIO‐PL_2‐0002081   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2353   JANSSENBIO‐PL_2‐0002082   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2354   JANSSENBIO‐PL_2‐0002083   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2355   JANSSENBIO‐PL_2‐0002084   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Joseph Metro ^              Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2356   JANSSENBIO‐PL_2‐0002085   Withheld   doc   Schoeck, Michael   Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                   Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2357   JANSSENBIO‐PL_2‐0002086   Withheld   doc   Schoeck, Michael   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003




                                                                                                                                                                                                                    96
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 98 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                   Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2358   JANSSENBIO‐PL_2‐0002087   Withheld   doc   Schoeck, Michael   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2359   JANSSENBIO‐PL_2‐0002088   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2360   JANSSENBIO‐PL_2‐0002089   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                   Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2361   JANSSENBIO‐PL_2‐0002090   Withheld   doc   Schoeck, Michael   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                   Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2362   JANSSENBIO‐PL_2‐0002091   Withheld   doc   Schoeck, Michael   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                   Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2363   JANSSENBIO‐PL_2‐0002092   Withheld   doc   Schoeck, Michael   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/8/2003




                                                                                                                                                                                                                    97
                                  Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 99 of 201

                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                                        (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                                        (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                                        (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                                        Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                                        (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                                        Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                                        (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                   Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2364   JANSSENBIO‐PL_2‐0002093   Withheld   doc     Schoeck, Michael             Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);                                                                                                   5/8/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                                        (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                                        (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                                        (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                                        Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                                        (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                                        Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                                        (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                   Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2365   JANSSENBIO‐PL_2‐0002094   Withheld   doc     Schoeck, Michael             Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);                                                                                                   5/8/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                        (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                        Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                        (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                        (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                        Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                        (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick                                                                                                                                 Email chain with attachment(s) reflecting legal advice
                                                                                                                                                        (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh                                                                                                                            from Legal Department regarding preparation/review of
                                                    Schoeck, Michael; Zalesky,                                                                          (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry                             Maripat Rhood (mrhood@cntus.jnj.com);                                                            internal training or internal guidance concerning practice
2366   JANSSENBIO‐PL_2‐0002095   Withheld   eMail   Christopher                  Attorney‐Client                                                        (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              Michael Schoeck (mschoeck@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)   4/9/2003   management or IOI support.
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                        (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                        Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                        (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                        (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                        Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                        (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                        (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2367   JANSSENBIO‐PL_2‐0002096   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                                                                                                                    4/9/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                        (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                        Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                        (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                        (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                        Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                        (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                        (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2368   JANSSENBIO‐PL_2‐0002097   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                                                                                                                    4/9/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                        (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                        Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                        (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                        (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                        Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                        (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                        (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2369   JANSSENBIO‐PL_2‐0002098   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                                                                                                                    4/9/2003




                                                                                                                                                                                                                                98
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 100 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2370   JANSSENBIO‐PL_2‐0002099   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2371   JANSSENBIO‐PL_2‐0002100   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2372   JANSSENBIO‐PL_2‐0002101   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2373   JANSSENBIO‐PL_2‐0002102   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2374   JANSSENBIO‐PL_2‐0002103   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2375   JANSSENBIO‐PL_2‐0002104   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003




                                                                                                                                                                                                                              99
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 101 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2376   JANSSENBIO‐PL_2‐0002105   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2377   JANSSENBIO‐PL_2‐0002106   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2378   JANSSENBIO‐PL_2‐0002107   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2379   JANSSENBIO‐PL_2‐0002108   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2380   JANSSENBIO‐PL_2‐0002109   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2381   JANSSENBIO‐PL_2‐0002110   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003




                                                                                                                                                                                                                            100
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 102 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2382   JANSSENBIO‐PL_2‐0002111   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2383   JANSSENBIO‐PL_2‐0002112   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2384   JANSSENBIO‐PL_2‐0002113   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2385   JANSSENBIO‐PL_2‐0002114   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2386   JANSSENBIO‐PL_2‐0002115   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2387   JANSSENBIO‐PL_2‐0002116   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003




                                                                                                                                                                                                                            101
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 103 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2388   JANSSENBIO‐PL_2‐0002117   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2389   JANSSENBIO‐PL_2‐0002118   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2390   JANSSENBIO‐PL_2‐0002119   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2391   JANSSENBIO‐PL_2‐0002120   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2392   JANSSENBIO‐PL_2‐0002121   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2393   JANSSENBIO‐PL_2‐0002122   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003




                                                                                                                                                                                                                            102
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 104 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2394   JANSSENBIO‐PL_2‐0002123   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2395   JANSSENBIO‐PL_2‐0002124   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2396   JANSSENBIO‐PL_2‐0002125   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2397   JANSSENBIO‐PL_2‐0002126   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2398   JANSSENBIO‐PL_2‐0002127   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2399   JANSSENBIO‐PL_2‐0002128   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003




                                                                                                                                                                                                                            103
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 105 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Joseph Metro ^              Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2400   JANSSENBIO‐PL_2‐0002129   Withheld   DOC   Christopher                  Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2401   JANSSENBIO‐PL_2‐0002130   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2402   JANSSENBIO‐PL_2‐0002131   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2403   JANSSENBIO‐PL_2‐0002132   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Joseph Metro ^              Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2404   JANSSENBIO‐PL_2‐0002133   Withheld   doc   Christopher                  Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                                                 Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2405   JANSSENBIO‐PL_2‐0002134   Withheld   doc   Christopher                  Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003




                                                                                                                                                                                                                            104
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 106 of 201

                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                                                 Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2406   JANSSENBIO‐PL_2‐0002135   Withheld   doc   Christopher                  Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2407   JANSSENBIO‐PL_2‐0002136   Withheld   doc   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2408   JANSSENBIO‐PL_2‐0002137   Withheld   DOC   Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                                                 Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2409   JANSSENBIO‐PL_2‐0002138   Withheld   doc   Christopher                  Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                                                 Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2410   JANSSENBIO‐PL_2‐0002139   Withheld   doc   Christopher                  Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003
                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                      (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                      (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                      (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                      (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                      (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                      Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                      (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                      (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                      Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                      Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                      (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                      (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                      (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                      Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                      Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                      (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                      Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                      (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                      (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                      Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                      (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                      (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                  Schoeck, Michael; Zalesky,                                                 Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2411   JANSSENBIO‐PL_2‐0002140   Withheld   doc   Christopher                  Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                              4/9/2003




                                                                                                                                                                                                                            105
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 107 of 201

                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                        (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                        Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                        (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                        (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                        Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                        (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                        (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2412   JANSSENBIO‐PL_2‐0002141   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                                                                                                                                                                       4/9/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Vernon Byrd ^
                                                                                                                                                        (vbyrd1@corus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                        Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Michael Coughlin (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle
                                                                                                                                                        Daigneault ^ (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Lois Gianneschi ^
                                                                                                                                                        (lgiannes@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                        Glaser (bglaser@its.jnj.com); Harman Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                        (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); Donna
                                                                                                                                                        Malin ^ (dmalin@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Lynn Marran
                                                                                                                                                        (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Barbara McCormick
                                                                                                                                                        (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (amcgarra@obius.jnj.com); David McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry
2413   JANSSENBIO‐PL_2‐0002142   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane                                                                                                                                                                       4/9/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky                Anthony Brennan (abrenna3@its.jnj.com);
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood                                 Anthony Carter (acarter2@its.jnj.com); Bill Glaser
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak                               (bglaser@its.jnj.com); Bob Snowden
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto                            (bsnowde@psmus.jnj.com); Colleen Maier
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);           (cmaier2@mccus.jnj.com); Darlene Mitchell
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan             (dmitche6@crdus.jnj.com); David McIntyre ^
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill                              (dmcinty3@its.jnj.com); David Swearingen
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick    (dsweari@hcsus.jnj.com); Debbie Weitzman
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^                    (dweitzma@medpr.jnj.com); Diane Marsh
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^                            (dmarsh2@psmus.jnj.com); Donna Barnickel
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus                                  (dbarnick@its.jnj.com); Edward Benson
                                                                                                                                                        (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin                           (ebenson5@its.jnj.com); Elizabeth Chen
                                                                                                                                                        (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^                      (echen@ethus.jnj.com); Elizabeth Snyder ^
                                                                                                                                                        (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^                       (esnyder2@its.jnj.com); Frank Reck
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^                               (freck@hcsus.jnj.com); Freddy Arnauts
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);            (farnaut1@psmbe.jnj.com); Gerry McShane
                                                                                                                                                        Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^         (gmcshane@dpyus.jnj.com); Greg DuPont
                                                                                                                                                        (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman           (gdupont@dpyus.jnj.com); Ibis Lopez
                                                                                                                                                        Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt                      (ilopez@its.jnj.com); Jeff Stewart
                                                                                                                                                        (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa     (jstewart@its.jnj.com); Jeffrey Werch
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson                      (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael       (jwhitem2@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan                         (joshaug@corus.jnj.com); John Senkowski
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);          (jsenkows@corus.jnj.com); Karen Gabbett
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike     (kgabbett@obius.jnj.com); Kay Giroux
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece                            (kgiroux@its.jnj.com); Kellie Hitchye                                                                                                               Email chain with attachment(s) reflecting legal advice
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen       (khitchye@its.jnj.com); Kenneth Leahy                                                                                                               regarding preparation/review of draft internal training or
                                                                                                                                                        Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol                            (kleahy@corus.jnj.com); Larry Montes                                                                                                                internal guidance concerning practice management or IOI
2414   JANSSENBIO‐PL_2‐0002143   Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);             (lmontes2@ethus.jnj.com); Laura Cakolli            Larry Montes (lmontes2@ethus.jnj.com)   Michael McCulley ^ (mmccull@corus.jnj.com)   5/15/2003   support.
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                                        (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                                        (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                                        (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                                        Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                                        (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                                        Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                                        (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                   Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2415   JANSSENBIO‐PL_2‐0002144   Withheld   doc     Schoeck, Michael             Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);                                                                                                                                                     5/15/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                                        (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                                        (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                                        (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                                        Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                                        (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                                        Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                                        (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                   Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2416   JANSSENBIO‐PL_2‐0002145   Withheld   doc     Schoeck, Michael             Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);                                                                                                                                                     5/15/2003
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                        (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                        (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                        (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                                        (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                                        (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                                        (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                                        (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                        (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                        (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                                        Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                                        (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                                        Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                                        (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                        Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                        (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                        Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                   Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2417   JANSSENBIO‐PL_2‐0002146   Withheld   doc     Schoeck, Michael             Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);                                                                                                                                                     5/15/2003




                                                                                                                                                                                                                              106
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 108 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2418   JANSSENBIO‐PL_2‐0002147   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2419   JANSSENBIO‐PL_2‐0002148   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2420   JANSSENBIO‐PL_2‐0002149   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2421   JANSSENBIO‐PL_2‐0002150   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2422   JANSSENBIO‐PL_2‐0002151   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2423   JANSSENBIO‐PL_2‐0002152   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003




                                                                                                                                                                                                                 107
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 109 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2424   JANSSENBIO‐PL_2‐0002153   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2425   JANSSENBIO‐PL_2‐0002154   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2426   JANSSENBIO‐PL_2‐0002155   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2427   JANSSENBIO‐PL_2‐0002156   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2428   JANSSENBIO‐PL_2‐0002157   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2429   JANSSENBIO‐PL_2‐0002158   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003




                                                                                                                                                                                                                 108
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 110 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2430   JANSSENBIO‐PL_2‐0002159   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2431   JANSSENBIO‐PL_2‐0002160   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2432   JANSSENBIO‐PL_2‐0002161   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2433   JANSSENBIO‐PL_2‐0002162   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2434   JANSSENBIO‐PL_2‐0002163   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2435   JANSSENBIO‐PL_2‐0002164   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003




                                                                                                                                                                                                                 109
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 111 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2436   JANSSENBIO‐PL_2‐0002165   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2437   JANSSENBIO‐PL_2‐0002166   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2438   JANSSENBIO‐PL_2‐0002167   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2439   JANSSENBIO‐PL_2‐0002168   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2440   JANSSENBIO‐PL_2‐0002169   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2441   JANSSENBIO‐PL_2‐0002170   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003




                                                                                                                                                                                                                 110
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 112 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2442   JANSSENBIO‐PL_2‐0002171   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2443   JANSSENBIO‐PL_2‐0002172   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2444   JANSSENBIO‐PL_2‐0002173   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2445   JANSSENBIO‐PL_2‐0002174   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2446   JANSSENBIO‐PL_2‐0002175   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2447   JANSSENBIO‐PL_2‐0002176   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003




                                                                                                                                                                                                                 111
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 113 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Joseph Metro ^              Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2448   JANSSENBIO‐PL_2‐0002177   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2449   JANSSENBIO‐PL_2‐0002178   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2450   JANSSENBIO‐PL_2‐0002179   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2451   JANSSENBIO‐PL_2‐0002180   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Joseph Metro ^              Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2452   JANSSENBIO‐PL_2‐0002181   Withheld   doc   Schoeck, Michael   Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                   Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2453   JANSSENBIO‐PL_2‐0002182   Withheld   doc   Schoeck, Michael   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003




                                                                                                                                                                                                                 112
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 114 of 201

                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                   Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2454   JANSSENBIO‐PL_2‐0002183   Withheld   doc   Schoeck, Michael   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2455   JANSSENBIO‐PL_2‐0002184   Withheld   doc   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2456   JANSSENBIO‐PL_2‐0002185   Withheld   DOC   Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                   Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2457   JANSSENBIO‐PL_2‐0002186   Withheld   doc   Schoeck, Michael   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                   Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2458   JANSSENBIO‐PL_2‐0002187   Withheld   doc   Schoeck, Michael   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003
                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                   Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2459   JANSSENBIO‐PL_2‐0002188   Withheld   doc   Schoeck, Michael   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);            5/15/2003




                                                                                                                                                                                                                 113
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 115 of 201

                                                                                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2460   JANSSENBIO‐PL_2‐0002189                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);                                                                                                                                                                                                             5/15/2003
                                                                                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                                                                            (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                                                                            (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                                                                            (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Marc Benson ^ (mbenson4@its.jnj.com);
                                                                                                                                                                                                            James Bergin ^ (jbergin@corus.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Michelle Brennan
                                                                                                                                                                                                            (mbrenn9@mccus.jnj.com); Vernon Byrd ^ (vbyrd1@corus.jnj.com); Christine Cahill
                                                                                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                                                                            Cassino (rcassino@janus.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                                                                            (mcheste1@its.jnj.com); Giuliano Chicco (gchicco@corus.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com); Mark Columbus
                                                                                                                                                                                                            (mcolumbu@crdus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Michael Coughlin
                                                                                                                                                                                                            (mcoughl3@corus.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com); Michelle Daigneault ^
                                                                                                                                                                                                            (mdaigne2@its.jnj.com); Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                                                                            (mdambro@mccus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                            (kdow2@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com);
                                                                                                                                                                                                            Lois Gianneschi ^ (lgiannes@corus.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                            (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Harman
                                                                                                                                                                                                            Grossman (hgrossm@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt
                                                                                                                                                                                                            (shirt@corus.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                                                                            (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Michael
                                                                                                                                                                                                            Kaufman ^ (mkaufma2@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan
                                                                                                                                                                                                            (skeenan@obius.jnj.com); Mark Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com);
                                                                                                                                                                                                            Allen Kim ^ (akim@corus.jnj.com); John Kim ^ (jkim8@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez (ilopez@its.jnj.com); Colleen
                                                                                                                                                       Tamara Scoville ^           Joy Johnson              Maier (cmaier2@mccus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); David Mallegol
2461   JANSSENBIO‐PL_2‐0002190                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);                                                                                                                                                                                                             5/15/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     legal advice from Legal Department regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     preparation/review of internal training or internal
                                                                                                                                                                                                            Marc Farley (mfarley3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                           guidance concerning practice management or IOI
2462   JANSSENBIO‐PL_2‐0002191                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                                                                    Marc Farley (mfarley3@its.jnj.com)                Christopher Zalesky (czalesky@its.jnj.com)                                                       2/27/2006   support.

                                                                                                                                                       Tamara Scoville ^           Christopher Zalesky      Marc Farley (mfarley3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
2463   JANSSENBIO‐PL_2‐0002192                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                       2/27/2006
                                                                                                                                                                                                            Marc Farley (mfarley3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky                                                            Marc Farley (mfarley3@its.jnj.com); Sue Seferian ^
2464   JANSSENBIO‐PL_2‐0002193                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                                                                    (sseferia@its.jnj.com)                             Christopher Zalesky (czalesky@its.jnj.com)                                                      2/27/2006
                                                                                                                                                                                   Christopher Zalesky      Marc Farley (mfarley3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
2465   JANSSENBIO‐PL_2‐0002194                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client                               (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                       2/27/2006
                                                                                                                                                                                                            Henry Alder (halder@its.jnj.com); Leslie Altman (laltman1@its.jnj.com); Suzanne Anderson                                                                  Abel Vecino (avecino@crdus.jnj.com); Adrienne
                                                                                                                                                                                                            (SAnders7@HCSUS.JNJ.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Donna Barnickel                                                                        Quinn (aquinn3@cntus.jnj.com); Anthony
                                                                                                                                                                                                            (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);                                                    Brennan (abrenna3@its.jnj.com); Anthony Carter
                                                                                                                                                                                                            Edward Benson (ebenson5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Christine Cahill                                                            (acarter2@its.jnj.com); Barry Leece
                                                                                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick                                                 (bleece1@its.jnj.com); Bill Glaser
                                                                                                                                                                                                            Cassino (rcassino@janus.jnj.com); Mike Cavanaugh (mcavana@cpcus.jnj.com); Michael Chester ^                                                               (bglaser@its.jnj.com); Bill Kayser
                                                                                                                                                                                                            (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Richard Clompus                                                                          (bkayser1@aspus.jnj.com); Brian Vaughn
                                                                                                                                                                                                            (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);                                                   (bvaughn@its.jnj.com); Bridget Ikner
                                                                                                                                                                                                            Mary Copithorne (mcopitho@its.jnj.com); Matthew D'Ambrosio ^ (mdambro@mccus.jnj.com); Luciene                                                             (ikner@sciosinc.com); Carmen Sampson
                                                                                                                                                                                                            DaRosa (ldarosa@dpyus.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Greg DuPont                                                                       (csampson@its.jnj.com); Carol Scholz
                                                                                                                                                                                                            (gdupont@dpyus.jnj.com); Sheila Faella (sfaella@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com);                                                   (cscholz1@obius.jnj.com); Carol Smith
                                                                                                                                                                                                            Naoko Fujii (fujii@sciosinc.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux                                                                    (csmith35@cntus.jnj.com); Carol Williams
                                                                                                                                                                                                            (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Rebecca Hayes                                                  (cwilli17@omjus.jnj.com); Celia Connaire
                                                                                                                                                                                                            (rhayes5@its.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (ikner@sciosinc.com); Lisa                                                    (cconnai3@its.jnj.com); Charles McMichael
                                                                                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson                                                                    (cmcmicha@its.jnj.com); Christine Cahill
                                                                                                                                                                                                            (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Mark                                                     (ccahill@obius.jnj.com); Darlene Mitchell                                                       Brian Kelly (bkelly2@its.jnj.com); Chris Tompson
                                                                                                                                                                                                            Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein                                                                         (dmitche6@crdus.jnj.com); David McIntyre ^                                                      (ctompso1@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                            (mklein@its.jnj.com); Donald Kohlhepp (dkohlhep@cpcus.jnj.com); Paul Lawrance                                                                             (dmcinty3@its.jnj.com); David Swearingen                                                        (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                            (plawran1@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis                                                    (dsweari@hcsus.jnj.com); Debbie Weitzman                                                        (cpaters@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                            Lopez (ilopez@its.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);                                                       (dweitzma@medpr.jnj.com); Denise Sitarik                                                        (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            Michael McCulley ^ (mmccull@corus.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); David                                                               (dsitarik@its.jnj.com); Diane Marsh                                                             (fjimene3@its.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                            McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael                                                                (dmarsh2@psmus.jnj.com); Donald Kohlhepp                                                        (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                                                                                            (cmcmicha@its.jnj.com); Laura McNamara (LMcnama1@obius.jnj.com); Gerry McShane                                                                            (dkohlhep@cpcus.jnj.com); Donna Barnickel                                                       (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                            (gmcshane@dpyus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Pamela Michaels                                                                        (dbarnick@its.jnj.com); Dorothy Sokolowski                                                      (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                            (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes                                                                           (dsokolo@its.jnj.com); Edward Benson                                                            (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                            (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Mayra Moreano                                                                             (ebenson5@its.jnj.com); Elizabeth Snyder ^                                                      (msievers@its.jnj.com); Michael Chester ^                      Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                            (MMoreano@ompus.jnj.com); Mary Morris (mmorri15@ompus.jnj.com); Kent Mottle                                                                               (esnyder2@its.jnj.com); Frank Reck                                                              (mcheste1@its.jnj.com); Michelle Fried ^                       preparation/review of draft internal training or internal
                                                                                                        Schoeck, Michael; Zalesky,                                                                          (kmottle1@obius.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Pamela Palazola                                                                     (freck@hcsus.jnj.com); Freddy Arnauts                                                           (mfried1@corus.jnj.com); Patrick O'Brien ^                     guidance concerning practice management or IOI
2466   JANSSENBIO‐PL_2‐0002195                                                       Withheld   eMail   Christopher                  Attorney‐Client                                                        (ppalazol@crdus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Adrienne Quinn                                                                        (farnaut1@psmbe.jnj.com); Gerry McShane        Joy Johnson (jjohns14@its.jnj.com)               (pobrien5@corus.jnj.com)                            8/5/2004   support.
                                                                                                                                                                                                            Henry Alder (halder@its.jnj.com); Leslie Altman (laltman1@its.jnj.com); Suzanne Anderson
                                                                                                                                                                                                            (SAnders7@HCSUS.JNJ.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Donna Barnickel
                                                                                                                                                                                                            (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                                                                            Edward Benson (ebenson5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Christine Cahill
                                                                                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                                                                            Cassino (rcassino@janus.jnj.com); Mike Cavanaugh (mcavana@cpcus.jnj.com); Michael Chester ^
                                                                                                                                                                                                            (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Richard Clompus
                                                                                                                                                                                                            (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                                                                            Mary Copithorne (mcopitho@its.jnj.com); Matthew D'Ambrosio ^ (mdambro@mccus.jnj.com); Luciene
                                                                                                                                                                                                            DaRosa (ldarosa@dpyus.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Greg DuPont
                                                                                                                                                                                                            (gdupont@dpyus.jnj.com); Sheila Faella (sfaella@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com);
                                                                                                                                                                                                            Naoko Fujii (fujii@sciosinc.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux
                                                                                                                                                                                                            (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); ken Haney (jhaney2@its.jnj.com); Rebecca Hayes
                                                                                                                                                                                                            (rhayes5@its.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Bridget Ikner (ikner@sciosinc.com); Lisa
                                                                                                                                                                                                            Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson
                                                                                                                                                                                                            (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Mark
                                                                                                                                                                                                            Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein
                                                                                                                                                                                                            (mklein@its.jnj.com); Donald Kohlhepp (dkohlhep@cpcus.jnj.com); Paul Lawrance
                                                                                                                                                                                                            (plawran1@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis
                                                                                                                                                                                                            Lopez (ilopez@its.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                                                                            Michael McCulley ^ (mmccull@corus.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); David
                                                                                                                                                                                                            McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                                                                            (cmcmicha@its.jnj.com); Laura McNamara (LMcnama1@obius.jnj.com); Gerry McShane
                                                                                                                                                                                                            (gmcshane@dpyus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Pamela Michaels
                                                                                                                                                                                                            (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                                                                            (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Mayra Moreano
                                                                                                                                                                                                            (MMoreano@ompus.jnj.com); Mary Morris (mmorri15@ompus.jnj.com); Kent Mottle
                                                                                                        Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (kmottle1@obius.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Pamela Palazola
2467   JANSSENBIO‐PL_2‐0002196                                                       Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (ppalazol@crdus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Adrienne Quinn                                                                                                                                                                                                                            8/5/2004
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Presentation providing legal advice from Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Department ^ regarding preparation/review of internal
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky                                                                                                                                                                                                                                                                                                                               training or internal guidance concerning practice
2468   JANSSENBIO‐PL_2‐0002197                                                       Withheld   ppt     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                                 6/1/2006   management or IOI support.
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky
2469   JANSSENBIO‐PL_2‐0002198                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                                 6/1/2006
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky
2470   JANSSENBIO‐PL_2‐0002199                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                                 6/1/2006
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky
2471   JANSSENBIO‐PL_2‐0002200                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                                 6/1/2006
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky
2472   JANSSENBIO‐PL_2‐0002201                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                                 6/1/2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Document reflecting legal advice from Legal Department
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                       Joseph Metro ^              Christopher Zalesky                                                                                                                                                                                                                                                                                                                               internal guidance concerning practice management or IOI
2473   JANSSENBIO‐PL_2‐0002202   JANSSENBIO‐055‐00003067   JANSSENBIO‐055‐00003067   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (jmetro@reedsmith.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                                6/13/2005   support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Presentation reflecting request for legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Outside Counsel regarding preparation/review of internal
                                                                                                                                                       Joseph Metro ^              Freddy Jimenez ^                                                                                                                                                                                                                                                                                                                                  training or internal guidance concerning practice
2474   JANSSENBIO‐PL_2‐0002203   JANSSENBIO‐061‐00007416   JANSSENBIO‐061‐00007416   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (jmetro@reedsmith.com)      (fjimene3@its.jnj.com)                                                                                                                                                                                                                                                                                                                5/20/2005   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     from the Law Department ^ regarding preparation/review
                                                                                                                                                                                                                                                                                                                        Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                                  of internal training or internal guidance concerning
2475   JANSSENBIO‐PL_2‐0002204                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                              Susan Steele (ssteele@its.jnj.com)            Susan Steele (ssteele@its.jnj.com)                Christopher Zalesky (czalesky@its.jnj.com)                                                        6/1/2006   practice management or IOI support.
                                                                                                                                                       Kris Curry                  Christopher Zalesky
2476   JANSSENBIO‐PL_2‐0002205                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (kcurry@janus.jnj.com)      (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                6/1/2006
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky
2477   JANSSENBIO‐PL_2‐0002206                                                       Withheld   ppt     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                6/1/2006
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky
2478   JANSSENBIO‐PL_2‐0002207                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                6/1/2006
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky
2479   JANSSENBIO‐PL_2‐0002208                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                6/1/2006
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky
2480   JANSSENBIO‐PL_2‐0002209                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                6/1/2006
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky
2481   JANSSENBIO‐PL_2‐0002210                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                6/1/2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                            Marc Farley (mfarley3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                           internal guidance concerning practice management or IOI
2482   JANSSENBIO‐PL_2‐0002211                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                                                                    Sue Seferian ^ (sseferia@its.jnj.com)             Christopher Zalesky (czalesky@its.jnj.com)    Marc Farley (mfarley3@its.jnj.com)                  6/1/2006   support.
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      Marc Farley (mfarley3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
2483   JANSSENBIO‐PL_2‐0002212                                                       Withheld   ppt     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                        6/1/2006
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      Marc Farley (mfarley3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
2484   JANSSENBIO‐PL_2‐0002213                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                        6/1/2006
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      Marc Farley (mfarley3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
2485   JANSSENBIO‐PL_2‐0002214                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                        6/1/2006




                                                                                                                                                                                                                                                                                  114
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 116 of 201

                                                                                             Christopher Zalesky      Christopher Zalesky      Marc Farley (mfarley3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
2486   JANSSENBIO‐PL_2‐0002215   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                 6/1/2006
                                                                                             Christopher Zalesky      Christopher Zalesky      Marc Farley (mfarley3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
2487   JANSSENBIO‐PL_2‐0002216   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                 6/1/2006
                                                                                                                                                                                                                                                                Clayton Paterson ^ (cpaters@its.jnj.com); Desiree
                                                                                                                                                                                                                                                                Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dorothy
                                                                                                                                                                                                                                                                Clarke ^ (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                (fjimene3@its.jnj.com); Joanna Soffa ^
                                                                                                                                                                                                                                                                (soffa@sciosinc.com); Kathy Schroeher ^
                                                                                                                                                                                                                                                                (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                               Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Marc Farley                   (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                               (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Michelle Fried ^                                (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);        (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^                     (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                               (mkenned3@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Michael McCulley ^                               (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                               (mmccull@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Clayton Paterson ^                          (mcheste1@its.jnj.com); Michael McCulley ^                                                     Georgia Keresty (gkeresty@its.jnj.com); Joy Johnson
                                                                                                                                               (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^                        (mmccull@corus.jnj.com); Michelle Fried ^                                                      (jjohns14@its.jnj.com); Judith Fernandez                          Email with attachment(s) providing information to
                                                                                                                                               (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);           (mfried1@corus.jnj.com); Patrick O'Brien ^                                                     (jfernan9@its.jnj.com); Marc Farley                               counsel for the purpose of receiving legal advice
                                                                                                                                               Joanna Soffa ^ (soffa@sciosinc.com); Susan Steele (ssteele@its.jnj.com); Scott Sweeney                           (pobrien5@corus.jnj.com); Stephanie Gilson ^                                                   (mfarley3@its.jnj.com); Scott Sweeney                             regarding preparation/review of draft internal training or
                                                                                                                                               (ssweeney@corus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com);         (sgilson@its.jnj.com); Sue Seferian ^                                                          (ssweeney@corus.jnj.com); Susan Steele                            internal guidance concerning practice management or IOI
2488   JANSSENBIO‐PL_2‐0002217   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                       (sseferia@its.jnj.com)                            Christopher Zalesky (czalesky@its.jnj.com)   (ssteele@its.jnj.com)                                  6/1/2006   support.




                                                                                                                                               Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Michelle Fried ^
                                                                                                                                               (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Joanna Soffa ^ (soffa@sciosinc.com); Susan Steele (ssteele@its.jnj.com); Scott Sweeney
                                                                                             Christopher Zalesky      Christopher Zalesky      (ssweeney@corus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com);
2489   JANSSENBIO‐PL_2‐0002218   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                             6/1/2006




                                                                                                                                               Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Michelle Fried ^
                                                                                                                                               (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Joanna Soffa ^ (soffa@sciosinc.com); Susan Steele (ssteele@its.jnj.com); Scott Sweeney
                                                                                             Christopher Zalesky      Christopher Zalesky      (ssweeney@corus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com);
2490   JANSSENBIO‐PL_2‐0002219   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                             6/1/2006




                                                                                                                                               Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Michelle Fried ^
                                                                                                                                               (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Joanna Soffa ^ (soffa@sciosinc.com); Susan Steele (ssteele@its.jnj.com); Scott Sweeney
                                                                                             Christopher Zalesky      Christopher Zalesky      (ssweeney@corus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com);
2491   JANSSENBIO‐PL_2‐0002220   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                             6/1/2006




                                                                                                                                               Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Michelle Fried ^
                                                                                                                                               (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Joanna Soffa ^ (soffa@sciosinc.com); Susan Steele (ssteele@its.jnj.com); Scott Sweeney
                                                                                             Christopher Zalesky      Christopher Zalesky      (ssweeney@corus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com);
2492   JANSSENBIO‐PL_2‐0002221   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                             6/1/2006




                                                                                                                                               Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Michelle Fried ^
                                                                                                                                               (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Joanna Soffa ^ (soffa@sciosinc.com); Susan Steele (ssteele@its.jnj.com); Scott Sweeney
                                                                                             Christopher Zalesky      Christopher Zalesky      (ssweeney@corus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com);
2493   JANSSENBIO‐PL_2‐0002222   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                             6/1/2006




                                                                                                                                               Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Michelle Fried ^
                                                                                                                                               (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Clayton Paterson ^
                                                                                                                                               (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Joanna Soffa ^ (soffa@sciosinc.com); Susan Steele (ssteele@its.jnj.com); Scott Sweeney
                                                                                             Sue Seferian ^           Christopher Zalesky      (ssweeney@corus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com);
2494   JANSSENBIO‐PL_2‐0002223   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                             6/1/2006

                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                 from the Law Department ^ regarding preparation/review
                                                                                                                                                                                                                                                                                                                                                                                                                                 of internal training or internal guidance concerning
2495   JANSSENBIO‐PL_2‐0002224   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                   Susan Steele (ssteele@its.jnj.com)                Christopher Zalesky (czalesky@its.jnj.com)                                                          6/1/2006   practice management or IOI support.
                                                                                             Christopher Zalesky      Christopher Zalesky
2496   JANSSENBIO‐PL_2‐0002225   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                         6/1/2006
                                                                                             Christopher Zalesky      Christopher Zalesky
2497   JANSSENBIO‐PL_2‐0002226   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                         6/1/2006
                                                                                             Christopher Zalesky      Christopher Zalesky
2498   JANSSENBIO‐PL_2‐0002227   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                         6/1/2006
                                                                                             Christopher Zalesky      Christopher Zalesky
2499   JANSSENBIO‐PL_2‐0002228   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                         6/1/2006
                                                                                             Christopher Zalesky      Christopher Zalesky
2500   JANSSENBIO‐PL_2‐0002229   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                         6/1/2006
                                                                                             Christopher Zalesky      Christopher Zalesky
2501   JANSSENBIO‐PL_2‐0002230   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                         6/1/2006
                                                                                             Sue Seferian ^           Christopher Zalesky
2502   JANSSENBIO‐PL_2‐0002231   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (czalesky@its.jnj.com)   Susan Steele (ssteele@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                         6/1/2006
                                                                                                                                               Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                               Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                               (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                               (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Sharon A. Briggs (sbriggs@visus.jnj.com); Dirk Brinckman ^
                                                                                                                                               (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); Kristine Burke (kburke2@dpyus.jnj.com);
                                                                                                                                               James Burrus (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill
                                                                                                                                               (ccahill@obius.jnj.com); Andrea Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                               Cindy Castelyns (ccastely@janbe.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                               (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Michelle Cimo
                                                                                                                                               (mcimo@ethus.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                               Wendy Clarke (wclarke@cntus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Jill Coogan
                                                                                                                                               (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com);
                                                                                                                                               Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry
                                                                                                                                               (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen Davis (kdavis5@its.jnj.com); Dennis
                                                                                                                                               DeCola (ddecola@its.jnj.com); Kathy DeLong (kdelong@eesus.jnj.com); Ann Deren‐Lewis
                                                                                                                                               (aderenle@neuus.jnj.com; David Domann (ddomann@omjus.jnj.com); Dennis Donohoe
                                                                                                                                               (ddonohoe@crdus.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com);
                                                                                                                                               Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                               Chris Firriolo (cfirriol@its.jnj.com); Tiziana Fox (tfox@its.jnj.com); Walter Fox (wfox@its.jnj.com); Michelle
                                                                                                                                               Fried ^ (mfried1@corus.jnj.com); Mary Friedell (mfriede@mccus.jnj.com); Naoko Fujii
                                                                                                                                               (fujii@sciosinc.com); Anne Furnari (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com);
                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com);
                                                                                                                                               Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Edmund
                                                                                                                                               Greenidge (egreenid@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn                                                                                                                                                                                               Email chain with attachment(s) reflecting legal advice
                                                                                                                                               (jhahn2@ethus.jnj.com); Hina Harlow (hharlow@mccus.jnj.com); Kisha Harrison (kharri12@its.jnj.com);                                                                                                                                                                               from Legal Department regarding preparation/review of
                                                                                                                                               John Hauser (jhauser@mccus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Diane Herczeg                                                                                                                                                                                           internal training or internal guidance concerning practice
2503   JANSSENBIO‐PL_2‐0002232   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (dherczeg1@psmus.jnj.com); Diane Herczeg (dherczeg1@psmus.jnj.com); Ernie Hernandez                              Diane Herczeg (dherczeg1@psmus.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                         6/13/2006   management or IOI support.




                                                                                                                                                                                                                       115
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 117 of 201

                                                                                                                                               Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                               Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                               (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                               (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Sharon A. Briggs (sbriggs@visus.jnj.com); Dirk Brinckman ^
                                                                                                                                               (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); Kristine Burke (kburke2@dpyus.jnj.com);
                                                                                                                                               James Burrus (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill
                                                                                                                                               (ccahill@obius.jnj.com); Andrea Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                               Cindy Castelyns (ccastely@janbe.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                               (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Michelle Cimo
                                                                                                                                               (mcimo@ethus.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                               Wendy Clarke (wclarke@cntus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Jill Coogan
                                                                                                                                               (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com);
                                                                                                                                               Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry
                                                                                                                                               (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen Davis (kdavis5@its.jnj.com); Dennis
                                                                                                                                               DeCola (ddecola@its.jnj.com); Kathy DeLong (kdelong@eesus.jnj.com); Ann Deren‐Lewis
                                                                                                                                               (aderenle@neuus.jnj.com; David Domann (ddomann@omjus.jnj.com); Dennis Donohoe
                                                                                                                                               (ddonohoe@crdus.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com);
                                                                                                                                               Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                               Chris Firriolo (cfirriol@its.jnj.com); Tiziana Fox (tfox@its.jnj.com); Walter Fox (wfox@its.jnj.com); Michelle
                                                                                                                                               Fried ^ (mfried1@corus.jnj.com); Mary Friedell (mfriede@mccus.jnj.com); Naoko Fujii
                                                                                                                                               (fujii@sciosinc.com); Anne Furnari (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com);
                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com);
                                                                                                                                               Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Edmund
                                                                                                                                               Greenidge (egreenid@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn
                                                                                                                                               (jhahn2@ethus.jnj.com); Hina Harlow (hharlow@mccus.jnj.com); Kisha Harrison (kharri12@its.jnj.com);
                                                                                             Christopher Zalesky      Christopher Zalesky      John Hauser (jhauser@mccus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Diane Herczeg
2504   JANSSENBIO‐PL_2‐0002233   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   (dherczeg1@psmus.jnj.com); Diane Herczeg (dherczeg1@psmus.jnj.com); Ernie Hernandez                                                                                                                        6/13/2006
                                                                                                                                               Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                               Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                               (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                               (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Sharon A. Briggs (sbriggs@visus.jnj.com); Dirk Brinckman ^
                                                                                                                                               (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); Kristine Burke (kburke2@dpyus.jnj.com);
                                                                                                                                               James Burrus (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill
                                                                                                                                               (ccahill@obius.jnj.com); Andrea Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                               Cindy Castelyns (ccastely@janbe.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                               (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Michelle Cimo
                                                                                                                                               (mcimo@ethus.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                               Wendy Clarke (wclarke@cntus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Jill Coogan
                                                                                                                                               (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com);
                                                                                                                                               Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry
                                                                                                                                               (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen Davis (kdavis5@its.jnj.com); Dennis
                                                                                                                                               DeCola (ddecola@its.jnj.com); Kathy DeLong (kdelong@eesus.jnj.com); Ann Deren‐Lewis
                                                                                                                                               (aderenle@neuus.jnj.com; David Domann (ddomann@omjus.jnj.com); Dennis Donohoe
                                                                                                                                               (ddonohoe@crdus.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com);
                                                                                                                                               Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                               Chris Firriolo (cfirriol@its.jnj.com); Tiziana Fox (tfox@its.jnj.com); Walter Fox (wfox@its.jnj.com); Michelle
                                                                                                                                               Fried ^ (mfried1@corus.jnj.com); Mary Friedell (mfriede@mccus.jnj.com); Naoko Fujii
                                                                                                                                               (fujii@sciosinc.com); Anne Furnari (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com);
                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com);
                                                                                                                                               Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Edmund
                                                                                                                                               Greenidge (egreenid@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn
                                                                                                                                               (jhahn2@ethus.jnj.com); Hina Harlow (hharlow@mccus.jnj.com); Kisha Harrison (kharri12@its.jnj.com);
                                                                                             Christopher Zalesky      Christopher Zalesky      John Hauser (jhauser@mccus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Diane Herczeg
2505   JANSSENBIO‐PL_2‐0002234   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   (dherczeg1@psmus.jnj.com); Diane Herczeg (dherczeg1@psmus.jnj.com); Ernie Hernandez                                                                                                                        6/13/2006
                                                                                                                                               Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                               Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                               (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                               (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Sharon A. Briggs (sbriggs@visus.jnj.com); Dirk Brinckman ^
                                                                                                                                               (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); Kristine Burke (kburke2@dpyus.jnj.com);
                                                                                                                                               James Burrus (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill
                                                                                                                                               (ccahill@obius.jnj.com); Andrea Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                               Cindy Castelyns (ccastely@janbe.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                               (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Michelle Cimo
                                                                                                                                               (mcimo@ethus.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                               Wendy Clarke (wclarke@cntus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Jill Coogan
                                                                                                                                               (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com);
                                                                                                                                               Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry
                                                                                                                                               (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen Davis (kdavis5@its.jnj.com); Dennis
                                                                                                                                               DeCola (ddecola@its.jnj.com); Kathy DeLong (kdelong@eesus.jnj.com); Ann Deren‐Lewis
                                                                                                                                               (aderenle@neuus.jnj.com; David Domann (ddomann@omjus.jnj.com); Dennis Donohoe
                                                                                                                                               (ddonohoe@crdus.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com);
                                                                                                                                               Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                               Chris Firriolo (cfirriol@its.jnj.com); Tiziana Fox (tfox@its.jnj.com); Walter Fox (wfox@its.jnj.com); Michelle
                                                                                                                                               Fried ^ (mfried1@corus.jnj.com); Mary Friedell (mfriede@mccus.jnj.com); Naoko Fujii
                                                                                                                                               (fujii@sciosinc.com); Anne Furnari (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com);
                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com);
                                                                                                                                               Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Edmund
                                                                                                                                               Greenidge (egreenid@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn
                                                                                                                                               (jhahn2@ethus.jnj.com); Hina Harlow (hharlow@mccus.jnj.com); Kisha Harrison (kharri12@its.jnj.com);
                                                                                             Christopher Zalesky      Christopher Zalesky      John Hauser (jhauser@mccus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Diane Herczeg
2506   JANSSENBIO‐PL_2‐0002235   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   (dherczeg1@psmus.jnj.com); Diane Herczeg (dherczeg1@psmus.jnj.com); Ernie Hernandez                                                                                                                        6/13/2006
                                                                                                                                               Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                               Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                               (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                               (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Sharon A. Briggs (sbriggs@visus.jnj.com); Dirk Brinckman ^
                                                                                                                                               (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); Kristine Burke (kburke2@dpyus.jnj.com);
                                                                                                                                               James Burrus (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill
                                                                                                                                               (ccahill@obius.jnj.com); Andrea Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                               Cindy Castelyns (ccastely@janbe.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                               (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Michelle Cimo
                                                                                                                                               (mcimo@ethus.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                               Wendy Clarke (wclarke@cntus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Jill Coogan
                                                                                                                                               (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com);
                                                                                                                                               Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry
                                                                                                                                               (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen Davis (kdavis5@its.jnj.com); Dennis
                                                                                                                                               DeCola (ddecola@its.jnj.com); Kathy DeLong (kdelong@eesus.jnj.com); Ann Deren‐Lewis
                                                                                                                                               (aderenle@neuus.jnj.com; David Domann (ddomann@omjus.jnj.com); Dennis Donohoe
                                                                                                                                               (ddonohoe@crdus.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com);
                                                                                                                                               Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                               Chris Firriolo (cfirriol@its.jnj.com); Tiziana Fox (tfox@its.jnj.com); Walter Fox (wfox@its.jnj.com); Michelle
                                                                                                                                               Fried ^ (mfried1@corus.jnj.com); Mary Friedell (mfriede@mccus.jnj.com); Naoko Fujii
                                                                                                                                               (fujii@sciosinc.com); Anne Furnari (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com);
                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com);
                                                                                                                                               Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Edmund
                                                                                                                                               Greenidge (egreenid@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn
                                                                                                                                               (jhahn2@ethus.jnj.com); Hina Harlow (hharlow@mccus.jnj.com); Kisha Harrison (kharri12@its.jnj.com);
                                                                                             Christopher Zalesky      Christopher Zalesky      John Hauser (jhauser@mccus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Diane Herczeg
2507   JANSSENBIO‐PL_2‐0002236   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   (dherczeg1@psmus.jnj.com); Diane Herczeg (dherczeg1@psmus.jnj.com); Ernie Hernandez                                                                                                                        6/13/2006
                                                                                                                                               Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                               Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                               (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                               (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Sharon A. Briggs (sbriggs@visus.jnj.com); Dirk Brinckman ^
                                                                                                                                               (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); Kristine Burke (kburke2@dpyus.jnj.com);
                                                                                                                                               James Burrus (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill
                                                                                                                                               (ccahill@obius.jnj.com); Andrea Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                               Cindy Castelyns (ccastely@janbe.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                               (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Michelle Cimo
                                                                                                                                               (mcimo@ethus.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                               Wendy Clarke (wclarke@cntus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Jill Coogan
                                                                                                                                               (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com);
                                                                                                                                               Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry
                                                                                                                                               (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen Davis (kdavis5@its.jnj.com); Dennis
                                                                                                                                               DeCola (ddecola@its.jnj.com); Kathy DeLong (kdelong@eesus.jnj.com); Ann Deren‐Lewis
                                                                                                                                               (aderenle@neuus.jnj.com; David Domann (ddomann@omjus.jnj.com); Dennis Donohoe
                                                                                                                                               (ddonohoe@crdus.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com);
                                                                                                                                               Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Marc Farley
                                                                                                                                               (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                               Chris Firriolo (cfirriol@its.jnj.com); Tiziana Fox (tfox@its.jnj.com); Walter Fox (wfox@its.jnj.com); Michelle
                                                                                                                                               Fried ^ (mfried1@corus.jnj.com); Mary Friedell (mfriede@mccus.jnj.com); Naoko Fujii
                                                                                                                                               (fujii@sciosinc.com); Anne Furnari (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com);
                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com);
                                                                                                                                               Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Edmund
                                                                                                                                               Greenidge (egreenid@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn
                                                                                                                                               (jhahn2@ethus.jnj.com); Hina Harlow (hharlow@mccus.jnj.com); Kisha Harrison (kharri12@its.jnj.com);
                                                                                             Christopher Zalesky      Christopher Zalesky      John Hauser (jhauser@mccus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Diane Herczeg
2508   JANSSENBIO‐PL_2‐0002237   Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   (dherczeg1@psmus.jnj.com); Diane Herczeg (dherczeg1@psmus.jnj.com); Ernie Hernandez                                                                                                                        6/13/2006




                                                                                                                                               Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Edward Benson
                                                                                                                                               (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                               (mcheste1@its.jnj.com); Marianne De Jianne (mdejiann@corus.jnj.com); Barry Ferguson
                                                                                                                                               (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                               Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Clayton
                                                                                                                                               Paterson ^ (cpaters@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Carol Scholz
                                                                                                                                               (cscholz1@obius.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Sue Seferian ^                                                                                                                                    Email chain with attachment(s) reflecting legal advice
                                                                                                                                               (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Jeff Stewart (jstewart@its.jnj.com);                                                                                                                from Legal Department regarding preparation/review of
                                                                                                                                               Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                  internal training or internal guidance concerning practice
2509   JANSSENBIO‐PL_2‐0002238   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                               Christopher Zalesky (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)   5/30/2008   management or IOI support.




                                                                                                                                               Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Edward Benson
                                                                                                                                               (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                               (mcheste1@its.jnj.com); Marianne De Jianne (mdejiann@corus.jnj.com); Barry Ferguson
                                                                                                                                               (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                               Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Clayton
                                                                                                                                               Paterson ^ (cpaters@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Carol Scholz
                                                                                                                                               (cscholz1@obius.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
                                                                                             Sue Seferian ^           Edward Benson            Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2510   JANSSENBIO‐PL_2‐0002239   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (ebenson5@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                         5/30/2008




                                                                                                                                                                                                                       116
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 118 of 201


                                                                                                                                                        Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Edward Benson
                                                                                                                                                        (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Marianne De Jianne (mdejiann@corus.jnj.com); Barry Ferguson
                                                                                                                                                        (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                        Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Clayton
                                                                                                                                                        Paterson ^ (cpaters@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Carol Scholz
                                                                                                                                                        (cscholz1@obius.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Sue Seferian ^
                                                                                                                                                        (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
                                                                                                   Edward Benson               Edward Benson            Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2511   JANSSENBIO‐PL_2‐0002240   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (ebenson5@its.jnj.com)      (ebenson5@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               5/30/2008




                                                                                                                                                        Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Edward Benson
                                                                                                                                                        (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Marianne De Jianne (mdejiann@corus.jnj.com); Barry Ferguson
                                                                                                                                                        (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                        Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Clayton
                                                                                                                                                        Paterson ^ (cpaters@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Carol Scholz
                                                                                                                                                        (cscholz1@obius.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Sue Seferian ^
                                                                                                                                                        (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Jeff Stewart (jstewart@its.jnj.com);
                                                                                                                               Edward Benson            Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2512   JANSSENBIO‐PL_2‐0002241   Withheld   doc     Zalesky, Christopher         Attorney‐Client   Johnson & Johnson           (ebenson5@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               5/30/2008
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                        (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                        Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                        Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                        (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                        (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                        (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                        Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                        Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                        (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                        Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                        (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                        (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                        (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                        (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                        (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                        Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                                        (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                                        (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                                        (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                                        (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski                                                                                                                                                                              Email chain with attachment(s) reflecting legal advice
                                                                                                                                                        (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith                                                                                                                                                                            from In‐house Counsel and Outside Counsel regarding
                                                                                                                                                        (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^                                                                                                                                                                            preparation/review of internal training or internal
                                                    Schoeck, Michael; Zalesky,                                                                          (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff                                                                                         Maripat Rhood (mrhood@cntus.jnj.com); Michael                guidance concerning practice management or IOI
2513   JANSSENBIO‐PL_2‐0002242   Withheld   eMail   Christopher                  Attorney‐Client                                                        Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                         Carol Smith (csmith35@cntus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)   Schoeck (mschoeck@its.jnj.com)                  11/11/2002   support.
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                        (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                        Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                        Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                        (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                        (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                        (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                        Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                        Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                        (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                        Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                        (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                        (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                        (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                        (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                        (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                        Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                                        (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                                        (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                                        (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                                        (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski
                                                                                                                                                        (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith
                                                                                                                                                        (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
2514   JANSSENBIO‐PL_2‐0002243   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                                                                                                                                                             11/11/2002
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                        (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                        Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                        Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                        (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                        (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                        (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                        Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                        Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                        (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                        Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                        (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                        (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                        (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                        (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                        (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                        Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                                        (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                                        (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                                        (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                                        (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski
                                                                                                                                                        (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith
                                                                                                                                                        (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
2515   JANSSENBIO‐PL_2‐0002244   Withheld   DOC     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                                                                                                                                                             11/11/2002
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                        (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                        Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                        Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                        (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                        (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                        (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                        Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                        Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                        (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                        Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                        (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                        (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                        (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                        (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                        (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                        Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                                        (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                                        (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                                        (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                                        (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski
                                                                                                                                                        (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith
                                                                                                                                                        (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
2516   JANSSENBIO‐PL_2‐0002245   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                                                                                                                                                             11/11/2002
                                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                        (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                        (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                        Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                        Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                        (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                        (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                        (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                        Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                        Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                        (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                        Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                        (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                        Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                        (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                        (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                        (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                        (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                        (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                        Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                                        (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                                        (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                                        (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                                        (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski
                                                                                                                                                        (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith
                                                                                                                                                        (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                    Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
2517   JANSSENBIO‐PL_2‐0002246   Withheld   DOC     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                                                                                                                                                             11/11/2002




                                                                                                                                                                                                                              117
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 119 of 201

                                                                                                                                                                                                            Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                                                                            (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                                                                            (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                                                                            Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                                                                            (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                                                                            Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                                                                            (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                                                                            (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                                                                            (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                                                                            Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                                                                            Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                                                                            (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                                                                            Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                                                                            (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                                                                            Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                                                                            (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                                                                            (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                                                                            (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                                                                            (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                                                                            Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                                                                                            (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                                                                                            (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                                                                                            (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                                                                                            (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski
                                                                                                                                                                                                            (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith
                                                                                                                                                                                                            (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                                                                        Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
2518   JANSSENBIO‐PL_2‐0002247                                                       Withheld   DOC     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                                                                                                                                                        11/11/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Presentation reflecting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Department, including Daryl Todd ^ and Deidre Meehan
                                                                                                                                                       Jill Steinberg              Christopher Zalesky                                                                                                                                                                                                                                                              ^, regarding preparation/review of internal training or
2519   JANSSENBIO‐PL_2‐0002248                                                       Withheld   pptx    Zalesky, Christopher         Attorney‐Client   (jsteinb1@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                9/3/2015   internal guidance .
                                                                                                                                                       Kristen Brill               Christopher Zalesky                                                                                                                                                                                                                                                              Draft guidance document reflecting legal advice from the
2520   JANSSENBIO‐PL_2‐0002249                                                       Withheld   docx    Zalesky, Christopher         Attorney‐Client   (kbrill@its.jnj.com)        (czalesky@its.jnj.com)                                                                                                                                                                                                                                              11/22/2015   Law Department ^.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                                                                            Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky                                                                                                                                                       guidance concerning practice management or IOI
2521   JANSSENBIO‐PL_2‐0002250                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                        Christopher Zalesky (czalesky@its.jnj.com)   Sue Seferian ^ (sseferia@its.jnj.com)   Sue Seferian ^ (sseferia@its.jnj.com)    5/31/2006   support.
                                                                                                                                                       Christopher Zalesky         Sue Seferian ^           Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
2522   JANSSENBIO‐PL_2‐0002251                                                       Withheld   ppt     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (sseferia@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      5/31/2006
                                                                                                                                                       Christopher Zalesky         Sue Seferian ^           Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
2523   JANSSENBIO‐PL_2‐0002252                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (sseferia@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      5/31/2006
                                                                                                                                                       Kristen Brill               Christopher Zalesky                                                                                                                                                                                                                                                              Draft guidance document reflecting legal advice from the
2524   JANSSENBIO‐PL_2‐0002253                                                       Withheld   docx    Zalesky, Christopher         Attorney‐Client   (kbrill@its.jnj.com)        (czalesky@its.jnj.com)                                                                                                                                                                                                                                               9/16/2015   Law Department ^.
                                                                                                                                                       Kristen Brill               Christopher Zalesky                                                                                                                                                                                                                                                              Draft guidance document reflecting legal advice from the
2525   JANSSENBIO‐PL_2‐0002254                                                       Withheld   docx    Zalesky, Christopher         Attorney‐Client   (kbrill@its.jnj.com)        (czalesky@its.jnj.com)                                                                                                                                                                                                                                               9/16/2015   Law Department ^.
                                                                                                                                                                                                            Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                                                                                            Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                                            (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                                                                                            (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); James Burrus
                                                                                                                                                                                                            (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Andrea
                                                                                                                                                                                                            Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Cindy Castelyns
                                                                                                                                                                                                            (ccastely@janbe.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                            (bchrist2@dpyus.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Linda Conticchio
                                                                                                                                                                                                            (Icontic@its.jnj.com); Jill Coogan (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris
                                                                                                                                                                                                            Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                                            (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen
                                                                                                                                                                                                            Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Kathy DeLong
                                                                                                                                                                                                            (kdelong@eesus.jnj.com); Ann Deren‐Lewis (aderenle@neuus.jnj.com; David Domann
                                                                                                                                                                                                            (ddomann@omjus.jnj.com); Dennis Donohoe (ddonohoe@crdus.jnj.com); John Duke
                                                                                                                                                                                                            (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan
                                                                                                                                                                                                            Eichler (seichler@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                            Judith Fernandez (jfernan9@its.jnj.com); Naoko Fujii (fujii@sciosinc.com); Anne Furnari
                                                                                                                                                                                                            (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry
                                                                                                                                                                                                            Glass (tglass@its.jnj.com); Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                                                            (bgoldman@prdus.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn (jhahn2@ethus.jnj.com);
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Ernie Hernandez (eherna17@scius.jnj.com); Thomas Hiriak
                                                                                                                                                                                                            (thiriak3@its.jnj.com); Robert Honigberg (rhonigb1@eesus.jnj.com); David Horwitz
                                                                                                                                                                                                            (dhorwitz@its.jnj.com); Frances Impellizzeri (fimpelli@crdus.jnj.com); Stella Jones (sjones13@its.jnj.com);
                                                                                                                                                                                                            Brian Kelly (bkelly2@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Sandra Kerr
                                                                                                                                                                                                            (skerr5@prdus.jnj.com); Elaine Kling (ekling@its.jnj.com); Paul Kramer (pkramer3@its.jnj.com); David                                                                                                                                                    Presentation reflecting legal advice from Legal
                                                                                                                                                                                                            Kurlander (dkurland@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Manny Lazaro                                                                                                                                                                    Department regarding preparation/review of internal
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      (mlazaro@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Andrew Leven (aleven@crdus.jnj.com); Amena                                                                                                                                                    training or internal guidance concerning practice
2526   JANSSENBIO‐PL_2‐0002255   JANSSENBIO‐064‐00005424   JANSSENBIO‐064‐00005424   Withheld   ppt     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Lewis (alewis3@its.jnj.com); Sean Lilienfeld (slilien1@its.jnj.com); Joel Lippman (jlippman@ethus.jnj.com);                                                                                                                                  6/6/2006   management or IOI support.
                                                                                                                                                                                                            Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                                                                                            Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                                            (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                                                                                            (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); James Burrus
                                                                                                                                                                                                            (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Andrea
                                                                                                                                                                                                            Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Cindy Castelyns
                                                                                                                                                                                                            (ccastely@janbe.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                            (bchrist2@dpyus.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Linda Conticchio
                                                                                                                                                                                                            (Icontic@its.jnj.com); Jill Coogan (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris
                                                                                                                                                                                                            Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                                            (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen
                                                                                                                                                                                                            Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Kathy DeLong
                                                                                                                                                                                                            (kdelong@eesus.jnj.com); Ann Deren‐Lewis (aderenle@neuus.jnj.com; David Domann
                                                                                                                                                                                                            (ddomann@omjus.jnj.com); Dennis Donohoe (ddonohoe@crdus.jnj.com); John Duke
                                                                                                                                                                                                            (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan
                                                                                                                                                                                                            Eichler (seichler@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                            Judith Fernandez (jfernan9@its.jnj.com); Naoko Fujii (fujii@sciosinc.com); Anne Furnari
                                                                                                                                                                                                            (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry
                                                                                                                                                                                                            Glass (tglass@its.jnj.com); Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                                                            (bgoldman@prdus.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn (jhahn2@ethus.jnj.com);
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Ernie Hernandez (eherna17@scius.jnj.com); Thomas Hiriak
                                                                                                                                                                                                            (thiriak3@its.jnj.com); Robert Honigberg (rhonigb1@eesus.jnj.com); David Horwitz
                                                                                                                                                                                                            (dhorwitz@its.jnj.com); Frances Impellizzeri (fimpelli@crdus.jnj.com); Stella Jones (sjones13@its.jnj.com);
                                                                                                                                                                                                            Brian Kelly (bkelly2@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Sandra Kerr
                                                                                                                                                                                                            (skerr5@prdus.jnj.com); Elaine Kling (ekling@its.jnj.com); Paul Kramer (pkramer3@its.jnj.com); David
                                                                                                                                                                                                            Kurlander (dkurland@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Manny Lazaro
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      (mlazaro@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Andrew Leven (aleven@crdus.jnj.com); Amena
2527   JANSSENBIO‐PL_2‐0002256                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Lewis (alewis3@its.jnj.com); Sean Lilienfeld (slilien1@its.jnj.com); Joel Lippman (jlippman@ethus.jnj.com);                                                                                                                                  6/6/2006
                                                                                                                                                                                                            Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                                                                                            Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                                            (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                                                                                            (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); James Burrus
                                                                                                                                                                                                            (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Andrea
                                                                                                                                                                                                            Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Cindy Castelyns
                                                                                                                                                                                                            (ccastely@janbe.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                            (bchrist2@dpyus.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Linda Conticchio
                                                                                                                                                                                                            (Icontic@its.jnj.com); Jill Coogan (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris
                                                                                                                                                                                                            Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                                            (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen
                                                                                                                                                                                                            Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Kathy DeLong
                                                                                                                                                                                                            (kdelong@eesus.jnj.com); Ann Deren‐Lewis (aderenle@neuus.jnj.com; David Domann
                                                                                                                                                                                                            (ddomann@omjus.jnj.com); Dennis Donohoe (ddonohoe@crdus.jnj.com); John Duke
                                                                                                                                                                                                            (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan
                                                                                                                                                                                                            Eichler (seichler@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                            Judith Fernandez (jfernan9@its.jnj.com); Naoko Fujii (fujii@sciosinc.com); Anne Furnari
                                                                                                                                                                                                            (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry
                                                                                                                                                                                                            Glass (tglass@its.jnj.com); Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                                                            (bgoldman@prdus.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn (jhahn2@ethus.jnj.com);
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Ernie Hernandez (eherna17@scius.jnj.com); Thomas Hiriak
                                                                                                                                                                                                            (thiriak3@its.jnj.com); Robert Honigberg (rhonigb1@eesus.jnj.com); David Horwitz
                                                                                                                                                                                                            (dhorwitz@its.jnj.com); Frances Impellizzeri (fimpelli@crdus.jnj.com); Stella Jones (sjones13@its.jnj.com);
                                                                                                                                                                                                            Brian Kelly (bkelly2@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Sandra Kerr
                                                                                                                                                                                                            (skerr5@prdus.jnj.com); Elaine Kling (ekling@its.jnj.com); Paul Kramer (pkramer3@its.jnj.com); David
                                                                                                                                                                                                            Kurlander (dkurland@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Manny Lazaro
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      (mlazaro@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Andrew Leven (aleven@crdus.jnj.com); Amena
2528   JANSSENBIO‐PL_2‐0002257                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Lewis (alewis3@its.jnj.com); Sean Lilienfeld (slilien1@its.jnj.com); Joel Lippman (jlippman@ethus.jnj.com);                                                                                                                                  6/6/2006
                                                                                                                                                                                                            Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                                                                                            Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                                            (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                                                                                            (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); James Burrus
                                                                                                                                                                                                            (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Andrea
                                                                                                                                                                                                            Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Cindy Castelyns
                                                                                                                                                                                                            (ccastely@janbe.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                            (bchrist2@dpyus.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Linda Conticchio
                                                                                                                                                                                                            (Icontic@its.jnj.com); Jill Coogan (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris
                                                                                                                                                                                                            Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                                            (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen
                                                                                                                                                                                                            Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Kathy DeLong
                                                                                                                                                                                                            (kdelong@eesus.jnj.com); Ann Deren‐Lewis (aderenle@neuus.jnj.com; David Domann
                                                                                                                                                                                                            (ddomann@omjus.jnj.com); Dennis Donohoe (ddonohoe@crdus.jnj.com); John Duke
                                                                                                                                                                                                            (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan
                                                                                                                                                                                                            Eichler (seichler@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                            Judith Fernandez (jfernan9@its.jnj.com); Naoko Fujii (fujii@sciosinc.com); Anne Furnari
                                                                                                                                                                                                            (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry
                                                                                                                                                                                                            Glass (tglass@its.jnj.com); Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                                                            (bgoldman@prdus.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn (jhahn2@ethus.jnj.com);
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Ernie Hernandez (eherna17@scius.jnj.com); Thomas Hiriak
                                                                                                                                                                                                            (thiriak3@its.jnj.com); Robert Honigberg (rhonigb1@eesus.jnj.com); David Horwitz
                                                                                                                                                                                                            (dhorwitz@its.jnj.com); Frances Impellizzeri (fimpelli@crdus.jnj.com); Stella Jones (sjones13@its.jnj.com);
                                                                                                                                                                                                            Brian Kelly (bkelly2@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Sandra Kerr
                                                                                                                                                                                                            (skerr5@prdus.jnj.com); Elaine Kling (ekling@its.jnj.com); Paul Kramer (pkramer3@its.jnj.com); David
                                                                                                                                                                                                            Kurlander (dkurland@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Manny Lazaro
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      (mlazaro@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Andrew Leven (aleven@crdus.jnj.com); Amena
2529   JANSSENBIO‐PL_2‐0002258                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Lewis (alewis3@its.jnj.com); Sean Lilienfeld (slilien1@its.jnj.com); Joel Lippman (jlippman@ethus.jnj.com);                                                                                                                                  6/6/2006




                                                                                                                                                                                                                                                                                    118
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 120 of 201

                                                                                                                                                                                                            Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                                                                                            Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                                            (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                                                                                            (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); James Burrus
                                                                                                                                                                                                            (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Andrea
                                                                                                                                                                                                            Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Cindy Castelyns
                                                                                                                                                                                                            (ccastely@janbe.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                            (bchrist2@dpyus.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Linda Conticchio
                                                                                                                                                                                                            (Icontic@its.jnj.com); Jill Coogan (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris
                                                                                                                                                                                                            Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                                            (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen
                                                                                                                                                                                                            Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Kathy DeLong
                                                                                                                                                                                                            (kdelong@eesus.jnj.com); Ann Deren‐Lewis (aderenle@neuus.jnj.com; David Domann
                                                                                                                                                                                                            (ddomann@omjus.jnj.com); Dennis Donohoe (ddonohoe@crdus.jnj.com); John Duke
                                                                                                                                                                                                            (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan
                                                                                                                                                                                                            Eichler (seichler@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                            Judith Fernandez (jfernan9@its.jnj.com); Naoko Fujii (fujii@sciosinc.com); Anne Furnari
                                                                                                                                                                                                            (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry
                                                                                                                                                                                                            Glass (tglass@its.jnj.com); Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                                                            (bgoldman@prdus.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn (jhahn2@ethus.jnj.com);
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Ernie Hernandez (eherna17@scius.jnj.com); Thomas Hiriak
                                                                                                                                                                                                            (thiriak3@its.jnj.com); Robert Honigberg (rhonigb1@eesus.jnj.com); David Horwitz
                                                                                                                                                                                                            (dhorwitz@its.jnj.com); Frances Impellizzeri (fimpelli@crdus.jnj.com); Stella Jones (sjones13@its.jnj.com);
                                                                                                                                                                                                            Brian Kelly (bkelly2@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Sandra Kerr
                                                                                                                                                                                                            (skerr5@prdus.jnj.com); Elaine Kling (ekling@its.jnj.com); Paul Kramer (pkramer3@its.jnj.com); David
                                                                                                                                                                                                            Kurlander (dkurland@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Manny Lazaro
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky      (mlazaro@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Andrew Leven (aleven@crdus.jnj.com); Amena
2530   JANSSENBIO‐PL_2‐0002259                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Lewis (alewis3@its.jnj.com); Sean Lilienfeld (slilien1@its.jnj.com); Joel Lippman (jlippman@ethus.jnj.com);                                                                                                                                                        6/6/2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) requesting legal advice
                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas                      Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                                                            Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck                   Schoeck (mschoeck@its.jnj.com); Thomas                                                                                                                         internal guidance concerning practice management or IOI
2531   JANSSENBIO‐PL_2‐0002260                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        (mschoeck@its.jnj.com)                                                                                         Occhipinti (tocchipi@its.jnj.com)                Thomas Occhipinti (tocchipi@its.jnj.com)     Michael Cassano (mcassano@cntus.jnj.com)             8/10/2007   support.
                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                                                   Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2532   JANSSENBIO‐PL_2‐0002261                                                       Withheld   ppt     Schoeck, Michael             Attorney‐Client   Corey Davis                 (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                            8/10/2007
                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                       Sherri Prettyman            Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2533   JANSSENBIO‐PL_2‐0002262                                                       Withheld           Schoeck, Michael             Attorney‐Client   (sprettym@cntus.jnj.com)    (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                            8/10/2007
                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                       Sherri Prettyman            Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2534   JANSSENBIO‐PL_2‐0002263                                                       Withheld           Schoeck, Michael             Attorney‐Client   (sprettym@cntus.jnj.com)    (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                            8/10/2007
                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                       Darryl Stiles               Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2535   JANSSENBIO‐PL_2‐0002264                                                       Withheld           Schoeck, Michael             Attorney‐Client   (dstiles@its.jnj.com)       (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                            8/10/2007
                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                       Carrie Cooper               Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2536   JANSSENBIO‐PL_2‐0002265                                                       Withheld           Schoeck, Michael             Attorney‐Client   (ccoope13@its.jnj.com)      (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                            8/10/2007
                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                                                   Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2537   JANSSENBIO‐PL_2‐0002266                                                       Withheld           Schoeck, Michael             Attorney‐Client                               (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                            8/10/2007
                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                       Kanitha Burns               Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2538   JANSSENBIO‐PL_2‐0002267                                                       Withheld           Schoeck, Michael             Attorney‐Client   (kburns1@cntus.jnj.com)     (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                            8/10/2007
                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                       Sherri Prettyman            Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2539   JANSSENBIO‐PL_2‐0002268                                                       Withheld           Schoeck, Michael             Attorney‐Client   (sprettym@cntus.jnj.com)    (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                            8/10/2007
                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas
                                                                                                                                                       Sherri Prettyman            Thomas Occhipinti        Occhipinti (tocchipi@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2540   JANSSENBIO‐PL_2‐0002269                                                       Withheld           Schoeck, Michael             Attorney‐Client   (sprettym@cntus.jnj.com)    (tocchipi@its.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                            8/10/2007
                                                                                                                                                                                                            Madhukar Ahuja (mahuja@its.jnj.com); Tyrone Akins (takins1@its.jnj.com); Cynthia Allen
                                                                                                                                                                                                            (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                                                                            Donna Barnickel (dbarnick@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com); Edward Benson
                                                                                                                                                                                                            (ebenson5@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                                            Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Barbara Buerkle
                                                                                                                                                                                                            (bbuerkl2@its.jnj.com); Mariellen Burke (mburke4@obius.jnj.com); Janice Bush (jbush1@its.jnj.com);
                                                                                                                                                                                                            Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter
                                                                                                                                                                                                            (acarter2@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Varsha Chandola
                                                                                                                                                                                                            (vchandol@obius.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Vanessa Chomiak
                                                                                                                                                                                                            (vchomiak@its.jnj.com); Kristen Cincotti (kcincott@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com);
                                                                                                                                                                                                            Susan Clarke (sclarke9@aspus.jnj.com); Wendy Clarke (wclarke@cntus.jnj.com); Jerry Colfer
                                                                                                                                                                                                            (jcolfer@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                                                                            Michael Coon (mcoon@its.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Nancy Corkum
                                                                                                                                                                                                            (ncorkum@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Angela Crowley (acrowle2@its.jnj.com); Kris
                                                                                                                                                                                                            Curry (kcurry@janus.jnj.com); Diane D'Ambrosio ^ (ddambro1@its.jnj.com); Luciene DaRosa
                                                                                                                                                                                                            (ldarosa@dpyus.jnj.com); Karen Davis (kdavis5@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                            (jdecamar@corus.jnj.com); Rika Ville (rdeville@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Rosina
                                                                                                                                                                                                            Deveney (rdevene@its.jnj.com); Carl Dover (cdover49@its.jnj.com); John Duke (jduke1@its.jnj.com); Greg
                                                                                                                                                                                                            DuPont (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com);
                                                                                                                                                                                                            Susan Eichler (seichler@its.jnj.com); Robert Elgin (relgin@its.jnj.com); Timothy English ^
                                                                                                                                                                                                            (tenglis1@its.jnj.com); Sheila Faella (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Thomas
                                                                                                                                                                                                            Federici (tfederic@its.jnj.com); Joanna Fehrman (jfehrman@its.jnj.com); Judith Fernandez
                                                                                                                                                                                                            (jfernan9@its.jnj.com); Anneliese Fink Braun (afinkbra@gpsch.jnj.com); Chris Firriolo
                                                                                                                                                                                                            (cfirriol@its.jnj.com); Andrea Flanigan (aflaniga@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com);
                                                                                                                                                                                                            David Geary ^ (dgeary@its.jnj.com); Karen Gilmore (kgilmore@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                            (sgilson@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Marie                                                                                                         Anthony Brennan (abrenna3@its.jnj.com); Dave Rybak               Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                            Giunta (mgiunta@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); William Glaser (wglaser@its.jnj.com); Terry                                                                                                 (drybak2@its.jnj.com); Michael Varlotta                          regarding preparation/review of internal training or
                                                                                                                                                                                                            Glass (tglass@its.jnj.com); Michele Goncalves (mgoncalv@its.jnj.com); Avis Goode (agoode@its.jnj.com);         Jennifer De Camara ^ (jdecamar@corus.jnj.com);                                                (mvarlot2@cntus.jnj.com); Michelle Walls                         internal guidance concerning practice management or IOI
2541   JANSSENBIO‐PL_2‐0002270                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        Karl Grab (kgrab@its.jnj.com); Carrie Gray (cgray9@its.jnj.com); Karen Green (kgreen4@its.jnj.com);            Joy Johnson (jjohns14@its.jnj.com)             Michael Schoeck (mschoeck@its.jnj.com)         (mwalls@its.jnj.com)                                 5/30/2008   support.
                                                                                                                                                                                                            Madhukar Ahuja (mahuja@its.jnj.com); Tyrone Akins (takins1@its.jnj.com); Cynthia Allen
                                                                                                                                                                                                            (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                                                                            Donna Barnickel (dbarnick@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com); Edward Benson
                                                                                                                                                                                                            (ebenson5@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                                            Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Barbara Buerkle
                                                                                                                                                                                                            (bbuerkl2@its.jnj.com); Mariellen Burke (mburke4@obius.jnj.com); Janice Bush (jbush1@its.jnj.com);
                                                                                                                                                                                                            Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter
                                                                                                                                                                                                            (acarter2@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Varsha Chandola
                                                                                                                                                                                                            (vchandol@obius.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Vanessa Chomiak
                                                                                                                                                                                                            (vchomiak@its.jnj.com); Kristen Cincotti (kcincott@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com);
                                                                                                                                                                                                            Susan Clarke (sclarke9@aspus.jnj.com); Wendy Clarke (wclarke@cntus.jnj.com); Jerry Colfer
                                                                                                                                                                                                            (jcolfer@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                                                                            Michael Coon (mcoon@its.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Nancy Corkum
                                                                                                                                                                                                            (ncorkum@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Angela Crowley (acrowle2@its.jnj.com); Kris
                                                                                                                                                                                                            Curry (kcurry@janus.jnj.com); Diane D'Ambrosio ^ (ddambro1@its.jnj.com); Luciene DaRosa
                                                                                                                                                                                                            (ldarosa@dpyus.jnj.com); Karen Davis (kdavis5@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                            (jdecamar@corus.jnj.com); Rika Ville (rdeville@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Rosina
                                                                                                                                                                                                            Deveney (rdevene@its.jnj.com); Carl Dover (cdover49@its.jnj.com); John Duke (jduke1@its.jnj.com); Greg
                                                                                                                                                                                                            DuPont (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com);
                                                                                                                                                                                                            Susan Eichler (seichler@its.jnj.com); Robert Elgin (relgin@its.jnj.com); Timothy English ^
                                                                                                                                                                                                            (tenglis1@its.jnj.com); Sheila Faella (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Thomas
                                                                                                                                                                                                            Federici (tfederic@its.jnj.com); Joanna Fehrman (jfehrman@its.jnj.com); Judith Fernandez
                                                                                                                                                                                                            (jfernan9@its.jnj.com); Anneliese Fink Braun (afinkbra@gpsch.jnj.com); Chris Firriolo
                                                                                                                                                                                                            (cfirriol@its.jnj.com); Andrea Flanigan (aflaniga@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com);
                                                                                                                                                                                                            David Geary ^ (dgeary@its.jnj.com); Karen Gilmore (kgilmore@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                            (sgilson@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Marie
                                                                                                                                                                                                            Giunta (mgiunta@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); William Glaser (wglaser@its.jnj.com); Terry
                                                                                                                                                                                   Michael Schoeck          Glass (tglass@its.jnj.com); Michele Goncalves (mgoncalv@its.jnj.com); Avis Goode (agoode@its.jnj.com);
2542   JANSSENBIO‐PL_2‐0002271                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client                               (mschoeck@its.jnj.com)   Karl Grab (kgrab@its.jnj.com); Carrie Gray (cgray9@its.jnj.com); Karen Green (kgreen4@its.jnj.com);                                                                                                                                                               5/30/2008
                                                                                                                                                       Christopher Zalesky         Terry Kerekgyarto                                                                                                                                                                                                                                                                                      Draft guidance document reflecting legal advice from the
2543   JANSSENBIO‐PL_2‐0002272                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (tkerekgy@its.jnj.com)                                                                                                                                                                                                                                                                     1/13/2015   Law Department ^.
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky                                                                                                                                                                                                                                                                                    Draft guidance document reflecting legal advice from the
2544   JANSSENBIO‐PL_2‐0002273   JANSSENBIO‐055‐00003132   JANSSENBIO‐055‐00003132   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                      6/1/2015   Law Department ^.
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky                                                                                                                                                                                                                                                                                    Draft guidance document reflecting legal advice from the
2545   JANSSENBIO‐PL_2‐0002274   JANSSENBIO‐055‐00003133   JANSSENBIO‐055‐00003133   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                     7/10/2015   Law Department ^.
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky                                                                                                                                                                                                                                                                                    Draft guidance document reflecting legal advice from the
2546   JANSSENBIO‐PL_2‐0002275   JANSSENBIO‐055‐00003134   JANSSENBIO‐055‐00003134   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                     6/15/2015   Law Department ^.
                                                                                                                                                                                   Terry Kerekgyarto                                                                                                                                                                                                                                                                                      Draft guidance document reflecting legal advice from the
2547   JANSSENBIO‐PL_2‐0002276                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   Johnson & Johnson           (tkerekgy@its.jnj.com)                                                                                                                                                                                                                                                                      9/3/2013   Law Department ^.

                                                                                                                                                                                                            Kris Curry (kcurry@janus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Judith Fernandez                                                                                                                                                                                       Email chain with attachment(s) providing information to
                                                                                                                                                                                                            (jfernan9@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^                                                                                                                                                                                                counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);        Marc Farley (mfarley3@its.jnj.com); Michael                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                            Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky         McCulley ^ (mmccull@corus.jnj.com); Sue                                                                                                                        internal guidance concerning practice management or IOI
2548   JANSSENBIO‐PL_2‐0002277                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                         Seferian ^ (sseferia@its.jnj.com)                Christopher Zalesky (czalesky@its.jnj.com)                                                        10/5/2005   support.

                                                                                                                                                                                                            Kris Curry (kcurry@janus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Judith Fernandez
                                                                                                                                                                                                            (jfernan9@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
                                                                                                                                                       Tamara Scoville ^           Joy Johnson              Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2549   JANSSENBIO‐PL_2‐0002278                                                       Withheld   DOC     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                            10/5/2005

                                                                                                                                                                                                            Kris Curry (kcurry@janus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Judith Fernandez
                                                                                                                                                                                                            (jfernan9@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                            (mmccull@corus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
                                                                                                                                                       Sue Seferian ^              Christopher Zalesky      Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2550   JANSSENBIO‐PL_2‐0002279                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (sseferia@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                            10/5/2005
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky                                                                                                                                                                                                                                                                                    Draft guidance document reflecting legal advice from the
2551   JANSSENBIO‐PL_2‐0002280   JANSSENBIO‐055‐00003160   JANSSENBIO‐055‐00003160   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                     7/23/2015   Law Department ^.
                                                                                                                                                                                   Christopher Zalesky                                                                                                                                                                                                                                                                                    Draft guidance document reflecting legal advice from the
2552   JANSSENBIO‐PL_2‐0002281   JANSSENBIO‐055‐00003161   JANSSENBIO‐055‐00003161   Withheld   doc     Zalesky, Christopher         Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                     7/10/2015   Law Department ^.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                           Georgia Keresty (gkeresty@its.jnj.com); Judith                                                                                                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            Marc Farley (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Georgia Keresty                   Fernandez (jfernan9@its.jnj.com); Marc Farley                                                                                                                  regarding preparation/review of internal training or
                                                                                                                                                                                                            (gkeresty@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Scott Sweeney (ssweeney@corus.jnj.com);         (mfarley3@its.jnj.com); Scott Sweeney                                                                                                                          internal guidance concerning practice management or IOI
2553   JANSSENBIO‐PL_2‐0002282                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                     (ssweeney@corus.jnj.com)                         Christopher Zalesky (czalesky@its.jnj.com)                                                        11/6/2005   support.

                                                                                                                                                                                                            Marc Farley (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Georgia Keresty
                                                                                                                                                       Tamara Scoville ^           Christopher Zalesky      (gkeresty@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Scott Sweeney (ssweeney@corus.jnj.com);
2554   JANSSENBIO‐PL_2‐0002283                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                        11/6/2005

                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Murray                                                                                                                                                                               Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                            (jmurray6@cntus.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Michael Schoeck                                                                                                                                                                                           regarding preparation/review of internal training or
                                                                                                        Hamill, Kathleen; Schoeck,                                                                          (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck                                Kathleen Hamill ^ (khamill@cntus.jnj.com); Linda                                                                                                               internal guidance concerning practice management or IOI
2555   JANSSENBIO‐PL_2‐0002284                                                       Withheld   eMail   Michael                      Attorney‐Client                                                        (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                  Robertson (lrober12@cntus.jnj.com)               Andrew Brackbill (abrackbi@its.jnj.com)      Michael Schoeck (mschoeck@its.jnj.com)               3/10/2008   support.

                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Murray
                                                                                                                                                                                                            (jmurray6@cntus.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Michael Schoeck
                                                                                                        Hamill, Kathleen; Schoeck,                     Daniel Seiter               Andrew Brackbill         (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2556   JANSSENBIO‐PL_2‐0002285                                                       Withheld   ppt     Michael                      Attorney‐Client   (dseiter@cntus.jnj.com)     (abrackbi@its.jnj.com)   (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                     3/10/2008




                                                                                                                                                                                                                                                                                   119
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 121 of 201

                                                                                                                                                  Camille Acayan (cacayan@alzus.jnj.com); Nicolas Aguirre (naguirr2@ethus.jnj.com); Brenda Aker
                                                                                                                                                  (baker@its.jnj.com); Deinde Alade (dalade@hcsus.jnj.com); Penny Albright (palbrigh@its.jnj.com); Leslie
                                                                                                                                                  Altman (laltman1@its.jnj.com); Dave Ames (dames@its.jnj.com); Axel Arnaud (aarnaud@its.jnj.com);
                                                                                                                                                  Simon Arnold (arnold8@janjp.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak
                                                                                                                                                  (sbartcza@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                  (cbeath@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com);             Andrew Leven (aleven@crdus.jnj.com); Carol
                                                                                                                                                  Nancy Bernstein (nbernste@its.jnj.com); Dan Bowdy (bbowdy@crdus.jnj.com); Mary Bradley                         Scholz (cscholz1@obius.jnj.com); Celia Connaire
                                                                                                                                                  (mbradle5@its.jnj.com); Joseph Braunreuther ^ (jbraunre@its.jnj.com); Anthony Brennan                          (cconnai3@its.jnj.com); Christopher Zalesky
                                                                                                                                                  (abrenna3@its.jnj.com); Bridget Brooks (brooks@sciosinc.com); Scott Bruder (sbruder@dpyus.jnj.com);            (czalesky@its.jnj.com); Chuck Ryan
                                                                                                                                                  Barbara Buerkle (bbuerkl2@its.jnj.com); Kristine Burke (kburke2@dpyus.jnj.com); Emalie Burks                   (cryan4@hcsus.jnj.com); Dan Bowdy
                                                                                                                                                  (eburks1@omjus.jnj.com; Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);         (bbowdy@crdus.jnj.com); Darlene Mitchell
                                                                                                                                                  Peter Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea Casper                   (dmitche6@crdus.jnj.com); Elizabeth Turek
                                                                                                                                                  (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh                                  (eturek@its.jnj.com); Emalie Burks
                                                                                                                                                  (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian                          (eburks1@omjus.jnj.com; Jean OConnor
                                                                                                                                                  (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Dorothy Clarke ^                           (joconno9@ethus.jnj.com); John Murray
                                                                                                                                                  (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus                                 (jmurray6@cntus.jnj.com); Karen Jurczak
                                                                                                                                                  (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);        (kjurczak@dpyus.jnj.com); Kim Thompson
                                                                                                                                                  Jill Coogan (jcooga2@ethus.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Kevin Corrigan                    (kthomps5@bwius.jnj.com); Madhumalli Sarkar
                                                                                                                                                  (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com);           (msarkar@crdus.jnj.com); Manal Morsy
                                                                                                                                                  Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Yasemin Dalkali                       (mmorsy@tibus.jnj.com); Mary Bradley
                                                                                                                                                  (ydalkali@ethus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Raina Dauria (rdauria@its.jnj.com);          (mbradle5@its.jnj.com); Naoko Fujii
                                                                                                                                                  Brenda Davis (bdavis@corus.jnj.com); Karen Davis (kdavis5@its.jnj.com); Stephanie Davis                        (fujii@sciosinc.com); Nicolas Aguirre
                                                                                                                                                  (sdavis4@cpcus.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Dennis Donohoe                                   (naguirr2@ethus.jnj.com); Philomena McArthur
                                                                                                                                                  (ddonohoe@crdus.jnj.com); Fiona Dunbar (fdunbar1@joica.jnj.com); Greg DuPont                                   (pmcarth1@its.jnj.com); Sean Lilienfeld                                                                                                               Email chain with attachment(s) reflecting counsel's
                                                                                                                                                  (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com);               (slilien1@its.jnj.com); Sergio Gadaleta                                                                                                               request for information for the purpose of providing
                                                                                                                                                  Timothy English ^ (tenglis1@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella                      (sgadale3@its.jnj.com); Stephanie Davis                                                                                                               legal advice from Legal Department regarding
                                                                                                                                                  (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith       (sdavis4@cpcus.jnj.com); Sunita Sethi                                                                                                                 preparation/review of draft internal training or internal
                                                                                                                                                  Fernandez (jfernan9@its.jnj.com); Kristen Foss (kfoss@dpyus.jnj.com); Michelle Fried ^                         (ssethi1@alzus.jnj.com); Yasemin Dalkali                                                                                                              guidance concerning practice management or IOI
2557   JANSSENBIO‐PL_2‐0002286   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com); Sergio Gadaleta (sgadale3@its.jnj.com);             (ydalkali@ethus.jnj.com)                          Philomena McArthur (pmcarth1@its.jnj.com)                                               11/9/2005   support.
                                                                                                                                                  Camille Acayan (cacayan@alzus.jnj.com); Nicolas Aguirre (naguirr2@ethus.jnj.com); Brenda Aker
                                                                                                                                                  (baker@its.jnj.com); Deinde Alade (dalade@hcsus.jnj.com); Penny Albright (palbrigh@its.jnj.com); Leslie
                                                                                                                                                  Altman (laltman1@its.jnj.com); Dave Ames (dames@its.jnj.com); Axel Arnaud (aarnaud@its.jnj.com);
                                                                                                                                                  Simon Arnold (arnold8@janjp.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak
                                                                                                                                                  (sbartcza@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                  (cbeath@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                                  Nancy Bernstein (nbernste@its.jnj.com); Dan Bowdy (bbowdy@crdus.jnj.com); Mary Bradley
                                                                                                                                                  (mbradle5@its.jnj.com); Joseph Braunreuther ^ (jbraunre@its.jnj.com); Anthony Brennan
                                                                                                                                                  (abrenna3@its.jnj.com); Bridget Brooks (brooks@sciosinc.com); Scott Bruder (sbruder@dpyus.jnj.com);
                                                                                                                                                  Barbara Buerkle (bbuerkl2@its.jnj.com); Kristine Burke (kburke2@dpyus.jnj.com); Emalie Burks
                                                                                                                                                  (eburks1@omjus.jnj.com; Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                  Peter Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea Casper
                                                                                                                                                  (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                  (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                                  (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Dorothy Clarke ^
                                                                                                                                                  (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus
                                                                                                                                                  (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                  Jill Coogan (jcooga2@ethus.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Kevin Corrigan
                                                                                                                                                  (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com);
                                                                                                                                                  Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Yasemin Dalkali
                                                                                                                                                  (ydalkali@ethus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Raina Dauria (rdauria@its.jnj.com);
                                                                                                                                                  Brenda Davis (bdavis@corus.jnj.com); Karen Davis (kdavis5@its.jnj.com); Stephanie Davis
                                                                                                                                                  (sdavis4@cpcus.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Dennis Donohoe
                                                                                                                                                  (ddonohoe@crdus.jnj.com); Fiona Dunbar (fdunbar1@joica.jnj.com); Greg DuPont
                                                                                                                                                  (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com);
                                                                                                                                                  Timothy English ^ (tenglis1@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella
                                                                                                                                                  (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith
                                                                                             Tamara Scoville ^           Joy Johnson              Fernandez (jfernan9@its.jnj.com); Kristen Foss (kfoss@dpyus.jnj.com); Michelle Fried ^
2558   JANSSENBIO‐PL_2‐0002287   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com); Sergio Gadaleta (sgadale3@its.jnj.com);                                                                                                                                                       11/9/2005
                                                                                                                                                  Camille Acayan (cacayan@alzus.jnj.com); Nicolas Aguirre (naguirr2@ethus.jnj.com); Brenda Aker
                                                                                                                                                  (baker@its.jnj.com); Deinde Alade (dalade@hcsus.jnj.com); Penny Albright (palbrigh@its.jnj.com); Leslie
                                                                                                                                                  Altman (laltman1@its.jnj.com); Dave Ames (dames@its.jnj.com); Axel Arnaud (aarnaud@its.jnj.com);
                                                                                                                                                  Simon Arnold (arnold8@janjp.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak
                                                                                                                                                  (sbartcza@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                  (cbeath@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                                  Nancy Bernstein (nbernste@its.jnj.com); Dan Bowdy (bbowdy@crdus.jnj.com); Mary Bradley
                                                                                                                                                  (mbradle5@its.jnj.com); Joseph Braunreuther ^ (jbraunre@its.jnj.com); Anthony Brennan
                                                                                                                                                  (abrenna3@its.jnj.com); Bridget Brooks (brooks@sciosinc.com); Scott Bruder (sbruder@dpyus.jnj.com);
                                                                                                                                                  Barbara Buerkle (bbuerkl2@its.jnj.com); Kristine Burke (kburke2@dpyus.jnj.com); Emalie Burks
                                                                                                                                                  (eburks1@omjus.jnj.com; Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                  Peter Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea Casper
                                                                                                                                                  (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                  (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                                  (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Dorothy Clarke ^
                                                                                                                                                  (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus
                                                                                                                                                  (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                  Jill Coogan (jcooga2@ethus.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Kevin Corrigan
                                                                                                                                                  (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com);
                                                                                                                                                  Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Yasemin Dalkali
                                                                                                                                                  (ydalkali@ethus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Raina Dauria (rdauria@its.jnj.com);
                                                                                                                                                  Brenda Davis (bdavis@corus.jnj.com); Karen Davis (kdavis5@its.jnj.com); Stephanie Davis
                                                                                                                                                  (sdavis4@cpcus.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Dennis Donohoe
                                                                                                                                                  (ddonohoe@crdus.jnj.com); Fiona Dunbar (fdunbar1@joica.jnj.com); Greg DuPont
                                                                                                                                                  (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com);
                                                                                                                                                  Timothy English ^ (tenglis1@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella
                                                                                                                                                  (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith
                                                                                             Tamara Scoville ^           Joy Johnson              Fernandez (jfernan9@its.jnj.com); Kristen Foss (kfoss@dpyus.jnj.com); Michelle Fried ^                                                                                                                                                                               Presentation reflecting legal advice from Legal
2559   JANSSENBIO‐PL_2‐0002288   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com); Sergio Gadaleta (sgadale3@its.jnj.com);                                                                                                                                                       11/9/2005   Department regarding
                                                                                                                                                  Camille Acayan (cacayan@alzus.jnj.com); Brenda Aker (baker@its.jnj.com); Deinde Alade
                                                                                                                                                  (dalade@hcsus.jnj.com); Penny Albright (palbrigh@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                  Dave Ames (dames@its.jnj.com); Axel Arnaud (aarnaud@its.jnj.com); Simon Arnold
                                                                                                                                                  (arnold8@janjp.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak (sbartcza@its.jnj.com);
                                                                                                                                                  Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath (cbeath@its.jnj.com); Laura Benedetto
                                                                                                                                                  (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com);
                                                                                                                                                  Joseph Braunreuther ^ (jbraunre@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Bridget Brooks
                                                                                                                                                  (brooks@sciosinc.com); Scott Bruder (sbruder@dpyus.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                  Kristine Burke (kburke2@dpyus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli
                                                                                                                                                  (lcakoll@its.jnj.com); Peter Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea
                                                                                                                                                  Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                  (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                                  (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Dorothy Clarke ^
                                                                                                                                                  (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus
                                                                                                                                                  (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                  Jill Coogan (jcooga2@ethus.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Kevin Corrigan
                                                                                                                                                  (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com);
                                                                                                                                                  Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Luciene DaRosa
                                                                                                                                                  (ldarosa@dpyus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com);
                                                                                                                                                  Karen Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Dennis Donohoe
                                                                                                                                                  (ddonohoe@crdus.jnj.com); Fiona Dunbar (fdunbar1@joica.jnj.com); Greg DuPont
                                                                                                                                                  (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com);
                                                                                                                                                  Timothy English ^ (tenglis1@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella
                                                                                                                                                  (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith
                                                                                                                                                  Fernandez (jfernan9@its.jnj.com); Kristen Foss (kfoss@dpyus.jnj.com); Michelle Fried ^                                                                                                                                                                               Email chain with attachment(s) providing information to
                                                                                                                                                  (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com); Sergio Gadaleta (sgadale3@its.jnj.com);                                                                                                                                                                   counsel for the purpose of receiving legal advice
                                                                                                                                                  Shiobhan Gardner (sgardner@ompus.jnj.com); David Geary ^ (dgeary@its.jnj.com); Stephanie Gilson ^                                                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                  (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass                                                                                                                                                              internal guidance concerning practice management or IOI
2560   JANSSENBIO‐PL_2‐0002289   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (tglass@its.jnj.com); Elaine Glasser (eglasse1@obius.jnj.com); Donna Godward (dgodward@its.jnj.com);           Sue Seferian ^ (sseferia@its.jnj.com)             Philomena McArthur (pmcarth1@its.jnj.com) Christopher Zalesky (czalesky@its.jnj.com)   11/11/2005   support.
                                                                                                                                                  Camille Acayan (cacayan@alzus.jnj.com); Brenda Aker (baker@its.jnj.com); Deinde Alade
                                                                                                                                                  (dalade@hcsus.jnj.com); Penny Albright (palbrigh@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                  Dave Ames (dames@its.jnj.com); Axel Arnaud (aarnaud@its.jnj.com); Simon Arnold
                                                                                                                                                  (arnold8@janjp.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak (sbartcza@its.jnj.com);
                                                                                                                                                  Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath (cbeath@its.jnj.com); Laura Benedetto
                                                                                                                                                  (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com);
                                                                                                                                                  Joseph Braunreuther ^ (jbraunre@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Bridget Brooks
                                                                                                                                                  (brooks@sciosinc.com); Scott Bruder (sbruder@dpyus.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                  Kristine Burke (kburke2@dpyus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli
                                                                                                                                                  (lcakoll@its.jnj.com); Peter Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea
                                                                                                                                                  Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                  (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                                  (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Dorothy Clarke ^
                                                                                                                                                  (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus
                                                                                                                                                  (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                  Jill Coogan (jcooga2@ethus.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Kevin Corrigan
                                                                                                                                                  (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com);
                                                                                                                                                  Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Luciene DaRosa
                                                                                                                                                  (ldarosa@dpyus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com);
                                                                                                                                                  Karen Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Dennis Donohoe
                                                                                                                                                  (ddonohoe@crdus.jnj.com); Fiona Dunbar (fdunbar1@joica.jnj.com); Greg DuPont
                                                                                                                                                  (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com);
                                                                                                                                                  Timothy English ^ (tenglis1@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella
                                                                                                                                                  (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith
                                                                                                                                                  Fernandez (jfernan9@its.jnj.com); Kristen Foss (kfoss@dpyus.jnj.com); Michelle Fried ^
                                                                                                                                                  (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com); Sergio Gadaleta (sgadale3@its.jnj.com);
                                                                                                                                                  Shiobhan Gardner (sgardner@ompus.jnj.com); David Geary ^ (dgeary@its.jnj.com); Stephanie Gilson ^
                                                                                             Tamara Scoville ^           Joy Johnson              (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass
2561   JANSSENBIO‐PL_2‐0002290   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (tglass@its.jnj.com); Elaine Glasser (eglasse1@obius.jnj.com); Donna Godward (dgodward@its.jnj.com);                                                                                                                                                    11/11/2005
                                                                                                                                                  Camille Acayan (cacayan@alzus.jnj.com); Brenda Aker (baker@its.jnj.com); Deinde Alade
                                                                                                                                                  (dalade@hcsus.jnj.com); Penny Albright (palbrigh@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                  Dave Ames (dames@its.jnj.com); Axel Arnaud (aarnaud@its.jnj.com); Simon Arnold
                                                                                                                                                  (arnold8@janjp.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak (sbartcza@its.jnj.com);
                                                                                                                                                  Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath (cbeath@its.jnj.com); Laura Benedetto
                                                                                                                                                  (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com);
                                                                                                                                                  Joseph Braunreuther ^ (jbraunre@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Bridget Brooks
                                                                                                                                                  (brooks@sciosinc.com); Scott Bruder (sbruder@dpyus.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                  Kristine Burke (kburke2@dpyus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli
                                                                                                                                                  (lcakoll@its.jnj.com); Peter Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea
                                                                                                                                                  Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                  (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                                  (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Dorothy Clarke ^
                                                                                                                                                  (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus
                                                                                                                                                  (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                  Jill Coogan (jcooga2@ethus.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Kevin Corrigan
                                                                                                                                                  (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com);
                                                                                                                                                  Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Luciene DaRosa
                                                                                                                                                  (ldarosa@dpyus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com);
                                                                                                                                                  Karen Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Dennis Donohoe
                                                                                                                                                  (ddonohoe@crdus.jnj.com); Fiona Dunbar (fdunbar1@joica.jnj.com); Greg DuPont
                                                                                                                                                  (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com);
                                                                                                                                                  Timothy English ^ (tenglis1@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella
                                                                                                                                                  (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith
                                                                                                                                                  Fernandez (jfernan9@its.jnj.com); Kristen Foss (kfoss@dpyus.jnj.com); Michelle Fried ^
                                                                                                                                                  (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com); Sergio Gadaleta (sgadale3@its.jnj.com);
                                                                                                                                                  Shiobhan Gardner (sgardner@ompus.jnj.com); David Geary ^ (dgeary@its.jnj.com); Stephanie Gilson ^
                                                                                             Tamara Scoville ^           Joy Johnson              (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass
2562   JANSSENBIO‐PL_2‐0002291   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (tglass@its.jnj.com); Elaine Glasser (eglasse1@obius.jnj.com); Donna Godward (dgodward@its.jnj.com);                                                                                                                                                    11/11/2005




                                                                                                                                                                                                                         120
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 122 of 201

                                                                                                                                                         Camille Acayan (cacayan@alzus.jnj.com); Brenda Aker (baker@its.jnj.com); Deinde Alade
                                                                                                                                                         (dalade@hcsus.jnj.com); Penny Albright (palbrigh@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                         Dave Ames (dames@its.jnj.com); Axel Arnaud (aarnaud@its.jnj.com); Simon Arnold
                                                                                                                                                         (arnold8@janjp.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak (sbartcza@its.jnj.com);
                                                                                                                                                         Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath (cbeath@its.jnj.com); Laura Benedetto
                                                                                                                                                         (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com);
                                                                                                                                                         Joseph Braunreuther ^ (jbraunre@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Bridget Brooks
                                                                                                                                                         (brooks@sciosinc.com); Scott Bruder (sbruder@dpyus.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                         Kristine Burke (kburke2@dpyus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli
                                                                                                                                                         (lcakoll@its.jnj.com); Peter Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea
                                                                                                                                                         Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                         (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                                         (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Dorothy Clarke ^
                                                                                                                                                         (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus
                                                                                                                                                         (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                         Jill Coogan (jcooga2@ethus.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Kevin Corrigan
                                                                                                                                                         (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com);
                                                                                                                                                         Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Luciene DaRosa
                                                                                                                                                         (ldarosa@dpyus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com);
                                                                                                                                                         Karen Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Dennis Donohoe
                                                                                                                                                         (ddonohoe@crdus.jnj.com); Fiona Dunbar (fdunbar1@joica.jnj.com); Greg DuPont
                                                                                                                                                         (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com);
                                                                                                                                                         Timothy English ^ (tenglis1@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella
                                                                                                                                                         (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith
                                                                                                                                                         Fernandez (jfernan9@its.jnj.com); Kristen Foss (kfoss@dpyus.jnj.com); Michelle Fried ^
                                                                                                                                                         (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com); Sergio Gadaleta (sgadale3@its.jnj.com);
                                                                                                                                                         Shiobhan Gardner (sgardner@ompus.jnj.com); David Geary ^ (dgeary@its.jnj.com); Stephanie Gilson ^
                                                                                                   Tamara Scoville ^           Philomena McArthur        (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass
2563   JANSSENBIO‐PL_2‐0002292   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (pmcarth1@its.jnj.com)    (tglass@its.jnj.com); Elaine Glasser (eglasse1@obius.jnj.com); Donna Godward (dgodward@its.jnj.com);                                                                                                                                                   11/11/2005
                                                                                                                                                         Madhukar Ahuja (mahuja@its.jnj.com); Tyrone Akins (takins1@its.jnj.com); Cynthia Allen
                                                                                                                                                         (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                         Donna Barnickel (dbarnick@its.jnj.com); Jose Barro (jbarro@its.jnj.com); Laura Benedetto
                                                                                                                                                         (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com);
                                                                                                                                                         Mary Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                         (dbrinckm@its.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com); Mariellen Burke
                                                                                                                                                         (mburke4@obius.jnj.com); Janice Bush (jbush1@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com);
                                                                                                                                                         Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick Cassino
                                                                                                                                                         (rcassino@janus.jnj.com); Varsha Chandola (vchandol@obius.jnj.com); Michael Chester ^
                                                                                                                                                         (mcheste1@its.jnj.com); Vanessa Chomiak (vchomiak@its.jnj.com); Kristen Cincotti
                                                                                                                                                         (kcincott@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                                         Wendy Clarke (wclarke@cntus.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Jhanita Colvin
                                                                                                                                                         (jcolvin1@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                         Michael Coon (mcoon@its.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Nancy Corkum                         Christopher Zalesky (czalesky@its.jnj.com); Dirk
                                                                                                                                                         (ncorkum@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Angela Crowley (acrowle2@its.jnj.com); Kris           Gille (dgille@gcobe.jnj.com); Jan Van
                                                                                                                                                         Curry (kcurry@janus.jnj.com); Diane D'Ambrosio ^ (ddambro1@its.jnj.com); Luciene DaRosa                        (jvparijs@tibbe.jnj.com); Janice Bush
                                                                                                                                                         (ldarosa@dpyus.jnj.com); Karen Davis (kdavis5@its.jnj.com); Jennifer De Camara ^                               (jbush1@its.jnj.com); Jhanita Colvin
                                                                                                                                                         (jdecamar@corus.jnj.com); Nadine De Decker (nddecker@prdbe.jnj.com); Rika Ville (rdeville@its.jnj.com);        (jcolvin1@its.jnj.com); Jose Barro
                                                                                                                                                         Dennis DeCola (ddecola@its.jnj.com); Rosina Deveney (rdevene@its.jnj.com); Carl Dover                          (jbarro@its.jnj.com); Karen Green
                                                                                                                                                         (cdover49@its.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Kevin             (kgreen4@its.jnj.com); Kelly Talley
                                                                                                                                                         Dwyer (kdwyer@its.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com);            (ktalley6@tibus.jnj.com); Lee Schwartz
                                                                                                                                                         Robert Elgin (relgin@its.jnj.com); Verna Emembolu (vemembo1@gcogb.jnj.com); Timothy English ^                  (LSchwar1@PRDUS.JNJ.COM); Lisa Mastroianni
                                                                                                                                                         (tenglis1@its.jnj.com); Sheila Faella (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Thomas        (lmastroi@its.jnj.com); Maria Kennedy ^
                                                                                                                                                         Federici (tfederic@its.jnj.com); Joanna Fehrman (jfehrman@its.jnj.com); Judith Fernandez                       (mkenned3@its.jnj.com); Maxim Scholten
                                                                                                                                                         (jfernan9@its.jnj.com); Anneliese Fink Braun (afinkbra@gpsch.jnj.com); Chris Firriolo                          (mscholte@cntnl.jnj.com); Michael Schoeck
                                                                                                                                                         (cfirriol@its.jnj.com); Andrea Flanigan (aflaniga@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com);      (mschoeck@its.jnj.com); Nadine De Decker                                                                                                             Email chain with attachment(s) reflecting request for
                                                                                                                                                         David Geary ^ (dgeary@its.jnj.com); Dirk Gille (dgille@gcobe.jnj.com); Karen Gilmore                           (nddecker@prdbe.jnj.com); Philomena McArthur                                                                                                         legal advice regarding preparation/review of draft internal
                                                    Schoeck, Michael; Zalesky,                                                                           (kgilmore@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);        (pmcarth1@its.jnj.com); Verna Emembolu                                                                                                               training or internal guidance concerning practice
2564   JANSSENBIO‐PL_2‐0002293   Withheld   eMail   Christopher                  Attorney‐Client                                                         Kay Giroux (kgiroux@its.jnj.com); Marie Giunta (mgiunta@its.jnj.com); Bill Glaser (bglaser@its.jnj.com);       (vemembo1@gcogb.jnj.com)                         Lisa Mastroianni (lmastroi@its.jnj.com)                                                  5/5/2008   management or IOI support.
                                                                                                                                                         Madhukar Ahuja (mahuja@its.jnj.com); Tyrone Akins (takins1@its.jnj.com); Cynthia Allen
                                                                                                                                                         (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                         Donna Barnickel (dbarnick@its.jnj.com); Jose Barro (jbarro@its.jnj.com); Laura Benedetto
                                                                                                                                                         (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com);
                                                                                                                                                         Mary Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                         (dbrinckm@its.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com); Mariellen Burke
                                                                                                                                                         (mburke4@obius.jnj.com); Janice Bush (jbush1@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com);
                                                                                                                                                         Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick Cassino
                                                                                                                                                         (rcassino@janus.jnj.com); Varsha Chandola (vchandol@obius.jnj.com); Michael Chester ^
                                                                                                                                                         (mcheste1@its.jnj.com); Vanessa Chomiak (vchomiak@its.jnj.com); Kristen Cincotti
                                                                                                                                                         (kcincott@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com);
                                                                                                                                                         Wendy Clarke (wclarke@cntus.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Jhanita Colvin
                                                                                                                                                         (jcolvin1@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                         Michael Coon (mcoon@its.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Nancy Corkum
                                                                                                                                                         (ncorkum@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Angela Crowley (acrowle2@its.jnj.com); Kris
                                                                                                                                                         Curry (kcurry@janus.jnj.com); Diane D'Ambrosio ^ (ddambro1@its.jnj.com); Luciene DaRosa
                                                                                                                                                         (ldarosa@dpyus.jnj.com); Karen Davis (kdavis5@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                         (jdecamar@corus.jnj.com); Nadine De Decker (nddecker@prdbe.jnj.com); Rika Ville (rdeville@its.jnj.com);
                                                                                                                                                         Dennis DeCola (ddecola@its.jnj.com); Rosina Deveney (rdevene@its.jnj.com); Carl Dover
                                                                                                                                                         (cdover49@its.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Kevin
                                                                                                                                                         Dwyer (kdwyer@its.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com);
                                                                                                                                                         Robert Elgin (relgin@its.jnj.com); Verna Emembolu (vemembo1@gcogb.jnj.com); Timothy English ^
                                                                                                                                                         (tenglis1@its.jnj.com); Sheila Faella (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Thomas
                                                                                                                                                         Federici (tfederic@its.jnj.com); Joanna Fehrman (jfehrman@its.jnj.com); Judith Fernandez
                                                                                                                                                         (jfernan9@its.jnj.com); Anneliese Fink Braun (afinkbra@gpsch.jnj.com); Chris Firriolo
                                                                                                                                                         (cfirriol@its.jnj.com); Andrea Flanigan (aflaniga@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com);
                                                                                                                                                         David Geary ^ (dgeary@its.jnj.com); Dirk Gille (dgille@gcobe.jnj.com); Karen Gilmore
                                                    Schoeck, Michael; Zalesky,                                                                           (kgilmore@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
2565   JANSSENBIO‐PL_2‐0002294   Withheld   doc     Christopher                  Attorney‐Client                                                         Kay Giroux (kgiroux@its.jnj.com); Marie Giunta (mgiunta@its.jnj.com); Bill Glaser (bglaser@its.jnj.com);                                                                                                                                                 5/5/2008
                                                                                                                                                                                                                                                                        Brenda Davis (bdavis@corus.jnj.com);
                                                                                                                                                                                                                                                                        Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                         Joseph Braunreuther ^ (jbraunre@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com); Marc Farley                 Georgia Keresty (gkeresty@its.jnj.com); Joseph                                                                                                       Email chain with attachment(s) providing information to
                                                                                                                                                         (mfarley3@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Michael McCulley ^                             Braunreuther ^ (jbraunre@its.jnj.com); Kathy                                                                                                         counsel for the purpose of receiving legal advice
                                                                                                                                                         (mmccull@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Sue Seferian ^                             Schroeher ^ (kschroe@corus.jnj.com); Marc                                                                                                            regarding preparation/review of internal training or
                                                                                                                                                         (sseferia@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com); Christopher Zalesky                        Farley (mfarley3@its.jnj.com); Taysen Van Itallie   Michael McCulley ^                                                                               internal guidance concerning practice management or IOI
2566   JANSSENBIO‐PL_2‐0002295   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                         (czalesky@its.jnj.com)                                                                                         (tvanita@corus.jnj.com)                             (mmccull@corus.jnj.com)                   Sue Seferian ^ (sseferia@its.jnj.com)      12/6/2005   support.

                                                                                                                                                         Joseph Braunreuther ^ (jbraunre@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com); Marc Farley
                                                                                                                                                         (mfarley3@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Michael McCulley ^
                                                                                                                                                         (mmccull@corus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Sue Seferian ^
                                                                                                   Tamara Scoville ^           Joy Johnson               (sseferia@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com); Christopher Zalesky
2567   JANSSENBIO‐PL_2‐0002296   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)    (czalesky@its.jnj.com)                                                                                                                                                                                                                                  12/6/2005
                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain with attachment(s) reflecting request for
                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^                                                                                                                                                                 legal advice from Legal Department regarding
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery                                                                                                                                                                                  preparation/review of internal training or internal
                                                                                                                                                         (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck                              Michael Schoeck (mschoeck@its.jnj.com);                                                                                                              guidance concerning practice management or IOI
2568   JANSSENBIO‐PL_2‐0002297   Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                         (mschoeck@its.jnj.com)                                                                                         Thomas McCaffery (tmccaff3@cntus.jnj.com)           Andrew Brackbill (abrackbi@its.jnj.com)                                              3/18/2008   support.

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                         (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck                              Kathleen Hamill ^ (khamill@cntus.jnj.com);
2569   JANSSENBIO‐PL_2‐0002298   Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                         (mschoeck@its.jnj.com)                                                                                         Michael Schoeck (mschoeck@its.jnj.com)              Andrew Brackbill (abrackbi@its.jnj.com)   Freddy Jimenez ^ (fjimene3@its.jnj.com)    3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                   Donna Connelly              Andrew Brackbill          (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2570   JANSSENBIO‐PL_2‐0002299   Withheld   doc     Schoeck, Michael             Attorney‐Client   (dconnel2@its.jnj.com)      (abrackbi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                   Donna Connelly              Andrew Brackbill          (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2571   JANSSENBIO‐PL_2‐0002300   Withheld   doc     Schoeck, Michael             Attorney‐Client   (dconnel2@its.jnj.com)      (abrackbi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                   Arlene Hubler               Andrew Brackbill          (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2572   JANSSENBIO‐PL_2‐0002301   Withheld   doc     Schoeck, Michael             Attorney‐Client   (ahubler@its.jnj.com)       (abrackbi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                   Arlene Hubler               Andrew Brackbill          (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2573   JANSSENBIO‐PL_2‐0002302   Withheld   doc     Schoeck, Michael             Attorney‐Client   (ahubler@its.jnj.com)       (abrackbi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                   Daniel Seiter               Andrew Brackbill          (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2574   JANSSENBIO‐PL_2‐0002303   Withheld   doc     Schoeck, Michael             Attorney‐Client   (dseiter@cntus.jnj.com)     (abrackbi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                   Michael Cassano             Andrew Brackbill          (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2575   JANSSENBIO‐PL_2‐0002304   Withheld   doc     Schoeck, Michael             Attorney‐Client   (mcassano@cntus.jnj.com)    (abrackbi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                               Andrew Brackbill          (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2576   JANSSENBIO‐PL_2‐0002305   Withheld   ppt     Schoeck, Michael             Attorney‐Client   Corey Davis                 (abrackbi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                   Daniel Seiter               John Hoffman              (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2577   JANSSENBIO‐PL_2‐0002306   Withheld           Schoeck, Michael             Attorney‐Client   (dseiter@cntus.jnj.com)     (jhoffma2@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                   John Hoffman                John Hoffman              (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2578   JANSSENBIO‐PL_2‐0002307   Withheld           Schoeck, Michael             Attorney‐Client   (jhoffma2@its.jnj.com)      (jhoffma2@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                         (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2579   JANSSENBIO‐PL_2‐0002308   Withheld           Schoeck, Michael             Attorney‐Client   Corey Davis                 Sidley Austin LLP         (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                   Daniel Seiter               Daniel Seiter             (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2580   JANSSENBIO‐PL_2‐0002309   Withheld           Schoeck, Michael             Attorney‐Client   (dseiter@cntus.jnj.com)     (dseiter@cntus.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                         (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2581   JANSSENBIO‐PL_2‐0002310   Withheld           Schoeck, Michael             Attorney‐Client                                                         (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008

                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                   Michael Cassano             Andrew Brackbill          (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2582   JANSSENBIO‐PL_2‐0002311   Withheld   doc     Schoeck, Michael             Attorney‐Client   (mcassano@cntus.jnj.com)    (abrackbi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                  3/18/2008




                                                                                                                                                                                                                                121
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 123 of 201


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                   Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh            Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael                                                                                                                  regarding preparation/review of customer‐facing practice
2583   JANSSENBIO‐PL_2‐0002312                                                       Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                                     (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                               Schoeck (mschoeck@its.jnj.com)                   Patrick Mcveigh (pmcveigh@cntus.jnj.com)                                                              3/4/2008   management or IOI support material.

                                                                                                                                                 Judith Baker                 Judith Baker                 Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2584   JANSSENBIO‐PL_2‐0002313                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   (bakerj@rgltd.com)           (bakerj@rgltd.com)           (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                 Judith Baker                 Judith Baker
                                                                                                                                                 (rbaker@consultresourcegro   (rbaker@consultresourcegroup Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2585   JANSSENBIO‐PL_2‐0002314                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   up.co)                       .co)                         (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                 Judith Baker                 Judith Baker
                                                                                                                                                 (rbaker@consultresourcegro   (rbaker@consultresourcegroup Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2586   JANSSENBIO‐PL_2‐0002315                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   up.co)                       .co)                         (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                 Judith Baker                 Judith Baker
                                                                                                                                                 (rbaker@consultresourcegro   (rbaker@consultresourcegroup Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2587   JANSSENBIO‐PL_2‐0002316                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   up.co)                       .co)                         (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                 Judith Baker                 Judith Baker
                                                                                                                                                 (rbaker@consultresourcegro   (rbaker@consultresourcegroup Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2588   JANSSENBIO‐PL_2‐0002317                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   up.co)                       .co)                         (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                 Judith Baker                 Judith Baker
                                                                                                                                                 (rbaker@consultresourcegro   (rbaker@consultresourcegroup Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2589   JANSSENBIO‐PL_2‐0002318                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   up.co)                       .co)                         (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                 Judith Baker                 Judith Baker
                                                                                                                                                 (rbaker@consultresourcegro   (rbaker@consultresourcegroup Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2590   JANSSENBIO‐PL_2‐0002319                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   up.co)                       .co)                         (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                 Judith Baker                 Judith Baker
                                                                                                                                                 (rbaker@consultresourcegro   (rbaker@consultresourcegroup Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2591   JANSSENBIO‐PL_2‐0002320                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   up.co)                       .co)                         (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                 Judith Baker                 Judith Baker
                                                                                                                                                 (rbaker@consultresourcegro   (rbaker@consultresourcegroup Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2592   JANSSENBIO‐PL_2‐0002321                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   up.co)                       .co)                         (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                 Judith Baker                 Judith Baker
                                                                                                                                                 (rbaker@consultresourcegro   (rbaker@consultresourcegroup Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2593   JANSSENBIO‐PL_2‐0002322                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   up.co)                       .co)                         (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                 Judith Baker                 Judith Baker
                                                                                                                                                 (rbaker@consultresourcegro   (rbaker@consultresourcegroup Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2594   JANSSENBIO‐PL_2‐0002323                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   up.co)                       .co)                         (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                 Judith Baker                 Judith Baker
                                                                                                                                                 (rbaker@consultresourcegro   (rbaker@consultresourcegroup Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Patrick Mcveigh
2595   JANSSENBIO‐PL_2‐0002324                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   up.co)                       .co)                         (pmcveigh@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                              3/4/2008
                                                                                                                                                                                                                                                                                                                                                                                                                               Angela McCoy (amccoy1@cntus.jnj.com); Eric Toppy
                                                                                                                                                                                                                   Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Angela McCoy                                                                                                             (etoppy@its.jnj.com); Jamie Anderson ^
                                                                                                                                                                                                                   (amccoy1@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Eric Toppy (etoppy@its.jnj.com);                                                                                                           (jlanderson@akingump.com); Jorge Lopez ^                             Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                   Michael Ziskind (mziskind@cntus.jnj.com); Jamie Anderson ^ (jlanderson@akingump.com); Jorge Lopez ^            Freddy Jimenez ^ (fjimene3@its.jnj.com); Teresa                                              (jlopez@akingump.com); Michael Schoeck                               regarding preparation/review of customer facing
2596   JANSSENBIO‐PL_2‐0002325                                                       Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                                     (jlopez@akingump.com)                                                                                          Giuliana (tgiulian@cntus.jnj.com)                 Michael Ziskind (mziskind@cntus.jnj.com)   (mschoeck@its.jnj.com)                                    2/5/2008   regulatory update.

                                                                                                                                                                                                                   Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Angela McCoy
                                                                                                                                                                                                                   (amccoy1@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Eric Toppy (etoppy@its.jnj.com);
                                                                                                                                                                              Michael Ziskind                      Michael Ziskind (mziskind@cntus.jnj.com); Jamie Anderson ^ (jlanderson@akingump.com); Jorge Lopez ^
2597   JANSSENBIO‐PL_2‐0002326                                                       Withheld   PPT     Schoeck, Michael       Attorney‐Client                                (mziskind@cntus.jnj.com)             (jlopez@akingump.com)                                                                                                                                                                                                                                                 2/5/2008

                                                                                                                                                                                                                   Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Angela McCoy
                                                                                                                                                                                                                   (amccoy1@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Eric Toppy (etoppy@its.jnj.com);
                                                                                                                                                                              Michael Ziskind                      Michael Ziskind (mziskind@cntus.jnj.com); Jamie Anderson ^ (jlanderson@akingump.com); Jorge Lopez ^
2598   JANSSENBIO‐PL_2‐0002327                                                       Withheld   PPT     Schoeck, Michael       Attorney‐Client                                (mziskind@cntus.jnj.com)             (jlopez@akingump.com)                                                                                                                                                                                                                                                 2/5/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    legal advice from Legal Department regarding
                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^                                                                                                                                                                             preparation/review of internal training or internal
                                                                                                                                                                                                                   (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck                             Andrew Brackbill (abrackbi@its.jnj.com); Thomas                                                                                                                   guidance concerning practice management or IOI
2599   JANSSENBIO‐PL_2‐0002328                                                       Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                                     (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                 McCaffery (tmccaff3@cntus.jnj.com)              Michael Schoeck (mschoeck@its.jnj.com)                                                                3/16/2008   support.

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                 Donna Connelly               Andrew Brackbill                     (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2600   JANSSENBIO‐PL_2‐0002329                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   (dconnel2@its.jnj.com)       (abrackbi@its.jnj.com)               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                 Donna Connelly               Andrew Brackbill                     (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2601   JANSSENBIO‐PL_2‐0002330                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   (dconnel2@its.jnj.com)       (abrackbi@its.jnj.com)               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                 Arlene Hubler                Andrew Brackbill                     (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2602   JANSSENBIO‐PL_2‐0002331                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   (ahubler@its.jnj.com)        (abrackbi@its.jnj.com)               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                 Arlene Hubler                Andrew Brackbill                     (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2603   JANSSENBIO‐PL_2‐0002332                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   (ahubler@its.jnj.com)        (abrackbi@its.jnj.com)               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                 Daniel Seiter                Andrew Brackbill                     (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2604   JANSSENBIO‐PL_2‐0002333                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   (dseiter@cntus.jnj.com)      (abrackbi@its.jnj.com)               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                 Michael Cassano              Andrew Brackbill                     (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2605   JANSSENBIO‐PL_2‐0002334                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   (mcassano@cntus.jnj.com)     (abrackbi@its.jnj.com)               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                              Andrew Brackbill                     (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2606   JANSSENBIO‐PL_2‐0002335                                                       Withheld   ppt     Schoeck, Michael       Attorney‐Client   Corey Davis                  (abrackbi@its.jnj.com)               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                 Daniel Seiter                John Hoffman                         (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2607   JANSSENBIO‐PL_2‐0002336                                                       Withheld           Schoeck, Michael       Attorney‐Client   (dseiter@cntus.jnj.com)      (jhoffma2@its.jnj.com)               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                 John Hoffman                 John Hoffman                         (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2608   JANSSENBIO‐PL_2‐0002337                                                       Withheld           Schoeck, Michael       Attorney‐Client   (jhoffma2@its.jnj.com)       (jhoffma2@its.jnj.com)               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                   (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2609   JANSSENBIO‐PL_2‐0002338                                                       Withheld           Schoeck, Michael       Attorney‐Client   Corey Davis                  Sidley Austin LLP                    (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                 Daniel Seiter                Daniel Seiter                        (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2610   JANSSENBIO‐PL_2‐0002339                                                       Withheld           Schoeck, Michael       Attorney‐Client   (dseiter@cntus.jnj.com)      (dseiter@cntus.jnj.com)              (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                   (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2611   JANSSENBIO‐PL_2‐0002340                                                       Withheld           Schoeck, Michael       Attorney‐Client                                                                     (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008

                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                 Michael Cassano              Andrew Brackbill                     (fjimene3@its.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck
2612   JANSSENBIO‐PL_2‐0002341                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   (mcassano@cntus.jnj.com)     (abrackbi@its.jnj.com)               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                       3/16/2008
                                                                                                                                                                                                                                                                                                                                  CR‐CNTUS H800‐2303 (h2‐
                                                                                                                                                                                                                                                                                                                                  2303@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                   Janice Babia (jbabia@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Brian         (fjimene3@its.jnj.com); Janice Babia
                                                                                                                                                                                                                   Fitzpatrick (bfitzpa2@cntus.jnj.co); Ken Gillmer (kgillme1@its.jnj.com); Freddy Jimenez ^                      (jbabia@cntus.jnj.com); John Murray
                                                                                                                                                                                                                   (fjimene3@its.jnj.com); John Murray (jmurray6@cntus.jnj.com); Bob Prachar (bprachar@its.jnj.com);              (jmurray6@cntus.jnj.com); Kara Zubey                                                         Bob Prachar (bprachar@its.jnj.com); Brian Fitzpatrick                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                   Michael Schoeck (mschoeck@its.jnj.com); Kara Zubey (kzubey@cntus.jnj.com); CR‐CNTUS H800‐2303                  (kzubey@cntus.jnj.com); Michael Schoeck                                                      (bfitzpa2@cntus.jnj.co); Ken Gillmer                                 regarding preparation/review of customer‐facing practice
2613   JANSSENBIO‐PL_2‐0002342                                                       Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                                     (h2‐2303@cntus.jnj.com)                                                                                        (mschoeck@its.jnj.com); Sam Chi                   Sam Chi (schi@cntus.jnj.com)               (kgillme1@its.jnj.com)                                  10/31/2005   management or IOI support material.

                                                                                                                                                                                                                   Janice Babia (jbabia@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Brian
                                                                                                                                                                                                                   Fitzpatrick (bfitzpa2@cntus.jnj.co); Ken Gillmer (kgillme1@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                   (fjimene3@its.jnj.com); John Murray (jmurray6@cntus.jnj.com); Bob Prachar (bprachar@its.jnj.com);
                                                                                                                                                 Sam Chi                                                           Michael Schoeck (mschoeck@its.jnj.com); Kara Zubey (kzubey@cntus.jnj.com); CR‐CNTUS H800‐2303
2614   JANSSENBIO‐PL_2‐0002343                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   (schi@cntus.jnj.com)         Sam Chi (schi@cntus.jnj.com)         (h2‐2303@cntus.jnj.com)                                                                                                                                                                                                                                             10/31/2005

                                                                                                                                                                                                                   Janice Babia (jbabia@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Brian
                                                                                                                                                                                                                   Fitzpatrick (bfitzpa2@cntus.jnj.co); Ken Gillmer (kgillme1@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                   (fjimene3@its.jnj.com); John Murray (jmurray6@cntus.jnj.com); Bob Prachar (bprachar@its.jnj.com);
                                                                                                                                                 Janice Babia                                                      Michael Schoeck (mschoeck@its.jnj.com); Kara Zubey (kzubey@cntus.jnj.com); CR‐CNTUS H800‐2303
2615   JANSSENBIO‐PL_2‐0002344                                                       Withheld   xls     Schoeck, Michael       Attorney‐Client   (jbabia@cntus.jnj.com)       Sam Chi (schi@cntus.jnj.com)         (h2‐2303@cntus.jnj.com)                                                                                                                                                                                                                                             10/31/2005

                                                                                                                                                                                                                   Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^                                                                                                                                                                                      Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                   (fjimene3@its.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);                                                                                                         Cheryl Cohen (ccohen3@cntus.jnj.com); Janice Babia                   regarding preparation/review of internal training or
                                                                                                                                                                                                                   John Murray (jmurray6@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck                                                                                                               (jbabia@cntus.jnj.com); John Murray                                  internal guidance concerning practice management or IOI
2616                             JANSSENBIO‐064‐00002949   JANSSENBIO‐064‐00002950   Redacted   eMail   Schoeck, Michael       Attorney‐Client                                                                     (mschoeck@its.jnj.com)                                                                                         Michael Schoeck (mschoeck@its.jnj.com)            Jean Murray (jmurray3@cntus.jnj.com)       (jmurray6@cntus.jnj.com)                                  1/6/2006   support.

                                                                                                                                                                                                                   Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                   (fjimene3@its.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);
                                                                                                                                                                                                                   John Murray (jmurray6@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck
2617   JANSSENBIO‐PL_2‐0002345   JANSSENBIO‐064‐00002951   JANSSENBIO‐064‐00002951   Withheld   rtf     Schoeck, Michael       Attorney‐Client                                                                     (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                1/6/2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                   Janice Babia (jbabia@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael Schoeck                                                                                                               Janice Babia (jbabia@cntus.jnj.com); Michael Schoeck                 regarding preparation/review of customer‐facing practice
2618   JANSSENBIO‐PL_2‐0002346                                                       Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                                     (mschoeck@its.jnj.com); Kristin Scott (kscott6@cntus.jnj.com)                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com)           Kristin Scott (kscott6@cntus.jnj.com)      (mschoeck@its.jnj.com)                                    2/1/2006   management or IOI support material.

                                                                                                                                                 Kristin Scott                Kristin Scott                        Janice Babia (jbabia@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael Schoeck
2619   JANSSENBIO‐PL_2‐0002347                                                       Withheld   doc     Schoeck, Michael       Attorney‐Client   (kscott6@cntus.jnj.com)      (kscott6@cntus.jnj.com)              (mschoeck@its.jnj.com); Kristin Scott (kscott6@cntus.jnj.com)                                                                                                                                                                                                         2/1/2006
                                                                                                                                                 Kristen Brill                                                                                                                                                                                                                                                                                                                                      Draft guidance document reflecting legal advice from the
2620   JANSSENBIO‐PL_2‐0002348                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)         Kristen Brill (kbrill@its.jnj.com)                                                                                                                                                                                                                                                                       12/16/2015   Law Department ^.
                                                                                                                                                                              Christopher Zalesky                                                                                                                                                                                                                                                                                                   Training presentation reflecting legal advice from Sue
2621   JANSSENBIO‐PL_2‐0002349                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                    5/16/2000   Seferian ^.
                                                                                                                                                                              Joy Johnson                                                                                                                                                                                                                                                                                                           Draft guidance document reflecting legal advice from the
2622   JANSSENBIO‐PL_2‐0002350   JANSSENBIO‐055‐00004843   JANSSENBIO‐055‐00004843   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson            (jjohns14@its.jnj.com)                                                                                                                                                                                                                                                                                    7/15/2002   Law Department ^.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Presentation reflecting legal advice from Legal
                                                                                                                                                 Richard Appiah               Catherine Owen                                                                                                                                                                                                                                                                                                        Departmentregarding issues relating to legal strategy
2623                             JANSSENBIO‐064‐00001737   JANSSENBIO‐064‐00001790   Redacted   pptx    Owen, Catherine        Attorney‐Client   (RAppiah@ITS.JNJ.com)        (cowen3@its.jnj.com)                 Serge Messerlian (smesserl@its.jnj.com); Catherine Owen (cowen3@its.jnj.com)                                                                                                                                                                                          2/1/2016   and analysis.
                                                                                                                                                 Richard Appiah               Catherine Owen                                                                                                                                                                                                                                                                                                        Presentation reflecting legal advice from the Law
2624                             JANSSENBIO‐064‐00001798   JANSSENBIO‐064‐00001864   Redacted   pptx    Owen, Catherine        Attorney‐Client   (RAppiah@ITS.JNJ.com)        (cowen3@its.jnj.com)                 Hilary Gentile (hilary.gentile@mccann.com); Catherine Owen (cowen3@its.jnj.com)                                                                                                                                                                                       2/9/2016   Department ^ regarding FDA approval.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Memorandum providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                 Daryl Todd ^                 Christopher Zalesky                                                                                                                                                                                                                                                                                                   guidance concerning practice management or IOI
2625   JANSSENBIO‐PL_2‐0002351                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)         (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                    7/25/2012   support.

                                                                                                                                                 Richard Appiah               Catherine Owen                       Richard Appiah (rappiah@its.jnj.com); Hilary Gentile (hilary.gentile@mccann.com); Serge Messerlian                                                                                                                                                                               Presentation reflecting legal advice from the Law
2626                             JANSSENBIO‐064‐00001872   JANSSENBIO‐064‐00001938   Redacted   pptx    Owen, Catherine        Attorney‐Client   (RAppiah@ITS.JNJ.com)        (cowen3@its.jnj.com)                 (smesserl@its.jnj.com); Catherine Owen (cowen3@its.jnj.com)                                                                                                                                                                                                           2/8/2016   Department ^ regarding FDA approval.

                                                                                                                                                                                                                                                                                                                                                                                                                               Andres Rodriguez (arodri20@cntus.jnj.com); Cheryl
                                                                                                                                                                                                                   Michael Cassano (mcassano@cntus.jnj.com); Cynthia Chamberlain (cchamber@cntus.jnj.com); Cheryl                                                                                                              Cohen (ccohen3@cntus.jnj.com); Ian Karp
                                                                                                                                                                                                                   Cohen (ccohen3@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com);                                                                                                (ikarp1@cntus.jnj.com); John Hoffman
                                                                                                                                                                                                                   John Hoffman (jhoffma2@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Ian Karp                                                                                                                      (jhoffma2@its.jnj.com); Michael Cassano                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                   (ikarp1@cntus.jnj.com); Ian Karp (ikarp1@cntus.jnj.com); Elizabeth Lawless (elawless@its.jnj.com);             Cynthia Chamberlain (cchamber@cntus.jnj.com);                                                (mcassano@cntus.jnj.com); Michael Schoeck                            regarding preparation/review of customer‐facing
2627   JANSSENBIO‐PL_2‐0002352                                                       Withheld   eMail   Schoeck, Michael       Attorney‐Client                                                                     Andres Rodriguez (arodri20@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                              Freddy Jimenez ^ (fjimene3@its.jnj.com)       Chris Firriolo (cfirriol@its.jnj.com)          (mschoeck@its.jnj.com)                                    5/2/2006   regulatory update.




                                                                                                                                                                                                                                                                                             122
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 124 of 201


                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Cynthia Chamberlain (cchamber@cntus.jnj.com); Cheryl
                                                                                                                                                                                                            Cohen (ccohen3@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com);
                                                                                                                                                                                                            John Hoffman (jhoffma2@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Ian Karp
                                                                                                                                                                                   Ian Karp                 (ikarp1@cntus.jnj.com); Ian Karp (ikarp1@cntus.jnj.com); Elizabeth Lawless (elawless@its.jnj.com);
2628   JANSSENBIO‐PL_2‐0002353                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client                               (ikarp1@cntus.jnj.com)   Andres Rodriguez (arodri20@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                  5/2/2006



                                                                                                                                                                                                            Michael Cassano (mcassano@cntus.jnj.com); Cynthia Chamberlain (cchamber@cntus.jnj.com); Cheryl
                                                                                                                                                                                                            Cohen (ccohen3@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com);
                                                                                                                                                                                                            John Hoffman (jhoffma2@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Ian Karp
                                                                                                                                                                                                            (ikarp1@cntus.jnj.com); Ian Karp (ikarp1@cntus.jnj.com); Elizabeth Lawless (elawless@its.jnj.com);
2629   JANSSENBIO‐PL_2‐0002354                                                       Withheld   pdf     Schoeck, Michael             Attorney‐Client   CPY Document Author                                  Andres Rodriguez (arodri20@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                  5/2/2006
                                                                                                                                                       Robert (Bob) Alder          Catherine Owen           Stacey Davis (sdavis31@its.jnj.com); Sean Kelleher (skelleh1@its.jnj.com); Catherine Owen                                                                                                                                                                                     Presentation reflecting legal advice from the Law
2630                             JANSSENBIO‐064‐00001955   JANSSENBIO‐064‐00001990   Redacted   pptx    Owen, Catherine              Attorney‐Client   (bob@xillix.co)             (cowen3@its.jnj.com)     (cowen3@its.jnj.com)                                                                                                                                                                                                                                              1/26/2016   Department ^ regarding FDA approval.
                                                                                                                                                                                                                                                                                                                            Bill Wladika (bwladika@cntus.jnj.com);
                                                                                                                                                                                                                                                                                                                            Christopher Molineaux
                                                                                                                                                                                                                                                                                                                            (cmoline1@cntus.jnj.com); Elizabeth Anderson
                                                                                                                                                                                                            Elizabeth Anderson (lander23@its.jnj.com); Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^                   (lander23@its.jnj.com); Freddy Jimenez ^                                                                                                                      Email with attachment(s) requesting legal advice
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Christopher Molineaux (cmoline1@cntus.jnj.com); Thomas Schaible                         (fjimene3@its.jnj.com); Scott Habig                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                                                                            (tschaibl@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com);           (shabig@its.jnj.com); Thomas Schaible                                                                                                                         internal guidance concerning practice management or IOI
2631   JANSSENBIO‐PL_2‐0002355                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        Bill Wladika (bwladika@cntus.jnj.com)                                                                           (tschaibl@its.jnj.com)                          Carol Smith (csmith35@cntus.jnj.com)   Michael Schoeck (mschoeck@its.jnj.com)                    11/21/2005   support.

                                                                                                                                                                                                            Elizabeth Anderson (lander23@its.jnj.com); Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Christopher Molineaux (cmoline1@cntus.jnj.com); Thomas Schaible
                                                                                                                                                       Carol Smith                 Michael Schoeck          (tschaibl@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com);
2632   JANSSENBIO‐PL_2‐0002356                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (csmith35@cntus.jnj.com)    (mschoeck@its.jnj.com)   Bill Wladika (bwladika@cntus.jnj.com)                                                                                                                                                                                                                            11/21/2005

                                                                                                                                                                                                            Elizabeth Anderson (lander23@its.jnj.com); Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Christopher Molineaux (cmoline1@cntus.jnj.com); Thomas Schaible
                                                                                                                                                       Christopher Zalesky         Michael Schoeck          (tschaibl@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com);
2633   JANSSENBIO‐PL_2‐0002357                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (czalesky@its.jnj.com)      (mschoeck@its.jnj.com)   Bill Wladika (bwladika@cntus.jnj.com)                                                                                                                                                                                                                            11/21/2005

                                                                                                                                                                                                            Elizabeth Anderson (lander23@its.jnj.com); Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Christopher Molineaux (cmoline1@cntus.jnj.com); Thomas Schaible
                                                                                                                                                       Carol Smith                 Michael Schoeck          (tschaibl@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com);
2634   JANSSENBIO‐PL_2‐0002358                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (csmith35@cntus.jnj.com)    (mschoeck@its.jnj.com)   Bill Wladika (bwladika@cntus.jnj.com)                                                                                                                                                                                                                            11/21/2005
                                                                                                                                                                                                            Stacey Davis (sdavis31@its.jnj.com); Sean Kelleher (skelleh1@its.jnj.com); Kevin O'Neill
                                                                                                                                                       Robert (Bob) Alder          Catherine Owen           (koneill6@its.jnj.com); Catherine Owen (cowen3@its.jnj.com); Catherine Owen (cowen3@its.jnj.com);                                                                                                                                                                             Presentation reflecting legal advice from the Law
2635                             JANSSENBIO‐064‐00001997   JANSSENBIO‐064‐00002032   Redacted   pptx    Owen, Catherine              Attorney‐Client   (bob@xillix.co)             (cowen3@its.jnj.com)     Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                                                 1/26/2016   Department ^ regarding FDA approval.
                                                                                                                                                                                                            Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                                                                                            Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                                            (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                                                                                            (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); James Burrus
                                                                                                                                                                                                            (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Andrea
                                                                                                                                                                                                            Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Cindy Castelyns
                                                                                                                                                                                                            (ccastely@janbe.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                            (bchrist2@dpyus.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Linda Conticchio
                                                                                                                                                                                                            (Icontic@its.jnj.com); Jill Coogan (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris
                                                                                                                                                                                                            Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                                            (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen
                                                                                                                                                                                                            Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Kathy DeLong
                                                                                                                                                                                                            (kdelong@eesus.jnj.com); Ann Deren‐Lewis (aderenle@neuus.jnj.com; David Domann
                                                                                                                                                                                                            (ddomann@omjus.jnj.com); Dennis Donohoe (ddonohoe@crdus.jnj.com); John Duke
                                                                                                                                                                                                            (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan
                                                                                                                                                                                                            Eichler (seichler@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                            Judith Fernandez (jfernan9@its.jnj.com); Naoko Fujii (fujii@sciosinc.com); Anne Furnari
                                                                                                                                                                                                            (afurnar@corus.jnj.com); Sergio Gadaleta (sgadale3@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry
                                                                                                                                                                                                            Glass (tglass@its.jnj.com); Donna Godward (dgodward@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                                                            (bgoldman@prdus.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Jackie Hahn (jhahn2@ethus.jnj.com);
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Ernie Hernandez (eherna17@scius.jnj.com); Thomas Hiriak
                                                                                                                                                                                                            (thiriak3@its.jnj.com); Robert Honigberg (rhonigb1@eesus.jnj.com); David Horwitz
                                                                                                                                                                                                            (dhorwitz@its.jnj.com); Frances Impellizzeri (fimpelli@crdus.jnj.com); Stella Jones (sjones13@its.jnj.com);
                                                                                                                                                                                                            Brian Kelly (bkelly2@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Sandra Kerr
                                                                                                                                                                                                            (skerr5@prdus.jnj.com); Elaine Kling (ekling@its.jnj.com); Paul Kramer (pkramer3@its.jnj.com); David                                                                                                                                                                          Presentation reflecting legal advice from Legal
                                                                                                                                                                                                            Kurlander (dkurland@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Manny Lazaro                                                                                                                                                                                          Department regarding preparation/review of internal
                                                                                                        Schoeck, Michael; Zalesky,                     Christopher Zalesky         Christopher Zalesky      (mlazaro@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Andrew Leven (aleven@crdus.jnj.com); Amena                                                                                                                                                                          training or internal guidance concerning practice
2636   JANSSENBIO‐PL_2‐0002359   JANSSENBIO‐064‐00002980   JANSSENBIO‐064‐00002980   Withheld   ppt     Christopher                  Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Lewis (alewis3@its.jnj.com); Sean Lilienfeld (slilien1@its.jnj.com); Joel Lippman (jlippman@ethus.jnj.com);                                                                                                                                                        6/6/2006   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                            Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Chris Firriolo                       Chris Firriolo (cfirriol@its.jnj.com); Freddy                                                                                                                 regarding preparation/review of internal training or
                                                                                                        Cohen, Cheryl; Schoeck,                                                                             (cfirriol@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy McGonigal                                Jimenez ^ (fjimene3@its.jnj.com); Michael                                              Cheryl Cohen (ccohen3@cntus.jnj.com); Randy                            internal guidance concerning practice management or IOI
2637   JANSSENBIO‐PL_2‐0002360                                                       Withheld   eMail   Michael                      Attorney‐Client                                                        (rmcgonig@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                Schoeck (mschoeck@its.jnj.com)                  Janice Babia (jbabia@cntus.jnj.com)    McGonigal (rmcgonig@cntus.jnj.com)                         4/10/2006   support.

                                                                                                                                                                                                            Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Chris Firriolo
                                                                                                        Cohen, Cheryl; Schoeck,                                                                             (cfirriol@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy McGonigal
2638   JANSSENBIO‐PL_2‐0002361                                                       Withheld   eMail   Michael                      Attorney‐Client                                                        (rmcgonig@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                  4/10/2006

                                                                                                                                                                                                            Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Chris Firriolo
                                                                                                        Cohen, Cheryl; Schoeck,                        Erin Parsons                                         (cfirriol@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy McGonigal
2639   JANSSENBIO‐PL_2‐0002362                                                       Withheld   pdf     Michael                      Attorney‐Client   (eparson5@its.jnj.com)                               (rmcgonig@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                  4/10/2006

                                                                                                                                                                                                            Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Chris Firriolo
                                                                                                        Cohen, Cheryl; Schoeck,                        Janice Babia                Janice Babia             (cfirriol@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy McGonigal
2640   JANSSENBIO‐PL_2‐0002363                                                       Withheld   doc     Michael                      Attorney‐Client   (jbabia@cntus.jnj.com)      (jbabia@cntus.jnj.com)   (rmcgonig@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                  4/10/2006
                                                                                                                                                                                                            Camille Acayan (cacayan@alzus.jnj.com); Deinde Alade (dalade@hcsus.jnj.com); Leslie Altman                      Adriana Soblick (asoblick@its.jnj.com); Amena
                                                                                                                                                                                                            (laltman1@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com);          Lewis (alewis3@its.jnj.com); Andrew Leven
                                                                                                                                                                                                            Edward Benson (ebenson5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^                  (aleven@crdus.jnj.com); Anthony Brennan
                                                                                                                                                                                                            (dbrinckm@its.jnj.com); Bridget Brooks (brooks@sciosinc.com); Barbara Buerkle (bbuerkl2@its.jnj.com);           (abrenna3@its.jnj.com); Anthony Carter
                                                                                                                                                                                                            Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter                   (acarter2@its.jnj.com); Barbara Buerkle
                                                                                                                                                                                                            (acarter2@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh                                   (bbuerkl2@its.jnj.com); Barry Leece
                                                                                                                                                                                                            (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^                             (bleece1@its.jnj.com); Bill Glaser
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus                                  (bglaser@its.jnj.com); Bill McKenzie
                                                                                                                                                                                                            (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);         (bmckenzi@its.jnj.com); Brian Kelly
                                                                                                                                                                                                            Mary Copithorne (mcopitho@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Kris Curry                            (bkelly2@its.jnj.com); Brian Reid
                                                                                                                                                                                                            (kcurry@janus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Karen Davis (kdavis5@its.jnj.com);              (breid2@its.jnj.com); Bridget Brooks
                                                                                                                                                                                                            Dennis DeCola (ddecola@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Kevin Dwyer                           (brooks@sciosinc.com); Camille Acayan
                                                                                                                                                                                                            (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella     (cacayan@alzus.jnj.com); Carmen Sampson
                                                                                                                                                                                                            (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Kristen     (csampson@its.jnj.com); Carol Scholz
                                                                                                                                                                                                            Foss (kfoss@dpyus.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com);         (cscholz1@obius.jnj.com); Carol Williams                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Dirk
                                                                                                                                                                                                            Shiobhan Gardner (sgardner@ompus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux                 (cwilli17@omjus.jnj.com); Caroline Preston                                             Brinckman ^ (dbrinckm@its.jnj.com); Dirk Van
                                                                                                                                                                                                            (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com); Elaine Glasser      (cpreston@its.jnj.com); Carrie Gray                                                    (dvbroekh@jppbe.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (eglasse1@obius.jnj.com); Carrie Gray (cgray9@its.jnj.com); Pamela Haines (phaines8@its.jnj.com);               (cgray9@its.jnj.com); Celia Connaire                                                   (fjimene3@its.jnj.com); Joanna Soffa ^
                                                                                                                                                                                                            Rebecca Hayes (rhayes5@its.jnj.com); Diane Herczeg (dherczeg1@psmus.jnj.com); Thomas Hiriak                     (cconnai3@its.jnj.com); Chris Corso                                                    (soffa@sciosinc.com); Joyce ter Heerdt ^
                                                                                                                                                                                                            (thiriak3@its.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Frances Impellizzeri (fimpelli@crdus.jnj.com);   (ccorso@its.jnj.com); Chris Tompson                                                    (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                            Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Denise Johnson                  (ctompso1@its.jnj.com); Christine Cahill                                               (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                                                                                            (djohns39@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Mark Kelly       (ccahill@obius.jnj.com); Christopher Zalesky                                           (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                            (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Georgia Keresty                                 (czalesky@its.jnj.com); Clayton Paterson ^                                             (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                            (gkeresty@its.jnj.com); Maren Klein (mklein@its.jnj.com); Donald Kohlhepp (dkohlhep@cpcus.jnj.com);             (cpaters@its.jnj.com); Clivetty Martinez                                               (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                            David Kurlander (dkurland@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Barry Leece                       (clmartin@medpr.jnj.com); Darlene Mitchell                                             (msievers@its.jnj.com); Michael Chester ^                              Email with attachment(s) providing information to
                                                                                                                                                                                                            (bleece1@its.jnj.com); Andrew Leven (aleven@crdus.jnj.com); Amena Lewis (alewis3@its.jnj.com); Gina             (dmitche6@crdus.jnj.com); Dave Rybak                                                   (mcheste1@its.jnj.com); Michelle Fried ^                               counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            Licciardello (gliccia2@janus.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez                        (drybak2@its.jnj.com); David Kurlander                                                 (mfried1@corus.jnj.com); Patrick O'Brien ^                             regarding preparation/review of draft internal training or
                                                                                                        Schoeck, Michael; Zalesky,                                                                          (ilopez@its.jnj.com); Jacqueline Maestri (jmaestri@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Lynn          (dkurland@its.jnj.com); David Swearingen                                               (pobrien5@corus.jnj.com); Sue Seferian ^                               internal guidance concerning practice management or IOI
2641   JANSSENBIO‐PL_2‐0002364                                                       Withheld   eMail   Christopher                  Attorney‐Client                                                        Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Clivetty Martinez                            (dsweari@hcsus.jnj.com); Deinde Alade           Joy Johnson (jjohns14@its.jnj.com)     (sseferia@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)   10/21/2005   support.
                                                                                                                                                                                                            Camille Acayan (cacayan@alzus.jnj.com); Brenda Aker (baker@its.jnj.com); Deinde Alade                           Adriana Soblick (asoblick@its.jnj.com); Amena
                                                                                                                                                                                                            (dalade@hcsus.jnj.com); Penny Albright (palbrigh@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);            Lewis (alewis3@its.jnj.com); Andrea Casper
                                                                                                                                                                                                            Dave Ames (dames@its.jnj.com); Axel Arnaud (aarnaud@its.jnj.com); Simon Arnold                                  (acasper1@its.jnj.com); Andrew Leven
                                                                                                                                                                                                            (arnold8@janjp.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak (sbartcza@its.jnj.com);        (aleven@crdus.jnj.com); Anne Reilly ^
                                                                                                                                                                                                            Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath (cbeath@its.jnj.com); Laura Benedetto             (areilly@its.jnj.com); Anthony Brennan
                                                                                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com);            (abrenna3@its.jnj.com); Anthony Carter
                                                                                                                                                                                                            Joseph Braunreuther ^ (jbraunre@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Bridget Brooks            (acarter2@its.jnj.com); Axel Arnaud
                                                                                                                                                                                                            (brooks@sciosinc.com); Scott Bruder (sbruder@dpyus.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);            (aarnaud@its.jnj.com); Barbara Buerkle
                                                                                                                                                                                                            Kristine Burke (kburke2@dpyus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli                 (bbuerkl2@its.jnj.com); Barbara Schwartz
                                                                                                                                                                                                            (lcakoll@its.jnj.com); Peter Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea    (bschwart@ethus.jnj.com); Barry Leece
                                                                                                                                                                                                            Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh                            (bleece1@its.jnj.com); Bill Christianson
                                                                                                                                                                                                            (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian                           (bchrist2@dpyus.jnj.com); Bill Glaser
                                                                                                                                                                                                            (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Dorothy Clarke ^                            (bglaser@its.jnj.com); Bill McKenzie
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus                                  (bmckenzi@its.jnj.com); Bonnie Goldmann
                                                                                                                                                                                                            (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);         (bgoldman@prdus.jnj.com); Brenda Aker
                                                                                                                                                                                                            Jill Coogan (jcooga2@ethus.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Kevin Corrigan                     (baker@its.jnj.com); Brenda Davis
                                                                                                                                                                                                            (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com);            (bdavis@corus.jnj.com); Brian Kelly
                                                                                                                                                                                                            Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Luciene DaRosa                         (bkelly2@its.jnj.com); Brian Reid
                                                                                                                                                                                                            (ldarosa@dpyus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com);               (breid2@its.jnj.com); Bridget Brooks
                                                                                                                                                                                                            Karen Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Dennis Donohoe                          (brooks@sciosinc.com); Camille Acayan
                                                                                                                                                                                                            (ddonohoe@crdus.jnj.com); Fiona Dunbar (fdunbar1@joica.jnj.com); Greg DuPont                                    (cacayan@alzus.jnj.com); Carla Sivak
                                                                                                                                                                                                            (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com);                (csivak@dpyus.jnj.com); Carmen Sampson
                                                                                                                                                                                                            Timothy English ^ (tenglis1@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella                       (csampson@its.jnj.com); Carol Scholz
                                                                                                                                                                                                            (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith        (cscholz1@obius.jnj.com); Carol Williams
                                                                                                                                                                                                            Fernandez (jfernan9@its.jnj.com); Kristen Foss (kfoss@dpyus.jnj.com); Michelle Fried ^                          (cwilli17@omjus.jnj.com); Caroline Preston                                                                                                                    Email with attachment(s) providing information to
                                                                                                                                                                                                            (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com); Sergio Gadaleta (sgadale3@its.jnj.com);              (cpreston@its.jnj.com); Carrie Gray                                                                                                                           counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            Shiobhan Gardner (sgardner@ompus.jnj.com); David Geary ^ (dgeary@its.jnj.com); Stephanie Gilson ^               (cgray9@its.jnj.com); Catherine Beath                                                                                                                         regarding preparation/review of draft internal training or
                                                                                                        Schoeck, Michael; Zalesky,                                                                          (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass         (cbeath@its.jnj.com); Catherine Sicari ^                                                                                                                      internal guidance concerning practice management or IOI
2642   JANSSENBIO‐PL_2‐0002366                                                       Withheld   eMail   Christopher                  Attorney‐Client                                                        (tglass@its.jnj.com); Elaine Glasser (eglasse1@obius.jnj.com); Donna Godward (dgodward@its.jnj.com);            (csicari@its.jnj.com); Celia Connaire           Joy Johnson (jjohns14@its.jnj.com)     Sue Seferian ^ (sseferia@its.jnj.com)                      11/2/2005   support.
                                                                                                                                                                                                            Camille Acayan (cacayan@alzus.jnj.com); Brenda Aker (baker@its.jnj.com); Deinde Alade
                                                                                                                                                                                                            (dalade@hcsus.jnj.com); Penny Albright (palbrigh@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                                                                            Dave Ames (dames@its.jnj.com); Axel Arnaud (aarnaud@its.jnj.com); Simon Arnold
                                                                                                                                                                                                            (arnold8@janjp.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak (sbartcza@its.jnj.com);
                                                                                                                                                                                                            Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath (cbeath@its.jnj.com); Laura Benedetto
                                                                                                                                                                                                            (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein (nbernste@its.jnj.com);
                                                                                                                                                                                                            Joseph Braunreuther ^ (jbraunre@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Bridget Brooks
                                                                                                                                                                                                            (brooks@sciosinc.com); Scott Bruder (sbruder@dpyus.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                                                            Kristine Burke (kburke2@dpyus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli
                                                                                                                                                                                                            (lcakoll@its.jnj.com); Peter Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea
                                                                                                                                                                                                            Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                                                                            (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Patricia Christian
                                                                                                                                                                                                            (pchrist5@its.jnj.com); Bill Christianson (bchrist2@dpyus.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus
                                                                                                                                                                                                            (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                                                                            Jill Coogan (jcooga2@ethus.jnj.com); Mary Copithorne (mcopitho@its.jnj.com); Kevin Corrigan
                                                                                                                                                                                                            (kcorriga@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com);
                                                                                                                                                                                                            Cindy Crosby (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Luciene DaRosa
                                                                                                                                                                                                            (ldarosa@dpyus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Brenda Davis (bdavis@corus.jnj.com);
                                                                                                                                                                                                            Karen Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Dennis Donohoe
                                                                                                                                                                                                            (ddonohoe@crdus.jnj.com); Fiona Dunbar (fdunbar1@joica.jnj.com); Greg DuPont
                                                                                                                                                                                                            (gdupont@dpyus.jnj.com); Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com);
                                                                                                                                                                                                            Timothy English ^ (tenglis1@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella
                                                                                                                                                                                                            (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith
                                                                                                                                                                                                            Fernandez (jfernan9@its.jnj.com); Kristen Foss (kfoss@dpyus.jnj.com); Michelle Fried ^
                                                                                                                                                                                                            (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com); Sergio Gadaleta (sgadale3@its.jnj.com);
                                                                                                                                                                                                            Shiobhan Gardner (sgardner@ompus.jnj.com); David Geary ^ (dgeary@its.jnj.com); Stephanie Gilson ^
                                                                                                        Schoeck, Michael; Zalesky,                     Tamara Scoville ^           Joy Johnson              (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass
2643   JANSSENBIO‐PL_2‐0002367                                                       Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (tglass@its.jnj.com); Elaine Glasser (eglasse1@obius.jnj.com); Donna Godward (dgodward@its.jnj.com);                                                                                                                                                              11/2/2005




                                                                                                                                                                                                                                                                                      123
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 125 of 201


                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz                                                                                                                                                               Email chain with attachment(s) providing information to
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway                                                                                                                                                                               counsel for the purpose of receiving legal advice
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);                                                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo                                                                                                            Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Michael               internal guidance concerning practice management or IOI
2644   JANSSENBIO‐PL_2‐0002368   Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                        (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com)    Karen Dougherty (kdoughe2@cntus.jnj.com)   Schoeck (mschoeck@its.jnj.com)                   5/18/2006   support.




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                                                                              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2645   JANSSENBIO‐PL_2‐0002369   Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                        (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                              Karen Dougherty (kdoughe2@cntus.jnj.com)        Jim Stuart (jstuart@cntus.jnj.com)         Peggy Doran (pdoran@cntus.jnj.com)               5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                         David Bloch ^               Joy Johnson              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2646   JANSSENBIO‐PL_2‐0002370   Withheld   DOC     Schoeck, Michael   Attorney‐Client   (dbloch@reedsmith.com)      (jjohns14@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                                          5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                                                                              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2647   JANSSENBIO‐PL_2‐0002371   Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                        (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                              Karen Dougherty (kdoughe2@cntus.jnj.com)        Jim Stuart (jstuart@cntus.jnj.com)         Peggy Doran (pdoran@cntus.jnj.com)               5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                         Tamara Scoville ^           Joy Johnson              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2648   JANSSENBIO‐PL_2‐0002372   Withheld   doc     Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                                          5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                         Lawrence Southard           Joy Johnson              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2649   JANSSENBIO‐PL_2‐0002373   Withheld   doc     Schoeck, Michael   Attorney‐Client   (lsouthar@ppgus.jnj.com)    (jjohns14@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                                          5/18/2006
                                                                                                                                                                                                                                                       Amy Crouch (acrouch2@cntus.jnj.com); Averill
                                                                                                                                                                                                                                                       Francisco (afranci2@cntnl.jnj.com); Catherine
                                                                                                                                                                                                                                                       Lloyd (clloyd@cntus.jnj.com); David Soloway
                                                                                                                                                                                                                                                       (dsoloway@cntus.jnj.com); Deborah Drevyanko
                                                                                                                                                                                                                                                       (ddrevyan@cntus.jnj.com); Elsje Vries
                                                                                                                                                                                                                                                       (evries@cntnl.jnj.com); Heather Wallo
                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran                  (hwallo@cntus.jnj.com); Jane Wilcox
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty                        (jwilcox@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco                  (kdoughe2@cntus.jnj.com); Liz Lyons ^
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);   (llyons2@cntus.jnj.com); Mei Collier
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz       (mcollier1@cntus.jnj.com); Peggy Doran
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway                       (pdoran@cntus.jnj.com); Sandra Twyman
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);      (stwyman@cntus.jnj.com); Suzanne Strik
                                                                                                                                              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo                 (sstrik@cntnl.jnj.com); Tiffany Sizemore
2650   JANSSENBIO‐PL_2‐0002374   Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                        (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                              (tsizemo2@cntus.jnj.com)                        Jim Stuart (jstuart@cntus.jnj.com)                                                          5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                                                                              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo                 Karen Dougherty (kdoughe2@cntus.jnj.com);
2651   JANSSENBIO‐PL_2‐0002375   Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                        (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                              Peggy Doran (pdoran@cntus.jnj.com)              Jim Stuart (jstuart@cntus.jnj.com)                                                          5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                                                     Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2652   JANSSENBIO‐PL_2‐0002376   Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                        (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                                          5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                                                     Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2653   JANSSENBIO‐PL_2‐0002377   Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                        (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                                          5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                                                     Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2654   JANSSENBIO‐PL_2‐0002378   Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                        (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                                          5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                                                     Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2655   JANSSENBIO‐PL_2‐0002379   Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                        (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                                          5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                                                     Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2656   JANSSENBIO‐PL_2‐0002380   Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                        (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                                          5/18/2006




                                                                                                                                                                                                                   124
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 126 of 201


                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                                                     Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2657   JANSSENBIO‐PL_2‐0002381   Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                        (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                             5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Sydney Napolitano ^ (snapolit@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore (tsizemo2@cntus.jnj.com); David Soloway
                                                                                                                                              (dsoloway@cntus.jnj.com); Suzanne Strik (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com);
                                                                                         Bruce Simonson                                       Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2658   JANSSENBIO‐PL_2‐0002382   Withheld   doc     Schoeck, Michael   Attorney‐Client   (bsimonso@its.jnj.com)      Stephen Campbell         (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                             5/18/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                              (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik                                                                                                                                                                     Email with attachment(s) reflecting legal advice from
                                                                                                                                              (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);                                                                                                                                                Legal Department regarding preparation/review of
                                                                                                                                              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo                 Carolyn Thomas (cthomasa@prdbe.jnj.com); Lee                                                                                               internal training or internal guidance concerning practice
2659   JANSSENBIO‐PL_2‐0002383   Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                        (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                              Schwartz (LSchwar1@PRDUS.JNJ.COM)            Karen Dougherty (kdoughe2@cntus.jnj.com) Michael Schoeck (mschoeck@its.jnj.com)   4/11/2006   management or IOI support.




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                              (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                              (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                                                                              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2660   JANSSENBIO‐PL_2‐0002384   Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                        (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                              Karen Dougherty (kdoughe2@cntus.jnj.com)        Jim Stuart (jstuart@cntus.jnj.com)     Peggy Doran (pdoran@cntus.jnj.com)      4/11/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                              (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                              (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                         David Bloch ^               Joy Johnson              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2661   JANSSENBIO‐PL_2‐0002385   Withheld   DOC     Schoeck, Michael   Attorney‐Client   (dbloch@reedsmith.com)      (jjohns14@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                             4/11/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                              (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                              (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                                                                              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2662   JANSSENBIO‐PL_2‐0002386   Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                        (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                              Karen Dougherty (kdoughe2@cntus.jnj.com)        Jim Stuart (jstuart@cntus.jnj.com)     Peggy Doran (pdoran@cntus.jnj.com)      4/11/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                              (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                              (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                         Tamara Scoville ^           Joy Johnson              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2663   JANSSENBIO‐PL_2‐0002387   Withheld   doc     Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                             4/11/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                              (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                              (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                         Lawrence Southard           Joy Johnson              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2664   JANSSENBIO‐PL_2‐0002388   Withheld   doc     Schoeck, Michael   Attorney‐Client   (lsouthar@ppgus.jnj.com)    (jjohns14@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                             4/11/2006
                                                                                                                                                                                                                                                       Amy Crouch (acrouch2@cntus.jnj.com); Averill
                                                                                                                                                                                                                                                       Francisco (afranci2@cntnl.jnj.com); Catherine
                                                                                                                                                                                                                                                       Lloyd (clloyd@cntus.jnj.com); David Soloway
                                                                                                                                                                                                                                                       (dsoloway@cntus.jnj.com); Deborah Drevyanko
                                                                                                                                                                                                                                                       (ddrevyan@cntus.jnj.com); Elsje Vries
                                                                                                                                                                                                                                                       (evries@cntnl.jnj.com); Heather Wallo
                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran                  (hwallo@cntus.jnj.com); Jane Wilcox
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty                        (jwilcox@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco                  (kdoughe2@cntus.jnj.com); Liz Lyons ^
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);   (llyons2@cntus.jnj.com); Mei Collier
                                                                                                                                              Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore          (mcollier1@cntus.jnj.com); Peggy Doran
                                                                                                                                              (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik                          (pdoran@cntus.jnj.com); Sandra Twyman
                                                                                                                                              (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);     (stwyman@cntus.jnj.com); Suzanne Strik
                                                                                                                                              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo                 (sstrik@cntnl.jnj.com); Tiffany Sizemore
2665   JANSSENBIO‐PL_2‐0002389   Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                        (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                              (tsizemo2@cntus.jnj.com)                        Jim Stuart (jstuart@cntus.jnj.com)                                             4/11/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                              (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                              (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                                                                              Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo                 Karen Dougherty (kdoughe2@cntus.jnj.com);
2666   JANSSENBIO‐PL_2‐0002390   Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                        (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                              Peggy Doran (pdoran@cntus.jnj.com)              Jim Stuart (jstuart@cntus.jnj.com)                                             4/11/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                              (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                              (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                                                     Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2667   JANSSENBIO‐PL_2‐0002391   Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                        (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                             4/11/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                              (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                              (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                                                     Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2668   JANSSENBIO‐PL_2‐0002392   Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                        (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                             4/11/2006




                                                                                                                                              Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                              (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                              (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                              (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                              Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                              (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                              (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                                                     Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2669   JANSSENBIO‐PL_2‐0002393   Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                        (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                                                             4/11/2006




                                                                                                                                                                                                                   125
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 127 of 201


                                                                                                                                                                                               Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                                                                               (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                                                                               (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                                                                               (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                                                                               Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                                                                               (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                                                                               (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                                                                                                      Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2670   JANSSENBIO‐PL_2‐0002394                                                       Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                     (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                      4/11/2006




                                                                                                                                                                                               Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                                                                               (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                                                                               (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                                                                               (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                                                                               Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                                                                               (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                                                                               (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                                                                                                      Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2671   JANSSENBIO‐PL_2‐0002395                                                       Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                     (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                      4/11/2006




                                                                                                                                                                                               Mei Collier (mcollier1@cntus.jnj.com); Amy Crouch (acrouch2@cntus.jnj.com); Peggy Doran
                                                                                                                                                                                               (pdoran@cntus.jnj.com); Karen Dougherty (kdoughe2@cntus.jnj.com); Karen Dougherty
                                                                                                                                                                                               (kdoughe2@cntus.jnj.com); Deborah Drevyanko (ddrevyan@cntus.jnj.com); Averill Francisco
                                                                                                                                                                                               (afranci2@cntnl.jnj.com); Catherine Lloyd (clloyd@cntus.jnj.com); Liz Lyons ^ (llyons2@cntus.jnj.com);
                                                                                                                                                                                               Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Tiffany Sizemore
                                                                                                                                                                                               (tsizemo2@cntus.jnj.com); David Soloway (dsoloway@cntus.jnj.com); Suzanne Strik
                                                                                                                                                                                               (sstrik@cntnl.jnj.com); Jim Stuart (jstuart@cntus.jnj.com); Carolyn Thomas (cthomasa@prdbe.jnj.com);
                                                                                                                                                                      Michael Schoeck          Sandra Twyman (stwyman@cntus.jnj.com); Elsje Vries (evries@cntnl.jnj.com); Heather Wallo
2672   JANSSENBIO‐PL_2‐0002396                                                       Withheld   DOC     Schoeck, Michael   Attorney‐Client   BRCM                     (mschoeck@its.jnj.com)   (hwallo@cntus.jnj.com); Jane Wilcox (jwilcox@cntus.jnj.com)                                                                                                                                      4/11/2006
                                                                                                                                                                                                                                                                                                                                                                                                            Email chain reflecting legal advice regarding issues
                                                                                                                                                                                                                                                                                                                                                                                                            relating to interactions or communications between
2673   JANSSENBIO‐PL_2‐0002397                                                       Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                     Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                               Freddy Jimenez ^ (fjimene3@its.jnj.com)   Michael Schoeck (mschoeck@its.jnj.com)    1/6/2006   ABSs and physician offices.
                                                                                                                                                                                               Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                                                                               Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                               (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                                                                               (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                               Dirk Brinckman ^ (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); James Burrus
                                                                                                                                                                                               (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Andrea
                                                                                                                                                                                               Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Cindy Castelyns
                                                                                                                                                                                               (ccastely@janbe.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                               (bchrist2@dpyus.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Linda Conticchio
                                                                                                                                                                                               (Icontic@its.jnj.com); Jill Coogan (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris
                                                                                                                                                                                               Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                               (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen
                                                                                                                                                                                               Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Kathy DeLong
                                                                                                                                                                                               (kdelong@eesus.jnj.com); Ann Deren‐Lewis (aderenle@neuus.jnj.com; David Domann
                                                                                                                                                                                               (ddomann@omjus.jnj.com); Dennis Donohoe (ddonohoe@crdus.jnj.com); Karen Dougherty
                                                                                                                                                                                               (kdoughe2@cntus.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com);
                                                                                                                                                                                               Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Marc Farley
                                                                                                                                                                                               (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                                                                               Naoko Fujii (fujii@sciosinc.com); Anne Furnari (afurnar@corus.jnj.com); Sergio Gadaleta
                                                                                                                                                                                               (sgadale3@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com); Donna Godward
                                                                                                                                                                                               (dgodward@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Timothy Grimes
                                                                                                                                                                                               (tgrimes@its.jnj.com); Jackie Hahn (jhahn2@ethus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Ernie
                                                                                                                                                                                               Hernandez (eherna17@scius.jnj.com); Thomas Hiriak (thiriak3@its.jnj.com); Robert Honigberg
                                                                                                                                                                                               (rhonigb1@eesus.jnj.com); David Horwitz (dhorwitz@its.jnj.com); Frances Impellizzeri
                                                                                                                                                                                               (fimpelli@crdus.jnj.com); Stella Jones (sjones13@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Georgia
                                                                                                                                                                                               Keresty (gkeresty@its.jnj.com); Sandra Kerr (skerr5@prdus.jnj.com); Elaine Kling (ekling@its.jnj.com); Paul                                                                                                  Presentation reflecting legal advice from Legal
                                                                                                                                                                                               Kramer (pkramer3@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Paul Lawrance                                                                                                                         Department regarding preparation/review of internal
                                                                                                                                             Christopher Zalesky      Christopher Zalesky      (plawran1@its.jnj.com); Manny Lazaro (mlazaro@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Andrew                                                                                                        training or internal guidance concerning practice
2674   JANSSENBIO‐PL_2‐0002398   JANSSENBIO‐064‐00002996   JANSSENBIO‐064‐00002996   Withheld   ppt     Schoeck, Michael   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Leven (aleven@crdus.jnj.com); Amena Lewis (alewis3@its.jnj.com); Sean Lilienfeld (slilien1@its.jnj.com);                                                                                          6/6/2006   management or IOI support.
                                                                                                                                                                                               Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                                                                               Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                               (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                                                                               (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                               Dirk Brinckman ^ (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); James Burrus
                                                                                                                                                                                               (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Andrea
                                                                                                                                                                                               Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Cindy Castelyns
                                                                                                                                                                                               (ccastely@janbe.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                               (bchrist2@dpyus.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Linda Conticchio
                                                                                                                                                                                               (Icontic@its.jnj.com); Jill Coogan (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris
                                                                                                                                                                                               Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                               (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen
                                                                                                                                                                                               Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Kathy DeLong
                                                                                                                                                                                               (kdelong@eesus.jnj.com); Ann Deren‐Lewis (aderenle@neuus.jnj.com; David Domann
                                                                                                                                                                                               (ddomann@omjus.jnj.com); Dennis Donohoe (ddonohoe@crdus.jnj.com); Karen Dougherty
                                                                                                                                                                                               (kdoughe2@cntus.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com);
                                                                                                                                                                                               Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Marc Farley
                                                                                                                                                                                               (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                                                                               Naoko Fujii (fujii@sciosinc.com); Anne Furnari (afurnar@corus.jnj.com); Sergio Gadaleta
                                                                                                                                                                                               (sgadale3@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com); Donna Godward
                                                                                                                                                                                               (dgodward@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Timothy Grimes
                                                                                                                                                                                               (tgrimes@its.jnj.com); Jackie Hahn (jhahn2@ethus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Ernie
                                                                                                                                                                                               Hernandez (eherna17@scius.jnj.com); Thomas Hiriak (thiriak3@its.jnj.com); Robert Honigberg
                                                                                                                                                                                               (rhonigb1@eesus.jnj.com); David Horwitz (dhorwitz@its.jnj.com); Frances Impellizzeri
                                                                                                                                                                                               (fimpelli@crdus.jnj.com); Stella Jones (sjones13@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Georgia
                                                                                                                                                                                               Keresty (gkeresty@its.jnj.com); Sandra Kerr (skerr5@prdus.jnj.com); Elaine Kling (ekling@its.jnj.com); Paul
                                                                                                                                                                                               Kramer (pkramer3@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Paul Lawrance
                                                                                                                                             Christopher Zalesky      Christopher Zalesky      (plawran1@its.jnj.com); Manny Lazaro (mlazaro@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Andrew
2675   JANSSENBIO‐PL_2‐0002399                                                       Withheld           Schoeck, Michael   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Leven (aleven@crdus.jnj.com); Amena Lewis (alewis3@its.jnj.com); Sean Lilienfeld (slilien1@its.jnj.com);                                                                                          6/6/2006
                                                                                                                                                                                               Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                                                                               Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                               (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                                                                               (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                               Dirk Brinckman ^ (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); James Burrus
                                                                                                                                                                                               (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Andrea
                                                                                                                                                                                               Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Cindy Castelyns
                                                                                                                                                                                               (ccastely@janbe.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                               (bchrist2@dpyus.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Linda Conticchio
                                                                                                                                                                                               (Icontic@its.jnj.com); Jill Coogan (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris
                                                                                                                                                                                               Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                               (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen
                                                                                                                                                                                               Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Kathy DeLong
                                                                                                                                                                                               (kdelong@eesus.jnj.com); Ann Deren‐Lewis (aderenle@neuus.jnj.com; David Domann
                                                                                                                                                                                               (ddomann@omjus.jnj.com); Dennis Donohoe (ddonohoe@crdus.jnj.com); Karen Dougherty
                                                                                                                                                                                               (kdoughe2@cntus.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com);
                                                                                                                                                                                               Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Marc Farley
                                                                                                                                                                                               (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                                                                               Naoko Fujii (fujii@sciosinc.com); Anne Furnari (afurnar@corus.jnj.com); Sergio Gadaleta
                                                                                                                                                                                               (sgadale3@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com); Donna Godward
                                                                                                                                                                                               (dgodward@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Timothy Grimes
                                                                                                                                                                                               (tgrimes@its.jnj.com); Jackie Hahn (jhahn2@ethus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Ernie
                                                                                                                                                                                               Hernandez (eherna17@scius.jnj.com); Thomas Hiriak (thiriak3@its.jnj.com); Robert Honigberg
                                                                                                                                                                                               (rhonigb1@eesus.jnj.com); David Horwitz (dhorwitz@its.jnj.com); Frances Impellizzeri
                                                                                                                                                                                               (fimpelli@crdus.jnj.com); Stella Jones (sjones13@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Georgia
                                                                                                                                                                                               Keresty (gkeresty@its.jnj.com); Sandra Kerr (skerr5@prdus.jnj.com); Elaine Kling (ekling@its.jnj.com); Paul
                                                                                                                                                                                               Kramer (pkramer3@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Paul Lawrance
                                                                                                                                             Christopher Zalesky      Christopher Zalesky      (plawran1@its.jnj.com); Manny Lazaro (mlazaro@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Andrew
2676   JANSSENBIO‐PL_2‐0002400                                                       Withheld           Schoeck, Michael   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Leven (aleven@crdus.jnj.com); Amena Lewis (alewis3@its.jnj.com); Sean Lilienfeld (slilien1@its.jnj.com);                                                                                          6/6/2006
                                                                                                                                                                                               Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                                                                               Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                               (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                                                                               (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                               Dirk Brinckman ^ (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); James Burrus
                                                                                                                                                                                               (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Andrea
                                                                                                                                                                                               Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Cindy Castelyns
                                                                                                                                                                                               (ccastely@janbe.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                               (bchrist2@dpyus.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Linda Conticchio
                                                                                                                                                                                               (Icontic@its.jnj.com); Jill Coogan (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris
                                                                                                                                                                                               Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                               (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen
                                                                                                                                                                                               Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Kathy DeLong
                                                                                                                                                                                               (kdelong@eesus.jnj.com); Ann Deren‐Lewis (aderenle@neuus.jnj.com; David Domann
                                                                                                                                                                                               (ddomann@omjus.jnj.com); Dennis Donohoe (ddonohoe@crdus.jnj.com); Karen Dougherty
                                                                                                                                                                                               (kdoughe2@cntus.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com);
                                                                                                                                                                                               Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Marc Farley
                                                                                                                                                                                               (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                                                                               Naoko Fujii (fujii@sciosinc.com); Anne Furnari (afurnar@corus.jnj.com); Sergio Gadaleta
                                                                                                                                                                                               (sgadale3@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com); Donna Godward
                                                                                                                                                                                               (dgodward@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Timothy Grimes
                                                                                                                                                                                               (tgrimes@its.jnj.com); Jackie Hahn (jhahn2@ethus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Ernie
                                                                                                                                                                                               Hernandez (eherna17@scius.jnj.com); Thomas Hiriak (thiriak3@its.jnj.com); Robert Honigberg
                                                                                                                                                                                               (rhonigb1@eesus.jnj.com); David Horwitz (dhorwitz@its.jnj.com); Frances Impellizzeri
                                                                                                                                                                                               (fimpelli@crdus.jnj.com); Stella Jones (sjones13@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Georgia
                                                                                                                                                                                               Keresty (gkeresty@its.jnj.com); Sandra Kerr (skerr5@prdus.jnj.com); Elaine Kling (ekling@its.jnj.com); Paul
                                                                                                                                                                                               Kramer (pkramer3@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Paul Lawrance
                                                                                                                                             Christopher Zalesky      Christopher Zalesky      (plawran1@its.jnj.com); Manny Lazaro (mlazaro@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Andrew
2677   JANSSENBIO‐PL_2‐0002401                                                       Withheld           Schoeck, Michael   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   Leven (aleven@crdus.jnj.com); Amena Lewis (alewis3@its.jnj.com); Sean Lilienfeld (slilien1@its.jnj.com);                                                                                          6/6/2006




                                                                                                                                                                                                                                                                     126
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 128 of 201

                                                                                                                                                                                                            Madhukar Ahuja (mahuja@its.jnj.com); Brenda Aker (baker@its.jnj.com); Dave Ames (dames@its.jnj.com);
                                                                                                                                                                                                            Axel Arnaud (aarnaud@its.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Catherine Beath
                                                                                                                                                                                                            (cbeath@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Elizabeth Blackwood
                                                                                                                                                                                                            (eblackw2@lfsus.jnj.com); Helen Booth (hbooth8@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com);
                                                                                                                                                                                                            Dirk Brinckman ^ (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); James Burrus
                                                                                                                                                                                                            (jburrus@its.jnj.com); Janice Bush (jbush1@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Andrea
                                                                                                                                                                                                            Casper (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Cindy Castelyns
                                                                                                                                                                                                            (ccastely@janbe.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                            (bchrist2@dpyus.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Linda Conticchio
                                                                                                                                                                                                            (Icontic@its.jnj.com); Jill Coogan (jcooga2@ethus.jnj.com); Kevin Corrigan (kcorriga@its.jnj.com); Chris
                                                                                                                                                                                                            Corso (ccorso@its.jnj.com); Richard Courtney (rcourtne@visus.jnj.com); Cindy Crosby
                                                                                                                                                                                                            (ccrosby@ethus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Raina Dauria (rdauria@its.jnj.com); Karen
                                                                                                                                                                                                            Davis (kdavis5@its.jnj.com); Dennis DeCola (ddecola@its.jnj.com); Kathy DeLong
                                                                                                                                                                                                            (kdelong@eesus.jnj.com); Ann Deren‐Lewis (aderenle@neuus.jnj.com; David Domann
                                                                                                                                                                                                            (ddomann@omjus.jnj.com); Dennis Donohoe (ddonohoe@crdus.jnj.com); Karen Dougherty
                                                                                                                                                                                                            (kdoughe2@cntus.jnj.com); John Duke (jduke1@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com);
                                                                                                                                                                                                            Kevin Dwyer (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Marc Farley
                                                                                                                                                                                                            (mfarley3@its.jnj.com); Christina Farup (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                                                                                            Naoko Fujii (fujii@sciosinc.com); Anne Furnari (afurnar@corus.jnj.com); Sergio Gadaleta
                                                                                                                                                                                                            (sgadale3@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com); Donna Godward
                                                                                                                                                                                                            (dgodward@its.jnj.com); Bonnie Goldmann (bgoldman@prdus.jnj.com); Timothy Grimes
                                                                                                                                                                                                            (tgrimes@its.jnj.com); Jackie Hahn (jhahn2@ethus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Ernie
                                                                                                                                                                                                            Hernandez (eherna17@scius.jnj.com); Thomas Hiriak (thiriak3@its.jnj.com); Robert Honigberg
                                                                                                                                                                                                            (rhonigb1@eesus.jnj.com); David Horwitz (dhorwitz@its.jnj.com); Frances Impellizzeri
                                                                                                                                                                                                            (fimpelli@crdus.jnj.com); Stella Jones (sjones13@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Georgia
                                                                                                                                                                                                            Keresty (gkeresty@its.jnj.com); Sandra Kerr (skerr5@prdus.jnj.com); Elaine Kling (ekling@its.jnj.com); Paul
                                                                                                                                                                                                            Kramer (pkramer3@its.jnj.com); David Kurlander (dkurland@its.jnj.com); Paul Lawrance
                                                                                                                                                       Christopher Zalesky       Christopher Zalesky        (plawran1@its.jnj.com); Manny Lazaro (mlazaro@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Andrew
2678   JANSSENBIO‐PL_2‐0002402                                                       Withheld           Schoeck, Michael             Attorney‐Client   (czalesky@its.jnj.com)    (czalesky@its.jnj.com)     Leven (aleven@crdus.jnj.com); Amena Lewis (alewis3@its.jnj.com); Sean Lilienfeld (slilien1@its.jnj.com);                                                                                                                                                                                                           6/6/2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                            Kimberly Dunne ^ (kdunne@sidley.com); Hae‐won Min liao ^ (hminliao@sidley.com); Michael Schoeck                                                                                                                                                                                                                               internal guidance concerning practice management or IOI
2679   JANSSENBIO‐PL_2‐0002403                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                           Hae‐won Min liao ^ (hminliao@sidley.com)         Michael Schoeck (mschoeck@its.jnj.com)       Kimberly Dunne ^ (kdunne@sidley.com)                       12/8/2006   support.

                                                                                                                                                       Christopher Zalesky                                  Kimberly Dunne ^ (kdunne@sidley.com); Hae‐won Min liao ^ (hminliao@sidley.com); Michael Schoeck
2680   JANSSENBIO‐PL_2‐0002404                                                       Withheld   pdf     Schoeck, Michael             Attorney‐Client   (czalesky@its.jnj.com)                               (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                    12/8/2006


                                                                                                                                                                                                            Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^                                                                                                                                                            Cheryl Cohen (ccohen3@cntus.jnj.com); John Murray                      Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); Jean Murray                                                                                                                                                                          (jmurray6@cntus.jnj.com); Randy McGonigal                              from Legal Department regarding preparation/review of
                                                                                                                                                                                                            (jmurray3@cntus.jnj.com); John Murray (jmurray6@cntus.jnj.com); Tom Nyairo (tnyairo@cntus.jnj.com);                                                      Jean Murray (jmurray3@cntus.jnj.com); Michael                                                 (rmcgonig@cntus.jnj.com); Tom Nyairo                                   internal training or internal guidance concerning practice
2681                             JANSSENBIO‐064‐00003008   JANSSENBIO‐064‐00003009   Redacted   eMail   Schoeck, Michael             Attorney‐Client                                                        Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                           Schoeck (mschoeck@its.jnj.com)                   Janice Babia (jbabia@cntus.jnj.com)          (tnyairo@cntus.jnj.com)                                     1/9/2006   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                            Anthony DiCarlantonio (adicarla@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com);                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                                                                            ^ (fjimene3@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Michael Schoeck                                                                      Kathleen Hamill ^ (khamill@cntus.jnj.com); Linda                                              Anthony DiCarlantonio (adicarla@its.jnj.com); Margaret                 internal guidance concerning practice management or IOI
2682   JANSSENBIO‐PL_2‐0002405                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        (mschoeck@its.jnj.com); Margaret Weaver (mweave11@its.jnj.com)                                                                                           Robertson (lrober12@cntus.jnj.com)               Michael Schoeck (mschoeck@its.jnj.com)       Weaver (mweave11@its.jnj.com)                              3/13/2007   support.

                                                                                                                                                                                                            Anthony DiCarlantonio (adicarla@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez
                                                                                                                                                       Daniel Seiter             Michael Schoeck            ^ (fjimene3@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Michael Schoeck
2683   JANSSENBIO‐PL_2‐0002406                                                       Withheld   ppt     Schoeck, Michael             Attorney‐Client   (dseiter@cntus.jnj.com)   (mschoeck@its.jnj.com)     (mschoeck@its.jnj.com); Margaret Weaver (mweave11@its.jnj.com)                                                                                                                                                                                                                                                    3/13/2007
                                                                                                                                                       Doug Kennedy              Angela Wood                                                                                                                                                                                                                                                                                                                                              Draft training presentation reflecting legal advice from
2684   JANSSENBIO‐PL_2‐0002407                                                       Withheld   pptx    Wood, Angela                 Attorney‐Client   (dkenned6@its.jnj.com)    (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                                                        10/21/2013   the Law Department ^.
                                                                                                                                                       Andrew Brackbill          Angela Wood                                                                                                                                                                                                                                                                                                                                              Draft training document reflecting request for legal
2685   JANSSENBIO‐PL_2‐0002408   JANSSENBIO‐055‐00002243   JANSSENBIO‐055‐00002243   Withheld   doc     Wood, Angela                 Attorney‐Client   (abrackbi@its.jnj.com)    (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                                                        11/19/2010   advice from the Law Department ^.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Daniel Seiter                 Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano                                                                                                                                                          (dseiter@cntus.jnj.com); John Hoffman                                  regarding preparation/review of internal training or
                                                                                                        Hamill, Kathleen; Schoeck,                                                                          (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Hoffman                                                                        Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                    (jhoffma2@its.jnj.com); Rhonda Burden                                  internal guidance concerning practice management or IOI
2686   JANSSENBIO‐PL_2‐0002409                                                       Withheld   eMail   Michael                      Attorney‐Client                                                        (jhoffma2@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                    Michael Schoeck (mschoeck@its.jnj.com)           Michael Cassano (mcassano@cntus.jnj.com)     (rburden@its.jnj.com)                                      4/16/2007   support.



                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano
                                                                                                        Hamill, Kathleen; Schoeck,                                               Michael Cassano            (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Hoffman
2687   JANSSENBIO‐PL_2‐0002410                                                       Withheld   ppt     Michael                      Attorney‐Client   Corey Davis               (mcassano@cntus.jnj.com)   (jhoffma2@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                             4/16/2007



                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano
                                                                                                        Hamill, Kathleen; Schoeck,                     Daniel Seiter             John Hoffman               (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Hoffman
2688   JANSSENBIO‐PL_2‐0002411                                                       Withheld           Michael                      Attorney‐Client   (dseiter@cntus.jnj.com)   (jhoffma2@its.jnj.com)     (jhoffma2@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                             4/16/2007



                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano
                                                                                                        Hamill, Kathleen; Schoeck,                     John Hoffman              John Hoffman               (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Hoffman
2689   JANSSENBIO‐PL_2‐0002412                                                       Withheld           Michael                      Attorney‐Client   (jhoffma2@its.jnj.com)    (jhoffma2@its.jnj.com)     (jhoffma2@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                             4/16/2007



                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano
                                                                                                        Hamill, Kathleen; Schoeck,                                                                          (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Hoffman
2690   JANSSENBIO‐PL_2‐0002413                                                       Withheld           Michael                      Attorney‐Client   Corey Davis               Sidley Austin LLP          (jhoffma2@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                             4/16/2007


                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano
                                                                                                        Hamill, Kathleen; Schoeck,                     Daniel Seiter             Daniel Seiter              (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Hoffman
2691   JANSSENBIO‐PL_2‐0002414                                                       Withheld           Michael                      Attorney‐Client   (dseiter@cntus.jnj.com)   (dseiter@cntus.jnj.com)    (jhoffma2@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                             4/16/2007



                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano
                                                                                                        Hamill, Kathleen; Schoeck,                                                                          (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Hoffman
2692   JANSSENBIO‐PL_2‐0002415                                                       Withheld           Michael                      Attorney‐Client                                                        (jhoffma2@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                             4/16/2007

                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Andrew Brackbill (abrackbi@its.jnj.com); Anne Reilly ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (areilly@its.jnj.com); Daniel Seiter
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   (dseiter@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano                                                                                                                                                          (fjimene3@its.jnj.com); Jennifer Thomas                                Email chain with attachment(s) providing information to
                                                                                                                                                                                                            (mcassano@cntus.jnj.com); Scott Habig (shabig@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                                                                 (jthoma20@cntus.jnj.com); John Hoffman                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            John Hoffman (jhoffma2@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael Parks                                                                                                                                                            (jhoffma2@its.jnj.com); Michael Parks                                  regarding preparation/review of internal training or
                                                                                                        Hamill, Kathleen; Schoeck,                                                                          (mparks4@cntus.jnj.com); Anne Reilly ^ (areilly@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);                                                    Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                    (mparks4@cntus.jnj.com); Rhonda Burden                                 internal guidance concerning practice management or IOI
2693   JANSSENBIO‐PL_2‐0002416                                                       Withheld   eMail   Michael                      Attorney‐Client                                                        Daniel Seiter (dseiter@cntus.jnj.com); Jennifer Thomas (jthoma20@cntus.jnj.com)                                                                          Michael Schoeck (mschoeck@its.jnj.com)           Michael Cassano (mcassano@cntus.jnj.com)     (rburden@its.jnj.com); Scott Habig (shabig@its.jnj.com)    4/16/2007   support.



                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano
                                                                                                                                                                                                            (mcassano@cntus.jnj.com); Scott Habig (shabig@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);
                                                                                                                                                                                                            John Hoffman (jhoffma2@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael Parks
                                                                                                        Hamill, Kathleen; Schoeck,                     Daniel Seiter             Michael Cassano            (mparks4@cntus.jnj.com); Anne Reilly ^ (areilly@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
2694   JANSSENBIO‐PL_2‐0002417                                                       Withheld   doc     Michael                      Attorney‐Client   (dseiter@cntus.jnj.com)   (mcassano@cntus.jnj.com)   Daniel Seiter (dseiter@cntus.jnj.com); Jennifer Thomas (jthoma20@cntus.jnj.com)                                                                                                                                                                                                                                   4/16/2007
                                                                                                                                                                                                                                                                                                                                                                     Andrew Brackbill (abrackbi@its.jnj.com); John                                                                                                                        Email with attachment(s) providing information to
                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano                                                            Hoffman (jhoffma2@its.jnj.com); Kathleen Hamill                                                                                                                      counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            (mcassano@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Kathleen Hamill ^                                                                       ^ (khamill@cntus.jnj.com); Michael Cassano                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                                                                            (khamill@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Michael Schoeck                                                                            (mcassano@cntus.jnj.com); Rhonda Burden                                                       Chris Firriolo (cfirriol@its.jnj.com); Michael Schoeck                 internal guidance concerning practice management or IOI
2695   JANSSENBIO‐PL_2‐0002418                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                            (rburden@its.jnj.com)                           Daniel Seiter (dseiter@cntus.jnj.com)         (mschoeck@its.jnj.com)                                     4/12/2007   support.

                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano
                                                                                                                                                                                                            (mcassano@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                 Daniel Seiter              (khamill@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Michael Schoeck
2696   JANSSENBIO‐PL_2‐0002419                                                       Withheld   ppt     Schoeck, Michael             Attorney‐Client   Corey Davis               (dseiter@cntus.jnj.com)    (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                     4/12/2007

                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano
                                                                                                                                                                                                            (mcassano@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                       Daniel Seiter             Daniel Seiter              (khamill@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Michael Schoeck
2697   JANSSENBIO‐PL_2‐0002420                                                       Withheld           Schoeck, Michael             Attorney‐Client   (dseiter@cntus.jnj.com)   (dseiter@cntus.jnj.com)    (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                     4/12/2007

                                                                                                                                                                                                            Andrew Brackbill (abrackbi@its.jnj.com); Rhonda Burden (rburden@its.jnj.com); Michael Cassano
                                                                                                                                                                                                            (mcassano@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                            (khamill@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Michael Schoeck
2698   JANSSENBIO‐PL_2‐0002421                                                       Withheld           Schoeck, Michael             Attorney‐Client                                                        (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                     4/12/2007
                                                                                                                                                                                                                                                                                                                          Angela Wood (awood6@its.jnj.com);
                                                                                                                                                                                                                                                                                                                          Anthony DiCarlantonio                                                                                                                                                                                           Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                            Anthony DiCarlantonio (adicarla@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Angela Wood            (adicarla@its.jnj.com); Joseph DiGiacomo                                                                                                                                                                        from Stephanie Gilson ^ and others in the Law
2699   JANSSENBIO‐PL_2‐0002422                                                       Withheld   eMail   Wood, Angela                 Attorney‐Client                                                        (awood6@its.jnj.com)                                                                                          (jdigiaco@its.jnj.com)                     Angela Wood (awood6@its.jnj.com)                 Joseph DiGiacomo (jdigiaco@its.jnj.com)      Joseph DiGiacomo (jdigiaco@its.jnj.com)                   10/31/2013   Department ^ regarding draft promtional materials.
                                                                                                                                                       Doug Kennedy              Angela Wood                Anthony DiCarlantonio (adicarla@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Angela Wood
2700   JANSSENBIO‐PL_2‐0002423                                                       Withheld   pptx    Wood, Angela                 Attorney‐Client   (dkenned6@its.jnj.com)    (awood6@its.jnj.com)       (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                             10/31/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                            Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher                                                                                                                                                                                                                               internal guidance concerning practice management or IOI
2701   JANSSENBIO‐PL_2‐0002424                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        Zalesky (czalesky@its.jnj.com)                                                                                                                           Deidre Meehan ^ (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                             10/31/2014   support.
                                                                                                                                                       Christopher Zalesky       Christopher Zalesky        Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher
2702   JANSSENBIO‐PL_2‐0002425                                                       Withheld   docx    Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)    (czalesky@its.jnj.com)     Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                   10/31/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain reflecting legal advice regarding
                                                                                                                                                                                                            Terry Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                                                                                                            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); DL‐JJCUS‐Law Dept US Attys (dl‐jjcus‐                                                                                                                                                                                                                     guidance concerning practice management or IOI
2703   JANSSENBIO‐PL_2‐0002426                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        lawdeptusattys@its.jnj.com)                                                                                                                              Terry Kerekgyarto (tkerekgy@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                                              11/3/2014   support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Presentation reflecting legal advice from Legal
                                                                                                                                                       Roger Kung                Roger Kung                 Timothy Grimes (tgrimes@its.jnj.com); Roger Kung (rkung@its.jnj.com); Angela Wood                                                                                                                                                                                                                                             Department regarding issues relating to interactions or
2704                             JANSSENBIO‐064‐00003689   JANSSENBIO‐064‐00003707   Redacted   ppt     Wood, Angela                 Attorney‐Client   (rkung@its.jnj.com)       (rkung@its.jnj.com)        (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                              5/24/2011   communications between ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          legal advice from Legal Department regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          preparation/review of internal training or internal
                                                                                                                                                                                                            Joseph DiGiacomo (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Daryl Todd ^                                                                                                                                                                                                                                   guidance concerning practice management or IOI
2705   JANSSENBIO‐PL_2‐0002427                                                       Withheld   eMail   Wood, Angela                 Attorney‐Client                                                        (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                   Angela Wood (awood6@its.jnj.com)                 Joseph DiGiacomo (jdigiaco@its.jnj.com)                                                                  5/8/2014   support.

                                                                                                                                                       Doug Kennedy              Joseph DiGiacomo           Joseph DiGiacomo (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Daryl Todd ^
2706   JANSSENBIO‐PL_2‐0002428                                                       Withheld   pptx    Wood, Angela                 Attorney‐Client   (dkenned6@its.jnj.com)    (jdigiaco@its.jnj.com)     (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                             5/8/2014

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          from Legal Department regarding preparation/review of
                                                                                                                                                                                                            Terry Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                         internal training or internal guidance concerning practice
2707   JANSSENBIO‐PL_2‐0002429                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com); DL‐JJCUS‐Law Dept US Attys (dl‐jjcus‐lawdeptusattys@its.jnj.com)                                                                 Christopher Zalesky (czalesky@its.jnj.com)       Terry Kerekgyarto (tkerekgy@its.jnj.com)                                                                11/3/2014   management or IOI support.

                                                                                                                                                                                                            Terry Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
2708   JANSSENBIO‐PL_2‐0002430                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com); DL‐JJCUS‐Law Dept US Attys (dl‐jjcus‐lawdeptusattys@its.jnj.com)                                                                                                                                                                                                                          11/3/2014

                                                                                                                                                       Sue Seferian ^            Terry Kerekgyarto          Terry Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
2709   JANSSENBIO‐PL_2‐0002431                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (sseferia@its.jnj.com)    (tkerekgy@its.jnj.com)     (czalesky@its.jnj.com); DL‐JJCUS‐Law Dept US Attys (dl‐jjcus‐lawdeptusattys@its.jnj.com)                                                                                                                                                                                                                          11/3/2014

                                                                                                                                                       Sue Seferian ^            Terry Kerekgyarto          Terry Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
2710   JANSSENBIO‐PL_2‐0002432                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (sseferia@its.jnj.com)    (tkerekgy@its.jnj.com)     (czalesky@its.jnj.com); DL‐JJCUS‐Law Dept US Attys (dl‐jjcus‐lawdeptusattys@its.jnj.com)                                                                                                                                                                                                                          11/3/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain requesting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          preparation/review of internal training or internal
                                                                                                                                                                                                            Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                    Christopher Zalesky (czalesky@its.jnj.com); Michele                    guidance concerning practice management or IOI
2711   JANSSENBIO‐PL_2‐0002433                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                                                                   Deidre Meehan ^ (dmeehan5@its.jnj.com)           Michele Rubincam (mrubinc@its.jnj.com)       Rubincam (mrubinc@its.jnj.com)                             11/5/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          legal advice from Legal Department regarding
                                                                                                                                                                                                            Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter                                                                                                                                                                                                                              preparation/review of customer‐facing practice
2712   JANSSENBIO‐PL_2‐0002434                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        (dseiter@cntus.jnj.com)                                                                                                                                  Thomas McCaffery (tmccaff3@cntus.jnj.com)        Daniel Seiter (dseiter@cntus.jnj.com)        Michael Schoeck (mschoeck@its.jnj.com)                     9/13/2007   management or IOI support material.




                                                                                                                                                                                                                                                                                  127
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 129 of 201

                                                                                                                                                                                                            Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter
2713   JANSSENBIO‐PL_2‐0002435                                                       Withheld           Schoeck, Michael             Attorney‐Client   Corey Davis               Sidley Austin LLP          (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                     9/13/2007
                                                                                                                                                       Daniel Seiter             Daniel Seiter              Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter
2714   JANSSENBIO‐PL_2‐0002436                                                       Withheld           Schoeck, Michael             Attorney‐Client   (dseiter@cntus.jnj.com)   (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                     9/13/2007
                                                                                                                                                                                                            Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter
2715   JANSSENBIO‐PL_2‐0002437                                                       Withheld           Schoeck, Michael             Attorney‐Client                                                        (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                     9/13/2007
                                                                                                                                                       Daniel Seiter             Daniel Seiter              Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter
2716   JANSSENBIO‐PL_2‐0002438                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (dseiter@cntus.jnj.com)   (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                     9/13/2007
                                                                                                                                                                                                                                                                                                                      Christopher Zalesky (czalesky@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                                                                      Gille (dgille@gcobe.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                                                                      (fjimene3@its.jnj.com); Jane Wood
                                                                                                                                                                                                                                                                                                                      (jwood30@prdus.jnj.com); Janice Bush
                                                                                                                                                                                                                                                                                                                      (jbush1@its.jnj.com); Jhanita Colvin
                                                                                                                                                                                                                                                                                                                      (jcolvin1@its.jnj.com); Karen Green
                                                                                                                                                                                                                                                                                                                      (kgreen4@its.jnj.com); Kellie Hitchye
                                                                                                                                                                                                                                                                                                                      (khitchye@its.jnj.com); Lee Schwartz
                                                                                                                                                                                                                                                                                                                      (LSchwar1@PRDUS.JNJ.COM); Linda Morgan
                                                                                                                                                                                                                                                                                                                      (lmorgan@prdus.jnj.com); Lisa Mastroianni
                                                                                                                                                                                                            Pim Bogaers (pbogaers@tibbe.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Janice Bush                    (lmastroi@its.jnj.com); Luc Truyen
                                                                                                                                                                                                            (jbush1@its.jnj.com); Jhanita Colvin (jcolvin1@its.jnj.com); Verna Emembolu                               (ltruyen1@prdus.jnj.com); Maxim Scholten
                                                                                                                                                                                                            (vemembo1@gcogb.jnj.com); Naoko Fujii (fujii@sciosinc.com); Dirk Gille (dgille@gcobe.jnj.com); Karen      (mscholte@cntnl.jnj.com); Michael Schoeck
                                                                                                                                                                                                            Green (kgreen4@its.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Freddy Jimenez ^                      (mschoeck@its.jnj.com); Naoko Fujii
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Ronald Manzi (rmanzi@prdus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);         (fujii@sciosinc.com); Philomena McArthur
                                                                                                                                                                                                            Lisa Mastroianni (lmastroi@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Thomas McCaffery      (pmcarth1@its.jnj.com); Pim Bogaers
                                                                                                                                                                                                            (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Maxim Scholten                          (pbogaers@tibbe.jnj.com); Ronald Manzi                                                                                                                        Email with attachment(s) providing information to
                                                                                                                                                                                                            (mscholte@cntnl.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Monique Van Tol                          (rmanzi@prdus.jnj.com); Susan Tio                                                                                                                             counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            (mtol@cntnl.jnj.com); Luc Truyen (ltruyen1@prdus.jnj.com); Jane Wood (jwood30@prdus.jnj.com);             (stio@cntnl.jnj.com); Thomas McCaffery                                                       Diane Marsh (dmarsh2@psmus.jnj.com); Mary Bradley                regarding preparation/review of internal training or
                                                                                                        Schoeck, Michael; Zalesky,                                                                          Christopher Zalesky (czalesky@its.jnj.com); Lisa Mastroianni (lmastroi@its.jnj.com); Linda Morgan         (tmccaff3@cntus.jnj.com); Verna Emembolu                                                     (mbradle5@its.jnj.com); Monique Van Tol                          internal guidance concerning practice management or IOI
2717   JANSSENBIO‐PL_2‐0002439   JANSSENBIO‐063‐00002085   JANSSENBIO‐063‐00002086   Withheld   eMail   Christopher                  Attorney‐Client                                                        (lmorgan@prdus.jnj.com); Susan Tio (stio@cntnl.jnj.com)                                                   (vemembo1@gcogb.jnj.com)                           Lisa Mastroianni (lmastroi@its.jnj.com)   (mtol@cntnl.jnj.com)                                12/14/2006   support.




                                                                                                                                                                                                            Pim Bogaers (pbogaers@tibbe.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Janice Bush
                                                                                                                                                                                                            (jbush1@its.jnj.com); Jhanita Colvin (jcolvin1@its.jnj.com); Verna Emembolu
                                                                                                                                                                                                            (vemembo1@gcogb.jnj.com); Naoko Fujii (fujii@sciosinc.com); Dirk Gille (dgille@gcobe.jnj.com); Karen
                                                                                                                                                                                                            Green (kgreen4@its.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Ronald Manzi (rmanzi@prdus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                                                                            Lisa Mastroianni (lmastroi@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Thomas McCaffery
                                                                                                                                                                                                            (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Maxim Scholten
                                                                                                                                                                                                            (mscholte@cntnl.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Monique Van Tol
                                                                                                                                                                                                            (mtol@cntnl.jnj.com); Luc Truyen (ltruyen1@prdus.jnj.com); Jane Wood (jwood30@prdus.jnj.com);
                                                                                                        Schoeck, Michael; Zalesky,                     Sue Seferian ^            Lisa Mastroianni           Christopher Zalesky (czalesky@its.jnj.com); Lisa Mastroianni (lmastroi@its.jnj.com); Linda Morgan
2718   JANSSENBIO‐PL_2‐0002440   JANSSENBIO‐063‐00002087   JANSSENBIO‐063‐00002087   Withheld   doc     Christopher                  Attorney‐Client   (sseferia@its.jnj.com)    (lmastroi@its.jnj.com)     (lmorgan@prdus.jnj.com); Susan Tio (stio@cntnl.jnj.com)                                                                                                                                                                                                    12/14/2006




                                                                                                                                                                                                            Pim Bogaers (pbogaers@tibbe.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Janice Bush
                                                                                                                                                                                                            (jbush1@its.jnj.com); Jhanita Colvin (jcolvin1@its.jnj.com); Verna Emembolu
                                                                                                                                                                                                            (vemembo1@gcogb.jnj.com); Naoko Fujii (fujii@sciosinc.com); Dirk Gille (dgille@gcobe.jnj.com); Karen
                                                                                                                                                                                                            Green (kgreen4@its.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Ronald Manzi (rmanzi@prdus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                                                                            Lisa Mastroianni (lmastroi@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Thomas McCaffery
                                                                                                                                                                                                            (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Maxim Scholten
                                                                                                                                                                                                            (mscholte@cntnl.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Monique Van Tol
                                                                                                                                                                                                            (mtol@cntnl.jnj.com); Luc Truyen (ltruyen1@prdus.jnj.com); Jane Wood (jwood30@prdus.jnj.com);
                                                                                                        Schoeck, Michael; Zalesky,                     Sue Seferian ^            Lee Schwartz               Christopher Zalesky (czalesky@its.jnj.com); Lisa Mastroianni (lmastroi@its.jnj.com); Linda Morgan
2719   JANSSENBIO‐PL_2‐0002441   JANSSENBIO‐063‐00002088   JANSSENBIO‐063‐00002088   Withheld   doc     Christopher                  Attorney‐Client   (sseferia@its.jnj.com)    (LSchwar1@PRDUS.JNJ.COM)   (lmorgan@prdus.jnj.com); Susan Tio (stio@cntnl.jnj.com)                                                                                                                                                                                                    12/14/2006




                                                                                                                                                                                                            Pim Bogaers (pbogaers@tibbe.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Janice Bush
                                                                                                                                                                                                            (jbush1@its.jnj.com); Jhanita Colvin (jcolvin1@its.jnj.com); Verna Emembolu
                                                                                                                                                                                                            (vemembo1@gcogb.jnj.com); Naoko Fujii (fujii@sciosinc.com); Dirk Gille (dgille@gcobe.jnj.com); Karen
                                                                                                                                                                                                            Green (kgreen4@its.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Ronald Manzi (rmanzi@prdus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                                                                            Lisa Mastroianni (lmastroi@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Thomas McCaffery
                                                                                                                                                                                                            (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Maxim Scholten
                                                                                                                                                                                                            (mscholte@cntnl.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Monique Van Tol
                                                                                                                                                       Lee Schwartz                                         (mtol@cntnl.jnj.com); Luc Truyen (ltruyen1@prdus.jnj.com); Jane Wood (jwood30@prdus.jnj.com);
                                                                                                        Schoeck, Michael; Zalesky,                     (LSchwar1@PRDUS.JNJ.COM Lee Schwartz                 Christopher Zalesky (czalesky@its.jnj.com); Lisa Mastroianni (lmastroi@its.jnj.com); Linda Morgan
2720   JANSSENBIO‐PL_2‐0002442   JANSSENBIO‐063‐00002089   JANSSENBIO‐063‐00002089   Withheld   doc     Christopher                  Attorney‐Client   )                       (LSchwar1@PRDUS.JNJ.COM)     (lmorgan@prdus.jnj.com); Susan Tio (stio@cntnl.jnj.com)                                                                                                                                                                                                    12/14/2006




                                                                                                                                                                                                            Pim Bogaers (pbogaers@tibbe.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Janice Bush
                                                                                                                                                                                                            (jbush1@its.jnj.com); Jhanita Colvin (jcolvin1@its.jnj.com); Verna Emembolu
                                                                                                                                                                                                            (vemembo1@gcogb.jnj.com); Naoko Fujii (fujii@sciosinc.com); Dirk Gille (dgille@gcobe.jnj.com); Karen
                                                                                                                                                                                                            Green (kgreen4@its.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Ronald Manzi (rmanzi@prdus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                                                                            Lisa Mastroianni (lmastroi@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Thomas McCaffery
                                                                                                                                                                                                            (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Maxim Scholten
                                                                                                                                                                                                            (mscholte@cntnl.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Monique Van Tol
                                                                                                                                                                                                            (mtol@cntnl.jnj.com); Luc Truyen (ltruyen1@prdus.jnj.com); Jane Wood (jwood30@prdus.jnj.com);
                                                                                                        Schoeck, Michael; Zalesky,                     Sue Seferian ^            Lee Schwartz               Christopher Zalesky (czalesky@its.jnj.com); Lisa Mastroianni (lmastroi@its.jnj.com); Linda Morgan
2721   JANSSENBIO‐PL_2‐0002443   JANSSENBIO‐063‐00002090   JANSSENBIO‐063‐00002090   Withheld   doc     Christopher                  Attorney‐Client   (sseferia@its.jnj.com)    (LSchwar1@PRDUS.JNJ.COM)   (lmorgan@prdus.jnj.com); Susan Tio (stio@cntnl.jnj.com)                                                                                                                                                                                                    12/14/2006




                                                                                                                                                                                                            Pim Bogaers (pbogaers@tibbe.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Janice Bush
                                                                                                                                                                                                            (jbush1@its.jnj.com); Jhanita Colvin (jcolvin1@its.jnj.com); Verna Emembolu
                                                                                                                                                                                                            (vemembo1@gcogb.jnj.com); Naoko Fujii (fujii@sciosinc.com); Dirk Gille (dgille@gcobe.jnj.com); Karen
                                                                                                                                                                                                            Green (kgreen4@its.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                            (fjimene3@its.jnj.com); Ronald Manzi (rmanzi@prdus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                                                                            Lisa Mastroianni (lmastroi@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Thomas McCaffery
                                                                                                                                                                                                            (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Maxim Scholten
                                                                                                                                                                                                            (mscholte@cntnl.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Monique Van Tol
                                                                                                                                                                                                            (mtol@cntnl.jnj.com); Luc Truyen (ltruyen1@prdus.jnj.com); Jane Wood (jwood30@prdus.jnj.com);
                                                                                                        Schoeck, Michael; Zalesky,                                               Lee Schwartz               Christopher Zalesky (czalesky@its.jnj.com); Lisa Mastroianni (lmastroi@its.jnj.com); Linda Morgan
2722   JANSSENBIO‐PL_2‐0002444   JANSSENBIO‐063‐00002091   JANSSENBIO‐063‐00002091   Withheld   doc     Christopher                  Attorney‐Client                             (LSchwar1@PRDUS.JNJ.COM)   (lmorgan@prdus.jnj.com); Susan Tio (stio@cntnl.jnj.com)                                                                                                                                                                                                    12/14/2006




                                                                                                                                                                                                            Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                            (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                            (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz                                                                                                                                                                                         Email with attachment(s) requesting legal advice
                                                                                                                                                                                                            (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                            Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom                                                                                                                                                                             internal guidance concerning practice management or IOI
2723   JANSSENBIO‐PL_2‐0002445                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                     Freddy Jimenez ^ (fjimene3@its.jnj.com)            Karen Green (kgreen4@its.jnj.com)         Michael Schoeck (mschoeck@its.jnj.com)               1/23/2007   support.
                                                                                                                                                                                                                                                                                                                      Alexander Zukiwski (azukiwsk@prdus.jnj.com);
                                                                                                                                                                                                                                                                                                                      Amy Ellixson (aellixso@cntus.jnj.com); Bill
                                                                                                                                                                                                                                                                                                                      Matthews (bmatthe2@cntus.jnj.com); Eric
                                                                                                                                                                                                                                                                                                                      Perakslis (eperaksl@cntus.jnj.com); Jay Siegel
                                                                                                                                                                                                            Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^                  (jsiegel2@cntus.jnj.com); Jerome Boscia
                                                                                                                                                                                                            (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy     (jboscia@cntus.jnj.com); Joan Winterbottom
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews                      (jwinter2@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                            (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz                           (kdow2@its.jnj.com); Rich Siegel
                                                                                                                                                                                                            (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);   (rsiegel@cntus.jnj.com); Stella Jones
                                                                                                                                                                                                            Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom               (sjones13@its.jnj.com); Sue Dillon
2724   JANSSENBIO‐PL_2‐0002446                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                     (sdillon@cntus.jnj.com)                            Karen Green (kgreen4@its.jnj.com)                                                              1/23/2007




                                                                                                                                                                                                            Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                            (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                            (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz
                                                                                                                                                                                                            (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
                                                                                                                                                                                                            Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom                                                                                                            Michael Schoeck (mschoeck@its.jnj.com); Thomas
2725   JANSSENBIO‐PL_2‐0002447                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                        (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                     Karen Mitz (kmitz@cntus.jnj.com)                   Karen Green (kgreen4@its.jnj.com)         McCaffery (tmccaff3@cntus.jnj.com)                   1/23/2007




                                                                                                                                                                                                            Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                            (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                            (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz
                                                                                                                                                       Lee Schwartz                                         (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
                                                                                                                                                       (LSchwar1@PRDUS.JNJ.COM Lee Schwartz                 Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom
2726   JANSSENBIO‐PL_2‐0002448                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   )                       (LSchwar1@PRDUS.JNJ.COM)     (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                                                                                                                                                                       1/23/2007




                                                                                                                                                                                                            Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                            (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                            (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz
                                                                                                                                                                                                            (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
                                                                                                                                                                                 Lee Schwartz               Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom
2727   JANSSENBIO‐PL_2‐0002449                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client                             (LSchwar1@PRDUS.JNJ.COM)   (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                                                                                                                                                                       1/23/2007




                                                                                                                                                                                                            Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                            (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                            (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz
                                                                                                                                                                                                            (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
                                                                                                                                                       Sue Seferian ^            Lee Schwartz               Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom
2728   JANSSENBIO‐PL_2‐0002450                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (sseferia@its.jnj.com)    (LSchwar1@PRDUS.JNJ.COM)   (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                                                                                                                                                                       1/23/2007




                                                                                                                                                                                                                                                                                128
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 130 of 201


                                                                                                                                                                                                             Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                             (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                             Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                             (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz
                                                                                                                                                                                                             (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
                                                                                                                                                       Sue Seferian ^             Lisa Mastroianni           Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom
2729   JANSSENBIO‐PL_2‐0002451                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (sseferia@its.jnj.com)     (lmastroi@its.jnj.com)     (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                                                                                                                                                                                                                           1/23/2007




                                                                                                                                                                                                             Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                             (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                             Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                             (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz
                                                                                                                                                                                                             (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
                                                                                                                                                       Sue Seferian ^             Lee Schwartz               Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom
2730   JANSSENBIO‐PL_2‐0002452                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (sseferia@its.jnj.com)     (LSchwar1@PRDUS.JNJ.COM)   (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                                                                                                                                                                                                                           1/23/2007




                                                                                                                                                                                                             Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                             (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                             Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                             (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz
                                                                                                                                                                                                             (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
                                                                                                                                                       Karen Dougherty            Karen Dougherty            Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom
2731   JANSSENBIO‐PL_2‐0002453                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (kdoughe2@cntus.jnj.com)   (kdoughe2@cntus.jnj.com)   (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                                                                                                                                                                                                                           1/23/2007




                                                                                                                                                                                                             Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                             (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                             Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                             (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz
                                                                                                                                                                                                             (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
                                                                                                                                                       Nancy Mark                 Karen Dougherty            Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom
2732   JANSSENBIO‐PL_2‐0002454                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (nmark3@its.jnj.com)       (kdoughe2@cntus.jnj.com)   (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                                                                                                                                                                                                                           1/23/2007




                                                                                                                                                                                                             Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                             (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                             Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                             (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz
                                                                                                                                                                                                             (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
                                                                                                                                                                                  Karen Dougherty            Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom
2733   JANSSENBIO‐PL_2‐0002455                                                       Withheld   ppt     Schoeck, Michael             Attorney‐Client   Bill Zehender              (kdoughe2@cntus.jnj.com)   (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                                                                                                                                                                                                                           1/23/2007




                                                                                                                                                                                                             Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                             (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                             Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                             (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz
                                                                                                                                                                                                             (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
                                                                                                                                                       Wendy Clarke               Karen Dougherty            Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom
2734   JANSSENBIO‐PL_2‐0002456                                                       Withheld   xls     Schoeck, Michael             Attorney‐Client   (wclarke@cntus.jnj.com)    (kdoughe2@cntus.jnj.com)   (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                                                                                                                                                                                                                           1/23/2007




                                                                                                                                                                                                             Jerome Boscia (jboscia@cntus.jnj.com); Sue Dillon (sdillon@cntus.jnj.com); Kenneth Dow ^
                                                                                                                                                                                                             (kdow2@its.jnj.com); Amy Ellixson (aellixso@cntus.jnj.com); Karen Green (kgreen4@its.jnj.com); Freddy
                                                                                                                                                                                                             Jimenez ^ (fjimene3@its.jnj.com); Stella Jones (sjones13@its.jnj.com); Bill Matthews
                                                                                                                                                                                                             (bmatthe2@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); Karen Mitz
                                                                                                                                                                                                             (kmitz@cntus.jnj.com); Eric Perakslis (eperaksl@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
                                                                                                                                                       Michele Goncalves          Karen Dougherty            Jay Siegel (jsiegel2@cntus.jnj.com); Rich Siegel (rsiegel@cntus.jnj.com); Joan Winterbottom
2735   JANSSENBIO‐PL_2‐0002457                                                       Withheld   xls     Schoeck, Michael             Attorney‐Client   (mgoncalv@its.jnj.com)     (kdoughe2@cntus.jnj.com)   (jwinter2@cntus.jnj.com); Alexander Zukiwski (azukiwsk@prdus.jnj.com)                                                                                                                                                                                                                                           1/23/2007
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Anne Reilly ^ (areilly@its.jnj.com); Freddy Jimenez ^                 Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                             Michael Cassano (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez                                                                                                                                                   (fjimene3@its.jnj.com); Michael Cassano                               regarding preparation/review of internal training or
                                                                                                        Hamill, Kathleen; Schoeck,                                                                           ^ (fjimene3@its.jnj.com); Anne Reilly ^ (areilly@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);                                                                                                                                                (mcassano@cntus.jnj.com); Michael Schoeck                             internal guidance concerning practice management or IOI
2736   JANSSENBIO‐PL_2‐0002458                                                       Withheld   eMail   Michael                      Attorney‐Client                                                         Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                   Kathleen Hamill ^ (khamill@cntus.jnj.com)        Daniel Seiter (dseiter@cntus.jnj.com)        (mschoeck@its.jnj.com)                                    9/23/2007   support.

                                                                                                                                                                                                             Michael Cassano (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez
                                                                                                        Hamill, Kathleen; Schoeck,                                                Daniel Seiter              ^ (fjimene3@its.jnj.com); Anne Reilly ^ (areilly@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
2737   JANSSENBIO‐PL_2‐0002459                                                       Withheld   ppt     Michael                      Attorney‐Client   Corey Davis                (dseiter@cntus.jnj.com)    Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                                           9/23/2007

                                                                                                                                                                                                             Michael Cassano (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez
                                                                                                        Hamill, Kathleen; Schoeck,                                                                           ^ (fjimene3@its.jnj.com); Anne Reilly ^ (areilly@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
2738   JANSSENBIO‐PL_2‐0002460                                                       Withheld           Michael                      Attorney‐Client   Corey Davis                Sidley Austin LLP          Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                                           9/23/2007

                                                                                                                                                                                                             Michael Cassano (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez
                                                                                                        Hamill, Kathleen; Schoeck,                     Daniel Seiter              Daniel Seiter              ^ (fjimene3@its.jnj.com); Anne Reilly ^ (areilly@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
2739   JANSSENBIO‐PL_2‐0002461                                                       Withheld           Michael                      Attorney‐Client   (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)    Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                                           9/23/2007

                                                                                                                                                                                                             Michael Cassano (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez
                                                                                                        Hamill, Kathleen; Schoeck,                                                                           ^ (fjimene3@its.jnj.com); Anne Reilly ^ (areilly@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com);
2740   JANSSENBIO‐PL_2‐0002462                                                       Withheld           Michael                      Attorney‐Client                                                         Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                                           9/23/2007
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         regarding preparation/review of internal training or
                                                                                                        Hamill, Kathleen; Schoeck,                                                                           Michael Cassano (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Michael Schoeck                                                                                                                                                  Michael Cassano (mcassano@cntus.jnj.com); Michael                     internal guidance concerning practice management or IOI
2741   JANSSENBIO‐PL_2‐0002463                                                       Withheld   eMail   Michael                      Attorney‐Client                                                         (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com)        Daniel Seiter (dseiter@cntus.jnj.com)        Schoeck (mschoeck@its.jnj.com)                            9/21/2007   support.

                                                                                                        Hamill, Kathleen; Schoeck,                                                Daniel Seiter              Michael Cassano (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Michael Schoeck
2742   JANSSENBIO‐PL_2‐0002464                                                       Withheld   ppt     Michael                      Attorney‐Client   Corey Davis                (dseiter@cntus.jnj.com)    (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                   9/21/2007

                                                                                                        Hamill, Kathleen; Schoeck,                                                                           Michael Cassano (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Michael Schoeck
2743   JANSSENBIO‐PL_2‐0002465                                                       Withheld           Michael                      Attorney‐Client   Corey Davis                Sidley Austin LLP          (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                   9/21/2007

                                                                                                        Hamill, Kathleen; Schoeck,                     Daniel Seiter              Daniel Seiter              Michael Cassano (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Michael Schoeck
2744   JANSSENBIO‐PL_2‐0002466                                                       Withheld           Michael                      Attorney‐Client   (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)    (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                   9/21/2007

                                                                                                        Hamill, Kathleen; Schoeck,                                                                           Michael Cassano (mcassano@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Michael Schoeck
2745   JANSSENBIO‐PL_2‐0002467                                                       Withheld           Michael                      Attorney‐Client                                                         (mschoeck@its.jnj.com); Daniel Seiter (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                   9/21/2007
                                                                                                                                                                                                                                                                                                                       Anne Reilly ^ (areilly@its.jnj.com); Daniel
                                                                                                                                                                                                                                                                                                                       Seiter (dseiter@cntus.jnj.com); Freddy                                                                                                                                                                            Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                             Michael Cassano (mcassano@cntus.jnj.com); Thomas McCafferty (tmccaffe@cntus.jnj.com); Thomas              Jimenez ^ (fjimene3@corus.jnj.com);           Daniel Seiter (dseiter@cntus.jnj.com); Michael                                                                                                                      legal advice from Freddy Jimenez ^ and Kathleen Hamill ^
                                                                                                                                                                                                             McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter                 Kathleen Hamill ^ (khamill@cntus.jnj.com);    Cassano (mcassano@cntus.jnj.com); Michael        Thomas McCaffery                                                                                                   regarding preparation/review of draft promotional
2746   JANSSENBIO‐PL_2‐0002468                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                         (dseiter@cntus.jnj.com)                                                                                   Michael Cassano                               Schoeck (mschoeck@its.jnj.com)                   (tmccaff3@cntus.jnj.com)                                                                               9/26/2007   materials.

                                                                                                                                                                                                             Michael Cassano (mcassano@cntus.jnj.com); Thomas McCafferty (tmccaffe@cntus.jnj.com); Thomas
                                                                                                                                                                                  Daniel Seiter              McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter
2747   JANSSENBIO‐PL_2‐0002469                                                       Withheld   ppt     Schoeck, Michael             Attorney‐Client   Corey Davis                (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                                                         9/26/2007

                                                                                                                                                                                                             Michael Cassano (mcassano@cntus.jnj.com); Thomas McCafferty (tmccaffe@cntus.jnj.com); Thomas
                                                                                                                                                                                                             McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter
2748   JANSSENBIO‐PL_2‐0002470                                                       Withheld           Schoeck, Michael             Attorney‐Client   Corey Davis                Sidley Austin LLP          (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                                                         9/26/2007

                                                                                                                                                                                                             Michael Cassano (mcassano@cntus.jnj.com); Thomas McCafferty (tmccaffe@cntus.jnj.com); Thomas
                                                                                                                                                       Daniel Seiter              Daniel Seiter              McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter
2749   JANSSENBIO‐PL_2‐0002471                                                       Withheld           Schoeck, Michael             Attorney‐Client   (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                                                         9/26/2007

                                                                                                                                                                                                             Michael Cassano (mcassano@cntus.jnj.com); Thomas McCafferty (tmccaffe@cntus.jnj.com); Thomas
                                                                                                                                                                                                             McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Daniel Seiter
2750   JANSSENBIO‐PL_2‐0002472                                                       Withheld           Schoeck, Michael             Attorney‐Client                                                         (dseiter@cntus.jnj.com)                                                                                                                                                                                                                                                                                         9/26/2007
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         internal guidance concerning practice management or IOI
2751   JANSSENBIO‐PL_2‐0002473   JANSSENBIO‐056‐00003566   JANSSENBIO‐056‐00003566   Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                         Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)                                                                           Sue Seferian ^ (sseferia@its.jnj.com)            Michael Schoeck (mschoeck@its.jnj.com)                                                                 5/24/2007   support.
                                                                                                                                                       Michael Schoeck            Michael Schoeck
2752   JANSSENBIO‐PL_2‐0002474   JANSSENBIO‐056‐00003567   JANSSENBIO‐056‐00003567   Withheld   doc     Schoeck, Michael             Attorney‐Client   (mschoeck@its.jnj.com)     (mschoeck@its.jnj.com)     Michael Schoeck (mschoeck@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com)                                                                                                                                                                                                                                   5/24/2007

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) reflecting counsel's
                                                                                                                                                                                                                                                                                                                                                                     Angela Wood (awood6@its.jnj.com); John Franz                                                                                                                        request for information for the purpose of providing
                                                                                                        Franz, John; Roberts,                                                                                Lawrence Conley (lconley1@its.jnj.cm); John Franz (jfranz@its.jnj.com); Christopher Guiton ^                                                            (jfranz@its.jnj.com); Kathryn Roberts                                                                                                                               legal advice regarding preparation/review of customer‐
2753   JANSSENBIO‐PL_2‐0002475                                                       Withheld   eMail   Kathryn; Wood, Angela        Attorney‐Client                                                         (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                         (krober10@its.jnj.com)                           Christopher Guiton ^ (cguiton@its.jnj.com)                                                            10/11/2013   facing practice management or IOI support material.

                                                                                                        Franz, John; Roberts,                                                     Lawrence Conley            Lawrence Conley (lconley1@its.jnj.cm); John Franz (jfranz@its.jnj.com); Christopher Guiton ^
2754   JANSSENBIO‐PL_2‐0002476                                                       Withheld   pptx    Kathryn; Wood, Angela        Attorney‐Client   Avigo                      (lconley1@its.jnj.cm)      (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                10/11/2013
                                                                                                                                                                                                                                                                                                                       Anne Reilly ^ (areilly@its.jnj.com); Daniel
                                                                                                                                                                                                                                                                                                                       Seiter (dseiter@cntus.jnj.com); Freddy                                                                                                                                                                            Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                       Jimenez ^ (fjimene3@corus.jnj.com);                                                                                                                                                                               legal advice from Freddy Jimenez ^ and Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                       Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                                                                                        regarding preparation/review of draft promotional
2755   JANSSENBIO‐PL_2‐0002477                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                         Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                         Michael Cassano                               Thomas McCaffery (tmccaff3@cntus.jnj.com)        Michael Schoeck (mschoeck@its.jnj.com)                                                                 9/25/2007   materials.
                                                                                                                                                                                  Daniel Seiter
2756   JANSSENBIO‐PL_2‐0002478                                                       Withheld   ppt     Schoeck, Michael             Attorney‐Client   Corey Davis                (dseiter@cntus.jnj.com)    Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                                               9/25/2007

2757   JANSSENBIO‐PL_2‐0002479                                                       Withheld           Schoeck, Michael             Attorney‐Client   Corey Davis                Sidley Austin LLP          Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                                               9/25/2007
                                                                                                                                                       Daniel Seiter              Daniel Seiter
2758   JANSSENBIO‐PL_2‐0002480                                                       Withheld           Schoeck, Michael             Attorney‐Client   (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com)    Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                                               9/25/2007

2759   JANSSENBIO‐PL_2‐0002481                                                       Withheld           Schoeck, Michael             Attorney‐Client                                                         Thomas McCaffery (tmccaff3@cntus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                                               9/25/2007
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain requesting legal advice from Freddy Jimenez
                                                                                                                                                                                                             Anthony DiCarlantonio (adicarla@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Michael                                                                                                                                                       Anthony DiCarlantonio (adicarla@its.jnj.com); Margaret                ^ regarding preparation of internal training regarding
2760                             JANSSENBIO‐064‐00003090   JANSSENBIO‐064‐00003091   Redacted   eMail   Schoeck, Michael             Attorney‐Client                                                         Schoeck (mschoeck@its.jnj.com); Margaret Weaver (mweave11@its.jnj.com)                                                                                  Michael Schoeck (mschoeck@its.jnj.com)           Linda Robertson (lrober12@cntus.jnj.com)     Weaver (mweave11@its.jnj.com)                              3/8/2007   contracting.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email communication reflecting legal advice from Freddy
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Jimenez ^ regarding preparation of practice management
2761                             JANSSENBIO‐064‐00003093   JANSSENBIO‐064‐00003093   Redacted   eMail   Schoeck, Michael             Attorney‐Client                                                         Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                        Michael Schoeck (mschoeck@its.jnj.com)           Thomas Occhipinti (tocchipi@its.jnj.com)                                                                8/9/2007   or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email communication reflecting legal advice from Freddy
                                                                                                                                                                                                             Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck                                                                                                                                                                                                                           Jimenez ^ regarding preparation of practice management
2762                             JANSSENBIO‐064‐00003096   JANSSENBIO‐064‐00003096   Redacted   eMail   Schoeck, Michael             Attorney‐Client                                                         (mschoeck@its.jnj.com)                                                                                                                                  Michael Schoeck (mschoeck@its.jnj.com)           Thomas Occhipinti (tocchipi@its.jnj.com)                                                               8/10/2007   or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                             John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck                                                         John Murray (jmurray6@cntus.jnj.com); Michael                                                                                                                       from Freddy Jimenez ^ regarding preparation/review of
2763   JANSSENBIO‐PL_2‐0002482                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                         (mschoeck@its.jnj.com)                                                                                                                                  Schoeck (mschoeck@its.jnj.com)                   Thomas Occhipinti (tocchipi@its.jnj.com)     Thomas Occhipinti (tocchipi@its.jnj.com)                  1/18/2008   draft promotional materials.
                                                                                                                                                                                  Thomas Occhipinti          John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2764   JANSSENBIO‐PL_2‐0002483                                                       Withheld   ppt     Schoeck, Michael             Attorney‐Client   Brian Paul                 (tocchipi@its.jnj.com)     (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                                                          1/18/2008
                                                                                                                                                                                  Thomas Occhipinti          John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2765   JANSSENBIO‐PL_2‐0002484                                                       Withheld           Schoeck, Michael             Attorney‐Client                              (tocchipi@its.jnj.com)     (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                                                          1/18/2008
                                                                                                                                                                                  Thomas Occhipinti          John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2766   JANSSENBIO‐PL_2‐0002485                                                       Withheld           Schoeck, Michael             Attorney‐Client                              (tocchipi@its.jnj.com)     (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                                                          1/18/2008




                                                                                                                                                                                                                                                                                  129
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 131 of 201

                                                                                                                                                                                   Thomas Occhipinti         John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2767   JANSSENBIO‐PL_2‐0002486                                                       Withheld           Schoeck, Michael             Attorney‐Client                               (tocchipi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                                                   Thomas Occhipinti         John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2768   JANSSENBIO‐PL_2‐0002487                                                       Withheld           Schoeck, Michael             Attorney‐Client                               (tocchipi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                                                   Thomas Occhipinti         John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2769   JANSSENBIO‐PL_2‐0002488                                                       Withheld           Schoeck, Michael             Attorney‐Client                               (tocchipi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                                                   Thomas Occhipinti         John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2770   JANSSENBIO‐PL_2‐0002489                                                       Withheld           Schoeck, Michael             Attorney‐Client                               (tocchipi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                                                   Thomas Occhipinti         John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2771   JANSSENBIO‐PL_2‐0002490                                                       Withheld           Schoeck, Michael             Attorney‐Client                               (tocchipi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                                                   Thomas Occhipinti         John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2772   JANSSENBIO‐PL_2‐0002491                                                       Withheld   ppt     Schoeck, Michael             Attorney‐Client   Corey Davis                 (tocchipi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                       Daniel Seiter               John Hoffman              John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2773   JANSSENBIO‐PL_2‐0002492                                                       Withheld           Schoeck, Michael             Attorney‐Client   (dseiter@cntus.jnj.com)     (jhoffma2@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                       John Hoffman                John Hoffman              John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2774   JANSSENBIO‐PL_2‐0002493                                                       Withheld           Schoeck, Michael             Attorney‐Client   (jhoffma2@its.jnj.com)      (jhoffma2@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                                                                             John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2775   JANSSENBIO‐PL_2‐0002494                                                       Withheld           Schoeck, Michael             Attorney‐Client   Corey Davis                 Sidley Austin LLP         (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                       Daniel Seiter               Daniel Seiter             John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2776   JANSSENBIO‐PL_2‐0002495                                                       Withheld           Schoeck, Michael             Attorney‐Client   (dseiter@cntus.jnj.com)     (dseiter@cntus.jnj.com)   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                                                                             John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2777   JANSSENBIO‐PL_2‐0002496                                                       Withheld           Schoeck, Michael             Attorney‐Client                                                         (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                       Lesline Brother             Thomas Occhipinti         John Murray (jmurray6@cntus.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); Michael Schoeck
2778   JANSSENBIO‐PL_2‐0002497                                                       Withheld   xls     Schoeck, Michael             Attorney‐Client   (lbrother@its.jnj.com)      (tocchipi@its.jnj.com)    (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                     1/18/2008
                                                                                                                                                                                                                                                                                                                                                                                                                             Christopher Zalesky (czalesky@its.jnj.com); Diane Marsh
                                                                                                                                                                                                                                                                                                                                                                                                                             (dmarsh2@psmus.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                                                                                                                                                                             (fjimene3@its.jnj.com); Lisa Mastroianni
                                                                                                                                                                                                                                                                                                                                                                                                                             (lmastroi@its.jnj.com); Mary Bradley
                                                                                                                                                                                                                                                                                                                                                                                                                             (mbradle5@its.jnj.com); Maxim Scholten
                                                                                                                                                                                                                                                                                                                                                                                                                             (mscholte@cntnl.jnj.com); Michael Schoeck
                                                                                                                                                                                                             Camille Acayan (cacayan@alzus.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Timothy Grimes                                                                                                                     (mschoeck@its.jnj.com); Monique Van Tol
                                                                                                                                                                                                             (tgrimes@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com);                                                                                                          (mtol@cntnl.jnj.com); Robert Outwater
                                                                                                                                                                                                             Diane Marsh (dmarsh2@psmus.jnj.com); Lisa Mastroianni (lmastroi@its.jnj.com); Robert Outwater                                                                                                                   (routwate@cpcus.jnj.com; Stacy Lockwood                                Email with attachment(s) providing information to
                                                                                                                                                                                                             (routwate@cpcus.jnj.com; Michael Schoeck (mschoeck@its.jnj.com); Maxim Scholten                                                                                                                                 (slockwo1@its.jnj.com); Sue Seferian ^                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                             (mscholte@cntnl.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^                                                                                                                                 (sseferia@its.jnj.com); Sunita Sethi                                   regarding preparation/review of internal training or
                                                                                                        Schoeck, Michael; Zalesky,                                                                           (sseferia@its.jnj.com); Sunita Sethi (ssethi1@alzus.jnj.com); Monique Van Tol (mtol@cntnl.jnj.com);                                                                                                             (ssethi1@alzus.jnj.com); Timothy Grimes                                internal guidance concerning practice management or IOI
2779   JANSSENBIO‐PL_2‐0002498                                                       Withheld   eMail   Christopher                  Attorney‐Client                                                         Christopher Zalesky (czalesky@its.jnj.com)                                                                      Camille Acayan (cacayan@alzus.jnj.com)             Lee Schwartz (LSchwar1@prdus.jnj.com)        (tgrimes@its.jnj.com)                                      7/11/2005   support.




                                                                                                                                                                                                             Camille Acayan (cacayan@alzus.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                             (tgrimes@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com);
                                                                                                                                                                                                             Diane Marsh (dmarsh2@psmus.jnj.com); Lisa Mastroianni (lmastroi@its.jnj.com); Robert Outwater
                                                                                                                                                                                                             (routwate@cpcus.jnj.com; Michael Schoeck (mschoeck@its.jnj.com); Maxim Scholten
                                                                                                                                                       Lee Schwartz                                          (mscholte@cntnl.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                        Schoeck, Michael; Zalesky,                     (LSchwar1@PRDUS.JNJ.COM Lee Schwartz                  (sseferia@its.jnj.com); Sunita Sethi (ssethi1@alzus.jnj.com); Monique Van Tol (mtol@cntnl.jnj.com);
2780   JANSSENBIO‐PL_2‐0002499                                                       Withheld   doc     Christopher                  Attorney‐Client   )                       (LSchwar1@PRDUS.JNJ.COM)      Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 7/11/2005
                                                                                                                                                                                                                                                                                                                             Carol Smith (csmith35@cntus.jnj.com); Chris
                                                                                                                                                                                                                                                                                                                             Firriolo (cfirriol@its.jnj.com); Edmund Greenidge
                                                                                                                                                                                                             Wendy Clarke (wclarke@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge                   (egreenid@its.jnj.com); John Murray
                                                                                                                                                                                                             (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery                               (jmurray6@cntus.jnj.com); Maripat Rhood
                                                                                                                                                                                                             (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); John Murray                                (mrhood@cntus.jnj.com); Michael Schoeck                                                                                                                                Email chain reflecting request for legal advice regarding
                                                                                                                                                                                                             (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck                                 (mschoeck@its.jnj.com); Michelle Walls                                                                                                                                 preparation/review of internal training or internal
                                                                                                                                                                                                             (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Michelle Walls (mwalls@its.jnj.com);              (mwalls@its.jnj.com); Wendy Clarke                Thomas McCaffery                                                                                                     guidance concerning practice management or IOI
2781                             JANSSENBIO‐064‐00003100   JANSSENBIO‐064‐00003101   Redacted   eMail   Schoeck, Michael             Attorney‐Client                                                         Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                          (wclarke@cntus.jnj.com)                           (tmccaff3@cntus.jnj.com)                                                                                 7/21/2005   support.



                                                                                                                                                                                                             Wendy Clarke (wclarke@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge
                                                                                                                                                                                                             (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                                                                             (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); John Murray
                                                                                                                                                                                                             (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                       Tamara Scoville ^           Christopher Zalesky       (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Michelle Walls (mwalls@its.jnj.com);
2782   JANSSENBIO‐PL_2‐0002500   JANSSENBIO‐064‐00003104   JANSSENBIO‐064‐00003104   Withheld   doc     Schoeck, Michael             Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                     7/21/2005



                                                                                                                                                                                                             Wendy Clarke (wclarke@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge
                                                                                                                                                                                                             (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas McCaffery
                                                                                                                                                                                                             (tmccaff3@cntus.jnj.com); Thomas McCaffery (tmccaff3@cntus.jnj.com); John Murray
                                                                                                                                                                                                             (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky       (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Michelle Walls (mwalls@its.jnj.com);
2783   JANSSENBIO‐PL_2‐0002501   JANSSENBIO‐064‐00003105   JANSSENBIO‐064‐00003105   Withheld   ppt     Schoeck, Michael             Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)    Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                     7/21/2005
                                                                                                                                                                                                             Camille Acayan (cacayan@alzus.jnj.com); Deinde Alade (dalade@hcsus.jnj.com); Leslie Altman
                                                                                                                                                                                                             (laltman1@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                                                                             Edward Benson (ebenson5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                             (dbrinckm@its.jnj.com); Bridget Brooks (brooks@sciosinc.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                                                             Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter
                                                                                                                                                                                                             (acarter2@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                                                                             (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                             (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus
                                                                                                                                                                                                             (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                                                                             Mary Copithorne (mcopitho@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Kris Curry
                                                                                                                                                                                                             (kcurry@janus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Karen Davis (kdavis5@its.jnj.com);
                                                                                                                                                                                                             Dennis DeCola (ddecola@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Kevin Dwyer
                                                                                                                                                                                                             (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella
                                                                                                                                                                                                             (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Kristen
                                                                                                                                                                                                             Foss (kfoss@dpyus.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com);
                                                                                                                                                                                                             Shiobhan Gardner (sgardner@ompus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux
                                                                                                                                                                                                             (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com); Elaine Glasser
                                                                                                                                                                                                             (eglasse1@obius.jnj.com); Carrie Gray (cgray9@its.jnj.com); Pamela Haines (phaines8@its.jnj.com);
                                                                                                                                                                                                             Rebecca Hayes (rhayes5@its.jnj.com); Diane Herczeg (dherczeg1@psmus.jnj.com); Thomas Hiriak
                                                                                                                                                                                                             (thiriak3@its.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Frances Impellizzeri (fimpelli@crdus.jnj.com);
                                                                                                                                                                                                             Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Denise Johnson
                                                                                                                                                                                                             (djohns39@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Mark Kelly
                                                                                                                                                                                                             (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Georgia Keresty
                                                                                                                                                                                                             (gkeresty@its.jnj.com); Maren Klein (mklein@its.jnj.com); Donald Kohlhepp (dkohlhep@cpcus.jnj.com);
                                                                                                                                                                                                             David Kurlander (dkurland@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Barry Leece                                                                                                                                                                                              Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                             (bleece1@its.jnj.com); Andrew Leven (aleven@crdus.jnj.com); Amena Lewis (alewis3@its.jnj.com); Gina                                                                                                                                                                                    legal advice from Legal Department regarding
                                                                                                                                                                                                             Licciardello (gliccia2@janus.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez                                                                                                                                                                                               preparation/review of internal training or internal
                                                                                                                                                                                                             (ilopez@its.jnj.com); Jacqueline Maestri (jmaestri@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Lynn                                                             Thomas McCaffery                                                                                                    guidance concerning practice management or IOI
2784   JANSSENBIO‐PL_2‐0002502                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                         Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Clivetty Martinez                            Michael Schoeck (mschoeck@its.jnj.com)             (tmccaff3@cntus.jnj.com)                                                                               11/18/2005   support.
                                                                                                                                                                                                             Camille Acayan (cacayan@alzus.jnj.com); Deinde Alade (dalade@hcsus.jnj.com); Leslie Altman
                                                                                                                                                                                                             (laltman1@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                                                                             Edward Benson (ebenson5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                             (dbrinckm@its.jnj.com); Bridget Brooks (brooks@sciosinc.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                                                             Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter
                                                                                                                                                                                                             (acarter2@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                                                                             (mcavana@cpcus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                             (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Richard Clompus
                                                                                                                                                                                                             (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                                                                             Mary Copithorne (mcopitho@its.jnj.com); Chris Corso (ccorso@its.jnj.com); Kris Curry
                                                                                                                                                                                                             (kcurry@janus.jnj.com); Luciene DaRosa (ldarosa@dpyus.jnj.com); Karen Davis (kdavis5@its.jnj.com);
                                                                                                                                                                                                             Dennis DeCola (ddecola@its.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Kevin Dwyer
                                                                                                                                                                                                             (kdwyer@its.jnj.com); Susan Eichler (seichler@its.jnj.com); Eric Evans (eevans4@its.jnj.com); Sheila Faella
                                                                                                                                                                                                             (sfaella@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Kristen
                                                                                                                                                                                                             Foss (kfoss@dpyus.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Naoko Fujii (fujii@sciosinc.com);
                                                                                                                                                                                                             Shiobhan Gardner (sgardner@ompus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux
                                                                                                                                                                                                             (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Terry Glass (tglass@its.jnj.com); Elaine Glasser
                                                                                                                                                                                                             (eglasse1@obius.jnj.com); Carrie Gray (cgray9@its.jnj.com); Pamela Haines (phaines8@its.jnj.com);
                                                                                                                                                                                                             Rebecca Hayes (rhayes5@its.jnj.com); Diane Herczeg (dherczeg1@psmus.jnj.com); Thomas Hiriak
                                                                                                                                                                                                             (thiriak3@its.jnj.com); Kellie Hitchye (khitchye@its.jnj.com); Frances Impellizzeri (fimpelli@crdus.jnj.com);
                                                                                                                                                                                                             Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Denise Johnson
                                                                                                                                                                                                             (djohns39@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Mark Kelly
                                                                                                                                                                                                             (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Georgia Keresty
                                                                                                                                                                                                             (gkeresty@its.jnj.com); Maren Klein (mklein@its.jnj.com); Donald Kohlhepp (dkohlhep@cpcus.jnj.com);
                                                                                                                                                                                                             David Kurlander (dkurland@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Barry Leece
                                                                                                                                                                                                             (bleece1@its.jnj.com); Andrew Leven (aleven@crdus.jnj.com); Amena Lewis (alewis3@its.jnj.com); Gina
                                                                                                                                                                                                             Licciardello (gliccia2@janus.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis Lopez
                                                                                                                                                       Joy Johnson                 Joy Johnson               (ilopez@its.jnj.com); Jacqueline Maestri (jmaestri@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Lynn
2785   JANSSENBIO‐PL_2‐0002503                                                       Withheld   DOC     Schoeck, Michael             Attorney‐Client   (jjohns14@its.jnj.com)      (jjohns14@its.jnj.com)    Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Clivetty Martinez                                                                                                                                                                                      11/18/2005



                                                                                                                                                                                                             Mary Bradley (mbradle5@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Avis Goode
                                                                                                                                                                                                             (agoode@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Erin
                                                                                                        Walls, Michelle; Wood,                                                                               Parsons (eparson5@its.jnj.com); Brian Quinn (bquinn2@its.jnj.com); Michelle Walls                               Angela Wood (awood6@its.jnj.com); Michelle                                                                                                                             Email chain reflecting legal advice from the Law
2786                             JANSSENBIO‐064‐00003715   JANSSENBIO‐064‐00003718   Redacted   eMail   Angela                       Attorney‐Client                                                         (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                        Walls (mwalls@its.jnj.com)                         Chris Matteson (cmattes1@its.jnj.com)        Avis Goode (agoode@its.jnj.com)                             4/5/2013   Department ^ regarding health care compliance policies.
                                                                                                                                                                                                                                                                                                                                                                                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                                                                                                                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^                                                                                                         (jmurray6@cntus.jnj.com); Judith Fernandez                             Email with attachment(s) providing information to
                                                                                                                                                                                                             (cpaters@its.jnj.com); John Murray (jmurray6@cntus.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);                                                                                                           (jfernan9@its.jnj.com); Marc Farley                                    counsel for the purpose of receiving legal advice
                                                                                                                                                                                                             Marc Farley (mfarley3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Mary Bradley                         Clayton Paterson ^ (cpaters@its.jnj.com); Mark                                                  (mfarley3@its.jnj.com); Mary Bradley                                   regarding preparation/review of internal training or
                                                                                                                                                                                                             (mbradle5@its.jnj.com); Schoeck Michael (mschoeck@cntus.jnj.com); Sue Seferian ^                                Sievers ^ (msievers@its.jnj.com); Sue Seferian ^                                                (mbradle5@its.jnj.com); Schoeck Michael                                internal guidance concerning practice management or IOI
2787   JANSSENBIO‐PL_2‐0002504                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                         (sseferia@its.jnj.com)                                                                                          (sseferia@its.jnj.com)                             Christopher Zalesky (czalesky@its.jnj.com)   (mschoeck@cntus.jnj.com)                                    4/1/2006   support.

                                                                                                                                                                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                             (cpaters@its.jnj.com); John Murray (jmurray6@cntus.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                                                                                             Marc Farley (mfarley3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Mary Bradley
                                                                                                                                                       Darlene Mitchell            Christopher Zalesky       (mbradle5@its.jnj.com); Schoeck Michael (mschoeck@cntus.jnj.com); Sue Seferian ^
2788   JANSSENBIO‐PL_2‐0002505                                                       Withheld   ppt     Schoeck, Michael             Attorney‐Client   (dmitche6@crdus.jnj.com)    (czalesky@its.jnj.com)    (sseferia@its.jnj.com)                                                                                                                                                                                                                                                      4/1/2006

                                                                                                                                                                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                             (cpaters@its.jnj.com); John Murray (jmurray6@cntus.jnj.com); Judith Fernandez (jfernan9@its.jnj.com);
                                                                                                                                                                                                             Marc Farley (mfarley3@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Mary Bradley
                                                                                                                                                       Christopher Zalesky         Christopher Zalesky       (mbradle5@its.jnj.com); Schoeck Michael (mschoeck@cntus.jnj.com); Sue Seferian ^
2789   JANSSENBIO‐PL_2‐0002506                                                       Withheld   doc     Schoeck, Michael             Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)    (sseferia@its.jnj.com)                                                                                                                                                                                                                                                      4/1/2006



                                                                                                                                                                                                             Rhonda Burden (rburden@its.jnj.com); Michael Cassano (mcassano@cntus.jnj.com); Michael Cassano                                                                                                                  Cheryl Cohen (ccohen3@cntus.jnj.com); Jason O'Grady                    Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                             (mcassano@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Kathleen Hamill ^                                                                                                                               (jogrady@its.jnj.com); Michael Schoeck                                 regarding preparation/review of internal training or
                                                                                                                                                                                                             (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael                                                (mschoeck@its.jnj.com); Rhonda Burden                                  internal guidance concerning practice management or IOI
2790   JANSSENBIO‐PL_2‐0002507                                                       Withheld   eMail   Schoeck, Michael             Attorney‐Client                                                         (fjimene3@its.jnj.com); Jason O'Grady (jogrady@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)             Cassano (mcassano@cntus.jnj.com)                 Kathleen Hamill ^ (khamill@cntus.jnj.com)      (rburden@its.jnj.com)                                      4/20/2006   support.



                                                                                                                                                                                                             Rhonda Burden (rburden@its.jnj.com); Michael Cassano (mcassano@cntus.jnj.com); Michael Cassano
                                                                                                                                                                                                             (mcassano@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                       John Morford                Kathleen Hamill ^         (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
2791   JANSSENBIO‐PL_2‐0002508                                                       Withheld   ppt     Schoeck, Michael             Attorney‐Client   (john@buckmedia.com)        (khamill@cntus.jnj.com)   (fjimene3@its.jnj.com); Jason O'Grady (jogrady@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                        4/20/2006



                                                                                                                                                                                                             Rhonda Burden (rburden@its.jnj.com); Michael Cassano (mcassano@cntus.jnj.com); Michael Cassano
                                                                                                                                                                                                             (mcassano@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                       Jason O'Grady               Jason O'Grady             (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
2792   JANSSENBIO‐PL_2‐0002509                                                       Withheld           Schoeck, Michael             Attorney‐Client   (jogrady@its.jnj.com)       (jogrady@its.jnj.com)     (fjimene3@its.jnj.com); Jason O'Grady (jogrady@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                        4/20/2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    guidance concerning practice management or IOI
2793   JANSSENBIO‐PL_2‐0002510                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                         Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                              Christopher Zalesky (czalesky@its.jnj.com)         Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                  1/27/2015   support.




                                                                                                                                                                                                                                                                                     130
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 132 of 201

                                                                                                                                                   Daryl Todd ^             Daryl Todd ^
2794   JANSSENBIO‐PL_2‐0002511                                                       Withheld   doc     Zalesky, Christopher     Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   1/27/2015

                                                                                                                                                                                                             Timothy Grimes (tgrimes@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                             (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael McCulley ^                                                                                                                                                                                             Email chain reflecting legal advice from Legal Department
                                                                                                                                                                                                             (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                        Walls, Michelle; Wood,                                                                               Michelle Walls (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood                        Angela Wood (awood6@its.jnj.com); Michelle                                                                                                                          internal guidance concerning practice management or IOI
2795   JANSSENBIO‐PL_2‐0002512                                                       Withheld   eMail   Angela                   Attorney‐Client                                                             (awood6@its.jnj.com)                                                                                         Walls (mwalls@its.jnj.com)                          Timothy Grimes (tgrimes@its.jnj.com)                                                                 2/1/2013   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email with draft guidance reflecting request for and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              provision of legal advice from Tristan Potter‐Strait ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              regarding internal guidance concerning promotional
2796   JANSSENBIO‐PL_2‐0002513                                                       Withheld   eMail   Zalesky, Christopher     Attorney‐Client                                                             Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                     Christopher Zalesky (czalesky@its.jnj.com)          Tristan Potter‐Strait (tpotter5@its.jnj.com)                                                         6/5/2015   activities.
                                                                                                                                                                            Tristan Potter‐Strait
2797   JANSSENBIO‐PL_2‐0002514                                                       Withheld   doc     Zalesky, Christopher     Attorney‐Client   Johnson & Johnson        (tpotter5@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                              6/5/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
2798   JANSSENBIO‐PL_2‐0002515                                                                                                                                                                                                                                                                                                                                                                                                                                                                2024
                                                                                                                                                                            Christopher Zalesky                                                                                                                                                                                                                                                                                               Draft guidance document reflecting legal advice from
2799   JANSSENBIO‐PL_2‐0002516   JANSSENBIO‐055‐00003234   JANSSENBIO‐055‐00003234   Withheld   doc     Zalesky, Christopher     Attorney‐Client   Johnson & Johnson        (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               6/28/2015   Tristan Potter‐Strait ^.




                                                                                                                                                                                                             Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                             (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);                                                                                                                                                                        Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                             Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^                                                                                                                                                                           legal advice from Legal Department regarding
                                                                                                                                                                                                             (speter11@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);                                                                                                                                                                             preparation/review of internal training or internal
                                                                                                                                                                                                             Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood                           Anna Estrellas (aestrellas@its.jnj.com); Michelle                                                                                                                   guidance concerning practice management or IOI
2800   JANSSENBIO‐PL_2‐0002517                                                       Withheld   eMail   Wood, Angela             Attorney‐Client                                                             (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)          Walls (mwalls@its.jnj.com)                          Angela Wood (awood6@its.jnj.com)                                                                     6/6/2014   support.




                                                                                                                                                                                                             Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                             (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);
                                                                                                                                                                                                             Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^
                                                                                                                                                                                                             (speter11@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
                                                                                                                                                   Doug Kennedy             Joseph DiGiacomo                 Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood
2801   JANSSENBIO‐PL_2‐0002518                                                       Withheld   pptx    Wood, Angela             Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)           (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                                                                                                                                                   6/6/2014

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting request for and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              provision of legal advice from the Law Department ^,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              including Daryl Todd ^, Shauna Peterson ^, Stephanie
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Gilson ^, Kathleen Hamill ^, and Thomas Spellman ^,
2802   JANSSENBIO‐PL_2‐0002519                                                       Withheld   eMail   Wood, Angela             Attorney‐Client                                                             Angela Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                     Michelle Zarish (mzarish2@its.jnj.com)              Angela Wood (awood6@its.jnj.com)                                                                     6/6/2014   regarding training materials.
                                                                                                                                                   Doug Kennedy             Joseph DiGiacomo
2803   JANSSENBIO‐PL_2‐0002520                                                       Withheld   pptx    Wood, Angela             Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)           Angela Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                                                                                                                                                                              6/6/2014



                                                                                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); Anthony DiCarlantonio (adicarla@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                             (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Brandon Fox (bfox3@its.jnj.com); John
                                                                                                                                                                                                             Franz (jfranz@its.jnj.com); Catherine Kaucher (ckauche1@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com);                                                                                                                                                                       Email chain providing information to counsel for the
                                                                                                                                                                                                             Daryl Todd ^ (dtodd1@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Julie Trimakas                                                                                                                                                                                            purpose of receiving legal advice from Legal Department
                                                                                                                                                                                                             (jtrimaka@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela                                                                                                                                                                            regarding preparation/review of internal training or
                                                                                                                                                                                                             Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof                                                                                                                                                                                                internal guidance concerning practice management or IOI
2804                             JANSSENBIO‐064‐00003948   JANSSENBIO‐064‐00003949   Redacted   eMail   Wood, Angela             Attorney‐Client                                                             (mzuiderh@its.jnj.com)                                                                                       Joseph DiGiacomo (jdigiaco@its.jnj.com)             Angela Wood (awood6@its.jnj.com)                                                                    4/16/2014   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              legal advice from Legal Department regarding
                                                                                                                                                                                                             Joseph DiGiacomo (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Timothy Grimes                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                                                                                                             (tgrimes@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela                                                                                                                                                                               guidance concerning practice management or IOI
2805   JANSSENBIO‐PL_2‐0002521                                                       Withheld   eMail   Wood, Angela             Attorney‐Client                                                             Wood (awood6@its.jnj.com)                                                                                    John Franz (jfranz@its.jnj.com)                     Angela Wood (awood6@its.jnj.com)                                                                     5/6/2014   support.
                                                                                                                                                                                                             Joseph DiGiacomo (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Timothy Grimes
                                                                                                                                                   Doug Kennedy             Joseph DiGiacomo                 (tgrimes@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela
2806   JANSSENBIO‐PL_2‐0002522                                                       Withheld   pptx    Wood, Angela             Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)           Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                             5/6/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              legal advice from Legal Department regarding
                                                                                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo                                                                                                                                                                                     preparation/review of internal training or internal
                                                                                                                                                                                                             (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela                                                                                                                                                                          guidance concerning practice management or IOI
2807   JANSSENBIO‐PL_2‐0002523                                                       Withheld   eMail   Wood, Angela             Attorney‐Client                                                             Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                  Thomas Cornely (tcornel@its.jnj.com)                Angela Wood (awood6@its.jnj.com)                                                                     5/6/2014   support.

                                                                                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                   Doug Kennedy             Joseph DiGiacomo                 (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela
2808   JANSSENBIO‐PL_2‐0002524                                                       Withheld   pptx    Wood, Angela             Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)           Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                           5/6/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo                                                                                                                                                                                     legal advice from Legal Department regarding
                                                                                                                                                                                                             (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);                                                                                                                                                                                 preparation/review of internal training or internal
                                                                                                                                                                                                             Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood                                                                                                                                                                                               guidance concerning practice management or IOI
2809   JANSSENBIO‐PL_2‐0002525                                                       Withheld   eMail   Wood, Angela             Attorney‐Client                                                             (awood6@its.jnj.com)                                                                                         Michelle Walls (mwalls@its.jnj.com)                 Angela Wood (awood6@its.jnj.com)                                                                     5/6/2014   support.

                                                                                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                             (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
                                                                                                                                                   Doug Kennedy             Joseph DiGiacomo                 Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood
2810   JANSSENBIO‐PL_2‐0002526                                                       Withheld   pptx    Wood, Angela             Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)           (awood6@its.jnj.com)                                                                                                                                                                                                                                                  5/6/2014




                                                                                                                                                                                                             Austin Clayton ^ (aclayto3@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anthony DiCarlantonio
                                                                                                                                                                                                             (adicarla@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);
                                                                                                                                                                                                             Brandon Fox (bfox3@its.jnj.com); John Franz (jfranz@its.jnj.com); Catherine Kaucher                                                                                                                                                                                              Email chain with attachment(s) providing information to
                                                                                                                                                                                                             (ckauche1@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Karen                                                                                                                                                                            counsel for the purpose of receiving legal advice
                                                                                                                                                                                                             Trahan (ktrahan@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Michelle Walls (mwalls@its.jnj.com);                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                             Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com); Michelle Zarish                                                                                                                                                                                              internal guidance concerning practice management or IOI
2811   JANSSENBIO‐PL_2‐0002527                                                       Withheld   eMail   Wood, Angela             Attorney‐Client                                                             (mzarish2@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                                Austin Clayton ^ (aclayto3@its.jnj.com)             Angela Wood (awood6@its.jnj.com)                                                                     4/3/2014   support.




                                                                                                                                                                                                             Austin Clayton ^ (aclayto3@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anthony DiCarlantonio
                                                                                                                                                                                                             (adicarla@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);
                                                                                                                                                                                                             Brandon Fox (bfox3@its.jnj.com); John Franz (jfranz@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                             (ckauche1@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Karen
                                                                                                                                                                                                             Trahan (ktrahan@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Michelle Walls (mwalls@its.jnj.com);
                                                                                                                                                   Doug Kennedy             Angela Wood                      Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com); Michelle Zarish
2812   JANSSENBIO‐PL_2‐0002528                                                       Withheld   pptx    Wood, Angela             Attorney‐Client   (dkenned6@its.jnj.com)   (awood6@its.jnj.com)             (mzarish2@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                                                                                                                                                                                         4/3/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                                                                                               Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky            Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                         internal guidance concerning practice management or IOI
2813   JANSSENBIO‐PL_2‐0002529                                                       Withheld   eMail   Zalesky, Christopher     Attorney‐Client                                                               (czalesky@its.jnj.com)                                                                                     Deidre Meehan ^ (dmeehan5@its.jnj.com)              Kristen Brill (kbrill@its.jnj.com)                                                                 12/15/2015   support.
                                                                                                                                                   Daryl Todd ^                                                Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
2814   JANSSENBIO‐PL_2‐0002530                                                       Withheld   docx    Zalesky, Christopher     Attorney‐Client   (dtodd1@its.jnj.com)     Kristen Brill (kbrill@its.jnj.com) (czalesky@its.jnj.com)                                                                                                                                                                                                                                            12/15/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                                                                                             Kristen Brill (kbrill@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^                                                                                                                   Christopher Zalesky (czalesky@its.jnj.com); Terry                internal guidance concerning practice management or IOI
2815   JANSSENBIO‐PL_2‐0002531                                                       Withheld   eMail   Zalesky, Christopher     Attorney‐Client                                                             (dmeehan5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                           Kristen Brill (kbrill@its.jnj.com)                  Deidre Meehan ^ (dmeehan5@its.jnj.com)         Kerekgyarto (tkerekgy@its.jnj.com)                  12/18/2015   support.

                                                                                                                                                   Kristen Brill            Deidre Meehan ^                  Kristen Brill (kbrill@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^
2816   JANSSENBIO‐PL_2‐0002532                                                       Withheld   docx    Zalesky, Christopher     Attorney‐Client   (kbrill@its.jnj.com)     (dmeehan5@its.jnj.com)           (dmeehan5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                  12/18/2015

                                                                                                                                                   Kristen Brill            Deidre Meehan ^                  Kristen Brill (kbrill@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^
2817   JANSSENBIO‐PL_2‐0002533                                                       Withheld   docx    Zalesky, Christopher     Attorney‐Client   (kbrill@its.jnj.com)     (dmeehan5@its.jnj.com)           (dmeehan5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                  12/18/2015

                                                                                                                                                   Kristen Brill            Deidre Meehan ^                  Kristen Brill (kbrill@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^
2818   JANSSENBIO‐PL_2‐0002534                                                       Withheld   docx    Zalesky, Christopher     Attorney‐Client   (kbrill@its.jnj.com)     (dmeehan5@its.jnj.com)           (dmeehan5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                  12/18/2015



                                                                                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                             (cguiton@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                             (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Kathryn                                                                                                                                                                           Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                             Roberts (krober10@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Amy Van Sant                                                                                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                                                                             (avansant@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela                                                                                                                                                                             internal guidance concerning practice management or IOI
2819   JANSSENBIO‐PL_2‐0002535                                                       Withheld   eMail   Wood, Angela             Attorney‐Client                                                             Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                  Thomas Spellman ^ (tspellma@its.jnj.com)            Angela Wood (awood6@its.jnj.com)                                                                   11/26/2013   support.



                                                                                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                             (cguiton@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                             (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Kathryn
                                                                                                                                                                                                             Roberts (krober10@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Amy Van Sant
                                                                                                                                                   Angela Wood              Angela Wood                      (avansant@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela
2820   JANSSENBIO‐PL_2‐0002536                                                       Withheld   xlsx    Wood, Angela             Attorney‐Client   (awood6@its.jnj.com)     (awood6@its.jnj.com)             Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                         11/26/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting request for and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              provision of legal advice from the Law Department ^,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              including Daryl Todd ^, Shauna Peterson ^, Stephanie
                                                                                                                                                                                                             Andrew Brackbill (abrackbi@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Angela Wood                                                                                                                                                                                    Gilson ^, Kathleen Hamill ^, and Thomas Spellman ^,
2821   JANSSENBIO‐PL_2‐0002537                                                       Withheld   eMail   Wood, Angela             Attorney‐Client                                                             (awood6@its.jnj.com)                                                                                         Andrew Brackbill (abrackbi@its.jnj.com)             Angela Wood (awood6@its.jnj.com)               Joseph DiGiacomo (jdigiaco@its.jnj.com)              11/4/2013   regarding training materials.
                                                                                                                                                   Doug Kennedy             Angela Wood                      Andrew Brackbill (abrackbi@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Angela Wood
2822   JANSSENBIO‐PL_2‐0002538                                                       Withheld   pptx    Wood, Angela             Attorney‐Client   (dkenned6@its.jnj.com)   (awood6@its.jnj.com)             (awood6@its.jnj.com)                                                                                                                                                                                                                                                 11/4/2013

                                                                                                                                                                                                             Erica Barry (ebarry@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                             (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Louis Mamon (lmamon@its.jnj.com);                                                                                                                                                                               Presentation reflecting legal advice from Legal
                                                                                                                                                                                                             Demond Mathis (dmathis1@its.jnj.com); George Prudent (gprudent@its.jnj.com); Jodi Reitz                                                                                                                                                                                          Department regarding preparation/review of internal
                                                                                                                                                   Doug Kennedy             Angela Wood                      (jreitz@its.jnj.com); Steve Theis (stheis@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood                                                                                                                                                                         training or internal guidance concerning practice
2823   JANSSENBIO‐PL_2‐0002539   JANSSENBIO‐064‐00004007   JANSSENBIO‐064‐00004007   Withheld   pptx    Wood, Angela             Attorney‐Client   (dkenned6@its.jnj.com)   (awood6@its.jnj.com)             (awood6@its.jnj.com)                                                                                                                                                                                                                                                 11/4/2013   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting request for and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              provision of legal advice from the Law Department ^,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              including Daryl Todd ^, Shauna Peterson ^, Stephanie
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Gilson ^, Kathleen Hamill ^, and Thomas Spellman ^,
2824   JANSSENBIO‐PL_2‐0002540                                                       Withheld   eMail   Wood, Angela             Attorney‐Client                                                             Joseph DiGiacomo (jdigiaco@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                    Joseph DiGiacomo (jdigiaco@its.jnj.com)             Angela Wood (awood6@its.jnj.com)                                                                   10/21/2013   regarding training materials.
                                                                                                                                                   Doug Kennedy             Angela Wood
2825   JANSSENBIO‐PL_2‐0002541                                                       Withheld   pptx    Wood, Angela             Attorney‐Client   (dkenned6@its.jnj.com)   (awood6@its.jnj.com)             Joseph DiGiacomo (jdigiaco@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                           10/21/2013

                                                                                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                             (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);                                                                                                                                                                               Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                             Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Perry Knight ^                                                                                                                                                                            from Legal Department regarding preparation/review of
                                                                                                                                                                                                             (pknight@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela           Diane Deloria (ddeloria@its.jnj.com); Thomas                                                                                                                        internal training or internal guidance concerning practice
2826   JANSSENBIO‐PL_2‐0002542                                                       Withheld   eMail   Wood, Angela             Attorney‐Client                                                             Wood (awood6@its.jnj.com)                                                                                    Cornely (tcornel@its.jnj.com)                       Angela Wood (awood6@its.jnj.com)                                                                   10/24/2013   management or IOI support.

                                                                                                                                                                                                             Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                             (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                                                                             Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Perry Knight ^
                                                                                                                                                   Doug Kennedy             Joseph DiGiacomo                 (pknight@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela
2827   JANSSENBIO‐PL_2‐0002543                                                       Withheld   pptx    Wood, Angela             Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)           Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                           10/24/2013
                                                                                                                                                                                                                                                                                                                                                                                                                             Avis Goode (agoode@its.jnj.com); Karen Novak                     Email with draft guidance reflecting request for and
                                                                                                                                                                                                             Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham                                                                                                                                 (knovak5@its.jnj.com); Mary Graham                               provision of legal advice from the Law Department ^
                                                                                                                                                                                                             (mgraham1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com);                                                                                                               (mgraham1@its.jnj.com); Sujata Dayal                             regarding internal guidance concerning promotional
2828   JANSSENBIO‐PL_2‐0002544                                                       Withheld   eMail   Zalesky, Christopher     Attorney‐Client                                                             Christopher Zalesky (czalesky@its.jnj.com)                                                                   Christopher Zalesky (czalesky@its.jnj.com)          Chris Matteson (cmattes1@its.jnj.com)          (sdayal@its.jnj.com)                                 11/6/2015   activities.




                                                                                                                                                                                                                                                                                     131
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 133 of 201


                                                                                                                                                                                                           Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham
                                                                                                                                                 Kristen Brill            Chris Matteson                   (mgraham1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com);
2829   JANSSENBIO‐PL_2‐0002545                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)     (cmattes1@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                            11/6/2015

                                                                                                                                                                                                           James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                           (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Catherine Kaucher
                                                                                                                                                                                                           (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);
                                                                                                                                                                                                           Michelle Turk (mturk@its.jnj.com); Amy Van Sant (avansant@its.jnj.com); Michelle Walls                       Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                           (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood         Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                           regarding issues relating to interactions or
2830   JANSSENBIO‐PL_2‐0002546                                                       Withheld   eMail   Wood, Angela           Attorney‐Client                                                             (awood6@its.jnj.com)                                                                                         Michelle Walls (mwalls@its.jnj.com)               Angela Wood (awood6@its.jnj.com)                                                       5/31/2013   communications between ABSs and physician offices.

                                                                                                                                                                                                           James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                           (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Catherine Kaucher
                                                                                                                                                                                                           (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);
                                                                                                                                                                                                           Michelle Turk (mturk@its.jnj.com); Amy Van Sant (avansant@its.jnj.com); Michelle Walls
                                                                                                                                                 Angela Wood              Angela Wood                      (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood
2831   JANSSENBIO‐PL_2‐0002547                                                       Withheld   xlsx    Wood, Angela           Attorney‐Client   (awood6@its.jnj.com)     (awood6@its.jnj.com)             (awood6@its.jnj.com)                                                                                                                                                                                                                                  5/31/2013
                                                                                                                                                                                                                                                                                                                        Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                                                        David Fabbri (dfabbri@its.jnj.com); Eric Monzon
                                                                                                                                                                                                                                                                                                                        (emonzon1@its.jnj.com); Karen Trahan
                                                                                                                                                                                                                                                                                                                        (ktrahan@its.jnj.com); Kathryn Roberts                                                                                                               Email chain with attachment(s) providing information to
                                                                                                                                                                                                           Melissa Ayers (mayers2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan                       (krober10@its.jnj.com); Melissa Ayers                                                                                                                counsel for the purpose of receiving legal advice
                                                                                                                                                                                                           (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);      (mayers2@its.jnj.com); Paul Duncan                                                                                                                   regarding preparation/review of internal training or
                                                                                                                                                                                                           Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Karen Trahan                     (pduncan9@its.jnj.com); Thomas Cornely                                                                                                               internal guidance concerning practice management or IOI
2832   JANSSENBIO‐PL_2‐0002548                                                       Withheld   eMail   Wood, Angela           Attorney‐Client                                                             (ktrahan@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                      (tcornel@its.jnj.com)                             Angela Wood (awood6@its.jnj.com)                                                        6/4/2013   support.

                                                                                                                                                                                                           Melissa Ayers (mayers2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                                                                                                           (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                 James Knepp              John Monzon                      Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Karen Trahan
2833   JANSSENBIO‐PL_2‐0002549                                                       Withheld   pptx    Wood, Angela           Attorney‐Client   (jknepp5@its.jnj.com)    (emonzon1@ITS.JNJ.COM)           (ktrahan@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                6/4/2013



                                                                                                                                                                                                           Melissa Ayers (mayers2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan                                                                                                                                                                            Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                           (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                           legal advice from Legal Department regarding
                                                                                                                                                                                                           Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Kathryn Roberts                                                                                                                                                                       preparation/review of internal training or internal
                                                                                                                                                                                                           (krober10@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela                                                                                                                                                              guidance concerning practice management or IOI
2834   JANSSENBIO‐PL_2‐0002550                                                       Withheld   eMail   Wood, Angela           Attorney‐Client                                                             Wood (awood6@its.jnj.com)                                                                                    Kathryn Roberts (krober10@its.jnj.com)            Angela Wood (awood6@its.jnj.com)                                                        6/5/2013   support.



                                                                                                                                                                                                           Melissa Ayers (mayers2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                                                                                                           (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                           Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Kathryn Roberts
                                                                                                                                                 James Knepp              John Monzon                      (krober10@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela
2835   JANSSENBIO‐PL_2‐0002551                                                       Withheld   pptx    Wood, Angela           Attorney‐Client   (jknepp5@its.jnj.com)    (emonzon1@ITS.JNJ.COM)           Wood (awood6@its.jnj.com)                                                                                                                                                                                                                              6/5/2013



                                                                                                                                                                                                           Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                                                                           (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier                                                                                                                                                          Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                           (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);                                                                                                                                                              legal advice from Legal Department regarding
                                                                                                                                                                                                           Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam                                                                                                                                                                   preparation/review of internal training or internal
                                                                                                                                                                                                           (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                           guidance concerning practice management or IOI
2836   JANSSENBIO‐PL_2‐0002552                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             Christopher Zalesky (czalesky@its.jnj.com)                                                                   Christopher Zalesky (czalesky@its.jnj.com)        Christopher Zalesky (czalesky@its.jnj.com)                                            10/17/2015   support.



                                                                                                                                                                                                           Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                                                                           (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                                                                           (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                                                                           Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                                                                                                          Christopher Zalesky              (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
2837   JANSSENBIO‐PL_2‐0002553                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                           10/17/2015



                                                                                                                                                                                                           Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                                                                           (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                                                                           (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                                                                           Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                                                                                 Rika Ville               Christopher Zalesky              (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
2838   JANSSENBIO‐PL_2‐0002554                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                           10/17/2015



                                                                                                                                                                                                             Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                                                                             (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                                                                             (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                                                                             Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                             (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
2839   JANSSENBIO‐PL_2‐0002555                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        Kristen Brill (kbrill@its.jnj.com) Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                         10/17/2015



                                                                                                                                                                                                             Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                                                                             (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                                                                             (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                                                                             Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                                                                                 Kristen Brill                                               (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
2840   JANSSENBIO‐PL_2‐0002556                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)     Kristen Brill (kbrill@its.jnj.com) Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                         10/17/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
2841   JANSSENBIO‐PL_2‐0002557                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                 Kristen Brill            Michele Rubincam                                                                                                                                                                                                                                                                                   Draft guidance document reflecting legal advice from
2842   JANSSENBIO‐PL_2‐0002558                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)     (mrubinc@its.jnj.com)            Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                   11/17/2015   Deidre Meehan ^.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain with attachment(s) reflecting counsel's
                                                                                                                                                                                                           Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^                                                                                                                                                                      request for information for the purpose of providing
                                                                                                                                                                                                           (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^                                                                                                                                                                                  legal advice from Legal Department regarding
                                                                                                                                                                                                           (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);                                                                                                                                                            preparation/review of internal training or internal
                                                                                                                                                                                                           Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                guidance concerning practice management or IOI
2843   JANSSENBIO‐PL_2‐0002559                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                       Christopher Zalesky (czalesky@its.jnj.com)        Christopher Zalesky (czalesky@its.jnj.com)                                            11/19/2015   support.

                                                                                                                                                                                                           Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                           (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                                                                                                                                                                           (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
                                                                                                                                                 Daryl Todd ^             Daryl Todd ^                     Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2844   JANSSENBIO‐PL_2‐0002560                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             (czalesky@its.jnj.com)                                                                                                                                                                                                                               11/19/2015

                                                                                                                                                                                                           Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                           (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                                                                                                                                                                           (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
                                                                                                                                                 Shauna Peterson ^        Daryl Todd ^                     Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2845   JANSSENBIO‐PL_2‐0002561                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (speter11@its.jnj.com)   (dtodd1@its.jnj.com)             (czalesky@its.jnj.com)                                                                                                                                                                                                                               11/19/2015
                                                                                                                                                                                                                                                                                                                        Amy Van Sant (avansant@its.jnj.com); Catherine
                                                                                                                                                                                                                                                                                                                        Kaucher (ckauche1@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                        Guiton ^ (cguiton@its.jnj.com); Erin Wells
                                                                                                                                                                                                                                                                                                                        (ewells@its.jnj.com); James Burrus
                                                                                                                                                                                                                                                                                                                        (jburrus@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                        (khamill@cntus.jnj.com); Kathryn Roberts
                                                                                                                                                                                                           James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^               (krober10@its.jnj.com); Michelle Turk
                                                                                                                                                                                                           (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Catherine Kaucher                          (mturk@its.jnj.com); Michelle Walls
                                                                                                                                                                                                           (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);            (mwalls@its.jnj.com); Thomas Cornely                                                                                                                 Email with attachment(s) requesting legal advice
                                                                                                                                                                                                           Michelle Turk (mturk@its.jnj.com); Amy Van Sant (avansant@its.jnj.com); Michelle Walls                       (tcornel@its.jnj.com); Vera Makar                                                                                                                    regarding issues relating to interactions or
2846   JANSSENBIO‐PL_2‐0002562                                                       Withheld   eMail   Wood, Angela           Attorney‐Client                                                             (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela Wood (awood6@its.jnj.com)                      (vmakar1@its.jnj.com)                             Angela Wood (awood6@its.jnj.com)                                                       5/24/2013   communications between ABSs and physician offices.



                                                                                                                                                                                                           James Burrus (jburrus@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                           (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Catherine Kaucher
                                                                                                                                                                                                           (ckauche1@its.jnj.com); Vera Makar (vmakar1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);
                                                                                                                                                 Angela Wood              Angela Wood                      Michelle Turk (mturk@its.jnj.com); Amy Van Sant (avansant@its.jnj.com); Michelle Walls
2847   JANSSENBIO‐PL_2‐0002563                                                       Withheld   xlsx    Wood, Angela           Attorney‐Client   (awood6@its.jnj.com)     (awood6@its.jnj.com)             (mwalls@its.jnj.com); Erin Wells (ewells@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                               5/24/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain reflecting counsel's request for information
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             for the purpose of providing legal advice from Legal
                                                                                                                                                                                                           Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Renee Scott                                                                                                                                                                       Department regarding preparation/review of internal
                                                                                                                                                                                                           (rscott27@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                           training or internal guidance concerning practice
2848   JANSSENBIO‐PL_2‐0002564                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                       Christopher Zalesky (czalesky@its.jnj.com)        Renee Scott (rscott27@its.jnj.com)                                                      8/5/2015   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             legal advice from Legal Department regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of internal training or internal
                                                                                                                                                                                                           Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                               guidance concerning practice management or IOI
2849   JANSSENBIO‐PL_2‐0002565                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                           Christopher Zalesky (czalesky@its.jnj.com)        Michele Rubincam (mrubinc@its.jnj.com)       Michele Rubincam (mrubinc@its.jnj.com)    8/25/2015   support.

                                                                                                                                                 Michele Rubincam         Michele Rubincam                 Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky
2850   JANSSENBIO‐PL_2‐0002566                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (mrubinc@its.jnj.com)    (mrubinc@its.jnj.com)            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                    8/25/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain reflecting request for legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Department regarding preparation/review of internal
                                                                                                                                                                                                           Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                               training or internal guidance concerning practice
2851   JANSSENBIO‐PL_2‐0002567                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                           Christopher Zalesky (czalesky@its.jnj.com)        Michele Rubincam (mrubinc@its.jnj.com)                                                 8/26/2015   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain reflecting request for legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Department regarding preparation/review of internal
                                                                                                                                                                                                           Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                               training or internal guidance concerning practice
2852   JANSSENBIO‐PL_2‐0002568                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                           Christopher Zalesky (czalesky@its.jnj.com)        Michele Rubincam (mrubinc@its.jnj.com)                                                  9/1/2015   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
2853   JANSSENBIO‐PL_2‐0002569                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                          Christopher Zalesky                                                                                                                                                                                                                                                                                Draft guidance document reflecting legal advice from the
2854   JANSSENBIO‐PL_2‐0002570   JANSSENBIO‐056‐00003592   JANSSENBIO‐056‐00003592   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                 7/7/2015   Tristan Potter‐Strait ^.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                                                                           Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                internal guidance concerning practice management or IOI
2855   JANSSENBIO‐PL_2‐0002571                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                       Christopher Zalesky (czalesky@its.jnj.com)        Daryl Todd ^ (dtodd1@its.jnj.com)                                                       9/3/2015   support.
                                                                                                                                                 Jill Steinberg           Daryl Todd ^                     Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2856   JANSSENBIO‐PL_2‐0002572                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (jsteinb1@its.jnj.com)   (dtodd1@its.jnj.com)             (czalesky@its.jnj.com)                                                                                                                                                                                                                                 9/3/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                        Angela Wood (awood6@its.jnj.com); Daryl Todd                                                                                                         regarding preparation/review of internal training or
                                                                                                                                                                                                           Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Daryl Todd ^               ^ (dtodd1@its.jnj.com); Joseph DiGiacomo                                                                                                             internal guidance concerning practice management or IOI
2857   JANSSENBIO‐PL_2‐0002573                                                       Withheld   eMail   Wood, Angela           Attorney‐Client                                                             (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                       (jdigiaco@its.jnj.com)                            Joseph DiGiacomo (jdigiaco@its.jnj.com)                                                5/27/2014   support.

                                                                                                                                                 Doug Kennedy             Angela Wood                      Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Daryl Todd ^
2858   JANSSENBIO‐PL_2‐0002574                                                       Withheld   pptx    Wood, Angela           Attorney‐Client   (dkenned6@its.jnj.com)   (awood6@its.jnj.com)             (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                5/27/2014




                                                                                                                                                                                                                                                                                    132
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 134 of 201

                                                                                                                                                                                                                                                                                                                 Angela Wood (awood6@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                 Guiton ^ (cguiton@its.jnj.com); David Fabbri
                                                                                                                                                                                                                                                                                                                 (dfabbri@its.jnj.com); Eric Monzon
                                                                                                                                                                                                   Melissa Ayers (mayers2@its.jnj.com); Erin Bittenbender (ebittenb@its.jnj.com); Thomas Cornely                 (emonzon1@its.jnj.com); Karen Trahan
                                                                                                                                                                                                   (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com);                (ktrahan@its.jnj.com); Kathryn Roberts
                                                                                                                                                                                                   Christopher Guiton ^ (cguiton@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts               (krober10@its.jnj.com); Melissa Ayers                                                                                                                       CR‐CNTUS H800‐
                                                                                                                                                                                                   (krober10@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com);           (mayers2@its.jnj.com); Paul Duncan                                                                                                                          2402 (ch2‐                      Email with attachment(s) requesting legal advice
                                                                                                                                                                                                   Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com); CR‐CNTUS H800‐2402 (ch2‐                  (pduncan9@its.jnj.com); Thomas Cornely                                                                                                                      2402@cntus.jnj.co               regarding preparation/review of customer‐facing practice
2859   JANSSENBIO‐PL_2‐0002575                                                       Withheld   eMail   Wood, Angela           Attorney‐Client                                                     2402@cntus.jnj.com)                                                                                           (tcornel@its.jnj.com)                         Angela Wood (awood6@its.jnj.com)                  Erin Bittenbender (ebittenb@its.jnj.com)                    m)                   6/4/2013   management or IOI support material.



                                                                                                                                                                                                   Melissa Ayers (mayers2@its.jnj.com); Erin Bittenbender (ebittenb@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                   (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com);
                                                                                                                                                                                                   Christopher Guiton ^ (cguiton@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts
                                                                                                                                                                                                   (krober10@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com);
                                                                                                                                                 James Knepp              John Monzon              Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com); CR‐CNTUS H800‐2402 (ch2‐
2860   JANSSENBIO‐PL_2‐0002576                                                       Withheld   pptx    Wood, Angela           Attorney‐Client   (jknepp5@its.jnj.com)    (emonzon1@ITS.JNJ.COM)   2402@cntus.jnj.com)                                                                                                                                                                                                                                                                            6/4/2013
                                                                                                                                                                                                                                                                                                                                                                                                                 Anna Estrellas (aestrellas@its.jnj.com); Chad Bower
                                                                                                                                                                                                                                                                                                                                                                                                                 (cbower2@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                   Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo                                                                                                                   (khamill@cntus.jnj.com); Matt Zuiderhof
                                                                                                                                                                                                   (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);                                                                                                    (mzuiderh@its.jnj.com); Michelle Walls
                                                                                                                                                                                                   Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Thomas Spellman ^        Angela Wood (awood6@its.jnj.com); Daryl Todd                                                    (mwalls@its.jnj.com); Michelle Zarish                                                       Email with attachment(s) requesting legal advice
                                                                                                                                                                                                   (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela        ^ (dtodd1@its.jnj.com); Joseph DiGiacomo                                                        (mzarish2@its.jnj.com); Stephanie Gilson ^                                                  regarding preparation/review of internal training or
                                                                                                                                                                                                   Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof                             (jdigiaco@its.jnj.com); Shauna Peterson ^                                                       (sgilson@its.jnj.com); Thomas Spellman ^                                                    internal guidance concerning practice management or IOI
2861   JANSSENBIO‐PL_2‐0002577                                                       Withheld   eMail   Wood, Angela           Attorney‐Client                                                     (mzuiderh@its.jnj.com)                                                                                        (speter11@its.jnj.com)                             Joseph DiGiacomo (jdigiaco@its.jnj.com)      (tspellma@its.jnj.com)                                                           6/6/2014   support.



                                                                                                                                                                                                   Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                   (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                                                                   Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Thomas Spellman ^
                                                                                                                                                                                                   (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela
                                                                                                                                                 Doug Kennedy             Joseph DiGiacomo         Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof
2862   JANSSENBIO‐PL_2‐0002578                                                       Withheld   pptx    Wood, Angela           Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)   (mzuiderh@its.jnj.com)                                                                                                                                                                                                                                                                         6/6/2014



                                                                                                                                                                                                   Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo
                                                                                                                                                                                                   (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                                                                   Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Thomas Spellman ^
                                                                                                                                                                                                   (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela
                                                                                                                                                 Joseph DiGiacomo         Joseph DiGiacomo         Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof
2863   JANSSENBIO‐PL_2‐0002579                                                       Withheld   ppt     Wood, Angela           Attorney‐Client   (jdigiaco@its.jnj.com)   (jdigiaco@its.jnj.com)   (mzuiderh@its.jnj.com)                                                                                                                                                                                                                                                                         6/6/2014

                                                                                                                                                                                                   Michele Rubincam (mrubinc@its.jnj.com); Renee Scott (rscott27@its.jnj.com); Rory Van Fossen
                                                                                                                                                                                                   (rvanfos2@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                   (czalesky@its.jnj.com); Alicia Vasquez (alicia.vasquez@bt.com); Lauren Edwards
                                                                                                                                                                                                   (lauren.edwards@bt.com); Shontala Holland harrel (shontala.holland‐harrel@bt.com); Webteam                    Christopher Zalesky (czalesky@its.jnj.com); Rory                                                Michele Rubincam (mrubinc@its.jnj.com); Renee Scott                                         Email chain reflecting legal advice from Daryl Todd ^
2864                             JANSSENBIO‐064‐00004263   JANSSENBIO‐064‐00004264   Redacted   eMail   Zalesky, Christopher   Attorney‐Client                                                     (webteam@btci.com)                                                                                            Van Fossen (rvanfos2@its.jnj.com)                  Michele Rubincam (mrubinc@its.jnj.com)       (rscott27@its.jnj.com)                                                          9/21/2015   regarding health care compliance policies.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain requesting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             preparation/review of internal training or internal
                                                                                                                                                                                                   Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                       guidance concerning practice management or IOI
2865   JANSSENBIO‐PL_2‐0002580                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                            Deidre Meehan ^ (dmeehan5@its.jnj.com)             Christopher Zalesky (czalesky@its.jnj.com)                                                                                    8/5/2015   support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain reflecting request for legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Department regarding preparation/review of internal
                                                                                                                                                                                                   Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                       training or internal guidance concerning practice
2866   JANSSENBIO‐PL_2‐0002581                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                            Michele Rubincam (mrubinc@its.jnj.com)             Christopher Zalesky (czalesky@its.jnj.com)                                                                                   8/11/2015   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                                                                   Freddy Jimenez ^ (fjimene3@its.jnj.com); Katelyn Mineo (kmineo1@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                         internal guidance concerning practice management or IOI
2867   JANSSENBIO‐PL_2‐0002582                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com)            Katelyn Mineo (kmineo1@its.jnj.com)          Christopher Zalesky (czalesky@its.jnj.com)                                      6/25/2013   support.
                                                                                                                                                                                                   Freddy Jimenez ^ (fjimene3@its.jnj.com); Katelyn Mineo (kmineo1@its.jnj.com); Christopher Zalesky
2868   JANSSENBIO‐PL_2‐0002583                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                        6/25/2013
                                                                                                                                                                                                   Freddy Jimenez ^ (fjimene3@its.jnj.com); Katelyn Mineo (kmineo1@its.jnj.com); Christopher Zalesky
2869   JANSSENBIO‐PL_2‐0002584                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                        6/25/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                                                                   Joseph Braunreuther ^ (jbraunre@its.jnj.com); Katelyn Mineo (kmineo1@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                    internal guidance concerning practice management or IOI
2870   JANSSENBIO‐PL_2‐0002585                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                        Joseph Braunreuther ^ (jbraunre@its.jnj.com)       Katelyn Mineo (kmineo1@its.jnj.com)          Christopher Zalesky (czalesky@its.jnj.com)                                      6/25/2013   support.
                                                                                                                                                                                                   Joseph Braunreuther ^ (jbraunre@its.jnj.com); Katelyn Mineo (kmineo1@its.jnj.com); Christopher Zalesky
2871   JANSSENBIO‐PL_2‐0002586                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                        6/25/2013
                                                                                                                                                                                                   Joseph Braunreuther ^ (jbraunre@its.jnj.com); Katelyn Mineo (kmineo1@its.jnj.com); Christopher Zalesky
2872   JANSSENBIO‐PL_2‐0002587                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                        6/25/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                                                                   Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher                                                                                                                                                                                                        internal guidance concerning practice management or IOI
2873   JANSSENBIO‐PL_2‐0002588                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Zalesky (czalesky@its.jnj.com)                                                                                Freddy Jimenez ^ (fjimene3@its.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)                                                                                   6/13/2013   support.
                                                                                                                                                                                                   Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher
2874   JANSSENBIO‐PL_2‐0002589                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                     Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                6/13/2013
                                                                                                                                                                                                   Joseph Braunreuther ^ (jbraunre@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher
2875   JANSSENBIO‐PL_2‐0002590                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                     Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                6/13/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Email chain reflecting legal advice from Joseph
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Braunreuther ^ regarding health care compliance
2876                             JANSSENBIO‐064‐00004285   JANSSENBIO‐064‐00004285   Redacted   eMail   Zalesky, Christopher   Attorney‐Client                                                     Patricia Molino (pmolino@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                             Patricia Molino (pmolino@its.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)                                                                                   6/27/2013   policies.
                                                                                                                                                                                                   Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                                                                   (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                                                                   Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                                                                   (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                                                                   Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                   (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                                                                   Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                                                                   (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                                                                   Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                                                                   Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                   (rdonnel4@its.jnj.com); Tonya Dowd (tphelp5@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                                                                   Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                                                                   (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                   Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                                                                                   Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                                                                                   (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com);
                                                                                                                                                                                                   Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^ (rhoehn@its.jnj.com); John Hoffman
                                                                                                                                                                                                   (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa Huston (lhuston@its.jnj.com);
                                                                                                                                                                                                   Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                   (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com);
                                                                                                                                                                                                   Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com); Anthony Marchetta
                                                                                                                                                                                                   (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com);
                                                                                                                                                                                                   Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                                                                   McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                                                                   (cmcneal12@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Matt Moore (mmoore6@its.jnj.com);
                                                                                                                                                                                                   Kimberly Norton (norton.kim@synthes.com); Erin Parsons (eparson5@its.jnj.com); Amit Patel                                                                                                                                                                                                                 Email with attachment(s) requesting legal advice
                                                                                                                                                                                                   (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com);                                                                                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                                                                   Stephanie Potts (spotts@its.jnj.com); Mark Reese (mreese@its.jnj.com); Michele Rubincam                                                                                                                                                                                                                   internal guidance concerning practice management or IOI
2877   JANSSENBIO‐PL_2‐0002591                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (mrubinc@its.jnj.com); Marcia Rupnow (mrupnow1@its.jnj.com); Ryan Saadi (rsaadi@its.jnj.com);                 Daryl Todd ^ (dtodd1@its.jnj.com)                  Christopher Zalesky (czalesky@its.jnj.com)                                                                                   3/28/2013   support.
                                                                                                                                                                                                   Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko                             Alan Cornell (acornell@its.jnj.com); Amit Patel
                                                                                                                                                                                                   (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);            (apatel18@its.jnj.com); Andrea Barnow
                                                                                                                                                                                                   Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley                      (abarnow@its.jnj.com); Angela Wood
                                                                                                                                                                                                   (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);         (awood6@its.jnj.com); Anthony Brennan
                                                                                                                                                                                                   Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^                   (abrenna3@its.jnj.com); Anthony Marchetta
                                                                                                                                                                                                   (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);             (amarchet@its.jnj.com); Brian Burns ^
                                                                                                                                                                                                   Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook                          (bburns7@its.jnj.com); Brian Kelly
                                                                                                                                                                                                   (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John         (bkelly2@its.jnj.com); Brian Visconti
                                                                                                                                                                                                   Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);       (bviscont@its.jnj.com); Bruce Colligen
                                                                                                                                                                                                   Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly                    (bcollig@its.jnj.com); Carol Woodard
                                                                                                                                                                                                   (rdonnel4@its.jnj.com); Tonya Dowd (tphelp5@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric        (cwoodard@its.jnj.com); Catherine Piech
                                                                                                                                                                                                   Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup                        (cpiech@its.jnj.com); Charles Schneider
                                                                                                                                                                                                   (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);         (cschne10@its.jnj.com); Chris Matteson
                                                                                                                                                                                                   Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);   (cmattes1@its.jnj.com); Christina Farup
                                                                                                                                                                                                   Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney                           (cfarup2@its.jnj.com); Christine Maroulis
                                                                                                                                                                                                   (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com);          (cmarouli@its.jnj.com); Christopher McNeal
                                                                                                                                                                                                   Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^ (rhoehn@its.jnj.com); John Hoffman                     (cmcneal12@its.jnj.com); Danny Burrell                                                          Daryl Todd ^ (dtodd1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                   (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa Huston (lhuston@its.jnj.com);              (dburrell@its.jnj.com); Darryl Stiles                                                           (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                   Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^                   (dstiles@its.jnj.com); David Banko                                                              (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                   (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com);             (dbanko@its.jnj.com); Delia Cook                                                                (htorell@its.jnj.com); John Crisan (jcrisan@its.jnj.com);
                                                                                                                                                                                                   Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com); Anthony Marchetta                         (dcook1@its.jnj.com); Diane Deloria                                                             Kris Curry (kcurry@janus.jnj.com); Larry Montes
                                                                                                                                                                                                   (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com);           (ddeloria@its.jnj.com); Eric Edgell                                                             (lmontes4@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                   Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth                     (eedgell@its.jnj.com); Erin Parsons                                                             (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                   McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal              (eparson5@its.jnj.com); Gerry McShane                                                           (msievers@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                   (cmcneal12@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Matt Moore (mmoore6@its.jnj.com);                 (gmcshane@dpyus.jnj.com); Gina Giordano                                                         (mmccull@corus.jnj.com); Patricia Villani ^
                                                                                                                                                                                                   Kimberly Norton (norton.kim@synthes.com); Erin Parsons (eparson5@its.jnj.com); Amit Patel                     (ggiordan@its.jnj.com); Henry Alder                                                             (pvillan1@its.jnj.com); Paul Lawrance
                                                                                                                                                                                                   (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com);          (halder@its.jnj.com); Jacob Drapkin                                                             (plawran1@its.jnj.com); Renee Scott
                                                                                                                                                                                                   Stephanie Potts (spotts@its.jnj.com); Mark Reese (mreese@its.jnj.com); Michele Rubincam                       (jdrapkin@eesus.jnj.com); Jamie March                                                           (rscott27@its.jnj.com); Vanessa Lum
2878   JANSSENBIO‐PL_2‐0002592                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (mrubinc@its.jnj.com); Marcia Rupnow (mrupnow1@its.jnj.com); Ryan Saadi (rsaadi@its.jnj.com);                 (jmarch1@its.jnj.com); Jason Lerner                Christopher Zalesky (czalesky@its.jnj.com)   (vlum1@its.jnj.com)                                                             3/28/2013
                                                                                                                                                                                                   Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                                                                                   (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                                                                                   Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                                                                                   (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                                                                                   Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                   (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                                                                                   Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                                                                                   (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                                                                                   Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                                                                                   Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                   (rdonnel4@its.jnj.com); Tonya Dowd (tphelp5@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                                                                                   Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                                                                                   (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                   Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                                                                                   Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                                                                                   (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com);
                                                                                                                                                                                                   Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^ (rhoehn@its.jnj.com); John Hoffman
                                                                                                                                                                                                   (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa Huston (lhuston@its.jnj.com);
                                                                                                                                                                                                   Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                   (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com);
                                                                                                                                                                                                   Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com); Anthony Marchetta
                                                                                                                                                                                                   (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com);
                                                                                                                                                                                                   Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                                                                                   McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                                                                                   (cmcneal12@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Matt Moore (mmoore6@its.jnj.com);
                                                                                                                                                                                                   Kimberly Norton (norton.kim@synthes.com); Erin Parsons (eparson5@its.jnj.com); Amit Patel
                                                                                                                                                                                                   (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com);
                                                                                                                                                 Daryl Todd ^             Daryl Todd ^             Stephanie Potts (spotts@its.jnj.com); Mark Reese (mreese@its.jnj.com); Michele Rubincam
2879   JANSSENBIO‐PL_2‐0002593                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)     (mrubinc@its.jnj.com); Marcia Rupnow (mrupnow1@its.jnj.com); Ryan Saadi (rsaadi@its.jnj.com);                                                                                                                                                                                                 3/28/2013




                                                                                                                                                                                                                                                                          133
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 135 of 201

                                                                                                                                               Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                               (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                               Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                               (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                               Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                               Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                               (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                               Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                               Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                               (rdonnel4@its.jnj.com); Tonya Dowd (tphelp5@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                               Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                               (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                               Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                               Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                               (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com);
                                                                                                                                               Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^ (rhoehn@its.jnj.com); John Hoffman
                                                                                                                                               (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa Huston (lhuston@its.jnj.com);
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com);
                                                                                                                                               Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com); Anthony Marchetta
                                                                                                                                               (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com);
                                                                                                                                               Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                               McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                               (cmcneal12@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Matt Moore (mmoore6@its.jnj.com);
                                                                                                                                               Kimberly Norton (norton.kim@synthes.com); Erin Parsons (eparson5@its.jnj.com); Amit Patel
                                                                                                                                               (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com);
                                                                                             Daryl Todd ^             Daryl Todd ^             Stephanie Potts (spotts@its.jnj.com); Mark Reese (mreese@its.jnj.com); Michele Rubincam
2880   JANSSENBIO‐PL_2‐0002594   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)     (mrubinc@its.jnj.com); Marcia Rupnow (mrupnow1@its.jnj.com); Ryan Saadi (rsaadi@its.jnj.com);                                                                                                                                              3/28/2013
                                                                                                                                               Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                               (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                               Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                               (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                               Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                               Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                               (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                               Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                               Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                               (rdonnel4@its.jnj.com); Tonya Dowd (tphelp5@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                               Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                               (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                               Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                               Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                               (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com);
                                                                                                                                               Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^ (rhoehn@its.jnj.com); John Hoffman
                                                                                                                                               (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa Huston (lhuston@its.jnj.com);
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com);
                                                                                                                                               Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com); Anthony Marchetta
                                                                                                                                               (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com);
                                                                                                                                               Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                               McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                               (cmcneal12@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Matt Moore (mmoore6@its.jnj.com);
                                                                                                                                               Kimberly Norton (norton.kim@synthes.com); Erin Parsons (eparson5@its.jnj.com); Amit Patel
                                                                                                                                               (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com);
                                                                                             Daryl Todd ^             Daryl Todd ^             Stephanie Potts (spotts@its.jnj.com); Mark Reese (mreese@its.jnj.com); Michele Rubincam
2881   JANSSENBIO‐PL_2‐0002595   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)     (mrubinc@its.jnj.com); Marcia Rupnow (mrupnow1@its.jnj.com); Ryan Saadi (rsaadi@its.jnj.com);                                                                                                                                              3/28/2013
                                                                                                                                               Henry Alder (halder@its.jnj.com); Sandra Babey (sbabey2@its.jnj.com); David Banko
                                                                                                                                               (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com); Robert Bazemore (rbazemor@its.jnj.com);
                                                                                                                                               Nicole Black (nblack1@its.jnj.com); Rick Blockinger (rblocki1@its.jnj.com); Mary Bradley
                                                                                                                                               (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley (kbuckley@its.jnj.com);
                                                                                                                                               Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (dclarke3@its.jnj.com); Susan Clarke (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com);
                                                                                                                                               Michael Coker (mcoker@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Delia Cook
                                                                                                                                               (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); John
                                                                                                                                               Crisan (jcrisan@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com);
                                                                                                                                               Diane Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                               (rdonnel4@its.jnj.com); Tonya Dowd (tphelp5@its.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Eric
                                                                                                                                               Edgell (eedgell@its.jnj.com); Luella Engelhart (lengelh2@its.jnj.com); Christina Farup
                                                                                                                                               (cfarup2@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                               Karen Green (kgreen4@its.jnj.com); Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com);
                                                                                                                                               Timothy Grimes (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); ken Haney
                                                                                                                                               (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com);
                                                                                                                                               Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^ (rhoehn@its.jnj.com); John Hoffman
                                                                                                                                               (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com); Lisa Huston (lhuston@its.jnj.com);
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com);
                                                                                                                                               Vanessa Lum (vlum1@its.jnj.com); Jamie March (jmarch1@its.jnj.com); Anthony Marchetta
                                                                                                                                               (amarchet@its.jnj.com); Nancy Mark (nmark3@its.jnj.com); Christine Maroulis (cmarouli@its.jnj.com);
                                                                                                                                               Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Kenneth
                                                                                                                                               McCormick (kmccorm5@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Christopher McNeal
                                                                                                                                               (cmcneal12@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Matt Moore (mmoore6@its.jnj.com);
                                                                                                                                               Kimberly Norton (norton.kim@synthes.com); Erin Parsons (eparson5@its.jnj.com); Amit Patel
                                                                                                                                               (apatel18@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com); Catherine Piech (cpiech@its.jnj.com);
                                                                                             Daryl Todd ^             Daryl Todd ^             Stephanie Potts (spotts@its.jnj.com); Mark Reese (mreese@its.jnj.com); Michele Rubincam
2882   JANSSENBIO‐PL_2‐0002596   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)     (mrubinc@its.jnj.com); Marcia Rupnow (mrupnow1@its.jnj.com); Ryan Saadi (rsaadi@its.jnj.com);                                                                                                                                              3/28/2013
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel                Adrienne Quinn (aquinn3@cntus.jnj.com); Angel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);         Shanholtzer (ashanhol@eesus.jnj.com); Barry
                                                                                                                                               Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^             Ferguson (bfergus@mccus.jnj.com); Barry Leece
                                                                                                                                               (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^                         (bleece1@its.jnj.com); Beth Johnson
                                                                                                                                               (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson                                 (bjohnso4@corus.jnj.com); Bill Glaser
                                                                                                                                               (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);        (bglaser@its.jnj.com); Bob Snowden
                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser                       (bsnowde@psmus.jnj.com); Bridget Ikner
                                                                                                                                               (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa        (bikner@lfsus.jnj.com); Carmen Sampson
                                                                                                                                               Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson                       (csampson@its.jnj.com); Carol Scholz
                                                                                                                                               (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^                                 (cscholz1@obius.jnj.com); Chris Tompson
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);                (ctompso1@its.jnj.com); Christine Cahill
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood                       (ccahill@obius.jnj.com); Christopher Zalesky
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^                            (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                               (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels                              (cpaters@its.jnj.com); Craig Powers
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes                                     (cpower2@ethus.jnj.com); David Mallegol
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell                          (dmalleg@janus.jnj.com); Donna Barnickel
                                                                                                                                               (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers                              (dbarnick@its.jnj.com); Dorothy Clarke ^
                                                                                                                                               (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn                            (dclarke3@its.jnj.com); Edward Benson
                                                                                                                                               (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);              (ebenson5@its.jnj.com); Elizabeth Chen
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^               (echen@ethus.jnj.com); Elizabeth Snyder ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^                                (esnyder2@its.jnj.com); Frank Reck
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer                            (freck@hcsus.jnj.com); Freddy Jimenez ^
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden                                  (fjimene3@its.jnj.com); Gary Goolie
                                                                                                                                               (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe                                (ggoolie@eesus.jnj.com); Gerry McShane
                                                                                                                                               (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt     (gmcshane@dpyus.jnj.com); Greg DuPont
                                                                                                                                               Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson                             (gdupont@dpyus.jnj.com); Jeff Stewart                                                                                                    Email with attachment(s) providing legal advice regarding
                                                                                                                                               (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman                                 (jstewart@its.jnj.com); Jeffrey Werch                                                                                                    preparation/review of draft internal training or internal
                                                                                                                                               (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky                         (jwerch@visus.jnj.com); Jim O'Donnell                                                                                                    guidance concerning practice management or IOI
2883   JANSSENBIO‐PL_2‐0002597   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                        (jodonnel@indus.jnj.com); Joanne Whiteman       Joy Johnson (jjohns14@its.jnj.com)   Sue Seferian ^ (sseferia@its.jnj.com)   8/12/2002   support.
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                               (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                               (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson
                                                                                                                                               (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);
                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser
                                                                                                                                               (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                               Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                               (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                               (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                               (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                               (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                               (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
                                                                                                                                               (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt
                                                                                                                                               Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                             Joseph Metro ^           Joy Johnson              (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky
2884   JANSSENBIO‐PL_2‐0002598   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (jmetro@reedsmith.com)   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                     8/12/2002
                                                                                                                                               Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                               (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                               Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                               (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                               (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson
                                                                                                                                               (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);
                                                                                                                                               Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser
                                                                                                                                               (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                               Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                               (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                               (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                               Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                               (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                               (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                               (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                               (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                               (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                               (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                               Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                               (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                               (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                               (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
                                                                                                                                               (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt
                                                                                                                                               Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                             Joseph Metro ^           Joy Johnson              (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky
2885   JANSSENBIO‐PL_2‐0002599   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (jmetro@reedsmith.com)   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                     8/12/2002




                                                                                                                                                                                                                      134
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 136 of 201

                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                        (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                        Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                        (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson
                                                                                                                                        (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);
                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser
                                                                                                                                        (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                        Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                        (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                        (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                        (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                        (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                        (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                        (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                        (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                        Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                        (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                        (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                        (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                        (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
                                                                                                                                        (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt
                                                                                                                                        Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson
                                                                                                                                        (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                                               Joy Johnson              (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky
2886   JANSSENBIO‐PL_2‐0002600   Withheld   doc   Zalesky, Christopher   Attorney‐Client   Johnson & Johnson   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                      8/12/2002
                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                        (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                        Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                        (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson
                                                                                                                                        (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);
                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser
                                                                                                                                        (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                        Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                        (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                        (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                        (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                        (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                        (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                        (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                        (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                        Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                        (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                        (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                        (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                        (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
                                                                                                                                        (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt
                                                                                                                                        Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson
                                                                                                                                        (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                                               Joy Johnson              (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky
2887   JANSSENBIO‐PL_2‐0002601   Withheld   doc   Zalesky, Christopher   Attorney‐Client   Johnson & Johnson   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                      8/12/2002
                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                        (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                        Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                        (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson
                                                                                                                                        (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);
                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser
                                                                                                                                        (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                        Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                        (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                        (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                        (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                        (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                        (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                        (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                        (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                        Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                        (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                        (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                        (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                        (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
                                                                                                                                        (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt
                                                                                                                                        Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson
                                                                                                                                        (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                                               Joy Johnson              (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky
2888   JANSSENBIO‐PL_2‐0002602   Withheld   doc   Zalesky, Christopher   Attorney‐Client   Johnson & Johnson   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                      8/12/2002
                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                        (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                        Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                        (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson
                                                                                                                                        (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);
                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser
                                                                                                                                        (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                        Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                        (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                        (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                        (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                        (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                        (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                        (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                        (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                        Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                        (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                        (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                        (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                        (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
                                                                                                                                        (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt
                                                                                                                                        Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson
                                                                                                                                        (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                                               Joy Johnson              (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky
2889   JANSSENBIO‐PL_2‐0002603   Withheld   doc   Zalesky, Christopher   Attorney‐Client   Johnson & Johnson   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                      8/12/2002
                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                        (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                        Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                        (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson
                                                                                                                                        (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);
                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser
                                                                                                                                        (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                        Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                        (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                        (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                        (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                        (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                        (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                        (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                        (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                        Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                        (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                        (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                        (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                        (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
                                                                                                                                        (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt
                                                                                                                                        Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson
                                                                                                                                        (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                                               Joy Johnson              (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky
2890   JANSSENBIO‐PL_2‐0002604   Withheld   doc   Zalesky, Christopher   Attorney‐Client   Johnson & Johnson   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                      8/12/2002
                                                                                                                                        Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                        (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                        Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                        (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson
                                                                                                                                        (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);
                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser
                                                                                                                                        (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                        Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                        (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                        (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                        Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                        (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                        (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                        (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                        (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                        (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                        (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                        (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                        Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                        (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                        (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                        (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                        (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
                                                                                                                                        (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt
                                                                                                                                        Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson
                                                                                                                                        (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                                               Joy Johnson              (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky
2891   JANSSENBIO‐PL_2‐0002605   Withheld   doc   Zalesky, Christopher   Attorney‐Client   Johnson & Johnson   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                      8/12/2002




                                                                                                                                                                                                              135
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 137 of 201

                                                                                                                                                                                                   Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                                                                                   (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                                                                                   Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                                                                   (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                                                                   (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson
                                                                                                                                                                                                   (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);
                                                                                                                                                                                                   Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser
                                                                                                                                                                                                   (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                                                                   Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                                                                   (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                   (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                                                                                   Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                                                                   (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                                                                                   (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                                                                   (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                                                                                   (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                                                                   (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                                                                   (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                                                                   (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                                                                   Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                   (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                                                                   (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                                                                                   (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                                                                                   (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
                                                                                                                                                                                                   (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt
                                                                                                                                                                                                   Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson
                                                                                                                                                                                                   (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                                                                                                          Joy Johnson              (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky
2892   JANSSENBIO‐PL_2‐0002606                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      8/12/2002
                                                                                                                                                                                                   Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                                                                                   (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                                                                                   Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                                                                   (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                                                                   (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson
                                                                                                                                                                                                   (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);
                                                                                                                                                                                                   Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser
                                                                                                                                                                                                   (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                                                                   Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                                                                   (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                   (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                                                                                   Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                                                                   (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                                                                                   (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                                                                   (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                                                                                   (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                                                                   (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                                                                   (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                                                                   (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                                                                   Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                   (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                                                                   (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                                                                                   (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                                                                                   (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
                                                                                                                                                                                                   (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt
                                                                                                                                                                                                   Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson
                                                                                                                                                                                                   (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                                                                                                          Joy Johnson              (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky
2893   JANSSENBIO‐PL_2‐0002607                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      8/12/2002
                                                                                                                                                                                                   Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                                                                                   (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                                                                                   Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                                                                   (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Matthew D'Ambrosio ^
                                                                                                                                                                                                   (mdambro2@ocdus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Barry Ferguson
                                                                                                                                                                                                   (bfergus@mccus.jnj.com); Karen Gabbett (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com);
                                                                                                                                                                                                   Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill Glaser
                                                                                                                                                                                                   (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com); Lisa
                                                                                                                                                                                                   Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Beth Johnson
                                                                                                                                                                                                   (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                   (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                                                                                   Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                                                                   (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                                                                                   (mmccull@corus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                                                                   (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                                                                                   (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                                                                   (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                                                                   (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                                                                   (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                                                                   Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                   (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                                                                   (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                                                                                   (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                                                                                   (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
                                                                                                                                                                                                   (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff Stewart (jstewart@its.jnj.com); Matt
                                                                                                                                                                                                   Stopa (mstopa@dpyus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson
                                                                                                                                                                                                   (ctompso1@its.jnj.com); Jeffrey Werch (jwerch@visus.jnj.com); Joanne Whiteman
                                                                                                                                                                          Joy Johnson              (jwhitem2@its.jnj.com); Marnie Williams (mwilli10@crdus.jnj.com); Christopher Zalesky
2894   JANSSENBIO‐PL_2‐0002608                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      8/12/2002
                                                                                                                                                 Cinda Koehler            Cinda Koehler                                                                                                                                                                                                                                                                    Draft guidance document reflecting legal advice from
2895   JANSSENBIO‐PL_2‐0002609   JANSSENBIO‐064‐00004372   JANSSENBIO‐064‐00004372   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (CKoehler@its.jnj.com)   (CKoehler@its.jnj.com)   dpicsk@aol.com; Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   3/2/2001   Freddy Jimenez ^.
                                                                                                                                                                                                                                                                                                                Barry Ferguson (bfergus@mccus.jnj.com); Carol
                                                                                                                                                                                                                                                                                                                Scholz (cscholz1@obius.jnj.com); Chris
                                                                                                                                                                                                                                                                                                                Tompson (ctompso1@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                Zalesky (czalesky@its.jnj.com); Clayton Paterson
                                                                                                                                                                                                                                                                                                                ^ (cpaters@its.jnj.com); David Mallegol
                                                                                                                                                                                                                                                                                                                (dmalleg@janus.jnj.com); Edward Benson
                                                                                                                                                                                                   Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^                (ebenson5@its.jnj.com); Elizabeth Snyder ^
                                                                                                                                                                                                   (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);          (esnyder2@its.jnj.com); Jeff Stewart
                                                                                                                                                                                                   David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood              (jstewart@its.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                   (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                             (kschroe@corus.jnj.com); Maripat Rhood                                                                                                     Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                   (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);   (mrhood@cntus.jnj.com); Michael Chester ^                                                                                                  regarding preparation/review of draft internal training or
                                                                                                                                                                                                   Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky               (mcheste1@its.jnj.com); Sue Seferian ^                                                                                                     internal guidance concerning practice management or IOI
2896   JANSSENBIO‐PL_2‐0002610                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                       (sseferia@its.jnj.com)                             Edward Benson (ebenson5@its.jnj.com)   Joy Johnson (jjohns14@its.jnj.com)   4/29/2002   support.




                                                                                                                                                                                                   Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                   (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                   David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                   (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                   (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                 Edward Benson            Edward Benson            Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2897   JANSSENBIO‐PL_2‐0002611                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      4/29/2002




                                                                                                                                                                                                   Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                   (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                   David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                   (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                   (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                 Edward Benson            Edward Benson            Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2898   JANSSENBIO‐PL_2‐0002612                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      4/29/2002




                                                                                                                                                                                                   Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                   (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                   David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                   (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                   (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                 Edward Benson            Edward Benson            Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2899   JANSSENBIO‐PL_2‐0002613                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      4/29/2002




                                                                                                                                                                                                   Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                   (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                   David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                   (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                   (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                 Tricia OBin              Edward Benson            Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2900   JANSSENBIO‐PL_2‐0002614                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tobin@ibius.jnj.com)    (ebenson5@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      4/29/2002




                                                                                                                                                                                                   Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                   (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                   David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                   (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                   (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                 Edward Benson            Edward Benson            Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2901   JANSSENBIO‐PL_2‐0002615                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      4/29/2002




                                                                                                                                                                                                   Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                   (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                   David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                   (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                   (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                 Edward Benson            Edward Benson            Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2902   JANSSENBIO‐PL_2‐0002616                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      4/29/2002




                                                                                                                                                                                                   Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                   (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                   David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                   (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                   (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                 Edward Benson            Edward Benson            Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2903   JANSSENBIO‐PL_2‐0002617                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                      4/29/2002




                                                                                                                                                                                                                                                                         136
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 138 of 201


                                                                                                                                                                                                                 Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                                 (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                                 David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                                 (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                 (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                       Edward Benson                  Edward Benson              Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2904   JANSSENBIO‐PL_2‐0002618                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (ebenson5@its.jnj.com)         (ebenson5@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                             4/29/2002




                                                                                                                                                                                                                 Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                                 (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                                 David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                                 (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                 (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                       Edward Benson                  Edward Benson              Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2905   JANSSENBIO‐PL_2‐0002619                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (ebenson5@its.jnj.com)         (ebenson5@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                             4/29/2002




                                                                                                                                                                                                                 Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                                 (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                                 David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                                 (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                 (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                       Edward Benson                  Edward Benson              Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2906   JANSSENBIO‐PL_2‐0002620                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (ebenson5@its.jnj.com)         (ebenson5@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                             4/29/2002




                                                                                                                                                                                                                 Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                                 (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                                 David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                                 (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                 (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                       Edward Benson                  Edward Benson              Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2907   JANSSENBIO‐PL_2‐0002621                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (ebenson5@its.jnj.com)         (ebenson5@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                             4/29/2002




                                                                                                                                                                                                                 Edward Benson (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                                 (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                                 David Mallegol (dmalleg@janus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                                 (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                 (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                       Tricia OBin                    Edward Benson              Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2908   JANSSENBIO‐PL_2‐0002622                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tobin@ibius.jnj.com)          (ebenson5@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                             4/29/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky           Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                      internal guidance concerning practice management or IOI
2909   JANSSENBIO‐PL_2‐0002623                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com)           Sue Seferian ^ (sseferia@its.jnj.com)                                                              4/29/2002   support.
                                                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
2910   JANSSENBIO‐PL_2‐0002624                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   Johnson & Johnson              Johnson & Johnson          (czalesky@its.jnj.com)                                                                                                                                                                                                                                             4/29/2002
                                                                                                                                                                                                                                                                                                                               Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                      Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                 Joseph Braunreuther ^ (jbraunre@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Joy Johnson          Joseph Braunreuther ^ (jbraunre@its.jnj.com);                                                                                                                    regarding preparation/review of internal training or
                                                                                                        Hamill, Kathleen; Zalesky,                                                                               (jjohns14@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);    Joseph Metro ^ (jmetro@reedsmith.com);                                                                                                                           internal guidance concerning practice management or IOI
2911   JANSSENBIO‐PL_2‐0002625                                                       Withheld   eMail   Christopher                  Attorney‐Client                                                             Joseph Metro ^ (jmetro@reedsmith.com)                                                                         Kathleen Hamill ^ (khamill@cntus.jnj.com)         Sue Seferian ^ (sseferia@its.jnj.com)        Joy Johnson (jjohns14@its.jnj.com)                     5/6/2002   support.

                                                                                                                                                                                                                 Joseph Braunreuther ^ (jbraunre@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Joy Johnson
                                                                                                        Hamill, Kathleen; Zalesky,                                                                               (jjohns14@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
2912   JANSSENBIO‐PL_2‐0002626                                                       Withheld   doc     Christopher                  Attorney‐Client   Johnson & Johnson              Johnson & Johnson          Joseph Metro ^ (jmetro@reedsmith.com)                                                                                                                                                                                                                               5/6/2002

                                                                                                                                                                                                                 Joseph Braunreuther ^ (jbraunre@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Joy Johnson
                                                                                                        Hamill, Kathleen; Zalesky,                                                                               (jjohns14@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
2913   JANSSENBIO‐PL_2‐0002627                                                       Withheld   doc     Christopher                  Attorney‐Client   Johnson & Johnson              Johnson & Johnson          Joseph Metro ^ (jmetro@reedsmith.com)                                                                                                                                                                                                                               5/6/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                guidance concerning practice management or IOI
2914   JANSSENBIO‐PL_2‐0002628                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                             Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                           Christopher Zalesky (czalesky@its.jnj.com)        Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                            2/28/2000   support.
                                                                                                                                                                                       Freddy Jimenez ^
2915   JANSSENBIO‐PL_2‐0002629                                                       Withheld   ppt     Zalesky, Christopher         Attorney‐Client   Akin Gump                       (fjimene3@its.jnj.com)    Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                2/28/2000
                                                                                                                                                                                       Freddy Jimenez ^
2916   JANSSENBIO‐PL_2‐0002630                                                       Withheld   ppt     Zalesky, Christopher         Attorney‐Client   Bill Pilat (wpilat@its.jnj.com) (fjimene3@its.jnj.com)    Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                2/28/2000
                                                                                                                                                                                       Freddy Jimenez ^
2917   JANSSENBIO‐PL_2‐0002631                                                       Withheld   ppt     Zalesky, Christopher         Attorney‐Client   Econdurs                        (fjimene3@its.jnj.com)    Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                2/28/2000
                                                                                                                                                       John O'Shaughnessy ^            Freddy Jimenez ^
2918   JANSSENBIO‐PL_2‐0002632                                                       Withheld   ppt     Zalesky, Christopher         Attorney‐Client   (joshaug@corus.jnj.com)         (fjimene3@its.jnj.com)    Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                2/28/2000
                                                                                                                                                                                       Freddy Jimenez ^
2919   JANSSENBIO‐PL_2‐0002633                                                       Withheld   ppt     Zalesky, Christopher         Attorney‐Client   Centocor, Inc.                  (fjimene3@its.jnj.com)    Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                2/28/2000
                                                                                                                                                                                                                                                                                                                               Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                      Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                               Kathleen Hamill ^ (khamill@cntus.jnj.com); Matt                                                                                                                  preparation/review of internal training or internal
                                                                                                        Hamill, Kathleen; Zalesky,                                                                               Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez           Carpenter (carpenterm@centocor.com); Sue                                                                                                                         guidance concerning practice management or IOI
2920   JANSSENBIO‐PL_2‐0002634                                                       Withheld   eMail   Christopher                  Attorney‐Client                                                             ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)   Seferian ^ (sseferia@its.jnj.com)                 Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                           11/15/2000   support.

                                                                                                        Hamill, Kathleen; Zalesky,                                                    Freddy Jimenez ^           Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez
2921   JANSSENBIO‐PL_2‐0002635                                                       Withheld   ppt     Christopher                  Attorney‐Client   Econdurs                       (fjimene3@its.jnj.com)     ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                       11/15/2000

                                                                                                        Hamill, Kathleen; Zalesky,                     Freddy Jimenez ^               Freddy Jimenez ^           Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez
2922   JANSSENBIO‐PL_2‐0002636                                                       Withheld           Christopher                  Attorney‐Client   (fjimene3@its.jnj.com)         (fjimene3@its.jnj.com)     ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                       11/15/2000
                                                                                                                                                                                                                                                                                                                                                                                                                              Christopher Zalesky (czalesky@its.jnj.com); Julie
                                                                                                                                                                                                                 Rick Anderson (andersonr@centocor.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill                                                                                                            McHugh (jmchugh2@tibus.jnj.com); Kathleen Hamill ^                Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                 ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Julie McHugh                                                                                                                             (khamill@cntus.jnj.com); Michael Ziskind                          preparation/review of internal training or internal
                                                                                                        Hamill, Kathleen; Zalesky,                                                                               (jmchugh2@tibus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind                                                                                                                        (mziskind@cntus.jnj.com); Rick Anderson                           guidance concerning practice management or IOI
2923   JANSSENBIO‐PL_2‐0002637                                                       Withheld   eMail   Christopher                  Attorney‐Client                                                             (mziskind@cntus.jnj.com)                                                                                      Matt Carpenter (carpenterm@centocor.com)          Freddy Jimenez ^ (fjimene3@its.jnj.com)      (andersonr@centocor.com)                              1/16/2001   support.

                                                                                                                                                                                                                 Rick Anderson (andersonr@centocor.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill
                                                                                                                                                                                                                 ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Julie McHugh
                                                                                                        Hamill, Kathleen; Zalesky,                                                     Freddy Jimenez ^          (jmchugh2@tibus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind
2924   JANSSENBIO‐PL_2‐0002638                                                       Withheld   doc     Christopher                  Attorney‐Client   Bill Pilat (wpilat@its.jnj.com) (fjimene3@its.jnj.com)    (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                           1/16/2001

                                                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Sue Seferian ^                                                                                                                                                                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                 (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                       Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue                                                                                                                     regarding preparation/review of customer‐facing practice
2925   JANSSENBIO‐PL_2‐0002639                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                        Seferian ^ (sseferia@its.jnj.com)                 Christopher Zalesky (czalesky@its.jnj.com)   Elizabeth Lawless (elawless@its.jnj.com)              3/29/2000   management or IOI support material.
                                                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Sue Seferian ^
                                                                                                                                                                                                                 (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
2926   JANSSENBIO‐PL_2‐0002640                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   Centocor, Inc.                 Centocor, Inc.             (czalesky@its.jnj.com)                                                                                                                                                                                                                                             3/29/2000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain reflecting counsel's request for information
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                for the purpose of providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                                                                 Craig Fraser (cfraser@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky                                                                                                                                                                             guidance concerning practice management or IOI
2927   JANSSENBIO‐PL_2‐0002641                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                        Christopher Zalesky (czalesky@its.jnj.com)        Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                            1/23/2002   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain reflecting counsel's request for information
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                for the purpose of providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                                                                 Craig Fraser (cfraser@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky                                                                                                                                                                             guidance concerning practice management or IOI
2928   JANSSENBIO‐PL_2‐0002642                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                        Christopher Zalesky (czalesky@its.jnj.com)        Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                            1/18/2002   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                                 Chuck Bell (cbell21@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky                                                                                                                                                                                  internal guidance concerning practice management or IOI
2929   JANSSENBIO‐PL_2‐0002643                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                        Deidre Meehan ^ (dmeehan5@its.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)                                                        10/18/2013   support.

                                                                                                                                                       J&J Law Department ^ ‐ Legal
                                                                                                                                                       Hold (RA‐JJCUS‐                                           Chuck Bell (cbell21@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
2930   JANSSENBIO‐PL_2‐0002644                                                       Withheld   docx    Zalesky, Christopher         Attorney‐Client   JJLawDeptLH@ITS.JNJ.com) QJoubert                         (czalesky@its.jnj.com)                                                                                                                                                                                                                                            10/18/2013
                                                                                                                                                       Christopher Zalesky          Christopher Zalesky          Chuck Bell (cbell21@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
2931   JANSSENBIO‐PL_2‐0002645                                                       Withheld   doc     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)       (czalesky@its.jnj.com)       (czalesky@its.jnj.com)                                                                                                                                                                                                                                            10/18/2013
                                                                                                                                                                                                                 Chuck Bell (cbell21@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
2932   JANSSENBIO‐PL_2‐0002646                                                       Withheld   pdf     Zalesky, Christopher         Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                                                                                                                            10/18/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); Christopher                Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                      regarding issues relating to interactions or
2933   JANSSENBIO‐PL_2‐0002647                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                             Zalesky (czalesky@its.jnj.com)                                                                                Freddy Jimenez ^ (fjimene3@its.jnj.com)           Randy McGonigal (rmcgonig@cntus.jnj.com)                                                           4/16/2004   communications between ABSs and physician offices.
                                                                                                                                                                                      Sandra Shpilberg           Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); Christopher
2934   JANSSENBIO‐PL_2‐0002648                                                       Withheld   ppt     Zalesky, Christopher         Attorney‐Client   Robert McElheny                (sshpilbe@cntus.jnj.com)   Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                     4/16/2004
                                                                                                                                                                                      Sandra Shpilberg           Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); Christopher
2935   JANSSENBIO‐PL_2‐0002649                                                       Withheld   ppt     Zalesky, Christopher         Attorney‐Client   David Mackie                   (sshpilbe@cntus.jnj.com)   Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                     4/16/2004
                                                                                                                                                       Sandra Shpilberg               Sandra Shpilberg           Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); Christopher
2936   JANSSENBIO‐PL_2‐0002650                                                       Withheld           Zalesky, Christopher         Attorney‐Client   (sshpilbe@cntus.jnj.com)       (sshpilbe@cntus.jnj.com)   Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                     4/16/2004
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain reflecting request for legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                                                                 Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky                                                                                                                                                                              guidance concerning practice management or IOI
2937   JANSSENBIO‐PL_2‐0002651                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                             (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                            Christopher Zalesky (czalesky@its.jnj.com)        Sue Seferian ^ (sseferia@its.jnj.com)                                                              4/28/2004   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                internal guidance concerning practice management or IOI
2938   JANSSENBIO‐PL_2‐0002652   JANSSENBIO‐055‐00003651   JANSSENBIO‐055‐00003653   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                             Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                             Sue Seferian ^ (sseferia@its.jnj.com)             Christopher Zalesky (czalesky@its.jnj.com)                                                         4/14/2004   support.
                                                                                                                                                       Christopher Zalesky            Christopher Zalesky
2939   JANSSENBIO‐PL_2‐0002653   JANSSENBIO‐055‐00003654   JANSSENBIO‐055‐00003657   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)         (czalesky@its.jnj.com)     Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                  4/14/2004
                                                                                                                                                                                      Christopher Zalesky
2940   JANSSENBIO‐PL_2‐0002654   JANSSENBIO‐055‐00003658   JANSSENBIO‐055‐00003663   Withheld   doc     Zalesky, Christopher         Attorney‐Client   Johnson & Johnson              (czalesky@its.jnj.com)     Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                  4/14/2004
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                                 Michael Chester ^ (mcheste1@its.jnj.com); John Reardon (jreardo@janus.jnj.com); Sue Seferian ^                John Reardon (jreardo@janus.jnj.com); Michael                                                                                                                    internal guidance concerning practice management or IOI
2941   JANSSENBIO‐PL_2‐0002655                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                             (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                            Chester ^ (mcheste1@its.jnj.com)                  Christopher Zalesky (czalesky@its.jnj.com)   Sue Seferian ^ (sseferia@its.jnj.com)                 5/26/2004   support.

                                                                                                                                                       Tamara Scoville ^              Christopher Zalesky        Michael Chester ^ (mcheste1@its.jnj.com); John Reardon (jreardo@janus.jnj.com); Sue Seferian ^
2942   JANSSENBIO‐PL_2‐0002656                                                       Withheld   DOC     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)      (czalesky@its.jnj.com)     (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                 5/26/2004

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                internal guidance concerning practice management or IOI
2943   JANSSENBIO‐PL_2‐0002657                                                       Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                             Kathy Schroeher ^ (kschroe@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                         Christopher Zalesky (czalesky@its.jnj.com)        Kathy Schroeher ^ (kschroe@corus.jnj.com)                                                          6/11/2004   support.

2944   JANSSENBIO‐PL_2‐0002658                                                       Withheld   pdf     Zalesky, Christopher         Attorney‐Client                                                             Kathy Schroeher ^ (kschroe@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                              6/11/2004




                                                                                                                                                                                                                                                                                         137
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 139 of 201

                                                                                                                                                                                                                                                                Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                Todd ^ (dtodd1@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                (dmeehan5@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^       (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto                         (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^                           (msievers@its.jnj.com); Patricia Villani ^                                                                                                                         Email with attachment(s) reflecting request for legal
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^                          (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                          advice regarding preparation/review of internal training
                                                                                                                                                      (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);   (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                         or internal guidance concerning practice management or
2945   JANSSENBIO‐PL_2‐0002659   Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                        Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                     (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                               3/23/2015   IOI support.
                                                                                                                                                                                                                                                                Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                Todd ^ (dtodd1@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^       (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto                         (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^                           (msievers@its.jnj.com); Patricia Villani ^
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^                          (pvillan1@its.jnj.com); Shauna Peterson ^
                                                                                                                                                      (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);   (speter11@its.jnj.com); Stephanie Gilson ^
2946   JANSSENBIO‐PL_2‐0002660   Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                        Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                     (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)      Terry Kerekgyarto (tkerekgy@its.jnj.com)                 3/23/2015




                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                 Deidre Meehan ^             Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
2947   JANSSENBIO‐PL_2‐0002661   Withheld   ppt     Zalesky, Christopher       Attorney‐Client   (dmeehan5@its.jnj.com)      (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                            3/23/2015




                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                 Terry Kerekgyarto           Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
2948   JANSSENBIO‐PL_2‐0002662   Withheld   docx    Zalesky, Christopher       Attorney‐Client   (tkerekgy@its.jnj.com)      (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                            3/23/2015




                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                 Daryl Todd ^                Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
2949   JANSSENBIO‐PL_2‐0002663   Withheld   doc     Zalesky, Christopher       Attorney‐Client   (dtodd1@its.jnj.com)        (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                            3/23/2015




                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                 Daryl Todd ^                Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
2950   JANSSENBIO‐PL_2‐0002664   Withheld   doc     Zalesky, Christopher       Attorney‐Client   (dtodd1@its.jnj.com)        (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                            3/23/2015




                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                 Sue Seferian ^              Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
2951   JANSSENBIO‐PL_2‐0002665   Withheld   doc     Zalesky, Christopher       Attorney‐Client   (sseferia@its.jnj.com)      (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                            3/23/2015




                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                 Stephanie Gilson ^          Deidre Meehan ^          (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
2952   JANSSENBIO‐PL_2‐0002666   Withheld   doc     Zalesky, Christopher       Attorney‐Client   (sgilson@its.jnj.com)       (dmeehan5@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                            3/23/2015




                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                                                                      (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
2953   JANSSENBIO‐PL_2‐0002667   Withheld   pdf     Zalesky, Christopher       Attorney‐Client                                                        Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                            3/23/2015
                                                                                                                                                                                                                                                                Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                Todd ^ (dtodd1@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                (dmeehan5@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Stephanie Gilson ^    (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                      (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^                           (mkenned3@its.jnj.com); Mark Sievers ^                                                                                                                             Email with attachment(s) providing information to
                                                                                                                                                      (mkenned3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^                           (msievers@its.jnj.com); Patricia Villani ^                                                                                                                         counsel for the purpose of receiving legal advice
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^                          (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                                          regarding preparation/review of draft internal training or
                                                                                                                                                      (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);   (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                         internal guidance concerning practice management or IOI
2954   JANSSENBIO‐PL_2‐0002668   Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                        Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                     (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)      Jessica Empestan ^ (jempesta@its.jnj.com)                6/26/2015   support.
                                                                                                                                                                                                                                                                Deidre Meehan ^ (dmeehan5@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                Brinckman ^ (dbrinckm@its.jnj.com); Freddy
                                                                                                                                                                                                                                                                Jimenez ^ (fjimene3@its.jnj.com); Joyce ter
                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Stephanie Gilson ^    Heerdt ^ (jtheerdt@jppbe.jnj.com); Maria
                                                                                                                                                      (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^                           Kennedy ^ (mkenned3@its.jnj.com); Mark Sievers
                                                                                                                                                      (mkenned3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^                           ^ (msievers@its.jnj.com); Patricia Villani ^
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^                          (pvillan1@its.jnj.com); Shauna Peterson ^
                                                                                                                                                      (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);   (speter11@its.jnj.com); Stephanie Gilson ^
2955   JANSSENBIO‐PL_2‐0002669   Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                        Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                     (sgilson@its.jnj.com)                             Daryl Todd ^ (dtodd1@its.jnj.com)                                                                    6/26/2015




                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                      (sgilson@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                      (mkenned3@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                      (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Mark Sievers ^
                                                                                                 Daryl Todd ^                Daryl Todd ^             (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
2956   JANSSENBIO‐PL_2‐0002670   Withheld   doc     Zalesky, Christopher       Attorney‐Client   (dtodd1@its.jnj.com)        (dtodd1@its.jnj.com)     Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                            6/26/2015
                                                                                                                                                                                                                                                                Barbara Donnelly (bdonnel@corus.jnj.com);
                                                                                                                                                                                                                                                                Brian Kelly (bkelly2@its.jnj.com); Cathy Smith ^
                                                                                                                                                                                                                                                                (csmith21@dpyus.jnj.com); Chris Tompson
                                                                                                                                                                                                                                                                (ctompso1@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                                                                                (czalesky@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                      Rick Cassino (rcassino@janus.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Barbara Donnelly          (dclarke3@its.jnj.com); Louise Mehrotra
                                                                                                                                                      (bdonnel@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Michael   (lmehrot@corus.jnj.com); Mark Piazza ^                                                                                                                             Email with attachment(s) reflecting counsel's request for
                                                                                                                                                      McCulley ^ (mmccull@corus.jnj.com); Steve McKanry (smckanry@its.jnj.com); Louise Mehrotra                 (mpiazza@dpyus.jnj.com); Michael McCulley ^                                                                                                                        information for the purpose of providing legal advice
                                                                                                                                                      (lmehrot@corus.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);    (mmccull@corus.jnj.com); Rick Cassino                                                                                                                              regarding preparation/review of draft internal training or
                                                                                                                                                      Cathy Smith ^ (csmith21@dpyus.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky         (rcassino@janus.jnj.com); Steve McKanry                                                                                                                            internal guidance concerning practice management or IOI
2957   JANSSENBIO‐PL_2‐0002671   Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                    (smckanry@its.jnj.com)                             Joy Johnson (jjohns14@its.jnj.com)         Sue Seferian ^ (sseferia@its.jnj.com)                    7/28/2004   support.



                                                                                                                                                      Rick Cassino (rcassino@janus.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Barbara Donnelly
                                                                                                                                                      (bdonnel@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Michael
                                                                                                                                                      McCulley ^ (mmccull@corus.jnj.com); Steve McKanry (smckanry@its.jnj.com); Louise Mehrotra
                                                                                                                                                      (lmehrot@corus.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
                                                                                                 Tamara Scoville ^           Joy Johnson              Cathy Smith ^ (csmith21@dpyus.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
2958   JANSSENBIO‐PL_2‐0002672   Withheld   doc     Zalesky, Christopher       Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                           7/28/2004



                                                                                                                                                      John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                      (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);                                                                                                      John Franz (jfranz@its.jnj.com); John Hoffman
                                                                                                                                                      Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind                                                                                                         (jhoffma2@its.jnj.com); John Siracusa ^                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                      (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^            Frank Girello ^ (fgirello@its.jnj.com); Kenneth                                               (jsiracusa@akingump.com); Peggy Mellody                              regarding preparation/review of customer facing
2959   JANSSENBIO‐PL_2‐0002673   Withheld   eMail   Franz, John; Hoffman, John Attorney‐Client                                                        (jsiracusa@akingump.com)                                                                                  Olsen ^ (kolsen@its.jnj.com)                       Michael Ziskind (mziskind@cntus.jnj.com)   (pmellody@its.jnj.com)                                   7/25/2014   regulatory update.


                                                                                                                                                      John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                      (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                      Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                                                      (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2960   JANSSENBIO‐PL_2‐0002674   Withheld   DOCX    Franz, John; Hoffman, John Attorney‐Client                                                        (jsiracusa@akingump.com)                                                                                                                                                                                                                                         7/25/2014


                                                                                                                                                                                                                                                                Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                                                                                                                                Christopher Zalesky (czalesky@its.jnj.com); Dina
                                                                                                                                                      Jose Barro (jbarro@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Ann Buchan                         Given (dgiven@its.jnj.com); Edward Benson
                                                                                                                                                      (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Susan Calderone (scalder7@its.jnj.com);          (ebenson5@its.jnj.com); Gina Dunsmuir
                                                                                                                                                      Susan Clarke (sclarke9@aspus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^            (gdunsmui@its.jnj.com); Jennifer De Camara ^                                                  Barbara Wolf (bwolf1@its.jnj.com); Elizabeth Forminard
                                                                                                                                                      (jdecamar@corus.jnj.com); Gina Dunsmuir (gdunsmui@its.jnj.com); Elizabeth Forminard ^                     (jdecamar@corus.jnj.com); Johanna Hayes                                                       ^ (eformina@its.jnj.com); Jeffrey Huth
                                                                                                                                                      (eformina@its.jnj.com); Walter Fox (wfox@its.jnj.com); Dina Given (dgiven@its.jnj.com); Johanna Hayes     (jhayes16@its.jnj.com); Jose Barro                                                            (jhuth@janimm.com); Kris Curry (kcurry@janus.jnj.com);
                                                                                                                                                      (jhayes16@its.jnj.com); Jeffrey Huth (jhuth@janimm.com); Paul Lawrance (plawran1@its.jnj.com); Chris      (jbarro@its.jnj.com); Liza Ovington                                                           Larry Montes (lmontes4@its.jnj.com); Michael McCulley                Email with attachment(s) providing information to
                                                                                                                                                      Matteson (cmattes1@its.jnj.com); Vickie McCormick (vmccorm2@its.jnj.com); Michael McCulley ^              (lovingt@its.jnj.com); Marlene Tandy ^                                                        ^ (mmccull@corus.jnj.com); Paul Lawrance                             counsel for the purpose of receiving legal advice
                                                                                                                                                      (mmccull@corus.jnj.com); Larry Montes (lmontes4@its.jnj.com); Liza Ovington (lovingt@its.jnj.com);        (mtandy@its.jnj.com); Susan Clarke                                                            (plawran1@its.jnj.com); Susan Calderone                              regarding preparation/review of draft internal training or
                                                                                                                                                      Marlene Tandy ^ (mtandy@its.jnj.com); Barbara Wolf (bwolf1@its.jnj.com); Christopher Zalesky              (sclarke9@aspus.jnj.com); Walter Fox                                                          (scalder7@its.jnj.com); Vickie McCormick                             internal guidance concerning practice management or IOI
2961   JANSSENBIO‐PL_2‐0002675   Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                    (wfox@its.jnj.com)                                 Ann Buchan (abuchan@its.jnj.com)           (vmccorm2@its.jnj.com)                                   11/3/2011   support.




                                                                                                                                                      Jose Barro (jbarro@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Ann Buchan
                                                                                                                                                      (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Susan Calderone (scalder7@its.jnj.com);
                                                                                                                                                      Susan Clarke (sclarke9@aspus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                      (jdecamar@corus.jnj.com); Gina Dunsmuir (gdunsmui@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                      (eformina@its.jnj.com); Walter Fox (wfox@its.jnj.com); Dina Given (dgiven@its.jnj.com); Johanna Hayes
                                                                                                                                                      (jhayes16@its.jnj.com); Jeffrey Huth (jhuth@janimm.com); Paul Lawrance (plawran1@its.jnj.com); Chris
                                                                                                                                                      Matteson (cmattes1@its.jnj.com); Vickie McCormick (vmccorm2@its.jnj.com); Michael McCulley ^
                                                                                                 Jennifer De Camara ^                                 (mmccull@corus.jnj.com); Larry Montes (lmontes4@its.jnj.com); Liza Ovington (lovingt@its.jnj.com);
                                                                                                 (jennifer_decamara@merck.c Ann Buchan                Marlene Tandy ^ (mtandy@its.jnj.com); Barbara Wolf (bwolf1@its.jnj.com); Christopher Zalesky
2962   JANSSENBIO‐PL_2‐0002676   Withheld   pptx    Zalesky, Christopher       Attorney‐Client   om)                        (abuchan@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                           11/3/2011




                                                                                                                                                                                                                           138
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 140 of 201


                                                                                                                                                           Jose Barro (jbarro@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Ann Buchan
                                                                                                                                                           (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Susan Calderone (scalder7@its.jnj.com);            Barbara Wolf (bwolf1@its.jnj.com); Chris
                                                                                                                                                           Susan Clarke (sclarke9@aspus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^              Matteson (cmattes1@its.jnj.com); Dina Given
                                                                                                                                                           (jdecamar@corus.jnj.com); Gina Dunsmuir (gdunsmui@its.jnj.com); Elizabeth Forminard ^                       (dgiven@its.jnj.com); Edward Benson
                                                                                                                                                           (eformina@its.jnj.com); Walter Fox (wfox@its.jnj.com); Dina Given (dgiven@its.jnj.com); Johanna Hayes       (ebenson5@its.jnj.com); Gina Dunsmuir
                                                                                                                                                           (jhayes16@its.jnj.com); Jeffrey Huth (jhuth@janimm.com); Paul Lawrance (plawran1@its.jnj.com); Chris        (gdunsmui@its.jnj.com); Johanna Hayes                                                          Ann Buchan (abuchan@its.jnj.com); Jennifer De Camara
                                                                                                                                                           Matteson (cmattes1@its.jnj.com); Vickie McCormick (vmccorm2@its.jnj.com); Michael McCulley ^                (jhayes16@its.jnj.com); Jose Barro                                                             ^ (jdecamar@corus.jnj.com); Marlene Tandy ^
                                                                                                                                                           (mmccull@corus.jnj.com); Larry Montes (lmontes4@its.jnj.com); Liza Ovington (lovingt@its.jnj.com);          (jbarro@its.jnj.com); Liza Ovington                                                            (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                           Marlene Tandy ^ (mtandy@its.jnj.com); Barbara Wolf (bwolf1@its.jnj.com); Christopher Zalesky                (lovingt@its.jnj.com); Susan Clarke                                                            (mmccull@corus.jnj.com); Walter Fox
2963   JANSSENBIO‐PL_2‐0002677   Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                      (sclarke9@aspus.jnj.com)                          Christopher Zalesky (czalesky@its.jnj.com)   (wfox@its.jnj.com)                                          11/3/2011




                                                                                                                                                           Jose Barro (jbarro@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Ann Buchan
                                                                                                                                                           (abuchan@its.jnj.com); Ann Buchan (abuchan@its.jnj.com); Susan Calderone (scalder7@its.jnj.com);
                                                                                                                                                           Susan Clarke (sclarke9@aspus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                           (jdecamar@corus.jnj.com); Gina Dunsmuir (gdunsmui@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                           (eformina@its.jnj.com); Walter Fox (wfox@its.jnj.com); Dina Given (dgiven@its.jnj.com); Johanna Hayes
                                                                                                                                                           (jhayes16@its.jnj.com); Jeffrey Huth (jhuth@janimm.com); Paul Lawrance (plawran1@its.jnj.com); Chris
                                                                                                                                                           Matteson (cmattes1@its.jnj.com); Vickie McCormick (vmccorm2@its.jnj.com); Michael McCulley ^
                                                                                                                                                           (mmccull@corus.jnj.com); Larry Montes (lmontes4@its.jnj.com); Liza Ovington (lovingt@its.jnj.com);
                                                                                                 Jennifer De Camara ^           Jennifer De Camara ^       Marlene Tandy ^ (mtandy@its.jnj.com); Barbara Wolf (bwolf1@its.jnj.com); Christopher Zalesky
2964   JANSSENBIO‐PL_2‐0002678   Withheld   docx    Zalesky, Christopher       Attorney‐Client   (jdecamar@corus.jnj.com)       (jdecamar@corus.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                 11/3/2011
                                                                                                                                                           Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey                      Alan Cornell (acornell@its.jnj.com); Amit Patel
                                                                                                                                                           (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);               (apatel18@its.jnj.com); Andrea Barnow
                                                                                                                                                           Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger                 (abarnow@its.jnj.com); Angela Wood
                                                                                                                                                           (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary      (awood6@its.jnj.com); Anthony Brennan
                                                                                                                                                           Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley                       (abrenna3@its.jnj.com); Anthony Marchetta
                                                                                                                                                           (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);          (amarchet@its.jnj.com); Becky Hayes
                                                                                                                                                           Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke             (rhayes5@its.jnj.com); Brian Burns ^
                                                                                                                                                           (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce      (bburns7@its.jnj.com); Brian Kelly
                                                                                                                                                           Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);       (bkelly2@its.jnj.com); Brian Visconti
                                                                                                                                                           Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry                         (bviscont@its.jnj.com); Bruce Colligen
                                                                                                                                                           (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane     (bcollig@its.jnj.com); Carol Woodard
                                                                                                                                                           Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly                        (cwoodard@its.jnj.com); Catherine Piech
                                                                                                                                                           (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob           (cpiech@its.jnj.com); Charles Schneider
                                                                                                                                                           Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart                       (cschne10@its.jnj.com); Chris Matteson
                                                                                                                                                           (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);    (cmattes1@its.jnj.com); Christina Farup
                                                                                                                                                           Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano                  (cfarup2@its.jnj.com); Christine Maroulis
                                                                                                                                                           (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);          (cmarouli@its.jnj.com); Christopher McNeal
                                                                                                                                                           Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes                     (cmcneal1@its.jnj.com); Christopher Zalesky
                                                                                                                                                           (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken        (czalesky@its.jnj.com); Danny Burrell
                                                                                                                                                           Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);          (dburrell@its.jnj.com); Darryl Stiles
                                                                                                                                                           Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich              (dstiles@its.jnj.com); Daryl Todd ^
                                                                                                                                                           (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^                              (dtodd1@its.jnj.com); David Banko                                                              Andrea Normandia (anormand@its.jnj.com); Catherine
                                                                                                                                                           (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);            (dbanko@its.jnj.com); Delia Cook                                                               Manning Adams (cmannin@its.jnj.com); David Geary ^
                                                                                                                                                           Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^                  (dcook1@its.jnj.com); Diane Deloria                                                            (dgeary@its.jnj.com); Francis Reck ^ (freck@its.jnj.com);
                                                                                                                                                           (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly   (ddeloria@its.jnj.com); Dorothy Clarke ^                                                       Hazel Doydum (hdoydum@its.jnj.com); Julie Trimakas                      Email with attachment(s) providing information to
                                                                                                                                                           (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria     (dclarke3@its.jnj.com); Eric Edgell                                                            (jtrimaka@its.jnj.com); Katherine Chapman                               counsel for the purpose of receiving legal advice
                                                                                                                                                           Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance                       (eedgell@its.jnj.com); Erin Parsons                                                            (kchapman@its.jnj.com); Pamela Haines                                   regarding preparation/review of draft internal training or
                                                                                                                                                           (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa    (eparson5@its.jnj.com); Freddy Jimenez ^                                                       (phaines8@its.jnj.com); Timothy English ^                               internal guidance concerning practice management or IOI
2965   JANSSENBIO‐PL_2‐0002679   Withheld   eMail   Zalesky, Christopher       Attorney‐Client                                                             Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                  (fjimene3@its.jnj.com); Gerry McShane             Christopher Zalesky (czalesky@its.jnj.com)   (tenglis1@its.jnj.com)                                      9/19/2012   support.
                                                                                                                                                           Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                                           (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                                           Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                                           (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary
                                                                                                                                                           Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley
                                                                                                                                                           (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);
                                                                                                                                                           Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                                           (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce
                                                                                                                                                           Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);
                                                                                                                                                           Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry
                                                                                                                                                           (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane
                                                                                                                                                           Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                           (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob
                                                                                                                                                           Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                                           (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                           Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano
                                                                                                                                                           (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);
                                                                                                                                                           Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes
                                                                                                                                                           (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken
                                                                                                                                                           Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);
                                                                                                                                                           Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich
                                                                                                                                                           (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                           (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);
                                                                                                                                                           Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                           (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly
                                                                                                                                                           (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria
                                                                                                                                                           Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance
                                                                                                 Daryl Todd ^                   Daryl Todd ^               (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa
2966   JANSSENBIO‐PL_2‐0002680   Withheld   docx    Zalesky, Christopher       Attorney‐Client   (dtodd1@its.jnj.com)           (dtodd1@its.jnj.com)       Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                                                                                                                                                                             9/19/2012
                                                                                                                                                           Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                                           (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                                           Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                                           (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary
                                                                                                                                                           Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley
                                                                                                                                                           (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);
                                                                                                                                                           Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                                           (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce
                                                                                                                                                           Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);
                                                                                                                                                           Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry
                                                                                                                                                           (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane
                                                                                                                                                           Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                           (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob
                                                                                                                                                           Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                                           (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                           Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano
                                                                                                                                                           (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);
                                                                                                                                                           Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes
                                                                                                                                                           (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken
                                                                                                                                                           Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);
                                                                                                                                                           Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich
                                                                                                                                                           (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                           (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);
                                                                                                                                                           Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                           (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly
                                                                                                                                                           (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria
                                                                                                                                                           Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance
                                                                                                 Daryl Todd ^                   Daryl Todd ^               (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa
2967   JANSSENBIO‐PL_2‐0002681   Withheld   docx    Zalesky, Christopher       Attorney‐Client   (dtodd1@its.jnj.com)           (dtodd1@its.jnj.com)       Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                                                                                                                                                                             9/19/2012



                                                                                                                                                           John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                           (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                           Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                 John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2968   JANSSENBIO‐PL_2‐0002682   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                                                                                               7/25/2014



                                                                                                                                                           John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                           (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                           Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                 John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2969   JANSSENBIO‐PL_2‐0002683   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                                                                                               7/25/2014



                                                                                                                                                           John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                           (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                           Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                 John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2970   JANSSENBIO‐PL_2‐0002684   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                                                                                               7/25/2014



                                                                                                                                                           John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                           (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                           Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                 John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2971   JANSSENBIO‐PL_2‐0002685   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                                                                                               7/25/2014



                                                                                                                                                           John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                           (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                           Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                 John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2972   JANSSENBIO‐PL_2‐0002686   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                                                                                               7/25/2014



                                                                                                                                                           John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                           (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                           Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2973   JANSSENBIO‐PL_2‐0002687   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client   Center for Program Integrity                              (jsiracusa@akingump.com)                                                                                                                                                                                                                                               7/25/2014


                                                                                                                                                           John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                           (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                           Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                 John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2974   JANSSENBIO‐PL_2‐0002688   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                                                                                               7/25/2014



                                                                                                                                                           John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                           (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                           Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                 John Siracusa ^                                           (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2975   JANSSENBIO‐PL_2‐0002689   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)                                  (jsiracusa@akingump.com)                                                                                                                                                                                                                                               7/25/2014




                                                                                                                                                                                                                                139
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 141 of 201


                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2976   JANSSENBIO‐PL_2‐0002690   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2977   JANSSENBIO‐PL_2‐0002691   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                          (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2978   JANSSENBIO‐PL_2‐0002692   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client                              (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                          (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2979   JANSSENBIO‐PL_2‐0002693   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client                              (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2980   JANSSENBIO‐PL_2‐0002694   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2981   JANSSENBIO‐PL_2‐0002695   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2982   JANSSENBIO‐PL_2‐0002696   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2983   JANSSENBIO‐PL_2‐0002697   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2984   JANSSENBIO‐PL_2‐0002698   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2985   JANSSENBIO‐PL_2‐0002699   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2986   JANSSENBIO‐PL_2‐0002700   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2987   JANSSENBIO‐PL_2‐0002701   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2988   JANSSENBIO‐PL_2‐0002702   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2989   JANSSENBIO‐PL_2‐0002703   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2990   JANSSENBIO‐PL_2‐0002704   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2991   JANSSENBIO‐PL_2‐0002705   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                          (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2992   JANSSENBIO‐PL_2‐0002706   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client                              (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2993   JANSSENBIO‐PL_2‐0002707   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014


                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2994   JANSSENBIO‐PL_2‐0002708   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2995   JANSSENBIO‐PL_2‐0002709   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2996   JANSSENBIO‐PL_2‐0002710   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2997   JANSSENBIO‐PL_2‐0002711   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                          (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2998   JANSSENBIO‐PL_2‐0002712   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   Charles Campbell           (jsiracusa@akingump.com)                                                                             7/25/2014



                                                                                                                          John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                          (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                          Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                               John Siracusa ^            (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
2999   JANSSENBIO‐PL_2‐0002713   Withheld   pdf   Franz, John; Hoffman, John Attorney‐Client   (jsiracusa@akingump.com)   (jsiracusa@akingump.com)                                                                             7/25/2014




                                                                                                                                                                                             140
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 142 of 201


                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                   John Siracusa ^                                      (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3000   JANSSENBIO‐PL_2‐0002714   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client     (jsiracusa@akingump.com)                             (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014



                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                   John Siracusa ^                                      (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3001   JANSSENBIO‐PL_2‐0002715   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client     (jsiracusa@akingump.com)                             (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014



                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                                                        (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3002   JANSSENBIO‐PL_2‐0002716   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client     Skramer                                              (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014



                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                   John Siracusa ^                                      (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3003   JANSSENBIO‐PL_2‐0002717   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client     (jsiracusa@akingump.com)                             (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014



                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                   John Siracusa ^                                      (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3004   JANSSENBIO‐PL_2‐0002718   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client     (jsiracusa@akingump.com)                             (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014



                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                   John Siracusa ^                                      (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3005   JANSSENBIO‐PL_2‐0002719   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client     (jsiracusa@akingump.com)                             (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014



                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                                                        (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3006   JANSSENBIO‐PL_2‐0002720   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client                                                          (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014



                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                                                        (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3007   JANSSENBIO‐PL_2‐0002721   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client                                                          (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014



                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                   John Siracusa ^                                      (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3008   JANSSENBIO‐PL_2‐0002722   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client     (jsiracusa@akingump.com)                             (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014



                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                   John Siracusa ^                                      (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3009   JANSSENBIO‐PL_2‐0002723   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client     (jsiracusa@akingump.com)                             (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014



                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                   John Siracusa ^                                      (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3010   JANSSENBIO‐PL_2‐0002724   Withheld   pdf     Franz, John; Hoffman, John Attorney‐Client     (jsiracusa@akingump.com)                             (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014



                                                                                                                                                        John Franz (jfranz@its.jnj.com); Frank Girello ^ (fgirello@its.jnj.com); John Hoffman
                                                                                                                                                        (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                        Kenneth Olsen ^ (kolsen@its.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Michael Ziskind
                                                                                                                                                        (mziskind@cntus.jnj.com); Christine Pierce (cpierce@consultresourcegroup.com); John Siracusa ^
3011   JANSSENBIO‐PL_2‐0002725   Withheld   rtf     Franz, John; Hoffman, John Attorney‐Client     G360user                                             (jsiracusa@akingump.com)                                                                                                                                                                                                                                            7/25/2014
                                                                                                                                                        Henry Alder (halder@its.jnj.com); Leslie Altman (laltman1@its.jnj.com); Suzanne Anderson
                                                                                                                                                        (SAnders7@HCSUS.JNJ.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Donna Barnickel
                                                                                                                                                        (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                        Edward Benson (ebenson5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Mike Cavanaugh (mcavana@cpcus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Richard Clompus
                                                                                                                                                        (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Mary Copithorne (mcopitho@its.jnj.com); Matthew D'Ambrosio ^ (mdambro@mccus.jnj.com); Luciene
                                                                                                                                                        DaRosa (ldarosa@dpyus.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Greg DuPont
                                                                                                                                                        (gdupont@dpyus.jnj.com); Sheila Faella (sfaella@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com);
                                                                                                                                                        Ibi Fryer (ifryer@its.jnj.com); Naoko Fujii (fujii@sciosinc.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                        Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); ken Haney (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Kellie
                                                                                                                                                        Hitchye (khitchye@its.jnj.com); Bridget Ikner (ikner@sciosinc.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson
                                                                                                                                                        (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Mark
                                                                                                                                                        Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein
                                                                                                                                                        (mklein@its.jnj.com); Donald Kohlhepp (dkohlhep@cpcus.jnj.com); Paul Lawrance
                                                                                                                                                        (plawran1@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis
                                                                                                                                                        Lopez (ilopez@its.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                        Michael McCulley ^ (mmccull@corus.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); David
                                                                                                                                                        McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                        (cmcmicha@its.jnj.com); Laura McNamara (LMcnama1@obius.jnj.com); Gerry McShane
                                                                                                                                                        (gmcshane@dpyus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Pamela Michaels                            Adrienne Quinn (aquinn3@cntus.jnj.com); David
                                                                                                                                                        (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes                               Zelinger (dzelinge@its.jnj.com); Ibi Fryer                                                    Christopher Zalesky (czalesky@its.jnj.com); Jim Tiede               Email chain with attachment(s) requesting legal advice
                                                                                                                                                        (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Mayra Moreano                                 (ifryer@its.jnj.com); Jim Stuart                                                              (jtiede@cntus.jnj.com); Kathleen Hamill ^                           regarding preparation/review of draft internal training or
                                                    Hamill, Kathleen; Zalesky,                                                                          (MMoreano@ompus.jnj.com); Mary Morris (mmorri15@ompus.jnj.com); Kent Mottle                                   (jstuart@cntus.jnj.com); Paul Williams ^                                                      (khamill@cntus.jnj.com); Thomas Schaible                            internal guidance concerning practice management or IOI
3012   JANSSENBIO‐PL_2‐0002726   Withheld   eMail   Christopher                  Attorney‐Client                                                        (kmottle1@obius.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Pamela Palazola                         (pwilli13@cntus.jnj.com)                           Freddy Jimenez ^ (fjimene3@its.jnj.com)    (tschaibl@its.jnj.com)                                   8/6/2004   support.
                                                                                                                                                        Henry Alder (halder@its.jnj.com); Leslie Altman (laltman1@its.jnj.com); Suzanne Anderson
                                                                                                                                                        (SAnders7@HCSUS.JNJ.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Donna Barnickel
                                                                                                                                                        (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                        Edward Benson (ebenson5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Christine Cahill
                                                                                                                                                        (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Rick
                                                                                                                                                        Cassino (rcassino@janus.jnj.com); Mike Cavanaugh (mcavana@cpcus.jnj.com); Michael Chester ^
                                                                                                                                                        (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Richard Clompus
                                                                                                                                                        (rclompus@slgus.jnj.com; Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                        Mary Copithorne (mcopitho@its.jnj.com); Matthew D'Ambrosio ^ (mdambro@mccus.jnj.com); Luciene
                                                                                                                                                        DaRosa (ldarosa@dpyus.jnj.com); Jacob Drapkin (jdrapkin@eesus.jnj.com); Greg DuPont
                                                                                                                                                        (gdupont@dpyus.jnj.com); Sheila Faella (sfaella@its.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com);
                                                                                                                                                        Ibi Fryer (ifryer@its.jnj.com); Naoko Fujii (fujii@sciosinc.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                        Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); ken Haney (jhaney2@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Kellie
                                                                                                                                                        Hitchye (khitchye@its.jnj.com); Bridget Ikner (ikner@sciosinc.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson
                                                                                                                                                        (jjohns14@its.jnj.com); Bill Kayser (bkayser1@aspus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Mark
                                                                                                                                                        Kelly (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein
                                                                                                                                                        (mklein@its.jnj.com); Donald Kohlhepp (dkohlhep@cpcus.jnj.com); Paul Lawrance
                                                                                                                                                        (plawran1@its.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); Ibis
                                                                                                                                                        Lopez (ilopez@its.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                        Michael McCulley ^ (mmccull@corus.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); David
                                                                                                                                                        McIntyre ^ (dmcinty3@its.jnj.com); Steve McKanry (smckanry@its.jnj.com); Charles McMichael
                                                                                                                                                        (cmcmicha@its.jnj.com); Laura McNamara (LMcnama1@obius.jnj.com); Gerry McShane
                                                                                                                                                        (gmcshane@dpyus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Pamela Michaels
                                                                                                                                                        (pmichae2@its.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Larry Montes
                                                                                                                                                        (lmontes2@ethus.jnj.com); Maryellen Moran (mmoran@its.jnj.com); Mayra Moreano
                                                    Hamill, Kathleen; Zalesky,                     Tamara Scoville ^           Joy Johnson              (MMoreano@ompus.jnj.com); Mary Morris (mmorri15@ompus.jnj.com); Kent Mottle
3013   JANSSENBIO‐PL_2‐0002727   Withheld   doc     Christopher                  Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (kmottle1@obius.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Pamela Palazola                                                                                                                                                                                8/6/2004
                                                                                                                                                                                                                                                                      Brian Kelly (bkelly2@its.jnj.com); Cathy Smith ^
                                                                                                                                                                                                                                                                      (csmith21@dpyus.jnj.com); Chris Tompson
                                                                                                                                                                                                                                                                      (ctompso1@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                                                                                      (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                                                                                      (cpaters@its.jnj.com); Clifford Birge ^
                                                                                                                                                                                                                                                                      (cbirge@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                                                                      (dclarke3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                      (fjimene3@its.jnj.com); Joseph Braunreuther ^
                                                                                                                                                                                                                                                                      (jbraunre@its.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                                                                      (kschroe@corus.jnj.com); Kristi Travers ^
                                                                                                                                                                                                                                                                      (ktravers@its.jnj.com); Larry Russo
                                                                                                                                                                                                                                                                      (lrusso5@corus.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                                                                                      (ljenkins@its.jnj.com); Louise Mehrotra
                                                                                                                                                                                                                                                                      (lmehrot@corus.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                                                                                      (mkenned3@its.jnj.com); Mark Piazza ^
                                                                                                                                                        Clifford Birge ^ (cbirge@its.jnj.com); Joseph Braunreuther ^ (jbraunre@its.jnj.com); Rick Cassino             (mpiazza@dpyus.jnj.com); Mark Sievers ^
                                                                                                                                                        (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^                          (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                        (dclarke3@its.jnj.com); Barbara Donnelly (bdonnel@corus.jnj.com); Michelle Fried ^                            (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                                        (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);     (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^                   (mmccull@corus.jnj.com); Michael Mercurio
                                                                                                                                                        (mkenned3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra                           (mmercur@corus.jnj.com); Michelle Fried ^
                                                                                                                                                        (lmehrot@corus.jnj.com); Michael Mercurio (mmercur@corus.jnj.com); Patrick O'Brien ^                          (mfried1@corus.jnj.com); Patrick O'Brien ^
                                                                                                                                                        (pobrien5@corus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Mark Piazza ^                             (pobrien5@corus.jnj.com); Rick Cassino
                                                                                                                                                        (mpiazza@dpyus.jnj.com); Larry Russo (lrusso5@corus.jnj.com); Kathy Schroeher ^                               (rcassino@janus.jnj.com); Stephanie Gilson ^                                                                                                                      Email chain providing information to counsel for the
                                                                                                                                                        (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);        (sgilson@its.jnj.com); Sue Seferian ^                                                                                                                             purpose of receiving legal advice regarding
                                                                                                                                                        Cathy Smith ^ (csmith21@dpyus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^             (sseferia@its.jnj.com); Taysen Van Itallie                                                                                                                        preparation/review of internal training or internal
                                                                                                                                                        (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com);          (tvanita@corus.jnj.com); Thomas Spellman ^                                                                                                                        guidance concerning practice management or IOI
3014   JANSSENBIO‐PL_2‐0002728   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        Taysen Van Itallie (tvanita@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                        (tspellma@its.jnj.com)                             Barbara Donnelly (bdonnel@corus.jnj.com)                                                           8/11/2004   support.

                                                                                                   Christopher Zalesky         Philomena McArthur       Philomena McArthur (pmcarth1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); John Murray
3015   JANSSENBIO‐PL_2‐0002729   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (pmcarth1@its.jnj.com)   (jmurray6@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                7/15/2005




                                                                                                                                                                                                                               141
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 143 of 201


                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Scott Pyott                                                                                                                                                                        Email chain providing legal advice regarding
                                                                                                                                                        (jpyott@cntus.jnj.com); Scott Pyott (jpyott@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                              preparation/review of customer‐facing practice
3016   JANSSENBIO‐PL_2‐0002730   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                    Christopher Zalesky (czalesky@its.jnj.com)         Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                 9/28/2004   management or IOI support material.
                                                                                                                                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); Brian Kelly
                                                                                                                                                                                                                                                                      (bkelly2@its.jnj.com); Cathy Smith ^
                                                                                                                                                                                                                                                                      (csmith21@dpyus.jnj.com); Chris Rau
                                                                                                                                                                                                                                                                      (crau@corus.jnj.com); Chris Tompson
                                                                                                                                                                                                                                                                      (ctompso1@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                                                                                      (czalesky@its.jnj.com); Clifford Birge ^
                                                                                                                                                                                                                                                                      (cbirge@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                                                                      (dclarke3@its.jnj.com); Frank Reck
                                                                                                                                                                                                                                                                      (freck@hcsus.jnj.com); James Bergin ^
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com); Dorothy Clarke ^               (jbergin@corus.jnj.com); Linda Conticchio
                                                                                                                                                        (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian     (Icontic@its.jnj.com); Louise Mehrotra
                                                                                                                                                        Kelly (bkelly2@its.jnj.com); Allen Kim ^ (akim@corus.jnj.com); Michael McCulley ^                             (lmehrot@corus.jnj.com); Mark Piazza ^
                                                                                                                                                        (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Patricia OByrne ^                           (mpiazza@dpyus.jnj.com); Mark Sievers ^
                                                                                                                                                        (pobyrne@corus.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Chris Rau (crau@corus.jnj.com);               (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                        Frank Reck (freck@hcsus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^                       (mtandy@its.jnj.com); Michael McCulley ^                                                                                                               Email with attachment(s) reflecting counsel's request for
                                                                                                                                                        (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Cathy   (mmccull@corus.jnj.com); Patricia OByrne ^                                                                                                             information for the purpose of providing legal advice
                                                                                                                                                        Smith ^ (csmith21@dpyus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^                   (pobyrne@corus.jnj.com); Sue Seferian ^                                                                                                                regarding preparation/review of draft internal training or
                                                                                                                                                        (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky                               (sseferia@its.jnj.com); Thomas Spellman ^                                                                                                              internal guidance concerning practice management or IOI
3017   JANSSENBIO‐PL_2‐0002731   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                        (tspellma@its.jnj.com)                             Joy Johnson (jjohns14@its.jnj.com)                                                      10/4/2004   support.




                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian
                                                                                                                                                        Kelly (bkelly2@its.jnj.com); Allen Kim ^ (akim@corus.jnj.com); Michael McCulley ^
                                                                                                                                                        (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Patricia OByrne ^
                                                                                                                                                        (pobyrne@corus.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Chris Rau (crau@corus.jnj.com);
                                                                                                                                                        Frank Reck (freck@hcsus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^
                                                                                                                                                        (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Cathy
                                                                                                                                                        Smith ^ (csmith21@dpyus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^
                                                                                                   Tamara Scoville ^           Joy Johnson              (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
3018   JANSSENBIO‐PL_2‐0002732   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                   10/4/2004
                                                                                                                                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); Brian Kelly
                                                                                                                                                                                                                                                                      (bkelly2@its.jnj.com); Cathy Smith ^
                                                                                                                                                                                                                                                                      (csmith21@dpyus.jnj.com); Chris Rau
                                                                                                                                                                                                                                                                      (crau@corus.jnj.com); Chris Tompson
                                                                                                                                                                                                                                                                      (ctompso1@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                                                                                      (czalesky@its.jnj.com); Clifford Birge ^
                                                                                                                                                                                                                                                                      (cbirge@its.jnj.com); Frank Reck
                                                                                                                                                                                                                                                                      (freck@hcsus.jnj.com); James Bergin ^
                                                                                                                                                                                                                                                                      (jbergin@corus.jnj.com); Linda Conticchio
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com); Linda Conticchio               (Icontic@its.jnj.com); Louise Mehrotra
                                                                                                                                                        (Icontic@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Allen Kim ^     (lmehrot@corus.jnj.com); Mark Piazza ^
                                                                                                                                                        (akim@corus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra                             (mpiazza@dpyus.jnj.com); Mark Sievers ^
                                                                                                                                                        (lmehrot@corus.jnj.com); Patricia OByrne ^ (pobyrne@corus.jnj.com); Mark Piazza ^                             (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                        (mpiazza@dpyus.jnj.com); Chris Rau (crau@corus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Sue                (mtandy@its.jnj.com); Michael McCulley ^                                                                                                               Email with attachment(s) reflecting counsel's request for
                                                                                                                                                        Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Cathy Smith ^                       (mmccull@corus.jnj.com); Patricia OByrne ^                                                                                                             information for the purpose of providing legal advice
                                                                                                                                                        (csmith21@dpyus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^                           (pobyrne@corus.jnj.com); Sue Seferian ^                                                                                                                regarding preparation/review of draft internal training or
                                                                                                                                                        (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky                               (sseferia@its.jnj.com); Thomas Spellman ^                                                                                                              internal guidance concerning practice management or IOI
3019   JANSSENBIO‐PL_2‐0002733   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                        (tspellma@its.jnj.com)                             Joy Johnson (jjohns14@its.jnj.com)                                                      10/4/2004   support.



                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com); Linda Conticchio
                                                                                                                                                        (Icontic@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Allen Kim ^
                                                                                                                                                        (akim@corus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra
                                                                                                                                                        (lmehrot@corus.jnj.com); Patricia OByrne ^ (pobyrne@corus.jnj.com); Mark Piazza ^
                                                                                                                                                        (mpiazza@dpyus.jnj.com); Chris Rau (crau@corus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Sue
                                                                                                                                                        Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Cathy Smith ^
                                                                                                                                                        (csmith21@dpyus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^
                                                                                                   Tamara Scoville ^           Joy Johnson              (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
3020   JANSSENBIO‐PL_2‐0002734   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                   10/4/2004
                                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                             counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Christopher Zalesky             Christopher Zalesky (czalesky@its.jnj.com);                                                                                                            internal guidance concerning practice management or IOI
3021   JANSSENBIO‐PL_2‐0002735   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com)            Michelle Walls (mwalls@its.jnj.com)                                                     8/25/2004   support.
                                                                                                                               Michelle Walls           Freddy Jimenez ^ (fjimene3@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Christopher Zalesky
3022   JANSSENBIO‐PL_2‐0002736   Withheld   xls     Zalesky, Christopher         Attorney‐Client                               (mwalls@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                   8/25/2004
                                                                                                   Tara Tyler                  Michelle Walls           Freddy Jimenez ^ (fjimene3@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Christopher Zalesky
3023   JANSSENBIO‐PL_2‐0002737   Withheld   ppt     Zalesky, Christopher         Attorney‐Client   (taralyn@comcast.net)       (mwalls@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                   8/25/2004
                                                                                                                               Michelle Walls           Freddy Jimenez ^ (fjimene3@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Christopher Zalesky
3024   JANSSENBIO‐PL_2‐0002738   Withheld           Zalesky, Christopher         Attorney‐Client                               (mwalls@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                   8/25/2004
                                                                                                                               Michelle Walls           Freddy Jimenez ^ (fjimene3@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Christopher Zalesky
3025   JANSSENBIO‐PL_2‐0002739   Withheld           Zalesky, Christopher         Attorney‐Client                               (mwalls@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                   8/25/2004
                                                                                                   Jerry Burgener              Michelle Walls           Freddy Jimenez ^ (fjimene3@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Christopher Zalesky
3026   JANSSENBIO‐PL_2‐0002740   Withheld           Zalesky, Christopher         Attorney‐Client   (jburgene@its.jnj.com)      (mwalls@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                   8/25/2004
                                                                                                   Shailesh Lad                Michelle Walls           Freddy Jimenez ^ (fjimene3@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Christopher Zalesky
3027   JANSSENBIO‐PL_2‐0002741   Withheld           Zalesky, Christopher         Attorney‐Client   (slad1@its.jnj.com)         (mwalls@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                   8/25/2004
                                                                                                                                                                                                                                                                      Brian Howell (bhowell@corus.jnj.com);
                                                                                                                                                                                                                                                                      Christopher Zalesky (czalesky@its.jnj.com); Dirk
                                                                                                                                                                                                                                                                      Gille (dgille@gcobe.jnj.com); Donna Shiroma ^
                                                                                                                                                                                                                                                                      (dshirom@scius.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                      (fjimene3@its.jnj.com); Jane Wood
                                                                                                                                                                                                                                                                      (jwood30@prdus.jnj.com); Janice Bush
                                                                                                                                                                                                                                                                      (jbush1@its.jnj.com); Karen Dougherty
                                                                                                                                                                                                                                                                      (kdoughe2@cntus.jnj.com); Karen Rivera
                                                                                                                                                                                                                                                                      (krivera2@prdus.jnj.com); Kellie Hitchye
                                                                                                                                                        Pim Bogaers (pbogaers@tibbe.jnj.com); Janice Bush (jbush1@its.jnj.com); Karen Dougherty                       (khitchye@its.jnj.com); Lee Schwartz
                                                                                                                                                        (kdoughe2@cntus.jnj.com); Naoko Fujii (fujii@sciosinc.com); Dirk Gille (dgille@gcobe.jnj.com); Kellie         (LSchwar1@PRDUS.JNJ.COM); Luc Truyen
                                                                                                                                                        Hitchye (khitchye@its.jnj.com); Brian Howell (bhowell@corus.jnj.com); Freddy Jimenez ^                        (ltruyen1@prdus.jnj.com); Michael Schoeck
                                                                                                                                                        (fjimene3@its.jnj.com); Ronald Manzi (rmanzi@prdus.jnj.com); Philomena McArthur                               (mschoeck@its.jnj.com); Naoko Fujii
                                                                                                                                                        (pmcarth1@its.jnj.com); Thomas McCafferty (tmccaffe@cntus.jnj.com); Thomas McCaffery                          (fujii@sciosinc.com); Philomena McArthur
                                                                                                                                                        (tmccaff3@cntus.jnj.com); Sue Rinne (srinne@alzus.jnj.com); Karen Rivera (krivera2@prdus.jnj.com);            (pmcarth1@its.jnj.com); Pim Bogaers                                                                                                                    Email with attachment(s) providing information to
                                                                                                                                                        Karen Rivera (krivera2@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz                   (pbogaers@tibbe.jnj.com); Ronald Manzi                                                                                                                 counsel for the purpose of receiving legal advice
                                                                                                                                                        (LSchwar1@PRDUS.JNJ.COM); Donna Shiroma ^ (dshirom@scius.jnj.com); Luc Truyen                                 (rmanzi@prdus.jnj.com); Sue Rinne                                                                                                                      regarding preparation/review of draft internal training or
                                                    Schoeck, Michael; Zalesky,                                                                          (ltruyen1@prdus.jnj.com); Jane Wood (jwood30@prdus.jnj.com); Christopher Zalesky                              (srinne@alzus.jnj.com); Thomas McCafferty                                                                                                              internal guidance concerning practice management or IOI
3028   JANSSENBIO‐PL_2‐0002742   Withheld   eMail   Christopher                  Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                        (tmccaffe@cntus.jnj.com)                           Karen Rivera (krivera2@prdus.jnj.com)       Thomas McCaffery (tmccaff3@cntus.jnj.com)   7/27/2006   support.




                                                                                                                                                        Pim Bogaers (pbogaers@tibbe.jnj.com); Janice Bush (jbush1@its.jnj.com); Karen Dougherty
                                                                                                                                                        (kdoughe2@cntus.jnj.com); Naoko Fujii (fujii@sciosinc.com); Dirk Gille (dgille@gcobe.jnj.com); Kellie
                                                                                                                                                        Hitchye (khitchye@its.jnj.com); Brian Howell (bhowell@corus.jnj.com); Freddy Jimenez ^
                                                                                                                                                        (fjimene3@its.jnj.com); Ronald Manzi (rmanzi@prdus.jnj.com); Philomena McArthur
                                                                                                                                                        (pmcarth1@its.jnj.com); Thomas McCafferty (tmccaffe@cntus.jnj.com); Thomas McCaffery
                                                                                                                                                        (tmccaff3@cntus.jnj.com); Sue Rinne (srinne@alzus.jnj.com); Karen Rivera (krivera2@prdus.jnj.com);
                                                                                                                                                        Karen Rivera (krivera2@prdus.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Lee Schwartz
                                                                                                   Lee Schwartz                                         (LSchwar1@PRDUS.JNJ.COM); Donna Shiroma ^ (dshirom@scius.jnj.com); Luc Truyen
                                                    Schoeck, Michael; Zalesky,                     (LSchwar1@PRDUS.JNJ.COM Lee Schwartz                 (ltruyen1@prdus.jnj.com); Jane Wood (jwood30@prdus.jnj.com); Christopher Zalesky
3029   JANSSENBIO‐PL_2‐0002743   Withheld   doc     Christopher                  Attorney‐Client   )                       (LSchwar1@PRDUS.JNJ.COM)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                   7/27/2006
                                                                                                                                                                                                                                                                      Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                                                                                                                                      Clayton Paterson ^ (cpaters@its.jnj.com); Desiree                                                                                                      Email with attachment(s) providing information to
                                                                                                                                                        Gail Calantoni (gcalanto@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^     Ralls‐Morrison ^ (drallsmo@its.jnj.com); Patricia                                                                                                      counsel for the purpose of receiving legal advice
                                                                                                                                                        (drallsmo@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com; Patricia Villani ^ (pvillan1@its.jnj.com);       Villani ^ (pvillan1@its.jnj.com); Raj Vaswani ^                                                                                                        regarding issues relating to lawfulness of practice
3030   JANSSENBIO‐PL_2‐0002744   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                    (rvaswani@its.jnj.com                             Gail Calantoni (gcalanto@its.jnj.com)                                                     3/9/2009   management or IOI support services.

                                                                                                                                                        Gail Calantoni (gcalanto@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                   Sue Seferian ^              Gail Calantoni           (drallsmo@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com; Patricia Villani ^ (pvillan1@its.jnj.com);
3031   JANSSENBIO‐PL_2‐0002745   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (sseferia@its.jnj.com)      (gcalanto@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                3/9/2009
                                                                                                                                                                                                                                                                                                                                                                                                                             Email with draft guidance reflecting request for and
                                                                                                                                                                                                                                                                      Christopher Zalesky (czalesky@its.jnj.com); John                                                                                                       provision of legal advice from Freddy Jimenez ^ and the
                                                                                                                                                        Philomena McArthur (pmcarth1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); John Murray             Murray (jmurray6@cntus.jnj.com); Philomena                                                                                                             Law Department ^ regarding internal guidance
3032   JANSSENBIO‐PL_2‐0002746   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (jmurray6@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                          McArthur (pmcarth1@its.jnj.com)                    Philomena McArthur (pmcarth1@its.jnj.com)                                               7/15/2005   concerning promotional activities.

                                                                                                   Christopher Zalesky         Philomena McArthur       Philomena McArthur (pmcarth1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); John Murray
3033   JANSSENBIO‐PL_2‐0002747   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (pmcarth1@its.jnj.com)   (jmurray6@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                     7/15/2005
                                                                                                                                                                                                                                                                      Allen Kim ^ (akim@corus.jnj.com); Brian Kelly
                                                                                                                                                                                                                                                                      (bkelly2@its.jnj.com); Cathy Smith ^
                                                                                                                                                                                                                                                                      (csmith21@dpyus.jnj.com); Chris Rau
                                                                                                                                                                                                                                                                      (crau@corus.jnj.com); Chris Tompson
                                                                                                                                                                                                                                                                      (ctompso1@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                                                                                      (czalesky@its.jnj.com); Clifford Birge ^
                                                                                                                                                                                                                                                                      (cbirge@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                                                                      (dclarke3@its.jnj.com); Frank Reck
                                                                                                                                                                                                                                                                      (freck@hcsus.jnj.com); James Bergin ^
                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com); Dorothy Clarke ^               (jbergin@corus.jnj.com); Linda Conticchio
                                                                                                                                                        (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian     (Icontic@its.jnj.com); Louise Mehrotra
                                                                                                                                                        Kelly (bkelly2@its.jnj.com); Allen Kim ^ (akim@corus.jnj.com); Michael McCulley ^                             (lmehrot@corus.jnj.com); Mark Piazza ^
                                                                                                                                                        (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Patricia OByrne ^                           (mpiazza@dpyus.jnj.com); Mark Sievers ^
                                                                                                                                                        (pobyrne@corus.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Chris Rau (crau@corus.jnj.com);               (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                        Frank Reck (freck@hcsus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^                       (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                        (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Cathy   (mmccull@corus.jnj.com); Patricia OByrne ^                                                                                                             Email with attachment(s) providing information to
                                                                                                                                                        Smith ^ (csmith21@dpyus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^                   (pobyrne@corus.jnj.com); Sue Seferian ^                                                                                                                counsel for the purpose of receiving legal advice
                                                                                                                                                        (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky                               (sseferia@its.jnj.com); Thomas Spellman ^                                                                                                              regarding preparation/review of customer‐facing practice
3034   JANSSENBIO‐PL_2‐0002748   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                        (tspellma@its.jnj.com)                             Sue Seferian ^ (sseferia@its.jnj.com)                                                   10/4/2004   management or IOI support material.




                                                                                                                                                        James Bergin ^ (jbergin@corus.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                        (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Brian
                                                                                                                                                        Kelly (bkelly2@its.jnj.com); Allen Kim ^ (akim@corus.jnj.com); Michael McCulley ^
                                                                                                                                                        (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Patricia OByrne ^
                                                                                                                                                        (pobyrne@corus.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Chris Rau (crau@corus.jnj.com);
                                                                                                                                                        Frank Reck (freck@hcsus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^
                                                                                                                                                        (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Cathy
                                                                                                                                                        Smith ^ (csmith21@dpyus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^
                                                                                                   Tamara Scoville ^           Joy Johnson              (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
3035   JANSSENBIO‐PL_2‐0002749   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                   10/4/2004
                                                                                                                                                                                                                                                                      Christopher Zalesky (czalesky@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                      Todd ^ (dtodd1@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                      (dmeehan5@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                      (dbrinckm@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                      (fjimene3@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                        Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^           (jtheerdt@jppbe.jnj.com); Maria Kennedy ^
                                                                                                                                                        (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto                             (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                        (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^                               (msievers@its.jnj.com); Patricia Villani ^                                                                                                             Email with attachment(s) providing legal advice regarding
                                                                                                                                                        (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);         (pvillan1@its.jnj.com); Shauna Peterson ^                                                                                                              preparation/review of internal training or internal
                                                                                                                                                        Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^              (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                             guidance concerning practice management or IOI
3036   JANSSENBIO‐PL_2‐0002750   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                        (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)   (sgilson@its.jnj.com)                             Deidre Meehan ^ (dmeehan5@its.jnj.com)       Ami Patel ^ (apate124@its.jnj.com)          9/25/2015   support.




                                                                                                                                                                                                                                142
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 144 of 201


                                                                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                      (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                                                                      Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
3037   JANSSENBIO‐PL_2‐0002751                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                  Terry Kerekgyarto (tkerekgy@its.jnj.com)        Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                9/25/2015




                                                                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                      (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                 Kristen Brill               Deidre Meehan ^          Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
3038   JANSSENBIO‐PL_2‐0002752                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)        (dmeehan5@its.jnj.com)   (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                        9/25/2015




                                                                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                      (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                                             Deidre Meehan ^          Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
3039   JANSSENBIO‐PL_2‐0002753                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (dmeehan5@its.jnj.com)   (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                        9/25/2015




                                                                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                      (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                 Daryl Todd ^                Deidre Meehan ^          Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
3040   JANSSENBIO‐PL_2‐0002754                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)        (dmeehan5@its.jnj.com)   (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                        9/25/2015




                                                                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                      (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                 Stephanie Gilson ^          Deidre Meehan ^          Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
3041   JANSSENBIO‐PL_2‐0002755                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)       (dmeehan5@its.jnj.com)   (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                        9/25/2015




                                                                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Terry Kerekgyarto
                                                                                                                                                                                                      (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                      (dmeehan5@its.jnj.com); Ami Patel ^ (apate124@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                 Jill Steinberg                                       Mark Sievers ^ (msievers@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
3042   JANSSENBIO‐PL_2‐0002756                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (jsteinb1@its.jnj.com)      Patel, Ami [JJCUS]       (dtodd1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                        9/25/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email with draft guidance reflecting request for and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     provision of legal advice from Deidre Meehan ^ and the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Law Department ^ regarding internal guidance
3043   JANSSENBIO‐PL_2‐0002757                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                     Christopher Zalesky (czalesky@its.jnj.com)      Tristan Potter‐Strait (tpotter5@its.jnj.com)                                                          7/22/2015   concerning promotional activities.
                                                                                                                                                 Christopher Zalesky         Tristan Potter‐Strait
3044   JANSSENBIO‐PL_2‐0002758                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (tpotter5@its.jnj.com)   Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                           7/22/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                      Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Scott Pyott                                                                                                                                                                                                                                         legal advice regarding preparation/review of internal
                                                                                                                                                                                                      (jpyott@cntus.jnj.com); Scott Pyott (jpyott@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                                                                                        training or internal guidance concerning practice
3045   JANSSENBIO‐PL_2‐0002759                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                   Scott Habig (shabig@its.jnj.com)                Christopher Zalesky (czalesky@its.jnj.com)                                                            9/28/2004   management or IOI support.

                                                                                                                                                                                                      Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Scott Pyott
                                                                                                                                                 John Hogan                  Scott Pyott              (jpyott@cntus.jnj.com); Scott Pyott (jpyott@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3046   JANSSENBIO‐PL_2‐0002760                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (jhogan3@its.jnj.com)       (jpyott@cntus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                         9/28/2004

                                                                                                                                                                                                      Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Scott Pyott
                                                                                                                                                 Scott Pyott                 Scott Pyott              (jpyott@cntus.jnj.com); Scott Pyott (jpyott@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3047   JANSSENBIO‐PL_2‐0002761                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (jpyott@cntus.jnj.com)      (jpyott@cntus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                         9/28/2004

                                                                                                                                                                                                      Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Scott Pyott
                                                                                                                                                 Scott Pyott                 Scott Pyott              (jpyott@cntus.jnj.com); Scott Pyott (jpyott@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3048   JANSSENBIO‐PL_2‐0002762                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (jpyott@cntus.jnj.com)      (jpyott@cntus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                         9/28/2004
                                                                                                                                                                             Michelle Walls           Freddy Jimenez ^ (fjimene3@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Christopher Zalesky
3049   JANSSENBIO‐PL_2‐0002763                                                       Withheld   xls     Zalesky, Christopher   Attorney‐Client                               (mwalls@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                             8/25/2004
                                                                                                                                                 Jerry Burgener              Michelle Walls           Freddy Jimenez ^ (fjimene3@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Christopher Zalesky
3050   JANSSENBIO‐PL_2‐0002764                                                       Withheld   xls     Zalesky, Christopher   Attorney‐Client   (jburgene@its.jnj.com)      (mwalls@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                             8/25/2004
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     legal advice from Legal Department regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     preparation/review of internal training or internal
                                                                                                                                                                                                      Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                            guidance concerning practice management or IOI
3051   JANSSENBIO‐PL_2‐0002765                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                           Michele Rubincam (mrubinc@its.jnj.com)          Christopher Zalesky (czalesky@its.jnj.com)                                                            8/31/2015   support.

                                                                                                                                                 Michele Rubincam            Christopher Zalesky      Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky
3052   JANSSENBIO‐PL_2‐0002766                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (mrubinc@its.jnj.com)       (czalesky@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                 8/31/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     internal guidance concerning practice management or IOI
3053   JANSSENBIO‐PL_2‐0002767                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                Daryl Todd ^ (dtodd1@its.jnj.com)               Christopher Zalesky (czalesky@its.jnj.com)                                                             9/3/2015   support.
                                                                                                                                                 Jill Steinberg              Christopher Zalesky
3054   JANSSENBIO‐PL_2‐0002768                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (jsteinb1@its.jnj.com)      (czalesky@its.jnj.com)   Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                       9/3/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     preparation/review of internal training or internal
                                                                                                                                                                                                      Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                                guidance concerning practice management or IOI
3055   JANSSENBIO‐PL_2‐0002769                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                                                                       Kristen Brill (kbrill@its.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)     Deidre Meehan ^ (dmeehan5@its.jnj.com)                 9/16/2015   support.
                                                                                                                                                 Kristen Brill               Christopher Zalesky      Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
3056   JANSSENBIO‐PL_2‐0002770                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)        (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                             9/16/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                      Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky                                                              Deidre Meehan ^ (dmeehan5@its.jnj.com);                                                                                                                           internal guidance concerning practice management or IOI
3057   JANSSENBIO‐PL_2‐0002771                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                           Kristen Brill (kbrill@its.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)                                                            9/16/2015   support.

                                                                                                                                                                             Christopher Zalesky      Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
3058   JANSSENBIO‐PL_2‐0002772                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                 9/16/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     preparation/review of internal training or internal
                                                                                                                                                                                                      Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Daryl Todd ^                                                                                                                                                                                                                                   guidance concerning practice management or IOI
3059   JANSSENBIO‐PL_2‐0002773                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                             Christopher Zalesky (czalesky@its.jnj.com)      Michele Rubincam (mrubinc@its.jnj.com)                                                                7/28/2015   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email with draft guidance reflecting request for and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     provision of legal advice from Deidre Meehan ^ and the
                                                                                                                                                                                                                                                                                                                    Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                                      Law Department ^ regarding internal guidance
3060   JANSSENBIO‐PL_2‐0002774                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                      Tristan Potter‐Strait (tpotter5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)      Tristan Potter‐Strait (tpotter5@its.jnj.com)                                                          7/29/2015   concerning promotional activities.
                                                                                                                                                 Christopher Zalesky         Tristan Potter‐Strait
3061   JANSSENBIO‐PL_2‐0002775                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (tpotter5@its.jnj.com)   Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                           7/29/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email with draft guidance reflecting request for and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     provision of legal advice from Deidre Meehan ^ and the
                                                                                                                                                                                                      Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher         Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                                      Law Department ^ regarding internal guidance
3062   JANSSENBIO‐PL_2‐0002776                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Zalesky (czalesky@its.jnj.com)                                                                                Tristan Potter‐Strait (tpotter5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)      Tristan Potter‐Strait (tpotter5@its.jnj.com)                                                          7/29/2015   concerning promotional activities.
                                                                                                                                                 Christopher Zalesky         Tristan Potter‐Strait    Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher
3063   JANSSENBIO‐PL_2‐0002777                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (tpotter5@its.jnj.com)   Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                     7/29/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Legal Department regarding preparation/review of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     internal training or internal guidance concerning practice
3064   JANSSENBIO‐PL_2‐0002778   JANSSENBIO‐056‐00003593   JANSSENBIO‐056‐00003593   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                       Christopher Zalesky (czalesky@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com)                                                             7/7/2015   management or IOI support.
                                                                                                                                                                             Christopher Zalesky
3065   JANSSENBIO‐PL_2‐0002779   JANSSENBIO‐056‐00003594   JANSSENBIO‐056‐00003594   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                              7/7/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Chris Tompson (ctompso1@its.jnj.com); Edward Benson
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  (ebenson5@its.jnj.com); Kisha Sims
                                                                                                                                                                                                      Edward Benson (ebenson5@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Michael McCulley ^                                                                                                                                                                (ksims1@corus.jnj.com); Marc Farley                                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                      (mmccull@corus.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Sue Seferian ^                                                                                                                                                                          (mfarley3@its.jnj.com); Michael McCulley ^                         regarding preparation/review of internal training or
                                                                                                                                                                                                      (sseferia@its.jnj.com); Kisha Sims (ksims1@corus.jnj.com); Chris Tompson (ctompso1@its.jnj.com);                                                                                                                                                            (mmccull@corus.jnj.com); Sue Seferian ^                            internal guidance concerning practice management or IOI
3066   JANSSENBIO‐PL_2‐0002780                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                   Darlene Mitchell (dmitche6@crdus.jnj.com)       Christopher Zalesky (czalesky@its.jnj.com)     (sseferia@its.jnj.com)                                11/30/2004   support.

                                                                                                                                                                                                      Edward Benson (ebenson5@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                      (mmccull@corus.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Sue Seferian ^
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky      (sseferia@its.jnj.com); Kisha Sims (ksims1@corus.jnj.com); Chris Tompson (ctompso1@its.jnj.com);
3067   JANSSENBIO‐PL_2‐0002781                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                        11/30/2004

                                                                                                                                                                                                      Edward Benson (ebenson5@its.jnj.com); Marc Farley (mfarley3@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                      (mmccull@corus.jnj.com); Darlene Mitchell (dmitche6@crdus.jnj.com); Sue Seferian ^
                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      (sseferia@its.jnj.com); Kisha Sims (ksims1@corus.jnj.com); Chris Tompson (ctompso1@its.jnj.com);
3068   JANSSENBIO‐PL_2‐0002782                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                        11/30/2004
                                                                                                                                                                                                                                                                                                                                                                   Allen Kim ^ (akim@corus.jnj.com); Brian Kelly
                                                                                                                                                                                                                                                                                                                                                                   (bkelly2@its.jnj.com); Cathy Smith ^
                                                                                                                                                                                                                                                                                                                                                                   (csmith21@dpyus.jnj.com); Chris Rau
                                                                                                                                                                                                                                                                                                                                                                   (crau@corus.jnj.com); Chris Tompson
                                                                                                                                                                                                                                                                                                                                                                   (ctompso1@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                                                                                                                                                                                   (czalesky@its.jnj.com); Clifford Birge ^
                                                                                                                                                                                                                                                                                                                                                                   (cbirge@its.jnj.com); Dirk Van
                                                                                                                                                                                                                                                                                                                                                                   (dvbroekh@jppbe.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                                                                                                                                                                   (dclarke3@its.jnj.com); Frank Reck
                                                                                                                                                                                                                                                                                                                                                                   (freck@hcsus.jnj.com); James Bergin ^
                                                                                                                                                                                                                                                                                                                                                                   (jbergin@corus.jnj.com); Linda Conticchio
                                                                                                                                                                                                      James Bergin ^ (jbergin@corus.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com); Dorothy Clarke ^                                                              (Icontic@its.jnj.com); Louise Mehrotra
                                                                                                                                                                                                      (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Rob Fletcher ^ (rfletcher@its.jnj.com); Joy                                                  (lmehrot@corus.jnj.com); Mark Piazza ^
                                                                                                                                                                                                      Johnson (jjohns14@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Allen Kim ^ (akim@corus.jnj.com);                                                         (mpiazza@dpyus.jnj.com); Mark Sievers ^
                                                                                                                                                                                                      Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Patricia OByrne                                                         (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                                                      ^ (pobyrne@corus.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Chris Rau (crau@corus.jnj.com);                                                            (mtandy@its.jnj.com); Michael McCulley ^                                                                                                                          Email with attachment(s) providing information to
                                                                                                                                                                                                      Frank Reck (freck@hcsus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^                                                                      (mmccull@corus.jnj.com); Patricia OByrne ^                                                                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                                                                                      (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Thomas Spellman ^                                                                            (pobyrne@corus.jnj.com); Rob Fletcher ^                                                                                                                           regarding preparation/review of draft internal training or
                                                                                                                                                                                                      (tspellma@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com);                                                          (rfletcher@its.jnj.com); Thomas Spellman ^                                                                                                                        internal guidance concerning practice management or IOI
3069   JANSSENBIO‐PL_2‐0002783                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Dirk Van (dvbroekh@jppbe.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                (tspellma@its.jnj.com)                          Joy Johnson (jjohns14@its.jnj.com)             Sue Seferian ^ (sseferia@its.jnj.com)                  10/4/2004   support.




                                                                                                                                                                                                                                                                              143
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 145 of 201


                                                                                                                                                                                                              James Bergin ^ (jbergin@corus.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                              (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Rob Fletcher ^ (rfletcher@its.jnj.com); Joy
                                                                                                                                                                                                              Johnson (jjohns14@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Allen Kim ^ (akim@corus.jnj.com);
                                                                                                                                                                                                              Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Patricia OByrne
                                                                                                                                                                                                              ^ (pobyrne@corus.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Chris Rau (crau@corus.jnj.com);
                                                                                                                                                                                                              Frank Reck (freck@hcsus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                              (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Thomas Spellman ^
                                                                                                                                                 Joy Johnson                 Joy Johnson                      (tspellma@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com);
3070   JANSSENBIO‐PL_2‐0002784                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (jjohns14@its.jnj.com)      (jjohns14@its.jnj.com)           Dirk Van (dvbroekh@jppbe.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 10/4/2004




                                                                                                                                                                                                              James Bergin ^ (jbergin@corus.jnj.com); Clifford Birge ^ (cbirge@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                              (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Rob Fletcher ^ (rfletcher@its.jnj.com); Joy
                                                                                                                                                                                                              Johnson (jjohns14@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Allen Kim ^ (akim@corus.jnj.com);
                                                                                                                                                                                                              Michael McCulley ^ (mmccull@corus.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Patricia OByrne
                                                                                                                                                                                                              ^ (pobyrne@corus.jnj.com); Mark Piazza ^ (mpiazza@dpyus.jnj.com); Chris Rau (crau@corus.jnj.com);
                                                                                                                                                                                                              Frank Reck (freck@hcsus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                              (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com); Thomas Spellman ^
                                                                                                                                                 Tamara Scoville ^           Joy Johnson                      (tspellma@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com);
3071   JANSSENBIO‐PL_2‐0002785                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)           Dirk Van (dvbroekh@jppbe.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 10/4/2004
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                              Deidre Meehan ^ (dmeehan5@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                    internal guidance concerning practice management or IOI
3072   JANSSENBIO‐PL_2‐0002786                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                          Patricia Villani ^ (pvillan1@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com)                                                          4/7/2015   support.

                                                                                                                                                 Christopher Zalesky         Terry Kerekgyarto                Deidre Meehan ^ (dmeehan5@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3073   JANSSENBIO‐PL_2‐0002787                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (tkerekgy@its.jnj.com)           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                             4/7/2015

                                                                                                                                                                             Christopher Zalesky              Deidre Meehan ^ (dmeehan5@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3074   JANSSENBIO‐PL_2‐0002788                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                             4/7/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Legal Department regarding preparation/review of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        internal training or internal guidance concerning practice
3075   JANSSENBIO‐PL_2‐0002789   JANSSENBIO‐055‐00003500   JANSSENBIO‐055‐00003500   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                      Christopher Zalesky (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                         6/28/2015   management or IOI support.
                                                                                                                                                                             Christopher Zalesky
3076   JANSSENBIO‐PL_2‐0002790   JANSSENBIO‐055‐00003501   JANSSENBIO‐055‐00003501   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                        6/28/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) reflecting counsel's
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        request for information for the purpose of providing
                                                                                                                                                                                                              Deborah Dalziel ^ (ddalziel@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^                                                                                                                                                                                                                       legal advice regarding preparation/review of internal
                                                                                                                                                                                                              (speter11@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);                                                                                                                                                      Daryl Todd ^ (dtodd1@its.jnj.com); Deidre Meehan ^                training or internal guidance concerning practice
3077   JANSSENBIO‐PL_2‐0002791                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                  Michele Rubincam (mrubinc@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)   (dmeehan5@its.jnj.com)                                 6/8/2015   management or IOI support.

                                                                                                                                                                                                              Deborah Dalziel ^ (ddalziel@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                 Daryl Todd ^                Daryl Todd ^                     (speter11@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
3078   JANSSENBIO‐PL_2‐0002792                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)        (dtodd1@its.jnj.com)             Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                     6/8/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with draft guidance attachments reflecting request
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        for and provision of legal advice from Deidre Meehan
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        and the Law Department regarding internal guidance
3079   JANSSENBIO‐PL_2‐0002793                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                    Tristan Potter‐Strait (tpotter5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                          6/3/2015   concerning promotional activities.
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3080   JANSSENBIO‐PL_2‐0002794                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with draft guidance attachments reflecting request
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        for and provision of legal advice from Deidre Meehan ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        and the Law Department ^ regarding internal guidance
3081   JANSSENBIO‐PL_2‐0002795                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                    Tristan Potter‐Strait (tpotter5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                          6/3/2015   concerning promotional activities.
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3082   JANSSENBIO‐PL_2‐0002796                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3083   JANSSENBIO‐PL_2‐0002797                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015
                                                                                                                                                 Rika Ville                  Christopher Zalesky
3084   JANSSENBIO‐PL_2‐0002798                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)      (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015
                                                                                                                                                                             Christopher Zalesky
3085   JANSSENBIO‐PL_2‐0002799                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3086   JANSSENBIO‐PL_2‐0002800                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3087   JANSSENBIO‐PL_2‐0002801                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        from Legal Department regarding preparation/review of
                                                                                                                                                                                                              Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                       internal training or internal guidance concerning practice
3088   JANSSENBIO‐PL_2‐0002802                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                          Michele Rubincam (mrubinc@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                                         6/15/2015   management or IOI support.

                                                                                                                                                 Christopher Zalesky         Terry Kerekgyarto                Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky
3089   JANSSENBIO‐PL_2‐0002803                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (tkerekgy@its.jnj.com)           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                            6/15/2015
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3090   JANSSENBIO‐PL_2‐0002804                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015
                                                                                                                                                 Rika Ville                  Christopher Zalesky
3091   JANSSENBIO‐PL_2‐0002805                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)      (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015
                                                                                                                                                                             Christopher Zalesky
3092   JANSSENBIO‐PL_2‐0002806                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3093   JANSSENBIO‐PL_2‐0002807                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3094   JANSSENBIO‐PL_2‐0002808                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       6/3/2015


                                                                                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                                                                              (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier                                                                                                                                                                                                                  Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                              (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);                                                                                                                                                                                                                      legal advice from Legal Department regarding
                                                                                                                                                                                                              Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam                                                                                                                                                                                                                           preparation/review of internal training or internal
                                                                                                                                                                                                              (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                                                                                   guidance concerning practice management or IOI
3095   JANSSENBIO‐PL_2‐0002809                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                  Christopher Zalesky (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                        10/17/2015   support.


                                                                                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                                                                              (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                                                                              (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                                                                              Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                                                                                                             Christopher Zalesky              (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3096   JANSSENBIO‐PL_2‐0002810                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                   10/17/2015



                                                                                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                                                                              (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                                                                              (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                                                                              Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                                                                                 Rika Ville                  Christopher Zalesky              (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3097   JANSSENBIO‐PL_2‐0002811                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)      (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                   10/17/2015



                                                                                                                                                                                                                Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                                                                                (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                                                                                (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                                                                                Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                                                                                                                                                (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3098   JANSSENBIO‐PL_2‐0002812                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           Kristen Brill (kbrill@its.jnj.com) Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                 10/17/2015



                                                                                                                                                                                                                Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                                                                                (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                                                                                (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                                                                                Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                                                                                 Kristen Brill                                                  (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3099   JANSSENBIO‐PL_2‐0002813                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)        Kristen Brill (kbrill@its.jnj.com) Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                 10/17/2015

                                                                                                                                                                                                             John Franz (jfranz@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);                                                                                                                                                                                                                    Memorandum reflecting legal advice from Legal
                                                                                                                                                 Catherine Kaucher                                           Timothy Grimes (tgrimes@its.jnj.com); Karen Kung (kkung@its.jnj.com); Amy Rodriguez                                                                                                                                                                                                                                        Department regarding preparation/review of customer‐
3100                             JANSSENBIO‐064‐00000489   JANSSENBIO‐064‐00000489   Redacted   docx    Franz, John            Attorney‐Client   (ckauche1@its.jnj.com)      John Franz (jfranz@its.jnj.com) (arodri32@its.jnj.com); Fizza Suri (fsuri@its.jnj.com)                                                                                                                                                                                                                                                         8/28/2013   facing practice management or IOI support material.

                                                                                                                                                 Tristan Potter‐Strait       Tristan Potter‐Strait            Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky
3101   JANSSENBIO‐PL_2‐0002814                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (tpotter5@its.jnj.com)      (tpotter5@its.jnj.com)           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                            6/15/2015

                                                                                                                                                 Christopher Zalesky         Christopher Zalesky              Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky
3102   JANSSENBIO‐PL_2‐0002815                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                            6/15/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Legal Department regarding preparation/review of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        internal training or internal guidance concerning practice
3103   JANSSENBIO‐PL_2‐0002816   JANSSENBIO‐055‐00003861   JANSSENBIO‐055‐00003861   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                      Christopher Zalesky (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                          7/7/2015   management or IOI support.
                                                                                                                                                                             Christopher Zalesky
3104   JANSSENBIO‐PL_2‐0002817   JANSSENBIO‐055‐00003862   JANSSENBIO‐055‐00003862   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                         7/7/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with draft guidance reflecting request for and
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        provision of legal advice from Deidre Meehan ^ and the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Law Department ^ regarding internal guidance
3105   JANSSENBIO‐PL_2‐0002818                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                Christopher Zalesky (czalesky@its.jnj.com); Tristan Potter‐Strait (tpotter5@its.jnj.com)                                                                    Tristan Potter‐Strait (tpotter5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                          7/9/2015   concerning promotional activities.
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3106   JANSSENBIO‐PL_2‐0002819                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com); Tristan Potter‐Strait (tpotter5@its.jnj.com)                                                                                                                                                                                                                       7/9/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with draft guidance attachments reflecting request
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        for and provision of legal advice from Deidre Meehan ^
                                                                                                                                                                                                                                                                                                                            Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                                 and the Law Department ^ regarding internal guidance
3107   JANSSENBIO‐PL_2‐0002820                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                 John Crisan (jcrisan@its.jnj.com)             John Crisan (jcrisan@its.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)                                                        12/17/2015   concerning promotional activities.
                                                                                                                                                 Kristen Brill
3108   JANSSENBIO‐PL_2‐0002821                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)        Kristen Brill (kbrill@its.jnj.com) John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                              12/17/2015
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3109   JANSSENBIO‐PL_2‐0002822                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)             John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                              12/17/2015
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3110   JANSSENBIO‐PL_2‐0002823                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)             John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                              12/17/2015

                                                                                                                                                                                                              Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham                                                                                                                                                                                                                                           Email with draft guidance attachments reflecting request
                                                                                                                                                                                                              (mgraham1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com);                                                                                                                                                                                                                         for and provision of legal advice from Deidre Meehan ^
                                                                                                                                                                                                              Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                   and the Law Department ^ regarding internal guidance
3111   JANSSENBIO‐PL_2‐0002824                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                (czalesky@its.jnj.com)                                                                                                                                      Michele Rubincam (mrubinc@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                                         11/7/2015   concerning promotional activities.




                                                                                                                                                                                                                                                                                       144
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 146 of 201

                                                                                                                                                                                                                                                               Avis Goode (agoode@its.jnj.com); Chris
                                                                                                                                                       Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham                         Matteson (cmattes1@its.jnj.com);                                                                                                               Avis Goode (agoode@its.jnj.com); Karen Novak
                                                                                                                                                       (mgraham1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com);       Christopher Zalesky (czalesky@its.jnj.com);                                                                                                    (knovak5@its.jnj.com); Mary Graham
                                                                                                                                                       Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky Karen Novak (knovak5@its.jnj.com); Mary                                                                                                        (mgraham1@its.jnj.com); Sujata Dayal
3112   JANSSENBIO‐PL_2‐0002825   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                  Graham (mgraham1@its.jnj.com); Sujata              Christopher Zalesky (czalesky@its.jnj.com)     Chris Matteson (cmattes1@its.jnj.com)        (sdayal@its.jnj.com)                            11/7/2015

                                                                                                                                                       Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham                                                                                                                                                                        Avis Goode (agoode@its.jnj.com); Karen Novak
                                                                                                                                                       (mgraham1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com);                                                                                                                                                      (knovak5@its.jnj.com); Mary Graham
                                                                                                                                                       Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                (mgraham1@its.jnj.com); Sujata Dayal
3113   JANSSENBIO‐PL_2‐0002826   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Christopher Zalesky (czalesky@its.jnj.com)     Chris Matteson (cmattes1@its.jnj.com)        (sdayal@its.jnj.com)                            11/7/2015

                                                                                                                                                       Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham
                                                                                                                                                       (mgraham1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com);
                                                                                             Kristen Brill            Chris Matteson                   Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3114   JANSSENBIO‐PL_2‐0002827   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)     (cmattes1@its.jnj.com)           (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                 11/7/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) reflecting counsel's
                                                                                                                                                       Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^                                                                                                                                                                                                                       request for information for the purpose of providing
                                                                                                                                                       (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^                                                                                                                                                                                                                                   legal advice from Legal Department regarding
                                                                                                                                                       (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);                                                                                                                                                                                                             preparation/review of internal training or internal
                                                                                                                                                       Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                 guidance concerning practice management or IOI
3115   JANSSENBIO‐PL_2‐0002828   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Christopher Zalesky (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                  11/19/2015   support.

                                                                                                                                                       Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                       (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                                                                                                                       (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
                                                                                             Daryl Todd ^             Daryl Todd ^                     Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3116   JANSSENBIO‐PL_2‐0002829   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                11/19/2015

                                                                                                                                                       Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                       (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                                                                                                                       (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
                                                                                             Shauna Peterson ^        Daryl Todd ^                     Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3117   JANSSENBIO‐PL_2‐0002830   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (speter11@its.jnj.com)   (dtodd1@its.jnj.com)             (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                11/19/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                       Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky                                                            Deidre Meehan ^ (dmeehan5@its.jnj.com);                                                                                                                 internal guidance concerning practice management or IOI
3118   JANSSENBIO‐PL_2‐0002831   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                         Kristen Brill (kbrill@its.jnj.com)             Christopher Zalesky (czalesky@its.jnj.com)                                                  11/22/2015   support.

                                                                                                                      Christopher Zalesky              Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
3119   JANSSENBIO‐PL_2‐0002832   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (czalesky@its.jnj.com)           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                    11/22/2015

                                                                                             Kristen Brill            Christopher Zalesky              Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
3120   JANSSENBIO‐PL_2‐0002833   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)     (czalesky@its.jnj.com)           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                    11/22/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email with draft guidance attachments reflecting request
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          for and provision of legal advice from Deidre Meehan ^
                                                                                                                                                                                                                                                                    Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                           and the Law Department ^ regarding internal guidance
3121   JANSSENBIO‐PL_2‐0002834   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                John Crisan (jcrisan@its.jnj.com)             John Crisan (jcrisan@its.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)                                                  12/17/2015   concerning promotional activities.
                                                                                             Kristen Brill
3122   JANSSENBIO‐PL_2‐0002835   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)     Kristen Brill (kbrill@its.jnj.com) John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       12/17/2015
                                                                                             Christopher Zalesky      Christopher Zalesky
3123   JANSSENBIO‐PL_2‐0002836   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)             John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       12/17/2015
                                                                                             Christopher Zalesky      Christopher Zalesky
3124   JANSSENBIO‐PL_2‐0002837   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)             John Crisan (jcrisan@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                       12/17/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          preparation/review of internal training or internal
                                                                                                                                                       Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                    guidance concerning practice management or IOI
3125   JANSSENBIO‐PL_2‐0002838   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Kristen Brill (kbrill@its.jnj.com)             Christopher Zalesky (czalesky@its.jnj.com)   Deidre Meehan ^ (dmeehan5@its.jnj.com)          9/16/2015   support.
                                                                                             Kristen Brill            Christopher Zalesky              Kristen Brill (kbrill@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
3126   JANSSENBIO‐PL_2‐0002839   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)     (czalesky@its.jnj.com)           (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                 9/16/2015


                                                                                                                                                       Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                       (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier                                                                                                                                                                                                           Email chain with attachment(s) reflecting request for
                                                                                                                                                       (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);                                                                                                                                                                                                               legal advice from Legal Department regarding
                                                                                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                       (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                                                                            guidance concerning practice management or IOI
3127   JANSSENBIO‐PL_2‐0002840   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                 Christopher Zalesky (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                  10/17/2015   support.



                                                                                                                                                       Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                       (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                       (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                                                      Christopher Zalesky              (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3128   JANSSENBIO‐PL_2‐0002841   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                            10/17/2015



                                                                                                                                                       Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                       (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                       (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                             Rika Ville               Christopher Zalesky              (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3129   JANSSENBIO‐PL_2‐0002842   Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (czalesky@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                            10/17/2015



                                                                                                                                                         Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                         (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                         (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                         Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                                                                                         (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3130   JANSSENBIO‐PL_2‐0002843   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        Kristen Brill (kbrill@its.jnj.com) Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                          10/17/2015



                                                                                                                                                         Edward Benson (ebenson5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Kristen Brill
                                                                                                                                                         (kbrill@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Stacey Lallier
                                                                                                                                                         (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com);
                                                                                                                                                         Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Michele Rubincam
                                                                                             Kristen Brill                                               (mrubinc@its.jnj.com); Ibis Stancic (istancic@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3131   JANSSENBIO‐PL_2‐0002844   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)     Kristen Brill (kbrill@its.jnj.com) Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                          10/17/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email with draft guidance reflecting legal advice from Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Department ^ regarding internal guidance concerning
3132   JANSSENBIO‐PL_2‐0002845   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                   Tristan Potter‐Strait (tpotter5@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                   7/23/2015   promotional activities.
                                                                                             Rika Ville               Christopher Zalesky
3133   JANSSENBIO‐PL_2‐0002846   Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                               7/23/2015
                                                                                             Tristan Potter‐Strait    Christopher Zalesky
3134   JANSSENBIO‐PL_2‐0002847   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (tpotter5@its.jnj.com)   (czalesky@its.jnj.com)           Tristan Potter‐Strait (tpotter5@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                               7/23/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain reflecting legal advice from Legal Department
                                                                                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Daryl Todd ^                                                                                                                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                       (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                              internal guidance concerning practice management or IOI
3135   JANSSENBIO‐PL_2‐0002848   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Michele Rubincam (mrubinc@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                                   7/27/2015   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain providing information to counsel for the
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          purpose of receiving legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          preparation/review of internal training or internal
                                                                                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                guidance concerning practice management or IOI
3136   JANSSENBIO‐PL_2‐0002849   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                         Deidre Meehan ^ (dmeehan5@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                                    8/5/2015   support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) reflecting legal advice
                                                                                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^                                                                                                                                                                                                                     from Legal Department regarding preparation/review of
                                                                                                                                                       (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                              internal training or internal guidance concerning practice
3137   JANSSENBIO‐PL_2‐0002850   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Christopher Zalesky (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                    8/5/2015   management or IOI support.
                                                                                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^
                                                                                                                                                       (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3138   JANSSENBIO‐PL_2‐0002851   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Deidre Meehan ^ (dmeehan5@its.jnj.com)         Daryl Todd ^ (dtodd1@its.jnj.com)            Shauna Peterson ^ (speter11@its.jnj.com)         8/5/2015
                                                                                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^
                                                                                             Daryl Todd ^             Daryl Todd ^                     (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3139   JANSSENBIO‐PL_2‐0002852   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                  8/5/2015
                                                                                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^
                                                                                             Daryl Todd ^             Daryl Todd ^                     (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3140   JANSSENBIO‐PL_2‐0002853   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                  8/5/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email with reflecting request for and provision of legal
                                                                                                                                                                                                                                                                    Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                           advice from Deidre Meehan ^ and the Law Department ^
                                                                                                                                                                                                                                                                    Deidre Meehan ^ (dmeehan5@its.jnj.com);                                                                                                                                                               regarding internal guidance concerning promotional
3141   JANSSENBIO‐PL_2‐0002854   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                                                                                                                                          Michele Rubincam (mrubinc@its.jnj.com)      Michele Rubincam (mrubinc@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                   8/11/2015   activities.

                                                                                                                                                       Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham                                                                                                                                                                                                                                    Email with draft guidance attachments reflecting request
                                                                                                                                                       (mgraham1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com);                                                                                                                                                                                                                  for and provision of legal advice from Deidre Meehan ^
                                                                                                                                                       Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                            and the Law Department ^ regarding internal guidance
3142   JANSSENBIO‐PL_2‐0002855   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Michele Rubincam (mrubinc@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                                   11/7/2015   concerning promotional activities.
                                                                                                                                                                                                                                                               Avis Goode (agoode@its.jnj.com); Chris
                                                                                                                                                       Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham                         Matteson (cmattes1@its.jnj.com);                                                                                                               Avis Goode (agoode@its.jnj.com); Karen Novak
                                                                                                                                                       (mgraham1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com);       Christopher Zalesky (czalesky@its.jnj.com);                                                                                                    (knovak5@its.jnj.com); Mary Graham
                                                                                                                                                       Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky Karen Novak (knovak5@its.jnj.com); Mary                                                                                                        (mgraham1@its.jnj.com); Sujata Dayal
3143   JANSSENBIO‐PL_2‐0002856   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                  Graham (mgraham1@its.jnj.com); Sujata              Christopher Zalesky (czalesky@its.jnj.com)     Chris Matteson (cmattes1@its.jnj.com)        (sdayal@its.jnj.com)                            11/7/2015

                                                                                                                                                       Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham                                                                                                                                                                        Avis Goode (agoode@its.jnj.com); Karen Novak
                                                                                                                                                       (mgraham1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com);                                                                                                                                                      (knovak5@its.jnj.com); Mary Graham
                                                                                                                                                       Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                (mgraham1@its.jnj.com); Sujata Dayal
3144   JANSSENBIO‐PL_2‐0002857   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Christopher Zalesky (czalesky@its.jnj.com)     Chris Matteson (cmattes1@its.jnj.com)        (sdayal@its.jnj.com)                            11/7/2015

                                                                                                                                                       Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham
                                                                                                                                                       (mgraham1@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com);
                                                                                             Kristen Brill            Chris Matteson                   Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3145   JANSSENBIO‐PL_2‐0002858   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (kbrill@its.jnj.com)     (cmattes1@its.jnj.com)           (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                 11/7/2015

                                                                                                                                                       Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                       (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^                                                                                                                                                                                                                                   Email chain with attachment(s) reflecting legal advice
                                                                                                                                                       (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);                                                                                                                                                                                                             from Legal Department regarding preparation/review of
                                                                                                                                                       Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                 internal training or internal guidance concerning practice
3146   JANSSENBIO‐PL_2‐0002859   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                             (czalesky@its.jnj.com)                                                                                                                                     Christopher Zalesky (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                  11/19/2015   management or IOI support.

                                                                                                                                                       Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                       (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                                                                                                                       (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
                                                                                             Daryl Todd ^             Daryl Todd ^                     Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3147   JANSSENBIO‐PL_2‐0002860   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)             (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                11/19/2015

                                                                                                                                                       Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^
                                                                                                                                                       (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                                                                                                                       (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
                                                                                             Shauna Peterson ^        Daryl Todd ^                     Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3148   JANSSENBIO‐PL_2‐0002861   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (speter11@its.jnj.com)   (dtodd1@its.jnj.com)             (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                11/19/2015




                                                                                                                                                                                                                                145
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 147 of 201

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                       John Franz (jfranz@its.jnj.com); John Franz (jfranz@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                       (cguiton@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com);                                                                                                                                                                                          internal guidance concerning practice management or IOI
3149                             JANSSENBIO‐064‐00000614   JANSSENBIO‐064‐00000615   Redacted   eMail   Franz, John            Attorney‐Client                                                         Michelle Walls (mwalls@its.jnj.com)                                                                             Ellen Perucki (eperucki@its.jnj.com)                 John Franz (jfranz@its.jnj.com)                                                                          2/13/2013   support.

                                                                                                                                                                                                       Lawrence Conley (lconley1@its.jnj.cm); Lawrence Conley (lconley1@its.jnj.cm); John Franz                                                                                                                                                                                                  Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                       (jfranz@its.jnj.com); John Franz (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn      Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                               regarding issues relating to interactions or
3150   JANSSENBIO‐PL_2‐0002862                                                       Withheld   eMail   Franz, John            Attorney‐Client                                                         Roberts (krober10@its.jnj.com)                                                                                  Kathryn Roberts (krober10@its.jnj.com)               John Franz (jfranz@its.jnj.com)                                                                          2/15/2013   communications between ABSs and physician offices.

                                                                                                                                                                                                       Lawrence Conley (lconley1@its.jnj.cm); Lawrence Conley (lconley1@its.jnj.cm); John Franz
                                                                                                                                                                                                       (jfranz@its.jnj.com); John Franz (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn
3151   JANSSENBIO‐PL_2‐0002863                                                       Withheld   pdf     Franz, John            Attorney‐Client                                                         Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                                2/15/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 legal advice from Legal Department regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 preparation/review of internal training or internal
                                                                                                                                                                                                       Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                                                       guidance concerning practice management or IOI
3152   JANSSENBIO‐PL_2‐0002864                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                              Michele Rubincam (mrubinc@its.jnj.com)               Christopher Zalesky (czalesky@its.jnj.com)                                                               8/31/2015   support.

                                                                                                                                                 Michele Rubincam           Christopher Zalesky        Deidre Meehan ^ (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky
3153   JANSSENBIO‐PL_2‐0002865                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (mrubinc@its.jnj.com)      (czalesky@its.jnj.com)     (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                            8/31/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 internal guidance concerning practice management or IOI
3154   JANSSENBIO‐PL_2‐0002866                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                   Daryl Todd ^ (dtodd1@its.jnj.com)                    Christopher Zalesky (czalesky@its.jnj.com)                                                                9/3/2015   support.
                                                                                                                                                 Jill Steinberg             Christopher Zalesky
3155   JANSSENBIO‐PL_2‐0002867                                                       Withheld   pptx    Zalesky, Christopher   Attorney‐Client   (jsteinb1@its.jnj.com)     (czalesky@its.jnj.com)     Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                  9/3/2015




                                                                                                                                                                                                       Jose Barro (jbarro@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino
                                                                                                                                                                                                       (rcassino@janus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Mizanu Kebede (mkebede@its.jnj.com);                                                                                                                                                                                        Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                       Frank Konings (fkonings@its.jnj.com); Susan Steele (ssteele@its.jnj.com); Susan Steele                                                                                                                                                                                                    Department regarding preparation/review of internal
                                                                                                                                                                                                       (ssteele@its.jnj.com); Will Stephens (wstephe1@its.jnj.com); Norma Stojanovski (nstojan@its.jnj.com);                                                                                                                                                                                     training or internal guidance concerning practice
3156   JANSSENBIO‐PL_2‐0002868   JANSSENBIO‐064‐00004420   JANSSENBIO‐064‐00004420   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Janssen End Users          Janssen End Users          Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); (dpicsk@aol.com)                                                                                                                                                                      3/17/2009   management or IOI support.

                                                                                                                                                                                                                                                                                                                       George Latyszonek (glatysz1@its.jnj.com); Jade                                                                                                                            Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                       Shields (jshield1@its.jnj.com); Patricia Villani ^                                                                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                                                                                       George Latyszonek (glatysz1@its.jnj.com); Rupal Shah (rshah5@its.jnj.com); Jade Shields                         (pvillan1@its.jnj.com); Rupal Shah                                                                                                                                        regarding issues relating to interactions or
3157   JANSSENBIO‐PL_2‐0002869                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (jshield1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)   (rshah5@its.jnj.com)                                 Christopher Zalesky (czalesky@its.jnj.com)                                                               3/26/2009   communications between ABSs and physician offices.

                                                                                                                                                 Christopher Zalesky        Christopher Zalesky        George Latyszonek (glatysz1@its.jnj.com); Rupal Shah (rshah5@its.jnj.com); Jade Shields
3158   JANSSENBIO‐PL_2‐0002870                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)     (jshield1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                 3/26/2009

                                                                                                                                                 Christopher Zalesky        Christopher Zalesky        George Latyszonek (glatysz1@its.jnj.com); Rupal Shah (rshah5@its.jnj.com); Jade Shields
3159   JANSSENBIO‐PL_2‐0002871                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)     (jshield1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                 3/26/2009

                                                                                                                                                 Christopher Zalesky        Christopher Zalesky        George Latyszonek (glatysz1@its.jnj.com); Rupal Shah (rshah5@its.jnj.com); Jade Shields
3160   JANSSENBIO‐PL_2‐0002872                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)     (jshield1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                 3/26/2009

                                                                                                                                                 Christopher Zalesky        Christopher Zalesky        George Latyszonek (glatysz1@its.jnj.com); Rupal Shah (rshah5@its.jnj.com); Jade Shields
3161   JANSSENBIO‐PL_2‐0002873                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)     (jshield1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                 3/26/2009

                                                                                                                                                 Christopher Zalesky        Christopher Zalesky        George Latyszonek (glatysz1@its.jnj.com); Rupal Shah (rshah5@its.jnj.com); Jade Shields
3162   JANSSENBIO‐PL_2‐0002874                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)     (jshield1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                 3/26/2009

                                                                                                                                                 Sue Seferian ^             Christopher Zalesky        George Latyszonek (glatysz1@its.jnj.com); Rupal Shah (rshah5@its.jnj.com); Jade Shields
3163   JANSSENBIO‐PL_2‐0002875                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)     (czalesky@its.jnj.com)     (jshield1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                 3/26/2009

                                                                                                                                                                                                       Helton Andrade (handrade@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Brian Kelly                                                                                                                                                                                                   Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                       (bkelly2@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Annette Pedersen                                                                                                                                                                                                           from Legal Department regarding preparation/review of
                                                                                                                                                                                                       (apederse@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Stacy Lockwood                                                                                                                                                                                                        internal training or internal guidance concerning practice
3164   JANSSENBIO‐PL_2‐0002876                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (slockwo1@its.jnj.com)                                                                                          Christopher Zalesky (czalesky@its.jnj.com)           Stacy Lockwood (slockwo1@its.jnj.com)                                                                    1/16/2013   management or IOI support.

                                                                                                                                                                                                       Helton Andrade (handrade@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Brian Kelly
                                                                                                                                                                                                       (bkelly2@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Annette Pedersen                                                                                                                                   Annette Pedersen (apederse@its.jnj.com); Brian Kelly
                                                                                                                                                                                                       (apederse@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Stacy Lockwood                                                                                                                                (bkelly2@its.jnj.com); Rebecca Hayes
3165   JANSSENBIO‐PL_2‐0002877                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (slockwo1@its.jnj.com)                                                                                          Stacy Lockwood (slockwo1@its.jnj.com)                Christopher Zalesky (czalesky@its.jnj.com)   (rhayes5@its.jnj.com)                                       1/16/2013

                                                                                                                                                                                                       Helton Andrade (handrade@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Brian Kelly
                                                                                                                                                                                                       (bkelly2@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Annette Pedersen
                                                                                                                                                 Niels Van Der Schraaf      Christopher Zalesky        (apederse@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Stacy Lockwood
3166   JANSSENBIO‐PL_2‐0002878                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (nschraaf@its.jnj.com)     (czalesky@its.jnj.com)     (slockwo1@its.jnj.com)                                                                                                                                                                                                                                                        1/16/2013

                                                                                                                                                                                                       Helton Andrade (handrade@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Brian Kelly
                                                                                                                                                                                                       (bkelly2@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Annette Pedersen
                                                                                                                                                 Niels Van Der Schraaf                                 (apederse@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Stacy Lockwood
3167   JANSSENBIO‐PL_2‐0002879                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (nschraaf@its.jnj.com)     SLOCKWO1                   (slockwo1@its.jnj.com)                                                                                                                                                                                                                                                        1/16/2013

                                                                                                                                                                                                       Helton Andrade (handrade@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Brian Kelly
                                                                                                                                                                                                       (bkelly2@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Annette Pedersen
                                                                                                                                                 Niels Van Der Schraaf                                 (apederse@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Stacy Lockwood
3168   JANSSENBIO‐PL_2‐0002880                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (nschraaf@its.jnj.com)     SLOCKWO1                   (slockwo1@its.jnj.com)                                                                                                                                                                                                                                                        1/16/2013

                                                                                                                                                                                                       Helton Andrade (handrade@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Brian Kelly
                                                                                                                                                                                                       (bkelly2@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Annette Pedersen
                                                                                                                                                                                                       (apederse@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Stacy Lockwood                              Christopher Zalesky (czalesky@its.jnj.com); Stacy
3169   JANSSENBIO‐PL_2‐0002881                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (slockwo1@its.jnj.com)                                                                                          Lockwood (slockwo1@its.jnj.com)                   Deidre Meehan ^ (dmeehan5@its.jnj.com)          Helton Andrade (handrade@its.jnj.com)                       1/16/2013

                                                                                                                                                                                                       Helton Andrade (handrade@its.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); Brian Kelly
                                                                                                                                                                                                       (bkelly2@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Annette Pedersen
                                                                                                                                                 Niels Van Der Schraaf      Deidre Meehan ^            (apederse@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Stacy Lockwood
3170   JANSSENBIO‐PL_2‐0002882                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (nschraaf@its.jnj.com)     (dmeehan5@its.jnj.com)     (slockwo1@its.jnj.com)                                                                                                                                                                                                                                                        1/16/2013
                                                                                                                                                                                                                                                                                                                       Clivetty Martinez (cmarti78@its.jnj.com); Gabor
                                                                                                                                                                                                                                                                                                                       Danielfy (gdanielf@its.jnj.com); Hemant Mehta
                                                                                                                                                                                                                                                                                                                       (hmehta1@its.jnj.com); Madhukar Ahuja
                                                                                                                                                                                                       Madhukar Ahuja (mahuja@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Gabor Danielfy                    (mahuja@its.jnj.com); Rika Ville
                                                                                                                                                                                                       (gdanielf@its.jnj.com); Rika Ville (rdeville@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Clivetty      (rdeville@its.jnj.com); Roeland Van                                                                                                                                       Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                       Martinez (cmarti78@its.jnj.com); Hemant Mehta (hmehta1@its.jnj.com); Roeland Van                                (rvaelst@its.jnj.com); Stacey Lallier                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                       (rvaelst@its.jnj.com); David Van Passel ^ (dvpasse@its.jnj.com); Willy Vanbuggenhout ^                          (slallier@its.jnj.com); Willy Vanbuggenhout ^                                                     David Van Passel ^ (dvpasse@its.jnj.com); Dirk                          internal guidance concerning practice management or IOI
3171   JANSSENBIO‐PL_2‐0002883                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (wvanbugg@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                              (wvanbugg@its.jnj.com)                               Christopher Zalesky (czalesky@its.jnj.com)   Brinckman ^ (dbrinckm@its.jnj.com)                          1/22/2009   support.


                                                                                                                                                                                                       Madhukar Ahuja (mahuja@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Gabor Danielfy
                                                                                                                                                                                                       (gdanielf@its.jnj.com); Rika Ville (rdeville@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Clivetty
                                                                                                                                                                                                       Martinez (cmarti78@its.jnj.com); Hemant Mehta (hmehta1@its.jnj.com); Roeland Van
                                                                                                                                                                                                       (rvaelst@its.jnj.com); David Van Passel ^ (dvpasse@its.jnj.com); Willy Vanbuggenhout ^
3172   JANSSENBIO‐PL_2‐0002884                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                         (wvanbugg@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                            1/22/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                       Gail Calantoni (gcalanto@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Paul Lawrance                                                                                                                                                                                                   preparation/review of internal training or internal
                                                                                                                                                                                                       (plawran1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky                          Brian Kelly (bkelly2@its.jnj.com); Paul Lawrance                                                  Gail Calantoni (gcalanto@its.jnj.com); Patricia Villani ^               guidance concerning practice management or IOI
3173   JANSSENBIO‐PL_2‐0002885                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com)                                                                                          (plawran1@its.jnj.com)                               Christopher Zalesky (czalesky@its.jnj.com)   (pvillan1@its.jnj.com)                                      1/20/2009   support.
                                                                                                                                                                                                       Gail Calantoni (gcalanto@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Paul Lawrance
                                                                                                                                                 Sue Seferian ^             Christopher Zalesky        (plawran1@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3174   JANSSENBIO‐PL_2‐0002886                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)     (czalesky@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                        1/20/2009

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain providing legal advice from Legal Department
                                                                                                                                                                                                       John Franz (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Ellen Perucki                                                                                                                                                                                                regarding preparation/review of customer‐facing practice
3175                             JANSSENBIO‐064‐00000734   JANSSENBIO‐064‐00000734   Redacted   eMail   Franz, John            Attorney‐Client                                                         (eperucki@its.jnj.com)                                                                                          John Franz (jfranz@its.jnj.com)                      Ellen Perucki (eperucki@its.jnj.com)                                                                     7/23/2013   management or IOI support material.

                                                                                                                                                                                                       Regina Fisher (rfisher6@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano
                                                                                                                                                                                                       (ggiordan@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);         Gina Giordano (ggiordan@its.jnj.com); John                                                                                                                                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                       Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind                 Franz (jfranz@its.jnj.com); Kenneth Olsen ^                                                                                                                               regarding preparation/review of customer facing
3176   JANSSENBIO‐PL_2‐0002887                                                       Withheld   eMail   Franz, John            Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                        (kolsen@its.jnj.com)                                 Michael Ziskind (mziskind@cntus.jnj.com)     Peggy Mellody (pmellody@its.jnj.com)                         8/2/2013   regulatory update.

                                                                                                                                                                                                       Regina Fisher (rfisher6@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano
                                                                                                                                                                                                       (ggiordan@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                 Michael Ziskind            Michael Ziskind            Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
3177   JANSSENBIO‐PL_2‐0002888                                                       Withheld   docx    Franz, John            Attorney‐Client   (mziskind@cntus.jnj.com)   (mziskind@cntus.jnj.com)   (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                       8/2/2013

                                                                                                                                                                                                       Regina Fisher (rfisher6@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano
                                                                                                                                                                                                       (ggiordan@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                                                                       Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
3178   JANSSENBIO‐PL_2‐0002889                                                       Withheld   docx    Franz, John            Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                       8/2/2013

                                                                                                                                                                                                       Regina Fisher (rfisher6@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano
                                                                                                                                                                                                       (ggiordan@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                                                                       Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
3179   JANSSENBIO‐PL_2‐0002890                                                       Withheld   docx    Franz, John            Attorney‐Client                                                         (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                       8/2/2013

                                                                                                                                                                                                       Regina Fisher (rfisher6@its.jnj.com); John Franz (jfranz@its.jnj.com); Gina Giordano
                                                                                                                                                 Kristen Henderson ^                                   (ggiordan@its.jnj.com); Elizabeth Lawless (elawless@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                 (khenderson@akingump.com Michael Ziskind              Kenneth Olsen ^ (kolsen@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); Michael Ziskind
3180   JANSSENBIO‐PL_2‐0002891                                                       Withheld   docx    Franz, John            Attorney‐Client   )                        (mziskind@cntus.jnj.com)     (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                                       8/2/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                       Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^            Bruce Colligen (bcollig@its.jnj.com); Christopher                                                                                                                         regarding issues relating to interactions or
3181   JANSSENBIO‐PL_2‐0002892                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                             Zalesky (czalesky@its.jnj.com)                       Christopher Guiton ^ (cguiton@its.jnj.com)   Michael McCulley ^ (mmccull@corus.jnj.com)                  1/23/2009   communications between ABSs and physician offices.

                                                                                                                                                 Christopher Guiton ^       Susan Steele               Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
3182   JANSSENBIO‐PL_2‐0002893                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (cguiton@its.jnj.com)      (ssteele@its.jnj.com)      (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                           1/23/2009

                                                                                                                                                                                                       Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
3183   JANSSENBIO‐PL_2‐0002894                                                       Withheld   wmz     Zalesky, Christopher   Attorney‐Client                                                         (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                           1/23/2009

                                                                                                                                                                            Deidre Meehan ^            Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
3184   JANSSENBIO‐PL_2‐0002895                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client                              (dmeehan5@its.jnj.com)     (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                           1/23/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                       Bill McKenzie (bmckenzi@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky                                                                                                                                                                                         internal guidance concerning practice management or IOI
3185   JANSSENBIO‐PL_2‐0002896                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                              Bill McKenzie (bmckenzi@its.jnj.com)                 Christopher Zalesky (czalesky@its.jnj.com)   Deidre Meehan ^ (dmeehan5@its.jnj.com)                      4/14/2014   support.

                                                                                                                                                 Deidre Meehan ^            Bill McKenzie              Bill McKenzie (bmckenzi@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Christopher Zalesky
3186   JANSSENBIO‐PL_2‐0002897                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (dmeehan5@its.jnj.com)     (bmckenzi@its.jnj.com)     (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                            4/14/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3187   JANSSENBIO‐PL_2‐0002898                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3188   JANSSENBIO‐PL_2‐0002899                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2024

                                                                                                                                                                                                       John Franz (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Eric Monzon                                                                                                                                                                                                  Draft promotional material requesting legal advice from
3189   JANSSENBIO‐PL_2‐0002900   JANSSENBIO‐071‐00000097   JANSSENBIO‐071‐00000211   Redacted   pdf     Franz, John            Attorney‐Client                                                         (emonzon1@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                                             2/12/2013   Kathleen Hamill ^ .




                                                                                                                                                                                                                                                                                   146
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 148 of 201


                                                                                                                                                                                                   David Anderson (dander12@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Mary Bradley
                                                                                                                                                                                                   (mbradle5@its.jnj.com); John Franz (jfranz@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green
                                                                                                                                                                                                   (kgreen4@its.jnj.com); Quintus Joubert (qjoubert@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Stacey                                                                                                                                                                                                                   Email chain with attachment(s) providing information to
                                                                                                                                                                                                   Lallier (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Vickie McCormick                                                                                                                                                                                                                                    counsel for the purpose of receiving legal advice
                                                                                                                                                                                                   (vmccorm2@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com); Deidre Meehan ^                                                                                                                                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                                                                                   (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                                        internal guidance concerning practice management or IOI
3190   JANSSENBIO‐PL_2‐0002901                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                        Deidre Meehan ^ (dmeehan5@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)   Vickie McCormick (vmccorm2@its.jnj.com)                4/24/2014   support.




                                                                                                                                                                                                   David Anderson (dander12@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Mary Bradley
                                                                                                                                                                                                   (mbradle5@its.jnj.com); John Franz (jfranz@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green
                                                                                                                                                                                                   (kgreen4@its.jnj.com); Quintus Joubert (qjoubert@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Stacey
                                                                                                                                                                                                   Lallier (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Vickie McCormick
                                                                                                                                                                                                   (vmccorm2@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com); Deidre Meehan ^
                                                                                                                                                 Deidre Meehan ^          Vickie McCormick         (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky
3191   JANSSENBIO‐PL_2‐0002902                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (dmeehan5@its.jnj.com)   (vmccorm2@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                             4/24/2014




                                                                                                                                                                                                   David Anderson (dander12@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Mary Bradley
                                                                                                                                                                                                   (mbradle5@its.jnj.com); John Franz (jfranz@its.jnj.com); Dina Given (dgiven@its.jnj.com); Karen Green
                                                                                                                                                                                                   (kgreen4@its.jnj.com); Quintus Joubert (qjoubert@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Stacey
                                                                                                                                                                                                   Lallier (slallier@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Vickie McCormick
                                                                                                                                                                                                   (vmccorm2@its.jnj.com); Bill McKenzie (bmckenzi@its.jnj.com); Deidre Meehan ^
                                                                                                                                                 Christopher Zalesky      Vickie McCormick         (dmeehan5@its.jnj.com); Michele Rubincam (mrubinc@its.jnj.com); Christopher Zalesky
3192   JANSSENBIO‐PL_2‐0002903                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (vmccorm2@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                             4/24/2014

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                                                                                   Sue Seferian ^ (sseferia@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                      internal guidance concerning practice management or IOI
3193   JANSSENBIO‐PL_2‐0002904                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                    Patricia Villani ^ (pvillan1@its.jnj.com)        Sue Seferian ^ (sseferia@its.jnj.com)        Christopher Zalesky (czalesky@its.jnj.com)             2/20/2009   support.
                                                                                                                                                 Julie Capece             Sue Seferian ^           Sue Seferian ^ (sseferia@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3194   JANSSENBIO‐PL_2‐0002905                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (jcapece@its.jnj.com)    (sseferia@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                         2/20/2009
                                                                                                                                                                          Sue Seferian ^           Sue Seferian ^ (sseferia@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3195   JANSSENBIO‐PL_2‐0002906                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client                            (sseferia@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                         2/20/2009
                                                                                                                                                                          Sue Seferian ^           Sue Seferian ^ (sseferia@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3196   JANSSENBIO‐PL_2‐0002907                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Megan Dubrowski          (sseferia@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                         2/20/2009
                                                                                                                                                                          Mark Wildgust            Sue Seferian ^ (sseferia@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3197   JANSSENBIO‐PL_2‐0002908                                                       Withheld           Zalesky, Christopher   Attorney‐Client                            (mwildgus@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                         2/20/2009
                                                                                                                                                 Rika Ville               Mark Wildgust            Sue Seferian ^ (sseferia@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3198   JANSSENBIO‐PL_2‐0002909                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (mwildgus@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                         2/20/2009
                                                                                                                                                 Pamela Haines            Sue Seferian ^           Sue Seferian ^ (sseferia@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3199   JANSSENBIO‐PL_2‐0002910                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (phaines8@its.jnj.com)   (sseferia@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                         2/20/2009
                                                                                                                                                                                                                                                                                                              Catherine Sicari ^ (csicari@its.jnj.com); Fizza
                                                                                                                                                                                                                                                                                                              Suri (fsuri@its.jnj.com); James Knepp                                                                                                                                                                           Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                              (jknepp5@its.jnj.com); John Franz                                                                                                                                                                               from Deidre Meehan ^ and Catherine Sicari ^ regarding
3200   JANSSENBIO‐PL_2‐0002911                                                       Withheld   eMail   Franz, John            Attorney‐Client                                                     John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Fizza Suri (fsuri@its.jnj.com)         (jfranz@its.jnj.com)                            John Franz (jfranz@its.jnj.com)                 Fizza Suri (fsuri@its.jnj.com)                                                                      1/18/2013   CPC review of SOC programs and strategy.
                                                                                                                                                 Anna Maria Acquaviva     James Knepp
3201   JANSSENBIO‐PL_2‐0002912                                                       Withheld   pptx    Franz, John            Attorney‐Client   (aacqua23@its.jnj.com)   (jknepp5@its.jnj.com)    John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Fizza Suri (fsuri@its.jnj.com)                                                                                                                                                                                                             1/18/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                   John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James Knepp (jknepp5@its.jnj.com);                                                                                                                                                                                                                     regarding preparation/review of customer‐facing practice
3202   JANSSENBIO‐PL_2‐0002913                                                       Withheld   eMail   Franz, John            Attorney‐Client                                                     Catherine Sicari ^ (csicari@its.jnj.com); Fizza Suri (fsuri@its.jnj.com)                                                                                  Catherine Sicari ^ (csicari@its.jnj.com)         Fizza Suri (fsuri@its.jnj.com)               John Franz (jfranz@its.jnj.com)                        1/18/2013   management or IOI support material.

                                                                                                                                                 Anna Maria Acquaviva     James Knepp              John Franz (jfranz@its.jnj.com); James Knepp (jknepp5@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
3203   JANSSENBIO‐PL_2‐0002914                                                       Withheld   pptx    Franz, John            Attorney‐Client   (aacqua23@its.jnj.com)   (jknepp5@its.jnj.com)    Catherine Sicari ^ (csicari@its.jnj.com); Fizza Suri (fsuri@its.jnj.com)                                                                                                                                                                                                                                       1/18/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              preparation/review of internal training or internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              guidance concerning practice management or IOI
3204   JANSSENBIO‐PL_2‐0002915                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                     Christopher Zalesky (czalesky@its.jnj.com)       Patricia Villani ^ (pvillan1@its.jnj.com)                                                            3/6/2009   support.
                                                                                                                                                 Sue Seferian ^           Patricia Villani ^
3205   JANSSENBIO‐PL_2‐0002916                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (pvillan1@its.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                           3/6/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email communication requesting legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Freddy Jimenez ^ regarding health care compliance
3206                             JANSSENBIO‐060‐00001350   JANSSENBIO‐060‐00001351   Redacted   eMail   Franz, John            Attorney‐Client                                                                                                                                                                                                               John Franz (jfranz@its.jnj.com)                  Kimberly Whelan (kwhelan2@its.jnj.com)                                                               5/6/2014   policies.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email communication requesting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Department regarding preparation/review of internal
                                                                                                                                                                                                                                                                                                                                                             Jon Donnelly (jdonnel1@its.jnj.com); Philomena                                                Kimberly Whelan (kwhelan2@its.jnj.com); Michael Moye               training or internal guidance concerning practice
3207                             JANSSENBIO‐060‐00001352   JANSSENBIO‐060‐00001353   Redacted   eMail   Franz, John            Attorney‐Client                                                                                                                                                                                                               McArthur (pmcarth1@its.jnj.com)                  Ramineh Zoka (rzoka@its.jnj.com)             (mmoye@its.jnj.com)                                     5/6/2014   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              legal advice from Legal Department regarding
                                                                                                                                                                                                   Joseph DiGiacomo (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Timothy Grimes                                                                                                                                                                                                                                   preparation/review of internal training or internal
                                                                                                                                                                                                   (tgrimes@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela                                                                                                                                                                                                                         guidance concerning practice management or IOI
3208   JANSSENBIO‐PL_2‐0002917                                                       Withheld   eMail   Franz, John            Attorney‐Client                                                     Wood (awood6@its.jnj.com)                                                                                                                                 John Franz (jfranz@its.jnj.com)                  Angela Wood (awood6@its.jnj.com)                                                                     5/6/2014   support.
                                                                                                                                                                                                   Joseph DiGiacomo (jdigiaco@its.jnj.com); John Franz (jfranz@its.jnj.com); Timothy Grimes
                                                                                                                                                 Doug Kennedy             Joseph DiGiacomo         (tgrimes@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela
3209   JANSSENBIO‐PL_2‐0002918                                                       Withheld   pptx    Franz, John            Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)   Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                       5/6/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              from Legal Department regarding preparation/review of
                                                                                                                                                                                                   John Franz (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                                                          customer‐facing practice management or IOI support
3210   JANSSENBIO‐PL_2‐0002919                                                       Withheld   eMail   Franz, John            Attorney‐Client                                                     (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                           John Franz (jfranz@its.jnj.com)                  Michael Wolfe (mwolfe2@its.jnj.com)                                                                 1/17/2014   material.

                                                                                                                                                 Anna Maria Acquaviva     Michael Wolfe            John Franz (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
3211   JANSSENBIO‐PL_2‐0002920                                                       Withheld   pptx    Franz, John            Attorney‐Client   (aacqua23@its.jnj.com)   (mwolfe2@its.jnj.com)    (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                                1/17/2014




                                                                                                                                                                                                   Celia Connaire (cconnai3@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Gina Giordano                                                                                                                                                                                                                                 Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                   (ggiordan@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com);                                                                                                                                                                                                                      legal advice from Legal Department regarding
                                                                                                                                                                                                   Lorraine Moccio (lmoccio@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Shauna Peterson ^                                                                                                                                                                                                                              preparation/review of internal training or internal
                                                                                                                                                                                                   (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);                                                    Diane Deloria (ddeloria@its.jnj.com); Erin                                                                                                                       guidance concerning practice management or IOI
3212   JANSSENBIO‐PL_2‐0002921                                                       Withheld   eMail   Giordano, Gina         Attorney‐Client                                                     Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                             Parsons (eparson5@its.jnj.com)                   Gina Giordano (ggiordan@its.jnj.com)                                                                4/23/2015   support.




                                                                                                                                                                                                   Celia Connaire (cconnai3@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Gina Giordano
                                                                                                                                                                                                   (ggiordan@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                   Lorraine Moccio (lmoccio@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                 Daryl Todd ^             Daryl Todd ^             (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
3213   JANSSENBIO‐PL_2‐0002922                                                       Withheld   docx    Giordano, Gina         Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)     Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                  4/23/2015




                                                                                                                                                                                                   Celia Connaire (cconnai3@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Gina Giordano
                                                                                                                                                                                                   (ggiordan@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                   Lorraine Moccio (lmoccio@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Shauna Peterson ^
                                                                                                                                                 Shauna Peterson ^        Daryl Todd ^             (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
3214   JANSSENBIO‐PL_2‐0002923                                                       Withheld   docx    Giordano, Gina         Attorney‐Client   (speter11@its.jnj.com)   (dtodd1@its.jnj.com)     Daryl Todd ^ (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                  4/23/2015



                                                                                                                                                                                                   Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gina Giordano
                                                                                                                                                                                                   (ggiordan@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio                                                                                                                                                                                                                                            Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                   (lmoccio@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com);                                                                                                                                                                                                                     from Legal Department regarding preparation/review of
                                                                                                                                                                                                   Bonnie Rodriguez (brodrig5@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls                                                                                                                                                                                                                                 internal training or internal guidance concerning practice
3215   JANSSENBIO‐PL_2‐0002924                                                       Withheld   eMail   Giordano, Gina         Attorney‐Client                                                     (mwalls@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                          Michelle Walls (mwalls@its.jnj.com)              Gina Giordano (ggiordan@its.jnj.com)                                                                 5/7/2015   management or IOI support.


                                                                                                                                                                                                   Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gina Giordano
                                                                                                                                                                                                   (ggiordan@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio
                                                                                                                                                                                                   (lmoccio@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com);
                                                                                                                                                 Daryl Todd ^             Daryl Todd ^             Bonnie Rodriguez (brodrig5@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls
3216   JANSSENBIO‐PL_2‐0002925                                                       Withheld   docx    Giordano, Gina         Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)     (mwalls@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                5/7/2015



                                                                                                                                                                                                   Celia Connaire (cconnai3@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gina Giordano
                                                                                                                                                                                                   (ggiordan@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio
                                                                                                                                                                                                   (lmoccio@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com);
                                                                                                                                                 Shauna Peterson ^        Daryl Todd ^             Bonnie Rodriguez (brodrig5@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls
3217   JANSSENBIO‐PL_2‐0002926                                                       Withheld   docx    Giordano, Gina         Attorney‐Client   (speter11@its.jnj.com)   (dtodd1@its.jnj.com)     (mwalls@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                5/7/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Legal Department regarding preparation/review of
                                                                                                                                                                                                   Diane Deloria (ddeloria@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Christy Stickle ^                                                             Diane Deloria (ddeloria@its.jnj.com); Gina                                                                                                                       internal training or internal guidance concerning practice
3218   JANSSENBIO‐PL_2‐0002927                                                       Withheld   eMail   Giordano, Gina         Attorney‐Client                                                     (cstickle@its.jnj.com)                                                                                                                                    Giordano (ggiordan@its.jnj.com)                  Christy Stickle ^ (cstickle@its.jnj.com)                                                            9/10/2015   management or IOI support.
                                                                                                                                                                          Christy Stickle ^        Diane Deloria (ddeloria@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Christy Stickle ^
3219   JANSSENBIO‐PL_2‐0002928                                                       Withheld   ppt     Giordano, Gina         Attorney‐Client                            (cstickle@its.jnj.com)   (cstickle@its.jnj.com)                                                                                                                                                                                                                                                                                         9/10/2015
                                                                                                                                                                                                   Diane Deloria (ddeloria@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Christy Stickle ^
3220   JANSSENBIO‐PL_2‐0002929                                                       Withheld   pdf     Giordano, Gina         Attorney‐Client                                                     (cstickle@its.jnj.com)                                                                                                                                                                                                                                                                                         9/10/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                   Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^                                                               Gina Giordano (ggiordan@its.jnj.com); Kenneth                                                                                                                    regarding preparation/review of customer‐facing practice
3221   JANSSENBIO‐PL_2‐0002930                                                       Withheld   eMail   Giordano, Gina         Attorney‐Client                                                     (kolsen@its.jnj.com)                                                                                                                                      Olsen ^ (kolsen@its.jnj.com)                     Peggy Mellody (pmellody@its.jnj.com)                                                                1/10/2013   management or IOI support material.
                                                                                                                                                                                                   Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^
3222   JANSSENBIO‐PL_2‐0002931                                                       Withheld   DOCX    Giordano, Gina         Attorney‐Client                                                     (kolsen@its.jnj.com)                                                                                                                                                                                                                                                                                           1/10/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) requesting legal advice
                                                                                                                                                                                                   Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^                                                               Gina Giordano (ggiordan@its.jnj.com); Kenneth                                                                                                                    regarding preparation/review of customer‐facing practice
3223   JANSSENBIO‐PL_2‐0002932                                                       Withheld   eMail   Giordano, Gina         Attorney‐Client                                                     (kolsen@its.jnj.com)                                                                                                                                      Olsen ^ (kolsen@its.jnj.com)                     Peggy Mellody (pmellody@its.jnj.com)                                                                1/10/2013   management or IOI support material.
                                                                                                                                                                                                   Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^
3224   JANSSENBIO‐PL_2‐0002933                                                       Withheld   rtf     Giordano, Gina         Attorney‐Client   G360user                                          (kolsen@its.jnj.com)                                                                                                                                                                                                                                                                                           1/10/2013
                                                                                                                                                                                                   Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Kenneth Olsen ^
3225   JANSSENBIO‐PL_2‐0002934                                                       Withheld   DOCX    Giordano, Gina         Attorney‐Client                                                     (kolsen@its.jnj.com)                                                                                                                                                                                                                                                                                           1/10/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody                                                                    Gina Giordano (ggiordan@its.jnj.com); Kenneth                                                                                                                    regarding preparation/review of customer‐facing practice
3226   JANSSENBIO‐PL_2‐0002935                                                       Withheld   eMail   Giordano, Gina         Attorney‐Client                                                     (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                              Olsen ^ (kolsen@its.jnj.com)                     George Bilyk (gbilyk@its.jnj.com)            Peggy Mellody (pmellody@its.jnj.com)                   1/30/2013   management or IOI support material.

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3227   JANSSENBIO‐PL_2‐0002936                                                       Withheld   rtf     Giordano, Gina         Attorney‐Client   G360user                                          (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                   1/30/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3228   JANSSENBIO‐PL_2‐0002937                                                       Withheld   DOCX    Giordano, Gina         Attorney‐Client                                                     (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                   1/30/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3229   JANSSENBIO‐PL_2‐0002938                                                       Withheld   pdf     Giordano, Gina         Attorney‐Client                                                     (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                   1/30/2013

                                                                                                                                                                                                   George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3230   JANSSENBIO‐PL_2‐0002939                                                       Withheld   pdf     Giordano, Gina         Attorney‐Client                                                     (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                   1/30/2013




                                                                                                                                                                                                                                                                            147
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 149 of 201


                                                                                                                                                                                                       George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3231   JANSSENBIO‐PL_2‐0002940                                                       Withheld   pdf     Giordano, Gina         Attorney‐Client                                                         (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                      1/30/2013

                                                                                                                                                                                                       George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3232   JANSSENBIO‐PL_2‐0002941                                                       Withheld   pdf     Giordano, Gina         Attorney‐Client                                                         (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                      1/30/2013

                                                                                                                                                                                                       George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3233   JANSSENBIO‐PL_2‐0002942                                                       Withheld   pdf     Giordano, Gina         Attorney‐Client                                                         (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                      1/30/2013

                                                                                                                                                                                                       George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3234   JANSSENBIO‐PL_2‐0002943                                                       Withheld   pdf     Giordano, Gina         Attorney‐Client                                                         (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                      1/30/2013

                                                                                                                                                                                                       George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3235   JANSSENBIO‐PL_2‐0002944                                                       Withheld   pdf     Giordano, Gina         Attorney‐Client                                                         (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                      1/30/2013

                                                                                                                                                                                                       George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3236   JANSSENBIO‐PL_2‐0002945                                                       Withheld   pdf     Giordano, Gina         Attorney‐Client                                                         (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                      1/30/2013

                                                                                                                                                                                                       George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3237   JANSSENBIO‐PL_2‐0002946                                                       Withheld   pdf     Giordano, Gina         Attorney‐Client                                                         (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                      1/30/2013

                                                                                                                                                                                                       George Bilyk (gbilyk@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Peggy Mellody
3238   JANSSENBIO‐PL_2‐0002947                                                       Withheld   pdf     Giordano, Gina         Attorney‐Client                                                         (pmellody@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                                                                      1/30/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Department regarding preparation/review of internal
                                                                                                                                                 Angela Wood                Heather Berardi                                                                                                                                                                                                                                                                                                                                          training or internal guidance concerning practice
3239                             JANSSENBIO‐064‐00000815   JANSSENBIO‐064‐00000863   Redacted   pptx    Giordano, Gina         Attorney‐Client   (awood6@its.jnj.com)       (hberardi@its.jnj.com)     Heather Berardi (hberardi@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com)                                                                                                                                                                                                                                      5/18/2015   management or IOI support.
                                                                                                                                                                                                       Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey                                                                   Alan Cornell (acornell@its.jnj.com); Amit Patel
                                                                                                                                                                                                       (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);                                                            (apatel18@its.jnj.com); Andrea Barnow
                                                                                                                                                                                                       Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger                                                              (abarnow@its.jnj.com); Angela Wood
                                                                                                                                                                                                       (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary                                                   (awood6@its.jnj.com); Anthony Brennan
                                                                                                                                                                                                       Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley                                                                    (abrenna3@its.jnj.com); Anthony Marchetta
                                                                                                                                                                                                       (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);                                                       (amarchet@its.jnj.com); Becky Hayes
                                                                                                                                                                                                       Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke                                                          (rhayes5@its.jnj.com); Brian Burns ^
                                                                                                                                                                                                       (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce                                                   (bburns7@its.jnj.com); Brian Kelly
                                                                                                                                                                                                       Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);                                                    (bkelly2@its.jnj.com); Brian Visconti
                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry                                                                      (bviscont@its.jnj.com); Bruce Colligen
                                                                                                                                                                                                       (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane                                                  (bcollig@its.jnj.com); Carol Woodard
                                                                                                                                                                                                       Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly                                                                     (cwoodard@its.jnj.com); Catherine Piech
                                                                                                                                                                                                       (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob                                                        (cpiech@its.jnj.com); Charles Schneider
                                                                                                                                                                                                       Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart                                                                    (cschne10@its.jnj.com); Chris Matteson
                                                                                                                                                                                                       (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);                                                 (cmattes1@its.jnj.com); Christina Farup
                                                                                                                                                                                                       Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano                                                               (cfarup2@its.jnj.com); Christine Maroulis
                                                                                                                                                                                                       (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);                                                       (cmarouli@its.jnj.com); Christopher McNeal
                                                                                                                                                                                                       Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes                                                                  (cmcneal1@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                       (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken                                                     (czalesky@its.jnj.com); Danny Burrell
                                                                                                                                                                                                       Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);                                                       (dburrell@its.jnj.com); Darryl Stiles
                                                                                                                                                                                                       Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich                                                           (dstiles@its.jnj.com); Daryl Todd ^
                                                                                                                                                                                                       (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^                                                                           (dtodd1@its.jnj.com); David Banko
                                                                                                                                                                                                       (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);                                                         (dbanko@its.jnj.com); Delia Cook
                                                                                                                                                                                                       Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^                                                               (dcook1@its.jnj.com); Diane Deloria
                                                                                                                                                                                                       (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly                                                (ddeloria@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                       (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria                                                  (dclarke3@its.jnj.com); Eric Edgell                                                                                                                                  Email with attachment(s) requesting legal advice
                                                                                                                                                                                                       Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance                                                                    (eedgell@its.jnj.com); Erin Parsons                                                                                                                                  regarding preparation/review of draft internal training or
                                                                                                                                                                                                       (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa                                                 (eparson5@its.jnj.com); Freddy Jimenez ^                                                                                                                             internal guidance concerning practice management or IOI
3240   JANSSENBIO‐PL_2‐0002948                                                       Withheld   eMail   Giordano, Gina         Attorney‐Client                                                         Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                                                               (fjimene3@its.jnj.com); Gerry McShane               Christopher Zalesky (czalesky@its.jnj.com)                                                           9/19/2012   support.
                                                                                                                                                                                                       Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                                                                                       (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                                                                                       Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                                                                                       (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary
                                                                                                                                                                                                       Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley
                                                                                                                                                                                                       (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);
                                                                                                                                                                                                       Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                                                                                       (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce
                                                                                                                                                                                                       Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);
                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry
                                                                                                                                                                                                       (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane
                                                                                                                                                                                                       Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                       (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob
                                                                                                                                                                                                       Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                                                                                       (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                       Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano
                                                                                                                                                                                                       (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);
                                                                                                                                                                                                       Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                       (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken
                                                                                                                                                                                                       Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);
                                                                                                                                                                                                       Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich
                                                                                                                                                                                                       (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                                                                       (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);
                                                                                                                                                                                                       Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                       (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly
                                                                                                                                                                                                       (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria
                                                                                                                                                                                                       Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance
                                                                                                                                                 Daryl Todd ^               Daryl Todd ^               (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa
3241   JANSSENBIO‐PL_2‐0002949                                                       Withheld   docx    Giordano, Gina         Attorney‐Client   (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)       Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                                                                                                                                                                                                                        9/19/2012
                                                                                                                                                                                                       Anthony Brennan (abrenna3@its.jnj.com); Henry Alder (halder@its.jnj.com); Sandra Babey
                                                                                                                                                                                                       (sbabey2@its.jnj.com); David Banko (dbanko@its.jnj.com); Andrea Barnow (abarnow@its.jnj.com);
                                                                                                                                                                                                       Robert Bazemore (rbazemor@its.jnj.com); Nicole Black (nblack1@its.jnj.com); Rick Blockinger
                                                                                                                                                                                                       (rblocki1@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary
                                                                                                                                                                                                       Bradley (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Kevin Buckley
                                                                                                                                                                                                       (kbuckley@its.jnj.com); Brian Burns ^ (bburns7@its.jnj.com); Danny Burrell (dburrell@its.jnj.com);
                                                                                                                                                                                                       Katherine Chapman (kchapman@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                                                                                       (sclarke9@aspus.jnj.com); Julie Cohen (jcohen6@its.jnj.com); Michael Coker (mcoker@its.jnj.com); Bruce
                                                                                                                                                                                                       Colligen (bcollig@its.jnj.com); Delia Cook (dcook1@its.jnj.com); Alan Cornell (acornell@its.jnj.com);
                                                                                                                                                                                                       Thomas Cornely (tcornel@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Kris Curry
                                                                                                                                                                                                       (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Kimberly Davis (kdavis15@its.jnj.com); Diane
                                                                                                                                                                                                       Deloria (ddeloria@its.jnj.com); Jeff Doherty (jdohert7@its.jnj.com); Robert Donnelly
                                                                                                                                                                                                       (rdonnel4@its.jnj.com); Tonya Dowd (tdowd@its.jnj.com); Hazel Doydum (hdoydum@its.jnj.com); Jacob
                                                                                                                                                                                                       Drapkin (jdrapkin@eesus.jnj.com); Eric Edgell (eedgell@its.jnj.com); Luella Engelhart
                                                                                                                                                                                                       (lengelh2@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Christina Farup (cfarup2@its.jnj.com);
                                                                                                                                                                                                       Judith Fernandez (jfernan9@its.jnj.com); David Geary ^ (dgeary@its.jnj.com); Gina Giordano
                                                                                                                                                                                                       (ggiordan@its.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Karen Green (kgreen4@its.jnj.com);
                                                                                                                                                                                                       Rolli Greer (rgreer@its.jnj.com); Kele Griffiths (kgriffi2@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                       (tgrimes@its.jnj.com); Manish Gupta (mgupta2@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); ken
                                                                                                                                                                                                       Haney (jhaney2@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com); Becky Hayes (rhayes5@its.jnj.com);
                                                                                                                                                                                                       Rebecca Hayes (rhayes5@its.jnj.com); Natalie Heidrich (nsmith01@its.jnj.com); Natalie Heidrich
                                                                                                                                                                                                       (nsmith01@its.jnj.com); Michael Hepburn (mhepburn@its.jnj.com); Robert Hoehn ^
                                                                                                                                                                                                       (rhoehn@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); William Hrubes (whrubes@its.jnj.com);
                                                                                                                                                                                                       Helen Torelli ^ (htorell@its.jnj.com); Lisa Huston (lhuston@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                       (fjimene3@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Brian Kelly
                                                                                                                                                                                                       (bkelly2@its.jnj.com); Brian Kelly (bkelly2@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maria
                                                                                                                                                                                                       Kennedy ^ (mkenned3@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance
                                                                                                                                                 Daryl Todd ^               Daryl Todd ^               (plawran1@its.jnj.com); Jason Lerner (jlerner@its.jnj.com); Larry Montes (lmontes4@its.jnj.com); Vanessa
3242   JANSSENBIO‐PL_2‐0002950                                                       Withheld   docx    Giordano, Gina         Attorney‐Client   (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)       Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com); Vanessa Lum (vlum1@its.jnj.com);                                                                                                                                                                                                                        9/19/2012
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     preparation/review of internal training or internal
                                                                                                                                                                                                       Susan Nettesheim (snette2@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky                                                   Christopher Zalesky (czalesky@its.jnj.com); Susan                                                                                                                    guidance concerning practice management or IOI
3243   JANSSENBIO‐PL_2‐0002951                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com)                                                                                                                                   Nettesheim (snette2@its.jnj.com)                  Patricia Villani ^ (pvillan1@its.jnj.com)                                                               9/2/2009   support.
                                                                                                                                                                            Patricia Villani ^         Susan Nettesheim (snette2@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3244   JANSSENBIO‐PL_2‐0002952                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   Johnson & Johnson          (pvillan1@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                             9/2/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     counsel for the purpose of receiving legal advice
                                                                                                                                                                                                       Gail Calantoni (gcalanto@its.jnj.com); Russell Deyo ^ (rdeyo@corus.jnj.com); Nancy Felczak                                                               Roeland Van (rvaelst@its.jnj.com); Russell Deyo ^                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                       (nfelcza@its.jnj.com); Roeland Van (rvaelst@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com);                                                  (rdeyo@corus.jnj.com); Willy Vanbuggenhout ^                                                     Gail Calantoni (gcalanto@its.jnj.com); Nancy Felczak                internal guidance concerning practice management or IOI
3245   JANSSENBIO‐PL_2‐0002953                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         Christopher Zalesky (czalesky@its.jnj.com)                                                                                                               (wvanbugg@its.jnj.com)                            Christopher Zalesky (czalesky@its.jnj.com)     (nfelcza@its.jnj.com)                                   8/14/2009   support.

                                                                                                                                                                                                       Gail Calantoni (gcalanto@its.jnj.com); Russell Deyo ^ (rdeyo@corus.jnj.com); Nancy Felczak
                                                                                                                                                 Christopher Zalesky        Christopher Zalesky        (nfelcza@its.jnj.com); Roeland Van (rvaelst@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com);
3246   JANSSENBIO‐PL_2‐0002954                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                        8/14/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                       Roeland Van (rvaelst@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Christopher Zalesky                                                     Roeland Van (rvaelst@its.jnj.com); Willy                                                                                                                             internal guidance concerning practice management or IOI
3247   JANSSENBIO‐PL_2‐0002955                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com)                                                                                                                                   Vanbuggenhout ^ (wvanbugg@its.jnj.com)             Christopher Zalesky (czalesky@its.jnj.com)                                                            8/11/2009   support.
                                                                                                                                                 Christopher Zalesky        Christopher Zalesky        Roeland Van (rvaelst@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Christopher Zalesky
3248   JANSSENBIO‐PL_2‐0002956                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                            8/11/2009
                                                                                                                                                 Christopher Zalesky        Christopher Zalesky        Roeland Van (rvaelst@its.jnj.com); Willy Vanbuggenhout ^ (wvanbugg@its.jnj.com); Christopher Zalesky
3249   JANSSENBIO‐PL_2‐0002957                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)     (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                            8/11/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Department regarding preparation/review of internal
                                                                                                                                                 Heidi Carmain              Christopher Zalesky        Michael Schoeck (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                           training or internal guidance concerning practice
3250   JANSSENBIO‐PL_2‐0002958   JANSSENBIO‐064‐00004586   JANSSENBIO‐064‐00004586   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (hcarmain@its.jnj.com)     (czalesky@its.jnj.com)     (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                8/28/2009   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     from Legal Department regarding preparation/review of
                                                                                                                                                                                                       Jose Barro (jbarro@its.jnj.com); Roeland Van (rvaelst@its.jnj.com); Willy Vanbuggenhout ^                                                                                                                                                                                                                                     internal training or internal guidance concerning practice
3251   JANSSENBIO‐PL_2‐0002959                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (wvanbugg@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                       Jose Barro (jbarro@its.jnj.com)                    Christopher Zalesky (czalesky@its.jnj.com)                                                            8/18/2009   management or IOI support.

                                                                                                                                                 Christopher Zalesky        Christopher Zalesky        Jose Barro (jbarro@its.jnj.com); Roeland Van (rvaelst@its.jnj.com); Willy Vanbuggenhout ^
3252   JANSSENBIO‐PL_2‐0002960                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)     (czalesky@its.jnj.com)     (wvanbugg@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                8/18/2009

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                       Susan Nettesheim (snette2@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky                                                   Patricia Villani ^ (pvillan1@its.jnj.com); Susan                                                                                                                     internal guidance concerning practice management or IOI
3253   JANSSENBIO‐PL_2‐0002961                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                       Nettesheim (snette2@its.jnj.com)                   Christopher Zalesky (czalesky@its.jnj.com)                                                             9/3/2009   support.

                                                                                                                                                                            Christopher Zalesky        Susan Nettesheim (snette2@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3254   JANSSENBIO‐PL_2‐0002962                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson          (czalesky@its.jnj.com)     (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                 9/3/2009
                                                                                                                                                                                                                                                                                                                   Chris Matteson (cmattes1@its.jnj.com);                                                                                                                                                                            Email with draft guidance reflecting legal advice from
                                                                                                                                                                                                                                                                                                                   Kris Curry (kcurry@janus.jnj.com); Timothy                                                                                                                                                                        Jennifer De Camara ^ regarding internal guidance
3255   JANSSENBIO‐PL_2‐0002963                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         Kris Curry (kcurry@janus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                               Grimes (tgrimes@its.jnj.com)                 Christopher Zalesky (czalesky@its.jnj.com)         Kris Curry (kcurry@janus.jnj.com)                                                                     10/6/2010   concerning promotional activities.
                                                                                                                                                 Jennifer De Camara ^       Jennifer De Camara ^
3256   JANSSENBIO‐PL_2‐0002964                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   (jdecamar@corus.jnj.com)   (jdecamar@corus.jnj.com)   Kris Curry (kcurry@janus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                     10/6/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     preparation/review of internal training or internal
                                                                                                                                                                                                       Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                        guidance concerning practice management or IOI
3257   JANSSENBIO‐PL_2‐0002965                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                       Christopher Zalesky (czalesky@its.jnj.com)         Thomas Spellman ^ (tspellma@its.jnj.com)      Freddy Jimenez ^ (fjimene3@its.jnj.com)                10/12/2010   support.




                                                                                                                                                                                                                                                                              148
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 150 of 201

                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                              (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                              (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                              Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                              (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                              (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                              (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                              Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                              (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                              Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                              (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                              (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                              (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                              (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                              Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                              (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                              (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski                                                                                                                                                                              Email chain with attachment(s) reflecting legal advice
                                                                                                                                              (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith                                                                                                                                                                            from In‐house Counsel and Outside Counsel regarding
                                                                                                                                              (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^                                                                                                                                                                            preparation/review of internal training or internal
                                                                                                                                              (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff                                                                                         Maripat Rhood (mrhood@cntus.jnj.com); Michael                guidance concerning practice management or IOI
3258   JANSSENBIO‐PL_2‐0002966   Withheld   eMail   Schoeck, Michael   Attorney‐Client                                                        Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                         Carol Smith (csmith35@cntus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)   Schoeck (mschoeck@its.jnj.com)                  11/11/2002   support.
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                              (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                              (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                              Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                              (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                              (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                              (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                              Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                              (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                              Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                              (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                              (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                              (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                              (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                              Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                              (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                              (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski
                                                                                                                                              (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith
                                                                                                                                              (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                                                         Tamara Scoville ^           Joy Johnson              (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
3259   JANSSENBIO‐PL_2‐0002967   Withheld   doc     Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                                                                                                                                                             11/11/2002
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                              (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                              (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                              Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                              (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                              (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                              (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                              Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                              (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                              Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                              (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                              (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                              (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                              (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                              Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                              (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                              (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski
                                                                                                                                              (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith
                                                                                                                                              (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                                                         Tamara Scoville ^           Joy Johnson              (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
3260   JANSSENBIO‐PL_2‐0002968   Withheld   DOC     Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                                                                                                                                                             11/11/2002
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                              (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                              (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                              Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                              (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                              (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                              (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                              Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                              (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                              Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                              (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                              (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                              (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                              (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                              Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                              (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                              (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski
                                                                                                                                              (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith
                                                                                                                                              (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                                                         Tamara Scoville ^           Joy Johnson              (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
3261   JANSSENBIO‐PL_2‐0002969   Withheld   doc     Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                                                                                                                                                             11/11/2002
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                              (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                              (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                              Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                              (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                              (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                              (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                              Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                              (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                              Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                              (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                              (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                              (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                              (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                              Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                              (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                              (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski
                                                                                                                                              (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith
                                                                                                                                              (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                                                         Tamara Scoville ^           Joy Johnson              (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
3262   JANSSENBIO‐PL_2‐0002970   Withheld   DOC     Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                                                                                                                                                             11/11/2002
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                              (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                              (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                              Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                              (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                              (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                              (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                              Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                              (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                              Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                              (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                              (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                              (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                              (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                              Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Frank Reck
                                                                                                                                              (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Howard Samms
                                                                                                                                              (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Michael Schoeck
                                                                                                                                              (mschoeck@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Lee Schwartz
                                                                                                                                              (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^ (sseferia@its.jnj.com); John Senkowski
                                                                                                                                              (jsenkows@corus.jnj.com); Angel Shanholtzer (ashanhol@eesus.jnj.com); Carol Smith
                                                                                                                                              (csmith35@cntus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                                                         Tamara Scoville ^           Joy Johnson              (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
3263   JANSSENBIO‐PL_2‐0002971   Withheld   DOC     Schoeck, Michael   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                                                                                                                                                             11/11/2002




                                                                                                                                                                                                                    149
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 151 of 201

                                                                                                                                                                                                                                                                                                                                                                                                             Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                             counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Christopher Zalesky                                                                                                                                                     internal guidance concerning practice management or IOI
3264   JANSSENBIO‐PL_2‐0002972   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                      Thomas Spellman ^ (tspellma@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)   Freddy Jimenez ^ (fjimene3@its.jnj.com)   10/12/2010   support.
                                                                                             Christopher Zalesky         Christopher Zalesky      Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Christopher Zalesky
3265   JANSSENBIO‐PL_2‐0002973   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                        10/12/2010
                                                                                             Christopher Zalesky         Christopher Zalesky      Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Christopher Zalesky
3266   JANSSENBIO‐PL_2‐0002974   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                        10/12/2010
                                                                                             Christopher Zalesky         Christopher Zalesky      Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Christopher Zalesky
3267   JANSSENBIO‐PL_2‐0002975   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                        10/12/2010

                                                                                             Tamara Scoville ^           Christopher Zalesky      Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Christopher Zalesky
3268   JANSSENBIO‐PL_2‐0002976   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                        10/12/2010

                                                                                             Tamara Scoville ^           Christopher Zalesky      Freddy Jimenez ^ (fjimene3@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Christopher Zalesky
3269   JANSSENBIO‐PL_2‐0002977   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                        10/12/2010
                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                  (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                  (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                  (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                  (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                  (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                  Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                  (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                  Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                  DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                  (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                  Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                  Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                  (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                  Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                  (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                  Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                  (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                  (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                  Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                  McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                  (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                  (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                  (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                  (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers                                                                                                                                                                           Email chain with attachment(s) providing information to
                                                                                                                                                  (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn                                                                                                                                                                         counsel for the purpose of receiving legal advice
                                                                                                                                                  (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);                                                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                  Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen                                                                                                                                                                  internal guidance concerning practice management or IOI
3270   JANSSENBIO‐PL_2‐0002978   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        Carol Smith (csmith35@cntus.jnj.com)       Christopher Zalesky (czalesky@its.jnj.com)   Freddy Jimenez ^ (fjimene3@its.jnj.com)    2/24/2003   support.
                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                  (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                  (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                  (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                  (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                  (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                  Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                  (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                  Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                  DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                  (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                  Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                  Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                  (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                  Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                  (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                  Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                  (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                  (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                  Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                  McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                  (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                  (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                  (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                  (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                  (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                  (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                         Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3271   JANSSENBIO‐PL_2‐0002979   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                                                                                                                                                           2/24/2003
                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                  (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                  (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                  (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                  (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                  (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                  Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                  (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                  Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                  DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                  (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                  Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                  Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                  (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                  Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                  (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                  Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                  (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                  (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                  Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                  McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                  (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                  (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                  (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                  (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                  (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                  (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                             Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3272   JANSSENBIO‐PL_2‐0002980   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                                                                                                                                                           2/24/2003
                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                  (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                  (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                  (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                  (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                  (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                  Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                  (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                  Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                  DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                  (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                  Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                  Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                  (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                  Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                  (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                  Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                  (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                  (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                  Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                  McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                  (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                  (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                  (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                  (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                  (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                  (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                             Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3273   JANSSENBIO‐PL_2‐0002981   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                                                                                                                                                           2/24/2003
                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                  (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                  (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                  (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                  (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                  (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                  Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                  (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                  Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                  DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                  (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                  Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                  Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                  (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                  Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                  (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                  Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                  (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                  (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                  Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                  McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                  (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                  (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                  (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                  (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                  (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                  (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                             Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3274   JANSSENBIO‐PL_2‐0002982   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                                                                                                                                                           2/24/2003




                                                                                                                                                                                                                        150
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 152 of 201

                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3275   JANSSENBIO‐PL_2‐0002983   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3276   JANSSENBIO‐PL_2‐0002984   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3277   JANSSENBIO‐PL_2‐0002985   Withheld   DOC   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3278   JANSSENBIO‐PL_2‐0002986   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3279   JANSSENBIO‐PL_2‐0002987   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3280   JANSSENBIO‐PL_2‐0002988   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003




                                                                                                                                                                                                                       151
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 153 of 201

                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3281   JANSSENBIO‐PL_2‐0002989   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3282   JANSSENBIO‐PL_2‐0002990   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3283   JANSSENBIO‐PL_2‐0002991   Withheld   DOC   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3284   JANSSENBIO‐PL_2‐0002992   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3285   JANSSENBIO‐PL_2‐0002993   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3286   JANSSENBIO‐PL_2‐0002994   Withheld   DOC   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003




                                                                                                                                                                                                                       152
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 154 of 201

                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3287   JANSSENBIO‐PL_2‐0002995   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3288   JANSSENBIO‐PL_2‐0002996   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3289   JANSSENBIO‐PL_2‐0002997   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3290   JANSSENBIO‐PL_2‐0002998   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3291   JANSSENBIO‐PL_2‐0002999   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3292   JANSSENBIO‐PL_2‐0003000   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003




                                                                                                                                                                                                                       153
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 155 of 201

                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3293   JANSSENBIO‐PL_2‐0003001   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3294   JANSSENBIO‐PL_2‐0003002   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3295   JANSSENBIO‐PL_2‐0003003   Withheld   DOC   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3296   JANSSENBIO‐PL_2‐0003004   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3297   JANSSENBIO‐PL_2‐0003005   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3298   JANSSENBIO‐PL_2‐0003006   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003




                                                                                                                                                                                                                       154
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 156 of 201

                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3299   JANSSENBIO‐PL_2‐0003007   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3300   JANSSENBIO‐PL_2‐0003008   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3301   JANSSENBIO‐PL_2‐0003009   Withheld   DOC   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3302   JANSSENBIO‐PL_2‐0003010   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3303   JANSSENBIO‐PL_2‐0003011   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3304   JANSSENBIO‐PL_2‐0003012   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003




                                                                                                                                                                                                                       155
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 157 of 201

                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3305   JANSSENBIO‐PL_2‐0003013   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3306   JANSSENBIO‐PL_2‐0003014   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3307   JANSSENBIO‐PL_2‐0003015   Withheld   DOC   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3308   JANSSENBIO‐PL_2‐0003016   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Joseph Metro ^              Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3309   JANSSENBIO‐PL_2‐0003017   Withheld   DOC   Zalesky, Christopher   Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Joseph Metro ^              Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3310   JANSSENBIO‐PL_2‐0003018   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003




                                                                                                                                                                                                                       156
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 158 of 201

                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3311   JANSSENBIO‐PL_2‐0003019   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3312   JANSSENBIO‐PL_2‐0003020   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Joseph Metro ^              Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3313   JANSSENBIO‐PL_2‐0003021   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Joseph Metro ^              Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3314   JANSSENBIO‐PL_2‐0003022   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                       Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3315   JANSSENBIO‐PL_2‐0003023   Withheld   doc   Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003
                                                                                                                                                Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                           Tamara Scoville ^           Joy Johnson              Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3316   JANSSENBIO‐PL_2‐0003024   Withheld   doc   Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                        2/24/2003




                                                                                                                                                                                                                       157
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 159 of 201

                                                                                                                                                           Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                           (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                           (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                           (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                           (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                           (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                           Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                           (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                           Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                           DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                           (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                           Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                           Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                           (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                           Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                           (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                           Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                           (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                           (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                           Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                           McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                           (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                           (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                           (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                           (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                           (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                           (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                   Tamara Scoville ^           Joy Johnson                 Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3317   JANSSENBIO‐PL_2‐0003025   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)      Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                                                                                                                                                                           2/24/2003
                                                                                                                                                           Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                           (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                           (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                           (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                           (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                           (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                           Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                           (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                           Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                           DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                           (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                           Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                           Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                           (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                           Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                           (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                           Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                           (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                           (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                           Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                           McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                           (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                           (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                           (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                           (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                           (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                           (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                               Joy Johnson                 Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3318   JANSSENBIO‐PL_2‐0003026   Withheld   doc     Zalesky, Christopher         Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)      Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                                                                                                                                                                           2/24/2003
                                                                                                                                                           Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                           (Mares@ocdus.jnj.com); Freddy Arnauts (farnaut1@psmbe.jnj.com); Tanya Atwood
                                                                                                                                                           (tatwood@janus.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak
                                                                                                                                                           (rbartch1@obius.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Laura Benedetto
                                                                                                                                                           (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michelle Brennan
                                                                                                                                                           (mbrenn9@mccus.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com);
                                                                                                                                                           Anthony Carter (acarter2@its.jnj.com); Elizabeth Chen (echen@ethus.jnj.com); Michael Chester ^
                                                                                                                                                           (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Linda Conticchio (Icontic@its.jnj.com);
                                                                                                                                                           Yasemin Dalkali (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene
                                                                                                                                                           DaRosa (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Tonia Gilley
                                                                                                                                                           (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kay Giroux (kgiroux@its.jnj.com); Bill
                                                                                                                                                           Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com); Bridget Ikner (bikner@lfsus.jnj.com);
                                                                                                                                                           Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                           (fjimene3@its.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                           Bill Kayser (bkayser1@aspus.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Mark Kelly
                                                                                                                                                           (mkelly01@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com);
                                                                                                                                                           Mike Kollar (mkollar@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                           (slockwo1@its.jnj.com); Colleen Maier (cmaier2@mccus.jnj.com); David Mallegol
                                                                                                                                                           (dmalleg@janus.jnj.com); Lynn Marran (lmarran@its.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com);
                                                                                                                                                           Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve
                                                                                                                                                           McKanry (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                           (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                           (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                           (mmoran@its.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                           (jodonnel@indus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Craig Powers
                                                                                                                                                           (cpower2@ethus.jnj.com); Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn
                                                                                                                                                           (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                               Joy Johnson                 Patricia Rothschild (prothsc1@janus.jnj.com); Howard Samms (hsamms@hcsus.jnj.com); Carmen
3319   JANSSENBIO‐PL_2‐0003027   Withheld   doc     Zalesky, Christopher         Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)      Sampson (csampson@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com); Carol Scholz                                                                                                                                                                           2/24/2003

                                                                                                                                                           Mary Chambers (mchambe4@cntus.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Kathleen                                                                                                                                                                                   Email chain with attachment(s) requesting legal advice
                                                    Hamill, Kathleen; Zalesky,                                                                             Hamill ^ (khamill@cntus.jnj.com); Christine Zaleski (czaleski@its.jnj.com); Christopher Zalesky                                                                                                                                                                            regarding issues relating to lawfulness of practice
3320   JANSSENBIO‐PL_2‐0003028   Withheld   eMail   Christopher                  Attorney‐Client                                                           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                          Kathleen Hamill ^ (khamill@cntus.jnj.com)       Christopher Zalesky (czalesky@its.jnj.com)    Mary Chambers (mchambe4@cntus.jnj.com)               2/22/2003   management or IOI support services.

                                                                                                                                                           Mary Chambers (mchambe4@cntus.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Kathleen
                                                    Hamill, Kathleen; Zalesky,                     Mary Bradley                Mary Chambers               Hamill ^ (khamill@cntus.jnj.com); Christine Zaleski (czaleski@its.jnj.com); Christopher Zalesky
3321   JANSSENBIO‐PL_2‐0003029   Withheld   xls     Christopher                  Attorney‐Client   (mbradle5@its.jnj.com)      (mchambe4@cntus.jnj.com)    (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                             2/22/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                      Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                           Joseph Braunreuther ^ (jbraunre@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Michael McCulley ^     Joseph Braunreuther ^ (jbraunre@its.jnj.com);                                                                                                                  internal guidance concerning practice management or IOI
3322   JANSSENBIO‐PL_2‐0003030   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                           (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                         Michael McCulley ^ (mmccull@corus.jnj.com)      Stacey Lallier (slallier@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)           4/20/2009   support.

                                                                                                   Ellen Morrison              Stacey Lallier              Joseph Braunreuther ^ (jbraunre@its.jnj.com); Stacey Lallier (slallier@its.jnj.com); Michael McCulley ^
3323   JANSSENBIO‐PL_2‐0003031   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (eam6@columbia.edu)         (slallier@its.jnj.com)      (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                            4/20/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                      Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                      internal guidance concerning practice management or IOI
3324   JANSSENBIO‐PL_2‐0003032   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                           Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                     Christopher Zalesky (czalesky@its.jnj.com)      Tamara Scoville ^ (tscoville@reedsmith.com)                                                        9/17/2003   support.
                                                                                                   Christopher Zalesky         Christopher Zalesky
3325   JANSSENBIO‐PL_2‐0003033   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)      Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                        9/17/2003
                                                                                                                               Christopher Zalesky
3326   JANSSENBIO‐PL_2‐0003034   Withheld   ppt     Zalesky, Christopher         Attorney‐Client   Centocor, Inc.              (czalesky@its.jnj.com)      Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                        9/17/2003

3327   JANSSENBIO‐PL_2‐0003035   Withheld           Zalesky, Christopher         Attorney‐Client                                                           Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                        9/17/2003
                                                                                                   Christopher Zalesky         Christopher Zalesky
3328   JANSSENBIO‐PL_2‐0003036   Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)      Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                        9/17/2003
                                                                                                   Christopher Zalesky         Christopher Zalesky
3329   JANSSENBIO‐PL_2‐0003037   Withheld           Zalesky, Christopher         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)      Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                        9/17/2003
                                                                                                   Bruce Kuhlik ^              Freddy Jimenez ^
3330   JANSSENBIO‐PL_2‐0003038   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (bkuhlik@cov.com)           (fjimene3@its.jnj.com)      Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                        9/17/2003
                                                                                                   Bruce Kuhlik ^              Freddy Jimenez ^
3331   JANSSENBIO‐PL_2‐0003039   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (bkuhlik@cov.com)           (fjimene3@its.jnj.com)      Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                        9/17/2003
                                                                                                                               Christopher Zalesky
3332   JANSSENBIO‐PL_2‐0003040   Withheld   doc     Zalesky, Christopher         Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)      Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                        9/17/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                      Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                      preparation/review of internal training or internal
                                                                                                                                                                                                                                                                                                                       Christine Bloomquist ^                                                                                         guidance concerning practice management or IOI
3333   JANSSENBIO‐PL_2‐0003041   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                           Christine Bloomquist ^ (cbloomquist@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)              Christopher Zalesky (czalesky@its.jnj.com)      (cbloomquist@reedsmith.com)                                                                        10/7/2003   support.

                                                                                                   Tamara Scoville ^
3334   JANSSENBIO‐PL_2‐0003042   Withheld   DOC     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User             Christine Bloomquist ^ (cbloomquist@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                 10/7/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                      Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                                      legal advice regarding preparation/review of internal
                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky                                                                                                       Christopher Zalesky (czalesky@its.jnj.com); Tamara               training or internal guidance concerning practice
3335   JANSSENBIO‐PL_2‐0003043   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                           (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                         Freddy Jimenez ^ (fjimene3@its.jnj.com)         Sue Seferian ^ (sseferia@its.jnj.com)         Scoville ^ (tscoville@reedsmith.com)                 4/28/2009   management or IOI support.

                                                                                                   David Lyon                  David Lyon                  Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3336   JANSSENBIO‐PL_2‐0003044   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (dlyon@cntus.jnj.com)       (dlyon@cntus.jnj.com)       (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                            4/28/2009

                                                                                                                                                                                                                                                                                                                                                                                                                                      Email chain with attachment(s) providing information to
                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                                           (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky                                                                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                   Christopher Zalesky (czalesky@its.jnj.com); Tamara               internal guidance concerning practice management or IOI
3337   JANSSENBIO‐PL_2‐0003045   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                           (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                         Freddy Jimenez ^ (fjimene3@its.jnj.com)         Sue Seferian ^ (sseferia@its.jnj.com)         Scoville ^ (tscoville@reedsmith.com)                 4/28/2009   support.


                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^
                                                                                                                                                           (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
                                                                                                   Tamara Scoville ^           Tamara Scoville ^           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3338   JANSSENBIO‐PL_2‐0003046   Withheld   DOC     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (tscoville@reedsmith.com)   (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                            4/28/2009



                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Pamela Michaels                                                                                                                                                                           Email chain with attachment(s) reflecting legal advice
                                                                                                                                                           (pmichae2@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                           Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher                                                                                                       Christopher Zalesky (czalesky@its.jnj.com); Tamara               internal guidance concerning practice management or IOI
3339   JANSSENBIO‐PL_2‐0003047   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                           Zalesky (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                 Freddy Jimenez ^ (fjimene3@its.jnj.com)         Sue Seferian ^ (sseferia@its.jnj.com)         Scoville ^ (tscoville@reedsmith.com)                 4/28/2009   support.


                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Pamela Michaels
                                                                                                                                                           (pmichae2@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
                                                                                                   Tamara Scoville ^           Christopher Zalesky         Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher
3340   JANSSENBIO‐PL_2‐0003048   Withheld   doc     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)      Zalesky (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                    4/28/2009



                                                                                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Pamela Michaels
                                                                                                                                                           (pmichae2@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
                                                                                                   Tamara Scoville ^           Christopher Zalesky         Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher
3341   JANSSENBIO‐PL_2‐0003049   Withheld   DOC     Zalesky, Christopher         Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)      Zalesky (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                    4/28/2009



                                                                                                                                                           David Bloch ^ (dbloch@reedsmith.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com); Freddy                                                                                                                                                                           Email chain with attachment(s) providing information to
                                                                                                                                                           Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                                               counsel for the purpose of receiving legal advice
                                                                                                                                                           (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky                                                                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                   Christopher Zalesky (czalesky@its.jnj.com); Tamara               internal guidance concerning practice management or IOI
3342   JANSSENBIO‐PL_2‐0003050   Withheld   eMail   Zalesky, Christopher         Attorney‐Client                                                           (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                         Freddy Jimenez ^ (fjimene3@its.jnj.com)         Sue Seferian ^ (sseferia@its.jnj.com)         Scoville ^ (tscoville@reedsmith.com)                 4/28/2009   support.




                                                                                                                                                                                                                                  158
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 160 of 201


                                                                                                                                                                                                            David Bloch ^ (dbloch@reedsmith.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^
                                                                                                                                                                                                            (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
                                                                                                                                                    Tamara Scoville ^           Christopher Zalesky         (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3343   JANSSENBIO‐PL_2‐0003051                                                       Withheld   DOC     Zalesky, Christopher      Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)      (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                                     4/28/2009



                                                                                                                                                                                                            David Bloch ^ (dbloch@reedsmith.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^
                                                                                                                                                                                                            (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                         Christine Bloomquist ^                        David Bloch ^ (dbloch@reedsmith.com); Tamara Scoville
3344   JANSSENBIO‐PL_2‐0003052                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                          Christopher Zalesky (czalesky@its.jnj.com)         (cbloomquist@reedsmith.com)                   ^ (tscoville@reedsmith.com)                               4/28/2009



                                                                                                                                                                                                            David Bloch ^ (dbloch@reedsmith.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^
                                                                                                                                                                                                            (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3345   JANSSENBIO‐PL_2‐0003053                                                       Withheld   DOC     Zalesky, Christopher      Attorney‐Client   CEBLOOMQ                    Reed Smith User             (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                                     4/28/2009


                                                                                                                                                                                                            David Bloch ^ (dbloch@reedsmith.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^
                                                                                                                                                                                                            (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                         Christine Bloomquist ^                        David Bloch ^ (dbloch@reedsmith.com); Tamara Scoville
3346   JANSSENBIO‐PL_2‐0003054                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                          Christopher Zalesky (czalesky@its.jnj.com)         (cbloomquist@reedsmith.com)                   ^ (tscoville@reedsmith.com)                               4/28/2009



                                                                                                                                                                                                            David Bloch ^ (dbloch@reedsmith.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^
                                                                                                                                                                                                            (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3347   JANSSENBIO‐PL_2‐0003055                                                       Withheld   DOC     Zalesky, Christopher      Attorney‐Client   CEBLOOMQ                    Reed Smith User             (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                                     4/28/2009



                                                                                                                                                                                                            David Bloch ^ (dbloch@reedsmith.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^
                                                                                                                                                                                                            (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                            (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3348   JANSSENBIO‐PL_2‐0003056                                                       Withheld   DOC     Zalesky, Christopher      Attorney‐Client   CEBLOOMQ                    Reed Smith User             (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                                     4/28/2009



                                                                                                                                                                                                            David Bloch ^ (dbloch@reedsmith.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com); Freddy
                                                                                                                                                                                                            Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^
                                                                                                                                                                                                            (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
                                                                                                                                                    Tamara Scoville ^                                       (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3349   JANSSENBIO‐PL_2‐0003057                                                       Withheld   DOC     Zalesky, Christopher      Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User             (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                                     4/28/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                            Michael McCulley ^ (mmccull@corus.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                          internal guidance concerning practice management or IOI
3350   JANSSENBIO‐PL_2‐0003058                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           (czalesky@its.jnj.com)                                                                                                                                       Christopher Zalesky (czalesky@its.jnj.com)         Patricia Villani ^ (pvillan1@its.jnj.com)     Michael McCulley ^ (mmccull@corus.jnj.com)                5/13/2009   support.
                                                                                                                                                    Sue Seferian ^              Stephanie Gilson ^          Michael McCulley ^ (mmccull@corus.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Christopher Zalesky
3351   JANSSENBIO‐PL_2‐0003059                                                       Withheld   docx    Zalesky, Christopher      Attorney‐Client   (sseferia@its.jnj.com)      (sgilson@its.jnj.com)       (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                  5/13/2009
                                                                                                                                                                                                                                                                                                                                                                         Bill Glaser (bglaser@its.jnj.com); Chris Tompson
                                                                                                                                                                                                                                                                                                                                                                         (ctompso1@its.jnj.com); Christopher Zalesky
                                                                                                                                                                                                            Jose Barro (jbarro@its.jnj.com); Judith Fernandez (jfernan9@its.jnj.com); Bill Glaser (bglaser@its.jnj.com);                                                 (czalesky@its.jnj.com); Judith Fernandez
                                                                                                                                                                                                            Kristy Lee (klee3@its.jnj.com); Shelley Reagan (sreagan@its.jnj.com); Chris Tompson                                                                          (jfernan9@its.jnj.com); Shelley Reagan                                                                                                                                 Email chain reflecting legal advice from the Law
3352                             JANSSENBIO‐064‐00004594   JANSSENBIO‐064‐00004595   Redacted   eMail   Zalesky, Christopher      Attorney‐Client                                                           (ctompso1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                           (sreagan@its.jnj.com)                              Jose Barro (jbarro@its.jnj.com)                                                                         5/22/2009   Department ^ regarding the California Quality Initiative.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) providing information to
                                                                                                                                                                                                            Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); David Lyon                                                                                                                                                                                                                                              counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            (dlyon@cntus.jnj.com); David Lyon (dlyon@cntus.jnj.com); Peggy Mellody (pmellody@its.jnj.com);                                                                                                                                                                Cheryl Cohen (ccohen3@cntus.jnj.com); Christopher                     regarding preparation/review of internal training or
                                                                                                        Cohen, Cheryl; Zalesky,                                                                             Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Tamara Scoville ^                                                                                                                                                    Zalesky (czalesky@its.jnj.com); David Lyon                            internal guidance concerning practice management or IOI
3353   JANSSENBIO‐PL_2‐0003060                                                       Withheld   eMail   Christopher               Attorney‐Client                                                           (tscoville@reedsmith.com)                                                                                                                                    Tamara Scoville ^ (tscoville@reedsmith.com)        Peggy Mellody (pmellody@its.jnj.com)          (dlyon@cntus.jnj.com)                                     9/17/2003   support.

                                                                                                                                                                                                            Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); David Lyon
                                                                                                                                                                                                            (dlyon@cntus.jnj.com); David Lyon (dlyon@cntus.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                        Cohen, Cheryl; Zalesky,                     Linda Lmontgomery           Peggy Mellody               Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Tamara Scoville ^
3354   JANSSENBIO‐PL_2‐0003061                                                       Withheld   doc     Christopher               Attorney‐Client   (lmontgom@cntus.jnj.com)    (pmellody@its.jnj.com)      (tscoville@reedsmith.com)                                                                                                                                                                                                                                                                                               9/17/2003

                                                                                                                                                                                                            Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); David Lyon
                                                                                                                                                                                                            (dlyon@cntus.jnj.com); David Lyon (dlyon@cntus.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                        Cohen, Cheryl; Zalesky,                     Linda Lmontgomery           Peggy Mellody               Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Tamara Scoville ^
3355   JANSSENBIO‐PL_2‐0003062                                                       Withheld   doc     Christopher               Attorney‐Client   (lmontgom@cntus.jnj.com)    (pmellody@its.jnj.com)      (tscoville@reedsmith.com)                                                                                                                                                                                                                                                                                               9/17/2003



                                                                                                                                                                                                            Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); David Lyon                                                                                                                                                                                                                                              Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                            (dlyon@cntus.jnj.com); David Lyon (dlyon@cntus.jnj.com); Peggy Mellody (pmellody@its.jnj.com);                                                                                                                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                                                                            Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^                                                                                                                                                                                                                          internal guidance concerning practice management or IOI
3356   JANSSENBIO‐PL_2‐0003063                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           (tscoville@reedsmith.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                       Christopher Zalesky (czalesky@its.jnj.com)         Tamara Scoville ^ (tscoville@reedsmith.com)                                                             9/16/2003   support.



                                                                                                                                                                                                            Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); David Lyon
                                                                                                                                                                                                            (dlyon@cntus.jnj.com); David Lyon (dlyon@cntus.jnj.com); Peggy Mellody (pmellody@its.jnj.com);
                                                                                                                                                    Linda Lmontgomery           Peggy Mellody               Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^
3357   JANSSENBIO‐PL_2‐0003064                                                       Withheld   doc     Zalesky, Christopher      Attorney‐Client   (lmontgom@cntus.jnj.com)    (pmellody@its.jnj.com)      (tscoville@reedsmith.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                                  9/16/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                internal guidance concerning practice management or IOI
3358   JANSSENBIO‐PL_2‐0003065                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                      Christopher Zalesky (czalesky@its.jnj.com)         Tamara Scoville ^ (tscoville@reedsmith.com)                                                             9/16/2003   support.
                                                                                                                                                    Cheryl Cohen                Cheryl Cohen
3359   JANSSENBIO‐PL_2‐0003066                                                       Withheld   doc     Zalesky, Christopher      Attorney‐Client   (ccohen3@cntus.jnj.com)     (ccohen3@cntus.jnj.com)     Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 9/16/2003

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                            David Lyon (dlyon@cntus.jnj.com); David Lyon (dlyon@cntus.jnj.com); Tamara Scoville ^                                                                                                                                                                                                                                               from Outside Counsel regarding preparation/review of
                                                                                                                                                                                                            (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                                                                                          internal training or internal guidance concerning practice
3360   JANSSENBIO‐PL_2‐0003067                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           (czalesky@its.jnj.com)                                                                                                                                       Christopher Zalesky (czalesky@its.jnj.com)         David Lyon (dlyon@cntus.jnj.com)                                                                        9/22/2003   management or IOI support.
                                                                                                                                                                                                            David Lyon (dlyon@cntus.jnj.com); David Lyon (dlyon@cntus.jnj.com); Tamara Scoville ^
                                                                                                                                                    Tamara Scoville ^           Tamara Scoville ^           (tscoville@reedsmith.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3361   JANSSENBIO‐PL_2‐0003068                                                       Withheld   DOC     Zalesky, Christopher      Attorney‐Client   (tscoville@reedsmith.com)   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                                                  9/22/2003



                                                                                                                                                                                                            Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); David Lyon                                                                                                                                                                                                                                              Email chain requesting legal advice from Outside Counsel
                                                                                                                                                                                                            (dlyon@cntus.jnj.com); Peggy Mellody (pmellody@its.jnj.com); Peggy Mellody (pmellody@its.jnj.com);                                                                                                                                                                                                                                  regarding preparation/review of internal training or
                                                                                                        Cohen, Cheryl; Zalesky,                                                                             Mark Swanson (mswanson@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher                                                                                                                                                                Cheryl Cohen (ccohen3@cntus.jnj.com); David Lyon                      internal guidance concerning practice management or IOI
3362                             JANSSENBIO‐064‐00005455   JANSSENBIO‐064‐00005455   Redacted   eMail   Christopher               Attorney‐Client                                                           Zalesky (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                  Christopher Zalesky (czalesky@its.jnj.com)         Peggy Mellody (pmellody@its.jnj.com)          (dlyon@cntus.jnj.com)                                     9/28/2003   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                            Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^                                                                                                                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                                                                            (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                    Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^                internal guidance concerning practice management or IOI
3363   JANSSENBIO‐PL_2‐0003069                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                   Christopher Zalesky (czalesky@its.jnj.com)         Sue Seferian ^ (sseferia@its.jnj.com)         (mmccull@corus.jnj.com)                                  11/17/2003   support.

                                                                                                                                                                                                            Joy Johnson (jjohns14@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
                                                                                                                                                    Tamara Scoville ^           Joy Johnson                 (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3364   JANSSENBIO‐PL_2‐0003070                                                       Withheld   doc     Zalesky, Christopher      Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                             11/17/2003

                                                                                                                                                                                                                                                                                                                           Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                                                                          Email chain with attachment(s) collecting information at
                                                                                                                                                                                                                                                                                                                           John Murray (jmurray6@cntus.jnj.com);                                                                                                                                                                                direction of Freddy Jimenez ^ for the purpose of
3365   JANSSENBIO‐PL_2‐0003071                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                               Maripat Rhood (mrhood@cntus.jnj.com)          Maripat Rhood (mrhood@cntus.jnj.com)               Christopher Zalesky (czalesky@its.jnj.com)                                                              11/4/2003   providing legal advice regarding training.
                                                                                                                                                                                Christopher Zalesky
3366   JANSSENBIO‐PL_2‐0003072                                                       Withheld   ppt     Zalesky, Christopher      Attorney‐Client   David Mackie                (czalesky@its.jnj.com)      Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                        11/4/2003

3367   JANSSENBIO‐PL_2‐0003073                                                       Withheld           Zalesky, Christopher      Attorney‐Client                                                           Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                        11/4/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                internal guidance concerning practice management or IOI
3368   JANSSENBIO‐PL_2‐0003074                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                          Freddy Jimenez ^ (fjimene3@its.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)                                                              11/3/2003   support.
                                                                                                                                                                                Christopher Zalesky
3369   JANSSENBIO‐PL_2‐0003075                                                       Withheld   ppt     Zalesky, Christopher      Attorney‐Client   David Mackie                (czalesky@its.jnj.com)      Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                     11/3/2003

3370   JANSSENBIO‐PL_2‐0003076                                                       Withheld           Zalesky, Christopher      Attorney‐Client                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                     11/3/2003
                                                                                                                                                    Christopher Zalesky         Christopher Zalesky
3371   JANSSENBIO‐PL_2‐0003077                                                       Withheld   ppt     Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)      Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                     11/3/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                            Joseph Braunreuther ^ (jbraunre@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Freddy Jimenez                                                                                                                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Joseph                       internal guidance concerning practice management or IOI
3372   JANSSENBIO‐PL_2‐0003078                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                         Michael Chester ^ (mcheste1@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)    Braunreuther ^ (jbraunre@its.jnj.com)                     11/7/2003   support.

                                                                                                                                                    Dale Diefenderfer                                       Joseph Braunreuther ^ (jbraunre@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Freddy Jimenez
3373   JANSSENBIO‐PL_2‐0003079                                                       Withheld   doc     Zalesky, Christopher      Attorney‐Client   (ddiefend@its.jnj.com)      Craig Fraser                ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                    11/7/2003

                                                                                                                                                                                Christopher Zalesky         Joseph Braunreuther ^ (jbraunre@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Freddy Jimenez
3374   JANSSENBIO‐PL_2‐0003080                                                       Withheld   doc     Zalesky, Christopher      Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)      ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                    11/7/2003

                                                                                                                                                    Christopher Zalesky         Christopher Zalesky         Joseph Braunreuther ^ (jbraunre@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Freddy Jimenez
3375   JANSSENBIO‐PL_2‐0003081                                                       Withheld   ppt     Zalesky, Christopher      Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)      ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                    11/7/2003

                                                                                                                                                    Tamara Scoville ^           Tamara Scoville ^           Joseph Braunreuther ^ (jbraunre@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Freddy Jimenez
3376   JANSSENBIO‐PL_2‐0003082                                                       Withheld   DOC     Zalesky, Christopher      Attorney‐Client   (tscoville@reedsmith.com)   (tscoville@reedsmith.com)   ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                    11/7/2003

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                            (dlyon@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky                                                                                                                                                                                                                                             internal guidance concerning practice management or IOI
3377   JANSSENBIO‐PL_2‐0003083                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                           Freddy Jimenez ^ (fjimene3@its.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)                                                              11/4/2003   support.

                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon
                                                                                                                                                                                                            (dlyon@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky
3378   JANSSENBIO‐PL_2‐0003084                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                           David Lyon (dlyon@cntus.jnj.com)                   Tamara Scoville ^ (tscoville@reedsmith.com) Christopher Zalesky (czalesky@its.jnj.com)                  11/4/2003

                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); David Lyon
                                                                                                                                                    Tamara Scoville ^           Tamara Scoville ^           (dlyon@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky
3379   JANSSENBIO‐PL_2‐0003085                                                       Withheld   DOC     Zalesky, Christopher      Attorney‐Client   (tscoville@reedsmith.com)   (tscoville@reedsmith.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                      11/4/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email with attachment(s) reflecting request for legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                advice from Legal Department regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                                                                                                                                                                                                                                         Christine Bloomquist ^                                                                                                                                                 guidance concerning practice management or IOI
3380   JANSSENBIO‐PL_2‐0003086                                                       Withheld   eMail   Zalesky, Christopher      Attorney‐Client                                                           Christopher Zalesky (czalesky@its.jnj.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com)                                                               (cbloomquist@reedsmith.com)                        Christopher Zalesky (czalesky@its.jnj.com)                                                             11/19/2003   support.

                                                                                                                                                    Tamara Scoville ^           Christopher Zalesky
3381   JANSSENBIO‐PL_2‐0003087                                                       Withheld   DOC     Zalesky, Christopher      Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com)                                                                                                                                                                                                                         11/19/2003




                                                                                                                                                                                                                                                                                    159
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 161 of 201


                                                                                                                                                                                                      Todd DeSilvia (tdesilvi@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Mensh                                                                                                                                                                        Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                      (emensh@cntus.jnj.com); Eric Mensh (emensh@cntus.jnj.com); Patricia Sandler                                                                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                                                                      (psandler@cntus.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Terrence Taggart (ttaggart@its.jnj.com);                                                Eric Mensh (emensh@cntus.jnj.com); Freddy                                                                 internal guidance concerning practice management or IOI
3382   JANSSENBIO‐PL_2‐0003088                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                                                             Jimenez ^ (fjimene3@its.jnj.com)                Christopher Zalesky (czalesky@its.jnj.com)     9/2/2003   support.

                                                                                                                                                                                                      Todd DeSilvia (tdesilvi@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Eric Mensh
                                                                                                                                                                                                      (emensh@cntus.jnj.com); Eric Mensh (emensh@cntus.jnj.com); Patricia Sandler
                                                                                                                                                 Patricia Sandler            Christopher Zalesky      (psandler@cntus.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Terrence Taggart (ttaggart@its.jnj.com);
3383   JANSSENBIO‐PL_2‐0003089                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (psandler@cntus.jnj.com)    (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                            9/2/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       internal guidance concerning practice management or IOI
3384   JANSSENBIO‐PL_2‐0003090                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                Tamara Scoville ^ (tscoville@reedsmith.com)     Christopher Zalesky (czalesky@its.jnj.com)    9/19/2003   support.
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3385   JANSSENBIO‐PL_2‐0003091                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                              9/19/2003

                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky
3386   JANSSENBIO‐PL_2‐0003092                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                              9/19/2003
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3387   JANSSENBIO‐PL_2‐0003093                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                              9/19/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3388   JANSSENBIO‐PL_2‐0003094                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3389   JANSSENBIO‐PL_2‐0003095                                                                                                                                                                                                                                                                                                                                                                                                                                         2024

                                                                                                                                                                                                      Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Firstlake ; Mail
3390   JANSSENBIO‐PL_2‐0003096                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Delivery Subsystem (mailer‐daemon@ncsusraimge05.jnj.com)                                                                                               Firstlake                                       Christopher Zalesky (czalesky@its.jnj.com)   12/18/2003

                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Firstlake ; Mail
3391   JANSSENBIO‐PL_2‐0003097                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Delivery Subsystem (mailer‐daemon@ncsusraimge05.jnj.com)                                                                                                                                                                                            12/18/2003

                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Firstlake ; Mail
3392   JANSSENBIO‐PL_2‐0003098                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Delivery Subsystem (mailer‐daemon@ncsusraimge05.jnj.com)                                                                                                                                                                                            12/18/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3393   JANSSENBIO‐PL_2‐0003099                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3394   JANSSENBIO‐PL_2‐0003100                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3395   JANSSENBIO‐PL_2‐0003101                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3396   JANSSENBIO‐PL_2‐0003102                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3397   JANSSENBIO‐PL_2‐0003103                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3398   JANSSENBIO‐PL_2‐0003104                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3399   JANSSENBIO‐PL_2‐0003105                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3400   JANSSENBIO‐PL_2‐0003106                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3401   JANSSENBIO‐PL_2‐0003107                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3402   JANSSENBIO‐PL_2‐0003108                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       internal guidance concerning practice management or IOI
3403   JANSSENBIO‐PL_2‐0003109                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                    Freddy Jimenez ^ (fjimene3@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)    7/23/2003   support.
                                                                                                                                                 Heidi Carmain               Christopher Zalesky
3404   JANSSENBIO‐PL_2‐0003110                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (hcarmain@its.jnj.com)      (czalesky@its.jnj.com)   Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                  7/23/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain providing legal advice from Freddy Jimenez ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                   Christopher Zalesky (czalesky@its.jnj.com);                                                                                                         internal guidance concerning practice management or IOI
3405   JANSSENBIO‐PL_2‐0003111                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                          Freddy Jimenez ^ (fjimene3@corus.jnj.com) Freddy Jimenez ^ (fjimene3@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)    7/24/2003   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email with attachment(s) reflecting legal advice from Sue
3406   JANSSENBIO‐PL_2‐0003112                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Jose Barro (jbarro@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                            Jose Barro (jbarro@its.jnj.com)                 Christopher Zalesky (czalesky@its.jnj.com)     5/5/2009   Sefarian ^ regarding internal training.
                                                                                                                                                                             Christopher Zalesky
3407   JANSSENBIO‐PL_2‐0003113                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Econdurs                    (czalesky@its.jnj.com)   Jose Barro (jbarro@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                           5/5/2009

                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain reflecting legal advice from Michael McCulley
3408                             JANSSENBIO‐064‐00004620   JANSSENBIO‐064‐00004620   Redacted   eMail   Zalesky, Christopher   Attorney‐Client                                                        Patricia Molino (pmolino@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                      Patricia Molino (pmolino@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)    5/13/2009   ^ regarding health care compliance policies.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Outside Counsel regarding preparation/review of internal
                                                                                                                                                                                                      John Ramsey (jramsey@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christine Bloomquist                                                                                                                                                            training or internal guidance concerning practice
3409   JANSSENBIO‐PL_2‐0003114                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        ^ (cbloomquist@reedsmith.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                             John Ramsey (jramsey@cntus.jnj.com)             Christopher Zalesky (czalesky@its.jnj.com)    12/9/2003   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                             Christine Bloomquist ^
                                                                                                                                                                                                      John Ramsey (jramsey@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christine Bloomquist                                                  (cbloomquist@reedsmith.com); Tamara Scoville ^
3410   JANSSENBIO‐PL_2‐0003115                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        ^ (cbloomquist@reedsmith.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                             (tscoville@reedsmith.com)                      Christopher Zalesky (czalesky@its.jnj.com)     12/9/2003


                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      John Ramsey (jramsey@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christine Bloomquist
3411   JANSSENBIO‐PL_2‐0003116                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   ^ (cbloomquist@reedsmith.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                           12/9/2003

                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       from Outside Counsel regarding preparation/review of
                                                                                                                                                                                                      Eileen Slattery (eslatter@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christine Bloomquist                                                                                                                                                       internal training or internal guidance concerning practice
3412   JANSSENBIO‐PL_2‐0003117                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        ^ (cbloomquist@reedsmith.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                             Eileen Slattery (eslatter@cntus.jnj.com)        Christopher Zalesky (czalesky@its.jnj.com)    12/9/2003   management or IOI support.


                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      Eileen Slattery (eslatter@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christine Bloomquist
3413   JANSSENBIO‐PL_2‐0003118                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   ^ (cbloomquist@reedsmith.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                           12/9/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                             Christine Bloomquist ^                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                      Christopher Zalesky (czalesky@its.jnj.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com);                                                        (cbloomquist@reedsmith.com); Tamara Scoville ^                                                            internal guidance concerning practice management or IOI
3414   JANSSENBIO‐PL_2‐0003119                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                            (tscoville@reedsmith.com)                      Christopher Zalesky (czalesky@its.jnj.com)     12/9/2003   support.

                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      Christopher Zalesky (czalesky@its.jnj.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com);
3415   JANSSENBIO‐PL_2‐0003120                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                          12/9/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                             Christine Bloomquist ^                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                      Christopher Zalesky (czalesky@its.jnj.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com);                                                        (cbloomquist@reedsmith.com); Tamara Scoville ^                                                            internal guidance concerning practice management or IOI
3416   JANSSENBIO‐PL_2‐0003121                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                            (tscoville@reedsmith.com)                      Christopher Zalesky (czalesky@its.jnj.com)     12/8/2003   support.

                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      Christopher Zalesky (czalesky@its.jnj.com); Christine Bloomquist ^ (cbloomquist@reedsmith.com);
3417   JANSSENBIO‐PL_2‐0003122                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                          12/8/2003
                                                                                                                                                                                                                                                                                                                   Abel Vecino (avecino@crdus.jnj.com);
                                                                                                                                                                                                                                                                                                                   Carmen Sampson (csampson@its.jnj.com);
                                                                                                                                                                                                                                                                                                                   Charles McMichael
                                                                                                                                                                                                                                                                                                                   (cmcmicha@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                   Zalesky (czalesky@its.jnj.com); Colleen
                                                                                                                                                                                                                                                                                                                   Maier (cmaier2@mccus.jnj.com); Darlene
                                                                                                                                                                                                                                                                                                                   Mitchell (dmitche6@crdus.jnj.com); Diane
                                                                                                                                                                                                                                                                                                                   Marsh (dmarsh2@psmus.jnj.com); Edward
                                                                                                                                                                                                                                                                                                                   Benson (ebenson5@its.jnj.com); Eugene
                                                                                                                                                                                                                                                                                                                   Tillman ^ (etillman@reedsmith.com); Greg
                                                                                                                                                                                                                                                                                                                   DuPont (gdupont@dpyus.jnj.com); Howard
                                                                                                                                                                                                                                                                                                                   Samms (hsamms@hcsus.jnj.com); Ibis
                                                                                                                                                                                                                                                                                                                   Lopez (ilopez@its.jnj.com); Joan Monahan
                                                                                                                                                                                                                                                                                                                   (jmonaha7@its.jnj.com); Joanne Whiteman
                                                                                                                                                                                                                                                                                                                   (jwhitem2@its.jnj.com); Joshuaa Feick
                                                                                                                                                                                                                                                                                                                   (cfeick@its.jnj.com); Joshuaa Harvey; Kay
                                                                                                                                                                                                                                                                                                                   Giroux (kgiroux@its.jnj.com); Kellie Hitchye
                                                                                                                                                                                                                                                                                                                   (khitchye@its.jnj.com); Kim Vavala
                                                                                                                                                                                                                                                                                                                   (kvavala@its.jnj.com); Laura Benedetto
                                                                                                                                                                                                                                                                                                                   (lbenede@its.jnj.com); Laura Cakolli
                                                                                                                                                                                                                                                                                                                   (lcakoll@its.jnj.com); Leihlani Bajacan
                                                                                                                                                                                                                                                                                                                   (lbajacan@visus.jnj.com); Linda Conticchio
                                                                                                                                                                                                                                                                                                                   (Icontic@its.jnj.com); Luciene DaRosa                                                                                                               Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                                                                                                   (ldarosa@dpyus.jnj.com); Lynn Marran                                                                                                                Reed Smith ^ regarding preparation/review of internal
                                                                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky              (lmarran@its.jnj.com); Maren Klein                                                                                                                  training or internal guidance concerning promotional
3418   JANSSENBIO‐PL_2‐0003123                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                           (mklein@its.jnj.com); Margaret Commisso ^ Carol Smith (csmith35@cntus.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)    9/29/2003   activities.

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3419   JANSSENBIO‐PL_2‐0003124                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3420   JANSSENBIO‐PL_2‐0003125                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3421   JANSSENBIO‐PL_2‐0003126                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3422   JANSSENBIO‐PL_2‐0003127                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3423   JANSSENBIO‐PL_2‐0003128                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3424   JANSSENBIO‐PL_2‐0003129                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3425   JANSSENBIO‐PL_2‐0003130                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3426   JANSSENBIO‐PL_2‐0003131                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3427   JANSSENBIO‐PL_2‐0003132                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3428   JANSSENBIO‐PL_2‐0003133                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3429   JANSSENBIO‐PL_2‐0003134                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3430   JANSSENBIO‐PL_2‐0003135                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3431   JANSSENBIO‐PL_2‐0003136                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                   9/29/2003




                                                                                                                                                                                                                                                                              160
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 162 of 201


                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3432   JANSSENBIO‐PL_2‐0003137                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3433   JANSSENBIO‐PL_2‐0003138                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3434   JANSSENBIO‐PL_2‐0003139                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3435   JANSSENBIO‐PL_2‐0003140                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3436   JANSSENBIO‐PL_2‐0003141                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3437   JANSSENBIO‐PL_2‐0003142                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3438   JANSSENBIO‐PL_2‐0003143                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3439   JANSSENBIO‐PL_2‐0003144                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3440   JANSSENBIO‐PL_2‐0003145                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003
                                                                                                                                                                                                                                                                                                                 Abel Vecino (avecino@crdus.jnj.com);
                                                                                                                                                                                                                                                                                                                 Carmen Sampson (csampson@its.jnj.com);
                                                                                                                                                                                                                                                                                                                 Charles McMichael
                                                                                                                                                                                                                                                                                                                 (cmcmicha@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                 Zalesky (czalesky@its.jnj.com); Colleen
                                                                                                                                                                                                                                                                                                                 Maier (cmaier2@mccus.jnj.com); Darlene
                                                                                                                                                                                                                                                                                                                 Mitchell (dmitche6@crdus.jnj.com); Diane
                                                                                                                                                                                                                                                                                                                 Marsh (dmarsh2@psmus.jnj.com); Edward
                                                                                                                                                                                                                                                                                                                 Benson (ebenson5@its.jnj.com); Eugene
                                                                                                                                                                                                                                                                                                                 Tillman ^ (etillman@reedsmith.com); Greg
                                                                                                                                                                                                                                                                                                                 DuPont (gdupont@dpyus.jnj.com); Howard
                                                                                                                                                                                                                                                                                                                 Samms (hsamms@hcsus.jnj.com); Ibis
                                                                                                                                                                                                                                                                                                                 Lopez (ilopez@its.jnj.com); Joan Monahan
                                                                                                                                                                                                                                                                                                                 (jmonaha7@its.jnj.com); Joanne Whiteman
                                                                                                                                                                                                                                                                                                                 (jwhitem2@its.jnj.com); Joshuaa Feick
                                                                                                                                                                                                                                                                                                                 (cfeick@its.jnj.com); Joshuaa Harvey; Kay
                                                                                                                                                                                                                                                                                                                 Giroux (kgiroux@its.jnj.com); Kellie Hitchye
                                                                                                                                                                                                                                                                                                                 (khitchye@its.jnj.com); Kim Vavala
                                                                                                                                                                                                                                                                                                                 (kvavala@its.jnj.com); Laura Benedetto
                                                                                                                                                                                                                                                                                                                 (lbenede@its.jnj.com); Laura Cakolli
                                                                                                                                                                                                                                                                                                                 (lcakoll@its.jnj.com); Leihlani Bajacan
                                                                                                                                                                                                                                                                                                                 (lbajacan@visus.jnj.com); Linda Conticchio
                                                                                                                                                                                                                                                                                                                 (Icontic@its.jnj.com); Luciene DaRosa                                                                                                     Email with attachment(s) reflecting legal advice from
                                                                                                                                                                                                                                                                                                                 (ldarosa@dpyus.jnj.com); Lynn Marran                                                                                                      Reed Smith ^ regarding preparation/review of internal
                                                                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky            (lmarran@its.jnj.com); Maren Klein                                                                                                        training or internal guidance concerning promotional
3441   JANSSENBIO‐PL_2‐0003146                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                         (mklein@its.jnj.com); Margaret Commisso ^ Carol Smith (csmith35@cntus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)   9/29/2003   activities.

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3442   JANSSENBIO‐PL_2‐0003147                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3443   JANSSENBIO‐PL_2‐0003148                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3444   JANSSENBIO‐PL_2‐0003149                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3445   JANSSENBIO‐PL_2‐0003150                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3446   JANSSENBIO‐PL_2‐0003151                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3447   JANSSENBIO‐PL_2‐0003152                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3448   JANSSENBIO‐PL_2‐0003153                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3449   JANSSENBIO‐PL_2‐0003154                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3450   JANSSENBIO‐PL_2‐0003155                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3451   JANSSENBIO‐PL_2‐0003156                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3452   JANSSENBIO‐PL_2‐0003157                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3453   JANSSENBIO‐PL_2‐0003158                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3454   JANSSENBIO‐PL_2‐0003159                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3455   JANSSENBIO‐PL_2‐0003160                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3456   JANSSENBIO‐PL_2‐0003161                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3457   JANSSENBIO‐PL_2‐0003162                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3458   JANSSENBIO‐PL_2‐0003163                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3459   JANSSENBIO‐PL_2‐0003164                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3460   JANSSENBIO‐PL_2‐0003165                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3461   JANSSENBIO‐PL_2‐0003166                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3462   JANSSENBIO‐PL_2‐0003167                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003

                                                                                                                                                 Tamara Scoville ^                                    Maripat Rhood (mrhood@cntus.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
3463   JANSSENBIO‐PL_2‐0003168                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   Reed Smith User          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       9/29/2003
                                                                                                                                                                                                                                                                                                                                                                                                                                                           REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3464   JANSSENBIO‐PL_2‐0003169                                                                                                                                                                                                                                                                                                                                                                                                                             2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                           REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3465   JANSSENBIO‐PL_2‐0003170                                                                                                                                                                                                                                                                                                                                                                                                                             2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                           REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3466   JANSSENBIO‐PL_2‐0003171                                                                                                                                                                                                                                                                                                                                                                                                                             2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                           REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3467   JANSSENBIO‐PL_2‐0003172                                                                                                                                                                                                                                                                                                                                                                                                                             2024

                                                                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
                                                                                                                                                 Tamara Scoville ^           Maripat Rhood            (czalesky@its.jnj.com); Lorraine McClain (lmcclains@comcast.net); Lorraine McClain                                                                                                                                                                   Draft guidance document reflecting legal advice from
3468   JANSSENBIO‐PL_2‐0003173                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (mrhood@cntus.jnj.com)   (lmcclains@comcast.net)                                                                                                                                                                                                                  10/9/2003   Reed Smith ^.

                                                                                                                                                                                                      Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
                                                                                                                                                 Tamara Scoville ^           Maripat Rhood            (czalesky@its.jnj.com); Lorraine McClain (lmcclains@comcast.net); Lorraine McClain                                                                                                                                                                   Draft guidance document reflecting legal advice from
3469   JANSSENBIO‐PL_2‐0003174                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (mrhood@cntus.jnj.com)   (lmcclains@comcast.net)                                                                                                                                                                                                                  10/9/2003   Reed Smith ^.
                                                                                                                                                                                                                                                                                                                                                                                                                                                           REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3470   JANSSENBIO‐PL_2‐0003175                                                                                                                                                                                                                                                                                                                                                                                                                             2024

                                                                                                                                                                                                                                                                                                                                                                                                                                                           Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                      Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                  Department regarding preparation/review of internal
                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                             training or internal guidance concerning practice
3471   JANSSENBIO‐PL_2‐0003176   JANSSENBIO‐064‐00004606   JANSSENBIO‐064‐00004606   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                   4/30/2009   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                           Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                      Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                  Department regarding preparation/review of internal
                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                             training or internal guidance concerning practice
3472   JANSSENBIO‐PL_2‐0003177   JANSSENBIO‐064‐00004608   JANSSENBIO‐064‐00004608   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                   4/30/2009   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                           Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                      Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                  Department regarding preparation/review of internal
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky      (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                             training or internal guidance concerning practice
3473   JANSSENBIO‐PL_2‐0003178   JANSSENBIO‐064‐00004615   JANSSENBIO‐064‐00004615   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                   4/30/2009   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                           Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                      Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                  Department regarding preparation/review of internal
                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                             training or internal guidance concerning practice
3474   JANSSENBIO‐PL_2‐0003179   JANSSENBIO‐064‐00004618   JANSSENBIO‐064‐00004618   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                   4/30/2009   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                           Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                      Edmund Greenidge (egreenid@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Tamara Scoville ^                                                                                                                                                  Department regarding preparation/review of internal
                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky      (tscoville@reedsmith.com); Sue Seferian ^ (sseferia@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                             training or internal guidance concerning practice
3475   JANSSENBIO‐PL_2‐0003180   JANSSENBIO‐064‐00004619   JANSSENBIO‐064‐00004619   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                   4/30/2009   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                           REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
3476   JANSSENBIO‐PL_2‐0003181                                                                                                                                                                                                                                                                                                                                                                                                                             2024

                                                                                                                                                                             Christopher Zalesky                                                                                                                                                                                                                                                           Presentation providing legal advice from Sue Seferian ^
3477   JANSSENBIO‐PL_2‐0003182                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.              (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Lorraine McClain (lmcclains@comcast.net)                                                                                                                                                      5/2/2003   and the Law Department ^ regarding patient privacy.

3478   JANSSENBIO‐PL_2‐0003183                                                       Withheld           Zalesky, Christopher   Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com); Lorraine McClain (lmcclains@comcast.net)                                                                                                                                                      5/2/2003
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3479   JANSSENBIO‐PL_2‐0003184                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Lorraine McClain (lmcclains@comcast.net)                                                                                                                                                      5/2/2003
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3480   JANSSENBIO‐PL_2‐0003185                                                       Withheld           Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Lorraine McClain (lmcclains@comcast.net)                                                                                                                                                      5/2/2003




                                                                                                                                                                                                                                                                             161
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 163 of 201


                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                          from Legal Department regarding preparation/review of
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Molineaux (cmoline1@cntus.jnj.com); Christopher                                                                                                                                                                       internal training or internal guidance concerning practice
3481   JANSSENBIO‐PL_2‐0003186   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Zalesky (czalesky@its.jnj.com); Lorraine McClain (lmcclains@comcast.net)                                    Lorraine McClain (lmcclains@comcast.net)        Christopher Zalesky (czalesky@its.jnj.com)                                                          5/2/2003   management or IOI support.

                                                                                                                      Christopher Zalesky      Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Molineaux (cmoline1@cntus.jnj.com); Christopher
3482   JANSSENBIO‐PL_2‐0003187   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (czalesky@its.jnj.com)   Zalesky (czalesky@its.jnj.com); Lorraine McClain (lmcclains@comcast.net)                                                                                                                                                                                        5/2/2003




                                                                                                                                               Donna Barnickel (dbarnick@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Edward Benson
                                                                                                                                               (ebenson5@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Barry Ferguson
                                                                                                                                               (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                               Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Clayton
                                                                                                                                               Paterson ^ (cpaters@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Carol Scholz                                                                                                                                                                                       Email chain with attachment(s) reflecting request for
                                                                                                                                               (cscholz1@obius.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Sue Seferian ^                                                                                                                                                                                        legal advice from Legal Department regarding
                                                                                                                                               (sseferia@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);                                                                                                                                                                   preparation/review of internal training or internal
                                                                                                                                               Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky                                                                                                                                                                             guidance concerning practice management or IOI
3483   JANSSENBIO‐PL_2‐0003188   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                          Carol Smith (csmith35@cntus.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)   Maripat Rhood (mrhood@cntus.jnj.com)                  5/10/2002   support.




                                                                                                                                               Donna Barnickel (dbarnick@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Edward Benson
                                                                                                                                               (ebenson5@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Barry Ferguson
                                                                                                                                               (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                               Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Clayton
                                                                                                                                               Paterson ^ (cpaters@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Carol Scholz
                                                                                                                                               (cscholz1@obius.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                             Sue Seferian ^           Edward Benson            Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
3484   JANSSENBIO‐PL_2‐0003189   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (ebenson5@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                             5/10/2002




                                                                                                                                               Donna Barnickel (dbarnick@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Edward Benson
                                                                                                                                               (ebenson5@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Barry Ferguson
                                                                                                                                               (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                               Michael McCulley ^ (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Clayton
                                                                                                                                               Paterson ^ (cpaters@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Carol Scholz
                                                                                                                                               (cscholz1@obius.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Sue Seferian ^
                                                                                                                                               (sseferia@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                      Edward Benson            Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
3485   JANSSENBIO‐PL_2‐0003190   Withheld   doc     Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (ebenson5@its.jnj.com)   (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                             5/10/2002
                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) reflecting legal advice from Sue
3486   JANSSENBIO‐PL_2‐0003191   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                            Carol Smith (csmith35@cntus.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)                                                         5/21/2002   Sefarian ^ regarding internal training.
                                                                                                                      Christopher Zalesky
3487   JANSSENBIO‐PL_2‐0003192   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.           (czalesky@its.jnj.com)   Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               5/21/2002
                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) reflecting legal advice from
3488   JANSSENBIO‐PL_2‐0003193   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                            Maripat Rhood (mrhood@cntus.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)                                                         2/22/2002   Freddy Jimenez ^ regarding internal training.
                                                                                                                      Christopher Zalesky
3489   JANSSENBIO‐PL_2‐0003194   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.           (czalesky@its.jnj.com)   Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               2/22/2002

3490   JANSSENBIO‐PL_2‐0003195   Withheld           Zalesky, Christopher   Attorney‐Client                                                     Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                               2/22/2002
                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky         Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue                                                                                                                   internal guidance concerning practice management or IOI
3491   JANSSENBIO‐PL_2‐0003196   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                      Seferian ^ (sseferia@its.jnj.com)               Christopher Zalesky (czalesky@its.jnj.com)                                                         2/21/2002   support.
                                                                                                                      Christopher Zalesky      Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3492   JANSSENBIO‐PL_2‐0003197   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.           (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3493   JANSSENBIO‐PL_2‐0003198   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3494   JANSSENBIO‐PL_2‐0003199   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3495   JANSSENBIO‐PL_2‐0003200   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3496   JANSSENBIO‐PL_2‐0003201   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3497   JANSSENBIO‐PL_2‐0003202   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3498   JANSSENBIO‐PL_2‐0003203   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3499   JANSSENBIO‐PL_2‐0003204   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3500   JANSSENBIO‐PL_2‐0003205   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3501   JANSSENBIO‐PL_2‐0003206   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3502   JANSSENBIO‐PL_2‐0003207   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3503   JANSSENBIO‐PL_2‐0003208   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3504   JANSSENBIO‐PL_2‐0003209   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3505   JANSSENBIO‐PL_2‐0003210   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3506   JANSSENBIO‐PL_2‐0003211   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         2/21/2002
                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) reflecting legal advice from
3507   JANSSENBIO‐PL_2‐0003212   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                        Michael Ziskind (mziskind@cntus.jnj.com)        Christopher Zalesky (czalesky@its.jnj.com)                                                         2/22/2002   Freddy Jimenez ^ regarding internal training.
                                                                                                                      Christopher Zalesky
3508   JANSSENBIO‐PL_2‐0003213   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.           (czalesky@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                           2/22/2002

3509   JANSSENBIO‐PL_2‐0003214   Withheld           Zalesky, Christopher   Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                           2/22/2002
                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) reflecting legal advice from
3510   JANSSENBIO‐PL_2‐0003215   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                            Maripat Rhood (mrhood@cntus.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)                                                          3/5/2002   Freddy Jimenez ^ regarding internal training.
                                                                                                                      Christopher Zalesky
3511   JANSSENBIO‐PL_2‐0003216   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.           (czalesky@its.jnj.com)   Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                3/5/2002

3512   JANSSENBIO‐PL_2‐0003217   Withheld           Zalesky, Christopher   Attorney‐Client                                                     Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                3/5/2002




                                                                                                                                               Heidi Carmain (hcarmain@its.jnj.com); Ward Dykstra (wdystra@cntus.jnj.com); Freddy Jimenez ^
                                                                                                                                               (fjimene3@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Linda Montgomery                                                                                                                             Carol Smith (csmith35@cntus.jnj.com); Heidi Carmain
                                                                                                                                               (lmontgom@cntus.jnj.com); Linda Montgomery (lmontgom@cntus.jnj.com); Paul Petriello                                                                                                                      (hcarmain@its.jnj.com); Jean Karkoska
                                                                                                                                               (ppetriel@cntus.jnj.com); Paul Petriello (ppetriel@cntus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                (jkarkosk@cntus.jnj.com); Joy Johnson                             Email chain requesting legal advice regarding
                                                                                                                                               Sue Seferian ^ (sseferia@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky            Christopher Zalesky (czalesky@its.jnj.com); Paul                                             (jjohns14@its.jnj.com); Mary Heino                                preparation/review of internal training or internal
                                                                                                                                               (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Mary Anne Heino                         Petriello (ppetriel@cntus.jnj.com); Sue Seferian ^ Linda Montgomery                          (mheino@cntus.jnj.com); Ward Dykstra                              guidance concerning practice management or IOI
3513   JANSSENBIO‐PL_2‐0003218   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (mheino@cntus.jnj.com); Jean Karkoska (jkarkosk@cntus.jnj.com)                                              (sseferia@its.jnj.com)                             (lmontgom@cntus.jnj.com)                  (wdykstra@cntus.jnj.com)                               5/3/2002   support.
                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                                                                                                                          legal advice from Legal Department regarding
                                                                                                                                               Joseph Braunreuther ^ (jbraunre@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sue Seferian ^                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                               (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                                    guidance concerning practice management or IOI
3514   JANSSENBIO‐PL_2‐0003219   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                      Christopher Zalesky (czalesky@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com)                                                          6/6/2002   support.
                                                                                                                                               Joseph Braunreuther ^ (jbraunre@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sue Seferian ^
                                                                                                                      Christopher Zalesky      (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3515   JANSSENBIO‐PL_2‐0003220   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.           (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                          6/6/2002
                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                          counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky                                                                                                                                                                   internal guidance concerning practice management or IOI
3516   JANSSENBIO‐PL_2‐0003221   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                      Freddy Jimenez ^ (fjimene3@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                                         4/12/2002   support.
                                                                                                                      Christopher Zalesky      Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3517   JANSSENBIO‐PL_2‐0003222   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.           (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                         4/12/2002
                                                                                                                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky
3518   JANSSENBIO‐PL_2‐0003223   Withheld           Zalesky, Christopher   Attorney‐Client                                                     (czalesky@its.jnj.com)                                                                                                                                                                                                                                         4/12/2002



                                                                                                                                               Ward Dykstra (wdystra@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Linda Montgomery                                                                                                                                                                            Email chain requesting legal advice regarding
                                                                                                                                               (lmontgom@cntus.jnj.com); Linda Montgomery (lmontgom@cntus.jnj.com); Paul Petriello                                                                                                                                                                                        preparation/review of internal training or internal
                                                                                                                                               (ppetriel@cntus.jnj.com); Paul Petriello (ppetriel@cntus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                                                                                  guidance concerning practice management or IOI
3519   JANSSENBIO‐PL_2‐0003224   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                      Freddy Jimenez ^ (fjimene3@its.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                                         4/27/2002   support.




                                                                                                                                               Susan Bennof (sbennof@cntus.jnj.com); Heidi Carmain (hcarmain@its.jnj.com); Robin Cassinerio
                                                                                                                                               (rcassine@cntus.jnj.com); Dawn Deveja (ddeveja@cntus.jnj.com); Denelia Dunlap
                                                                                                                                               (ddunlap@cntus.jnj.com); Ward Dykstra (wdystra@cntus.jnj.com); Marie Fortunas
                                                                                                                                               (mfortun2@cntus.jnj.com); Dana Griffith (dgriffi4@its.jnj.com); John Hart (jhart4@its.jnj.com); Sharon
                                                                                                                                               Hequembourg (shequemb@cntus.jnj.com); Rizza Hermosisima (rhermosi@cntus.jnj.com); Darla Ivey
                                                                                                                                               (divey@cntus.jnj.com); Maureen Kelly (mkelly@cntus.jnj.com); Chris Kenyon (ckenyon@cntus.jnj.com);
                                                                                                                                               Matthew Koch (mkoch2@its.jnj.com); Gregory Lamping (glamping@its.jnj.com); Daniel Lannon
                                                                                                                                               (dlannon@cntus.jnj.com); Tori Magee (vmagee@cntus.jnj.com); Janice Maguire
                                                                                                                                               (jmagui63@cntus.jnj.com); Daniel Mahoney (dmahoney@cntus.jnj.com); Peggy Mellody
                                                                                                                                               (pmellody@its.jnj.com); Charles Miller (cmille35@its.jnj.com); Linda Montgomery
                                                                                                                                               (lmontgom@cntus.jnj.com); Paul Petriello (ppetriel@cntus.jnj.com); Mary Puro (mpuro@cntus.jnj.com);
                                                                                                                                               Eugene Queener (equeener@its.jnj.com); Ann Ritter (aritter2@cntus.jnj.com); Heidi Schoen
                                                                                                                                               (hschoen@cntus.jnj.com); Karen Smith (ksmith2@cntus.jnj.com); Blaine Squires
                                                                                                                                               (bsquires@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); David Walters (dwalters@cntus.jnj.com);                                                                                                                                                                      Email chain with attachment(s) reflecting legal advice
                                                                                                                                               Todd Wiesenberg (twiesenb@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                               Zalesky (czalesky@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Sue Seferian ^                                                                                                                                                                                    internal guidance concerning practice management or IOI
3520   JANSSENBIO‐PL_2‐0003225   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     (sseferia@its.jnj.com)                                                                                      Sue Seferian ^ (sseferia@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)                                                         4/24/2002   support.




                                                                                                                                                                                                                      162
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 164 of 201



                                                                                                                                                                                                      Susan Bennof (sbennof@cntus.jnj.com); Heidi Carmain (hcarmain@its.jnj.com); Robin Cassinerio
                                                                                                                                                                                                      (rcassine@cntus.jnj.com); Dawn Deveja (ddeveja@cntus.jnj.com); Denelia Dunlap
                                                                                                                                                                                                      (ddunlap@cntus.jnj.com); Ward Dykstra (wdystra@cntus.jnj.com); Marie Fortunas
                                                                                                                                                                                                      (mfortun2@cntus.jnj.com); Dana Griffith (dgriffi4@its.jnj.com); John Hart (jhart4@its.jnj.com); Sharon
                                                                                                                                                                                                      Hequembourg (shequemb@cntus.jnj.com); Rizza Hermosisima (rhermosi@cntus.jnj.com); Darla Ivey
                                                                                                                                                                                                      (divey@cntus.jnj.com); Maureen Kelly (mkelly@cntus.jnj.com); Chris Kenyon (ckenyon@cntus.jnj.com);
                                                                                                                                                                                                      Matthew Koch (mkoch2@its.jnj.com); Gregory Lamping (glamping@its.jnj.com); Daniel Lannon
                                                                                                                                                                                                      (dlannon@cntus.jnj.com); Tori Magee (vmagee@cntus.jnj.com); Janice Maguire
                                                                                                                                                                                                      (jmagui63@cntus.jnj.com); Daniel Mahoney (dmahoney@cntus.jnj.com); Peggy Mellody
                                                                                                                                                                                                      (pmellody@its.jnj.com); Charles Miller (cmille35@its.jnj.com); Linda Montgomery
                                                                                                                                                                                                      (lmontgom@cntus.jnj.com); Paul Petriello (ppetriel@cntus.jnj.com); Mary Puro (mpuro@cntus.jnj.com);
                                                                                                                                                                                                      Eugene Queener (equeener@its.jnj.com); Ann Ritter (aritter2@cntus.jnj.com); Heidi Schoen
                                                                                                                                                                                                      (hschoen@cntus.jnj.com); Karen Smith (ksmith2@cntus.jnj.com); Blaine Squires
                                                                                                                                                                                                      (bsquires@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); David Walters (dwalters@cntus.jnj.com);
                                                                                                                                                                                                      Todd Wiesenberg (twiesenb@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher
                                                                                                                                                                                                      Zalesky (czalesky@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Sue Seferian ^
3521   JANSSENBIO‐PL_2‐0003226                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.              Centocor User            (sseferia@its.jnj.com)                                                                                                                                                                                                                                                  4/24/2002




                                                                                                                                                                                                      Susan Bennof (sbennof@cntus.jnj.com); Heidi Carmain (hcarmain@its.jnj.com); Robin Cassinerio
                                                                                                                                                                                                      (rcassine@cntus.jnj.com); Dawn Deveja (ddeveja@cntus.jnj.com); Denelia Dunlap
                                                                                                                                                                                                      (ddunlap@cntus.jnj.com); Ward Dykstra (wdystra@cntus.jnj.com); Marie Fortunas
                                                                                                                                                                                                      (mfortun2@cntus.jnj.com); Dana Griffith (dgriffi4@its.jnj.com); John Hart (jhart4@its.jnj.com); Sharon
                                                                                                                                                                                                      Hequembourg (shequemb@cntus.jnj.com); Rizza Hermosisima (rhermosi@cntus.jnj.com); Darla Ivey
                                                                                                                                                                                                      (divey@cntus.jnj.com); Maureen Kelly (mkelly@cntus.jnj.com); Chris Kenyon (ckenyon@cntus.jnj.com);
                                                                                                                                                                                                      Matthew Koch (mkoch2@its.jnj.com); Gregory Lamping (glamping@its.jnj.com); Daniel Lannon
                                                                                                                                                                                                      (dlannon@cntus.jnj.com); Tori Magee (vmagee@cntus.jnj.com); Janice Maguire
                                                                                                                                                                                                      (jmagui63@cntus.jnj.com); Daniel Mahoney (dmahoney@cntus.jnj.com); Peggy Mellody
                                                                                                                                                                                                      (pmellody@its.jnj.com); Charles Miller (cmille35@its.jnj.com); Linda Montgomery
                                                                                                                                                                                                      (lmontgom@cntus.jnj.com); Paul Petriello (ppetriel@cntus.jnj.com); Mary Puro (mpuro@cntus.jnj.com);
                                                                                                                                                                                                      Eugene Queener (equeener@its.jnj.com); Ann Ritter (aritter2@cntus.jnj.com); Heidi Schoen
                                                                                                                                                                                                      (hschoen@cntus.jnj.com); Karen Smith (ksmith2@cntus.jnj.com); Blaine Squires
                                                                                                                                                                                                      (bsquires@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); David Walters (dwalters@cntus.jnj.com);
                                                                                                                                                                                                      Todd Wiesenberg (twiesenb@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Christopher
                                                                                                                                                                                                      Zalesky (czalesky@its.jnj.com); Louis Zambelli (lzambell@cntus.jnj.com); Sue Seferian ^
3522   JANSSENBIO‐PL_2‐0003227                                                       Withheld           Zalesky, Christopher   Attorney‐Client                                                        (sseferia@its.jnj.com)                                                                                                                                                                                                                                                  4/24/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          preparation/review of internal training or internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          guidance concerning practice management or IOI
3523   JANSSENBIO‐PL_2‐0003228                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                          Freddy Jimenez ^ (fjimene3@its.jnj.com)            Christopher Zalesky (czalesky@its.jnj.com)                                                              4/29/2002   support.
                                                                                                                                                                             Christopher Zalesky
3524   JANSSENBIO‐PL_2‐0003229                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.              (czalesky@its.jnj.com)   Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                     4/29/2002

3525   JANSSENBIO‐PL_2‐0003230                                                       Withheld           Zalesky, Christopher   Attorney‐Client                                                        Freddy Jimenez ^ (fjimene3@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                     4/29/2002
                                                                                                                                                                                                                                                                                                                   Anne McGarraugh (amcgarra@obius.jnj.com);
                                                                                                                                                                                                                                                                                                                   Barry Ferguson (bfergus@mccus.jnj.com); Carol
                                                                                                                                                                                                                                                                                                                   Scholz (cscholz1@obius.jnj.com); Chris
                                                                                                                                                                                                                                                                                                                   Tompson (ctompso1@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                   Zalesky (czalesky@its.jnj.com); Clayton Paterson
                                                                                                                                                                                                                                                                                                                   ^ (cpaters@its.jnj.com); David Mallegol
                                                                                                                                                                                                      Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Edward Benson                (dmalleg@janus.jnj.com); Edward Benson
                                                                                                                                                                                                      (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^                              (ebenson5@its.jnj.com); Elizabeth Snyder ^
                                                                                                                                                                                                      (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);          (esnyder2@its.jnj.com); Jeff Stewart
                                                                                                                                                                                                      David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne                     (jstewart@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood                 (mrhood@cntus.jnj.com); Michael Chester ^
                                                                                                                                                                                                      (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^                             (mcheste1@its.jnj.com); Michael McCulley ^                                                                                                                             Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                      (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);   (mmccull@corus.jnj.com); Ryan Bartchak                                                          Donna Barnickel (dbarnick@its.jnj.com); Joy Johnson                    regarding preparation/review of internal training or
                                                                                                                                                                                                      Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky               (rbartch1@obius.jnj.com); Sue Seferian ^                                                        (jjohns14@its.jnj.com); Kathy Schroeher ^                              internal guidance concerning practice management or IOI
3526   JANSSENBIO‐PL_2‐0003231                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                       (sseferia@its.jnj.com)                             Edward Benson (ebenson5@its.jnj.com)         (kschroe@corus.jnj.com)                                    5/23/2002   support.




                                                                                                                                                                                                      Donna Barnickel (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Edward Benson
                                                                                                                                                                                                      (ebenson5@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Michael Chester ^
                                                                                                                                                                                                      (mcheste1@its.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Joy Johnson (jjohns14@its.jnj.com);
                                                                                                                                                                                                      David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Anne
                                                                                                                                                                                                      McGarraugh (amcgarra@obius.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Maripat Rhood
                                                                                                                                                                                                      (mrhood@cntus.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                      (kschroe@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com);
                                                                                                                                                                             Edward Benson            Jeff Stewart (jstewart@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
3527   JANSSENBIO‐PL_2‐0003232                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Graphics Center             (ebenson5@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                  5/23/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Presentation reflecting legal advice from Legal
                                                                                                                                                                                                      Paul Callahan (pcallaha@cntus.jnj.com); Heidi Carmain (hcarmain@its.jnj.com); Ward Dykstra                                                                                                                                                                                          Department regarding preparation/review of internal
                                                                                                                                                                             Christopher Zalesky      (wdystra@cntus.jnj.com); Linda Montgomery (lmontgom@cntus.jnj.com); Linda Montgomery                                                                                                                                                                                                training or internal guidance concerning practice
3528   JANSSENBIO‐PL_2‐0003233   JANSSENBIO‐064‐00005536   JANSSENBIO‐064‐00005536   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.              (czalesky@its.jnj.com)   (lmontgom@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                     6/5/2002   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                      Joy Johnson (jjohns14@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky               Christopher Zalesky (czalesky@its.jnj.com); Sue                                                                                                                        internal guidance concerning practice management or IOI
3529   JANSSENBIO‐PL_2‐0003234                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                       Seferian ^ (sseferia@its.jnj.com)                  Joy Johnson (jjohns14@its.jnj.com)                                                                      1/30/2002   support.
                                                                                                                                                                             Joy Johnson              Joy Johnson (jjohns14@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky
3530   JANSSENBIO‐PL_2‐0003235                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.              (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                  1/30/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Department regarding preparation/review of internal
                                                                                                                                                 Christopher Zalesky         Bruce Colligen           Don Bohn (dbohn@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                            training or internal guidance concerning practice
3531   JANSSENBIO‐PL_2‐0003236   JANSSENBIO‐064‐00004713   JANSSENBIO‐064‐00004713   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (bcollig@its.jnj.com)    (cguiton@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                1/29/2008   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) providing information to
                                                                                                                                                                                                      Kelley Jewett (kjewett@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); John Murray                     Christopher Zalesky (czalesky@its.jnj.com); David                                                                                                                      counsel for the purpose of receiving legal advice
                                                                                                                                                                                                      (jmurray6@cntus.jnj.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); David Stefanoni                         Stefanoni (dstefano@cntus.jnj.com); John                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                                                      (dstefano@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^                      Murray (jmurray6@cntus.jnj.com); Tamara                                                         Kelley Jewett (kjewett@cntus.jnj.com); Sandra Shpilberg                internal guidance concerning practice management or IOI
3532   JANSSENBIO‐PL_2‐0003237                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (tscoville@reedsmith.com)                                                                                    Scoville ^ (tscoville@reedsmith.com)              Jean Murray (jmurray3@cntus.jnj.com)          (sshpilbe@cntus.jnj.com)                                  10/22/2002   support.

                                                                                                                                                                                                      Kelley Jewett (kjewett@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); John Murray
                                                                                                                                                                                                      (jmurray6@cntus.jnj.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); David Stefanoni
                                                                                                                                                 Andrew Levitt                                        (dstefano@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Tamara Scoville ^
3533   JANSSENBIO‐PL_2‐0003238                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (alevitt2@cntus.jnj.com)    Centocor, Inc.           (tscoville@reedsmith.com)                                                                                                                                                                                                                                              10/22/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                      Sue Seferian ^ (sseferia@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky             Chris Tompson (ctompso1@its.jnj.com);                                                                                                                                  internal guidance concerning practice management or IOI
3534   JANSSENBIO‐PL_2‐0003239                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                       Christopher Zalesky (czalesky@its.jnj.com)         Sue Seferian ^ (sseferia@its.jnj.com)                                                                   1/27/2005   support.

                                                                                                                                                 Tamara Scoville ^           Joy Johnson              Sue Seferian ^ (sseferia@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Christopher Zalesky
3535   JANSSENBIO‐PL_2‐0003240                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                  1/27/2005

                                                                                                                                                                                                      Janice Babia (jbabia@cntus.jnj.com); Kelley Jewett (kjewett@cntus.jnj.com); Andrew Levitt                                                                                                                                                                                           Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                      (alevitt2@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); Tamara Scoville ^                            Jean Murray (jmurray3@cntus.jnj.com); Kelley                                                    Andrew Levitt (alevitt2@cntus.jnj.com); Christopher                    regarding preparation/review of internal training or
                                                                                                                                                                                                      (tscoville@reedsmith.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); Christopher Zalesky                    Jewett (kjewett@cntus.jnj.com); Tamara Scoville ^                                               Zalesky (czalesky@its.jnj.com); Janice Babia                           internal guidance concerning practice management or IOI
3536   JANSSENBIO‐PL_2‐0003241                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (czalesky@its.jnj.com)                                                                                       (tscoville@reedsmith.com)                         Sandra Shpilberg (sshpilbe@cntus.jnj.com)     (jbabia@cntus.jnj.com)                                    10/24/2002   support.

                                                                                                                                                                                                      Janice Babia (jbabia@cntus.jnj.com); Kelley Jewett (kjewett@cntus.jnj.com); Andrew Levitt
                                                                                                                                                                                                      (alevitt2@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); Tamara Scoville ^
                                                                                                                                                 Sandra Shpilberg                                     (tscoville@reedsmith.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); Christopher Zalesky
3537   JANSSENBIO‐PL_2‐0003242                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sshpilbe@cntus.jnj.com)    Centocor, Inc.           (czalesky@its.jnj.com)                                                                                                                                                                                                                                                 10/24/2002

                                                                                                                                                                                                      Janice Babia (jbabia@cntus.jnj.com); Kelley Jewett (kjewett@cntus.jnj.com); Andrew Levitt
                                                                                                                                                                                                      (alevitt2@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); Tamara Scoville ^
                                                                                                                                                 Andrew Levitt                                        (tscoville@reedsmith.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); Christopher Zalesky
3538   JANSSENBIO‐PL_2‐0003243                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (alevitt2@cntus.jnj.com)    Centocor, Inc.           (czalesky@its.jnj.com)                                                                                                                                                                                                                                                 10/24/2002



                                                                                                                                                                                                      Janice Babia (jbabia@cntus.jnj.com); Laura Baltes (lbaltes@cntus.jnj.com); Kelley Jewett
                                                                                                                                                                                                      (kjewett@cntus.jnj.com); Andrew Levitt (alevitt2@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);       Christopher Zalesky (czalesky@its.jnj.com); Jean                                                Andrew Levitt (alevitt2@cntus.jnj.com); Janice Babia                   Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                      Jean Murray (jmurray3@cntus.jnj.com); John Murray (jmurray6@cntus.jnj.com); Tamara Scoville ^                Murray (jmurray3@cntus.jnj.com); John Murray                                                    (jbabia@cntus.jnj.com); Kelley Jewett                                  regarding preparation/review of internal training or
                                                                                                                                                                                                      (tscoville@reedsmith.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); Sandra Shpilberg                       (jmurray6@cntus.jnj.com); Tamara Scoville ^                                                     (kjewett@cntus.jnj.com); Laura Baltes                                  internal guidance concerning practice management or IOI
3539   JANSSENBIO‐PL_2‐0003244                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (sshpilbe@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                         (tscoville@reedsmith.com)                          Sandra Shpilberg (sshpilbe@cntus.jnj.com)    (lbaltes@cntus.jnj.com)                                   10/28/2002   support.



                                                                                                                                                                                                      Janice Babia (jbabia@cntus.jnj.com); Laura Baltes (lbaltes@cntus.jnj.com); Kelley Jewett
                                                                                                                                                                                                      (kjewett@cntus.jnj.com); Andrew Levitt (alevitt2@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);
                                                                                                                                                                                                      Jean Murray (jmurray3@cntus.jnj.com); John Murray (jmurray6@cntus.jnj.com); Tamara Scoville ^
                                                                                                                                                 Andrew Levitt                                        (tscoville@reedsmith.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); Sandra Shpilberg
3540   JANSSENBIO‐PL_2‐0003245                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (alevitt2@cntus.jnj.com)    Centocor, Inc.           (sshpilbe@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                   10/28/2002


                                                                                                                                                                                                      Janice Babia (jbabia@cntus.jnj.com); Laura Baltes (lbaltes@cntus.jnj.com); Kelley Jewett
                                                                                                                                                                                                      (kjewett@cntus.jnj.com); Andrew Levitt (alevitt2@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);
                                                                                                                                                                                                      Jean Murray (jmurray3@cntus.jnj.com); John Murray (jmurray6@cntus.jnj.com); Tamara Scoville ^
                                                                                                                                                 Sandra Shpilberg                                     (tscoville@reedsmith.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); Sandra Shpilberg
3541   JANSSENBIO‐PL_2‐0003246                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sshpilbe@cntus.jnj.com)    Centocor, Inc.           (sshpilbe@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                   10/28/2002



                                                                                                                                                                                                      Janice Babia (jbabia@cntus.jnj.com); Laura Baltes (lbaltes@cntus.jnj.com); Kelley Jewett                                                                                                                                                                                            Email chain providing information to counsel for the
                                                                                                                                                                                                      (kjewett@cntus.jnj.com); Andrew Levitt (alevitt2@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);       Christopher Zalesky (czalesky@its.jnj.com); John                                                Andrew Levitt (alevitt2@cntus.jnj.com); Janice Babia                   purpose of receiving legal advice regarding
                                                                                                                                                                                                      Jean Murray (jmurray3@cntus.jnj.com); John Murray (jmurray6@cntus.jnj.com); Tamara Scoville ^                Murray (jmurray6@cntus.jnj.com); Sandra                                                         (jbabia@cntus.jnj.com); Kelley Jewett                                  preparation/review of internal training or internal
                                                                                                                                                                                                      (tscoville@reedsmith.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); Sandra Shpilberg                       Shpilberg (sshpilbe@cntus.jnj.com); Tamara                                                      (kjewett@cntus.jnj.com); Laura Baltes                                  guidance concerning practice management or IOI
3542   JANSSENBIO‐PL_2‐0003247                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (sshpilbe@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                         Scoville ^ (tscoville@reedsmith.com)               Jean Murray (jmurray3@cntus.jnj.com)         (lbaltes@cntus.jnj.com)                                   10/29/2002   support.



                                                                                                                                                                                                      Janice Babia (jbabia@cntus.jnj.com); Laura Baltes (lbaltes@cntus.jnj.com); Kelley Jewett                                                                                                                                                                                            Email chain with attachment(s) providing information to
                                                                                                                                                                                                      (kjewett@cntus.jnj.com); Andrew Levitt (alevitt2@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);       Christopher Zalesky (czalesky@its.jnj.com); Jean                                                Andrew Levitt (alevitt2@cntus.jnj.com); Janice Babia                   counsel for the purpose of receiving legal advice
                                                                                                                                                                                                      Jean Murray (jmurray3@cntus.jnj.com); John Murray (jmurray6@cntus.jnj.com); Tamara Scoville ^                Murray (jmurray3@cntus.jnj.com); John Murray                                                    (jbabia@cntus.jnj.com); Kelley Jewett                                  regarding preparation/review of internal training or
                                                                                                                                                                                                      (tscoville@reedsmith.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); Sandra Shpilberg                       (jmurray6@cntus.jnj.com); Tamara Scoville ^                                                     (kjewett@cntus.jnj.com); Laura Baltes                                  internal guidance concerning practice management or IOI
3543   JANSSENBIO‐PL_2‐0003248                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (sshpilbe@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                         (tscoville@reedsmith.com)                          Sandra Shpilberg (sshpilbe@cntus.jnj.com)    (lbaltes@cntus.jnj.com)                                   10/29/2002   support.



                                                                                                                                                                                                      Janice Babia (jbabia@cntus.jnj.com); Laura Baltes (lbaltes@cntus.jnj.com); Kelley Jewett
                                                                                                                                                                                                      (kjewett@cntus.jnj.com); Andrew Levitt (alevitt2@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);
                                                                                                                                                                                                      Jean Murray (jmurray3@cntus.jnj.com); John Murray (jmurray6@cntus.jnj.com); Tamara Scoville ^
                                                                                                                                                 Sandra Shpilberg                                     (tscoville@reedsmith.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); Sandra Shpilberg
3544   JANSSENBIO‐PL_2‐0003249                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sshpilbe@cntus.jnj.com)    Centocor, Inc.           (sshpilbe@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                   10/29/2002




                                                                                                                                                                                                                                                                             163
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 165 of 201


                                                                                                                                                  Janice Babia (jbabia@cntus.jnj.com); Laura Baltes (lbaltes@cntus.jnj.com); Kelley Jewett
                                                                                                                                                  (kjewett@cntus.jnj.com); Andrew Levitt (alevitt2@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);
                                                                                                                                                  Jean Murray (jmurray3@cntus.jnj.com); John Murray (jmurray6@cntus.jnj.com); Tamara Scoville ^
                                                                                             Andrew Levitt                                        (tscoville@reedsmith.com); Sandra Shpilberg (sshpilbe@cntus.jnj.com); Sandra Shpilberg
3545   JANSSENBIO‐PL_2‐0003250   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (alevitt2@cntus.jnj.com)    Centocor, Inc.           (sshpilbe@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                              10/29/2002
                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                  (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                  (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                  Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                  (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                  Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                  (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                  (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                  (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                  Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                  Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                  (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                  Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                  (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                  Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                  (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                  (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                  (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                  (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                  (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                  Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Adrienne Quinn
                                                                                                                                                  (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                  Howard Samms (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Carol Scholz
                                                                                                                                                  (cscholz1@obius.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                  (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                                  (ashanhol@eesus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^                                                                                                                              Email chain with attachment(s) reflecting legal advice
                                                                                                                                                  (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff                                                                                                        from Legal Department regarding preparation/review of
                                                                                                                                                  Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen                                                                                                                            internal training or internal guidance concerning practice
3546   JANSSENBIO‐PL_2‐0003251   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (dsweari@hcsus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson                                Christopher Zalesky (czalesky@its.jnj.com)   Adrienne Quinn (aquinn3@cntus.jnj.com)   10/31/2002   management or IOI support.
                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                  (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                  (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                  Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                  (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                  Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                  (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                  (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                  (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                  Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                  Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                  (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                  Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                  (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                  Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                  (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                  (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                  (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                  (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                  (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                  Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Adrienne Quinn
                                                                                                                                                  (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                  Howard Samms (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Carol Scholz
                                                                                                                                                  (cscholz1@obius.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                  (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                                  (ashanhol@eesus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                                                                                                                  (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
                                                                                             Tamara Scoville ^           Joy Johnson              Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen
3547   JANSSENBIO‐PL_2‐0003252   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dsweari@hcsus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson                                                                                                                      10/31/2002
                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                  (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                  (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                  Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                  (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                  Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                  (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                  (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                  (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                  Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                  Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                  (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                  Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                  (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                  Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                  (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                  (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                  (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                  (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                  (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                  Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Adrienne Quinn
                                                                                                                                                  (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                  Howard Samms (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Carol Scholz
                                                                                                                                                  (cscholz1@obius.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                  (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                                  (ashanhol@eesus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                                                                                                                  (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
                                                                                             Tamara Scoville ^           Joy Johnson              Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen
3548   JANSSENBIO‐PL_2‐0003253   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dsweari@hcsus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson                                                                                                                      10/31/2002
                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                  (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                  (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                  Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                  (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                  Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                  (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                  (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                  (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                  Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                  Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                  (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                  Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                  (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                  Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                  (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                  (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                  (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                  (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                  (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                  Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Adrienne Quinn
                                                                                                                                                  (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                  Howard Samms (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Carol Scholz
                                                                                                                                                  (cscholz1@obius.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                  (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                                  (ashanhol@eesus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                                                                                                                  (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
                                                                                             Tamara Scoville ^           Joy Johnson              Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen
3549   JANSSENBIO‐PL_2‐0003254   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dsweari@hcsus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson                                                                                                                      10/31/2002
                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                  (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                  (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                  Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                  (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                  Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                  (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                  (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                  (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                  Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                  Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                  (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                  Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                  (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                  Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                  (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                  (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                  (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                  (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                  (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                  Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Adrienne Quinn
                                                                                                                                                  (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                  Howard Samms (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Carol Scholz
                                                                                                                                                  (cscholz1@obius.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                  (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                                  (ashanhol@eesus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                                                                                                                  (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
                                                                                             Tamara Scoville ^           Joy Johnson              Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen
3550   JANSSENBIO‐PL_2‐0003255   Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dsweari@hcsus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson                                                                                                                      10/31/2002




                                                                                                                                                                                                                        164
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 166 of 201

                                                                                                                                                                                                      Peg Anderson (panders1@lfsus.jnj.com); Jeffrey Antoon (jantoon@its.jnj.com); Mary Anne Borcky
                                                                                                                                                                                                      (Mares@ocdus.jnj.com); Tanya Atwood (tatwood@janus.jnj.com); Donna Barnickel
                                                                                                                                                                                                      (dbarnick@its.jnj.com); Ryan Bartchak (rbartch1@obius.jnj.com); Laura Benedetto (lbenede@its.jnj.com);
                                                                                                                                                                                                      Edward Benson (ebenson5@its.jnj.com); Michelle Brennan (mbrenn9@mccus.jnj.com); Christine Cahill
                                                                                                                                                                                                      (ccahill@obius.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Anthony Carter (acarter2@its.jnj.com);
                                                                                                                                                                                                      Elizabeth Chen (echen@ethus.jnj.com); Linda Conticchio (Icontic@its.jnj.com); Yasemin Dalkali
                                                                                                                                                                                                      (ydalkali@ethus.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Luciene DaRosa
                                                                                                                                                                                                      (ldarosa@dpyus.jnj.com); Greg DuPont (gdupont@dpyus.jnj.com); Karen Gabbett
                                                                                                                                                                                                      (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                                                                      Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                                                                      Bridget Ikner (bikner@lfsus.jnj.com); Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson
                                                                                                                                                                                                      (jjohns14@its.jnj.com); Susan Keenan (skeenan@obius.jnj.com); Maren Klein (mklein@its.jnj.com); Mike
                                                                                                                                                                                                      Kollar (mkollar@corus.jnj.com); Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece
                                                                                                                                                                                                      (bleece1@its.jnj.com); Stacy Lockwood (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com);
                                                                                                                                                                                                      Diane Marsh (dmarsh2@psmus.jnj.com); Diane Marsh (dmarsh2@psmus.jnj.com); Michael McCulley ^
                                                                                                                                                                                                      (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Steve McKanry
                                                                                                                                                                                                      (smckanry@its.jnj.com); Charles McMichael (cmcmicha@its.jnj.com); Gerry McShane
                                                                                                                                                                                                      (gmcshane@dpyus.jnj.com); Pamela Michaels (pmichae2@its.jnj.com); Darlene Mitchell
                                                                                                                                                                                                      (dmitche6@crdus.jnj.com); Larry Montes (lmontes2@ethus.jnj.com); Maryellen Moran
                                                                                                                                                                                                      (mmoran@its.jnj.com); Jim O'Donnell (jodonnel@indus.jnj.com); Craig Powers (cpower2@ethus.jnj.com);
                                                                                                                                                                                                      Lynn Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Adrienne Quinn
                                                                                                                                                                                                      (aquinn3@cntus.jnj.com); Frank Reck (freck@hcsus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com);
                                                                                                                                                                                                      Howard Samms (hsamms@hcsus.jnj.com); Carmen Sampson (csampson@its.jnj.com); Carol Scholz
                                                                                                                                                                                                      (cscholz1@obius.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                                                                      (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                                                                                      (ashanhol@eesus.jnj.com); Bob Snowden (bsnowde@psmus.jnj.com); Elizabeth Snyder ^
                                                                                                                                                                                                      (esnyder2@its.jnj.com); Steven Soe (ssoe1@crdus.jnj.com); Kelley Stetler (kstetler@dpyus.jnj.com); Jeff
                                                                                                                                                 Tamara Scoville ^           Joy Johnson              Stewart (jstewart@its.jnj.com); Matt Stopa (mstopa@dpyus.jnj.com); David Swearingen
3551   JANSSENBIO‐PL_2‐0003256                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (dsweari@hcsus.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Chris Tompson                                                                                                                                                                                                                      10/31/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                      Stephanie Gilson ^ (sgilson@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Sue Seferian ^                                                               Christopher Zalesky (czalesky@its.jnj.com);                                                                                                         internal guidance concerning practice management or IOI
3552   JANSSENBIO‐PL_2‐0003257                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                         Stephanie Gilson ^ (sgilson@its.jnj.com)          Sue Seferian ^ (sseferia@its.jnj.com)        Joy Johnson (jjohns14@its.jnj.com)       2/14/2005   support.

                                                                                                                                                 Tamara Scoville ^           Joy Johnson              Stephanie Gilson ^ (sgilson@its.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Sue Seferian ^
3553   JANSSENBIO‐PL_2‐0003258                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 2/14/2005
                                                                                                                                                                                                                                                                                                                      Brenda Davis (bdavis@corus.jnj.com);      Brian Kelly (bkelly2@its.jnj.com); Chris Tompson
                                                                                                                                                                                                                                                                                                                      Joseph Braunreuther ^                     (ctompso1@its.jnj.com); Christopher Zalesky                                                                                                          Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                      (jbraunre@its.jnj.com); Joy Johnson ^     (czalesky@its.jnj.com); Darlene Mitchell                                                                                                             from the Law Department ^, including Joseph
                                                                                                                                                                                                      Marc Farley (mfarley3@its.jnj.com); Kisha Harrison (kharri12@its.jnj.com); Brian Kelly                          (jjohns14@its.jnj.com); Kathy Schroeher ^ (dmitche6@crdus.jnj.com); Kisha Harrison                                                                                                             Braunreuther ^, Michael McCulley ^, and Kathy
                                                                                                                                                                                                      (bkelly2@its.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Darlene Mitchell                                (kschroe@corus.jnj.com); Louise Mehrotra (kharri12@its.jnj.com); Marc Farley                                                                                                                   Schroeder ^, regarding preparation/review of internal
                                                                                                                                                                                                      (dmitche6@crdus.jnj.com); Susan Steele (ssteele@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com);             (lmehrot@corus.jnj.com); Michael McCulley (mfarley3@its.jnj.com); Susan Steele                                                                                                                 training or internal guidance concerning promotional
3554   JANSSENBIO‐PL_2‐0003259                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Christopher Zalesky (czalesky@its.jnj.com)                                                                      ^ (mmccull@corus.jnj.com); Taysen Van     (ssteele@its.jnj.com)                              Louise Mehrotra (lmehrot@corus.jnj.com)                                               2/12/2005   activities.

                                                                                                                                                                                                      Marc Farley (mfarley3@its.jnj.com); Kisha Harrison (kharri12@its.jnj.com); Brian Kelly
                                                                                                                                                                                                      (bkelly2@its.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Darlene Mitchell
                                                                                                                                                 Joseph Metro ^              Joy Johnson              (dmitche6@crdus.jnj.com); Susan Steele (ssteele@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com);
3555   JANSSENBIO‐PL_2‐0003260                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                         2/12/2005

                                                                                                                                                                                                      Marc Farley (mfarley3@its.jnj.com); Kisha Harrison (kharri12@its.jnj.com); Brian Kelly
                                                                                                                                                                                                      (bkelly2@its.jnj.com); Louise Mehrotra (lmehrot@corus.jnj.com); Darlene Mitchell
                                                                                                                                                 Tamara Scoville ^           Joy Johnson              (dmitche6@crdus.jnj.com); Susan Steele (ssteele@its.jnj.com); Chris Tompson (ctompso1@its.jnj.com);
3556   JANSSENBIO‐PL_2‐0003261                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (jjohns14@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                         2/12/2005
                                                                                                                                                                             Christopher Zalesky      Mike Rechtiene (mrechti@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Mary Anne Heino
3557   JANSSENBIO‐PL_2‐0003262   JANSSENBIO‐055‐00005011   JANSSENBIO‐055‐00005011   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   Centocor, Inc.              (czalesky@its.jnj.com)   (mheino@cntus.jnj.com)                                                                                                                                                                                                                                                                            10/21/2002
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     internal guidance concerning practice management or IOI
3558   JANSSENBIO‐PL_2‐0003263                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                      Kathleen Hamill ^ (khamill@cntus.jnj.com)         Christopher Zalesky (czalesky@its.jnj.com)                                            1/13/2004   support.

                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky
3559   JANSSENBIO‐PL_2‐0003264                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                              1/13/2004
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky
3560   JANSSENBIO‐PL_2‐0003265                                                       Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                              1/13/2004

                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky
3561   JANSSENBIO‐PL_2‐0003266                                                       Withheld   DOC     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                              1/13/2004

                                                                                                                                                 Tamara Scoville ^           Christopher Zalesky
3562   JANSSENBIO‐PL_2‐0003267                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (tscoville@reedsmith.com)   (czalesky@its.jnj.com)   Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                              1/13/2004
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Department regarding preparation/review of internal
                                                                                                                                                 Christopher Zalesky         Christopher Zalesky      John Murray (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Christopher Zalesky                                                                                                                                                                                                                training or internal guidance concerning practice
3563   JANSSENBIO‐PL_2‐0003268   JANSSENBIO‐064‐00005691   JANSSENBIO‐064‐00005691   Withheld   ppt     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)   (czalesky@its.jnj.com)                                                                                                                                                                                                                                                                              2/6/2004   management or IOI support.
                                                                                                                                                 Richard Appiah              Catherine Owen                                                                                                                                                                                                                                                                                                                          Presentation reflecting legal advice from the Law
3564                             JANSSENBIO‐064‐00002162   JANSSENBIO‐064‐00002228   Redacted   pptx    Owen, Catherine        Attorney‐Client   (RAppiah@ITS.JNJ.com)       (cowen3@its.jnj.com)                                                                                                                                                                                                                                                                                                         2/9/2016   Department ^ regarding FDA approval.
                                                                                                                                                 Robert (Bob) Alder          Catherine Owen                                                                                                                                                                                                                                                                                                                          Presentation reflecting legal advice from the Law
3565                             JANSSENBIO‐064‐00002038   JANSSENBIO‐064‐00002073   Redacted   pptx    Owen, Catherine        Attorney‐Client   (bob@xillix.co)             (cowen3@its.jnj.com)                                                                                                                                                                                                                                                                                                        1/26/2016   Department ^ regarding FDA approval.
                                                                                                                                                 Robert (Bob) Alder          Catherine Owen                                                                                                                                                                                                                                                                                                                          Presentation reflecting legal advice from the Law
3566                             JANSSENBIO‐064‐00002079   JANSSENBIO‐064‐00002114   Redacted   pptx    Owen, Catherine        Attorney‐Client   (bob@xillix.co)             (cowen3@its.jnj.com)                                                                                                                                                                                                                                                                                                        1/26/2016   Department ^ regarding FDA approval.
                                                                                                                                                 Robert (Bob) Alder          Catherine Owen                                                                                                                                                                                                                                                                                                                          Presentation reflecting legal advice from the Law
3567                             JANSSENBIO‐064‐00002120   JANSSENBIO‐064‐00002155   Redacted   pptx    Owen, Catherine        Attorney‐Client   (bob@xillix.co)             (cowen3@its.jnj.com)                                                                                                                                                                                                                                                                                                        1/26/2016   Department ^ regarding FDA approval.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                      Freddy Jimenez ^ (fjimene3@its.jnj.com); Marc Monseau (mmonseau@corus.jnj.com); Sue Seferian ^                                                                                                                                                                                                                 internal guidance concerning practice management or IOI
3568   JANSSENBIO‐PL_2‐0003269                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                         Freddy Jimenez ^ (fjimene3@its.jnj.com)           Christopher Zalesky (czalesky@its.jnj.com)   Sue Seferian ^ (sseferia@its.jnj.com)    3/26/2007   support.

                                                                                                                                                                                                      Freddy Jimenez ^ (fjimene3@its.jnj.com); Marc Monseau (mmonseau@corus.jnj.com); Sue Seferian ^
3569   JANSSENBIO‐PL_2‐0003270                                                       Withheld   pdf     Zalesky, Christopher   Attorney‐Client                                                        (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 3/26/2007

                                                                                                                                                 Marc Monseau                Christopher Zalesky      Freddy Jimenez ^ (fjimene3@its.jnj.com); Marc Monseau (mmonseau@corus.jnj.com); Sue Seferian ^
3570   JANSSENBIO‐PL_2‐0003271                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client   (mmonseau@corus.jnj.com)    (czalesky@its.jnj.com)   (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                 3/26/2007




                                                                                                                                                                                                      Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                                                                      (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                      (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                      (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                      (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                      (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                      (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                                                                      (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                      Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                                                                      (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                      (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                      (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                                                                      Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^                                                    Christopher Zalesky (czalesky@its.jnj.com); Dirk
                                                                                                                                                                                                      (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene                                                      Brinckman ^ (dbrinckm@its.jnj.com); Freddy
                                                                                                                                                                                                      Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson                                                                   Jimenez ^ (fjimene3@its.jnj.com); Helen Torelli ^                                                                                                   Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                      (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David                                              (htorell@its.jnj.com); Mark Sievers ^                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                                                      Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                                                              (msievers@its.jnj.com); Patricia Villani ^        Michael McCulley ^                                                                                internal guidance concerning practice management or IOI
3571   JANSSENBIO‐PL_2‐0003272                                                       Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                        (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                        (pvillan1@its.jnj.com)                            (mmccull@corus.jnj.com)                                                               2/23/2010   support.




                                                                                                                                                                                                      Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                                                                      (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                      (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                      (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                      (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                      (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                      (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                                                                      (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                      Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                                                                      (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                      (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                      (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                                                                      Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                      (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                                                                      Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                                                                      (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                                             Patricia Villani ^       Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3572   JANSSENBIO‐PL_2‐0003273                                                       Withheld   docx    Zalesky, Christopher   Attorney‐Client   Johnson & Johnson           (pvillan1@its.jnj.com)   (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                2/23/2010




                                                                                                                                                                                                      Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                                                                      (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                      (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                      (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                      (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                      (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                      (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                                                                      (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                      Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                                                                      (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                      (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                                                                      (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                                                                      Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                      (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                                                                      Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                                                                      (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                                                                      Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3573   JANSSENBIO‐PL_2‐0003274                                                       Withheld   doc     Zalesky, Christopher   Attorney‐Client                                                        (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                2/23/2010




                                                                                                                                                                                                                                                                              165
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 167 of 201



                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                              (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                              (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                              (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                              Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                              Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3574   JANSSENBIO‐PL_2‐0003275   Withheld   doc    Zalesky, Christopher   Attorney‐Client                                                     (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)             2/23/2010




                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                              (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                              (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                              (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                              Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                            Sue Seferian ^           Thomas Conniff ^         Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3575   JANSSENBIO‐PL_2‐0003276   Withheld   docx   Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tconniff@its.jnj.com)   (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)             2/23/2010




                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                              (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                              (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                              (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                              Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                            Sue Seferian ^           Thomas Conniff ^         Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3576   JANSSENBIO‐PL_2‐0003277   Withheld   docx   Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tconniff@its.jnj.com)   (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)             2/23/2010




                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                              (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                              (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                              (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                              Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                              Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3577   JANSSENBIO‐PL_2‐0003278   Withheld   docx   Zalesky, Christopher   Attorney‐Client                                                     (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)             2/23/2010




                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                              (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                              (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                              (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                              Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                              Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3578   JANSSENBIO‐PL_2‐0003279   Withheld   docx   Zalesky, Christopher   Attorney‐Client                                                     (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)             2/23/2010




                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                              (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                              (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                              (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                              Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                            Stephanie Gilson ^       Stephanie Gilson ^       Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3579   JANSSENBIO‐PL_2‐0003280   Withheld   docx   Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)    (sgilson@its.jnj.com)    (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)             2/23/2010




                                                                                                                                                                                                                      166
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 168 of 201



                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                 (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                 (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                 (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                 (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                 Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                             Stephanie Gilson ^       Stephanie Gilson ^         Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3580   JANSSENBIO‐PL_2‐0003281   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)    (sgilson@its.jnj.com)      (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                           2/23/2010




                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                 (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                 (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                 (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                 (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                 Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                             Freddy Jimenez ^         Jennifer De Camara ^       Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3581   JANSSENBIO‐PL_2‐0003282   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (fjimene3@its.jnj.com)   (jdecamar@corus.jnj.com)   (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                           2/23/2010




                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                 (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                 (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                 (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                 (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                 Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                             Sue Seferian ^           Terry Kerekgyarto          Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3582   JANSSENBIO‐PL_2‐0003283   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tkerekgy@its.jnj.com)     (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                           2/23/2010




                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                 (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                 (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                 (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                 (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                 Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                             Christopher Zalesky      Christopher Zalesky        Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3583   JANSSENBIO‐PL_2‐0003284   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)     (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                           2/23/2010




                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                 (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                 (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                 (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                 (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                 Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson                                                                                                                                                                                  Email chain with attachment(s) providing legal advice
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David                                                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                 Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                                                                                                            Christopher Zalesky (czalesky@its.jnj.com); Monika               internal guidance concerning practice management or IOI
3584   JANSSENBIO‐PL_2‐0003285   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                       (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)             Michael McCulley ^ (mmccull@corus.jnj.com)   Patricia Villani ^ (pvillan1@its.jnj.com)   Rector (mrector@its.jnj.com)                         1/25/2010   support.




                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                 (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                 (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                                 (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                 (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                                 Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                             Sue Seferian ^           Patricia Villani ^         Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3585   JANSSENBIO‐PL_2‐0003286   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (pvillan1@its.jnj.com)     (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                           1/25/2010




                                                                                                                                                                                                                         167
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 169 of 201



                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                               (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                               (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                               (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                               Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3586   JANSSENBIO‐PL_2‐0003287   Withheld   docx    Zalesky, Christopher   Attorney‐Client                                                     (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                      1/25/2010




                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                               (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                               (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                               (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                             Stephanie Gilson ^       Patricia Villani ^       Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3587   JANSSENBIO‐PL_2‐0003288   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)    (pvillan1@its.jnj.com)   (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                      1/25/2010




                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                               (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                               (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                               (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                             Freddy Jimenez ^         Patricia Villani ^       Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3588   JANSSENBIO‐PL_2‐0003289   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (fjimene3@its.jnj.com)   (pvillan1@its.jnj.com)   (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                      1/25/2010




                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                               (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                               (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                               (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                             Sue Seferian ^           Patricia Villani ^       Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3589   JANSSENBIO‐PL_2‐0003290   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (pvillan1@its.jnj.com)   (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                      1/25/2010




                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                               (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                               (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                               (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                               (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                               (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                               (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                               (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                               Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                               Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
3590   JANSSENBIO‐PL_2‐0003291   Withheld   docx    Zalesky, Christopher   Attorney‐Client                                                     (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                      1/25/2010




                                                                                                                                               Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                               (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                               Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                               (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                               (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                               Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                               Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                               (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                               (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                               Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                               (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                               Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                               (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                               (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                               Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                               (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                               Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                               (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson                                   Dirk Brinckman ^ (dbrinckm@its.jnj.com); Freddy
                                                                                                                                               (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David   Jimenez ^ (fjimene3@its.jnj.com); Helen Torelli ^                                                                                    Email chain with attachment(s) providing legal advice
                                                                                                                                               Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                   (htorell@its.jnj.com); Mark Sievers ^                                                                                                regarding preparation/review of internal training or
                                                                                                                                               (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);            (msievers@its.jnj.com); Patricia Villani ^        Michael McCulley ^                                                                 internal guidance concerning practice management or IOI
3591   JANSSENBIO‐PL_2‐0003292   Withheld   eMail   Zalesky, Christopher   Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                      (pvillan1@its.jnj.com)                            (mmccull@corus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)    2/3/2010   support.




                                                                                                                                                                                                                       168
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 170 of 201



                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                              (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                              Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                              (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                              Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                              Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                              (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                              Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                              (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                              (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                              Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                     Patricia Villani ^       (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3592   JANSSENBIO‐PL_2‐0003293   Withheld   docx   Zalesky, Christopher   Attorney‐Client   Johnson & Johnson        (pvillan1@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                      2/3/2010




                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                              (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                              Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                              (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                              Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                              Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                              (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                              Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                              (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                              (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                              Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                              (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3593   JANSSENBIO‐PL_2‐0003294   Withheld   doc    Zalesky, Christopher   Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                      2/3/2010




                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                              (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                              Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                              (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                              Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                              Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                              (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                              Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                              (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                              (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                              Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                              (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3594   JANSSENBIO‐PL_2‐0003295   Withheld   doc    Zalesky, Christopher   Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                      2/3/2010




                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                              (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                              Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                              (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                              Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                              Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                              (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                              Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                              (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                              (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                              Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                            Sue Seferian ^           Thomas Conniff ^         (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3595   JANSSENBIO‐PL_2‐0003296   Withheld   docx   Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tconniff@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                      2/3/2010




                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                              (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                              Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                              (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                              Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                              Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                              (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                              Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                              (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                              (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                              Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                            Sue Seferian ^           Thomas Conniff ^         (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3596   JANSSENBIO‐PL_2‐0003297   Withheld   docx   Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tconniff@its.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                      2/3/2010




                                                                                                                                              Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                              (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                              Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                              (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                              (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                              Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                              Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                              (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                              Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                              (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                              (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                              Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                              (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                              (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                              Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                              (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3597   JANSSENBIO‐PL_2‐0003298   Withheld   docx   Zalesky, Christopher   Attorney‐Client                                                     Christopher Zalesky (czalesky@its.jnj.com)                                                                      2/3/2010




                                                                                                                                                                                                                      169
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 171 of 201



                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                 (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                                 Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                                 (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                                 Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                                 Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                                 (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                                 Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                                 (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                                 (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                 Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                 Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                                                                 (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3598   JANSSENBIO‐PL_2‐0003299   Withheld   docx    Zalesky, Christopher   Attorney‐Client                                                       Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                    2/3/2010




                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                 (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                                 Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                                 (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                                 Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                                 Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                                 (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                                 Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                                 (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                                 (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                 Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                 Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                             Stephanie Gilson ^       Stephanie Gilson ^         (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3599   JANSSENBIO‐PL_2‐0003300   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)    (sgilson@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                    2/3/2010




                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                 (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                                 Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                                 (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                                 Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                                 Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                                 (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                                 Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                                 (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                                 (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                 Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                 Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                             Stephanie Gilson ^       Stephanie Gilson ^         (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3600   JANSSENBIO‐PL_2‐0003301   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (sgilson@its.jnj.com)    (sgilson@its.jnj.com)      Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                    2/3/2010




                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                 (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                                 Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                                 (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                                 Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                                 Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                                 (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                                 Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                                 (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                                 (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                 Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                 Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                             Freddy Jimenez ^         Jennifer De Camara ^       (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3601   JANSSENBIO‐PL_2‐0003302   Withheld   docx    Zalesky, Christopher   Attorney‐Client   (fjimene3@its.jnj.com)   (jdecamar@corus.jnj.com)   Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                    2/3/2010




                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                 (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                                 Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                                 (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                                 Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                                 Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                                 (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                                 Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                                 (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                                 (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                 Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                 Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                             Sue Seferian ^           Terry Kerekgyarto          (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3602   JANSSENBIO‐PL_2‐0003303   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tkerekgy@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                    2/3/2010




                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                 (dbrinckm@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Rick Cassino (rcassino@janus.jnj.com);
                                                                                                                                                 Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Kris Curry
                                                                                                                                                 (kcurry@janus.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Marc Farley (mfarley3@its.jnj.com);
                                                                                                                                                 Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie
                                                                                                                                                 Gilson ^ (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); George Latyszonek
                                                                                                                                                 (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com);
                                                                                                                                                 Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                                 (dmeehan5@its.jnj.com); Susan Nettesheim (snette2@its.jnj.com); Susan Nettesheim
                                                                                                                                                 (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                 Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Monika Rector
                                                                                                                                                 (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                 Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Chris Tompson (ctompso1@its.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                 Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                             Christopher Zalesky      Christopher Zalesky        (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3603   JANSSENBIO‐PL_2‐0003304   Withheld   doc     Zalesky, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (czalesky@its.jnj.com)     Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                    2/3/2010
                                                                                                                                                                                                                                                                 Faiz Sadeq (fsadeq@its.jnj.com); Mark Dean
                                                                                                                                                 Mark Dean (mark.dean@sudlerdigital.com); Natasha Irani (Natasha.Irani@sudlerdigital.com); Tracy                 (mark.dean@sudlerdigital.com); Natasha     Mark Dean (mark.dean@sudlerdigital.com);                                                                                      Email chain reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                 Krasuski (tkrasusk@its.jnj.com); Susan Mellinger (susan.mellinger@sudler.com); Faiz Sadeq                       Irani (Natasha.Irani@sudlerdigital.com);   Natasha Irani (Natasha.Irani@sudlerdigital.com); Susan Mellinger                                                              regarding preparation/review of customer‐facing practice
3604   JANSSENBIO‐PL_2‐0003305   Withheld   eMail   Sadeq, Faiz            Attorney‐Client                                                       (fsadeq@its.jnj.com)                                                                                            Susan Mellinger                            Tracy Krasuski (tkrasusk@its.jnj.com)            (susan.mellinger@sudler.com)   Faiz Sadeq (fsadeq@its.jnj.com)   12/4/2012   management or IOI support material.




                                                                                                                                                                                                                         170
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 172 of 201

                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              (fsadeq@its.jnj.com); Mark Dean
                                                                                                                                                                                                                Mark Dean (mark.dean@sudlerdigital.com); Sarah Fraser (sarah.fraser@sudler.com); Kathleen Hamill ^                                                                                                                                                            (mark.dean@sudlerdigital.com); Natasha Irani
                                                                                                                                                                                                                (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Natasha Irani                                                                                                                                                                             (Natasha.Irani@sudlerdigital.com); Sarah Fraser                     Email chain reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                                (Natasha.Irani@sudlerdigital.com); Tracy Krasuski (tkrasusk@its.jnj.com); Susan Mellinger                                                                                                                                                                     (sarah.fraser@sudler.com); Tracy Krasuski                           regarding preparation/review of customer‐facing practice
3605   JANSSENBIO‐PL_2‐0003306                                                       Withheld   eMail   Sadeq, Faiz                Attorney‐Client                                                              (susan.mellinger@sudler.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com)                                                       Susan Mellinger (susan.mellinger@sudler.com)        Kathleen Hamill ^ (khamill@cntus.jnj.com)       (tkrasusk@its.jnj.com)                                  12/8/2012   management or IOI support material.

                                                                                                                                                                                                                Rolli Greer (rgreer@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Roger Kung
                                                                                                                                                                                                                (rkung@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq                                                    Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq                                                                                                                        Email chain providing legal advice regarding
                                                                                                                                                                                                                (fsadeq@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com); Brian                                                   (fsadeq@its.jnj.com); Roger Kung                                                                                                                                        preparation/review of customer‐facing practice
3606   JANSSENBIO‐PL_2‐0003307                                                       Withheld   eMail   Sadeq, Faiz                Attorney‐Client                                                              Visconti (bviscont@its.jnj.com)                                                                                                                           (rkung@its.jnj.com)                                 Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                                6/6/2012   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email communication reflecting legal advice from the Law
                                                                                                                                                                                                                Eric Monzon (emonzon1@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe                                                                                                                                                                            Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe                      Department ^ regarding preparation of practice
3607                             JANSSENBIO‐064‐00002523   JANSSENBIO‐064‐00002526   Redacted   eMail   Sadeq, Faiz                Attorney‐Client                                                              (mwolfe2@its.jnj.com)                                                                                                                                                                                         Eric Monzon (emonzon1@its.jnj.com)              (mwolfe2@its.jnj.com)                                   6/19/2012   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                          Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe                                                                                                                          Email communication reflecting legal advice from the Law
                                                                                                                                                                                                                Roger Kung (rkung@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com);                                                      (mwolfe2@its.jnj.com); Roger Kung                                                                                                                                       Department ^ regarding preparation of practice
3608                             JANSSENBIO‐064‐00002527   JANSSENBIO‐064‐00002530   Redacted   eMail   Sadeq, Faiz                Attorney‐Client                                                              Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                      (rkung@its.jnj.com)                                 Eric Monzon (emonzon1@its.jnj.com)                                                                      6/20/2012   management or IOI support material.
                                                                                                                                                                                                                                                                                                                              Ashley Hallett (ahallet1@its.jnj.com);
                                                                                                                                                                                                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                                         Email chain reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                              Ellen Perucki (eperucki@its.jnj.com); Gina                                                                                                                                                                          and Christopher Guiton ^ regarding preparation/review
                                                                                                                                                                                                                Lawrence Conley (lconley1@its.jnj.cm); John Franz (jfranz@its.jnj.com); Doug Kennedy                          Giordano (ggiordan@its.jnj.com); James      Doug Kennedy (dkenned6@its.jnj.com);                                                                                                                                    of customer‐facing practice management or IOI support
3609   JANSSENBIO‐PL_2‐0003308                                                       Withheld   eMail   Conley, Lawrence           Attorney‐Client                                                              (dkenned6@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com)               Knepp (jknepp5@its.jnj.com); John Franz     Lawrence Conley (lconley1@its.jnj.cm)               James Knepp (jknepp5@its.jnj.com)                                                                       3/21/2013   material.

                                                                                                                                                     Doug Kennedy                                               Lawrence Conley (lconley1@its.jnj.cm); John Franz (jfranz@its.jnj.com); Doug Kennedy
3610   JANSSENBIO‐PL_2‐0003309                                                       Withheld   pdf     Conley, Lawrence           Attorney‐Client   (dkenned6@its.jnj.com)                                     (dkenned6@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com)                                                                                                                                                                                                                       3/21/2013

                                                                                                                                                     Doug Kennedy                                               Lawrence Conley (lconley1@its.jnj.cm); John Franz (jfranz@its.jnj.com); Doug Kennedy
3611   JANSSENBIO‐PL_2‐0003310                                                       Withheld   pdf     Conley, Lawrence           Attorney‐Client   (dkenned6@its.jnj.com)                                     (dkenned6@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com)                                                                                                                                                                                                                       3/21/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Department regarding preparation/review of internal
                                                                                                                                                     Jill Steinberg              Daryl Todd ^                                                                                                                                                                                                                                                                                                                                                     training or internal guidance concerning practice
3612   JANSSENBIO‐PL_2‐0003311                                                       Withheld   pptx    Franz, John; Todd, Daryl   Attorney‐Client   (jsteinb1@its.jnj.com)      (dtodd1@its.jnj.com)                                                                                                                                                                                                                                                                                                                                10/21/2015   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Blasine Penkowski (bpenkows@its.jnj.com); Dania
                                                                                                                                                                                                                John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Karin Moore                                                                                                                                                                            Woodring (dwoodri1@its.jnj.com); Frank Sanders                      Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                (kmoore6@its.jnj.com); Blasine Penkowski (bpenkows@its.jnj.com); Frank Sanders                                                                            Daryl Todd ^ (dtodd1@its.jnj.com); Gina                                                             (fsander2@its.jnj.com); Joseph Valeriani                            regarding preparation/review of internal training or
                                                                                                                                                                                                                (fsander2@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Raj                                                   Giordano (ggiordan@its.jnj.com); Raj Vaswani ^                                                      (jvaleri1@its.jnj.com); Karin Moore                                 internal guidance concerning practice management or IOI
3613   JANSSENBIO‐PL_2‐0003312                                                       Withheld   eMail   Franz, John                Attorney‐Client                                                              Vaswani ^ (rvaswani@its.jnj.com; Dania Woodring (dwoodri1@its.jnj.com)                                                                                    (rvaswani@its.jnj.com                               John Franz (jfranz@its.jnj.com)                 (kmoore6@its.jnj.com)                                   10/8/2015   support.

                                                                                                                                                                                                                John Franz (jfranz@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Karin Moore
                                                                                                                                                                                                                (kmoore6@its.jnj.com); Blasine Penkowski (bpenkows@its.jnj.com); Frank Sanders
                                                                                                                                                     Daryl Todd ^                Chris Tompson                  (fsander2@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Raj
3614   JANSSENBIO‐PL_2‐0003313                                                       Withheld   docx    Franz, John                Attorney‐Client   (dtodd1@its.jnj.com)        (ctompso1@its.jnj.com)         Vaswani ^ (rvaswani@its.jnj.com; Dania Woodring (dwoodri1@its.jnj.com)                                                                                                                                                                                                                                                10/8/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  preparation/review of internal training or internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  guidance concerning practice management or IOI
3615   JANSSENBIO‐PL_2‐0003314                                                       Withheld   eMail   Franz, John                Attorney‐Client                                                              John Franz (jfranz@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                        John Franz (jfranz@its.jnj.com)                     Daryl Todd ^ (dtodd1@its.jnj.com)                                                                      10/21/2015   support.
                                                                                                                                                     Jill Steinberg              Daryl Todd ^
3616   JANSSENBIO‐PL_2‐0003315                                                       Withheld   pptx    Franz, John                Attorney‐Client   (jsteinb1@its.jnj.com)      (dtodd1@its.jnj.com)           John Franz (jfranz@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                                                   10/21/2015

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Memorandum providing legal advice from the Law
                                                                                                                                                     Diane Stricklan                                                                                                                                                                                                                                                                                                                                                                              Department ^, including Robert Pineda ^ and Patricia
                                                                                                                                                     (dstricklan@thelhtgroup.com Angela Wood                                                                                                                                                                                                                                                                                                                                                      Villani ^, regarding preparation/review of internal training
3617   JANSSENBIO‐PL_2‐0003316                                                       Withheld   docx    Wood, Angela               Attorney‐Client   )                           (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                                                                  8/1/2014   concerning promotional activities.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Presentation providing legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Department regarding preparation/review of internal
                                                                                                                                                     Jill Steinberg              Angela Wood                                                                                                                                                                                                                                                                                                                                                      training or internal guidance concerning practice
3618   JANSSENBIO‐PL_2‐0003317   JANSSENBIO‐063‐00003110   JANSSENBIO‐063‐00003110   Withheld   pptx    Wood, Angela               Attorney‐Client   (jsteinb1@its.jnj.com)      (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                                                                 9/14/2015   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                          Christy Stickle ^ (cstickle@its.jnj.com); DL‐NA
                                                                                                                                                                                                                                                                                                                                                                          Pharm SCG (dl‐cntus‐napharmscg@its.jnj.com);                                                                                                                            Email communication providing legal advice regarding
                                                                                                                                                                                                                Gina Giordano (ggiordan@its.jnj.com); Christy Stickle ^ (cstickle@its.jnj.com); DL‐NA Pharm SCG (dl‐cntus‐                                                Gina Giordano (ggiordan@its.jnj.com); J&J Legal                                                                                                                         preparation/review of internal training or internal
                                                                                                                                                                                                                napharmscg@its.jnj.com); J&J Legal Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com); J&J Legal                                                 Education and Training ^ (ra‐jjcus‐                 J&J Legal Education and Training ^ (ra‐jjcus‐                                                                       guidance concerning practice management or IOI
3619                             JANSSENBIO‐064‐00001499   JANSSENBIO‐064‐00001499   Redacted   eMail   Hoffman, John              Attorney‐Client                                                              Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com)                                                                                               jnjlegalent@its.jnj.com)                            jnjlegalent@its.jnj.com)                                                                                12/4/2015   support.
                                                                                                                                                                                                                                                                                                                                                                          Angela Wood (awood6@its.jnj.com); Edward
                                                                                                                                                                                                                                                                                                                                                                          Benson (ebenson5@its.jnj.com); Elizabeth Scott
                                                                                                                                                                                                                                                                                                                                                                          ^ (egiulian@its.jnj.com); Patricia Villani ^
                                                                                                                                                                                                                Edward Benson (ebenson5@its.jnj.com); Sandhya Drinkwater (sdrinkwa@its.jnj.com); Robert Pineda ^                                                          (pvillan1@its.jnj.com); Philips Van Mater‐Miner                                                                                                                         Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                (rpineda@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Philips Van Mater‐Miner                                                                  (pvanmate@its.jnj.com); Robert Pineda ^                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                                (pvanmate@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Naimish Vyas (nvyas@its.jnj.com); Angela                                               (rpineda@its.jnj.com); Sandhya Drinkwater                                                                                                                               internal guidance concerning practice management or IOI
3620   JANSSENBIO‐PL_2‐0003318                                                       Withheld   eMail   Wood, Angela               Attorney‐Client                                                              Wood (awood6@its.jnj.com)                                                                                                                                 (sdrinkwa@its.jnj.com)                              Naimish Vyas (nvyas@its.jnj.com)                                                                        7/24/2014   support.

                                                                                                                                                                                                                Edward Benson (ebenson5@its.jnj.com); Sandhya Drinkwater (sdrinkwa@its.jnj.com); Robert Pineda ^
                                                                                                                                                     Diane Stricklan                                            (rpineda@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Philips Van Mater‐Miner
                                                                                                                                                     (dstricklan@thelhtgroup.com Diane Stricklan                (pvanmate@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Naimish Vyas (nvyas@its.jnj.com); Angela
3621   JANSSENBIO‐PL_2‐0003319                                                       Withheld   docx    Wood, Angela               Attorney‐Client   )                           (dstricklan@thelhtgroup.com)   Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                             7/24/2014

                                                                                                                                                                                                                Edward Benson (ebenson5@its.jnj.com); Sandhya Drinkwater (sdrinkwa@its.jnj.com); Robert Pineda ^
                                                                                                                                                     Ben Palchick                                               (rpineda@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Philips Van Mater‐Miner
                                                                                                                                                     (bpalchick@thelhtgroup.com Diane Stricklan                 (pvanmate@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Naimish Vyas (nvyas@its.jnj.com); Angela
3622   JANSSENBIO‐PL_2‐0003320                                                       Withheld   xlsx    Wood, Angela               Attorney‐Client   )                          (dstricklan@thelhtgroup.com)    Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                             7/24/2014


                                                                                                                                                                                                                John Hoffman (jhoffma2@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^
                                                                                                                                                                                                                (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com); Blasine Penkowski
                                                                                                                                                                                                                (bpenkows@its.jnj.com); Steve Phillips (sphilli7@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com);                                                                                                                                                                                                                          Email chain requesting legal advice from Outside Counsel
                                                                                                                                                                                                                Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Cathy                                                                 Blasine Penkowski (bpenkows@its.jnj.com);                                                                                                                               regarding preparation/review of customer facing
3623                             JANSSENBIO‐058‐00002350   JANSSENBIO‐058‐00002351   Redacted   eMail   Hoffman, John              Attorney‐Client                                                              Marchesano (cmarches@its.jnj.com)                                                                                                                         Cathy Marchesano (cmarches@its.jnj.com              John Hoffman (jhoffma2@its.jnj.com)                                                                     7/13/2015   regulatory update.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  regarding preparation/review of internal training or
                                                                                                                                                                                                                Elizabeth Scott ^ (egiulian@its.jnj.com); Thomas Stukane ^ (tstukane@its.jnj.com); Philips Van Mater‐                                                     Elizabeth Scott ^ (egiulian@its.jnj.com); Thomas    Philips Van Mater‐Miner                                                                                             internal guidance concerning practice management or IOI
3624   JANSSENBIO‐PL_2‐0003321                                                       Withheld   eMail   Wood, Angela               Attorney‐Client                                                              Miner (pvanmate@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                            Stukane ^ (tstukane@its.jnj.com)                    (pvanmate@its.jnj.com)                          Angela Wood (awood6@its.jnj.com)                         5/6/2015   support.
                                                                                                                                                     Diane Stricklan
                                                                                                                                                     (dstricklan@thelhtgroup.com Philips Van Mater‐Miner        Elizabeth Scott ^ (egiulian@its.jnj.com); Thomas Stukane ^ (tstukane@its.jnj.com); Philips Van Mater‐
3625   JANSSENBIO‐PL_2‐0003322                                                       Withheld   docx    Wood, Angela               Attorney‐Client   )                           (pvanmate@its.jnj.com)         Miner (pvanmate@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                         5/6/2015

                                                                                                                                                                                                                John Hoffman (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody
                                                                                                                                                                                                                (pmellody@its.jnj.com); Steve Phillips (sphilli7@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com);                                                                                                                                                                                                                          Email chain requesting legal advice from Outside Counsel
                                                                                                                                                                                                                Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^ (jsiracusa@akingump.com); Cathy                                                                                                                                                                                                                                         regarding preparation/review of customer facing
3626                             JANSSENBIO‐058‐00002368   JANSSENBIO‐058‐00002369   Redacted   eMail   Hoffman, John              Attorney‐Client                                                              Marchesano (cmarches@its.jnj.com)                                                                                                                         John Hoffman (jhoffma2@its.jnj.com)                 Cathy Marchesano (cmarches@its.jnj.com                                                                  7/13/2015   regulatory update.
                                                                                                                                                                                                                                                                                                                                                                          Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                                                                                                                                                                                                                                                          Elizabeth Scott ^ (egiulian@its.jnj.com); Naimish
                                                                                                                                                                                                                                                                                                                                                                          Vyas (nvyas@its.jnj.com); Patricia Villani ^
                                                                                                                                                                                                                Edward Benson (ebenson5@its.jnj.com); Sandhya Drinkwater (sdrinkwa@its.jnj.com); Robert Pineda ^                                                          (pvillan1@its.jnj.com); Philips Van Mater‐Miner
                                                                                                                                                                                                                (rpineda@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Philips Van Mater‐Miner                                                                  (pvanmate@its.jnj.com); Robert Pineda ^                                                                                                                                 Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                (pvanmate@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Naimish Vyas (nvyas@its.jnj.com); Angela                                               (rpineda@its.jnj.com); Sandhya Drinkwater                                                                                                                               regarding preparation/review of customer‐facing practice
3627   JANSSENBIO‐PL_2‐0003323                                                       Withheld   eMail   Wood, Angela               Attorney‐Client                                                              Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                               (sdrinkwa@its.jnj.com)                              Angela Wood (awood6@its.jnj.com)                                                                         8/1/2014   management or IOI support material.


                                                                                                                                                                                                                Edward Benson (ebenson5@its.jnj.com); Sandhya Drinkwater (sdrinkwa@its.jnj.com); Robert Pineda ^
                                                                                                                                                     Ben Palchick                                               (rpineda@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Philips Van Mater‐Miner
                                                                                                                                                     (bpalchick@thelhtgroup.com Angela Wood                     (pvanmate@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Naimish Vyas (nvyas@its.jnj.com); Angela
3628   JANSSENBIO‐PL_2‐0003324                                                       Withheld   xlsx    Wood, Angela               Attorney‐Client   )                          (awood6@its.jnj.com)            Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                            8/1/2014



                                                                                                                                                                                                                Edward Benson (ebenson5@its.jnj.com); Sandhya Drinkwater (sdrinkwa@its.jnj.com); Robert Pineda ^
                                                                                                                                                     Diane Stricklan                                            (rpineda@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Philips Van Mater‐Miner
                                                                                                                                                     (dstricklan@thelhtgroup.com Angela Wood                    (pvanmate@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Naimish Vyas (nvyas@its.jnj.com); Angela
3629   JANSSENBIO‐PL_2‐0003325                                                       Withheld   docx    Wood, Angela               Attorney‐Client   )                           (awood6@its.jnj.com)           Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                            8/1/2014

                                                                                                                                                                                                                Melia Becker (mbecker@its.jnj.com); George Bilyk (gbilyk@its.jnj.com); Christine Pierce                                                                                                                                                                       Christine Pierce (cpierce@consultresourcegroup.com);
                                                                                                                                                                                                                (cpierce@consultresourcegroup.com); Christopher Herbine (cherbin1@its.jnj.com); John Hoffman                                                              Christopher Herbine (cherbin1@its.jnj.com);                                                         George Bilyk (gbilyk@its.jnj.com); John Siracusa ^
                                                                                                                                                                                                                (jhoffma2@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com); Peggy Mellody (pmellody@its.jnj.com);                                                        Joanne Vanak (jvanak@its.jnj.com); John                                                             (jsiracusa@akingump.com); Jorge Lopez ^                             Email communication requesting legal advice regarding
                                                                                                                                                                                                                Joanne Vanak (jvanak@its.jnj.com); Michael Ziskind (mziskind@cntus.jnj.com); John Siracusa ^                                                              Hoffman (jhoffma2@its.jnj.com); Melia Becker                                                        (jlopez@akingump.com); Peggy Mellody                                preparation/review of customer facing regulatory
3630   JANSSENBIO‐PL_2‐0003326                                                       Withheld   eMail   Hoffman, John              Attorney‐Client                                                              (jsiracusa@akingump.com)                                                                                                                                  (mbecker@its.jnj.com)                               Michael Ziskind (mziskind@cntus.jnj.com)        (pmellody@its.jnj.com)                                   8/7/2014   update.
                                                                                                                                                                                                                                                                                                                              Christopher Herbine                                                                                                                                                                                                 Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                Christopher Herbine (cherbin1@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jeremy Mann                  (cherbin1@its.jnj.com); Jeffrey Newton      Jeffrey Newton (jnewton2@its.jnj.com); Jeremy                                                       John Hoffman (jhoffma2@its.jnj.com); Keith Varni                    legal advice from the Law Department ^ on draft
3631   JANSSENBIO‐PL_2‐0003327                                                       Withheld   eMail   Hoffman, John              Attorney‐Client                                                              (jmann4@its.jnj.com); Jeffrey Newton (jnewton2@its.jnj.com); Keith Varni (kvarni@its.jnj.com)                 (jnewton2@its.jnj.com); Jeremy Mann         Mann (jmann4@its.jnj.com)                           Christopher Herbine (cherbin1@its.jnj.com)      (kvarni@its.jnj.com)                                    6/11/2013   guidance related to promotional activities.

                                                                                                                                                     Sheila Shaffer              Christopher Herbine            Christopher Herbine (cherbin1@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jeremy Mann
3632   JANSSENBIO‐PL_2‐0003328                                                       Withheld   docx    Hoffman, John              Attorney‐Client   (scouch@its.jnj.com)        (cherbin1@its.jnj.com)         (jmann4@its.jnj.com); Jeffrey Newton (jnewton2@its.jnj.com); Keith Varni (kvarni@its.jnj.com)                                                                                                                                                                                                                         6/11/2013
                                                                                                                                                                                                                                                                                                                              Christopher Herbine                                                                                                                                                                                                 Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                Christopher Herbine (cherbin1@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jeremy Mann                  (cherbin1@its.jnj.com); Jeremy Mann                                                                                                                                                                                 legal advice from the Law Department ^ on draft
3633   JANSSENBIO‐PL_2‐0003329                                                       Withheld   eMail   Hoffman, John              Attorney‐Client                                                              (jmann4@its.jnj.com)                                                                                          (jmann4@its.jnj.com); John Hoffman          John Hoffman (jhoffma2@its.jnj.com)                 Christopher Herbine (cherbin1@its.jnj.com)                                                              6/19/2013   guidance related to promotional activities.
                                                                                                                                                     Sheila Shaffer              Jeremy Mann                    Christopher Herbine (cherbin1@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Jeremy Mann
3634   JANSSENBIO‐PL_2‐0003330                                                       Withheld   docx    Hoffman, John              Attorney‐Client   (scouch@its.jnj.com)        (jmann4@its.jnj.com)           (jmann4@its.jnj.com)                                                                                                                                                                                                                                                                                                  6/19/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Christopher Guiton ^ for the purpose of receiving legal
                                                                                                                                                                                                                                                                                                                                                                          Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                             advice regarding preparation/review of internal training
                                                                                                                                                                                                                Paul Duncan (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^                                                         Kathryn Roberts (krober10@its.jnj.com); Kristin                                                                                                                         or internal guidance concerning practice management or
3635   JANSSENBIO‐PL_2‐0003331                                                       Withheld   eMail   Wright, David              Attorney‐Client                                                              (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); David Wright (dwright@its.jnj.com)                                                         Goettner (kgoettne@its.jnj.com)                     David Wright (dwright@its.jnj.com)              Paul Duncan (pduncan9@its.jnj.com)                      1/28/2016   IOI support.

                                                                                                                                                     Paul Duncan                 David Wright                   Paul Duncan (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
3636   JANSSENBIO‐PL_2‐0003332                                                       Withheld   pptx    Wright, David              Attorney‐Client   (pduncan9@its.jnj.com)      (dwright@its.jnj.com)          (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                     1/28/2016

                                                                                                                                                     Daniel Rauch                Daniel Rauch                   Paul Duncan (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
3637   JANSSENBIO‐PL_2‐0003333                                                       Withheld   xlsx    Wright, David              Attorney‐Client   (drauch3@its.jnj.com)       (drauch3@its.jnj.com)          (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                     1/28/2016

                                                                                                                                                     Elizabeth Kreul‐Starr                                      Paul Duncan (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
3638   JANSSENBIO‐PL_2‐0003334                                                       Withheld   xlsx    Wright, David              Attorney‐Client   (ekreulst@its.jnj.com)      kdoyle                         (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                     1/28/2016

                                                                                                                                                     Kevin ONeill                Kevin ONeill                   Paul Duncan (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
3639   JANSSENBIO‐PL_2‐0003335                                                       Withheld   xlsx    Wright, David              Attorney‐Client   (koneill6@its.jnj.com)      (koneill6@its.jnj.com)         (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                                                                     1/28/2016

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  Email chain with attachment(s) collecting information at
                                                                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Gina Giordano                                                                                                                                                                                                                                        direction of counsel for the purpose of providing legal
                                                                                                                                                                                                                (ggiordan@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio                                                                                                                                                                                                                                                   advice from Legal Department regarding
                                                                                                                                                                                                                (lmoccio@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);                                                                                                                                                                                                                             preparation/review of internal training or internal
                                                                                                                                                                                                                Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com); Daryl Todd ^                                                               Diane Deloria (ddeloria@its.jnj.com); Erin                                                                                                                              guidance concerning practice management or IOI
3640   JANSSENBIO‐PL_2‐0003336                                                       Withheld   eMail   Parsons, Erin              Attorney‐Client                                                              (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                          Parsons (eparson5@its.jnj.com)                      Gina Giordano (ggiordan@its.jnj.com)                                                                    4/23/2015   support.



                                                                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Gina Giordano
                                                                                                                                                                                                                (ggiordan@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio
                                                                                                                                                                                                                (lmoccio@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                     Daryl Todd ^                Daryl Todd ^                   Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com); Daryl Todd ^
3641   JANSSENBIO‐PL_2‐0003337                                                       Withheld   docx    Parsons, Erin              Attorney‐Client   (dtodd1@its.jnj.com)        (dtodd1@its.jnj.com)           (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                      4/23/2015



                                                                                                                                                                                                                Celia Connaire (cconnai3@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Gina Giordano
                                                                                                                                                                                                                (ggiordan@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio
                                                                                                                                                                                                                (lmoccio@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com);
                                                                                                                                                     Shauna Peterson ^           Daryl Todd ^                   Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com); Daryl Todd ^
3642   JANSSENBIO‐PL_2‐0003338                                                       Withheld   docx    Parsons, Erin              Attorney‐Client   (speter11@its.jnj.com)      (dtodd1@its.jnj.com)           (dtodd1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                                                                      4/23/2015




                                                                                                                                                                                                                                                                                       171
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 173 of 201


                                                                                                                                                                                                           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                           (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                                                                                       Email chain reflecting request for legal advice from Legal
                                                                                                                                                                                                           Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                                                                                                     Department regarding preparation/review of internal
                                                                                                                                                                                                           (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                                                                                                                                                                                           training or internal guidance concerning practice
3643   JANSSENBIO‐PL_2‐0003339   JANSSENBIO‐064‐00002242   JANSSENBIO‐064‐00002242   Withheld   eMail   Parsons, Erin; Yang, Michael Attorney‐Client                                                       Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                     Thomas Cornely (tcornel@its.jnj.com)             Cynthia Guzzo (cguzzo1@its.jnj.com)                                                                     1/12/2015   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Catherine Owen (cowen3@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 Guiton ^ (cguiton@its.jnj.com); Cynthia Guzzo
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 (cguzzo1@its.jnj.com); Ellen Sipos (esipos@its.jnj.com);
                                                                                                                                                                                                           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio                                                                                                                                                               Erin Parsons (eparson5@its.jnj.com); Frank Folio
                                                                                                                                                                                                           (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                               (ffolio@its.jnj.com); Marti Heckman                                     Email chain providing legal advice regarding
                                                                                                                                                                                                           Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                             (mheckman@its.jnj.com); Michael Yang                                    preparation/review of internal training or internal
                                                                                                                                                                                                           (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                                                                                                                   (myang4@its.jnj.com); Timothy Grimes                                    guidance concerning practice management or IOI
3644   JANSSENBIO‐PL_2‐0003340   JANSSENBIO‐064‐00002243   JANSSENBIO‐064‐00002243   Withheld   eMail   Parsons, Erin; Yang, Michael Attorney‐Client                                                       Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                     Thomas Cornely (tcornel@its.jnj.com)             Thomas Spellman ^ (tspellma@its.jnj.com)    (tgrimes@its.jnj.com)                                       1/12/2015   support.



                                                                                                                                                                                                           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Frank Folio
                                                                                                                                                                                                           (ffolio@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                                                                                       Email chain reflecting request for legal advice regarding
                                                                                                                                                                                                           Cynthia Guzzo (cguzzo1@its.jnj.com); Marti Heckman (mheckman@its.jnj.com); Catherine Owen                                                                                                                                                                                                                                     preparation/review of internal training or internal
                                                                                                                                                                                                           (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas                                                                                                                                                                                                                           guidance concerning practice management or IOI
3645   JANSSENBIO‐PL_2‐0003341   JANSSENBIO‐064‐00002245   JANSSENBIO‐064‐00002245   Withheld   eMail   Parsons, Erin; Yang, Michael Attorney‐Client                                                       Spellman ^ (tspellma@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                     Thomas Cornely (tcornel@its.jnj.com)             Michael Yang (myang4@its.jnj.com)                                                                       1/12/2015   support.




                                                                                                                                                                                                           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Nicole Duncan
                                                                                                                                                                                                           (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Frank Folio (ffolio@its.jnj.com); Avis
                                                                                                                                                                                                           Goode (agoode@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                           (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Cynthia Guzzo (cguzzo1@its.jnj.com);
                                                                                                                                                                                                           Marti Heckman (mheckman@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Catherine Owen                                                                                                                                                                                                                                   Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                           (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);                                                                                                                                                                                                                               Department regarding preparation/review of internal
                                                                                                                                                       Erin Parsons               Erin Parsons             Michele Scott (mscott12@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^                                                                                                                                                                                                                                     training or internal guidance concerning practice
3646                             JANSSENBIO‐064‐00002249   JANSSENBIO‐064‐00002250   Redacted   docx    Parsons, Erin               Attorney‐Client    (eparson5@its.jnj.com)     (eparson5@its.jnj.com)   (tspellma@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                                    1/25/2016   management or IOI support.




                                                                                                                                                                                                           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Nicole Duncan
                                                                                                                                                                                                           (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Frank Folio (ffolio@its.jnj.com); Avis
                                                                                                                                                                                                           Goode (agoode@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy Grimes
                                                                                                                                                                                                           (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Cynthia Guzzo (cguzzo1@its.jnj.com);
                                                                                                                                                                                                           Marti Heckman (mheckman@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Catherine Owen                                                                                                                                                                                                                                   Presentation reflecting legal advice from Legal
                                                                                                                                                                                                           (cowen3@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);                                                                                                                                                                                                                               Department regarding preparation/review of internal
                                                                                                                                                       Angela Wood                Erin Parsons             Michele Scott (mscott12@its.jnj.com); Ellen Sipos (esipos@its.jnj.com); Thomas Spellman ^                                                                                                                                                                                                                                     training or internal guidance concerning practice
3647                             JANSSENBIO‐064‐00002251   JANSSENBIO‐064‐00002295   Redacted   pptx    Parsons, Erin               Attorney‐Client    (awood6@its.jnj.com)       (eparson5@its.jnj.com)   (tspellma@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                                    1/25/2016   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Presentation reflecting request for legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Legal Department regarding preparation/review of
                                                                                                                                                       Angela Wood                Heather Berardi          Heather Berardi (hberardi@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Paul Subacius                                                                                                                                                                                                                                    internal training or internal guidance concerning practice
3648                             JANSSENBIO‐064‐00002345   JANSSENBIO‐064‐00002393   Redacted   pptx    Parsons, Erin               Attorney‐Client    (awood6@its.jnj.com)       (hberardi@its.jnj.com)   (psubaciu@its.jnj.com)                                                                                                                                                                                                                                                                                             5/7/2015   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                    Aida Gonzalez (agonzal2@its.jnj.com); Erin
                                                                                                                                                                                                                                                                                                                                                                    Parsons (eparson5@its.jnj.com); Gary Del
                                                                                                                                                                                                                                                                                                                                                                    Vecchio (gdelvec@its.jnj.com); Robert Hoehn ^
                                                                                                                                                                                                                                                                                                                                                                    (rhoehn@its.jnj.com); Tammy Brintzinghoffer                                                                                                                          Email chain reflecting legal advice from Outside Counsel
3649                             JANSSENBIO‐060‐00007128   JANSSENBIO‐060‐00007133   Redacted   eMail   Parsons, Erin               Attorney‐Client                                                                                                                                                                                                                 (tbrintz2@its.jnj.com)                           Vickie McCormick (vmccorm2@its.jnj.com)                                                                 11/5/2018   regarding compliance report.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain reflecting counsel's request for information
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         for the purpose of providing legal advice regarding
                                                                                                                                                                                                           Ashley Chavous (achavous@cov.com); Shanya Dingle ^ (sdingle@cov.com); Daniel Gadzanku                                                                                                                                                                 Daniel Gadzanku (DGadzank@ITS.JNJ.com); Shanya                          issues relating to lawfulness of practice management or
3650   JANSSENBIO‐PL_2‐0003342                                                       Withheld   eMail   Heusinkveld, Kendra         Attorney‐Client                                                        (DGadzank@ITS.JNJ.com); Kendra Heusinkveld (kheusink@its.jnj.com)                                                                                        Ashley Chavous (achavous@cov.com)                Kendra Heusinkveld (kheusink@its.jnj.com)   Dingle ^ (sdingle@cov.com)                                   5/5/2017   IOI support services.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain requesting legal advice from Legal
                                                                                                                                                                                                           Lisa Ferguson (lfergus5@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); Heith Jeffcoat                                                          Bill Pilat (wpilat@its.jnj.com); Lisa Ferguson                                               Heith Jeffcoat (hjeffcoa@its.jnj.com); Timothy Michael                  Department regarding preparation/review of customer‐
3651                             JANSSENBIO‐064‐00001686   JANSSENBIO‐064‐00001687   Redacted   eMail   Michael, Timothy            Attorney‐Client                                                        (hjeffcoa@its.jnj.com); Timothy Michael (tMichae7@its.jnj.com); Bill Pilat (wpilat@its.jnj.com)                                                          (lfergus5@its.jnj.com)                           Kendra Heusinkveld (kheusink@its.jnj.com)   (tMichae7@its.jnj.com)                                       8/6/2017   facing practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                        Brian Smith (bsmith32@its.jnj.com); Gregg
                                                                                                                                                                                                           Robert Hillman (RHillman@ITS.JNJ.com); Timothy Michael (tMichae7@its.jnj.com); Gregg Ruppersberger           Ruppersberger (GRuppers@its.jnj.com);                                                                                                                                                                            Email chain reflecting counsel's request for legal advice
                                                                                                                                                                                                           (GRuppers@its.jnj.com); Scott Shelhamer (sshelha1@its.jnj.com); Brian Smith (bsmith32@its.jnj.com);          Robert Hillman (RHillman@ITS.JNJ.com);                                                                                                                                                                           from Austin Clayton ^ and Bill Craco ^ regarding issues
3652   JANSSENBIO‐PL_2‐0003343                                                       Withheld   eMail   Michael, Timothy            Attorney‐Client                                                        Timothy Michael (tMichae7@its.jnj.com)                                                                       Scott Shelhamer (sshelha1@its.jnj.com);     Brian Smith (bsmith32@its.jnj.com)               Timothy Michael (tMichae7@its.jnj.com)      Scott Shelhamer (sshelha1@its.jnj.com)                      7/19/2019   relating to lawfulness of promotional activities.
                                                                                                                                                                                                                                                                                                                        Brian Smith (bsmith32@its.jnj.com); Gregg
                                                                                                                                                                                                           Robert Hillman (RHillman@ITS.JNJ.com); Timothy Michael (tMichae7@its.jnj.com); Gregg Ruppersberger           Ruppersberger (GRuppers@its.jnj.com);                                                                                                                                                                            Email chain reflecting counsel's request for legal advice
                                                                                                                                                                                                           (GRuppers@its.jnj.com); Scott Shelhamer (sshelha1@its.jnj.com); Brian Smith (bsmith32@its.jnj.com);          Robert Hillman (RHillman@ITS.JNJ.com);      Brian Smith (bsmith32@its.jnj.com); Scott                                                                                                                            from Austin Clayton ^ and Bill Craco ^ regarding issues
3653   JANSSENBIO‐PL_2‐0003344                                                       Withheld   eMail   Michael, Timothy            Attorney‐Client                                                        Timothy Michael (tMichae7@its.jnj.com)                                                                       Scott Shelhamer (sshelha1@its.jnj.com);     Shelhamer (sshelha1@its.jnj.com)                 Timothy Michael (tMichae7@its.jnj.com)                                                                  7/19/2019   relating to lawfulness of promotional activities.
                                                                                                                                                                                                                                                                                                                        Brian Smith (bsmith32@its.jnj.com); Gregg
                                                                                                                                                                                                           Robert Hillman (RHillman@ITS.JNJ.com); Timothy Michael (tMichae7@its.jnj.com); Gregg Ruppersberger           Ruppersberger (GRuppers@its.jnj.com);                                                                                                                                                                            Email chain reflecting counsel's request for legal advice
                                                                                                                                                                                                           (GRuppers@its.jnj.com); Scott Shelhamer (sshelha1@its.jnj.com); Brian Smith (bsmith32@its.jnj.com);          Robert Hillman (RHillman@ITS.JNJ.com);                                                                                                                                                                           from Austin Clayton ^ and Bill Craco ^ regarding issues
3654   JANSSENBIO‐PL_2‐0003345                                                       Withheld   eMail   Michael, Timothy            Attorney‐Client                                                        Timothy Michael (tMichae7@its.jnj.com)                                                                       Scott Shelhamer (sshelha1@its.jnj.com);     Timothy Michael (tMichae7@its.jnj.com)           Scott Shelhamer (sshelha1@its.jnj.com)      Brian Smith (bsmith32@its.jnj.com)                          7/19/2019   relating to lawfulness of promotional activities.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Email chain reflecting request for legal advice from Daryl
                                                                                                                                                                                                           Lisa Ferguson (lfergus5@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); Heith Jeffcoat                                                          Bill Pilat (wpilat@its.jnj.com); Lisa Ferguson                                               Heith Jeffcoat (hjeffcoa@its.jnj.com); Timothy Michael                  Todd ^ regarding preparation of customer‐facing
3655                             JANSSENBIO‐064‐00001495   JANSSENBIO‐064‐00001496   Redacted   eMail   Heusinkveld, Kendra         Attorney‐Client                                                        (hjeffcoa@its.jnj.com); Timothy Michael (tMichae7@its.jnj.com); Bill Pilat (wpilat@its.jnj.com)                                                          (lfergus5@its.jnj.com)                         Kendra Heusinkveld (kheusink@its.jnj.com)     (tMichae7@its.jnj.com)                                       8/6/2017   practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                    Deidre Meehan ^ (dmeehan5@its.jnj.com); Jaimi
                                                                                                                                                                                                                                                                                                                                                                    Gaffe (jgaffe@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                                                                    (khamill@cntus.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                                                                                                                                                                                    (kolsen@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); Stephanie Gilson ^                                                            (msievers@its.jnj.com); Shauna Peterson ^                                                                                                                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                           (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^                                                                        (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                           preparation/review of internal training or internal
                                                                                                        Hamill, Kathleen; Meehan,                                                                          (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^                                                                          (sgilson@its.jnj.com); Thomas Conniff ^                                                                                                                              guidance concerning practice management or IOI
3656   JANSSENBIO‐PL_2‐0003346                                                       Withheld   eMail   Deidre                      Attorney‐Client                                                        (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                         (tconniff@its.jnj.com)                         Daryl Todd ^ (dtodd1@its.jnj.com)                                                                          2/8/2015   support.



                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                           (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                                                                        Hamill, Kathleen; Meehan,                      Daryl Todd ^               Daryl Todd ^             (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
3657   JANSSENBIO‐PL_2‐0003347                                                       Withheld   doc     Deidre                      Attorney‐Client    (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)     (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                   2/8/2015



                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                           (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                                                                        Hamill, Kathleen; Meehan,                      Daryl Todd ^               Daryl Todd ^             (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
3658   JANSSENBIO‐PL_2‐0003348                                                       Withheld   doc     Deidre                      Attorney‐Client    (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)     (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                   2/8/2015
                                                                                                                                                                                                                                                                                                                                                                    Deidre Meehan ^ (dmeehan5@its.jnj.com); Jaimi
                                                                                                                                                                                                                                                                                                                                                                    Gaffe (jgaffe@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                                                                    (khamill@cntus.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); Stephanie Gilson ^                                                            (kolsen@its.jnj.com); Mark Sievers ^                                                                                                                                 Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                           (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^                                                                        (msievers@its.jnj.com); Stephanie Gilson ^                                                                                                                           regarding preparation/review of internal training or
                                                                                                        Hamill, Kathleen; Meehan,                                                                          (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^                                                                          (sgilson@its.jnj.com); Thomas Conniff ^                                                                                                                              internal guidance concerning practice management or IOI
3659   JANSSENBIO‐PL_2‐0003349                                                       Withheld   eMail   Deidre; Todd, Daryl         Attorney‐Client                                                        (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                         (tconniff@its.jnj.com)                        Shauna Peterson ^ (speter11@its.jnj.com)       Daryl Todd ^ (dtodd1@its.jnj.com)                          11/19/2014   support.



                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                           (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                                                                        Hamill, Kathleen; Meehan,                                                                          (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
3660   JANSSENBIO‐PL_2‐0003350                                                       Withheld   doc     Deidre; Todd, Daryl         Attorney‐Client                                                        (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                 11/19/2014
                                                                                                                                                                                                                                                                                                                                                                    Deidre Meehan ^ (dmeehan5@its.jnj.com); Jaimi
                                                                                                                                                                                                                                                                                                                                                                    Gaffe (jgaffe@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                                                                    (khamill@cntus.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                                                                                                                                                                                    (kolsen@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); Stephanie Gilson ^                                                            (msievers@its.jnj.com); Shauna Peterson ^                                                                                                                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                           (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^                                                                        (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                           preparation/review of internal training or internal
                                                                                                        Hamill, Kathleen; Meehan,                                                                          (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^                                                                          (sgilson@its.jnj.com); Thomas Conniff ^                                                                                                                              guidance concerning practice management or IOI
3661   JANSSENBIO‐PL_2‐0003351                                                       Withheld   eMail   Deidre                      Attorney‐Client                                                        (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                         (tconniff@its.jnj.com)                        Daryl Todd ^ (dtodd1@its.jnj.com)                                                                          1/26/2015   support.



                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                           (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                                                                        Hamill, Kathleen; Meehan,                      Daryl Todd ^               Daryl Todd ^             (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
3662   JANSSENBIO‐PL_2‐0003352                                                       Withheld   doc     Deidre                      Attorney‐Client    (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)     (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                  1/26/2015


                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                           (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                                                                        Hamill, Kathleen; Meehan,                      Richard Appiah             Daryl Todd ^             (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
3663   JANSSENBIO‐PL_2‐0003353                                                       Withheld   pptx    Deidre                      Attorney‐Client    (RAppiah@ITS.JNJ.com)      (dtodd1@its.jnj.com)     (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                  1/26/2015



                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                           (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                                                                        Hamill, Kathleen; Meehan,                      Jodi Bartley               Richard Appiah           (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
3664   JANSSENBIO‐PL_2‐0003354                                                       Withheld   xlsx    Deidre                      Attorney‐Client    (Jodi.Bartley@ipsos.com)   (RAppiah@ITS.JNJ.com)    (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                  1/26/2015



                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                           (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                                                                        Hamill, Kathleen; Meehan,                      Jodi Bartley               Richard Appiah           (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
3665   JANSSENBIO‐PL_2‐0003355                                                       Withheld   xlsx    Deidre                      Attorney‐Client    (Jodi.Bartley@ipsos.com)   (RAppiah@ITS.JNJ.com)    (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                  1/26/2015
                                                                                                                                                                                                                                                                                                                                                                    Deidre Meehan ^ (dmeehan5@its.jnj.com); Jaimi
                                                                                                                                                                                                                                                                                                                                                                    Gaffe (jgaffe@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                                                                                                                                                                                    (jdecamar@corus.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                                                                    (khamill@cntus.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                                                                                                                                                                                    (kolsen@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jaimi Gaffe                                                      (msievers@its.jnj.com); Shauna Peterson ^                                                                                                                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                           (jgaffe@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);                                               (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                           preparation/review of internal training or internal
                                                                                                        Hamill, Kathleen; Meehan,                                                                          Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^                                                          (sgilson@its.jnj.com); Thomas Conniff ^                                                                                                                              guidance concerning practice management or IOI
3666   JANSSENBIO‐PL_2‐0003356                                                       Withheld   eMail   Deidre                      Attorney‐Client                                                        (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                         (tconniff@its.jnj.com)                           Daryl Todd ^ (dtodd1@its.jnj.com)                                                                       9/23/2014   support.



                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jaimi Gaffe
                                                                                                                                                                                                           (jgaffe@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);
                                                                                                        Hamill, Kathleen; Meehan,                      Jill Steinberg             Daryl Todd ^             Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
3667   JANSSENBIO‐PL_2‐0003357                                                       Withheld   pptx    Deidre                      Attorney‐Client    (jsteinb1@its.jnj.com)     (dtodd1@its.jnj.com)     (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                  9/23/2014



                                                                                                                                                                                                           Thomas Conniff ^ (tconniff@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jaimi Gaffe
                                                                                                                                                                                                           (jgaffe@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);
                                                                                                        Hamill, Kathleen; Meehan,                                                                          Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
3668   JANSSENBIO‐PL_2‐0003358                                                       Withheld   doc     Deidre                      Attorney‐Client                                                        (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                  9/23/2014

                                                                                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes                                                                                                                                                                                                                                Email chain with attachment(s) providing information to
                                                                                                                                                                                                           (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^                                                                  Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                          counsel for the purpose of receiving legal advice
                                                                                                        Guiton, Christopher;                                                                               (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur                                                                         Deidre Meehan ^ (dmeehan5@its.jnj.com);                                                    Avis Goode (agoode@its.jnj.com); Chris Matteson                           regarding issues relating to interactions or
3669   JANSSENBIO‐PL_2‐0003359                                                       Withheld   eMail   Meehan, Deidre              Attorney‐Client                                                        (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com)    Philomena McArthur (pmcarth1@its.jnj.com) (cmattes1@its.jnj.com)                                        2/17/2014   communications between ABSs and physician offices.




                                                                                                                                                                                                                                                                                  172
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 174 of 201


                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                        (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                    Guiton, Christopher;                          Niels Van Der Schraaf      Philomena McArthur         (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3670   JANSSENBIO‐PL_2‐0003360   Withheld   docx    Meehan, Deidre              Attorney‐Client   (nschraaf@its.jnj.com)     (pmcarth1@its.jnj.com)     (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                        2/17/2014

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                        (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                    Guiton, Christopher;                                                                                (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur                            Philomena McArthur (pmcarth1@its.jnj.com);
3671   JANSSENBIO‐PL_2‐0003361   Withheld   eMail   Meehan, Deidre              Attorney‐Client                                                         (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                              Timothy Grimes (tgrimes@its.jnj.com)             Chris Matteson (cmattes1@its.jnj.com)   Avis Goode (agoode@its.jnj.com)                  2/17/2014

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                        (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                    Guiton, Christopher;                                                                                (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3672   JANSSENBIO‐PL_2‐0003362   Withheld   docx    Meehan, Deidre              Attorney‐Client   Dpicsk (DPICSK@aol.com)    DPIMGR                     (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                        2/17/2014

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                        (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                    Guiton, Christopher;                          Jennifer De Camara ^       Cinda Koehler              (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3673   JANSSENBIO‐PL_2‐0003363   Withheld   docx    Meehan, Deidre              Attorney‐Client   (jdecamar@corus.jnj.com)   (CKoehler@its.jnj.com)     (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                        2/17/2014

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                        (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                    Guiton, Christopher;                          Sue Seferian ^                                        (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3674   JANSSENBIO‐PL_2‐0003364   Withheld   doc     Meehan, Deidre              Attorney‐Client   (sseferia@its.jnj.com)     DPIMGR                     (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                        2/17/2014

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                        (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                    Guiton, Christopher;                          Niels Van Der Schraaf                                 (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3675   JANSSENBIO‐PL_2‐0003365   Withheld   docx    Meehan, Deidre              Attorney‐Client   (nschraaf@its.jnj.com)     DPIMGR                     (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                        2/17/2014

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                        (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                    Guiton, Christopher;                                                                                (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3676   JANSSENBIO‐PL_2‐0003366   Withheld   docx    Meehan, Deidre              Attorney‐Client   Dpicsk (DPICSK@aol.com)    DPIMGR                     (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                        2/17/2014

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                        (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                    Guiton, Christopher;                                                                                (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3677   JANSSENBIO‐PL_2‐0003367   Withheld   docx    Meehan, Deidre              Attorney‐Client   Dpicsk (DPICSK@aol.com)    DPIMGR                     (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                        2/17/2014

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                        (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                    Guiton, Christopher;                                                                                (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3678   JANSSENBIO‐PL_2‐0003368   Withheld   docx    Meehan, Deidre              Attorney‐Client                              Dpicsk (DPICSK@aol.com)    (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                        2/17/2014

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                        (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                    Guiton, Christopher;                          Niels Van Der Schraaf      Philomena McArthur         (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3679   JANSSENBIO‐PL_2‐0003369   Withheld   docx    Meehan, Deidre              Attorney‐Client   (nschraaf@its.jnj.com)     (pmcarth1@its.jnj.com)     (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                        2/17/2014
                                                                                                                                                                                                                                                                    Daryl Todd ^ (dtodd1@its.jnj.com); Deidre
                                                                                                                                                                                                                                                                    Meehan ^ (dmeehan5@its.jnj.com); Kathleen
                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill    Hamill ^ (khamill@cntus.jnj.com); Kenneth Olsen                                                                                                       Email with attachment(s) providing legal advice regarding
                                                                                                                                                        ^ (khamill@cntus.jnj.com); Jeremy Mann (jmann4@its.jnj.com); Deidre Meehan ^                                ^ (kolsen@its.jnj.com); Mark Sievers ^                                                                                                                preparation/review of internal training or internal
                                                    Hamill, Kathleen; Meehan,                                                                           (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Mark       (msievers@its.jnj.com); Stephanie Gilson ^      Jennifer De Camara ^                                                                                  guidance concerning practice management or IOI
3680   JANSSENBIO‐PL_2‐0003370   Withheld   eMail   Deidre; Todd, Daryl         Attorney‐Client                                                         Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                         (sgilson@its.jnj.com)                           (jdecamar@corus.jnj.com)                                                                  6/14/2013   support.

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill
                                                                                                                                                        ^ (khamill@cntus.jnj.com); Jeremy Mann (jmann4@its.jnj.com); Deidre Meehan ^
                                                    Hamill, Kathleen; Meehan,                     Sheila Shaffer             Jennifer De Camara ^       (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Mark
3681   JANSSENBIO‐PL_2‐0003371   Withheld   docx    Deidre; Todd, Daryl         Attorney‐Client   (scouch@its.jnj.com)       (jdecamar@corus.jnj.com)   Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                   6/14/2013

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill
                                                                                                                                                        ^ (khamill@cntus.jnj.com); Jeremy Mann (jmann4@its.jnj.com); Deidre Meehan ^
                                                    Hamill, Kathleen; Meehan,                     Jeremy Mann                Jeremy Mann                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Mark
3682   JANSSENBIO‐PL_2‐0003372   Withheld   xlsx    Deidre; Todd, Daryl         Attorney‐Client   (jmann4@its.jnj.com)       (jmann4@its.jnj.com)       Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                   6/14/2013

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill
                                                                                                                                                        ^ (khamill@cntus.jnj.com); Jeremy Mann (jmann4@its.jnj.com); Deidre Meehan ^
                                                    Hamill, Kathleen; Meehan,                     Anna Maria Acquaviva       Jeremy Mann                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Mark
3683   JANSSENBIO‐PL_2‐0003373   Withheld   pptx    Deidre; Todd, Daryl         Attorney‐Client   (aacqua23@its.jnj.com)     (jmann4@its.jnj.com)       Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                   6/14/2013

                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill
                                                                                                                                                        ^ (khamill@cntus.jnj.com); Jeremy Mann (jmann4@its.jnj.com); Deidre Meehan ^
                                                    Hamill, Kathleen; Meehan,                                                                           (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Amit Patel (apatel18@its.jnj.com); Mark       Amit Patel (apatel18@its.jnj.com); Jennifer De
3684   JANSSENBIO‐PL_2‐0003374   Withheld   eMail   Deidre; Todd, Daryl         Attorney‐Client                                                         Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                         Camara ^ (jdecamar@corus.jnj.com)                Jeremy Mann (jmann4@its.jnj.com)                                                         6/14/2013
                                                                                                                                                                                                                                                                    Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                                                                                    Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^        Kenneth Olsen ^ (kolsen@its.jnj.com); Mark                                                                                                            preparation/review of internal training or internal
                                                    Hamill, Kathleen; Meehan,                                                                           (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);        Sievers ^ (msievers@its.jnj.com); Stephanie                                                                                                           guidance concerning practice management or IOI
3685   JANSSENBIO‐PL_2‐0003375   Withheld   eMail   Deidre                      Attorney‐Client                                                         Daryl Todd ^ (dtodd1@its.jnj.com)                                                                           Gilson ^ (sgilson@its.jnj.com)                   Daryl Todd ^ (dtodd1@its.jnj.com)                                                        7/14/2013   support.

                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                    Hamill, Kathleen; Meehan,                                                                           (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
3686   JANSSENBIO‐PL_2‐0003376   Withheld   doc     Deidre                      Attorney‐Client                                                         Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                     7/14/2013

                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                    Hamill, Kathleen; Meehan,                     Daryl Todd ^               Daryl Todd ^               (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
3687   JANSSENBIO‐PL_2‐0003377   Withheld   ppt     Deidre                      Attorney‐Client   (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)       Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                     7/14/2013
                                                                                                                                                                                                                                                                    Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                                                                                    Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^        Kenneth Olsen ^ (kolsen@its.jnj.com); Mark                                                                                                            preparation/review of internal training or internal
                                                    Hamill, Kathleen; Meehan,                                                                           (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);        Sievers ^ (msievers@its.jnj.com); Stephanie                                                                                                           guidance concerning practice management or IOI
3688   JANSSENBIO‐PL_2‐0003378   Withheld   eMail   Deidre                      Attorney‐Client                                                         Daryl Todd ^ (dtodd1@its.jnj.com)                                                                           Gilson ^ (sgilson@its.jnj.com)                   Daryl Todd ^ (dtodd1@its.jnj.com)                                                        7/23/2013   support.

                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                    Hamill, Kathleen; Meehan,                     Daryl Todd ^               Daryl Todd ^               (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
3689   JANSSENBIO‐PL_2‐0003379   Withheld   ppt     Deidre                      Attorney‐Client   (dtodd1@its.jnj.com)       (dtodd1@its.jnj.com)       Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                     7/23/2013
                                                                                                                                                                                                                                                                    Alvin Sun (jsun20@its.jnj.com); Christopher
                                                                                                                                                                                                                                                                    Guiton ^ (cguiton@its.jnj.com); Clayton Paterson
                                                                                                                                                                                                                                                                    ^ (cpaters@its.jnj.com); Cynthia Tamajusuku ^
                                                                                                                                                                                                                                                                    (ctamaju1@its.jnj.com); Daryl Todd ^
                                                                                                                                                                                                                                                                    (dtodd1@its.jnj.com); David Van Passel ^
                                                                                                                                                                                                                                                                    (dvpasse@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                    (dmeehan5@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                    (dbrinckm@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                                                                                    (egiulian@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                    (fjimene3@its.jnj.com); Giorgio Rizzello ^
                                                                                                                                                                                                                                                                    (grizzel1@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                                    (htorell@its.jnj.com); Jessica Empestan ^
                                                                                                                                                        Adam Bloom (abloom31@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Joan Cohen ^                    (jempesta@its.jnj.com); Joan Cohen ^
                                                                                                                                                        (jcohen7@its.jnj.com); Thomas Conniff ^ (tconniff@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com);     (jcohen7@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Juliana Ferrari   (jtheerdt@jppbe.jnj.com); Juliana Ferrari ^
                                                                                                                                                        ^ (jferrari@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com);       (jferrari@its.jnj.com); Kaat Van Van De Keer
                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^     (kvdkeer@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);    (khamill@cntus.jnj.com); Kenneth Olsen ^
                                                                                                                                                        Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Patricia Lukens ^             (kolsen@its.jnj.com); Kristi Travers ^
                                                                                                                                                        (plukens@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Rosemary Millard ^                           (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                        (rmillard@its.jnj.com); Katelyn Mineo (kmineo1@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);          (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                        Clayton Paterson ^ (cpaters@its.jnj.com); Robert Pineda ^ (rpineda@its.jnj.com); Giorgio Rizzello ^         (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                        (grizzel1@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Umang Shastri ^ (ushastri@its.jnj.com);   (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                        Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Thomas Stukane ^                      (mtandy@its.jnj.com); Patricia Lukens ^
                                                                                                                                                        (tstukane@its.jnj.com); Alvin Sun ^ (jsun20@its.jnj.com); Cynthia Tamajusuku ^ (ctamaju1@its.jnj.com);      (plukens@its.jnj.com); Patricia Villani ^
                                                                                                                                                        Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^             (pvillan1@its.jnj.com); Perry Knight ^                                                   Adam Bloom (abloom31@its.jnj.com); Jaimi Gaffe
                                                    Guiton, Christopher;                                                                                (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Michael Totin ^ (mtotin@its.jnj.com); Kristi   (pknight@its.jnj.com); Phil Crowley ^                                                    (jgaffe@its.jnj.com); Katelyn Mineo                          Email chain with attachment(s) providing legal advice
                                                    Hamill, Kathleen; Meehan,                                                                           Travers ^ (ktravers@its.jnj.com); Kaat Van Van De Keer (kvdkeer@its.jnj.com); David Van Passel ^            (pcrowle@corus.jnj.com); Robert Pineda ^         Jennifer De Camara ^                    (kmineo1@its.jnj.com); Michael Totin ^                       regarding issues relating to interactions or
3690   JANSSENBIO‐PL_2‐0003380   Withheld   eMail   Deidre; Todd, Daryl         Attorney‐Client                                                         (dvpasse@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)           (rpineda@its.jnj.com); Rosa Son ^                (jdecamar@corus.jnj.com)                (mtotin@its.jnj.com)                             7/25/2013   communications between ABSs and physician offices.




                                                                                                                                                        Adam Bloom (abloom31@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Joan Cohen ^
                                                                                                                                                        (jcohen7@its.jnj.com); Thomas Conniff ^ (tconniff@its.jnj.com); Phil Crowley ^ (pcrowle@corus.jnj.com);
                                                                                                                                                        Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Juliana Ferrari
                                                                                                                                                        ^ (jferrari@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com);
                                                                                                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                        (khamill@cntus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                        Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Patricia Lukens ^
                                                                                                                                                        (plukens@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Rosemary Millard ^
                                                                                                                                                        (rmillard@its.jnj.com); Katelyn Mineo (kmineo1@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com);
                                                                                                                                                        Clayton Paterson ^ (cpaters@its.jnj.com); Robert Pineda ^ (rpineda@its.jnj.com); Giorgio Rizzello ^
                                                                                                                                                        (grizzel1@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Umang Shastri ^ (ushastri@its.jnj.com);
                                                                                                                                                        Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Thomas Stukane ^
                                                                                                                                                        (tstukane@its.jnj.com); Alvin Sun ^ (jsun20@its.jnj.com); Cynthia Tamajusuku ^ (ctamaju1@its.jnj.com);
                                                                                                                                                        Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^
                                                    Guiton, Christopher;                                                                                (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Michael Totin ^ (mtotin@its.jnj.com); Kristi
                                                    Hamill, Kathleen; Meehan,                     Sue Seferian ^             Joy Johnson                Travers ^ (ktravers@its.jnj.com); Kaat Van Van De Keer (kvdkeer@its.jnj.com); David Van Passel ^
3691   JANSSENBIO‐PL_2‐0003381   Withheld   doc     Deidre; Todd, Daryl         Attorney‐Client   (sseferia@its.jnj.com)     (jjohns14@its.jnj.com)     (dvpasse@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                     7/25/2013
                                                                                                                                                                                                                                                                    Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                                                                                    Kathleen Hamill ^ (khamill@cntus.jnj.com);
                                                                                                                                                                                                                                                                    Kenneth Olsen ^ (kolsen@its.jnj.com); Kimberly
                                                                                                                                                        Kimberly Deem‐Eshleman (kdeemesh@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen           Deem‐Eshleman (kdeemesh@its.jnj.com); Mark                                                                                                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                        Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^                   Sievers ^ (msievers@its.jnj.com); Michael Totin ^                                                                                                     preparation/review of internal training or internal
                                                    Hamill, Kathleen; Meehan,                                                                           (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michael     (mtotin@its.jnj.com); Stephanie Gilson ^                                                                                                              guidance concerning practice management or IOI
3692   JANSSENBIO‐PL_2‐0003382   Withheld   eMail   Deidre                      Attorney‐Client                                                         Totin ^ (mtotin@its.jnj.com)                                                                                (sgilson@its.jnj.com)                             Daryl Todd ^ (dtodd1@its.jnj.com)                                                        8/2/2013   support.

                                                                                                                                                        Kimberly Deem‐Eshleman (kdeemesh@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen
                                                                                                                                                        Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                    Hamill, Kathleen; Meehan,                     Kimberly Deem‐Eshleman     Daryl Todd ^               (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michael
3693   JANSSENBIO‐PL_2‐0003383   Withheld   pptx    Deidre                      Attorney‐Client   (kdeemesh@its.jnj.com)     (dtodd1@its.jnj.com)       Totin ^ (mtotin@its.jnj.com)                                                                                                                                                                                                                           8/2/2013

                                                                                                                                                        Kimberly Deem‐Eshleman (kdeemesh@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen
                                                                                                                                                        Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                    Hamill, Kathleen; Meehan,                                                                           (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michael
3694   JANSSENBIO‐PL_2‐0003384   Withheld   doc     Deidre                      Attorney‐Client                                                         Totin ^ (mtotin@its.jnj.com)                                                                                                                                                                                                                           8/2/2013




                                                                                                                                                                                                                             173
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 175 of 201

                                                                                                                                                                                                                                                                      Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                                                                                      Kathleen Hamill ^ (khamill@cntus.jnj.com);
                                                                                                                                                                                                                                                                      Kenneth Olsen ^ (kolsen@its.jnj.com); Kimberly
                                                                                                                                                         Kimberly Deem‐Eshleman (kdeemesh@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen            Deem‐Eshleman (kdeemesh@its.jnj.com); Mark                                                                                                                   Email with attachment(s) providing information to
                                                                                                                                                         Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^                    Sievers ^ (msievers@its.jnj.com); Michael Totin ^                                                                                                            counsel for the purpose of receiving legal advice
                                                    Hamill, Kathleen; Meehan,                                                                            (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michael      (mtotin@its.jnj.com); Stephanie Gilson ^                                                                                                                     regarding issues relating to interactions or
3695   JANSSENBIO‐PL_2‐0003385   Withheld   eMail   Deidre                       Attorney‐Client                                                         Totin ^ (mtotin@its.jnj.com)                                                                                 (sgilson@its.jnj.com)                             Daryl Todd ^ (dtodd1@its.jnj.com)                                                               8/5/2013   communications between ABSs and physician offices.

                                                                                                                                                         Kimberly Deem‐Eshleman (kdeemesh@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen
                                                                                                                                                         Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                    Hamill, Kathleen; Meehan,                      Kimberly Deem‐Eshleman     Daryl Todd ^               (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michael
3696   JANSSENBIO‐PL_2‐0003386   Withheld   pptx    Deidre                       Attorney‐Client   (kdeemesh@its.jnj.com)     (dtodd1@its.jnj.com)       Totin ^ (mtotin@its.jnj.com)                                                                                                                                                                                                                                   8/5/2013

                                                                                                                                                         Kimberly Deem‐Eshleman (kdeemesh@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen
                                                                                                                                                         Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                    Hamill, Kathleen; Meehan,                                                                            (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michael
3697   JANSSENBIO‐PL_2‐0003387   Withheld   doc     Deidre                       Attorney‐Client                                                         Totin ^ (mtotin@its.jnj.com)                                                                                                                                                                                                                                   8/5/2013
                                                                                                                                                                                                                                                                      Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                                                                                      Kathleen Hamill ^ (khamill@cntus.jnj.com);
                                                                                                                                                         Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^         Kenneth Olsen ^ (kolsen@its.jnj.com); Mark                                                                                                                   Email with attachment(s) providing legal advice regarding
                                                    Hamill, Kathleen; Meehan,                                                                            (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);         Sievers ^ (msievers@its.jnj.com); Stephanie                                                                                                                  issues relating to interactions or communications
3698   JANSSENBIO‐PL_2‐0003388   Withheld   eMail   Deidre                       Attorney‐Client                                                         Daryl Todd ^ (dtodd1@its.jnj.com)                                                                            Gilson ^ (sgilson@its.jnj.com)                   Daryl Todd ^ (dtodd1@its.jnj.com)                                                              10/15/2013   between ABSs and physician offices.

                                                                                                                                                         Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                    Hamill, Kathleen; Meehan,                                                                            (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
3699   JANSSENBIO‐PL_2‐0003389   Withheld   doc     Deidre                       Attorney‐Client                                                         Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                                            10/15/2013
                                                                                                                                                                                                                                                                      Daryl Todd ^ (dtodd1@its.jnj.com); Deidre
                                                                                                                                                                                                                                                                      Meehan ^ (dmeehan5@its.jnj.com); Kathleen
                                                                                                                                                         Jennifer De Camara ^ (jdecamar@corus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre             Hamill ^ (khamill@cntus.jnj.com); Kenneth Olsen                                                                                                              Email with attachment(s) providing legal advice regarding
                                                    Hamill, Kathleen; Meehan,                                                                            Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^                        ^ (kolsen@its.jnj.com); Mark Sievers ^          Jennifer De Camara ^                                                                                         issues relating to interactions or communications
3700   JANSSENBIO‐PL_2‐0003390   Withheld   eMail   Deidre; Todd, Daryl          Attorney‐Client                                                         (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                    (msievers@its.jnj.com)                          (jdecamar@corus.jnj.com)                                                                          4/1/2013   between ABSs and physician offices.

                                                                                                                                                         Jennifer De Camara ^ (jdecamar@corus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre
                                                    Hamill, Kathleen; Meehan,                      Anna Maria Acquaviva       Jennifer De Camara ^       Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^
3701   JANSSENBIO‐PL_2‐0003391   Withheld   pptx    Deidre; Todd, Daryl          Attorney‐Client   (aacqua23@its.jnj.com)     (jdecamar@corus.jnj.com)   (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                      4/1/2013
                                                                                                                                                                                                                                                                      Deidre Meehan ^ (dmeehan5@its.jnj.com);                                                                                                                      Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                         Jennifer De Camara ^ (jdecamar@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill     Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                                   preparation/review of internal training or internal
                                                    Hamill, Kathleen; Meehan,                                                                            ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^                           Kenneth Olsen ^ (kolsen@its.jnj.com); Stephanie                                                                                                              guidance concerning practice management or IOI
3702   JANSSENBIO‐PL_2‐0003392   Withheld   eMail   Deidre                       Attorney‐Client                                                         (kolsen@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                      Gilson ^ (sgilson@its.jnj.com)                  Daryl Todd ^ (dtodd1@its.jnj.com)            Jennifer De Camara ^ (jdecamar@corus.jnj.com)        3/1/2013   support.

                                                                                                                                                         Jennifer De Camara ^ (jdecamar@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill
                                                    Hamill, Kathleen; Meehan,                      Anna Maria Acquaviva       Daryl Todd ^               ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
3703   JANSSENBIO‐PL_2‐0003393   Withheld   pptx    Deidre                       Attorney‐Client   (aacqua23@its.jnj.com)     (dtodd1@its.jnj.com)       (kolsen@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                        3/1/2013

                                                                                                                                                         Jennifer De Camara ^ (jdecamar@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill
                                                    Hamill, Kathleen; Meehan,                                                                            ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
3704   JANSSENBIO‐PL_2‐0003394   Withheld   docx    Deidre                       Attorney‐Client                                                         (kolsen@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                                        3/1/2013
                                                                                                                                                                                                                                                                      Christopher Guiton (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                      Clayton Paterson ^ (cpaters@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                      Todd ^ (dtodd1@its.jnj.com); David Van Passel ^
                                                                                                                                                                                                                                                                      (dvpasse@its.jnj.com); Debra Hueting ^
                                                                                                                                                                                                                                                                      (dhuetin1@prdgb.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                      (dmeehan5@its.jnj.com); Desiree Ralls‐Morrison
                                                                                                                                                                                                                                                                      ^ (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                      (dbrinckm@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                                                                                      (eformina@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                                                                                      (egiulian@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                      (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                                      (htorell@its.jnj.com); Jessica Empestan ^
                                                                                                                                                                                                                                                                      (jempesta@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                                                                                      (jcohen7@its.jnj.com); John Vaughan ^
                                                                                                                                                         Dirk Brinckman ^ (dbrinckm@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Phil Crowley ^                  (jvaughan@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                         (pcrowle@corus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jessica Empestan ^                   (jtheerdt@jppbe.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (jempesta@its.jnj.com); Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^                       (khamill@cntus.jnj.com); Kenneth Olsen ^
                                                                                                                                                         (sfreedman@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^                      (kolsen@its.jnj.com); Kristi Travers ^
                                                                                                                                                         (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^                            (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                         (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);    (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                         Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^          (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                         (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Rosemary Millard ^                          (msievers@its.jnj.com); Michael McCulley ^
                                                                                                                                                         (rmillard@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);      (mmccull@corus.jnj.com); Patricia Lukens ^
                                                                                                                                                         Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^    (plukens@its.jnj.com); Patricia Villani ^
                                                                                                                                                         (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter       (pvillan1@its.jnj.com); Phil Crowley ^
                                                                                                                                                         Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^                        (pcrowle@corus.jnj.com); Rosa Son ^                                                                                                                          Email with attachment(s) providing information to
                                                                                                                                                         (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^ (dvpasse@its.jnj.com);    (rson@its.jnj.com); Rosemary Millard ^                                                                                                                       counsel for the purpose of receiving legal advice
                                                    Guiton, Christopher; Todd,                                                                           John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^                (rmillard@its.jnj.com); Shane Freedman ^        Jennifer De Camara ^                                                                                         regarding issues relating to interactions or
3705   JANSSENBIO‐PL_2‐0003395   Withheld   eMail   Daryl                        Attorney‐Client                                                         (yyap1@its.jnj.com)                                                                                          (sfreedman@its.jnj.com); Stephanie Gilson ^     (jdecamar@corus.jnj.com)                     Marlene Tandy ^ (mtandy@its.jnj.com)                12/2/2010   communications between ABSs and physician offices.




                                                                                                                                                         Dirk Brinckman ^ (dbrinckm@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Phil Crowley ^
                                                                                                                                                         (pcrowle@corus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jessica Empestan ^
                                                                                                                                                         (jempesta@its.jnj.com); Elizabeth Forminard ^ (eformina@its.jnj.com); Shane Freedman ^
                                                                                                                                                         (sfreedman@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^
                                                                                                                                                         (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                         (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                         Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                         (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Rosemary Millard ^
                                                                                                                                                         (rmillard@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                                         Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^
                                                                                                                                                         (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter
                                                                                                                                                         Heerdt ^ (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^
                                                                                                                                                         (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^ (dvpasse@its.jnj.com);
                                                    Guiton, Christopher; Todd,                     Jennifer De Camara ^       Jennifer De Camara ^       John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^
3706   JANSSENBIO‐PL_2‐0003396   Withheld   docx    Daryl                        Attorney‐Client   (jdecamar@corus.jnj.com)   (jdecamar@corus.jnj.com)   (yyap1@its.jnj.com)                                                                                                                                                                                                                                           12/2/2010

                                                                                                                                                         Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas
                                                                                                                                                         (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Samantha Hand (shand@its.jnj.com); Deidre Meehan ^                                                                                                                                                                                               Email chain with attachment(s) requesting legal advice
                                                    Hamill, Kathleen; Todd,                                                                              (dmeehan5@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);              Daryl Todd ^ (dtodd1@its.jnj.com); Kathleen                                                                                                                  regarding issues relating to interactions or
3707   JANSSENBIO‐PL_2‐0003397   Withheld   eMail   Daryl                        Attorney‐Client                                                         Michelle Walls (mwalls@its.jnj.com)                                                                          Hamill ^ (khamill@cntus.jnj.com)                 Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                         10/15/2014   communications between ABSs and physician offices.

                                                                                                                                                         Thomas Cornely (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas
                                                                                                                                                         (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Samantha Hand (shand@its.jnj.com); Deidre Meehan ^
                                                    Hamill, Kathleen; Todd,                        Doug Kennedy               Joseph DiGiacomo           (dmeehan5@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
3708   JANSSENBIO‐PL_2‐0003398   Withheld   pptx    Daryl                        Attorney‐Client   (dkenned6@its.jnj.com)     (jdigiaco@its.jnj.com)     Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                                                                                          10/15/2014
                                                                                                                                                                                                                                                                      Adam Bloom (abloom31@its.jnj.com); Alvin Sun
                                                                                                                                                                                                                                                                      ^ (jsun20@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                                                                                      (cguiton@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                                                                                      (cpaters@its.jnj.com); Cynthia Tamajusuku ^
                                                                                                                                                                                                                                                                      (ctamaju1@its.jnj.com); Daryl Todd ^
                                                                                                                                                                                                                                                                      (dtodd1@its.jnj.com); David Van Passel ^
                                                                                                                                                                                                                                                                      (dvpasse@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                      (dmeehan5@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                      (dbrinckm@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                                                                                      (egiulian@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                      (fjimene3@its.jnj.com); Giorgio Rizzello ^
                                                                                                                                                         Adam Bloom (abloom31@its.jnj.com); Norm Bohidar (nbohidar@its.jnj.com); Dirk Brinckman ^                     (grizzel1@its.jnj.com); Helen Torelli ^
                                                                                                                                                         (dbrinckm@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Thomas Conniff ^ (tconniff@its.jnj.com);         (htorell@its.jnj.com); Jaimi Gaffe
                                                                                                                                                         Phil Crowley ^ (pcrowle@corus.jnj.com); CV Damaraju (cdamara1@its.jnj.com); Jennifer De Camara ^             (jgaffe@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                         (jdecamar@corus.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Juliana Ferrari ^                       (jdecamar@corus.jnj.com); Jessica Empestan ^
                                                                                                                                                         (jferrari@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com);          (jempesta@its.jnj.com); Joan Cohen ^
                                                                                                                                                         Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^      (jcohen7@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                         (khamill@cntus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);     (jtheerdt@jppbe.jnj.com); Juliana Ferrari ^
                                                                                                                                                         Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Patricia Lukens ^              (jferrari@its.jnj.com); Kaat Van Van De Keer
                                                                                                                                                         (plukens@its.jnj.com); Janet Main ^ (jmain@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com);             (kvdkeer@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         Rosemary Millard ^ (rmillard@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^          (khamill@cntus.jnj.com); Kenneth Olsen ^
                                                                                                                                                         (cpaters@its.jnj.com); Robert Pineda ^ (rpineda@its.jnj.com); Giorgio Rizzello ^ (grizzel1@its.jnj.com);     (kolsen@its.jnj.com); Kristi Travers ^
                                                                                                                                                         Lisa Roberts ^ (lrobert5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Umang Shastri ^             (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                         (ushastri@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Thomas         (ljenkins@its.jnj.com); Lisa Roberts ^
                                                                                                                                                         Stukane ^ (tstukane@its.jnj.com); Alvin Sun ^ (jsun20@its.jnj.com); Cynthia Tamajusuku ^                     (lrobert5@its.jnj.com); Maria Kennedy ^                                                                                                                      Email with attachment(s) providing information to
                                                                                                                                                         (ctamaju1@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^                             (mkenned3@its.jnj.com); Mark Sievers ^                                                                                                                       counsel for the purpose of receiving legal advice
                                                    Guiton, Christopher;                                                                                 (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi   (msievers@its.jnj.com); Marlene Tandy ^                                                      CV Damaraju (cdamara1@its.jnj.com); Janet Main ^                regarding preparation/review of internal training or
                                                    Hamill, Kathleen; Todd,                                                                              Travers ^ (ktravers@its.jnj.com); Kaat Van Van De Keer (kvdkeer@its.jnj.com); David Van Passel ^             (mtandy@its.jnj.com); Patricia Lukens ^                                                      (jmain@its.jnj.com); Norm Bohidar                               internal guidance concerning practice management or IOI
3709   JANSSENBIO‐PL_2‐0003399   Withheld   eMail   Daryl                        Attorney‐Client                                                         (dvpasse@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)            (plukens@its.jnj.com); Patricia Villani ^        Rosemary Millard ^ (rmillard@its.jnj.com)   (nbohidar@its.jnj.com)                              2/27/2014   support.




                                                                                                                                                         Adam Bloom (abloom31@its.jnj.com); Norm Bohidar (nbohidar@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                         (dbrinckm@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Thomas Conniff ^ (tconniff@its.jnj.com);
                                                                                                                                                         Phil Crowley ^ (pcrowle@corus.jnj.com); CV Damaraju (cdamara1@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                         (jdecamar@corus.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Juliana Ferrari ^
                                                                                                                                                         (jferrari@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com);
                                                                                                                                                         Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                         (khamill@cntus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                         Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Patricia Lukens ^
                                                                                                                                                         (plukens@its.jnj.com); Janet Main ^ (jmain@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                         Rosemary Millard ^ (rmillard@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                                         (cpaters@its.jnj.com); Robert Pineda ^ (rpineda@its.jnj.com); Giorgio Rizzello ^ (grizzel1@its.jnj.com);
                                                                                                                                                         Lisa Roberts ^ (lrobert5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Umang Shastri ^
                                                                                                                                                         (ushastri@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Thomas
                                                                                                                                                         Stukane ^ (tstukane@its.jnj.com); Alvin Sun ^ (jsun20@its.jnj.com); Cynthia Tamajusuku ^
                                                                                                                                                         (ctamaju1@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                    Guiton, Christopher;                                                                                 (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi
                                                    Hamill, Kathleen; Todd,                        CV Damaraju                CV Damaraju                Travers ^ (ktravers@its.jnj.com); Kaat Van Van De Keer (kvdkeer@its.jnj.com); David Van Passel ^
3710   JANSSENBIO‐PL_2‐0003400   Withheld   pptx    Daryl                        Attorney‐Client   (cdamara1@its.jnj.com)     (cdamara1@its.jnj.com)     (dvpasse@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                             2/27/2014




                                                                                                                                                                                                                                174
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 176 of 201



                                                                                                                                                                                                           Adam Bloom (abloom31@its.jnj.com); Norm Bohidar (nbohidar@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                           (dbrinckm@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Thomas Conniff ^ (tconniff@its.jnj.com);
                                                                                                                                                                                                           Phil Crowley ^ (pcrowle@corus.jnj.com); CV Damaraju (cdamara1@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                           (jdecamar@corus.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Juliana Ferrari ^
                                                                                                                                                                                                           (jferrari@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com);
                                                                                                                                                                                                           Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                           (khamill@cntus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                           Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Patricia Lukens ^
                                                                                                                                                                                                           (plukens@its.jnj.com); Janet Main ^ (jmain@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                           Rosemary Millard ^ (rmillard@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                           (cpaters@its.jnj.com); Robert Pineda ^ (rpineda@its.jnj.com); Giorgio Rizzello ^ (grizzel1@its.jnj.com);
                                                                                                                                                                                                           Lisa Roberts ^ (lrobert5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Umang Shastri ^
                                                                                                                                                                                                           (ushastri@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Thomas
                                                                                                                                                                                                           Stukane ^ (tstukane@its.jnj.com); Alvin Sun ^ (jsun20@its.jnj.com); Cynthia Tamajusuku ^
                                                                                                                                                                                                           (ctamaju1@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                        Guiton, Christopher;                                                                               (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi
                                                                                                        Hamill, Kathleen; Todd,                        Johnson Johnson          Joyce ter Heerdt ^         Travers ^ (ktravers@its.jnj.com); Kaat Van Van De Keer (kvdkeer@its.jnj.com); David Van Passel ^
3711   JANSSENBIO‐PL_2‐0003401                                                       Withheld   ppt     Daryl                        Attorney‐Client   (nletier@its.jnj.com)    (jtheerdt@jppbe.jnj.com)   (dvpasse@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                 2/27/2014




                                                                                                                                                                                                           Adam Bloom (abloom31@its.jnj.com); Norm Bohidar (nbohidar@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                           (dbrinckm@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Thomas Conniff ^ (tconniff@its.jnj.com);
                                                                                                                                                                                                           Phil Crowley ^ (pcrowle@corus.jnj.com); CV Damaraju (cdamara1@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                           (jdecamar@corus.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Juliana Ferrari ^
                                                                                                                                                                                                           (jferrari@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com);
                                                                                                                                                                                                           Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                           (khamill@cntus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                           Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Patricia Lukens ^
                                                                                                                                                                                                           (plukens@its.jnj.com); Janet Main ^ (jmain@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                           Rosemary Millard ^ (rmillard@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                           (cpaters@its.jnj.com); Robert Pineda ^ (rpineda@its.jnj.com); Giorgio Rizzello ^ (grizzel1@its.jnj.com);
                                                                                                                                                                                                           Lisa Roberts ^ (lrobert5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Umang Shastri ^
                                                                                                                                                                                                           (ushastri@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Thomas
                                                                                                                                                                                                           Stukane ^ (tstukane@its.jnj.com); Alvin Sun ^ (jsun20@its.jnj.com); Cynthia Tamajusuku ^
                                                                                                                                                                                                           (ctamaju1@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                        Guiton, Christopher;                                                                               (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi
                                                                                                        Hamill, Kathleen; Todd,                        Jill Steinberg           Daryl Todd ^               Travers ^ (ktravers@its.jnj.com); Kaat Van Van De Keer (kvdkeer@its.jnj.com); David Van Passel ^
3712   JANSSENBIO‐PL_2‐0003402                                                       Withheld   pptx    Daryl                        Attorney‐Client   (jsteinb1@its.jnj.com)   (dtodd1@its.jnj.com)       (dvpasse@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                 2/27/2014




                                                                                                                                                                                                           Adam Bloom (abloom31@its.jnj.com); Norm Bohidar (nbohidar@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                           (dbrinckm@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Thomas Conniff ^ (tconniff@its.jnj.com);
                                                                                                                                                                                                           Phil Crowley ^ (pcrowle@corus.jnj.com); CV Damaraju (cdamara1@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                           (jdecamar@corus.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Juliana Ferrari ^
                                                                                                                                                                                                           (jferrari@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com);
                                                                                                                                                                                                           Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                           (khamill@cntus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                           Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Patricia Lukens ^
                                                                                                                                                                                                           (plukens@its.jnj.com); Janet Main ^ (jmain@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                           Rosemary Millard ^ (rmillard@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                           (cpaters@its.jnj.com); Robert Pineda ^ (rpineda@its.jnj.com); Giorgio Rizzello ^ (grizzel1@its.jnj.com);
                                                                                                                                                                                                           Lisa Roberts ^ (lrobert5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Umang Shastri ^
                                                                                                                                                                                                           (ushastri@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Thomas
                                                                                                                                                                                                           Stukane ^ (tstukane@its.jnj.com); Alvin Sun ^ (jsun20@its.jnj.com); Cynthia Tamajusuku ^
                                                                                                                                                                                                           (ctamaju1@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                        Guiton, Christopher;                                                                               (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi
                                                                                                        Hamill, Kathleen; Todd,                        Daryl Todd ^             Judith Fernandez           Travers ^ (ktravers@its.jnj.com); Kaat Van Van De Keer (kvdkeer@its.jnj.com); David Van Passel ^
3713   JANSSENBIO‐PL_2‐0003403                                                       Withheld   docx    Daryl                        Attorney‐Client   (dtodd1@its.jnj.com)     (jfernan9@its.jnj.com)     (dvpasse@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                 2/27/2014




                                                                                                                                                                                                           Adam Bloom (abloom31@its.jnj.com); Norm Bohidar (nbohidar@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                           (dbrinckm@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Thomas Conniff ^ (tconniff@its.jnj.com);
                                                                                                                                                                                                           Phil Crowley ^ (pcrowle@corus.jnj.com); CV Damaraju (cdamara1@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                           (jdecamar@corus.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Juliana Ferrari ^
                                                                                                                                                                                                           (jferrari@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Jaimi Gaffe (jgaffe@its.jnj.com);
                                                                                                                                                                                                           Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                           (khamill@cntus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                           Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Patricia Lukens ^
                                                                                                                                                                                                           (plukens@its.jnj.com); Janet Main ^ (jmain@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com);
                                                                                                                                                                                                           Rosemary Millard ^ (rmillard@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                           (cpaters@its.jnj.com); Robert Pineda ^ (rpineda@its.jnj.com); Giorgio Rizzello ^ (grizzel1@its.jnj.com);
                                                                                                                                                                                                           Lisa Roberts ^ (lrobert5@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Umang Shastri ^
                                                                                                                                                                                                           (ushastri@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Thomas
                                                                                                                                                                                                           Stukane ^ (tstukane@its.jnj.com); Alvin Sun ^ (jsun20@its.jnj.com); Cynthia Tamajusuku ^
                                                                                                                                                                                                           (ctamaju1@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                        Guiton, Christopher;                                                                               (jtheerdt@jppbe.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi
                                                                                                        Hamill, Kathleen; Todd,                        Rosemary Millard ^       Rosemary Millard ^         Travers ^ (ktravers@its.jnj.com); Kaat Van Van De Keer (kvdkeer@its.jnj.com); David Van Passel ^
3714   JANSSENBIO‐PL_2‐0003404                                                       Withheld   docx    Daryl                        Attorney‐Client   (rmillard@its.jnj.com)   (rmillard@its.jnj.com)     (dvpasse@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                 2/27/2014



                                                                                                                                                                                                           Joseph DiGiacomo (jdigiaco@its.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); John Franz
                                                                                                                                                                                                           (jfranz@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                           (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^                                                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com); Daryl Todd                regarding preparation/review of internal training or
                                                                                                        Guiton, Christopher; Todd,                                                                         (khamill@cntus.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Daryl   Jessica Empestan ^ (jempesta@its.jnj.com);                                                 ^ (dtodd1@its.jnj.com); Perry Knight ^                                internal guidance concerning practice management or IOI
3715   JANSSENBIO‐PL_2‐0003405                                                       Withheld   eMail   Daryl                        Attorney‐Client                                                       Todd ^ (dtodd1@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com)             Stephanie Gilson ^ (sgilson@its.jnj.com)       Kathleen Hamill ^ (khamill@cntus.jnj.com)   (pknight@its.jnj.com)                                     10/9/2013   support.



                                                                                                                                                                                                           Joseph DiGiacomo (jdigiaco@its.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); John Franz
                                                                                                                                                                                                           (jfranz@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                           (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
                                                                                                        Guiton, Christopher; Todd,                     Doug Kennedy             Joseph DiGiacomo           (khamill@cntus.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Perry Knight ^ (pknight@its.jnj.com); Daryl
3716   JANSSENBIO‐PL_2‐0003406                                                       Withheld   pptx    Daryl                        Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)     Todd ^ (dtodd1@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                  10/9/2013
                                                                                                                                                                                                                                                                                                                        Christopher Guiton (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                                                                                        Christopher Zalesky (czalesky@its.jnj.com);
                                                                                                                                                                                                                                                                                                                        Clayton Paterson ^ (cpaters@its.jnj.com); Daryl
                                                                                                                                                                                                                                                                                                                        Todd ^ (dtodd1@its.jnj.com); Deidre Meehan ^
                                                                                                                                                                                                                                                                                                                        (dmeehan5@its.jnj.com); Desiree Ralls‐Morrison
                                                                                                                                                                                                                                                                                                                        ^ (drallsmo@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                                                                                                                                        (dbrinckm@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                                                                                                                                        (eformina@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                                                                                                                                        (egiulian@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                                                                                        (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                                                                                        (htorell@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                                                                                                                                        (jdecamar@corus.jnj.com); Jessica Empestan ^
                                                                                                                                                                                                                                                                                                                        (jempesta@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                                                                                                                                        (jcohen7@its.jnj.com); John Vaughan ^
                                                                                                                                                                                                                                                                                                                        (jvaughan@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                           Dirk Brinckman ^ (dbrinckm@its.jnj.com); Joan Cohen ^ (jcohen7@its.jnj.com); Jennifer De Camara ^            (khamill@cntus.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                           (jdecamar@corus.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Elizabeth Forminard ^                   (kolsen@its.jnj.com); Kristi Travers ^
                                                                                                                                                                                                           (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^                         (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                           (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^                         (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                           (khamill@cntus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);     (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                                                                                           Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Perry Knight ^                   (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                                                                                           (pknight@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^                           (mtandy@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                           (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^                             (mmccull@corus.jnj.com); Patricia Lukens ^
                                                                                                                                                                                                           (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^                     (plukens@its.jnj.com); Patricia Villani ^
                                                                                                                                                                                                           (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);     (pvillan1@its.jnj.com); Perry Knight ^
                                                                                                                                                                                                           Rosa Son ^ (rson@its.jnj.com); Thomas Stukane ^ (tstukane@its.jnj.com); Marlene Tandy ^                      (pknight@its.jnj.com); Rosa Son ^                                                                                                                                Email chain reflecting legal advice regarding
                                                                                                                                                                                                           (mtandy@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi       (rson@its.jnj.com); Shane Freedman ^                                                                                                                             preparation/review of internal training or internal
                                                                                                        Guiton, Christopher; Todd,                                                                         Travers ^ (ktravers@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                  (sfreedman@its.jnj.com); Stephanie Gilson ^     Michael McCulley ^                                                                                               guidance concerning practice management or IOI
3717                             JANSSENBIO‐064‐00003185   JANSSENBIO‐064‐00003188   Redacted   eMail   Daryl                        Attorney‐Client                                                       (pvillan1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                           (sgilson@its.jnj.com); Thomas Stukane ^         (mmccull@corus.jnj.com)                    Joy Johnson (jjohns14@its.jnj.com)                       12/14/2011   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of draft internal training or internal
                                                                                                                                                       Sue Seferian ^           Christopher Guiton ^                                                                                                                                                                                                                                                                                     guidance concerning practice management or IOI
3718   JANSSENBIO‐PL_2‐0003407                                                       Withheld   doc     Guiton, Christopher          Attorney‐Client   (sseferia@its.jnj.com)   (cguiton@its.jnj.com)                                                                                                                                                                                                                                                                       10/30/2009   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of draft internal training or internal
                                                                                                                                                       Sue Seferian ^           Christopher Guiton ^                                                                                                                                                                                                                                                                                     guidance concerning practice management or IOI
3719   JANSSENBIO‐PL_2‐0003408                                                       Withheld   doc     Guiton, Christopher          Attorney‐Client   (sseferia@its.jnj.com)   (cguiton@its.jnj.com)                                                                                                                                                                                                                                                                       10/30/2009   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                                                       Christopher Guiton ^     Christopher Guiton ^                                                                                                                                                                                                                                                                                     guidance concerning practice management or IOI
3720   JANSSENBIO‐PL_2‐0003409                                                       Withheld   doc     Guiton, Christopher          Attorney‐Client   (cguiton@its.jnj.com)    (cguiton@its.jnj.com)                                                                                                                                                                                                                                                                       10/13/2008   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                                                       Christopher Guiton ^     Christopher Guiton ^                                                                                                                                                                                                                                                                                     guidance concerning practice management or IOI
3721   JANSSENBIO‐PL_2‐0003410                                                       Withheld   doc     Guiton, Christopher          Attorney‐Client   (cguiton@its.jnj.com)    (cguiton@its.jnj.com)                                                                                                                                                                                                                                                                        9/25/2008   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                                                       Christopher Guiton ^     Christopher Guiton ^                                                                                                                                                                                                                                                                                     guidance concerning practice management or IOI
3722   JANSSENBIO‐PL_2‐0003411                                                       Withheld   doc     Guiton, Christopher          Attorney‐Client   (cguiton@its.jnj.com)    (cguiton@its.jnj.com)                                                                                                                                                                                                                                                                        9/12/2008   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                                                       Christopher Guiton ^     Christopher Guiton ^                                                                                                                                                                                                                                                                                     guidance concerning practice management or IOI
3723   JANSSENBIO‐PL_2‐0003412                                                       Withheld   doc     Guiton, Christopher          Attorney‐Client   (cguiton@its.jnj.com)    (cguiton@its.jnj.com)                                                                                                                                                                                                                                                                       10/29/2008   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         Memorandum providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         preparation/review of internal training or internal
                                                                                                                                                       Sue Seferian ^           Christopher Guiton ^                                                                                                                                                                                                                                                                                     guidance concerning practice management or IOI
3724   JANSSENBIO‐PL_2‐0003413                                                       Withheld   doc     Guiton, Christopher          Attorney‐Client   (sseferia@its.jnj.com)   (cguiton@its.jnj.com)                                                                                                                                                                                                                                                                       10/30/2009   support.




                                                                                                                                                                                                                                                                                  175
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 177 of 201

                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Memorandum reflecting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        preparation/review of internal training or internal
                                                                                                                                                Mark Sievers ^           Christopher Guiton ^                                                                                                                                                                                                                                                                           guidance concerning practice management or IOI
3725   JANSSENBIO‐PL_2‐0003414                                                       Withheld   doc     Guiton, Christopher   Attorney‐Client   (msievers@its.jnj.com)   (cguiton@its.jnj.com)                                                                                                                                                                                                                                                              4/22/2009   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                   Bruce Colligen (bcollig@its.jnj.com); Christopher                                                                                                    counsel for the purpose of receiving legal advice
                                                                                                                                                                                                        Bruce Colligen (bcollig@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^           Guiton ^ (cguiton@its.jnj.com); Christopher                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                        (cguiton@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^                          Zalesky (czalesky@its.jnj.com); Sue Seferian ^                                                                                                       internal guidance concerning practice management or IOI
3726   JANSSENBIO‐PL_2‐0003415                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                           (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)    (sseferia@its.jnj.com)                              Bruce Colligen (bcollig@its.jnj.com)   Michael McCulley ^ (mmccull@corus.jnj.com)    6/13/2008   support.

                                                                                                                                                                                                        Bruce Colligen (bcollig@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
3727   JANSSENBIO‐PL_2‐0003416                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                           (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)    Dimple Sodha (dsodha@corus.jnj.com)                 Bruce Colligen (bcollig@its.jnj.com)                                                 6/13/2008

                                                                                                                                                                                                        Bruce Colligen (bcollig@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^
                                                                                                                                                Martha Hull              Martha Hull                    (cguiton@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
3728   JANSSENBIO‐PL_2‐0003417                                                       Withheld   doc     Guiton, Christopher   Attorney‐Client   (mhull@ompus.jnj.com)    (mhull@ompus.jnj.com)          (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                             6/13/2008

                                                                                                                                                                                                        Bruce Colligen (bcollig@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^
3729   JANSSENBIO‐PL_2‐0003418                                                       Withheld   pdf     Guiton, Christopher   Attorney‐Client                                                           (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                             6/13/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Presentation providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        preparation/review of internal training or internal
                                                                                                                                                Christopher Zalesky      Bruce Colligen                 Don Bohn (dbohn@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^                                                                                                                                                                        guidance concerning practice management or IOI
3730   JANSSENBIO‐PL_2‐0003419   JANSSENBIO‐064‐00001115   JANSSENBIO‐064‐00001115   Withheld   ppt     Guiton, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (bcollig@its.jnj.com)          (cguiton@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                            1/29/2008   support.

                                                                                                                                                                                                        Doris Chern (dchern2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^                                                                                                                                                                   Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                        (cguiton@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com);                                                                                                                                                               regarding preparation/review of customer‐facing practice
3731   JANSSENBIO‐PL_2‐0003420                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                           Michael Wolfe (mwolfe2@its.jnj.com)                                                                        Christopher Guiton ^ (cguiton@its.jnj.com)          Michael Wolfe (mwolfe2@its.jnj.com)                                                 11/20/2014   management or IOI support material.

                                                                                                                                                                                                        Doris Chern (dchern2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                Anna Maria Acquaviva     Michael Wolfe                  (cguiton@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com);
3732   JANSSENBIO‐PL_2‐0003421                                                       Withheld   pptx    Guiton, Christopher   Attorney‐Client   (aacqua23@its.jnj.com)   (mwolfe2@its.jnj.com)          Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                                11/20/2014

                                                                                                                                                                                                        Doris Chern (dchern2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                Rika Ville               Michael Wolfe                  (cguiton@its.jnj.com); Amy Rodriguez (arodri32@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com);
3733   JANSSENBIO‐PL_2‐0003422                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (mwolfe2@its.jnj.com)          Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                                11/20/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                        Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo                                                                                                                                                                 regarding issues relating to lawfulness of practice
3734   JANSSENBIO‐PL_2‐0003423                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                           (tmarzull@its.jnj.com)                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com)          Thao Marzullo (tmarzull@its.jnj.com)                                                12/15/2014   management or IOI support services.
                                                                                                                                                Anna Maria Acquaviva     Thao Marzullo                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3735   JANSSENBIO‐PL_2‐0003424                                                       Withheld   pptx    Guiton, Christopher   Attorney‐Client   (aacqua23@its.jnj.com)   (tmarzull@its.jnj.com)         (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/15/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3736   JANSSENBIO‐PL_2‐0003425                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/15/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3737   JANSSENBIO‐PL_2‐0003426                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/15/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3738   JANSSENBIO‐PL_2‐0003427                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/15/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3739   JANSSENBIO‐PL_2‐0003428                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/15/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3740   JANSSENBIO‐PL_2‐0003429                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/15/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3741   JANSSENBIO‐PL_2‐0003430                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/15/2014
                                                                                                                                                Rika Ville               Lesline Brother                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3742   JANSSENBIO‐PL_2‐0003431                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (lbrother@its.jnj.com)         (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/15/2014
                                                                                                                                                Rika Ville               Thao Marzullo                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3743   JANSSENBIO‐PL_2‐0003432                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (tmarzull@its.jnj.com)         (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/15/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                        Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Michael Wolfe                                                                                                                                                                 regarding issues relating to lawfulness of practice
3744   JANSSENBIO‐PL_2‐0003433                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                           (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                 Christopher Guiton ^ (cguiton@its.jnj.com)          Michael Wolfe (mwolfe2@its.jnj.com)                                                 12/16/2014   management or IOI support services.

                                                                                                                                                Rika Ville               Michael Wolfe                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Michael Wolfe
3745   JANSSENBIO‐PL_2‐0003434                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (mwolfe2@its.jnj.com)          (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                         12/16/2014

                                                                                                                                                Anna Maria Acquaviva     Michael Wolfe                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Michael Wolfe
3746   JANSSENBIO‐PL_2‐0003435                                                       Withheld   pptx    Guiton, Christopher   Attorney‐Client   (aacqua23@its.jnj.com)   (mwolfe2@its.jnj.com)          (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                         12/16/2014

                                                                                                                                                Rika Ville               Michael Wolfe                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Michael Wolfe
3747   JANSSENBIO‐PL_2‐0003436                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (mwolfe2@its.jnj.com)          (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                         12/16/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                        Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe                                                                                                                                                                  internal guidance concerning practice management or IOI
3748   JANSSENBIO‐PL_2‐0003437                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                           (mwolfe2@its.jnj.com)                                                                                      Christopher Guiton ^ (cguiton@its.jnj.com)          Michael Wolfe (mwolfe2@its.jnj.com)                                                 12/16/2014   support.
                                                                                                                                                Anna Maria Acquaviva     Michael Wolfe                  Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe
3749   JANSSENBIO‐PL_2‐0003438                                                       Withheld   pptx    Guiton, Christopher   Attorney‐Client   (aacqua23@its.jnj.com)   (mwolfe2@its.jnj.com)          (mwolfe2@its.jnj.com)                                                                                                                                                                                                                              12/16/2014
                                                                                                                                                Rika Ville               Michael Wolfe                  Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe
3750   JANSSENBIO‐PL_2‐0003439                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (mwolfe2@its.jnj.com)          (mwolfe2@its.jnj.com)                                                                                                                                                                                                                              12/16/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                        Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo                                                                                                                                                                 internal guidance concerning practice management or IOI
3751   JANSSENBIO‐PL_2‐0003440                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                           (tmarzull@its.jnj.com)                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com)          Thao Marzullo (tmarzull@its.jnj.com)                                                12/16/2014   support.
                                                                                                                                                Rika Ville               Thao Marzullo                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3752   JANSSENBIO‐PL_2‐0003441                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (tmarzull@its.jnj.com)         (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/16/2014
                                                                                                                                                Anna Maria Acquaviva     Thao Marzullo                  Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3753   JANSSENBIO‐PL_2‐0003442                                                       Withheld   pptx    Guiton, Christopher   Attorney‐Client   (aacqua23@its.jnj.com)   (tmarzull@its.jnj.com)         (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/16/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3754   JANSSENBIO‐PL_2‐0003443                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/16/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3755   JANSSENBIO‐PL_2‐0003444                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/16/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3756   JANSSENBIO‐PL_2‐0003445                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/16/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3757   JANSSENBIO‐PL_2‐0003446                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/16/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3758   JANSSENBIO‐PL_2‐0003447                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/16/2014

                                                                                                                                                                         Jessica Higgins                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3759   JANSSENBIO‐PL_2‐0003448                                                       Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Wade Hubbard             (Jessica.Higgins@xcenda.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/16/2014
                                                                                                                                                Rika Ville               Lesline Brother                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3760   JANSSENBIO‐PL_2‐0003449                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (rdeville@its.jnj.com)   (lbrother@its.jnj.com)         (tmarzull@its.jnj.com)                                                                                                                                                                                                                             12/16/2014

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^                                                                                                                                                                Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                        (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);                                                                                                                                                            regarding preparation/review of internal training or
                                                                                                                                                                                                        Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts                                                                                                                                                                     internal guidance concerning practice management or IOI
3761   JANSSENBIO‐PL_2‐0003450                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                           (krober10@its.jnj.com)                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com)          Thao Marzullo (tmarzull@its.jnj.com)                                                 2/18/2015   support.

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                Anna Maria Acquaviva     Thomas Cornely                 Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
3762   JANSSENBIO‐PL_2‐0003451                                                       Withheld   pptx    Guiton, Christopher   Attorney‐Client   (aacqua23@its.jnj.com)   (tcornel@its.jnj.com)          (krober10@its.jnj.com)                                                                                                                                                                                                                              2/18/2015

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                Dave Franklin            Thao Marzullo                  Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
3763   JANSSENBIO‐PL_2‐0003452                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (dfrankl1@its.jnj.com)   (tmarzull@its.jnj.com)         (krober10@its.jnj.com)                                                                                                                                                                                                                              2/18/2015

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                Dave Franklin            Thomas Cornely                 Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
3764   JANSSENBIO‐PL_2‐0003453                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (dfrankl1@its.jnj.com)   (tcornel@its.jnj.com)          (krober10@its.jnj.com)                                                                                                                                                                                                                              2/18/2015

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                Thao Marzullo            Thomas Cornely                 Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
3765   JANSSENBIO‐PL_2‐0003454                                                       Withheld   pptx    Guiton, Christopher   Attorney‐Client   (tmarzull@its.jnj.com)   (tcornel@its.jnj.com)          (krober10@its.jnj.com)                                                                                                                                                                                                                              2/18/2015

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                Thao Marzullo            Thomas Cornely                 Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
3766   JANSSENBIO‐PL_2‐0003455                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (tmarzull@its.jnj.com)   (tcornel@its.jnj.com)          (krober10@its.jnj.com)                                                                                                                                                                                                                              2/18/2015

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                Anna Maria Acquaviva     Thomas Cornely                 Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
3767   JANSSENBIO‐PL_2‐0003456                                                       Withheld   pptx    Guiton, Christopher   Attorney‐Client   (aacqua23@its.jnj.com)   (tcornel@its.jnj.com)          (krober10@its.jnj.com)                                                                                                                                                                                                                              2/18/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld                                                                                                                                                            regarding preparation/review of internal training or
                                                                                                                                                                                                        (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao                                                                                                                                                           internal guidance concerning practice management or IOI
3768   JANSSENBIO‐PL_2‐0003457                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                           Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                    Christopher Guiton ^ (cguiton@its.jnj.com)          Thao Marzullo (tmarzull@its.jnj.com)                                                 2/23/2015   support.

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                Anna Maria Acquaviva     Thao Marzullo                  (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
3769   JANSSENBIO‐PL_2‐0003458                                                       Withheld   pptx    Guiton, Christopher   Attorney‐Client   (aacqua23@its.jnj.com)   (tmarzull@its.jnj.com)         Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                             2/23/2015

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                Dave Franklin            Thao Marzullo                  (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
3770   JANSSENBIO‐PL_2‐0003459                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (dfrankl1@its.jnj.com)   (tmarzull@its.jnj.com)         Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                             2/23/2015

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                Dave Franklin            Thao Marzullo                  (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
3771   JANSSENBIO‐PL_2‐0003460                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (dfrankl1@its.jnj.com)   (tmarzull@its.jnj.com)         Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                             2/23/2015

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                Thao Marzullo            Thao Marzullo                  (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
3772   JANSSENBIO‐PL_2‐0003461                                                       Withheld   pptx    Guiton, Christopher   Attorney‐Client   (tmarzull@its.jnj.com)   (tmarzull@its.jnj.com)         Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                             2/23/2015

                                                                                                                                                                                                        Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                                                                                Thao Marzullo            Thao Marzullo                  (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
3773   JANSSENBIO‐PL_2‐0003462                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (tmarzull@its.jnj.com)   (tmarzull@its.jnj.com)         Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                             2/23/2015




                                                                                                                                                                                                                                                                               176
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 178 of 201


                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld
                                                                                            Anna Maria Acquaviva      Thao Marzullo              (kheusink@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao
3774   JANSSENBIO‐PL_2‐0003463   Withheld   pptx    Guiton, Christopher   Attorney‐Client   (aacqua23@its.jnj.com)    (tmarzull@its.jnj.com)     Marzullo (tmarzull@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                           2/23/2015
                                                                                                                                                                                                                                                                                                                                                                                                               Email with attachment(s) requesting legal advice
                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^                                                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                 (cguiton@its.jnj.com); Cara Richardson (cricha27@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);                                                                                                                                                        internal guidance concerning practice management or IOI
3775   JANSSENBIO‐PL_2‐0003464   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        Amy Van Sant (avansant@its.jnj.com); Erin Wells (ewells@its.jnj.com)                                        Christopher Guiton ^ (cguiton@its.jnj.com)    Erin Wells (ewells@its.jnj.com)                                                         3/11/2015   support.

                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
                                                                                                                      Cara Richardson            (cguiton@its.jnj.com); Cara Richardson (cricha27@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);
3776   JANSSENBIO‐PL_2‐0003465   Withheld   pptx    Guiton, Christopher   Attorney‐Client                             (cricha27@its.jnj.com)     Amy Van Sant (avansant@its.jnj.com); Erin Wells (ewells@its.jnj.com)                                                                                                                                                                              3/11/2015

                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Cara Richardson (cricha27@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);
3777   JANSSENBIO‐PL_2‐0003466   Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Weichert                  GfK User                   Amy Van Sant (avansant@its.jnj.com); Erin Wells (ewells@its.jnj.com)                                                                                                                                                                              3/11/2015

                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Cara Richardson (cricha27@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);
3778   JANSSENBIO‐PL_2‐0003467   Withheld   xlsx    Guiton, Christopher   Attorney‐Client   Weichert                  GfK User                   Amy Van Sant (avansant@its.jnj.com); Erin Wells (ewells@its.jnj.com)                                                                                                                                                                              3/11/2015

                                                                                            Nicholas Kottak           Nicholas Kottak            Thomas Cornely (tcornel@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
                                                                                            (nkottak@ethnographic‐    (nkottak@ethnographic‐     (cguiton@its.jnj.com); Cara Richardson (cricha27@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);
3779   JANSSENBIO‐PL_2‐0003468   Withheld   xlsx    Guiton, Christopher   Attorney‐Client   solutions.com)            solutions.com)             Amy Van Sant (avansant@its.jnj.com); Erin Wells (ewells@its.jnj.com)                                                                                                                                                                              3/11/2015

                                                                                                                                                                                                                                                                                                                                                                                                               Email chain with attachment(s) requesting legal advice
                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe                                                                                                                                                               regarding preparation/review of customer‐facing practice
3780   JANSSENBIO‐PL_2‐0003469   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                  Christopher Guiton ^ (cguiton@its.jnj.com)    Michael Wolfe (mwolfe2@its.jnj.com)                                                      5/7/2015   management or IOI support material.

                                                                                            Robert (Bob) Alder                                   Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe
3781   JANSSENBIO‐PL_2‐0003470   Withheld   pdf     Guiton, Christopher   Attorney‐Client   (bob@xillix.co)                                      (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                         5/7/2015
                                                                                                                                                                                                                                                                                                                                                                                                               Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                 Lawrence Conley (lconley1@its.jnj.cm); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts          Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                       internal guidance concerning practice management or IOI
3782   JANSSENBIO‐PL_2‐0003471   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (krober10@its.jnj.com)                                                                                      Kathryn Roberts (krober10@its.jnj.com)        Lawrence Conley (lconley1@its.jnj.cm)                                                   10/7/2013   support.
                                                                                                                      Lawrence Conley            Lawrence Conley (lconley1@its.jnj.cm); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts
3783   JANSSENBIO‐PL_2‐0003472   Withheld   pptx    Guiton, Christopher   Attorney‐Client   Avigo                     (lconley1@its.jnj.cm)      (krober10@its.jnj.com)                                                                                                                                                                                                                            10/7/2013
                                                                                                                                                                                                                                                                                                                                                                                                               Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                 Lawrence Conley (lconley1@its.jnj.cm); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^                                                                                                                                                       internal guidance concerning practice management or IOI
3784   JANSSENBIO‐PL_2‐0003473   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)            Christopher Guiton ^ (cguiton@its.jnj.com)    Daryl Todd ^ (dtodd1@its.jnj.com)                                                      10/10/2013   support.

                                                                                                                                                 Lawrence Conley (lconley1@its.jnj.cm); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
3785   JANSSENBIO‐PL_2‐0003474   Withheld   doc     Guiton, Christopher   Attorney‐Client                                                        (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                 10/10/2013
                                                                                                                                                                                                                                                                                                                                                                                                               Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe                                                                                                                                                                internal guidance concerning practice management or IOI
3786   JANSSENBIO‐PL_2‐0003475   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (mwolfe2@its.jnj.com)                                                                                       Christopher Guiton ^ (cguiton@its.jnj.com)    Michael Wolfe (mwolfe2@its.jnj.com)                                                     7/31/2014   support.
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe
3787   JANSSENBIO‐PL_2‐0003476   Withheld   pdf     Guiton, Christopher   Attorney‐Client   Xillix                                               (mwolfe2@its.jnj.com)                                                                                                                                                                                                                             7/31/2014

                                                                                                                                                                                                                                                                                                                                                                                                               Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                               counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                 Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson                                                                                                       Avis Goode (agoode@its.jnj.com); Karen Novak                internal guidance concerning practice management or IOI
3788   JANSSENBIO‐PL_2‐0003477   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                   Christopher Guiton ^ (cguiton@its.jnj.com)    Chris Matteson (cmattes1@its.jnj.com)   (knovak5@its.jnj.com)                           8/14/2014   support.

                                                                                            Sue Seferian ^            Cinda Koehler              Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3789   JANSSENBIO‐PL_2‐0003478   Withheld   docx    Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)    (CKoehler@its.jnj.com)     (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                                                                                                                                                         8/14/2014

                                                                                                                      Cinda Koehler              Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3790   JANSSENBIO‐PL_2‐0003479   Withheld   docx    Guiton, Christopher   Attorney‐Client   Dpicsk (DPICSK@aol.com)   (CKoehler@its.jnj.com)     (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                                                                                                                                                         8/14/2014

                                                                                            Cinda Koehler                                        Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3791   JANSSENBIO‐PL_2‐0003480   Withheld   doc     Guiton, Christopher   Attorney‐Client   (CKoehler@its.jnj.com)    Valued Gateway Client      (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                                                                                                                                                         8/14/2014

                                                                                            Cinda Koehler                                        Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3792   JANSSENBIO‐PL_2‐0003481   Withheld   doc     Guiton, Christopher   Attorney‐Client   (CKoehler@its.jnj.com)                               (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                                                                                                                                                         8/14/2014

                                                                                                                                                 Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3793   JANSSENBIO‐PL_2‐0003482   Withheld   doc     Guiton, Christopher   Attorney‐Client   John Tompson              Cynda                      (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                                                                                                                                                         8/14/2014

                                                                                                                                                 Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3794   JANSSENBIO‐PL_2‐0003483   Withheld   doc     Guiton, Christopher   Attorney‐Client   John Tompson              Cynda                      (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                                                                                                                                                         8/14/2014

                                                                                                                                                 Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3795   JANSSENBIO‐PL_2‐0003484   Withheld   doc     Guiton, Christopher   Attorney‐Client                             Cynda                      (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                                                                                                                                                         8/14/2014

                                                                                                                                                 Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3796   JANSSENBIO‐PL_2‐0003485   Withheld   pdf     Guiton, Christopher   Attorney‐Client   Cynda                                                (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                                                                                                                                                         8/14/2014

                                                                                            Niels Van Der Schraaf                                Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3797   JANSSENBIO‐PL_2‐0003486   Withheld   docx    Guiton, Christopher   Attorney‐Client   (nschraaf@its.jnj.com)    Dpicsk (DPICSK@aol.com)    (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                                                                                                                                                         8/14/2014

                                                                                                                                                 Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3798   JANSSENBIO‐PL_2‐0003487   Withheld   docx    Guiton, Christopher   Attorney‐Client   Cynda                     Cynda S. Koehler           (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                                                                                                                                                         8/14/2014

                                                                                                                                                 Avis Goode (agoode@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3799   JANSSENBIO‐PL_2‐0003488   Withheld   docx    Guiton, Christopher   Attorney‐Client   Cynda                     Cynda S. Koehler           (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com)                                                                                                                                                                                         8/14/2014




                                                                                                                                                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                 (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                 (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                 (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                 Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^                                                                                                                                                                       Email chain with attachment(s) providing legal advice
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^                       Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                 (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);    Deidre Meehan ^ (dmeehan5@its.jnj.com);       Michael McCulley ^                                                                                  internal guidance concerning practice management or IOI
3800   JANSSENBIO‐PL_2‐0003489   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                 Stephanie Gilson ^ (sgilson@its.jnj.com)      (mmccull@corus.jnj.com)                                                                 12/4/2009   support.




                                                                                                                                                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                 (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                 (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                 (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                 Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                            Sue Seferian ^            Jennifer De Camara ^       (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
3801   JANSSENBIO‐PL_2‐0003490   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)    (jdecamar@corus.jnj.com)   Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       12/4/2009




                                                                                                                                                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                 (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                 (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                 (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                 Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                 (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
3802   JANSSENBIO‐PL_2‐0003491   Withheld   doc     Guiton, Christopher   Attorney‐Client                                                        Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       12/4/2009




                                                                                                                                                 Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                 (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                                 (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                 Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                 (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                 (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                 (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                 Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                            Stephanie Gilson ^        Jennifer De Camara ^       (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
3803   JANSSENBIO‐PL_2‐0003492   Withheld   docx    Guiton, Christopher   Attorney‐Client   (sgilson@its.jnj.com)     (jdecamar@corus.jnj.com)   Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                       12/4/2009
                                                                                                                                                                                                                                                                                                                                                                                                               Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre              Christopher Guiton ^ (cguiton@its.jnj.com);   Michael McCulley ^                                                                                  internal guidance concerning practice management or IOI
3804   JANSSENBIO‐PL_2‐0003493   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        Meehan ^ (dmeehan5@its.jnj.com)                                                                             Deidre Meehan ^ (dmeehan5@its.jnj.com)        (mmccull@corus.jnj.com)                                                                 11/6/2009   support.




                                                                                                                                                                                                                       177
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 179 of 201

                                                                                            Sue Seferian ^           Helen Torelli ^          Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre
3805   JANSSENBIO‐PL_2‐0003494   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (htorell@its.jnj.com)    Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                                                                 11/6/2009

                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) reflecting counsel's
                                                                                                                                                                                                                                                                                                                                                                                                                          request for information for the purpose of providing
                                                                                                                                                                                                                                                                                                                                                                                                                          legal advice regarding preparation/review of internal
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com); Michael McCulley ^                                                                                                 Deidre Meehan ^ (dmeehan5@its.jnj.com); Michael                    training or internal guidance concerning practice
3806   JANSSENBIO‐PL_2‐0003495   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                             Christopher Guiton ^ (cguiton@its.jnj.com)      Terry Kerekgyarto (tkerekgy@its.jnj.com)     McCulley ^ (mmccull@corus.jnj.com)                      3/8/2010   management or IOI support.

                                                                                            Sue Seferian ^           Terry Kerekgyarto        Christopher Guiton ^ (cguiton@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com); Michael McCulley ^
3807   JANSSENBIO‐PL_2‐0003496   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tkerekgy@its.jnj.com)   (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                                  3/8/2010

                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez                                                                                                                                                                      Email chain with attachment(s) requesting legal advice
                                                                                                                                              ^ (fjimene3@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com); Michael McCulley ^                      Freddy Jimenez ^ (fjimene3@its.jnj.com); Mark                                                Christopher Guiton ^ (cguiton@its.jnj.com); Deidre                 regarding preparation/review of internal training or
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Mark Sievers ^                             Sievers ^ (msievers@its.jnj.com); Michael                                                    Meehan ^ (dmeehan5@its.jnj.com); Terry Kerekgyarto                 internal guidance concerning practice management or IOI
3808   JANSSENBIO‐PL_2‐0003497   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     (msievers@its.jnj.com)                                                                                      McCulley ^ (mmccull@corus.jnj.com)              Christopher Guiton ^ (cguiton@its.jnj.com)   (tkerekgy@its.jnj.com)                                10/30/2009   support.

                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez
                                                                                                                                              ^ (fjimene3@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com); Michael McCulley ^
                                                                                            Sue Seferian ^           Christopher Guiton ^     (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Mark Sievers ^
3809   JANSSENBIO‐PL_2‐0003498   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (cguiton@its.jnj.com)    (msievers@its.jnj.com)                                                                                                                                                                                                                                         10/30/2009

                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez
                                                                                                                                              ^ (fjimene3@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com); Michael McCulley ^
                                                                                            Sue Seferian ^           Terry Kerekgyarto        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Mark Sievers ^
3810   JANSSENBIO‐PL_2‐0003499   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tkerekgy@its.jnj.com)   (msievers@its.jnj.com)                                                                                                                                                                                                                                         10/30/2009

                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                          counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Terry               Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                     internal guidance concerning practice management or IOI
3811   JANSSENBIO‐PL_2‐0003500   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                  Deidre Meehan ^ (dmeehan5@its.jnj.com)          Terry Kerekgyarto (tkerekgy@its.jnj.com)                                                           10/30/2009   support.

                                                                                            Sue Seferian ^           Terry Kerekgyarto        Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Terry
3812   JANSSENBIO‐PL_2‐0003501   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tkerekgy@its.jnj.com)   Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                     10/30/2009




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                              (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                              (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^                                                                                                                                                                                     Email chain with attachment(s) providing legal advice
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^                                                                                                                    Christopher Guiton ^ (cguiton@its.jnj.com); Deidre                 regarding preparation/review of internal training or
                                                                                                                                              (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);                                                                                                 Meehan ^ (dmeehan5@its.jnj.com); Patricia Villani ^                internal guidance concerning practice management or IOI
3813   JANSSENBIO‐PL_2‐0003502   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                 Michael McCulley ^ (mmccull@corus.jnj.com)      Jessica Gottlieb ^ (jgottlie@its.jnj.com)    (pvillan1@its.jnj.com)                                12/10/2009   support.




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Debra Hueting ^
                                                                                                                                              (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Maria Kennedy ^ (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                              (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                              (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                            Sue Seferian ^           Jessica Gottlieb ^       (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
3814   JANSSENBIO‐PL_2‐0003503   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (jgottlie@its.jnj.com)   Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                    12/10/2009
                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Terry               Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                     internal guidance concerning practice management or IOI
3815   JANSSENBIO‐PL_2‐0003504   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                  Deidre Meehan ^ (dmeehan5@its.jnj.com)          Terry Kerekgyarto (tkerekgy@its.jnj.com)                                                           10/30/2009   support.

                                                                                            Sue Seferian ^           Terry Kerekgyarto        Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Terry
3816   JANSSENBIO‐PL_2‐0003505   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tkerekgy@its.jnj.com)   Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                     10/30/2009

                                                                                            Sue Seferian ^           Terry Kerekgyarto        Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Terry
3817   JANSSENBIO‐PL_2‐0003506   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tkerekgy@its.jnj.com)   Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                     10/30/2009
                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Terry               Christopher Guiton ^ (cguiton@its.jnj.com); Terry                                                                                                               internal guidance concerning practice management or IOI
3818   JANSSENBIO‐PL_2‐0003507   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                  Kerekgyarto (tkerekgy@its.jnj.com)                Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                           10/30/2009   support.

                                                                                            Sue Seferian ^           Deidre Meehan ^          Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Terry
3819   JANSSENBIO‐PL_2‐0003508   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (dmeehan5@its.jnj.com)   Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                     10/30/2009
                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                          counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^       Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                     internal guidance concerning practice management or IOI
3820   JANSSENBIO‐PL_2‐0003509   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     (dmeehan5@its.jnj.com)                                                                                      Deidre Meehan ^ (dmeehan5@its.jnj.com)          Terry Kerekgyarto (tkerekgy@its.jnj.com)                                                           12/16/2009   support.
                                                                                            Sue Seferian ^           Terry Kerekgyarto        Christopher Guiton ^ (cguiton@its.jnj.com); Terry Kerekgyarto (tkerekgy@its.jnj.com); Deidre Meehan ^
3821   JANSSENBIO‐PL_2‐0003510   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tkerekgy@its.jnj.com)   (dmeehan5@its.jnj.com)                                                                                                                                                                                                                                         12/16/2009
                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                          preparation/review of internal training or internal
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Terry                                                                                                                                                                               guidance concerning practice management or IOI
3822   JANSSENBIO‐PL_2‐0003511   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     Kerekgyarto (tkerekgy@its.jnj.com)                                                                          Terry Kerekgyarto (tkerekgy@its.jnj.com)        Christopher Guiton ^ (cguiton@its.jnj.com)   Christopher Guiton ^ (cguiton@its.jnj.com)            10/30/2009   support.
                                                                                            Sue Seferian ^           Christopher Guiton ^     Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Terry
3823   JANSSENBIO‐PL_2‐0003512   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (cguiton@its.jnj.com)    Kerekgyarto (tkerekgy@its.jnj.com)                                                                                                                                                                                                                             10/30/2009
                                                                                                                                                                                                                                                          Christopher Guiton (cguiton@its.jnj.com);
                                                                                                                                                                                                                                                          Clayton Paterson ^ (cpaters@its.jnj.com); Debra
                                                                                                                                                                                                                                                          Hueting ^ (dhuetin1@prdgb.jnj.com); Deidre
                                                                                                                                                                                                                                                          Meehan ^ (dmeehan5@its.jnj.com); Desiree Ralls‐
                                                                                                                                                                                                                                                          Morrison ^ (drallsmo@its.jnj.com); Dirk
                                                                                                                                                                                                                                                          Brinckman ^ (dbrinckm@its.jnj.com); Dirk Van
                                                                                                                                                                                                                                                          (dvbroekh@jppbe.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                                                          (dclarke3@its.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                                                                          (egiulian@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                                                                          (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                                                                                                                          (htorell@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                                                                                                                          (jdecamar@corus.jnj.com); Joanna Soffa ^
                                                                                                                                                                                                                                                          (soffa@sciosinc.com); John Vaughan ^
                                                                                                                                                                                                                                                          (jvaughan@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                                                                          (jtheerdt@jppbe.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                                                          (kschroe@corus.jnj.com); Kenneth Olsen ^
                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^         (kolsen@its.jnj.com); Kristi Travers ^
                                                                                                                                              (dclarke3@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Michelle Fried ^                     (ktravers@its.jnj.com); Lisa Jenkins ^
                                                                                                                                              (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^                     (ljenkins@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (cguiton@its.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);     (mkenned3@its.jnj.com); Mark Sievers ^
                                                                                                                                              Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^         (msievers@its.jnj.com); Marlene Tandy ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Patrick O'Brien ^                          (mtandy@its.jnj.com); Michael Chester ^
                                                                                                                                              (pobrien5@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^                          (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                              (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^                   (mmccull@corus.jnj.com); Michelle Fried ^
                                                                                                                                              (kschroe@corus.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);   (mfried1@corus.jnj.com); Patricia Villani ^
                                                                                                                                              Mark Sievers ^ (msievers@its.jnj.com); Joanna Soffa ^ (soffa@sciosinc.com); Marlene Tandy ^                 (pvillan1@its.jnj.com); Patrick O'Brien ^                                                                                                                       Email with attachment(s) requesting legal advice
                                                                                                                                              (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);   (pobrien5@corus.jnj.com); Stephanie Gilson ^                                                                                                                    regarding preparation/review of draft internal training or
                                                                                                                                              Kristi Travers ^ (ktravers@its.jnj.com); Dirk Van (dvbroekh@jppbe.jnj.com); John Vaughan ^                  (sgilson@its.jnj.com); Sue Seferian ^           Michael McCulley ^                                                                                              internal guidance concerning practice management or IOI
3824   JANSSENBIO‐PL_2‐0003513   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)          (sseferia@its.jnj.com); Yuung Yap ^             (mmccull@corus.jnj.com)                                                                            10/15/2007   support.




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Michelle Fried ^
                                                                                                                                              (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                              Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Patrick O'Brien ^
                                                                                                                                              (pobrien5@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                              (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^
                                                                                                                                              (kschroe@corus.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
                                                                                                                                              Mark Sievers ^ (msievers@its.jnj.com); Joanna Soffa ^ (soffa@sciosinc.com); Marlene Tandy ^
                                                                                                                                              (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);
                                                                                            Patricia Molino                                   Kristi Travers ^ (ktravers@its.jnj.com); Dirk Van (dvbroekh@jppbe.jnj.com); John Vaughan ^
3825   JANSSENBIO‐PL_2‐0003514   Withheld   doc     Guiton, Christopher   Attorney‐Client   (pmolino@its.jnj.com)    Margaret Commisso        (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                             10/15/2007




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Michelle Fried ^
                                                                                                                                              (mfried1@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com);
                                                                                                                                              Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Patrick O'Brien ^
                                                                                                                                              (pobrien5@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                              (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Kathy Schroeher ^
                                                                                                                                              (kschroe@corus.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
                                                                                                                                              Mark Sievers ^ (msievers@its.jnj.com); Joanna Soffa ^ (soffa@sciosinc.com); Marlene Tandy ^
                                                                                                                                              (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);
                                                                                            Sue Seferian ^           Freddy Jimenez ^         Kristi Travers ^ (ktravers@its.jnj.com); Dirk Van (dvbroekh@jppbe.jnj.com); John Vaughan ^
3826   JANSSENBIO‐PL_2‐0003515   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (fjimene3@its.jnj.com)   (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                             10/15/2007




                                                                                                                                                                                                                    178
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 180 of 201

                                                                                                                                                                                                                                                                                                                                                                                                                               Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^           Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                         internal guidance concerning practice management or IOI
3827   JANSSENBIO‐PL_2‐0003516   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      (cguiton@its.jnj.com)                                                                                      Thomas Cornely (tcornel@its.jnj.com)              Thomas Cornely (tcornel@its.jnj.com)                                                                   1/7/2015   support.
                                                                                             Angela Wood               Thomas Cornely           Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
3828   JANSSENBIO‐PL_2‐0003517   Withheld   pptx    Guiton, Christopher    Attorney‐Client   (awood6@its.jnj.com)      (tcornel@its.jnj.com)    (cguiton@its.jnj.com)                                                                                                                                                                                                                                               1/7/2015
                                                                                                                                                                                                                                                           Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer (tbrintz2@its.jnj.com); John Crisan          Christopher Guiton ^ (cguiton@its.jnj.com); John                                                                                                                    Email with attachment(s) requesting legal advice
                                                                                                                                                (jcrisan@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy      Crisan (jcrisan@its.jnj.com); Sujata Dayal                                                     Anthony Brennan (abrenna3@its.jnj.com); Lee Wolf                     regarding preparation/review of internal training or
                                                                                                                                                Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson                   (sdayal@its.jnj.com); Timothy Grimes             Tammy Brintzinghoffer                         (lwolf@its.jnj.com); Mary Graham                                     internal guidance concerning practice management or IOI
3829   JANSSENBIO‐PL_2‐0003518   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      (cmattes1@its.jnj.com); Lee Wolf (lwolf@its.jnj.com)                                                       (tgrimes@its.jnj.com)                            (tbrintz2@its.jnj.com)                        (mgraham1@its.jnj.com)                                  11/16/2015   support.

                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer (tbrintz2@its.jnj.com); John Crisan
                                                                                                                                                (jcrisan@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy
                                                                                             Angela Wood               Tammy Brintzinghoffer    Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3830   JANSSENBIO‐PL_2‐0003519   Withheld   pptx    Guiton, Christopher    Attorney‐Client   (awood6@its.jnj.com)      (tbrintz2@its.jnj.com)   (cmattes1@its.jnj.com); Lee Wolf (lwolf@its.jnj.com)                                                                                                                                                                                                              11/16/2015
                                                                                                                                                                                                                                                           Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer (tbrintz2@its.jnj.com); John Crisan          Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                         Email chain with attachment(s) providing legal advice
                                                                                                                                                (jcrisan@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy      Sujata Dayal (sdayal@its.jnj.com); Tammy                                                       Anthony Brennan (abrenna3@its.jnj.com); Lee Wolf                     regarding preparation/review of internal training or
                                                                                                                                                Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson                   Brintzinghoffer (tbrintz2@its.jnj.com); Timothy                                                (lwolf@its.jnj.com); Mary Graham                                     internal guidance concerning practice management or IOI
3831   JANSSENBIO‐PL_2‐0003520   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      (cmattes1@its.jnj.com); Lee Wolf (lwolf@its.jnj.com)                                                       Grimes (tgrimes@its.jnj.com)                      John Crisan (jcrisan@its.jnj.com)            (mgraham1@its.jnj.com)                                  11/22/2015   support.

                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer (tbrintz2@its.jnj.com); John Crisan
                                                                                                                                                (jcrisan@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy
                                                                                             Angela Wood               John Crisan              Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3832   JANSSENBIO‐PL_2‐0003521   Withheld   pptx    Guiton, Christopher    Attorney‐Client   (awood6@its.jnj.com)      (jcrisan@its.jnj.com)    (cmattes1@its.jnj.com); Lee Wolf (lwolf@its.jnj.com)                                                                                                                                                                                                              11/22/2015
                                                                                                                                                                                                                                                           Chris Matteson (cmattes1@its.jnj.com);
                                                                                                                                                                                                                                                           Christopher Guiton ^ (cguiton@its.jnj.com); John                                                                                                                    Email with attachment(s) providing information to
                                                                                                                                                                                                                                                           Crisan (jcrisan@its.jnj.com); Sujata Dayal                                                                                                                          counsel for the purpose of receiving legal advice
                                                                                                                                                Tammy Brintzinghoffer (tbrintz2@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Sujata Dayal              (sdayal@its.jnj.com); Tammy Brintzinghoffer                                                                                                                         regarding preparation/review of internal training or
                                                                                                                                                (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);            (tbrintz2@its.jnj.com); Timothy Grimes                                                                                                                              internal guidance concerning practice management or IOI
3833   JANSSENBIO‐PL_2‐0003522   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com)                          (tgrimes@its.jnj.com)                            Mary Graham (mgraham1@its.jnj.com)                                                                    11/23/2015   support.


                                                                                                                                                Tammy Brintzinghoffer (tbrintz2@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Sujata Dayal
                                                                                             Angela Wood               Mary Graham              (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);
3834   JANSSENBIO‐PL_2‐0003523   Withheld   pptx    Guiton, Christopher    Attorney‐Client   (awood6@its.jnj.com)      (mgraham1@its.jnj.com)   Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com)                                                                                                                                                                                 11/23/2015
                                                                                                                                                                                                                                                                                                                                                                                                                               Email with attachment(s) providing information to
                                                                                                                                                Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham                                                                                                                           Avis Goode (agoode@its.jnj.com); Christopher Guiton ^                counsel for the purpose of receiving legal advice
                                                                                                                                                (mgraham1@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Keith Korenchuk                                                                                                                       (cguiton@its.jnj.com); Mary Graham                                   regarding preparation/review of internal training or
                                                                                                                                                (keith.korenchuk@aporter.com); Daniel Kracov (daniel.kracov@arnoldporter.com); Chris Matteson              Daniel Kracov (daniel.kracov@arnoldporter.com);                                                (mgraham1@its.jnj.com); Sujata Dayal                                 internal guidance concerning practice management or IOI
3835   JANSSENBIO‐PL_2‐0003524   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      (cmattes1@its.jnj.com)                                                                                     Keith Korenchuk (keith.korenchuk@aporter.com) Chris Matteson (cmattes1@its.jnj.com)            (sdayal@its.jnj.com)                                    10/24/2014   support.

                                                                                                                                                Sujata Dayal (sdayal@its.jnj.com); Avis Goode (agoode@its.jnj.com); Mary Graham
                                                                                                                                                (mgraham1@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Keith Korenchuk
                                                                                             Tammy Brintzinghoffer     Tammy Brintzinghoffer    (keith.korenchuk@aporter.com); Daniel Kracov (daniel.kracov@arnoldporter.com); Chris Matteson
3836   JANSSENBIO‐PL_2‐0003525   Withheld   xlsx    Guiton, Christopher    Attorney‐Client   (tbrintz2@its.jnj.com)    (tbrintz2@its.jnj.com)   (cmattes1@its.jnj.com)                                                                                                                                                                                                                                            10/24/2014
                                                                                                                                                                                                                                                                                                                                                                                                                               Email with attachment(s) requesting legal advice
                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Sujata Dayal         Christopher Guiton ^ (cguiton@its.jnj.com); Seth                                               Anthony Brennan (abrenna3@its.jnj.com); Mary Graham                  regarding preparation/review of internal training or
                                                                                                                                                (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);      Lundy ^ (slundy@kslaw.com); Sujata Dayal                                                       (mgraham1@its.jnj.com); Tammy Brintzinghoffer                        internal guidance concerning practice management or IOI
3837   JANSSENBIO‐PL_2‐0003526   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      Chris Matteson (cmattes1@its.jnj.com); Seth Lundy ^ (slundy@kslaw.com)                                     (sdayal@its.jnj.com)                             Chris Matteson (cmattes1@its.jnj.com)         (tbrintz2@its.jnj.com)                                   4/22/2015   support.

                                                                                                                                                Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Sujata Dayal
                                                                                             Tammy Brintzinghoffer     Tammy Brintzinghoffer    (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
3838   JANSSENBIO‐PL_2‐0003527   Withheld   xlsx    Guiton, Christopher    Attorney‐Client   (tbrintz2@its.jnj.com)    (tbrintz2@its.jnj.com)   Chris Matteson (cmattes1@its.jnj.com); Seth Lundy ^ (slundy@kslaw.com)                                                                                                                                                                                             4/22/2015

                                                                                                                                                Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes                                                                                                                                                                                 Email chain with attachment(s) reflecting request for
                                                                                                                                                (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^                                                                                                                                                                                            legal advice regarding preparation/review of internal
                                                                                                                                                (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com); Erin     Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                         training or internal guidance concerning practice
3839   JANSSENBIO‐PL_2‐0003528   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      Parsons (eparson5@its.jnj.com)                                                                             Jennifer De Camara ^ (jdecamar@corus.jnj.com)     Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                               12/9/2014   management or IOI support.

                                                                                                                                                Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
                                                                                             Niels Van Der Schraaf     Avis Goode               (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com); Erin
3840   JANSSENBIO‐PL_2‐0003529   Withheld   docx    Guiton, Christopher    Attorney‐Client   (nschraaf@its.jnj.com)    (agoode@its.jnj.com)     Parsons (eparson5@its.jnj.com)                                                                                                                                                                                                                                     12/9/2014

                                                                                                                                                Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
                                                                                             Niels Van Der Schraaf     Karen Novak              (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com); Erin
3841   JANSSENBIO‐PL_2‐0003530   Withheld   docx    Guiton, Christopher    Attorney‐Client   (nschraaf@its.jnj.com)    (knovak5@its.jnj.com)    Parsons (eparson5@its.jnj.com)                                                                                                                                                                                                                                     12/9/2014

                                                                                                                                                Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
                                                                                             Niels Van Der Schraaf     Karen Novak              (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com); Erin
3842   JANSSENBIO‐PL_2‐0003531   Withheld   docx    Guiton, Christopher    Attorney‐Client   (nschraaf@its.jnj.com)    (knovak5@its.jnj.com)    Parsons (eparson5@its.jnj.com)                                                                                                                                                                                                                                     12/9/2014

                                                                                                                                                Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
                                                                                                                       Karen Novak              (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com); Erin
3843   JANSSENBIO‐PL_2‐0003532   Withheld   docx    Guiton, Christopher    Attorney‐Client   Dpicsk (DPICSK@aol.com)   (knovak5@its.jnj.com)    Parsons (eparson5@its.jnj.com)                                                                                                                                                                                                                                     12/9/2014

                                                                                                                                                Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
                                                                                                                       Karen Novak              (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com); Erin
3844   JANSSENBIO‐PL_2‐0003533   Withheld   docx    Guiton, Christopher    Attorney‐Client   Dpicsk (DPICSK@aol.com)   (knovak5@its.jnj.com)    Parsons (eparson5@its.jnj.com)                                                                                                                                                                                                                                     12/9/2014

                                                                                                                                                Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
                                                                                                                       Karen Novak              (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com); Erin
3845   JANSSENBIO‐PL_2‐0003534   Withheld   pptx    Guiton, Christopher    Attorney‐Client   DPIMGR                    (knovak5@its.jnj.com)    Parsons (eparson5@its.jnj.com)                                                                                                                                                                                                                                     12/9/2014

                                                                                                                                                Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes                                                                                                            Chris Matteson (cmattes1@its.jnj.com); Erin Parsons                  Email chain with attachment(s) providing legal advice
                                                                                                                                                (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^                        Avis Goode (agoode@its.jnj.com); Christopher                                                   (eparson5@its.jnj.com); Karen Novak                                  regarding preparation/review of internal training or
                                                    Guiton, Christopher;                                                                        (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com); Erin     Guiton ^ (cguiton@its.jnj.com); Jennifer De                                                    (knovak5@its.jnj.com); Timothy Grimes                                internal guidance concerning practice management or IOI
3846   JANSSENBIO‐PL_2‐0003535   Withheld   eMail   Parsons, Erin          Attorney‐Client                                                      Parsons (eparson5@its.jnj.com)                                                                             Camara ^ (jdecamar@corus.jnj.com)                 Freddy Jimenez ^ (fjimene3@its.jnj.com)      (tgrimes@its.jnj.com)                                    12/9/2014   support.

                                                                                                                                                Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
                                                    Guiton, Christopher;                     Niels Van Der Schraaf     Freddy Jimenez ^         (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com); Erin
3847   JANSSENBIO‐PL_2‐0003536   Withheld   docx    Parsons, Erin          Attorney‐Client   (nschraaf@its.jnj.com)    (fjimene3@its.jnj.com)   Parsons (eparson5@its.jnj.com)                                                                                                                                                                                                                                     12/9/2014

                                                                                                                                                Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
                                                    Guiton, Christopher;                     Niels Van Der Schraaf     Freddy Jimenez ^         (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com); Erin
3848   JANSSENBIO‐PL_2‐0003537   Withheld   docx    Parsons, Erin          Attorney‐Client   (nschraaf@its.jnj.com)    (fjimene3@its.jnj.com)   Parsons (eparson5@its.jnj.com)                                                                                                                                                                                                                                     12/9/2014

                                                                                                                                                Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
                                                    Guiton, Christopher;                     Niels Van Der Schraaf     Freddy Jimenez ^         (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Karen Novak (knovak5@its.jnj.com); Erin
3849   JANSSENBIO‐PL_2‐0003538   Withheld   docx    Parsons, Erin          Attorney‐Client   (nschraaf@its.jnj.com)    (fjimene3@its.jnj.com)   Parsons (eparson5@its.jnj.com)                                                                                                                                                                                                                                     12/9/2014
                                                                                                                                                                                                                                                           Anthony Brennan (abrenna3@its.jnj.com); Chris
                                                                                                                                                                                                                                                           Matteson (cmattes1@its.jnj.com); Christopher
                                                                                                                                                                                                                                                           Guiton ^ (cguiton@its.jnj.com); Mary Graham
                                                                                                                                                Heather Berardi (hberardi@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer      (mgraham1@its.jnj.com); Seth Lundy ^                                                                                                                                Email chain with attachment(s) requesting legal advice
                                                                                                                                                (tbrintz2@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy     (slundy@kslaw.com); Sujata Dayal                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson                   (sdayal@its.jnj.com); Timothy Grimes              Tammy Brintzinghoffer                                                                                             internal guidance concerning practice management or IOI
3850   JANSSENBIO‐PL_2‐0003539   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      (cmattes1@its.jnj.com); Seth Lundy ^ (slundy@kslaw.com)                                                    (tgrimes@its.jnj.com)                             (tbrintz2@its.jnj.com)                       Heather Berardi (hberardi@its.jnj.com)                   3/16/2015   support.


                                                                                                                                                Heather Berardi (hberardi@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Tammy Brintzinghoffer
                                                                                                                                                (tbrintz2@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy
                                                                                             Tammy Brintzinghoffer     Tammy Brintzinghoffer    Grimes (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3851   JANSSENBIO‐PL_2‐0003540   Withheld   xlsx    Guiton, Christopher    Attorney‐Client   (tbrintz2@its.jnj.com)    (tbrintz2@its.jnj.com)   (cmattes1@its.jnj.com); Seth Lundy ^ (slundy@kslaw.com)                                                                                                                                                                                                            3/16/2015
                                                                                                                                                                                                                                                                                                                                                                                                                               Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                               counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo                                                                                                                                                                                internal guidance concerning practice management or IOI
3852   JANSSENBIO‐PL_2‐0003541   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      (tmarzull@its.jnj.com)                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com)        Thao Marzullo (tmarzull@its.jnj.com)                                                                 11/25/2013   support.
                                                                                             Anna Maria Acquaviva      Thao Marzullo            Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Thao Marzullo
3853   JANSSENBIO‐PL_2‐0003542   Withheld   pptx    Guiton, Christopher    Attorney‐Client   (aacqua23@its.jnj.com)    (tmarzull@its.jnj.com)   (tmarzull@its.jnj.com)                                                                                                                                                                                                                                            11/25/2013
                                                                                                                                                                                                                                                                                                                                                                                                                               Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                Lawrence Conley (lconley1@its.jnj.cm); Lawrence Conley (lconley1@its.jnj.cm); John Franz                   Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                         internal guidance concerning practice management or IOI
3854   JANSSENBIO‐PL_2‐0003543   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)   Kathryn Roberts (krober10@its.jnj.com)            John Franz (jfranz@its.jnj.com)                                                                       2/15/2013   support.

                                                                                                                                                Lawrence Conley (lconley1@its.jnj.cm); Lawrence Conley (lconley1@its.jnj.cm); John Franz
3855   JANSSENBIO‐PL_2‐0003544   Withheld   pdf     Guiton, Christopher    Attorney‐Client                                                      (jfranz@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                           2/15/2013
                                                                                                                                                                                                                                                           Frank Demiro (fdemiro@ompus.jnj.com); Joseph                                                                                                                        Email chain with attachment(s) providing legal advice
                                                                                                                                                Joseph Cannavo (jcannavo@janus.jnj.com); Frank Demiro (fdemiro@ompus.jnj.com); Christopher Guiton          Cannavo (jcannavo@janus.jnj.com); Rosemary                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Rosemary O'Brien                      O'Brien (robrien@ompus.jnj.com); Scott                                                                                                                              internal guidance concerning practice management or IOI
3856   JANSSENBIO‐PL_2‐0003545   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      (robrien@ompus.jnj.com); Scott Trembley (strembl2@ompus.jnj.com)                                           Trembley (strembl2@ompus.jnj.com)                 Christopher Guiton ^ (cguiton@its.jnj.com)   Christopher Guiton ^ (cguiton@its.jnj.com)               11/8/2007   support.

                                                                                                                                                Joseph Cannavo (jcannavo@janus.jnj.com); Frank Demiro (fdemiro@ompus.jnj.com); Christopher Guiton
                                                                                                                                                ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Rosemary O'Brien
3857   JANSSENBIO‐PL_2‐0003546   Withheld   doc     Guiton, Christopher    Attorney‐Client                                                      (robrien@ompus.jnj.com); Scott Trembley (strembl2@ompus.jnj.com)                                                                                                                                                                                                   11/8/2007

                                                                                                                                                Joseph Cannavo (jcannavo@janus.jnj.com); Frank Demiro (fdemiro@ompus.jnj.com); Christopher Guiton
                                                                                                                                                ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Rosemary O'Brien
3858   JANSSENBIO‐PL_2‐0003547   Withheld   pdf     Guiton, Christopher    Attorney‐Client                                                      (robrien@ompus.jnj.com); Scott Trembley (strembl2@ompus.jnj.com)                                                                                                                                                                                                   11/8/2007

                                                                                                                                                Joseph Cannavo (jcannavo@janus.jnj.com); Frank Demiro (fdemiro@ompus.jnj.com); Christopher Guiton
                                                                                                                                                ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Rosemary O'Brien
3859   JANSSENBIO‐PL_2‐0003548   Withheld   doc     Guiton, Christopher    Attorney‐Client                                                      (robrien@ompus.jnj.com); Scott Trembley (strembl2@ompus.jnj.com)                                                                                                                                                                                                   11/8/2007

                                                                                                                                                Joseph Cannavo (jcannavo@janus.jnj.com); Frank Demiro (fdemiro@ompus.jnj.com); Christopher Guiton
                                                                                                                                                ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Rosemary O'Brien
3860   JANSSENBIO‐PL_2‐0003549   Withheld   pdf     Guiton, Christopher    Attorney‐Client                                                      (robrien@ompus.jnj.com); Scott Trembley (strembl2@ompus.jnj.com)                                                                                                                                                                                                   11/8/2007

                                                                                                                                                                                                                                                                                                                                                                                                                               Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                               counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                               internal guidance concerning practice management or IOI
3861   JANSSENBIO‐PL_2‐0003550   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      Christopher Guiton ^ (cguiton@its.jnj.com); Seth Lundy ^ (slundy@kslaw.com)                                Seth Lundy ^ (slundy@kslaw.com)                   Christopher Guiton ^ (cguiton@its.jnj.com)                                                           11/24/2015   support.
                                                                                             Angela Wood               Mary Graham
3862   JANSSENBIO‐PL_2‐0003551   Withheld   pptx    Guiton, Christopher    Attorney‐Client   (awood6@its.jnj.com)      (mgraham1@its.jnj.com)   Christopher Guiton ^ (cguiton@its.jnj.com); Seth Lundy ^ (slundy@kslaw.com)                                                                                                                                                                                       11/24/2015


                                                                                                                                                Tammy Brintzinghoffer (tbrintz2@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Sujata Dayal                                                                                                                                                                                  Email with attachment(s) providing legal advice regarding
                                                                                                                                                (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                                Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez                                                                                                                                                                         guidance concerning practice management or IOI
3863   JANSSENBIO‐PL_2‐0003552   Withheld   eMail   Guiton, Christopher    Attorney‐Client                                                      ^ (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com)                                            Freddy Jimenez ^ (fjimene3@its.jnj.com)           Christopher Guiton ^ (cguiton@its.jnj.com)                                                           11/24/2015   support.




                                                                                                                                                                                                                      179
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 181 of 201


                                                                                                                                                 Tammy Brintzinghoffer (tbrintz2@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Sujata Dayal
                                                                                                                                                 (sdayal@its.jnj.com); Mary Graham (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);
                                                                                            Angela Wood                Mary Graham               Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez
3864   JANSSENBIO‐PL_2‐0003553   Withheld   pptx    Guiton, Christopher   Attorney‐Client   (awood6@its.jnj.com)       (mgraham1@its.jnj.com)    ^ (fjimene3@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com)                                                                                                                                                                                           11/24/2015
                                                                                                                                                                                                                                                           Chris Matteson (cmattes1@its.jnj.com); Mary
                                                                                                                                                                                                                                                           Graham (mgraham1@its.jnj.com); Sujata Dayal                                                                                                                  Email chain with attachment(s) providing legal advice
                                                                                                                                                 Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham              (sdayal@its.jnj.com); Tammy Brintzinghoffer                                                                                                                  regarding preparation/review of internal training or
                                                                                                                                                 (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^                        (tbrintz2@its.jnj.com); Timothy Grimes                                                                                                                       internal guidance concerning practice management or IOI
3865   JANSSENBIO‐PL_2‐0003554   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com)                                              (tgrimes@its.jnj.com)                           Christopher Guiton ^ (cguiton@its.jnj.com)                                                      11/30/2015   support.

                                                                                                                                                 Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham
                                                                                            Angela Wood                Christopher Guiton ^      (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^
3866   JANSSENBIO‐PL_2‐0003555   Withheld   pptx    Guiton, Christopher   Attorney‐Client   (awood6@its.jnj.com)       (cguiton@its.jnj.com)     (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com)                                                                                                                                                                                              11/30/2015

                                                                                                                                                 Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham                                                                                                                                                                           Email chain with attachment(s) requesting legal advice
                                                                                                                                                 (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                 (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^                                                                                                                                                                                   internal guidance concerning practice management or IOI
3867   JANSSENBIO‐PL_2‐0003556   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (khamill@cntus.jnj.com); Chris Matteson (cmattes1@its.jnj.com)                                            Kathleen Hamill ^ (khamill@cntus.jnj.com)       Christopher Guiton ^ (cguiton@its.jnj.com)                                                      11/30/2015   support.

                                                                                                                                                 Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham
                                                                                                                                                 (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^
                                                                                            Angela Wood                Tammy Brintzinghoffer     (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
3868   JANSSENBIO‐PL_2‐0003557   Withheld   pptx    Guiton, Christopher   Attorney‐Client   (awood6@its.jnj.com)       (tbrintz2@its.jnj.com)    (khamill@cntus.jnj.com); Chris Matteson (cmattes1@its.jnj.com)                                                                                                                                                                                            11/30/2015
                                                                                                                                                                                                                                                           Chris Matteson (cmattes1@its.jnj.com); Mary
                                                                                                                                                 Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham              Graham (mgraham1@its.jnj.com); Sujata Dayal                                                                                                                  Email chain with attachment(s) providing legal advice
                                                                                                                                                 (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^                        (sdayal@its.jnj.com); Tammy Brintzinghoffer                                                                                                                  regarding preparation/review of internal training or
                                                                                                                                                 (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson                         (tbrintz2@its.jnj.com); Timothy Grimes                                                                                                                       internal guidance concerning practice management or IOI
3869   JANSSENBIO‐PL_2‐0003558   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (cmattes1@its.jnj.com)                                                                                    (tgrimes@its.jnj.com)                           Christopher Guiton ^ (cguiton@its.jnj.com)                                                       12/1/2015   support.

                                                                                                                                                 Tammy Brintzinghoffer (tbrintz2@its.jnj.com); Sujata Dayal (sdayal@its.jnj.com); Mary Graham
                                                                                                                                                 (mgraham1@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Christopher Guiton ^
                                                                                            Angela Wood                Kathleen Hamill ^         (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
3870   JANSSENBIO‐PL_2‐0003559   Withheld   pptx    Guiton, Christopher   Attorney‐Client   (awood6@its.jnj.com)       (khamill@cntus.jnj.com)   (cmattes1@its.jnj.com)                                                                                                                                                                                                                                     12/1/2015
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Deidre Meehan     Daryl Todd ^ (dtodd1@its.jnj.com); Deidre                                                                                                                    internal guidance concerning practice management or IOI
3871   JANSSENBIO‐PL_2‐0003560   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        ^ (dmeehan5@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)     Meehan ^ (dmeehan5@its.jnj.com)                 Christopher Guiton ^ (cguiton@its.jnj.com)                                                        8/3/2015   support.

                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Deidre Meehan
3872   JANSSENBIO‐PL_2‐0003561   Withheld   pptx    Guiton, Christopher   Attorney‐Client                                                        ^ (dmeehan5@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                       8/3/2015

                                                                                            Jill Steinberg             Daryl Todd ^              Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Deidre Meehan
3873   JANSSENBIO‐PL_2‐0003562   Withheld   pptx    Guiton, Christopher   Attorney‐Client   (jsteinb1@its.jnj.com)     (dtodd1@its.jnj.com)      ^ (dmeehan5@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                       8/3/2015

                                                                                            Daryl Todd ^               Patricia Lukens ^         Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Deidre Meehan
3874   JANSSENBIO‐PL_2‐0003563   Withheld   doc     Guiton, Christopher   Attorney‐Client   (dtodd1@its.jnj.com)       (plukens@its.jnj.com)     ^ (dmeehan5@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                       8/3/2015
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain providing legal advice regarding
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Thao Marzullo                                                                                                                                                                  preparation/review of customer‐facing practice
3875   JANSSENBIO‐PL_2‐0003564   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (tmarzull@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com)                                              Thao Marzullo (tmarzull@its.jnj.com)            Christopher Guiton ^ (cguiton@its.jnj.com)                                                      12/17/2014   management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) reflecting counsel's request for
                                                                                                                                                                                                                                                                                                                                                                                                                        information for the purpose of providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts         Kathryn Roberts (krober10@its.jnj.com); Thomas                                                                                                               internal guidance concerning practice management or IOI
3876   JANSSENBIO‐PL_2‐0003565   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (krober10@its.jnj.com)                                                                                    Cornely (tcornel@its.jnj.com)                  Christopher Guiton ^ (cguiton@its.jnj.com)                                                         1/7/2015   support.
                                                                                            Angela Wood                Thomas Cornely            Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts
3877   JANSSENBIO‐PL_2‐0003566   Withheld   pptx    Guiton, Christopher   Attorney‐Client   (awood6@its.jnj.com)       (tcornel@its.jnj.com)     (krober10@its.jnj.com)                                                                                                                                                                                                                                      1/7/2015

                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing legal advice
                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri                                                                                                                 Brian Pesner (bpesner@its.jnj.com); David Fabbri                regarding preparation/review of internal training or
                                                                                                                                                 (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^                   Paul Duncan (pduncan9@its.jnj.com); Thomas                                                   (dfabbri@its.jnj.com); Thomas Cornely                           internal guidance concerning practice management or IOI
3878   JANSSENBIO‐PL_2‐0003567   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (cguiton@its.jnj.com); Brian Pesner (bpesner@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com)       Spellman ^ (tspellma@its.jnj.com)               Christopher Guiton ^ (cguiton@its.jnj.com)   (tcornel@its.jnj.com)                               9/11/2014   support.



                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                            Denice Torres ^            Paul Duncan               (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
3879   JANSSENBIO‐PL_2‐0003568   Withheld   DOCX    Guiton, Christopher   Attorney‐Client   (dtorre14@its.jnj.com)     (pduncan9@its.jnj.com)    (cguiton@its.jnj.com); Brian Pesner (bpesner@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com)                                                                                                                                                        9/11/2014



                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                            Denice Torres ^            Paul Duncan               (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
3880   JANSSENBIO‐PL_2‐0003569   Withheld   DOCX    Guiton, Christopher   Attorney‐Client   (dtorre14@its.jnj.com)     (pduncan9@its.jnj.com)    (cguiton@its.jnj.com); Brian Pesner (bpesner@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com)                                                                                                                                                        9/11/2014

                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing legal advice
                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri                                                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                 (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                internal guidance concerning practice management or IOI
3881   JANSSENBIO‐PL_2‐0003570   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (cguiton@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Pesner (bpesner@its.jnj.com)        Freddy Jimenez ^ (fjimene3@its.jnj.com)         Christopher Guiton ^ (cguiton@its.jnj.com)                                                       9/16/2014   support.



                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                            Denice Torres ^            Paul Duncan               (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
3882   JANSSENBIO‐PL_2‐0003571   Withheld   docx    Guiton, Christopher   Attorney‐Client   (dtorre14@its.jnj.com)     (pduncan9@its.jnj.com)    (cguiton@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Pesner (bpesner@its.jnj.com)                                                                                                                                                         9/16/2014



                                                                                                                                                 Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                            Denice Torres ^            Paul Duncan               (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
3883   JANSSENBIO‐PL_2‐0003572   Withheld   docx    Guiton, Christopher   Attorney‐Client   (dtorre14@its.jnj.com)     (pduncan9@its.jnj.com)    (cguiton@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Brian Pesner (bpesner@its.jnj.com)                                                                                                                                                         9/16/2014

                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes                                                                                                                                                                         Email chain with attachment(s) providing legal advice
                                                                                                                                                 (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                 (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur                          Avis Goode (agoode@its.jnj.com); Chris                                                                                                                       internal guidance concerning practice management or IOI
3884   JANSSENBIO‐PL_2‐0003573   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                            Matteson (cmattes1@its.jnj.com)                 Christopher Guiton ^ (cguiton@its.jnj.com)                                                       2/19/2014   support.

                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                 (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                                                            Niels Van Der Schraaf      Philomena McArthur        (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3885   JANSSENBIO‐PL_2‐0003574   Withheld   docx    Guiton, Christopher   Attorney‐Client   (nschraaf@its.jnj.com)     (pmcarth1@its.jnj.com)    (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                             2/19/2014

                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                 (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur                          Philomena McArthur (pmcarth1@its.jnj.com);
3886   JANSSENBIO‐PL_2‐0003575   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                            Timothy Grimes (tgrimes@its.jnj.com)            Chris Matteson (cmattes1@its.jnj.com)        Avis Goode (agoode@its.jnj.com)                     2/19/2014

                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                 (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3887   JANSSENBIO‐PL_2‐0003576   Withheld   docx    Guiton, Christopher   Attorney‐Client   Dpicsk (DPICSK@aol.com)    DPIMGR                    (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                             2/19/2014

                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                 (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                                                            Jennifer De Camara ^       Cinda Koehler             (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3888   JANSSENBIO‐PL_2‐0003577   Withheld   docx    Guiton, Christopher   Attorney‐Client   (jdecamar@corus.jnj.com)   (CKoehler@its.jnj.com)    (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                             2/19/2014

                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                 (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                                                            Sue Seferian ^                                       (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3889   JANSSENBIO‐PL_2‐0003578   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)     DPIMGR                    (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                             2/19/2014

                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                 (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                                                            Niels Van Der Schraaf                                (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3890   JANSSENBIO‐PL_2‐0003579   Withheld   docx    Guiton, Christopher   Attorney‐Client   (nschraaf@its.jnj.com)     DPIMGR                    (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                             2/19/2014

                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                 (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3891   JANSSENBIO‐PL_2‐0003580   Withheld   docx    Guiton, Christopher   Attorney‐Client   Dpicsk (DPICSK@aol.com)    DPIMGR                    (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                             2/19/2014

                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                 (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3892   JANSSENBIO‐PL_2‐0003581   Withheld   docx    Guiton, Christopher   Attorney‐Client   Dpicsk (DPICSK@aol.com)    DPIMGR                    (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                             2/19/2014

                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                 (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3893   JANSSENBIO‐PL_2‐0003582   Withheld   docx    Guiton, Christopher   Attorney‐Client                              Dpicsk (DPICSK@aol.com)   (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                             2/19/2014

                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Avis Goode (agoode@its.jnj.com); Timothy Grimes
                                                                                                                                                 (tgrimes@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^
                                                                                            Niels Van Der Schraaf      Philomena McArthur        (cguiton@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com); Philomena McArthur
3894   JANSSENBIO‐PL_2‐0003583   Withheld   docx    Guiton, Christopher   Attorney‐Client   (nschraaf@its.jnj.com)     (pmcarth1@its.jnj.com)    (pmcarth1@its.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com)                                                                                                                                                                                             2/19/2014

                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) reflecting counsel's request for
                                                                                                                                                                                                                                                                                                                                                                                                                        information for the purpose of providing legal advice
                                                                                                                                                 Lawrence Conley (lconley1@its.jnj.cm); John Franz (jfranz@its.jnj.com); Christopher Guiton ^              Angela Wood (awood6@its.jnj.com); John Franz                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                 (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                        (jfranz@its.jnj.com); Kathryn Roberts                                                                                                                        internal guidance concerning practice management or IOI
3895   JANSSENBIO‐PL_2‐0003584   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (krober10@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                  (krober10@its.jnj.com)                          Christopher Guiton ^ (cguiton@its.jnj.com)                                                      10/11/2013   support.

                                                                                                                                                 Lawrence Conley (lconley1@its.jnj.cm); John Franz (jfranz@its.jnj.com); Christopher Guiton ^
                                                                                                                       Lawrence Conley           (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts
3896   JANSSENBIO‐PL_2‐0003585   Withheld   pptx    Guiton, Christopher   Attorney‐Client   Avigo                      (lconley1@its.jnj.cm)     (krober10@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                  10/11/2013
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                 Jose Barro (jbarro@its.jnj.com); Linda Canto (lcanto@its.jnj.com); Stephanie Gilson ^                     Christopher Guiton ^ (cguiton@its.jnj.com);                                                  Jose Barro (jbarro@its.jnj.com); Linda Canto                    internal guidance concerning practice management or IOI
3897   JANSSENBIO‐PL_2‐0003586   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Scott Ratzan (sratzan2@its.jnj.com)    Scott Ratzan (sratzan2@its.jnj.com)             Stephanie Gilson ^ (sgilson@its.jnj.com)     (lcanto@its.jnj.com)                                 7/8/2010   support.

                                                                                            Joy Johnson                Joy Johnson               Jose Barro (jbarro@its.jnj.com); Linda Canto (lcanto@its.jnj.com); Stephanie Gilson ^
3898   JANSSENBIO‐PL_2‐0003587   Withheld   doc     Guiton, Christopher   Attorney‐Client   (jjohns14@its.jnj.com)     (jjohns14@its.jnj.com)    (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Scott Ratzan (sratzan2@its.jnj.com)                                                                                                                                                      7/8/2010
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain requesting legal advice regarding
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                                                                                                                                                                preparation/review of customer‐facing practice
3899   JANSSENBIO‐PL_2‐0003588   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (krober10@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)          Christopher Guiton ^ (cguiton@its.jnj.com)      Michael Wolfe (mwolfe2@its.jnj.com)                                                             11/13/2013   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain requesting legal advice regarding
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts   Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                  preparation/review of customer‐facing practice
3900   JANSSENBIO‐PL_2‐0003589   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (krober10@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)          Kathryn Roberts (krober10@its.jnj.com)          Michael Wolfe (mwolfe2@its.jnj.com)                                                             11/13/2013   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                        Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe                                                                                                                                                                         internal guidance concerning practice management or IOI
3901   JANSSENBIO‐PL_2‐0003590   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (mwolfe2@its.jnj.com)                                                                                     Christopher Guiton ^ (cguiton@its.jnj.com)      Michael Wolfe (mwolfe2@its.jnj.com)                                                              1/16/2014   support.
                                                                                            Anna Maria Acquaviva       Michael Wolfe             Christopher Guiton ^ (cguiton@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe
3902   JANSSENBIO‐PL_2‐0003591   Withheld   pptx    Guiton, Christopher   Attorney‐Client   (aacqua23@its.jnj.com)     (mwolfe2@its.jnj.com)     (mwolfe2@its.jnj.com)                                                                                                                                                                                                                                      1/16/2014




                                                                                                                                                                                                                       180
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 182 of 201


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                   Christopher Guiton ^ (cguiton@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Ellen Perucki                                                                                                                                                                                      regarding preparation/review of customer‐facing practice
3903   JANSSENBIO‐PL_2‐0003592                                                       Withheld   eMail   Guiton, Christopher        Attorney‐Client                                                                 (eperucki@its.jnj.com)                                                                                         Christopher Guiton ^ (cguiton@its.jnj.com)        Ellen Perucki (eperucki@its.jnj.com)         Eric Monzon (emonzon1@its.jnj.com)                        2/4/2013   management or IOI support material.
                                                                                                                                                     Rachel Kashan
                                                                                                                                                     (Rachel.Kashan@draftfcb.co                                   Christopher Guiton ^ (cguiton@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Ellen Perucki
3904   JANSSENBIO‐PL_2‐0003593                                                       Withheld   pdf     Guiton, Christopher        Attorney‐Client   m)                                                           (eperucki@its.jnj.com)                                                                                                                                                                                                                                                   2/4/2013
                                                                                                                                                                                                                  Christopher Guiton ^ (cguiton@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Ellen Perucki
3905   JANSSENBIO‐PL_2‐0003594                                                       Withheld   pdf     Guiton, Christopher        Attorney‐Client                                                                (eperucki@its.jnj.com)                                                                                                                                                                                                                                                   2/4/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                                                                                  John Franz (jfranz@its.jnj.com); John Franz (jfranz@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                              internal guidance concerning practice management or IOI
3906   JANSSENBIO‐PL_2‐0003595   JANSSENBIO‐057‐00000159   JANSSENBIO‐057‐00000159   Withheld   eMail   Guiton, Christopher        Attorney‐Client                                                                (cguiton@its.jnj.com)                                                                                           Christopher Guiton ^ (cguiton@its.jnj.com)        John Franz (jfranz@its.jnj.com)                                                                       5/29/2013   support.
                                                                                                                                                     Doug Kennedy                                                 John Franz (jfranz@its.jnj.com); John Franz (jfranz@its.jnj.com); Christopher Guiton ^
3907   JANSSENBIO‐PL_2‐0003596   JANSSENBIO‐057‐00000160   JANSSENBIO‐057‐00000160   Withheld   pptx    Guiton, Christopher        Attorney‐Client   (dkenned6@its.jnj.com)       John Franz (jfranz@its.jnj.com) (cguiton@its.jnj.com)                                                                                                                                                                                                                                                   5/29/2013


                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Cynthia Guzzo                                                                                                                                                                                    Email chain with attachment(s) providing information to
                                                                                                                                                                                                                   (cguzzo1@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); ken Haney (jhaney2@its.jnj.com);                                                                                                                                                                                 counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                   Marti Heckman (mheckman@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Thomas Spellman ^                                                                                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                                                                                   (tspellma@its.jnj.com); Sharmaine Steckbeck (ssteckb@its.jnj.com); Angela Wood (awood6@its.jnj.com);           Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                         internal guidance concerning practice management or IOI
3908   JANSSENBIO‐PL_2‐0003597                                                       Withheld   eMail   Guiton, Christopher        Attorney‐Client                                                                 Michael Yang (myang4@its.jnj.com)                                                                              Kathleen Hamill ^ (khamill@cntus.jnj.com)         Thomas Spellman ^ (tspellma@its.jnj.com)                                                              12/3/2013   support.



                                                                                                                                                                                                                  Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Cynthia Guzzo
                                                                                                                                                                                                                  (cguzzo1@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); ken Haney (jhaney2@its.jnj.com);
                                                                                                                                                                                                                  Marti Heckman (mheckman@its.jnj.com); Erin Parsons (eparson5@its.jnj.com); Thomas Spellman ^
                                                                                                                                                     Angela Wood                  Angela Wood                     (tspellma@its.jnj.com); Sharmaine Steckbeck (ssteckb@its.jnj.com); Angela Wood (awood6@its.jnj.com);
3909   JANSSENBIO‐PL_2‐0003598                                                       Withheld   xlsx    Guiton, Christopher        Attorney‐Client   (awood6@its.jnj.com)         (awood6@its.jnj.com)            Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                                                       12/3/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                  Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                         regarding preparation/review of internal training or
                                                                                                        Guiton, Christopher;                                                                                       Paul Duncan (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^              Kathryn Roberts (krober10@its.jnj.com); Kristin                                                                                                                     internal guidance concerning practice management or IOI
3910   JANSSENBIO‐PL_2‐0003599                                                       Withheld   eMail   Roberts, Kathryn           Attorney‐Client                                                                 (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); David Wright (dwright@its.jnj.com)              Goettner (kgoettne@its.jnj.com)                   David Wright (dwright@its.jnj.com)           Paul Duncan (pduncan9@its.jnj.com)                       1/28/2016   support.

                                                                                                        Guiton, Christopher;                         Paul Duncan                  David Wright                     Paul Duncan (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
3911   JANSSENBIO‐PL_2‐0003600                                                       Withheld   pptx    Roberts, Kathryn           Attorney‐Client   (pduncan9@its.jnj.com)       (dwright@its.jnj.com)            (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                      1/28/2016

                                                                                                        Guiton, Christopher;                         Daniel Rauch                 Daniel Rauch                     Paul Duncan (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
3912   JANSSENBIO‐PL_2‐0003601                                                       Withheld   xlsx    Roberts, Kathryn           Attorney‐Client   (drauch3@its.jnj.com)        (drauch3@its.jnj.com)            (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                      1/28/2016

                                                                                                        Guiton, Christopher;                         Elizabeth Kreul‐Starr                                         Paul Duncan (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
3913   JANSSENBIO‐PL_2‐0003602                                                       Withheld   xlsx    Roberts, Kathryn           Attorney‐Client   (ekreulst@its.jnj.com)       kdoyle                           (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                      1/28/2016

                                                                                                        Guiton, Christopher;                         Kevin ONeill                 Kevin ONeill                     Paul Duncan (pduncan9@its.jnj.com); Kristin Goettner (kgoettne@its.jnj.com); Christopher Guiton ^
3914   JANSSENBIO‐PL_2‐0003603                                                       Withheld   xlsx    Roberts, Kathryn           Attorney‐Client   (koneill6@its.jnj.com)       (koneill6@its.jnj.com)           (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); David Wright (dwright@its.jnj.com)                                                                                                                                                                      1/28/2016

                                                                                                        Guiton, Christopher;                                                                                                                                                                                                      Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                         Email chain with attachment(s) requesting legal advice
                                                                                                        Hamill, Kathleen; Walls,                                                                                                                                                                                                  Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                                          regarding issues relating to interactions or
3915   JANSSENBIO‐PL_2‐0003604                                                       Withheld   eMail   Michelle                   Attorney‐Client                                                                                                                                                                                Michelle Walls (mwalls@its.jnj.com)               Angela Wood (awood6@its.jnj.com)                                                                      5/31/2013   communications between ABSs and physician offices.
                                                                                                        Guiton, Christopher;
                                                                                                        Hamill, Kathleen; Walls,                     Angela Wood                  Angela Wood
3916   JANSSENBIO‐PL_2‐0003605                                                       Withheld   xlsx    Michelle                   Attorney‐Client   (awood6@its.jnj.com)         (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                    5/31/2013

                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri                                                                                                                                                                                             Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                   (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);                                                                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                                                                                                   Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts                Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                         internal guidance concerning practice management or IOI
3917   JANSSENBIO‐PL_2‐0003606                                                       Withheld   eMail   Guiton, Christopher        Attorney‐Client                                                                 (krober10@its.jnj.com)                                                                                         Kathryn Roberts (krober10@its.jnj.com)            Thao Marzullo (tmarzull@its.jnj.com)         Elizabeth Lawless (elawless@its.jnj.com)                 8/24/2015   support.

                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                                   (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                     Thao Marzullo                Thao Marzullo                    Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
3918   JANSSENBIO‐PL_2‐0003607                                                       Withheld   docx    Guiton, Christopher        Attorney‐Client   (tmarzull@its.jnj.com)       (tmarzull@its.jnj.com)           (krober10@its.jnj.com)                                                                                                                                                                                                                                                 8/24/2015

                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                                   (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                     James Knepp                  Thao Marzullo                    Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
3919   JANSSENBIO‐PL_2‐0003608                                                       Withheld   docx    Guiton, Christopher        Attorney‐Client   (jknepp5@its.jnj.com)        (tmarzull@its.jnj.com)           (krober10@its.jnj.com)                                                                                                                                                                                                                                                 8/24/2015

                                                                                                                                                                                                                  Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                                  (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                                                                                  Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
3920   JANSSENBIO‐PL_2‐0003609                                                       Withheld   pdf     Guiton, Christopher        Attorney‐Client   Megan Juskowiak                                              (krober10@its.jnj.com)                                                                                                                                                                                                                                                  8/24/2015

                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                                   (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                                                                                   Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
3921   JANSSENBIO‐PL_2‐0003610                                                       Withheld   pdf     Guiton, Christopher        Attorney‐Client   Bill Van Cleaf                                                (krober10@its.jnj.com)                                                                                                                                                                                                                                                 8/24/2015

                                                                                                                                                                                                                   Thomas Cornely (tcornel@its.jnj.com); Paul Duncan (pduncan9@its.jnj.com); David Fabbri
                                                                                                                                                                                                                   (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); James Knepp (jknepp5@its.jnj.com);
                                                                                                                                                                                                                   Elizabeth Lawless (elawless@its.jnj.com); Thao Marzullo (tmarzull@its.jnj.com); Kathryn Roberts
3922   JANSSENBIO‐PL_2‐0003611                                                       Withheld   pdf     Guiton, Christopher        Attorney‐Client                                                                 (krober10@its.jnj.com)                                                                                                                                                                                                                                                 8/24/2015

                                                                                                                                                                                                                   Asia Carraby (acarraby@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                    Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                   (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); Nancy Mueller (nmuelle@its.jnj.com);                                                                                                        Kathryn Roberts (krober10@its.jnj.com); Thomas                       regarding preparation/review of customer‐facing practice
3923   JANSSENBIO‐PL_2‐0003612                                                       Withheld   eMail   Guiton, Christopher        Attorney‐Client                                                                 Kathryn Roberts (krober10@its.jnj.com)                                                                         Christopher Guiton ^ (cguiton@its.jnj.com)        Asia Carraby (acarraby@its.jnj.com)          Cornely (tcornel@its.jnj.com)                             1/5/2016   management or IOI support material.

                                                                                                                                                                                                                   Asia Carraby (acarraby@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                                   (cguiton@its.jnj.com); Kendra Heusinkveld (kheusink@its.jnj.com); Nancy Mueller (nmuelle@its.jnj.com);
3924   JANSSENBIO‐PL_2‐0003613                                                       Withheld   pdf     Guiton, Christopher        Attorney‐Client                                                                 Kathryn Roberts (krober10@its.jnj.com)                                                                                                                                                                                                                                  1/5/2016

                                                                                                                                                                                                                   Asia Carraby (acarraby@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                    Email chain reflecting legal advice regarding
                                                                                                                                                                                                                   (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kendra Heusinkveld                                                                                                                         Kathryn Roberts (krober10@its.jnj.com); Thomas                       preparation/review of customer‐facing practice
3925   JANSSENBIO‐PL_2‐0003614                                                       Withheld   eMail   Guiton, Christopher        Attorney‐Client                                                                 (kheusink@its.jnj.com); Nancy Mueller (nmuelle@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)            Christopher Guiton ^ (cguiton@its.jnj.com)        Asia Carraby (acarraby@its.jnj.com)          Cornely (tcornel@its.jnj.com)                             1/6/2016   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                 Catherine Sicari ^ (csicari@its.jnj.com); Edward Gawle
                                                                                                                                                                                                                                                                                                                                                                                                                                 (egawle@its.jnj.com); Emily Benadon                                  Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                   Emily Benadon (ebenado1@its.jnj.com); Edward Gawle (egawle@its.jnj.com); Christopher Guiton ^                                                                                                                 (ebenado1@its.jnj.com); Raj Vaswani ^                                regarding preparation/review of internal training or
                                                                                                                                                                                                                   (cguiton@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com; Renata                                                                                                  (rvaswani@its.jnj.com; Renata Walton                                 internal guidance concerning practice management or IOI
3926   JANSSENBIO‐PL_2‐0003615                                                       Withheld   eMail   Guiton, Christopher        Attorney‐Client                                                                 Walton (rwalton5@its.jnj.com)                                                                                  Christopher Guiton ^ (cguiton@its.jnj.com)        Emily Benadon (ebenado1@its.jnj.com)         (rwalton5@its.jnj.com)                                   1/11/2016   support.

                                                                                                                                                                                                                   Emily Benadon (ebenado1@its.jnj.com); Edward Gawle (egawle@its.jnj.com); Christopher Guiton ^
                                                                                                                                                     Mark Mullin                                                   (cguiton@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com); Raj Vaswani ^ (rvaswani@its.jnj.com; Renata
3927   JANSSENBIO‐PL_2‐0003616                                                       Withheld   pdf     Guiton, Christopher        Attorney‐Client   (mmullin3@its.jnj.com)                                        Walton (rwalton5@its.jnj.com)                                                                                                                                                                                                                                          1/11/2016
                                                                                                                                                                                                                                                                                                                                                                                                                                 Edward Gawle (egawle@its.jnj.com); Emily Benadon
                                                                                                                                                                                                                   Emily Benadon (ebenado1@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Edward Gawle                                                                                                                  (ebenado1@its.jnj.com); Renata Walton                                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                   (egawle@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com);    Christopher Guiton ^ (cguiton@its.jnj.com); Raj                                                (rwalton5@its.jnj.com); Timothy English ^                            regarding preparation/review of customer‐facing practice
3928   JANSSENBIO‐PL_2‐0003617                                                       Withheld   eMail   Guiton, Christopher        Attorney‐Client                                                                 Raj Vaswani ^ (rvaswani@its.jnj.com; Renata Walton (rwalton5@its.jnj.com)                                      Vaswani ^ (rvaswani@its.jnj.com                   Emily Benadon (ebenado1@its.jnj.com)         (tenglis1@its.jnj.com)                                   1/11/2016   management or IOI support material.

                                                                                                                                                                                                                   Emily Benadon (ebenado1@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Edward Gawle                   Edward Gawle (egawle@its.jnj.com); Emily
                                                                                                                                                                                                                   (egawle@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com);    Benadon (ebenado1@its.jnj.com); Renata Walton
3929   JANSSENBIO‐PL_2‐0003618                                                       Withheld   eMail   Guiton, Christopher        Attorney‐Client                                                                 Raj Vaswani ^ (rvaswani@its.jnj.com; Renata Walton (rwalton5@its.jnj.com)                                      (rwalton5@its.jnj.com)                        Catherine Sicari ^ (csicari@its.jnj.com)                                                                  1/11/2016

                                                                                                                                                                                                                  Emily Benadon (ebenado1@its.jnj.com); Timothy English ^ (tenglis1@its.jnj.com); Edward Gawle
                                                                                                                                                     Mark Mullin                                                  (egawle@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com);
3930   JANSSENBIO‐PL_2‐0003619                                                       Withheld   pdf     Guiton, Christopher        Attorney‐Client   (mmullin3@its.jnj.com)                                       Raj Vaswani ^ (rvaswani@its.jnj.com; Renata Walton (rwalton5@its.jnj.com)                                                                                                                                                                                               1/11/2016
                                                                                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                                                                                                  (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                                                                                                  Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                                                                                                  (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                  (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                                                                                                  (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                                                                                                  (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                                                                                  Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                                                                                  Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                                                                                                  (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                                  Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                                  (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                                                                                                  Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                                                                                  (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                                                                                                  (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                                                                                                  (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                                                                                  (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                                                                                                  (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                                                                                  (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                                                                                                  (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                                  (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                                                                                                  Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                                                                                                  (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                                                                                                  Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                  (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^                                                                                                                                                                                                      Email with attachment(s) providing information to
                                                                                                                                                                                                                  (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer                                                                                                                                                                                                  counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                  (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                                  (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe                                                                                                                                                                                                      internal guidance concerning practice management or IOI
3931   JANSSENBIO‐PL_2‐0003620                                                       Withheld   eMail   Guiton, Christopher        Attorney‐Client                                                                (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                 Christopher Guiton ^ (cguiton@its.jnj.com)        Christopher Zalesky (czalesky@its.jnj.com)   Sue Seferian ^ (sseferia@its.jnj.com)                    5/30/2008   support.
                                                                                                                                                                                                                  Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                                                                                                  (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                                                                                                  Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                                                                                                  (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                  (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                                                                                                  (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                                                                                                  (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                                                                                                  Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                                                                                                  Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                                                                                                  (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                                                                                                  Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                                  (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                                                                                                  Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                                                                                                  (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                                                                                                  (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                                                                                                  (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                                                                                                  (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                                                                                                  (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                                                                                                  (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                                                                                                  (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                                  (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                                                                                                  Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                                                                                                  (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                                                                                                  Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                                                                                                  (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                                                                                                  (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                                                                                                  (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                                                                                                  (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
3932   JANSSENBIO‐PL_2‐0003621                                                       Withheld   eMail   Guiton, Christopher        Attorney‐Client                                                                (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                 Christopher Zalesky (czalesky@its.jnj.com)        Christopher Zalesky (czalesky@its.jnj.com)                                                            5/30/2008




                                                                                                                                                                                                                                                                                          181
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 183 of 201

                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                            Sue Seferian ^           Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
3933   JANSSENBIO‐PL_2‐0003622   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                            Edward Benson            Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
3934   JANSSENBIO‐PL_2‐0003623   Withheld   doc     Guiton, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                     Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
3935   JANSSENBIO‐PL_2‐0003624   Withheld   doc     Guiton, Christopher   Attorney‐Client   Johnson & Johnson        (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels                           Anne McGarraugh (amcgarra@obius.jnj.com);
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes                                   Barry Ferguson (bfergus@mccus.jnj.com); Carol
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell                        Scholz (cscholz1@obius.jnj.com); Chris
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^                        Tompson (ctompso1@its.jnj.com); Christopher
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^                         Zalesky (czalesky@its.jnj.com); Clayton Paterson
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn       ^ (cpaters@its.jnj.com); David Mallegol
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^                (dmalleg@janus.jnj.com); Edward Benson
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);           (ebenson5@its.jnj.com); Elizabeth Snyder ^
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^             (esnyder2@its.jnj.com); Jeff Stewart
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^                              (jstewart@its.jnj.com); Maripat Rhood
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer                          (mrhood@cntus.jnj.com); Michael Chester ^
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden                                (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                              (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe                              (mmccull@corus.jnj.com); Sue Seferian ^
3936   JANSSENBIO‐PL_2‐0003625   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                             (sseferia@its.jnj.com)                             Edward Benson (ebenson5@its.jnj.com)   Kathy Schroeher ^ (kschroe@corus.jnj.com)               5/30/2008
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                            Edward Benson            Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
3937   JANSSENBIO‐PL_2‐0003626   Withheld   doc     Guiton, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh                             Anne McGarraugh (amcgarra@obius.jnj.com);
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels                           Barry Ferguson (bfergus@mccus.jnj.com); Carol
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes                                   Scholz (cscholz1@obius.jnj.com); Chris
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell                        Tompson (ctompso1@its.jnj.com); Christopher
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^                        Zalesky (czalesky@its.jnj.com); Clayton Paterson
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^                         ^ (cpaters@its.jnj.com); David Mallegol
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn       (dmalleg@janus.jnj.com); Donna Barnickel
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^                (dbarnick@its.jnj.com); Edward Benson
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);           (ebenson5@its.jnj.com); Elizabeth Snyder ^
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^             (esnyder2@its.jnj.com); Jeff Stewart
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^                              (jstewart@its.jnj.com); Maripat Rhood
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer                          (mrhood@cntus.jnj.com); Michael Chester ^
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden                                (mcheste1@its.jnj.com); Michael McCulley ^
                                                                                                                                              (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe                              (mmccull@corus.jnj.com); Sue Seferian ^                                                   Joy Johnson (jjohns14@its.jnj.com); Kathy Schroeher ^
3938   JANSSENBIO‐PL_2‐0003627   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                             (sseferia@its.jnj.com)                             Edward Benson (ebenson5@its.jnj.com)   (kschroe@corus.jnj.com)                                 5/30/2008




                                                                                                                                                                                                                    182
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 184 of 201

                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                     Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
3939   JANSSENBIO‐PL_2‐0003628   Withheld   doc     Guiton, Christopher   Attorney‐Client   Johnson & Johnson        (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                            Sue Seferian ^           Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
3940   JANSSENBIO‐PL_2‐0003629   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel              Adrienne Quinn (aquinn3@cntus.jnj.com); Angel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);       Shanholtzer (ashanhol@eesus.jnj.com); Anne
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen              McGarraugh (amcgarra@obius.jnj.com); Barry
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^                           Ferguson (bfergus@mccus.jnj.com); Barry Leece
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont                          (bleece1@its.jnj.com); Beth Johnson
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett                              (bjohnso4@corus.jnj.com); Bill Glaser
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);   (bglaser@its.jnj.com); Bob Snowden
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);   (bsnowde@psmus.jnj.com); Bridget Ikner
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner        (bikner@lfsus.jnj.com); Carmen Sampson
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);     (csampson@its.jnj.com); Carol Scholz
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^                  (cscholz1@obius.jnj.com); Chris Tompson
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);              (ctompso1@its.jnj.com); Christine Cahill
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood                     (ccahill@obius.jnj.com); Christopher Zalesky
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^                          (czalesky@its.jnj.com); Clayton Paterson ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh                             (cpaters@its.jnj.com); Craig Powers
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels                           (cpower2@ethus.jnj.com); David Mallegol
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes                                   (dmalleg@janus.jnj.com); Donna Barnickel
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell                        (dbarnick@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^                        (dclarke3@its.jnj.com); Elizabeth Chen
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^                         (echen@ethus.jnj.com); Elizabeth Snyder ^
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn       (esnyder2@its.jnj.com); Francis Reck ^
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^                (freck@its.jnj.com); Freddy Jimenez ^
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);           (fjimene3@its.jnj.com); Gary Goolie
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^             (ggoolie@eesus.jnj.com); Gerry McShane
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^                              (gmcshane@dpyus.jnj.com); Greg DuPont
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer                          (gdupont@dpyus.jnj.com); Jeff Stewart
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden                                (jstewart@its.jnj.com); Jeffrey Werch
                                                                                                                                              (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe                              (jwerch@visus.jnj.com); Jim O'Donnell
3941   JANSSENBIO‐PL_2‐0003630   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                             (jodonnel@indus.jnj.com); Joanne Whiteman       Edward Benson (ebenson5@its.jnj.com)                                                              5/30/2008
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                            Edward Benson            Edward Benson            (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
3942   JANSSENBIO‐PL_2‐0003631   Withheld   doc     Guiton, Christopher   Attorney‐Client   (ebenson5@its.jnj.com)   (ebenson5@its.jnj.com)   (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer                                                                                                                      Christopher Zalesky (czalesky@its.jnj.com); Freddy
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden                                Bill Wladika (bwladika@cntus.jnj.com); Bob                                                  Jimenez ^ (fjimene3@its.jnj.com); Kathleen Hamill ^
                                                                                                                                              (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe                              Prachar (bprachar@its.jnj.com); Rohan Palekar                                               (khamill@cntus.jnj.com); Tony Vernon
3943   JANSSENBIO‐PL_2‐0003632   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                             (rpalekar@cntus.jnj.com)                        Julie McHugh (jmchugh2@tibus.jnj.com)       (tvernon@cntus.jnj.com)                               5/30/2008
                                                                                                                                              Peg Anderson (panders1@lfsus.jnj.com); Mary Anne Borcky (Mares@ocdus.jnj.com); Donna Barnickel
                                                                                                                                              (dbarnick@its.jnj.com); John Beidler ^ (jbeidle@corus.jnj.com); Edward Benson (ebenson5@its.jnj.com);
                                                                                                                                              Edward Benson (ebenson5@its.jnj.com); Christine Cahill (ccahill@obius.jnj.com); Elizabeth Chen
                                                                                                                                              (echen@ethus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Dorothy Clarke ^
                                                                                                                                              (dclarke3@its.jnj.com); Matthew D'Ambrosio ^ (mdambro2@ocdus.jnj.com); Greg DuPont
                                                                                                                                              (gdupont@dpyus.jnj.com); Barry Ferguson (bfergus@mccus.jnj.com); Karen Gabbett
                                                                                                                                              (kgabbett@obius.jnj.com); Tonia Gilley (tgilley@eesus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                              Kay Giroux (kgiroux@its.jnj.com); Bill Glaser (bglaser@its.jnj.com); Gary Goolie (ggoolie@eesus.jnj.com);
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Bridget Ikner
                                                                                                                                              (bikner@lfsus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                              Beth Johnson (bjohnso4@corus.jnj.com); Joy Johnson (jjohns14@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Maren Klein (mklein@its.jnj.com); Mike Kollar (mkollar@corus.jnj.com);
                                                                                                                                              Kenneth Leahy (kleahy@corus.jnj.com); Barry Leece (bleece1@its.jnj.com); Stacy Lockwood
                                                                                                                                              (slockwo1@its.jnj.com); David Mallegol (dmalleg@janus.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Anne McGarraugh (amcgarra@obius.jnj.com); Julie McHugh
                                                                                                                                              (jmchugh2@tibus.jnj.com); Gerry McShane (gmcshane@dpyus.jnj.com); Pamela Michaels
                                                                                                                                              (pmichae2@its.jnj.com); Paul Mignon (pmignon@cpcus.jnj.com); Larry Montes
                                                                                                                                              (lmontes2@ethus.jnj.com); Patrick O'Brien ^ (patrick.obrien@alza.com); Jim O'Donnell
                                                                                                                                              (jodonnel@indus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                              (joshaug@corus.jnj.com); Rohan Palekar (rpalekar@cntus.jnj.com); Clayton Paterson ^
                                                                                                                                              (cpaters@its.jnj.com); Craig Powers (cpower2@ethus.jnj.com); Bob Prachar (bprachar@its.jnj.com); Lynn
                                                                                                                                              Puchalski ^ (lpuchals@hcsus.jnj.com); Adrienne Quinn (aquinn3@cntus.jnj.com); Francis Reck ^
                                                                                                                                              (freck@its.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Marianne Rurka (mrurka@corus.jnj.com);
                                                                                                                                              Carmen Sampson (csampson@its.jnj.com); Carol Scholz (cscholz1@obius.jnj.com); Kathy Schroeher ^
                                                                                                                                              (kschroe@corus.jnj.com); Lee Schwartz (LSchwar1@PRDUS.JNJ.COM); Sue Seferian ^
                                                                                                                                              (sseferia@its.jnj.com); John Senkowski (jsenkows@corus.jnj.com); Angel Shanholtzer
                                                                                                                                              (ashanhol@eesus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Bob Snowden
                                                                                                                                              (bsnowde@psmus.jnj.com); Elizabeth Snyder ^ (esnyder2@its.jnj.com); Steven Soe
3944   JANSSENBIO‐PL_2‐0003633   Withheld   pdf     Guiton, Christopher   Attorney‐Client                                                     (ssoe1@crdus.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Kelley Stetler                                                                                                                                                                               5/30/2008
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain requesting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                        preparation/review of internal training or internal
                                                                                                                                              Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Elizabeth                                                                                                                                                                         guidance concerning practice management or IOI
3945   JANSSENBIO‐PL_2‐0003634   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     Schwartz (eschwart@its.jnj.com)                                                                             Christopher Guiton ^ (cguiton@its.jnj.com)      Elizabeth Schwartz (eschwart@its.jnj.com)                                                         10/1/2008   support.




                                                                                                                                                                                                                    183
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 185 of 201


                                                                                                                                                                                                                                                                                                                                                                           Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                           counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                 Kris Curry (kcurry@janus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^                 Christopher Guiton ^ (cguiton@its.jnj.com);                                                               internal guidance concerning practice management or IOI
3946   JANSSENBIO‐PL_2‐0003635   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (fjimene3@its.jnj.com)                                                                                          Freddy Jimenez ^ (fjimene3@its.jnj.com)          Kris Curry (kcurry@janus.jnj.com)           10/23/2008   support.
                                                                                                                      Michelle Walls             Kris Curry (kcurry@janus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
3947   JANSSENBIO‐PL_2‐0003636   Withheld   doc     Guiton, Christopher   Attorney‐Client   Rebecca Cown              (mwalls@its.jnj.com)       (fjimene3@its.jnj.com)                                                                                                                                                                                       10/23/2008
                                                                                            Karen Trahan              Michelle Walls             Kris Curry (kcurry@janus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
3948   JANSSENBIO‐PL_2‐0003637   Withheld   ppt     Guiton, Christopher   Attorney‐Client   (ktrahan@its.jnj.com)     (mwalls@its.jnj.com)       (fjimene3@its.jnj.com)                                                                                                                                                                                       10/23/2008
                                                                                            Karen Trahan              Karen Trahan               Kris Curry (kcurry@janus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
3949   JANSSENBIO‐PL_2‐0003638   Withheld           Guiton, Christopher   Attorney‐Client   (ktrahan@its.jnj.com)     (ktrahan@its.jnj.com)      (fjimene3@its.jnj.com)                                                                                                                                                                                       10/23/2008
                                                                                            Michelle Walls            Michelle Walls             Kris Curry (kcurry@janus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^
3950   JANSSENBIO‐PL_2‐0003639   Withheld   xls     Guiton, Christopher   Attorney‐Client   (mwalls@its.jnj.com)      (mwalls@its.jnj.com)       (fjimene3@its.jnj.com)                                                                                                                                                                                       10/23/2008



                                                                                                                                                 Mary Bradley (mbradle5@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox                                                                                                                            Email chain with attachment(s) reflecting counsel's
                                                                                                                                                 (wfox@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                        request for information for the purpose of providing
                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Jill Massey (jmassey1@its.jnj.com); Brenda Sarokhan                                                                                                                              legal advice regarding preparation/review of internal
                                                                                                                                                 (bsarokha@its.jnj.com); Michael Varlotta (mvarlot2@cntus.jnj.com); Mark Wildgust                                                                                                                                          training or internal guidance concerning practice
3951   JANSSENBIO‐PL_2‐0003640   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (mwildgus@its.jnj.com); Jennifer S. Smith (smithjs1@wyeth.com)                                                  Christopher Guiton ^ (cguiton@its.jnj.com)       Freddy Jimenez ^ (fjimene3@its.jnj.com)      7/10/2008   management or IOI support.



                                                                                                                                                 Mary Bradley (mbradle5@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox
                                                                                                                                                 (wfox@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Jill Massey (jmassey1@its.jnj.com); Brenda Sarokhan
                                                                                                                      Jennifer De Camara ^       (bsarokha@its.jnj.com); Michael Varlotta (mvarlot2@cntus.jnj.com); Mark Wildgust
3952   JANSSENBIO‐PL_2‐0003641   Withheld   doc     Guiton, Christopher   Attorney‐Client                             (jdecamar@corus.jnj.com)   (mwildgus@its.jnj.com); Jennifer S. Smith (smithjs1@wyeth.com)                                                                                                                                                7/10/2008



                                                                                                                                                 Mary Bradley (mbradle5@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox
                                                                                                                                                 (wfox@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Jill Massey (jmassey1@its.jnj.com); Brenda Sarokhan
                                                                                                                      Jennifer De Camara ^       (bsarokha@its.jnj.com); Michael Varlotta (mvarlot2@cntus.jnj.com); Mark Wildgust
3953   JANSSENBIO‐PL_2‐0003642   Withheld   doc     Guiton, Christopher   Attorney‐Client                             (jdecamar@corus.jnj.com)   (mwildgus@its.jnj.com); Jennifer S. Smith (smithjs1@wyeth.com)                                                                                                                                                7/10/2008



                                                                                                                                                 Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
                                                                                                                                                 (cmattes1@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Michele Scott
                                                                                                                                                 (mscott12@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); DL‐GENERAL LAW ATTORNEYS (dl‐                                                                                                                         Email chain with attachment(s) providing information to
                                                                                                                                                 generallawattorneys@corus.jnj.com); DL‐PATENT LAW ATTORNEYS (dl‐                                                                                                                                                          counsel for the purpose of receiving legal advice
                                                                                                                                                 patentlawattorneys@corus.jnj.com); DL‐TRADEMARK LAW ATTORNEYS (dl‐                                                                                                                                                        regarding issues relating to lawfulness of practice
3954   JANSSENBIO‐PL_2‐0003643   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        trademarklawattorneys@corus.jnj.com)                                                                            Christopher Guiton ^ (cguiton@its.jnj.com)       Michele Scott (mscott12@its.jnj.com)         3/17/2009   management or IOI support services.



                                                                                                                                                 Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Christopher Guiton ^
                                                                                                                                                 (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Chris Matteson
                                                                                                                                                 (cmattes1@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Michele Scott
                                                                                                                                                 (mscott12@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); DL‐GENERAL LAW ATTORNEYS (dl‐
                                                                                                                                                 generallawattorneys@corus.jnj.com); DL‐PATENT LAW ATTORNEYS (dl‐
                                                                                                                                                 patentlawattorneys@corus.jnj.com); DL‐TRADEMARK LAW ATTORNEYS (dl‐
3955   JANSSENBIO‐PL_2‐0003644   Withheld   pdf     Guiton, Christopher   Attorney‐Client   Cynda                                                trademarklawattorneys@corus.jnj.com)                                                                                                                                                                          3/17/2009



                                                                                                                                                 Mary Bradley (mbradle5@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox
                                                                                                                                                 (wfox@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                        Email chain with attachment(s) providing legal advice
                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Jill Massey (jmassey1@its.jnj.com); Brenda Sarokhan                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                                 (bsarokha@its.jnj.com); Michael Varlotta (mvarlot2@cntus.jnj.com); Mark Wildgust                                                                                 Jennifer De Camara ^                                     internal guidance concerning practice management or IOI
3956   JANSSENBIO‐PL_2‐0003645   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        (mwildgus@its.jnj.com); Jennifer S. Smith (smithjs1@wyeth.com)                                                  Christopher Guiton ^ (cguiton@its.jnj.com)       (jdecamar@corus.jnj.com)                     7/15/2008   support.



                                                                                                                                                 Mary Bradley (mbradle5@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Walter Fox
                                                                                                                                                 (wfox@its.jnj.com); Karen Green (kgreen4@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                 Freddy Jimenez ^ (fjimene3@its.jnj.com); Jill Massey (jmassey1@its.jnj.com); Brenda Sarokhan
                                                                                                                      Jennifer De Camara ^       (bsarokha@its.jnj.com); Michael Varlotta (mvarlot2@cntus.jnj.com); Mark Wildgust
3957   JANSSENBIO‐PL_2‐0003646   Withheld   doc     Guiton, Christopher   Attorney‐Client                             (jdecamar@corus.jnj.com)   (mwildgus@its.jnj.com); Jennifer S. Smith (smithjs1@wyeth.com)                                                                                                                                                7/15/2008
                                                                                                                                                                                                                                                                                                                                                                           Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                           counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                           internal guidance concerning practice management or IOI
3958   JANSSENBIO‐PL_2‐0003647   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                        Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                              Christopher Guiton ^ (cguiton@its.jnj.com)       Kathryn Roberts (krober10@its.jnj.com)        3/7/2013   support.
                                                                                            Sue Seferian ^            Kathryn Roberts
3959   JANSSENBIO‐PL_2‐0003648   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)    (krober10@its.jnj.com)     Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com)                                                                                                                             3/7/2013
                                                                                                                                                                                                                                                                                                                                                                           Email communication reflecting legal advice from Lega
                                                                                                                                                                                                                                                                                                                                                                           Department regarding preparation/review of internal
                                                                                            Daniel Seiter             Kathleen Hamill ^                                                                                                                                                                                                                                    training or internal guidance concerning practice
3960   JANSSENBIO‐PL_2‐0003649   Withheld   doc     Hamill, Kathleen      Attorney‐Client   (dseiter@cntus.jnj.com)   (khamill@cntus.jnj.com)                                                                                                                                                                                                                  4/12/2007   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                           Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                           Department regarding preparation/review of internal
                                                                                            Chris Matteson            Kathleen Hamill ^                                                                                                                                                                                                                                    training or internal guidance concerning practice
3961   JANSSENBIO‐PL_2‐0003650   Withheld   pptx    Hamill, Kathleen      Attorney‐Client   (cmattes1@its.jnj.com)    (khamill@cntus.jnj.com)                                                                                                                                                                                                                 11/10/2010   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                           Presentation reflecting legal advice from Freddy Jimenez
                                                                                            John Morford              Kathleen Hamill ^                                                                                                                                                                                                                                    ^ regarding preparation of internal guidance regarding
3962   JANSSENBIO‐PL_2‐0003651   Withheld   ppt     Hamill, Kathleen      Attorney‐Client   (john@buckmedia.com)      (khamill@cntus.jnj.com)                                                                                                                                                                                                                  4/20/2006   Contract Purchase Program.
                                                                                            Jason O'Grady             Jason O'Grady
3963   JANSSENBIO‐PL_2‐0003652   Withheld           Hamill, Kathleen      Attorney‐Client   (jogrady@its.jnj.com)     (jogrady@its.jnj.com)                                                                                                                                                                                                                    4/20/2006

                                                                                                                                                                                                                                                                                                                                                                           Letter reflecting legal advice from Legal Department
                                                                                            Tracy Krasuski            Kathleen Hamill ^                                                                                                                                                                                                                                    regarding preparation/review of customer‐facing practice
3964   JANSSENBIO‐PL_2‐0003653   Withheld   doc     Hamill, Kathleen      Attorney‐Client   (tkrasusk@its.jnj.com)    (khamill@cntus.jnj.com)                                                                                                                                                                                                                  1/15/2013   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                           Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                           Department regarding preparation/review of internal
                                                                                            Angela Wood               Kathleen Hamill ^                                                                                                                                                                                                                                    training or internal guidance concerning practice
3965   JANSSENBIO‐PL_2‐0003654   Withheld   pptx    Hamill, Kathleen      Attorney‐Client   (awood6@its.jnj.com)      (khamill@cntus.jnj.com)                                                                                                                                                                                                                 11/30/2015   management or IOI support.
                                                                                                                                                                                                                                                                 Eileen Austra ^ (eaustra1@its.jnj.com); Freddy
                                                                                                                                                 Eileen Austra ^ (eaustra1@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^             Jimenez ^ (fjimene3@its.jnj.com); John Vaughan                                                            Email chain providing legal advice regarding issues
                                                                                                                                                 (fjimene3@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); John Vaughan ^                                ^ (jvaughan@its.jnj.com); Thomas Spellman ^                                                               relating to lawfulness of practice management or IOI
3966   JANSSENBIO‐PL_2‐0003655   Withheld   eMail   Hamill, Kathleen      Attorney‐Client                                                        (jvaughan@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                               (tspellma@its.jnj.com)                           Kathleen Hamill ^ (khamill@cntus.jnj.com)   10/27/2010   support services.
                                                                                                                                                                                                                                                                                                                                                                           Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                           counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                           internal guidance concerning practice management or IOI
3967   JANSSENBIO‐PL_2‐0003656   Withheld   eMail   Hamill, Kathleen      Attorney‐Client                                                        Kathleen Hamill ^ (khamill@cntus.jnj.com); Ramineh Zoka (rzoka@its.jnj.com)                                     Kathleen Hamill ^ (khamill@cntus.jnj.com)        Ramineh Zoka (rzoka@its.jnj.com)             11/7/2013   support.
                                                                                            Sue Seferian ^            Terry Kerekgyarto
3968   JANSSENBIO‐PL_2‐0003657   Withheld   doc     Hamill, Kathleen      Attorney‐Client   (sseferia@its.jnj.com)    (tkerekgy@its.jnj.com)     Kathleen Hamill ^ (khamill@cntus.jnj.com); Ramineh Zoka (rzoka@its.jnj.com)                                                                                                                                   11/7/2013

                                                                                                                                                                                                                                                                                                                                                                           Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                           counsel for the purpose of receiving legal advice
                                                                                                                                                 Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^                                                                                                                      regarding preparation/review of internal training or
                                                                                                                                                 (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                                     internal guidance concerning practice management or IOI
3969   JANSSENBIO‐PL_2‐0003658   Withheld   eMail   Hamill, Kathleen      Attorney‐Client                                                        Eve Brunts (Eve.Brunts@ropesgray.com)                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com)        Kathleen Hamill ^ (khamill@cntus.jnj.com)    1/14/2015   support.

                                                                                                                                                 Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                            Chad Bower                Daryl Todd ^               (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);
3970   JANSSENBIO‐PL_2‐0003659   Withheld   doc     Hamill, Kathleen      Attorney‐Client   (cbower2@its.jnj.com)     (dtodd1@its.jnj.com)       Eve Brunts (Eve.Brunts@ropesgray.com)                                                                                                                                                                         1/14/2015

                                                                                                                                                 Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                            Joy Johnson               Daryl Todd ^               (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);
3971   JANSSENBIO‐PL_2‐0003660   Withheld   doc     Hamill, Kathleen      Attorney‐Client   (jjohns14@its.jnj.com)    (dtodd1@its.jnj.com)       Eve Brunts (Eve.Brunts@ropesgray.com)                                                                                                                                                                         1/14/2015

                                                                                                                                                 Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Shauna Peterson ^
                                                                                            Hazel Doydum              Daryl Todd ^               (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);
3972   JANSSENBIO‐PL_2‐0003661   Withheld   ppt     Hamill, Kathleen      Attorney‐Client   (hdoydum@its.jnj.com)     (dtodd1@its.jnj.com)       Eve Brunts (Eve.Brunts@ropesgray.com)                                                                                                                                                                         1/14/2015




                                                                                                                                                 Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                 (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                 (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                 (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                                 Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                 (khamill@cntus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);
                                                                                                                                                 Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                 (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek
                                                                                                                                                 (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com);
                                                                                                                                                 Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan
                                                                                                                                                 Nettesheim (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                                 (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector
                                                                                                                                                 (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                 Rosa Son ^ (rson@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^
                                                                                                                                                 (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                 (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David                                                                                                             Email chain with attachment(s) providing legal advice
                                                                                                                                                 Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                                                                                                                             regarding preparation/review of internal training or
                                                                                                                                                 (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);                                                                                                                      internal guidance concerning practice management or IOI
3973   JANSSENBIO‐PL_2‐0003662   Withheld   eMail   Hamill, Kathleen      Attorney‐Client                                                        Michael Ziskind (mziskind@cntus.jnj.com)                                                                        Thomas Spellman ^ (tspellma@its.jnj.com)         Kathleen Hamill ^ (khamill@cntus.jnj.com)     3/9/2010   support.




                                                                                                                                                                                                                         184
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 186 of 201



                                                                                                                                                      Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                      (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                      (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                      (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                      (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                      (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                                      Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);
                                                                                                                                                      Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek
                                                                                                                                                      (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com);
                                                                                                                                                      Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan
                                                                                                                                                      Nettesheim (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector
                                                                                                                                                      (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                      Rosa Son ^ (rson@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^
                                                                                                                                                      (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                      (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                      Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                 Stephanie Gilson ^       Stephanie Gilson ^          (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3974   JANSSENBIO‐PL_2‐0003663   Withheld   docx    Hamill, Kathleen           Attorney‐Client   (sgilson@its.jnj.com)    (sgilson@its.jnj.com)       Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                           3/9/2010




                                                                                                                                                      Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                                      (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                      (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                                      (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                                      (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                      (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                                      Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Rebecca Hayes (rhayes5@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com);
                                                                                                                                                      Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                      (fjimene3@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek
                                                                                                                                                      (glatysz1@its.jnj.com); Paul Lawrance (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com);
                                                                                                                                                      Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan
                                                                                                                                                      Nettesheim (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                                      (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector
                                                                                                                                                      (mrector@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                      Rosa Son ^ (rson@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^
                                                                                                                                                      (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                                      (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                                      Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                                 Stephanie Gilson ^       Stephanie Gilson ^          (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
3975   JANSSENBIO‐PL_2‐0003664   Withheld   docx    Hamill, Kathleen           Attorney‐Client   (sgilson@its.jnj.com)    (sgilson@its.jnj.com)       Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                           3/9/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                    counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                      Dave Rybak (drybak2@its.jnj.com); Kathleen                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                      Wendy Clarke (wclarke@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Dave Rybak                     Hamill ^ (khamill@cntus.jnj.com); Thomas                                                                                                                      internal guidance concerning practice management or IOI
3976   JANSSENBIO‐PL_2‐0003665   Withheld   eMail   Hamill, Kathleen           Attorney‐Client                                                        (drybak2@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com)                                                 Spellman ^ (tspellma@its.jnj.com)                Wendy Clarke (wclarke@cntus.jnj.com)                                                            12/30/2009   support.

                                                                                                 Christopher Zalesky                                  Wendy Clarke (wclarke@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Dave Rybak
3977   JANSSENBIO‐PL_2‐0003666   Withheld   pdf     Hamill, Kathleen           Attorney‐Client   (czalesky@its.jnj.com)                               (drybak2@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com)                                                                                                                                                                                                  12/30/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                    Hamill, Kathleen; Walls,                                                                          Kathleen Hamill ^ (khamill@cntus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls                    Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                                    guidance concerning practice management or IOI
3978   JANSSENBIO‐PL_2‐0003667   Withheld   eMail   Michelle                   Attorney‐Client                                                        (mwalls@its.jnj.com)                                                                                            Michelle Walls (mwalls@its.jnj.com)              Daryl Todd ^ (dtodd1@its.jnj.com)                                                               10/16/2015   support.
                                                    Hamill, Kathleen; Walls,                     Daryl Todd ^             Daryl Todd ^                Kathleen Hamill ^ (khamill@cntus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls
3979   JANSSENBIO‐PL_2‐0003668   Withheld   doc     Michelle                   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)        (mwalls@its.jnj.com)                                                                                                                                                                                                                                             10/16/2015

                                                                                                                                                      Chad Bower (cbower2@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Kathleen Hamill ^                                                                                                                                                                                  Email chain with attachment(s) requesting legal advice
                                                                                                                                                      (khamill@cntus.jnj.com); Samantha Hand (shand@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);                                                                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                                      Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls                                                                                                                                                                                        internal guidance concerning practice management or IOI
3980   JANSSENBIO‐PL_2‐0003669   Withheld   eMail   Hamill, Kathleen           Attorney‐Client                                                        (mwalls@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                                    Kathleen Hamill ^ (khamill@cntus.jnj.com)        Michelle Walls (mwalls@its.jnj.com)                                                               7/8/2015   support.

                                                                                                                                                      Chad Bower (cbower2@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Samantha Hand (shand@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);
                                                                                                 Camille Dorsey           Michelle Walls              Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls
3981   JANSSENBIO‐PL_2‐0003670   Withheld   pptx    Hamill, Kathleen           Attorney‐Client   (cdorsey@its.jnj.com)    (mwalls@its.jnj.com)        (mwalls@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                                                                                                                                                                                       7/8/2015

                                                                                                                                                      Chad Bower (cbower2@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      (khamill@cntus.jnj.com); Samantha Hand (shand@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);
                                                                                                 Chad Bower               Michelle Walls              Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls
3982   JANSSENBIO‐PL_2‐0003671   Withheld   doc     Hamill, Kathleen           Attorney‐Client   (cbower2@its.jnj.com)    (mwalls@its.jnj.com)        (mwalls@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                                                                                                                                                                                       7/8/2015
                                                                                                                                                                                                                                                                      Deidre Meehan ^ (dmeehan5@its.jnj.com); Jaimi
                                                                                                                                                                                                                                                                      Gaffe (jgaffe@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                                                                                      (khamill@cntus.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                                                                                      (kolsen@its.jnj.com); Mark Sievers ^
                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe                   (msievers@its.jnj.com); Shauna Peterson ^                                                                                                                     Email chain with attachment(s) providing legal advice
                                                                                                                                                      (jgaffe@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);      (speter11@its.jnj.com); Stephanie Gilson ^                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                      Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^                 (sgilson@its.jnj.com); Thomas Conniff ^                                                                                                                       internal guidance concerning practice management or IOI
3983   JANSSENBIO‐PL_2‐0003672   Withheld   eMail   Hamill, Kathleen           Attorney‐Client                                                        (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                (tconniff@its.jnj.com)                        Daryl Todd ^ (dtodd1@its.jnj.com)            Dirk Brinckman ^ (dbrinckm@its.jnj.com)                12/5/2014   support.


                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe
                                                                                                                                                      (jgaffe@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);
                                                                                                 Daryl Todd ^             Daryl Todd ^                Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
3984   JANSSENBIO‐PL_2‐0003673   Withheld   docx    Hamill, Kathleen           Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)        (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                  12/5/2014



                                                                                                                                                      Dirk Brinckman ^ (dbrinckm@its.jnj.com); Thomas Conniff ^ (tconniff@its.jnj.com); Jaimi Gaffe
                                                                                                                                                      (jgaffe@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com);
                                                                                                 Daryl Todd ^             Daryl Todd ^                Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Shauna Peterson ^
3985   JANSSENBIO‐PL_2‐0003674   Withheld   doc     Hamill, Kathleen           Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)        (speter11@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                  12/5/2014



                                                                                                                                                      Austin Clayton ^ (aclayto3@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely                                                                                                                                                                                 Email chain with attachment(s) requesting legal advice
                                                                                                                                                      (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);                                                                                                                                                                         regarding preparation/review of internal training or
                                                                                                                                                      Kathleen Hamill ^ (khamill@cntus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls                    Austin Clayton ^ (aclayto3@its.jnj.com); Kathleen                                                                                                             internal guidance concerning practice management or IOI
3986   JANSSENBIO‐PL_2‐0003675   Withheld   eMail   Hamill, Kathleen           Attorney‐Client                                                        (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                        Hamill ^ (khamill@cntus.jnj.com)                  Michelle Walls (mwalls@its.jnj.com)                                                              5/6/2014   support.


                                                                                                                                                      Austin Clayton ^ (aclayto3@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely
                                                                                                                                                      (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);
                                                                                                 Doug Kennedy             Joseph DiGiacomo            Kathleen Hamill ^ (khamill@cntus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls
3987   JANSSENBIO‐PL_2‐0003676   Withheld   pptx    Hamill, Kathleen           Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)      (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                           5/6/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                    counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                    regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                    internal guidance concerning practice management or IOI
3988   JANSSENBIO‐PL_2‐0003677   Withheld   eMail   Hamill, Kathleen           Attorney‐Client                                                        Kathleen Hamill ^ (khamill@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com)                                 Kathleen Hamill ^ (khamill@cntus.jnj.com)        Ellen Perucki (eperucki@its.jnj.com)                                                             1/16/2013   support.
                                                                                                 Doug Kennedy
3989   JANSSENBIO‐PL_2‐0003678   Withheld   pdf     Hamill, Kathleen           Attorney‐Client   (dkenned6@its.jnj.com)                               Kathleen Hamill ^ (khamill@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com)                                                                                                                                                                                   1/16/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                    Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                      Jennifer De Camara ^ (jdecamar@corus.jnj.com);                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                      Jennifer De Camara ^ (jdecamar@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill        Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                                    internal guidance concerning practice management or IOI
3990   JANSSENBIO‐PL_2‐0003679   Withheld   eMail   Hamill, Kathleen           Attorney‐Client                                                        ^ (khamill@cntus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                 Stephanie Gilson ^ (sgilson@its.jnj.com)       Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                1/2/2013   support.

                                                                                                 Anna Maria Acquaviva     Kristen Henderson ^         Jennifer De Camara ^ (jdecamar@corus.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill
3991   JANSSENBIO‐PL_2‐0003680   Withheld   pptx    Hamill, Kathleen           Attorney‐Client   (aacqua23@its.jnj.com)   (khenderson@akingump.com)   ^ (khamill@cntus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com)                                                                                                                                                                                                    1/2/2013
                                                                                                                                                                                                                                                                                                                                                                                                                                    Email communication requesting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                      Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Roger Kung                  Freddy Jimenez ^ (fjimene3@its.jnj.com);                                                                                                                      guidance concerning practice management or IOI
3992   JANSSENBIO‐PL_2‐0003681   Withheld   eMail   Hamill, Kathleen           Attorney‐Client                                                        (rkung@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com)       Angela Wood (awood6@its.jnj.com)           Roger Kung (rkung@its.jnj.com)                          8/6/2012   support.
                                                                                                                                                                                                                                                                      Deidre Meehan ^ (dmeehan5@its.jnj.com);                                                                                                                       Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                                                                                      Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                                    preparation/review of internal training or internal
                                                                                                                                                      Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^            Kenneth Olsen ^ (kolsen@its.jnj.com); Stephanie                                                                                                               guidance concerning practice management or IOI
3993   JANSSENBIO‐PL_2‐0003682   Withheld   eMail   Hamill, Kathleen           Attorney‐Client                                                        (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                 Gilson ^ (sgilson@its.jnj.com)                  Daryl Todd ^ (dtodd1@its.jnj.com)                                                                  3/4/2013   support.

                                                                                                                                                      Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
3994   JANSSENBIO‐PL_2‐0003683   Withheld   docx    Hamill, Kathleen           Attorney‐Client                                                        (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                    3/4/2013

                                                                                                 Anna Maria Acquaviva     Daryl Todd ^                Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
3995   JANSSENBIO‐PL_2‐0003684   Withheld   pptx    Hamill, Kathleen           Attorney‐Client   (aacqua23@its.jnj.com)   (dtodd1@its.jnj.com)        (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                    3/4/2013
                                                                                                                                                                                                                                                                      Daryl Todd ^ (dtodd1@its.jnj.com); Deidre
                                                                                                                                                                                                                                                                      Meehan ^ (dmeehan5@its.jnj.com); Kathleen
                                                                                                                                                                                                                                                                      Hamill ^ (khamill@cntus.jnj.com); Kenneth Olsen                                                                                                               Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                      Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^            ^ (kolsen@its.jnj.com); Mark Sievers ^                                                                                                                        preparation/review of internal training or internal
                                                                                                                                                      (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);            (msievers@its.jnj.com); Stephanie Gilson ^                                                                                                                    guidance concerning practice management or IOI
3996   JANSSENBIO‐PL_2‐0003685   Withheld   eMail   Hamill, Kathleen           Attorney‐Client                                                        Daryl Todd ^ (dtodd1@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                            (sgilson@its.jnj.com)                           Daryl Todd ^ (dtodd1@its.jnj.com)                                                                 7/15/2013   support.


                                                                                                                                                      Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                                                                 Daryl Todd ^             Daryl Todd ^                (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
3997   JANSSENBIO‐PL_2‐0003686   Withheld   ppt     Hamill, Kathleen           Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)        Daryl Todd ^ (dtodd1@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                              7/15/2013



                                                                                                                                                      Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Deidre Meehan ^
                                                                                                                                                      (dmeehan5@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
3998   JANSSENBIO‐PL_2‐0003687   Withheld   doc     Hamill, Kathleen           Attorney‐Client                                                        Daryl Todd ^ (dtodd1@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                              7/15/2013
                                                                                                                                                                                                                                                                                                                                                                 Anna Estrellas (aestrellas@its.jnj.com); Chad Bower
                                                                                                                                                                                                                                                                                                                                                                 (cbower2@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                      Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo                                                                                                                (khamill@cntus.jnj.com); Matt Zuiderhof
                                                                                                                                                      (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);                                                                                                 (mzuiderh@its.jnj.com); Michelle Walls                             Email with attachment(s) providing information to
                                                                                                                                                      Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Thomas Spellman ^          Angela Wood (awood6@its.jnj.com); Daryl Todd                                               (mwalls@its.jnj.com); Michelle Zarish                              counsel for the purpose of receiving legal advice
                                                                                                                                                      (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela          ^ (dtodd1@its.jnj.com); Joseph DiGiacomo                                                   (mzarish2@its.jnj.com); Stephanie Gilson ^                         regarding preparation/review of internal training or
                                                                                                                                                      Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof                               (jdigiaco@its.jnj.com); Shauna Peterson ^                                                  (sgilson@its.jnj.com); Thomas Spellman ^                           internal guidance concerning practice management or IOI
3999   JANSSENBIO‐PL_2‐0003688   Withheld   eMail   Hamill, Kathleen           Attorney‐Client                                                        (mzuiderh@its.jnj.com)                                                                                          (speter11@its.jnj.com)                           Joseph DiGiacomo (jdigiaco@its.jnj.com)   (tspellma@its.jnj.com)                                  6/6/2014   support.




                                                                                                                                                                                                                              185
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 187 of 201


                                                                                                                                           Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo
                                                                                                                                           (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Thomas Spellman ^
                                                                                                                                           (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela
                                                                                         Doug Kennedy             Joseph DiGiacomo         Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof
4000   JANSSENBIO‐PL_2‐0003689   Withheld   pptx    Hamill, Kathleen   Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)   (mzuiderh@its.jnj.com)                                                                                                                                                                                                                                            6/6/2014



                                                                                                                                           Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo
                                                                                                                                           (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Thomas Spellman ^
                                                                                                                                           (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela
                                                                                         Joseph DiGiacomo         Joseph DiGiacomo         Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof
4001   JANSSENBIO‐PL_2‐0003690   Withheld   ppt     Hamill, Kathleen   Attorney‐Client   (jdigiaco@its.jnj.com)   (jdigiaco@its.jnj.com)   (mzuiderh@its.jnj.com)                                                                                                                                                                                                                                            6/6/2014

                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                        counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                        internal guidance concerning practice management or IOI
4002   JANSSENBIO‐PL_2‐0003691   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     Kathleen Hamill ^ (khamill@cntus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                 Kathleen Hamill ^ (khamill@cntus.jnj.com)          Daryl Todd ^ (dtodd1@its.jnj.com)                                                               11/29/2011   support.
                                                                                         Daryl Todd ^             Daryl Todd ^
4003   JANSSENBIO‐PL_2‐0003692   Withheld   docx    Hamill, Kathleen   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)     Kathleen Hamill ^ (khamill@cntus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com)                                                                                                                                                                                    11/29/2011
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain providing legal advice regarding issues
                                                                                                                                                                                                                                                                                                                                                                                                                        relating to interactions or communications between
4004   JANSSENBIO‐PL_2‐0003693   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     Kathleen Hamill ^ (khamill@cntus.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com)                             Lisa Jenkins ^ (ljenkins@its.jnj.com)              Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                        10/5/2015   ABSs and physician offices.

                                                                                                                                           Chad Bower (cbower2@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^                                                                                                                                                                               Email chain providing legal advice regarding
                                                                                                                                           (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Erin Parsons                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                           (eparson5@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com);                                                                                                                                                                              guidance concerning practice management or IOI
4005   JANSSENBIO‐PL_2‐0003694   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     Michelle Zarish (mzarish2@its.jnj.com)                                                                       Erin Parsons (eparson5@its.jnj.com)                Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                        2/11/2015   support.

                                                                                                                                           Brandon Fox (bfox3@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^                                                                                                                                                                                Email chain providing legal advice regarding
                                                                                                                                           (khamill@cntus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Erin Parsons                                                                                                                                                                                                preparation/review of internal training or internal
                                                                                                                                           (eparson5@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com);                                                                                                                                                                              guidance concerning practice management or IOI
4006   JANSSENBIO‐PL_2‐0003695   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     Michelle Zarish (mzarish2@its.jnj.com)                                                                       Erin Parsons (eparson5@its.jnj.com)                Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                        2/11/2015   support.




                                                                                                                                           Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo
                                                                                                                                           (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);                                                                                                                                                                   Email chain with attachment(s) providing information to
                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^                                                                                                                                                                      counsel for the purpose of receiving legal advice
                                                                                                                                           (speter11@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);                                                                                                                                                                         regarding preparation/review of internal training or
                                                                                                                                           Michelle Walls (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood                                                                                                                                                                                        internal guidance concerning practice management or IOI
4007   JANSSENBIO‐PL_2‐0003696   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)          Michelle Walls (mwalls@its.jnj.com)                Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                         6/6/2014   support.




                                                                                                                                           Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo
                                                                                                                                           (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^
                                                                                                                                           (speter11@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com);
                                                                                         Doug Kennedy             Joseph DiGiacomo         Michelle Walls (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood
4008   JANSSENBIO‐PL_2‐0003697   Withheld   pptx    Hamill, Kathleen   Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)   (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                                                                                                                                               6/6/2014



                                                                                                                                           Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo
                                                                                                                                           (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^
                                                                                                                                           (speter11@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Thomas Spellman ^
                                                                                                                                           (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela                                                                                                                                                                       Email chain with attachment(s) providing legal advice
                                                                                                                                           Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof                                                                                                                                                                                            regarding issues relating to lawfulness of practice
4009   JANSSENBIO‐PL_2‐0003698   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     (mzuiderh@its.jnj.com)                                                                                       Thomas Spellman ^ (tspellma@its.jnj.com)           Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                         6/6/2014   management or IOI support services.



                                                                                                                                           Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Joseph DiGiacomo
                                                                                                                                           (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com);
                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^
                                                                                                                                           (speter11@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Thomas Spellman ^
                                                                                                                                           (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela
                                                                                         Doug Kennedy             Joseph DiGiacomo         Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof
4010   JANSSENBIO‐PL_2‐0003699   Withheld   pptx    Hamill, Kathleen   Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)   (mzuiderh@its.jnj.com)                                                                                                                                                                                                                                            6/6/2014
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                           Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^                                                                                                                                                                     internal guidance concerning practice management or IOI
4011   JANSSENBIO‐PL_2‐0003700   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     (khamill@cntus.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Mark Jensen (mjensen@kslaw.com)            Patricia Lukens ^ (plukens@its.jnj.com)            Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                        7/12/2013   support.

                                                                                         John Skrabal             Ramineh Zoka             Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
4012   JANSSENBIO‐PL_2‐0003701   Withheld   docx    Hamill, Kathleen   Attorney‐Client   (jskrabal@its.jnj.com)   (rzoka@its.jnj.com)      (khamill@cntus.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Mark Jensen (mjensen@kslaw.com)                                                                                                                                                                7/12/2013

                                                                                         Sue Seferian ^                                    Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
4013   JANSSENBIO‐PL_2‐0003702   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   (sseferia@its.jnj.com)                            (khamill@cntus.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Mark Jensen (mjensen@kslaw.com)                                                                                                                                                                7/12/2013

                                                                                                                                           Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
4014   JANSSENBIO‐PL_2‐0003703   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Kenneth Tong                                      (khamill@cntus.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Mark Jensen (mjensen@kslaw.com)                                                                                                                                                                7/12/2013
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation/review of internal training or
                                                                                                                                           William Craco ^ (wcraco@corus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^                                                                                                                                                                        internal guidance concerning practice management or IOI
4015   JANSSENBIO‐PL_2‐0003704   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Mark Jensen (mjensen@kslaw.com)          William Craco ^ (wcraco@corus.jnj.com)             Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                        7/11/2013   support.

                                                                                         John Skrabal             Ramineh Zoka             William Craco ^ (wcraco@corus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
4016   JANSSENBIO‐PL_2‐0003705   Withheld   docx    Hamill, Kathleen   Attorney‐Client   (jskrabal@its.jnj.com)   (rzoka@its.jnj.com)      (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Mark Jensen (mjensen@kslaw.com)                                                                                                                                                              7/11/2013

                                                                                         Sue Seferian ^                                    William Craco ^ (wcraco@corus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
4017   JANSSENBIO‐PL_2‐0003706   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   (sseferia@its.jnj.com)                            (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Mark Jensen (mjensen@kslaw.com)                                                                                                                                                              7/11/2013

                                                                                                                                           William Craco ^ (wcraco@corus.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
4018   JANSSENBIO‐PL_2‐0003707   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Kenneth Tong                                      (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Mark Jensen (mjensen@kslaw.com)                                                                                                                                                              7/11/2013

                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^                                                                                                                                                                       Email chain providing legal advice regarding
                                                                                                                                           (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^                                                                                                                                                                                          preparation/review of customer‐facing practice
4019   JANSSENBIO‐PL_2‐0003708   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     (dmeehan5@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com)                                                Freddy Jimenez ^ (fjimene3@its.jnj.com)            Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                        1/13/2013   management or IOI support material.


                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                           (khamill@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq                                                                                                                                                                   Email chain providing legal advice from Kathleen Hamill ^
                                                                                                                                           (fsadeq@its.jnj.com); Michelle Turk (mturk@its.jnj.com); Danielle Imperial (fimpelli@crdus.jnj.com);         Faiz Sadeq (fsadeq@its.jnj.com); Michelle Turk                                                                                                                  regarding issues relating to interactions or
4020   JANSSENBIO‐PL_2‐0003709   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     Danielle King (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com)                                     (mturk@its.jnj.com)                                Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                         9/5/2012   communications between ABSs and physician offices.
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain providing legal advice regarding
                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Ellen Perucki          Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq                                                                                                                preparation/review of customer‐facing practice
4021   JANSSENBIO‐PL_2‐0003710   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com)                     (fsadeq@its.jnj.com)                               Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                         9/6/2012   management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain providing legal advice regarding
                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Ellen Perucki          Ellen Perucki (eperucki@its.jnj.com); Faiz Sadeq                                                                                                                preparation/review of customer‐facing practice
4022   JANSSENBIO‐PL_2‐0003711   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     (eperucki@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com)                     (fsadeq@its.jnj.com)                               Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                         9/7/2012   management or IOI support material.




                                                                                                                                           Nimish Amin ^ (namin1@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^
                                                                                                                                           (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Jennifer De Camara ^
                                                                                                                                           (jdecamar@corus.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                           (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                           (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                           (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                           (mkenned3@its.jnj.com); Candace Mattson (cmattson@its.jnj.com); Michael McCulley ^
                                                                                                                                           (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Patrick O'Brien ^
                                                                                                                                           (pobrien5@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                           (cpaters@its.jnj.com); James Phelan (jphelan@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                           (drallsmo@its.jnj.com); Christine Saus (csaus@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com);
                                                                                                                                           Elizabeth Scott ^ (egiulian@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^
                                                                                                                                           (msievers@its.jnj.com); Joanna Soffa ^ (soffa@sciosinc.com); Marlene Tandy ^ (mtandy@its.jnj.com);
                                                                                                                                           Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^                                                                                                                                                                         Email chain with attachment(s) providing legal advice
                                                                                                                                           (ktravers@its.jnj.com); Dirk Van (dvbroekh@jppbe.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com);                                                                                                           James Phelan (jphelan@its.jnj.com); Nimish Amin ^                regarding preparation/review of customer‐facing practice
4023   JANSSENBIO‐PL_2‐0003712   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                   Christine Saus (csaus@its.jnj.com)                 Kathleen Hamill ^ (khamill@cntus.jnj.com)   (namin1@its.jnj.com)                                 2/23/2010   management or IOI support material.




                                                                                                                                           Nimish Amin ^ (namin1@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^
                                                                                                                                           (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Jennifer De Camara ^
                                                                                                                                           (jdecamar@corus.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                           (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                           (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                           (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                           (mkenned3@its.jnj.com); Candace Mattson (cmattson@its.jnj.com); Michael McCulley ^
                                                                                                                                           (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Patrick O'Brien ^
                                                                                                                                           (pobrien5@corus.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^
                                                                                                                                           (cpaters@its.jnj.com); James Phelan (jphelan@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                           (drallsmo@its.jnj.com); Christine Saus (csaus@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com);
                                                                                                                                           Elizabeth Scott ^ (egiulian@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^
                                                                                                                                           (msievers@its.jnj.com); Joanna Soffa ^ (soffa@sciosinc.com); Marlene Tandy ^ (mtandy@its.jnj.com);
                                                                                                                                           Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^
                                                                                         Candace Mattson                                   (ktravers@its.jnj.com); Dirk Van (dvbroekh@jppbe.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com);
4024   JANSSENBIO‐PL_2‐0003713   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (cmattson@its.jnj.com)   ssimon9                  Patricia Villani ^ (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                                       2/23/2010




                                                                                                                                                                                                                  186
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 188 of 201



                                                                                                                                             Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                             (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                             (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                             (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                             (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                             (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                             Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                             (khamill@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Debra Hueting ^
                                                                                                                                             (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                             Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                             (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                             (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                             (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                             Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                             (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                             Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                             (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David                                                                                                                                                                  Email chain with attachment(s) providing legal advice
                                                                                                                                             Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                                                                                                                                                                                  regarding preparation/review of internal training or
                                                                                                                                             (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);            Michael McCulley ^ (mmccull@corus.jnj.com);                                                                                                                    internal guidance concerning practice management or IOI
4025   JANSSENBIO‐PL_2‐0003714   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                       Michael Ziskind (mziskind@cntus.jnj.com)                                                                        Stephanie Gilson ^ (sgilson@its.jnj.com)          Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                         3/1/2010   support.




                                                                                                                                             Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                             (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                             (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                             (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                             (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                             (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                             Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                             (khamill@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Debra Hueting ^
                                                                                                                                             (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                             Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                             (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                             (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                             (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                             Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                             (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                             Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                             (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                             Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                         Stephanie Gilson ^         Stephanie Gilson ^       (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
4026   JANSSENBIO‐PL_2‐0003715   Withheld   docx    Hamill, Kathleen   Attorney‐Client   (sgilson@its.jnj.com)      (sgilson@its.jnj.com)    Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            3/1/2010




                                                                                                                                             Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Rick Cassino
                                                                                                                                             (rcassino@janus.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                             (jcohen7@its.jnj.com); Kris Curry (kcurry@janus.jnj.com); Jennifer De Camara ^
                                                                                                                                             (jdecamar@corus.jnj.com); Marc Farley (mfarley3@its.jnj.com); Elizabeth Forminard ^
                                                                                                                                             (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                             (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);
                                                                                                                                             Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^
                                                                                                                                             (khamill@cntus.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Debra Hueting ^
                                                                                                                                             (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com);
                                                                                                                                             Maria Kennedy ^ (mkenned3@its.jnj.com); George Latyszonek (glatysz1@its.jnj.com); Paul Lawrance
                                                                                                                                             (plawran1@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                             (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Susan Nettesheim
                                                                                                                                             (snette2@its.jnj.com); Kenneth Olsen ^ (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com);
                                                                                                                                             Desiree Ralls‐Morrison ^ (drallsmo@its.jnj.com); Monika Rector (mrector@its.jnj.com); Elizabeth Scott ^
                                                                                                                                             (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Marlene
                                                                                                                                             Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^ (jtheerdt@jppbe.jnj.com); Chris Tompson
                                                                                                                                             (ctompso1@its.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David
                                                                                                                                             Van Passel ^ (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
                                                                                         Stephanie Gilson ^         Stephanie Gilson ^       (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com);
4027   JANSSENBIO‐PL_2‐0003716   Withheld   docx    Hamill, Kathleen   Attorney‐Client   (sgilson@its.jnj.com)      (sgilson@its.jnj.com)    Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            3/1/2010
                                                                                                                                                                                                                                                             Rick Anderson (andersonr@centocor.com); Scott                                                                                                                  Email communication providing legal advice regarding
                                                                                                                                             Rick Anderson (andersonr@centocor.com); Rhonda Burden (rburden@its.jnj.com); Scott Habig                        Habig (shabig@its.jnj.com); Tom Weiss                                                                                                                          issues relating to lawfulness of practice management or
4028   JANSSENBIO‐PL_2‐0003717   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                       (shabig@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Tom Weiss (weisst@centocor.com)                (weisst@centocor.com)                         Kathleen Hamill ^ (khamill@cntus.jnj.com)       Rhonda Burden (rburden@its.jnj.com)                  6/14/2002   IOI support services.
                                                                                                                                                                                                                                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Kenneth               Email chain with attachment(s) providing legal advice
                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^                                                                                                         Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter                 regarding preparation/review of internal training or
                                                                                                                                             (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);                                                                                                      (carpenterm@centocor.com); Sue Seferian ^                        internal guidance concerning practice management or IOI
4029   JANSSENBIO‐PL_2‐0003718   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                       Michael Ziskind (mziskind@cntus.jnj.com)                                                                        Michael Ziskind (mziskind@cntus.jnj.com)          Freddy Jimenez ^ (fjimene3@its.jnj.com)     (sseferia@its.jnj.com)                                5/1/2000   support.

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                                                    Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4030   JANSSENBIO‐PL_2‐0003719   Withheld   ppt     Hamill, Kathleen   Attorney‐Client   Econdurs                   (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Freddy Jimenez ^           Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4031   JANSSENBIO‐PL_2‐0003720   Withheld           Hamill, Kathleen   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Freddy Jimenez ^           Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4032   JANSSENBIO‐PL_2‐0003721   Withheld           Hamill, Kathleen   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Ellen Williams             Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4033   JANSSENBIO‐PL_2‐0003722   Withheld           Hamill, Kathleen   Attorney‐Client   (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Ellen Williams             Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4034   JANSSENBIO‐PL_2‐0003723   Withheld           Hamill, Kathleen   Attorney‐Client   (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Freddy Jimenez ^           Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4035   JANSSENBIO‐PL_2‐0003724   Withheld           Hamill, Kathleen   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Freddy Jimenez ^           Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4036   JANSSENBIO‐PL_2‐0003725   Withheld           Hamill, Kathleen   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Ellen Williams             Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4037   JANSSENBIO‐PL_2‐0003726   Withheld           Hamill, Kathleen   Attorney‐Client   (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Ellen Williams             Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4038   JANSSENBIO‐PL_2‐0003727   Withheld           Hamill, Kathleen   Attorney‐Client   (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Freddy Jimenez ^           Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4039   JANSSENBIO‐PL_2‐0003728   Withheld           Hamill, Kathleen   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Freddy Jimenez ^           Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4040   JANSSENBIO‐PL_2‐0003729   Withheld           Hamill, Kathleen   Attorney‐Client   (fjimene3@its.jnj.com)     (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Ellen Williams             Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4041   JANSSENBIO‐PL_2‐0003730   Withheld           Hamill, Kathleen   Attorney‐Client   (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000

                                                                                                                                             Kenneth Berlin ^ (kberlin@corus.jnj.com); Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^
                                                                                         Ellen Williams             Freddy Jimenez ^         (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com);
4042   JANSSENBIO‐PL_2‐0003731   Withheld           Hamill, Kathleen   Attorney‐Client   (ewillia4@ocdus.jnj.com)   (fjimene3@its.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                            5/1/2000
                                                                                                                                                                                                                                                                                                                                                                                                                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                            preparation/review of internal training or internal
                                                                                                                                             Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez             Kathleen Hamill ^ (khamill@cntus.jnj.com); Matt                                                                                                                guidance concerning practice management or IOI
4043   JANSSENBIO‐PL_2‐0003732   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                       ^ (fjimene3@its.jnj.com)                                                                                        Carpenter (carpenterm@centocor.com)               Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                          1/15/2001   support.
                                                                                         Cinda Koehler              Freddy Jimenez ^         Matt Carpenter (carpenterm@centocor.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez
4044   JANSSENBIO‐PL_2‐0003733   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (CKoehler@its.jnj.com)     (fjimene3@its.jnj.com)   ^ (fjimene3@its.jnj.com)                                                                                                                                                                                                                                           1/15/2001




                                                                                                                                                                                                                     187
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 189 of 201

                                                                                                                                                                                                                                                             Allen Kim (akim@corus.jnj.com); Barbara
                                                                                                                                                                                                                                                             McCormick (bmccorm@its.jnj.com); Bernard
                                                                                                                                                                                                                                                             Plantz ^ (bplantz@its.jnj.com); Cathy Smith ^
                                                                                                                                                                                                                                                             (csmith21@dpyus.jnj.com); Clayton Paterson ^
                                                                                                                                                                                                                                                             (cpaters@its.jnj.com); David McIntyre ^
                                                                                                                                                                                                                                                             (dmcinty3@its.jnj.com); Donna Malin ^
                                                                                                                                                                                                                                                             (dmalin@its.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                                                                             (dclarke3@its.jnj.com); Eric Jung ^
                                                                                                                                                                                                                                                             (ejung@its.jnj.com); Eric Roth ^
                                                                                                                                                                                                                                                             (eroth@crdus.jnj.com); Freddy Jimenez ^
                                                                                                                                                John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Michael Chester ^            (fjimene3@its.jnj.com); Helen Torelli ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);       (htorell@its.jnj.com); James Bergin ^
                                                                                                                                                Michael Coughlin (mcoughl3@corus.jnj.com); John Crisan (jcrisan@its.jnj.com); Kenneth Dow ^                  (jbergin@corus.jnj.com); John Beidler ^
                                                                                                                                                (kdow@corus.jnj.com); Lois Gianneschi ^ (lgiannes@corus.jnj.com); Stephanie Gilson ^                         (jbeidle@corus.jnj.com); John Crisan
                                                                                                                                                (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Lisa   (jcrisan@its.jnj.com); John O'Shaughnessy ^
                                                                                                                                                Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson                       (joshaug@corus.jnj.com); Joseph Shirtz
                                                                                                                                                (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Allen       (jshirtz@corus.jnj.com); Kathleen Hamill ^
                                                                                                                                                Kim ^ (akim@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Barbara McCormick                            (khamill@cntus.jnj.com); Kathryn Meisel ^
                                                                                                                                                (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); David McIntyre ^                          (kmeisel@its.jnj.com); Kathy Schroeher ^
                                                                                                                                                (dmcinty3@its.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Patrick O'Brien ^                            (kschroe@corus.jnj.com); Kenneth Dow ^
                                                                                                                                                (patrick.obrien@alza.com); Patricia OByrne ^ (pobyrne@corus.jnj.com); Kenneth Olsen ^                        (kdow@corus.jnj.com); Kenneth Olsen ^
                                                                                                                                                (kolsen@its.jnj.com); John O'Shaughnessy ^ (joshaug@corus.jnj.com); Mona Patel ^                             (kolsen@its.jnj.com); Lisa Jenkins ^
                                                                                                                                                (mpatel11@corus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Mark Piazza ^                            (ljenkins@its.jnj.com); Lois Gianneschi ^
                                                                                                                                                (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com); Steven Rosenberg ^                          (lgiannes@corus.jnj.com); Maria Kennedy ^
                                                                                                                                                (srosenb@its.jnj.com); Eric Roth ^ (eroth@crdus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com);         (mkenned3@its.jnj.com); Mark Piazza ^
                                                                                                                                                Sue Seferian ^ (sseferia@its.jnj.com); Theodore Shatynski ^ (tshatyns@its.jnj.com); Joseph Shirtz            (mpiazza@dpyus.jnj.com); Mark Sievers ^                                                                                                                          Email with attachment(s) providing legal advice regarding
                                                                                                                                                (jshirtz@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com);      (msievers@its.jnj.com); Marlene Tandy ^                                                                                                                          preparation/review of draft internal training or internal
                                                                                                                                                Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Helen Torelli ^              (mtandy@its.jnj.com); Michael Chester ^                                                                                                                          guidance concerning practice management or IOI
4045   JANSSENBIO‐PL_2‐0003734   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                          (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)         (mcheste1@its.jnj.com); Michael Coughlin        Joy Johnson (jjohns14@its.jnj.com)          Sue Seferian ^ (sseferia@its.jnj.com)                    5/21/2002   support.




                                                                                                                                                John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);
                                                                                                                                                Michael Coughlin (mcoughl3@corus.jnj.com); John Crisan (jcrisan@its.jnj.com); Kenneth Dow ^
                                                                                                                                                (kdow@corus.jnj.com); Lois Gianneschi ^ (lgiannes@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Lisa
                                                                                                                                                Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson
                                                                                                                                                (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Allen
                                                                                                                                                Kim ^ (akim@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Barbara McCormick
                                                                                                                                                (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); David McIntyre ^
                                                                                                                                                (dmcinty3@its.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                (patrick.obrien@alza.com); Patricia OByrne ^ (pobyrne@corus.jnj.com); Kenneth Olsen ^
                                                                                                                                                (kolsen@its.jnj.com); John O'Shaughnessy ^ (joshaug@corus.jnj.com); Mona Patel ^
                                                                                                                                                (mpatel11@corus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Mark Piazza ^
                                                                                                                                                (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com); Steven Rosenberg ^
                                                                                                                                                (srosenb@its.jnj.com); Eric Roth ^ (eroth@crdus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com);
                                                                                                                                                Sue Seferian ^ (sseferia@its.jnj.com); Theodore Shatynski ^ (tshatyns@its.jnj.com); Joseph Shirtz
                                                                                                                                                (jshirtz@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com);
                                                                                         Joseph Metro ^              Joy Johnson                Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Helen Torelli ^
4046   JANSSENBIO‐PL_2‐0003735   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (jmetro@reedsmith.com)      (jjohns14@its.jnj.com)     (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                                                                                                                                              5/21/2002




                                                                                                                                                John Beidler ^ (jbeidle@corus.jnj.com); James Bergin ^ (jbergin@corus.jnj.com); Michael Chester ^
                                                                                                                                                (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Paul Coletti (pcolett@corus.jnj.com);
                                                                                                                                                Michael Coughlin (mcoughl3@corus.jnj.com); John Crisan (jcrisan@its.jnj.com); Kenneth Dow ^
                                                                                                                                                (kdow@corus.jnj.com); Lois Gianneschi ^ (lgiannes@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Sheldon Hirt (shirt@corus.jnj.com); Lisa
                                                                                                                                                Jenkins ^ (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Joy Johnson
                                                                                                                                                (jjohns14@its.jnj.com); Eric Jung ^ (ejung@its.jnj.com); Maria Kennedy ^ (mkenned3@its.jnj.com); Allen
                                                                                                                                                Kim ^ (akim@corus.jnj.com); Donna Malin ^ (dmalin@its.jnj.com); Barbara McCormick
                                                                                                                                                (bmccorm@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); David McIntyre ^
                                                                                                                                                (dmcinty3@its.jnj.com); Kathryn Meisel ^ (kmeisel@its.jnj.com); Patrick O'Brien ^
                                                                                                                                                (patrick.obrien@alza.com); Patricia OByrne ^ (pobyrne@corus.jnj.com); Kenneth Olsen ^
                                                                                                                                                (kolsen@its.jnj.com); John O'Shaughnessy ^ (joshaug@corus.jnj.com); Mona Patel ^
                                                                                                                                                (mpatel11@corus.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Mark Piazza ^
                                                                                                                                                (mpiazza@dpyus.jnj.com); Bernard Plantz ^ (bplantz@its.jnj.com); Steven Rosenberg ^
                                                                                                                                                (srosenb@its.jnj.com); Eric Roth ^ (eroth@crdus.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com);
                                                                                                                                                Sue Seferian ^ (sseferia@its.jnj.com); Theodore Shatynski ^ (tshatyns@its.jnj.com); Joseph Shirtz
                                                                                                                                                (jshirtz@corus.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Cathy Smith ^ (csmith21@dpyus.jnj.com);
                                                                                                                     Joy Johnson                Thomas Spellman ^ (tspellma@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Helen Torelli ^
4047   JANSSENBIO‐PL_2‐0003736   Withheld   doc     Hamill, Kathleen   Attorney‐Client   Johnson & Johnson           (jjohns14@its.jnj.com)     (htorell@its.jnj.com); Taysen Van Itallie (tvanita@corus.jnj.com); Robert Zocca (rzocca@its.jnj.com)                                                                                                                                                              5/21/2002




                                                                                                                                                Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Hoffman
                                                                                                                                                (jhoffma2@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Kelley Jewett (kjewett@cntus.jnj.com);
                                                                                                                                                Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^                                                                                                       Christopher Zalesky (czalesky@its.jnj.com); John
                                                                                                                                                (fjimene3@its.jnj.com); Andrew Levitt (alevitt2@cntus.jnj.com); Andrew Levitt (alevitt2@cntus.jnj.com);                                                                                                  Hoffman (jhoffma2@its.jnj.com); Kathleen Hamill ^                    Email chain with attachment(s) providing legal advice
                                                                                                                                                Michael Montgomery ^ (mmontgom@cntus.jnj.com); Michael Montgomery ^                                                                                                                                      (khamill@cntus.jnj.com); Kelley Jewett                               regarding preparation/review of internal training or
                                                                                                                                                (mmontgom@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky                                                                                                               (kjewett@cntus.jnj.com); Michael Montgomery ^                        internal guidance concerning practice management or IOI
4048   JANSSENBIO‐PL_2‐0003737   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                          (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                           Andrew Levitt (alevitt2@cntus.jnj.com)          Freddy Jimenez ^ (fjimene3@its.jnj.com)     (mmontgom@cntus.jnj.com)                                  1/6/2003   support.




                                                                                                                                                Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Hoffman
                                                                                                                                                (jhoffma2@its.jnj.com); John Hoffman (jhoffma2@its.jnj.com); Kelley Jewett (kjewett@cntus.jnj.com);
                                                                                                                                                Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                (fjimene3@its.jnj.com); Andrew Levitt (alevitt2@cntus.jnj.com); Andrew Levitt (alevitt2@cntus.jnj.com);
                                                                                                                                                Michael Montgomery ^ (mmontgom@cntus.jnj.com); Michael Montgomery ^
                                                                                                                     Freddy Jimenez ^           (mmontgom@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com); Christopher Zalesky
4049   JANSSENBIO‐PL_2‐0003738   Withheld   DOC     Hamill, Kathleen   Attorney‐Client                               (fjimene3@its.jnj.com)     (czalesky@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                                 1/6/2003
                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                                Joseph Braunreuther ^ (jbraunre@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez                                                                                                  Joseph Braunreuther ^ (jbraunre@its.jnj.com); Kathleen               internal guidance concerning practice management or IOI
4050   JANSSENBIO‐PL_2‐0003739   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                          ^ (fjimene3@its.jnj.com); Joseph Metro ^ (jmetro@reedsmith.com)                                              Joseph Metro ^ (jmetro@reedsmith.com)           Freddy Jimenez ^ (fjimene3@its.jnj.com)     Hamill ^ (khamill@cntus.jnj.com)                         6/27/2002   support.

                                                                                                                     Christopher Zalesky        Joseph Braunreuther ^ (jbraunre@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez
4051   JANSSENBIO‐PL_2‐0003740   Withheld   doc     Hamill, Kathleen   Attorney‐Client   Johnson & Johnson           (czalesky@its.jnj.com)     ^ (fjimene3@its.jnj.com); Joseph Metro ^ (jmetro@reedsmith.com)                                                                                                                                                                                                   6/27/2002
                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                              issues relating to lawfulness of practice management or
4052   JANSSENBIO‐PL_2‐0003741   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                          Joseph Metro ^ (jmetro@reedsmith.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                             Kathleen Hamill ^ (khamill@cntus.jnj.com)       Joseph Metro ^ (jmetro@reedsmith.com)                                                                 9/9/2002   IOI support services.
                                                                                         Joseph Metro ^
4053   JANSSENBIO‐PL_2‐0003742   Withheld   DOC     Hamill, Kathleen   Attorney‐Client   (jmetro@reedsmith.com)      Reed Smith User            Joseph Metro ^ (jmetro@reedsmith.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                                                                                                                                                   9/9/2002

                                                                                                                                                Joseph Braunreuther ^ (jbraunre@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill
                                                                                                                                                ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Binyah Kesselly                                                                                                                                                                                           Email chain with attachment(s) providing legal advice
                                                                                                                                                (bkessel2@cntus.jnj.com); Sonja White ^ (swhite4@cntus.jnj.com); Joseph Metro ^                              Joseph Braunreuther ^ (jbraunre@its.jnj.com);                                               Freddy Jimenez ^ (fjimene3@its.jnj.com); Sonja White ^               regarding issues relating to lawfulness of practice
4054   JANSSENBIO‐PL_2‐0003743   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                          (jmetro@reedsmith.com)                                                                                       Joseph Metro ^ (jmetro@reedsmith.com)           Kathleen Hamill ^ (khamill@cntus.jnj.com)   (swhite4@cntus.jnj.com)                                  6/12/2002   management or IOI support services.

                                                                                                                                                Joseph Braunreuther ^ (jbraunre@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill
                                                                                                                                                ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Binyah Kesselly
                                                                                                                     Binyah Kesselly            (bkessel2@cntus.jnj.com); Sonja White ^ (swhite4@cntus.jnj.com); Joseph Metro ^
4055   JANSSENBIO‐PL_2‐0003744   Withheld   ppt     Hamill, Kathleen   Attorney‐Client   McKinsey User               (bkessel2@cntus.jnj.com)   (jmetro@reedsmith.com)                                                                                                                                                                                                                                            6/12/2002
                                                                                                                                                                                                                                                                                                                                                                                                                              Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                              regarding preparation/review of internal training or
                                                                                                                                                Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^                                                                                                                                                                          internal guidance concerning practice management or IOI
4056   JANSSENBIO‐PL_2‐0003745   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                          (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                               Kathleen Hamill ^ (khamill@cntus.jnj.com)       Andrew Brackbill (abrackbi@its.jnj.com)                                                              3/24/2008   support.

                                                                                         Arlene Hubler               Andrew Brackbill           Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4057   JANSSENBIO‐PL_2‐0003746   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (ahubler@its.jnj.com)       (abrackbi@its.jnj.com)     (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008

                                                                                         Daniel Seiter               Andrew Brackbill           Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4058   JANSSENBIO‐PL_2‐0003747   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (dseiter@cntus.jnj.com)     (abrackbi@its.jnj.com)     (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008

                                                                                         Andrew Brackbill            Andrew Brackbill           Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4059   JANSSENBIO‐PL_2‐0003748   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (abrackbi@its.jnj.com)      (abrackbi@its.jnj.com)     (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008

                                                                                         Michael Cassano             Andrew Brackbill           Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4060   JANSSENBIO‐PL_2‐0003749   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (mcassano@cntus.jnj.com)    (abrackbi@its.jnj.com)     (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008

                                                                                         Arlene Hubler               Andrew Brackbill           Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4061   JANSSENBIO‐PL_2‐0003750   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (ahubler@its.jnj.com)       (abrackbi@its.jnj.com)     (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008

                                                                                         Michael Cassano             Andrew Brackbill           Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4062   JANSSENBIO‐PL_2‐0003751   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (mcassano@cntus.jnj.com)    (abrackbi@its.jnj.com)     (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008

                                                                                                                     Andrew Brackbill           Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4063   JANSSENBIO‐PL_2‐0003752   Withheld   ppt     Hamill, Kathleen   Attorney‐Client   Corey Davis                 (abrackbi@its.jnj.com)     (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008

                                                                                         Daniel Seiter               John Hoffman               Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4064   JANSSENBIO‐PL_2‐0003753   Withheld           Hamill, Kathleen   Attorney‐Client   (dseiter@cntus.jnj.com)     (jhoffma2@its.jnj.com)     (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008

                                                                                         John Hoffman                John Hoffman               Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4065   JANSSENBIO‐PL_2‐0003754   Withheld           Hamill, Kathleen   Attorney‐Client   (jhoffma2@its.jnj.com)      (jhoffma2@its.jnj.com)     (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008

                                                                                                                                                Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4066   JANSSENBIO‐PL_2‐0003755   Withheld           Hamill, Kathleen   Attorney‐Client   Corey Davis                 Sidley Austin LLP          (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008

                                                                                         Daniel Seiter               Daniel Seiter              Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4067   JANSSENBIO‐PL_2‐0003756   Withheld           Hamill, Kathleen   Attorney‐Client   (dseiter@cntus.jnj.com)     (dseiter@cntus.jnj.com)    (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008

                                                                                                                                                Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^
4068   JANSSENBIO‐PL_2‐0003757   Withheld           Hamill, Kathleen   Attorney‐Client                                                          (fjimene3@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                    3/24/2008
                                                                                                                                                                                                                                                                                                                                                                                                                              Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                              regarding preparation/review of customer‐facing practice
4069   JANSSENBIO‐PL_2‐0003758   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                          Christina Bosch ^ (cbosch@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                            Kathleen Hamill ^ (khamill@cntus.jnj.com)       Christina Bosch ^ (cbosch@its.jnj.com)                                                               2/21/2008   management or IOI support material.
                                                                                         Tom Jordak                  Christina Bosch ^
4070   JANSSENBIO‐PL_2‐0003759   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (tom.jordak@absg.com)       (cbosch@its.jnj.com)       Christina Bosch ^ (cbosch@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                                                                                                                                                 2/21/2008
                                                                                         Peyton Howell
                                                                                         (PHowell@amerisourceberge   Christina Bosch ^
4071   JANSSENBIO‐PL_2‐0003760   Withheld   doc     Hamill, Kathleen   Attorney‐Client   n.com)                      (cbosch@its.jnj.com)       Christina Bosch ^ (cbosch@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                                                                                                                                                 2/21/2008




                                                                                                                                                                                                                       188
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 190 of 201


                                                                                                                                                 Nimish Amin ^ (namin1@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^
                                                                                                                                                 (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                 (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                                 (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                 (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Candace Mattson
                                                                                                                                                 (cmattson@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                                 (dmeehan5@its.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Kenneth Olsen ^
                                                                                                                                                 (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                 (drallsmo@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Elizabeth Scott ^
                                                                                                                                                 (egiulian@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joanna
                                                                                                                                                 Soffa ^ (soffa@sciosinc.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Dirk
                                                                                                                                                 Van (dvbroekh@jppbe.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^                          Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                                       Email with attachment(s) reflecting legal advice regarding
4072   JANSSENBIO‐PL_2‐0003761   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                          Patricia Lukens ^ (plukens@its.jnj.com)          Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                            10/14/2008   preparation/review of agreement with a third party.




                                                                                                                                                 Nimish Amin ^ (namin1@its.jnj.com); Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^
                                                                                                                                                 (mcheste1@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Jennifer De Camara ^
                                                                                                                                                 (jdecamar@corus.jnj.com); Michelle Fried ^ (mfried1@corus.jnj.com); Stephanie Gilson ^
                                                                                                                                                 (sgilson@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                 (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                                 (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                 (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Candace Mattson
                                                                                                                                                 (cmattson@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
                                                                                                                                                 (dmeehan5@its.jnj.com); Patrick O'Brien ^ (pobrien5@corus.jnj.com); Kenneth Olsen ^
                                                                                                                                                 (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                 (drallsmo@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Elizabeth Scott ^
                                                                                                                                                 (egiulian@its.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com); Joanna
                                                                                                                                                 Soffa ^ (soffa@sciosinc.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                 (jtheerdt@jppbe.jnj.com); Helen Torelli ^ (htorell@its.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); Dirk
                                                                                         Candace Mattson                                         Van (dvbroekh@jppbe.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^
4073   JANSSENBIO‐PL_2‐0003762   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (cmattson@its.jnj.com)       ssimon9                    (pvillan1@its.jnj.com); Yuung Yap ^ (yyap1@its.jnj.com)                                                                                                                                                                                                              10/14/2008
                                                                                                                                                                                                                                                                  Jessica Empestan ^ (jempesta@its.jnj.com); John
                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Stephanie              Vaughan ^ (jvaughan@its.jnj.com); Kathleen                                                                                                                       Email with attachment(s) requesting legal advice
                                                                                                                                                 Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Vaughan ^                        Hamill ^ (khamill@cntus.jnj.com); Stephanie     Jennifer De Camara ^                                                                                             regarding preparation/review of customer‐facing practice
4074   JANSSENBIO‐PL_2‐0003763   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (jvaughan@its.jnj.com)                                                                                           Gilson ^ (sgilson@its.jnj.com)                  (jdecamar@corus.jnj.com)                                                                             2/22/2011   management or IOI support material.
                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Jessica Empestan ^ (jempesta@its.jnj.com); Stephanie
                                                                                                                                                 Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Vaughan ^
4075   JANSSENBIO‐PL_2‐0003764   Withheld   pptx    Hamill, Kathleen   Attorney‐Client   Dana Guilmin                 jgardill                   (jvaughan@its.jnj.com)                                                                                                                                                                                                                                                2/22/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                   Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                   counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                  Catherine Sicari ^ (csicari@its.jnj.com); John                                                                                                                   regarding preparation/review of internal training or
                                                                                                                                                 Eileen Austra ^ (eaustra1@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Catherine Sicari ^            Vaughan ^ (jvaughan@its.jnj.com); Kathleen                                                                                                                       internal guidance concerning practice management or IOI
4076   JANSSENBIO‐PL_2‐0003765   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (csicari@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com)           Hamill ^ (khamill@cntus.jnj.com)                 Thomas Spellman ^ (tspellma@its.jnj.com)    Eileen Austra ^ (eaustra1@its.jnj.com)                 12/22/2010   support.

                                                                                                                                                 Eileen Austra ^ (eaustra1@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Catherine Sicari ^
4077   JANSSENBIO‐PL_2‐0003766   Withheld   pdf     Hamill, Kathleen   Attorney‐Client                                                           (csicari@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com)                                                                                                                                                               12/22/2010

                                                                                                                                                 Eileen Austra ^ (eaustra1@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Catherine Sicari ^
4078   JANSSENBIO‐PL_2‐0003767   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Dana Guilmin                                            (csicari@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com)                                                                                                                                                               12/22/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                   Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                   counsel for the purpose of receiving legal advice
                                                                                                                                                 Chris Firriolo (cfirriol@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Michelle Walls                                                                                                                                                                                  regarding preparation/review of customer‐facing practice
4079   JANSSENBIO‐PL_2‐0003768   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                        Chris Firriolo (cfirriol@its.jnj.com)            Michelle Walls (mwalls@its.jnj.com)         Kathleen Hamill ^ (khamill@cntus.jnj.com)               3/22/2011   management or IOI support material.

                                                                                         Cora Vizcarra                                           Chris Firriolo (cfirriol@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Michelle Walls
4080   JANSSENBIO‐PL_2‐0003769   Withheld   PDF     Hamill, Kathleen   Attorney‐Client   (cvpres@mcvassociates.com)                              (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                                                                             3/22/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                   Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                   regarding preparation/review of internal training or
                                                                                                                                                 Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Michael Ziskind             Kathleen Hamill ^ (khamill@cntus.jnj.com);                                                                                                                       internal guidance concerning practice management or IOI
4081   JANSSENBIO‐PL_2‐0003770   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (mziskind@cntus.jnj.com)                                                                                         Stephanie Gilson ^ (sgilson@its.jnj.com)         Michael Ziskind (mziskind@cntus.jnj.com)                                                            9/25/2009   support.
                                                                                         Michael Ziskind              Michael Ziskind            Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Michael Ziskind
4082   JANSSENBIO‐PL_2‐0003771   Withheld   ppt     Hamill, Kathleen   Attorney‐Client   (mziskind@cntus.jnj.com)     (mziskind@cntus.jnj.com)   (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                              9/25/2009
                                                                                                                                                                                                                                                                  Anthony DiCarlantonio (adicarla@its.jnj.com);                                                                                                                    Email chain with attachment(s) requesting legal advice
                                                                                                                                                 Anthony DiCarlantonio (adicarla@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez          Kathleen Hamill ^ (khamill@cntus.jnj.com); Linda                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                 ^ (fjimene3@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Daniel Seiter                                Robertson (lrober12@cntus.jnj.com); Margaret                                                                                                                     internal guidance concerning practice management or IOI
4083   JANSSENBIO‐PL_2‐0003772   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (dseiter@cntus.jnj.com); Margaret Weaver (mweave11@its.jnj.com)                                                  Weaver (mweave11@its.jnj.com)                    Daniel Seiter (dseiter@cntus.jnj.com)       Freddy Jimenez ^ (fjimene3@its.jnj.com)                 3/13/2007   support.

                                                                                                                                                 Anthony DiCarlantonio (adicarla@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez
                                                                                         Daniel Seiter                Daniel Seiter              ^ (fjimene3@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Daniel Seiter
4084   JANSSENBIO‐PL_2‐0003773   Withheld   ppt     Hamill, Kathleen   Attorney‐Client   (dseiter@cntus.jnj.com)      (dseiter@cntus.jnj.com)    (dseiter@cntus.jnj.com); Margaret Weaver (mweave11@its.jnj.com)                                                                                                                                                                                                       3/13/2007
                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                   regarding preparation/review of internal training or
                                                                                                                                                 Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Hae‐won Min liao ^                                                                                                        Kathleen Hamill ^ (khamill@cntus.jnj.com); William                  internal guidance concerning practice management or IOI
4085   JANSSENBIO‐PL_2‐0003774   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (hminliao@sidley.com); William Sarraille ^ (wsarraille@sidley.com)                                               Freddy Jimenez ^ (fjimene3@its.jnj.com)          Hae‐won Min liao ^ (hminliao@sidley.com)    Sarraille ^ (wsarraille@sidley.com)                     8/10/2007   support.

                                                                                         Daniel Seiter                Linda Robertson            Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Hae‐won Min liao ^
4086   JANSSENBIO‐PL_2‐0003775   Withheld   ppt     Hamill, Kathleen   Attorney‐Client   (dseiter@cntus.jnj.com)      (lrober12@cntus.jnj.com)   (hminliao@sidley.com); William Sarraille ^ (wsarraille@sidley.com)                                                                                                                                                                                                    8/10/2007

                                                                                         John Hoffman                 John Hoffman               Kathleen Hamill ^ (khamill@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Hae‐won Min liao ^
4087   JANSSENBIO‐PL_2‐0003776   Withheld           Hamill, Kathleen   Attorney‐Client   (jhoffma2@its.jnj.com)       (jhoffma2@its.jnj.com)     (hminliao@sidley.com); William Sarraille ^ (wsarraille@sidley.com)                                                                                                                                                                                                    8/10/2007

                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain with attachment(s) requesting legal advice
                                                                                                                                                 Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Peterkins                                                                                                                                                                                regarding preparation/review of customer‐facing practice
4088   JANSSENBIO‐PL_2‐0003777   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (jpeterk1@its.jnj.com); Jennifer Thomas (jthoma20@cntus.jnj.com)                                                 Kathleen Hamill ^ (khamill@cntus.jnj.com)        Andrew Brackbill (abrackbi@its.jnj.com)                                                              7/8/2008   management or IOI support material.

                                                                                         Daniel Seiter                Andrew Brackbill           Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Peterkins
4089   JANSSENBIO‐PL_2‐0003778   Withheld   ppt     Hamill, Kathleen   Attorney‐Client   (dseiter@cntus.jnj.com)      (abrackbi@its.jnj.com)     (jpeterk1@its.jnj.com); Jennifer Thomas (jthoma20@cntus.jnj.com)                                                                                                                                                                                                       7/8/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain with attachment(s) requesting legal advice
                                                                                                                                                 Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Murray                                                                                                                                                                                   regarding preparation/review of internal training or
                                                                                                                                                 (jmurray6@cntus.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Michael Schoeck                                                                                                                                                                                               internal guidance concerning practice management or IOI
4090   JANSSENBIO‐PL_2‐0003779   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                   Kathleen Hamill ^ (khamill@cntus.jnj.com)        Linda Robertson (lrober12@cntus.jnj.com)    Andrew Brackbill (abrackbi@its.jnj.com)                 2/29/2008   support.

                                                                                                                                                 Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Murray
                                                                                         Daniel Seiter                Linda Robertson            (jmurray6@cntus.jnj.com); Linda Robertson (lrober12@cntus.jnj.com); Michael Schoeck
4091   JANSSENBIO‐PL_2‐0003780   Withheld   ppt     Hamill, Kathleen   Attorney‐Client   (dseiter@cntus.jnj.com)      (lrober12@cntus.jnj.com)   (mschoeck@its.jnj.com); Michael Schoeck (mschoeck@its.jnj.com)                                                                                                                                                                                                        2/29/2008

                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain with attachment(s) requesting legal advice
                                                                                                                                                 Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Peterkins                                                                                                            Jennifer Thomas (jthoma20@cntus.jnj.com); John                      regarding preparation/review of customer‐facing practice
4092   JANSSENBIO‐PL_2‐0003781   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (jpeterk1@its.jnj.com); Jennifer Thomas (jthoma20@cntus.jnj.com)                                                 Kathleen Hamill ^ (khamill@cntus.jnj.com)        Andrew Brackbill (abrackbi@its.jnj.com)     Peterkins (jpeterk1@its.jnj.com)                        5/14/2008   management or IOI support material.

                                                                                         Andrew Brackbill             Andrew Brackbill           Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Peterkins
4093   JANSSENBIO‐PL_2‐0003782   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (abrackbi@its.jnj.com)       (abrackbi@its.jnj.com)     (jpeterk1@its.jnj.com); Jennifer Thomas (jthoma20@cntus.jnj.com)                                                                                                                                                                                                      5/14/2008

                                                                                                                                                 Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Peterkins
4094   JANSSENBIO‐PL_2‐0003783   Withheld   pdf     Hamill, Kathleen   Attorney‐Client                                                           (jpeterk1@its.jnj.com); Jennifer Thomas (jthoma20@cntus.jnj.com)                                                                                                                                                                                                      5/14/2008

                                                                                                                                                 Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Peterkins
4095   JANSSENBIO‐PL_2‐0003784   Withheld   pdf     Hamill, Kathleen   Attorney‐Client                                                           (jpeterk1@its.jnj.com); Jennifer Thomas (jthoma20@cntus.jnj.com)                                                                                                                                                                                                      5/14/2008

                                                                                                                                                 Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Peterkins
4096   JANSSENBIO‐PL_2‐0003785   Withheld   pdf     Hamill, Kathleen   Attorney‐Client                                                           (jpeterk1@its.jnj.com); Jennifer Thomas (jthoma20@cntus.jnj.com)                                                                                                                                                                                                      5/14/2008

                                                                                         Arlene Hubler                Diane Paolucci             Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Peterkins
4097   JANSSENBIO‐PL_2‐0003786   Withheld   doc     Hamill, Kathleen   Attorney‐Client   (ahubler@its.jnj.com)        (dpaolucc@cntus.jnj.com)   (jpeterk1@its.jnj.com); Jennifer Thomas (jthoma20@cntus.jnj.com)                                                                                                                                                                                                      5/14/2008

                                                                                         Daniel Seiter                Andrew Brackbill           Andrew Brackbill (abrackbi@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John Peterkins
4098   JANSSENBIO‐PL_2‐0003787   Withheld   ppt     Hamill, Kathleen   Attorney‐Client   (dseiter@cntus.jnj.com)      (abrackbi@its.jnj.com)     (jpeterk1@its.jnj.com); Jennifer Thomas (jthoma20@cntus.jnj.com)                                                                                                                                                                                                      5/14/2008

                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                   counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                   regarding preparation/review of internal training or
                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher            Jennifer De Camara ^ (jdecamar@corus.jnj.com);                                                                                                                   internal guidance concerning practice management or IOI
4099   JANSSENBIO‐PL_2‐0003788   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           McNeal (cmcneal1@its.jnj.com)                                                                                    Kathleen Hamill ^ (khamill@cntus.jnj.com)      Christopher McNeal (cmcneal1@its.jnj.com)                                                             9/21/2010   support.
                                                                                         Chris Matteson                                          Jennifer De Camara ^ (jdecamar@corus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher
4100   JANSSENBIO‐PL_2‐0003789   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   (cmattes1@its.jnj.com)                                  McNeal (cmcneal1@its.jnj.com)                                                                                                                                                                                                                                         9/21/2010




                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton                  Christopher McNeal (cmcneal1@its.jnj.com);                                                   Chris Matteson (cmattes1@its.jnj.com); Joseph                       Email chain with attachment(s) providing information to
                                                                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott                               Jennifer De Camara ^ (jdecamar@corus.jnj.com);                                               DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines                     counsel for the purpose of receiving legal advice
4101   JANSSENBIO‐PL_2‐0003790   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (mike.scott@proherant.com)                                                                                       Kathleen Hamill ^ (khamill@cntus.jnj.com)      Amit Patel (apatel18@its.jnj.com)             (phaines8@its.jnj.com)                                 10/13/2010   regarding training for Proherant.




                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines                                                                                                         Amit Patel (apatel18@its.jnj.com); Cheryl Conlee
                                                                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson                                                                                                                             (cheryl.conlee@proherant.com); Chris Matteson
                                                                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);            Cathy Bellehumeur                                                                            (cmattes1@its.jnj.com); Diana Hampton
                                                                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee                                           (cathy.bellehumeur@accredohealth.com);                                                       (diana.hampton@accredohealth.com); Jennifer De
                                                                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton                  Edward Culliton                                                                              Camara ^ (jdecamar@corus.jnj.com); Kathleen Hamill ^
                                                                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott                               (edward.culliton@proherant.com); Mike Scott                                                  (khamill@cntus.jnj.com); Mary James
4102   JANSSENBIO‐PL_2‐0003791   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                           (mike.scott@proherant.com)                                                                                       (mike.scott@proherant.com)                       Christopher McNeal (cmcneal1@its.jnj.com)   (mary.james@proherant.com)                             10/13/2010




                                                                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4103   JANSSENBIO‐PL_2‐0003792   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                                   (mike.scott@proherant.com)                                                                                                                                                                                                                                           10/13/2010




                                                                                                                                                                                                                         189
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 191 of 201


                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4104   JANSSENBIO‐PL_2‐0003793   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4105   JANSSENBIO‐PL_2‐0003794   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4106   JANSSENBIO‐PL_2‐0003795   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4107   JANSSENBIO‐PL_2‐0003796   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4108   JANSSENBIO‐PL_2‐0003797   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4109   JANSSENBIO‐PL_2‐0003798   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4110   JANSSENBIO‐PL_2‐0003799   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4111   JANSSENBIO‐PL_2‐0003800   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4112   JANSSENBIO‐PL_2‐0003801   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4113   JANSSENBIO‐PL_2‐0003802   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4114   JANSSENBIO‐PL_2‐0003803   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4115   JANSSENBIO‐PL_2‐0003804   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4116   JANSSENBIO‐PL_2‐0003805   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/13/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);                                                                                             Chris Matteson (cmattes1@its.jnj.com); Jennifer De
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee                                                                                                                            Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton                                                                                                   (jdigiaco@its.jnj.com); Kathleen Hamill ^                           Email chain with attachment(s) providing information to
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott                                                                                                                (khamill@cntus.jnj.com); Pamela Haines                              counsel for the purpose of receiving legal advice
4117   JANSSENBIO‐PL_2‐0003806   Withheld   eMail   Hamill, Kathleen   Attorney‐Client           (mike.scott@proherant.com)                                                                              Amit Patel (apatel18@its.jnj.com)             Christopher McNeal (cmcneal1@its.jnj.com)   (phaines8@its.jnj.com)                                 10/15/2010   regarding training for Proherant.




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines                                                                                             Amit Patel (apatel18@its.jnj.com); Cheryl Conlee
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson                                                                                                                 (cheryl.conlee@proherant.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);   Cathy Bellehumeur                                                                         (cmattes1@its.jnj.com); Diana Hampton
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee                                  (cathy.bellehumeur@accredohealth.com);                                                    (diana.hampton@accredohealth.com); Jennifer De
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton         Edward Culliton                                                                           Camara ^ (jdecamar@corus.jnj.com); Kathleen Hamill ^
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott                      (edward.culliton@proherant.com); Mike Scott                                               (khamill@cntus.jnj.com); Mary James
4118   JANSSENBIO‐PL_2‐0003807   Withheld   eMail   Hamill, Kathleen   Attorney‐Client           (mike.scott@proherant.com)                                                                              (mike.scott@proherant.com)                    Christopher McNeal (cmcneal1@its.jnj.com)   (mary.james@proherant.com)                             10/15/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4119   JANSSENBIO‐PL_2‐0003808   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/15/2010




                                                                                                 Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                 (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                 (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                 Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                 (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                 (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4120   JANSSENBIO‐PL_2‐0003809   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda   (mike.scott@proherant.com)                                                                                                                                                                                                                               10/15/2010




                                                                                                                                                                    190
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 192 of 201


                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4121   JANSSENBIO‐PL_2‐0003810   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010




                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4122   JANSSENBIO‐PL_2‐0003811   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010




                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4123   JANSSENBIO‐PL_2‐0003812   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010




                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4124   JANSSENBIO‐PL_2‐0003813   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010




                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4125   JANSSENBIO‐PL_2‐0003814   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010




                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4126   JANSSENBIO‐PL_2‐0003815   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010




                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4127   JANSSENBIO‐PL_2‐0003816   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010




                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4128   JANSSENBIO‐PL_2‐0003817   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010




                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4129   JANSSENBIO‐PL_2‐0003818   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010




                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4130   JANSSENBIO‐PL_2‐0003819   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010




                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4131   JANSSENBIO‐PL_2‐0003820   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010




                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Pamela Haines
                                                                                                                                           (phaines8@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Chris Matteson
                                                                                                                                           (cmattes1@its.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com); Amit Patel (apatel18@its.jnj.com);
                                                                                                                                           Cathy Bellehumeur (cathy.bellehumeur@accredohealth.com); Cheryl Conlee
                                                                                                                                           (cheryl.conlee@proherant.com); Diana Hampton (diana.hampton@accredohealth.com); Edward Culliton
                                                                                                                                           (edward.culliton@proherant.com); Mary James (mary.james@proherant.com); Mike Scott
4132   JANSSENBIO‐PL_2‐0003821   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             (mike.scott@proherant.com)                                                                                                                                                                                                                                     10/15/2010

                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Nicholas                                                                                                         Amit Patel (apatel18@its.jnj.com); Joseph DiGiacomo                Email chain with attachment(s) providing information to
                                                                                                                                           Ferrara (nferrara@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); Kathleen Hamill ^                    Chris Matteson (cmattes1@its.jnj.com); Jennifer                                               (jdigiaco@its.jnj.com); Nicholas Ferrara                           counsel for the purpose of receiving legal advice
                                                                                                                                           (khamill@cntus.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);   De Camara ^ (jdecamar@corus.jnj.com); Kathleen                                                (nferrara@its.jnj.com); Pamela Haines                              regarding preparation/review of internal training or
                                                                                                                                           Christopher McNeal (cmcneal1@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Amit Patel                   Hamill ^ (khamill@cntus.jnj.com); Patricia Lukens                                             (phaines8@its.jnj.com); Rob Miller                                 internal guidance concerning practice management or IOI
4133   JANSSENBIO‐PL_2‐0003822   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     (apatel18@its.jnj.com)                                                                                     ^ (plukens@its.jnj.com)                           Christopher McNeal (cmcneal1@its.jnj.com)   (rmille16@its.jnj.com)                                10/28/2010   support.

                                                                                                                                           Jennifer De Camara ^ (jdecamar@corus.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Nicholas
                                                                                                                                           Ferrara (nferrara@its.jnj.com); Pamela Haines (phaines8@its.jnj.com); Kathleen Hamill ^
                                                                                                                                           (khamill@cntus.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Chris Matteson (cmattes1@its.jnj.com);
                                                                                         Chris Matteson           Chris Matteson           Christopher McNeal (cmcneal1@its.jnj.com); Rob Miller (rmille16@its.jnj.com); Amit Patel
4134   JANSSENBIO‐PL_2‐0003823   Withheld   pptx    Hamill, Kathleen   Attorney‐Client   (cmattes1@its.jnj.com)   (cmattes1@its.jnj.com)   (apatel18@its.jnj.com)                                                                                                                                                                                                                                         10/28/2010

                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                       counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                       internal guidance concerning practice management or IOI
4135   JANSSENBIO‐PL_2‐0003824   Withheld   eMail   Hamill, Kathleen   Attorney‐Client                                                     Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com)                       Kathleen Hamill ^ (khamill@cntus.jnj.com)       Christopher McNeal (cmcneal1@its.jnj.com)                                                           10/26/2010   support.
                                                                                         Joseph DiGiacomo         Amit Patel
4136   JANSSENBIO‐PL_2‐0003825   Withheld   pptx    Hamill, Kathleen   Attorney‐Client   (jdigiaco@its.jnj.com)   (apatel18@its.jnj.com)   Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com)                                                                                                                                                                           10/26/2010

4137   JANSSENBIO‐PL_2‐0003826   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com)                                                                                                                                                                           10/26/2010

4138   JANSSENBIO‐PL_2‐0003827   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com)                                                                                                                                                                           10/26/2010

4139   JANSSENBIO‐PL_2‐0003828   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com)                                                                                                                                                                           10/26/2010

4140   JANSSENBIO‐PL_2‐0003829   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com)                                                                                                                                                                           10/26/2010

4141   JANSSENBIO‐PL_2‐0003830   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com)                                                                                                                                                                           10/26/2010

4142   JANSSENBIO‐PL_2‐0003831   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com)                                                                                                                                                                           10/26/2010

4143   JANSSENBIO‐PL_2‐0003832   Withheld   pdf     Hamill, Kathleen   Attorney‐Client   Cynda                                             Kathleen Hamill ^ (khamill@cntus.jnj.com); Christopher McNeal (cmcneal1@its.jnj.com)                                                                                                                                                                           10/26/2010




                                                                                                                                                                                                                191
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 193 of 201

                                                                                                                                                                                                  Jane Adams (jadams@corus.jnj.com); Brenda Aker (baker@its.jnj.com); Tyrone Akins
                                                                                                                                                                                                  (takins1@its.jnj.com); Penny Albright (palbrigh@its.jnj.com); Henry Alder (halder@its.jnj.com); Cynthia
                                                                                                                                                                                                  Allen (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                                                                  Toni Amendo (tamendo@indus.jnj.com); Dave Ames (dames@its.jnj.com); Connie Anderson
                                                                                                                                                                                                  (canders6@corus.jnj.com); Suzanne Anderson (SAnders7@HCSUS.JNJ.com); Jeffrey Antoon
                                                                                                                                                                                                  (jantoon@its.jnj.com); John Argiro (jargiro@dpyus.jnj.com); Axel Arnaud (aarnaud@its.jnj.com); Elizabeth
                                                                                                                                                                                                  Aumack (eaumack@its.jnj.com); Arlene Baltodano (abaltoda@alzus.jnj.com); David Banko
                                                                                                                                                                                                  (dbanko@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak (sbartcza@its.jnj.com);
                                                                                                                                                                                                  William Baxter (wbaxter@ompus.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Janet Beach
                                                                                                                                                                                                  (jbeach2@scius.jnj.com); Catherine Beath (cbeath@its.jnj.com); Jeanine Bekas (jbekas@lfsus.jnj.com);
                                                                                                                                                                                                  Laura Benedetto (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein
                                                                                                                                                                                                  (nbernste@its.jnj.com); Karen Beyers (kbeyers@its.jnj.com); Ashoke Bhattacharjya
                                                                                                                                                                                                  (abhatta@janus.jnj.com); Elizabeth Blackwood (eblackw2@lfsus.jnj.com); Don Bohn
                                                                                                                                                                                                  (dbohn@its.jnj.com); Helen Booth (hbooth8@its.jnj.com); Jennifer Boulanger (jboulang@corus.jnj.com);
                                                                                                                                                                                                  Andrew Brackbill (abrackbi@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley
                                                                                                                                                                                                  (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                  (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                                                  Mariellen Burke (mburke4@obius.jnj.com); Janice Bush (jbush1@its.jnj.com); Kathy Buto
                                                                                                                                                                                                  (kbuto@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Peter
                                                                                                                                                                                                  Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea Casper
                                                                                                                                                                                                  (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                                                                  (mcavana@cpcus.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Varsha Chandola
                                                                                                                                                                                                  (vchandol@obius.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Vanessa Chomiak
                                                                                                                                                                                                  (vchomiak@its.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                  (bchrist2@dpyus.jnj.com); Abbey Chung (achung@its.jnj.com); Kristen Cincotti (kcincott@its.jnj.com);
                                                                                                                                                                                                  Rod Clark (rclark9@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke                                                                                                                                                                                  Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                  (sclarke9@aspus.jnj.com); Wendy Clarke (wclarke@cntus.jnj.com); Richard Clompus                                                                                                                                                                                         regarding preparation/review of internal training or
                                                                                                                                                                                                  (rclompus@slgus.jnj.com; Steven Cohen (scohen4@its.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Nancy                                                                                                                                                                  internal guidance concerning practice management or IOI
4144   JANSSENBIO‐PL_2‐0003833                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     Comstock (ncomstoc@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio                      Helen Torelli ^ (htorell@its.jnj.com)               Christopher Guiton ^ (cguiton@its.jnj.com)                                                11/9/2007   support.
                                                                                                                                                                                                  Jane Adams (jadams@corus.jnj.com); Brenda Aker (baker@its.jnj.com); Tyrone Akins
                                                                                                                                                                                                  (takins1@its.jnj.com); Penny Albright (palbrigh@its.jnj.com); Henry Alder (halder@its.jnj.com); Cynthia
                                                                                                                                                                                                  Allen (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                                                                  Toni Amendo (tamendo@indus.jnj.com); Dave Ames (dames@its.jnj.com); Connie Anderson
                                                                                                                                                                                                  (canders6@corus.jnj.com); Suzanne Anderson (SAnders7@HCSUS.JNJ.com); Jeffrey Antoon
                                                                                                                                                                                                  (jantoon@its.jnj.com); John Argiro (jargiro@dpyus.jnj.com); Axel Arnaud (aarnaud@its.jnj.com); Elizabeth
                                                                                                                                                                                                  Aumack (eaumack@its.jnj.com); Arlene Baltodano (abaltoda@alzus.jnj.com); David Banko
                                                                                                                                                                                                  (dbanko@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak (sbartcza@its.jnj.com);
                                                                                                                                                                                                  William Baxter (wbaxter@ompus.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Janet Beach
                                                                                                                                                                                                  (jbeach2@scius.jnj.com); Catherine Beath (cbeath@its.jnj.com); Jeanine Bekas (jbekas@lfsus.jnj.com);
                                                                                                                                                                                                  Laura Benedetto (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein
                                                                                                                                                                                                  (nbernste@its.jnj.com); Karen Beyers (kbeyers@its.jnj.com); Ashoke Bhattacharjya
                                                                                                                                                                                                  (abhatta@janus.jnj.com); Elizabeth Blackwood (eblackw2@lfsus.jnj.com); Don Bohn
                                                                                                                                                                                                  (dbohn@its.jnj.com); Helen Booth (hbooth8@its.jnj.com); Jennifer Boulanger (jboulang@corus.jnj.com);
                                                                                                                                                                                                  Andrew Brackbill (abrackbi@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley
                                                                                                                                                                                                  (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                  (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                                                  Mariellen Burke (mburke4@obius.jnj.com); Janice Bush (jbush1@its.jnj.com); Kathy Buto
                                                                                                                                                                                                  (kbuto@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Peter
                                                                                                                                                                                                  Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea Casper
                                                                                                                                                                                                  (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                                                                  (mcavana@cpcus.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Varsha Chandola
                                                                                                                                                                                                  (vchandol@obius.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Vanessa Chomiak
                                                                                                                                                                                                  (vchomiak@its.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                  (bchrist2@dpyus.jnj.com); Abbey Chung (achung@its.jnj.com); Kristen Cincotti (kcincott@its.jnj.com);
                                                                                                                                                                                                  Rod Clark (rclark9@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                                                                                  (sclarke9@aspus.jnj.com); Wendy Clarke (wclarke@cntus.jnj.com); Richard Clompus
                                                                                                                                                                                                  (rclompus@slgus.jnj.com; Steven Cohen (scohen4@its.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Nancy
4145   JANSSENBIO‐PL_2‐0003834                                                       Withheld   doc     Guiton, Christopher   Attorney‐Client                                                     Comstock (ncomstoc@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio                                                                                                                                                                    11/9/2007
                                                                                                                                                                                                  Jane Adams (jadams@corus.jnj.com); Brenda Aker (baker@its.jnj.com); Tyrone Akins
                                                                                                                                                                                                  (takins1@its.jnj.com); Penny Albright (palbrigh@its.jnj.com); Henry Alder (halder@its.jnj.com); Cynthia
                                                                                                                                                                                                  Allen (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                                                                  Toni Amendo (tamendo@indus.jnj.com); Dave Ames (dames@its.jnj.com); Connie Anderson
                                                                                                                                                                                                  (canders6@corus.jnj.com); Suzanne Anderson (SAnders7@HCSUS.JNJ.com); Jeffrey Antoon
                                                                                                                                                                                                  (jantoon@its.jnj.com); John Argiro (jargiro@dpyus.jnj.com); Axel Arnaud (aarnaud@its.jnj.com); Elizabeth
                                                                                                                                                                                                  Aumack (eaumack@its.jnj.com); Arlene Baltodano (abaltoda@alzus.jnj.com); David Banko
                                                                                                                                                                                                  (dbanko@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak (sbartcza@its.jnj.com);
                                                                                                                                                                                                  William Baxter (wbaxter@ompus.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Janet Beach
                                                                                                                                                                                                  (jbeach2@scius.jnj.com); Catherine Beath (cbeath@its.jnj.com); Jeanine Bekas (jbekas@lfsus.jnj.com);
                                                                                                                                                                                                  Laura Benedetto (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein
                                                                                                                                                                                                  (nbernste@its.jnj.com); Karen Beyers (kbeyers@its.jnj.com); Ashoke Bhattacharjya
                                                                                                                                                                                                  (abhatta@janus.jnj.com); Elizabeth Blackwood (eblackw2@lfsus.jnj.com); Don Bohn
                                                                                                                                                                                                  (dbohn@its.jnj.com); Helen Booth (hbooth8@its.jnj.com); Jennifer Boulanger (jboulang@corus.jnj.com);
                                                                                                                                                                                                  Andrew Brackbill (abrackbi@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley
                                                                                                                                                                                                  (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                  (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                                                  Mariellen Burke (mburke4@obius.jnj.com); Janice Bush (jbush1@its.jnj.com); Kathy Buto
                                                                                                                                                                                                  (kbuto@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Peter
                                                                                                                                                                                                  Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea Casper
                                                                                                                                                                                                  (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                                                                  (mcavana@cpcus.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Varsha Chandola
                                                                                                                                                                                                  (vchandol@obius.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Vanessa Chomiak
                                                                                                                                                                                                  (vchomiak@its.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                  (bchrist2@dpyus.jnj.com); Abbey Chung (achung@its.jnj.com); Kristen Cincotti (kcincott@its.jnj.com);
                                                                                                                                                                                                  Rod Clark (rclark9@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                                                                                  (sclarke9@aspus.jnj.com); Wendy Clarke (wclarke@cntus.jnj.com); Richard Clompus
                                                                                                                                                                                                  (rclompus@slgus.jnj.com; Steven Cohen (scohen4@its.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Nancy
4146   JANSSENBIO‐PL_2‐0003835                                                       Withheld   pdf     Guiton, Christopher   Attorney‐Client                                                     Comstock (ncomstoc@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio                                                                                                                                                                    11/9/2007
                                                                                                                                                                                                  Jane Adams (jadams@corus.jnj.com); Brenda Aker (baker@its.jnj.com); Tyrone Akins
                                                                                                                                                                                                  (takins1@its.jnj.com); Penny Albright (palbrigh@its.jnj.com); Henry Alder (halder@its.jnj.com); Cynthia
                                                                                                                                                                                                  Allen (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                                                                  Toni Amendo (tamendo@indus.jnj.com); Dave Ames (dames@its.jnj.com); Connie Anderson
                                                                                                                                                                                                  (canders6@corus.jnj.com); Suzanne Anderson (SAnders7@HCSUS.JNJ.com); Jeffrey Antoon
                                                                                                                                                                                                  (jantoon@its.jnj.com); John Argiro (jargiro@dpyus.jnj.com); Axel Arnaud (aarnaud@its.jnj.com); Elizabeth
                                                                                                                                                                                                  Aumack (eaumack@its.jnj.com); Arlene Baltodano (abaltoda@alzus.jnj.com); David Banko
                                                                                                                                                                                                  (dbanko@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak (sbartcza@its.jnj.com);
                                                                                                                                                                                                  William Baxter (wbaxter@ompus.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Janet Beach
                                                                                                                                                                                                  (jbeach2@scius.jnj.com); Catherine Beath (cbeath@its.jnj.com); Jeanine Bekas (jbekas@lfsus.jnj.com);
                                                                                                                                                                                                  Laura Benedetto (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein
                                                                                                                                                                                                  (nbernste@its.jnj.com); Karen Beyers (kbeyers@its.jnj.com); Ashoke Bhattacharjya
                                                                                                                                                                                                  (abhatta@janus.jnj.com); Elizabeth Blackwood (eblackw2@lfsus.jnj.com); Don Bohn
                                                                                                                                                                                                  (dbohn@its.jnj.com); Helen Booth (hbooth8@its.jnj.com); Jennifer Boulanger (jboulang@corus.jnj.com);
                                                                                                                                                                                                  Andrew Brackbill (abrackbi@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley
                                                                                                                                                                                                  (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                  (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                                                  Mariellen Burke (mburke4@obius.jnj.com); Janice Bush (jbush1@its.jnj.com); Kathy Buto
                                                                                                                                                                                                  (kbuto@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Peter
                                                                                                                                                                                                  Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea Casper
                                                                                                                                                                                                  (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                                                                  (mcavana@cpcus.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Varsha Chandola
                                                                                                                                                                                                  (vchandol@obius.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Vanessa Chomiak
                                                                                                                                                                                                  (vchomiak@its.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                  (bchrist2@dpyus.jnj.com); Abbey Chung (achung@its.jnj.com); Kristen Cincotti (kcincott@its.jnj.com);
                                                                                                                                                                                                  Rod Clark (rclark9@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                                                                                  (sclarke9@aspus.jnj.com); Wendy Clarke (wclarke@cntus.jnj.com); Richard Clompus
                                                                                                                                                                                                  (rclompus@slgus.jnj.com; Steven Cohen (scohen4@its.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Nancy
4147   JANSSENBIO‐PL_2‐0003836                                                       Withheld   doc     Guiton, Christopher   Attorney‐Client                                                     Comstock (ncomstoc@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio                                                                                                                                                                    11/9/2007
                                                                                                                                                                                                  Jane Adams (jadams@corus.jnj.com); Brenda Aker (baker@its.jnj.com); Tyrone Akins
                                                                                                                                                                                                  (takins1@its.jnj.com); Penny Albright (palbrigh@its.jnj.com); Henry Alder (halder@its.jnj.com); Cynthia
                                                                                                                                                                                                  Allen (callen6@its.jnj.com); Barbara Allibone (ballibon@its.jnj.com); Leslie Altman (laltman1@its.jnj.com);
                                                                                                                                                                                                  Toni Amendo (tamendo@indus.jnj.com); Dave Ames (dames@its.jnj.com); Connie Anderson
                                                                                                                                                                                                  (canders6@corus.jnj.com); Suzanne Anderson (SAnders7@HCSUS.JNJ.com); Jeffrey Antoon
                                                                                                                                                                                                  (jantoon@its.jnj.com); John Argiro (jargiro@dpyus.jnj.com); Axel Arnaud (aarnaud@its.jnj.com); Elizabeth
                                                                                                                                                                                                  Aumack (eaumack@its.jnj.com); Arlene Baltodano (abaltoda@alzus.jnj.com); David Banko
                                                                                                                                                                                                  (dbanko@its.jnj.com); Donna Barnickel (dbarnick@its.jnj.com); Sergio Bartczak (sbartcza@its.jnj.com);
                                                                                                                                                                                                  William Baxter (wbaxter@ompus.jnj.com); Minnie Baylor‐Henry ^ (mbaylor1@its.jnj.com); Janet Beach
                                                                                                                                                                                                  (jbeach2@scius.jnj.com); Catherine Beath (cbeath@its.jnj.com); Jeanine Bekas (jbekas@lfsus.jnj.com);
                                                                                                                                                                                                  Laura Benedetto (lbenede@its.jnj.com); Edward Benson (ebenson5@its.jnj.com); Nancy Bernstein
                                                                                                                                                                                                  (nbernste@its.jnj.com); Karen Beyers (kbeyers@its.jnj.com); Ashoke Bhattacharjya
                                                                                                                                                                                                  (abhatta@janus.jnj.com); Elizabeth Blackwood (eblackw2@lfsus.jnj.com); Don Bohn
                                                                                                                                                                                                  (dbohn@its.jnj.com); Helen Booth (hbooth8@its.jnj.com); Jennifer Boulanger (jboulang@corus.jnj.com);
                                                                                                                                                                                                  Andrew Brackbill (abrackbi@its.jnj.com); Mary Bradley (mbradle5@its.jnj.com); Mary Bradley
                                                                                                                                                                                                  (mbradle5@its.jnj.com); Anthony Brennan (abrenna3@its.jnj.com); Dirk Brinckman ^
                                                                                                                                                                                                  (dbrinckm@its.jnj.com); Scott Bruder (sbruder@dpyus.jnj.com); Barbara Buerkle (bbuerkl2@its.jnj.com);
                                                                                                                                                                                                  Mariellen Burke (mburke4@obius.jnj.com); Janice Bush (jbush1@its.jnj.com); Kathy Buto
                                                                                                                                                                                                  (kbuto@its.jnj.com); Jeffrey Cacciatore (jcacciat@its.jnj.com); Laura Cakolli (lcakoll@its.jnj.com); Peter
                                                                                                                                                                                                  Callegari (pcallega@its.jnj.com); Anthony Carter (acarter2@its.jnj.com); Andrea Casper
                                                                                                                                                                                                  (acasper1@its.jnj.com); Rick Cassino (rcassino@janus.jnj.com); Mike Cavanaugh
                                                                                                                                                                                                  (mcavana@cpcus.jnj.com); Mary Chambers (mchambe4@cntus.jnj.com); Varsha Chandola
                                                                                                                                                                                                  (vchandol@obius.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Vanessa Chomiak
                                                                                                                                                                                                  (vchomiak@its.jnj.com); Patricia Christian (pchrist5@its.jnj.com); Bill Christianson
                                                                                                                                                                                                  (bchrist2@dpyus.jnj.com); Abbey Chung (achung@its.jnj.com); Kristen Cincotti (kcincott@its.jnj.com);
                                                                                                                                                                                                  Rod Clark (rclark9@its.jnj.com); Dorothy Clarke ^ (dclarke3@its.jnj.com); Susan Clarke
                                                                                                                                                                                                  (sclarke9@aspus.jnj.com); Wendy Clarke (wclarke@cntus.jnj.com); Richard Clompus
                                                                                                                                                                                                  (rclompus@slgus.jnj.com; Steven Cohen (scohen4@its.jnj.com); Jerry Colfer (jcolfer@its.jnj.com); Nancy
4148   JANSSENBIO‐PL_2‐0003837                                                       Withheld   pdf     Guiton, Christopher   Attorney‐Client                                                     Comstock (ncomstoc@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Linda Conticchio                                                                                                                                                                    11/9/2007

                                                                                                                                                                                                  Don Bohn (dbohn@its.jnj.com); Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^                                                                                                                                                                                Presentation reflecting legal advice from Legal
                                                                                                                                                                                                  (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Freddy Jimenez ^                                                                                                                                                                                     Department regarding preparation/review of internal
                                                                                                                                                Christopher Zalesky      Bruce Colligen           (fjimene3@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Sue Seferian ^                                                                                                                                                                                      training or internal guidance concerning practice
4149   JANSSENBIO‐PL_2‐0003838   JANSSENBIO‐064‐00001347   JANSSENBIO‐064‐00001347   Withheld   ppt     Guiton, Christopher   Attorney‐Client   (czalesky@its.jnj.com)   (bcollig@its.jnj.com)    (sseferia@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                          1/29/2008   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email chain with attachment(s) providing legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                  Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^          Bruce Colligen (bcollig@its.jnj.com); Christopher                                                                                                         internal guidance concerning practice management or IOI
4150   JANSSENBIO‐PL_2‐0003839                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                           Zalesky (czalesky@its.jnj.com)                      Christopher Guiton ^ (cguiton@its.jnj.com)   Michael McCulley ^ (mmccull@corus.jnj.com)   1/23/2009   support.

                                                                                                                                                Christopher Guiton ^     Susan Steele             Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
4151   JANSSENBIO‐PL_2‐0003840                                                       Withheld   doc     Guiton, Christopher   Attorney‐Client   (cguiton@its.jnj.com)    (ssteele@its.jnj.com)    (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                         1/23/2009

                                                                                                                                                                                                  Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
4152   JANSSENBIO‐PL_2‐0003841                                                       Withheld   wmz     Guiton, Christopher   Attorney‐Client                                                     (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                         1/23/2009

                                                                                                                                                                         Deidre Meehan ^          Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
4153   JANSSENBIO‐PL_2‐0003842                                                       Withheld   ppt     Guiton, Christopher   Attorney‐Client                            (dmeehan5@its.jnj.com)   (mmccull@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                         1/23/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Email with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                Bruce Colligen (bcollig@its.jnj.com); Christopher                                                                                                         counsel for the purpose of receiving legal advice
                                                                                                                                                                                                  Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^          Guiton ^ (cguiton@its.jnj.com); Christopher                                                                                                               regarding preparation/review of internal training or
                                                                                                                                                                                                  (mmccull@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com);          Zalesky (czalesky@its.jnj.com); Sue Seferian ^                                                                                                            internal guidance concerning practice management or IOI
4154   JANSSENBIO‐PL_2‐0003843                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     Dimple Sodha (dsodha@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                               (sseferia@its.jnj.com)                              Dimple Sodha (dsodha@corus.jnj.com)          Michael McCulley ^ (mmccull@corus.jnj.com)   6/13/2008   support.



                                                                                                                                                                                                  Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                  (mmccull@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com);
4155   JANSSENBIO‐PL_2‐0003844                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     Dimple Sodha (dsodha@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                               Dimple Sodha (dsodha@corus.jnj.com)                 Bruce Colligen (bcollig@its.jnj.com)                                                      6/13/2008




                                                                                                                                                                                                                                                                         192
                                 Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 194 of 201


                                                                                                                                              Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
                                                                                            Martha Hull              Martha Hull              (mmccull@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com);
4156   JANSSENBIO‐PL_2‐0003845   Withheld   doc     Guiton, Christopher   Attorney‐Client   (mhull@ompus.jnj.com)    (mhull@ompus.jnj.com)    Dimple Sodha (dsodha@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                   6/13/2008



                                                                                                                                              Bruce Colligen (bcollig@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Sue Seferian ^ (sseferia@its.jnj.com); Dimple Sodha (dsodha@corus.jnj.com);
4157   JANSSENBIO‐PL_2‐0003846   Withheld   pdf     Guiton, Christopher   Attorney‐Client                                                     Dimple Sodha (dsodha@corus.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                   6/13/2008




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                              (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                              (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                              (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                              (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^                                                                                                                       Email chain with attachment(s) providing legal advice
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^                                                                                                                         regarding preparation/review of internal training or
                                                                                                                                              (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);                                                                                                      internal guidance concerning practice management or IOI
4158   JANSSENBIO‐PL_2‐0003847   Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                     Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                Deidre Meehan ^ (dmeehan5@its.jnj.com)   Christopher Guiton ^ (cguiton@its.jnj.com)   11/25/2009   support.




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                              (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                              (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                              (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                              (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                     Patricia Villani ^       (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
4159   JANSSENBIO‐PL_2‐0003848   Withheld   docx    Guiton, Christopher   Attorney‐Client   Johnson & Johnson        (pvillan1@its.jnj.com)   Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                      11/25/2009




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                              (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                              (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                              (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                              (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                            Sue Seferian ^           Christopher Guiton ^     (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
4160   JANSSENBIO‐PL_2‐0003849   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (cguiton@its.jnj.com)    Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                      11/25/2009




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                              (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                              (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                              (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                              (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                            Sue Seferian ^           Terry Kerekgyarto        (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
4161   JANSSENBIO‐PL_2‐0003850   Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tkerekgy@its.jnj.com)   Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                      11/25/2009




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                              (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                              (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                              (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                              (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                              (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
4162   JANSSENBIO‐PL_2‐0003851   Withheld   doc     Guiton, Christopher   Attorney‐Client                                                     Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                      11/25/2009




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                              (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                              (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                              (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                              (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                              (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
4163   JANSSENBIO‐PL_2‐0003852   Withheld   doc     Guiton, Christopher   Attorney‐Client                                                     Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                      11/25/2009




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                              (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                              (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                              (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                              (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                            Sue Seferian ^           Thomas Conniff ^         (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
4164   JANSSENBIO‐PL_2‐0003853   Withheld   docx    Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tconniff@its.jnj.com)   Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                      11/25/2009




                                                                                                                                              Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                              (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                              (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                              (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                              (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                              (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                              (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                              (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                              (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                              (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                              (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                              Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                              (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                            Sue Seferian ^           Thomas Conniff ^         (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
4165   JANSSENBIO‐PL_2‐0003854   Withheld   docx    Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)   (tconniff@its.jnj.com)   Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                      11/25/2009




                                                                                                                                                                                                                     193
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 195 of 201


                                                                                                                                                                                                        Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                        (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                        (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                        (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                        (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                        (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                        (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                                                                        (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                                                                        Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                        (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                                                                        (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
4166   JANSSENBIO‐PL_2‐0003855                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client                                                           Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                            11/25/2009




                                                                                                                                                                                                        Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                        (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                        (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                        (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                        (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                        (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                        (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                                                                        (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                                                                        Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                        (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                                                                        (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
4167   JANSSENBIO‐PL_2‐0003856                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client                                                           Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                            11/25/2009




                                                                                                                                                                                                        Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                        (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                        (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                        (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                        (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                        (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                        (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                                                                        (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                                                                        Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                        (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                Stephanie Gilson ^          Stephanie Gilson ^          (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
4168   JANSSENBIO‐PL_2‐0003857                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (sgilson@its.jnj.com)       (sgilson@its.jnj.com)       Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                            11/25/2009




                                                                                                                                                                                                        Dirk Brinckman ^ (dbrinckm@its.jnj.com); Michael Chester ^ (mcheste1@its.jnj.com); Joan Cohen ^
                                                                                                                                                                                                        (jcohen7@its.jnj.com); Jennifer De Camara ^ (jdecamar@corus.jnj.com); Elizabeth Forminard ^
                                                                                                                                                                                                        (eformina@its.jnj.com); Shane Freedman ^ (sfreedman@its.jnj.com); Stephanie Gilson ^
                                                                                                                                                                                                        (sgilson@its.jnj.com); Jessica Gottlieb ^ (jgottlie@its.jnj.com); Christopher Guiton ^
                                                                                                                                                                                                        (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                        (khamill@cntus.jnj.com); Debra Hueting ^ (dhuetin1@prdgb.jnj.com); Lisa Jenkins ^
                                                                                                                                                                                                        (ljenkins@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Maria Kennedy ^
                                                                                                                                                                                                        (mkenned3@its.jnj.com); Patricia Lukens ^ (plukens@its.jnj.com); Michael McCulley ^
                                                                                                                                                                                                        (mmccull@corus.jnj.com); Deidre Meehan ^ (dmeehan5@its.jnj.com); Kenneth Olsen ^
                                                                                                                                                                                                        (kolsen@its.jnj.com); Clayton Paterson ^ (cpaters@its.jnj.com); Desiree Ralls‐Morrison ^
                                                                                                                                                                                                        (drallsmo@its.jnj.com); Elizabeth Scott ^ (egiulian@its.jnj.com); Mark Sievers ^ (msievers@its.jnj.com);
                                                                                                                                                                                                        Rosa Son ^ (rson@its.jnj.com); Marlene Tandy ^ (mtandy@its.jnj.com); Joyce ter Heerdt ^
                                                                                                                                                                                                        (jtheerdt@jppbe.jnj.com); Kristi Travers ^ (ktravers@its.jnj.com); David Van Passel ^
                                                                                                                                                Stephanie Gilson ^          Stephanie Gilson ^          (dvpasse@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Patricia Villani ^ (pvillan1@its.jnj.com);
4169   JANSSENBIO‐PL_2‐0003858                                                       Withheld   docx    Guiton, Christopher   Attorney‐Client   (sgilson@its.jnj.com)       (sgilson@its.jnj.com)       Yuung Yap ^ (yyap1@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com)                                                                                                                                                                                            11/25/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Email with attachment(s) reflecting legal advice regarding
                                                                                                                                                                                                        Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Terry                                                                                                                                                                                       preparation/review of internal training or internal
                                                                                                                                                                                                        Kerekgyarto (tkerekgy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^                                                                                                                                                                                     guidance concerning practice management or IOI
4170   JANSSENBIO‐PL_2‐0003859                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                           (dmeehan5@its.jnj.com)                                                                                      Terry Kerekgyarto (tkerekgy@its.jnj.com)         Christopher Guiton ^ (cguiton@its.jnj.com)                                                                  3/8/2010   support.

                                                                                                                                                                                                        Christopher Guiton ^ (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Terry
                                                                                                                                                Sue Seferian ^              Deidre Meehan ^             Kerekgyarto (tkerekgy@its.jnj.com); Michael McCulley ^ (mmccull@corus.jnj.com); Deidre Meehan ^
4171   JANSSENBIO‐PL_2‐0003860                                                       Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)      (dmeehan5@its.jnj.com)      (dmeehan5@its.jnj.com)                                                                                                                                                                                                                                                   3/8/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Email with attachment(s) providing legal advice regarding
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            preparation/review of draft internal training or internal
                                                                                                                                                                                                        Diane Deloria (ddeloria@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michele Scott             Diane Deloria (ddeloria@its.jnj.com); Michele                                                                                                                           guidance concerning practice management or IOI
4172   JANSSENBIO‐PL_2‐0003861                                                       Withheld   eMail   Guiton, Christopher   Attorney‐Client                                                           (mscott12@its.jnj.com)                                                                                      Scott (mscott12@its.jnj.com)                     Christopher Guiton ^ (cguiton@its.jnj.com)                                                                 4/14/2010   support.
                                                                                                                                                Sue Seferian ^              Mark Sievers ^              Diane Deloria (ddeloria@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Michele Scott
4173   JANSSENBIO‐PL_2‐0003862                                                       Withheld   doc     Guiton, Christopher   Attorney‐Client   (sseferia@its.jnj.com)      (msievers@its.jnj.com)      (mscott12@its.jnj.com)                                                                                                                                                                                                                                                  4/14/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Email chain providing information to counsel for the
                                                                                                                                                                                                        Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^                                                                                                                                                                                        purpose of receiving legal advice from Legal Department
                                                                                                                                                                                                        (fjimene3@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); William Pettit (wpettitj@cntus.jnj.com);                                                                                                                                                                           regarding preparation/review of internal training or
                                                                                                                                                                                                        Scott Pyott (jpyott@cntus.jnj.com); Robert Stine (rstine3@its.jnj.com); Karen Trahan                        Karen Trahan (ktrahan@its.jnj.com); William                                                                                                                             internal guidance concerning practice management or IOI
4174   JANSSENBIO‐PL_2‐0003863                                                       Withheld   eMail   Cohen, Cheryl         Attorney‐Client                                                           (ktrahan@its.jnj.com)                                                                                       Pettit (wpettitj@cntus.jnj.com)                  Cheryl Cohen (ccohen3@cntus.jnj.com)                                                                       1/31/2005   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                        Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); William Pettit                                                                                                                                                                                       from Legal Department regarding issues relating to
                                                                                                                                                                                                        (wpettitj@cntus.jnj.com); Scott Pyott (jpyott@cntus.jnj.com); Robert Stine (rstine3@its.jnj.com); Karen     Cheryl Cohen (ccohen3@cntus.jnj.com); Karen                                                                                                                             interactions or communications between ABSs and
4175   JANSSENBIO‐PL_2‐0003864                                                       Withheld   eMail   Cohen, Cheryl         Attorney‐Client                                                           Trahan (ktrahan@its.jnj.com)                                                                                Trahan (ktrahan@its.jnj.com)                     William Pettit (wpettitj@cntus.jnj.com)                                                                    1/31/2005   physician offices.

                                                                                                                                                                                                        Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); William Pettit
                                                                                                                                                John Hart                   William Pettit              (wpettitj@cntus.jnj.com); Scott Pyott (jpyott@cntus.jnj.com); Robert Stine (rstine3@its.jnj.com); Karen
4176   JANSSENBIO‐PL_2‐0003865                                                       Withheld   xls     Cohen, Cheryl         Attorney‐Client   (jhart4@its.jnj.com)        (wpettitj@cntus.jnj.com)    Trahan (ktrahan@its.jnj.com)                                                                                                                                                                                                                                            1/31/2005

                                                                                                                                                                                                        Cheryl Cohen (ccohen3@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); William Pettit
                                                                                                                                                                                                        (wpettitj@cntus.jnj.com); Scott Pyott (jpyott@cntus.jnj.com); Robert Stine (rstine3@its.jnj.com); Karen
4177   JANSSENBIO‐PL_2‐0003866                                                       Withheld   pdf     Cohen, Cheryl         Attorney‐Client                                                           Trahan (ktrahan@its.jnj.com)                                                                                                                                                                                                                                            1/31/2005
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Email chain reflecting legal advice from Outside Counsel
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            regarding preparation/review of internal training or
                                                                                                                                                                                                        Christopher Zalesky (czalesky@its.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); David Lyon                                                                                                                                                                                        internal guidance concerning practice management or IOI
4178   JANSSENBIO‐PL_2‐0003867                                                       Withheld   eMail   Cohen, Cheryl         Attorney‐Client                                                           (dlyon@cntus.jnj.com); David Lyon (dlyon@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)        Cheryl Cohen (ccohen3@cntus.jnj.com)             David Lyon (dlyon@cntus.jnj.com)                                                                           9/22/2003   support.

                                                                                                                                                Tamara Scoville ^           Tamara Scoville ^           Christopher Zalesky (czalesky@its.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); David Lyon
4179   JANSSENBIO‐PL_2‐0003868                                                       Withheld   DOC     Cohen, Cheryl         Attorney‐Client   (tscoville@reedsmith.com)   (tscoville@reedsmith.com)   (dlyon@cntus.jnj.com); David Lyon (dlyon@cntus.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                    9/22/2003

                                                                                                                                                                                                        Janice Babia (jbabia@cntus.jnj.com); Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen
                                                                                                                                                                                                        (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin (gfadin@cntus.jnj.com);                                                                                                                                                                                   Email chain with attachment(s) providing information to
                                                                                                                                                                                                        Lisa Fritz (lfritz@cntus.jnj.com); Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^                       Freddy Jimenez ^ (fjimene3@its.jnj.com); Julie                                                Gina Fadin (gfadin@cntus.jnj.com); Janice Babia                           counsel for the purpose of receiving legal advice
                                                                                                                                                                                                        (fjimene3@its.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); Julie McHugh                              McHugh (jmchugh2@tibus.jnj.com); Scott Habig                                                  (jbabia@cntus.jnj.com); Lisa Fritz (lfritz@cntus.jnj.com);                regarding preparation/review of customer‐facing practice
4180   JANSSENBIO‐PL_2‐0003869                                                       Withheld   eMail   Cohen, Cheryl         Attorney‐Client                                                           (jmchugh2@tibus.jnj.com)                                                                                    (shabig@its.jnj.com)                             Cheryl Cohen (ccohen3@cntus.jnj.com)         Randy McGonigal (rmcgonig@cntus.jnj.com)                      4/10/2006   management or IOI support material.

                                                                                                                                                                                                        Janice Babia (jbabia@cntus.jnj.com); Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen
                                                                                                                                                                                                        (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin (gfadin@cntus.jnj.com);
                                                                                                                                                                                                        Lisa Fritz (lfritz@cntus.jnj.com); Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                Erin Parsons                                            (fjimene3@its.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); Julie McHugh
4181   JANSSENBIO‐PL_2‐0003870                                                       Withheld   pdf     Cohen, Cheryl         Attorney‐Client   (eparson5@its.jnj.com)                                  (jmchugh2@tibus.jnj.com)                                                                                                                                                                                                                                                4/10/2006

                                                                                                                                                                                                        Janice Babia (jbabia@cntus.jnj.com); Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen
                                                                                                                                                                                                        (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin (gfadin@cntus.jnj.com);
                                                                                                                                                                                                        Lisa Fritz (lfritz@cntus.jnj.com); Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^
                                                                                                                                                                                                        (fjimene3@its.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); Julie McHugh
4182   JANSSENBIO‐PL_2‐0003871                                                       Withheld   eMail   Cohen, Cheryl         Attorney‐Client                                                           (jmchugh2@tibus.jnj.com)                                                                                                                                                                                                                                                4/10/2006

                                                                                                                                                                                                        Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen                                                                                                                                                                                             Email communication reflecting legal advice from Freddy
                                                                                                                                                                                                        (ccohen3@cntus.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); Monte Washington                                                                                                                                                                                                 Jimenez ^ regarding preparation of practice management
4183                             JANSSENBIO‐064‐00000179   JANSSENBIO‐064‐00000179   Redacted   eMail   Cohen, Cheryl         Attorney‐Client                                                           (mwashin2@cntus.jnj.com)                                                                                    Monte Washington (mwashin2@cntus.jnj.com)        Cheryl Cohen (ccohen3@cntus.jnj.com)                                                                       4/10/2006   programs.

                                                                                                                                                                                                        Janice Babia (jbabia@cntus.jnj.com); Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen
                                                                                                                                                                                                        (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin (gfadin@cntus.jnj.com);
                                                                                                                                                                                                        Lisa Fritz (lfritz@cntus.jnj.com); Scott Habig (shabig@its.jnj.com); Freddy Jimenez ^                                                                                                                                                                                               Email chain reflecting request for legal advice from Legal
                                                                                                                                                                                                        (fjimene3@its.jnj.com); Randy McGonigal (rmcgonig@cntus.jnj.com); Julie McHugh                                                                                                                                                                                                      Department regarding preparation/review of customer‐
4184   JANSSENBIO‐PL_2‐0003872                                                       Withheld   eMail   Cohen, Cheryl         Attorney‐Client                                                           (jmchugh2@tibus.jnj.com)                                                                                    Scott Habig (shabig@its.jnj.com)                 Cheryl Cohen (ccohen3@cntus.jnj.com)                                                                        5/9/2006   facing practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Email communication reflecting legal advice from the Law
                                                                                                                                                                                                        Cheryl Cohen (ccohen3@cntus.jnj.com); Alain Martel (amartel3@cntus.jnj.com); Thomas Occhipinti              Alain Martel (amartel3@cntus.jnj.com); Cheryl                                                                                                                           Department ^ regarding preparation of customer‐facing
4185                             JANSSENBIO‐064‐00000183   JANSSENBIO‐064‐00000183   Redacted   eMail   Cohen, Cheryl         Attorney‐Client                                                           (tocchipi@its.jnj.com)                                                                                      Cohen (ccohen3@cntus.jnj.com)                    Thomas Occhipinti (tocchipi@its.jnj.com)                                                                    8/9/2007   practice management or IOI support material.

                                                                                                                                                                                                        Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Greg Fenner                                                                                                                   Greg Fenner (gfenner@cntus.jnj.com); Karen Smith                          Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                        (gfenner@cntus.jnj.com); Suzanne McMonigle (smcmoni2@cntus.jnj.com); William Pettit                                                                                                                       (ksmith2@cntus.jnj.com); Suzanne McMonigle                                from Freddy Jimenez ^ regarding preparation of
                                                                                                                                                                                                        (wpettitj@cntus.jnj.com); Karen Smith (ksmith2@cntus.jnj.com); Jim Witt (jwitt2@its.jnj.com); Jim Witt                                                                                                    (smcmoni2@cntus.jnj.com); William Pettit                                  customer‐facing practice management or IOI support
4186                             JANSSENBIO‐064‐00000189   JANSSENBIO‐064‐00000190   Redacted   eMail   Cohen, Cheryl         Attorney‐Client                                                           (jwitt2@its.jnj.com)                                                                                        Cheryl Cohen (ccohen3@cntus.jnj.com)             Jim Witt (jwitt2@its.jnj.com)                (wpettitj@cntus.jnj.com)                                      5/26/2004   material.

                                                                                                                                                                                                        Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin                                                                                                                                                                                              Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                        (gfadin@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray                                                                                                                                                                                                        legal advice from In‐house Counsel and Outside Counsel
                                                                                                                                                                                                        (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                        (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky                                                                                                                                                                                                   internal guidance concerning practice management or IOI
4187   JANSSENBIO‐PL_2‐0003873                                                       Withheld   eMail   Cohen, Cheryl         Attorney‐Client                                                           (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                         Gina Fadin (gfadin@cntus.jnj.com)                Cheryl Cohen (ccohen3@cntus.jnj.com)                                                                       7/25/2003   support.

                                                                                                                                                                                                        Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin
                                                                                                                                                                                                        (gfadin@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                                                                                                                                                        (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                Christopher Zalesky         Christopher Zalesky         (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
4188   JANSSENBIO‐PL_2‐0003874                                                       Withheld   doc     Cohen, Cheryl         Attorney‐Client   (czalesky@its.jnj.com)      (czalesky@its.jnj.com)      (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                     7/25/2003

                                                                                                                                                                                                        Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin
                                                                                                                                                                                                        (gfadin@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                                                                                                                                                        (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                            Christopher Zalesky         (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
4189   JANSSENBIO‐PL_2‐0003875                                                       Withheld   ppt     Cohen, Cheryl         Attorney‐Client   Centocor, Inc.              (czalesky@its.jnj.com)      (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                     7/25/2003




                                                                                                                                                                                                                                                                               194
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 196 of 201


                                                                                                                                                                                                         Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin
                                                                                                                                                                                                         (gfadin@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                                                                                                                                                         (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                                                         (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
4190   JANSSENBIO‐PL_2‐0003876                                                       Withheld           Cohen, Cheryl               Attorney‐Client                                                      (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                           7/25/2003

                                                                                                                                                                                                         Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin
                                                                                                                                                                                                         (gfadin@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                                                                                                                                                         (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                       Christopher Zalesky      Christopher Zalesky      (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
4191   JANSSENBIO‐PL_2‐0003877                                                       Withheld           Cohen, Cheryl               Attorney‐Client    (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                           7/25/2003

                                                                                                                                                                                                         Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin
                                                                                                                                                                                                         (gfadin@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                                                                                                                                                         (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                       Christopher Zalesky      Christopher Zalesky      (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
4192   JANSSENBIO‐PL_2‐0003878                                                       Withheld           Cohen, Cheryl               Attorney‐Client    (czalesky@its.jnj.com)   (czalesky@its.jnj.com)   (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                           7/25/2003

                                                                                                                                                                                                         Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin
                                                                                                                                                                                                         (gfadin@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                                                                                                                                                         (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                       Bruce Kuhlik ^           Freddy Jimenez ^         (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
4193   JANSSENBIO‐PL_2‐0003879                                                       Withheld   doc     Cohen, Cheryl               Attorney‐Client    (bkuhlik@cov.com)        (fjimene3@its.jnj.com)   (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                           7/25/2003

                                                                                                                                                                                                         Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin
                                                                                                                                                                                                         (gfadin@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                                                                                                                                                         (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                       Bruce Kuhlik ^           Freddy Jimenez ^         (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
4194   JANSSENBIO‐PL_2‐0003880                                                       Withheld   doc     Cohen, Cheryl               Attorney‐Client    (bkuhlik@cov.com)        (fjimene3@its.jnj.com)   (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                           7/25/2003

                                                                                                                                                                                                         Cheryl Cohen (ccohen3@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Gina Fadin
                                                                                                                                                                                                         (gfadin@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); John Murray
                                                                                                                                                                                                         (jmurray6@cntus.jnj.com); Maripat Rhood (mrhood@cntus.jnj.com); Michael Schoeck
                                                                                                                                                                                Christopher Zalesky      (mschoeck@its.jnj.com); Carol Smith (csmith35@cntus.jnj.com); Christopher Zalesky
4195   JANSSENBIO‐PL_2‐0003881                                                       Withheld   doc     Cohen, Cheryl               Attorney‐Client    Johnson & Johnson        (czalesky@its.jnj.com)   (czalesky@its.jnj.com); Tamara Scoville ^ (tscoville@reedsmith.com)                                                                                                                                                                                                                                           7/25/2003

                                                                                                                                                                                                         Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); ken Haney
                                                                                                                                                                                                         (jhaney2@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);                                                                                                                                                                                                                        Email chain reflecting request for legal advice from Legal
                                                                                                                                                                                                         Brian Smith (bsmith32@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Angela Wood                                                                                                                                                                                                                                  Department regarding preparation/review of customer‐
4196   JANSSENBIO‐PL_2‐0003882                                                       Withheld   eMail   Roberts, Kathryn            Attorney‐Client                                                      (awood6@its.jnj.com)                                                                                                                                     Kathryn Roberts (krober10@its.jnj.com)           Angela Wood (awood6@its.jnj.com)                                                                     1/8/2013   facing practice management or IOI support material.

                                                                                                                                                                                                         Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Brigid Duddy
                                                                                                                                                                                                         (bduddy@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn Roberts                                                                                                                                                                                                                                         Email chain requesting legal advice from Legal
                                                                                                                                                                                                         (krober10@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com);                                                                                                                                                                                                                         Department regarding preparation/review of customer‐
4197                             JANSSENBIO‐064‐00002519   JANSSENBIO‐064‐00002521   Redacted   eMail   Roberts, Kathryn            Attorney‐Client                                                      David Wright (dwright@its.jnj.com)                                                                                                                       Kathryn Roberts (krober10@its.jnj.com)           Michael Wolfe (mwolfe2@its.jnj.com)                                                                 8/12/2014   facing practice management or IOI support material.



                                                                                                                                                                                                         Melissa Ayers (mayers2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan                                                                                                                                                                                                                                    Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                         (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);                                                                                                                                                                                                                   legal advice from Legal Department regarding
                                                                                                                                                                                                         Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Kathryn Roberts                                                                                                                                                                                                                               preparation/review of internal training or internal
                                                                                                                                                                                                         (krober10@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela                                                                                                                                                                                                                      guidance concerning practice management or IOI
4198   JANSSENBIO‐PL_2‐0003883                                                       Withheld   eMail   Roberts, Kathryn            Attorney‐Client                                                      Wood (awood6@its.jnj.com)                                                                                                                                Kathryn Roberts (krober10@its.jnj.com)           Angela Wood (awood6@its.jnj.com)                                                                     6/5/2013   support.



                                                                                                                                                                                                         Melissa Ayers (mayers2@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Paul Duncan
                                                                                                                                                                                                         (pduncan9@its.jnj.com); David Fabbri (dfabbri@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com);
                                                                                                                                                                                                         Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Kathryn Roberts
                                                                                                                                                       James Knepp              John Monzon              (krober10@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela
4199   JANSSENBIO‐PL_2‐0003884                                                       Withheld   pptx    Roberts, Kathryn            Attorney‐Client    (jknepp5@its.jnj.com)    (emonzon1@ITS.JNJ.COM)   Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                                                      6/5/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   counsel for the purpose of receiving legal advice
                                                                                                                                                                                                                                                                                                                                                                  Kathryn Roberts (krober10@its.jnj.com); Nicole                                                                                                                   regarding preparation/review of internal training or
                                                                                                                                                                                                         Nicole Black (nblack1@its.jnj.com); Linda Davis (ldavis9@its.jnj.com); Kathryn Roberts                                                                   Black (nblack1@its.jnj.com); Thomas Spellman ^                                                                                                                   internal guidance concerning practice management or IOI
4200   JANSSENBIO‐PL_2‐0003885                                                       Withheld   eMail   Roberts, Kathryn            Attorney‐Client                                                      (krober10@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                       (tspellma@its.jnj.com)                           Angela Wood (awood6@its.jnj.com)           Linda Davis (ldavis9@its.jnj.com)                        8/14/2013   support.

                                                                                                                                                       Angela Wood              Angela Wood              Nicole Black (nblack1@its.jnj.com); Linda Davis (ldavis9@its.jnj.com); Kathryn Roberts
4201   JANSSENBIO‐PL_2‐0003886                                                       Withheld   ppt     Roberts, Kathryn            Attorney‐Client    (awood6@its.jnj.com)     (awood6@its.jnj.com)     (krober10@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                            8/14/2013

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Email chain reflecting counsel's request for information
                                                                                                                                                                                                         Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Kathleen Hamill ^                                                                                                                                                                                                                  for the purpose of providing legal advice from Legal
                                                                                                                                                                                                         (khamill@cntus.jnj.com); ken Haney (jhaney2@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com);                                                                                                                                                                                                                             Department regarding preparation/review of internal
                                                                                                                                                                                                         Kathryn Roberts (krober10@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Brian Smith                                                                                                                                                                                                                                   training or internal guidance concerning practice
4202   JANSSENBIO‐PL_2‐0003887                                                       Withheld   eMail   Smith, Brian                Attorney‐Client                                                      (bsmith32@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                        Eric Monzon (emonzon1@its.jnj.com)               Brian Smith (bsmith32@its.jnj.com)                                                                   1/8/2013   management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Memorandum reflecting request for legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Legal Department regarding preparation/review of
                                                                                                                                                       Andrew Brackbill         Andrew Brackbill                                                                                                                                                                                                                                                                                                                                   internal training or internal guidance concerning practice
4203   JANSSENBIO‐PL_2‐0003888   JANSSENBIO‐061‐00006603   JANSSENBIO‐061‐00006606   Withheld   doc     Valeriani, Joseph           Attorney‐Client    (abrackbi@its.jnj.com)   (abrackbi@its.jnj.com)                                                                                                                                                                                                                                                                                                                11/19/2010   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Presentation reflecting legal advice from the Law
                                                                                                                                                                                Ed Weimer                                                                                                                                                                                                                                                                                                                                          Department regarding internal training on practice
4204                             JANSSENBIO‐064‐00003536   JANSSENBIO‐064‐00003556   Redacted   ppt     Weimer, Edward              Attorney‐Client    Bill Zehender            (eweimer@its.jnj.com)                                                                                                                                                                                                                                                                                                                  2/24/2006   management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Presentation reflecting legal advice from Legal
                                                                                                                                                       Richard Appiah           Catherine Owen           Serge Messerlian (smesserl@its.jnj.com); Sharmaine Steckbeck (ssteckb@its.jnj.com); Michael Yang                                                                                                                                                                                                                          Department regarding issues relating to legal strategy
4205                             JANSSENBIO‐064‐00004112   JANSSENBIO‐064‐00004165   Redacted   pptx    Yang, Michael               Attorney‐Client    (RAppiah@ITS.JNJ.com)    (cowen3@its.jnj.com)     (myang4@its.jnj.com)                                                                                                                                                                                                                                                                                           2/1/2016   and analysis.
                                                                                                                                                                                                         Stacey Davis (sdavis31@its.jnj.com); Sean Kelleher (skelleh1@its.jnj.com); Kevin O'Neill
                                                                                                                                                       Robert (Bob) Alder       Catherine Owen           (koneill6@its.jnj.com); Catherine Owen (cowen3@its.jnj.com); Catherine Owen (cowen3@its.jnj.com);                                                                                                                                                                                                                         Presentation reflecting legal advice from the Law
4206                             JANSSENBIO‐064‐00004173   JANSSENBIO‐064‐00004208   Redacted   pptx    Yang, Michael               Attorney‐Client    (bob@xillix.co)          (cowen3@its.jnj.com)     Michael Yang (myang4@its.jnj.com)                                                                                                                                                                                                                                                                             1/26/2016   Department ^ regarding FDA approval.

                                                                                                                                                                                                         Anthony DiCarlantonio (adicarla@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Adrienne Minecci
                                                                                                                                                                                                         (aminecc1@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Raymond Pellicciotti
                                                                                                                                                                                                         (rpellicc@its.jnj.com); Brian Smith (bsmith32@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Joseph                                                                                                                                                                                                               Email chain reflecting legal advice from the Law
4207                             JANSSENBIO‐064‐00003268   JANSSENBIO‐064‐00003268   Redacted   eMail   Valeriani, Joseph           Attorney‐Client                                                      Valeriani (jvaleri1@its.jnj.com)                                                                                                                            Eric Monzon (emonzon1@its.jnj.com)            Joseph Valeriani (jvaleri1@its.jnj.com)                                                             3/13/2014   Department ^ regarding contracting.
                                                                                                                                                                                                                                                                                                                       Chris Firriolo (cfirriol@its.jnj.com); Edmund                                                                                                                                                               Email chain reflecting legal advice from Legal Department
                                                                                                                                                                                                                                                                                                                       Greenidge (egreenid@its.jnj.com); Kathleen                                                                                                                                                                  regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                       Hamill ^ (khamill@cntus.jnj.com); Michael                                                                                                                                                                   internal guidance concerning practice management or IOI
4208   JANSSENBIO‐PL_2‐0003889                                                       Withheld   eMail   Weimer, Edward              Attorney‐Client                                                      Michelle Lynch (mlynch10@its.jnj.com); Ed Weimer (eweimer@cntus.jnj.com)                                      Cassano (mcassano@cntus.jnj.com);             Ed Weimer (eweimer@cntus.jnj.com)             Michelle Lynch (mlynch10@its.jnj.com)                                                               11/9/2009   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Department regarding preparation/review of internal
                                                           JANSSENBIO‐061‐                                                                                                      Ed Weimer                                                                                                                                                                                                                                                                                                                                          training or internal guidance concerning practice
4209                             JANSSENBIO‐061‐00007068   00007068.0020             Redacted   ppt     Weimer, Edward              Attorney‐Client    Bill Zehender            (eweimer@its.jnj.com)    Sherri Prettyman (sprettym@cntus.jnj.com); Ed Weimer (eweimer@its.jnj.com)                                                                                                                                                                                                                                    2/24/2006   management or IOI support.

                                                                                                                                                                                                         Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); ken Haney                                                                                                                                                                                                                          Email chain reflecting request for legal advice from Legal
                                                                                                                                                                                                         (jhaney2@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);                                                                                                                                                                                                                        Department regarding preparation/review of internal
                                                                                                                                                                                                         Brian Smith (bsmith32@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Angela Wood                                                                                                                                                                                                                                  training or internal guidance concerning practice
4210   JANSSENBIO‐PL_2‐0003890                                                       Withheld   eMail   Valeriani, Joseph           Attorney‐Client                                                      (awood6@its.jnj.com)                                                                                                                                     ken Haney (jhaney2@its.jnj.com)                  Eric Monzon (emonzon1@its.jnj.com)         Joseph Valeriani (jvaleri1@its.jnj.com)                   1/3/2013   management or IOI support.
                                                                                                                                                                                                         Thomas Occhipinti (tocchipi@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Jennifer Thomas                                                                                                                                                                                                                       Email with attachment(s) requesting legal advice
                                                                                                                                                                                                         (jthoma20@cntus.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); John Vaughan ^                                                                        John Vaughan ^ (jvaughan@its.jnj.com); Thomas                                               Joseph Valeriani (jvaleri1@its.jnj.com); Thomas                      regarding preparation/review of customer‐facing practice
4211   JANSSENBIO‐PL_2‐0003891                                                       Withheld   eMail   Valeriani, Joseph           Attorney‐Client                                                      (jvaughan@its.jnj.com)                                                                                                                                   Spellman ^ (tspellma@its.jnj.com)                Jennifer Thomas (jthoma20@cntus.jnj.com)   Occhipinti (tocchipi@its.jnj.com)                       11/15/2010   management or IOI support material.
                                                                                                                                                                                                         Thomas Occhipinti (tocchipi@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Jennifer Thomas
                                                                                                                                                                                                         (jthoma20@cntus.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); John Vaughan ^
4212   JANSSENBIO‐PL_2‐0003892                                                       Withheld   docx    Valeriani, Joseph           Attorney‐Client                                                      (jvaughan@its.jnj.com)                                                                                                                                                                                                                                                                                       11/15/2010

                                                                                                                                                                                                         Thomas Occhipinti (tocchipi@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Jennifer Thomas
                                                                                                                                                                                                         (jthoma20@cntus.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Donna Gilbert
                                                                                                                                                                                                         (donna.gilbert@xcenda.com); Joanne Parillo (joanne.parillo@xcenda.com); Loreen Brown                                                                                                                                                                                                                                      Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                         (loreen.brown@xcenda.com); Susan Parker (susan.parker@xcenda.com); Tom Mullin                                                                                                                                                                                                                                             from Thomas Spellman ^ regarding issues relating to
4213   JANSSENBIO‐PL_2‐0003893                                                       Withheld   eMail   Valeriani, Joseph           Attorney‐Client                                                      (tom.mullin@xcenda.com                                                                                                                                   Joseph Valeriani (jvaleri1@its.jnj.com)          Jennifer Thomas (jthoma20@cntus.jnj.com)   Thomas Occhipinti (tocchipi@its.jnj.com)                11/18/2010   contracting with Xcenda.

                                                                                                                                                                                                         Thomas Occhipinti (tocchipi@its.jnj.com); Thomas Spellman ^ (tspellma@its.jnj.com); Jennifer Thomas
                                                                                                                                                                                                         (jthoma20@cntus.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Donna Gilbert
                                                                                                                                                                                                         (donna.gilbert@xcenda.com); Joanne Parillo (joanne.parillo@xcenda.com); Loreen Brown
                                                                                                                                                                                                         (loreen.brown@xcenda.com); Susan Parker (susan.parker@xcenda.com); Tom Mullin
4214   JANSSENBIO‐PL_2‐0003894                                                       Withheld   docx    Valeriani, Joseph           Attorney‐Client                                                      (tom.mullin@xcenda.com                                                                                                                                                                                                                                                                                       11/18/2010
                                                                                                                                                                                                                                                                                                                     Andrew Brackbill (abrackbi@its.jnj.com);                                                                                                                                                                      Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                                     Bob Russell (brussell@its.jnj.com); John                                                                                                                                                                      legal advice from Legal Department regarding
                                                                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Swati Javeri (sjaveri@its.jnj.com); Danny Burrell                  Peterkins (jpeterk1@its.jnj.com); Joseph                                                                                                                                                                      preparation/review of internal training or internal
                                                                                                                                                                                                         (dburrell@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Bob Valeriani (jvaleri1@its.jnj.com); Karen      Danny Burrell (dburrell@its.jnj.com); Joseph                                                                                                                     guidance concerning practice management or IOI
4215   JANSSENBIO‐PL_2‐0003895   JANSSENBIO‐060‐00009480   JANSSENBIO‐060‐00009480   Withheld   eMail   Valeriani, Joseph           Attorney‐Client                                                      Russell (brussell@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com) Trahan (ktrahan@its.jnj.com); Linda Ketterer Valeriani (jvaleri1@its.jnj.com)                 Swati Javeri (sjaveri@its.jnj.com)                                                                   4/4/2011   support.

                                                                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Swati Javeri (sjaveri@its.jnj.com); Danny Burrell
                                                                                                                                                       Andrew Brackbill         Andrew Brackbill         (dburrell@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Bob
4216   JANSSENBIO‐PL_2‐0003896   JANSSENBIO‐060‐00009481   JANSSENBIO‐060‐00009484   Withheld   doc     Valeriani, Joseph           Attorney‐Client    (abrackbi@its.jnj.com)   (abrackbi@its.jnj.com)   Russell (brussell@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                                                                                                                                                                                                    4/4/2011

                                                                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Swati Javeri (sjaveri@its.jnj.com); Danny Burrell
                                                                                                                                                       Andrew Brackbill         Andrew Brackbill         (dburrell@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Bob
4217   JANSSENBIO‐PL_2‐0003897   JANSSENBIO‐060‐00009485   JANSSENBIO‐060‐00009485   Withheld   ppt     Valeriani, Joseph           Attorney‐Client    (abrackbi@its.jnj.com)   (abrackbi@its.jnj.com)   Russell (brussell@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                                                                                                                                                                                                    4/4/2011

                                                                                                                                                                                                         Andrew Brackbill (abrackbi@its.jnj.com); Swati Javeri (sjaveri@its.jnj.com); Danny Burrell
                                                                                                                                                       Andrew Brackbill         Andrew Brackbill         (dburrell@its.jnj.com); John Peterkins (jpeterk1@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Bob
4218   JANSSENBIO‐PL_2‐0003898   JANSSENBIO‐060‐00009486   JANSSENBIO‐060‐00009486   Withheld   xls     Valeriani, Joseph           Attorney‐Client    (abrackbi@its.jnj.com)   (abrackbi@its.jnj.com)   Russell (brussell@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                                                                                                                                                                                                    4/4/2011
                                                                                                                                                       Robert (Bob) Alder       Michael Yang                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from the Law
4219                             JANSSENBIO‐064‐00004216   JANSSENBIO‐064‐00004251   Redacted   pptx    Yang, Michael               Attorney‐Client    (bob@xillix.co)          (myang4@its.jnj.com)                                                                                                                                                                                                                                                                                                                   1/27/2016   Department ^ regarding FDA approval.
                                                                                                                                                                                                                                                                                                                                                                                                                                                              Anna Estrellas (aestrellas@its.jnj.com); Chad Bower
                                                                                                                                                                                                                                                                                                                                                                                                                                                              (cbower2@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                         Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas                                                                                                                                                            (khamill@cntus.jnj.com); Matt Zuiderhof
                                                                                                                                                                                                         (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^                                                                                                                                                                (mzuiderh@its.jnj.com); Michelle Walls                               Email with attachment(s) providing information to
                                                                                                                                                                                                         (khamill@cntus.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Thomas Spellman ^                                                                                                                                                                 (mwalls@its.jnj.com); Michelle Zarish                                counsel for the purpose of receiving legal advice
                                                                                                                                                                                                         (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela                                                   Angela Wood (awood6@its.jnj.com); Daryl Todd                                                (mzarish2@its.jnj.com); Stephanie Gilson ^                           regarding preparation/review of internal training or
                                                                                                                                                                                                         Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof                                                                        ^ (dtodd1@its.jnj.com); Shauna Peterson ^                                                   (sgilson@its.jnj.com); Thomas Spellman ^                             internal guidance concerning practice management or IOI
4220   JANSSENBIO‐PL_2‐0003899                                                       Withheld   eMail   Todd, Daryl; Walls, Michelle Attorney‐Client                                                     (mzuiderh@its.jnj.com)                                                                                                                                   (speter11@its.jnj.com)                           Joseph DiGiacomo (jdigiaco@its.jnj.com)    (tspellma@its.jnj.com)                                    6/6/2014   support.

                                                                                                                                                                                                         Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                         (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                         (khamill@cntus.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Thomas Spellman ^
                                                                                                                                                                                                         (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela
                                                                                                                                                       Doug Kennedy             Joseph DiGiacomo         Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof
4221   JANSSENBIO‐PL_2‐0003900                                                       Withheld   pptx    Todd, Daryl; Walls, Michelle Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)   (mzuiderh@its.jnj.com)                                                                                                                                                                                                                                                                                         6/6/2014

                                                                                                                                                                                                         Chad Bower (cbower2@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                         (aestrellas@its.jnj.com); Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                         (khamill@cntus.jnj.com); Shauna Peterson ^ (speter11@its.jnj.com); Thomas Spellman ^
                                                                                                                                                                                                         (tspellma@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela
                                                                                                                                                       Joseph DiGiacomo         Joseph DiGiacomo         Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com); Matt Zuiderhof
4222   JANSSENBIO‐PL_2‐0003901                                                       Withheld   ppt     Todd, Daryl; Walls, Michelle Attorney‐Client   (jdigiaco@its.jnj.com)   (jdigiaco@its.jnj.com)   (mzuiderh@its.jnj.com)                                                                                                                                                                                                                                                                                         6/6/2014

                                                                                                                                                                                                         Chad Bower (cbower2@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Kathleen Hamill ^                                                             Chad Bower (cbower2@its.jnj.com); Daryl Todd ^                                                                                                                   Email with attachment(s) requesting legal advice
                                                                                                                                                                                                         (khamill@cntus.jnj.com); Samantha Hand (shand@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);                                                         (dtodd1@its.jnj.com); Kathleen Hamill ^                                                     Anna Estrellas (aestrellas@its.jnj.com); Erin Parsons                regarding preparation/review of internal training or
                                                                                                                                                                                                         Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Zarish                                                                  (khamill@cntus.jnj.com); Michelle Zarish                                                    (eparson5@its.jnj.com); Samantha Hand                                internal guidance concerning practice management or IOI
4223   JANSSENBIO‐PL_2‐0003902                                                       Withheld   eMail   Walls, Michelle             Attorney‐Client                                                      (mzarish2@its.jnj.com)                                                                                                                                   (mzarish2@its.jnj.com)                         Michelle Walls (mwalls@its.jnj.com)          (shand@its.jnj.com)                                      6/29/2015   support.




                                                                                                                                                                                                                                                                                195
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 197 of 201


                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                (khamill@cntus.jnj.com); Samantha Hand (shand@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);
                                                                                                                                            Camille Dorsey           Michelle Walls             Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Zarish
4224   JANSSENBIO‐PL_2‐0003903                                                       Withheld   pptx    Walls, Michelle   Attorney‐Client   (cdorsey@its.jnj.com)    (mwalls@its.jnj.com)       (mzarish2@its.jnj.com)                                                                                                                                                                                                                                                                                                      6/29/2015

                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                (khamill@cntus.jnj.com); Samantha Hand (shand@its.jnj.com); Erin Parsons (eparson5@its.jnj.com);
                                                                                                                                            Chad Bower               Michelle Walls             Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Zarish
4225   JANSSENBIO‐PL_2‐0003904                                                       Withheld   doc     Walls, Michelle   Attorney‐Client   (cbower2@its.jnj.com)    (mwalls@its.jnj.com)       (mzarish2@its.jnj.com)                                                                                                                                                                                                                                                                                                      6/29/2015
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas                                                                                                                                                                                                                                              legal advice from Legal Department regarding
                                                                                                                                                                                                (aestrellas@its.jnj.com); Samantha Hand (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com);                                                                                                                                                                                                                                      preparation/review of internal training or internal
                                                                                                                                                                                                Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls                                                                                                                                                                                                                                             guidance concerning practice management or IOI
4226   JANSSENBIO‐PL_2‐0003905                                                       Withheld   eMail   Walls, Michelle   Attorney‐Client                                                       (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                   Anna Estrellas (aestrellas@its.jnj.com)             Michelle Walls (mwalls@its.jnj.com)                                                                         2/11/2015   support.

                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                (aestrellas@its.jnj.com); Samantha Hand (shand@its.jnj.com); Marti Heckman (mheckman@its.jnj.com);
                                                                                                                                            Camille Dorsey           Thomas Cornely             Shauna Peterson ^ (speter11@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls
4227   JANSSENBIO‐PL_2‐0003906                                                       Withheld   pptx    Walls, Michelle   Attorney‐Client   (cdorsey@its.jnj.com)    (tcornel@its.jnj.com)      (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                                                                                                                                                                                                                                   2/11/2015




                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^                                                                                                                                                                                                                                        Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);                                                                                                                                                                                                                                  from Legal Department regarding preparation/review of
                                                                                                                                                                                                Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls                                                                                                                                                                          Anna Estrellas (aestrellas@its.jnj.com); Michelle Zarish                internal training or internal guidance concerning practice
4228   JANSSENBIO‐PL_2‐0003907                                                       Withheld   eMail   Walls, Michelle   Attorney‐Client                                                       (mwalls@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                                    Chad Bower (cbower2@its.jnj.com)                    Michelle Walls (mwalls@its.jnj.com)             (mzarish2@its.jnj.com)                                      5/12/2015   management or IOI support.




                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                                                                                                                                                                (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
                                                                                                                                            Daryl Todd ^             Daryl Todd ^               Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls
4229   JANSSENBIO‐PL_2‐0003908                                                       Withheld   docx    Walls, Michelle   Attorney‐Client   (dtodd1@its.jnj.com)     (dtodd1@its.jnj.com)       (mwalls@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                                                                                                                                                                                                    5/12/2015




                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                                                                                                                                                                (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
                                                                                                                                            Shauna Peterson ^        Daryl Todd ^               Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls
4230   JANSSENBIO‐PL_2‐0003909                                                       Withheld   docx    Walls, Michelle   Attorney‐Client   (speter11@its.jnj.com)   (dtodd1@its.jnj.com)       (mwalls@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                                                                                                                                                                                                    5/12/2015



                                                                                                                                                                                                Austin Clayton ^ (aclayto3@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely                                                                                                                                                                                                                                           Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);                                                                                                                                                                                                                                   legal advice from Legal Department regarding
                                                                                                                                                                                                Kathleen Hamill ^ (khamill@cntus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls                                                                                                                                                                                                                                            preparation/review of internal training or internal
                                                                                                                                                                                                (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela                                                                                                                                                                                                                                     guidance concerning practice management or IOI
4231   JANSSENBIO‐PL_2‐0003910                                                       Withheld   eMail   Walls, Michelle   Attorney‐Client                                                       Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                                                                           Michelle Zarish (mzarish2@its.jnj.com)              Michelle Walls (mwalls@its.jnj.com)                                                                         5/19/2014   support.



                                                                                                                                                                                                Austin Clayton ^ (aclayto3@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com);
                                                                                                                                                                                                Kathleen Hamill ^ (khamill@cntus.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls
                                                                                                                                            Doug Kennedy             Joseph DiGiacomo           (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Angela
4232   JANSSENBIO‐PL_2‐0003911                                                       Withheld   pptx    Walls, Michelle   Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)     Wood (awood6@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                                                                                                                                                                                                                                           5/19/2014



                                                                                                                                                                                                Austin Clayton ^ (aclayto3@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);                                                                                                                                                                                                                                Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                Timothy Grimes (tgrimes@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Daryl Todd ^                                                                                                                                                                                                                                           legal advice from Legal Department regarding
                                                                                                                                                                                                (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela                                                                                                                                                                                                                                  preparation/review of internal training or internal
                                                                                                                                                                                                Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com); Michelle Zarish                                                                                                                                                                                                                                                            guidance concerning practice management or IOI
4233   JANSSENBIO‐PL_2‐0003912                                                       Withheld   eMail   Walls, Michelle   Attorney‐Client                                                       (mzarish2@its.jnj.com)                                                                                                                                      Anna Estrellas (aestrellas@its.jnj.com)             Michelle Walls (mwalls@its.jnj.com)                                                                         5/29/2014   support.



                                                                                                                                                                                                Austin Clayton ^ (aclayto3@its.jnj.com); Thomas Cornely (tcornel@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);
                                                                                                                                                                                                Timothy Grimes (tgrimes@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Daryl Todd ^
                                                                                                                                                                                                (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela
                                                                                                                                            Doug Kennedy             Joseph DiGiacomo           Wood (awood6@its.jnj.com); Angela Wood (awood6@its.jnj.com); Michelle Zarish
4234   JANSSENBIO‐PL_2‐0003913                                                       Withheld   pptx    Walls, Michelle   Attorney‐Client   (dkenned6@its.jnj.com)   (jdigiaco@its.jnj.com)     (mzarish2@its.jnj.com)                                                                                                                                                                                                                                                                                                      5/29/2014
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Department regarding preparation/review of internal
                                                                                                                                            Angela Wood              Heather Berardi            Heather Berardi (hberardi@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Michelle Walls                                                                                                                                                                                                                                         training or internal guidance concerning practice
4235                             JANSSENBIO‐064‐00003347   JANSSENBIO‐064‐00003395   Redacted   pptx    Walls, Michelle   Attorney‐Client   (awood6@its.jnj.com)     (hberardi@its.jnj.com)     (mwalls@its.jnj.com)                                                                                                                                                                                                                                                                                                         6/2/2015   management or IOI support.




                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);                                                                                                                                                                                                                                   Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^                                                                                                                                                                                                                                        legal advice from Legal Department regarding
                                                                                                                                                                                                (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);                                                                                                                                                                                                                                  preparation/review of internal training or internal
                                                                                                                                                                                                Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls                                                                                                                                                                          Anna Estrellas (aestrellas@its.jnj.com); Michelle Zarish                guidance concerning practice management or IOI
4236   JANSSENBIO‐PL_2‐0003914                                                       Withheld   eMail   Walls, Michelle   Attorney‐Client                                                       (mwalls@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                                    Michelle Walls (mwalls@its.jnj.com)                 Chad Bower (cbower2@its.jnj.com)                (mzarish2@its.jnj.com)                                      5/13/2015   support.




                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Celia Connaire (cconnai3@its.jnj.com); Anna Estrellas
                                                                                                                                                                                                (aestrellas@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com); Gina Giordano (ggiordan@its.jnj.com);
                                                                                                                                                                                                Deidre Meehan ^ (dmeehan5@its.jnj.com); Lorraine Moccio (lmoccio@its.jnj.com); Shauna Peterson ^
                                                                                                                                                                                                (speter11@its.jnj.com); Lori Queisser (lqueisse@its.jnj.com); Bonnie Rodriguez (brodrig5@its.jnj.com);
                                                                                                                                            Daryl Todd ^             Chad Bower                 Daryl Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls
4237   JANSSENBIO‐PL_2‐0003915                                                       Withheld   docx    Walls, Michelle   Attorney‐Client   (dtodd1@its.jnj.com)     (cbower2@its.jnj.com)      (mwalls@its.jnj.com); Christopher Zalesky (czalesky@its.jnj.com); Michelle Zarish (mzarish2@its.jnj.com)                                                                                                                                                                                                                    5/13/2015



                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); Thomas Cornely                                                                                                                                                                                                                                              Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);                                                                                                                                                                                                                                legal advice from Legal Department regarding
                                                                                                                                                                                                Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^                                                                                                                                                                                                                                  preparation/review of internal training or internal
                                                                                                                                                                                                (speter11@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle                                                    Joseph DiGiacomo (jdigiaco@its.jnj.com);                                                                                                                                    guidance concerning practice management or IOI
4238   JANSSENBIO‐PL_2‐0003916                                                       Withheld   eMail   Walls, Michelle   Attorney‐Client                                                       Walls (mwalls@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                                                                           Michelle Walls (mwalls@its.jnj.com)                 Anna Estrellas (aestrellas@its.jnj.com)                                                                     8/19/2014   support.


                                                                                                                                                                                                Chad Bower (cbower2@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); Thomas Cornely
                                                                                                                                                                                                (tcornel@its.jnj.com); Joseph DiGiacomo (jdigiaco@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com);
                                                                                                                                                                                                Stephanie Gilson ^ (sgilson@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Shauna Peterson ^
                                                                                                                                            Doug Kennedy             Anna Estrellas             (speter11@its.jnj.com); Darryl Stiles (dstiles@its.jnj.com); Daryl Todd ^ (dtodd1@its.jnj.com); Michelle
4239   JANSSENBIO‐PL_2‐0003917                                                       Withheld   pptx    Walls, Michelle   Attorney‐Client   (dkenned6@its.jnj.com)   (aestrellas@its.jnj.com)   Walls (mwalls@its.jnj.com); Matt Zuiderhof (mzuiderh@its.jnj.com)                                                                                                                                                                                                                                                           8/19/2014

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                Anna Estrellas (aestrellas@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Daniel Meechan                                                                                                                                                                                                                                        from Legal Department regarding preparation/review of
                                                                                                                                                                                                (dmeechan@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com); Daryl                                                Anna Estrellas (aestrellas@its.jnj.com); Michelle                                                                                                                           internal training or internal guidance concerning practice
4240   JANSSENBIO‐PL_2‐0003918                                                       Withheld   eMail   Walls, Michelle   Attorney‐Client                                                       Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                          Walls (mwalls@its.jnj.com)                          Angela Wood (awood6@its.jnj.com)                                                                            1/10/2014   management or IOI support.



                                                                                                                                                                                                Anna Estrellas (aestrellas@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Daniel Meechan
                                                                                                                                            Daniel Meechan           Daniel Meechan             (dmeechan@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com); Daryl
4241   JANSSENBIO‐PL_2‐0003919                                                       Withheld   docx    Walls, Michelle   Attorney‐Client   (dmeechan@its.jnj.com)   (dmeechan@its.jnj.com)     Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                          1/10/2014


                                                                                                                                                                                                Anna Estrellas (aestrellas@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Daniel Meechan
                                                                                                                                            Monica Carbone           Daniel Meechan             (dmeechan@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com); Daryl
4242   JANSSENBIO‐PL_2‐0003920                                                       Withheld   docx    Walls, Michelle   Attorney‐Client   (mcarbon7@its.jnj.com)   (dmeechan@its.jnj.com)     Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                          1/10/2014



                                                                                                                                                                                                Anna Estrellas (aestrellas@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Daniel Meechan
                                                                                                                                            Daniel Meechan           Daniel Meechan             (dmeechan@its.jnj.com); Gail Obrycki (gobrycki@its.jnj.com); Catherine Sicari ^ (csicari@its.jnj.com); Daryl
4243   JANSSENBIO‐PL_2‐0003921                                                       Withheld   xlsx    Walls, Michelle   Attorney‐Client   (dmeechan@its.jnj.com)   (dmeechan@its.jnj.com)     Todd ^ (dtodd1@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                          1/10/2014
                                                                                                                                                                                                                                                                                                                                                            Aida Gonzalez (agonzal2@its.jnj.com); Anna
                                                                                                                                                                                                                                                                                                                                                            Estrellas (aestrellas@its.jnj.com); Bryan Law
                                                                                                                                                                                                                                                                                                                                                            (blaw13@its.jnj.com); Catherine Kaucher
                                                                                                                                                                                                                                                                                                                                                            (ckauche1@its.jnj.com); Craig Gwozdziewicz
                                                                                                                                                                                                                                                                                                                                                            (cgwozdzi@its.jnj.com); Diane Deloria
                                                                                                                                                                                                                                                                                                                                                            (ddeloria@its.jnj.com); Erin Parsons
                                                                                                                                                                                                                                                                                                                                                            (eparson5@its.jnj.com); James Knepp
                                                                                                                                                                                                                                                                                                                                                            (jknepp5@its.jnj.com); John Newman
                                                                                                                                                                                                                                                                                                                                                            (jnewma14@its.jnj.com); Michele Scott
                                                                                                                                                                                                                                                                                                                                                            (mscott12@its.jnj.com); Michelle Walls
                                                                                                                                                                                                Thomas Cornely (tcornel@its.jnj.com); Diane Deloria (ddeloria@its.jnj.com); Nicole Duncan                                                                   (mwalls@its.jnj.com); Nicole Duncan
                                                                                                                                                                                                (nduncan7@its.jnj.com); Anna Estrellas (aestrellas@its.jnj.com); Aida Gonzalez (agonzal2@its.jnj.com);                                                      (nduncan7@its.jnj.com); Paul Subacius
                                                                                                                                                                                                Timothy Grimes (tgrimes@its.jnj.com); Craig Gwozdziewicz (cgwozdzi@its.jnj.com); Catherine Kaucher                                                          (psubaciu@its.jnj.com); Polina Pomerants
                                                                                                                                                                                                (ckauche1@its.jnj.com); James Knepp (jknepp5@its.jnj.com); Bryan Law (blaw13@its.jnj.com); Upasana                                                          (ppomera@its.jnj.com); Shannon Richards
                                                                                                                                                                                                Marwah (umarwah2@its.jnj.com); John Newman (jnewma14@its.jnj.com); Erin Parsons                                                                             (srichar7@its.jnj.com); Thomas Cornely                                                                                                                                      Email chain reflecting legal advice from Legal Department
                                                                                                                                                                                                (eparson5@its.jnj.com); Polina Pomerants (ppomera@its.jnj.com); Shannon Richards                                                                            (tcornel@its.jnj.com); Timothy Grimes                                                                                                                                       regarding preparation/review of draft internal training or
                                                                                                                                                                                                (srichar7@its.jnj.com); Michele Scott (mscott12@its.jnj.com); Paul Subacius (psubaciu@its.jnj.com);                                                         (tgrimes@its.jnj.com); Upasana Marwah               J&J Legal Education and Training ^ (ra‐jjcus‐                                                                           internal guidance concerning practice management or IOI
4244                             JANSSENBIO‐064‐00003399   JANSSENBIO‐064‐00003400   Redacted   eMail   Walls, Michelle   Attorney‐Client                                                       Michelle Walls (mwalls@its.jnj.com); J&J Legal Education and Training ^ (ra‐jjcus‐jnjlegalent@its.jnj.com)                                                  (umarwah2@its.jnj.com)                              jnjlegalent@its.jnj.com)                                                                                    12/4/2015   support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Presentation reflecting legal advice from the Law
                                                                                                                                            Doug Kennedy             Michelle Walls                                                                                                                                                                                                                                                                                                                                                     Department ^ regarding internal training or internal
4245   JANSSENBIO‐PL_2‐0003922                                                       Withheld   tmp     Walls, Michelle   Attorney‐Client   (dkenned6@its.jnj.com)   (mwalls@its.jnj.com)                                                                                                                                                                                                                                                                                                                                   8/20/2014   guidance promotional activities.
                                                                                                                                                                                                                                                                                                                                                            Angela Wood (awood6@its.jnj.com); John                                                                                                                                      Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                            Vaughan ^ (jvaughan@its.jnj.com); Michelle Walls                                                                                                                            regarding preparation/review of internal training or
                                                                                                                                                                                                Roger Kung (rkung@its.jnj.com); Roger Kung (rkung@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com);                                                      (mwalls@its.jnj.com); Roger Kung                                                                                                                                            internal guidance concerning practice management or IOI
4246   JANSSENBIO‐PL_2‐0003923                                                       Withheld   eMail   Walls, Michelle   Attorney‐Client                                                       Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                       (rkung@its.jnj.com)                              Roger Kung (rkung@its.jnj.com)                                                                                 3/24/2011   support.

                                                                                                                                            Michelle Walls           Roger Kung                 Roger Kung (rkung@its.jnj.com); Roger Kung (rkung@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com);
4247   JANSSENBIO‐PL_2‐0003924                                                       Withheld   ppt     Walls, Michelle   Attorney‐Client   (mwalls@its.jnj.com)     (rkung@its.jnj.com)        Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                       3/24/2011
                                                                                                                                                                                                                                                                                                               Andrew Brackbill (abrackbi@its.jnj.com);
                                                                                                                                                                                                                                                                                                               Angela Wood (awood6@its.jnj.com);                                                                                                                                                                                        Email chain with attachment(s) reflecting request for
                                                                                                                                                                                                                                                                                                               Catherine Sicari ^ (csicari@its.jnj.com); John                                                                                                                                                                           legal advice from Catherine Sicari ^, Stephanie Gilson ^,
                                                                                                                                                                                                                                                                                                               Franz (jfranz@its.jnj.com); John Vaughan ^                                                                                                                                                                               Thomas Spellman ^, and John Vaughan ^ regarding
4248   JANSSENBIO‐PL_2‐0003925                                                       Withheld   eMail   Walls, Michelle   Attorney‐Client                                                       Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                          (jvaughan@its.jnj.com); Michelle Lynch         Michelle Walls (mwalls@its.jnj.com)               Angela Wood (awood6@its.jnj.com)                                                                           11/19/2010   promotional activities.
                                                                                                                                            Andrew Brackbill         Andrew Brackbill
4249   JANSSENBIO‐PL_2‐0003926                                                       Withheld   doc     Walls, Michelle   Attorney‐Client   (abrackbi@its.jnj.com)   (abrackbi@its.jnj.com)     Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                      11/19/2010
                                                                                                                                            Andrew Brackbill         Andrew Brackbill
4250   JANSSENBIO‐PL_2‐0003927                                                       Withheld   ppt     Walls, Michelle   Attorney‐Client   (abrackbi@its.jnj.com)   (abrackbi@its.jnj.com)     Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                                                                                                                                                                      11/19/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email communication requesting legal advice regarding
                                                                                                                                                                                                                                                                                                                                                            Angela Wood (awood6@its.jnj.com); John                                                                                                                                      preparation/review of internal training or internal
                                                                                                                                                                                                Roger Kung (rkung@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Michelle Walls                                                                       Vaughan ^ (jvaughan@its.jnj.com); Michelle Walls                                                                                                                            guidance concerning practice management or IOI
4251                             JANSSENBIO‐061‐00006909   JANSSENBIO‐061‐00006910   Redacted   eMail   Walls, Michelle   Attorney‐Client                                                       (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com)                                                                                                      (mwalls@its.jnj.com)                             Roger Kung (rkung@its.jnj.com)                                                                                 3/23/2011   support.




                                                                                                                                                                                                                                                                       196
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 198 of 201

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                       Jennifer De Camara ^ (jdecamar@corus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John                                                                                                                                                                                                                  regarding preparation/review of internal training or
                                                                                                                                                                                                       Vaughan ^ (jvaughan@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls                                                                                                                         John Vaughan ^ (jvaughan@its.jnj.com); Kathleen Hamill                                            internal guidance concerning practice management or IOI
4252   JANSSENBIO‐PL_2‐0003928                                                       Withheld   eMail   Walls, Michelle          Attorney‐Client                                                       (mwalls@its.jnj.com)                                                                                          Jennifer De Camara ^ (jdecamar@corus.jnj.com)      Michelle Walls (mwalls@its.jnj.com)          ^ (khamill@cntus.jnj.com)                                                 10/13/2011              support.
                                                                                                                                                                                                       Jennifer De Camara ^ (jdecamar@corus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); John
                                                                                                                                                   Michelle Walls             Michelle Walls           Vaughan ^ (jvaughan@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Michelle Walls
4253   JANSSENBIO‐PL_2‐0003929                                                       Withheld   ppt     Walls, Michelle          Attorney‐Client   (mwalls@its.jnj.com)       (mwalls@its.jnj.com)     (mwalls@its.jnj.com)                                                                                                                                                                                                                                                                    10/13/2011
                                                                                                                                                                                                                                                                                                                     Angela Wood (awood6@its.jnj.com); Avis Goode
                                                                                                                                                                                                                                                                                                                     (agoode@its.jnj.com); Chris Firriolo                                                                                                                                                              Email with attachment(s) providing information to
                                                                                                                                                                                                       Chris Firriolo (cfirriol@its.jnj.com); Avis Goode (agoode@its.jnj.com); Kathleen Hamill ^                     (cfirriol@its.jnj.com); Kathleen Hamill ^                                                                                                                                                         counsel for the purpose of receiving legal advice
                                                                                                                                                                                                       (khamill@cntus.jnj.com); Roger Kung (rkung@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);              (khamill@cntus.jnj.com); Kathryn Roberts                                                                                                                                                          regarding preparation/review of internal training or
                                                                                                                                                                                                       Michelle Turk (mturk@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood                           (krober10@its.jnj.com); Michelle Turk                                                                                                                    CR‐CNTUS H800‐                           internal guidance concerning practice management or IOI
4254   JANSSENBIO‐PL_2‐0003930                                                       Withheld   eMail   Walls, Michelle          Attorney‐Client                                                       (awood6@its.jnj.com); CR‐CNTUS H800‐3220                                                                      (mturk@its.jnj.com)                          Roger Kung (rkung@its.jnj.com)                     Michelle Walls (mwalls@its.jnj.com)                      3220               9/7/2011              support.

                                                                                                                                                                                                       Chris Firriolo (cfirriol@its.jnj.com); Avis Goode (agoode@its.jnj.com); Kathleen Hamill ^
                                                                                                                                                                                                       (khamill@cntus.jnj.com); Roger Kung (rkung@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com);
                                                                                                                                                   Camille Dorsey             Roger Kung               Michelle Turk (mturk@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood
4255   JANSSENBIO‐PL_2‐0003931                                                       Withheld   pptx    Walls, Michelle          Attorney‐Client   (cdorsey@its.jnj.com)      (rkung@its.jnj.com)      (awood6@its.jnj.com); CR‐CNTUS H800‐3220                                                                                                                                                                                                                                                  9/7/2011
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department regarding preparation/review of internal
                                                                                                                                                   Angela Wood                Thomas Cornely                                                                                                                                                                                                                                                                                                                          training or internal guidance concerning practice
4256                             JANSSENBIO‐064‐00003488   JANSSENBIO‐064‐00003532   Redacted   pptx    Walls, Michelle          Attorney‐Client   (awood6@its.jnj.com)       (tcornel@its.jnj.com)                                                                                                                                                                                                                                                                                             12/3/2015             management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Presentation reflecting legal advice from the Law
                                                                                                                                                   Doug Kennedy               Chad Bower                                                                                                                                                                                                                                                                                                                              Department ^ regarding internal training or internal
4257   JANSSENBIO‐PL_2‐0003932                                                       Withheld   pptx    Walls, Michelle          Attorney‐Client   (dkenned6@its.jnj.com)     (cbower2@its.jnj.com)                                                                                                                                                                                                                                                                                             8/20/2014             guidance promotional activities.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Presentation reflecting legal advice from the Law
                                                                                                                                                   Doug Kennedy               Chad Bower                                                                                                                                                                                                                                                                                                                              Department ^ regarding internal training or internal
4258   JANSSENBIO‐PL_2‐0003933                                                       Withheld   pptx    Walls, Michelle          Attorney‐Client   (dkenned6@its.jnj.com)     (cbower2@its.jnj.com)                                                                                                                                                                                                                                                                                             8/20/2014             guidance promotional activities.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Email chain providing legal advice from Legal Department
                                                                                                                                                                                                                                                                                                                                                                                                                     Daniel Seiter (dseiter@cntus.jnj.com); Michael Cassano                                           regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                     (mcassano@cntus.jnj.com); Edmund Greenidge                                                       internal guidance concerning practice management or IOI
4259   JANSSENBIO‐PL_2‐0003934   JANSSENBIO‐064‐00000214   JANSSENBIO‐064‐00000214   Withheld   eMail   Cohen, Cheryl            Attorney‐Client                                                                                                                                                                     Tracey Connor (tconnor@cntus.jnj.com)              Freddy Jimenez ^ (fjimene3@its.jnj.com)      (egreenid@its.jnj.com)                                                                 8/21/2007 support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Email chain providing legal advice from Legal Department
                                                                                                                                                                                                                                                                                                                                                                                                                     Daniel Seiter (dseiter@cntus.jnj.com); Tracey Connor                                             regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                     (tconnor@cntus.jnj.com); Kathleen Hamill ^                                                       internal guidance concerning practice management or IOI
4260   JANSSENBIO‐PL_2‐0003935   JANSSENBIO‐064‐00000215   JANSSENBIO‐064‐00000215   Withheld   eMail   Cohen, Cheryl            Attorney‐Client                                                                                                                                                                     Linda Robertson (lrober12@cntus.jnj.com)           Freddy Jimenez ^ (fjimene3@its.jnj.com)      (khamill@cntus.jnj.com)                                                                8/20/2007 support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department regarding preparation/review of internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      training or internal guidance concerning practice
4261   JANSSENBIO‐PL_2‐0003936   JANSSENBIO‐064‐00000216   JANSSENBIO‐064‐00000216   Withheld           Cohen, Cheryl            Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                                1/1/1900             management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department regarding preparation/review of internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      training or internal guidance concerning practice
4262   JANSSENBIO‐PL_2‐0003937   JANSSENBIO‐064‐00000217   JANSSENBIO‐064‐00000217   Withheld           Cohen, Cheryl            Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                                1/1/1900             management or IOI support.

                                                                                                                                                                                                       William Craco ^ (wcraco@corus.jnj.com); Shanya Dingle ^ (sdingle@cov.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^                                                                                                                                                                                                                            Email chain providing legal advice regarding issues
                                                                                                                                                                                                       (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Eileen Kerekes ^                                                                                                                                                                                                                            relating to lawfulness of practice management or IOI
4263   JANSSENBIO‐PL_2‐0003938                                                       Withheld   eMail   Guiton, Christopher      Attorney‐Client                                                       (ekereke@its.jnj.com); Ethan Posner ^ (eposner@cov.com)                                                       Christopher Guiton ^ (cguiton@its.jnj.com)         Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                                                6/7/2017              support services.

                                                                                                                                                                                                       William Craco ^ (wcraco@corus.jnj.com); Shanya Dingle ^ (sdingle@cov.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^                                                                                                                                                                                                                            Email chain providing legal advice regarding issues
                                                                                                                                                                                                       (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Eileen Kerekes ^                          Christopher Guiton ^ (cguiton@its.jnj.com);                                                     Eileen Kerekes ^ (ekereke@its.jnj.com); Ethan Posner ^                                            relating to lawfulness of practice management or IOI
4264   JANSSENBIO‐PL_2‐0003939                                                       Withheld   eMail   Guiton, Christopher      Attorney‐Client                                                       (ekereke@its.jnj.com); Ethan Posner ^ (eposner@cov.com)                                                       William Craco ^ (wcraco@corus.jnj.com)             Kathleen Hamill ^ (khamill@cntus.jnj.com)    (eposner@cov.com); Shanya Dingle ^ (sdingle@cov.com)                        6/9/2017              support services.

                                                                                                                                                                                                       William Cavanaugh ^ (wfcavanaugh@pbwt.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn
                                                                                                                                                                                                       Meisel ^ (kmeisel@its.jnj.com); Brent Schneider (bschne10@ITS.JNJ.com); Nithya Srinivasan                                                                                                                                                                                                                       Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                       (NSriniv1@its.jnj.com); Field Communications (ra‐ompus‐fieldcommun@its.jnj.com; Undisclosed                   Kathryn Meisel ^ (kmeisel@its.jnj.com); William                                                                                                                                                   regarding issues relating to lawfulness of practice
4265   JANSSENBIO‐PL_2‐0003940                                                       Withheld   eMail   Guiton, Christopher      Attorney‐Client                                                       Recipients                                                                                                    Cavanaugh ^ (wfcavanaugh@pbwt.com)                 Christopher Guiton ^ (cguiton@its.jnj.com)   Christopher Guiton ^ (cguiton@its.jnj.com)                                 5/22/2018              management or IOI support services.

                                                                                                                                                                                                       William Cavanaugh ^ (wfcavanaugh@pbwt.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn
                                                                                                                                                                                                       Meisel ^ (kmeisel@its.jnj.com); Brent Schneider (bschne10@ITS.JNJ.com); Nithya Srinivasan
                                                                                                                                                                                                       (NSriniv1@its.jnj.com); Field Communications (ra‐ompus‐fieldcommun@its.jnj.com; Undisclosed                                                                      Field Communications (ra‐ompus‐
4266   JANSSENBIO‐PL_2‐0003941                                                       Withheld   eMail   Guiton, Christopher      Attorney‐Client                                                       Recipients                                                                                                    Undisclosed Recipients                             fieldcommun@its.jnj.com)                                                                                                5/22/2018

                                                                                                                                                                                                       William Cavanaugh ^ (wfcavanaugh@pbwt.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn
                                                                                                                                                                                                       Meisel ^ (kmeisel@its.jnj.com); Brent Schneider (bschne10@ITS.JNJ.com); Nithya Srinivasan
                                                                                                                                                   Nithya Srinivasan          Brent Schneider          (NSriniv1@its.jnj.com); Field Communications (ra‐ompus‐fieldcommun@its.jnj.com; Undisclosed
4267   JANSSENBIO‐PL_2‐0003942                                                       Withheld   docx    Guiton, Christopher      Attorney‐Client   (NSriniv1@its.jnj.com)     (bschne10@ITS.JNJ.com)   Recipients                                                                                                                                                                                                                                                                               5/22/2018

                                                                                                                                                                                                       William Cavanaugh ^ (wfcavanaugh@pbwt.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn
                                                                                                                                                                                                       Meisel ^ (kmeisel@its.jnj.com); Brent Schneider (bschne10@ITS.JNJ.com); Nithya Srinivasan
                                                                                                                                                                                                       (NSriniv1@its.jnj.com); Field Communications (ra‐ompus‐fieldcommun@its.jnj.com; Undisclosed
4268   JANSSENBIO‐PL_2‐0003943                                                       Withheld   pdf     Guiton, Christopher      Attorney‐Client   Joanna Karausz                                      Recipients                                                                                                                                                                                                                                                                               5/22/2018

                                                                                                                                                                                                       William Cavanaugh ^ (wfcavanaugh@pbwt.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn
                                                                                                                                                                                                       Meisel ^ (kmeisel@its.jnj.com); Brent Schneider (bschne10@ITS.JNJ.com); Nithya Srinivasan                                                                                                                                                                                                                       Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                       (NSriniv1@its.jnj.com); Field Communications (ra‐ompus‐fieldcommun@its.jnj.com; Undisclosed                   Kathryn Meisel ^ (kmeisel@its.jnj.com); William                                                                                                                                                   regarding issues relating to lawfulness of practice
4269   JANSSENBIO‐PL_2‐0003944                                                       Withheld   eMail   Guiton, Christopher      Attorney‐Client                                                       Recipients                                                                                                    Cavanaugh ^ (wfcavanaugh@pbwt.com)                 Christopher Guiton ^ (cguiton@its.jnj.com)   Christopher Guiton ^ (cguiton@its.jnj.com)                                 5/22/2018              management or IOI support services.

                                                                                                                                                                                                       William Cavanaugh ^ (wfcavanaugh@pbwt.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn
                                                                                                                                                                                                       Meisel ^ (kmeisel@its.jnj.com); Brent Schneider (bschne10@ITS.JNJ.com); Nithya Srinivasan
                                                                                                                                                                                                       (NSriniv1@its.jnj.com); Field Communications (ra‐ompus‐fieldcommun@its.jnj.com; Undisclosed                                                                      Field Communications (ra‐ompus‐
4270   JANSSENBIO‐PL_2‐0003945                                                       Withheld   eMail   Guiton, Christopher      Attorney‐Client                                                       Recipients                                                                                                    Undisclosed Recipients                             fieldcommun@its.jnj.com)                                                                                                5/22/2018

                                                                                                                                                                                                       William Cavanaugh ^ (wfcavanaugh@pbwt.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn
                                                                                                                                                                                                       Meisel ^ (kmeisel@its.jnj.com); Brent Schneider (bschne10@ITS.JNJ.com); Nithya Srinivasan
                                                                                                                                                   Nithya Srinivasan          Brent Schneider          (NSriniv1@its.jnj.com); Field Communications (ra‐ompus‐fieldcommun@its.jnj.com; Undisclosed
4271   JANSSENBIO‐PL_2‐0003946                                                       Withheld   docx    Guiton, Christopher      Attorney‐Client   (NSriniv1@its.jnj.com)     (bschne10@ITS.JNJ.com)   Recipients                                                                                                                                                                                                                                                                               5/22/2018

                                                                                                                                                                                                       William Cavanaugh ^ (wfcavanaugh@pbwt.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathryn
                                                                                                                                                                                                       Meisel ^ (kmeisel@its.jnj.com); Brent Schneider (bschne10@ITS.JNJ.com); Nithya Srinivasan
                                                                                                                                                                                                       (NSriniv1@its.jnj.com); Field Communications (ra‐ompus‐fieldcommun@its.jnj.com; Undisclosed
4272   JANSSENBIO‐PL_2‐0003947                                                       Withheld   pdf     Guiton, Christopher      Attorney‐Client   Joanna Karausz                                      Recipients                                                                                                                                                                                                                                                                               5/22/2018

                                                                                                                                                                                                       William Craco ^ (wcraco@corus.jnj.com); Shanya Dingle ^ (sdingle@cov.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^                                                                                                                                                                                                                            Email chain reflecting legal advice regarding issues
                                                                                                                                                                                                       (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Eileen Kerekes ^                                                                                                                                                                                                                            relating to lawfulness of practice management or IOI
4273   JANSSENBIO‐PL_2‐0003948                                                       Withheld   eMail   Guiton, Christopher      Attorney‐Client                                                       (ekereke@its.jnj.com); Ethan Posner ^ (eposner@cov.com)                                                       Eileen Kerekes ^ (ekereke@its.jnj.com)             Christopher Guiton ^ (cguiton@its.jnj.com)   William Craco ^ (wcraco@corus.jnj.com)                                      6/8/2017              support services.

                                                                                                                                                                                                       William Craco ^ (wcraco@corus.jnj.com); Shanya Dingle ^ (sdingle@cov.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^                                                                                                                                                                                                                            Email chain reflecting legal advice regarding issues
                                                                                                                                                                                                       (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Eileen Kerekes ^                          Christopher Guiton ^ (cguiton@its.jnj.com);                                                     Eileen Kerekes ^ (ekereke@its.jnj.com); Ethan Posner ^                                            relating to lawfulness of practice management or IOI
4274   JANSSENBIO‐PL_2‐0003949                                                       Withheld   eMail   Hamill, Kathleen         Attorney‐Client                                                       (ekereke@its.jnj.com); Ethan Posner ^ (eposner@cov.com)                                                       William Craco ^ (wcraco@corus.jnj.com)             Kathleen Hamill ^ (khamill@cntus.jnj.com)    (eposner@cov.com); Shanya Dingle ^ (sdingle@cov.com)                        6/9/2017              support services.

                                                                                                                                                                                                       William Craco ^ (wcraco@corus.jnj.com); Shanya Dingle ^ (sdingle@cov.com); Christopher Guiton ^
                                                                                                                                                                                                       (cguiton@its.jnj.com); Christopher Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^                                                                                                                                                                                                                            Email chain reflecting legal advice regarding issues
                                                                                                                                                                                                       (khamill@cntus.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); Eileen Kerekes ^                                                                                                                                                                                                                            relating to lawfulness of practice management or IOI
4275   JANSSENBIO‐PL_2‐0003950                                                       Withheld   eMail   Hamill, Kathleen         Attorney‐Client                                                       (ekereke@its.jnj.com); Ethan Posner ^ (eposner@cov.com)                                                       Christopher Guiton ^ (cguiton@its.jnj.com)         Kathleen Hamill ^ (khamill@cntus.jnj.com)                                                                                6/7/2017              support services.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain reflecting legal advice from Freddy Jimenez ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       regarding customer‐facing practice management or IOI
4276                             JANSSENBIO‐021‐00007365   JANSSENBIO‐021‐00007366   Redacted   eMail   Trahan, Karen            Attorney‐Client                                                       Larry Box (lbox@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com)                                            Karen Trahan (ktrahan@its.jnj.com)                 Larry Box (lbox@cntus.jnj.com)                                                                                          5/16/2007              support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting request for legal advice from
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Legal Department regarding preparation/review of
                                                                                                                                                   Anna Maria Acquaviva       Michael Wolfe                                                                                                                                                                                                                                                                                                                            customer‐facing practice management or IOI support
4277   JANSSENBIO‐PL_2‐0003951   JANSSENBIO‐053‐00009205   JANSSENBIO‐053‐00009205   Withheld   pptx    Wolfe, Michael           Attorney‐Client   (aacqua23@its.jnj.com)     (mwolfe2@its.jnj.com)    Thao Marzullo (tmarzull@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com)                                                                                                                                                                                                               12/16/2014              material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
4278                             JANSSENBIO‐063‐00002404                                                                                                                                                                                                                                                                                                                                                                                                                                                               2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email Chain reflecting request for legal advice from the
                                                                                                                                                                                                       William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michelle Walls                                                                                                                                                                                                                     Law Department ^ regarding attendance at speaker
4279                             JANSSENBIO‐012‐00000962   JANSSENBIO‐012‐00000963   Redacted   eMail   Trahan, Karen            Attorney‐Client                                                       (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com)           William Pettit (wpettitj@cntus.jnj.com)            Michelle Walls (mwalls@its.jnj.com)          Karen Trahan (ktrahan@its.jnj.com)                                         2/23/2011              programs.

                                                                                                                                                                                                       Roger Kung (rkung@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Karen Trahan
                                                                                                                                                                                                       (ktrahan@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Donna
                                                                                                                                                                                                       Gilbert (donna.gilbert@xcenda.com); Joanne Parillo (joanne.parillo@xcenda.com); Susan Parker                                                                                                                                                                                                                    Email Chain reflecting legal advice from the Law
4280                             JANSSENBIO‐021‐00005988   JANSSENBIO‐021‐00005989   Redacted   eMail   Trahan, Karen            Attorney‐Client                                                       (susan.parker@xcenda.com)                                                                                     Karen Trahan (ktrahan@its.jnj.com)                 William Pettit (wpettitj@cntus.jnj.com)                                                                                  4/8/2011              Department ^ regarding attendance at speaker programs.

                                                                                                                                                                                                       Lynda Grant (lgant@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); Peta Graham                                                                                                                                                                                                                                Report reflecting legal advice from Legal Department
                                                                                                        Trahan, Karen; Weimer,                     Peta Graham                Lynda Grant              (pgraham1@its.jnj.com); Scott Habig (shabig@its.jnj.com); William Pettit (wpettitj@its.jnj.com); Brad                                                                                                                                                                                                           regarding issues relating to lawfulness of practice
4281                             JANSSENBIO‐011‐00009459   JANSSENBIO‐011‐00009460   Redacted   doc     Edward                   Attorney‐Client   (PGraham1@its.jnj.com)     (lgant@its.jnj.com);     Rakes (brakes@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Ed Weimer (eweimer@its.jnj.com)                                                                                                                                                                                         10/28/2008              management or IOI support services.



                                                                                                                                                                                                       Michelle Walls (mwalls@its.jnj.com); Lynda Grant (lgant@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com);
                                                                                                                                                                                                       William Pettit (wpettitj@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Chris Firriolo
                                                                                                                                                                                                       (cfirriol@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com);                                                                                                       Karen Trahan (ktrahan@its.jnj.com); Michelle Walls
                                                                                                                                                                                                       Rebecca Hayes (rhayes5@its.jnj.com); Thomas Hiriak (thiriak3@its.jnj.com); Richard Lewis                                                                                                                      (mwalls@its.jnj.com); Richard Lewis                                                               Email Chain reflecting legal advice from the Law
4282                             JANSSENBIO‐011‐00009510   JANSSENBIO‐011‐00009512   Redacted   eMail   Trahan, Karen            Attorney‐Client                                                       (rlewis2@its.jnj.com); Dave Rybak (drybak2@its.jnj.com); Dorothy Sokolowski (dsokolo@its.jnj.com)             William Pettit (wpettitj@cntus.jnj.com)         Lynda Gant (lgant@its.jnj.com)                  (rlewis2@its.jnj.com)                                                      12/5/2008              Department ^ regarding setting for speaker programs.
                                                                                                                                                                                                                                                                                                                     Logan Morse (lmorse@its.jnj.com); Peter DiPalma
                                                                                                                                                                                                                                                                                                                     (pdipalma@its.jnj.com); Jimmy Anderson
                                                                                                                                                                                                                                                                                                                     (janders7@its.jnj.com); Rebekah Langford
                                                                                                                                                                                                                                                                                                                     (rlangfor@its.jnj.com); David Gelfuso
                                                                                                                                                                                                                                                                                                                     (dgelfuso@its.jnj.com); John Hogan
                                                                                                                                                                                                                                                                                                                     (jhogan3@its.jnj.com); Keith Varni
                                                                                                                                                                                                       Logan Morse (lmorse@its.jnj.com); Peter DiPalma (pdipalma@its.jnj.com); Jimmy Anderson                        (kvarni@its.jnj.com); Margaret Anderson
                                                                                                                                                                                                       (janders7@its.jnj.com); Rebekah Langford (rlangfor@its.jnj.com); David Gelfuso (dgelfuso@its.jnj.com);        (manders7@its.jnj.com); Bob Russell
                                                                                                                                                                                                       John Hogan (jhogan3@its.jnj.com); Keith Varni (kvarni@its.jnj.com); Margaret Anderson                         (brussell@its.jnj.com); William Pettit
                                                                                                                                                                                                       (manders7@its.jnj.com); Bob Russell (brussell@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com);          (wpettitj@cntus.jnj.com); Karen Trahan                                                                                                                                                            Email Chain reflecting request for legal advice from the
                                                                                                                                                                                                       Karen Trahan (ktrahan@its.jnj.com); Joseph Valeriani Joseph Valeriani (jvaleri1@its.jnj.com); Carlos Torres   (ktrahan@its.jnj.com); Joseph Valeriani Joseph                                                                                                                                                    Law Department ^ regarding attendance at speaker
4283                             JANSSENBIO‐064‐00003261   JANSSENBIO‐064‐00003266   Redacted   htm     Trahan, Karen            Attorney‐Client                                                       (ctorre11@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                   Valeriani (jvaleri1@its.jnj.com)                Carlos Torres (ctorre11@its.jnj.com)            Michelle Walls (mwalls@its.jnj.com)                                        5/11/2011              programs.

                                                                                                                                                                                                       Christopher Guiton ^ (cguiton@its.jnj.com); Eric Monzon (emonzon1@its.jnj.com); Lawrence Conley                                                                                                               Lawrence Conley (lconley1@its.jnj.cm); Pierrette Malek                                            Email Chain providing legal advice from Legal Department
                                                                                                                                                                                                       (lconley1@its.jnj.cm); Pierrette Malek (Pierette.Malek@draftfcb.com); Christine Lindquist                                                                                                                     (Pierette.Malek@draftfcb.com); Christine Lindquist                                                regarding preparation/review of customer‐facing practice
4284                             JANSSENBIO‐017‐00052328   JANSSENBIO‐017‐00052329   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client                                                       (Christinelindquist@draflfcb.com); Ellen Perucki (eperucki@its.jnj.com)                                       Ellen Perucki (eperucki@its.jnj.com)               Eric Monzon (emonzon1@its.jnj.com)           (Christinelindquist@draflfcb.com)                                           6/7/2013              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                     Kathleen Hamill ^ (khamill@cntus.jnj.com); Faiz Sadeq
                                                                                                                                                                                                                                                                                                                                                                                                                     (fsadeq@its.jnj.com); Ellen Perucki
                                                                                                                                                                                                       Tracy Krasuski (tkrasusk@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Kathleen Hamill ^                                                                                                                 (eperucki@its.jnj.com); Susan Mellinger                                                           Email communication providing legal advice regarding
                                                                                                                                                                                                       (khamill@cntus.jnj.com); Faiz Sadeq (fsadeq@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Susan                                                                                                         (susan.mellinger@sudler.com); Natasha Irani                                                       preparation/review of customer‐facing practice
4285                             JANSSENBIO‐017‐00053671   JANSSENBIO‐017‐00053671   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client                                                       Mellinger (susan.mellinger@sudler.com); Natasha Irani (natasha.irani@sudlerdigital.com)                       Tracy Krasuski (tkrasusk@its.jnj.com);             Michelle Walls (mwalls@its.jnj.com)          (natasha.irani@sudlerdigital.com)                                         12/12/2012              management or IOI support material.

                                                                                                                                                                                                       Darah Biddle (dbiddle9@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Teresa Giuliana                   Darah Biddle (dbiddle9@its.jnj.com); Teresa                                                                                                                                                       Email Chain reflecting legal advice regarding
                                                                                                                                                   Teresa Giuliana                                     (tgiulian@cntus.jnj.com); Jim Paul (jkpaul@thomasjpaul.com); Danielle King (dking@thomasjpaul.com);           Giuliana (tgiulian@cntus.jnj.com); Brian Kerns ;                                                                                                                                                  preparation/review of customer‐facing practice
4286                             JANSSENBIO‐032‐00001164   JANSSENBIO‐032‐00001166   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   (tgiulian@cntus.jnj.com)                            Brian Kerns                                                                                                   Danielle King (dking@thomasjpaul.com)              Jim Paul (jkpaul@thomasjpaul.com)                                                                                       1/28/2011              management or IOI support material.


                                                                                                                                                                                                       Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Danielle King
                                                                                                                                                                                                       (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com); Darcie McVicker                                                                                                                                                                                                                                     Form reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                       (dmcvicker@thomasjpaul.com); Donna Feiler (dfeiler@thomasjpaul.com); Danielle Imperial                                                                                                                                                                                                                          regarding preparation of customer‐facing practice
4287                             JANSSENBIO‐017‐00044522   JANSSENBIO‐017‐00044522   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   M WALSH                                             (dimperial@thomasjpaul.com); Leighton Stanton (lstanton@thomasjpaul.com)                                                                                                                                                                                                                 5/30/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Form reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                   Danielle King                                                                                                                                                                                                                                                                                                                                                       regarding preparation of customer‐facing practice
4288                             JANSSENBIO‐017‐00044678   JANSSENBIO‐017‐00044678   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client   (dking@thomasjpaul.com)                             Danielle King (dking@thomasjpaul.com)                                                                                                                                                                                                                                                     9/1/2021              management or IOI support material.
                                                                                                                                                                                                       Kathleen Hamill ^ (khamill@cntus.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki                                                                                                                                                                                                              Email Chain providing legal advice regarding
                                                                                                                                                                                                       (eperucki@its.jnj.com); Camille Dorsey (cdorsey@its.jnj.com); Jim Paul (jkpaul@thomasjpaul.com); Aimee                                                                                                                                                                                                          preparation/review of customer‐facing practice
4289                             JANSSENBIO‐017‐00045741   JANSSENBIO‐017‐00045743   Redacted   pdf     Janssen Biotech, Inc.    Attorney‐Client                                                       Leary                                                                                                         Ellen Perucki (eperucki@its.jnj.com)               Camille Dorsey (cdorsey@its.jnj.com)                                                                                    5/16/2012              management or IOI support material.




                                                                                                                                                                                                                                                                              197
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 199 of 201


                                                                                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki                                                                                                                                                                                           Email Chain providing legal advice regarding
                                                                                                                                                                                                           (eperucki@its.jnj.com); Camille Dorsey (cdorsey@its.jnj.com); Jim Paul (jkpaul@thomasjpaul.com); Aimee                                                                                                                                                                                       preparation/review of customer‐facing practice
4290                             JANSSENBIO‐017‐00045764   JANSSENBIO‐017‐00045766   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client                                                         Leary                                                                                                       Ellen Perucki (eperucki@its.jnj.com)              Camille Dorsey (cdorsey@its.jnj.com)                                                                    5/16/2012              management or IOI support material.

                                                                                                                                                                                                           Kathleen Hamill ^ (khamill@cntus.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki                                                                                                                                                                                           Email Chain providing legal advice regarding
                                                                                                                                                                                                           (eperucki@its.jnj.com); Camille Dorsey (cdorsey@its.jnj.com); Jim Paul (jkpaul@thomasjpaul.com); Aimee                                                                                                                                                                                       preparation/review of customer‐facing practice
4291                             JANSSENBIO‐017‐00045787   JANSSENBIO‐017‐00045789   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client                                                         Leary                                                                                                       Ellen Perucki (eperucki@its.jnj.com)              Camille Dorsey (cdorsey@its.jnj.com)                                                                    5/16/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email Chain providing legal advice regarding
                                                                                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Camille Dorsey                                                                                                            Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki                            preparation/review of customer‐facing practice
4292                             JANSSENBIO‐017‐00046167   JANSSENBIO‐017‐00046169   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client                                                         (cdorsey@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                            Kathleen Hamill ^ (khamill@cntus.jnj.com)         Camille Dorsey (cdorsey@its.jnj.com)        (eperucki@its.jnj.com)                                      5/16/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email Chain providing legal advice regarding
                                                                                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Camille Dorsey                                                                                                            Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki                            preparation/review of customer‐facing practice
4293                             JANSSENBIO‐017‐00046194   JANSSENBIO‐017‐00046196   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client                                                         (cdorsey@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                            Kathleen Hamill ^ (khamill@cntus.jnj.com)         Camille Dorsey (cdorsey@its.jnj.com)        (eperucki@its.jnj.com)                                      5/16/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email Chain providing legal advice regarding
                                                                                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Camille Dorsey                                                                                                            Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki                            preparation/review of customer‐facing practice
4294                             JANSSENBIO‐017‐00046271   JANSSENBIO‐017‐00046272   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client                                                         (cdorsey@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                            Kathleen Hamill ^ (khamill@cntus.jnj.com)         Camille Dorsey (cdorsey@its.jnj.com)        (eperucki@its.jnj.com)                                      5/16/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email Chain providing legal advice regarding
                                                                                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Camille Dorsey                                                                                                            Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki                            preparation/review of customer‐facing practice
4295                             JANSSENBIO‐017‐00046291   JANSSENBIO‐017‐00046292   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client                                                         (cdorsey@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                            Kathleen Hamill ^ (khamill@cntus.jnj.com)         Camille Dorsey (cdorsey@its.jnj.com)        (eperucki@its.jnj.com)                                      5/16/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email Chain providing legal advice regarding
                                                                                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Camille Dorsey                                                                                                            Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki                            preparation/review of customer‐facing practice
4296                             JANSSENBIO‐017‐00046311   JANSSENBIO‐017‐00046312   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client                                                         (cdorsey@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                            Kathleen Hamill ^ (khamill@cntus.jnj.com)         Camille Dorsey (cdorsey@its.jnj.com)        (eperucki@its.jnj.com)                                      5/16/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email Chain providing legal advice regarding
                                                                                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Camille Dorsey                                                                                                            Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki                            preparation/review of customer‐facing practice
4297                             JANSSENBIO‐017‐00046332   JANSSENBIO‐017‐00046333   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client                                                         (cdorsey@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                            Kathleen Hamill ^ (khamill@cntus.jnj.com)         Camille Dorsey (cdorsey@its.jnj.com)        (eperucki@its.jnj.com)                                      5/16/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email Chain providing legal advice regarding
                                                                                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Camille Dorsey                                                                                                            Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki                            preparation/review of customer‐facing practice
4298                             JANSSENBIO‐017‐00046353   JANSSENBIO‐017‐00046354   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client                                                         (cdorsey@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                            Kathleen Hamill ^ (khamill@cntus.jnj.com)         Camille Dorsey (cdorsey@its.jnj.com)        (eperucki@its.jnj.com)                                      5/16/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email Chain providing legal advice regarding
                                                                                                                                                                                                           Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Camille Dorsey                                                                                                            Teresa Giuliana (tgiulian@cntus.jnj.com); Ellen Perucki                            preparation/review of customer‐facing practice
4299                             JANSSENBIO‐017‐00046397   JANSSENBIO‐017‐00046398   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client                                                         (cdorsey@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com)                                            Kathleen Hamill ^ (khamill@cntus.jnj.com)         Camille Dorsey (cdorsey@its.jnj.com)        (eperucki@its.jnj.com)                                      5/16/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Form reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation of customer‐facing practice
4300                             JANSSENBIO‐017‐00047088   JANSSENBIO‐017‐00047088   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client   Zachary.Bridges@xcenda.com                                                                                                                                                                                                                                                                                                   8/7/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Form reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation of customer‐facing practice
4301                             JANSSENBIO‐017‐00047139   JANSSENBIO‐017‐00047139   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client   Zachary.Bridges@xcenda.com                                                                                                                                                                                                                                                                                                  9/12/2012              management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Form reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        regarding preparation of customer‐facing practice
4302                             JANSSENBIO‐017‐00047245   JANSSENBIO‐017‐00047299   Redacted   pdf     Janssen Biotech, Inc.      Attorney‐Client   Zachary.Bridges@xcenda.com                                                                                                                                                                                                                                                                                                  8/23/2012              management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Department regarding preparation/review of customer‐
4303                             JANSSENBIO‐032‐00000271   JANSSENBIO‐032‐00000333   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                          1/18/2006 facing practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Memorandum reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Department regarding preparation/review of customer‐
4304                             JANSSENBIO‐031‐00013130   JANSSENBIO‐031‐00013131   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                                     facing practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Department regarding preparation/review of internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        training or internal guidance concerning practice
4305                             JANSSENBIO‐031‐00013200   JANSSENBIO‐031‐00013247   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                                     management or IOI support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Department regarding preparation/review of customer‐
4306                             JANSSENBIO‐031‐00013248   JANSSENBIO‐031‐00013297   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                          2/25/2004 facing practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Department regarding preparation/review of customer‐
4307                             JANSSENBIO‐032‐00000007   JANSSENBIO‐032‐00000045   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                          4/21/2006 facing practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Department regarding preparation/review of customer‐
4308                             JANSSENBIO‐032‐00000170   JANSSENBIO‐032‐00000200   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                           1/5/2006 facing practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                Randy Godard^ (RGodard1@CORUS.JNJ.com); Rhonda
                                                                                                                                                                                                                                                                                                                                                                                                                Burden (rburden@its.jnj.com); Arlene Hubler                                            Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                (ahubler@its.jnj.com); Nikki Burton‐Deloatch                                           regarding preparation/review of customer‐facing practice
4309                             JANSSENBIO‐031‐00001424   JANSSENBIO‐031‐00001425   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                    Jean Murray (jmurray3@cntus.jnj.com)              Mary Chambers (mchambe4@cntus.jnj.com) (NBurtonD@CNTUS.JNJ.COM)                                                      8/2/2006 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                Randy Godard^ (RGodard1@CORUS.JNJ.com); Rhonda
                                                                                                                                                                                                                                                                                                                                                                                                                Burden (rburden@its.jnj.com); Arlene Hubler                                            Email Chain reflecting legal advice regarding
                                                                                                                                                     Mary Chambers                                                                                                                                                                                                                                              (ahubler@its.jnj.com); Nikki Burton‐Deloatch                                           preparation/review of customer‐facing practice
4310                             JANSSENBIO‐031‐00001463   JANSSENBIO‐031‐00001464   Redacted           Janssen Biotech, Inc.      Attorney‐Client   (mchambe4@cntus.jnj.com)                                                                                                                                          Jean Murray (jmurray3@cntus.jnj.com)              Mary Chambers (mchambe4@cntus.jnj.com) (NBurtonD@CNTUS.JNJ.COM)                                                      8/2/2006 management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Report reflecting legal advice from Legal Department
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       internal guidance concerning practice management or IOI
4311                             JANSSENBIO‐031‐00008016   JANSSENBIO‐031‐00008016   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                                    support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Report reflecting legal advice from Legal Department
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       regarding preparation/review of customer‐facing practice
4312                             JANSSENBIO‐031‐00008128   JANSSENBIO‐031‐00008134   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                           2/1/2007 management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Department regarding preparation/review of customer‐
4313                             JANSSENBIO‐031‐00009584   JANSSENBIO‐031‐00009603   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                                     facing practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Department regarding preparation/review of customer‐
4314                             JANSSENBIO‐032‐00001089   JANSSENBIO‐032‐00001109   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                          11/1/2007 facing practice management or IOI support material.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Department regarding preparation/review of customer‐
4315                             JANSSENBIO‐031‐00009777   JANSSENBIO‐031‐00009822   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                           6/1/2007 facing practice management or IOI support material.
                                                                                                                                                                                                                                                                                                                                                                                                                     Dina Papadopoulos (dpapadop@cntus.jnj.com); John
                                                                                                                                                                                                           Sandra Shpilberg (sshpilbe@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Dina Papadopoulos                                                                                                     Murray (jmurray6@cntus.jnj.com); Julie Thomas                                     Email communication requesting legal advice regarding
                                                                                                                                                     Sandra Shpilberg                                      (dpapadop@cntus.jnj.com); John Murray (jmurray6@cntus.jnj.com); Julie Thomas                                                                                                                              (jthoma19@its.jnj.com); Michael Daley                                             issues relating to lawfulness of practice management or
4316   JANSSENBIO‐PL_2‐0003952   JANSSENBIO‐031‐00011516   JANSSENBIO‐031‐00011516   Withheld           Janssen Biotech, Inc.      Attorney‐Client   (sshpilbe@cntus.jnj.com)                              (jthoma19@its.jnj.com); Michael Daley (mdaley@its.jnj.com)                                                  Freddy Jimenez ^ (fjimene3@its.jnj.com)           Sandra Shpilberg (sshpilbe@cntus.jnj.com)   (mdaley@its.jnj.com)                                                     4/1/2003 IOI support services.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Department regarding preparation/review of internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       training or internal guidance concerning practice
4317                             JANSSENBIO‐031‐00012975   JANSSENBIO‐031‐00012985   Redacted           Janssen Biotech, Inc.      Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                           2/1/2003 management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Department regarding preparation/review of internal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       training or internal guidance concerning practice
4318                             JANSSENBIO‐031‐00013134   JANSSENBIO‐031‐00013199   Redacted           Janssen Biotech, Inc.      Attorney‐Client   MCV and Assoc                                                                                                                                                                                                                                                                                                                           9/18/2003 management or IOI support.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Presentation reflecting legal advice from Legal
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Department regarding preparation/review of internal
                                                                                                                                                     Doug Kennedy                                          Michelle Walls (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Thomas Cornely                                                                                                                                                                                                    training or internal guidance concerning practice
4319                             JANSSENBIO‐047‐00001019   JANSSENBIO‐047‐00001019   Redacted   pptx    Cornely, Thomas            Attorney‐Client   (dkenned6@its.jnj.com)       Walls, Michelle[HCCUS]   (tcornel@its.jnj.com)                                                                                                                                                                                                                                                12/17/2014             management or IOI support.
                                                                                                                                                                                                                                                                                                                       Bob Russell (brussell@its.jnj.com); David Gelfuso
                                                                                                                                                                                                                                                                                                                       (dgelfuso@its.jnj.com); Jimmy Anderson
                                                                                                                                                                                                                                                                                                                       (janders7@its.jnj.com); John Hogan
                                                                                                                                                                                                                                                                                                                       (jhogan3@its.jnj.com); Joseph Valeriani
                                                                                                                                                                                                                                                                                                                       (jvaleri1@its.jnj.com); Karen Trahan
                                                                                                                                                                                                           Jimmy Anderson (janders7@its.jnj.com); Margaret Anderson (manders7@its.jnj.com); Peter DiPalma              (ktrahan@its.jnj.com); Keith Varni
                                                                                                                                                                                                           (pdipalma@its.jnj.com); David Gelfuso (dgelfuso@its.jnj.com); John R. Hogan (jhogan3@its.jnj.com);          (kvarni@its.jnj.com); Logan Morse
                                                                                                                                                                                                           Roger Kung (rkung@its.jnj.com); Rebekah Langford (rlangfor@its.jnj.com); Logan Morse                        (lmorse@its.jnj.com); Margaret Anderson
                                                                                                                                                                                                           (lmorse@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Bob Russell (brussell@its.jnj.com); Carlos   (manders7@obius.jnj.com); Peter DiPalma
                                                                                                                                                                                                           Torres (ctorre11@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Keith Varni (kvarni@its.jnj.com);        (pdipalma@its.jnj.com); Rebekah Langford                                                                                                                                         Email with attachment(s) reflecting request for legal
                                                                                                        Morse, Logan; Valeriani,                                                                           Michelle Walls (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood                       (rlangfor@its.jnj.com); William Pettit                                                                                                                                           advice from the Law Department ^ regarding interactions
4320                             JANSSENBIO‐064‐00001690   JANSSENBIO‐064‐00001695   Redacted   eMail   Joseph; Walls, Michelle    Attorney‐Client                                                         (awood6@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)         (wpettitj@cntus.jnj.com)                          Carlos Torres (ctorre11@its.jnj.com)        Michelle Walls (mwalls@its.jnj.com)                         5/11/2011              with customers.

                                                                                                                                                                                                                                                                                                                                                                                                                     Bob Russell (brussell@its.jnj.com); David Gelfuso
                                                                                                                                                                                                                                                                                                                                                                                                                     (dgelfuso@its.jnj.com); Jimmy Anderson
                                                                                                                                                                                                                                                                                                                                                                                                                     (janders7@its.jnj.com); John Hogan
                                                                                                                                                                                                           Jimmy Anderson (janders7@its.jnj.com); Margaret Anderson (manders7@its.jnj.com); Peter DiPalma                                                                                                            (jhogan3@its.jnj.com); Joseph Valeriani
                                                                                                                                                                                                           (pdipalma@its.jnj.com); David Gelfuso (dgelfuso@its.jnj.com); John R. Hogan (jhogan3@its.jnj.com);                                                                                                        (jvaleri1@its.jnj.com); Karen Trahan
                                                                                                                                                                                                           Roger Kung (rkung@its.jnj.com); Rebekah Langford (rlangfor@its.jnj.com); Logan Morse                                                                                                                      (ktrahan@its.jnj.com); Keith Varni (kvarni@its.jnj.com);
                                                                                                                                                                                                           (lmorse@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Bob Russell (brussell@its.jnj.com); Carlos                                                                                                 Margaret Anderson (manders7@obius.jnj.com); Peter
                                                                                                                                                                                                           Torres (ctorre11@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Keith Varni (kvarni@its.jnj.com);                                                                                                      DiPalma (pdipalma@its.jnj.com); Rebekah Langford                                   Email with attachment(s) reflecting request for legal
                                                                                                        Morse, Logan; Valeriani,                                                                           Michelle Walls (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Joseph Valeriani                                                                                                                (rlangfor@its.jnj.com); William Pettit                                             advice from the Law Department ^ regarding interactions
4321                             JANSSENBIO‐064‐00001731   JANSSENBIO‐064‐00001735   Redacted   eMail   Joseph                     Attorney‐Client                                                         (jvaleri1@its.jnj.com)                                                                                      Logan Morse (lmorse@its.jnj.com)                  Carlos Torres (ctorre11@its.jnj.com)        (wpettitj@cntus.jnj.com)                                    5/11/2011              with customers.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Document reflecting legal advice from Kathleen Hamill ^
                                                                                                                                                                                                           Faiz Sadeq (fsadeq@its.jnj.com); Danielle Imperial (fimpelli@crdus.jnj.com); Danielle King                                                                                                                                                                                                   regarding review of customer‐facing practice
4322                             JANSSENBIO‐063‐00001583   JANSSENBIO‐063‐00001660   Redacted   pdf     Sadeq, Faiz                Attorney‐Client   avigo                                                 (dking@thomasjpaul.com); Donna Feiler (dfeiler@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com)                                                                                                                                                                   10/11/2012              management or IOI support material.


                                                                                                                                                                                                           Faiz Sadeq (fsadeq@its.jnj.com); Michael Wolfe (mwolfe2@its.jnj.com); Danielle King
                                                                                                                                                                                                           (dking@thomasjpaul.com); Jim Paul (jkpaul@thomasjpaul.com); Darcie McVicker                                                                                                                                                                                                                  Presentation reflecting legal advice from Legal
                                                                                                                                                                                                           (dmcvicker@thomasjpaul.com); Donna Feiler (dfeiler@thomasjpaul.com); Danielle Imperial                                                                                                                                                                                                       Department regarding preparation/review of customer‐
4323                             JANSSENBIO‐052‐00002629   JANSSENBIO‐052‐00002705   Redacted   PDF     Sadeq, Faiz                Attorney‐Client   M WALSH                                               (dimperial@thomasjpaul.com); Leighton Stanton (lstanton@thomasjpaul.com)                                                                                                                                                                                              5/23/2012              facing practice management or IOI support material.




                                                                                                                                                                                                           Jimmy Anderson (janders7@its.jnj.com); Margaret Anderson (manders7@its.jnj.com); Peter DiPalma
                                                                                                                                                                                                           (pdipalma@its.jnj.com); David Gelfuso (dgelfuso@its.jnj.com); John R. Hogan (jhogan3@its.jnj.com);
                                                                                                                                                                                                           Roger Kung (rkung@its.jnj.com); Rebekah Langford (rlangfor@its.jnj.com); Logan Morse
                                                                                                                                                                                                           (lmorse@its.jnj.com); William Pettit (wpettitj@cntus.jnj.com); Bob Russell (brussell@its.jnj.com); Carlos
                                                                                                                                                                                                           Torres (ctorre11@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Keith Varni (kvarni@its.jnj.com);
                                                                                                                                                                                                           Michelle Walls (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood                                                                                                                                                                                                        Email with attachment(s) reflecting request for legal
                                                                                                                                                                                                           (awood6@its.jnj.com); Timothy Grimes (tgrimes@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com);        Carlos Torres (ctorre11@its.jnj.com); Thomas                                                                                                                                     advice from the Law Department ^ regarding interactions
4324                             JANSSENBIO‐064‐00003302   JANSSENBIO‐064‐00003307   Redacted   eMail   Valeriani, Joseph          Attorney‐Client                                                         Thomas Occhipinti (tocchipi@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com)                           Occhipinti (tocchipi@its.jnj.com)                 Joseph Valeriani (jvaleri1@its.jnj.com)                                                                 5/11/2011              with customers.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email Chain reflecting request for legal advice from the
                                                                                                                                                                                                           William Pettit (wpettitj@cntus.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Michelle Walls                                                                                                                                                                                                  Law Department ^ regarding attendance at speaker
4325                             JANSSENBIO‐060‐00009570   JANSSENBIO‐060‐00009571   Redacted   eMail   Walls, Michelle            Attorney‐Client                                                         (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Linda Robertson (lrober12@cntus.jnj.com)         William Pettit (wpettitj@cntus.jnj.com)           Michelle Walls (mwalls@its.jnj.com)         Karen Trahan (ktrahan@its.jnj.com)                          2/23/2011              programs.




                                                                                                                                                                                                           Roger Kung (rkung@its.jnj.com); Carlos Torres (ctorre11@its.jnj.com); Michelle Walls
                                                                                                                                                                                                           (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Timothy
                                                                                                                                                                                                           Grimes (tgrimes@its.jnj.com); Logan Morse (LMorse@its.jnj.com); Peter DiPalma (PDipalma@its.jnj.com);
                                                                                                                                                                                                           Jimmy Anderson (JAnders7@its.jnj.com); Rebekah Langford (RLangfor@its.jnj.com); David Gelfuso
                                                                                                                                                                                                           (DGelfuso@its.jnj.com); John Hogan (JHogan3@its.jnj.com); Keither Varni (KVarni@its.jnj.com); Margaret                                                                                                                                                                                       Email Chain reflecting request for legal advice from the
                                                                                                                                                                                                           Anderson (MAnders7@its.jnj.com); Bob Russell (BRussell@its.jnj.com); William Pettit                                                                                                                                                                                                          Law Department ^ regarding interactions with
4326                             JANSSENBIO‐064‐00003401   JANSSENBIO‐064‐00003409   Redacted   eMail   Walls, Michelle            Attorney‐Client                                                         (WPettitj@its.jnj.com); Karen Trahan (ktrahan@its.jnj.com); Joseph Valeriani (JValeri1@its.jnj.com)         Timothy Grimes (tgrimes@its.jnj.com)              Michelle Walls (mwalls@its.jnj.com)         Angela Wood (awood6@its.jnj.com)                            5/12/2011              customers.
                                                                                                                                                                                                           Roger Kung (rkung@its.jnj.com); Carlos Torres (ctorre11@its.jnj.com); Michelle Walls                                                                                                                                                                                                         Email Chain reflecting request for legal advice from the
                                                                                                                                                                                                           (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Timothy        Michelle Walls (mwalls@its.jnj.com); Roger Kung                                                                                                                                  Law Department ^ regarding interactions with
4327                             JANSSENBIO‐064‐00003416   JANSSENBIO‐064‐00003421   Redacted   eMail   Walls, Michelle            Attorney‐Client                                                         Grimes (tgrimes@its.jnj.com)                                                                                (rkung@its.jnj.com)                             Timothy Grimes (tgrimes@its.jnj.com)          Angela Wood (awood6@its.jnj.com)                            5/11/2011              customers.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        REMOVED FROM PRIVILEGE LOG ‐ DUPLICATE OF
4328                             JANSSENBIO‐061‐00006909                                                                                                                                                                                                                                                                                                                                                                                                                                                PREVIOUS ENTRY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        Email Chain reflecting request for legal advice from the
                                                                                                                                                                                                           Roger Kung (rkung@its.jnj.com); Carlos Torres (ctorre11@its.jnj.com); Michelle Walls                                                                                                                                                                                                         Law Department ^ regarding interactions with
4329                             JANSSENBIO‐061‐00006925   JANSSENBIO‐061‐00006929   Redacted   eMail   Walls, Michelle            Attorney‐Client                                                         (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com)                                                   Michelle Walls (mwalls@its.jnj.com)               Roger Kung (rkung@its.jnj.com)                                                                          3/29/2011              customers.




                                                                                                                                                                                                                                                                                  198
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 200 of 201

                                                                                                                                                                                                            Roger Kung (rkung@its.jnj.com); Carlos Torres (ctorre11@its.jnj.com); Michelle Walls                                                                                                                                                                                                Email Chain reflecting request for legal advice from the
                                                                                                                                                                                                            (mwalls@its.jnj.com); Michelle Walls (mwalls@its.jnj.com); Angela Wood (awood6@its.jnj.com); Timothy            Michelle Walls (mwalls@its.jnj.com); Timothy                                                 Angela Wood (awood6@its.jnj.com); Roger Kung                           Law Department ^ regarding interactions with
4330                             JANSSENBIO‐064‐00003482   JANSSENBIO‐064‐00003487   Redacted   eMail   Walls, Michelle         Attorney‐Client                                                             Grimes (tgrimes@its.jnj.com)                                                                                    Grimes (tgrimes@its.jnj.com)                     Carlos Torres (ctorre11@its.jnj.com)        (rkung@its.jnj.com)                                        5/11/2011   customers.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email communication providing information to counsel
                                                                                                                                                                                                            Angela Wood (awood6@its.jnj.com); Joseph Valeriani (jvaleri1@its.jnj.com); Christopher Guiton ^                 Angela Wood (awood6@its.jnj.com); Christopher                                                                                                                       for the purpose of receiving legal advice regarding
                                                                                                                                                                                                            (cguiton@its.jnj.com); Kathleen Hamill ^ (khamill@cntus.jnj.com); ken Haney (jhaney2@its.jnj.com); Eric         Guiton ^ (cguiton@its.jnj.com); Kathleen Hamill ^                                                                                                                   preparation/review of internal training or internal
                                                                                                                                                                                                            Monzon (emonzon1@its.jnj.com); Kathryn Roberts (krober10@its.jnj.com); Brian Smith                              (khamill@cntus.jnj.com); Kathryn Roberts                                                     Brian Smith (bsmith32@its.jnj.com); Joseph Valeriani                   guidance concerning practice management or IOI
4331   JANSSENBIO‐PL_2‐0003953                                                       Withheld   eMail   Monzon, John            Attorney‐Client                                                             (bsmith32@its.jnj.com)                                                                                          (krober10@its.jnj.com)                             Eric Monzon (emonzon1@its.jnj.com)        (jvaleri1@its.jnj.com); ken Haney (jhaney2@its.jnj.com)     1/3/2013   support.
                                                                                                                                                                                                                                                                                                                            Andres Rodriguez (arodri20@cntus.jnj.com);
                                                                                                                                                                                                                                                                                                                            Brian Fitzpatrick (bfitzpa2@cntus.jnj.co); Cynthia
                                                                                                                                                                                                                                                                                                                            Chamberlain (cchamber@cntus.jnj.com); Ellen
                                                                                                                                                                                                            Cynthia Chamberlain (cchamber@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Michael Cuozzo                      Perucki (EPerucki@cntus.jnj.com); Freddy
                                                                                                                                                                                                            (mcuozzo1@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Brian Fitzpatrick (bfitzpa2@cntus.jnj.co);     Jimenez ^ (fjimene3@corus.jnj.com); Jean Murray
                                                                                                                                                                                                            Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Janet Main                   (jmurray3@cntus.jnj.com); Jessica Rotzell                                                    Chris Firriolo (cfirriol@its.jnj.com); Janet Main ^
                                                                                                                                                                                                            (jmain@corus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); Tom Nyairo (tnyairo@cntus.jnj.com);                (jrotzell@its.jnj.com); Michael Ziskind                                                      (jmain@its.jnj.com); Karen Smith
                                                                                                                                                                                                            Perucki, Ellen (eperucki@cntus.jnj.com); Andres Rodriguez (arodri20@cntus.jnj.com); Jessica Rotzell             (mziskind@cntus.jnj.com); Sam Chi                                                            (ksmith2@cntus.jnj.com); Michael Cuozzo                                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                            (jrotzell@cntus.jnj.com); Karen Smith (ksmith2@cntus.jnj.com); Michael Ziskind                                  (schi@cntus.jnj.com); Teresa Giuliana                                                        (mcuozzo1@its.jnj.com); Tom Nyairo                                     regarding preparation/review of customer‐facing practice
4332   JANSSENBIO‐PL_2‐0003954                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                             (mziskind@cntus.jnj.com)                                                                                        (tgiulian@cntus.jnj.com)                           Jean Murray (jmurray3@cntus.jnj.com)      (tnyairo@cntus.jnj.com)                                     4/3/2006   management or IOI support material.




                                                                                                                                                                                                            Cynthia Chamberlain (cchamber@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Michael Cuozzo
                                                                                                                                                                                                            (mcuozzo1@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Brian Fitzpatrick (bfitzpa2@cntus.jnj.co);
                                                                                                                                                                                                            Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Janet Main
                                                                                                                                                                                                            (jmain@corus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);
                                                                                                                                                                                                            Tom Nyairo (tnyairo@cntus.jnj.com); Perucki, Ellen (eperucki@cntus.jnj.com); Andres Rodriguez
                                                                                                                                                  Anna Balthaser             Jean Murray                    (arodri20@cntus.jnj.com); Jessica Rotzell (jrotzell@cntus.jnj.com); Karen Smith (ksmith2@cntus.jnj.com);
4333   JANSSENBIO‐PL_2‐0003955                                                       Withheld   doc     Firriolo, Christopher   Attorney‐Client   (abalthas@its.jnj.com      (jmurray3@cntus.jnj.com)       Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                 4/3/2006

                                                                                                                                                                                                            Chris Firriolo (cfirriol@its.jnj.com); Cynthia Chamberlain (cchamber@its.jnj.com); Teresa Giuliana              Amy Main (AMain@its.jnj.com); Chris Firriolo                                                                                                                        Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                            (tgiulian@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Amy Main (amain@its.jnj.com); Jennifer         (cfirriol@its.jnj.com); Freddy Jimenez ^                                                     Cynthia Chamberlain (cchamber@cntus.jnj.com);                          regarding preparation/review of customer‐facing practice
4334   JANSSENBIO‐PL_2‐0003956                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                             Thomas (jthoma20@its.jnj.com)                                                                                   (fjimene3@corus.jnj.com)                         Teresa Giuliana (tgiulian@cntus.jnj.com)    Jennifer Thomas (jthoma20@its.jnj.com)                     8/17/2008   management or IOI support material.

                                                                                                                                                                                                            Chris Firriolo (cfirriol@its.jnj.com); Cynthia Chamberlain (cchamber@its.jnj.com); Teresa Giuliana
                                                                                                                                                  Bill Allen                                                (tgiulian@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Amy Main (amain@its.jnj.com); Jennifer
4335   JANSSENBIO‐PL_2‐0003957                                                       Withheld   pdf     Firriolo, Christopher   Attorney‐Client   (ballen@thomasjpaul.com)                                  Thomas (jthoma20@its.jnj.com)                                                                                                                                                                                                                                           8/17/2008

                                                                                                                                                                                                            Chris Firriolo (cfirriol@its.jnj.com); Cynthia Chamberlain (cchamber@its.jnj.com); Teresa Giuliana
                                                                                                                                                                                                            (tgiulian@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Amy Main (amain@its.jnj.com); Jennifer
4336   JANSSENBIO‐PL_2‐0003958                                                       Withheld   pdf     Firriolo, Christopher   Attorney‐Client                                                             Thomas (jthoma20@its.jnj.com)                                                                                                                                                                                                                                           8/17/2008

                                                                                                                                                                                                            Cynthia Chamberlain (cchamber@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Teresa Giuliana
                                                                                                                                                                                                            (tgiulian@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Amy Main (amain@its.jnj.com); Jennifer
4337   JANSSENBIO‐PL_2‐0003959                                                       Withheld   pdf     Firriolo, Christopher   Attorney‐Client                                                             Thomas (jthoma20@its.jnj.com)                                                                                                                                                                                                                                           8/17/2008

                                                                                                                                                                                                            Cynthia Chamberlain (cchamber@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Teresa Giuliana
                                                                                                                                                                                                            (tgiulian@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Amy Main (amain@its.jnj.com); Jennifer
4338   JANSSENBIO‐PL_2‐0003960                                                       Withheld   pdf     Firriolo, Christopher   Attorney‐Client                                                             Thomas (jthoma20@its.jnj.com)                                                                                                                                                                                                                                           8/17/2008

                                                                                                                                                                                                            Cynthia Chamberlain (cchamber@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Teresa Giuliana
                                                                                                                                                                                                            (tgiulian@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Amy Main (amain@its.jnj.com); Jennifer
4339   JANSSENBIO‐PL_2‐0003961                                                       Withheld   pdf     Firriolo, Christopher   Attorney‐Client                                                             Thomas (jthoma20@its.jnj.com)                                                                                                                                                                                                                                           8/17/2008

                                                                                                                                                                                                            Cynthia Chamberlain (cchamber@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Teresa Giuliana
                                                                                                                                                                                                            (tgiulian@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Amy Main (amain@its.jnj.com); Jennifer
4340   JANSSENBIO‐PL_2‐0003962                                                       Withheld   xlsx    Firriolo, Christopher   Attorney‐Client                                                             Thomas (jthoma20@its.jnj.com)                                                                                                                                                                                                                                           8/17/2008

                                                                                                                                                                                                            Cynthia Chamberlain (cchamber@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Teresa Giuliana
                                                                                                                                                                                                            (tgiulian@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Amy Main (amain@its.jnj.com); Jennifer
4341   JANSSENBIO‐PL_2‐0003963                                                       Withheld   xls     Firriolo, Christopher   Attorney‐Client                                                             Thomas (jthoma20@its.jnj.com)                                                                                                                                                                                                                                           8/17/2008

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                            Chris Firriolo (cfirriol@its.jnj.com); Teresa Giuliana (tgiulian@its.jnj.com); Amy Main (amain@its.jnj.com);                                                                                                                                                                        regarding preparation/review of customer‐facing practice
4342                             JANSSENBIO‐068‐00004985   JANSSENBIO‐068‐00004986   Redacted   eMail   Firriolo, Christopher   Attorney‐Client                                                             Jennifer Thomas (jthoma20@its.jnj.com)                                                                          Chris Firriolo (cfirriol@its.jnj.com)            Teresa Giuliana (tgiulian@cntus.jnj.com)    Jennifer Thomas (jthoma20@its.jnj.com)                     9/18/2008   management or IOI support material.
                                                                                                                                                                                                            Omar Ahmed (oahmed@psmus.jnj.com); Margaret Anderson (manders7@its.jnj.com); Suresh Aravind
                                                                                                                                                                                                            (saravin1@psmus.jnj.com); Robert Bazemore (rbazemor@cntus.jnj.com); Joseph Braunreuther ^
                                                                                                                                                                                                            (jbraunre@its.jnj.com); Chris Broening (cbroenin@psmus.jnj.com); Andrea Bruell
                                                                                                                                                                                                            (abruell@cntus.jnj.com); Peter Callegari (pcallega@its.jnj.com); Scott Canady (scanady9@cntus.jnj.com);
                                                                                                                                                                                                            Rick Cassino (rcassino@janus.jnj.com); Linda Cherry (lcherry2@psmus.jnj.com); Scott Chilson
                                                                                                                                                                                                            (schilson@ompus.jnj.com); Andrew Clark (aclark9@psmuk.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Jennifer
                                                                                                                                                                                                            De Camara ^ (jdecamar@corus.jnj.com); Joseph DePinto (jdepint2@psmus.jnj.com); Fiona Dunbar
                                                                                                                                                                                                            (fdunbar1@joica.jnj.com); Marc Farley (mfarley3@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com);
                                                                                                                                                                                                            Elizabeth Forminard ^ (eformina@its.jnj.com); Mark Gossett (mgossett@tttus.jnj.com); Christopher
                                                                                                                                                                                                            Guiton ^ (cguiton@its.jnj.com); Scott Habig (shabig@its.jnj.com); Debra Hueting ^
                                                                                                                                                                                                            (dhuetin1@prdgb.jnj.com); Joseph Hulihan (jhulihan@its.jnj.com); Swati Javeri (sjaveri@psmus.jnj.com);
                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael Kafrissen
                                                                                                                                                                                                            (mkafriss@its.jnj.com); Marc Kamin (mkamin@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Paul
                                                                                                                                                                                                            Kershaw (pkershaw@psmus.jnj.com); Frank Konings (fkonings@its.jnj.com); Cheryl Kramer
                                                                                                                                                                                                            (ckramer4@cntus.jnj.com); Jill Massey (jmassey1@its.jnj.com); Glenn Mattes (gmattes@tttus.jnj.com);
                                                                                                                                                                                                            Philomena McArthur (pmcarth1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Deidre
                                                                                                                                                                                                            Meehan ^ (dmeehan5@its.jnj.com); Jim Mitchell (jmitche1@ompus.jnj.com); Yvette Ng
                                                                                                                                                                                                            (yng1@obius.jnj.com); Tracie Oliver (toliver1@janus.jnj.com); Jayen Palekar (jpalekar@prdus.jnj.com); Kim
                                                                                                                                                                                                            Park (kpark18@ompus.jnj.com); Katherine Rielly‐Gauvin (krielly1@janus.jnj.com); Norman Rosenthal
                                                                                                                                                                                                            (nrosenth@its.jnj.com); Bridget Ross (bross5@ompus.jnj.com); Brenda Sarokhan (bsarokha@its.jnj.com);
                                                                                                                                                                                                            Thomas Schaible (tschaibl@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                            (egiulian@its.jnj.com); Sue Seferian (sseferia@its.jnj.com); Jade Shields (jshield1@its.jnj.com); Mark
                                                                                                                                                                                                            Sievers ^ (msievers@its.jnj.com); Jeff Smith (jsmith2@ompus.jnj.com); Dorothy Sokolowski
                                                                                                                                                                                                            (dsokolo@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raymond Suehnholz (rsuehnh@ompus.jnj.com);                                                                                                                                                                                    Email chain with attachment(s) collecting information at
                                                                                                                                                                                                            Jennifer Taubert (jtaubert@psmus.jnj.com); Kim Taylor (ktaylor2@obius.jnj.com); Craig Tendler                                                                                                                                                                                       direction of counsel for the purpose of providing legal
                                                                                                                                                                                                            (ctendler@its.jnj.com); Alan Tennenberg (atennenb@tttus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);                                                                                                                                                                            advice regarding preparation/review of internal training
                                                                                                                                                                                                            Jayme Trott (jtrott@psmus.jnj.com); Michael Ullmann ^ (mullman@corus.jnj.com); Vicki Vakiener                   Chris Firriolo (cfirriol@its.jnj.com); Dorothy                                                                                                                      or internal guidance concerning practice management or
4343   JANSSENBIO‐PL_2‐0003964                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                             (vvakien5@psmus.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Janet Vergis                                   Sokolowski (dsokolo@its.jnj.com)                 Philomena McArthur (pmcarth1@its.jnj.com)                                                             10/17/2008   IOI support.
                                                                                                                                                                                                            Omar Ahmed (oahmed@psmus.jnj.com); Margaret Anderson (manders7@its.jnj.com); Suresh Aravind
                                                                                                                                                                                                            (saravin1@psmus.jnj.com); Robert Bazemore (rbazemor@cntus.jnj.com); Joseph Braunreuther ^
                                                                                                                                                                                                            (jbraunre@its.jnj.com); Chris Broening (cbroenin@psmus.jnj.com); Andrea Bruell
                                                                                                                                                                                                            (abruell@cntus.jnj.com); Peter Callegari (pcallega@its.jnj.com); Scott Canady (scanady9@cntus.jnj.com);
                                                                                                                                                                                                            Rick Cassino (rcassino@janus.jnj.com); Linda Cherry (lcherry2@psmus.jnj.com); Scott Chilson
                                                                                                                                                                                                            (schilson@ompus.jnj.com); Andrew Clark (aclark9@psmuk.jnj.com); Dorothy Clarke ^
                                                                                                                                                                                                            (dclarke3@its.jnj.com); Nancy Corkum (ncorkum@its.jnj.com); John Crisan (jcrisan@its.jnj.com); Jennifer
                                                                                                                                                                                                            De Camara ^ (jdecamar@corus.jnj.com); Joseph DePinto (jdepint2@psmus.jnj.com); Fiona Dunbar
                                                                                                                                                                                                            (fdunbar1@joica.jnj.com); Marc Farley (mfarley3@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com);
                                                                                                                                                                                                            Elizabeth Forminard ^ (eformina@its.jnj.com); Mark Gossett (mgossett@tttus.jnj.com); Christopher
                                                                                                                                                                                                            Guiton ^ (cguiton@its.jnj.com); Scott Habig (shabig@its.jnj.com); Debra Hueting ^
                                                                                                                                                                                                            (dhuetin1@prdgb.jnj.com); Joseph Hulihan (jhulihan@its.jnj.com); Swati Javeri (sjaveri@psmus.jnj.com);
                                                                                                                                                                                                            Freddy Jimenez ^ (fjimene3@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Michael Kafrissen
                                                                                                                                                                                                            (mkafriss@its.jnj.com); Marc Kamin (mkamin@its.jnj.com); Georgia Keresty (gkeresty@its.jnj.com); Paul
                                                                                                                                                                                                            Kershaw (pkershaw@psmus.jnj.com); Frank Konings (fkonings@its.jnj.com); Cheryl Kramer
                                                                                                                                                                                                            (ckramer4@cntus.jnj.com); Jill Massey (jmassey1@its.jnj.com); Glenn Mattes (gmattes@tttus.jnj.com);
                                                                                                                                                                                                            Philomena McArthur (pmcarth1@its.jnj.com); Philomena McArthur (pmcarth1@its.jnj.com); Deidre
                                                                                                                                                                                                            Meehan ^ (dmeehan5@its.jnj.com); Jim Mitchell (jmitche1@ompus.jnj.com); Yvette Ng
                                                                                                                                                                                                            (yng1@obius.jnj.com); Tracie Oliver (toliver1@janus.jnj.com); Jayen Palekar (jpalekar@prdus.jnj.com); Kim
                                                                                                                                                                                                            Park (kpark18@ompus.jnj.com); Katherine Rielly‐Gauvin (krielly1@janus.jnj.com); Norman Rosenthal
                                                                                                                                                                                                            (nrosenth@its.jnj.com); Bridget Ross (bross5@ompus.jnj.com); Brenda Sarokhan (bsarokha@its.jnj.com);
                                                                                                                                                                                                            Thomas Schaible (tschaibl@its.jnj.com); Kathy Schroeher ^ (kschroe@corus.jnj.com); Elizabeth Scott ^
                                                                                                                                                                                                            (egiulian@its.jnj.com); Sue Seferian (sseferia@its.jnj.com); Jade Shields (jshield1@its.jnj.com); Mark
                                                                                                                                                                                                            Sievers ^ (msievers@its.jnj.com); Jeff Smith (jsmith2@ompus.jnj.com); Dorothy Sokolowski
                                                                                                                                                                                                            (dsokolo@its.jnj.com); Rosa Son ^ (rson@its.jnj.com); Raymond Suehnholz (rsuehnh@ompus.jnj.com);
                                                                                                                                                                                                            Jennifer Taubert (jtaubert@psmus.jnj.com); Kim Taylor (ktaylor2@obius.jnj.com); Craig Tendler
                                                                                                                                                                                                            (ctendler@its.jnj.com); Alan Tennenberg (atennenb@tttus.jnj.com); Helen Torelli ^ (htorell@its.jnj.com);
                                                                                                                                                  Sue Seferian               Freddy Jimenez ^               Jayme Trott (jtrott@psmus.jnj.com); Michael Ullmann ^ (mullman@corus.jnj.com); Vicki Vakiener
4344   JANSSENBIO‐PL_2‐0003965                                                       Withheld   doc     Firriolo, Christopher   Attorney‐Client   (sseferia@its.jnj.com)     (fjimene3@its.jnj.com)         (vvakien5@psmus.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Janet Vergis                                                                                                                                                                                          10/17/2008

                                                                                                                                                                                                            Chris Firriolo (cfirriol@its.jnj.com); Teresa Giuliana (tgiulian@its.jnj.com); Edmund Greenidge                                                                                                              Chris Firriolo (cfirriol@its.jnj.com); Jorge Lopez ^                   Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                            (egreenid@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Michael Ziskind                                                                                                                             (jlopez@akingump.com); Teresa Giuliana                                 regarding preparation/review of customer‐facing practice
4345   JANSSENBIO‐PL_2‐0003966                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                             (mziskind@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com)                                                     Michael Ziskind (mziskind@its.jnj.com)           Edmund Greenidge (egreenid@its.jnj.com)     (tgiulian@cntus.jnj.com)                                   12/3/2008   management or IOI support material.

                                                                                                                                                                                                            Chris Firriolo (cfirriol@its.jnj.com); Teresa Giuliana (tgiulian@its.jnj.com); Edmund Greenidge
                                                                                                                                                                             Edmund Greenidge               (egreenid@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Michael Ziskind
4346   JANSSENBIO‐PL_2‐0003967                                                       Withheld   PPT     Firriolo, Christopher   Attorney‐Client                              (egreenid@its.jnj.com)         (mziskind@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com)                                                                                                                                                                                                             12/3/2008

                                                                                                                                                                                                       Chris Firriolo (cfirriol@its.jnj.com); Teresa Giuliana (tgiulian@its.jnj.com); Edmund Greenidge
                                                                                                                                                                             Mara McDermott ^          (egreenid@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Michael Ziskind
4347   JANSSENBIO‐PL_2‐0003968                                                       Withheld   PPT     Firriolo, Christopher   Attorney‐Client                              (mmcdermott@akingump.com) (mziskind@its.jnj.com); Jorge Lopez ^ (jlopez@akingump.com)                                                                                                                                                                                                                  12/3/2008

                                                                                                                                                                                                            Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Michael Ziskind                 Chris Firriolo (cfirriol@its.jnj.com); Edmund                                                                                                                       Email chain with attachment(s) providing legal advice
4348   JANSSENBIO‐PL_2‐0003969                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                             (mziskind@its.jnj.com);                                                                                         Greenidge (egreenid@its.jnj.com)                 Michael Ziskind (mziskind@its.jnj.com)                                                                 12/3/2008   from Akin Gump ^ regarding promotional activities.
                                                                                                                                                                                                            Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Michael Ziskind
4349   JANSSENBIO‐PL_2‐0003970                                                       Withheld   PPT     Firriolo, Christopher   Attorney‐Client                                                             (mziskind@its.jnj.com)                                                                                                                                                                                                                                                  12/3/2008

                                                                                                                                                                             Mara McDermott ^          Chris Firriolo (cfirriol@its.jnj.com); Edmund Greenidge (egreenid@its.jnj.com); Michael Ziskind
4350   JANSSENBIO‐PL_2‐0003971                                                       Withheld   PPT     Firriolo, Christopher   Attorney‐Client                              (mmcdermott@akingump.com) (mziskind@its.jnj.com)                                                                                                                                                                                                                                                       12/3/2008
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                            Chris Firriolo (cfirriol@its.jnj.com); Freddy                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                                                                            Michael Cuozzo (mcuozzo1@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Ken Gillmer                     Jimenez ^ (fjimene3@corus.jnj.com); Michael                                                                                                                         internal guidance concerning practice management or IOI
4351   JANSSENBIO‐PL_2‐0003972                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                             (kgillme1@its.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com)       Cuozzo (mcuozzo1@its.jnj.com)                    Teresa Giuliana (tgiulian@cntus.jnj.com)    Ken Gillmer (kgillme1@its.jnj.com)                         5/31/2007   support.

                                                                                                                                                  Bill Allen                 Teresa Giuliana                Michael Cuozzo (mcuozzo1@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Ken Gillmer
4352   JANSSENBIO‐PL_2‐0003973                                                       Withheld   ppt     Firriolo, Christopher   Attorney‐Client   (ballen@thomasjpaul.com)   (tgiulian@cntus.jnj.com)       (kgillme1@its.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com)                                                                                                                                                               5/31/2007
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Email Chain reflecting legal advice from Legal Department
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                regarding preparation/review of internal training or
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                internal guidance concerning practice management or IOI
4353                             JANSSENBIO‐068‐00000353   JANSSENBIO‐068‐00000355   Redacted   eMail   Firriolo, Christopher   Attorney‐Client                                                             Chris Firriolo (cfirriol@its.jnj.com); Patrick Mcveigh (pmcveigh@cntus.jnj.com)                                 Chris Firriolo (cfirriol@its.jnj.com)            Patrick Mcveigh (pmcveigh@cntus.jnj.com)                                                               5/23/2006   support.

                                                                                                                                                                                                            Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Chris Firriolo                                                                                                                                                                                           Email chain with attachment(s) providing information to
                                                                                                                                                                                                            (cfirriol@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy                                                                                                                                                                       counsel for the purpose of receiving legal advice
                                                                                                                                                                                                            McGonigal (rmcgonig@cntus.jnj.com); Patrick Mcveigh (pmcveigh@cntus.jnj.com); Michael Schoeck                                                                                                                                                                                       regarding preparation/review of customer‐facing practice
4354   JANSSENBIO‐PL_2‐0003974                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                             (mschoeck@its.jnj.com)                                                                                          Patrick Mcveigh (pmcveigh@cntus.jnj.com)         Chris Firriolo (cfirriol@its.jnj.com)                                                                  4/10/2006   management or IOI support material.

                                                                                                                                                                                                            Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Chris Firriolo
                                                                                                                                                                                                            (cfirriol@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy
                                                                                                                                                                                                            McGonigal (rmcgonig@cntus.jnj.com); Patrick Mcveigh (pmcveigh@cntus.jnj.com); Michael Schoeck
4355   JANSSENBIO‐PL_2‐0003975                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                             (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                  4/10/2006

                                                                                                                                                                                                            Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Chris Firriolo
                                                                                                                                                                                                            (cfirriol@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy
                                                                                                                                                                                                            McGonigal (rmcgonig@cntus.jnj.com); Patrick Mcveigh (pmcveigh@cntus.jnj.com); Michael Schoeck
4356   JANSSENBIO‐PL_2‐0003976                                                       Withheld   pdf     Firriolo, Christopher   Attorney‐Client   dporter                                                   (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                  4/10/2006

                                                                                                                                                                                                            Janice Babia (jbabia@cntus.jnj.com); Cheryl Cohen (ccohen3@cntus.jnj.com); Chris Firriolo
                                                                                                                                                                                                            (cfirriol@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Randy
                                                                                                                                                  Janice Babia               Janice Babia                   McGonigal (rmcgonig@cntus.jnj.com); Patrick Mcveigh (pmcveigh@cntus.jnj.com); Michael Schoeck
4357   JANSSENBIO‐PL_2‐0003977                                                       Withheld   doc     Firriolo, Christopher   Attorney‐Client   (jbabia@cntus.jnj.com)     (jbabia@cntus.jnj.com)         (mschoeck@its.jnj.com)                                                                                                                                                                                                                                                  4/10/2006

                                                                                                                                                                                                            Chris Firriolo (cfirriol@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Patrick Mcveigh                                                                                                                                                                                       Email Chain reflecting legal advice from Freddy Jimenez ^
4358                             JANSSENBIO‐068‐00000361   JANSSENBIO‐068‐00000362   Redacted   eMail   Firriolo, Christopher   Attorney‐Client                                                             (pmcveigh@cntus.jnj.com); Patrick Mcveigh (pmcveigh@cntus.jnj.com)                                              Patrick Mcveigh (pmcveigh@cntus.jnj.com)         Chris Firriolo (cfirriol@its.jnj.com)                                                                  4/18/2006   regarding MCV work order.




                                                                                                                                                                                                                                                                                        199
                                                                                     Case 1:16-cv-12182-FDS Document 449-1 Filed 07/31/24 Page 201 of 201


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) requesting legal advice
                                                                                                                                                                                                       Chris Firriolo (cfirriol@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); Laurence Rickles^                                                                                                                                                                                                    regarding preparation/review of customer‐facing practice
4359   JANSSENBIO‐PL_2‐0003978                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                        (lrickle@corus.jnj.com)                                                                                       Laurence Rickles^ (LRickle@its.jnj.com)             Ken Gillmer (kgillme1@its.jnj.com)          Chris Firriolo (cfirriol@its.jnj.com)                        2/2/2006             management or IOI support material.
                                                                                                                                                                                                       Chris Firriolo (cfirriol@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); Laurence Rickles^
4360   JANSSENBIO‐PL_2‐0003979                                                       Withheld   pdf     Firriolo, Christopher   Attorney‐Client                                                        (lrickle@corus.jnj.com)                                                                                                                                                                                                                                                    2/2/2006
                                                                                                                                                                                                       Chris Firriolo (cfirriol@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); Laurence Rickles^
4361   JANSSENBIO‐PL_2‐0003980                                                       Withheld   pdf     Firriolo, Christopher   Attorney‐Client                                                        (lrickle@corus.jnj.com)                                                                                                                                                                                                                                                    2/2/2006
                                                                                                                                                                                                       Chris Firriolo (cfirriol@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); Laurence Rickles^
4362   JANSSENBIO‐PL_2‐0003981                                                       Withheld   pdf     Firriolo, Christopher   Attorney‐Client                                                        (lrickle@corus.jnj.com)                                                                                                                                                                                                                                                    2/2/2006


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
4363   JANSSENBIO‐PL_2‐0003982                                                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       REMOVED FROM PRIVILEGE LOG ‐ PRODUCED JULY 23,
4364   JANSSENBIO‐PL_2‐0003983                                                                                                                                                                                                                                                                                                                                                                                                                                                                         2024
                                                                                                                                                                                                                                                                                                                     Andres Rodriguez (arodri20@cntus.jnj.com);
                                                                                                                                                                                                                                                                                                                     Brian Fitzpatrick (bfitzpa2@cntus.jnj.co); Cynthia
                                                                                                                                                                                                                                                                                                                     Chamberlain (cchamber@cntus.jnj.com); Ellen
                                                                                                                                                                                                       Cynthia Chamberlain (cchamber@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Michael Cuozzo                    Perucki (EPerucki@cntus.jnj.com); Freddy
                                                                                                                                                                                                       (mcuozzo1@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Brian Fitzpatrick (bfitzpa2@cntus.jnj.co);   Jimenez ^ (fjimene3@corus.jnj.com); Jean Murray
                                                                                                                                                                                                       Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Janet Main                 (jmurray3@cntus.jnj.com); Jessica Rotzell                                                       Chris Firriolo (cfirriol@its.jnj.com); Janet Main ^
                                                                                                                                                                                                       (jmain@corus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);            (jrotzell@its.jnj.com); Michael Ziskind                                                         (jmain@its.jnj.com); Karen Smith
                                                                                                                                                                                                       Tom Nyairo (tnyairo@cntus.jnj.com); Perucki, Ellen (eperucki@cntus.jnj.com); Andres Rodriguez                 (mziskind@cntus.jnj.com); Sam Chi                                                               (ksmith2@cntus.jnj.com); Michael Cuozzo                                           Email with attachment(s) requesting legal advice
                                                                                                                                                                                                       (arodri20@cntus.jnj.com); Jessica Rotzell (jrotzell@cntus.jnj.com); Karen Smith (ksmith2@cntus.jnj.com);      (schi@cntus.jnj.com); Teresa Giuliana                                                           (mcuozzo1@its.jnj.com); Tom Nyairo                                                regarding preparation/review of customer‐facing practice
4365   JANSSENBIO‐PL_2‐0003984                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                        Michael Ziskind (mziskind@cntus.jnj.com)                                                                      (tgiulian@cntus.jnj.com)                           Jean Murray (jmurray3@cntus.jnj.com)         (tnyairo@cntus.jnj.com)                                      4/3/2006             management or IOI support material.




                                                                                                                                                                                                       Cynthia Chamberlain (cchamber@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Michael Cuozzo
                                                                                                                                                                                                       (mcuozzo1@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Brian Fitzpatrick (bfitzpa2@cntus.jnj.co);
                                                                                                                                                                                                       Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Janet Main
                                                                                                                                                                                                       (jmain@corus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);
                                                                                                                                                                                                       Tom Nyairo (tnyairo@cntus.jnj.com); Perucki, Ellen (eperucki@cntus.jnj.com); Andres Rodriguez
                                                                                                                                                  Anna Balthaser            Jean Murray                (arodri20@cntus.jnj.com); Jessica Rotzell (jrotzell@cntus.jnj.com); Karen Smith (ksmith2@cntus.jnj.com);
4366   JANSSENBIO‐PL_2‐0003985                                                       Withheld   doc     Firriolo, Christopher   Attorney‐Client   (abalthas@its.jnj.com)    (jmurray3@cntus.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                   4/3/2006
                                                                                                                                                                                                                                                                                                                     Andres Rodriguez (arodri20@cntus.jnj.com);
                                                                                                                                                                                                                                                                                                                     Brian Fitzpatrick (bfitzpa2@cntus.jnj.co); Cynthia
                                                                                                                                                                                                                                                                                                                     Chamberlain (cchamber@cntus.jnj.com); Ellen
                                                                                                                                                                                                       Cynthia Chamberlain (cchamber@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Michael Cuozzo                    Perucki (EPerucki@cntus.jnj.com); Freddy
                                                                                                                                                                                                       (mcuozzo1@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Brian Fitzpatrick (bfitzpa2@cntus.jnj.co);   Jimenez ^ (fjimene3@corus.jnj.com); Jean Murray
                                                                                                                                                                                                       Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Janet Main                 (jmurray3@cntus.jnj.com); Jessica Rotzell                                                       Chris Firriolo (cfirriol@its.jnj.com); Janet Main ^
                                                                                                                                                                                                       (jmain@corus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);            (jrotzell@its.jnj.com); Michael Ziskind                                                         (jmain@its.jnj.com); Karen Smith
                                                                                                                                                                                                       Tom Nyairo (tnyairo@cntus.jnj.com); Perucki, Ellen (eperucki@cntus.jnj.com); Andres Rodriguez                 (mziskind@cntus.jnj.com); Sam Chi                                                               (ksmith2@cntus.jnj.com); Michael Cuozzo                                           Email with attachment(s) requesting legal advice
                                                                                                                                                                                                       (arodri20@cntus.jnj.com); Jessica Rotzell (jrotzell@cntus.jnj.com); Karen Smith (ksmith2@cntus.jnj.com);      (schi@cntus.jnj.com); Teresa Giuliana                                                           (mcuozzo1@its.jnj.com); Tom Nyairo                                                regarding preparation/review of customer‐facing practice
4367   JANSSENBIO‐PL_2‐0003986                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                        Michael Ziskind (mziskind@cntus.jnj.com)                                                                      (tgiulian@cntus.jnj.com)                           Jean Murray (jmurray3@cntus.jnj.com)         (tnyairo@cntus.jnj.com)                                      4/3/2006             management or IOI support material.




                                                                                                                                                                                                       Cynthia Chamberlain (cchamber@cntus.jnj.com); Sam Chi (schi@cntus.jnj.com); Michael Cuozzo
                                                                                                                                                                                                       (mcuozzo1@cntus.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Brian Fitzpatrick (bfitzpa2@cntus.jnj.co);
                                                                                                                                                                                                       Teresa Giuliana (tgiulian@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Janet Main
                                                                                                                                                                                                       (jmain@corus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com); Jean Murray (jmurray3@cntus.jnj.com);
                                                                                                                                                                                                       Tom Nyairo (tnyairo@cntus.jnj.com); Perucki, Ellen (eperucki@cntus.jnj.com); Andres Rodriguez
                                                                                                                                                  Anna Balthaser            Jean Murray                (arodri20@cntus.jnj.com); Jessica Rotzell (jrotzell@cntus.jnj.com); Karen Smith (ksmith2@cntus.jnj.com);
4368   JANSSENBIO‐PL_2‐0003987                                                       Withheld   doc     Firriolo, Christopher   Attorney‐Client   (abalthas@its.jnj.com)    (jmurray3@cntus.jnj.com)   Michael Ziskind (mziskind@cntus.jnj.com)                                                                                                                                                                                                                                   4/3/2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                     Eric Hillson (ehillson@cntus.jnj.com); Eric Toppy                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                       Chris Firriolo (cfirriol@its.jnj.com); Eric Hillson (ehillson@cntus.jnj.com); Freddy Jimenez ^                (etoppy@its.jnj.com); Freddy Jimenez ^                                                                                                                                            internal guidance concerning practice management or IOI
4369   JANSSENBIO‐PL_2‐0003988                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                        (fjimene3@its.jnj.com); John Murray (jmurray6@cntus.jnj.com); Eric Toppy (etoppy@its.jnj.com)                 (fjimene3@corus.jnj.com)                            Chris Firriolo (cfirriol@its.jnj.com)       John Murray (jmurray6@cntus.jnj.com)                         1/4/2006             support.

                                                                                                                                                  Joseph Metro ^            Christopher Zalesky        Chris Firriolo (cfirriol@its.jnj.com); Eric Hillson (ehillson@cntus.jnj.com); Freddy Jimenez ^
4370   JANSSENBIO‐PL_2‐0003989                                                       Withheld   doc     Firriolo, Christopher   Attorney‐Client   (jmetro@reedsmith.com)    (czalesky@its.jnj.com)     (fjimene3@its.jnj.com); John Murray (jmurray6@cntus.jnj.com); Eric Toppy (etoppy@its.jnj.com)                                                                                                                                                                              1/4/2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        providing legal advice regarding preparation/review of
                                                                                                                                                                                                       Chris Firriolo (cfirriol@its.jnj.com); Kristin Scott (kscott6@cntus.jnj.com); Janice Babia                                                                                                                                                                                                      customer‐facing practice management or IOI support
4371   JANSSENBIO‐PL_2‐0003990                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                        (jbabia@cntus.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com)                                               Chris Firriolo (cfirriol@its.jnj.com)               Kristin Scott (kscott6@cntus.jnj.com)                                                                   2/22/2006             material.
                                                                                                                                                   Kristin Scott             Kristin Scott
4372   JANSSENBIO‐PL_2‐0003991                                                       Withheld   doc     Firriolo, Christopher   Attorney‐Client   (kscott6@cntus.jnj.com)   (kscott6@cntus.jnj.com)    Chris Firriolo (cfirriol@its.jnj.com); Kristin Scott (kscott6@cntus.jnj.com)                                                                                                                                                                                              2/22/2006
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email with attachment(s) requesting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       regarding preparation/review of internal training or
                                                                                                                                                                                                       Chris Firriolo (cfirriol@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Ian Karp                      Chris Firriolo (cfirriol@its.jnj.com); Freddy                                                                                                                                     internal guidance concerning practice management or IOI
4373   JANSSENBIO‐PL_2‐0003992                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                        (ikarp1@cntus.jnj.com); Sherri Prettyman (sprettym@cntus.jnj.com)                                             Jimenez ^ (fjimene3@corus.jnj.com)                  Ian Karp (ikarp1@cntus.jnj.com)             Sherri Prettyman (sprettym@cntus.jnj.com)                  12/20/2006             support.

                                                                                                                                                                             Ian Karp                  Chris Firriolo (cfirriol@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Ian Karp
4374   JANSSENBIO‐PL_2‐0003993                                                       Withheld   PPT     Firriolo, Christopher   Attorney‐Client   Corey_Davis               (ikarp1@cntus.jnj.com)     (ikarp1@cntus.jnj.com); Sherri Prettyman (sprettym@cntus.jnj.com)                                                                                                                                                                                                        12/20/2006

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) providing information to
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       counsel for the purpose of receiving legal advice
                                                                                                                                                                                                       Mark Sievers ^ (msievers@its.jnj.com); Freddy Jimenez ^ (fjimene3@its.jnj.com); Philomena McArthur            DL‐RNDUS‐CNS IM RA A&P (DL‐PRDUS‐                                                                                                                                                 regarding preparation/review of internal training or
                                                                                                                                                                                                       (pmcarth1@its.jnj.com); DL‐RNDUS‐CNS IM RA A&P (dl‐prdus‐                                                     RegAffairsAdvertisingandPromotion@prdus.jnj.c                                                                                                                                     internal guidance concerning practice management or IOI
4375   JANSSENBIO‐PL_2‐0003994                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                        regaffairsadvertisingandpromotion@prdus.jnj.com)                                                              om)                                                 Philomena McArthur (pmcarth1@its.jnj.com)                                                               3/18/2009             support.
                                                                                                                                                  Sue Seferian              Freddy Jimenez ^           Philomena McArthur (pmcarth1@its.jnj.com); DL‐RNDUS‐CNS IM RA A&P (dl‐prdus‐
4376   JANSSENBIO‐PL_2‐0003995                                                       Withheld   doc     Firriolo, Christopher   Attorney‐Client   (sseferia@its.jnj.com)    (fjimene3@its.jnj.com)     regaffairsadvertisingandpromotion@prdus.jnj.com)                                                                                                                                                                                                                          3/18/2009
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email chain with attachment(s) reflecting legal advice
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       from Freddy Jimenez ^ regarding preparation of
                                                                                                                                                                                                       Anna Balthaser (abalthas@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Peggy Mellody                                                                                                                                                                                                     customer‐facing practice management or IOI support
4377                             JANSSENBIO‐068‐00000688   JANSSENBIO‐068‐00000689   Redacted   eMail   Firriolo, Christopher   Attorney‐Client                                                        (pmellody@its.jnj.com)                                                                                        Chris Firriolo (cfirriol@its.jnj.com)               Peggy Mellody (pmellody@its.jnj.com)        Anna Balthaser (abalthas@its.jnj.com)                       8/10/2009             material.
                                                                                                                                                                                                                                                                                                                     Chris Firriolo (cfirriol@its.jnj.com); John Arena
                                                                                                                                                                                                                                                                                                                     (jarena1@its.jnj.com); Katherine Chapman
                                                                                                                                                                                                                                                                                                                     (kchapman@its.jnj.com); Michael Cuozzo
                                                                                                                                                                                                                                                                                                                     (mcuozzo1@its.jnj.com); Chris Firriolo
                                                                                                                                                                                                                                                                                                                     (cfirriol@its.jnj.com); Ken Gillmer
                                                                                                                                                                                                                                                                                                                     (kgillme1@its.jnj.com); Teresa Giuliana
                                                                                                                                                                                                                                                                                                                     (tgiulian@cntus.jnj.com); Rolli Greer
                                                                                                                                                                                                                                                                                                                     (rgreer@its.jnj.com); Julie Kang
                                                                                                                                                                                                                                                                                                                     (jkang@its.jnj.com); Jon Magid
                                                                                                                                                                                                       John Arena (jarena1@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); Michael Cuozzo                    (jmagid@its.jnj.com); Ellen Perucki
                                                                                                                                                                                                       (mcuozzo1@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Ken Gillmer (kgillme1@its.jnj.com); Teresa     (eperucki@its.jnj.com); Julie Trimakas
                                                                                                                                                                                                       Giuliana (tgiulian@cntus.jnj.com); Rolli Greer (rgreer@its.jnj.com); Julie Kang (jkang@its.jnj.com); Jon      (jtrimaka@its.jnj.com); John Vaughan ^                                                                                                                                            Email chain with attachment(s) providing information to
                                                                                                                                                                                                       Magid (jmagid@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Julie Trimakas (jtrimaka@its.jnj.com);      (jvaughan@its.jnj.com); Brian Visconti                                                                                                                                            counsel for the purpose of receiving legal advice
                                                                                                                                                                                                       John Vaughan ^ (jvaughan@its.jnj.com); Brian Visconti (bviscont@its.jnj.com); Kim Wortman                     (bviscont@its.jnj.com); Kim Wortman                                                                                                                                               regarding preparation/review of customer‐facing practice
4378   JANSSENBIO‐PL_2‐0003997                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                        (kwortman@its.jnj.com)                                                                                        (kwortman@its.jnj.com)                              Chris Firriolo (cfirriol@its.jnj.com)                                                                   2/12/2010             management or IOI support material.


                                                                                                                                                                                                       John Arena (jarena1@its.jnj.com); Katherine Chapman (kchapman@its.jnj.com); Michael Cuozzo
                                                                                                                                                                                                       (mcuozzo1@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Ken
                                                                                                                                                                                                       Gillmer (kgillme1@its.jnj.com); Teresa Giuliana (tgiulian@cntus.jnj.com); Rolli Greer (rgreer@its.jnj.com);
                                                                                                                                                                                                       Julie Kang (jkang@its.jnj.com); Jon Magid (jmagid@its.jnj.com); Ellen Perucki (eperucki@its.jnj.com); Julie
                                                                                                                                                                                                       Trimakas (jtrimaka@its.jnj.com); John Vaughan ^ (jvaughan@its.jnj.com); Brian Visconti
4379   JANSSENBIO‐PL_2‐0003998                                                       Withheld   pdf     Firriolo, Christopher   Attorney‐Client                                                        (bviscont@its.jnj.com); Kim Wortman (kwortman@its.jnj.com)                                                                                                                                                                                                                2/12/2010
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Email Chain collecting information at direction of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       counsel for the purpose of providing legal advice
                                                                                                                                                                                                       Darah Biddle (dbiddle9@its.jnj.com); Chris Firriolo (cfirriol@its.jnj.com); Robbie Lombardi                                                                                                                                                                                                     regarding preparation/review of internal training or
                                                                                                                                                                                                       (rlombar1@its.jnj.com); Thomas Occhipinti (tocchipi@its.jnj.com); John Vaughan ^                                                                                                                              Chris Firriolo (cfirriol@its.jnj.com); Thomas Occhipinti                          internal guidance concerning practice management or IOI
4380   JANSSENBIO‐PL_2‐0003999                                                       Withheld   eMail   Firriolo, Christopher   Attorney‐Client                                                        (jvaughan@its.jnj.com)                                                                                        Darah Biddle (dbiddle9@its.jnj.com)                 Robbie Lombardi (rlombar1@its.jnj.com)      (tocchipi@its.jnj.com)                                     12/17/2010             support.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Handwritten notes reflecting legal advice from the Law
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Department ^ regarding preparation/review of customer‐
4381                             JANSSENBIO‐031‐00008137   JANSSENBIO‐031‐00008142   Redacted   pdf     Janssen Biotech, Inc    Attorney‐Client   Centocor, Inc.                                                                                                                                                                                                                                                                                                                             3/1/2007 facing practice management or IOI support material.




                                                                                                                                                                                                                                                                                 200
